                    Case 22-50228            Doc 1       Filed 10/07/22 Entered 10/07/22 16:16:29                              Desc Main
                                                         Document      Page 1 of 3185

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Power Home Solar, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Pink Energy
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  919 N Main St
                                  Mooresville, NC 28115
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Iredell                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Power Home Solar, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Power Home Solar, LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Power Home Solar, LLC                                                        Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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Debtor    Power Home Solar, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 7, 2022
                                                  MM / DD / YYYY


                             X   /s/ William Jayson Waller                                                William Jayson Waller
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Joseph W. Grier, III                                                  Date October 7, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joseph W. Grier, III 7764
                                 Printed name

                                 Grier Wright Martinez, PA
                                 Firm name

                                 521 E. Morehead St., Suite 440
                                 Charlotte, NC 28202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704 332-0201                  Email address      jgrier@grierlaw.com

                                 7764 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Power Home Solar, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 7, 2022                 X /s/ William Jayson Waller
                                                           Signature of individual signing on behalf of debtor

                                                            William Jayson Waller
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name          Power Home Solar, LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
       JP Morgan Chase Bank
2.1                                                                                                                        $80,585,034.87                 Unknown
       N.A.                                         Describe debtor's property that is subject to a lien
       Creditor's Name                              Certain personal property; see Article II of
       Special Credits Group                        Pledge and Security Agreement dated
       611 Woodward Ave, 2nd                        November 23, 2021.
       Floor
       Mail Code MI1-00MZ
       Detroit, MI 48226
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                             $80,585,034.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      87

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Ashley Lee Hogewood, III
        K&L Gates                                                                                             Line   2.1
        PO Box 17047
        Raleigh, NC 27619


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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Fill in this information to identify the case:

Debtor name        Power Home Solar, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Alabama Department of Revenue                       Check all that apply.
          50 N. Ripley St                                        Contingent
          Montgomery, AL 36130                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Amherst City Income Tax                             Check all that apply.
          480 Park Ave.                                          Contingent
          Amherst, OH 44001-2258                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 81
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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Arkansas Department of Finance                     Check all that apply.
         and Admin                                             Contingent
         501 Woodlane Street                                   Unliquidated
         Suite 410C                                            Disputed
         Little Rock, AR 72201
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Ashtabula City Income Tax                          Check all that apply.
         4717 Main Ave                                         Contingent
         Ste A                                                 Unliquidated
         Ashtabula, OH 44004                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Athens City Income Tax                             Check all that apply.
         8 E. Washington St.                                   Contingent
         Athens, OH 45701-2444                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Berkheimer Tax Innovations                         Check all that apply.
         P.O. Box 25153                                        Contingent
         Lehigh Valley, PA 18002-5153                          Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2 of 81
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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Cambridge City Income Tax                          Check all that apply.
         828 Wheeling Ave.                                     Contingent
         Cambridge, OH 43725                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Canal Fulton City Income Tax                       Check all that apply.
         155 E. Market St.                                     Contingent
         Ste. C                                                Unliquidated
         Canal Fulton, OH 44614-1305                           Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Canfield City Income Tax                           Check all that apply.
         104 Lisbon St.                                        Contingent
         Canfield, OH 44406-1416                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         CCA - Division of Taxation                         Check all that apply.
         PO BOX 94810                                          Contingent
         Cleveland, OH 44101-4810                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 3 of 81
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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Celina City Income Tax                             Check all that apply.
         P.O. Box 117                                          Contingent
         Celina, OH 45822-0117                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Chillicothe City Income Tax                        Check all that apply.
         35 S. Paint St.                                       Contingent
         P.O. Box 457                                          Unliquidated
         Chillicothe, OH 45601-0457                            Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Cincinnati Income Tax Division                     Check all that apply.
         PO Box 637876                                         Contingent
         Cincinnati, OH 45263-7876                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Akron Income Tax Division                  Check all that apply.
         1 Cascade Plaza - Suite 100                           Contingent
         Akron, OH 44308-1161                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 4 of 81
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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Alliance Income Tax                        Check all that apply.
         Division                                              Contingent
         P.O. Box 2025                                         Unliquidated
         Alliance, OH 44601-0025                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Barboursville                              Check all that apply.
         PO Box 266                                            Contingent
         Barboursville, WV 25504                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Canton, Income Tax Dept                    Check all that apply.
         P.O. Box 9951                                         Contingent
         Canton, OH 44711-9951                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Dayton Division of Tax &                   Check all that apply.
         Account                                               Contingent
         P.O. Box 1830                                         Unliquidated
         Westerville, OH 43086-1830                            Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Lebanon Tax Div.                           Check all that apply.
         50 S. Broadway St.                                    Contingent
         Lebanon, OH 45036-1745                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Martinsburg                                Check all that apply.
         232 N. Queen St                                       Contingent
         P.O. Box 828                                          Unliquidated
         Martinsburg, WV 25402                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Morgantown                                 Check all that apply.
         389 Spruce Street                                     Contingent
         Morgantown, WV 26505                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Owensboro/Daviess                          Check all that apply.
         County Fiscal                                         Contingent
         P.O. Box 10008                                        Unliquidated
         Owensboro, KY 42302-9008                              Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Paducah Finance                            Check all that apply.
         Department                                            Contingent
         PO Box 9001241                                        Unliquidated
         Department 901241                                     Disputed
         Louisville, KY 40290-1241
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Princeton                                  Check all that apply.
         800 Bee Street                                        Contingent
         Princeton, WV 24740                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Saint Albans                               Check all that apply.
         P.O. Box 1488                                         Contingent
         St. Albans, WV 25177                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Shelbyville                                Check all that apply.
         P.O. Box 1289                                         Contingent
         Shelbyville, KY 40066-3289                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Toledo Income Tax                          Check all that apply.
         P.O. Box 929                                          Contingent
         Toledo, OH 43697-0929                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         City of Waverly Income Tax                         Check all that apply.
         P.O. Box 48                                           Contingent
         Waverly, OH 45690                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Columbus Income Tax Division                       Check all that apply.
         P.O. Box 182437                                       Contingent
         Columbus, OH 43218-2437                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Coshocton City Income Tax                          Check all that apply.
         760 Chestnut St.                                      Contingent
         Coshocton, OH 43812-1294                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Defiance City Income Tax                           Check all that apply.
         P.O. Box 669                                          Contingent
         Defiance, OH 43512-2100                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Delaware City Income Tax                           Check all that apply.
         P.O. Box 496                                          Contingent
         Delaware, OH 43015-0496                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Delaware Division of Revenue                       Check all that apply.
         P.O. Box 8703                                         Contingent
         Wilmington, DE 19899-8703                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Department of the Treasury -                       Check all that apply.
         Internal Re                                           Contingent
         Internal Revenue Service Center                       Unliquidated
         Ogden, UT 84201-0011                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         East Liverpool City Income Tax                     Check all that apply.
         126 W. 6th St.                                        Contingent
         East Liverpool, OH 43920-2960                         Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Fairfield Income Tax                               Check all that apply.
         701 Wessel Drive                                      Contingent
         Fairfield, OH 45014-3611                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Findlay City Income Tax                            Check all that apply.
         P.O. Box 862                                          Contingent
         Findlay, OH 45839-0862                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Florida Department of Revenue                      Check all that apply.
         5050 W. Tennessee St.                                 Contingent
         Tallahassee, FL 32399-0135                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Gallipolis City Income Tax                         Check all that apply.
         P.O. Box 339                                          Contingent
         Gallipolis, OH 45631-0339                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Georgetown Village Income Tax                      Check all that apply.
         P.O. Box 116                                          Contingent
         Georgetown, OH 45121-0116                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Georgia Department of Revenue                      Check all that apply.
         PO Box 740315                                         Contingent
         Atlanta, GA 30374-0315                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Grand Rapids Income Tax Dept                       Check all that apply.
         PO Box 109                                            Contingent
         Grand Rapids, MI 49501-0109                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Gregory F.X. Daly; Collector of                    Check all that apply.
         Revenue                                               Contingent
         1200 Market Street, Room 410                          Unliquidated
         St. Louis, MO 63103-2841                              Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Hillsboro City Income Tax                          Check all that apply.
         130 N. High St.                                       Contingent
         Hillsboro,, OH 45133-1152                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Illinois Department of Labor                       Check all that apply.
         2309 West Main Street                                 Contingent
         Suite 115                                             Unliquidated
         Marion, IL 62959                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Illinois Department of Revenue                     Check all that apply.
         555 W Monroe Street                                   Contingent
         Suite 1100                                            Unliquidated
         Chicago, IL 60661                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00   $0.00
         Indiana Department of Revenue                      Check all that apply.
         PO Box 7147                                           Contingent
         Indianapolis, IN 46207-7147                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown    Unknown
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                           Contingent
         Philadelphia, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00   $0.00
         Iredell County Department of Tax                   Check all that apply.
         Adminis                                               Contingent
         Post Office Box 1027                                  Unliquidated
         Statesville, NC 28687                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00   $0.00
         Ironton City Income Tax                            Check all that apply.
         P.O. Box 704                                          Contingent
         Ironton, OH 45638-0704                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Jefferson Village Income Tax                       Check all that apply.
         27 E. Jefferson St.                                   Contingent
         Jefferson, OH 44047-1111                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Kansas Department of Revenue                       Check all that apply.
         PO Box 750250                                         Contingent
         Topeka, KS 66699-0260                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Kentucky Department of Revenue                     Check all that apply.
         501 High Street                                       Contingent
         Frankfort, KY 40601                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $442,714.88   $13,650.00
         Kevin Klink                                        Check all that apply.
         141 S Longfellow Lane                                 Contingent
         Mooresville, NC 28117                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Lancaster City Income Tax                          Check all that apply.
         P.O. Box 128                                          Contingent
         Lancaster, OH 43130-0128                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Lima City Income Tax                               Check all that apply.
         P.O. Box 155                                          Contingent
         Lima, OH 45802-0155                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Logan City Income Tax                              Check all that apply.
         P.O. Box 343                                          Contingent
         Logan, OH 43138-0343                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         London City Income Tax                             Check all that apply.
         20 S Walnut St STE 103                                Contingent
         Logan, OH 43140-0387                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Lorain City Income Tax                             Check all that apply.
         605 W. 4th St.                                        Contingent
         Lorain, OH 44052-1605                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Louisville City Income Tax                         Check all that apply.
         215 S. Mill St.                                       Contingent
         Louisville, OH 44641-1665                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Mansfield City Income Tax                          Check all that apply.
         P.O. Box 577                                          Contingent
         Mansfield, OH 44901-0577                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Marietta City Income Tax                           Check all that apply.
         301 Putnam St.                                        Contingent
         Marietta, OH 45750-3023                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Marion City Income Tax                             Check all that apply.
         233 W. Center St.                                     Contingent
         Marion, OH 43302                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Maumee City Income Tax                             Check all that apply.
         400 Conant St.                                        Contingent
         Maumee, OH 43537-3300                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Michigan Department of Treasury                    Check all that apply.
         P.O. Box 30427                                        Contingent
         Lansing, MI 48922                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Middletown City Income Tax                         Check all that apply.
         P.O. Box 428739                                       Contingent
         Middletown, OH 45042-8739                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Missouri Taxation Division                         Check all that apply.
         P.O. Box 3000                                         Contingent
         Jefferson City, MO 65105                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         NC Dept of Revenue Bankruptcy                      Check all that apply.
         Unit                                                  Contingent
         PO Box 1168                                           Unliquidated
         Raleigh, NC 27602-1168                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         New Mexico Taxation and Revenue                    Check all that apply.
         PO Box 2527                                           Contingent
         Santa Fe, NM 87504-2527                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Newark City Income Tax                             Check all that apply.
         P.O. Box 4577                                         Contingent
         Newark, OH 43058-4577                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         North Carolina Department of                       Check all that apply.
         Revenue                                               Contingent
         P.O. Box 25000                                        Unliquidated
         Raleigh, NC 27640-0640                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Ohio Department of Taxation                        Check all that apply.
         P.O. Box 181140                                       Contingent
         Columbus, OH 43218-1140                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Oregon City Income Tax                             Check all that apply.
         5330 Seaman Road                                      Contingent
         Oregon, OH 43616-2633                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Pennsylvania Department of                         Check all that apply.
         Revenue                                               Contingent
         PO Box 280947                                         Unliquidated
         Bureau of Compliance                                  Disputed
         Harrisburg, PA 17128-0947
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Pickerington City Income Tax                       Check all that apply.
         100 Lockville Rd.                                     Contingent
         Pickerington, OH 43147-1321                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Port Clinton City Income Tax                       Check all that apply.
         1868 E. Perry St.                                     Contingent
         Port Clinton, OH 43452-1499                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Portsmouth City Income Tax                         Check all that apply.
         P.O. Box 1323                                         Contingent
         Portsmouth, OH 45662-1323                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         R.I.T.A.                                           Check all that apply.
         P.O. Box 89475                                        Contingent
         Cleveland, OH 44101-6475                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Regional Income Tax Agency                         Check all that apply.
         PO Box 94951                                          Contingent
         Cleveland, OH 44101-4951                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Rockford Village Income Tax                        Check all that apply.
         P.O. Box 282                                          Contingent
         Rockford, OH 45882                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Shelby County Occupational                         Check all that apply.
         License Offic                                         Contingent
         419 Washington Street                                 Unliquidated
         Shelbyville, KY 40065                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         South Carolina Department of                       Check all that apply.
         Revenue                                               Contingent
         PO Box 125                                            Unliquidated
         Columbia, SC 29214-0036                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.83     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Springfield City Income Tax                        Check all that apply.
         PO Box 5200                                           Contingent
         Springfield, OH 45501-5200                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.84     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         State of Tennessee Department of                   Check all that apply.
         Revenue                                               Contingent
         500 Deadrick Street                                   Unliquidated
         Nashville, TN 37242                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.85     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $340,543.92   $13,650.00
         Steve Murphy                                       Check all that apply.
         1918 Sunrise Key Blvd                                 Contingent
         Fort Lauderdale, FL 33304                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.86     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Tar Heel Tax Consulting                            Check all that apply.
         1213 W. Moorehead Street                              Contingent
         Floor 5                                               Unliquidated
         Charlotte, NC 28208                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.87     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Texas Comptroller of Public                        Check all that apply.
         Accounts                                              Contingent
         P.O. Box 149348                                       Unliquidated
         Austin, TX 78714-9348                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.88     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         The City of Parma; Division of                     Check all that apply.
         Taxation                                              Contingent
         P.O. Box 94734                                        Unliquidated
         Cleveland, OH 44101-4734                              Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.89     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         The Hartford                                       Check all that apply.
         P.O. Box 14472                                        Contingent
         Lexington, KY 40512                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.90     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Town of Fayetteville                               Check all that apply.
         P.O. Box 298                                          Contingent
         Fayetteville, WV 25840                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.91     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,639,057.00   Unknown
         U.S. Department of Labor                           Check all that apply.
         Wage and Hour Division                                Contingent
         4407 Bland Road                                       Unliquidated
         Suite 260                                             Disputed
         Raleigh, NC 27609-6296
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 4015               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.92     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $0.00    $0.00
         Virgina Department of Taxation                     Check all that apply.
         P.O. Box 1500                                         Contingent
         Richmond, VA 23218-1500                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.93     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $0.00    $0.00
         Washington Ct. House Income Tax                    Check all that apply.
         117 N Main St.                                        Contingent
         Washington Court House, OH                            Unliquidated
         43160                                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.94     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $0.00    $0.00
         West Virginia State Tax                            Check all that apply.
         Department                                            Contingent
         PO Box 11751                                          Unliquidated
         Charleston, WV 25339-1751                             Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      Power Home Solar, LLC                                                                    Case number (if known)
            Name

2.95     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Westerville Division of Revenue                    Check all that apply.
         P.O. Box 130; 64 East Walnut St.                      Contingent
         Westerville, OH 43086-0130                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.96     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $442,714.88   $13,650.00
         William Jayson Waller                              Check all that apply.
         16520 Reinsch                                         Contingent
         Davidson, NC 28036                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.97     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Wilmington City Income Tax                         Check all that apply.
         P.O. Box 786                                          Contingent
         Wilmington, OH 45177                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.98     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $0.00   $0.00
         Wooster City Income Tax                            Check all that apply.
         P.O. Box 1088                                         Contingent
         Wooster, OH 44691-7081                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor        Power Home Solar, LLC                                                                      Case number (if known)
              Name

2.99       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $0.00   $0.00
           Zanesville City Income Tax                           Check all that apply.
           401 Market St.                                          Contingent
           Zanesville, OH 43701-3520                               Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $21,077.74
          1020 APR, LLC                                                           Contingent
          1704 Millard St                                                         Unliquidated
          Bethlehem, PA 18017                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $12,046.24
          12 Bravo Construction Companies, LLC                                    Contingent
          5205 Spring Branch Dr                                                   Unliquidated
          Pearland, TX 77584                                                      Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $72,743.00
          180 Degrees Azimuth Renewable Energy Sol                                Contingent
          12/1 11th Main Srinagar                                                 Unliquidated
          Bangalore,Karnataka,560050                                              Disputed
          INDIA
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $780.00
          2701 Holloway Rd, LLC                                                   Contingent
          303 Middletown Park Place Suite E                                       Unliquidated
          Louisville, KY 40243                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $5,378.17
          349 Mall Boulevard LLC                                                  Contingent
          543 Ft McAllister Rd                                                    Unliquidated
          Richmond Hill, GA 31324                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




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            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,623.96
         4374 WS Real Estate LLC                                      Contingent
         605 Abbywood Dr                                              Unliquidated
         Roswell, GA 30075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,152.19
         615GP, LLC                                                   Contingent
         PO Box 41504                                                 Unliquidated
         Nashville, TN 37204                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,595.50
         800 Response Marketing, LLC                                  Contingent
         1795 Williston Rd Suite 200                                  Unliquidated
         South Burlington, VT 05403                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $125,000.00
         829 Studios                                                  Contingent
         PO Box 1323                                                  Unliquidated
         Brattleboro, VT 05302-1323                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,395.51
         908 Auto Service, LLC.                                       Contingent
         3433 Saxonburg Rd                                            Unliquidated
         Natrona Heights, PA 15065                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,427.50
         951 Macron Blvd. LP                                          Contingent
         1611 Pond Rd                                                 Unliquidated
         Allentown, PA 18104                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,762.57
         A Shred Ahead                                                Contingent
         28883 Network Place                                          Unliquidated
         Chicago, IL 60673-1288                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,185.00
         A&B Janitorial Service Inc                                   Contingent
         50665 Central Industrial Dr.                                 Unliquidated
         Shelby Township, MI 48315                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $615,615.13
         ABC Supply Co. Inc.                                          Contingent
         15631 Collection Center                                      Unliquidated
         Chicago, IL 60693-0156                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $804.09
         ACC Buisness                                                 Contingent
         PO Box 5077                                                  Unliquidated
         Carol Stream, IL 60197-5077                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,000.00
         Access Group of Miami                                        Contingent
         6130 West Flamingo Road                                      Unliquidated
         PO Box 907                                                   Disputed
         Las Vegas, NV 89103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,425.00
         ACI Transport                                                Contingent
         320 W 9 Mile Rd                                              Unliquidated
         Ferndale, MI 48220                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $192.20
         Advanced Mailing Systems                                     Contingent
         PO Box 609                                                   Unliquidated
         Arden, NC 28704                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $294.06
         AEP                                                          Contingent
         PO BOX 371883                                                Unliquidated
         Pittsburgh, PA 15250-7883                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $450.00
         AFC Physicians of Tennessee PC                               Contingent
         PO Box 734317                                                Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $461,614.27
         AFCO                                                         Contingent
         PO Box 371889                                                Unliquidated
         Pittsburgh, PA 15250-7889                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,704.05
         Aire Serv Of Rowan County                                    Contingent
         1735 West Highway 152                                        Unliquidated
         China Grove, NC 28023                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $175.00
         Alamo Construction, LLC                                      Contingent
         6064 Lute Rd                                                 Unliquidated
         Portage, IN 46368                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,359.00
         All Star Vending, Inc                                        Contingent
         3443 Military St                                             Unliquidated
         Port Huron, MI 48060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $850.00
         Allied Electrical Services                                   Contingent
         25217 Michigan Ave                                           Unliquidated
         Dearborn, MI 48124                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $944.23
         Ally Financial                                               Contingent
         P.O. Box 9001951                                             Unliquidated
         Louisville, KY 40290-1951                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $309,244.35
         AM Conservation Group                                        Contingent
         1701 Charleston Regional Parkway                             Unliquidated
         Suite A                                                      Disputed
         Charleston, SC 29492
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,867.44
         American Disposal Services of Georgia, I                     Contingent
         3 Waterway Square Place                                      Unliquidated
         Suite 110                                                    Disputed
         The Woodlands, TX 77380
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,962.88
         American National Insurance Company                          Contingent
         8502-27                                                      Unliquidated
         PO Box 181300                                                Disputed
         Farifield, OH 45018-1300
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $115.14
         American Pest Control                                        Contingent
         11820 West Market Place                                      Unliquidated
         Suite A                                                      Disputed
         Fulton, MD 20759
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,622.19
         American Roofing Supply                                      Contingent
         7440 State Highway 121                                       Unliquidated
         McKinney, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $347.17
         AmeriGas                                                     Contingent
         375 WMain St                                                 Unliquidated
         Brownsburg, IN 46112-9785                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $161,600.00
         ami+partners Advantage Media                                 Contingent
         PO Box 45                                                    Unliquidated
         Captiva, FL 33924                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,412.77
         Angelic Solar, LLC                                           Contingent
         2000 Auburn Dr                                               Unliquidated
         Suite 200                                                    Disputed
         Beachwood, OH 44122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $56,254.64
         Applegate Greenfiber Acquisition                             Contingent
         1603 Orrington Ave                                           Unliquidated
         Suite 700                                                    Disputed
         Evantson, IL 60201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $110.70
         Aqua Filter Fresh, Inc.                                      Contingent
         Tyler Mountain Water Co.                                     Unliquidated
         1 Commerce Drive                                             Disputed
         Pittsburgh, PA 15239
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $149.35
         Armstrong Business Solutions                                 Contingent
         437 N. Main Street                                           Unliquidated
         Butler, PA 16001-4358                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $32,287.75
         Artisan Signs And Graphics, Inc.                             Contingent
         18335 Old Statesville Rd. Suite L                            Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,125.00
         Aspen Contracting, Inc                                       Contingent
         4141 NE Lakewood Way                                         Unliquidated
         Lee's Summit, MO 64064                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $296.70
         Astound Business Solutions                                   Contingent
         PO Box 11816                                                 Unliquidated
         Newark, NJ 07101-8116                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,915.00
         Audio Eye, Inc                                               Contingent
         5210 E Williams Circle, Suite 750                            Unliquidated
         Tucson, AZ 85711                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,729,810.00
         Aurora Solar Inc.                                            Contingent
         434 Brannan Street                                           Unliquidated
         San Francisco, CA 94107                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $53,814.00
         Auto Action Technologies, Inc                                Contingent
         121 N Michigan Ave                                           Unliquidated
         Kenilworth, NJ 07033                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,111.43
         B&L Wholesale Supply                                         Contingent
         16687 Collection Center Dr                                   Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,083.94
         Badger Daylighting Corp                                      Contingent
         4910 N Cr 900 East                                           Unliquidated
         Brownsburg, IN 46112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,882.00
         Baker & Hostetler LLP                                        Contingent
         Key Tower                                                    Unliquidated
         127 Public Square, Suite 2000                                Disputed
         Cleveland, OH 44114-1214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $21,150.00
         Barba CFO                                                    Contingent
         200 Centerville Road, Unit 7                                 Unliquidated
         Warwick, RI 02886                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Barbara Clarke                                               Contingent
         Scott A. Radloff P71154                                      Unliquidated
         P.O. Box 173                                                 Disputed
         Sandusky, MI 48471
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $75.00
         Bargain Dumpster, LLC                                        Contingent
         208 Treyburn Cir                                             Unliquidated
         Irmo, SC 29063                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Bates et al
         John D. Philo Anthony D. Paris Sugar Law                     Contingent
         4605 Cass Avenue                                             Unliquidated
         2nd Floor                                                    Disputed
         Detriot, MI 48201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,373.77
         Beaman Dodge Chrysler Jeep Ram                               Contingent
         1705 S Church St                                             Unliquidated
         Murfreesboro, TN 37130                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Bell
         Kevin E. Werner                                              Contingent
         405 North Main Street                                        Unliquidated
         Suite D                                                      Disputed
         Crown Point, IN 46307
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $107,600.00
         Best Edit Studios, LLC                                       Contingent
         29200 Northwestern Hwy #130                                  Unliquidated
         Southfiled, MI 48034                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,532.78
         Better Business Solutions                                    Contingent
         310 Wilson Pike Circle                                       Unliquidated
         Bentwood, TN 37027                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $126,493.78
         Big Fish Communications, Inc                                 Contingent
         283 Newbury St                                               Unliquidated
         Boston, MA 02115                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,432.70
         Black Label Builders, Inc                                    Contingent
         232 Heslop Rd                                                Unliquidated
         Mountain Top, PA 18707                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $325.00
         Bolingbrook Area Chamber of Commerce                         Contingent
         201 Canterbury Lane Unit B                                   Unliquidated
         Bolingbrook, IL 60440                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,804.44
         Bonnymeads EPD LP                                            Contingent
         PO Box 4153                                                  Unliquidated
         Harrisburg, PA 17111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,728.00
         Boomi, Inc.                                                  Contingent
         1400 LIBERTY RIDGE DR.                                       Unliquidated
         CHESTERBROOK, PA 19087                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $151,900.00
         Bowers Engineering Services                                  Contingent
         127 South Main Street                                        Unliquidated
         Auburn, IN 46706                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35,329.50
         Bring IT by Macro, LLC.                                      Contingent
         112 Summer Lakes Dr                                          Unliquidated
         Cary, NC 27513                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,250.00
         Brooks Engineering                                           Contingent
         3949 Joslin Lane                                             Unliquidated
         Vacaville, CA 95688                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $53.76
         Buckeye Culligan                                             Contingent
         4040 Fondorf Dr                                              Unliquidated
         Colubus, OH 43228                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,942.00
         Budget Dumpster, LLC                                         Contingent
         830 Canterbury Rd                                            Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,539.25
         Buhl Insurance Agency, Inc                                   Contingent
         4204 East Ewalt Rd                                           Unliquidated
         Gibsonia, PA 15044                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,050.00
         Bunn Box, Inc                                                Contingent
         3204 Lower Huntington Rd                                     Unliquidated
         Fort Wayne, IN 46809                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,603.67
         Caesh Properties LLC                                         Contingent
         423 South 2nd Street                                         Unliquidated
         St. Charles, IL 60174                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $38,945.00
         CallMiner, Inc                                               Contingent
         200 West St                                                  Unliquidated
         Waltham, MA 02451                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,601.82
         Carleton Equipment                                           Contingent
         PO Box 2208                                                  Unliquidated
         Decatur, AL 35609-2208                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,659.58
         Carmel View Investment Advisors LLC                          Contingent
         4817 Hardison Rd                                             Unliquidated
         Charlotte, NC 28226                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,662.93
         Carolina PRG                                                 Contingent
         8720 Red Oak Blvd Ste 415                                    Unliquidated
         Charlotte`, NC 28217                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,979.67
         Caskie & Frost                                               Contingent
         PO Box 6320                                                  Unliquidated
         Lynchburg, VA 24505                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,000.00
         CastBox                                                      Contingent
         4400 Route 9 South Suite 1000                                Unliquidated
         Freehold, NJ 07728                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,475.00
         Catapult Employers Association, Inc                          Contingent
         3150 Spring Forest Rd, Suite 116                             Unliquidated
         Raleigh, NC 27616                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Catherine (Kitty) & Bradley Lohrum                           Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $44,538.30
         CCAP Auto Lease LTD DBA Chrysler Capital                     Contingent
         1601 Elm Street, Suite 800                                   Unliquidated
         Dallas, TX 75201                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,619,305.33
         CED Greentech                                                Contingent
         PO Box 936557                                                Unliquidated
         Atlanta, GA 31193-6557                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $46,515.00
         CFGI Holdings, LLC                                           Contingent
         1 Lincoln Street Suite 1301                                  Unliquidated
         Boston, MA 02111                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,149.00
         Chapman Family Partnership Seven, LTD                        Contingent
         PO Box 42262                                                 Unliquidated
         Houston, TX 77242-2262                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,000.00
         Chappell Group, LLC                                          Contingent
         250 Kyland Cove Ave                                          Unliquidated
         Las Vegas, NV 89123                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,000.00
         Charlotte Motor Speedway, LLC                                Contingent
         PO Box 600                                                   Unliquidated
         Concord, NC 28026                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Cheryl A. Lawson Individually and Admin.                     Contingent
         Dan R. Francis Dan Francis Law Firm                          Unliquidated
         P.O. Box 575                                                 Disputed
         Lexington, NC 27293
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $336,305.43
         Cintas-200                                                   Contingent
         PO BOX 630803                                                Unliquidated
         Cincinnati, OH 45263-0803                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $24,377.36
         CIT                                                          Contingent
         10201 Centurion Parkway North                                Unliquidated
         Suite 100                                                    Disputed
         Jacksonville, FL 32256
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $425,897.11
         City Electric Supply                                         Contingent
         P.O. Box 13507                                               Unliquidated
         Greensboro, NC 27415                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $116.06
         City of Marshfield                                           Contingent
         798 S. Marshall                                              Unliquidated
         Marshfield, MO 65706                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,362.50
         CliftonLarsonAllen LLC                                       Contingent
         220 S 6th St                                                 Unliquidated
         Suite 300                                                    Disputed
         Minneapolis, MN 55402-1418
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,350.00
         Company Nurse, LLC                                           Contingent
         8360 E Via De Ventura, Suite L-200                           Unliquidated
         Scottsdale, AZ 85258                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,572.00
         Concentra                                                    Contingent
         PO Box 5106                                                  Unliquidated
         Southfield, MI 48086-5106                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,330.52
         Concord Property Development, LLC                            Contingent
         500 South Main Street                                        Unliquidated
         Mooresville, NC 28115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $37,318.40
         Concur Technologies, Inc.                                    Contingent
         601108th Ave NE, Suite 1000                                  Unliquidated
         Belleview, WA 98004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $88,240.00
         ConsumerAffairs                                              Contingent
         297 Kingsbury Grade                                          Unliquidated
         Suite 1025 Mailbox 4470                                      Disputed
         Stateline, NV 89449-4470
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $29,000.00
         Contact Center Compliance Corp                               Contingent
         350 E Street                                                 Unliquidated
         Santa Rosa, CA 95404                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,976.30
         County Waste                                                 Contingent
         PO Box 8010                                                  Unliquidated
         Clifton Park, NY 12065-8010                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Craig Berger                                                 Contingent
         Stace L. Roth Sean R. Steberger Schulman                     Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $559.53
         Culligan Water Conditioning                                  Contingent
         2703 Airport Road                                            Unliquidated
         Plant City, FL 33563                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,583.66
         Cure Holdings III, LLC                                       Contingent
         2733 E Battlefield St Number 144                             Unliquidated
         Springfield, MO 65804                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,288.75
         Darling's Professional Cleaning Service                      Contingent
         135 Cup Chase Dr                                             Unliquidated
         Mooresville, NC 28115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $803,175.69
         Darrow Everett LLP                                           Contingent
         One Turkshead Place, Suite 1200                              Unliquidated
         Providence, RI 02903                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         David & Debbi Hutzell                                        Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         David Messick                                                Contingent
         Justin Johl Shook, Hardy & Bacon, LLP                        Unliquidated
         2555 Grand Boulevard                                         Disputed
         Kansas City, MO 64108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         David Wallis
         Jennifer Catherine Snow                                      Contingent
         222 South Central Avenue                                     Unliquidated
         Suite 1100                                                   Disputed
         St. Louis, MO 63105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         David Walton Hartman & Suzanne Renee
         Lew
         Robert N. Young Carruthers & Roth, P.A.                      Contingent
         235 North Edgeworth Street                                   Unliquidated
         P.O. Box 540                                                 Disputed
         Greensboro, NC 27402
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,671.86
         DCL Construction, Inc                                        Contingent
         5298 Bucks Garage Road                                       Unliquidated
         Maiden, NC 28650                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,750.00
         DecisionPathHR                                               Contingent
         8720 Red Oak Blvd Ste 300                                    Unliquidated
         Charlotte`, NC 28217                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,790.00
         Denic Corporation                                            Contingent
         7735 Marsh Rd                                                Unliquidated
         Indianapolis, IN 46278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Denise Farag                                                 Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Dennis Joslin                                                Contingent
         Nicholas G. Higgins A&L Licker Law Firm                      Unliquidated
         1861 Sherman Road                                            Disputed
         St. Charles, MO 63303
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,000.00
         Detroit Athletic Club                                        Contingent
         241 Madison Street                                           Unliquidated
         Detroit, MI 48226                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $678.50
         Dickinson Fleet Services, LLC                                Contingent
         7717 Solution Center                                         Unliquidated
         Chicago, IL 60677-7007                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Dividend Finance                                             Contingent
         One California Street                                        Unliquidated
         San Francisco, CA 94111                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $283,750.00
         DLI Properties LLC                                           Contingent
         2000 Brush Street                                            Unliquidated
         Suite 200                                                    Disputed
         Detroit, MI 48226
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,453.61
         Dock & Door National LLC                                     Contingent
         920 Cedar Ave                                                Unliquidated
         St Charles, IL 60174                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $65,147.50
         Docusign                                                     Contingent
         Dept 3428                                                    Unliquidated
         PO BOX 123428                                                Disputed
         Dallas, TX 75312-3428
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,394.92
         Donnellon McCarthy                                           Contingent
         10855 Medallion Dr.                                          Unliquidated
         Cincinnati, OH 45241                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $71,497.14
         Dropbox                                                      Contingent
         1800 Owens St Suite 200                                      Unliquidated
         San Francisco, CA 94158                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $182.84
         Duke Energy                                                  Contingent
         PO Box 602566                                                Unliquidated
         Charlotte, NC 28260-2566                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,551.18
         Dumpsters.com                                                Contingent
         830 Canterbury Rd                                            Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,378.00
         Dun & Bradstreet, Inc.                                       Contingent
         101 JFK Parkway                                              Unliquidated
         Short Hills, NJ 07078                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,934.79
         Dunham Hildebrand, PLLC                                      Contingent
         2416 21st Avenue South                                       Unliquidated
         Suite 303                                                    Disputed
         Nashville, TN 37212
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $39,657.65
         EAN Services, LLC                                            Contingent
         PO Box 402383                                                Unliquidated
         Atlanta, GA 30384-2334                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $693.88
         Ease Plumbing                                                Contingent
         19109 West Catawba Ave                                       Unliquidated
         Suite 110                                                    Disputed
         Cornelius, NC 28037
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $220,288.83
         Elliott Davis, LLC/PLLC                                      Contingent
         PO Box 6286                                                  Unliquidated
         Greenville, SC 29606-6286                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $46,631.93
         Empellor Marketing Systems                                   Contingent
         12150 E Briarwood Ave Ste 210                                Unliquidated
         Centennial, CO 80112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8,480.00
         Energyscape Renewables, LLP
         17th Stone, Thashnath House                                  Contingent
         Chenthrappinni P O,                                          Unliquidated
         Thrissur,Kerala,680687                                       Disputed
         INDIA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $200.00
         Engarde                                                      Contingent
         353 Ironwood Dr.                                             Unliquidated
         Salt Lake City, UT 84115                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $313,159.67
         Enterprise FM Trust                                          Contingent
         Enterprise Fleet Mgmt Customer Billing                       Unliquidated
         PO BOX 800089                                                Disputed
         Kansas City, MO 64180-0089
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,250.00
         Eric L. Smith                                                Contingent
         678 Ekastown Rd.                                             Unliquidated
         PO Box 145                                                   Disputed
         Sarver, PA 16055
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Erik Steffen                                                 Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $430,331.97
         Everest National Insurance                                   Contingent
         PO Box 14516                                                 Unliquidated
         Lexington, KY 40512                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,875.00
         Fayetteville Warehouse Storage, LLC                          Contingent
         PO Box 64076                                                 Unliquidated
         Fayetteville, NC 28306                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,309.15
         First Piedmont Waste Solutions                               Contingent
         PO Box 1069                                                  Unliquidated
         Chatham, VA 24531                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $100.00
         Fish Window Cleaning                                         Contingent
         PO Box 152323                                                Unliquidated
         Tampa, FL 33684                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $247,578.64
         Five9, Inc.                                                  Contingent
         3001 Bishop Drive                                            Unliquidated
         Ste 350                                                      Disputed
         San Ramon, CA 94583
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $36,042.94
         FleetNet America, Inc.                                       Contingent
         PO Box 970                                                   Unliquidated
         Cherryville, NC 28021                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $22,230.00
         FloQast, Inc                                                 Contingent
         14721 Califa St                                              Unliquidated
         Sherman Oaks, CA 91411                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $482.65
         Foliage Concepts                                             Contingent
         PO Box 18567                                                 Unliquidated
         Asheville, NC 28814                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $105.97
         Forklift Systems Inc.                                        Contingent
         884 Elm Hill Pike                                            Unliquidated
         PO Box 100913                                                Disputed
         Nashville, TN 37210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,746.75
         Foster, Swift, Collins & Smith, P.C.                         Contingent
         313 S. Washington Square                                     Unliquidated
         Lansing, MI 48933                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Frank Glover
         Michael Deal Alderman & Hutcherson, LLC                      Contingent
         487 Cherry Street                                            Unliquidated
         Box 8                                                        Disputed
         Macon, GA 31201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,266.49
         Fraser Advanced Information Systems onli                     Contingent
         320 Penn Ave                                                 Unliquidated
         West Reading, PA 19611                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $37,013.98
         Fred Pryor Seminars & Career Track                           Contingent
         5700 Broadmoor St Suite 300                                  Unliquidated
         Mission, KS 66202                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,822.51
         FrontApp, Inc                                                Contingent
         1455 Market Street Floor 19                                  Unliquidated
         San Francisco, CA 94103                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,200.00
         G.A. Fleming Real Estate, LLC                                Contingent
         50E 1000N                                                    Unliquidated
         Decatur, IN 46733                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,000.00
         GaugeMedia LLC                                               Contingent
         20230 Sportsman Drive                                        Unliquidated
         Cornelius, NC 28031                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,706,908.79
         Generac Power Systems, Inc                                   Contingent
         S45 W29290 Hwy 59                                            Unliquidated
         Waukesha, WI 53189
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,490.58
         GFI Digital                                                  Contingent
         PO Box 775010                                                Unliquidated
         St. Louis, MO 63177-5010                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,448.95
         GHA Technologies, Inc                                        Contingent
         8998 E Raintree Drive                                        Unliquidated
         Scottsdale, AZ 85260                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,671.34
         GKI Infill Cincinnati, LLC                                   Contingent
         C/O Investcorp                                               Unliquidated
         280 Park Ave                                                 Disputed
         New York, NY 10017
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,025.00
         Global Motivation, Inc                                       Contingent
         2711 N Sepulveda Blvd #287                                   Unliquidated
         Manhattan Beach, CA 90266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $111,270.15
         GM Financial DBA AmeriCredit                                 Contingent
         PO Box 78143                                                 Unliquidated
         Phoenix, AZ 85062-8143                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $623.79
         Goodleap                                                     Contingent
         8781 Sierra College Blvd                                     Unliquidated
         Roseville, CA 95661                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Goodleap                                                     Contingent
         8781 Sierra College Blvd                                     Unliquidated
         Roseville, CA 95661                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49,500.00
         GPS Dashboard, Inc                                           Contingent
         262 Arlington Ave                                            Unliquidated
         Kensington, CA 94707                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $589.29
         Gray & Creech Office Systems                                 Contingent
         PO Box 49373                                                 Unliquidated
         Greensboro, NC 27419                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,825.20
         Graybar                                                      Contingent
         34 N Meramec Ave                                             Unliquidated
         Clayton, MO 63105                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Graybar Electric Company, Inc.
         Jonathan W. Massell Nexsen Pruet, PLLC.                      Contingent
         4141 Parklake Avenue                                         Unliquidated
         Suite 200                                                    Disputed
         Raleigh, NC 27612
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $272.00
         Green It Up Yardscapes                                       Contingent
         9734 Capella Avenue Nw                                       Unliquidated
         Concord, NC 28027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,029.33
         Guardian Alarm                                               Contingent
         75 Remittance Drive Dept 1376                                Unliquidated
         Chicago, IL 60675-1376                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,075.58
         Gudorf Plumbing Heating Cooling Electric                     Contingent
         1280 3rd Ave                                                 Unliquidated
         Jasper, IN 47546                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $789,270.18
         Guru Cultivation LLC                                         Contingent
         1485 Ashford Ave Apt 14C South                               Unliquidated
         San Juan, PR 00907                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,175.00
         Hal Poret LLC                                                Contingent
         142 Hunter AVe                                               Unliquidated
         Sleepy Hollow, NY 10591                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,518.00
         Harker LLC                                                   Contingent
         122 W Bland Street, Suite A                                  Unliquidated
         Charlotte, NC 28203                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $56,403.00
         Hartford Fire Insurance Compay                               Contingent
         One Hartford Plaza                                           Unliquidated
         Hartford, CT 06155                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $675.06
         HAV-A-CUP Coffee Service & Quality Water                     Contingent
         PO Box 3121                                                  Unliquidated
         Hickory, NC 28603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,160.40
         HayStackID                                                   Contingent
         PO Box 6459                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $386.55
         Heartland Tanning, Inc                                       Contingent
         4250 NE Sun Ct                                               Unliquidated
         Lee's Summit, MO 64064                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,346.25
         Heavyweight Waste Indianapolis                               Contingent
         484 E Carmel Dr #246                                         Unliquidated
         Carmel, IN 46032                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,500.00
         Henson Missouri Properties                                   Contingent
         649 Huntington Rd                                            Unliquidated
         Kansas City, MO 64113                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $47,850.47
         Herc Rentals, Inc.                                           Contingent
         PO Box 936257                                                Unliquidated
         Atlanta, GA 31193                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $200.00
         Hewitt Solutions, PLLC                                       Contingent
         2829 Monteith Rd                                             Unliquidated
         Richmond, VA 23235                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,114.36
         Heyl, Royster, Voelker & Allen, P.C.                         Contingent
         PO Box 6199                                                  Unliquidated
         Peoria, IL 61601                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,887.50
         Hueman People Solutions, LLC                                 Contingent
         320 1st Street N, Suite 101                                  Unliquidated
         Jacksonville Beach, FL 32250                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,045.99
         Huntington National Bank                                     Contingent
         41 South High Street, HC0910                                 Unliquidated
         Columbus, OH 43215                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         IBEW, Local 58
         Richard G. Mack, Jr. Ryan A. Paree Mille                     Contingent
         7700 Second Avenue                                           Unliquidated
         Suite 335                                                    Disputed
         Detriot, MI 48202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,575.67
         Ideal Properties, LLC                                        Contingent
         2732 Grand Ave Ste 122                                       Unliquidated
         Everett, WA 98201                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $74,694.36
         IDI Distributors, Inc.                                       Contingent
         Bin 88008                                                    Unliquidated
         Milwaukee, WI 53288-0008                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $19,115.85
         Image Business Solutions                                     Contingent
         28339 Beck Rd                                                Unliquidated
         SUITE F2                                                     Disputed
         Wilxom, MI 48393
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $24,274.95
         Imaginit Technologies                                        Contingent
         28127 Network Place                                          Unliquidated
         Chicago, IL 60673-1281                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         In Re: v. PHS
         Ryan D. Barack Kwall Barack Nadeau, PLLC                     Contingent
         304 South Belcher Road                                       Unliquidated
         Suite C                                                      Disputed
         Clearwater, FL 33755
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $190,667.95
         Indeed                                                       Contingent
         7501 NORTH CAPITAL OF TEXAS HWY.                             Unliquidated
         AUSTIN, TX 78731                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,898.85
         Information and Computing Services, Inc                      Contingent
         3563 Philips Highway, Suite F-601                            Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $326,589.25
         Insight Direct USA, Inc                                      Contingent
         6820 S Harl Ave                                              Unliquidated
         Tempe, AZ 85283                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,200.52
         Intralinks, Inc                                              Contingent
         622 3rd Ave, 10th Floor                                      Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,410.00
         Irwinton 1677, LLC                                           Contingent
         640 NE 32 St                                                 Unliquidated
         Boca Raton, FL 33431                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,873.67
         James River Air Conditioning Co.                             Contingent
         1905 Westmoreland Street                                     Unliquidated
         Richmond, VA 23230-3225                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,346.57
         Jenkins Environmental, LLC                                   Contingent
         3750 Centerview Dr.                                          Unliquidated
         Chantilly, VA 20151                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Josh Sidham, 16323 Black Run Rd, Orange, VA
         Last 4 digits of account number   6494
                                                                   Is the claim subject to offset?     No       Yes




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3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,421.40
         Jenkins Services, Inc.                                       Contingent
         Jenkins Restoration                                          Unliquidated
         3750 Centerview Dr                                           Disputed
         Chantilly, VA 20151
                                                                   Basis for the claim:    Josh Stidham; 16323 Black Run Rd, Orange, VA
         Date(s) debt was incurred
         Last 4 digits of account number   7478                    Is the claim subject to offset?     No       Yes


3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         John Calvin Hancock
         Robert Underwood Underwood, LLC                              Contingent
         4600 Touchton Road East                                      Unliquidated
         Suite 1150                                                   Disputed
         Jacksonville, FL 28345
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         John Salmon                                                  Contingent
         J. Barrett Lucy Freeman, Dunn, Lucy & Co                     Unliquidated
         1045 Cottonwood Road                                         Disputed
         Lynchburg, VA 24503
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25,000.00
         Josef Newgarden Racing, Inc.                                 Contingent
         44 Park Crescent Circle                                      Unliquidated
         Nashville, TN 37215                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,145.20
         Joseph, Mann & Creed                                         Contingent
         8948 Canyon Falls Blvd Suite 200                             Unliquidated
         Twinsburg, OH 44087                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,910.00
         Junction Climate Control, Inc                                Contingent
         1103 Freeport Rd                                             Unliquidated
         Cheswick, PA 15024                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $848.68
         Kamps Wood Shavings & Refuse Disposal                        Contingent
         280 Bliss Drive Sw                                           Unliquidated
         Grandville, MI 49418                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
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3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,750.88
         Kavaliro                                                     Contingent
         12612 Challenger Parkway, Suite 400                          Unliquidated
         orlando, FL 32626                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35,459.52
         Kendall Electric, Inc                                        Contingent
         P.O. Box 671121                                              Unliquidated
         Detroit, MI 48267-1121                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,000.00
         Kentucky Derby Festival, Inc                                 Contingent
         1001 S. Third St                                             Unliquidated
         Louisville, KY 40203                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,164.67
         Kentwood Plumbing & Heating, Inc.                            Contingent
         3411 32nd St SE                                              Unliquidated
         Grand Rapids, MI 49512                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $274,129.74
         King Tutt Graphics LLC                                       Contingent
         1113 Transport Dr                                            Unliquidated
         Raleigh, NC 27603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $21,910.99
         Kohl Building Products                                       Contingent
         7440 STATE HIGHWAY 121                                       Unliquidated
         MCKINNEY, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $72,231.65
         Kramer Levin Naftalis & Frankel, LLP                         Contingent
         1177 Avenue of the Americas                                  Unliquidated
         New York, NY 10036                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $302.76
         Labor Law Compliance Center, LLC                             Contingent
         23855 Gosling Road                                           Unliquidated
         Spring, TX 77389                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Latricia Beer                                                Contingent
         Ravid & Associates, P.C.                                     Unliquidated
         23855 Northwestern Highway                                   Disputed
         Southfield, MI 48075
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,170.00
         Lauletta Birbaum LLC                                         Contingent
         591 Mantua Blvd                                              Unliquidated
         Sewell, NJ 08080                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,229.71
         LDC Hub Limited                                              Contingent
         28045 Ranney Parkway, Suite E                                Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $471.49
         Lineage                                                      Contingent
         1629 Cross Beam Dr                                           Unliquidated
         Charlotte, NC 28217                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $55,727.04
         Linkedin Corp                                                Contingent
         1000 West Maude Ave                                          Unliquidated
         Sunnyvale, CA 94085                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,800.00
         Listen 360                                                   Contingent
         11625 Rainwater Dr.                                          Unliquidated
         Suite 645                                                    Disputed
         Alpharetta, GA 30009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,838.06
         Lord Law Firm, PLLC                                          Contingent
         1057 East Morehead Street                                    Unliquidated
         Suite 120                                                    Disputed
         Charlotte, NC 28204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,939.19
         Louis T. Ollesheimer & Son, Inc.                             Contingent
         605 E. 12 Mile Road                                          Unliquidated
         Madison Heights, MI 48071                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $302.32
         Louisville Water                                             Contingent
         2521 Halloway Rd                                             Unliquidated
         Louisville, KY 40279                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $77,584.11
         MacAllister Rentals                                          Contingent
         Dept. 78731                                                  Unliquidated
         P.O. Box 78000                                               Disputed
         Detroit, MI 48278-0731
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,888.92
         Maddox Industrial Transformer, LLC                           Contingent
         865 Victor Hill Rd                                           Unliquidated
         Greer, SC 29651                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $700.00
         Made From Scratch                                            Contingent
         2454 Wellington Chase Dr                                     Unliquidated
         Concord, NC 28027                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,600.00
         Magentrix                                                    Contingent
         50 Minthorn Blvd, Unit 502                                   Unliquidated
         Thornhill,ON,L3T7X8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $35.00
         Mainstream Fiber Networks, LLC                               Contingent
         4588 Old State Route 46                                      Unliquidated
         Nashville, IN 47448                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,762.00
         Marwan N Saliba (Nick)                                       Contingent
         9022 Linksvue Dr                                             Unliquidated
         Knoxville, TN 37923                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,633.99
         MC General Contracting, LLC                                  Contingent
         5 S Oak St                                                   Unliquidated
         Mount Carmel, PA 17851                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,278.75
         McLip Properties, LLC                                        Contingent
         3330 Hollins Rd Suite A                                      Unliquidated
         Roanoke, VA 24012                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,428,940.98
         McNaughton-McKay                                             Contingent
         P.O. Box 890976                                              Unliquidated
         Charlotte, NC 28289                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $913.00
         Med Express                                                  Contingent
         Pc Virginia                                                  Unliquidated
         PO BOX 7962                                                  Disputed
         Belfast, ME 04915-7900
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $728.00
         MedExpress Urgent Care, PC-Pennsylvania                      Contingent
         PO Box 7964                                                  Unliquidated
         Belfast, ME 04915-7900                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $750.85
         MediaCom Business                                            Contingent
         PO Box 5744                                                  Unliquidated
         Carol Stream, MO 65804-7233                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,300.00
         Mercer (US) inc                                              Contingent
         PO Box 730212                                                Unliquidated
         Dallas, TX 75373-0212                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $190,870.01
         Merchants Automotive Group Inc                               Contingent
         14 Central Park Drive                                        Unliquidated
         1st Floor                                                    Disputed
         Hooksett, NH 03106-2407
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Merchants Automotive Group, LLC (Merchan
         Michael J. Lambert Sheehan, Phinney, Bas                     Contingent
         1000 Elm Street                                              Unliquidated
         17th Floor                                                   Disputed
         Manchester, NH 03105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,063.93
         Meridian Waste North Carolina, LLC                           Contingent
         PO Box 37010                                                 Unliquidated
         Raleigh, NC 27627                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Messick                                                      Contingent
         Justin Johl Shook, Hardy & Bacon, LLP                        Unliquidated
         2555 Grand Boulevard                                         Disputed
         Kansas City, MO 64108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,563,833.67
         Meta Platforms, Inc.                                         Contingent
         1601 Willow Rd                                               Unliquidated
         Melno Park, CA 94025                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,995.46
         MG Harmony Farms, LLC                                        Contingent
         C/O Sturges Property Group                                   Unliquidated
         202 West Berry St. Suite 500                                 Disputed
         Fort Wayne, IN 46802-2248
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,489.50
         Michael Best & Friedrich Llp                                 Contingent
         River POint                                                  Unliquidated
         444 West Lake Street                                         Disputed
         Chicago, IL 60606
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Michael Gillespie
         Christopher Wetherbee Oberholtzer Filous                     Contingent
         39 Public Square                                             Unliquidated
         Suite 301                                                    Disputed
         Medina, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $38,038.24
         Michigan.com/Detroit Free Press/ Localiq                     Contingent
         3964 Solutions Center                                        Unliquidated
         Chicago, IL 60677-3009                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $226,092.56
         Microsoft Online, Inc                                        Contingent
         6880 Sierra Center Parkway                                   Unliquidated
         Reno, NV 89511                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,047.50
         Middle Georgia Truck Repair                                  Contingent
         6391 Hawkinsville Rd                                         Unliquidated
         Macon, GA 31216                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,402.64
         Midland 6327, LLC                                            Contingent
         132 Citizens Blvd                                            Unliquidated
         Simpsonville, KY 40067                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,778.56
         Midwest Roofing Supply                                       Contingent
         7440 State Highway 121                                       Unliquidated
         McKinney, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $168,751.51
         Mike Albert Leasing, Inc                                     Contingent
         10340 Evendale Dr                                            Unliquidated
         Cincinnati, OH 45241                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,366.78
         Mitch Smith Auto Service & Sales LLC                         Contingent
         4570 West State RD 22                                        Unliquidated
         Anderson, IN 46011                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Mondello et al                                               Contingent
         Stacie L. Roth Schulman, Roth & Associat                     Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Montrell Warren                                              Contingent
         W. Mark Broadwell Forbes & Broadwell                         Unliquidated
         606 Aberdeen Road                                            Disputed
         Hampton, VA 23661
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $170.09
         Municipal Authority Of Buffalo Township                      Contingent
         707 South Pike Road                                          Unliquidated
         Sarver, PA 16055                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,924.08
         NB Handy                                                     Contingent
         PO Box 11407                                                 Unliquidated
         Birmingham, AL 35246-1653                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,750.00
         Nearmap US Inc.                                              Contingent
         10897 South River Front Parkway                              Unliquidated
         Suite 150                                                    Disputed
         South Jordan, UT 84095
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,159.46
         Neely Coble Company, Inc.                                    Contingent
         PO Box 100347                                                Unliquidated
         Nashville, TN 37224-0347                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,345.52
         New Branch Real Estate Advisors LLC Trus                     Contingent
         167 Church St                                                Unliquidated
         Concord, NC 28025                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,107.65
         New South Waste, Inc                                         Contingent
         PO Box 3549                                                  Unliquidated
         West Columbia, SC 29171                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Nicholas Heiland & Jessica Thornton                          Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,005.50
         Normandy Place, LLC                                          Contingent
         425 West Capitol Ave, Suite 300                              Unliquidated
         Little Rock, AR 72201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $96.00
         NTA, Inc.                                                    Contingent
         P.O. Box 508                                                 Unliquidated
         Mooresville, NC 28115                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,000.00
         Oakstar Properties, LLC                                      Contingent
         8319-201 Six Forks Rd                                        Unliquidated
         Raleigh, NC 27615                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $227.99
         Offix                                                        Contingent
         13525 Wellington Center Circle                               Unliquidated
         Suite 107                                                    Disputed
         Gainesville, VA 20155
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,426.62
         Ohio Bureau Of Workers                                       Contingent
         PO Box 89492                                                 Unliquidated
         Cleveland, OH 44101-6492                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $28,400.76
         Oracle Netsuite                                              Contingent
         Bank Of America Lockbox Services                             Unliquidated
         15612 Collections Center Dr.                                 Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,000.00
         P.J. Strydom t/a Ps Webb                                     Contingent
         31 Horseshoe Crescent                                        Unliquidated
         Waterfall,3652                                               Disputed
         SOUTH AFRICA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $138,000.00
         Paragon Safety Group, LLC                                    Contingent
         829 Purser Driver                                            Unliquidated
         Suite 2325                                                   Disputed
         Raleigh, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Paragon Safety Group, LLC
         Thomas C. Wolff Ward & Smith, P.A.                           Contingent
         751 Corporate Center Drive, Suite 300                        Unliquidated
         P.O. Box 33009                                               Disputed
         Raleigh, NC 27636
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $300.00
         Parker Lanscaping Inc                                        Contingent
         2024 Canton Rd                                               Unliquidated
         Marietta, GA 30066                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $734.00
         Patient First                                                Contingent
         PO Box 76389                                                 Unliquidated
         Baltimore, MD 21275-6389                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $207,185.00
         Penn Fusion Engineering                                      Contingent
         152 S.Broad St                                               Unliquidated
         Lansdale, PA 19446                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $35.00
         Physicians Urgent Care                                       Contingent
         PO Box 6601                                                  Unliquidated
         Carol Stream, IL 60197-6601                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $13,075.00
         Pine Grove, LLC                                              Contingent
         1685 H Street Unit 205                                       Unliquidated
         Blaine, WA 98230                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,475.00
         Pittsburgh Home & Garden Show                                Contingent
         857 Western Ave                                              Unliquidated
         Pittsburgh, PA 15233                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,400.00
         Please Don't Go LLC                                          Contingent
         977 E 14 Mile Rd                                             Unliquidated
         Troy, MI 48092                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,955.23
         Porter Realty Company, Inc.                                  Contingent
         PO Box 6482                                                  Unliquidated
         Richmond, VA 23230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,375.00
         PossibleNOW, Inc                                             Contingent
         4400 River Green Parkway Suite 100                           Unliquidated
         Duluth, GA 30096                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $85.21
         Powers Business Machines, Inc.                               Contingent
         9701 Warwick Blvd                                            Unliquidated
         New Port News, VA 23601                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,036.92
         Precision Copy Products, Inc.                                Contingent
         600 State Street                                             Unliquidated
         Carleton, PA 15025                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $463.95
         Priority Waste                                               Contingent
         42822 Garfield Road                                          Unliquidated
         Clinton Township, MI 48038                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $31,897.68
         Pro Leasing Services, LLC                                    Contingent
         35235 Mound Rd                                               Unliquidated
         Sterling Heights, MI 48310                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,510.64
         Profectus Partners LLC                                       Contingent
         C/O Oxford Partners                                          Unliquidated
         2900 Charlevoix Drive SE Suite 360                           Disputed
         Grand Rapids, MI 49546
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,250.00
         Psychus Properties, Llc.                                     Contingent
         30035 Commerce Blvd.                                         Unliquidated
         Chesterfield Township, MI 48051                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $608.17
         Pure Water Partners LLC                                      Contingent
         Dept CH 19648                                                Unliquidated
         Palatine, IL 60055-9648                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $312.04
         Quench Usa, Inc.                                             Contingent
         PO Bix 781393                                                Unliquidated
         Philadelphia, PA 19178-1393                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,630.35
         Quill, LLC                                                   Contingent
         500 Staples Dr                                               Unliquidated
         Framingham, MA 01702                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $596,965.00
         Quinnstreet Inc                                              Contingent
         950 Tower Ln 6th Floor                                       Unliquidated
         Foster City, CA 94404                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $371.00
         R.E.M., LLE DBA Roanoke Landscapes                           Contingent
         183 Shane Lane                                               Unliquidated
         Fincastle, VA 24090                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $308.88
         Rabb Water Systems                                           Contingent
         303 Argonne Rd                                               Unliquidated
         PO Box 835                                                   Disputed
         Warsaw, IN 46581
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $53.00
         Ratt Inc                                                     Contingent
         4450 Paxton Street                                           Unliquidated
         Harrisburg, PA 17111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,500.00
         Recknagel Investments LLC                                    Contingent
         8715 Surf Drive                                              Unliquidated
         302                                                          Disputed
         Panama City Beach, FL 32408
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,575.00
         Recycled Systems Furniture RSFI Office F                     Contingent
         401 East Wilson Bridge Rd                                    Unliquidated
         Worthington, OH 43085                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $130.00
         RediMed/Business Health Servies                              Contingent
         15897 Collections Center Dr                                  Unliquidated
         Chicago, IL 60693-0158                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $24,000.00
         Regal Voice, Inc                                             Contingent
         276 5th Ave, Suite 704 #846                                  Unliquidated
         New York, NY 10001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $184,845.13
         Reliable First Aid & Safety                                  Contingent
         PO Box 99237                                                 Unliquidated
         Troy, MI 48099                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,335.00
         Reliance Forensics, Llc.                                     Contingent
         2901 Coltsgate Road                                          Unliquidated
         Suite 203A                                                   Disputed
         Charlotte, NC 28211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $41,891.85
         RemX                                                         Contingent
         1040 Crown Pointe Parkway, Ste 1040                          Unliquidated
         ATlanta, GA 30338                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Richard Goddard                                              Contingent
         Nicholas G. Higgins A&L Licker Law Firm                      Unliquidated
         108 Explorer Drive                                           Disputed
         Union, MO 63084
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,263.80
         Ridgeway Business Center                                     Contingent
         5865 Ridgeway Center Parkway, Suite 300                      Unliquidated
         Memphis, TN 38120                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,272.26
         Riemer Natural Gas, Llc                                      Contingent
         PO Box 156                                                   Unliquidated
         Herman, PA 16039                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $83,150.00
         Right Angle Engineering                                      Contingent
         608 W 400 S                                                  Unliquidated
         Orem, UT 84058                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $363.05
         River City Printed Products                                  Contingent
         12700 Townepark Way #313                                     Unliquidated
         Louisville, KY 40243                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $83,333.34
         Roo Search Management, LLC                                   Contingent
         3250 Mary Street                                             Unliquidated
         Miami, FL 33133                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,600.00
         Rowshan Cleaning Service, LLC                                Contingent
         3805 Dawson Dr                                               Unliquidated
         Warren, MI 48092                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,975.44
         RS & VDG Enterprises LLC                                     Contingent
         4748 Blue Grass Dr. SE                                       Unliquidated
         Grand Rapids, MI 49546                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,433.49
         SCH Services, Inc DBA Supplemental Healt                     Contingent
         6955 Union Park Center Dr. Suite 400                         Unliquidated
         Cottonwood Heights, UT 84047                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Sean & Sara McConville                                       Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $58,402.00
         Security Control Integrators, Inc                            Contingent
         20 Chapin Road, Unit 1012                                    Unliquidated
         Pine Brook, NJ 07058                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $59,231.67
         Sedgwick Claims Management Services, Inc                     Contingent
         8125 Sedgwick Way                                            Unliquidated
         Memphis, TN 38125                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $43,600.00
         SeQuel Response, LLC                                         Contingent
         7480 Flying Cloud Drive, Suite 100                           Unliquidated
         Eden Prairie, MN 55344-3720                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $223,140.14
         Service Partners, LLC                                        Contingent
         475 N Williamson Blvd                                        Unliquidated
         Daytona Beach, FL 32114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30,824.45
         Sharp Business Systems                                       Contingent
         Dba Sharp Business Systems                                   Unliquidated
         Dept. AT 40322                                               Disputed
         Atlanta, GA 31192-0322
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Shawn Dworaczyk
         Jonathan C. Browning Simund Browning, L                      Contingent
         305 East McCarty Street                                      Unliquidated
         Suite 300                                                    Disputed
         Jefferson City, MO 65101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $82.04
         Shipp's Fire Equipment Sales and Service                     Contingent
         52 Wilshire Ave SW                                           Unliquidated
         Concord, NC 28025                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $207,354.32
         Sidley Austin, LLP                                           Contingent
         1 S Dearborn St                                              Unliquidated
         Chicago, IL 60603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,929.50
         Signature Designs, Inc                                       Contingent
         245357 Indopley Circle                                       Unliquidated
         Farmington Hills, MI 48335                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,613,627.40
         Silfab Solar                                                 Contingent
         Attn: Maurice Smith                                          Unliquidated
         Accounts Receivable                                          Disputed
         Buffalo, NY 14202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64,567.00
         SilverBack Advertising, LLC                                  Contingent
         631 Brawley School Rd Suite 300-#203                         Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,460.50
         Simson Investments LP                                        Contingent
         3029 E Wilshire Dr                                           Unliquidated
         Spingfield, MO 65804-4149                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $486,895.70
         Sinclair Designs & Engineering                               Contingent
         15376 17-1/2 Mile Road                                       Unliquidated
         Marshall, MI 49086                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $164.30
         Smithco Self Storage                                         Contingent
         PO Box 145                                                   Unliquidated
         726 Ekastown Rd                                              Disputed
         Sarver, PA 16055
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,500.00
         Solar Energy Industries Association                          Contingent
         1425 K St. NW                                                Unliquidated
         STE 1000                                                     Disputed
         Washington, DC 20005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,195.34
         Soligent Distribution                                        Contingent
         1400 North Mcdowell Blvd                                     Unliquidated
         Potaluma, CA 94954                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $33,750.00
         Sonar Technologies, Inc                                      Contingent
         PO Box 3545                                                  Unliquidated
         Thousand Oaks, CA 91359                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $232,556.00
         Southeast Series Of Lockton Companies,Ll                     Contingent
         C/O Bank Of America                                          Unliquidated
         P.O. Box 741732                                              Disputed
         Atlanta, GA 30374-1732
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,147.75
         Southern Shingles                                            Contingent
         7440 State Highway 121                                       Unliquidated
         MCKinney, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,200.00
         Spacebase Ventures Inc.                                      Contingent
         2443 Fillmore St #380-8456                                   Unliquidated
         San Francisco, CA 94115                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $548.07
         Spectrum Business                                            Contingent
         Time Warner Cable                                            Unliquidated
         Box 223085                                                   Disputed
         Pittsburgh, PA 15251-2085
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $20,000.00
         Sports1ternship                                              Contingent
         23 Rancho Cir                                                Unliquidated
         Lake Forest, CA 92630                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $87,641.19
         Sprint                                                       Contingent
         PO Box 4181                                                  Unliquidated
         Carol Stream, IL 60197-4181                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,000.00
         Stahlgebaude LTD                                             Contingent
         7303 Hwy 90 E                                                Unliquidated
         Seguin, TX 78155                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $130.00
         Stark Exterminators                                          Contingent
         800 Huffman St                                               Unliquidated
         Greensboro, NC 27405                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $750.00
         Starling Holding, LLC                                        Contingent
         6685 N CR 550 E                                              Unliquidated
         Bownsburg, IN 46112                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Stephen Tyler
         Jason B. Woodside Woodside Law, P.A.                         Contingent
         100 South Ashley Drive                                       Unliquidated
         Suite 600                                                    Disputed
         Tampa, FL 33602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,565.00
         Stewart Plaza, LLC                                           Contingent
         1217 Stewart Plaza                                           Unliquidated
         Dunbar, WV 25064                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $45.42
         Strouse Roll-Offs, Inc.                                      Contingent
         6767 Travis Road                                             Unliquidated
         Greenwood, IN 46143-8865                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $108,937.23
         Sunbelt Rentals                                              Contingent
         P.O. Box 409211                                              Unliquidated
         Atlanta, GA 30384-9211                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Sunlight Financial                                           Contingent
         234 W 39th St 7th Floor                                      Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,367.28
         SunLight Solar                                               Contingent
         145 S Livernois Rd #317                                      Unliquidated
         Rochester Hills, MI 48307                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,755.57
         Superior Distribution                                        Contingent
         7440 State Highway 121                                       Unliquidated
         McKinney, TX 75070                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $717,361.21
         Sutton Leasing                                               Contingent
         3555 East 14 Mile Rd.                                        Unliquidated
         Sterling Heights, MI 48310                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,573.00
         Swift Air Mechanical, Inc.                                   Contingent
         4537 N Franklin Rd                                           Unliquidated
         Indianapolis, IN 46226                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Tamara Spencer Ward                                          Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Teri Whitaker                                                Contingent
         Stace L. Roth Sean R. Steward Schulman,                      Unliquidated
         236 3rd Street SW                                            Disputed
         Canton, OH 44702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,500.00
         TGC Worldwide, LLC                                           Contingent
         PO Box 745                                                   Unliquidated
         Williamstown, NJ 08094                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49,212.00
         The Attic Depot                                              Contingent
         121 Waterstone Dr                                            Unliquidated
         Montgomery, TX 77304                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,257.21
         The Bancorp Bank                                             Contingent
         PO Box 140733                                                Unliquidated
         Orlando, FL 32814-0733                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $108,766.98
         The Guardian Life Insurance Company of A                     Contingent
         PO Box 824404                                                Unliquidated
         Philadelphia, PA 19182-4404                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $126,562.15
         The Hartford                                                 Contingent
         PO Box 415738                                                Unliquidated
         Boston, MA 02241                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $31,405.00
         The Law Office Of B. Elizabeth Todd Pllc                     Contingent
         3440 Toringdonway                                            Unliquidated
         Suite 310 - Toringdon Building 3                             Disputed
         Charlotte, NC 28277
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $263,381.00
         The Reynolds Company                                         Contingent
         2680 Sylvania Cross                                          Unliquidated
         Fort Worth, TX 76137                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $773,929.58
         The Sussman Agency                                           Contingent
         29200 Northwestern Highway                                   Unliquidated
         Southfield, MI 48034                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $104,614.68
         TikTok, Inc.                                                 Contingent
         5800 Bristol Pkwy, Suite 100                                 Unliquidated
         Culver City, CA 90230                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,809.40
         Timberloch Inc                                               Contingent
         2203 Timberloch Place                                        Unliquidated
         Suite 112                                                    Disputed
         The Woodlands, TX 77380
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,603.14
         Toshiba Business Solutions                                   Contingent
         9201 J Southern Pine Blvd                                    Unliquidated
         Charlotte, NC 28273                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,005.96
         Toshiba Financial Services                                   Contingent
         1310 Madrid St STE 100                                       Unliquidated
         Marshall, MN 56258                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $50.00
         Total Access Urgent Care, PC                                 Contingent
         13861 Manchester Rd                                          Unliquidated
         Ballwin, MO 63011                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $63,844.79
         Total Quality Logistics                                      Contingent
         PO Box 634558                                                Unliquidated
         Cincinnati, OH 45263-4558                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $53.97
         Township Of Napoleon (Napoleon                               Contingent
         Township)                                                    Unliquidated
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $20,800.00
         Traction on Demand                                           Contingent
         500-2700 Production Way                                      Unliquidated
         Burnaby,BC,V5A 0C2                                           Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,532.53
         Triad Waste LLC                                              Contingent
         274 Cumnock Rd                                               Unliquidated
         Sanford, NC 27330                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,317.80
         Trivest Service Corporation                                  Contingent
         550 South Dixie Highway                                      Unliquidated
         Suite 300                                                    Disputed
         Coral Gables, FL 33146
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $97,441.98
         Troy 500 Stephenson Investors, LLC                           Contingent
         320 Martin Street                                            Unliquidated
         Ste 200                                                      Disputed
         Birmingham, MI 48009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Tyrone Armstrong                                             Contingent
         Thomas D. Pigott Pigott, LTD.                                Unliquidated
         P.O. Box 8813                                                Disputed
         Toledo, OH 43623
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26,633.00
         UHY Advisors MI, Inc.                                        Contingent
         PO Box 8563                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $63,032.65
         Uline                                                        Contingent
         Attn: Accounts Receivable                                    Unliquidated
         PO BOX 88741                                                 Disputed
         Chicago, IL 60680-1741
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $33,207.00
         Ultra Services                                               Contingent
         48238 Jefferson                                              Unliquidated
         Chesterfield, MI 48047                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $126,230.87
         United Rentals                                               Contingent
         Branch 146                                                   Unliquidated
         10524 Old Nations Ford Rd                                    Disputed
         Charlotte, NC 28273
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $343,727.06
         Unitedhealthcare Insurance Company                           Contingent
         Dept. Ch 10151                                               Unliquidated
         Palatine, IL 60055-0151                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $975.00
         Upscale Handyman                                             Contingent
         31151 Lund Ave                                               Unliquidated
         Warren                                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,964.53
         US Bank                                                      Contingent
         1555 N Rivercenter Drive Suite 300                           Unliquidated
         Milwaukee, WI 53212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,071.65
         Valvoline Instant Oil Change                                 Contingent
         100 Valvoline Way                                            Unliquidated
         PO Box 55270                                                 Disputed
         Lexington, KY 40555
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,398.00
         Vector Solutions                                             Contingent
         4890 W Kennedy Blvd, Suite 300                               Unliquidated
         Tampa, FL 33609                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,857.93
         Veritext Corporate Services. LLC                             Contingent
         PO Box 71303                                                 Unliquidated
         Chicago, IL 60694-1303                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $549,342.74
         Verizon                                                      Contingent
         PO Box 660108                                                Unliquidated
         Dallas, TX 75266-0108                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $266,717.52
         Viant US, LLC                                                Contingent
         2722 Michelson Dr., Ste 100                                  Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,886.04
         Vogel Disposal Service, Inc.                                 Contingent
         P.O. Box 847                                                 Unliquidated
         Mars, PA 16046                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $34,308.14
         Wake Forest Hydro Graphics                                   Contingent
         12223 Hampton Way Dr Suite 500                               Unliquidated
         Wake Forest, NC 27587                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Wake Forest Hydrographic Garment Service                     Contingent
         Holen K. McLemore Perry & Brandt, Attorn                     Unliquidated
         P.O. Box 2108                                                Disputed
         Wake Forest, NC 27588
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,876.24
         Warner Norcross + Judd LLP                                   Contingent
         150 Ottawa Avenue NW, Suite 1500                             Unliquidated
         Grand Rapids, MI 49503                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,598.96
         Wearworks Six, LLC                                           Contingent
         320 Sandal Lane                                              Unliquidated
         West Palm Beach, FL 33404                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,380.96
         Weltman, Weinberg & Reis Co., LPA                            Contingent
         965 Keynote Circle                                           Unliquidated
         Brooklyn Heights, OH 44131                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         William Davenport                                            Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         William Roper                                                Contingent
         Andrew M. Kuzma AAA                                          Unliquidated
         1311 Boston Hollow Road                                      Disputed
         McKeesport, PA 15135
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,189.18
         Willoughby Supply                                            Contingent
         3690 Commerce Dr.                                            Unliquidated
         Middletown, OH 45005                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $25,776.08
         Wimsatt Building Materials                                   Contingent
         Department 175901                                            Unliquidated
         PO Box 67000                                                 Disputed
         Detroit, MI 48267-1759
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,580.66
         Windstream Enterprise                                        Contingent
         PO Box 9001908                                               Unliquidated
         Louisville, KY 40290-1908                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Power Home Solar, LLC                                                           Case number (if known)
            Name

3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $272,194.68
         Winslow Technology Group, LLC                                Contingent
         303 Wyman Street Suite 210                                   Unliquidated
         Waltham, MA 02451                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,865.55
         WJ Bako Enterprises LLC                                      Contingent
         704 Macy Drive                                               Unliquidated
         Roswell, GA 30076                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $38,390.85
         Womble Bond Dickinson (US) LLP                               Contingent
         PO Box 601879                                                Unliquidated
         Charlotte, NC 28260-1879                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $52,621.74
         Wrench, INC                                                  Contingent
         701 5th Ave Suit 7250                                        Unliquidated
         Seattle, WA 98104                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,164.00
         WTSA Security, LLC                                           Contingent
         626 Margaret Dr                                              Unliquidated
         Statesville, NC 28677                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $315.00
         X/S Waste Transport, Inc                                     Contingent
         5556 Ridge Road                                              Unliquidated
         Elizabethtown, PA 17022                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $16,952.00
         Young and Profiting LLC                                      Contingent
         20 Shady Brook Ct                                            Unliquidated
         Watchung, NJ 07069                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.384     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $40,000.00
          Zachary Darrow                                                       Contingent
          2484 Prairie Ave.                                                    Unliquidated
          Miami Beach, FL 33140                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                    4,865,030.68
5b. Total claims from Part 2                                                                           5b.   +    $                   53,177,190.84

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                      58,042,221.52




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Fill in this information to identify the case:

Debtor name       Power Home Solar, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    1020 APR LLC
           List the contract number of any                                          1704 Millard St
                 government contract                                                BETHLEHEM, PA 18017


2.2.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    2701 Holloway Road, LLC
           List the contract number of any                                          303 Middletown Park Place, Ste E
                 government contract                                                LOUISVILLE, KY 04043


2.3.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    349 Mall Boulevard, LLC
           List the contract number of any                                          543 FORT MCALLISTER RD
                 government contract                                                RICHMOND HILL, GA 31324


2.4.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    4374 WS Real Estate, LLC.
           List the contract number of any                                          605 ABBYWOOD DR
                 government contract                                                ROSWELL, GA 30075




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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        951 Marcon Blvd LP
          List the contract number of any                               3764 Mauch Chunk Rd
                government contract                                     ALLENTOW, PA 18104


2.6.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   American National Insurance Company
                                                                        Attn: Mortgage and RE Investment Dept
          List the contract number of any                               2525 South Shore Blvd, Suite 207
                government contract                                     LEAGUE CITY, TX 77573


2.7.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Avery Brothers LLC
          List the contract number of any                               9021 Barretta Lane
                government contract                                     CHESTER, VA 23838


2.8.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bear & Bear Associates, LP
          List the contract number of any                               6811 SHAWNEE MISSION PARKWAY
                government contract                                     OVERLAND PARK, KS 66202


2.9.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bonnymeads (Union Deposit Corp)
          List the contract number of any                               750 East Park Dr
                government contract                                     HARRISBURG, PA 17111


2.10.     State what the contract or
          lease is for and the nature of
          the debtor's interest                                         Boyle Investment Company
                                                                        Virginia Rowland, 5865 Ridgeway Ctr Pky
             State the term remaining                                   Suite 300
                                                                        MEMPHIS, TN 38120

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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.11.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Buhl Insurance Agency, Inc
          List the contract number of any                               4204 East Ewalt Road
                government contract                                     GIBSONIA, PA 15044


2.12.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Caesh Properties
          List the contract number of any                               423 SOUTH 2ND
                government contract                                     ST CHARLES, IL 60174


2.13.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Carmel View Investment Advisors LLC
          List the contract number of any                               7804 Fairview Rd, #123
                government contract                                     CHARLOTTE, NC 28226


2.14.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Chapman & Cole, Inc.
          List the contract number of any                               PO Box 42262
                government contract                                     HOUSTON, TX 02262


2.15.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cure Holdings III, LLC
          List the contract number of any                               2733 E. BATTLEFIELD
                government contract                                     SPRINGFIELD, MO 65804




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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.16.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Denic Corp
          List the contract number of any                               7735 MARSH RD
                government contract                                     INDIANAPOLIS, IN 46278


2.17.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Eric L Smith
          List the contract number of any                               678 Ekastown Rd
                government contract                                     SARVER, PA 16055


2.18.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fayetteville Warehouse Storage
          List the contract number of any                               PO Box 64076
                government contract                                     FAYETTEVILLE, NC 28306


2.19.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        G.A. Fleming Real Estate, LLC.
          List the contract number of any                               50E 1000N
                government contract                                     DECATUR, IN 46733


2.20.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   GKI Infill Cincinnati, LLC
                                                                        H. Meyers, c/o Investcorp Int'l Rlty
          List the contract number of any                               280 Park Avenue, 36th Floor
                government contract                                     NEW YORK, NY 10017


2.21.     State what the contract or
          lease is for and the nature of
          the debtor's interest                                         Greenwich Centre Investors
                                                                        c/o Robinson Development Group
             State the term remaining                                   150 West Main St, Suite 1100
                                                                        NORFOLK, VA 23225

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 4 of 10
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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.22.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Hartford Fire Insurance Company
          List the contract number of any                               One Hartford Plaza - NP-2
                government contract                                     HARTFORD, CT 06155


2.23.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Henson MO Properties
          List the contract number of any                               4250 NE SUN COURT
                government contract                                     LEE'S SUMMIT, MO 64064


2.24.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ideal Property Investments
          List the contract number of any                               PO Box 3226
                government contract                                     EVERETT, WA 98213


2.25.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Irwinton 1677, LLC
          List the contract number of any                               640 NE 32nd Street
                government contract                                     BOCA RATON, FL 33431


2.26.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MCLIP Properties
          List the contract number of any                               3330 Hollins Rd, Ste A
                government contract                                     ROANOKE, VA 24012




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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.27.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Medi Center LLC
          List the contract number of any                               13966 W HILLSBOROUTH AVE
                government contract                                     TAMPA, FL 33635


2.28.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MG Harmony Farms
          List the contract number of any                               202 West Berry St, Ste 500
                government contract                                     FORT WAYNE, IN 46802


2.29.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Midland 6327, LLC
          List the contract number of any                               132 CITIZENS BLVD
                government contract                                     SIMPSONVILLE, KY 40067


2.30.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MJ Randall Building, LLC
          List the contract number of any                               PO BOX 73
                government contract                                     COOPERSVILLE, MI 49404


2.31.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Nash Holdings LLC
          List the contract number of any                               207 HUGHES LANE
                government contract                                     ST CHARLES, MO 63301


2.32.     State what the contract or
          lease is for and the nature of
          the debtor's interest
                                                                        Nick Saliba
             State the term remaining                                   9022 Linksvue Dr
                                                                        KNOXVILLE, TN 37922

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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.33.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Normandy Place LLC
          List the contract number of any                               C/O KELLEY COMMERCIAL PARTNERS
                government contract                                     LITTLE ROCK, AR 72201


2.34.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Oakstar Properties LLC
          List the contract number of any                               8319-201 Six Forks Rd
                government contract                                     RALEIGH, NC 27615


2.35.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pine Grove Inc
          List the contract number of any                               1685 H Street, Unit 205
                government contract                                     BLAINE, WA 98230


2.36.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pine Grove Inc
          List the contract number of any                               1685 H Street, Unit 205
                government contract                                     BLAINE, WA 98230


2.37.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Profectus Partners
          List the contract number of any                               2900 Charlevoix Dr SE, Ste 360
                government contract                                     GRAND RAPIDS, MI 49546




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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.38.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Psychus Properties LLC
          List the contract number of any                               30035 Commerce Blvd
                government contract                                     CHESTERFIELD TWP, MI 48051


2.39.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Regus
          List the contract number of any                               2000 E Lamar Blvd, Suite 600 #616
                government contract                                     ARLINGTON, TX 76006


2.40.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        RNL Properties, LTD
          List the contract number of any                               10065 Louisville Street NE
                government contract                                     LOUISVILLE, OH 44641


2.41.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        RS & VDG Enterprises LLC
          List the contract number of any                               4748 BLUE GRASS DR SE
                government contract                                     GRAND RAPIDS, MI 49546


2.42.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SHC Services, Inc.
          List the contract number of any                               6955 UNION PARK CENTER #400
                government contract                                     COTTONWOOD HTS, UT 84047


2.43.     State what the contract or
          lease is for and the nature of
          the debtor's interest
                                                                        Simpson Investments, LP
             State the term remaining                                   3029 Wilshire
                                                                        SPRINGFIELD, MO 65804

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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.44.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Spirit Realty
          List the contract number of any                               2727 N. HARWOOD ST. SUITE 300
                government contract                                     DALLAS, TX 75201


2.45.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Stahlgebaude LTD
          List the contract number of any                               PO Box 117
                government contract                                     KINGSBURY, TX 78638


2.46.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Starling Holdings, LLC
          List the contract number of any                               6377 Morenci Trail
                government contract                                     INDIANAPOLIS, IN 46268


2.47.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Stewart Plaza, LLC
          List the contract number of any                               1217 Stewart Plaza, PO Box 970
                government contract                                     DUNBAR, WV 25064-0970


2.48.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Timberlock, Inc.
          List the contract number of any                               2203 Timberloch Place, Ste 112
                government contract                                     THE WOODLANDS, TX 77380




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Debtor 1 Power Home Solar, LLC                                                   Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.49.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Troy 500 Stephenson Investors, LLC
          List the contract number of any                               320 Martin St, St 200
                government contract                                     BIRMINGHAM, MI 48009


2.50.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        White Park LLC
          List the contract number of any                               805 Trade St., Suite 102
                government contract                                     CONCORD, NC 28027


2.51.     State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        WJ Bako
          List the contract number of any                               704 MACY DR
                government contract                                     ROSWELL, GA 30076




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Fill in this information to identify the case:

Debtor name      Power Home Solar, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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                                               United States Bankruptcy Court
                                                 Western District of North Carolina
 In re   Power Home Solar, LLC                                                                   Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     October 7, 2022                                /s/ William Jayson Waller
                                                         William Jayson Waller/CEO
                                                         Signer/Title
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x




                      "Bud" Lough
                      4383 Detrick Jordan pike
                      Springfield, OH 45502


                      "Dave" Beadle
                      10235 North Co Road 450 West
                      Farmersburg, IN 47850


                      (Mr.) Leslie Darter
                      504 Wesley Drive
                      Smyrna, TN 37167


                      . .
                      21986 Woodruff Rd
                      Rockwood, MI 48173


                      1020 APR LLC
                      1704 Millard St
                      BETHLEHEM, PA 18017


                      1020 APR, LLC
                      1704 Millard St
                      Bethlehem, PA 18017


                      12 Bravo Construction Companies, LLC
                      5205 Spring Branch Dr
                      Pearland, TX 77584


                      180 Degrees Azimuth Renewable Energy Sol
                      12/1 11th Main Srinagar
                      Bangalore,Karnataka,560050
                      INDIA


                      2701 Holloway Rd, LLC
                      303 Middletown Park Place Suite E
                      Louisville, KY 40243


                      2701 Holloway Road, LLC
                      303 Middletown Park Place, Ste E
                      LOUISVILLE, KY 04043


                      349 Mall Boulevard LLC
                      543 Ft McAllister Rd
                      Richmond Hill, GA 31324
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                  349 Mall Boulevard, LLC
                  543 FORT MCALLISTER RD
                  RICHMOND HILL, GA 31324


                  4374 WS Real Estate LLC
                  605 Abbywood Dr
                  Roswell, GA 30075


                  4374 WS Real Estate, LLC.
                  605 ABBYWOOD DR
                  ROSWELL, GA 30075


                  615GP, LLC
                  PO Box 41504
                  Nashville, TN 37204


                  800 Response Marketing, LLC
                  1795 Williston Rd Suite 200
                  South Burlington, VT 05403


                  829 Studios
                  PO Box 1323
                  Brattleboro, VT 05302-1323


                  908 Auto Service, LLC.
                  3433 Saxonburg Rd
                  Natrona Heights, PA 15065


                  951 Macron Blvd. LP
                  1611 Pond Rd
                  Allentown, PA 18104


                  951 Marcon Blvd LP
                  3764 Mauch Chunk Rd
                  ALLENTOW, PA 18104


                  A Shred Ahead
                  28883 Network Place
                  Chicago, IL 60673-1288


                  A&B Janitorial Service Inc
                  50665 Central Industrial Dr.
                  Shelby Township, MI 48315
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                  Aalena Caldwell
                  7632 Shiny Meadow Ln
                  Charlotte, NC 28215


                  Aamir Shahzad Warraich
                  7006 Founders Way
                  Harrisburg, NC 28075


                  Aaron Armock
                  14441 Ball Creek Avenue, Kent City, MI
                  Kent City, MI 49318


                  Aaron Balk
                  261 E Webster St
                  Ferndale, MI 48220


                  Aaron Beebe
                  3864 Highmont St
                  Dayton, OH 45432


                  Aaron Beyer
                  7826 Shuttle Rd
                  Fayetteville, NC 28311


                  Aaron Brassfield
                  4228 Rodanthe Cir
                  Florence, SC 29501


                  Aaron Brouwer
                  6951 W 550 S
                  Delphi, IN 46923


                  Aaron Burke
                  9 Sherazi Drive
                  Hampton, VA 23663


                  Aaron Burnett
                  10537 Vaughn Avenue
                  Mantua, OH 44255


                  Aaron Busch
                  1929 Gill Hall Rd
                  Finleyville, PA 15332
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                  Aaron Byars
                  19 Shadow Lane
                  Taylors, SC 29687


                  Aaron Byrne
                  585 Legacy Lakes Way
                  Aberdeen, NC 28315


                  Aaron Carey
                  1513 Brentfield Dr
                  Wadsworth, OH 44281


                  Aaron Cartwright
                  9460 Churchill Rd
                  Jackson, MI 49201


                  Aaron Clark
                  891 East 500 South
                  Marion, IN 46953


                  Aaron Clevenger
                  1020 Willowbrook Dr,
                  Chambersburg, PA 17202


                  Aaron Dancy
                  106 Old Rockwell Road
                  China Grove, NC 28023


                  Aaron Deamon
                  8635 Harris Drive
                  North Ridgeville, OH 44039


                  Aaron Diez
                  301 Cambridge Drive
                  Dexter, MI 48130


                  Aaron Dorner
                  2507 12 Oak Circle
                  Medina, OH 44256


                  Aaron Fillman
                  200 Stone Creek Drive
                  York, PA 17406
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                  Aaron Fiser
                  2060 lake vista drive
                  Mount Holly, NC 28120


                  Aaron Fitz
                  11470 Tangletree Drive
                  Granger, IN 46530


                  Aaron Frierdich
                  1830 Wellington Drive
                  De Soto, MO 63020


                  Aaron Gray
                  3508 Torrington St
                  Hilliard, OH 43026


                  Aaron Grebner
                  2109 Ward Hill Avenue
                  Dayton, OH 45420


                  Aaron Grubb
                  41 HELVETIA Rd N
                  London, KY 40741


                  Aaron Gunvalson
                  25194 Koontz Street
                  Roseville, MI 48066


                  Aaron Hall
                  4080 Five Mile Road
                  Ann Arbor, MI 48105


                  Aaron Harnadek
                  14269 Berwick st
                  Livonia, MI 48154


                  Aaron Hartzler
                  2009 Willow Rd, Hendersonville, NC 28739
                  Hendersonville, NC 28739


                  Aaron Hayes
                  685 Edendale Court
                  Columbus, OH 43207
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                  Aaron Hendricks
                  405 Maple Street
                  Junction City, KS 66441


                  Aaron Holtschult
                  705 George Street
                  Kewanee, IL 61443


                  Aaron Hopkins
                  111 Lavender Hill Drive
                  Pataskala, OH 43062


                  Aaron Hyden
                  1610 North 600 West
                  Wabash, IN 46992


                  Aaron Jolley
                  433 Rabbit Moffitt Rd
                  Chesnee, SC 29323


                  Aaron Keck
                  799 Clybourne Avenue
                  Berwick, PA 18603


                  Aaron Keith
                  171 N 160th St
                  Girard, KS 66743


                  Aaron Koons
                  1595 Knight St
                  Pleasant Lake, IN 46779


                  Aaron Laxton
                  1918 Pecan Tree Street
                  St. Peters, MO 63376


                  Aaron Letteer
                  582 Cropp Road
                  Fredericksburg, VA 22406


                  AAron Mallicoate
                  31 Omega Hills Drive
                  Somerset, KY 42501
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                  Aaron Manthe Lantz
                  409 East Euclid Avenue
                  Monmouth, IL 61462


                  Aaron Maples
                  13035 Devers Rd
                  Patriot, IN 47038


                  Aaron Mariani
                  4126 Spruce Street
                  Broad Top, PA 16621


                  Aaron Mason
                  615 Aragona Dr
                  Vinton, VA 24179


                  Aaron Miller
                  532 Rose Stop Road
                  New Castle, PA 16101


                  Aaron Molin
                  639 East South R 42
                  Mooresville, IN 46158


                  Aaron Morgan
                  184 County Road 30A
                  Jeromesville, OH 44840


                  Aaron Moulin
                  675 Pedretti Avenue
                  Cincinnati, OH 45238


                  Aaron Najor
                  31018 East Angeline Court
                  St. Clair Shores, MI 48082


                  Aaron Payne
                  5811 Morrow Mill Road
                  Chapel Hill, NC 27516


                  Aaron Penix
                  6716 Co Rd 101
                  Belle Center,, OH 43310
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                  Aaron Piccard
                  2519 Baldwin St
                  Georgetown Township, MI 49428


                  Aaron Powers
                  109 Austin Ave
                  Staunton, VA 24401


                  Aaron Reddick
                  3314 Long Rd
                  De Soto, MO 63020


                  Aaron Reese
                  237 Daniel Trent Way
                  Kingsland, GA 31548


                  Aaron Reeves
                  6047 Belding Rd.
                  BELDING, MI 48809


                  Aaron Rehkopf
                  90 Port Sheldon St SW
                  Grandville, MI 49418


                  Aaron Rivers
                  6925 46th Drive
                  Fort Wayne, IN 46835


                  Aaron Rutledge
                  401 East Main Street
                  New Lebanon, OH 45345


                  Aaron Sabartinelli
                  1118 South Roache Street
                  California, MO 65018


                  Aaron Scholl
                  2171 Jefferson St
                  Arlington, IN 46104


                  Aaron Seward
                  10864 Middle
                  Sherwood, OH 43556
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                  Aaron Seymour
                  6210 Palmetto Dr
                  Mt Morris, MI 48458


                  Aaron Sieg
                  177 Hilltop Rd
                  Lilly, PA 15938


                  Aaron Smit
                  6624 Cherry Valley Road
                  Middleville, MI 49333


                  Aaron Stanley
                  329 Tomlinson Rd
                  Lebanon, TN 37087


                  Aaron Stapel
                  2500 meadow rd
                  Sandston, VA 23150


                  Aaron Stclair
                  12140 US Hwy 136
                  Memphis, MO 63555


                  Aaron Sypolt
                  31985 Riverpoint St
                  New Baltimore, MI 48047


                  Aaron Tichy
                  185 Nowell Rd
                  Medina, TN 38355


                  Aaron Walls
                  496 Youree Road
                  Murfreesboro, TN 37127


                  Aaron West
                  383 Beulah Rd
                  Port Haywood, VA 23138


                  Aart Den Hoed
                  410 Ridgewood Avenue
                  Dayton, OH 45409
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                  Aart Denhoed
                  410 Ridgewood Avenue
                  Dayton, OH 45409


                  Abbas Ibrahimi
                  740 Gardenia Lane
                  Bartlett, IL 60103


                  Abbas Raqib
                  8521 Pippen Pl
                  Indianapolis, IN 46113


                  Abbey Schell
                  3416 Timber Run Drive
                  Columbus, OH 43204


                  Abby Borders
                  6681 Ginseng Lane
                  King George, VA 22485


                  Abby Colao
                  5927 Reynolds Rd
                  Mentor-On-The-Lake, OH 44060


                  Abby Dillworth
                  10419 Harbor Drive
                  Charlotte, NC 28214


                  Abby Lorenzen
                  13600 Cottonwood Dr
                  Dewitt,, MI 48820


                  Abby Patterson
                  408 Rockville Road
                  Greencastle, IN 46135


                  ABC Supply Co. Inc.
                  15631 Collection Center
                  Chicago, IL 60693-0156


                  Abdallh Khadra
                  1013 Medlin Drive
                  Cary, NC 27511
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                  Abderrahim Hdoud
                  122 Somersby Boulevard
                  Pooler, GA 31322


                  Abdoulaye Aboubacar
                  1428 Old Hickory Drive
                  Greensboro, NC 27405


                  Abdoulaye Niang
                  5104 Bannon Crossings Drive
                  Louisville, KY 40218


                  Abdul Elladki
                  6484 N Waverly St
                  Dearborn Heights, MI 48127


                  Abdul Kazi
                  4701 Old Collinsville Road
                  Swansea, IL 62226


                  Abdul Zillani
                  2356 Holmes St
                  Hamtramck, MI 48212


                  Abdurrashid Ishaq
                  3603 Jeannie Rd
                  Whitsett, NC 27377


                  abdus bhuiyan
                  344 Oaktree Ln
                  Sterling, VA 20164


                  Abe Awad
                  1131 E Cedar St
                  Allentown, PA 18109


                  Abe Kramer
                  5749 Hinckley ct
                  Huber Hights, OH 45424


                  Abe Serpas
                  409 Sir David Dr
                  Zebulon, NC 27597
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                  Abeba Tukue
                  4426 Jessamine Creek Trl
                  Arcola, TX 77583


                  Abelardo Gallegos
                  115 Pecos Circle
                  Carpentersville, IL 60110


                  Abhrajyoti Bose
                  1760 Fairway Drive
                  Jamison, PA 18929


                  Abigail Bouterse
                  740 Kleeman Drive
                  Clarksville, TN 37040


                  Abigail Brown
                  19 Baker Street
                  Berea, OH 44017


                  Abigail Drysdale
                  132 Sara Street
                  Saint George, SC 29477


                  Abigail Montalvo
                  815 Pecan Ln
                  Jackson, MO 63755


                  Abigail Mundy
                  908 Woodward Avenue
                  Akron, OH 44310


                  Abimael Ramos
                  3708 E 73rd Ave
                  Merrillville, IN 46410


                  Abimbola Ogundele
                  8211 Alyssum Lane
                  Plainfield, IN 46168


                  Abnnah Forbes
                  521 Beecham Dr SE
                  Smyrna, GA 30082
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                  Abraham (AJ) Wolfe
                  729 Ontario Lane
                  Clarksville, TN 37043


                  Abraham Drier
                  4518 Silas Hutchinson Dr
                  Chantilly, VA 20151


                  Abraham Gardner
                  808 Thresher Run
                  Churubusco, IN 46723


                  Abraham Hasan
                  2114 Hermosa Street
                  Nashville, TN 37208


                  Abraham Richard
                  7920 Friar Point Dr
                  Port Arthur, TX 77642


                  Abraham Romero zambrano
                  8533 Buffaloe Road
                  Knightdale, NC 27545


                  Abram Cramer
                  2819 Arrowwood Lane
                  Rock Hill, SC 29732


                  Abubakar Egwakhide
                  6294 Bales Dr
                  Guilford Township, IN 46168


                  Acarlla Sanford
                  801 Terre Coupe Street
                  Buchanan, MI 49107


                  ACC Buisness
                  PO Box 5077
                  Carol Stream, IL 60197-5077


                  Access Group of Miami
                  6130 West Flamingo Road
                  PO Box 907
                  Las Vegas, NV 89103
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                  ACI Transport
                  320 W 9 Mile Rd
                  Ferndale, MI 48220


                  Ada Simms
                  20384 OH-7
                  Crown City, OH 45623


                  Adam Acevedo
                  414 Roundtree Drive
                  Fayetteville, NC 28303


                  Adam Alfeld
                  11145 Founders Place
                  Fishers, IN 46038


                  Adam Baca
                  3924 Benjamin Drive
                  Clarksville, TN 37040


                  Adam Bennett
                  124 Coffeeberry Court
                  Garner, NC 27529


                  Adam Bentley
                  10784 Dunn Road
                  Dunn, NC 28334


                  Adam Berkemeier
                  2445 W Substation Rd
                  Connersville, IN 47331


                  Adam Bouchard
                  18046 FR 2080
                  Verona, MO 65769


                  Adam Burris
                  7950 Georgia Ave
                  West Point, VA 23181


                  Adam Cannon
                  10363 Goldenrod Rd
                  Cadet, MO 63630
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                  Adam Carico
                  179 Pridemore Rd
                  Galax, VA 24333


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                  1504 East Market Street
                  Huntington, IN 46750


                  Adam Cletzer
                  6 Craven Drive
                  Montgomery City, MO 63361


                  Adam Colon
                  4500 Schwinn Drive
                  Dayton, OH 45404


                  Adam Cook
                  9278 Fields Drive
                  Mason, OH 45040


                  Adam Correll
                  266 Bayhill Dr
                  Gallatin, TN 37066


                  Adam Danis
                  11733 Proctor Rd
                  Corry, PA 16407


                  Adam Deubner
                  1020 Harvest Lane
                  Lansing, MI 48917


                  Adam Devries
                  641 Sign Pine Rd
                  Chesapeake, VA 23322


                  Adam Dobbrastine
                  1573 Craig Rd
                  Lansing, MI 48906


                  Adam Dodson
                  4621 Old Richmond Road
                  Danville, VA 24540
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                  Adam Eaton
                  2037 Waler Drive
                  Hudsonville, MI 49426


                  ADAM EFTINK
                  105 Susan
                  Sikeston, MO 63801


                  Adam Eickelberger
                  1685 Pogue Frazee Rd
                  Camden, OH 45311


                  Adam Erbrecht
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                  Clifton, VA 20124


                  Adam Feinstein
                  1850 North Livernois Road
                  Rochester Hills, MI 48306


                  Adam Fishwick
                  2214 Peabody Ave.
                  Toledo, OH 43614


                  Adam Floyd
                  1048 N County Line Rd
                  Westville, IN 46391


                  Adam Gentile
                  7137 Snowflake Dr
                  Village of Clarkston, MI 48346


                  Adam Gerback
                  15916 Lisbon St NE
                  Minerva, OH 44657


                  Adam hackstock
                  50435 Kapalua Drive
                  Macomb, MI 48042


                  Adam Harden
                  273 Concord Circle Rd
                  Beaver Falls, PA 15010
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                  Adam Hicks
                  808 South Wayne Street
                  Hamilton, IN 46742


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                  3851 Nighthawk Road
                  Diamond, MO 64840


                  Adam Hnanicek
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                  Abbottstown, PA 17301


                  Adam Holland
                  1302 North Fort Wayne Road
                  Rushville, IN 46173


                  Adam Hurley
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                  Cedar Springs, MI 49319


                  Adam Jones
                  323 w south st
                  mcarthur, OH 45651


                  Adam Jugan
                  1610 Hill St
                  North Versailles, PA 15137


                  Adam Jurotich
                  319 Baker Avenue
                  Webster Groves, MO 63119


                  Adam Kessler
                  3516 Sunbelt Dr
                  Clarksville, TN 37042


                  Adam Klimt
                  112 Feld Avenue
                  Battle Creek, MI 49037


                  Adam Kuntz
                  9642 E 1700 N
                  Ferdinand, IN 47532
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                  Adam Levis
                  2745 Lonesome Pine Trail
                  Greeneville, TN 37745


                  Adam Lockard
                  215 Ogemaw Road
                  Pontiac, MI 48341


                  Adam Maraman
                  233 Brookstone Dr
                  McDonough, GA 30252


                  Adam Martin
                  2936 Saturn Dr
                  Lake Orion, MI 48360


                  Adam Meek
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                  Plainfield, IN 46168


                  Adam Metzler
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                  Adam Moore
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                  Adam Neal
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                  adam pabst
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                  Terre Haute, IN 47802


                  Adam Pankow
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                  Adam Peters
                  454 Electric Park Rd
                  Wellston, OH 45692


                  Adam Phillips
                  3361 Waltan Rd
                  Vassar, MI 48768


                  Adam Plichta
                  928 Velma Drive
                  Farwell, MI 48622


                  Adam Pristas
                  665 Hunters Knoll Rd
                  WINSTON SALEM, NC 27106


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                  Negley, OH 44441


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                  Adam Rausch
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                  Allen Park, MI 48101


                  Adam Roberts
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                  Adam Roberts
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                  Williamsburg, VA 23188


                  Adam Robertson
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                  Mechanicsville, VA 23111


                  Adam Rodkey
                  886 Rager Road
                  Vintondale, PA 15961
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                  Adam Roossien
                  1937 Timber Ridge Court
                  Ionia, MI 48846


                  Adam Russell
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                  Gobles, MI 49055


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                  Coatesville, PA 19320


                  Adam Salicce
                  154 Stoup Road
                  Mars, PA 16046


                  Adam Sharrar
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                  Adah, PA 15410


                  Adam Silverthorn
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                  Hardinsburg, IN 47125


                  Adam Snyder
                  304 Kiester House Road
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                  Adam Spencer
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                  Marion, NC 28752


                  Adam Sullivan
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                  Adam Swain
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                  Marion, VA 24354
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                  Adam Trott
                  181 Brook View Road
                  Front Royal, VA 22630


                  Adam Vaughn
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                  Belleville, MI 48111


                  Adam Wallace
                  1313 Oregon Crossing
                  Chesapeake, VA 23322


                  Adam Whitmore
                  4229 Old Cluster Springs Road
                  South Boston, VA 24592


                  Adam Wit
                  29356 Stonecroft St
                  Harrison Charter Township, MI 48045


                  Adam Wyatt
                  35975 Flatwoods Road
                  Pomeroy, OH 45769


                  Adams Charles
                  1617 Gulley Lane
                  Raleigh, NC 27603


                  Adan Lopez
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                  Romulus, MI 48174


                  Adel Farag
                  4374 Sheldon Drive
                  Cave Spring, VA 24018


                  Adele Peterman
                  1636 Toben rd
                  Carleton, MI 48117


                  Adell Robinson
                  101 Leslie Lane
                  Havelock, NC 28532
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                  Adena Hawkins
                  709 Potts Creek Rd
                  Covington, VA 24426


                  Adena Joy
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                  Fayetteville, WV 25840


                  Adessa Naylor
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                  Indianapolis, IN 46228


                  Adewole Okunade
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                  Xenia, OH 45385


                  Adeyemi Adedeji
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                  St. Peters, MO 63376


                  Adeyemi Oshunrinade
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                  Adina Lev
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                  Apex, NC 27523


                  Adina Wahl
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                  Lenoir, NC 28645


                  Adine Moore
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                  Southfield, MI 48075


                  Aditya Vennelakanti
                  5725 Cherry Ln
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                  adnan khan
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                  Lufkin, TX 75904


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                  Kent City,, MI 49330


                  Adolph Pedro
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                  Jacksonville, NC 28540


                  Adom Grubbs
                  10881 Treasure Trail
                  Fishers, IN 46037


                  Adonica Parker
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                  Adrian Davila
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                  Adrian Garcia
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                  Adrian Garza
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                  Atascocita, TX 77346


                  Adrian Harrell
                  6590 Williams Road
                  Windsor charter Township, MI 48821


                  Adrian Jagow
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                  Kokomo, IN 46901
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                  Grand Rapids, MI 49525


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                  Adrian Suggs
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                  Ladson, SC 29456


                  Adrian Thompson
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                  Adrian Williams
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                  Marion, OH 43302


                  Adriana Ferguson
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                  Salem, IL 62881


                  Adrienne Brady
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                  Camp Hill, PA 17011


                  Adrienne Harvey
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                  Adrienne Payette
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                  Bealeton, VA 22712


                  Adrienne Rosczewski
                  6261 Chippewa Avenue
                  Saugatuck, MI 49453
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                  Agustin Rodriguez
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                  Ahmad Waller
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                  Ahmet Murat Uzer
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                  Ai-Lin Chen
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                  Aida Garcia
                  6014 North Rosemead Drive
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                  Aida Pierre
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                  Columbus, OH 43224


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                  Aimee Frantz
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                  Aimee Michel
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                  Aixas Moore
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                  Charlotte, NC 28213


                  Aj Kennelley
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                  North East, PA 16428


                  AJ Murphy
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                  Greenville, OH 45331
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                  AJ Schafer
                  17837 Tecumseh RD
                  Dundee, MI 48131


                  Ajay Ravi
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                  Duluth, GA 30097


                  Akeem Casey
                  1317 Rugby Boulevard Northwest
                  Roanoke, VA 24017


                  Akeylah Walters
                  496 factory Street
                  Suffolk, VA 23434


                  Akhil Penupolu
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                  Akos Bruckner
                  1762 Platt Street
                  Niles, MI 49120


                  Akram Rahimi
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                  Woodbridge, VA 22192


                  Aktar Hussain
                  26455 Tom Allen Drive
                  Warren, MI 48089


                  Akwasi Kwakye-Nuako
                  12521 Erroll Ln
                  Bristow, VA 20136


                  Al Auth
                  721 Elm Drive
                  Verona, PA 15147


                  Al Bannavong
                  9143 Emerson Road
                  Apple Creek, OH 44606
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                  AL BENTLEY
                  2400 Sams Creek Rd
                  Pegram, TN 37143


                  Al Bodrie
                  2438 W Cody Estey Rd
                  Rhodes, MI 48652


                  Al Dixon
                  750 Birch St
                  Winburne, PA 16879


                  Al Dyling
                  3697 Woodland Dr
                  Highland Charter Township, MI 48356


                  Al Hines
                  10078 OH-47
                  Sidney, OH 45365


                  Al Hurschman
                  7849 Parshallville Rd
                  Fenton, MI 48430


                  Al Kerrick
                  133 Acahela Road
                  Blakeslee, PA 18610


                  Al Owens
                  113 Woodys Pl,
                  Winchester, VA 22602


                  Al Pearce
                  35 1st Street
                  Canton, NC 28716


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                  13001 South Norris Road
                  Plainwell, MI 49080


                  Al Schmidt
                  7957 Lakewood Dr
                  Coloma, MI 49038
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                  Al Visser
                  110 Appaloosa Trl
                  Clinton, NC 28328


                  Al Von Matt
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                  Gladwin, MI 48624


                  Al Young
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                  AL-NAIKEEM Reddick
                  295 Wiley St
                  Ridgeland, SC 29936


                  Alabama Department of Revenue
                  50 N. Ripley St
                  Montgomery, AL 36130


                  Alamo Construction, LLC
                  6064 Lute Rd
                  Portage, IN 46368


                  Alan
                  10996 Dancers Creek Rd
                  Dutton, VA 23050


                  Alan Alli
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                  Strongsville, OH 44149


                  Alan Alsbro
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                  Berrien Springs, MI 49103


                  Alan Anderson
                  223 Dover Road
                  Hampton, VA 23666


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                  Cedarville, OH 45314
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                  Crete, IL 60417


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                  Ballwin, MO 63021
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                  Alan King
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                  Alan Koeglers
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                  Stuart, VA 24171


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                  Alan Olson
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                  Alan Preisser
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                  Alan Vickroy
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                  Fredericksburg, VA 22407


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                  Alan Young
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                  Albert Christian
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                  Albert Gould
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                  Albert Hill
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                  Albert Judd
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                  Albert Kates
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                  Smithfield, VA 23430


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                  Albert Pietrzak
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                  Albert Smith
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                  Albertha Johnson
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                  Alberto Flores
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                  8500 Ledford Avenue
                  Connelly Springs, NC 28612
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                  Alejandro Mej a
                  704 Lexington Court
                  Dalton, GA 30721


                  Alejandro Morales
                  1810 Britton Key Ln
                  Spring, TX 77386


                  Alejandro Soto
                  111 Holly Drive
                  Washington Court House, OH 43160


                  Alejandro Velasquez
                  2201 Fairoaks Drive
                  Bay City, MI 48708


                  Alejandro Whitford
                  6459 Reidsville Road
                  Belews Creek, NC 27009


                  Alene Chen
                  424 Pearl Street
                  Lansing, MI 48906


                  Alesia Washington
                  4428 Tolbert Ave
                  Grove City, OH 43123


                  Alessandra Mazza
                  8071 Lynmar ln
                  Mechanicsville, VA 23111


                  Alex Anderson-Kahl
                  506 Copperhead Court
                  Columbia, MO 65202


                  Alex Ashby
                  113 Weisbrook Lane
                  Carterville, IL 62918


                  Alex Barnett
                  305 North 1st Street
                  Owensville, IN 47665
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                  Alex Bonson
                  505 E 164th Terrace
                  Belton, MO 64012


                  Alex Burton
                  228 Trinity 3 Road
                  Irmo, SC 29063


                  Alex Camacho
                  1243 Denman Avenue
                  Coshocton, OH 43812


                  Alex Case
                  287 Southwest St
                  Bellevue, OH 44811


                  Alex Cottrill
                  1925 Haviland Drive
                  Virginia Beach, VA 23454


                  Alex Coulombe
                  12900 Meagan Drive North
                  Mooresville, IN 46158


                  Alex Duncan
                  120 Tranquility Rd
                  Moneta, VA 24121


                  alex fruin
                  222 Cherokee Road
                  Nashville, TN 37205


                  Alex Fry
                  24751 May Apple Ln
                  Lebanon, MO 65536


                  Alex Fulford
                  7597 U.S. 64
                  Hayesville, NC 28904


                  Alex Gorringe
                  1602 Laramie Drive
                  Lafayette, IN 47905
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                  Alex Graham
                  2000 Pleasant Hope Rd
                  Fairmont, NC 28340


                  Alex Hahn
                  39268 Grennada Street
                  Livonia, MI 48154


                  Alex Harris
                  2708 Mark St
                  Chesapeake, VA 23324


                  Alex Iacchetta
                  14665 Grass Lake Road
                  Grass Lake, MI 49240


                  Alex James
                  14 Quoin Court
                  Columbia, SC 29229


                  Alex Jimenez
                  1934 West Homewood Road
                  Conway, SC 29526


                  Alex Jinnah
                  1056 Gales Ave
                  Winston-Salem, NC 27103


                  Alex Kalinowski
                  740 Old Fort Eustis Blvd
                  Newport News, VA 23608


                  Alex Kinnell
                  545 Shytle Road
                  Columbus, NC 28722


                  Alex Newell
                  1032 N. Dewey St.
                  Owosso, MI 48867


                  Alex Perez
                  5274 Copper Creek Drive
                  Dublin, OH 43016
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                  Alex Petrauskas
                  2324 Kirkwood Pike
                  Kirkwood, PA 17536


                  Alex Pickard
                  4402 Simpson Avenue
                  Cincinnati, OH 45227


                  Alex Pille
                  12524 Zufall Lane
                  De Soto, MO 63020


                  Alex Pushman
                  2838 Pleasant Valley Road
                  Brighton, MI 48114


                  Alex Rodriguez
                  1248 St Johns Rd
                  Drums, PA 18222


                  Alex Rosario
                  1017 Dudley Road
                  Halifax, VA 24558


                  Alex SamiePond
                  935 North 2150th Road
                  Oglesby, IL 61348


                  Alex Sanchez
                  259 Merck Road
                  Cleveland, GA 30528


                  Alex Schroder
                  3185 Pond Lane
                  Gloucester, VA 23061


                  Alex Strandmark
                  212 South Cottage Street
                  Potterville, MI 48876


                  Alex Thebaud
                  8093 Fox Tail Court
                  Ypsilanti, MI 48197
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                  Alex Von Der Beck
                  2053 East River Rd
                  Fork Union, VA 23055


                  Alex Wanee
                  934 Preston Dr
                  Indianapolis, IN 46280


                  Alex Wright
                  1872 Knolson Street
                  Westland, MI 48185


                  Alexander Alcantar
                  13782 Netherwood St
                  Southgate, MI 48195


                  Alexander Conrad
                  7306 Hermitage Road
                  Richmond, VA 23228


                  Alexander Cunningham
                  13906 Parsons Bay Drive
                  Chester, VA 23836


                  Alexander Delarosa
                  5232 Pine Way Rd
                  Powder Springs, GA 30127


                  Alexander Dove
                  1875 NC-119
                  Mebane, NC 27302


                  Alexander Floury
                  20773 Shoreview Street
                  Clinton Township, MI 48035


                  Alexander Gochenour
                  473 River Rd
                  Woodstock, VA 22664


                  Alexander Harmon
                  807 South Broad Street
                  Kenbridge, VA 23944
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                  Alexander Kiczek
                  3914 NE 54th St
                  Kansas City, MO 64119


                  Alexander Korzyk
                  6030 Ironstone Dr
                  Richmond, VA 23234


                  Alexander Peets
                  40365 Old Cottonville Road
                  Norwood, NC 28128


                  Alexander Perkins
                  7595 Goodall Mill Road
                  Macon, GA 31216


                  Alexander Rafael
                  605 Oak Grove Road
                  Virginia Beach, VA 23320


                  Alexander Rothwell
                  8589 Co Rd 422,
                  Hannibal, MO 63401


                  Alexander Sanders
                  5885 New Meadow Dr
                  Ypsilanti, MI 48197


                  Alexander Sears
                  517 W Adrian St
                  Blissfield, MI 49228


                  Alexander Sterling
                  4013 Cambrian Circle
                  Midlothian, VA 23112


                  Alexander Thomas
                  601 McMillian St
                  Raeford, NC 28376


                  Alexander Walker
                  80 Scrivner Road
                  Eldon, MO 65026
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                  Alexander Winters
                  246 lindsay rd
                  Zelienople,, PA 16063


                  Alexander Yonchuk
                  1420 Goodnight Rd
                  Salisbury, NC 28147


                  Alexandra Brito
                  154 Ryan Rd
                  Blakeslee, PA 18610


                  Alexandria Hortenberry
                  3313 Terminal Avenue
                  Richmond, VA 23234


                  Alexandria Kadolph
                  5507 Clydebank Road
                  Greensboro, NC 27455


                  Alexandria Matthews
                  925 Wynfield Terrace
                  Richmond, VA 23223


                  Alexandria Reid
                  1510 Logan Street
                  Durham, NC 27704


                  Alexei Turovskiy
                  512 Wexford Drive
                  Huron, OH 44839


                  Alexia Hawkins
                  3233 S 450 W
                  Russivaille, IN 46979


                  Alexia Spurgeon
                  6522 Pierce Street
                  Norfolk, VA 23513


                  Alexis Black
                  1420 Trimble Ave
                  Kalamazoo, MI 49048
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                  Alexis Fraser
                  9011 Hillpoint Boulevard
                  Suffolk, VA 23434


                  Alexis McGough
                  838 Iris Lane
                  Clarksville, TN 37042


                  Alexis Vasquez
                  225 Wheatfield ct
                  Raeford, NC 28376


                  Alexsandro Medina
                  532 West Main Street
                  Covington, VA 24426


                  Alexshandra Brackenridge
                  3338 Bernice Road
                  Lansing, IL 60438


                  Alfonso Rodriguez
                  102 Toomer Rd
                  Perry, GA 31069


                  Alfred Bennett
                  821 Poor Farm Rd
                  Lebanon, VA 24266


                  Alfred Doku
                  3633 Silver Ore Ln
                  Charlotte, NC 28216


                  Alfred Lemanski
                  255 East Broad Street
                  East Stroudsburg, PA 18301


                  Alfred Lickteig
                  2151 John Brown Road
                  Princeton, KS 66078


                  Alfred Mbatta
                  1989 McDaniel Mill Rd SW
                  Conyers, GA 30094
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                  Alfred Mikell
                  6773 Forrest Rd
                  Columbus, GA 31907


                  Alfred P Morris
                  7 Lewallen Dr
                  Newport News, VA 23608


                  Alfred Rossi
                  629 Snowshoe Ln
                  Clarksville, TN 37040


                  Alfred Simmons
                  9350 Carroll NortH rd
                  Pickerington, OH 43147


                  Alfred Stanley
                  4102 Oak Hollow Dr
                  High Point, NC 27265


                  Alfred Stines
                  2131 Itsell Road
                  Howell, MI 48843


                  Alfred Thomas
                  2293 West Hastings Lake Road
                  Jonesville, MI 49250


                  Alfred Vaughn
                  5378 Martins Cove
                  Stone Mountain, GA 30088


                  Alfred Wyrick
                  11801 Virgil H Goode Highway
                  Rocky Mount, VA 24151


                  Alfredo Nevarez
                  1696 East 87th Court
                  Merrillville, IN 46410


                  Alfredo Reyes
                  5667 Wagon Train Road
                  Austin, TX 78749
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                  Alfredo Rodriguez
                  111 Weldon Street
                  Bloomington, IL 61701


                  Alhagie Taal
                  8101 Birch Walk Drive
                  Riverdale, GA 30274


                  Ali Hijazi
                  315 Willoughby Blvd
                  Greensboro, NC 27408


                  Ali Jaber
                  1030 S Gulley Rd
                  Dearborn, MI 48124


                  ALI PENAWE BODJONA
                  2125 18th Street
                  East Moline, IL 61244


                  Ali Shamsher
                  3501 Grant Avenue
                  Groves, TX 77619


                  Alice Bogan
                  3612 Easthampton Dr
                  Flint, MI 48503


                  Alice Chalmers
                  6497 Rich Mountain Rd
                  Cedar Mountain, NC 28718


                  Alice Cole
                  4809 North Carolina 704
                  Sandy Ridge, NC 27046


                  Alice Domitrz
                  3381 14th St,
                  Wyandotte, MI 48192


                  Alice Graveley
                  1394 Zettler Rd
                  Columbus, OH 43227
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                  Alice Horn
                  12984 Ashton Upland Rd
                  Ashton, WV 25503


                  Alice Howard
                  3619 Hancock Road
                  Appomattox, VA 24522


                  Alice Kiley
                  9792 36th St SE
                  Lowell, MI 49331


                  Alice Krodel
                  4481 S 1000 E
                  Upland, IN 46989


                  Alice Lundberg
                  13762 Beth Drive
                  Warren, MI 48088


                  Alice Robertson
                  120 Fairlawn Dr
                  Carrollton, GA 30117


                  alice rogers
                  1207 Acid Mine Road
                  Sullivan, MO 63080


                  Alice Silver
                  16 Silver Terrace
                  Asheville, NC 28804


                  Alice Smith
                  512 North Moulton Street
                  Moberly, MO 65270


                  Alice Smith
                  700 Chickasaw Drive
                  Westminster, SC 29693


                  Alice Thompson
                  812 Saddlebred Dr.
                  Richmond, VA 23223
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                  Alice Vickers
                  5445 FM 256 North
                  Woodville, TX 75979


                  Alice Williams
                  124 Lyon Ln
                  Lexington, VA 24450


                  Alice Wolfe
                  1214 Julie Avenue
                  Cahokia, IL 62206


                  Alicia Baber
                  905 Potts Creek Road
                  Covington, VA 24426


                  Alicia Bloomfield
                  4163 South 300 East
                  Greenfield, IN 46140


                  Alicia Clark
                  912 Southwest 4th Street
                  Aledo, IL 61231


                  Alicia Crittenden
                  9206 Clarion Dr
                  Saint Louis, MO 63136


                  Alicia Fultz
                  4135 Brookston Dr
                  Springfield, OH 45502


                  Alicia Hembry
                  1121 Race Street
                  Connellsville, PA 15425


                  Alicia Hill
                  3617 Darwin Avenue
                  Cheviot, OH 45211


                  Alicia Kinnamon
                  297 charing cross street
                  Galloway, OH 43119
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                  Alicia Oberholtzer
                  1021 Wynngate Drive
                  Chesapeake, VA 23320


                  Alicia Vannette
                  5253 146th Avenue
                  Holland, MI 49423


                  Aliett Rodriguez
                  2320 Tapscott Ave
                  Chesapeake, VA 23324


                  Alija Fulurija
                  1034 East 43rd Street
                  Erie, PA 16504


                  Alina Kaiser
                  101 Windward Drive
                  Bessemer City, NC 28016


                  Alisa Beasley
                  297 Freemans Cross Road
                  Freeman, VA 23856


                  Alisa Claypool
                  3643 Troy Rd
                  Springfield, OH 45504


                  Alisa Niederjohn
                  4249 Holt Road
                  Wentzville, MO 63385


                  Alisa O'Neill
                  229 Riley Street
                  Columbia, SC 29201


                  Alisha Hollinger
                  114 Anderson St
                  New Madison, OH 45346


                  Alisha Metter
                  1732 E Dexter Trail
                  Dansville, MI 48819
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                  Alison Bowen
                  1417 Cardiff Ln
                  High Point, NC 27265


                  Alison Dickson
                  171 Taylor Drive
                  Irwin, PA 15642


                  Alison Irish
                  410 Channelview Dr
                  Anahuac, TX 77514


                  Alison Simmons
                  224 Elizabeth Ave
                  Waynesboro,, VA 22980


                  All Star Vending, Inc
                  3443 Military St
                  Port Huron, MI 48060


                  Alla Merrick
                  9353 Richfield
                  Livonia,, MI 48150


                  Allan Burroughs
                  15148 Mill Rd
                  Three Oaks, MI 49128


                  Allan Dalton
                  1401 Henry Street
                  Murray, KY 42071


                  Allan Hunter
                  1087 N Turkey Creek Rd
                  Leicester, NC 28748


                  Allan Marsden
                  2960 Herron Ridge Dr
                  va beach, VA 23456


                  Allan Perrault
                  1354 Francesca Drive
                  Clarksville, TN 37042
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                  Allan Shavis
                  205 Becca Lane
                  Stroudsburg, PA 18360


                  Allan Simons
                  367 Unionville Road
                  Rochester, PA 15074


                  Allan SLATER
                  285 Elbow Rd
                  Protem, MO 65733


                  Allan Strong
                  104 South Commercial Street
                  Baileyville, IL 61007


                  Allan Wenger
                  7973 Nyesville Road
                  Chambersburg, PA 17202


                  Allan West
                  4080 Ann Elise Court
                  Hamilton, OH 45011


                  Alleenna Bowman
                  13072 Big Valley Pike
                  Mill Creek, PA 17060


                  Allen Biestek
                  1124 Sunrise Drive
                  Pittsburgh, PA 15243


                  Allen Boyce
                  505 Kellam Rd
                  Virginia Beach, VA 23462


                  Allen Boynton
                  1002 McNutt Way
                  Augusta, GA 30906


                  Allen Brooks
                  100 Riding Ln
                  Southern Pines, NC 28387
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                  Allen Byrne
                  319 S 1st St
                  Olsburg, KS 66520


                  Allen Carmona
                  189 Oberholtzer Road
                  Gilbertsville, PA 19525


                  Allen Casey
                  2844 West 31st Street
                  Erie, PA 16506


                  Allen Cegelis
                  14329 Strada Dr
                  Chelsea, MI 48118


                  Allen Childs
                  1134 Cotter Rd
                  Munger, MI 48747


                  Allen Cridlebaugh
                  3835 STATE ROUTE 72 NORTH
                  CEDARVILLE, OH 45314


                  Allen Eifler
                  2560 Voorheis Road
                  Waterford Township, MI 48328


                  Allen Gibbs
                  13400 Brandy Oaks Dr
                  Chesterfield, VA 23832


                  Allen Goretski
                  3773 Gruber Road
                  Monroe, MI 48162


                  Allen Green
                  16608 GREENS CORNER RD
                  CULPEPER, VA 22701


                  Allen Hayes
                  2080 Sandalwood Drive
                  Burton, MI 48519
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                  Allen Heffelbower
                  25601 Hill Creek Road
                  Wagram, NC 28396


                  Allen Hopper
                  3018 Brookdown Drive
                  Columbus, OH 43235


                  Allen Hudepohl
                  6131 Indiana 350
                  Milan, IN 47031


                  Allen Huntley
                  895 Medway Drive
                  Orangeburg, SC 29118


                  Allen Jackson
                  1710 N Cove Blvd
                  Toledo, OH 43606


                  Allen Jones
                  130 Alameda Court
                  Lancaster, OH 43130


                  Allen Kuhl
                  181 Blue Sky Park Road
                  Jackson, OH 45640


                  Allen Lee
                  4721 Cedar Avenue
                  Hammond, IN 46327


                  Allen Mack
                  1425 Darnell Rd
                  Mayfield, KY 42066


                  Allen Mack
                  6801 Melville Dr
                  Chesterfield, VA 23832


                  Allen Mathes
                  447 W lake Dr
                  saint clair, MO 63077
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                  Allen Moore
                  111 Giles Drive
                  McDonough, GA 30252


                  Allen Morrison
                  4017 Fallsway Ct
                  Virginia Beach, VA 23456


                  Allen Park
                  222 Republic Dr.
                  Allen Park, MI 48101


                  Allen Payne
                  117 Paxton Dr
                  Hendersonville, TN 37075


                  Allen Plymale
                  16114 Taylor Ridge Ln
                  Beaverdam, VA 23015


                  Allen Pope
                  204 Webb Road
                  Beaver, OH 45613


                  Allen Ramos
                  26112 Shannon mill dr
                  Ruther Glen, VA 22546


                  allen roark
                  1129 East Koch Drive
                  Peoria, IL 61615


                  Allen Russom
                  200 2nd Street
                  Silva, MO 63964


                  Allen Scheidel
                  1433 E Tuttle Road
                  Ionia, MI 48846


                  Allen Simpson
                  107 Marcella Road
                  Hampton, VA 23666
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                  Allen Smith
                  317 Cedar St
                  Port Clinton, OH 43452


                  Allen Stratton
                  2907 S Wollenweber Rd
                  New Palestine, IN 46163


                  Allen Summers
                  2183 Elliott Street
                  Oxford, NC 27565


                  Allen Thompson
                  1210 George st
                  Owosso, MI 48867


                  Allen Thorp
                  4943 Laur Rd
                  North Branch, MI 48461


                  Allen Towle
                  23136 Oakwood Ave
                  Eastpointe, MI 48021


                  Allen Wanser
                  307 George St
                  Winchester, VA 22601


                  Allen Watts
                  1208 McCrosky Dr
                  Mount Sterling, KY 40353


                  Allen Welther
                  8674 Unionville Rd
                  Sebewaing, MI 48759


                  Allen Wilson
                  12796 Venness Street
                  Southgate, MI 48195


                  Allen Young
                  224 Church Street
                  Kernersville, NC 27284
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                  Allene Stewart
                  28276 Berkshire Drive
                  Southfield, MI 48076


                  Allesan Armstrong
                  2823 Brookdale Avenue
                  Parma, OH 44134


                  Allied Electrical Services
                  25217 Michigan Ave
                  Dearborn, MI 48124


                  Allison Achille
                  127 Fritters Ln
                  Stafford, VA 22556


                  Allison Baraza
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                  Holland, MI 49424


                  Allison Bundy
                  2716 Dirck Rd
                  Castle Hayne, NC 28429


                  Allison Burdeshaw
                  3087 Dunstone Avenue
                  Akron, OH 44312


                  Allison Coleman
                  6310 Welmont Drive
                  Wilmington, NC 28412


                  Allison Crowell
                  91 Meade Drive
                  Gettysburg, PA 17325


                  Allison Cuthbertson
                  4806 West 935 North
                  Lake Village, IN 46349


                  Allison Dalbo
                  3090 Ormond Dr
                  Winston Salem, NC 27106
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                  Allison Dile
                  1109 West Larch Avenue
                  Muskegon, MI 49441


                  Allison Furr
                  4681 Midland Rd
                  Midland, VA 22728


                  Allison Garcia
                  1147 Rockingham Dr
                  Harrisonburg, VA 22802


                  Allison Glazar
                  409 6th Street
                  Irwin, PA 15642


                  Allison Inman
                  172 Alice McCrea Rd.
                  Kingstree, SC 29556


                  Allison Joy
                  504 E Donaldson Ave
                  Raeford, NC 28376


                  Allison Liulenov
                  14201 McCabe Drive
                  Chester, VA 23831


                  Allison Love
                  1588 Mutton Hollow Rd
                  Stanardsville, VA 22973


                  Allison Major
                  923 Erich Road
                  Richmond, VA 23225


                  Allison Marion
                  190 Clay Dr
                  Winston-Salem, NC 27107


                  Allison McElroy
                  1833 Benefit Road
                  Chesapeake, VA 23322
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                  Allison Nieboer
                  4681 S Sheridan Dr
                  Muskegon,, MI 49444


                  Allison Savage
                  7815 W James Anderson Hwy
                  Buckingham, VA 23921


                  Allison Simms
                  769 Pontiac Trail
                  Jamestown, OH 45335


                  Allison Wildridge
                  112 Thomas Nelson Ln
                  Williamsburg, VA 23185


                  Allonna Mason
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                  Chester, VA 23836


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                  Allyn cooper
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                  Berrien Springs, MI 49103


                  Allyn Luce
                  603 E Indiana St
                  Edon, OH 43518


                  Allysha Brodil
                  203 Idlewood Ave
                  Portsmouth, VA 23704


                  Allyson Archer
                  1514 Raven st
                  Suffolk, VA 23434
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                  Allyson Weaver Gills
                  70280 Fairfield Drive
                  Edwardsburg, MI 49112


                  Allyssa Marino
                  1543 Capri Lane
                  Dyer, IN 46311


                  Alma Sanchez
                  6927 Rawley Pike
                  Hinton, VA 22831


                  Alma Tracy
                  4628 Ferncliff Drive
                  Lynchburg, VA 24502


                  Almeda Samuels
                  4327 White Pines Court
                  Augusta, GA 30906


                  Alodia Gallagher
                  1160 Westwood Dr
                  Lewis Center, OH 43035


                  Alondra Strickland
                  1571 Barrywood Circle West
                  Clarksville, TN 37042


                  Alonso Rojas
                  10953 Elm Bend Dr Charlotte NC 28273
                  Charlotte, NC 28273


                  Alonzo Langley
                  417 N Ivy St
                  Highland Springs, VA 23075


                  Alonzo Morgan
                  16534 Glastonbury Road
                  Detroit, MI 48219


                  Alonzo Nimmons
                  1194 Nimmons Road
                  Bamberg, SC 29003
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                  Alonzo Roberson
                  22152 Chatsford Circuit Street
                  Southfield, MI 48034


                  Alonzo Walker
                  11 Forest Vista Lane
                  Stafford, VA 22554


                  Alric Hough
                  1800 120th Avenue
                  Allegan, MI 49010


                  Althea Mcdonald
                  4201 McHoward Rd
                  Richmond, VA 23237


                  Alto Miller
                  1909 Gravenhurst Drive
                  Virginia Beach, VA 23464


                  Alton James
                  28320 Katie Rd
                  Chesterfield, MI 48047


                  Alton Lanier
                  910 Old Maple Hill Rd
                  Maple Hill, NC 28454


                  Alton Scoggins
                  214 Gilmore Cir
                  Calhoun, GA 30701


                  Alton Thomas
                  8651 E 46 Rd
                  Cadillac, MI 49601


                  Alton Walker
                  215 Barlow Rd
                  Williamsburg, VA 23188


                  Alvaro Matos
                  5936 Bradford Street
                  Jackson, MI 49201
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                  Alvie Rhymer
                  4660 Willowbrook Drive
                  Columbus, IN 47203


                  Alvin Bell
                  119 Tennyson St
                  Highland Park, MI 48203


                  Alvin Ely
                  1427 Mt Vernon Ave
                  Portsmouth,, VA 23707


                  Alvin Fowlkes
                  6531 Kings Grove Ct
                  Chesterfield, VA 23832


                  Alvin Gill
                  1002 Payton Avenue
                  Indianapolis, IN 46219


                  Alvin Gillies
                  103 Indian Forest Trail
                  Warner Robins, GA 31088


                  Alvin Harvey
                  191 Chestnut Grove Road
                  Appomattox, VA 24522


                  alvin jewell
                  7623 Herndon Rd
                  Herndon, WV 24726


                  Alvin Johnson
                  2102 Avenue Q
                  Santa Fe, TX 77510


                  Alvin Lee
                  3581 Bright Star Road
                  Douglasville, GA 30135


                  Alvin Register
                  203 Smithfield Cirlce
                  ELGIN, SC 29045
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                  Alvin Rosenthal
                  2733 Broadway Ave
                  Kalamazoo, MI 49008


                  Alvin Simmons
                  130 poplar lane
                  Anderson, SC 29624


                  Alvin Steward
                  2732 Carrick Court
                  Powder Springs, GA 30127


                  Alvin Toro
                  6953 Sunset Road
                  Spotsylvania Courthouse, VA 22551


                  Alyce Bird
                  78 46th Street
                  Grand Junction, MI 49056


                  Alycia Knoll
                  418 Plum St
                  Lemoyne, PA 17043


                  Alyena Kirkpatrick
                  335 Loblolly Drive
                  Bonaire, GA 31005


                  Alysa Norris
                  2320 Copley Road
                  Akron, OH 44320


                  Alyse Newman
                  2905 Berkley Ave
                  Chesapeake, VA 23325


                  Alysia McGinnis
                  115 Water Leaf Drive
                  Weaverville, NC 28787


                  Alyson Young
                  605 Alcoa Trail
                  Maryville, TN 37804
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                  Alyssa Andrews
                  361 Grant Street
                  Middleport, OH 45760


                  Alyssa Ryan Calm
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                  Columbus, OH 43235


                  Alyssa Wieland
                  9210 Ash Ln
                  Clarksville, MI 48815


                  AM Conservation Group
                  1701 Charleston Regional Parkway
                  Suite A
                  Charleston, SC 29492


                  Amadeo Ferreira
                  11222 Peppertree Lane
                  Charlotte, NC 28277


                  Amadou Gueye
                  3542 Woody Way
                  Winchester Canal, OH 43110


                  Amanda
                  744 Woodlawn Avenue
                  Jackson, MI 49203


                  Amanda Alexander
                  204 bryant lane 45176
                  Williamsburg, OH 45176


                  Amanda Alexander
                  204 byant lane
                  Williamsburg, OH 45176


                  Amanda Bobrovetski
                  1405 3 Mile Dr
                  Grosse Pointe Park, MI 48230


                  Amanda Bohmer
                  809 Shullo Dr
                  Akron, OH 44313
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                  Amanda Brenner
                  6416 Grayson Circle Northwest
                  Canton, OH 44718


                  Amanda Brooks
                  4500 St Anthony Rd
                  Temperance, MI 48182


                  Amanda Brown
                  1910 During Cir
                  Arnold, MO 63010


                  Amanda Bryson
                  317 Crowell Ln
                  Salisbury, NC 28146


                  Amanda Clark
                  7553 Oakthorpe Rd NE
                  Thornville, OH 43076


                  Amanda Clark
                  127 Chelsea Stuart TRL
                  Roanoke, VA 24019


                  Amanda Clarke
                  127 Chelsea Stuart TRL
                  Roanoke, VA 24019


                  Amanda Combs
                  3455 Farmfield Dr
                  Claremont, NC 28610


                  Amanda Darnell/ Brummett
                  17 E 27th St S
                  Big Stone Gap, VA 24219


                  Amanda DAUWALTER
                  2849 Granville Hwy
                  Gainesboro, TN 38562


                  Amanda Estes
                  1822 Kossuth Street
                  Lafayette, IN 47905
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                  Amanda Falls
                  6 Hopple Drive
                  Jersey Shore, PA 17740


                  Amanda Fard
                  198 Augusta Dr
                  Grandy, NC 27939


                  Amanda Fitzgerald
                  3850 Credence Farm Road
                  Lewisville, NC 27023


                  Amanda Fox
                  503 Dekalb St
                  Stewartsville, MO 64490


                  Amanda Fry
                  7830 East Sparta Ave
                  Magnolia, OH 44643


                  Amanda Fry
                  41787 Glasgow road
                  Lisbon, OH 44432


                  Amanda Gondick
                  10291 Timber Line Drive SE
                  ALTO, MI 49302


                  Amanda Guerreo
                  6566 West 400 North
                  La Porte, IN 46350


                  Amanda Harbor
                  3415 Childress Road
                  Christiansburg, VA 24073


                  Amanda Hobbs
                  1117 Egleston Avenue
                  Kalamazoo, MI 49001


                  Amanda Holloman
                  623 Governors Rd SE
                  Winnabow, NC 28479
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                  Amanda Hussey Crisafulli
                  49 Willow Branch Pl
                  Fredericksburg, VA 22405


                  Amanda Jaczkowski
                  9451 Gallagher St
                  Hamtramck, MI 48212


                  Amanda Johnson
                  5155 State Rd
                  Fort Gratiot Township, MI 48059


                  Amanda Kelly
                  11880 North County Road 25
                  Fostoria, OH 44830


                  Amanda Kinsey
                  15985 Bowman Street Northeast
                  Homeworth, OH 44634


                  Amanda Krouse
                  1435 Vernonview Dr
                  Mt Vernon, OH 43050


                  Amanda Lemasters
                  201 South Louise Avenue
                  Saint James, MO 65559


                  Amanda LEWIS
                  16890 White Oak Avenue
                  Lowell, IN 46356


                  Amanda Little
                  13501 Alva Brooks Lane
                  Spotsylvania Courthouse, VA 22551


                  Amanda Livingston
                  15906 Northland Drive Northeast
                  Cedar Springs, MI 49319


                  Amanda Loudin
                  10849 68th Ave
                  Allendale, MI 49401
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                  Amanda Luhring
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                  Cape Girardeau, MO 63701


                  Amanda Malcolm
                  3608 S Buckner Tarsney Rd
                  Grain Valley, MO 64029


                  Amanda MATERN
                  6986 Gammwell Drive
                  Cincinnati, OH 45230


                  Amanda Mattingly
                  5080 Old Farm Road Road
                  Springville, IN 47462


                  Amanda Mcquade
                  1478 Quail Lane
                  Beavercreek, OH 45434


                  Amanda Moran
                  527 West Washington Street
                  Momence, IL 60954


                  Amanda Murgenovich
                  149 McCracken Dr
                  Monaca, PA 15061


                  Amanda Piazza
                  35764 Platinum Dr
                  Round Hill, VA 20141


                  Amanda Pinkstock
                  4093 Pine Grove Rd SW
                  Amanda, OH 43102


                  Amanda Pinkston
                  7388 Julian Road SW
                  Amanda, OH 43102


                  Amanda Polzin
                  9855 Brandi Ln, Fowlerville, MI 48836, U
                  Fowlerville, MI 48836
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                  Amanda Reynolds
                  221 County Road 51
                  Riceville, TN 37370


                  Amanda Robbins
                  9614 8th Bay St
                  Norfolk, VA 23518


                  Amanda Rollins
                  246 N Mulberry St
                  Wilmington, OH 45177


                  Amanda Rosene
                  90 Carlock Road
                  Murphysboro, IL 62966


                  Amanda Scheid
                  341 Wilton Ave
                  Hampton, VA 23663


                  Amanda Scott
                  6520 Tennessee 226
                  Savannah, TN 38372


                  Amanda Sens
                  108 Meeder Lane
                  Freedom, PA 15042


                  Amanda Seward
                  112 Wichita Lane
                  Williamsburg, VA 23188


                  Amanda Shelar
                  5541 Windemere Cir
                  Trinity, NC 27370


                  Amanda Street
                  5518 Tennessee 30
                  Benton, TN 37307


                  Amanda Thompson
                  2981 East North Street
                  Kendallville, IN 46755
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                  Amanda Troxell
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                  Bedford, IN 47421


                  Amanda Vance
                  416 Hastings Ln
                  Versailles, KY 40383


                  Amanda Walcott
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                  Cleveland, OH 44111


                  Amanda Watson
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                  Macomb, MI 48042


                  Amanda Wells
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                  Indianapolis, IN 46239


                  Amanda West
                  2214 Allenridge Drive
                  Sevierville, TN 37876


                  Amanda Wight new home owner
                  413 Magnolia Meadow Way
                  Holly Springs, NC 27540


                  Amanda Williams
                  226 Everett Avenue
                  Roxboro, NC 27574


                  Amanda Wiseman
                  214 Sweet Meadow Dr
                  Kent City, MI 49330


                  Amath Tall
                  15328 Hampden St,
                  TAYLOR, MI 48180


                  Amber Adams
                  379 Jason Lane
                  West Union, OH 45693
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                  Amber Akers
                  789 Grubmore Rd
                  Marion, VA 24354


                  Amber Binebrink
                  572 Elm St
                  Broadway,, VA 22815


                  Amber Brooks
                  8081 Menge Street
                  Center Line, MI 48015


                  Amber Brown
                  20 Boondocks Ln
                  Stafford, VA 22554


                  Amber Clark
                  5680 Benton Rd
                  Jackson, MI 49201


                  Amber Duco
                  911 Woodside Ave SE
                  North Canton, OH 44720


                  Amber Fox
                  9158 Townline Rd
                  Kingsley, MI 49649


                  Amber Hanika
                  2897 Brewster Drive
                  Clarksville, TN 37042


                  Amber Harkey
                  701 North Fawn Street
                  Caney, KS 67333


                  Amber Harrelson
                  206 Kemper Court
                  Stephenson, VA 22656


                  Amber Hennrick
                  41 Wadsworth St Sw
                  Wyoming, MI 49548
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                  Amber Honaker
                  35474 Texas Road
                  Pomeroy, OH 45769


                  Amber Houtz
                  20510 Stony Ridge Rd
                  Pemberville, OH 43450


                  Amber Jacobs
                  426 Sands Road
                  Sweetwater, TN 37874


                  amber Kinney
                  1465 10 Mile Road Northeast
                  Comstock Park, MI 49321


                  Amber Mason
                  4172 State Route 30
                  Robertsville, MO 63072


                  Amber McDonough
                  7033 Summerhill Dr
                  West Chester Township, OH 45069


                  Amber Pittman
                  6975 West County Road 675 North
                  Middletown, IN 47356


                  Amber Ryan
                  601 Shadywood Ln
                  Raleigh, NC 27603


                  Amber Tompkins
                  516 N Whippoorwill Ln
                  Bloomfield, IN 47424


                  Amber Warren
                  4060 Tipton Woods Dr
                  Adrian,, MI 49221


                  Amber Watkins
                  324 Girard St
                  Mill Hall, PA 17751
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                  Amber Whitmire
                  3620 North Evergreen Drive
                  White Cloud, MI 49349


                  Amber Wiley
                  215 Dove Lane
                  Marion, VA 24354


                  Amber Winder
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                  Milton, PA 17847


                  Amber Young
                  2086 Stewartsville Rd
                  Moneta, VA 24121


                  Amberlee Michel
                  1386 Rodney Drive
                  Marion, OH 43302


                  Ambrielle Bender
                  1401 MEALS GATE CT
                  Virginia Beach, VA 23464


                  Ambujam Krishnan
                  37253 White Tail Court
                  Farmington Hills, MI 48335


                  Amee Sutton
                  1457 ZIMOWSKE Rd
                  Mio, MI 48647


                  Amelia Coronado
                  315 N Almont Ave
                  Imlay City, MI 48444


                  Amelia Hardee
                  135 Mackey Farm Drive
                  Old Fort, NC 28762


                  Amelia Helterline
                  350 Slade St
                  Coldspring, TX 77331
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                  American Disposal Services of Georgia, I
                  3 Waterway Square Place
                  Suite 110
                  The Woodlands, TX 77380


                  American National Insurance Company
                  8502-27
                  PO Box 181300
                  Farifield, OH 45018-1300


                  American National Insurance Company
                  Attn: Mortgage and RE Investment Dept
                  2525 South Shore Blvd, Suite 207
                  LEAGUE CITY, TX 77573


                  American Pest Control
                  11820 West Market Place
                  Suite A
                  Fulton, MD 20759


                  American Roofing Supply
                  7440 State Highway 121
                  McKinney, TX 75070


                  AmeriGas
                  375 WMain St
                  Brownsburg, IN 46112-9785


                  Amherst City Income Tax
                  480 Park Ave.
                  Amherst, OH 44001-2258


                  Ami Hojara
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                  Amie Allen
                  3473 Westhaven Trail
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                  Amie Fournier-flather
                  1304 Sheridan Dr
                  Kalamazoo,, MI 49001


                  Amie Norgrove
                  209 East Flint Street
                  Orion charter Township, MI 48362


                  Amie Wozniak
                  1258 Cynthia Ave
                  Madison Heights, MI 48071


                  amii gilmore
                  191 Santa Maria Dr
                  Owensboro, KY 42301


                  Amintori Moore
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                  South Bend, IN 46616


                  Amit Parmar
                  5753 Barbara Dr
                  Hilliard, OH 43026


                  Amjad Bukhari
                  4832 Firebrook Blvd
                  Lexington, KY 40513


                  amnarch Arunrung
                  5204 harrison street
                  hillside, IL 60162


                  Amod Paranjpe
                  300 Femme Osage Valley Ln
                  Augusta, MO 63332


                  Amos Swire
                  31 Furnace Street
                  Shickshinny, PA 18655


                  Amy Agrella
                  21 Ambrose Street
                  Jenkins Township, PA 18640
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                  Amy Akers
                  800 W Water St
                  New Buffalo, MI 49117


                  Amy Asmussen
                  3913 S Marshall Dr
                  Independence, MO 64055


                  Amy Baker
                  9740 Russell Road
                  De Graff, OH 43318


                  Amy Balser
                  2085 Lake rd SE
                  lancaster, OH 43130


                  Amy Boozel
                  900 Irvin Ridge Rd
                  McVeytown, PA 17051


                  Amy Brown
                  9103 Greeno Street
                  Stoutsville, OH 43154


                  Amy Cantwell
                  11 Jenny Lynn Road
                  Falmouth, VA 22405


                  Amy Cardis
                  521 Mellowood Dr
                  Southport, IN 46217


                  Amy Carrington
                  111 McCune St
                  Pilot Knob, MO 63663


                  Amy Chmielewski
                  9215 Tuttle Hill Road
                  Willis, MI 48191


                  Amy Cremeans
                  13 Cave Street, Pomeroy Ohio
                  Pomeroy, OH 45769
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                  Amy Davis
                  14473 Seymour Rd
                  Linden, MI 48451


                  Amy Dickerson
                  207 North Drive
                  Brooklyn, MI 49230


                  Amy Doyle
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                  Franklin, PA 16323


                  Amy Duke
                  360 Henry Kee Rd
                  Garysburg, NC 27831


                  Amy Flatter
                  10857 South 350 East
                  Lynn, IN 47355


                  Amy Floriano
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                  Portsmouth, VA 23703


                  Amy Gilbert
                  717 Manhasset Rd
                  Charlotte, NC 28209


                  Amy Greenwell
                  3662 East Dutch Creek Court
                  New Pekin, IN 47165


                  Amy Hamm
                  710 Hansberry Rd
                  Memphis, IN 47143


                  Amy Hancher
                  2769 Co Rd 68
                  Auburn, IN 46706


                  Amy Hemgesberg
                  8576 Summer Ridge Dr
                  Freeland, MI 48623
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                  Amy Hendershot
                  2967 Mineral City Zoar Rd NE
                  Bolivar, OH 44612


                  Amy Henry
                  1043 Wendall Avenue
                  New Carlisle, OH 45344


                  Amy Janes
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                  Millers Creek, NC 28651


                  Amy Jarboe
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                  Amy Jarvinen
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                  Gaines, MI 48436


                  Amy Jenkins
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                  Jacksonville, NC 28546


                  Amy Johnson
                  18927 Barkley Rd
                  Monroeville, IN 46773


                  Amy Kantz
                  53150 Co Rd 37
                  Middlebury, IN 46540


                  Amy Kayser
                  3226 Old Post Road
                  Portsmouth, OH 45662


                  Amy Kennedy
                  2000 NC-24
                  Kenansville, NC 28349


                  Amy Kirk
                  7196 McTaggart Rd
                  North Branch, MI 48461
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                  Amy Knapp
                  404 Blackberry Drive
                  Rabun Gap, GA 30568


                  Amy Laverty-Meeker
                  3250 W Quimby Rd
                  Hastings, MI 49058


                  Amy Leas
                  4282 West Florence Campbellstown Rd
                  Eaton, OH 45320


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                  Amy Paur
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                  Raleigh, NC 27604


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                  Amy Poole
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                  Wellington, OH 44090


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                  Fenton, MO 63026
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                  Amy Robey
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                  Baltimore, OH 43105


                  Amy Rognstad
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                  Hendersonville, NC 28739


                  Amy Rolls
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                  Harrison, MI 48625


                  Amy Sands
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                  Findlay, OH 45840


                  Amy Savage
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                  Slippery Rock, PA 16057


                  Amy Slate
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                  Archdale, NC 27263


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                  Fredericksburg, VA 22407


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                  Amy Spohr
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                  Flat Rock, MI 48134


                  Amy Staley
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                  Chesaning, MI 48616


                  Amy Steinmetz
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                  Union, MO 63084
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                  amy stickney
                  1119 Conifer Court
                  Georgetown Township, MI 49428


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                  Zion, IL 60099


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                  Amy Wagner
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                  Amy Witcher
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                  Sanford, NC 27332


                  Amy Wyma
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                  Amy Wynne
                  5710 Linda Road
                  Sandston, VA 23150


                  Ana Alicea
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                  Long Pond, PA 18334


                  Ana Aviles
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                  Effort, PA 18330


                  Ana Rivera
                  204 Christie Avenue
                  Anna, OH 45302


                  Ana Rocabado
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                  Ana Testa
                  3152 Twelve Oaks Boulevard
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                  Anastasia Agape
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                  muskegon, MI 49444


                  andalib ragab
                  1529 Big Leaf Drive
                  Charlotte, NC 28262


                  Andra (Andi) Clay
                  10861 Cameron Lane
                  Midland, NC 28107


                  Andra Smith
                  47668 Cheryl Court
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                  Andre Bustamante
                  2645 East 112th Street
                  Cleveland, OH 44104
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                  Andre Carrington
                  3637 Dwyer Lane
                  Aiken, SC 29801


                  Andre Clark
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                  Saginaw, MI 48601


                  Andre Garcia
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                  Andre Hansbrough
                  3616 Indiana 9
                  Shelbyville, IN 46176


                  Andre Herron
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                  Andre Howells
                  633 Shenandoah River Lane
                  Front Royal, VA 22630


                  Andre Joseph
                  2734 Vivian Street
                  Portage, IN 46368


                  Andre Thompson
                  6345 Rockview Way
                  Stonecrest, GA 30038


                  Andre Visser
                  6420 Tanglewood Ln
                  Grand Blanc, MI 48439


                  Andre Walker
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                  Magnolia, NC 28453


                  Andre Williams
                  4937 Dorchester St
                  Norton Shores, MI 49441
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                  Roanoke, VA 24012


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                  Andrea Bustamante
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                  Decatur, GA 30033


                  Andrea Butts
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                  Highland Springs, VA 23075


                  Andrea Como
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                  Andrea Davies
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                  Harmony, NC 28634


                  Andrea Farrar-Flewelling
                  4401 Homegardner Rd
                  Sandusky, OH 44870


                  Andrea Felts
                  2408 Big Stony Creek Road
                  Goldbond, VA 24150


                  Andrea Fielhauer
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                  Kalamazoo, MI 49048


                  Andrea Graham
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                  North Wilkesboro,, NC 28659
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                  Kents Store, VA 23084


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                  andrea jackson
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                  Andrea Keller
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                  Belmont, NC 28012


                  Andrea Kozan
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                  Andrea Lewis
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                  Petersburg, VA 23803


                  Andrea McDonough
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                  Franklin, OH 45005


                  Andrea Mitchell
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                  Andrea Noonan
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                  Andrea Peck
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                  Lapeer, MI 48446


                  Andrea Price
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                  Columbus, OH 43229
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                  Andrea Shelton
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                  Waterford, MI 48327


                  Andrea Spata-Merrill
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                  grand ledge, MI 48820


                  Andrea Talley
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                  Andrea Taylor
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                  Novi, MI 48374


                  Andrea Thorne
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                  Andrea Vojacek
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                  Fort Hill, PA 15540


                  Andreas Myles
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                  Killeen, TX 76549


                  Andreas PESCHKE
                  186 Ebenezer Church Road
                  Gore, VA 22637


                  Andres Moreno
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                  Newport News, VA 23601


                  Andretti Edwards
                  547 Taney Place
                  Gary, IN 46404
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                  Andrew Agnew
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                  Hoschton, GA 30548


                  Andrew Alvis
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                  Stony Creek, VA 23882


                  Andrew Artman
                  1872 leyland
                  smiths creek, MI 48074


                  Andrew Auxier
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                  Jackson, TN 38301


                  Andrew Barr
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                  Manhattan, KS 66502


                  Andrew Berghoff
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                  Jackson, MO 63755


                  Andrew Blotzer
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                  Lenoir City, TN 37771


                  Andrew Book
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                  Chesterfield, VA 23801
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                  119 Adler Ln
                  Goldsboro, NC 27530


                  Andrew Broaddus
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                  Ashland, VA 23005


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                  Knox, IN 46534


                  Andrew Brown
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                  Long Island, VA 24569


                  Andrew Cameron
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                  Andrew Christakos
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                  Andrew Cieslinski
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                  Andrew Collins
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                  Chester, VA 23836


                  Andrew Compliment
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                  Ironton, OH 45638


                  Andrew Dack
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                  Norfolk, VA 23505
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                  1309 Jordan Lake Avenue
                  Lake Odessa, MI 48849


                  Andrew Dalbec
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                  York, SC 29745


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                  Milan, MI 48160


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                  Alexis, IL 61412


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                  Troutdale, VA 24378


                  Andrew Delalla
                  743 Clear Creek Road
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                  Andrew Dinda
                  3799 Courtland Oval
                  Brunswick, OH 44212


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                  Linden, NC 28356


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                  Gettysburg, PA 17325


                  Andrew Dunbar
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                  Maple Hill, NC 28454


                  Andrew Edgar
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                  Gravois Mills, MO 65037


                  Andrew Elliott
                  1116 Amber Ln
                  lansdale, PA 19446


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                  Marion, MI 49665


                  Andrew Fernandez
                  3519 Tamsin Ave
                  Kalamazoo, MI 49008


                  Andrew Freeman
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                  Granger, IN 46530


                  Andrew Furber
                  40143 North Carolina 740
                  New London, NC 28127
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                  Andrew Gabbeart
                  23137 County Road 375
                  Mattawan, MI 49071


                  Andrew Gertz
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                  Dearborn, MI 48124


                  Andrew Gourley
                  4135 schramling rd
                  Corry, PA 16407


                  Andrew Gutterman
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                  Columbia, IL 62236


                  Andrew Herbert
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                  Andrew Hill
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                  Bear Lake, MI 49614


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                  Prince George, VA 23875


                  Andrew Holmes
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                  Elk Creek, VA 24326


                  Andrew Holmes
                  31382 Willow Lane
                  Franklin, VA 23851


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                  McKeesport, PA 15132


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                  Bolivar, MO 65613


                  Andrew Huynh
                  139 Douglas Lane
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                  Andrew Jones
                  768 Walker St
                  Blackville, SC 29817


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                  Norfolk, VA 23509


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                  Aylett, VA 23009


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                  Moseley, VA 23120


                  Andrew McGee
                  6207 Andrew's Way
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                  Andrew McGlothlin
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                  Red Springs, NC 28377


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                  Andrew Moyer
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                  Milan, MI 48160


                  Andrew Pauken
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                  Maumee, OH 43537


                  Andrew Peifer
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                  Andrew Pinchen
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                  Brighton, MI 48114


                  Andrew Presgrave
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                  Haymarket, NC 27959


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                  Andrew Richard
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                  Mount Carmel, IL 62863


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                  Muskegon, MI 49445


                  Andrew South
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                  Hopewell, PA 16650


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                  Andrew Tryens
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                  Allegan, MI 49010


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                  Andy Klark
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                  Andy Senn
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                  Andy Temple
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                  Angela Carlile
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                  Bellville, TX 77418


                  Angela Childress
                  3231 Trent Hatchery Rd
                  Appomattox, VA 24522
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                  Winston-Salem, NC 27106


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                  Canton, OH 44709


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                  21833 Wilsey rd
                  Annawan, IL 61234
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                  Elizabeth, PA 15037


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                  Henrico, VA 23231


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                  Eaton Rapids, MI 48827


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                  Newark, OH 43055


                  Anna Evans
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                  Waverly, TN 37185


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                  South Bend, IN 46614


                  Anna Knowles
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                  Powell, TN 37849


                  Anna Lewchanin
                  12082 Jeffrey Rd
                  Ruther Glen, VA 22546
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                  Anna Looney
                  3604 Moore Rd
                  Portsmouth, VA 23703


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                  Davison, MI 48423


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                  Kalamazoo, MI 49009


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                  Maggie Valley, NC 28751


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                  Garden City, MI 48135


                  ANNA O'Neill
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                  Anna Patterson
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                  Riverdale, GA 30274


                  Anna Quinones-Cruz
                  43 Incurve Road
                  Levittown, PA 19057


                  Anna Rohleder
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                  Eskridge, KS 66423


                  Anna Rossomando
                  1556 Fire Tower Road
                  Christiansburg, VA 24073
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                  Anna Sheneman
                  801 Hall Street
                  Cedar Park, TX 78613


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                  Raleigh, NC 27603


                  anna suchecki
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                  Stoutsville, OH 43154


                  Anna Yoder
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                  Gretna, VA 24557


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                  Columbiaville, MI 48421


                  ANNE BRETZ
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                  Erie, PA 16511


                  Anne Copenhaver
                  10679 Five Forks Road
                  Waynesboro, PA 17268
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                  Anne Dugalech
                  16264 S Raucholz Rd
                  Oakley, MI 48649


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                  Woodford, VA 22580


                  Anne Fauset
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                  Farmington, MO 63640


                  Anne Feeney
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                  Pittsburgh, PA 15218


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                  Fuquay Varina, NC 27526


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                  Anne Holmes
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                  Sevierville, TN 37876


                  Anne Jones
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                  1953 West 32nd Street
                  Erie, PA 16508


                  Anne Norris
                  427 Harbour View Dr
                  kill devil hills, NC 27948
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                  Anne Pallie
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                  Amissville, VA 20106


                  Anne Pallie
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                  Amissville, VA 20106


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                  Crozet, VA 22932


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                  Anne Ross
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                  Durham, NC 27704


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                  Valley City, OH 44280


                  Anne Schlegel
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                  Elwood, IN 46036


                  Anne Sites
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                  Swannanoa, NC 28778


                  Anne Tully
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                  Lewisburg, OH 45338


                  Anne VandeKieft
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                  Fremont, MI 49412


                  Anne Watkins
                  929 N Jefferson St
                  Delphos, OH 45833
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                  Annemarie Bretz
                  2108 Lancaster Avenue
                  Monroe, NC 28112


                  Annemarie Dralus
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                  Allentown, PA 18103


                  AnneMarie Regnier
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                  Wilmington, NC 28412


                  aNNETE Brown
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                  Waverly, OH 45690


                  Annett and Armand Boyd
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                  Front Royal, VA 22630


                  Annetta Piper
                  245 Waynesboro Pike
                  Fairfield, PA 17320


                  Annette Barringer
                  2995 Sterling Rd
                  Omer, MI 48749


                  Annette Cherry
                  866 Baker Rd
                  Columbia, TN 38401


                  Annette Davis
                  1289 East 36th Place
                  Gary, IN 46409


                  Annette Graham
                  19408 King William Road
                  King William, VA 23086


                  Annette Griffin
                  1304 County Road S 300 East
                  Kokomo, IN 46902
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                  Annette Jones
                  2709 W 19th Ave
                  Gary, IN 46404


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                  Hanover, MI 49241


                  Annette Rhodes
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                  Evington, VA 24550


                  Annette Russell
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                  Stafford, VA 22554


                  Annette Shelton
                  315 Darrell Lane
                  Hurt, VA 24563


                  Annette Sterling
                  21014 Reimanville Avenue
                  Ferndale, MI 48220


                  Annette Vickers
                  2030 Old Ramsey Rd
                  Monroeville, PA 15146


                  Annette Webber
                  8330 Churchill Road
                  Jackson, MI 49201


                  Annette Woodley Wicker
                  149 Vail Rd
                  Pikeville, NC 27863


                  Annie Carter
                  29 Cherokee Hills Dr
                  Rydal, GA 30171


                  Annie Gallinger
                  3029 Fieldstone Drive
                  Dexter, MI 48130
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                  Annie Houston
                  23760 Marlow Street
                  Oak Park, MI 48237


                  Annie Houston ( lift and pull )
                  23760 Marlow Street
                  Oak Park, MI 48237


                  Annie Kennedy
                  1148 Lincoln Rd
                  Lititz, PA 17543


                  Annie Kilby
                  245 Creek Road
                  Tellico Plains, TN 37385


                  Annie Lockwood
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                  Chillicothe, OH 45601


                  Annie Malone
                  2548 Eppie Cove Lane
                  Knoxville, TN 37931


                  Annie Roberts
                  334 Mercury Rd
                  Gretna, VA 24557


                  Annie Sessoms
                  844 North Carolina 42
                  Colerain, NC 27924


                  Annie Sills
                  2597 Flinn Road
                  Manning, SC 29102


                  Annie Sluder
                  149 Leigh Way
                  Chatsworth, GA 30705


                  Anntoinette Mabery
                  516 S Hamilton St
                  Eden, NC 27288
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                  17823 Merideth Trl
                  Marshall, MI 49068


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                  Elizabethtown, KY 42701


                  Anthony Beaman
                  4315 Sequoia Court
                  Greenwood, IN 46143
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                  Anthony Bergmann
                  2764 Grant Road
                  Fults, IL 62244


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                  Durham, NC 27703


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                  Boston, PA 15135


                  Anthony Bontrager
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                  Anthony Boyden
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                  Anthony Breckenridge
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                  Crete, IL 60417


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                  Julian, NC 27283


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                  Anthony Brown Bey
                  828 Alter Rd
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                  Anthony Buckley
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                  Anthony Carter
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                  Anthony Cavacece
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                  Anthony Clark
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                  Anthony Colvin
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                  Fremont, OH 43420


                  Anthony Cooper
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                  Anthony Coppola
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                  Anthony Delong
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                  Anthony DiPalma
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                  Stafford, VA 22556
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                  Anthony Dirrell
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                  Anthony Dowdy
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                  Atlanta, GA 30349


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                  Anthony Gater
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                  Anthony Guidry
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                  Anthony Liston
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                  Hiram, OH 44234


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                  Michigan City, IN 46360
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                  McDonough, GA 30252


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                  Chesapeake, VA 23322


                  Anthony Michael
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                  Anthony Parson
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                  Irmo, SC 29063


                  Anthony Pierce
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                  Haw River, NC 27258
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                  Mayfield Heights, OH 44124


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                  Anthony Rogers
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                  Anthony Rowe
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                  Anthony Sims
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                  Statesville, NC 28677


                  Anthony Sims
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                  North Augusta, SC 29841


                  Anthony Smiley
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                  Courtland, VA 23837


                  Anthony Smith
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                  Spotsylvania Courthouse, VA 22551


                  Anthony Splendore
                  121 Bryce Meadow Dr.
                  Holly Springs, NC 27540
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                  Anthony Swan
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                  Fuquay-Varina, NC 27526


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                  New Haven, IN 46774
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                  2956 Park Street
                  Terre Haute, IN 47803


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                  Chester, VA 23836


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                  3519 Sedgefield Street
                  Suffolk, VA 23435


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                  Kingsport, TN 37664


                  Anthony Welsh
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                  romney, WV 26757


                  Anthony Westjohn
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                  Pomeroy, OH 45769


                  Anthony White
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                  Anthony Williams
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                  Wade, NC 28395


                  Anthony Williams
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                  Nacogdoches, TX 75961
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                  494 Kitty Hawk Dr
                  Springboro, OH 45066


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                  Newport News, VA 23608


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                  Cape Girardeau, MO 63701


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                  Erie, PA 16503


                  Antly Reddick
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                  Antoine Fair
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                  Saginaw, MI 48602


                  ANTOINETTE BRANDON
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                  Griffin, GA 30223


                  Antoinette Lambert
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                  Antonio Barbosa
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                  Antonio Corona
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                  Antonio Diggs
                  32272 Henry Ruff Rd
                  Romulus, MI 48174
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                  Winchester,, VA 22601


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                  Antonio Jones
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                  Antonio Marco Ariz Mendi
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                  Antonio Mendoza
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                  Antonio Moses
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                  Howard, PA 16841


                  Antonio Pauley
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                  Richmond, VA 23231


                  Antonio Shelton
                  553 Glenarvon Drive
                  Bremo Bluff, VA 23022


                  Antonio Toribio
                  2721 Lake Ridge Court
                  Chesapeake, VA 23323
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                  Antwan Turpeau
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                  antwane cross
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                  Salem, VA 24153


                  Anu Avula
                  11955 Midvale Drive
                  Maryland Heights, MO 63043


                  Anuradha Patel
                  15414 Westlake St
                  Taylor, MI 48180
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                  Anurag Jain
                  452 Mayapple Court
                  Rochester Hills, MI 48307


                  Anwar Fry
                  3812 Bricken Ln
                  Fredericksburg, VA 22408


                  Anyelo Del Rosario
                  718 E 3rd St
                  Berwick, PA 18603


                  Apollo Daycare
                  2880 NC Hwy 55
                  Cary, NC 27519


                  Apoorva Srivastava
                  603 Alex Court
                  Cranberry Township, PA 16066


                  Apple Wright
                  4735 Sugar Hill Road
                  Marion, NC 28752


                  Applegate Greenfiber Acquisition
                  1603 Orrington Ave
                  Suite 700
                  Evantson, IL 60201


                  April Brant-Davis
                  700 Beacon Street
                  Peoria, IL 61603


                  April Brickhouse
                  1080 Jones Rd
                  Columbia, NC 27925


                  April Brown
                  8501 Babble Ln
                  Raleigh, NC 27615


                  April Cain
                  4016 Claudville Hwy
                  Claudville, VA 24076
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                  April Connel
                  161 Price Lane
                  Rocky Mount, VA 24151


                  April Deocampo
                  3071 Breslaw Court
                  Virginia Beach, VA 23453


                  April Giesey
                  50803 Old Infirmary Road
                  Pleasant City, OH 43772


                  April Glotfelty
                  62795 Dusty Ln
                  Barnesville,, OH 43713


                  April Johnson
                  825 Higbee Dr N
                  Columbus, OH 43207


                  April Morrison
                  897 Blue Ridge School Road
                  Fancy Gap, VA 24328


                  April Panchyshyn
                  314 W Melvin Hill Road
                  Columbus, NC 28722


                  April Pence
                  7741 Mechanicsburg Catawba Road
                  Mechanicsburg, OH 43044


                  April Shoulders
                  12338 68th Ave
                  Allendale, MI 49401


                  April Shuck
                  31 Mill Creek Lane
                  Stuarts Draft, VA 24477


                  April Simpson
                  5273 Northwest Road Northeast
                  Riegelwood, NC 28456
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                  April Smith
                  3221 Centennial Oak Ct
                  Clio, MI 48420


                  April Smith
                  404 Pollard Road
                  Walling, TN 38587


                  April Sprinkle
                  4107 Mountain View Rd
                  Hays, NC 28635


                  April Von Wedel
                  517 Friendship Church Road
                  Honea Path, SC 29654


                  April Wagle Simmons
                  8391 North County Road 100 East
                  Brazil, IN 47834


                  April/ James Fleming
                  261 Tower Drive
                  Broadway, NC 27505


                  Aqua Filter Fresh, Inc.
                  Tyler Mountain Water Co.
                  1 Commerce Drive
                  Pittsburgh, PA 15239


                  Aravindan Ramalingam
                  1523 Scarlet Avenue
                  Lewis Center, OH 43035


                  Arby Rowe
                  1525 Green Valley Dr
                  Ashland, KY 41102


                  Archer Campbell
                  130 Jonesboro Road
                  Kenbridge, VA 23944


                  Archi Trapp
                  39 Ireland St
                  Hampton, VA 23663
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                  Archie Davis
                  1836 Southwind Drive
                  Charlotte, NC 28216


                  Archie Knudtson
                  2163 Jones Road
                  Waterford Township, MI 48327


                  Archie Lake
                  755 Sadie Court
                  Lansing, MI 48906


                  Archie Lindsay
                  615 Jasper Wood Road
                  Hurt, VA 24563


                  Ard Smits
                  3904 38th St
                  Hamilton, MI 49419


                  Arden Beck
                  5080 Okemos Road
                  East Lansing, MI 48823


                  Arden Kauffman
                  6662 Township Rd 351
                  Millersburg, OH 44654


                  Ardie Reid
                  3661 Devine Road
                  Nashville, MI 49073


                  Ardis Shannon
                  4522 Marlin Ave
                  Suffolk, VA 23435


                  Areno Gonzalez
                  9823 Kindletree Circle
                  Houston, TX 77040


                  Ares Bisco
                  21 Wentworth Drive
                  Fredericksburg, VA 22406
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                  Aresnia McCargo
                  101 Horseshoe Landing
                  Hampton, VA 23669


                  Argie Williams
                  617 Tiffany Lane
                  Fort Scott, KS 66701


                  Ariann Boylan
                  4748 Redwood Ct
                  Doylestown, PA 18902


                  Ariatna Santillan
                  461 Decatur Rd
                  Stafford,, VA 22554


                  Aric Abrams
                  2447 Mercer St
                  Stoneboro,, PA 16153


                  aric streeter
                  1125 surrey ln
                  south lyon, MI 48178


                  Ariel Alvis
                  3717 5 Oaks Dr
                  Evansville, IN 47725


                  Ariel Martinez
                  147 W Main St
                  Mooresville, IN 46158


                  Ariel Woodruff
                  707 Dallas Spencer Mountain Road
                  Dallas, NC 28034


                  Arkansas Department of Finance and Admin
                  501 Woodlane Street
                  Suite 410C
                  Little Rock, AR 72201


                  Arleene Jackson
                  4440 Scotts Crossroads
                  Chase City, VA 23924
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                  Arlene Aponte
                  1032 Whippoorwill Ln
                  Indian Trail, NC 28079


                  Arlene De Forest
                  6709 East Joy Road
                  Ann Arbor, MI 48105


                  Arlene Heflin
                  54125 County Road 7
                  Elkhart, IN 46514


                  Arlene White
                  502 Defiance Street
                  Howe, IN 46746


                  Arlette Ingram-Scott
                  10601 Drexel Avenue
                  Cleveland, OH 44108


                  Arlette Rioja
                  3 Theodore St
                  Fredericksburg, VA 22406


                  Arley Combs
                  11712 N 322 E
                  Thayer, IN 46381


                  Arley Haven II
                  164 Legion Road
                  Warrenville, SC 29851


                  Armando Gonzalez
                  1821 Haynor rd
                  Ionia, MI 48846


                  Armando Rivera
                  102 Quiet Acres Drive
                  Easley, SC 29642


                  Armon Withey
                  N Musson Road
                  Six Lakes, MI 48886
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                  Armstrong Business Solutions
                  437 N. Main Street
                  Butler, PA 16001-4358


                  Arne Sarya
                  10734 Thiel Road
                  Traverse City, MI 49685


                  Arnell Rivers
                  211 Snowden Court
                  Richlands, NC 28574


                  Arnettie Robertson
                  908 N Madison Ave
                  North Vernon, IN 47265


                  Arnie Campo
                  1718 Partridge Hill Rd
                  Lancaster, SC 29720


                  Arnie Michael III
                  7743 North Henry Ruff Road
                  Westland, MI 48185


                  Arnold Brooks
                  1240 S Posey Lake Hwy
                  Clayton, MI 49247


                  Arnold Burden
                  1552 East Scarlet Oaks Court
                  Terre Haute, IN 47802


                  Arnold Copeland
                  2202 Averill Dr
                  Chesapeake, VA 23323


                  Arnold Duncan
                  1496 Frogtown Road
                  Union, KY 41091


                  Arnold Eggleton
                  418 West Place
                  Trenton, OH 45067
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                  arnold esperon
                  3918 North Oconto Avenue
                  Chicago, IL 60634


                  Arnold Kilby
                  94 Musterfield Dr
                  Asheville, NC 28805


                  Arnold Kropp
                  1580 Farnsworth Road
                  Lapeer, MI 48446


                  Arnold Myers
                  1415 Anderson Court
                  Fairmont, WV 26554


                  Arnold Navarre
                  5024 Sylvan Rd
                  Richmond, VA 23225


                  Arnold Perwitt
                  6371 Bishop Ridge Lane
                  Rural Hall, NC 27045


                  Arnold Redsicker
                  60091 Territorial Rd
                  Lawrence, MI 49064


                  Arnold Rhoads
                  11502 Plymouth Goshen Trail
                  Plymouth, IN 46563


                  Arnold Smith
                  3544 Poplar Ridge Dr
                  Gloucester, VA 23061


                  Arnold Smith
                  2203 Mulberry Street
                  Salem, VA 24153


                  Arnold Sparrock Sr.
                  488 Hager Murphy Road
                  Rose Hill, NC 28458
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                  Arnold Williams
                  24245 Virginia
                  Warren, MI 48091


                  Arnold Worley
                  47 Marler Road
                  Marion, NC 28752


                  Arnoldo Montiel
                  1044 Meriwether Road
                  Clarksville, TN 37040


                  Arran Sanborn
                  296 Water Forest Dr
                  Dingmans Ferry, PA 18328


                  Arretta Carney
                  13100 Bluff View Drive
                  Willis, TX 77318


                  Arron Locke
                  4903 Herd Road
                  Metamora, MI 48455


                  Art Equihua
                  4114 W 125th Ave
                  Crown Point, IN 46307


                  Art Fones
                  11424 Wilkes Rd
                  Yale, MI 48097


                  Art Koser
                  68 Carvers View Trl
                  Murphy, NC 28906


                  Art Messer
                  4516 Partridge Ln
                  Newport, MI 48166


                  Art Mozader
                  4337 Casey Rd
                  Dryden, MI 48428
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                  Art Ocain
                  3068 Chestnut Lane
                  Millville, PA 17846


                  Art Perry
                  20245 dutch settlement
                  Cassopolis, MI 49031


                  Art Vanderhoef
                  15210 200th Ave
                  Le Roy, MI 49655


                  Arther Johnson
                  1790 Hampton Pass
                  Douglasville, GA 30134


                  Arther Scott
                  1080 Hickory Street
                  Lansing, MI 48906


                  arthur Albert
                  5341 South Forty Drive
                  Hope Mills, NC 28348


                  Arthur Bell
                  25 West 57th Street
                  Westmont, IL 60559


                  Arthur Best
                  101 Church Street
                  Jackson, NC 27845


                  Arthur Brown
                  18221 Road R17
                  Columbus Grove, OH 45830


                  Arthur Brown
                  24640 Hopewell Rd
                  Gambier, OH 43022


                  Arthur Burfield
                  105 Brookview Drive
                  White House, TN 37188
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                  Arthur Byrne
                  3256 Timberwood Pkwy
                  Charlottesville, VA 22911


                  Arthur C. Davis
                  901 Huntington Boulevard
                  Albion, MI 49224


                  Arthur Cataldo
                  1069 Sugarfork Rd
                  FRANKLIN, NC 28734


                  Arthur Chasse
                  10365 Spotswood Trail
                  Stanardsville, VA 22973


                  Arthur Cooper
                  110 Cedarwood Drive
                  Monongahela, PA 15063


                  Arthur Dauenhauer
                  220 Saratoga Avenue
                  Spartanburg, SC 29302


                  Arthur Eberle
                  361 Lemon Rd
                  Princeton, KY 42445


                  Arthur Ellisor
                  8 Derek Dr
                  Troutville, VA 24175


                  ARTHUR FERGUSON
                  150 Darling Lane
                  Pendergrass, GA 30567


                  Arthur Fernandez-Lopez
                  200 Wyndpark Cir
                  Lynchburg, VA 24502


                  Arthur Fritog
                  66 Edistow Ln
                  Flat Rock, NC 28731
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                  Arthur Hanson
                  241 Old Sawmill Rd
                  Morrisdale, PA 15552


                  Arthur Hayes
                  480 Greenwood Road
                  Belleville, PA 17004


                  Arthur Hedin
                  106 Woodlake Terrace
                  Suffolk, VA 23434


                  ARTHUR Jordan
                  2230 N Washington Ave
                  Scranton, PA 18509


                  Arthur Koenig
                  40354 Highway K 68
                  Wellsville, KS 66092


                  Arthur Larkins
                  636 Foothills Road
                  Kingsport, TN 37663


                  Arthur Manning
                  137 Dogwood Acres Road
                  Chester, GA 31012


                  Arthur McClinsey
                  2937 Ravenna St
                  Hudson, OH 44236


                  Arthur Mitchell
                  1015 Holt Street
                  Mebane, NC 27302


                  Arthur Nuttall
                  1060 Bedford Street
                  Claysburg, PA 16625


                  Arthur Odell
                  28402 Herndonwood Drive
                  Farmington Hills, MI 48334
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                  Arthur Ponstingle
                  111 Bird Dr
                  Greeneville, TN 37745


                  Arthur Sabio
                  240 Eugene Drive Northwest
                  Roanoke, VA 24017


                  Arthur Sells
                  6760 IN-42
                  Poland, IN 47868


                  Arthur Shackelford
                  3047 Brookdown Drive
                  Columbus, OH 43235


                  Arthur Smith
                  4807 9 Mile Road
                  Burlington, MI 49029


                  Arthur Smith
                  138 South 13th Street
                  Indiana, PA 15701


                  Arthur Tremper
                  6251 Conway Rd.
                  Chelsea, MI 48118


                  Arthur Turner
                  10043 Front Street
                  Three Rivers, MI 49093


                  Arthur Wesley
                  2327 Polaris Way Southwest
                  Atlanta, GA 30331


                  Arthur Wilson
                  9179 N County Rd 200 E
                  Brazil, IN 47834


                  Artie Murrell
                  1324 Keeter Ct
                  Morehead City, NC 28557
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                  Artisan Signs And Graphics, Inc.
                  18335 Old Statesville Rd. Suite L
                  Cornelius, NC 28031


                  Arturo Cobos
                  325 Courtney Ln
                  Matthews, NC 28105


                  Arturo Ricondo
                  8243 Dallas Bay Rd
                  Charlotte, NC 28278


                  Arturo Rodrguez
                  2202 Governors st
                  yadkinville, NC 27055


                  Arvin Foes
                  3210 6th St Dr NW
                  Hickory, NC 28601


                  Arvin Manning
                  227 Cheswick Drive
                  Holly Ridge, NC 28445


                  Arvin Nethaji
                  610 Cherry Stone Dr
                  Canton, MI 48188


                  Asa Hampton
                  929 West Jackson Street
                  Virden, IL 62690


                  Asael Marcano
                  14900 Blue Woods Rd
                  Laurinburg, NC 28352


                  Asenso Attah
                  16 St Charles Ct
                  Stafford, VA 22556


                  Asequl Shopon
                  3771 Zoey Lee Drive
                  Snellville, GA 30039
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ash Shirey
                  8145 East Cutler Road
                  Bath Township, MI 48808


                  Ashaki Zeigler
                  19245 Archer St
                  Detroit, MI 48219


                  Ashely Forbes
                  30948 Avondale St
                  Westland, MI 48186


                  Ashkelon WILLIAMS
                  1952 Cedar Grove Rd
                  Conley, GA 30288


                  Ashlea Buntin
                  719 Corner Road
                  Pinnacle, NC 27043


                  Ashlea Korte
                  5440 Dutch Creek Road
                  Cedar Hill, MO 63016


                  Ashlee Cochran
                  14463 Foley Road
                  Capac, MI 48014


                  AshLee DeMarinin
                  203 Glendale Street
                  Potosi, MO 63664


                  Ashlee Parrelly
                  47051 Executive Dr
                  Belleville, MI 48111


                  Ashley Baker
                  606 Jefferson St P.O. Box 938
                  Utica, OH 43080


                  Ashley Baker
                  13029 Annette Rd
                  Angleton, TX 77515
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                  Ashley Bowman
                  1292 Old Kimbill Trail
                  Aiken, SC 29805


                  Ashley Dawley
                  5439 Bondy Drive
                  Erie, PA 16509


                  Ashley Frantz
                  1901 Running Creek Ct
                  Virginia Beach, VA 23454


                  Ashley Galaviz
                  18 S Lincoln Rd
                  Bay City, MI 48708


                  Ashley Gerebics
                  639 Sheffield Road
                  Auburn Hills, MI 48326


                  Ashley Geswein
                  7938 State Road 39
                  Crothersville, IN 46151


                  Ashley Gockenbach
                  58 Maple Street
                  Thornville, OH 43076


                  Ashley Goetsch
                  23340 Iroquois Street
                  Clinton Township, MI 48036


                  Ashley Hardwick
                  125 Red Maple Road
                  Union, SC 29379


                  Ashley Harris
                  96 Theresa Ln
                  Louisa, VA 23093


                  Ashley Harrison
                  9373 Pierson Rd
                  Fowlerville, MI 48836
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                  Ashley Hoggatt
                  11612 South Priddy Road
                  New Pekin, IN 47165


                  Ashley Horton
                  22 E Sternberg Rd
                  Norton Shores, MI 49441


                  Ashley Hubbard
                  7408 Ida Center Rd
                  Ida, MI 48140


                  Ashley Ivkovich
                  1006 Collinsburg Road
                  West Newton, PA 15089


                  Ashley Lawson
                  798 Hedley Pl
                  Columbus, OH 43230


                  Ashley Lee Hogewood, III
                  K&L Gates
                  PO Box 17047
                  Raleigh, NC 27619


                  Ashley Lewis
                  825 Harvard St
                  Sikeston, MO 63801


                  Ashley Livingston
                  1201 Midtown Village Dr
                  Conway, SC 29526


                  Ashley Martin
                  793 Chestnut St.
                  Fieldale, VA 24079


                  Ashley McFann
                  14578 Todds Run New Harmony Road
                  Williamsburg, OH 45176


                  Ashley Merritt
                  910 Tiffany Ln
                  Lowell, NC 28098
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                  Ashley Metz
                  111 Yancey Road
                  Arnoldsville, GA 30619


                  Ashley Nicole DeBeaux
                  804 North 4th Street
                  Ste. Genevieve, MO 63670


                  Ashley Ord
                  15494 Charles St
                  Monroe,, MI 48161


                  Ashley Pack
                  2692 West 1000 North
                  Knightstown, IN 46148


                  Ashley Patton
                  2110 Twin Flower Circle
                  Grove City, OH 43123


                  Ashley Pearce
                  412 Schulz Avenue
                  Monett, MO 65708


                  Ashley pokrywa
                  515 Parkmeadow Drive
                  Pottsville, PA 17901


                  Ashley Prickett
                  117 Meadowlark Dr
                  Berea, KY 40403


                  Ashley Rhodes
                  7552 Murray Avenue
                  Mentor, OH 44060


                  Ashley Rice
                  735 N New Salem Rd
                  Salem, IN 47167


                  Ashley Roach
                  156 Waterfall Lane
                  Stoneville, NC 27048
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                  Ashley Robinson
                  2220 Olde Chantilly Ct
                  Charlotte, NC 28206


                  Ashley Scotton
                  392 Joyner Rd
                  Madison, NC 27025


                  Ashley Shelley
                  7307 Leigh Drive
                  Gloucester Point, VA 23072


                  Ashley Shepherd
                  13 Pembroke Lane
                  Stafford, VA 22554


                  Ashley Short
                  1001 Fairway Drive
                  Waynesboro, VA 22980


                  Ashley Shuck
                  52 Norfolk Drive
                  Coraopolis, PA 15108


                  Ashley Snyder
                  11023 IN-1
                  BROOKVILLE, IN 47012


                  Ashley Spencer
                  233 Bramblebush Trail
                  Dayton, OH 45440


                  Ashley Steed
                  1 Morehead Drive
                  Willow Spring, NC 27592


                  Ashley Stevons
                  446 Poplar Dr
                  Ellettsville, IN 47429


                  Ashley Sustek
                  591 Leftwich Road
                  Madison Heights, VA 24572
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                  Ashley Thumma
                  3501 Southwood Drive
                  Clarksville, TN 37042


                  Ashley Victoria
                  1925 9th Street
                  Port Aurthur, TX 77640


                  Ashley Waloven
                  1728 Edgerton Avenue Southeast
                  Roanoke, VA 24014


                  Ashley Wiley
                  101 Indian Mound Drive
                  Richmond, KY 40475


                  Ashley Yancey
                  2501 Acorn Street
                  Portsmouth, VA 23704


                  Ashlie Logue
                  7503 Acton Rd
                  Indianapolis, IN 46259


                  Ashlyn Swenson
                  2205 Tamrack Street
                  Kalamazoo, MI 49006


                  Ashok Ramanjanappa
                  3855 Windy Heights Dr
                  Okemos, MI 48864


                  Ashraf Yasin
                  3408 O'Conner Lane
                  Clarksville, TN 37042


                  Ashtabula City Income Tax
                  4717 Main Ave
                  Ste A
                  Ashtabula, OH 44004


                  Ashton Sherman
                  603 Salem Ct
                  Havelock, NC 28532
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                  Asimina Ray
                  6802 Lakes Edge Way
                  Mineral, VA 23117


                  Aslam Sundrani
                  2071 Fescue Drive
                  Aurora, IL 60504


                  Asmar Colinborough
                  14313 Rivermont Road
                  Chester, VA 23836


                  Aspen Contracting, Inc
                  4141 NE Lakewood Way
                  Lee's Summit, MO 64064


                  Assoumane Guero
                  1905 Phillips Ave
                  Greensboro, NC 27405


                  Astound Business Solutions
                  PO Box 11816
                  Newark, NJ 07101-8116


                  Astrid Schneider Harper
                  36775 Leith Ln
                  Middleburg, VA 20117


                  Atanacio Osorio
                  18177 Azalea Dr
                  Brownstown Charter Twp, MI 48173


                  athena keller
                  326 Southwest County Road Bb
                  Warrensburg, MO 64093


                  Athena Mckay
                  3307 Drexel Ave
                  Flint, MI 48506


                  Athens City Income Tax
                  8 E. Washington St.
                  Athens, OH 45701-2444
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                  Atmane Alouache
                  2660 Bethany Turnpike
                  Pleasant Mount, PA 18453


                  Atronda Lipscomb
                  1904 Bell Chase Way
                  Clarksville, TN 37040


                  Atul Kumara Patel
                  210 Shelby St
                  Williamsburg, KY 40769


                  Aubrey Edwards Jr
                  9221 Hunters Greene Dr
                  Zebulon, NC 27597


                  Aubrey Lee
                  315 W Dewey St
                  Flint, MI 48505


                  Aubrey Meador
                  103 E North St
                  Ridge Farm, IL 61870


                  Aubrey Moncrief
                  908 Montgomery Ln
                  Maryville, TN 37803


                  Aubrey Oberlander
                  7530 Merritt Street
                  Norfolk, VA 23513


                  Aubrey Sargent
                  20150 Centralia Ave
                  Redford Charter Township, MI 48240


                  Aubri Kruger
                  10726 16 Mile Rd NE
                  Cedar Springs, MI 49319


                  Audel Godinez
                  1608 Partridge Way
                  Chesterton, IN 46304
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                  Audio Eye, Inc
                  5210 E Williams Circle, Suite 750
                  Tucson, AZ 85711


                  Audra Byrd
                  264 Hampton RD
                  EDEN, NC 27288


                  Audra Fox
                  1920 Cecil Johnson Road
                  Knoxville, TN 37921


                  audrey dean
                  21530 Almy Rd
                  Howard City, MI 49329


                  Audrey Farino
                  5111 Easy Street
                  Newport, MI 48166


                  Audrey Gormleyveasley
                  8930 High Creek Court
                  Saline, MI 48176


                  Audrey James
                  1311 Bethsaida Rd
                  Riverdale, GA 30296


                  Audrey McCloskey
                  737 Wildlife Road
                  Dover, TN 37058


                  Audrey Moon
                  5820 North 43 Road
                  Manton, MI 49663


                  Audrey Sebolt
                  1630 Rolfe Rd
                  Mason, MI 48854


                  Audrey Siebold
                  1323 North Parker Road
                  Greenville, SC 29609
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                  Audrey Thomas
                  1862 Old Georgetown Road
                  Hemingway, SC 29554


                  Audrey Wright
                  12678 Lake Catatoga Road
                  Plainview, IL 62685


                  Audrianna Whitson
                  1656 Harrison-Willshire Line Rd
                  Ohio City, OH 45874


                  Audrionna Rhoades
                  6037 Minock Street
                  Detroit, MI 48228


                  August Bolender
                  6659 N Lapeer Rd
                  Fostoria, MI 48435


                  August Bookout
                  2234 East Euclid Avenue
                  Benton Harbor, MI 49022


                  August Gloff
                  226F Clinton-Frankfort Rd
                  Clinton, PA 15026


                  August Turschak
                  4615 N Bradford Rd
                  Akron,, MI 48701


                  Auguste Badiel
                  865 Lake Royal Drive
                  Grovetown, GA 30813


                  Augustine Munganga
                  7405 Briarhill Pkway
                  Crestwood, KY 40014


                  Augustus Duty
                  4940 Cart Road
                  Richmond, IN 47374
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                  Augustus Williams
                  364 Beaver Hill Road
                  Pikeville, TN 37367


                  Aundre Young
                  308 W Pine Grove Ave North Augusta, SC 2
                  Morrison, SC 29841


                  Aurelio Barrera
                  1030 McKinley Avenue
                  Elkhart, IN 46516


                  Aurora Garcia
                  4331 Towergate Drive
                  Spring, TX 77373


                  Aurora Marie Caasi
                  3689 Light Horse Loop
                  Virginia Beach, VA 23453


                  Aurora Solar Inc.
                  434 Brannan Street
                  San Francisco, CA 94107


                  Austen Harry
                  105 N Rose Hill Dr
                  Clayton, NC 27520


                  Austin Binkert
                  430 Meadville Rd
                  Titusville, PA 16354


                  Austin Cameron
                  612 East 1st Avenue
                  Monmouth, IL 61462


                  Austin Carey
                  122 Lorenza Circle
                  Bardstown, KY 40004


                  Austin Filush
                  2147 Shiloh Point DR SE
                  Grand Rapids, MI 49546
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                  Austin Herold
                  1848 Willow Rd
                  Hendersonville, NC 28739


                  Austin Keane
                  7631 Hickory Ave
                  Jenison, MI 49428


                  Austin Keller
                  550 Merrick st.
                  Belding, MI 48809


                  Austin Kerstetter
                  548 Aucker Road
                  Richfield, PA 17086


                  Austin Loveless
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                  Batavia, OH 45103


                  Austin McGuire
                  4391 Jamestown Ct
                  Flint, MI 48507


                  Austin Neff
                  2941 Vine Street
                  Danville, IL 61834


                  Austin Neff (2 of 2)
                  2941 Vine Street
                  Danville, IL 61834


                  Austin Newsom
                  2623 Jefferson Highway
                  Louisa, VA 23093


                  Austin Petty
                  1522 barron Street
                  Portsmouth, VA 23704


                  Austin Ramos
                  24824 Hickory St
                  Dearborn, MI 48124
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                  Austin Smith
                  105 Paradise Acres Dr
                  Ernul, NC 28527


                  Austin Smith
                  3858 Cuba Road
                  Wilmington, OH 45177


                  Austin Switzer
                  293 Quarry Drive
                  Bloomsburg, PA 17815


                  Austin Tate
                  7880 Ohio 103
                  Jenera, OH 45841


                  Austin Vickery
                  1310 South 3rd Street
                  Boonville, IN 47601


                  Austin Wood
                  716 Ridgeview Lane
                  Lavonia, GA 30553


                  Author Anderson
                  128 Breezewood Lane
                  Vinton, VA 24179


                  Auto Action Technologies, Inc
                  121 N Michigan Ave
                  Kenilworth, NJ 07033


                  AUTTY HAMILTON
                  12811 Upper River Road
                  Athens, OH 45701


                  Autumn Caris
                  7329 South Custer Road
                  Monroe, MI 48161


                  Autumn Evans
                  1851 E Co Rd 1275 S
                  Cloverdale, IN 46120
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                  Autumn Mincinoiu
                  8705 N Ridge Ave
                  Berrien Springs, MI 49103


                  Autumn Showers Thornton
                  503 Jesse Street
                  Philipsburg, PA 16866


                  Autumn Vogel
                  226 Lakewood Ave
                  Pittsburgh, PA 15229


                  Ava Bock
                  149 Pisgah View Road
                  Asheville, NC 28806


                  Ava Heartwell
                  59 N Angela Cir
                  Durham, NC 27703


                  Ava Singerman
                  7115 Ridge Rd
                  Parma, OH 44129


                  Averil Ring
                  5594 Utica Road
                  Waynesville, OH 45068


                  Avery Adams
                  101 Norwich Court
                  La Vergne, TN 37086


                  Avery Brothers LLC
                  9021 Barretta Lane
                  CHESTER, VA 23838


                  Avery Campbell
                  109 Mansfield Dr
                  Madison Heights, VA 24572


                  Avery Johnson
                  1065 Birdshot Ln
                  Salisbury, NC 28146
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                  Avila Magallanes
                  7129 Ashwood Cir
                  Fayetteville, NC 28303


                  Avis McCutchan
                  4776 Franklin Pike SE
                  Floyd, VA 24091


                  Avrumi Lorkis
                  15615 Pennsylvania St
                  Southfield, MI 48075


                  Axayacatl Velasco
                  1317 Wagon Wheel Road
                  Canton, MI 48188


                  Axel Hernandez
                  932 Creek View Rd
                  Athens, GA 30606


                  Ayanna N Wright
                  1345 Wallace St
                  Gary, IN 46404


                  Ayi Ayih
                  525 Bedford Knoll Drive
                  Winston-Salem, NC 27107


                  Ayishah El bey
                  5325 N Dyewood Dr
                  Flint, MI 48532


                  Ayleene Woodard
                  2261 Eastwood Dr
                  Lynwood, IL 60411


                  Ayubu Innocent
                  2818 Eads Avenue
                  St. Louis, MO 63104


                  aziz Aldalaly
                  3436 Doremus St
                  Hamtramck, MI 48212
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                  Aziz Saloum
                  4290 Airport Road
                  Allentown, PA 18109


                  B Blackwell
                  253 Carlyle Road
                  Troutman, NC 28166


                  B James Varney
                  5400 Valley Run St
                  Hickory, NC 28601


                  B Suzanne Coleman
                  4419 Old Colony Road
                  Kalamazoo, MI 49008


                  B&L Wholesale Supply
                  16687 Collection Center Dr
                  Chicago, IL 60693


                  B. J. GIBSON
                  8907 Lilac Tree Avenue
                  Charlotte, NC 28227


                  Babs Warren
                  200 Sunny Cove Court
                  Hillsville, VA 24343


                  Badger Daylighting Corp
                  4910 N Cr 900 East
                  Brownsburg, IN 46112


                  Bailey Huber
                  701 E Jefferson Ave
                  La Porte,, IN 46350


                  Baker & Hostetler LLP
                  Key Tower
                  127 Public Square, Suite 2000
                  Cleveland, OH 44114-1214


                  Baker Odum
                  158 Horizon Trail
                  Bluffton, SC 29910
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                  Balbino Lopez
                  1222 Provost Drive
                  Jefferson City, TN 37760


                  Baljinder Gurak
                  2980 Sentiment Ln
                  Greenwood, IN 46143


                  Barb Berry
                  11562 Township Rd 250
                  Lakeview, OH 43331


                  Barb Crotchett
                  1108 Reddish Dr
                  Jerseyville, IL 62052


                  Barb Hoskins
                  17697 Manitou Road
                  Addison, MI 49220


                  Barb Lalone
                  4587 River Street
                  Oscoda, MI 48750


                  Barb Melton
                  210 Rochelle Dr
                  Morehead City, NC 28557


                  Barb Messaros
                  3880 Burton Rd
                  Troy, OH 45373


                  Barb Rainwater
                  2823 Old Niles Ferry Road
                  Maryville, TN 37803


                  Barb Savage
                  13941 Lohr Rd
                  Mt Vernon,, OH 43050


                  Barb Staniszewski
                  53385 Woodbridge Dr
                  Shelby Charter Township, MI 48316
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                  Barb Stepney
                  9462 Carla Court
                  French Village, MO 63036


                  Barb Waskowiak
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                  Jamestown, PA 16134


                  Barba CFO
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                  Warwick, RI 02886


                  Barbara Agyemang
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                  Stafford, VA 22556


                  Barbara Arledge
                  1176 Payne Road
                  Portland, TN 37148


                  Barbara Arnold
                  8811 Cade Road
                  Brown City, MI 48416


                  Barbara Bach
                  17605 Rogers Clark Blvd
                  Milford, VA 22514


                  Barbara Bachman
                  161 Washington St
                  Petrolia, PA 16050


                  Barbara Baker
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                  Rushville, IN 46173


                  Barbara Bandurski
                  9022 Warner Road
                  Haslett, MI 48840


                  Barbara Batton
                  5587 Township Road 55
                  Bellefontaine, OH 43311
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                  Barbara Beal
                  3053 Stedman Cedar Creek Road
                  Fayetteville, NC 28312


                  Barbara Bean
                  134 Benton Rd
                  Kings Mountain, NC 28086


                  Barbara Beatty
                  7350 Upton Rd
                  Laingsburg, MI 48848


                  Barbara Benjamin Sliney
                  70 Jordan Lane
                  Spruce Pine, NC 28777


                  Barbara Bien
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                  Frankfort, IN 46041


                  Barbara Boone
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                  Oberlin, OH 44074


                  Barbara Cecil-Birkheimer
                  426 S 4th Ave
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                  Barbara Clarke
                  190 N. Moore
                  Sandusky, MI 48471


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                  Barbara Day
                  722 West Shawnee Road
                  Baroda, MI 49101


                  Barbara dingee
                  10400 West Litchfield Road
                  Litchfield, MI 49252


                  Barbara Doniver
                  9709 Cardwell Ave.
                  Cleveland, OH 44105


                  Barbara Downard
                  6524 Sycamore road
                  Trenton, OH 45067


                  Barbara Elliott
                  406 Senator St
                  Conneaut,, OH 44030


                  Barbara Fintor
                  233 N Scott Dr
                  Farwell, MI 48622


                  Barbara Franklin
                  112 Acres Ct
                  Lynchburg, VA 24502


                  Barbara Gilliam
                  5028 Stuffel Rd, Morristown, TN 37814, U
                  Morristown, TN 37814


                  Barbara Goon
                  709 Ohio 302
                  Ashland, OH 44805


                  Barbara Graf
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                  Pleasant Lake, MI 49272


                  Barbara Graves
                  5817 Pepperpike Way
                  Charlotte, NC 28213
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                  Barbara Green
                  27604 Bonnie Dr
                  Warren, MI 48093


                  Barbara Hardie
                  299 Connor Road
                  Sylva, NC 28779


                  Barbara Harris
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                  Henderson, NC 27537


                  Barbara hawn
                  912 Gatling Lane
                  Salem, VA 24153


                  Barbara Hosey
                  3337 Pioneer Trail
                  Mantua, OH 44255


                  Barbara House
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                  Greenville, MI 48838


                  Barbara Hunter
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                  East Tawas, MI 48730


                  Barbara Isenberg
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                  Brighton, IL 62012


                  Barbara Jarbo
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                  Virginia Beach, VA 23456


                  Barbara Jerashen
                  20592 Walnut Drive
                  Reed City, MI 49677


                  Barbara Kalczynski
                  33700 Cindy Street
                  Livonia, MI 48150
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                  barbara lassiter
                  406 Patriot Street
                  Sullivan's Island, SC 29482


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                  Cedar Hill, MO 63016


                  Barbara Leatherman
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                  Statesville, NC 28625


                  Barbara Lewis
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                  Durham, NC 27705


                  Barbara Linck Pryor
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                  Union, MO 63084


                  Barbara Luptak
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                  Tarentum, PA 15084


                  Barbara Mace
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                  Barbara Mahaffey
                  654 Pecan Ridge Cir
                  Kernersville, NC 27284


                  Barbara Nelson
                  1105 Bratton Ave
                  marseilles, IL 61341


                  Barbara Nelson
                  1207 Eastridge Drive
                  Decatur, IN 46733


                  Barbara Newth
                  5676 N Lucas Rd
                  Manton, MI 49663
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                  Lapeer, MI 48446


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                  848 Pennsylvania 93
                  Berwick, PA 18603


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                  Wilmington, NC 28409


                  Barbara Quednau
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                  South Rockwood, MI 48179


                  Barbara Rhodes
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                  Anderson, SC 29625


                  Barbara Riggsbee
                  5327 Fayetteville Road
                  Durham, NC 27713


                  Barbara Robertson
                  920 Kemper Rd
                  Danville, VA 24541


                  Barbara Robinson
                  348 Ashland Avenue
                  Chicago Heights, IL 60411


                  Barbara Rouhier
                  1583 Henley rd
                  Sanford, NC 27330


                  Barbara Ruffner
                  811 N State Street
                  Mason, IL 62443


                  Barbara Rutter
                  123 Country Estates Rd
                  Bell Buckle, TN 37020
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                  Barbara Santillo
                  11 White Dove Court
                  O'Fallon, MO 63368


                  Barbara Savasta
                  642 Browntown Road
                  New Stanton, PA 15672


                  Barbara Schafer
                  582 PA-228
                  Mars, PA 16046


                  Barbara Scherer
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                  Williamsburg, VA 23188


                  Barbara Shearer
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                  Bloomington, IL 61701


                  Barbara Sligar
                  263 5th Avenue
                  Waynesburg, PA 15370


                  Barbara Smith- Garner
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                  Gloucester, VA 23061


                  Barbara Snyder
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                  Southport, NC 28461


                  Barbara Spearman
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                  Findlay, OH 45840


                  Barbara Stokes
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                  Harrington, KS 67449


                  Barbara Storer
                  6231 US-62
                  Hillsboro, OH 45133
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                  Barbara Sullens
                  9 Ed Mar Terrace
                  Hillsboro, MO 63050


                  Barbara Swain
                  105 Hitchcock Rd
                  Roscommon, MI 48653


                  Barbara Teigland Duff
                  801 Rocky Mount Avenue
                  Carolina Beach, NC 28428


                  Barbara Teston
                  818 Rainey Dr
                  Spring Lake, NC 28390


                  barbara thrower
                  108 Albin Road
                  Saxonburg, PA 16056


                  Barbara Timm
                  11060 East Mount Morris Road
                  Davison, MI 48423


                  Barbara Trapp
                  211 N Mapleleaf Ave,
                  Highland Springs,, VA 23075


                  Barbara Vacha
                  10384 N Riverview Dr
                  Plainwell, MI 49080


                  Barbara Vine
                  3402 McConnell Hwy
                  Charlotte, MI 48812


                  Barbara Vonderheide
                  115 East 5th Street
                  Brookville, IN 47012


                  Barbara Vonderheide
                  440 Main St APT A
                  Brookville, IN 47012
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                  Barbara Wallace
                  1067 Reese Rd
                  Fleming, OH 45729


                  Barbara Walter
                  66371 Conrad Road
                  Edwardsburg, MI 49112


                  Barbara Ware
                  681 Yorkhaven Road
                  Cincinnati, OH 45246


                  Barbara Weatherly
                  1106 Amanda Jo Drive
                  Elizabethtown, KY 42701


                  Barbara Wertman
                  2025 Union Lake Rd
                  Commerce Charter Township, MI 48382


                  Barbara Wheatley
                  581 Butler Lane
                  Hawesville, KY 42348


                  Barbara Whiteterry
                  4117 Portobello Drive
                  Columbus, OH 43230


                  barbara wiles
                  819 West State Road 38
                  Pendleton, IN 46064


                  Barbara Williams
                  4240 Dan Dr
                  Harrison, MI 48625


                  Barbara Willis
                  1071 Hawks Nest Road
                  York, SC 29745


                  Barbara Wirebaugh
                  1092 Martha Ave
                  Bucyrus, OH 44820
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                  Barbara Wofford
                  101 Heile Drive
                  Cincinnati, OH 45215


                  Barbara Wrightsman
                  4413 OH-87
                  Farmdale, OH 44417


                  Barbie Burkhart
                  6647 Old Porter Road
                  Portage, IN 46368


                  barbra berry
                  41791 Earlene Court
                  Elyria, OH 44035


                  Barbra Hunter
                  1150 LIBBY ARIAIL CIRCLE
                  Chapin, SC 29036


                  Bardaville: Roof Mount (Bldg 3232)
                  PO Box 23162
                  Lansing, MI 48909


                  Bardaville: Roof Mount (Bldg 3233)
                  3323 Bardaville St.
                  Lansing, MI 48906


                  Bardaville: Roof Mount (Bldg 3325)
                  PO Box 23162
                  Lansing, MI 48909


                  Bardaville: Roof Mount (Bldg 3345)
                  PO Box 23162
                  Lansing, MI 48909


                  Bargain Dumpster, LLC
                  208 Treyburn Cir
                  Irmo, SC 29063


                  Bari Gambacorta
                  1445 Takeda RD
                  Gainesville, GA 30501
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                  Barney Vollborn
                  2770 Amana Court
                  Columbus, OH 43235


                  Baron Zinn
                  610 Lattice Ct
                  castle hayne, NC 28429


                  Barrett Schrader
                  4600 Stonesthrow Drive
                  Denver, NC 28037


                  Barrett Smith
                  4700 East Short Road
                  Byron, IL 61010


                  Barrie Trinkle
                  710 Wellington Drive
                  Chapel Hill, NC 27514


                  Barrington Rogers
                  820 Farr Pl
                  Reading, PA 19611


                  Barron Eggleston
                  2979 NC-772
                  Madison, NC 27025


                  Barry Avent
                  7706 French Dr
                  Browns Summit, NC 27214


                  Barry Birr
                  1215 Key Street
                  Maumee, OH 43537


                  Barry Brey
                  36 Whitetail Court
                  Troy, MI 48085


                  Barry Cantrell
                  230 Knapp Street
                  Allegan, MI 49010
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                  Barry Caplinger
                  126 Endslow Road
                  Marietta, PA 17547


                  Barry Chapman
                  2613 South Edgar Road
                  Mason, MI 48854


                  Barry Cheek
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                  Gibsonville, NC 27249


                  Barry Clouser
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                  Windfall, IN 46076


                  Barry Comeaux
                  1525 Cardwell Chapel Rd
                  Lenoir City, TN 37771


                  Barry Denny
                  1012 Hastings Hill Rd
                  Kernersville, NC 27284


                  Barry Dunn
                  4004 Wheaton Road
                  Durham, NC 27704


                  Barry Fisher
                  457 larue street
                  Harrodsburg, KY 40330


                  Barry Fromm
                  2903 22nd Street Northwest
                  Cleveland, TN 37312


                  Barry Havens
                  1063 N Main St
                  Union Dale, PA 18470


                  Barry Heselden
                  885 Willow Walk
                  Calabash, NC 28467
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                  Barry Imboden
                  4620 Nicholas St
                  Easton, PA 18045


                  Barry James
                  2480 Uniontown Road
                  Jamesville, NC 27846


                  Barry Jentz
                  513 Ryan's Run
                  Newport News, VA 23608


                  Barry Johnson
                  39 Little Pond Lane
                  Palmyra, VA 22963


                  Barry Johnston Jr.
                  3861 Township Road 124
                  Mount Gilead, OH 43338


                  Barry June
                  10067 Perry Rd
                  Goodrich, MI 48434


                  Barry Lee
                  2515 Robin Hood Drive Southeast
                  Cleveland, TN 37323


                  Barry Mugridge
                  6640 State Rd
                  Fort Gratiot TWP, MI 48059


                  Barry Novak
                  8016 Territorial Rd,
                  Munith, MI 49259


                  Barry Odell
                  141 Henderson Rd
                  Eden,, NC 27288


                  Barry Owens
                  114 12th Street
                  New Castle, VA 24127
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                  Barry Pearce
                  20 arrowhead estate
                  Troy, MO 63379


                  Barry Pearce
                  130 North Wilson Street
                  Bellefonte, PA 16823


                  Barry Phelps
                  300 Echo Valley Rd
                  Fredonia, KY 42411


                  Barry Pierce
                  1793 Bragden Dr
                  Temperance, MI 48182


                  Barry Ressler
                  12031 US 22
                  Seward, PA 15954


                  Barry Rietman
                  846 Blueberry Lane
                  Chambersburg, PA 17202


                  Barry Roberts
                  4543 Fleetwood Falls Drive Southeast
                  Southport, NC 28461


                  Barry Ruff
                  47 Henley Street
                  Castlewood, VA 24224


                  Barry Rupp
                  8938 Road 124
                  Paulding, OH 45879


                  Barry Sheets
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                  Salisbury, NC 28146


                  Barry Sherman
                  2555 E Whitefeather Rd
                  Pinconning, MI 48650
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                  Barry Sinker
                  2125 Edgewood Drive
                  Granite Falls, NC 28630


                  Barry Stover
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                  Seneca, PA 16346


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                  Fredericksburg, VA 22407


                  Barry Tucker
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                  Buffalo, SC 29321


                  Barry Watson
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                  Barry Webster
                  12355 NW swan lane
                  Oswego, KS 67356


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                  Bart Collins
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                  Marine, IL 62061


                  Bart Fortune
                  5701 Lawshe Rd
                  Pebbles, OH 45660


                  Bart Howard
                  2875 Pine Ridge Road
                  Montoursville, PA 17754


                  Bart Montgomery
                  1606 Oak St
                  Danville, IL 61832
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                  Bart Morris
                  126 Maple St
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                  Rocky River, OH 44116


                  BARUCH NUDMAN
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                  Basil Bragdon
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                  Kershaw, SC 29067


                  Basil Santos
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                  Bastian tock
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                  2nd Floor
                  Detriot, MI 48201


                  Baxter Rowe
                  3993 State Road 1860
                  Maiden, NC 28650


                  Beaman Dodge Chrysler Jeep Ram
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                  Murfreesboro, TN 37130


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                  6811 SHAWNEE MISSION PARKWAY
                  OVERLAND PARK, KS 66202
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                  Beate Kugler Baggett
                  623 Salem Ridge Road
                  Clarksville, TN 37040


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                  Wilmington, NC 28411


                  Beatrice Williams
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                  Tarboro, NC 27886


                  Beatriz Ramirez
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                  Greenville, NC 27834


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                  Allendale, MI 49401


                  Beau Angell
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                  Vicksburg, MI 49097


                  Beau Harrison
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                  Gallipolis, OH 45631


                  Beau Menegay
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                  Kent, OH 44240


                  Beaux Hord
                  9455 Camp Road
                  Mount Vernon, OH 43050


                  Beckie Harrell
                  1058 Fox Den Trail
                  South Boston, VA 24592


                  Becky A Caskey
                  19585 Carter Lane
                  New Paris, IN 46553
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                  Becky Bradley
                  9769 County Road 8530
                  West Plains, MO 65775


                  Becky Bucher
                  16255 Township Road 51
                  Mount Cory, OH 45868


                  Becky Dann
                  9495 West 450 South
                  Owensville, IN 47665


                  Becky Dupree
                  210 Park Way
                  White Oak, PA 15131


                  Becky Fickert
                  42 Hawk Ave
                  Akron, OH 44312


                  Becky Gainey Moden
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                  Massillon, OH 44646


                  Becky Herrington
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                  Becky Johnson
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                  Mechanicsville, VA 23116


                  Becky King
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                  Washington, PA 15301


                  Becky Marshall
                  15199 Petz Rd
                  Capac, MI 48014


                  Becky Meece
                  851 Ralston Rd
                  Colon, MI 49040
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                  Conover, OH 45317


                  Becky Rasdale
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                  Dewitt, MI 48820


                  Becky Reed
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                  Vinton, VA 24179


                  Becky Roos
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                  Knoxville, TN 37920


                  Becky Thrasher
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                  Roanoke, VA 24019


                  Beejay Sims
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                  Chesapeake, VA 23323


                  Beightley Peter
                  4970 Looking Glass Trail
                  Stanley, NC 28164


                  Belinda Atlogic
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                  Belinda Beres
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                  Gary, IN 46405


                  Belinda Cummings
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                  Howard City, MI 49329


                  Belinda Hallaran
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                  Jasper, GA 30143
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                  Belinda Howell
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                  Ben Bell
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                  Morganton, NC 28655


                  Ben Bentley
                  7341 Badgett Rd
                  Knoxville, TN 37919
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                  Ben Berchie
                  10 Saint Patrick Street
                  Fredericksburg, VA 22407


                  Ben Boice
                  309 Rockmill St
                  Delaware, OH 43015


                  Ben Brookhart
                  6725 Green Hollow Ct
                  Wake Forest, NC 27587


                  Ben Bush
                  670 PA-92
                  Tunkhannock, PA 18657


                  Ben Clements
                  2487 Alean Road
                  Wirtz, VA 24184


                  Ben Collesano
                  39334 Bella Vista Dr
                  Sterling Heights, MI 48313


                  Ben Ellis
                  6109 Riverside Drive
                  Wake Forest, NC 27587


                  Ben Gibbs
                  14031 Tuscola Rd
                  Clio, MI 48420


                  Ben Gorog
                  158 Jamisonville Road
                  Butler, PA 16001


                  Ben Gray
                  14 Courtney Ct
                  Fredericksburg,, VA 22405


                  Ben Griffith
                  110 Oglewood Dr
                  Knoxville, TN 37912
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                  Ben Gustin
                  401 W Main St
                  Fletcher, OH 45326


                  Ben Hartley
                  93 Cowan Creek Road
                  Clarksville, OH 45113


                  Ben Heizer
                  2894 Borden Grant Trail
                  Fairfield, VA 24435


                  Ben Henderson
                  149 Howards Hollow Road
                  Canton, NC 28716


                  Ben Henson
                  65110 30th Street
                  Lawton, MI 49065


                  Ben Hess
                  375 W Hwy 11 SE
                  Laconia, IN 47135


                  Ben Hoppe
                  7636 Crystal Beach Rd NW
                  rapid city, MI 49676


                  Ben Hoyt
                  980 Michigan 99
                  Homer, MI 49245


                  Ben Jones
                  5903 Castle Rock Rd
                  Cave Spring, VA 24018


                  Ben Knickerbocker
                  13430 Petersburg Rd
                  Milan, MI 48160


                  Ben Kopf
                  314 Red Fox Dr
                  Canton, GA 30114
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                  Ben Krichbaum
                  4859 Blacklick-Eastern Rd NW
                  Baltimore, OH 43105


                  Ben Lagueux
                  1004 Artisan Ave
                  Chesapeake, VA 23323


                  Ben Lowell
                  1009 South Bainbridge Center Road
                  Benton Harbor, MI 49022


                  Ben Manges
                  8063 Ferry Road
                  Grosse Ile Township, MI 48138


                  Ben Martin
                  4003 McLaurin Road
                  Bear Creek, NC 27207


                  Ben Mescher
                  1601 s division
                  Carterville, IL 62918


                  Ben Messa
                  201 Dogwood Dr
                  Myrtle Beach, SC 29575


                  Ben Mickens
                  512 Merrifield Way
                  Winston-Salem,, NC 27127


                  Ben Oakes
                  784 Wooster Road North
                  Barberton, OH 44203


                  Ben Paga
                  1553 Silman St
                  Ferndale, MI 48220


                  Ben Peverly
                  2445 Lindsay Road
                  Gordonsville, VA 22942
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                  Ben Pickerill
                  5114 Cottonwood Ln
                  Raymond, IL 62560


                  Ben Potter
                  7410 West County Line Road
                  Marion, MI 49665


                  Ben Redmond
                  1369 Tuskegee Dr
                  Oak Ridge, TN 37830


                  Ben Rice
                  464 North Rolland Road
                  Weidman, MI 48893


                  Ben Schmitt
                  4382 fruitport rd
                  Fruitport, MI 49415


                  Ben Sheridan
                  3663 Chad Alan Drive Southwest
                  Grand Rapids, MI 49534


                  Ben Shipp
                  3699 Bluebush Rd
                  Monroe, MI 48162


                  Ben Steinkamp
                  8521 Old Lemay Ferry Road
                  Hillsboro, MO 63050


                  Ben Stevens
                  5005 Jonesville Rd
                  Columbus, IN 47201


                  Ben V
                  6100 Quarterline Rd
                  Spring Lake, MI 49456


                  Ben Voorhies
                  504 Slater Road
                  Stoneboro, PA 16153
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                  Ben Walters
                  1674 Scenic Drive
                  Dayton, OH 45414


                  Ben Williams
                  3803 N 300 East
                  Danville, IN 46122


                  Ben-David singleton
                  21451 Wallace Drive
                  Southfield, MI 48075


                  Benard DeLoach
                  1587 Elnora Rd
                  White Bluff, TN 37187


                  Bendu Mentar
                  2070 East Park Drive
                  Lancaster, SC 29720


                  Benett Bootz
                  1163 Bennington Dr
                  Crystal Lake, IL 60014


                  Benett McDonald
                  3069 Cobblestone Drive
                  Virginia Beach, VA 23452


                  Benjaman Pearson
                  2663 Boxwood Farm Road
                  Amherst, VA 24521


                  Benjamin Alexander
                  14995 Bethany Estates Way
                  Montpelier, VA 23192


                  Benjamin Baker
                  145 Moore Street
                  Orlinda, TN 37141


                  Benjamin Berryman
                  21839 Miami-Shelby Road E
                  Conover, OH 45317
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                  Benjamin Bertram
                  194 East Carroll Street
                  Carrolltown, PA 15722


                  Benjamin Borda
                  33 Biltmore Ave
                  Wheeling, WV 26003


                  Benjamin Brown
                  2221 King Road
                  Pisgah Forest, NC 28768


                  Benjamin Brown
                  5961 N Church St
                  Greensboro, NC 27455


                  Benjamin Burch
                  2637 South Allen Dr.
                  North Charleston, SC 29405


                  Benjamin Coleman
                  95 Township Rd 1041
                  Chesapeake, OH 45619


                  Benjamin Cousens
                  22636 Elena Drive
                  Farmington Hills, MI 48335


                  Benjamin Estle
                  12701 W Co Rd 1050 N
                  Gaston, IN 47342


                  Benjamin Foose
                  1016 Chestnut Street
                  Middletown, PA 17057


                  Benjamin Gaston
                  25357 Wykeshire Rd
                  Farmington Hills, MI 48336


                  Benjamin Gutshall
                  265 Constitution Ave
                  Connoquenessing, PA 16027
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                  Benjamin Ickes
                  9748 Old Rushville Rd NE
                  Rushville, OH 43150


                  Benjamin James
                  14716 Colonial Park Dr
                  Huntersville, NC 28078


                  Benjamin Johnson
                  2607 Georgia 337
                  Menlo, GA 30731


                  Benjamin Knowles
                  1652 Hulman Waye Ct
                  Terre Haute, IN 47803


                  Benjamin Ladd
                  7355 Jean Dr
                  Bedford, OH 44146


                  Benjamin Ludwig
                  502 n Austin St
                  Abingdon, IL 61410


                  Benjamin Luster-Bartz
                  50921 Acorn TR
                  Elkhart, IN 46514


                  Benjamin Mangalam
                  316 Henderson Street
                  Oxford, NC 27565


                  Benjamin Martens
                  3449 Canal Road Northeast
                  Millersport, OH 43046


                  Benjamin Mcdaniel
                  1210 Roundabout Road
                  Cameron, NC 28326


                  Benjamin McDonald
                  2004 Fountain Lane
                  Stanley, NC 28164
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                  Benjamin Menes
                  3417 Pitchers Lane
                  Murfreesboro, TN 37128


                  Benjamin Midyette
                  1921 Navan Lane
                  Garner, NC 27529


                  Benjamin Miller
                  690 Jones Road
                  Roswell, GA 30075


                  Benjamin Morge
                  19712 Greggsville Road
                  Purcellville, VA 20132


                  Benjamin Olender
                  3522 Huron Trail
                  Columbiaville, MI 48421


                  Benjamin Patino
                  306 Montgomery Way
                  Woodstock, GA 30188


                  Benjamin Peters
                  516 Flynn Avenue
                  Carnegie, PA 15106


                  Benjamin Richhart
                  219 W Patterson St
                  Lakeville, IN 46536


                  Benjamin Rockson
                  4840 Balsom Road
                  Pfafftown, NC 27040


                  Benjamin Rodriguez
                  120 n main st
                  Bernville, PA 19506


                  Benjamin Roe
                  5641 Northton Ct
                  Woodbridge, VA 22193
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                  Benjamin Rucker
                  38630 East 230th Street
                  Polo, MO 64671


                  Benjamin Sanez
                  835 Fairview School Road
                  Blountville, TN 37617


                  Benjamin Santiago
                  1030 Stewart Avenue
                  Lincoln Park, MI 48146


                  Benjamin Sayles
                  1505 Comanche Drive
                  Champaign, IL 61821


                  Benjamin Schulke
                  1170 Griswold St SE
                  Grand Rapids, MI 49507


                  Benjamin Serna
                  3383 Sawdy Ln
                  Grass Lake, MI 49240


                  Benjamin Simpkins
                  3966 Pleasant View Drive
                  Patrick Springs, VA 24133


                  Benjamin Smith
                  1236 South Detroit Street
                  Xenia, OH 45385


                  Benjamin Storrs
                  4981 Hanover Meadow Drive
                  Mechanicsville, VA 23111


                  Benjamin Vonderschmitt
                  9054 North 400 East
                  Dubois, IN 47527


                  Benjamin Ward
                  442 Tanglewood Ln
                  Saluda,, NC 28773
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                  Benjamin Williams
                  126 Island Ln
                  Kingston, TN 37763


                  Benjamin Yates
                  6801 Candlewood Drive
                  Raleigh, NC 27612


                  Benji Isreal
                  1603 Rice Square
                  Lithonia, GA 30058


                  Bennat Drazner
                  9462 Indianfield Dr
                  Mechanicsville, VA 23116


                  Bennet Aboagye
                  12 Warbler Ct
                  Stafford, VA 22554


                  Bennett Darnell
                  301 Bower Ridge Road
                  Jefferson, NC 28640


                  Bennie Cowan
                  9483 Lovell Rd
                  Soddy-Daisy, TN 37379


                  Bennie Richmond
                  6196 Sweet Clover Hills Drive
                  Jonesville, MI 49250


                  Benny Danovi
                  4004 Trumble Road
                  Jackson, MI 49201


                  Benny Faw
                  120 Broadway Ave
                  Mt Airy, NC 27030


                  Benny Maggard
                  252 Toppy Russell Lane
                  Speedwell, TN 37870
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                  Benny Pickens
                  330 Blalock Dr
                  Sevierville, TN 37862


                  Benson George
                  1661 Old Gradyville Road
                  Glen Mills, PA 19342


                  Benson McMoran
                  2146 Essex St
                  Newton, NC 28658


                  Bente Frandsen
                  5225 Olivet Church Road,
                  Providence Forge, VA 23140


                  Bentley Morley
                  11 Gospel Way
                  Weaverville, NC 28787


                  Benuel Fisher
                  1299 Kinderhook Rd
                  Columbia, PA 17512


                  Berenice Keese
                  19345 Gallagher St
                  Detroit, MI 48234


                  Berkeley Baker
                  71 Sycamore Circle
                  Hendersonville, NC 28791


                  Berkheimer Tax Innovations
                  P.O. Box 25153
                  Lehigh Valley, PA 18002-5153


                  Bernadette Bennett
                  718 Deer path trail
                  Waterford township, MI 48327


                  Bernadette Goodwin
                  1523 Crawford St
                  Imperial, PA 15126
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                  Bernadette Mclean
                  979 Denhart Street
                  Norfolk, VA 23504


                  Bernadette Moore
                  6688 Old Buckingham Rd
                  Powhatan, VA 23139


                  Bernadette Whitney
                  9625 Lakeside Dr
                  Perrinton, MI 48871


                  Bernard Bartys
                  771 Saganing Rd
                  Bentley, MI 48613


                  Bernard conway
                  491 Waterfall Dr
                  Johnstown,, PA 15906


                  Bernard Farrell
                  905 Center Rd
                  Newville, PA 17241


                  Bernard Gabrielle
                  51 Laurel Ln
                  Freeland, PA 18224


                  Bernard Jonas
                  1294 College Park Dr
                  Danville, VA 24541


                  Bernard Jones
                  1500 Wilson Rd
                  Smithfield, VA 23430


                  Bernard Lisco
                  13506 Hollo Oval
                  Strongsville, OH 44149


                  Bernard Mack
                  2003 Fortune Court
                  Bridgeville, PA 15017
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                  BERNARD Mcfadden
                  1125 Church Rd
                  East Greenville, PA 18041


                  Bernard Parker
                  1248 Cheeks Quarter Road,
                  Henderson, NC 27537


                  Bernard Porterfield
                  103 Longvue Dr
                  Pittsburgh, PA 15237


                  Bernard Sheff
                  6250 Toles Road
                  Eaton Rapids, MI 48827


                  Bernard Varney
                  5400 Valley Run St
                  Hickory, NC 28601


                  Bernard Vaught
                  1125 Old Snapps Ferry Rd
                  Chuckey, TN 37641


                  Bernie Benoit
                  689 Jacks Creek Road
                  Lewistown, PA 17044


                  Bernie Dawson
                  8318 Ryan Rd
                  Seville, OH 44273


                  Bernie Spyker
                  2817 Township Rd 1124,
                  Attica, OH 44807


                  Bernie Thames
                  1860 Gardner Drive
                  Lapeer, MI 48446


                  Berniece Edwards
                  8823 s Cornell
                  Chicago, IL 60617
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                  Bert Cameron
                  1358 Ridge Road
                  Homer City, PA 15748


                  Bert Copple
                  2660 Irma St
                  Warren, MI 48092


                  Bert Geddy
                  8297 Richmond Road
                  Toano, VA 23168


                  Bert Goens
                  69775 46th St
                  Decatur, MI 49045


                  Bert Perkins
                  32 Climbing Aster Way
                  Asheville, NC 28806


                  Bert Wayne Jarrell II
                  423 N Elizabeth St,
                  Nevada, MO 64772


                  Bert Wooters
                  102valerie
                  Goldsboro, NC 27534


                  Bertha Conner
                  4403 Morninghill Drive
                  Disputanta, VA 23842


                  Bertha Lawson
                  39 Silver Pine Court
                  Carrollton, GA 30116


                  Bertram J. Packett
                  17426 History Land Hwy
                  Warsaw, VA 22572


                  Bertram Packett
                  17426 History Land Hwy
                  Warsaw, VA 22572
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                  Bess Powers
                  3545 Matts Way
                  Blythe, GA 30805


                  Bessie Pennington
                  42 Hess Road
                  Fayetteville, WV 25840


                  Best Edit Studios, LLC
                  29200 Northwestern Hwy #130
                  Southfiled, MI 48034


                  Beth Atwood
                  2085 Adams Rd
                  Cincinnati, OH 45231


                  Beth Bailey
                  350 Kitchens Branch Road
                  Sylva, NC 28779


                  Beth Biscardi
                  25240 US-17
                  Hampstead, NC 28443


                  Beth Burgess
                  3370 Franklin Pike Southeast
                  Floyd, VA 24091


                  Beth Capes
                  106 New Haven Ln
                  Gibsonville, NC 27249


                  Beth Cartwright
                  613 East Delphi Street
                  Converse, IN 46919


                  Beth Csiszar
                  7520 Guilford Road
                  Seville, OH 44273


                  Beth Derhake
                  9011 Lackland Road
                  Overland, MO 63114
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                  Beth Doolittle
                  35399 Margurite Lane
                  Paw Paw, MI 49079


                  Beth Fortney
                  1390 Waterloo Rd
                  Mogadore, OH 44260


                  Beth Furdak
                  474 Center Grange Rd
                  Monaca, PA 15061


                  Beth Grimshaw
                  5853 Carlton Street
                  Haslett, MI 48840


                  Beth Gross
                  11401 Clement Town Road
                  Amelia Ct Hse, VA 23002


                  Beth Halifax
                  4520 Edwards Rd
                  Harbor Beach, MI 48441


                  Beth Hicks
                  870 Coonpath Rd NE
                  Lancaster, OH 43130


                  Beth James
                  19027 Mount Zion RD
                  Cassopolis, MI 49031


                  Beth Kirby
                  3182 Brookwood Dr
                  Edgewood, KY 41017


                  Beth Lloyd
                  2560 Lake Shore Road South
                  Denver, NC 28037


                  Beth McCamy
                  5161 Creek Bend Cir NW
                  Cleveland, TN 37312
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                  Beth Moore
                  2423 Kensington Boulevard
                  Fort Wayne, IN 46805


                  Beth Naehrbass
                  433 Tina Ln
                  Hillsboro, TN 37342


                  Beth Oberhaus
                  111 fairway lane
                  cadillac, MI 49601


                  Beth Pense
                  2709 Pro Tour Dr
                  Belleville, IL 62220


                  Beth Pomee
                  5005 Virgil St
                  Virginia Beach, VA 23455


                  Beth Roberts
                  8785 Cleveland St
                  Coopersville, MI 49404


                  Beth Wahlers
                  5293 Farm to Market Road 306
                  New Braunfels, TX 78132


                  Beth Westmoreland
                  45 Clovernook Drive
                  Arden, NC 28704


                  Beth Williams
                  344 Brace Avenue
                  Elyria, OH 44035


                  Beth Winkler
                  504 2nd Street
                  Holland, IN 47541


                  Beth Woolston Dussia
                  5818 N Coolidge Ave
                  Harrison, MI 48625
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                  Bethanie Wydick
                  6079 North Street
                  Granville, OH 43023


                  Bethany Bell
                  2292 Avoca Eureka Road
                  Bedford, IN 47421


                  Bethany Dubac
                  3864 Cheyenne Dr SW
                  Grandville, MI 49418


                  Bethany Dubuc
                  3864 Cheyenne Dr SW
                  Grandville, MI 49418


                  Bethany Duffy
                  228 Indian Rd
                  Battle Creek, MI 49017


                  Bethany Flick
                  5070 Jensen Road
                  Fruitport, MI 49415


                  Bethany Hill
                  2404 Gibson Rd
                  Martinsville, OH 45146


                  Bethany Thurston
                  9240 Todd Street Rd
                  Sunbury, OH 43074


                  Bethany Vos
                  16648 Trufant Avenue Northeast
                  Sand Lake, MI 49343


                  Bethany Worden
                  7969 Campbell Ave
                  Hale, MI 48739


                  Bethenia Evens
                  4358 English Loop
                  Stonecrest, GA 30038
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                  Betsey Rogers
                  1153 Allison Hollow Road
                  Washington, PA 15301


                  Betsy Feuerstein
                  1291 Rae Road
                  Lyndhurst, OH 44124


                  Betsy Funck
                  2929 Riggory Ridge Road
                  Charlottesville, VA 22911


                  Betsy LePoidevin
                  9601 Stone House Road
                  Suttons Bay, MI 49682


                  Betsy Welser
                  7842 Birchwood Dr
                  Kent, OH 44240


                  Bette Alley
                  7093 Lakeview Blvd
                  Newport, MI 48166


                  Better Business Solutions
                  310 Wilson Pike Circle
                  Bentwood, TN 37027


                  Betty A Edwards
                  2620 Calhoun Falls Highway
                  Elberton, GA 30635


                  Betty Ashby
                  3487 S 1300 E
                  Akron, IN 46910


                  Betty Bell
                  1640 Lucas Hollow Road
                  Nashville, IN 47448


                  Betty Camden-Langston
                  7057 Toshes Road
                  Pittsville, VA 24139
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                  Betty Clements
                  209 Melrose Drive
                  Laurens, SC 29360


                  Betty Clindeinst
                  433 Winding Way
                  Covington, VA 24426


                  Betty Cooper
                  13918 Franklyn Blvd
                  Brook Park,, OH 44142


                  Betty Day
                  735 Spring Place Road Northeast
                  White, GA 30184


                  Betty dehaff
                  5753 Cahall School House Road
                  Georgetown, OH 45121


                  Betty Eckenroth
                  2432 Buchenhorst Rd
                  State College, PA 16801


                  Betty Gardner
                  103 Red Clover Lane
                  Natural Bridge, VA 24578


                  Betty Gardner
                  29 Raven LN
                  Natural Bridge Station, VA 24579


                  Betty Gertman
                  1640 6th St
                  Hempstead, TX 77445


                  Betty Hancock
                  912 Porter House Rd
                  Concord,, VA 24538


                  Betty Hartman
                  5311 M-79
                  Nashville, MI 49073
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                  Betty Johnson
                  5741 Perrytown Drive
                  West Bloomfield Township, MI 48322


                  Betty Johnson
                  995 Manning Rd
                  Suffolk, VA 23434


                  Betty Joyce
                  412 Barts Street
                  Burlington, NC 27217


                  Betty Lamb
                  1271 Oak Grove Rd
                  Benton, TN 37307


                  Betty Lanaville
                  1356 S. Taxiway Charlie
                  Lake City, MI 49651


                  Betty Larson
                  169 West Helmer Lake Road
                  Mio, MI 48647


                  Betty Ledbetter
                  330 Jubilee Lane
                  Rutherfordton, NC 28139


                  Betty Lyons
                  4003 Hickory Tree Ln
                  Greensboro, NC 27405


                  Betty Phillips Wilfong
                  350 8th Ave SW
                  Hickory, NC 28602


                  Betty Spence
                  193 Spence Way Lane
                  Lillington, NC 27546


                  Betty Stout
                  12600 Co Rd 42
                  Millersburg, IN 46543
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                  Betty-Jean Hetrick
                  4045 Chapman Dam Road
                  Clarendon, PA 16313


                  Bettylou Linke
                  116 S Kankakee St
                  Wilmington, IL 60481


                  Bev Conklin
                  331 Pamela Cir
                  Brooklyn, MI 49230


                  Bev Warburton
                  224 E Prospect St
                  Covington, VA 24426


                  Beverley Conner
                  92 Idlewood Boulevard
                  Staunton, VA 24401


                  Beverly Angel
                  28 Blue Heron Point Road
                  Hilton Head Island, SC 29926


                  Beverly Brown
                  293 Ohio Avenue
                  Clairton, PA 15025


                  Beverly Butts
                  614 Garnette Road
                  Akron, OH 44313


                  Beverly Calhoun
                  2 Hale Drive
                  Taylors, SC 29687


                  Beverly Cook
                  2312 Riverside Dr NE
                  Grand Rapids, MI 49505


                  Beverly Cook
                  337 Vantrease Ln
                  Gallatin, TN 37066
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                  Beverly Cox
                  19028 S Main St
                  Metamora, IN 47030


                  Beverly Davis /Gibson
                  2908 East Broad Street
                  Elizabethtown, NC 28337


                  Beverly Delarosa
                  2511 Courtly Drive
                  Fostoria, OH 44830


                  Beverly Dick
                  49732 Moore Ridge Rd
                  Jerusalem, OH 43747


                  Beverly Evans
                  422 Abney Road
                  Beaver, WV 25813


                  Beverly Fagan
                  717 S East St
                  Bucyrus, OH 44820


                  Beverly Gantt
                  8641 Reeps Grove Church Rd
                  Vale, NC 28168


                  Beverly hansen
                  10484 gilbert rd
                  newton falls, OH 44444


                  Beverly Hogan
                  31261 Day Lily Dr
                  Brownstown Charter Twp, MI 48173


                  Beverly Jane Campbell
                  2086 Jackson Pike
                  Bidwell, OH 45614


                  Beverly Jones
                  27725 Sutherland St
                  Southfield, MI 48076
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                  Beverly Kelley
                  316 Goldenrod Lane
                  Auburn, GA 30011


                  Beverly Kelly
                  141 Pennsylvania Ave.
                  Bridgeville, PA 15017


                  Beverly Morris
                  146 D View Ave
                  Norfolk, VA 23503


                  Beverly Neumeier
                  8098 Bechtol Rd
                  Lima, OH 45801


                  Beverly OBrian
                  113 Jackson Ridge Court
                  Wiilow Springs, NC 27592


                  beverly obrien
                  6189 Obrien Rd
                  Fostoria, MI 48435


                  Beverly OMara
                  2324 Whittemore Place
                  St. Louis, MO 63104


                  Beverly Queen
                  675 Schrake Rd
                  Chillicothe, OH 45601


                  Beverly Reed
                  230 Arthur Drive
                  McDonough, GA 30252


                  Beverly Rubright
                  1127 Harrison City Export Road
                  Jeannette, PA 15644


                  Beverly Shriver
                  1500 Pine Run Rd
                  Freedom, PA 15042
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                  Beverly Taylor
                  285 Dean Rd
                  Clarksville, TN 37040


                  Beverly Weger
                  15 Sims Drive
                  Paris, IL 61944


                  Beverly William
                  100 Ashlyn Ridge
                  McDonough, GA 30252


                  Bhagavathi Gopalakrishnan
                  348 Woodedge Dr
                  Bloomfield Hills, MI 48304


                  Bhawani Acharya
                  1503 Kay St
                  Harrisburg, PA 17109


                  Bhim Karki
                  7577 Johnstown Utica road
                  Johnstown, OH 43031


                  Bhoji Mali
                  9700 Pemberton Crossing Drive
                  Richmond, VA 23294


                  Biaggio Caroleo
                  515 Balcome Blvd
                  Simpsonville, SC 29681


                  Bianca Morgan
                  765 Apopka St
                  Waterford, MI 48327


                  Big Fish Communications, Inc
                  283 Newbury St
                  Boston, MA 02115


                  Bill Abbott
                  390 S County Rd 450 W
                  Frankfort, IN 46041
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                  Bill Adams
                  2795 Bellwood Avenue
                  Columbus, OH 43209


                  Bill Adams
                  5860 Dresden Road
                  Zanesville, OH 43701


                  Bill Albright
                  5918 Marseilles-Galion Rd W
                  Morral, OH 43337


                  Bill Alexander
                  760 Oxford Germantown Road
                  Camden, OH 45311


                  Bill Alwin
                  6254 126th Ave
                  Fennville, MI 49408


                  Bill Beckner
                  928 GATES AVE
                  NORFOLK, VA 23517


                  Bill Boak
                  2204 Grandhaven Dr
                  Concord, NC 28027


                  Bill Buffie
                  7550 Singleton Street
                  Indianapolis, IN 46227


                  Bill Carson
                  521 High Ridge Road
                  Spruce Pine, NC 28777


                  Bill Chesna
                  1220 Brubaker Street
                  Warsaw, IN 46580


                  Bill Clark
                  114 West North Street
                  Forrest, IL 61741
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                  Bill Cone
                  129 Overbrooke Dr
                  Concord, NC 27870


                  Bill Cutlip
                  5062 Wayland Rd
                  Diamond,, OH 44412


                  Bill Deakins
                  2031 East County Road 1175 North
                  Farmersburg, IN 47850


                  Bill Delamar
                  2910 Shady Grove Rd
                  Durham, NC 27703


                  Bill Dempsey
                  5875 Leatherwood Ln
                  Harrisburg, NC 28075


                  Bill Depew
                  14194 Beech Daly
                  Redford Charter Township, MI 48239


                  Bill Doyle
                  6555 Hunt St
                  West Bloomfield Township, MI 48324


                  Bill Dunning
                  3712 NW Wolf Creek Rd
                  Maysville, MO 64469


                  Bill Englebreth
                  623 Wilora Landing Road
                  Charlotte, NC 28212


                  Bill Estep
                  12124 Daphna road
                  Broadway, VA 22815


                  Bill Fahs
                  3230 Spincaster Way
                  Loganville, GA 30052
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                  Bill Fiorille
                  38030 French Creek Rd
                  Avon, OH 44011


                  Bill Fleener
                  300 Lancelot Dr
                  Franklin, IN 46131


                  Bill Foglesong
                  414 north oak
                  eldon, MO 65026


                  Bill Greene
                  209 W. Outlook Ct
                  Naghead, NC 27959


                  Bill Gunther
                  185 Southview Dr
                  Statesville, NC 28677


                  Bill Harrison
                  12094 Southgate Dr
                  Plainwell, MI 49080


                  Bill Haun
                  4833 Maggies Way ct.
                  Village of Clarkston, MI 48346


                  Bill Heatherwick
                  4845 Five Mile Road
                  Ann Arbor, MI 48105


                  Bill Henderson
                  300 Farris Lane
                  Speedwell, TN 37870


                  Bill Hensley
                  283 Wilmeth Street
                  Weber City, VA 24290


                  Bill Hilgar
                  220 East Flat Rock Road
                  Port Matilda, PA 16870
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                  Bill Hodge
                  3267 Tyus Carrollton Rd
                  Carrollton, GA 30117


                  Bill Horn
                  244 Al Road
                  Madison, NC 27025


                  Bill Hunt
                  8186 West Old Lincoln Way
                  Wooster, OH 44691


                  Bill Hurley
                  6095 Lockbourne Road
                  Lockbourne, OH 43137


                  Bill Jackson
                  375 Hilltop
                  Wilder, TN 38589


                  Bill Jensen
                  13070 Gleason Rd
                  Three Rivers, MI 49093


                  Bill Johnson
                  10103 Ohio 61
                  Berlin Heights, OH 44814


                  Bill Kelley
                  1244 W Isabella Rd
                  Midland, MI 48640


                  Bill Kelly
                  408 J Street
                  Johnstown, PA 15905


                  Bill Kingsborough
                  1023 McKinley Street
                  Fremont, OH 43420


                  Bill Kokx
                  9477 60th St SE
                  Alto, MI 49302
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                  Bill Kopp
                  129 White Fawn Dr
                  Asheville, NC 28801


                  Bill Kruel
                  392 East Avenue
                  Irondale, OH 43932


                  Bill Kuhlman
                  4375 Lynnecross Court
                  Powhatan, VA 23139


                  Bill Lambert
                  12702 Milwaukee Road
                  Britton, MI 49229


                  Bill Lewis
                  16101 Prospect Dr
                  Byron, MI 48418


                  Bill Longstreet
                  7609 Brinmore Rd
                  Northfield, OH 44067


                  Bill Lynn
                  1209 Dunkleberger Road
                  Williamsport, PA 17701


                  Bill Lyvers
                  25862 Hunt Trail
                  South Bend, IN 46628


                  Bill mannion
                  420 Kings Landing Road
                  Hampstead, NC 28443


                  Bill Manring
                  4638 Barrier Rd
                  Concord, NC 28025


                  Bill Martin
                  33123 U.S. 12
                  Niles, MI 49120
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                  Bill Massingale
                  1485 US 158 W
                  Roduco, NC 27969


                  Bill Matthews
                  232 Locust Lane
                  West Milton, OH 45383


                  Bill McClure
                  806 Jackson Pike
                  Gallipolis, OH 45631


                  Bill McConnell
                  308 Granny White Pike
                  Brentwood, TN 37027


                  Bill McGloughlin
                  5615 Rebel Dr
                  Charlotte, NC 28210


                  Bill Millard
                  4236 Robertson Dr
                  Winston-Salem, NC 27101


                  Bill Monhaut
                  13955 Dragoon Trail
                  Mishawaka, IN 46544


                  Bill Moret
                  1025 Parkview Drive
                  New Kensington, PA 15068


                  bill Morgan Morgan
                  501 Squire Hall Road
                  Bell Buckle, TN 37020


                  Bill Morrison
                  1765 PA-157
                  Oil City, PA 16301


                  Bill Murray
                  213 Bret Harte Dr
                  Newport News, VA 23602
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                  Bill Myers
                  1916 Morris Street
                  New Castle, PA 16102


                  Bill Nelson
                  2607 West 750 North
                  Thorntown, IN 46071


                  Bill Nelson
                  7824 Delton Rd
                  Delton, MI 49046


                  Bill Ochalek
                  1316 Central Dr
                  Erie, PA 16505


                  Bill Opell
                  710 McIntier Branch Rd
                  Catlettsburg, KY 41129


                  Bill Overstreet #2
                  4930 North Spring Drive NW
                  Roanoke, VA 24019


                  Bill Parker
                  2298 Clovelly Street
                  Fayetteville, NC 28312


                  Bill Parsons
                  1681 S Edgar Rd,
                  Mason, MI 48854


                  Bill Perry
                  720 Makemson Avenue
                  Princeton, IN 47670


                  Bill Pylant
                  3954 Townsend Angling Rd
                  Collins, OH 44826


                  Bill Rogers
                  277 Periwinkle Dr
                  New Market, VA 22844
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                  Bill Rye
                  173 Lancaster Drive
                  Franklin, TN 37064


                  Bill Sales
                  7266 Wolffe Drive
                  Fishers, IN 46038


                  Bill Shannon Simmons
                  713 Middlebury St
                  Goshen, IN 46528


                  Bill Shuffstall
                  186 Hull Ln
                  Bellefonte, PA 16823


                  Bill Sigel
                  292 Pacanowski Lane
                  Tyrone, PA 16686


                  Bill Sizemore
                  1500 East Clark Trail
                  Herrin, IL 62948


                  bill slota
                  6230 Indian Point Rd
                  Montague, MI 49437


                  Bill Slusher
                  1816 Laurel Rd
                  London, KY 40744


                  Bill Smith
                  365 Hartke lane
                  Litchfield, IL 62056


                  Bill Snyder
                  146 Hill Gale Drive
                  New Bethlehem, PA 16242


                  Bill Sovinski
                  29292 Riveroak Drive
                  Romulus, MI 48174
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                  Bill Stone
                  2122 Gannon Rd
                  Howell, MI 48855


                  Bill Stover
                  260 Prospect Avenue
                  Cadogan, PA 16212


                  Bill Sulouff
                  24 Oak St
                  Milroy, PA 17063


                  Bill Summers
                  8044 Glengarriff Rd
                  Clemmons, NC 27012


                  Bill Swartz
                  3175 S Sheldon Rd
                  Canton,, MI 48188


                  Bill Wallace
                  963 East 300 South
                  La Porte, IN 46350


                  Bill Waller
                  935 Loch Lomond Circle
                  Concord, NC 28025


                  Bill Wann
                  1352 Sherwood Forest Dr
                  Florissant, MO 63031


                  Bill White
                  16599 Newmansville Ave
                  Petersburg, IL 62675


                  Bill Whiteside
                  9137 Essen Lane
                  Charlotte, NC 28210


                  Bill Wiley
                  35047 Salem Grange Road
                  Salem, OH 44460
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                  Bill Wojtas
                  30138 Puritan Street
                  Livonia, MI 48154


                  Bill Wolfe
                  3369 Heath Road
                  Hastings, MI 49058


                  Bill Wyman
                  1209 Leighwood Trail
                  Halifax, VA 24558


                  Bill Yonce
                  277 Talon Dr
                  Murphy, NC 28906


                  Bill Yonkin
                  720 Lancelot Drive
                  Florence, SC 29505


                  Bill/ William Finlay
                  102 Broadhead Ave
                  Pittsburgh, PA 15205


                  Billa Singh
                  5565 Wilcox Road
                  Dublin, OH 43016


                  BILLIE BRAHMSTEAD
                  4902 Windy Orchard Ln
                  Houston, TX 77084


                  Billie Doyle
                  1911 Grange Road
                  Trenton, MI 48183


                  Billie Iles
                  3142 McMullen Road
                  Fayetteville, OH 45118


                  Billie Jo Wirics
                  71462 Chini Orchard Road
                  Flushing, OH 43977
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                  Billie Martin
                  8132 West 550 South
                  Delphi, IN 46923


                  Billie Menefee
                  3028 Ashlawn Terrace
                  Virginia Beach, VA 23452


                  Billie Reeves
                  833 Mill Stone Drive
                  Dittmer, MO 63071


                  Billie Rumbold
                  1072 Passer Rd
                  Coopersburg, PA 18036


                  Billy (William) Davis
                  7037 Wedgewood Drive
                  Cedar Hill, MO 63016


                  Billy alemarah
                  2901 Tecumseh River Road
                  Lansing, MI 48906


                  Billy Althoff
                  6243 Carriage Dr
                  Dayton, OH 45415


                  Billy Barriat
                  6055 Dakar Rd W
                  Westerville, OH 43081


                  Billy Bryant
                  26725 M-140
                  South Haven, MI 49090


                  Billy Burgess
                  16 Gordie Ln
                  Brush Creek, TN 38547


                  Billy Campbell
                  8605 Glenaire Drive
                  Chattanooga, TN 37416
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                  Billy Carpenter
                  1000 Trails End
                  Gallatin, TN 37066


                  Billy Cobbs
                  102 Prospect St
                  Mechanicsburg, OH 43044


                  Billy Coleman
                  5329 Ridgewood Roadd W
                  Springfield, OH 45503


                  Billy Collins
                  3838 East Stein Road
                  La Salle, MI 48145


                  Billy Conley
                  750 County Rd 212
                  Marengo, OH 43334


                  Billy Cook
                  5619 S Rocky River Rd
                  Monroe, NC 28112


                  Billy Cunningham
                  5035 Ashley Pl
                  Bessemer City,, NC 28016


                  Billy Durham
                  327 Ida Cir
                  Lynchburg,, OH 45142


                  Billy Estep
                  20741 Amanda Lane
                  Milford, IN 46542


                  Billy Fountain
                  566 Hill Ave
                  Rusk, TX 75785


                  Billy Gann
                  202 W Pearl Street
                  Ashley, IN 46705
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                  Billy Gray
                  5114 Blackstone Edge Drive
                  New Albany, OH 43054


                  Billy Green
                  5029 Porter Hurt Drive
                  Hermitage, TN 37076


                  Billy Grow
                  3384 Mesinetto Creek Drive
                  Harrisonburg, VA 22801


                  Billy Jo Srock
                  12 South Hill Street
                  Coalport, PA 16627


                  Billy joe Crawford
                  102 Glass st
                  Windsor, MO 65360


                  Billy Joe Driesel
                  19081 Vollmar Dr
                  Raymondville, MO 65555


                  Billy Johnson
                  1749 W Gilford Rd
                  Caro, MI 48723


                  Billy Little
                  778 Matson Ln
                  Linn Creek, MO 65052


                  Billy Merrell
                  2850 Stonequarry Rd
                  Dayton, OH 45414


                  Billy Morris
                  990 NC-118
                  vanceboro, NC 28586


                  Billy Norfleet
                  2415 Cottage Rd
                  Blackstone,, VA 23824
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                  Billy Phillips
                  217 Sunnyfield Lane
                  Camden, TN 38320


                  Billy Pledger
                  2705 Walker Avenue
                  Kansas City, KS 66102


                  Billy Reed
                  37705 Broadside Drive
                  Greenbackville, VA 23356


                  Billy Robertson
                  63 Chester Levee Rd
                  Jackson, TN 38301


                  Billy Rucker
                  428 Little Mac Lane
                  Villa Rica, GA 30180


                  Billy Sanderson
                  609 Ball Park Road
                  Lumberton, NC 28358


                  Billy Schwentner
                  715 Harolds N Field Dr.
                  Cedar Grove, NC 27231


                  Billy Sewell
                  205 Aldersgate Rd
                  Jacksonville, NC 28546


                  Billy Shi
                  2429 Galloway Rd
                  Charlotte,, NC 28262


                  Billy Smith
                  4105 Beech Creek Rd
                  rogersville, TN 37857


                  Billy Thompson
                  650 Edwards Road
                  Hinton, WV 25951
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                  Billy Tisdale
                  1426 Robert E Lee Ln
                  Brentwood, TN 37027


                  Billy Walker
                  186 Lees Chapel Rd, ,
                  Sweetwater, TN 37874


                  billy walker
                  899 South River Road
                  Front Royal, VA 22630


                  Billy Woodson
                  1721 N Washington St
                  Highland Springs, VA 23075


                  Billye Valentine Newcomb
                  3215 Avenue P 1/2
                  Galveston, TX 77550


                  Binh Blevins
                  5590 Harlem Grovetown Road
                  Grovetown, GA 30813


                  Binh Tran
                  3238 Essie Rd
                  Houston, TX 77086


                  Bir Bhattarai
                  62 Elmhurst Blvd
                  Scranton, PA 18505


                  Birch Run Drugs-BR Real Estate Investmen
                  8501 Main Street
                  Birch Run, MI 48415


                  Bishnu Siwakoti
                  3576 Anne Marie Dr
                  Erie, PA 16506


                  Bishweshwar Chanda
                  2701 Commor Street
                  Hamtramck, MI 48212
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                  Bj Singh
                  4097 Teakwood Drive
                  Saginaw, MI 48603


                  Black Label Builders, Inc
                  232 Heslop Rd
                  Mountain Top, PA 18707


                  Blagoy Petrov
                  6121 Melbourne Rd
                  Raleigh, NC 27603


                  Blaine Gunn
                  308 Union St
                  Warren, PA 16365


                  Blaine Hedrick
                  431 Kepley Rd
                  Lexington, NC 27292


                  Blaine Swinford
                  131 School Street
                  Chaffee, MO 63740


                  Blair Rowland
                  1770 Dick Rd
                  Ionia, MI 48846


                  Blair Smith
                  1133 legion Club rd
                  Salisbury, NC 28146


                  Blair Wilcox
                  2426 Kenmore Rd
                  Richmond, VA 23228


                  Blake Badder
                  36980 Grant Street
                  Romulus, MI 48174


                  Blake Bolden
                  201 Adams St, Orrick, MO 64077, USA
                  Orrick, MO 64077
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                  Blake Bolden
                  201 Adams St
                  Orrick, MO 64077


                  Blake Hamilton
                  7041 East M 20
                  Hesperia, MI 49421


                  Blake Hupp
                  75 Martin Dr
                  Fleming, OH 45729


                  Blake Lipman
                  32237 Tall Timber Dr
                  Farmington Hills,, MI 48334


                  Blake Mcdonald
                  211 N French St
                  Sullivan, IN 47882


                  Blake Patton
                  10000 Pleasant Hill Road
                  Oakdale, IL 62268


                  Blake Thomas
                  506 Kifer Rd
                  Bellefonte, PA 16823


                  Blake Turney
                  422 Township Rd 210
                  Marengo, OH 43334


                  Blanca Montoya
                  7045 Harrison Avenue
                  Hammond, IN 46324


                  Blanche heried
                  420 Chandler Road
                  Trion, GA 30753


                  Blyden Wesley
                  309 Layton Store Road
                  Castalia, NC 27816
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                  BN Poudel
                  5036 Kilbourne Run Pl
                  Columbus, OH 43229


                  Bo Braun
                  905 Mcclelland Street
                  Monaca, PA 15061


                  Bo Larssen
                  1101 Hunters Lane
                  Ashland City, TN 37015


                  Bo Turnage
                  2489 Nance Road
                  Alamo, TN 38001


                  BOAZ McGee
                  13550 Keeler Avenue
                  Crestwood, IL 60445


                  Bob Anderson
                  12913 Pardee Rd
                  Sawyer,, MI 49125


                  bob apley
                  161 Hawthorne Drive
                  Newport News, VA 23602


                  Bob Ashmun
                  6865 South Glen Lake View Dr
                  Glen Arbor, MI 49636


                  Bob Baldwin
                  1414 Plum Valley Road Northeast
                  Mancelona, MI 49659


                  Bob Barclay
                  10124 E State Highway 9
                  Ellisville, IL 61431


                  Bob Benfield
                  203 Shiloh Church Rd
                  Hickory, NC 28601
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                  Bob Best
                  7891 Lakeshore Road
                  Lexington, MI 48450


                  Bob Bloom
                  6265 Balsam Drive
                  Hudsonville, MI 49426


                  Bob Brady
                  24605 Franklin Street
                  Dow, IL 62022


                  Bob Brenner
                  42 Lazy Ln
                  Spring, TX 77380


                  Bob Brewer
                  1790 N Hacker Rd
                  Howell, MI 48843


                  Bob Buzas
                  12926 sebewa creek
                  sunfield, MI 48890


                  Bob Califf
                  767 Linden Rd
                  Twin Lake, MI 49457


                  Bob Carter
                  309 East Maple Street
                  Kentland, IN 47951


                  Bob Cooper
                  669 Gravel Rd
                  Morehead, KY 40351


                  Bob Corby
                  2817 Davis Mill Road
                  Goochland, VA 23063


                  Bob Cowles
                  6841 West Iles Avenue
                  New Berlin, IL 62670
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                  Bob Crane
                  426 Meadow Wood Drive
                  Springfield, OH 45505


                  Bob Damato
                  18166 Camden Hurst Dr
                  Gainsville, VA 20155


                  Bob Daniels
                  218 E. Chicago Rd
                  Allen, MI 49227


                  Bob Davis
                  25949 Briar Towne Blvd
                  New Baltimore, MI 48051


                  Bob Dennison
                  183 North Baldwin Road
                  Owosso, MI 48867


                  Bob Dunn
                  930 jaycee drive
                  taylorville, IL 62568


                  Bob Edwards
                  1795 Cypress Chapel Road
                  Suffolk, VA 23434


                  Bob Fisher
                  4358 East Shady Lane
                  Mooresville, IN 46158


                  Bob Franake
                  2537 Charann Street
                  Saint Charles, MO 63301


                  Bob Frysinger
                  520 Milford Rd
                  Earlysville, VA 22936


                  Bob Gless
                  1064 Northcrest Drive
                  New Franklin, OH 44319
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                  Bob Goff
                  55446 Co Rd 8
                  Middlebury, IN 46540


                  Bob Gould
                  1454 South Demeter Drive
                  Freeport, IL 61032


                  Bob Hall
                  47236 Utica Estates Dr
                  Shelby Township, MI 48317


                  Bob Hall
                  3449 20th St
                  Wyandotte,, MI 48192


                  Bob Henderson
                  10601 Carr Road
                  Saint Charles, MI 48655


                  Bob Hite
                  737 Dick Watson Rd
                  Deep Gap, NC 28618


                  Bob Hooper
                  175 Goose Run Rd
                  Marietta, OH 45750


                  Bob Howard
                  6600 E Main Street
                  Bailey, NC 27807


                  Bob Iadicicco
                  18 Scenic Mount Road
                  New Ringgold, PA 17960


                  Bob Jaskulski
                  6054 138th Avenue
                  Holland, MI 49423


                  Bob Jett
                  773 Emerald Oaks Court
                  Eureka, MO 63025
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                  Bob Kellogg
                  2600 w Higgins Lake drive
                  Roscommon, MI 48653


                  Bob Kirchner
                  7775 E Liberty St
                  Hubbard, OH 44425


                  Bob Kolassa
                  845 Langwell Road
                  Bronson, MI 49028


                  Bob limpopo
                  410 Burns Ave
                  Dayton, OH 45410


                  Bob Loftus
                  154 Parkertown Rd
                  Hubert, NC 28539


                  Bob McGi
                  144 Slater Road
                  Parker, PA 16049


                  Bob Milner
                  1932 Orchard Rd
                  New Cumberland, WV 26047


                  Bob Moot
                  8349 30th Avenue
                  Evart, MI 49631


                  bob myers
                  1246 Crosat Street
                  LaSalle, IL 61301


                  Bob Nash
                  10193 Ebo Rd
                  Potosi, MO 63664


                  Bob O'Malley
                  5676 Jennybrook Lane
                  Hilliard, OH 43026
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                  Bob Olerich
                  113 Arbor Drive
                  Manteo, NC 27954


                  Bob Paxton
                  4720 Glass Sand Rd. SE
                  Elizabeth, IN 47117


                  Bob Penrod
                  112 Hidden Creek Drive
                  Swansboro, NC 28584


                  Bob Prezioso
                  6224 Moore Rd
                  Nashville, NC 27856


                  Bob Przygoda
                  3846 Millsbrae Avenue
                  Cincinnati, OH 45209


                  Bob Remsik
                  241 Big Bear Lane
                  Jonesborough, TN 37659


                  Bob Richmond
                  5326 Rothermere Drive
                  Fort Wayne, IN 46835


                  Bob Riffle
                  142 Ridgebrook Dr
                  Mooresville, NC 28117


                  Bob Robertson
                  503 W Madison St
                  Culver, IN 46511


                  Bob Sartin
                  17600 Ohio 105
                  Elmore, OH 43416


                  Bob Schultz
                  289 Shannon Glen Dr
                  Louisa, VA 23093
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                  Bob Schupp
                  1035 White Buffalo Road
                  Mount Airy, NC 27030


                  Bob Sechrist
                  549 Old Glory Circle
                  Maineville, OH 45039


                  Bob Shafer
                  803 Meadowbrook Road
                  Mount Vernon, IL 62864


                  Bob Shirley
                  3921 Kent Rd
                  Royal Oak, MI 48073


                  Bob Siegler
                  2357 Impala Drive
                  Cincinnati, OH 45231


                  Bob Simpson
                  183 Yehlshire Drive
                  Galloway, OH 43119


                  Bob Sklar
                  116 West Main Street
                  North Manchester, IN 46962


                  Bob Smith
                  453 Wildflower Lane
                  Siler City, NC 27344


                  Bob St Clair
                  130 Jackson Blvd
                  Terre Haute, IN 47803


                  Bob Stewart
                  2720 Clairen Drive
                  Foristell, MO 63348


                  Bob Stutes
                  106 Sherwood Dr
                  Zanesville, OH 43701
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                  Bob Thomas
                  2924 Burgess Hill Dr
                  Waterford Twp, MI 48329


                  Bob Trusko
                  6902 Greenleaf Ave
                  Parma Heights, OH 44130


                  Bob Varvatti
                  6400 Chestnut Ridge Rd
                  Riner, VA 24149


                  Bob Ware
                  7 Larue Court
                  Biltmore Lake,, NC 28715


                  Bob Whittingham
                  372 Lisbon Road
                  Beaver Falls, PA 15010


                  Bob Wilcox
                  6915 Amherst Avenue
                  University City, MO 63130


                  Bob Williams
                  205 Main St
                  Battle Ground, IN 47920


                  Bob Wurster
                  6475 Springmyer Dr
                  Cincinnati, OH 45248


                  Bob Young
                  3175 Thimbleberry Court
                  Wixom, MI 48393


                  Bobbi Crouse
                  60 Williams Street
                  Lockbourne, OH 43137


                  Bobbi Hill
                  49880 Portland Rd
                  Racine, OH 45771
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                  Bobbie Barker
                  973 Cherrytree Rd
                  Franklin, PA 16323


                  Bobbie Finton
                  1400 Northwood Acres
                  Quincy, IL 62305


                  Bobbie Fisher
                  269 Flat Rock Rd
                  Waynesboro, VA 22980


                  Bobbie Heminger
                  406 Meadowbrook Dr
                  Newark, OH 43055


                  Bobbie Rodocker
                  120 Lindsay Road
                  Carnegie, PA 15106


                  Bobbie Sutton
                  16109 Guyer St
                  Union, MI 49130


                  Bobby ( Robert) Tibbs
                  5879 Shetland Court
                  Virginia Beach, VA 23464


                  Bobby Bennett
                  10255 Donna Dr
                  Dittmer, MO 63023


                  Bobby Bryant
                  1184 Charlie Pile Road
                  Guston, KY 40142


                  bobby burns
                  104 Clarice Cir
                  Landrum, SC 29356


                  Bobby Christie
                  5077 King Rd
                  Howell, MI 48843
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                  Bobby Combs
                  507 Church Street East
                  Elm City, NC 27822


                  Bobby Cunningham
                  39 Watershed Court
                  Walterboro, SC 29488


                  Bobby Davenport
                  501C Franklin Road
                  Gallatin, TN 37066


                  Bobby Dukes
                  49 Raymonds Drive
                  Rockmart, GA 30153


                  Bobby Edwards
                  100 Cobb Rd
                  Jackson, TN 38305


                  Bobby Fariss
                  278 Dusty Ridge Rd
                  Fancy Gap, VA 24328


                  Bobby Fisher
                  15519 Greydale Street
                  Detroit, MI 48223


                  Bobby Fraley
                  17130 Diamond Road
                  Fulton, IL 61252


                  Bobby Garvins
                  1162 Oleander Drive
                  Mount Morris, MI 48458


                  Bobby Heffinger
                  893 Eden Church Road
                  Madison, NC 27025


                  Bobby Hollister
                  15375 Ackerson Drive
                  Battle Creek, MI 49014
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                  Bobby Hurd
                  27478 Osceola Rd
                  Abingdon, VA 24211


                  Bobby Jones
                  1935 Oakland Church Road
                  Chesterfield, SC 29709


                  BOBBY LOVETT
                  1001 Kenton Place
                  Salisbury, NC 28146


                  Bobby Mayo
                  117 Walnut Creek Drive
                  Goldsboro, NC 27534


                  Bobby McKinnon
                  20 Lisa Court
                  Stockbridge, GA 30281


                  Bobby Meeks
                  24 Eberhart Drive
                  Caseyville, IL 62232


                  Bobby Mitchell
                  217 NE 40th St
                  Oak Island, NC 28465


                  Bobby Moody
                  3524 Pritchard Court
                  Raleigh, NC 27616


                  Bobby Mosley
                  445 Lindenwood Rd
                  Dayton, OH 45417


                  Bobby Pitcock
                  1147 Searcy School Rd
                  Lawrenceburg, KY 40342


                  Bobby Plott
                  8875 Ohio 53
                  McCutchenville, OH 44844
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                  Bobby Price
                  3317 Scramble Court
                  Greenwood, IN 46143


                  Bobby Ryan
                  228 Line Street
                  Batesburg-Leesville, SC 29006


                  Bobby Saunders
                  1169 North Independence Drive
                  Montross, VA 22520


                  Bobby Seng
                  6515 North State Road 135
                  Morgantown, IN 46160


                  Bobby Thomas
                  165 Dixon Cir
                  Fayetteville, GA 30215


                  Bobby Thomason
                  206 Pleasant Valley Road Northwest
                  Adairsville, GA 30103


                  Bobby Todd
                  433 Todd Rd
                  Anderson, SC 29626


                  Bobby Valadez
                  6402 New World Dr
                  Katy, TX 77449


                  Bobby Wilson
                  1015 Highland Springs Dr
                  Mount Washington, KY 40047


                  Bodzin David
                  14500 Hudson Road
                  Manchester, MI 48158


                  Boe Glasschild
                  6622 Colonial Drive
                  Flint, MI 48505
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                  Bogdan Matusewicz
                  1110 Mink Ct
                  Lehman Township, PA 18324


                  Bogumil Rokicki
                  9236 Crescent Drive
                  Franklin Park, IL 60131


                  Boladale Adebiyi
                  2441 Boneset Drive
                  Plainfield, IN 46168


                  Bolingbrook Area Chamber of Commerce
                  201 Canterbury Lane Unit B
                  Bolingbrook, IL 60440


                  bonifacio luvianos
                  1411 Dickens Rd NW
                  Lilburn, GA 30047


                  Bonita Blakey
                  3174 Illinois 104
                  Waverly, IL 62692


                  Bonita Brinson
                  182 Summer Acre Road
                  Tarboro, NC 27886


                  Bonita Vaught
                  912 Adams Street
                  Jefferson City, MO 65101


                  Bonnee Groover
                  13528 Fitzhugh Lane
                  Woodbridge, VA 22191


                  Bonnie Allen
                  451 Camellia Drive
                  Bluefield, WV 24701


                  Bonnie Armstrong
                  3231 Three Bridge Road
                  Powhatan, VA 23139
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                  Bonnie Asbury
                  3716 Northeast Chapel Drive
                  Lee's Summit, MO 64064


                  Bonnie Baird
                  2479 Christian Light Rd
                  Fuquay Varina, NC 27526


                  Bonnie Baynard
                  310 Pineview Drive
                  Augusta, GA 30906


                  Bonnie Bott
                  150 Snell Road
                  Shelbyville, TN 37160


                  Bonnie Brown
                  318 E Gray avenue
                  Mooresville, NC 28115


                  Bonnie Canizaro
                  401 Diana Avenue
                  Batavia, OH 45103


                  Bonnie Carlson
                  871 Bryant Ave
                  Jackson, MI 49202


                  Bonnie Carter
                  2701 Grandy Ave
                  Norfolk, VA 23509


                  Bonnie Charvat
                  1060 E Pioneer trail
                  aurora, OH 44202


                  bonnie cross
                  12344 East 2125th Avenue
                  West York, IL 62478


                  Bonnie Dahlberg
                  5235 Harlem Road
                  Loves Park, IL 61111
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                  Bonnie Eareckson
                  205 Brooke Dr
                  Hampton, VA 23669


                  Bonnie Grass
                  5705 Profit Trail
                  Vermontville, MI 49096


                  Bonnie Hamman
                  183 Hall Lane
                  Strasburg, VA 22657


                  Bonnie Harris
                  6353 East M 20
                  Hesperia, MI 49421


                  Bonnie Heap
                  420 Tohill Road
                  Decatur, IL 62521


                  Bonnie Holley
                  2643 Ashbury Road
                  Columbus, OH 43231


                  Bonnie McElheny
                  6346 Pleasant St
                  South Park, PA 15129


                  Bonnie Meeks
                  14296 Township Road 213
                  Findlay, OH 45840


                  Bonnie Myers
                  39560 Silver Ridge Rd
                  Reedsville, OH 45772


                  Bonnie Natzman
                  420 Sunset
                  White Lake, MI 48383


                  Bonnie Netherland
                  309 Hayfield Road
                  Blairsville, GA 30512
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                  Bonnie Quinn
                  6632 Kanaugua Place
                  Middletown, OH 45044


                  Bonnie Ramey
                  12706 Bundle Road
                  Chesterfield, VA 23823


                  Bonnie Russian
                  4586 Ottawa Dr
                  Meridian charter Township, MI 48864


                  Bonnie Sawyer
                  10254 West 34 Road
                  Harrietta, MI 49638


                  Bonnie Shenk
                  100 Farmview Rd
                  Luray, VA 22835


                  Bonnie Sykes
                  504 Wayne Avenue
                  Tarboro, NC 27886


                  Bonnie Watts
                  880 OH-83
                  Beverly, OH 45715


                  Bonnie Weatherwax
                  2925 142nd Avenue
                  Dorr, MI 49323


                  Bonnie Welther
                  481 Lick Fork Lane
                  Pioneer, TN 37847


                  Bonnie Wyand
                  6305 Claiborne Rd
                  Sutherland, VA 23885


                  Bonnie Zabuski
                  20957 250th St
                  Lewistown, MO 63452
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                  Bonniejean Pearson
                  10702 Notabene Dr
                  Parma Heights, OH 44130


                  Bonny Hepp
                  5938 Beck Road
                  Red Bud, IL 62278


                  Bonnymeads (Union Deposit Corp)
                  750 East Park Dr
                  HARRISBURG, PA 17111


                  Bonnymeads EPD LP
                  PO Box 4153
                  Harrisburg, PA 17111


                  Booker Harper
                  77 Berkleigh Trails Drive
                  Hiram, GA 30141


                  Boomi, Inc.
                  1400 LIBERTY RIDGE DR.
                  CHESTERBROOK, PA 19087


                  Boratha Tan
                  515 Rosedale Court
                  Detroit, MI 48202


                  Bowers Engineering Services
                  127 South Main Street
                  Auburn, IN 46706


                  Boyce Hunter
                  5232 Newberry St
                  Wayne, MI 48184


                  Boyce Mathews
                  19005 Mill Stone Drive
                  Wauseon, OH 43567


                  Boyd Gegogeine
                  7553 Houston Rd
                  Byron, GA 31008
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                  Boyd rogers
                  4783 Peach Orchard Road
                  Pageland, SC 29728


                  Boyle Investment Company
                  Virginia Rowland, 5865 Ridgeway Ctr Pky
                  Suite 300
                  MEMPHIS, TN 38120


                  Bozena Stone
                  21175 Woodland Drive
                  Macomb, MI 48044


                  Brad Akins
                  3417 Mint Rd
                  Maryville, TN 37803


                  Brad Allshouse
                  7500 Booker Branch Rd
                  Radford, VA 24141


                  Brad Arndt
                  1751 High St
                  Erie, PA 16509


                  Brad Bailey
                  207 North Ohio Street
                  Kirklin, IN 46050


                  Brad Bailor
                  1150 South Market Street
                  Selinsgrove, PA 17870


                  Brad Bell
                  4738 Pleasant Gap Dr
                  Powell, TN 37849


                  Brad Bement
                  412 N Nixon Camp Rd
                  Oregonia, OH 45054


                  Brad Berlin
                  1160 Silverbell Rd
                  Rochester, MI 48306
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                  Brad Berry
                  20639 Rd U
                  Fort Jennings, OH 45844


                  Brad Bonnell
                  258 North 48th Road
                  Mendota, IL 61342


                  Brad Bormuth
                  7899 hancock rd
                  Bluffton, OH 45817


                  Brad Burnett
                  45 Beckley Woods Dr
                  Elizabethtown, KY 42701


                  Brad Chamberlin
                  627 Manhattan Circle
                  Oswego, IL 60543


                  Brad Charles Pnazek
                  6200 Heathcross Dr
                  Hudsonville, MI 49426


                  Brad Couch
                  7201 N Atkins Ave
                  Kansas City, MO 64152


                  Brad Craiglow
                  435 Chatham Road
                  Circleville, OH 43113


                  Brad Crawford
                  9860 Vermilion Road
                  Amherst, OH 44001


                  Brad Cronmiller
                  30200 Quail Pointe Drive
                  Granger, IN 46530


                  Brad Ellis
                  4428 Forest Hills Boulevard
                  Parma, OH 44134
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                  Brad Felske
                  500 Huffman Rd
                  Piney Flats, TN 37686


                  Brad Fisher
                  5111 Pringle Way
                  Hope Mills, NC 28348


                  Brad Foucher
                  430 Linden Ave
                  Royal Oak, MI 48073


                  Brad Gillaspie
                  6406 W W Ave
                  Schoolcraft, MI 49087


                  Brad Girod
                  3350 East 800 North
                  Decatur, IN 46733


                  Brad Hale
                  416 Persimmon Rd
                  Rogersville, MO 65742


                  Brad Hill
                  265 East Salisbury Road
                  Ashley, IL 62808


                  Brad Hlavenka
                  16115 W Kelstadt Rd
                  Brimfield, IL 61517


                  Brad Horsford
                  312 Gillette Road
                  Clarklake, MI 49234


                  Brad Jamerson
                  3433 Maritime Drive
                  Indianapolis, IN 46214


                  Brad Jensen
                  993 Salem Valley Road
                  Ten Mile, TN 37880
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                  Brad Kertis
                  342 Kiawana Road
                  Atkins, VA 24311


                  Brad Kincaid
                  4974 South 600 East
                  Elwood, IN 46036


                  Brad Kindig
                  5405 Monocacy Dr
                  Bethlehem, PA 18017


                  Brad Laidacker
                  1235 8th Street Drive
                  Watsontown, PA 17777


                  Brad Logan
                  104 Walnut Street suit 252
                  Attica, OH 44807


                  Brad Maddox
                  2816 Lake Drummond cswy
                  peek, VA 23322


                  Brad McCoy
                  2136 Haleford Court
                  Powhatan,, VA 23139


                  Brad Measmer
                  4113 kirk Rd
                  youngstown, OH 44511


                  Brad Miller
                  16650 30th Ave
                  Barryton, MI 49305


                  Brad Miller
                  11580 Garch Road
                  Hillsboro, OH 45133


                  Brad Montgomery
                  204 E 4th St
                  Waverly, OH 45690
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                  Brad Mullen
                  411 South Clem St.
                  Winchester, IN 47394


                  Brad Owen
                  335 Pleasant Dr
                  Durham, NC 27703


                  Brad Page
                  10826 South Co Road 450 West
                  Carlisle, IN 47838


                  Brad Palmerio
                  8161 Pinecrest Dr
                  Chattanooga, TN 37421


                  Brad Perry
                  8515 E Price Rd
                  Laingsburg, MI 48848


                  Brad Pippin
                  119 Gray Road
                  Jonesborough, TN 37659


                  Brad Porter
                  4226 State route-598
                  Plymouth, OH 44865


                  Brad Quatkemeyer
                  1186 Maddox Lane
                  Verona, KY 41092


                  Brad Reynolds
                  13669 North Panzier Lane
                  Woodlawn, IL 62898


                  Brad Richards
                  439 Agnew Road
                  Pulaski, TN 38478


                  Brad Ried
                  7348 Lathers St
                  Westland, MI 48185
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                  Brad Roller
                  8137 S 150 E
                  Bunker Hill, IN 46914


                  Brad Rosson
                  309 Snapps Mill Road
                  Spout Spring, VA 24593


                  Brad Singleton
                  3900 Beacon Street
                  Marietta, GA 30062


                  Brad Slattman
                  1541 Clay St
                  Jefferson, OH 44047


                  Brad Smith
                  4690 Colf Rd.
                  Mt Pleasant, MI 48117


                  Brad Toothaker
                  68748 South Shore Drive
                  Edwardsburg, MI 49112


                  Brad Turner
                  520 Old Mocksville Road
                  Statesville, NC 28625


                  Brad Valentine
                  422 N 5th St
                  Steubenville, OH 43952


                  Brad Vanderburg
                  14 Palmer Drive
                  Shallotte, NC 28470


                  Brad Walkup
                  22552 Remington Drive
                  Abingdon, VA 24211


                  Brad Webb
                  917 Huntington Farms Road
                  Maryville, TN 37803
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                  Brad Weirich
                  1021 S 7th St
                  Goshen, IN 46526


                  Brad Weiser
                  2179 E Smithville Western Rd
                  Wooster, OH 44691


                  Brad Winstead
                  107 Wildwood Road
                  Midland, PA 15059


                  Brad Woolf
                  425 East Sandusky Avenue
                  Bellefontaine, OH 43311


                  Brad Worley
                  10490 Mill Rd
                  Cincinatti, OH 45240


                  Brad Zuchristian
                  3342 Wicker Road
                  Indianapolis, IN 46217


                  Bradd Davidson
                  1305 Carroll Rd
                  Fort Wayne, IN 46845


                  Braden Cytlak
                  214 Sunset Drive
                  Hudson, MI 49247


                  Bradford Franks
                  1798 County Rd 928
                  Alvin, TX 77511


                  Bradford Huff
                  193 Quaker Ln,
                  Winchester, VA 22603


                  Bradford Reaves
                  519 Reann Dr
                  Greencastle, PA 17225
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                  Bradford West
                  4030 North Emerald Court
                  Beavercreek, OH 45430


                  Bradley "Brad" Dyll
                  70 Churchwood Drive
                  Hermitage, PA 16148


                  Bradley Arnold
                  2973 Thompson Road
                  Murfreesboro, TN 37128


                  Bradley Aycock
                  2007 Southern Pine Drive
                  Leland, NC 28451


                  Bradley Biller
                  20760 Tontogany Rd
                  Bowling Green, OH 43402


                  Bradley Blatt
                  14817w.toussaint n.rd
                  Graytown, OH 43432


                  Bradley Blouch
                  2924 Somme Avenue
                  Norfolk, VA 23509


                  Bradley Brockway
                  12265 Eldorado Drive
                  Sterling Heights, MI 48312


                  Bradley Brown
                  265 Woodbine Dr
                  Salisbury, NC 28146


                  Bradley Cassidy
                  6133 Reid Road
                  Swartz Creek, MI 48473


                  Bradley Duff
                  692 Linn Road
                  Mansfield, OH 44903
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                  Bradley Dutton
                  6577 Braddock Pl
                  Canal Winchester, OH 43110


                  Bradley Fish
                  8050 Struble Road
                  Jonesville, MI 49250


                  Bradley Griffith
                  2713 Julia Simpkins Rd
                  Allisonia, VA 24347


                  Bradley Hale
                  197 Summer Grove Dr
                  Kearneysville, WV 25430


                  Bradley Hill
                  238 Peppermint Drive
                  Haysi, VA 24256


                  Bradley Lohrum
                  817 South Sappington Road
                  St. Louis, MO 63122


                  Bradley Maines
                  1042 Strickler Road
                  Lewisburg, PA 17837


                  Bradley Matthews
                  810 Allison Avenue
                  Washington, PA 15301


                  Bradley Nedderman
                  838 Brentwood Ave
                  Sedalia, MO 65301


                  Bradley Norton
                  353 Vineyard Cir
                  Greenville, NC 27858


                  Bradley Pearl
                  9160 East 300 North
                  Churubusco, IN 46723
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                  Bradley POLLARD
                  892 Wilbur James Road
                  Hanson, KY 42413


                  Bradley Powers
                  1075 S Bartlett Rd
                  Saint Clair, MI 48079


                  Bradley Purtee
                  2180 Mechanicsburg-Sanford Road
                  Mechanicsburg, OH 43044


                  Bradley Rake
                  3546 State Route 1830
                  Reynoldsville, PA 15851


                  Bradley Redman
                  735 S 5th St
                  Noblesville, IN 46060


                  Bradley Richards
                  6870 mt Garfield
                  Nunica, MI 49448


                  Bradley Shortt
                  18407 Westwood Drive
                  Abingdon, VA 24211


                  Bradley Snell
                  32730 Bradeen Avenue
                  Paw Paw, MI 49079


                  Bradley Taydus
                  267 Saps Rd
                  Hampstead, NC 28443


                  Bradley Taylor
                  18314 Riverside Drive
                  Patriot, IN 47038


                  Bradley Thompson
                  580 North Washington Street
                  Waterloo, IN 46793
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                  Bradley Thompson
                  406 Roth Dr
                  Scott City, MO 63780


                  Bradley Till
                  9813 East 21st Street
                  Indianapolis, IN 46229


                  Bradley Zimmerman
                  1115 Middle St
                  Pittsburgh, PA 15212


                  Bradly Little
                  6143 East Flyer Drive
                  Woodlawn, IL 62898


                  Brady Irwin
                  610 E 5th St
                  Burlington, IN 46915


                  Brady Lee
                  96 Heritage PY
                  BLUFFTON, SC 29910


                  Brady Osborne
                  2072 Grandon Loop Rd
                  Virgina Beach, VA 23456


                  Braiden Geissel
                  33129 US Hwy 63
                  Vienna, MO 65582


                  Brain Jones
                  2558 Wilt Road
                  New Madison, OH 45346


                  Brain Mccue
                  1939 8th St
                  Martin, MI 49070


                  Brandan Penland
                  9740 laubach ave
                  Sparta, MI 49345
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                  Brandan VanNote
                  1105 Meadowsweet Lane
                  Vicksburg, MI 49097


                  Branden Bacon
                  919 88th Avenue
                  Zeeland, MI 49464


                  Branden Detgen
                  1844 W Curry Dr
                  Traverse City, MI 49685


                  Branden Jeremy
                  28211 Essex
                  Roseville, MI 48066


                  Branden Romell
                  4951 Hartland Center Rd
                  Collins, OH 44826


                  Brandi Carrigan
                  3625 E. Workman Rd
                  Falmouth, MI 49632


                  Brandi Cromartie
                  2504 Western St
                  Hopewell, VA 23860


                  Brandi Randolph
                  201 Soundview Dr
                  Kill Devil Hills, NC 27948


                  Brandi Rheubottom
                  125 Trenor Ln
                  Powells Point, NC 27966


                  Brandi Soultz
                  3445 N Bethlehem Rd
                  Marion, IN 46952


                  Brandis Hubbard
                  704 Metropolis Street
                  Marine City, MI 48039
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                  Brandon Alexander
                  4 Wood Street
                  Braddock, PA 15104


                  Brandon Avery
                  9210 Roosevelt Street
                  Taylor, MI 48180


                  Brandon Baker
                  3901 Anchor Avenue
                  Chesapeake, VA 23321


                  Brandon Barnes
                  739 Herman Road
                  Township of Taylorsville, NC 28681


                  Brandon Blevins
                  320 East Allenton Street
                  Mount Gilead, NC 27306


                  Brandon Bowser
                  3554 Gettysburg-Pitsburg Road
                  Arcanum, OH 45304


                  Brandon Brod
                  19553 316th Ave
                  Canton, MO 63435


                  Brandon Brooks
                  20 N Rickover Cir
                  Lafayette, IN 47909


                  Brandon Buchanan
                  814 Matt Rd
                  Kernersville, NC 27284


                  Brandon Bulcroft
                  828 Robinson Drive
                  LaGrange, OH 44050


                  Brandon Burke
                  11611 Popes Head Road
                  Fairfax, VA 22030
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                  Brandon Buskard
                  3700 Heron Hollow Northeast
                  Lowell, MI 49331


                  Brandon Butler
                  3175 Kings Mill Rd
                  North Branch, MI 48461


                  Brandon Camp
                  5862 Kerrs Chapel Rd
                  Elon, NC 27244


                  Brandon carroll
                  505 Corsair Ct
                  Wright City, MO 63390


                  Brandon Carter
                  117 North Gatewood Street
                  Lawrenceburg, KY 40342


                  Brandon Cavitt
                  5738 Magna Carta Circle
                  Galloway, OH 43119


                  Brandon Chase
                  750 Woodlawn Drive
                  Toledo, OH 43612


                  Brandon Clark
                  86 Indianhead Dr
                  Heath, OH 43056


                  Brandon Dalessandro
                  5838 Miller Rd
                  Emmett, MI 48022


                  Brandon Davidson
                  8475 Harding
                  Center Line, MI 48015


                  Brandon Davis
                  705 Sugar Flat Rd
                  Lebanon, TN 37087
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                  Brandon De Horta
                  1301 Pershing Dr
                  Columbus, OH 43224


                  Brandon Eaton
                  1436 Striped Bass Lane
                  clover, SC 29710


                  Brandon Edwards
                  3920 Jones Road
                  North Branch, MI 48461


                  Brandon Fasenmyer
                  265 McKim Drive
                  Pittsburgh, PA 15239


                  Brandon Fenwick
                  8312 Hills Road
                  North Little Rock, AR 72117


                  Brandon Fish
                  3570 Little River Road
                  Madison, GA 30650


                  Brandon Floro
                  3843 Marla Circle
                  Clarksville, TN 37042


                  Brandon Gasper
                  12312 White Pine Drive
                  Allendale, MI 49401


                  Brandon Giacchina
                  24200 Curie St
                  Warren, MI 48091


                  Brandon Gilliam
                  3706 Nebraska Avenue
                  St. Louis, MO 63118


                  Brandon Hamilton
                  314 South Shotwell Street
                  Richmond, MO 64085
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                  Brandon Hammonds
                  3812 Clanton Road
                  Augusta, GA 30906


                  Brandon Harris
                  6805 Thackery Rd
                  Urbana, OH 43078


                  Brandon Harris
                  69 Belvidere Rd
                  Crimora, VA 24431


                  Brandon Hebert
                  7760 Summer Wind Dr
                  Beaumont, TX 77713


                  Brandon Helms
                  2192 Jenkins Printing Dr
                  Newton, NC 28658


                  Brandon Herbert
                  615 williams st
                  jacksonville, NC 28540


                  Brandon Januszewski
                  3281 Yosemite Dr
                  Lake Orion, MI 48360


                  Brandon Jones
                  1117 Grant Ave
                  Grand Haven, MI 49417


                  Brandon Jones
                  7856 Bristlecone Drive
                  Wilmington, NC 28411


                  Brandon King
                  1318 Redbud Pl
                  Lorain, OH 44053


                  Brandon Krystowski
                  2025 Vermilion Road
                  Vermilion, OH 44089
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                  Brandon Lankster
                  605 Westwood Dr
                  Catlin, IL 61817


                  Brandon Lightsy
                  4605 Lunenburg Dr
                  Louisville, KY 40245


                  Brandon Livingston
                  1419 Ellis Road
                  Union City, OH 45390


                  Brandon Malott
                  8538 North Telegraph Road
                  Newport, MI 48166


                  Brandon Marsh
                  209 Bender Street
                  Hinesville, GA 31313


                  Brandon Martin
                  1802 Old Cape Road
                  Jackson, MO 63755


                  Brandon McWilliams
                  1715 Tennyson Drive
                  Clarksville, IN 47129


                  Brandon Miller
                  810 John E. Sullivan Rd.
                  Byron, GA 31008


                  Brandon Monroe
                  16837 Gray Road
                  Noblesville, IN 46062


                  Brandon Murphy
                  102 Silver Lane
                  Cresco, PA 18326


                  Brandon Myke
                  5172 Renshaw Drive
                  Troy, MI 48085
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                  Brandon Neal
                  1 Ridgeport dr
                  Covington, KY 41017


                  Brandon Niemantsverdriet
                  360 North Meridian Road
                  Greenfield, IN 46140


                  Brandon Nunley
                  374 Carlson Road
                  Coalmont, TN 37313


                  Brandon Oberhaus
                  111 fairway lane
                  cadillac, MI 49601


                  Brandon Owen
                  2150 Hinesville Road
                  Danville, VA 24541


                  Brandon Palmer
                  112 N 4th St
                  Nicholasville, KY 40356


                  Brandon Poats
                  2167 Coldbrook Court
                  Florissant, MO 63031


                  Brandon Randolph
                  6871 Williams Landing Rd
                  Hayes, VA 23072


                  Brandon Rapp
                  18474 L Drive South
                  Marshall, MI 49068


                  Brandon Recco
                  205 Smith Street
                  Sumner, IL 62466


                  Brandon Riba
                  194 2nd Street
                  Munith, MI 49259
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                  Brandon Rodriguez
                  22 Winlock Avenue
                  Dayton, OH 45404


                  Brandon Schaefer
                  33543 crestwell dr
                  Sterling Hts, MI 48310


                  Brandon Schweitzer
                  2465 8 Mile Road
                  Cincinnati, OH 45244


                  Brandon Scott
                  3106 Rakes Road
                  Rocky Mount, VA 24151


                  Brandon Sedgwick
                  3750 Cedar Run Road
                  Bonne Terre, MO 63628


                  Brandon Sieve
                  1404 Hidden Cove
                  Loganville, GA 30052


                  Brandon Smith
                  9111 Maple Road
                  Clay Township, MI 48001


                  Brandon Snack
                  498 South Leatherwood Road
                  Bedford, IN 47421


                  Brandon Snow
                  197 Sherwood Dr
                  Waynesboro, VA 22980


                  Brandon Suhling
                  5558 North Matisse Lane
                  Bonnie, IL 62816


                  Brandon Taft
                  1640 Yaupon St
                  Sumter, SC 29154
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                  Brandon truax
                  104 North Royston Road
                  Charlotte, MI 48813


                  Brandon Vannoord
                  2483 Ottogan St
                  Hudsonville, MI 49426


                  Brandon Webb
                  3113 County Rd 2274
                  Cleveland, TX 77327


                  Brandon White
                  625 Perolla Drive
                  Fort Wayne, IN 46845


                  Brandon Wilcoxon
                  542 County Road 783
                  Etowah, TN 37331


                  Brandon Williams
                  84 Olive Street
                  Gallipolis, OH 45631


                  Brandy Ball
                  11345 Moss Road
                  Meadville, PA 16335


                  Brandy Cummings
                  12408 IN-62
                  Branchville, IN 47514


                  Brandy Dix
                  1348 5th St
                  Seward, PA 15954


                  Brandy Fetzner
                  5212 carolane dr
                  Virginia Beach, VA 23462


                  Brandy Hopkins
                  4437 Lylewood Rd
                  Indian Mound, TN 37079
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                  Brandy Huerta
                  6349 Ring Neck Drive
                  Dayton, OH 45424


                  Brandy Kennedy
                  9063 Grand Blanc Road
                  Gaines, MI 48436


                  Brandy Mclaughlin
                  8 Marcia Dr
                  Mt Vernon,, OH 43050


                  Brandy Menichini
                  220 Elm St
                  Dupont, PA 18641


                  Brandy Miller
                  245 Partridge Ln
                  Wilkesboro, NC 28697


                  Brandy Shouse
                  104 Sheldon Ave
                  Campus, IL 60920


                  Brandy Tucker
                  7135 West 680 South
                  Topeka, IN 46571


                  Brandy Walker
                  4121 Friesian Dr
                  Hudsonville, MI 49426


                  Brandy Williams
                  1158 Virginia Ave
                  Chesapeake, VA 23324


                  BrandyandAlejo Velazquez
                  177 Grove park Circle
                  Danville, VA 24541


                  Brandyce Leonard
                  5091 North Carolina 56
                  Castalia, NC 27816
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                  Brandyn Branham
                  6837 State Route 134
                  Lynchburg, OH 45142


                  Braxton Cox
                  380 Billingham Dr
                  Burlington, NC 27215


                  brayden smith
                  10620 k dr S
                  Burlington, MI 49029


                  Brayden williams
                  9 Valley Brook Court
                  Bloomington, IL 61704


                  Breanna Cooper
                  6305 Wellman Line Rd
                  Croswell, MI 48422


                  Breanna Gallardo
                  206 Taylors Way
                  North Liberty, IN 46554


                  Breeann Stenger
                  5650 Highland Terrace Drive
                  Milford, OH 45150


                  Brenda Armisted
                  300 Summit Dr
                  Kalamazoo, MI 49001


                  Brenda Ballard
                  129 County Road 932
                  Alvin, TX 77511


                  Brenda Barker
                  4130 Mountain View St
                  Gastonia, NC 28056


                  Brenda Billingsley
                  812 East Lafayette Street
                  Rushville, IL 62681
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                  Brenda Blair
                  10882 Thorne Road
                  Horton, MI 49246


                  Brenda Blount Woodhouse
                  1002 Basie Crescent
                  Portsmouth, VA 23701


                  Brenda Bomer
                  122 Devenny Road
                  Cherryville, NC 28021


                  Brenda Bontrager
                  1938 County Road 68
                  Auburn, IN 46706


                  Brenda Boykin
                  16860 la Salle ave
                  Detroit, MI 48221


                  Brenda Brammer
                  24014 Cox Rd
                  Petersburg, VA 23803


                  Brenda Branch
                  4566 W Sangria Dr
                  La Porte, IN 46350


                  Brenda Brehm
                  5307 Mardela Drive
                  Westerville, OH 43081


                  Brenda Bromley
                  1308 S Dickinson Ave
                  Fremont, MI 49412


                  Brenda Brown
                  14725 North Rapidan Rd
                  Fredericksburg, VA 22407


                  Brenda Bruce
                  231 Bowman Ave
                  East Alton, IL 62024
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                  Brenda Brumfield
                  1687 Hardin Road
                  Lumberton, NC 28358


                  Brenda Buckner Jones
                  1602 Bellcreek Drive
                  Flint, MI 48504


                  Brenda Butler
                  6709 Dorrington Drive
                  Wilmington, NC 28412


                  Brenda Callahan
                  249 Chestnut Forest Court
                  Rustburg, VA 24588


                  Brenda Clark
                  16135 Long Ridge Lane
                  Unionville, VA 22567


                  Brenda Collins
                  3205 South Ward Avenue
                  Caruthersville, MO 63830


                  Brenda Custer
                  3403 Traister Road
                  Rimersburg, PA 16248


                  Brenda Defoy
                  402 Hillcrest St
                  Clare, MI 48617


                  Brenda Dillon
                  771 Frog Level Road
                  Carreta, WV 24828


                  Brenda Drake Hoelzer
                  3593 Gensley Road
                  Ann Arbor, MI 48103


                  Brenda F Perry
                  4304 Landon Drive
                  Knoxville, TN 37921
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                  Brenda Fuller
                  18064 West Rich Road
                  Brant, MI 48614


                  Brenda Goode
                  9240 Melon Road
                  Sutherlin, VA 24594


                  Brenda Greenleaf
                  842 Major Street
                  Flint, MI 48507


                  Brenda Harris
                  515 Monica Drive
                  Lebanon, IL 62254


                  Brenda Heath
                  3916 Anderson Rd
                  Nashville, TN 37217


                  Brenda Hildebrant
                  8053 N Holland Rd
                  Edmore, MI 48886


                  Brenda Hillebrand
                  310 Dolley Madison Road
                  Greensboro, NC 27410


                  brenda jenkot
                  7131 Hakes Rd
                  Reading, MI 49274


                  brenda jones
                  22245 Hedgepath Lane
                  Kirksville, MO 63501


                  Brenda Kay
                  70 Oak Ridge Drive
                  Stanardsville, VA 22973


                  Brenda Kindley
                  110 Chriswood Ct
                  Thomasville, NC 27360
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                  Brenda Lawson
                  41 Dogwood Trail
                  London, KY 40741


                  brenda Lincicome
                  2136 Crehore Street
                  Lorain, OH 44052


                  Brenda Lucero
                  3780 Deleonardo Dr
                  Morristown, TN 37813


                  brenda mccracken
                  375 Ida Maybee Road
                  Monroe, MI 48161


                  Brenda Mcginnett
                  18600 Hare Creek Road
                  Corry, PA 16407


                  BRENDA MILLER
                  6238 Pasture Dr, Castle Hayne, NC 28429,
                  Castle Hayne, NC 28429


                  Brenda Norman
                  324 County Road 299
                  Sweetwater, TN 37874


                  Brenda Norton
                  200 Clayton Mills Circle
                  Bourneville, OH 45617


                  Brenda Pace
                  489 Terrys Gap Rd
                  Fletcher, NC 28732


                  Brenda Palmeri
                  73807 McFadden Rd
                  Armada, MI 48005


                  Brenda Petersen Haynes
                  5980 Muddy Creek Road
                  Archdale, NC 27263
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                  Brenda Pitts
                  14780 Fox
                  Redford Charter Township, MI 48239


                  Brenda Poulton
                  444 Hampton St
                  Calabash, NC 28467


                  Brenda Pride
                  9646 Bessemore St
                  Detroit, MI 48213


                  Brenda Puryear
                  1100 Whitt Farm Trail
                  Virgilina, VA 24598


                  Brenda Reece
                  124 Mahone Street
                  Mount Airy, NC 27030


                  Brenda Rivera Obregon
                  870 Belvoir Circle
                  Newport News, VA 23608


                  Brenda Rogers
                  2109 Wakefield Avenue
                  Colonial Heights, VA 23834


                  Brenda Rollet
                  3029 YMCA Camp Road
                  King, NC 27021


                  Brenda Roop
                  312 Palm St
                  Glade Spring, VA 24340


                  Brenda Sapp
                  10088 Meisner Road
                  Casco, MI 48064


                  Brenda Saunders
                  26490 Jefferson Rd
                  Jarratt, VA 23867
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                  Brenda Schrodt
                  10197 Icon Rd
                  Clearmont, MO 64431


                  Brenda Schumacher
                  998 Oda Street
                  Davison, MI 48423


                  brenda shade
                  102 Boyles Drive
                  Cogan Station, PA 17728


                  brenda Smith
                  747 Montgomery St
                  Gary, IN 46403


                  BRENDA SMITH
                  130 Devon Dr
                  St. Louis, MI 48880


                  Brenda Tackett
                  1851 Gragston Creek
                  Prichard, WV 25555


                  Brenda Teepe
                  5976 Williams Dr
                  Plainfield, IN 46168


                  Brenda Thomas
                  1909 Katesbridge Ln
                  Raleigh, NC 27614


                  Brenda Thompson
                  9401 w 142 ave
                  Cedar Lake, IN 46303


                  Brenda White
                  27828 O'Neil Street
                  Roseville, MI 48066


                  Brenda White / Roof
                  27828 O'Neil Street
                  Roseville, MI 48066
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                  Brenda Williams
                  355 Park Avenue
                  Urbana, OH 43078


                  Brenda Williamson
                  230 Church St
                  Summerville, GA 30747


                  Brenda Withers
                  2270 Potomac Ave
                  Pittsburgh, PA 15216


                  Brenda Wurst
                  547 Jennings Rd
                  Van Wert, OH 45891


                  Brendalee Rodriguez
                  179 Lars Ln
                  Garner, NC 27529


                  Brendalee Vess
                  102 Rodmick st
                  Danville, OH 43014


                  Brendan coughlin
                  455 Delaware Street Southeast
                  Grand Rapids, MI 49507


                  Brendan Howard
                  4009 Prairie Hill St
                  Kalamazoo, MI 49048


                  Brendan Myas
                  118 Mound Street
                  Bellaire, MI 49615


                  Brendan/Dustin DeLong/Carlson
                  949 Curwood Drive
                  St. Louis, MO 63126


                  Brenden Cardinali
                  2099 Stoney Ridge Trail
                  House Springs, MO 63051
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                  Brendon Lemke
                  2176 Convoy Road
                  Convoy, OH 45832


                  Brenita Johnson
                  108 Hope Dr
                  Ruther Glen, VA 22546


                  Brennan Summers
                  219 Eastern Avenue
                  Greenville, IL 62246


                  Brennon Hiott
                  1740 Pathfinder Drive
                  Virginia Beach, VA 23454


                  Brent Baumann
                  329 France Road
                  Elkton, KY 42220


                  Brent Beaverson
                  31 Wilcox St
                  Milan, MI 48160


                  Brent Bixler
                  2727 US Route 33
                  Rockford, OH 45882


                  Brent Boedeker
                  1152 Alton Road
                  Flint, MI 48507


                  Brent Cavalline
                  6301 Teaneck Place
                  Charlotte, NC 28215


                  Brent Centers
                  6910 Scholl Road
                  Franklin, OH 45005


                  Brent Charles
                  705 Old Finchville Rd
                  Shelbyville, KY 40065
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                  Brent Clark
                  61698 Greentree Dr
                  South Bend, IN 46614


                  Brent Cover
                  209 East Main Street
                  Cardington, OH 43315


                  Brent Crowell
                  10772 Babcock Road
                  Bath, MI 48808


                  Brent Daniel
                  110 W Alcott St
                  Kalamazoo, MI 49001


                  Brent Eldridge
                  9191 South Ketcham Road
                  Bloomington, IN 47403


                  Brent Eldridge
                  500 E Bard Rd
                  Muskegon, MI 49445


                  Brent Engelhardt
                  104 S Main ST
                  CHINA GROVE, NC 28023


                  Brent Garner
                  403 Cedar Hill Rd
                  Colonial Beach, VA 22443


                  Brent Giffin
                  900 Lake Drive West
                  Thomasville, NC 27360


                  Brent Guier
                  500 South Park Avenue
                  Sedalia, MO 65301


                  Brent Hill
                  7688 Kilmanagh Road
                  Owendale, MI 48754
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                  Brent Hodges
                  6312 Lakeland Dr
                  Raleigh, NC 27612


                  Brent Johnson
                  6706 Holly Springs Dr
                  Gloucester, VA 23061


                  Brent Kasmer
                  11209 Kirkwich Court
                  Charlotte, NC 28277


                  Brent Lainhart
                  2037 E Little Bear Rd
                  Connersville, IN 47331


                  Brent Lessuise
                  624 Mechanic St
                  Oxford, MI 48371


                  BRENT LUMPKIN
                  3707 BEACON DRIVE
                  BEACHWOOD, OH 44122


                  Brent Marshall
                  800 Nast Chapel Lane
                  Martinsville, IN 46151


                  Brent Messick
                  156 Sandee Drive
                  Angier, NC 27501


                  Brent Meyer
                  405 Landsdowne Ave
                  Portage, MI 49002


                  Brent Pettis
                  6200 Georgia 212 East
                  Monticello, GA 31064


                  Brent Potter
                  4520 Cardan Lane
                  Centerburg, OH 43011
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                  Brent Smith
                  315 Cole Road
                  Sarver, PA 16055


                  Brent Stevens
                  309 Country Wood Dr
                  Warner Robins, GA 31088


                  Brent Stevenson
                  3320 Lakecrest Road
                  Virginia Beach, VA 23452


                  Brent Webb
                  3115 W County Road 800 N
                  Rensselaer, IN 47978


                  Brent Wells
                  1535 Taylors Lane
                  Norfolk, VA 23503


                  Brent Whitaker
                  515 cross st
                  Cairo, IL 62914


                  Brent Williams
                  12161 East Mt Morris rd
                  Davison, MI 48423


                  Brent Wood
                  119 North Behnke Road
                  Coldwater, MI 49036


                  Brentan Mooew
                  810 White St
                  Port Huron, MI 48060


                  Bret hoplin
                  2713 Daphne Ln
                  Powhatan, VA 23139


                  Bret Ramsey
                  425 Hampden Lane
                  Farmville, VA 23901
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                  Bret Switzer
                  92 Ridge St Ext
                  Sligo, PA 16255


                  Brett Baker
                  9467 State Hwy 87
                  Orange, TX 77632


                  Brett Beckman
                  221 Wild Rose Drive
                  Guyton, GA 31312


                  Brett Brittain
                  8023 Dogwood Ct
                  Baytown, TX 77523


                  Brett Burkett
                  410 South Jackson Street
                  Palestine, IL 62451


                  Brett Burns
                  25455 Cumberland Gap Avenue
                  Warsaw, MO 65355


                  Brett Christiansen
                  5697 Bayberry Farms Dr SW
                  Wyoming, MI 49418


                  Brett Christie
                  3356 Olderidge Drive Northeast
                  Grand Rapids, MI 49525


                  Brett Clay
                  6004 Astor Avenue
                  Columbus, OH 43232


                  Brett Cline
                  2854 Rocky Spring Rd
                  Chambersburg, PA 17201


                  Brett Cosaboom
                  7651 Rainbow Drive
                  Tobyhanna, PA 18466
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                  Brett Davis
                  1913 Kyle Court
                  Suffolk, VA 23434


                  Brett Heller
                  112 W rose rd
                  Coldwater, MI 49036


                  Brett Jennings
                  4602 Williamsport Road
                  Monongahela, PA 15063


                  Brett Kiser
                  4899 rt 167
                  Pierpont, OH 44082


                  Brett Krick
                  13011 US-224
                  Van Wert, OH 45891


                  Brett Ledbetter
                  9761 Mount Tabor Road
                  Odessa, MO 64076


                  Brett Myers
                  30 Porter Road
                  Greenville, PA 16125


                  Brett Novy
                  76510 County Road 380
                  South Haven, MI 49090


                  Brett Selinsky
                  8269 Eberhart Rd NW
                  Dover, OH 44622


                  Brett Siebenkittel
                  150 Vista Lane
                  Clifton Forge, VA 24422


                  Brett Stahl
                  60 Muskoka Rd
                  Grosse Pointe Farms, MI 48236
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                  Brett Stevens
                  7129 Dial Drive
                  Dayton, OH 45424


                  Brett Tompkins
                  5 Bromley Street
                  Franklinton, NC 27525


                  Brett Tribout
                  5919 Gildehaus Road
                  Villa Ridge, MO 63089


                  Brett Welker
                  14804 South Budler Road
                  Plainfield, IL 60544


                  BRETT WICKE
                  502 S Main St
                  Oakley, MI 48649


                  Brett Zawislak
                  381 Carson Hollow Lane
                  Cumberland City, TN 37050


                  Brian Adams
                  531 Hillcrest Drive
                  Bolingbrook, IL 60440


                  Brian Adams
                  4473 S 500 W
                  Russiaville, IN 46979


                  Brian Adcock
                  5247 NC-22
                  Ramseur, NC 27316


                  Brian Aldridge
                  120 Arthur Sumner Ln
                  Beulaville, NC 28518


                  Brian Allen
                  77455 Coon Creek Rd
                  Armada, MI 48005
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                  Brian Allinder
                  118 Two Creeks Loop
                  Chapel Hill, NC 27517


                  Brian Altis
                  1620 East 9th Street
                  Sedalia, MO 65301


                  Brian Amesse
                  20551 Huntington Avenue
                  Harper Woods, MI 48225


                  Brian Anderson
                  4210 Meadowlawn Ave SW
                  Massillon, OH 44646


                  Brian Anderson
                  105 Blue Hole Road
                  Clarksville, TN 37042


                  Brian Anderton
                  807 South Desloge Drive
                  Desloge, MO 63601


                  Brian Arrasmith
                  12184 56th Avenue
                  Allendale, MI 49401


                  Brian Auld
                  7381 Emerald Tree Dr
                  Canal Winchester, OH 43110


                  Brian Austin
                  102 Tucker Creek Ln
                  Havelock, NC 28532


                  Brian Baird
                  6340 Dollar Road
                  Buena Vista, TN 38318


                  Brian Balko
                  11750 Podunk Road Northeast
                  Greenville, MI 48838
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                  Brian Banks
                  831 Lantern Dr
                  Marysville, OH 43040


                  Brian Barnes
                  9048 State Highway T
                  Farmington, MO 63645


                  Brian Batten
                  219 Riverside Dr
                  Honesdale, PA 18431


                  Brian Beaver
                  5691 Banta Rd
                  Martinsville, IN 46151


                  Brian Becky Finley
                  190 Green Acres Road
                  Wytheville, VA 24382


                  Brian Bemiller
                  12260 Edwards Road
                  Johnstown, OH 43031


                  Brian Biggs
                  2661 Woodrow Street
                  Ann Arbor, MI 48103


                  Brian Billups
                  8009 Headwater Drive
                  Blacklick, OH 43004


                  Brian Birch
                  1090 East County Rd 1320 North
                  Sullivan, IL 61951


                  Brian Blackmon
                  2420 Lindmont Avenue
                  Durham, NC 27704


                  Brian Bloor
                  607 W Oregon Ave
                  Sebring, OH 44672
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                  Brian Borgerding
                  3307 Stone Quarry Rd
                  Urbana, OH 43078


                  Brian Boyce
                  3965 Philadelphia Rd
                  Springboro, PA 16435


                  Brian Brady
                  9 Treasure Cove
                  Blairsville, GA 30512


                  Brian Brethauer
                  6610 Pierce St
                  Allendale, MI 49401


                  Brian Brooks
                  1411 Williams Road
                  Dallas, GA 30132


                  Brian Cain
                  10741 West 700 South
                  Columbus, IN 47201


                  Brian Cale
                  2448 North Smith Pike
                  Bloomington, IN 47404


                  Brian Campbell
                  1100 Private Rd 1348
                  Huntsville, MO 65259


                  Brian Carsey
                  823 North Symonds Creek Road
                  Cambridge City, IN 47327


                  Brian Cavanaugh
                  618 Danbury St
                  Pittsburgh, PA 15214


                  Brian Cawley
                  80 Harvey Farm Drive
                  Benson, NC 27504
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                  Brian Clanton
                  3103 Beltz Rd
                  Sardinia, OH 45171


                  Brian Conley
                  8875 Cribbins Road
                  Avoca, MI 48006


                  Brian Contreras
                  636 Broadview Street Southeast
                  Grand Rapids, MI 49507


                  Brian Cook
                  2927 Ellsworth ave
                  Erie, PA 16508


                  brian cope
                  6497 north stoney creek rd
                  Monroe, MI 48162


                  Brian Cossak
                  5708 Brookmere Ln.
                  Portsmouth, VA 23703


                  Brian Covalt
                  101 Boyd Ave
                  Beaver Falls, PA 15010


                  Brian Crewe
                  1206 Student Ave
                  Springfield, OH 45503


                  Brian Crouse
                  124 18th Avenue A
                  Moline, IL 61265


                  Brian Crum
                  3700 Pleasant Road
                  Hillsboro, OH 45133


                  Brian Cummings
                  8036 Jefferson Avenue
                  Munster, IN 46321
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                  Brian Cunningham
                  539 Shepherds Way
                  South Lebanon, OH 45065


                  Brian Danley
                  274 Cypress Cir
                  Ellijay, GA 30540


                  Brian Daugherty
                  2619 Rifle Range Road
                  Knoxville, TN 37918


                  Brian Davies
                  9501 Belmont Ln
                  Waxhaw, NC 28173


                  Brian Davis
                  409 North Albers Street
                  Golden, IL 62339


                  Brian Davis
                  21595 Marysville Road
                  Marysville, IN 47141


                  Brian DeAtley
                  148 Old House Farm Road
                  Bumpass, VA 23024


                  Brian Deem
                  107 Coinjock Canal Rd
                  Coinjock, NC 27923


                  Brian Demoray
                  3302 Pinoak Ct SE
                  Grand Rapids, MI 49546


                  Brian Dicks
                  229 Pineview Ln
                  Lafayette, IN 47905


                  Brian Dinger
                  814 Tina Lane
                  Villa Ridge, MO 63089
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                  Brian Dircksen
                  1540 Poplar Grove Road
                  McEwen, TN 37101


                  Brian Ditsch
                  222 McElmurray Farm Rd
                  Jackson, SC 29831


                  Brian Donahue
                  21401 Snowflower Drive
                  Rocky River, OH 44116


                  Brian Doty
                  1102 N Huntington St
                  Syracuse, IN 46567


                  Brian Dudley
                  702 Twin Oak Drive
                  Pittsburgh, PA 15235


                  Brian Dunning
                  31414 U.S. 20
                  New Carlisle, IN 46552


                  Brian Dupler
                  13676 Fairfield Drive Northeast
                  Millersport, OH 43046


                  Brian Edwards
                  7660 U.S. 27
                  Ridgeville, IN 47380


                  Brian Edwards
                  5214 Meadowbrook Dr
                  Trent Woods, NC 28562


                  Brian Ellenbrand
                  1907 Ballou Rd
                  Floyds Knobs, IN 47119


                  BRIAN ELLIOTT
                  4441 Acorn Hill Drive
                  Lancaster, SC 29720
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                  Brian Elmore
                  8390 West 875 South
                  Pendleton, IN 46064


                  Brian Enderle
                  2179 Apple Valley Dr
                  Howard, OH 43028


                  Brian Ensing
                  2286 55th St
                  Fennville, MI 49408


                  Brian Estes
                  215 Palmer Drive
                  Franklin, NC 28734


                  Brian Eucker
                  646 Apalachia Lake Dr
                  Fuquay Varina, NC 27526


                  Brian Foster
                  601 Kirby Road
                  Leslie, MI 49251


                  Brian Freeman
                  7937 Exeter Road
                  Monroe, MI 48162


                  Brian Gabrisch
                  216 Rhodes Ridge Loop
                  Grubville, MO 63041


                  Brian Galuzny
                  120 Breton Dr
                  Lexington, OH 44904


                  Brian Gard
                  13312 Janeka Road
                  Chesterfield, VA 23838


                  Brian Gibbs
                  6801 Macedonia Church Road
                  Concord, NC 28027
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                  Brian Giles
                  4334 S Elyria Rd
                  Shreve, OH 44676


                  Brian Gillam
                  7688 West East Drive
                  Elwood, IN 46036


                  Brian Gish
                  6027 Musketeer Drive
                  Cincinnati, OH 45248


                  Brian Glen
                  3855 Oakview Drive
                  Beavercreek, OH 45430


                  Brian Goins
                  5601 Barbee Chapel Road
                  Chapel Hill, NC 27517


                  Brian Golden
                  3002 Strater Road
                  Kendallville, IN 46755


                  Brian Gorka
                  6587 Robindale Drive
                  Ypsilanti, MI 48197


                  Brian Grady
                  1083 Ranger Road
                  Warrenton, GA 30828


                  Brian Graves
                  5780 River Ridge Lane
                  Riner, VA 24149


                  Brian Gray
                  1070 Fairview Church Road
                  Huddleston, VA 24104


                  BRIAN GREEN
                  238 Valley View Road
                  Dresden, TN 38225
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                  Brian Grimmer
                  76 Emerald Avenue
                  Battle Creek, MI 49037


                  Brian Grinnell
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                  Ravenna, OH 44266


                  Brian Gudzik
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                  Ortonville, MI 48462


                  Brian Guntharp
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                  Elsberry, MO 63343


                  Brian Haines
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                  Xenia,, OH 45385


                  Brian Halas
                  1715 Dylan Dr
                  Virginia Beach, VA 23464


                  Brian Harris
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                  Abbeville, SC 29620


                  Brian Hartmann
                  1640 South Lima Center Road
                  Chelsea, MI 48118


                  Brian Hartwell
                  28375 Elba Island Dr
                  Grosse Ile Township, MI 48138


                  Brian Hatfield
                  9400 Brown Road
                  Clayton, MI 49235


                  Brian Hayward
                  27676 Michigan Avenue
                  Mendon, MI 49072
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                  Brian Henning
                  6404 Fairway Dr
                  Grifton, NC 28530


                  Brian Henry
                  20507 Oak Springs Road
                  Orange, VA 22960


                  Brian Hill
                  1517 Calhoun Street
                  Gary, IN 46406


                  BRIAN HODGE
                  500 Overlook Drive
                  Beckley, WV 25801


                  Brian Huber
                  7127 Trillium Dr,
                  Lewis Center, OH 43035


                  Brian Hunter
                  1053 Rowe Rd
                  Milford, MI 48380


                  Brian Husarek
                  122 Barrington Ct
                  Maple Hill, NC 28454


                  Brian Hyams
                  85 Jasons Way
                  Richboro, PA 18954


                  Brian Hyder
                  1360 Lyle Street
                  Burton, MI 48509


                  Brian Iddles
                  7744 100 South
                  Warsaw, IN 46580


                  Brian Ingledue
                  46210 Y and O Rd
                  East Liverpool, OH 43920
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                  Brian Johnson
                  1014 Carter Road
                  Owensboro, KY 42301


                  Brian Johnson
                  6614 Skywae Drive
                  Columbus, OH 43229


                  Brian Johnson
                  4114 Carters Mill Rd
                  Huddleston, VA 24104


                  Brian Keathley
                  20135 Empire Street
                  Taylor, MI 48180


                  Brian Kellams
                  325 North Barclay Drive
                  Vincennes, IN 47591


                  Brian Kelley
                  1230 Trebark Rd
                  Buchanan, VA 24066


                  Brian Kelly
                  231 Parry Rd
                  Warminster, PA 18974


                  Brian Kemppainen
                  3160 Park Dr.
                  Pleasant Lake, MI 49272


                  Brian Kennebeck
                  9 Hawthorne Circle
                  O'Fallon, MO 63366


                  Brian Kidwell
                  315 Parris Road
                  Cowpens, SC 29330


                  Brian Knowlton
                  5552 Hook Road
                  Crestline, OH 44827
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                  Brian Koncz
                  83 Oakhaven Drive
                  Holly Springs, NC 27540


                  Brian Kronner
                  127 N Wilson Blvd
                  Mt Clemens, MI 48043


                  Brian Lacy
                  4604 Courthouse Rd
                  Prince George, VA 23875


                  Brian Lampela
                  3191 Kilmanagh Road
                  Bad Axe, MI 48413


                  Brian LaRue
                  14433 108th Ave
                  Grand Haven, MI 49417


                  Brian Lavin
                  24154 Memorial Drive
                  Lawrenceburg, IN 47025


                  Brian Lear
                  8868 S Lear Dr
                  Carbon, IN 47837


                  Brian Lilly
                  111 Raccoon Ln
                  Daniels, WV 25832


                  Brian Littler
                  1104 Bowen Rd
                  Pinnacle, NC 27043


                  Brian Livengood
                  14268 Spring Drive
                  De Soto, MO 63020


                  Brian Lussier
                  3287 Oakmont Dr
                  Hudsonville, MI 49426
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                  Brian Martin
                  3711 Leonard Road
                  Martinsville, IN 46151


                  Brian Martindale
                  12201 Buno Road
                  Milford, MI 48380


                  Brian Matthies
                  5036 Forest Oak
                  Schertz, TX 78108


                  Brian Maynard
                  7807 State Route 101
                  Milan, IN 47031


                  Brian Mays
                  18603 East 9th Terrace North
                  Independence, MO 64056


                  Brian McCollum
                  6509 East 187th Street
                  Belton, MO 64012


                  Brian McConnell
                  10144 County Road 424
                  Savannah, MO 64485


                  Brian McConnell
                  1172 Ohio 100
                  Bucyrus, OH 44820


                  Brian McDaniel
                  2407 White House Rd
                  Moneta, VA 24121


                  Brian McKay
                  411 N Saginaw St
                  Durand, MI 48429


                  Brian Mcleland
                  165 Joanna Gillard Lane
                  Georgetown, SC 29440
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                  Brian Mcmath
                  4427 Chester Road
                  Chester, IL 62233


                  Brian McWhorter
                  5593 Betty Lane
                  Milford, OH 45150


                  Brian Michel
                  10111 N 200 E
                  Roanoke, IN 46783


                  Brian Miller
                  10878 North Meridian Line Road
                  Logansport, IN 46947


                  Brian Miller
                  5238 N Gale Rd
                  Davison, MI 48423


                  Brian Miller Miller
                  15803 Croghan Pike
                  Shirleysburg, PA 17260


                  Brian Minnich
                  9838 Greenriver Dr
                  Cincinnati, OH 45231


                  Brian Mishler
                  115 East Hazel Street
                  Albion, IN 46701


                  Brian Mitchell
                  425 Head Of Creek Rd.
                  Sweetwater, TN 37874


                  Brian Moad
                  302 Edwards Drive
                  Glen Carbon, IL 62034


                  Brian Montcalm
                  119 Scott Lake Rd
                  Waterford Township, MI 48328
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                  Brian Moore
                  39387 Buckingham Drive
                  Romulus, MI 48174


                  Brian Mossing
                  10301 Bacon Rd
                  Ottowa Lake, MI 49267


                  Brian Mulligan
                  4151 Louisiana Terrace
                  Ottawa, KS 66067


                  Brian Murray
                  26762 Township Rd 407
                  Warsaw, OH 43844


                  Brian Nappe
                  2207 South 17th Street
                  Saint Joseph, MO 64503


                  Brian Newton
                  7023 Lesta Court
                  Indianapolis, IN 46217


                  Brian Niro
                  843 South Burton Place
                  Arlington Heights, IL 60005


                  Brian O'Neill
                  17010 Red Oak Dr
                  Plantersville, TX 77363


                  Brian Offerman
                  8514 Pennington Road
                  Tecumseh, MI 49286


                  Brian Parish
                  312 Boston Road
                  Sandusky, OH 44870


                  Brian Patterson
                  1483 Springfield Church Road
                  Jackson Center, PA 16133
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                  Brian Pauley
                  332 Clifton Rd
                  S Charleston, OH 45368


                  Brian Peeler
                  258 High Knob Rd
                  Front Royal, VA 22630


                  Brian Pelton
                  9709 Thomas Road
                  Leesburg, OH 45135


                  Brian Petrie
                  7280 Empire Dr
                  Mt Pleasant, NC 28124


                  Brian Petrosh
                  1775 Aaron Way
                  Parrottsville, TN 37843


                  Brian Petters
                  341 Barneston Rd
                  Glenmoore, PA 19343


                  Brian Piontkowski
                  60880 Kunstman
                  Ray, MI 48096


                  Brian Plauger
                  9194 Sandyville Rd NE
                  Mineral City, OH 44656


                  Brian Potter
                  2345 Sunsprite Drive
                  Kalamazoo, MI 49048


                  Brian Proper
                  901 Phillips St
                  Marietta, OH 45750


                  Brian Prue
                  547 Anderson Mill Road
                  Appomattox, VA 24522
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                  Brian Quidley
                  409 Saint Louis St
                  Kill Devil Hills, NC 27948


                  Brian Rada
                  1 N River Rd
                  North Aurora, IL 60542


                  Brian Ransom
                  1827 N Walmont Rd
                  Jackson, MI 49203


                  Brian Rathbun
                  420 Hatch Street
                  Corry, PA 16407


                  Brian Ray
                  560 Terra Verde Ave
                  Columbiana, OH 44408


                  Brian Reas
                  6150 Lincoln Springs Road Northwest
                  Depauw, IN 47115


                  Brian Reger
                  78 Idlewood Blvd
                  Staunton, VA 24401


                  Brian Renken
                  7363 West Dove Lane
                  Frankfort, IL 60423


                  Brian Reynolds
                  156 Kimberly Ln
                  Manchester, TN 37355


                  Brian Rhodes
                  9519 Fall Haven Road
                  Fredericksburg, VA 22407


                  Brian Richardson
                  379 Starvey Creek Road
                  Conway, MO 65632
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                  Brian Richardson
                  800 Fox Chase Ln
                  Winterville, NC 28590


                  Brian Rodgers
                  611 North Genesee Street
                  Davison, MI 48423


                  Brian Rosenbeck
                  3923 State Route 67
                  Kenton, OH 43326


                  Brian Rosenthal
                  5946 Berne Road
                  Elkton, MI 48731


                  Brian Rush
                  2050 Adams Trail
                  Vernon Hill, VA 24597


                  Brian Russell
                  1107 Cora Drive
                  Flint, MI 48532


                  Brian Russell
                  8050 Dillon Acres Dr
                  Belews Creek, NC 27009


                  Brian Salisbury
                  711 Mansion Drive
                  Hopewell, VA 23860


                  Brian Sandusky
                  431 Roaring Gap Church Rd
                  Elkin, NC 28621


                  Brian Santiago
                  1016 Lawnton Terrace
                  Glenolden, PA 19036


                  Brian Schermerhorn
                  8768 E Imlay City Rd
                  Imlay City, MI 48444
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                  Brian Scott
                  9716 Spring Hollow Road
                  Valles Mines, MO 63087


                  Brian Sekely
                  1729 Queens Drive
                  South Park Township, PA 15129


                  Brian Sellitto
                  1697 US-6
                  Rome, OH 44085


                  Brian Shaw
                  356 Mullican Rd
                  Sparta, TN 38583


                  Brian Shockley
                  795 Joseph Martin Hwy
                  Martinsville, VA 24112


                  Brian Short
                  109 Lee Ann Ln
                  West Unity, OH 43570


                  Brian Sievers
                  9185 Lake Shore Court
                  New Haven, IN 46774


                  Brian Simon
                  772 North Bellamy Road
                  Ionia, MI 48846


                  Brian Simons
                  136 Center Street
                  Marion, VA 24354


                  Brian sleischman
                  7217 West Hamilton Road South
                  Fort Wayne, IN 46814


                  Brian Smith
                  131 Cedar Street
                  Kincaid, IL 62540
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                  Brian Smith
                  11711 Indiana 28
                  Redkey, IN 47373


                  Brian Sorensen
                  410 Jasmine Drive
                  Winder, GA 30680


                  Brian Sowerby
                  1149 Billy Goat Hill Road
                  Hopkinsville, KY 42240


                  Brian Sprouse
                  157 Shingle Hill Rd
                  Kinsale, VA 22488


                  Brian Staggs
                  255 S Walnut St
                  Germantown, OH 45327


                  Brian Stainbrook
                  5869 Buzzard Creek Road
                  Cedar Hill, TN 37032


                  brian Stephens
                  4336 Sunny View Heights Loop
                  Pulaski, VA 24301


                  Brian Steusloff
                  8394 Lapeer Rd
                  Avoca, MI 48006


                  Brian Stewart
                  9895 Greenriver Drive
                  Cincinnati, OH 45231


                  Brian Strawser
                  644 Circle Ridge Dr
                  Buchanan, MI 49107


                  Brian Suddreth
                  3406 Benard Ave
                  Charlotte, NC 28206
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                  Brian Sullivan
                  174 Morningdale Circle
                  Winder, GA 30680


                  Brian Tataryn
                  206 Providence Lane
                  Canton, GA 30114


                  Brian Taylor
                  6283 Simpkin Dr
                  Cape Charles, VA 23310


                  Brian Terracio
                  1509 Marshall Road
                  Monaca, PA 15061


                  Brian Thomas
                  70542 Swingle Road
                  Bridgeport, OH 43912


                  Brian Thomas
                  6415 Kelley Street
                  Salem, VA 24153


                  Brian Trievel
                  1004 Applejack Drive
                  Gibsonia, PA 15044


                  Brian Underwood
                  247 Breezy Estates Drive
                  Wytheville, VA 24382


                  Brian Updike
                  8674 West 500 North
                  Andrews, IN 46702


                  Brian VanDusen
                  1316 Bears Den Road
                  Youngstown, OH 44511


                  Brian Vanhorn
                  14300 Mount Perry Road
                  Mount Perry, OH 43760
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                  Brian Wade
                  7822 Hugh St
                  Westland, MI 48185


                  Brian Watson
                  1737 Laurel Lake Road
                  Columbia Cross Roads, PA 16914


                  Brian Weathers
                  12660 South State Road
                  Lake Odessa, MI 48849


                  Brian Wehrs
                  8565 Grafton
                  Newport, MI 48166


                  Brian Weil
                  27W051 Jewell Rd
                  Winfield, IL 60190


                  Brian Weill
                  565 Laurel Park Cir
                  Cookeville, TN 38501


                  Brian Weisserman
                  225 California Street
                  Highland Park, MI 48203


                  Brian Wells
                  1421 15th Avenue Court
                  Silvis, IL 61282


                  Brian White
                  893 Daimler Drive
                  Virginia Beach, VA 23454


                  Brian Williams
                  26595 Reaume Street
                  Trenton, MI 48183


                  Brian Willson
                  5500 Riley Road
                  Corunna, MI 48817
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                  BRIAN Wilson
                  105 Pcr 411
                  Old Appleton, MO 63770


                  Brian Winbigler
                  252 Oakburne Lane
                  Maryville, TN 37803


                  Brian Winkle
                  6711 Palms Rd
                  Ira Township, MI 48023


                  brian wohlscheid
                  8540 Springbrook Ln
                  Portland, MI 48875


                  Brian Woods
                  6233 S Miami St
                  Ypsilanti, MI 48197


                  Brian Woods
                  3411 S Grubb Rd
                  Lima, OH 45806


                  Brian Wright
                  15 Joseph Court
                  Stafford, VA 22556


                  Brian Wylie
                  5982 Basswood Drive
                  Newaygo, MI 49337


                  Brian Yochum
                  2912 Caraway Drive
                  Murfreesboro, TN 37130


                  Brian Zigler
                  7015 Rosedale Rd
                  Terre Haute, IN 47805


                  Briana Rangel
                  7453 Chatham
                  Detroit, MI 48239
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                  Briana Speichinger
                  81 Pearson Dr
                  Rustburg, VA 24588


                  Briana Wolfenbarger
                  5605 West Allens Bridge Rd
                  Greeneville, TN 37743


                  Brianna Hatcher
                  815 Liberty Rd NE
                  Roanoke, VA 24012


                  Brianna Martigan
                  545 Tennessee St
                  Lawrence, KS 66044


                  Brianna McEwen
                  36565 Avondale St
                  Westland, MI 48186


                  Brianna Treichler
                  41 Wild Cherry Road
                  Schuylkill Haven, PA 17972


                  Brianne Hoffman
                  2601 South Blacks Corners Road
                  Imlay City, MI 48444


                  Bridget Deal
                  1865 Huntington Trail
                  Cascade, VA 24069


                  Bridget Deas
                  75 Sara Drive
                  Covington, GA 30016


                  Bridget Espinosa
                  19491 Constitution Highway
                  Orange, VA 22960


                  Bridget Gratton
                  1025 Sutton Road
                  Farmington, MO 63640
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                  Bridget Gwin
                  1010 Holly Corner Rd
                  Fredericksburg, VA 22406


                  Bridget Nicholson
                  171 Sojourner ln
                  Cler Brook, VA 22624


                  Bridget Stuntz
                  402 Harris St
                  Knt, OH 44240


                  Bridget Terry-Hollis
                  943 Fleeman Ln
                  Burlington, NC 27217


                  Bridget wilkins
                  104 Freedom Lane
                  Havelock, NC 28532


                  Bridget Wilson
                  408 W Chicago Blvd
                  Tecumseh, MI 49286


                  Bridgett Montgomery
                  2451 Outer Drive East
                  Detroit, MI 48234


                  Bridgette Brown
                  783 Philpot Road
                  Campbellsville, KY 42718


                  Bridgette Cameron
                  6345 rockbridge rd
                  Stone Mountain, GA 30087


                  Brighton Means
                  206 bert lane
                  inkster, MI 48141


                  Brigitte Ward-Sutkovs
                  722 Shawnee Trail
                  Wilmington, NC 28412
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                  Brin Harris
                  90100 Heaston Rd
                  Bowerston, OH 44695


                  Brina Gross
                  10145 Sheridan Rd
                  Montrose, MI 48457


                  Bring IT by Macro, LLC.
                  112 Summer Lakes Dr
                  Cary, NC 27513


                  Brinton Brown
                  836 Hard Scrapple Road
                  Wellston, OH 45692


                  Brione Burrows
                  2428 River Ridge Rd NE
                  Milledgeville, GA 31061


                  Britany Lopez
                  11 Pony Court
                  Bahama, NC 27503


                  Britney Dilts
                  330 Miles Road
                  Clarksville,, PA 15322


                  Britney Hobbs
                  10651 Bryson Rd
                  Glenford, OH 43739


                  Britney Tyler
                  3466 Highway Y
                  Valles Mines, MO 63087


                  Britny Snow
                  313 Mill St.
                  Litchfield, MI 49252


                  Britta Rogers
                  3070 Fox Ridge Court
                  Flatwoods, KY 41139
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                  Brittany Allison
                  26 West St
                  Mulberry, IN 46058


                  Brittany Atteberry - Kramer
                  11715 W 129th Ave
                  Cedar Lake, IN 46303


                  Brittany Boston
                  2730 Olof Krans Avenue
                  Galva, IL 61434


                  Brittany Firszt
                  8514 South Marquette Avenue
                  Chicago, IL 60617


                  Brittany Fleenor
                  314 Big Valley Drive
                  Pennington Gap, VA 24277


                  Brittany Gagne
                  45 North 34th Street
                  Newark, OH 43055


                  Brittany Holscher
                  7939 Richmond Ave
                  Cincinnati, OH 45236


                  Brittany Jackson
                  3203 Douthat Rd
                  Clifton Forge, VA 24422


                  Brittany James
                  425 N Richardson Ave
                  Columbus, OH 43204


                  Brittany Kujawski
                  645 S Rosemont Rd
                  Virginia Beach, VA 23452


                  Brittany Letennier
                  7264 Mason Way
                  Gloucester, VA 23061
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                  Brittany Maxon
                  3108 School Rd
                  Rhodes, MI 48652


                  Brittany Meyers
                  7459 W St Rd 2
                  Laporte, IN 46350


                  Brittany Olds
                  5623 Viking Drive
                  Jackson, MI 49201


                  Brittany Oxley
                  113 Westover Drive
                  Hillsboro, OH 45133


                  Brittany Parsons
                  1005 Moores Lane
                  Stanford, KY 40484


                  Brittany Tumbleson
                  3641 N Hickory Rd
                  Decatur, IN 46733


                  Brittany Valleroy
                  409 South 11th Street
                  Belleville, IL 62220


                  Brittany VanMeter
                  14 Harmony Ridge Road
                  Candler, NC 28715


                  Brittany Wickizer
                  10226 Arizona Street
                  Crown Point, IN 46307


                  Brittany Williams
                  71 Ca ira Road
                  Cumberland, VA 23040


                  Brittany Winters
                  8219 Chesapeake Blvd
                  Norfolk, VA 23518
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                  Brittnay Shiminski
                  113 Doe Ln
                  New Bern,, NC 28562


                  Brittney Cieramella
                  176 Quinn Hill Rd.
                  Newport, NC 28570


                  Brittny Kempfer
                  164 Maple Street
                  Sellersburg, IN 47172


                  Britton Mauk
                  4211 Haldane Street
                  Pittsburgh, PA 15207


                  Brock Bagsby
                  11887 Brookington Drive
                  Bridgeton, MO 63044


                  Brock Close
                  1275 Hathaway Avenue
                  Lakewood, OH 44107


                  brock jarrett
                  107 Stone Street
                  Culloden, WV 25510


                  Brock Vagis
                  66055 Joseph Rd
                  Vandalia, MI 49095


                  Broderick Banks
                  3264 West Warren Boulevard
                  Chicago, IL 60624


                  Brody Eller
                  5526 Ulena Avenue
                  St. Louis, MO 63116


                  Brody Jeters
                  14961 Laminack Road
                  Carterville, IL 62918
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                  Brody Schoen
                  2422 E Lakeshore Ct
                  Greenfield, IN 46140


                  Brogan Curtis
                  1112 South Co Road 567 East
                  Selma, IN 47383


                  Bronson Griscom
                  217 Franklin St
                  Harrisonburg, VA 22801


                  Brook Shafer
                  18 Moss Road
                  Wellston, MI 49689


                  Brook Turner
                  1741 East 38th Street
                  Marion, IN 46953


                  Brooke Dearman
                  572 Queen Street
                  Northumberland, PA 17857


                  Brooke Howard
                  227 Buckshot Drive
                  Andrews, SC 29510


                  Brooke Kondash
                  3682 Carroll Eastern Road
                  Carroll, OH 43112


                  Brooke LaVoi
                  1412 Michaels Lane Northwest
                  Knoxville, TN 37912


                  Brooke Lytle
                  3891 Tuttle Rd
                  Leslie, MI 49251


                  Brooke Nicoletta
                  3609 Lake Mead Dr
                  Grove City,, OH 43123
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                  Brooke Pletcher
                  5081 Marian Dale st
                  Laffyette, IN 47905


                  Brooke Walker
                  112 Baker Circle
                  Maynardville, TN 37807


                  Brooklin Callahan
                  6068 Philpott Road
                  South Boston, VA 24592


                  brooks cathey
                  910 Quail Ridge Drive
                  Porter, IN 46304


                  Brooks Engineering
                  3949 Joslin Lane
                  Vacaville, CA 95688


                  Brooks Musselman
                  933 Martin McNeil Road
                  Salem, VA 24153


                  Brooks Parker
                  9338 Echo Hills
                  Alexandria, KY 41001


                  Broud O'Connell
                  449 Minard Run Rd
                  Bradford, PA 16701


                  Brrenda White
                  17290 Day Lily Dr
                  Ruther Glen, VA 22546


                  Bruce Allen
                  6934 Honnen Drive West
                  Indianapolis, IN 46256


                  Bruce Austin
                  1240 Roberts St
                  China Grove, NC 28023
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                  Bruce Baker
                  1053 South Lafayette Ave
                  Marshall, MO 65340


                  Bruce Barricklow
                  10829 Vandervoort Rd
                  Blanchester, OH 45107


                  Bruce Beers
                  1628 Colonial Ave
                  Smithfield, VA 23430


                  Bruce Bennett
                  3612 Dryden Rd
                  Metamora, MI 48455


                  Bruce Betrosoff
                  1779 Lucy Chapel Road
                  Danville, GA 31017


                  Bruce Blew
                  78 orchard hill road
                  Murphysboro, IL 62966


                  Bruce Bruce
                  8318 Rosedale Blvd
                  Allen Park, MI 48101


                  Bruce Burk
                  95 Daniel Road
                  Galena, MO 65656


                  Bruce Cameron
                  248 Payne Road
                  Winchester, VA 22603


                  Bruce Carter
                  4518 Missouri 224
                  Wellington, MO 64097


                  Bruce Clark
                  14961 Stansbury Ave
                  Detroit, MI 48227
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                  Bruce Cole
                  13260 Bohemian Rd
                  Lore City, OH 43755


                  Bruce Cole
                  137 Orchard Dr
                  Winchester, VA 22602


                  Bruce Crafts
                  334 E South St
                  Davison, MI 48423


                  Bruce Crandall
                  9500 Wade Road
                  Litchfield, MI 49252


                  Bruce Dobson
                  388 Cactus Ct
                  Shelbyville, KY 40065


                  Bruce Doig
                  9500 Lawrence Rd
                  Nashville, MI 49073


                  Bruce Dzielinski
                  50472 Timber Trail
                  Frisco, NC 27953


                  bruce elliott
                  858 N Fork Loop
                  Green Bank, WV 24944


                  Bruce Fealk
                  1474 Oakstone Drive
                  Rochester Hills, MI 48309


                  Bruce Foster
                  4203 Avery St
                  Detroit, MI 48208


                  Bruce Foxworthy
                  1945 Twin Sun Cir
                  Walled Lake, MI 48390
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                  Bruce Gray
                  5450 Barton Rd
                  Williamston, MI 48895


                  Bruce Greenwood
                  1448 Big Swamp Rd
                  Pamplico, SC 29583


                  Bruce Groseclose.
                  2721 Cranbrook Dr
                  Cincinnati, OH 45251


                  Bruce Hansen
                  6475 Benton Road
                  Charlotte, MI 48813


                  Bruce Hanson
                  11138 Schroeder Road
                  Saint Marys, OH 45885


                  Bruce Hatsko
                  528 Saunders Court
                  Bushkill, PA 18324


                  Bruce Hixon
                  2445 Mount Pleasant Road
                  Penfield, PA 15849


                  Bruce Hoeflich
                  18811 Zolman Road
                  Fredericktown, OH 43019


                  Bruce Hoyer
                  1149 Field St
                  Dudley, GA 31022


                  Bruce Humphrey
                  917 Rasmussen Dr
                  Sandston, VA 23150


                  Bruce Jordan
                  4962 County Road 55
                  Auburn, IN 46706
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                  Bruce Kemp
                  3832 Floyd Hwy N
                  Floyd, VA 24091


                  Bruce Kramer
                  279 Deer Park S
                  Capac, MI 48014


                  Bruce Lowrie
                  3285 Canterbury Drive
                  Bay City, MI 48706


                  Bruce MacDonald
                  2671 Dogwood Ridge Rd
                  Wheelersburg, OH 45694


                  Bruce Maddox
                  5 Holly Way
                  Newnan, GA 30263


                  Bruce Marenkewicz
                  3097 Morrish Road
                  Swartz Creek, MI 48473


                  Bruce Marihugh
                  207 Spring Street
                  Gypsum, KS 67448


                  Bruce Martin
                  1680 South Charleston Road
                  Jamestown, OH 45335


                  Bruce Mears
                  711 Tuckahoe Road
                  Atkinson, NC 28421


                  Bruce Newville
                  69 Poplar Dr
                  Pellston, MI 49769


                  Bruce Nunn
                  2359 US-58
                  BUFFALO JUNCTION, VA 24529
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                  Bruce Osborne
                  10235 Sharon Hollow Road
                  Manchester, MI 48158


                  Bruce Osnoe
                  4425 Greenfield Way Drive
                  Winston-Salem, NC 27103


                  Bruce Pinckney
                  4195 Woodland Road
                  Vine Grove, KY 40175


                  Bruce Puffenbarger
                  134 Deerwood Dr
                  Gum Spring, VA 23065


                  Bruce Richlik
                  69062 Blue School Rd
                  White Pigeon, MI 49099


                  Bruce Roberts
                  27125 Delos Rd
                  New Boston, MI 48164


                  Bruce Rohrbach
                  70 South Baldy Street
                  Kutztown, PA 19530


                  Bruce Rutland
                  1430 Ramsey Rd
                  Jacksonville, NC 28546


                  Bruce Schneider
                  1924 Broadway St
                  Springfield, OH 45504


                  Bruce Schroer
                  15274 County Rd 25A
                  Anna, OH 45302


                  Bruce Senn
                  512 South Schenley Avenue
                  Youngstown, OH 44509
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                  Bruce Sherry
                  284 West Theresia Road
                  Saint Marys, PA 15857


                  Bruce Sherry Panel Add
                  284 West Theresia Road
                  Saint Marys, PA 15857


                  Bruce Sinclair
                  77 Markham Ave
                  Battle Creek, MI 49037


                  Bruce Spengler
                  851 Buttonwood Ct
                  Marengo, IL 60152


                  Bruce Surotchak
                  428 East Elm Street
                  Tamaqua, PA 18252


                  Bruce Temple
                  5815 West Irving Road
                  Hastings, MI 49058


                  Bruce Templin
                  1232 Locust Street
                  Alcoa, TN 37701


                  bruce thomas
                  831 Charles Hawkins Drive
                  Gary, IN 46407


                  Bruce Tilton
                  17322 County Line Road
                  Andrews, SC 29510


                  Bruce Trimm
                  117 Cherokee View Drive
                  Tamassee, SC 29686


                  Bruce Turner
                  1088 Plymouth Brick Rd W
                  Ashtabula, OH 44004
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                  Bruce Wampler
                  215 East Sunny Slopes Drive
                  Bloomington, IN 47401


                  Bruce Wareing
                  375 Titanium Lane
                  Jackson, MO 63755


                  Bruce Waters
                  217 Rush St
                  Cadillac, MI 49601


                  Bruce Weber
                  554 Preserve Beach Dr
                  Harrisville, MI 48740


                  Bruce Whaley
                  1627 Cayuga Ct
                  Grove City, OH 43123


                  Bruce White
                  11726 Battle Creek Hwy
                  Bellevue, MI 49021


                  Bruce White
                  8227 North Carolina 268
                  Dobson, NC 27017


                  Bruce Wise
                  3595 Stone Quarry Rd
                  Waterford, PA 16441


                  Bryan Allen
                  13504 Taylor Dr
                  Disputanta, VA 23842


                  Bryan Bailey
                  2891 Tecumseh Dr
                  Benton Harbor, MI 49022


                  Bryan Beal
                  3236 Denson Place
                  Charlotte, NC 28215
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                  Bryan Byrd
                  34226 Dover Street
                  Livonia, MI 48150


                  Bryan Cargill
                  3543 Oak Road
                  Stow, OH 44224


                  Bryan Carter
                  862 Hamilton Ave
                  Wheelersburg, OH 45694


                  Bryan Chadwick
                  320 Junction Ct
                  Winder, GA 30680


                  Bryan Childers
                  21 Mapleleaf Ln
                  Belleville, IL 62223


                  Bryan Cox
                  3292 Apollo Road Southeast
                  Carrollton, OH 44615


                  Bryan Crain
                  406 Pennsylvania Ave
                  Westville, IL 61883


                  Bryan Crider
                  122 Royallbrook Lane
                  O'Fallon, MO 63368


                  Bryan DiGiacomo
                  8147 Atlee Rd
                  Mechanicsville, VA 23111


                  Bryan Duff
                  769 Newdale School Road
                  Timberville, VA 22853


                  Bryan Elkins
                  408 North Mechanic Street
                  Berrien Springs, MI 49103
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                  Bryan Erwin
                  15958 Ohio 93
                  Logan, OH 43138


                  Bryan Fossler
                  827 W Lincoln Ave
                  Ionia, MI 48846


                  Bryan Gardner
                  2525 Naples Dr
                  Schererville, IN 46375


                  Bryan Good
                  7167 Westview Road
                  Neosho, MO 64850


                  BRYAN HAMBRICK
                  15 South 30th Street
                  Lafayette, IN 47904


                  Bryan Harvey
                  301 Embrey Mill Rd.
                  Stafford, VA 22554


                  Bryan Hatcher
                  2 Hickory Ln
                  Logansport, IN 46947


                  Bryan Hohlt
                  2210 Oriole Drive
                  Florissant, MO 63033


                  Bryan Hopper
                  8540 Highway 22a
                  Lexington, TN 38351


                  Bryan Humbrecht
                  215 Partridge Lane
                  Mayfield, KY 42066


                  Bryan James
                  1720 South 350 East
                  Tipton, IN 46072
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                  Bryan Johnson
                  4252 Chandi Court
                  Ypsilanti, MI 48197


                  Bryan Kenipe
                  173 East Co Road 450 South
                  Hartford City, IN 47348


                  Bryan King
                  11 Kittle Farm Rd
                  Crawford, GA 30630


                  Bryan Larkins
                  21 Illona Dr
                  Cincinnati, OH 45218


                  Bryan Law
                  149 Davidson CT
                  Taylorsville, NC 28681


                  Bryan Lewis
                  4023 Meredith Woods Ln
                  Winston-Salem, NC 27107


                  Bryan Lucas
                  10329 Kentucky 261
                  Webster, KY 40176


                  Bryan Martinez
                  4982 Park Vale Drive
                  Sugar Hill, GA 30518


                  Bryan Martinez
                  1437 E Ocean View Ave
                  Norfolk, VA 23503


                  Bryan mcneil
                  2048 Cherry Ln
                  Chesapeake, VA 23323


                  Bryan Melcher
                  15201 Silverwood Road
                  Pemberville, OH 43450
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                  Bryan Melcher
                  15201 Silverwood
                  Pemberville, OH 43450


                  Bryan Michael
                  164 Green Point School Road
                  Jonestown, PA 17038


                  Bryan Minor
                  57 summit circle
                  Midway, GA 31320


                  Bryan Moore
                  1749 Congress Road
                  Belpre, OH 45714


                  Bryan Myerscough
                  2095 S John Hix Rd
                  Westland, MI 48186


                  Bryan Neal
                  112 Bridlewood Trail
                  Mills River, NC 28759


                  Bryan Niemiec
                  1515 Blair Street
                  Christiansburg, VA 24073


                  Bryan P Broderick
                  1400 West Adams Road
                  Pentwater, MI 49449


                  Bryan Parker
                  9090 Glaize Rd.
                  Harrod, OH 45850


                  Bryan Parrott
                  6061 McCrum Road
                  Jackson, MI 49201


                  Bryan Pennington
                  134 Cr-1283
                  Olive Hill, KY 41164
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                  Bryan Perez
                  3435 Virginia St
                  Columbus, IN 47203


                  Bryan Ramsey
                  30021 Fort Road
                  Rockwood, MI 48173


                  Bryan Sangster
                  7052 East Fork Road
                  High Point, NC 27265


                  Bryan Seckinger
                  5400 Pioneer Trail
                  Mantua, OH 44255


                  Bryan Sesler
                  3274 South Point Lane
                  Au Gres, MI 48703


                  Bryan Shadley
                  7703 Roxbury Court
                  Ypsilanti, MI 48197


                  Bryan Shields
                  5400 N. 925 W.
                  Yorktown, IN 47396


                  Bryan Shouse
                  5190 Sheffield Pl Dr
                  Kernersville, NC 27284


                  Bryan Smith
                  1914 Longburn Drive
                  Kernersville, NC 27284


                  Bryan Smith
                  458 Glover Hill Road
                  Jasper, TN 37347


                  Bryan Stump
                  1820 Hanley Road West
                  Mansfield, OH 44904
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                  Bryan Thompson
                  2584 Shula Drive
                  Hurt, VA 24563


                  Bryan VanDuinen
                  2705 Jennings Rd
                  Whitmore Lake, MI 48189


                  Bryan Waddingham
                  854 Grove Avenue
                  New Brighton, PA 15066


                  Bryan Wallace
                  64777 Maxwells Gate
                  Goshen, IN 46526


                  Bryan Wallen
                  204 Ashby Lane
                  Goldsboro, NC 27530


                  Bryan Walls
                  178 The Masters
                  Georgetown, KY 40324


                  Bryan Werth
                  9603 Elgin Moor Road
                  Charlotte, NC 28278


                  bryan zimmer
                  16342 8th Avenue
                  Marne, MI 49435


                  Bryana Bartolomei
                  5545 Linda Lane
                  Indianapolis, IN 46241


                  Bryanna Levacy
                  2333 Cox Rd
                  Crown City, OH 45623


                  Bryanna Stearns
                  3124 Lantern Way
                  Wilmington, NC 28409
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                  Bryant Wright
                  1050 Glenwood Blvd
                  Waynesboro, VA 22980


                  Bryce Chaffee
                  6912 Rice Hill Rd
                  Burbank, OH 44214


                  Bryce Foster
                  11501 Hoff Sub Rd manito il
                  Manito, IL 61546


                  Bryce Houdeshel
                  225 PA-292
                  Monroe, PA 18657


                  Bryce Richardt
                  358 S 180 E
                  Princeton, IN 47670


                  BRYCE WINFIELD
                  48 West Rainbow Way
                  Elizabethtown, KY 42701


                  Bryon Chandler
                  268 Elk Wallow Mountain Rd
                  Bakersville,, NC 28705


                  Bryon Frost
                  722 N Beaverdam Dr
                  Florence, SC 29501


                  Bryon Hearth
                  2128 P St
                  Bedford, IN 47421


                  Bryon Runkle
                  626 Boughtonville Road
                  Greenwich, OH 44837


                  Bryson Stallings
                  1945 Old Brick Road
                  Vanceboro, NC 28586
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                  Buck Parsons
                  271 NC-16
                  Wilkesboro, NC 28697


                  Buckeye Culligan
                  4040 Fondorf Dr
                  Colubus, OH 43228


                  Buddy Clayton
                  85 Ww Clayton Road
                  Roxboro, NC 27574


                  Buddy Coleman
                  6132 E Maple Ave
                  Grand Blanc, MI 48439


                  Buddy Epperson
                  125 Mill Street
                  Senecaville, OH 43780


                  buddy Pawlewicz
                  39 Mindy Lane
                  Albrightsville, PA 18210


                  Budget Dumpster, LLC
                  830 Canterbury Rd
                  Westlake, OH 44145


                  Buffy Peecher
                  1502 Woodside Hills Drive
                  St. Peters, MO 63376


                  Bugsy Sindac
                  1808 Bluestem Circle
                  Aurora, IL 60504


                  Buhl Insurance Agency, Inc
                  4204 East Ewalt Rd
                  Gibsonia, PA 15044


                  Buhl Insurance Agency, Inc
                  4204 East Ewalt Road
                  GIBSONIA, PA 15044
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                  Bui Wands
                  3036 Pleasant View Road
                  New Columbia, PA 17856


                  Bulo Carver
                  3921 Lawrence Trail
                  Graham,, NC 27253


                  Bunhap Hat
                  220 Lesley Dr
                  West Columbia, SC 29169


                  Bunn Box, Inc
                  3204 Lower Huntington Rd
                  Fort Wayne, IN 46809


                  Bunny Chappell
                  188 Still Creek Way
                  Mount Airy, NC 27030


                  Bunny Mckee
                  34466 Trinity Road
                  Oregon, MO 64473


                  bunse long
                  21286 Greenfield Pl
                  Strongsville,, OH 44149


                  burgess Grubbs
                  44 North Union Street
                  Battle Creek, MI 49017


                  Burney Mattice
                  15 Ducketts Grove Rd
                  Fletcher, NC 28732


                  Burt Durham
                  3320 South Crysler Avenue
                  Independence, MO 64052


                  Buster Keatley
                  9227 Wheaton Rd
                  Petersburg, VA 23805
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                  Butch Hunter
                  105 West Main Street
                  Tamaroa, IL 62888


                  Butch Saunders
                  1697 South Waynesville Road
                  Lebanon, OH 45036


                  Butch Wilson
                  5605 Racine Road
                  Randleman, NC 27317


                  Buzz Highfill
                  832 Kenosha Rd
                  Dayton, OH 45429


                  Bynum Hartman
                  7760 NC-65
                  Belews Creek, NC 27009


                  Byron Beerbower
                  8933 Timber Lane
                  Charlotte, MI 48813


                  Byron Causey
                  6217 Riegel Ridge Rd.
                  Oak Hill, OH 45656


                  byron coats
                  10529 Bryant Avenue
                  Cleveland, OH 44108


                  Byron Drew
                  5275 Swaffer Rd.
                  Millington, MI 48746


                  Byron King
                  4436 Holly Ave
                  St. Louis, MO 63115


                  Byron Pee
                  7487 Streamwood Dr
                  Ypsilanti, MI 48197
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                  Byron Porter
                  20108 Juniper Avenue
                  Lynwood, IL 60411


                  Byron Reid
                  1065 Wheeler Pond rd
                  Creedmoor, NC 27522


                  Byron Williams
                  3900 Deer Run Ct Boonville, IN 47601
                  Boonville, IN 47601


                  Byron Wright
                  3122 Bandy Rd
                  Roanoke, VA 24014


                  C. Kevin Mayfield
                  2117 W. Fleck Road
                  Six Lakes, MI 48886


                  C. Stanley Willis
                  5945 Hampton Corners North
                  Hilliard, OH 43026


                  C. Sue Warner
                  2328 South 7th Street
                  Springfield, IL 62703


                  C.J. Thacker
                  7348 East State Rd 64
                  Francisco, IN 47649


                  Cadel Womack
                  3312 Vesey Avenue
                  Fort Wayne, IN 46809


                  Caden Senette
                  7617 Timberdale Court
                  Columbus, GA 31909


                  Caesar Akuetey
                  238 Holton Street
                  Galesburg, IL 61401
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                  Caesh Properties
                  423 SOUTH 2ND
                  ST CHARLES, IL 60174


                  Caesh Properties LLC
                  423 South 2nd Street
                  St. Charles, IL 60174


                  Caitlin Browning
                  3663 W County Rd 950 S
                  Reelsville, IN 46171


                  Caitlin Brudnicki
                  7653 Cloverhill Court
                  West Chester Township, OH 45069


                  Caitlin Cieslak
                  6262 Smithfield Road
                  Wade, NC 28395


                  Caitlin Foster
                  347 Cherokee Drive
                  Moundsville, WV 26041


                  Caitlin Jenkins
                  58 Rutkosky Road
                  Prompton, PA 18456


                  Caitlin Kirby
                  20021 Parkside St
                  St. Clair Shores, MI 48080


                  Caitlin Lagergren
                  703 S West St
                  Jacksonville, IL 62650


                  Caitlin Logan
                  1064 High St
                  Williamsport, PA 17701


                  Caitlin Malley
                  225 S O Keefe st
                  Cassopolis, MI 49031
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                  Caitlin Moughler
                  820 Innkeepers Ct
                  Waterloo, IN 46793


                  Caitlin Naus
                  4159 suder rd
                  Toledo, OH 43611


                  Cal Baldwin
                  287 Red Root Ridge Rd
                  Raven, VA 24639


                  Cal Davis
                  2500 Windswept Way
                  Rockwell, NC 28138


                  CAL Hassberger
                  3758 MORGAN RD
                  LAKE ORION, MI 48359


                  Cal James
                  2116 Kipping Street
                  Johnson City, TN 37601


                  Cal Roth
                  510 Doubling Gap Road
                  Newville, PA 17241


                  Cale Munson
                  525 Ashery Dr
                  Schoolcraft, MI 49087


                  Caleb barnett
                  107 E Prairie St
                  Waverly, IL 62692


                  Caleb Borders
                  415 Oakridge Blvd
                  Lynchburg, VA 24502


                  Caleb Brown
                  8266 Virginia Byway
                  Bedford, VA 24523
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                  Caleb Champion
                  307 Blue Springs Blvd
                  Cadiz, KY 42211


                  Caleb Conklin
                  110 Gala Drive
                  Lynchburg, VA 24503


                  Caleb Embury
                  4410 Chicory Street
                  Burton, MI 48519


                  Caleb Helton
                  120 South Walnut Street
                  Harrison, OH 45030


                  Caleb Madden
                  43670 Bruffy Lane
                  Caldwell, OH 43724


                  Caleb Moore
                  8462 McClements Rd
                  Brighton, MI 48114


                  Caleb Purdy
                  18483 Negaunee
                  Redford Charter Twp, MI 48240


                  Caleb Rock
                  519 Stafford St
                  Lynchburg, VA 24501


                  Caleb Smith
                  221 Braden Ave
                  Monette, AR 72447


                  Caleb Sturm
                  29361 Mockingbird Hill Lane
                  La Plata, MO 63549


                  Caleb Turner
                  4126 Old Samburg Rd
                  Hornbeak, TN 38232
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                  Calixto Cabrera
                  1720 Innisfallen Avenue
                  Springfield, OH 45506


                  Calleen Cavender
                  10292 Waterloo-Munith Rd
                  Munith, MI 49259


                  CallMiner, Inc
                  200 West St
                  Waltham, MA 02451


                  Cally Rooks
                  22800 Kafir Rd
                  Oronogo, MO 64855


                  Calvert Compton
                  11350 Shannon Hill Rd.
                  Louisa, VA 23093


                  Calvin Bartlett
                  1040 Crestworth Crossing
                  Powder Springs, GA 30127


                  Calvin Brooks III
                  67 Cushing Street
                  Portsmouth, VA 23702


                  Calvin Davis
                  16265 Catalpa Dr
                  Hanover, VA 23069


                  Calvin Dech
                  459 Schleicher Ln
                  Lehighton, PA 18235


                  Calvin Drenth
                  11560 Co Rd 653
                  Gobles, MI 49055


                  Calvin Henderson
                  340 North Carolina 43
                  Warrenton, NC 27589
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                  Calvin Hudsonpillar
                  49 Village Grove Rd
                  Fredericksburg, VA 22406


                  Calvin King
                  3315 Bufkin Springfield Road
                  Mount Vernon, IN 47620


                  Calvin Lutz
                  8328 8 Mile Road
                  Kaleva, MI 49645


                  Calvin Mahan
                  6010 Stringer Road
                  Fruitport, MI 49415


                  Calvin McCoyle
                  394 Lytle Mountain Road
                  Marion, NC 28752


                  Calvin Mclaurin
                  223 Amity Avenue
                  Muskegon, MI 49442


                  Calvin McLouth
                  11171 Beecher Rd
                  Hudson, MI 49247


                  Calvin Mullen
                  1914 Huntington Boulevard
                  Grosse Pointe Woods, MI 48236


                  Calvin Nellum
                  19327 Appleton St
                  Detroit, MI 48219


                  Calvin Privette
                  1531 Turkey Foot Rd Va
                  Forest, VA 24551


                  Calvin Slentz
                  2218 Brookwood Rd
                  Lincolnton, NC 28092
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                  Calvin Smith
                  5733 Sandstone Drive
                  Wheatfield, IN 46392


                  Calvin Stump
                  2570 Doty Rd
                  Monroe, MI 48162


                  Calvin Taylor
                  10875 West Snyder Road
                  Westville, IN 46391


                  Calvin Wagoner
                  629 Garner Ave
                  East Liverpool, OH 43920


                  Calvin Williams
                  120 Debbie Dr
                  Clayton, NC 27527


                  Cambridge City Income Tax
                  828 Wheeling Ave.
                  Cambridge, OH 43725


                  Camden McCarty
                  910 McDowell Street
                  Xenia, OH 45385


                  Camelia Baldwin
                  26 Carlton Lane
                  Broadway, NC 27505


                  Camellia Perez
                  158 Motor Road
                  Winston-Salem, NC 27105


                  Cameron Asbell
                  39 Asbell Lane
                  Sunbury, NC 27979


                  Cameron Cobb
                  2230 Brown Rd
                  China Grove, NC 28023
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                  Cameron Lewis
                  12156 Odell Road
                  Linden, MI 48451


                  Cameron Marshall
                  1573 Millville Oxford Rd
                  Hamilton, OH 45013


                  Cameron McCorkle
                  2063 Airport Road
                  Suffolk, VA 23434


                  Cameron Michalak
                  6640 Cliffside Drive
                  Vermilion, OH 44089


                  Cameron Oathout
                  1104 18th St
                  Columbus, IN 47201


                  Cameron Reynolds
                  803 Niagara Carthage Road
                  Carthage, NC 28327


                  Cameron Tucker
                  1263 Wampum New Galilee Road
                  New Galilee, PA 16141


                  Cameron Waid
                  69 Maya Lane
                  Sugar Grove, OH 43155


                  Cameron Yeingst
                  4 Blythe Road
                  Charleroi, PA 15022


                  Camile Halliday
                  4575 Revere Dr
                  Virginia Beach, VA 23456


                  Camille Davis
                  3649 W Pawnee Dr
                  La Porte, IN 46350
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                  Camille Dodson
                  7157 Maxwell Rd.
                  Stedman, NC 28391


                  Camille Noden
                  6467 Diamond Glen Lane
                  Locust Grove, VA 22508


                  Camilly Guadalupe
                  5505 Waverly Lynn Ln
                  Charlotte, NC 28269


                  Camron McNabb
                  103 Roddy Ln,
                  Rocky Top, TN 37769


                  Camron Nellis
                  1402 Buckley Drive
                  Owosso, MI 48867


                  Canal Fulton City Income Tax
                  155 E. Market St.
                  Ste. C
                  Canal Fulton, OH 44614-1305


                  Candace Briley
                  20126 Cherry Grove Road North
                  Smithfield, VA 23430


                  Candace L Jent
                  09860 26th St
                  Gobles, MI 49055


                  Candace Neely
                  3706 Thornwood dr
                  Durham, NC 27703


                  Candace Peck
                  198 Canterbury Road
                  Canonsburg, PA 15317


                  Candace Smith
                  2016 Kansas Avenue
                  Flint, MI 48506
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                  Candelaria Mendoza
                  1665 W Meyer Ln
                  Greensburg, IN 47240


                  Candi Dong
                  590 Apple Street
                  Westerville, OH 43082


                  Candi Hann
                  725 stifflertown road
                  Cherry Tree, PA 15724


                  Candi Withrow
                  875 Harmons Creek Rd
                  Poca, WV 25159


                  Candice Broadie
                  8221 Escaflowne Avenue
                  Charlotte, NC 28216


                  Candice Copeland
                  1058 Township Line Rd
                  Poplar Bluff, MO 63901


                  Candice Sloan Clark
                  445 Stoney Point Rd
                  Cumberland, VA 23040


                  Candice Williams
                  210 North Russell Street
                  Coulterville, IL 62237


                  Candido BARRETO
                  2701 West River Road North
                  Elyria, OH 44035


                  Candiest Sackel
                  300 Bud Hardy Rd SE
                  Calhoun, GA 30701


                  Candis Sarver
                  228 Meadow Ln
                  Hastings, MI 49058
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                  Candis Whitley-Owens
                  311 Maryland Avenue
                  Hamilton, VA 20158


                  Candy Cooper
                  3513 Joslyn Rd
                  Orion Charter Township, MI 48359


                  Candy Edwards
                  596 North Napoleon Road
                  Lima, OH 45801


                  Candy Mitchell
                  14630 Hicks Road
                  Mount Sterling, OH 43143


                  Candy Rutledge
                  114 Rockbridge Dr
                  Huntsville, TX 77340


                  Candy STEHR
                  2113 Fonderwhite Road
                  Lebanon, PA 17042


                  Candyce Clanton
                  8105 Arcade St
                  Lorton, VA 22079


                  Canfield City Income Tax
                  104 Lisbon St.
                  Canfield, OH 44406-1416


                  Cap Cook
                  327 Church Street
                  Sheffield, PA 16347


                  Caprice Ali
                  4005 Harvest Reach Ln
                  Suffolk, VA 23434


                  Cara DeMayo
                  705 Stilmore Drive
                  Duncan, SC 29334
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                  Cara Evans
                  52 VANTREASE RD
                  BRUSH CREEK, TN 38547


                  Cara Marshall
                  266 Washington Street
                  Roanoke, IN 46783


                  Cardero Jefferson
                  5309 Rocky Mountain Ln
                  Hope Mills, NC 28348


                  carey Armstrong
                  3082 Red Oak Trail
                  Decatur, GA 30034


                  Carey Brentlinger
                  3116 Rushland Drive
                  Dayton, OH 45419


                  Carey Goodwin
                  17301 Monrovia Road
                  Orange, VA 22960


                  Carey Lewis
                  13048 Woodstock Rd
                  Glen Allen, VA 23059


                  Carey Royer
                  203 West Gilmore Road
                  Grove City, PA 16127


                  Cari Blevins
                  119 Connor Drive
                  Goodlettsville, TN 37072


                  Cari Burns
                  6350 Taft St
                  Merrillville, IN 46410


                  Carine Williams
                  78 Twp Rd 1526
                  Proctorville, OH 45669
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                  carissa schnell
                  6 Olde Stone Court
                  Oxford, OH 45056


                  Carl A Williams
                  1840 Rosalind Avenue
                  East Cleveland, OH 44112


                  Carl Begley
                  1071 E Applegate Rd
                  Sandusky, MI 48471


                  carl blanks
                  12095 Maidstone Ct
                  Florissant, MO 63033


                  Carl ciccone
                  2320 Partridge Ave
                  Scranton, PA 18508


                  Carl Collier
                  671 Ash St
                  Macon, GA 31201


                  Carl Collier
                  372 Great Meadow Road
                  Wheelersburg, OH 45694


                  Carl Copeland
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                  Aurora, IN 47001


                  Carl Cremeans
                  12 West George Street
                  Richwood, OH 43344


                  Carl Dalton
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                  Newport News, VA 23608


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                  3628 N 500 E Rolling Prairie
                  Rolling Prairie, IN 46371
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                  Carl Dureson
                  1018 Hillpoint Rd
                  Suffolk, VA 23434


                  Carl Eilo
                  1456 Hickory Tree Road
                  Bristol, TN 37620


                  Carl Farris
                  362 Hazelnut Road
                  Hillsville, VA 24343


                  Carl Finck
                  909 St Clair St
                  New Lexington, OH 43764


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                  Columbus, IN 47201


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                  Belle, MO 65013


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                  Roanoke, VA 24017


                  Carl Holden
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                  Warren, MI 48089


                  Carl Hunter
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                  Fayetteville, NC 28311


                  Carl Jacobs
                  5847 Hotchkiss Road
                  Lowell, MI 49331


                  Carl Johnson
                  248 Odin Road
                  Coudersport, PA 16915
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                  Carl Johnson
                  5342 Willow Spring Rd
                  Cave Spring, VA 24018


                  Carl Kaufmann
                  8913 Willow Trace Court
                  Apex, NC 27539


                  Carl Kaufmann
                  8913 Willow Trace Ct
                  Apex, NC 27539


                  Carl KENNEDY
                  11201 TERRY LN
                  PICKERINGTON, OH 43147


                  Carl Kern
                  60906 Ridgepoint Court
                  Elkhart, IN 46517


                  Carl Kline
                  8 Country Court
                  Stafford, VA 22554


                  Carl Kludy
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                  Lansing, MI 48917


                  Carl Linkenhoker
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                  Covington, VA 24426


                  Carl Loesing
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                  New Franklin, MO 65274


                  Carl Luongo
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                  Cincinnati, OH 45213


                  Carl Maurer
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                  Carl May
                  1442 Sunset Way Blvd
                  Kent, OH 44240


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                  Virginia Beach, VA 23452


                  Carl Miller
                  8861 Kistler Valley Road
                  Kempton, PA 19529


                  Carl Milnickel
                  3254 Georgetown Verona Rd
                  Lewisburg, OH 45338


                  Carl Neal
                  25483 d drive south
                  Homer, MI 49245


                  Carl Newcombe
                  1064 Julius Keller Road,
                  Strasburg, VA 22657


                  Carl Nichols
                  1479 Poga Rd,
                  Butler, TN 37640


                  Carl Paden
                  19657 Bockman Hollow Road
                  Saegertown, PA 16433


                  Carl Raysin
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                  Flint, MI 48507


                  Carl Riley
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                  Warsaw, KY 41095


                  Carl Robinson
                  2701 Carters Grove
                  O'Fallon, MO 63368
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                  Carl Rosman
                  501 Hillshire Way
                  Virginia Beach, VA 23454


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                  new castle, VA 24127


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                  Carl Scott
                  4774 Jonesboro Rd
                  Midland, OH 45148


                  Carl Shultz
                  1295 Dennison Road
                  South Webster, OH 45682


                  Carl Sonnier
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                  Katy, TX 77450


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                  Sparta, TN 38583


                  Carl Steinhart
                  1096 Chestnut Road
                  Nathalie, VA 24577


                  Carl Swan
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                  Va Beach, VA 23457


                  Carl Van Vliet
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                  Adrian, MO 64720


                  Carl Wheeler
                  43812 Robson Road
                  Belleville, MI 48111
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                  carl winston
                  1215 Moseley Drive
                  Lynchburg, VA 24502


                  Carla Abbington
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                  Saint Charles, MO 63301


                  Carla Baskin
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                  Carla Chaudoin
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                  St. Clair Shores, MI 48082


                  Carla Harrell
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                  Carla King
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                  Amherst, OH 44001


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                  Cloverdale, IN 46120


                  Carla Martin
                  9609 Juniper Knoll
                  San Antonio, TX 78254


                  Carla McConnell
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                  Indianapolis, IN 46236


                  Carla Ogungbayi
                  20365 Heritage Rd
                  Saint Robert, MO 65584
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                  Carla Rogers
                  10573 Singer Lake Rd
                  Baroda, MI 49101


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                  Athens, OH 45701


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                  Carla Silver
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                  Carla Stamps
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                  Carlos Acevedo
                  322 Gurley Road
                  Marion, NC 28752
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                  Carlos Acosta
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                  Frankfort, IN 46041


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                  Lorain, OH 44055


                  Carlos Bergman
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                  Carlos Blackshire
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                  Farmington Hills, MI 48336


                  Carlos Cachay
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                  Carlos Calzadilla
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                  Toledo, OH 43605


                  Carlos Carlos
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                  South Boston, VA 24592


                  Carlos Chavez
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                  Durham, NC 27704


                  Carlos Chevez
                  2536 Mid Salem Dr
                  Winston-Salem, NC 27103


                  Carlos Colon
                  780 Gregorville Rd
                  Wayland, MI 49348
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                  Carlos Colon-Velez
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                  Taylorsville, GA 30178


                  Carlos Cubas
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                  East Stroudsburg, PA 18301


                  Carlos Duncan
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                  Amelia, OH 45102


                  Carlos Eduardo Lara Salazar
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                  Stafford,, VA 22554


                  Carlos Elegado
                  5776 Tommy Tanner Lane
                  Ravenel, SC 29470


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                  104 Bob White Trail
                  Oak Grove, KY 42262


                  Carlos Ferrer
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                  Harrisburg, PA 17112


                  Carlos Flores
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                  Amissville, VA 20106


                  Carlos Garduno
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                  Cicero, IL 60804


                  Carlos Gilmore
                  2121 Maffett Street
                  Muskegon Heights, MI 49444
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                  Carlos Griffin
                  635 Main Street
                  McKees Rocks, PA 15136


                  Carlos Hutchinson
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                  Middle Valley, TN 37343


                  Carlos Landrum
                  13570 Cooks Mill Rd
                  Lanexa, VA 23089


                  Carlos Lugo
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                  Carlos Moreno
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                  Woodbridge, VA 22192


                  Carlos Ortiz
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                  Spotsylvania Courthouse, VA 22551


                  Carlos Palma
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                  Carlos Ramirez
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                  Lebanon, PA 17046


                  Carlos Rodriguez
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                  Redford Charter Twp, MI 48239
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                  Carlos Rodriguez
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                  Yorktown, VA 23692


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                  Carlos Shumake
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                  Carlos Vale
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                  Carlos Vicenty
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                  Pontiac, MI 48341


                  Carlotta Scrogges
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                  Carlson Vaughn
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                  Wallace, NC 28466


                  Carlton Drummond
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                  Chester, VA 23831
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                  Carlton Howard
                  80 West Drive
                  Clarksville, TN 37040


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                  Boalsburg, PA 16827


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                  Coldwater, MI 49036


                  Carlton Simmers
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                  Grottoes, VA 24441


                  Carlton Smotherman
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                  Carlton Tanner
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                  Columbus, OH 43231


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                  4817 Hardison Rd
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                  Carmel View Investment Advisors LLC
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                  CHARLOTTE, NC 28226


                  Carmela Bellardine
                  6626 Fairview Church Rd
                  Trinity, NC 27370


                  Carmelitta DeGraffinreed
                  4908 Marathon Ln
                  Raleigh, NC 27616


                  Carmella Murphy
                  234 Mohican trail
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                  Carmelo Montes
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                  23202 S Brookside
                  Dearborn Heights, MI 48125


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                  Carmen Felton
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                  Raleigh, NC 27615


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                  Carmen Swartz
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                  Senecaville, OH 43780


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                  7135 Balfour Ave
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                  Carmen Wittmer
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                  Carmencita Samples
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                  Carmin Ruckman
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                  Carmine Lenzi
                  206 Manbeck Road
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                  Carmita colby
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                  Carnell Campbell
                  101 Crestview Drive
                  Dunn, NC 28334


                  Carol /Amanda Stanley
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                  Taylorsville, NC 28681


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                  La Rue, OH 43332


                  Carol Adray
                  705 Oak Knoll Dr
                  Perrysburg, OH 43551
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                  Carol Austin
                  912 Ivey Church Rd
                  Maiden, NC 28650


                  Carol Barnes
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                  Pearland, TX 77584


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                  East Lansing, MI 48823


                  Carol Brady
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                  Franklin, VA 23851


                  Carol Brisbon
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                  Rembert, SC 29128


                  Carol Chambers
                  623 Mundy Town Road
                  North Tazwell, VA 24630


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                  Southport, NC 28461


                  Carol Connelly
                  250 North Hills Drive
                  Albemarle, NC 28461


                  CAROL CONNOR
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                  Carol Conrad
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                  Lebanon, OH 45036


                  Carol Corbiere
                  1791 Norwest Tack
                  Crystal, MI 48818
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                  Carol Cornish
                  825 Murray Street
                  Christiansburg, VA 24073


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                  Lakemont, GA 30552


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                  Carol DeGraw
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                  Carol Donnelly
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                  Ida, MI 48140


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                  Mt Gilead, OH 43338


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                  Lawrence,, MI 49064


                  Carol Finkelstine
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                  Saline, MI 48176


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                  Butler, PA 16002


                  Carol Halmasy
                  211 7th Street Northeast
                  North Canton, OH 44720
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                  Carol Hilburt
                  1064 Neil Ave
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                  Carol Holt
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                  Export, PA 15632


                  Carol Hoppus
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                  Columbus, IN 47201


                  Carol Howard
                  198 Sartwell Creek Road
                  Port Allegany, PA 16743


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                  Carol Lanford
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                  Hawley, PA 18428


                  Carol Lucht
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                  Kingsley, MI 49649
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                  Carol Luebbers
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                  186 Gilreath Trail
                  Bremen, GA 30110
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                  Clayton, NC 27527


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                  Carol Wolfinger
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                  Carol Wray
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                  Carola Meuer
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                  Carolann Broekhuizen
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                  Carole Carter
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                  Callaway, VA 24067


                  Carole Clare
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                  Carole Mcintosh
                  171 North Knapp Road
                  Bloomington, IN 47404
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                  Caroline Christner
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                  Caroline Gonzales
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                  Caroline Mills
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                  Caroline Reynolds
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                  Java, VA 24565


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                  Carolyn Bain
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                  Warsaw, VA 22572


                  Carolyn Baker
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                  Vandergrift, PA 15690


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                  Carolyn Clayton
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                  Carolyn Counts
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                  Carolyn Davis
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                  Long Island, VA 24569
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                  Carolyn Faus
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                  Carolyn Frederick
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                  Merom, IN 47861


                  Carolyn Gilliom
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                  Carolyn James
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                  Carolyn Kitchens
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                  Deepwater, MO 64740


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                  Carolyn McCullough
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                  Cedartown, GA 30125


                  Carolyn McMaine
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                  Paint Lick, KY 40461


                  Carolyn Mikeska
                  4020 Hatchett Road
                  Penhook, VA 24137


                  Carolyn Mount
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                  Carolyn Mueller
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                  Carolyn Muse
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                  Flint, MI 48506


                  Carolyn Siciliano
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                  Matthews, NC 28105


                  Carolyn Slusher
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                  Britton, MI 49229


                  Carolyn Snowdin
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                  Montague, MI 49437


                  Carolyn Southern
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                  Dublin, VA 24084


                  Carolyn Tobin
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                  Cincinnati, OH 45242


                  Carolyn Truelove
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                  Carolyn Wagner
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                  Carolyn Watson
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                  Dearborn, MI 48124


                  Carolyn Williams
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                  Canton,, OH 44705
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                  Wytheville, VA 24382


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                  Carrey Nitzscki
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                  Sunbright, TN 37872


                  Carrie Blain
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                  Carrie Bradds
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                  Climax, NC 27233


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                  Novelty, OH 44072


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                  Southgate, MI 48195


                  Carrie Hendricks
                  21031 US-224
                  Fort Jennings, OH 45844


                  Carrie Howry
                  8720 Sadie Thomas Rd NW
                  Johnstown, OH 43031


                  Carrie Kirkpatrick
                  2758 East Cleveland Road
                  Ashley, MI 48806


                  Carrie Laorenza
                  10131 Mount Hope Rd
                  Munith, MI 49259


                  Carrie Lee
                  60 Twiggs Ferry Rd
                  Dutton, VA 23050


                  Carrie McColl
                  10025 Nebo Rd
                  Nebo, KY 42441


                  Carrie Obriecht
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                  STERLING HEIGHT, MI 48312


                  Carrie Parker
                  609 Virginia Avenue Extension
                  Pittsburgh, PA 15215


                  Carrie Pate
                  1612 Cameron Dr
                  Wake Forest, NC 27587
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                  Carrie Powell
                  105 Cardinal Rd
                  Louisa, VA 23093


                  Carrie Smith
                  1308 Martinique Dr
                  Augusta, GA 30909


                  Carrie Stallings
                  3733 Gilroy Road
                  Columbus, OH 43227


                  Carrie Vandyk
                  324 S Hamilton Street
                  Lawton, MI 49065


                  Carroll Jackson
                  203 Robin Lake Drive
                  Brogden, NC 28333


                  Carroll Owen
                  648 Providence Church Rd
                  Henry, VA 24102


                  Carry DeGroot
                  11390 Davis Road
                  Middleville, MI 49333


                  Carson Zile
                  4908 E Co Rd 200 S
                  Middletown, IN 47356


                  Carsten Boesmann
                  4417 Archer Road
                  Cleveland, OH 44105


                  Carter Bishop
                  315 Judd Road
                  Milan, MI 48160


                  Carter Samples
                  123 East Carter Mill Road
                  Elkin, NC 28621
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                  Cary Conyers
                  4040 Palos Verdes Ct
                  Dayton, OH 45426


                  Cary Gorsline
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                  Morristown, IN 46161


                  Cary Hancock
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                  Katy, TX 77450


                  Cary Ichter
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                  Atlanta, GA 30327


                  Cary Matthews
                  4801 Westborough Drive
                  Champaign, IL 61822


                  Cary Theis
                  4683 OH-100
                  Tiffin, OH 44883


                  Caryl Hoelscher
                  9800 Pleasant Plain Road
                  Brookville, OH 45309


                  Caryl Polisson
                  1893 East 950 North
                  Wheatfield, IN 46392


                  Caryn Welter
                  5970 Horstmeyer Rd
                  Lansing, MI 48911


                  Casey Altizer
                  1925 Cox Rd
                  Ridgeway, VA 24148


                  Casey Croll
                  9370 Westchester Drive
                  Laingsburg, MI 48848
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                  Casey Hammons
                  243 State Street
                  Gann, OH 43006


                  Casey Hunt
                  4150 Nickleplate Rd
                  Ionia, MI 48846


                  Casey Jahn
                  1962 Old Shore Road
                  Harbor Beach, MI 48441


                  Casey Jones
                  2525 Jules Street
                  Saint Joseph, MO 64501


                  Casey Jones
                  527 Ross rd se
                  Lancaster, OH 43103


                  Casey Kauffman
                  9674 OH-726
                  Eldorado, OH 45321


                  Casey Kimbrough
                  14115 Northridge Drive
                  Charlotte, NC 28269


                  casey king
                  3003 Contessa Lane
                  Erie, PA 16506


                  Casey Londo
                  11754 Missouri 77
                  Chaffee, MO 63740


                  Casey Maberry
                  10953 Rt Kk
                  Braymer, MO 64624


                  Casey McIntosh
                  8831 Grimsley Rd
                  Leesburg, OH 45135
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                  Casey Peterson
                  4424 Cottage Road
                  Blackstone, VA 23824


                  Casey Phelps
                  257 Old Mill Rd
                  Springfield, OH 45506


                  Casey Pope
                  4331 Minges Road South
                  Battle Creek, MI 49015


                  Casey Robinson
                  804 Canton Ct
                  Greer, SC 29651


                  Casey Schmader
                  2692 Pine Hollow Drive
                  Tionesta, PA 16353


                  Casey Steinbrecher
                  205 Weavers Road
                  Harrisonburg, VA 22802


                  Casey Swakon
                  12085 Pond View Court
                  Culpeper, VA 22701


                  Casey Thurman
                  3482 Rosener Road
                  Park Hills, MO 63601


                  Casey Wagner
                  1123 Grahams Lookout
                  Ionia, MI 48846


                  Casey Walker
                  37897 County Road 390
                  Gobles, MI 49055


                  Casey Waller
                  551 W Chicago St
                  Coldwater, MI 49036
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                  Casey Wheeler
                  3063 Oakwood Dr
                  Clio, MI 48420


                  Casey Williams
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                  Greenville, SC 29609


                  Casey Young
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                  Cassandra Amicarelli
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                  Galien, MI 49113


                  Cassandra DeJaynes
                  2751 n county road 3000
                  Laharpe, IL 61450


                  Cassandra Golden
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                  Roseville, MI 48066


                  Cassandra Hyde
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                  Greencastle, IN 46135


                  Cassandra Lord
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                  Cassandra McDaniel
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                  Cassandra Pierce
                  2010 Colorado Ave
                  Portsmouth, VA 23701


                  Cassandra Rowe
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                  Durham, NC 27705


                  Cassandra Sanchez
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                  Cleveland, OH 44111


                  Cassandra Weisel
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                  Ravenna, OH 44266


                  Cassi Barnes
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                  Gobles, MI 49055


                  Cassidy Spring
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                  Byron, MI 48418


                  Cassie/ Ronald Smith
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                  Mill Hall, PA 17751


                  Cassondra Clark
                  1705 Allensville Road
                  Roxboro, NC 27574
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                  Hillsdale, MI 49242


                  Catherine (Kitty) & Bradley Lohrum



                  Catherine (Wife) Ravitch
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                  Benton Harbor, MI 49022


                  Catherine Bentley
                  2522 Sweet Clover Ct
                  Dumfries, VA 22026


                  Catherine Brenckle
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                  Rochester, PA 15059


                  Catherine Brown
                  9389 Ashlock Ct
                  Toano, VA 23168


                  Catherine Chaney
                  4270 Hidden Meadow Cir
                  Sugar Hill, GA 30518


                  Catherine Compton
                  110 Knotting Hill Dr
                  Springville, IN 47462
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                  Catherine Cotta
                  304 Riverstone Dr
                  Clayton, NC 27527


                  Catherine Di Eugenio
                  3334 Oliver Hills Rd
                  Greensboro, NC 27406


                  Catherine Dinco
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                  Taylor, MI 48180


                  Catherine Dinda
                  2978 West 20th Avenue
                  Gary, IN 46404


                  Catherine Dowling
                  501 Valley View West Road
                  San Marcos, TX 78666


                  Catherine Epolito
                  7801 Dominick Drive
                  Irwin, PA 15642


                  Catherine Evans
                  9061 Grand Blanc Road
                  Gaines, MI 48436


                  Catherine Evans
                  17358 Sarah lane
                  King George, VA 22485


                  Catherine Flaherty
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                  Goldsboro, NC 27534


                  Catherine Flynn
                  12855 Big Lake Rd
                  Davisburg, MI 48350


                  Catherine Gaudreau
                  506 Ashwood Terrace
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                  Catherine Gay
                  1015 Grassland Court
                  Tobaccoville, NC 27050


                  Catherine Hicks
                  4555 Diehl Rd
                  Metamora, MI 48455


                  Catherine Lonas
                  12690 Avon Belden Rd
                  Grafton, OH 44044


                  Catherine Lyman
                  5345 Old Greensboro Road
                  Randleman, NC 27317


                  Catherine Massey
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                  West Jefferson, NC 28694


                  Catherine Melver
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                  Akron, OH 44321


                  Catherine Pellegrini
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                  Catherine Perry
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                  Franklinton, NC 27525


                  Catherine Pierce
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                  Catherine Schlang
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                  Ringgold, GA 30736


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                  Catherine Wightman
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                  Cathie Allington
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                  Cathie Heisley
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                  Brunswick, OH 44212


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                  Cathy Bone
                  7368 Highway DD
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                  Cathy Braner
                  1718 Woodlawn St.
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                  valley city, OH 44280


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                  Cathy Dennison
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                  Logan,, OH 43138


                  Cathy Durrette-Virden
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                  Cathy Enoch
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                  Cathy Farthing
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                  Cathy Gross
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                  Broadway, VA 22815


                  Cathy Heilig Jimpkoski
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                  Kinde, MI 48445


                  Cathy Hewitt
                  153 Harris Holly Springs Road
                  Rutherfordton, NC 28139
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                  Cathy Hickman
                  123 S Park Ln
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                  Cathy Kay
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                  Amherst, VA 24521


                  Cathy Klimovitz
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                  Hesperia, MI 49421


                  Cathy Kline
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                  Cathy Koehn
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                  Cathy L Jones
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                  Salisbury, NC 28146


                  Cathy Marcinko
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                  Brevard, NC 28712


                  Cathy McGee
                  10501 Washam Potts Rd
                  Cornelius, NC 28031


                  Cathy McLamb
                  12859 Raleigh Rd
                  Benson,, NC 27504


                  Cathy Mounts
                  19286 Township Road 67B
                  Coshocton, OH 43812


                  Cathy Pelt
                  2877 Sharpie Drive
                  Clarksville, TN 37040
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                  Cathy Pilati
                  10901 Lippincott Road
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                  803 Wales Dr
                  Highland Springs, VA 23075


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                  705 E Main St
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                  Muskegon, MI 49445


                  Cathy Reineck
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                  Defiance, OH 43512


                  Cathy Rogers
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                  Manchester, GA 31816


                  Cathy Scher
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                  Pikeville, NC 27863


                  Cathy Short
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                  Nathalie, VA 24577


                  Cathy Slater
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                  Roanoke, IN 46783


                  Cathy Steiner
                  1163 West Barnes Road
                  Leslie, MI 49251


                  Cathy Wagner
                  3625 Borgess Dr
                  Kalamazoo, MI 49048
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                  Cathy Whitby
                  557 Salster Road
                  Fleming, OH 45729


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                  351 Twin Lakes Blvd W
                  West Columbia, TX 77486


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                  Catrina Gann
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                  Catrina Smith
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                  CCA - Division of Taxation
                  PO BOX 94810
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                  CCAP Auto Lease LTD DBA Chrysler Capital
                  1601 Elm Street, Suite 800
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                  Ceanna Fahnestock
                  262 South St
                  Waymart, PA 18472


                  Ceasar Ramirez
                  13685 Erwin Road
                  Copemish, MI 49625


                  Cecelia Ratcliff
                  1921 Grange Road
                  Trenton, MI 48183
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                  Cecil Black
                  5339 Old State Route 68
                  Ripley, OH 45167


                  Cecil Blake
                  19 Gainey Road
                  Dunn, NC 28334


                  Cecil Buchanan
                  321 Rock Ridge Road
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                  1225 Birch Avenue
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                  New Market, VA 23237


                  Cecil English
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                  307 Reading Avenue
                  Jonesville, MI 49250


                  Cecil Magnus
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                  Cecil McFearin
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                  Jefferson, GA 30549


                  Cecil Morris
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                  Cecil Pogue
                  302 Cedar Street
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                  cecile mukakizima
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                  6495 Sterling Road
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                  Cecilia Gilson
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                  Cedira Kennedy
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                  Cedric Allen
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                  Copper Hill, VA 24079


                  Cedric Allmond
                  1010 Breezeway Court
                  Asheboro, NC 27203
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                  Cedric Carter
                  6 Featherglen Court
                  Durham, NC 27703


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                  Celeste Cypher' Faust
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                  Butler, PA 16002


                  Celeste Feingold
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                  Celeste Kenst
                  5842 Dewey Rd
                  Madison, OH 44057


                  Celeste Santiago
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                  Celestial Stoddard
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                  Dunn, NC 28334


                  Celia Coble
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                  Celina City Income Tax
                  P.O. Box 117
                  Celina, OH 45822-0117


                  Cemerite Fleurival
                  1142 Smith Road
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                  Cesar De Luna
                  1784 West Northgate Drive
                  Columbus, IN 47201
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                  Cesar Flores
                  475 Quail Run Drive
                  Elkton, VA 22827


                  Cesar Ruiz
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                  Walhalla, SC 29691


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                  Troy, MI 48083


                  Chad Burch
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                  Cypress, TX 77429


                  Chad Calloway
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                  5843 Two Ford Road
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                  Chad Cunningham
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                  Flint, MI 48532


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                  Chad Lackey
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                  Statesville, NC 28677
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                  Chad Ludwig
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                  Chad MacDowell
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                  Chad Marlowe
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                  Haw River, NC 27258


                  Chad Mead
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                  Clinton, MI 48038


                  Chad Mersino
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                  St Joseph, MI 49085


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                  N Baltimore, OH 45872


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                  Wooster, OH 44691
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                  154 Jim Hollow Rd
                  cumberland township, PA 15320


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                  Stoutsville, OH 43154


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                  Battle Creek, MI 49017


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                  Chad Way
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                  Chad Weiler
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                  1012 Agnew Road
                  Starr, SC 29684
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                  Chameron Colley
                  35 cook ln
                  Stockbridge, GA 30281


                  Chana Franklin
                  506 Hanson Ave
                  Fredericksburg, VA 22401


                  Chance Bechman
                  8023 WEST STATE RD. 250
                  Madison, IN 47250


                  Chance Rollins
                  7783 Mews Road
                  Terre Haute, IN 47802


                  Chanda Mckinney-Slaughter
                  19501 McIntyre St
                  Detroit, MI 48219


                  Chandra Green
                  1482 Rankin Mill Road
                  Greensboro, NC 27405


                  Chandra Shrestha
                  2547 Glen Eagle Dr
                  Bay City, MI 48706


                  Chandra White
                  1706 East Lewellen Road
                  Salem, IN 47167


                  Chandra Wilkemeyer
                  5053 Silver Stone Lane
                  Rixeyzille, VA 22737


                  Chang Gong
                  167 main street
                  Delaware Water gap, PA 18360


                  Chanika Crowder
                  857 Satinwood Ct
                  Fayetteville, NC 28312
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                  Channing W Quinn
                  1919 Maple Tree Drive
                  St. Peters, MO 63376


                  Chans Smith
                  5750 Weston Rd
                  Allen, MI 49227


                  Chantel Davis
                  2359 Dawes Pl
                  Overland, MO 63114


                  Chantel Spencer
                  129 Christy Drive
                  Beulaville, NC 28518


                  Chantel Spess
                  129 Pine Rd
                  New Bethlehem, PA 16242


                  Chantsaphing Thao
                  712 North Ave
                  Winder, GA 30680


                  Chapman & Cole, Inc.
                  PO Box 42262
                  HOUSTON, TX 02262


                  Chapman Family Partnership Seven, LTD
                  PO Box 42262
                  Houston, TX 77242-2262


                  Chappel Derek
                  48 Jade Lane
                  Seaman, OH 45679


                  Chappell Group, LLC
                  250 Kyland Cove Ave
                  Las Vegas, NV 89123


                  Chari Crawford
                  1028 Streetman Street
                  Erie, MI 48133
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                  Chari Rayner
                  7474 Briarcliff Pkwy
                  Middleburg Heights, OH 44130


                  Charise Price
                  208 East Halsey Street
                  Republic, MO 65738


                  Charity Blanton
                  3715 Belle Glade Trail
                  Snellville, GA 30039


                  Charity Bracy (duplicate)
                  106 Main Street
                  Benton Ridge, OH 45816


                  Charity Duncan
                  3528 Rapidan Hills Dr
                  Locust Grove, VA 22508


                  Charlene Bridger
                  3881 Cito Road
                  McConnellsburg, PA 17233


                  Charlene Calhoun
                  30 Hillsboro Road
                  Clarksville, TN 37042


                  CHARLENE CORNWELL
                  9549 Crawford Road
                  Columbus, MI 48063


                  charlene ditslear
                  2058 W Township Rd 98
                  New Riegal, OH 44883


                  Charlene Edmund
                  10906 Kingsford Summit Court
                  Richmond, TX 77406


                  Charlene Jordan
                  620 7th Street,
                  Radford, VA 24141
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                  Charlene Link
                  14280 102 Road
                  Hoyt, KS 66440


                  Charlene Maddox
                  3083 Pisgah Drive
                  Canton, NC 28716


                  Charlene Rinell
                  1715 Lakewood Falls Road
                  Goldston, NC 27252


                  Charlene Rogers
                  1158 Poplar Valley Road East
                  Stroudsburg, PA 18360


                  Charlene Shephard
                  756 North Sharon Drive
                  Woodstock, IL 60098


                  Charles "Chuck" Fritzley
                  179 Love Road
                  Valencia, PA 16059


                  Charles (Tucker) Battle
                  300 Idlewood Avenue
                  Portsmouth, VA 23704


                  Charles A Sledge Jr
                  3706 Bonmark Dr
                  Richmond, VA 23234


                  Charles A Tidwell
                  2005 Shell Road
                  Hampton, VA 23661


                  Charles Agerton
                  606 Dean St
                  Wilsonville, IL 62093


                  Charles Albert
                  20271 Passing Rd
                  Milford, VA 22514
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                  Charles Alston
                  2223 Owls Nest Trail
                  Greensboro, NC 27405


                  Charles Ammons
                  104 Pickett Place
                  Yorktown, VA 23693


                  Charles Appleby
                  155 Gatewood Cir
                  Athens, GA 30607


                  Charles Axford
                  19054 Vermont St
                  Grafton, OH 44044


                  Charles Ayers
                  3000 Heard Rd. N.
                  Elm City, NC 27896


                  Charles Bailie
                  23 Mary Avenue
                  Oakford, IL 62673


                  Charles Baker
                  3042 Old Airport Road
                  White Pine, TN 37890


                  Charles Banks
                  3017 Bentley Drive
                  Columbus, GA 31829


                  Charles Barnes
                  8624 E. Main Street
                  Galesburg, MI 49053


                  Charles Baum
                  3266 New Hanover Square Road
                  Gilbertsville, PA 19525


                  Charles Beam
                  1823 Union Street
                  Port Huron, MI 48060
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                  Charles Beard
                  950 Ohio 588
                  Gallipolis, OH 45631


                  Charles Beckett
                  734 Lebanon Rd
                  Clarksville, OH 45113


                  Charles Berry
                  258 Anneswood Road
                  Augusta, GA 30907


                  Charles Bloom III
                  215 Cross Creek Road
                  Lock Haven, PA 17745


                  Charles Bouk
                  13904 Edgecomb Ct
                  Centreville, VA 20120


                  Charles Bowen
                  5151 Garnet Hill Drive
                  Clemmons, NC 27012


                  Charles Brandt
                  123 Bryan Rd
                  Knotts Island, NC 27950


                  Charles Brasie
                  1905 Forest Valley Rd
                  Greensboro, NC 27410


                  Charles Bristol
                  3324 W Hansen Rd
                  Ludington, MI 49431


                  Charles Brown
                  5223 Morning Cir
                  Hilliard, OH 43026


                  Charles Bryant
                  345 Daugherty St
                  Columbus, IN 47201
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                  Charles Buchleiter
                  789 Golf View Ln
                  Dayton, TN 37321


                  CHARLES BURNS
                  5509 Sandy Run
                  Knightdale, NC 27545


                  Charles Busch
                  1213 Glenview Rd
                  Toledo,, OH 43614


                  Charles Cahoon
                  1573 Eagleton Ln
                  Virginia Beach, VA 23455


                  Charles Caldwell
                  1521 Acme Road
                  Marshville, NC 28103


                  Charles Carmean
                  118 Rutledge St
                  China Grove, NC 28023


                  Charles Carpenter
                  8425 Heartwood Dr
                  Newport, MI 48166


                  Charles Carrell
                  697 East Hunt Road
                  Alcoa, TN 37701


                  Charles Carroll
                  60 Baker Tabor Rd
                  London, KY 40741


                  Charles Carroll
                  4885 Carpenter Road
                  National City, MI 48748


                  Charles Cassavoy
                  4155 North Neff Road
                  Edmore, MI 48829
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                  Charles Causey
                  3641 Voigt Road
                  Evansville, IN 47725


                  charles Chaboude
                  18048 Laurel Road
                  Connersville, IN 47331


                  Charles Clark
                  160 Makers Way
                  Dawsonville, GA 30534


                  Charles Clark
                  28009 Liberty Dr
                  Warren, MI 48092


                  Charles Clark
                  1274 Cherry Fork Rd
                  Helenwood, TN 37755


                  Charles Clifton
                  8157 Camellia Road
                  Norfolk, VA 23518


                  Charles Coffin
                  818 Richmond Circle
                  Peachtree City, GA 30269


                  Charles Coggins
                  1745 Deer Run Rd
                  Ridgeway, SC 29130


                  Charles Coleman
                  5 Gardenhill Drive
                  Columbia, SC 29229


                  Charles Colligan
                  2810 East McMillan Road
                  Muskegon, MI 49445


                  Charles Combs
                  981 Indianwood Rd
                  Lake Orion, MI 48362
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                  Charles Conger
                  845 Shiloh Church Road
                  Mansfield, TN 38236


                  Charles Conley
                  865 County Road 181
                  Ironton, OH 45638


                  Charles Cope
                  9050 Cotters Ridge Rd
                  Richland, MI 49083


                  Charles Cotes
                  2413 Roger St
                  Midland, MI 48642


                  Charles Cottom
                  1238 South St
                  Mt Morris, MI 48458


                  Charles Courtney
                  6 Stonebridge Crossing Dr
                  Maryville, IL 62062


                  Charles Craig
                  3431 Treadway Ct
                  Rockford, IL 61103


                  Charles Crimes
                  130 crimes cir
                  preston, GA 31824


                  Charles Crow
                  1251 Reiker Ford Rd
                  St. Clair, MO 63077


                  Charles Crowder
                  65 Parmer Rd
                  LaGrange, GA 30241


                  Charles Cupples
                  438 Basin Street Northwest
                  Navarre, OH 44662
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                  Charles Currie
                  4081 West Columbia Road
                  Mason, MI 48854


                  Charles Davis
                  4201 Caliente Street
                  Norfolk, VA 23518


                  Charles Dobbel
                  1706 Longwood Drive
                  Sycamore, IL 60178


                  Charles Dollar
                  19247 Astor Rd
                  Abingdon, VA 24210


                  Charles Donaldson
                  618 South Horsepen RD
                  Elizabethtown, NC 28337


                  Charles Dumouchelle
                  25325 Seaside Rd, Cape Charles, VA 23310
                  Cape Charles, VA 23310


                  Charles Durnil
                  7954 W 700 S
                  Columbus, IN 47201


                  Charles E Seebach Seebach
                  7807 East Bowling Green Lane Northwest
                  Lancaster, OH 43130


                  Charles Elam
                  8134 Bendemeer Rd
                  Richmond, VA 23235


                  Charles Elliott
                  1060 Grandy Street
                  Adrian, MI 49221


                  Charles Ellis
                  6745 State rd UU
                  Fulton, MO 65251
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                  Charles Embler
                  815 Brewster Lane
                  Wilmington, NC 28412


                  Charles Estes
                  4626 Pontiac Trail
                  Ann Arbor, MI 48105


                  Charles Evans
                  180 Hover Road
                  Mercer, PA 16137


                  Charles Evans
                  324 Pompei Court
                  Boiling Springs, SC 29316


                  Charles Ewing
                  3940 Sayles Rd
                  Ionia, MI 48846


                  charles f. waldmann
                  1662 River Bend Rd
                  Sevierville, TN 37876


                  Charles Farber
                  730 Halls Bridge Rd
                  Campobello, SC 29322


                  Charles Farenger
                  37322 Weber Road
                  Richmond, MI 48062


                  Charles Festerman
                  9649 Beech Daly Rd
                  Redford, MI 48239


                  Charles Fey
                  93 Bluebell Ln
                  Jim Thorpe, PA 18229


                  Charles Finkbeiner
                  223 Burl Oaks Dr NE
                  Cleveland, TN 37323
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                  Charles Ford
                  2231 Southwest Wall Street
                  Blue Springs, MO 64015


                  Charles Fowler
                  433 Bess Town Rd
                  Bessemer City, NC 28016


                  Charles Fredenberg
                  21529 Bear Swamp Road
                  Marysville, OH 43040


                  Charles Garris
                  711 Diamond Grove Rd
                  Skippers, VA 23879


                  Charles Gary Johnson
                  1647 newport dr.
                  Ellijay, GA 30540


                  Charles Ghent
                  8008 Leland Rd
                  Manassas, VA 20111


                  Charles Gillen
                  6 Emerald Court
                  Arden, NC 28704


                  Charles glass
                  812 Thomas Circle
                  Seymour, TN 37865


                  Charles Glover
                  1714 Hooper Court
                  Charlotte, NC 28212


                  Charles Goodwin
                  5850 Mall View Ct
                  Columbus, OH 43231


                  Charles Goodwin
                  1164 Walnut Valley Lane
                  Dayton, OH 45458
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                  Charles Gouge
                  4325 Royalview Road
                  Knoxville, TN 37921


                  Charles Griffin
                  400 Clements Rd
                  pittsburgh, PA 15239


                  Charles Griffith
                  8617 Granite Springs Road
                  Spotsylvania Courthouse, VA 22551


                  Charles Grinkey
                  1860 Plum Street
                  Jacksonville, IL 62650


                  Charles H Miller Jr
                  181 Friendship Road Exd
                  Chatham, VA 24531


                  Charles Hagerman
                  3168 Cherry Lake Road
                  Indianapolis, IN 46235


                  Charles Haglund
                  1840 Noon Road
                  Jackson, MI 49201


                  Charles Hall
                  5200 Honeyleaf Way
                  Dayton, OH 45424


                  Charles Hall ( Lift and Pull )
                  5200 Honeyleaf Way
                  Dayton, OH 45424


                  Charles Hamilton
                  30 Mar Jacques Drive
                  Belleville, IL 62226


                  Charles Hammond
                  766 W Townline Rd 12
                  Greenwich, OH 44837
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                  Charles Handschumacher
                  803 West 1100 North
                  Knightstown, IN 46148


                  Charles Harkey
                  249 Lippard Farm Road
                  Statesville, NC 28625


                  Charles Heilig
                  5713 Warning St
                  Virginia Beach, VA 23464


                  Charles Helm
                  1714 East County Road 1450 North
                  Villa Grove, IL 61956


                  Charles Helton
                  212 Columbia Street
                  Brookville, OH 45309


                  Charles Henneberger
                  40 Pendleton Road Waverly
                  Waverly, OH 45690


                  CHARLES HERBERT
                  14057 Miller Rd
                  Richwood, OH 43344


                  Charles Hill
                  26 South Anvil Avenue
                  Hendersonville, NC 28792


                  Charles Hiter
                  609 Reed Rd
                  Benton, KY 42025


                  Charles Hodge
                  751 Pleasant Avenue
                  Malvern, OH 44644


                  Charles Hodge
                  313 North Hardin Drive
                  Columbia, TN 38401
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                  Charles Holder
                  3755 Partin Farm Road
                  Tracy City, TN 37387


                  Charles Hollingsworth
                  1117 Westmont Dr
                  Springfield, OH 45503


                  Charles Holloman
                  1211 Stewart St
                  Chesapeake, VA 23324


                  Charles Hoover
                  22302 Prairie Baptist Road
                  Noblesville, IN 46060


                  Charles Hullett
                  419 E Morgan Ave
                  Chesterton,, IN 46304


                  Charles Hurlburt
                  110 Raypaula drive
                  Shrewsbury, PA 17361


                  Charles Huston
                  8462 Smoke Rd SW
                  Pataskala, OH 43062


                  Charles Hutchinson
                  3573 Graham Rd
                  Fayetteville, OH 45118


                  charles irizarry
                  305 EAST ST
                  Heath Springs, SC 29058


                  charles jacobus
                  8101 Heathertree Lane
                  Charlevoix, MI 48116


                  Charles Jacobus
                  415 Lake Shore Dr
                  Charlevoix, MI 49720
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                  Charles Jameson
                  15322 Saint Jameson Road
                  Culpeper, VA 22701


                  Charles Jeffress SR
                  1191 Chapmans Ford Rd
                  Emporia, VA 23847


                  Charles Jenkins
                  2765 Wildwood Circle
                  Amissville, VA 20106


                  Charles Jeter
                  12379 OH-4
                  Woodstock, OH 43044


                  Charles John
                  3416 Dickerson Lane
                  Greensboro, NC 27405


                  Charles Jones
                  37302 Doubloon Dr
                  Greenbackville, VA 23356


                  Charles Jones
                  2410 Old State Rd
                  Rosebud, MO 63091


                  Charles Kalmer
                  580 Blackman Hill Road
                  Harrisburg, IL 62946


                  Charles Kelly
                  260 Mount Vernon Park Road
                  Salisbury, NC 28147


                  Charles Kennedy
                  14643 Hillside Drive
                  Wattsburg, PA 16442


                  Charles Kenny
                  5407 Highland Drive West
                  McHenry, IL 60050
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                  Charles King
                  2611 Buttermilk Pike
                  Villa Hills, KY 41017


                  Charles Kuder
                  6424 buckeye path drive south
                  Urbancrest, OH 43123


                  Charles Kuhn
                  90 Crocker Blvd
                  Mt Clemens, MI 48043


                  Charles Ladson
                  36 Tolbert Drive
                  Greenville, SC 29607


                  Charles Lahndorf
                  734 catfish drive
                  allegan, MI 49010


                  Charles Lee
                  423 N Union St
                  Middletown, PA 17057


                  Charles Lee
                  3389 W Cottonwood Rd
                  Morgantown, IN 46160


                  Charles Lesch
                  4005 Crescent Hills Drive
                  Hillsboro, MO 63050


                  Charles Loughner
                  146 Flint Mountain Dr
                  Stuarts Draft, VA 24477


                  Charles Lowe
                  834 Ridge Rd
                  Brownsville, PA 15417


                  Charles Lucas
                  24901 Church Rd
                  Coolville, OH 45723
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                  Charles Lyons
                  2207 Blockhouse Road
                  Maryville, TN 37803


                  Charles M Coffin Jr
                  3519 Camden Falls Cir
                  Greensboro, NC 27410


                  charles mamakos
                  639 Thistle Drive
                  Burlington, NC 27217


                  Charles Manton
                  841 H Avenue
                  Glenside, PA 19038


                  Charles Marteney
                  10538 Honeytown Road
                  Creston, OH 44217


                  charles martin
                  1353 US Hwy 136
                  Veedersburg, IN 47987


                  Charles Martin
                  15716 Noonan Road
                  Hickory Corners, MI 49060


                  Charles Masters
                  11541 Colerain Ave
                  Cincinnati, OH 45252


                  Charles MAUPIN
                  209 Baybrook Cir
                  Nicholasville, KY 40356


                  Charles Maxwell
                  5697 Mill Street
                  Spencerville, IN 46788


                  Charles Mcalpine
                  420 S Elder St
                  Buffalo, MO 65622
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                  Charles McBrayer
                  873 Big Peak Creek Rd
                  Laurel Springs, NC 28644


                  Charles McDaniel
                  5333 Rockport Avenue
                  Dayton, OH 45417


                  Charles Mckemie
                  58 Glenbrook Lane
                  Avon, IN 46123


                  Charles McMillan
                  427 Wildflower Lane
                  Chillicothe, OH 45601


                  Charles Merz
                  17952 Rainbow Road
                  Fraser, MI 48026


                  Charles Messenger
                  200 Beavertail Drive
                  Bruceton Mills, WV 26525


                  Charles Michalk
                  407 E Ave H
                  Rosebud, TX 76570


                  Charles Millbaugh
                  715 Mill Valley Drive
                  Taylor Mill, KY 41015


                  Charles Miller
                  394 Ridge Rd
                  Hastings, PA 16646


                  Charles Millis
                  2223 Heideman Drive
                  Seymour, IN 47274


                  Charles Mitchell
                  6202 Smith Mountain Lake Parkway
                  Huddleston, VA 24104
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                  Charles Moore
                  39539 Marne Avenue
                  Sterling Heights, MI 48313


                  Charles Moss
                  3332 Seaton Road
                  Petersburg, VA 23805


                  Charles Mudd
                  96 Shields Lane
                  Willisburg, KY 40078


                  Charles Murray
                  3306 Circle Dr
                  Flint, MI 48507


                  Charles Myers
                  11867 Sandbrooke Dr
                  Millersburg, IN 46543


                  charles Myers
                  1980 East Mosherville Road
                  Jonesville, MI 49250


                  Charles Myers
                  185 Marlin Blvd
                  Mt. Airy, NC 27030


                  Charles Naney
                  1020 Renee Drive
                  Kernersville, NC 27284


                  Charles Neff
                  504 Westview Avenue
                  Anderson, SC 29625


                  Charles Nettrour
                  206 Haugh Dr
                  Pittsburgh, PA 15237


                  Charles Nieman
                  115 Waterside Lane
                  Cross Junction, VA 22625
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                  Charles O`Donnell
                  1023 Ginseng Lane
                  Fort Wayne, IN 46819


                  Charles Parknav
                  1079 Overlook Drive
                  Salem, OH 44460


                  Charles Parrigan
                  7702 Bluebonnet Rd
                  Louisville, KY 40258


                  Charles Patchin
                  921 Fairmont Street
                  Latrobe, PA 15650


                  Charles Patterson
                  918 Burton Street Southeast
                  Grand Rapids, MI 49507


                  CHARLES PAYNE
                  6407 Goldenblush Cir
                  Charlotte, NC 28269


                  CHARLES PERRY
                  3691 Belle Avenue Northeast
                  Roanoke, VA 24012


                  Charles Peterson
                  2740 W Lincoln Ave
                  Ionia, MI 48846


                  Charles Phillips Sr.
                  1388 County Road 2100E
                  Casey, IL 62420


                  Charles Ploe
                  25171 Mackinac Street
                  Roseville, MI 48066


                  Charles Poole
                  5092 Thornspring Rd,
                  Pulaski, VA 24301
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                  Charles Porter
                  3580 Buffalo Springs Turnpike,
                  Monroe, VA 24574


                  Charles Poulos
                  21 Glenview Road
                  Glenview, IL 60025


                  Charles Powell
                  404 E Penn St
                  Hoopeston, IL 60942


                  Charles Pratt
                  4941 Pearl Rd.
                  Greensboro, NC 27406


                  Charles Pritchard
                  1411 East 13th Street
                  Sedalia, MO 65301


                  Charles Quick
                  807 Shannon Hills Ln
                  Robertsville, MO 63072


                  Charles Rawson
                  908 Township Road 304
                  Toronto, OH 43964


                  Charles Reed
                  8193 Marten Rd
                  Neosho, MO 64850


                  Charles Reed
                  5082 Chadbourn Hwy
                  Chadbourn, NC 28431


                  Charles Richardson
                  1128 Rocky Ledge Drive
                  Columbus, GA 31904


                  Charles Robinson
                  2922 Elbyrne Drive
                  Chesapeake, VA 23325
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                  Charles Robinson
                  314 Suburban Parkway
                  Norfolk, VA 23505


                  Charles Rock
                  6435 Snapps Ferry Road
                  Afton, TN 37616


                  Charles Rodgers
                  108 EAST LAKE ST
                  ROSEVILLE, OH 43777


                  Charles Rohrbaugh
                  131 Cornwell Drive
                  Romney, WV 26757


                  Charles Rostro
                  3418 Dandelion Crescent
                  Virginia Beach, VA 23453


                  Charles Rutledge
                  3856 West 31st Street
                  Cleveland, OH 44109


                  Charles Ryan
                  3074 Benton Pike Northeast
                  Cleveland, TN 37323


                  Charles Sager
                  351 Apple Tree Lane
                  Quicksburg, VA 22847


                  Charles Salisbury
                  1225 Clay Avenue
                  Alliance, OH 44601


                  Charles Saxer
                  2960 Pine Lake Rd
                  Uniontown, OH 44685


                  Charles Scherrer
                  31 Woodland Dr
                  Coraopolis, PA 15108
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                  Charles Schmidt
                  393 Trayer Rd
                  Summerville, PA 15864


                  Charles Scudder
                  1900.5 North English Station Road
                  Louisville, KY 40223


                  Charles Scully
                  1106 Rembrandt Dr SW
                  Concord, NC 28027


                  Charles Seers
                  159 Ridgecrest Dr
                  Monroe, VA 24574


                  Charles Sell
                  1020 e 145 n
                  Angola, IN 46703


                  Charles Shank
                  2751 Beowulf Court
                  Richmond, VA 23231


                  Charles Shumate
                  30 North 9th Street
                  Gosport, IN 47433


                  Charles Simpson
                  1312 Mirror Lake Dr
                  Lincolnton, NC 28092


                  Charles Sims
                  102 Canaan Court
                  Jacksonville, NC 28546


                  Charles Smith
                  205 West 1st Street
                  Scottville, MI 49454


                  Charles Smith
                  171 Hale Road
                  Watertown, TN 37184
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                  Charles Snyder
                  4833 Carters Point Road
                  Buffalo Junction, VA 24529


                  Charles Sorrells
                  96 Augusta St
                  Verona, VA 24482


                  Charles Spencer
                  901 Apex Street
                  Norfolk, VA 23503


                  Charles Stidard
                  6227 Jamestown Drive
                  Parma, OH 44134


                  Charles Story
                  113 Frances Dr
                  Greeneville, TN 37743


                  Charles Swift
                  1705 TP Road
                  Cottonwood Falls, KS 66845


                  Charles Tankred
                  1900 S Elyria Rd
                  Wooster, OH 44691


                  Charles Taylor
                  165 Sandy Shore Drive
                  Granite City, IL 62040


                  Charles Thomas
                  1080 Bear Creek Boulevard
                  Wilkes-Barre, PA 18702


                  Charles Thompson II
                  4070 Oak St
                  Grand Blanc, MI 48439


                  charles thurman
                  10632 South Martin Street
                  Chicago, IL 60643
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                  Charles Tidwell
                  1202 Dereham Dr
                  Mount Vernon, IN 47620


                  Charles Todd
                  3218 Sweetwater Vonore Road
                  Sweetwater, TN 37874


                  Charles Turner
                  1135 Normdave Drive
                  Dayton, OH 45417


                  Charles Turner
                  3113 Mt Tabor Rd
                  Waverly, OH 45690


                  Charles Vaughan
                  606 Glasgow St
                  Armstrong, MO 65230


                  Charles Vogelsong
                  10670 The Bend Road 134
                  Defiance, OH 43512


                  Charles Walden
                  10292 Meeker Rd
                  Dayton, OH 45414


                  charles ward
                  2516 Pinetree Dr
                  Trenton, MI 48183


                  Charles Warlick
                  105 Braeford Ct
                  Goose Creek, SC 29445


                  Charles Welton
                  141 Bersch Ln
                  Arvonia, VA 23004


                  Charles Werner
                  3715 Prairie Rd
                  Bellevue, OH 44811
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                  Charles White
                  317 Cronkite Drive
                  McDonough, GA 30252


                  Charles Wiggleton
                  1180 Collier St
                  Plum Branch, SC 29845


                  Charles Wild
                  8097 Guymon Lane
                  Seneca, MO 64865


                  Charles Willis
                  10618 Lee Avenue
                  Cleveland, OH 44106


                  Charles Wiltsie
                  8915 Westlake Street
                  Taylor, MI 48180


                  Charles Wines
                  91 Northern Dr
                  Millerburgs, OH 44654


                  Charles Witthofft
                  424 Equus Lane
                  Troy, IL 62294


                  Charles Woodson
                  643 Willie McCain Road
                  Yanceyville, NC 27379


                  Charles Wright
                  5059 Farmers Bridge Road
                  Hephzibah, GA 30815


                  Charles Wyant, Jr
                  1157 Castlewood Drive
                  Clarksville, TN 37042


                  Charles Young
                  122 West 83rd Street
                  Chicago, IL 60620
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                  Charles Younglove
                  3925 Stewart Rd
                  Monroe, MI 48162


                  Charles-Sandra Flanagan
                  4162 Roswell Road Southwest
                  Dellroy, OH 44620


                  Charlette Schloemer
                  321 Missouri 21
                  Caledonia, MO 63631


                  Charley Wolfe
                  1950 Marlane Dr
                  Grove City, OH 43123


                  charlie begley
                  5204 Ridgeview Road
                  Reva, VA 22735


                  Charlie Berthiaume
                  502 East 5th Street
                  Pinconning, MI 48650


                  Charlie Brown
                  7228 E 100 S
                  Elwood, IN 46036


                  Charlie Calaway
                  126 Edisto Drive
                  Santee, SC 29142


                  charlie christian
                  11450 music str
                  Newbury, OH 44065


                  Charlie Conover
                  1507 Becket Drive
                  Shelbyville, IN 46176


                  Charlie Elam
                  8144 W State Rd 234
                  Shirley, IN 47384
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                  Charlie Gross
                  75 Tucker Trail
                  Gerton, NC 28735


                  CHARLIE Johnson
                  4500 North Caris Road
                  Edmore, MI 48829


                  Charlie Kirby
                  2402 Township Hwy 136
                  Sycamore, OH 44882


                  Charlie Klecha
                  16255 Ohio Street
                  Detroit, MI 48221


                  Charlie Love
                  6276 Grange Hall Rd
                  Holly, MI 48442


                  Charlie MacInnes
                  400 Morningside Dr
                  Vanceboro, NC 28586


                  Charlie McNeely
                  1601 Briarcliff Drive
                  Clinton, MO 64735


                  Charlie McQuown
                  2814 Skyline Drive
                  Fallentimber, PA 16639


                  Charlie Peebles
                  5714 Mesa Court
                  Terre Haute, IN 47805


                  Charlie peniston Peniston
                  8554 Liv 511
                  Chillicothe, MO 64601


                  Charlie Peppers
                  4212 Wheelwood Court
                  Richmond, VA 23223
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                  Charlie Persinger
                  301 Burr Oak Rd
                  Burr Oak, MI 49030


                  charlie price
                  827 Lakeview St
                  Salem, VA 24153


                  Charlie Roberts
                  167 Sawyer Lane
                  Lexington, NC 27295


                  Charlie Scharnowske
                  468 Waverly Drive
                  Benton Harbor, MI 49022


                  Charlie Sutton
                  4094 Timrod Road
                  Bethune, SC 29009


                  Charlie Tillilie
                  2407 4 Holes Road
                  Orangeburg, SC 29115


                  Charlie Williams
                  5440 Wade-Stedman Rd
                  Wade, NC 28395


                  Charlise Brock
                  9091 Sunflower Lane
                  Rhoadesville, VA 22542


                  Charlotte Antic
                  4734 Hillcrest Road
                  Trenton, MI 48183


                  Charlotte Boyster
                  1117 N 9th St
                  Fort Smith, AR 72901


                  Charlotte Burdette
                  2076 River Bend Road
                  Crum, WV 25669
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                  Charlotte Call
                  280 Cloud Lane
                  Township of Taylorsville, NC 28681


                  Charlotte Draheim
                  218 East State Street
                  Vernon, MI 48476


                  Charlotte Dunn-Swindle
                  1924 North Sprigg Street
                  Cape Girardeau, MO 63701


                  Charlotte Loomis
                  119 Sleepy Cove Trail
                  Mount Gilead, NC 27306


                  Charlotte Motor Speedway, LLC
                  PO Box 600
                  Concord, NC 28026


                  Charlotte Nickelson
                  5221 Coit Avenue Northeast
                  Grand Rapids, MI 49525


                  Charlotte Oshel
                  243 Sheriden Lane
                  Point Pleasant, WV 25550


                  Charlotte Poe
                  170 Ditto Branch Rd
                  Penhook, VA 24137


                  Charlotte Rankin
                  5992 Walters Loop
                  Columbus, GA 31907


                  Charlotte Shelton
                  208 Cedar Street
                  Crown Point, IN 46307


                  Charlotte Stanley
                  5308 Williams Road
                  Newport, MI 48166
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                  Charlotte Walker
                  3530 Bay Drive
                  Kitty Hawk, NC 27949


                  Charlotte Williams
                  177 Grove Run Drive
                  Warsaw, NC 28398


                  Charmagne Bliven
                  10936 Azbury Bouleward
                  Roanoke, IN 46783


                  Charmaine Chin
                  3903 Banks Landing Ct
                  Fulshear, TX 77441


                  Charmaine Clay
                  62 Bennett-Tingle Road
                  New Bern, NC 28560


                  Charmaine Martells
                  110 Buff Cir
                  Wilmington, NC 28411


                  Charmaine Shawana
                  7520 Ogemaw Dr
                  Mt Pleasant, MI 48858


                  Charmayne Bradley
                  1814 Delta Oaks Dr
                  Missouri City, TX 77459


                  Charmin Bowman
                  507 Hasty School Road
                  Thomasville, NC 27360


                  Charna Bucy
                  6324 Venus Avenue
                  Portage, IN 46368


                  Charra Cosby
                  2409 Barclay Avenue
                  Portsmouth, VA 23702
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                  Chas Campbell
                  41 Bowers Rd.
                  Berwick, PA 18603


                  Chas Perkins
                  1136 Van Buren St
                  Warsaw, MO 65355


                  Chase Ferguson
                  1007 Williams Road
                  Columbus, OH 43207


                  Chase Gundrum
                  1162 Stearns Rd
                  Fostoria, OH 44830


                  Chase Hall
                  1408 Allison Ln
                  Jeffersonville, IN 47130


                  Chase Landers
                  800 West Muller Road
                  East Peoria, IL 61611


                  Chase Molin
                  999 N Sunset Pines
                  Sparta, MI 49345


                  Chase Morgan
                  306 Charlie Frederick Rd
                  Warsaw, NC 28398


                  Chase Polling
                  4479 Cherrywood Lane
                  Virginia Beach, VA 23453


                  Chase Price
                  593 Eaton Rd
                  Sparta, TN 38583


                  Chase Starr
                  5805 S 594 W
                  Huntington, IN 46750
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                  Chase Vaughn
                  3400 Bethlehem Church Rd NE.
                  Floyd, VA 24091


                  Chauncey Brinn
                  2127 Jefferson Rd
                  Otsego, MI 49078


                  Chauncey Lewis
                  632 East 8th Street
                  Jeffersonville, IN 47130


                  CHAUNCEY YANEY
                  6499 Stonegate Drive
                  Guilford, IN 47022


                  Chavez Alex
                  910 34th Street South West
                  Grand Rapids, MI 49509


                  Chela Unzueta
                  1750 Pierce Road
                  Hoffman Estates, IL 60169


                  Chelsea Carney
                  632 North East Avenue
                  Jackson, MI 49202


                  Chelsea Hamman
                  202 Groundhog Lane
                  Rural Retreat, VA 24368


                  Chelsea Hypes
                  4343 Piute Drive Southwest
                  Grandville, MI 49418


                  Chelsea McGinnis
                  7958 Mountain Laurel Trail
                  Gloucester, VA 23061


                  Chelsea McLeod
                  112 Patricia Dr
                  Smithfield, NC 27577
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                  Chelsea Roth
                  8275 250 S
                  Zionsville, IN 46077


                  Chelsey Bickel
                  1502 18th Ave
                  Altoona, PA 16601


                  Chenshiang Lin
                  6918 S Dixie Hwy
                  Franklin, OH 45005


                  Chequita Cherry
                  557 Cohen Rd
                  Waynesboro, GA 30830


                  Chera Rhoden
                  2220 Mahoning Road
                  Deerfield, OH 44411


                  Cherae Thomas
                  2566 Gabriel Ln NW
                  Kennesaw, GA 30152


                  Cheree Culpepper
                  3920 Chalker Rd
                  Gibson, GA 30810


                  Cheri Calvin
                  8105 Arkansaw Road
                  Allen, MI 49227


                  Cheri Delaney
                  13300 West 300 North Road
                  Yorktown, IN 47396


                  Cheri Ebuen
                  35 Mill Run Lane
                  Springboro, OH 45066


                  Cheri Forrest
                  701 GOODLAND AVE
                  HOLLINS, VA 24019
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                  Cheri Hinkle
                  3355 S WOODLAND DR
                  HIGHLAND CHARTER TWP, MI 48356


                  Cheri Stros
                  5109 County Line Rd
                  Casco, MI 48064


                  Cheri Tucker
                  2059 East Beardslee Road
                  Sheridan, MI 48884


                  Cherie Halley
                  20136 Brest
                  Taylor, MI 48180


                  Cherie L Darland
                  487 Seel Drive
                  Adrian, MI 49221


                  Cherie Smith
                  5489 OH-235
                  Ada, OH 45810


                  Cherie Wibley
                  171 Ball Street
                  Ortonville, MI 48462


                  Cherly Hannah
                  202 McCosh Drive
                  Chesapeake, VA 23320


                  Cherryl Teller
                  58878 S Burr Oak Rd
                  Colon, MI 49040


                  Cheryl
                  11781 No 31 Road
                  Kingsley, MI 49649


                  Cheryl A. Lawson Individually and Admin.
                  Dan R. Francis Dan Francis Law Firm
                  P.O. Box 575
                  Lexington, NC 27293
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                  Cheryl Aurigema
                  9 Flamingo Ct
                  Amelia, OH 45102


                  Cheryl Bennett
                  2061 Co Rd 24
                  Marengo, OH 43334


                  Cheryl Boughter
                  1995 West Philadelphia Avenue
                  Oley, PA 19547


                  Cheryl Brown
                  3031 National Rd W
                  Richmond, IN 47374


                  Cheryl Burtch
                  19490 Colvin Rd
                  Saint Charles, MI 48655


                  Cheryl Butterfield
                  1543 Farnsworth Rd
                  Lapeer, MI 48446


                  Cheryl Carter
                  1258 Old Park Rd
                  Whitetop, VA 24292


                  Cheryl Cole
                  9237 Byam Road
                  Bancroft, MI 48414


                  Cheryl Cunz
                  4653 Lindbloom Lane
                  Cherry Valley, IL 61016


                  Cheryl dalton
                  7745 Smith-Calhoun Road
                  Plain City, OH 43064


                  Cheryl Detamore
                  9977 West 141 N 27
                  Converse, IN 46919
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                  Cheryl Dingess
                  608 Little Harts Creek Rd
                  Harts, WV 25524


                  Cheryl E Reinoehl
                  27420 Birmingham Ct
                  Paw Paw, MI 49079


                  Cheryl Edberg
                  120 N Blair Ave
                  Royal Oak, MI 48067


                  Cheryl Foster
                  616 Randolph St
                  Danville, VA 24541


                  Cheryl Fuqua
                  33707 harlowshire st
                  Farmington Hills, MI 48335


                  Cheryl Garman
                  813 Twin Oaks Drive
                  Henryville, IN 47126


                  Cheryl Heller
                  1244 Atcheson St
                  Columbus, OH 43203


                  Cheryl Hensrud
                  4880 County Road 18
                  BELLEFONTAINE, OH 43311


                  Cheryl Huntzinger
                  1088 West 600 North
                  Greenfield, IN 46140


                  Cheryl King
                  31657 Sibley Rd
                  Romulus, MI 48174


                  Cheryl Lark
                  153 Kensington Cir
                  Battle Creek, MI 49015
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                  Cheryl Lloyd
                  16069 Madison Run Road
                  Gordonsville, VA 22942


                  Cheryl Luttrell
                  12827 Ray Drive
                  Licking, MO 65542


                  Cheryl Mauro
                  8454 Glendevon Ct
                  Riverdale, GA 30274


                  Cheryl Mcgrath
                  10250 New Buffalo Road
                  Canfield, OH 44406


                  Cheryl McKinley
                  11131 Montgomery County Line Road
                  Brookville, OH 45309


                  Cheryl Miller
                  2295 East 20th Road
                  Grand Ridge, IL 61325


                  Cheryl Miller
                  2613 High Street
                  Natrona Heights, PA 15065


                  Cheryl Olive
                  800 B Street
                  Farmington, MO 63640


                  Cheryl Parris
                  111 Advent Dr
                  Grover, NC 28073


                  Cheryl Puthoff
                  10895 North Lena-Palestine Road
                  Conover, OH 45317


                  cheryl rarick
                  101 S Fork Pl
                  Goldsboro, NC 27530
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                  Cheryl Reynolds
                  158 Heartwood Drive
                  Lexington, SC 29073


                  Cheryl Roberts
                  5812 Rocky Mountain Dr
                  Louisville, KY 40219


                  Cheryl Slusher
                  7787 SPRINGVILLE HWY
                  ONSTEAD, MI 49265


                  Cheryl St. Pierre
                  2930 Grant Road
                  Rochester Hills, MI 48309


                  Cheryl Stacklin
                  4601 Hidden Lane
                  Lanexa, VA 23089


                  Cheryl stewart
                  10309 Rosehill Ave
                  Cleveland, OH 44104


                  Cheryl Tarbell
                  10064 Infirmary Road
                  Mantua, OH 44255


                  Cheryl Thomas
                  14406 Blackburn Street
                  Livonia, MI 48154


                  Cheryl Thompson
                  60 Jacob Way
                  Pittsboro, NC 27312


                  Cheryl Wall
                  144 Patton St Ext
                  Hamlet, NC 28345


                  Cheryl Weber
                  3703 Glade Hill Circle Northeast
                  Roanoke, VA 24012
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                  Cheryl Whitaker
                  551 NC Highway 561 E
                  Ahoskie, NC 27910


                  Cheryl Whitehead
                  112 N Emily St
                  Ludington, MI 49431


                  Cheryl Williams
                  27 N Lang Dr
                  O'Fallon, MO 63366


                  CHERYL YODER
                  607 Nelson Rd
                  Farmington, PA 15437


                  Cheryn Bass
                  8601 Baseline Road
                  Battle Creek,, MI 49017


                  Chester Barker
                  4122 South Paramount Road
                  Bartonville, IL 61607


                  Chester Blevins
                  437 haven Ridge Lane
                  Traphill, NC 28685


                  Chester Brooks
                  7202 Locust Lake Rd
                  Spencer, IN 47460


                  Chester Davisson
                  1074 Rock Ridge Rd
                  Brandenburg, KY 40108


                  Chester Depp
                  252 W Center St
                  Fostoria, OH 44830


                  Chester Gates
                  623 South Remann Street
                  Vandalia, IL 62471
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                  Chester Nolan
                  553 E Bridge St
                  Brownstown, IN 47220


                  Chester Roberts
                  38162 W Highway T
                  Camden, MO 64017


                  Chester Sewalk
                  2525 Madley Hollow Road
                  Buffalo Mills, PA 15534


                  Chester Smith
                  10859 South 500 West
                  Edinburgh, IN 46124


                  Chester Starling
                  2701 Newkirk Ave
                  Wilmington, NC 28412


                  Chet Moher
                  101 Oakmont Cir
                  Williamsburg, VA 23185


                  Chevonne Smith
                  1152 Vernon Odom Blvd
                  Akron, OH 44307


                  Cheyenne Koons
                  202 Cambridge Ct
                  Havelock, NC 28532


                  Chhaya Patel
                  3944 Chatsworth Drive
                  Mason, OH 45040


                  Chia-lin Chen
                  3282 Bancroft Rd
                  Fairlawn, OH 44333


                  Chiara Liguori
                  4439 Prestwick Cross
                  Westlake, OH 44145
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                  Chillicothe City Income Tax
                  35 S. Paint St.
                  P.O. Box 457
                  Chillicothe, OH 45601-0457


                  Ching Luk
                  4141 Mapleleaf Road
                  Waterford Township, MI 48328


                  Chinyere Udeh
                  3 Blair Court
                  East Stroudsburg, PA 18301


                  Chip Baxter
                  1710 Efland Dr
                  Greensboro, NC 27408


                  Chip Fontaine
                  15035 Bowling Green Rd
                  Windsor, VA 23487


                  Chip Schottelkorb
                  2195 Bobblett Gap Road
                  Montvale, VA 24122


                  Chip Walton
                  3515 Lakewood Pl
                  Wilmington, NC 28409


                  Chiquita Little
                  89 Linda's Drive
                  Fairmont, NC 28340


                  Chloe Rogers-Wrede
                  1044 Henderson Road
                  Alton, VA 24520


                  Chloe Stevenson
                  397 Figard Road
                  Six Mile Run, PA 16679


                  Choral Macek
                  181 Larimer Avenue
                  Bobtown, PA 15315
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                  Chris Abbott
                  3363 Centerville-Green Camp Rd
                  Prospect, OH 43342


                  Chris Adami
                  4695 Wellington Drive
                  Okemos, MI 48864


                  Chris Ales
                  6139 N Irish Rd
                  Davison, MI 48423


                  Chris Allender
                  1029 New State Rd S
                  North Fairfield, OH 44855


                  Chris Amity
                  1320 21st Street
                  Highland, IL 62249


                  Chris Anderson
                  522 East 700 North
                  Valparaiso, IN 46383


                  Chris Antle
                  933 Darda Court
                  Lexington, KY 40515


                  Chris Antonmarchi
                  1062 W Main St
                  Ionia, MI 48846


                  Chris Arms
                  31209 west hills st
                  Farmington Hills, MI 48336


                  Chris Arms (Lift and Pull)
                  31209 west hills st
                  Farmington Hills, MI 48336


                  Chris Arnold
                  8118 Wateree Road
                  Great Falls, SC 29055
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                  Chris Ashley
                  15526 A Drive North
                  Marshall, MI 49068


                  Chris Attinella
                  112 Birch St NE
                  Leesburg,, VA 20176


                  Chris Austin
                  597 Woodruff Lake Rd
                  Highland, MI 48357


                  Chris Barrale
                  3905 Raymond Ave
                  Bridgeton, MO 63044


                  Chris Beaupre
                  12935 Topping Estates Drive
                  St. Louis, MO 63131


                  Chris Belter
                  26018 Meherrin Rd
                  Capron, VA 23829


                  Chris Bennett
                  2305 Horseshoe Bend Road
                  Ronceverte, WV 24970


                  Chris Benniks
                  5520 Bedford Street
                  Portage, MI 49002


                  Chris Blaber
                  443 Ashton Green Boulevard
                  Newport News, VA 23608


                  Chris Blackmon
                  1224 Fincher Rd
                  Fort Lawn, SC 29714


                  Chris Bledsoe
                  529 Dillon Ln
                  Shepherd, TX 77371
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                  Chris Blevins
                  1570 North Limekiln Road
                  Oregon, IL 61061


                  chris bodo
                  5737 U.S. 22
                  New Holland, OH 43145


                  Chris Booth
                  2230 Lonergan St
                  Pittsburgh, PA 15216


                  Chris Bornemann
                  274 Sonnet Circle
                  Wentzville, MO 63385


                  Chris Bower
                  98 Wild Sage Court
                  Fletcher, NC 28732


                  Chris Brake
                  2622 Ann Avenue
                  Kansas City, KS 66102


                  Chris Bridges
                  2304 Valley Drive
                  Lindenhurst, IL 60046


                  Chris Brown
                  4011 Castle Rock Farm Road
                  Pittsboro, NC 27312


                  Chris Brown
                  132 Farmington Drive
                  Richlands, NC 28574


                  Chris Burell
                  6845 Strawberry Lane
                  Village of Clarkston, MI 48348


                  Chris Burket
                  222 Penndale Avenue
                  Claysburg, PA 16625
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                  Chris Bush
                  16245 Chase Eagle Lane
                  Woodbridge, VA 22191


                  Chris Byrd
                  7306 East 18th Street
                  Indianapolis, IN 46219


                  Chris Callmenomore
                  6260 Webster Church Rd
                  Dexter, MI 48130


                  Chris Calvert
                  13823 Clinton Road
                  Onondaga, MI 49264


                  Chris Cameron
                  148 Ashby Dr
                  Gaston, SC 29053


                  Chris Campbell
                  180 North Dividing Ridge Road
                  Sadieville, KY 40370


                  Chris Campise
                  14 W Ofallon Dr
                  O'Fallon, MO 63366


                  Chris Carrera Lovett
                  1212 Safari Drive
                  Sylva, NC 28779


                  Chris Chisek
                  1540 Bainbridge Center Road
                  Watervliet, MI 49098


                  Chris Choiniere
                  6023 Old US Hwy 421
                  Lillington, NC 27546


                  Chris Clark
                  610 Caddo Drive
                  Redfield, AR 72132
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                  Chris Cline
                  59 Burnt Cabin Road
                  Fairmont, WV 26554


                  Chris Coker
                  1201 New Born Ct
                  Chesapeake, VA 23322


                  Chris Colburn
                  6412 Smoke Rise Trail
                  Grand Blanc, MI 48439


                  Chris Collins
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                  Batavia, OH 45103


                  Chris Conley
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                  Mt. Gilead, OH 43338


                  Chris Coryell
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                  Saint Charles, MO 63303


                  Chris Cox
                  5810 Anderson Highway
                  Powhatan, VA 23139


                  Chris Crawford
                  22797 county road 430
                  Kennett, MO 63857


                  Chris Crawford
                  1690 Weatherend Dr
                  Rural Hall, NC 27045


                  Chris Crothers
                  1725 Inlow Ave
                  Peebles, OH 45660


                  Chris Czirok
                  1824 Thornapple Ave
                  Akron, OH 44301
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                  Chris Damjanovic
                  12203 White Oak Drive
                  Crown Point, IN 46307


                  Chris Davis
                  3749 Bethlehem Rd
                  old fort, NC 28762


                  Chris DeVries
                  6872 Goldenrod Ave NE
                  Rockford, MI 49341


                  Chris DeWilde
                  1227 Rennie Avenue
                  Richmond, VA 23227


                  Chris Dieterle
                  201 Meadowlark Ln
                  La Porte, IN 46350


                  Chris Dingman
                  1242 Selma st
                  Westland, MI 48186


                  Chris Dolph
                  5643 Downing St
                  Portage, MI 49024


                  Chris Downing
                  4778 County Road 110
                  Carthage, MO 64836


                  Chris Early
                  679 Vivian Ct
                  Columbus, OH 43230


                  Chris Elliot
                  176 Natalie Lane
                  Danville, VA 24540


                  Chris Elswick
                  245 Mountvista Court
                  Bluefield, VA 24605
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                  Chris Evans
                  5400 Hester Rd
                  Oxford, OH 45056


                  Chris Ferrell
                  145 Wharton Circle
                  Littleton, NC 27850


                  Chris Ferris
                  376 Old Cypress Drive
                  Winston-Salem, NC 27127


                  Chris Ferris Call Wife
                  376 Old Cypress Drive
                  Winston-Salem, NC 27127


                  Chris Fish
                  1727 Paradise Trail
                  Troy, OH 45373


                  Chris Fleck
                  5693 Brinker Street Southwest
                  Navarre, OH 44662


                  Chris Floriano
                  4812 Clintwood Dr
                  Portsmouth, VA 23703


                  Chris Ford
                  2113 Daylor Dr NE
                  Grand Rapids, MI 49525


                  Chris Gaal
                  119 Seville Ct
                  Schererville, IN 46375


                  Chris Garno
                  8013 S Merrill Rd
                  St Charles, MI 48655


                  Chris Gates
                  6751 Lennox Street
                  Fort Mill, SC 29707
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                  Chris Gemmer
                  30493 New Road
                  North Liberty, IN 46554


                  Chris Gibbons
                  4344 Salem Church Road
                  Haw River, NC 27258


                  Chris Gilbert
                  5710 Fish Lake Rd
                  North Branch, MI 48461


                  Chris Gipson
                  5519 Kentucky State Route 283
                  Robards, KY 42452


                  Chris Glaspell
                  6580 Turner Road
                  Union City, PA 16438


                  Chris Glaza
                  9667 Carter Road
                  Freeland, MI 48623


                  Chris Gobie
                  96 Honeysuckle Lane
                  Front Royal, VA 22630


                  Chris Gossette
                  2896 Vivian Rd
                  Monroe, MI 48162


                  Chris Greaves
                  37 Fairway Drive
                  Shallotte, NC 28470


                  Chris Griggs
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                  Richmond, VA 23234


                  Chris Grozav
                  1150 South Baldwin Road
                  Lake Orion, MI 48360
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                  Chris Grummet
                  3050 Loop Road
                  Middleville, MI 49333


                  Chris Haefner
                  87 Benzing Road
                  Nashville, TN 37013


                  Chris Hamilton
                  15780 Lattice Lane
                  East Lansing, MI 48823


                  Chris Hamlin
                  186 Blue Bird Road
                  Friendship, TN 38034


                  Chris Hannant
                  605 w Durham st
                  Kill Devil Hills, NC 27948


                  Chris Hansford
                  3305 West Jordan Court
                  Bloomington, IN 47403


                  Chris Hanson
                  286 Arrowhead Ln
                  Stuarts Draft, VA 24477


                  Chris Harris
                  2748 Blacksmith Trail
                  Chesapeake, VA 23322


                  Chris Hatcher
                  9540 Ross St
                  Laurinburg, NC 28352


                  Chris Henry
                  1112 Backus St
                  Jackson, MI 49202


                  Chris Hensley
                  3086 Stardust Lane
                  Seymour, IN 47274
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                  Chris Hernandez
                  3407 Kenwood Ave
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                  Woodbridge, VA 22192


                  Chris James
                  27735 Sylvan Avenue
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                  Chris Kayafas
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                  Emmett, MI 48022


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                  Rockford, OH 45882


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                  Pinckney, MI 48169


                  Chris Kowallic
                  6127 E Valley Rd
                  Mt. Pleasant, MI 48858
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                  Carroll, OH 43112


                  Chris Plickert
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                  McAdoo, PA 18237


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                  Elizabeth, IN 47117


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                  135 Tillbrook Road
                  Irwin, PA 15642


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                  2624 Renfrew Drive
                  Jackson, MI 49201


                  Christine Walters
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                  Swansboro, NC 28584


                  Christinia Wingo Lafon
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                  Ellenboro, NC 28040


                  Christl Long
                  224 Quail Run Road
                  Loris, SC 29569


                  Christopher "Chris" McGinnis
                  277 Finnin Road
                  New Kensington, PA 15068


                  Christopher "Chris" Sinkus
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                  Pleasant Gap, PA 16823


                  Christopher Alcantara
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                  Renfrew, PA 16053


                  Christopher Alexander
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                  Franklinville, NC 27248


                  Christopher Allen
                  2392 Merrimont Dr
                  Troy, OH 45373


                  Christopher Anderson
                  214 Apple Orchard Road
                  Louisa, VA 23093
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                  Christopher Armstrong
                  4924 Big Bass Dr
                  Hudsonville, MI 49426


                  Christopher Audette
                  1171 Medfield Road
                  Lugoff, SC 29078


                  Christopher Aziz
                  3990 Fred W Moore Highway
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                  Christopher Bailey
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                  Somerset, PA 15501


                  Christopher Barratta
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                  Irmo, SC 29063


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                  Lakewood, OH 44107


                  Christopher Bisbee
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                  Erie, PA 16507


                  Christopher Blackmer
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                  Grand Haven, MI 49417


                  Christopher Blue
                  9583 Sherman Road
                  Chesterland, OH 44026


                  Christopher Bott
                  159 Henderson Road
                  Jackson Center, PA 16133


                  Christopher Brock
                  142 Mahaffey Road
                  Belton, SC 29627
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                  Christopher Broome
                  522 Primrose Dr
                  Asheville, NC 28806


                  Christopher Brown
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                  Louisville, KY 40220


                  Christopher Buhrman
                  239 Scott Avenue
                  Mount Joy, PA 17552


                  Christopher Burnett
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                  Abingdon, IL 61410


                  Christopher Callow
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                  Ypsilanti, MI 48197


                  Christopher Cannon
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                  Christopher Carroll
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                  Hopewell, VA 23860


                  Christopher Carver
                  1145 Oliver Springs Highway
                  Clinton, TN 37716


                  Christopher CHARLEBOIS
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                  Smiths Creek, MI 48074


                  Christopher Clark
                  11188 Burt Road
                  Emmett, MI 48022


                  Christopher Clemons
                  5005 16th Avenue
                  Chattanooga, TN 37407
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                  Christopher Cole
                  262 Schulties Ln
                  Harrisville, PA 16038


                  Christopher Combs
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                  Gainesville, GA 30506


                  Christopher Compton
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                  christopher davis
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                  Christopher Davis
                  160 Partridge Street
                  Galax, VA 24333
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                  Christopher Dean
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                  Christopher Dentith
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                  Christopher dittman
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                  Saint Joseph, IL 61873


                  Christopher Dixon
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                  Smithfield, VA 23430


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                  Norfolk, VA 23505


                  Christopher Dorian
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                  Parma, OH 44129


                  Christopher Dutton
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                  Speedwell, VA 24374


                  Christopher Duty
                  5725 Osprey Watch Ct
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                  Christopher Face
                  2234 Marquette Rd
                  Ionia, MI 48846


                  Christopher Fiandt
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                  Greencastle, IN 46135


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                  Mattawan, MI 49071


                  Christopher Fugate
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                  Christopher Gerhardt
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                  Christopher Godsey
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                  Johnson City, TN 37601


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                  Dearborn Heights, MI 48125


                  Christopher Harris
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                  Christopher Harvey
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                  Christopher Hawkins
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                  Christopher Hensley
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                  Christopher Hollifield
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                  Christopher Houk
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                  Galesburg, IL 61401
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                  Christopher Hurdle
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                  Rockmart, GA 30153


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                  Christopher Johnson
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                  Christopher Jones
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                  Christopher Lancaster
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                  West Union, IL 62477


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                  Elgin, SC 29045


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                  Christopher Loughrey
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                  Spring Church, PA 15686


                  Christopher Luedecking
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                  Battle Creek, MI 49017


                  Christopher Mantz
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                  Christopher McMahon
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                  Christopher Nunez
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                  Lake Ariel, PA 18436


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                  Christopher Olsowy
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                  Christopher OReilly
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                  Christopher Pilot
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                  Bumpass, VA 23024


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                  Christopher rider
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                  3262 Manfield Road
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                  Christopher Rogers
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                  Christopher Shirley
                  1126 North 1170
                  union township, IN 47872
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                  Kawkawlin, MI 48631
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                  Christopher Ware
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                  Christopher Warren
                  1799 Iron Bridge Rd
                  Stuart, VA 24171
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                  Christy Foster
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                  Titusville, PA 16354


                  Christy Hyde
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                  Sykesville, PA 15865


                  Christy Jacobus
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                  Christy Linhart
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                  Benton, MO 63736


                  Christy Livingston
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                  9325 Canvasback Court
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                  Chuck Lievens
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                  Archbold, OH 43502


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                  Cindy Pfalzer
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                  Cindy Piepszak
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                  Cindy Rowan
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                  City Electric Supply
                  P.O. Box 13507
                  Greensboro, NC 27415


                  City of Akron Income Tax Division
                  1 Cascade Plaza - Suite 100
                  Akron, OH 44308-1161
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                  City of Alliance Income Tax Division
                  P.O. Box 2025
                  Alliance, OH 44601-0025


                  City of Barboursville
                  PO Box 266
                  Barboursville, WV 25504


                  City of Canton, Income Tax Dept
                  P.O. Box 9951
                  Canton, OH 44711-9951


                  City of Dayton Division of Tax & Account
                  P.O. Box 1830
                  Westerville, OH 43086-1830


                  City of Gaylord- EV Chargers
                  305 E. Main St.
                  Gaylord, MI 49735


                  City of Harrison - City Hall
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - Fire Hall
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - Pump House
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - Water Tower
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - WWTP: Meter # 4006370
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - WWTP: Meter #: 400511
                  2105 Sullivan Dr.
                  Harrison, MI 48625
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                  City of Harrison - WWTP: Meter #: 400525
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Harrison - WWTP: Meter #: 400538
                  2105 Sullivan Dr.
                  Harrison, MI 48625


                  City of Lebanon Tax Div.
                  50 S. Broadway St.
                  Lebanon, OH 45036-1745


                  City of Marshfield
                  798 S. Marshall
                  Marshfield, MO 65706


                  City of Martinsburg
                  232 N. Queen St
                  P.O. Box 828
                  Martinsburg, WV 25402


                  City of Morgantown
                  389 Spruce Street
                  Morgantown, WV 26505


                  City of Owensboro/Daviess County Fiscal
                  P.O. Box 10008
                  Owensboro, KY 42302-9008


                  City of Paducah Finance Department
                  PO Box 9001241
                  Department 901241
                  Louisville, KY 40290-1241


                  City of Princeton
                  800 Bee Street
                  Princeton, WV 24740


                  City of Saint Albans
                  P.O. Box 1488
                  St. Albans, WV 25177


                  City of Shelbyville
                  P.O. Box 1289
                  Shelbyville, KY 40066-3289
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                  City of Toledo Income Tax
                  P.O. Box 929
                  Toledo, OH 43697-0929


                  City of Waverly Income Tax
                  P.O. Box 48
                  Waverly, OH 45690


                  Cj Childers
                  876 Lykins Creek
                  Pikeville, KY 41501


                  CJ Kirvan
                  137 White Oak Dr
                  Titusville,, PA 16354


                  CJ Mahnken
                  908 North Kentucky Street
                  Mexico, MO 65265


                  CJ Payne
                  720 Lamoreaux Drive
                  Lapeer, MI 48446


                  Clair Eikleberry
                  3265 Willow Rd
                  Shreve, OH 44676


                  Claire Higgins
                  41003 Cutleaf Ln
                  Aldie, VA 20105


                  Claire Kenna
                  2756 Lynnhurst Drive
                  Bethlehem, PA 18017


                  Clare Barnes
                  540 Bauer Rd
                  Bath, PA 18014


                  CLarence Barden
                  14256 Jefferson Hwy
                  Bumpass, VA 23024
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                  Clarence Brown
                  412 Stuckhardt Rd
                  Dayton, OH 45426


                  Clarence Bryant
                  2232 Emblys Gap Rd
                  Roseland, VA 22967


                  Clarence Canada
                  3228 Morganton Rd
                  Maryville, TN 37801


                  Clarence Fain
                  1421W. Nichols st
                  Springfield, MO 65802


                  Clarence Floyd
                  101 Nanton Way
                  Coraopolis, PA 15108


                  Clarence Fracker
                  12845 Hamby Hill Rd
                  Frazeysburg, OH 43822


                  Clarence Hatt
                  3480 West Beard Road
                  Perry, MI 48872


                  Clarence Huie
                  315 Graydon Ct
                  Lewisville, NC 27023


                  Clarence Johnson
                  9637 Trafford Court
                  Cincinnati, OH 45231


                  Clarence Kendrick
                  128 North Hix Road
                  Westland, MI 48185


                  Clarence Knight
                  16199 La Salle Ave
                  detroit, MI 48221
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                  Clarence Krygsheld
                  132 Wedgewood Way
                  Bolingbrook, IL 60440


                  Clarence LaBar
                  8125 Highway 165
                  Ravenel, SC 29470


                  Clarence Lofton
                  2021 Paddington Drive
                  Indian Trail, NC 28079


                  Clarence Malish
                  14323 South Duffield Road
                  Byron, MI 48418


                  Clarence McAfoose
                  13954 N Meridian Rd
                  North Manchester, IN 46962


                  Clarence McCormick
                  2270 Martha Street Extension
                  New Castle, PA 16101


                  Clarence Muirhead
                  3105 Old Pageland Monroe Rd
                  Monroe, NC 28112


                  Clarence Nance
                  10826 Harvey Street
                  Jones, MI 49061


                  Clarence Parks
                  1505 Lanark St
                  Flossmoor, IL 60422


                  Clarence Pollock
                  465 Alton Rd
                  Galloway, OH 43119


                  Clarence Stanley
                  46 Trinity Dr
                  Rineyville, KY 40162
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                  Clarence Sumpter
                  600 Winslow Way
                  Columbia, SC 29229


                  Clarence Toland
                  4818 Milford Road
                  Wilmington, NC 28405


                  Clarence Washington
                  891 Norview Arch
                  Norfolk, VA 23513


                  Clarence West
                  103 Overlook Court
                  Easley, SC 29642


                  Clarence Williams
                  17601 River Rd
                  Chesterfield, VA 23838


                  Clarence Yarber
                  2402 Jones Street
                  Eldorado, IL 62930


                  Clarenced York
                  12300 Maysville-Williams Rd
                  Logan, OH 43138


                  Claretta Barnes
                  6222 North County Road 400 West
                  Greencastle, IN 46135


                  Clarissa Perkins
                  22434 Georgetown Rd
                  Homeworth, OH 44634


                  Clark Scott
                  18260 Ohio St
                  Detroit, MI 48221


                  Clark Van Dam
                  3426 Perry St
                  Hudsonville, MI 49426
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                  Clarke Farmer
                  825 Ben Grady Collins Road
                  Statesboro, GA 30458


                  Claude Goodwin
                  425 StonyBrook Rd
                  Wirtz, VA 24184


                  Claude Harris
                  4225 East 53rd Street
                  Kansas City, MO 64130


                  Claude Marit
                  1825 Hiller Road
                  West Bloomfield Township, MI 48324


                  Claude Mumpower
                  23642 Archery Range Rd
                  Bristaol, VA 24202


                  Claude Renegar
                  1322 Buffalo Shoals Rd
                  Catawba, NC 28609


                  Claude Wright
                  4494 Timber Ridge Rd
                  Bedford, VA 24523


                  Claudette Jackson
                  647 Red Bug Road
                  Hallsboro, NC 28442


                  Claudette Smith
                  2445 Dam Rd
                  West Branch, MI 48661


                  Claudia Bey- Hagood
                  952 Cumbee Trail Road
                  Aiken, SC 29805


                  Claudia Certuche
                  328 Crown Avenue
                  Scranton, PA 18505
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                  Claudia Clifton
                  3783 Cedar Bush Rd
                  Hayes, VA 23072


                  Claudia Florez
                  212 Weatherby Drive
                  Greenville, SC 29615


                  Claudia Mabry
                  296 mabry lane
                  tar heel, NC 28392


                  Claudia Russell
                  140 Moore Allen St
                  Dudley, NC 28333


                  Claudia Sands
                  8906 Nelson Wood Lane
                  Glouster, VA 23061


                  Claudia Soto Perez
                  1140 Nw 62Nd Ter
                  Kansas City, MO 64118


                  Claudia Souriall
                  2155 Hummer Lake Rd
                  Ortonville,, MI 48462


                  Claudio Lanza
                  1359 Whistling Ln
                  York, SC 29745


                  Claudiu Ristea
                  12206 Remland Court
                  Remington, VA 22734


                  Clawson Bennett
                  11680 PODUNK NE
                  Greenville, MI 48838


                  Clay Campbell
                  143 Deer Rd
                  Boyers, PA 16020
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                  Clay Frey
                  6511 E 85th Ct
                  Merrillville, IN 46410


                  Clay Holm
                  746 Woodall Point Rd
                  South Pittsburg, TN 37380


                  Clay Humphries
                  1196 Liberty Lane
                  Gallatin, TN 37066


                  Clay Riley
                  104 Lily Pl
                  Goldsboro, NC 27530


                  Clay Wilson
                  9374 marlfield rd
                  Gloucester, VA 23061


                  Clayton G Rott
                  110 Overland Pass
                  Altoona, PA 16602


                  Clayton Getchell
                  17810 Wilkinson Road
                  Dinwiddie, VA 23841


                  Clayton Greene
                  1155 Clarks Place Road
                  Waynesboro, GA 30830


                  Clayton Kelley
                  918 Engelman St.
                  Manistee, MI 49660


                  Clayton Kesselring
                  2165 Oakwood Rd
                  Ortonville, MI 48462


                  Clayton Law
                  4339 Crowfield Dr
                  Raleigh, NC 27610
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                  Clayton Lindsay
                  240 Saint Mark Drive
                  West Columbia, SC 29170


                  Clayton Minzey
                  18720 9 Mile Road
                  Kaleva, MI 49645


                  Clayton Mitchell
                  252 Soggy Bottom Lane
                  Dillwyn, VA 23936


                  Clayton O'Donovan
                  419 Maltby Road
                  Marble, NC 28905


                  Clayton Pitcher
                  601 Hannah Creek Rd
                  Four Oaks, NC 27524


                  Clayton Stephens
                  3430 Hubbs Crossing Ln
                  Knoxville, TN 37938


                  Clayton Waldhoff
                  1160 County Road 1400 North
                  Lerna, IL 62440


                  Clayton Ward
                  225 North Cedar Avenue
                  Independence, MO 64053


                  Clayton Worrell
                  2561 Gully Tavern Road
                  Rice, VA 23966


                  Cleaters (Cleat) Hart
                  4104 Leland Road
                  Grifton, NC 28530


                  Cleaters Hart
                  4104 Leland Road
                  Grifton, NC 28530
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                  Cleatis Lloyd
                  222 North Main Street
                  Mooresville, IN 46111


                  Cledith Paul Gowers
                  159 Northwest 10th Street
                  Oak Island, NC 28465


                  Clem Dobbins
                  203 Glenn Laurel Drive
                  Pikeville, NC 27863


                  Clement Lawrence
                  250 school dr round lake Illinois
                  Round Lake Heights, IL 60073


                  Clement Morris
                  1730 Bear Hole Road
                  Vanceboro, NC 28586


                  Clement Sydnor
                  292 Riverview Road
                  Stevensville, VA 23161


                  Clemon Fox
                  4922 Grimm Drive
                  Lockbourne, OH 43137


                  Clent McCorkle
                  40690 Riverdale Dr
                  Paw Paw, MI 49079


                  Cleo Harger
                  3784 North Delaware Avenue
                  Springfield, MO 65803


                  Cleveland Browns FirstEnergy Stadium
                  100 Alfred Lerner Way
                  Cleveland, OH 44114


                  Cleveland Indians
                  2401 Ontario St
                  Cleveland, OH 44115
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                  Cleven Rose
                  4816 Grand Slam Ave
                  ROLESVILLE, NC 27571


                  Cliff Bevier
                  137 North Sherman Street
                  Sheridan, MI 48884


                  Cliff Boone
                  2333 Maylo Path
                  Akron, OH 44312


                  Cliff Clune
                  200 harris ave
                  Elkin, NC 28621


                  Cliff Frye
                  1118 Old Crabtree Road
                  Latrobe, PA 15650


                  Cliff Johnson
                  2910 Fair Oak Road
                  Amelia, OH 45102


                  Cliff Kemp
                  15256 Crescentwood Ave
                  Eastpointe, MI 48021


                  Cliff Knasinski
                  10382 Davison Road
                  Davison, MI 48423


                  Cliff Lockhart
                  525 Baggage Rd
                  Madison, NC 27025


                  Cliff Metz
                  112 Bomberger Rd
                  Akron, PA 17501


                  Cliff Severance
                  3313 Wrenn House Court
                  Herndon, VA 20171
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                  Cliff Shelhert
                  1110 e John st.
                  Knox, IN 46534


                  Cliff Sult
                  7200 Devonshire Dr
                  Kannapolis,, NC 28081


                  Clifford "CJ" Kirvan
                  137 White Oak Dr.
                  Titusville, PA 16354


                  Clifford Anderson
                  3212 Guenevere Dr
                  Chesapeake, VA 23323


                  Clifford Biewenga
                  16719 Ashley Lane
                  Holland, MI 49424


                  Clifford Chase
                  26315 Cunningham Drive
                  Warren, MI 48091


                  Clifford Coon
                  6700 North 250 West
                  Columbia City, IN 46725


                  Clifford Fox
                  5869 Liberty Fairfield Rd
                  Hamilton, OH 45011


                  Clifford Goller
                  4110 T-1301
                  Cape Charles, VA 23310


                  Clifford Hodge
                  1891 Gardner Rd
                  Hamilton, OH 45013


                  Clifford Jones
                  12926 S Parkway Dr
                  Garfield Heights, OH 44105
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                  Clifford Kirvan
                  137 White Oak Dr.
                  Titusville, PA 16354


                  Clifford Miller
                  1585 Sarah Rupport Rd
                  Nashville, NC 27856


                  clifford montgomery
                  17689 77th Street
                  South Haven, MI 49090


                  clifford morey
                  110 Eastwick Drive
                  Kathleen, GA 31047


                  Clifford Pulver
                  2729 River Oaks Drive
                  Chesapeake, VA 23321


                  Clifford Rogers
                  6005 north Carolina hwy 86 north
                  Hillsborough, NC 27278


                  Clifford Sickler
                  40660 Township Road 289
                  Lewisville, OH 43754


                  Clifford Sommer
                  7262 Old Bunch Road
                  Wendell, NC 27591


                  Clifford Taylor
                  179 Mystic Ln
                  London, KY 40744


                  Clifford Wetzel
                  8750 Courtland Dr NE
                  Rockford, MI 49341


                  CLIFFORD WINDOM
                  6423 Misty Creek
                  Missouri City, TX 77459
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                  Clifton Alston
                  859 Manson-Drewry Road
                  Manson, NC 27553


                  Clifton Chapman
                  4824 Black Sycamore Drive
                  Columbus, OH 43231


                  Clifton Cordes
                  5623 state route Indiana 16
                  Roann, IN 46974


                  Clifton Jackson
                  4930 Wilgrove Mint Hill Road
                  Mint Hill, NC 28227


                  Clifton Jacobs
                  4209 Martina Drive
                  Rockford, IL 61114


                  Clifton Morsberger
                  9505 Cameo St
                  Fredericksburg, VA 22408


                  Clifton VanArtsdalen
                  382 Cherry Hill Road
                  Gardners, PA 17324


                  CliftonLarsonAllen LLC
                  220 S 6th St
                  Suite 300
                  Minneapolis, MN 55402-1418


                  Clint Almquist
                  262 Wilson Lake Rd
                  Mooresville, NC 28117


                  Clint Bivens
                  11304 M-66
                  Bellevue, MI 49021


                  Clint Blaine
                  1393 Riverside Rd
                  Bluff City, TN 37618
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                  Clint Clark
                  463 6th St
                  Plainwell, MI 49080


                  Clint Davis
                  1508 Marlboro Avenue
                  Pittsburgh, PA 15221


                  Clint Koenig
                  413 Fredricksburg Way
                  Wright City, MO 63390


                  Clint Outlaw
                  634 Lakeview Drive
                  Colonial Beach, VA 22443


                  Clint Reinbold
                  108 E 3rd St
                  Mifflinville, PA 18631


                  Clint Robbins
                  2508 Devon Avenue
                  Loves Park, IL 61111


                  Clint Schleicher
                  3350 Fairyland Rd
                  Lehighton, PA 18235


                  Clint Schmidt2
                  2087 Byrds Mill Rd
                  Glade Hill, VA 24092


                  Clinton Ages
                  1765 Loch Lomond Trail Southwest
                  Atlanta, GA 30331


                  Clinton Cockrell
                  19042 Henning Road
                  Danville, IL 61834


                  Clinton Corpening
                  4 Evergreen Circle
                  Myrtle Beach, SC 29575
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                  Clinton Hancock
                  504 Sanford Gragg Rd.
                  Hudson, NC 28638


                  Clinton Luetkemeyer
                  3214 Southwood Terrace
                  Jefferson City, MO 65101


                  Clinton McMurray
                  115 McNees Lane
                  Imperial, PA 15126


                  Clinton Parker
                  7769 Wriley Road
                  Toomsboro, GA 31090


                  Clinton Taylor
                  601 North 18th Street
                  New Castle, IN 47362


                  CLOVIS CASTO jr
                  1183 East Mud River Road
                  Milton, WV 25541


                  Clyde Baugh
                  399 E Wilson Rd
                  Bloomfield, IN 47424


                  CLYDE BENSON
                  930 N Middle St
                  Cape Girardeau, MO 63701


                  Clyde Floyd
                  636 Northwest 312th Street
                  Plattsburg, MO 64477


                  Clyde Hammons
                  135 Allyson Cir
                  Junction City, KY 40440


                  Clyde Johnson
                  608 Gardner Street
                  Franklin, VA 23851
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                  Clyde Krepps
                  4100 Braeburn Drive
                  Norton Shores, MI 49441


                  Clyde Mason
                  1581 Fountainhead Lane
                  St. Louis, MO 63138


                  Clyde Maxwell
                  2925 East 700 North
                  Rushville, IN 46173


                  clyde Rolston
                  1863 Sugar Ridge Road
                  Spring Hill, TN 37174


                  Clyde Shaffner
                  2645 Smiths Crossing Rd
                  Freeland, MI 48623


                  Clyde Thomas
                  869 Heritage Lake
                  Grayson, GA 30017


                  Clyde Welford
                  560 Lynn St
                  Baldwin, MI 49304


                  Clyde White
                  140 Marlow Drive
                  Pittsburgh, PA 15235


                  Clydette Baumgardner
                  3026 Stoystown Road
                  Stoystown, PA 15563


                  Coby Woodrum
                  8315 Clapps Chapel Rd
                  Corryton, TN 37721


                  Codey Slack
                  165 Waterman Ave
                  Coldwater, MI 49036
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                  Cody Arellano
                  4707 Vista Green Ct
                  Wilmington, NC 28412


                  Cody Ballenger
                  4085 U.S. 36
                  Urbana, OH 43078


                  Cody Bramblett
                  334 Spring Grove Drive
                  Vinton, VA 24179


                  Cody Butterworth
                  333 Lincoln Drive
                  Gower, MO 64454


                  Cody Davis
                  2583 Mason St
                  Dorr, MI 49323


                  Cody Dewyer
                  2010 Debord Rd
                  Chillicothe, OH 45601


                  Cody Evans
                  4181 State Road S-21-225
                  Johnsonville, SC 29555


                  Cody Foley
                  6592 Simmers Valley Rd
                  Harrisonburg, VA 22802


                  Cody Freeman
                  3317 Dunkirk Ave
                  Norfolk, VA 23509


                  Cody Griesmann
                  5785 Lake Manor Drive
                  Fairfield, OH 45014


                  Cody Hesseling
                  1009 Cadillac Dr
                  Van Wert, OH 45891
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                  Cody Hilley
                  11740 Shepard Hill Rd
                  Willis, TX 77318


                  Cody Jennings
                  13910 Silver St
                  Weston, OH 43569


                  Cody Kennedy
                  3810 White Petals Court
                  Winston-Salem, NC 27107


                  Cody Knapp
                  5134 Ann Hackley Road
                  Fort Wayne, IN 46835


                  Cody Meissner
                  198 Hutchens Lane
                  Deer Lodge, TN 37726


                  Cody Neuffer
                  4440 Romaine Road
                  New Harmony, IN 47631


                  Cody Osborn
                  254 Pleasant Ridge Court
                  Benson, NC 27504


                  Cody Parrish
                  135 Orion Way
                  Stafford, VA 22556


                  Cody Richardson
                  531 Hurricane Creek Road
                  Noble, IL 62868


                  Cody Roberts
                  1145 Fernwood Street
                  Bridge City, TX 77611


                  Cody Ross
                  128 Bon Ton Rd
                  Lynchburg, VA 24503
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                  Cody Schapson
                  6811 Birchbark Ave LOT 34
                  Canton, OH 44721


                  Cody Sheets
                  1164 Safford School Rd
                  Gallipolis, OH 45631


                  Cody Smith
                  371 Longview Dr
                  bassett, VA 24055


                  Cody Stonerock
                  21506 Ohio 327
                  Laurelville, OH 43135


                  Cody Stowe
                  369 Bell Farms Lane
                  Palmyra, VA 22963


                  cody tarr
                  415 Ridge Road
                  Cowansville, PA 16218


                  Cody Totherow
                  1613 London Ct
                  Hickory, NC 28601


                  Cody Vann
                  3040 Knobs Rd
                  Union, WV 24983


                  Cody Wendell
                  4840 Tschopp Road Northeast
                  Lancaster, OH 43130


                  Cody Whitlock
                  9426 1st View St
                  Norfolk, VA 23503


                  Cody Young
                  813 Washington Avenue
                  Monaca, PA 15061
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                  Cody Zippmann
                  4411 Martin Luther King Drive
                  Godfrey, IL 62035


                  Colburg Shelley
                  13834 Troy Avenue
                  Robbins, IL 60472


                  Colby Baver
                  1835 W Southern Ave
                  South Williamsport, PA 17702


                  Colby Cockman
                  233 Sunrise Ave
                  Franklinville, NC 27248


                  Colby Green
                  34525 30 Mile Rd
                  New Haven, MI 48050


                  Colby Proffitt
                  7665 Vancouver Ct
                  Wilmington, NC 28412


                  Cole Cochran
                  5814 E 900 N
                  Remington, IN 47977


                  Cole Erdmann
                  429 West 59 Terrace
                  Kansas City, MO 64113


                  Cole Lowman
                  8211 Tom Smith Ave
                  Connelly Springs, NC 28612


                  Cole Nash
                  1708 Tallent Town Rd
                  Warsaw, VA 22572


                  cole spencer
                  9835 State Highway 7
                  Elizabethtown, IN 47232
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                  Cole(Sonny) Lawson
                  8187 Mount Carmel Road
                  Walterboro, SC 29488


                  Coleen Johnson
                  446 Cedar St
                  Jenkintown, PA 19046


                  Coleman Kirk
                  7650 Merrick Street
                  Taylor, MI 48180


                  Colette Moore
                  5504 Dressel Drive
                  Saint Charles, MO 63304


                  Colin Adams
                  322 Lyter Court
                  Carbondale, KS 66414


                  Colin Decker
                  148 Clear Water Court
                  Gordonsville, VA 22942


                  Colin Elswick
                  387 Dial Rock Rd
                  North Tazewell, VA 24630


                  Colin Hall
                  186 27th Street Southeast
                  Massillon, OH 44646


                  Colin Kulasik
                  5090 Eastbrook Ct
                  Shelby Charter Township, MI 48316


                  Colin Laird
                  133 Beaver Creek Rd
                  Loysburg, PA 16659


                  Colin Lee
                  2660 Little Creek Dam Road
                  Toano, VA 23168
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                  Colin O'Connor
                  1513 Orien Ln
                  Stroudsburg, PA 18360


                  Colin Roberts
                  6157 Florence Drive
                  Morrow, GA 30260


                  Colleen Adkins
                  7939 Crane Rd
                  Ypsilanti, MI 48197


                  Colleen Anderson
                  6409 Durham Dr
                  Canton, MI 48187


                  Colleen Bartlett
                  2715 Duluth Street
                  Highland, IN 46322


                  Colleen Bobo
                  142 Stribling Cir
                  Spartanburg, SC 29301


                  Colleen Gibson
                  654 Henard Road
                  Greeneville, TN 37743


                  Colleen Higgs
                  10106 W Awbrey Rd
                  Quincy, IN 47456


                  Colleen Lux
                  110 Georgetown Road
                  Wilmington, NC 28409


                  Colleen Mackinnon
                  2763 White Creek Trail
                  Morganton, NC 28655


                  Colleen Messier
                  3201 Waxhaw Hwy
                  Monroe, NC 28112
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                  Colleen Raulerson
                  11107 Pinnacle Mountain Rd
                  Hendersonville, NC 28739


                  Colleen Reurink
                  1497 Mathison Road
                  Hastings, MI 49058


                  Colleen Ross
                  7215 North Genesee Road
                  Genesee charter Township, MI 48437


                  Colleen Sayers
                  5070 Sioux Court
                  Flushing, MI 48433


                  Colleen Strain
                  8941 Old French Rd
                  Erie, PA 16509


                  Colleen Sweeney
                  608 Snyder Street
                  Conway, PA 15027


                  Collen Martin
                  6523 Ellinwood Drive
                  White Lake, MI 48383


                  Collene Weber
                  667 Manor Drive
                  Ebensburg, PA 15931


                  Collette Wagner
                  5751 Pomeroy St
                  Cincinnati, OH 45230


                  Collin Gross
                  4350 N Leaton Rd
                  Rosebush, MI 48878


                  Collin Shank
                  4512 Williston Road
                  Northwood, OH 43619
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                  Collins Halstead
                  100 Gross Rd
                  Sugarloaf, PA 18249


                  Colt Burrows
                  210 W 35th St
                  Connersville, IN 47331


                  Colt Chase
                  1536 Pacific Ct
                  Osawatomie, KS 66064


                  Colt Henbest
                  22802 Lawrence 1170
                  Verona, MO 65769


                  Colt Richmond
                  105 George Dryden Rd
                  Manchester,, OH 45144


                  Colten Wiley
                  339 Poplar Springs Rd
                  Tallapoosa, GA 30176


                  Colton Waterbury
                  3150 McKinley Rd
                  Chelsea, MI 48118


                  Columbus Income Tax Division
                  P.O. Box 182437
                  Columbus, OH 43218-2437


                  Columbus Moore
                  19161 Lancashire St
                  Detroit, MI 48223


                  Columbus Wilson
                  313 Hoody Hudson Rd
                  CATAULA, GA 31804


                  Company Nurse, LLC
                  8360 E Via De Ventura, Suite L-200
                  Scottsdale, AZ 85258
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                  Concentra
                  PO Box 5106
                  Southfield, MI 48086-5106


                  Concord Property Development, LLC
                  500 South Main Street
                  Mooresville, NC 28115


                  Concur Technologies, Inc.
                  601108th Ave NE, Suite 1000
                  Belleview, WA 98004


                  Confucius Hernton
                  154 Dixon Circle
                  Fayetteville, GA 30215


                  Conner Rees
                  324 Osprey Point Drive
                  Sneads Ferry, NC 28460


                  Conney Sailes
                  12680 Georgia 196
                  Ludowici, GA 31316


                  Conni Grames
                  12690 Potter St
                  Weston, OH 43569


                  Connie Abbott
                  10104 Morrish Road
                  Swartz Creek, MI 48473


                  Connie Bailey
                  1556 County Road 251
                  Jeromesville, OH 44840


                  Connie Bellomy
                  10903 Co Rd 550
                  Chillicothe, OH 45601


                  Connie Blumhagen
                  377 Jacks Mill Road Southeast
                  Copper Hill, VA 24079
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                  Connie Bookman
                  444 Cross Road
                  Belpre, OH 45714


                  Connie Boone
                  6844 Maplewood Road
                  Parma Heights, OH 44130


                  Connie Borders
                  2186 Franklin Laurel Road
                  New Richmond, OH 45157


                  Connie Bowman
                  839 Knollwood Circle Southwest
                  Washington Court House, OH 43160


                  Connie Burns
                  13060 Scott Road
                  Springfield Township, MI 48350


                  Connie Byrd
                  13478 Boone Trail
                  Purlear, NC 28665


                  Connie Carboni
                  1809 Cameron Lane
                  New Haven, IN 46774


                  Connie Clark
                  2211 Salem Rd
                  Spoat Springs, VA 24593


                  Connie Dalton
                  6445 Divers Road
                  Fairlawn, VA 24141


                  Connie Davidson
                  2131 Sandy Gap Road
                  Raven, VA 24639


                  Connie Dewitt
                  6579 Dale Ave.
                  Hudsonville, MI 49426
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                  Connie Dominick-Vanbuskirk
                  3901 West 31st Street
                  Muncie, IN 47302


                  Connie Durham
                  309 Timber Creek Dr
                  Connersville, IN 47331


                  Connie Enyeart
                  403 East 2nd Street
                  North Manchester, IN 46962


                  Connie Ford
                  8204 Morrish Rd
                  Flushing, MI 48433


                  Connie Goldsmith
                  1166 East County Road 1075 north
                  Shobonier, IL 62885


                  Connie Goorhouse Tubicsak
                  2925 Neff Street
                  Elkhart, IN 46514


                  Connie Harris
                  2408 Mosley St
                  Waynesboro, VA 22980


                  Connie Hitch
                  517 South Sybald Street
                  Westland, MI 48186


                  Connie Koechner
                  2425 Robin Lane
                  Mountain Grove, MO 65711


                  Connie Landreth
                  259 Powerline Road
                  Spring City, TN 37381


                  Connie Logan
                  14340 Park Dr
                  Mecosta, MI 49332
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                  Connie Lowe-Mull
                  5730 Horseshoe Bend Rd
                  Liberty Township, OH 45011


                  Connie Mitchell
                  502 Jenny Lane
                  Pulaski, TN 38478


                  Connie Morrow
                  191 Riverview Addition
                  Bedford, IN 47421


                  Connie Mullins
                  601 E 22nd St
                  Owensboro, KY 42303


                  Connie Peason
                  1611 Stateline Road
                  Niles, MI 49120


                  Connie Powell
                  19020 Cope Rd
                  Illiopolis, IL 62539


                  Connie Prebula
                  16340 Morocco Rd
                  Petersburg, MI 49270


                  Connie Reynolds-Shine
                  600 Hancock Road
                  Burkeville, VA 23922


                  Connie Rodriguez
                  2375 Titian Dr
                  Cincinnati, OH 45244


                  Connie Schrombeck
                  115 Halstead Street
                  Lowell, IN 46356


                  Connie Sears
                  235 Woodland Drive
                  Hillsboro, OH 45133
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                  Connie Shuler
                  1609 Mc Pherson Street
                  Greensboro, NC 27405


                  Connie Sipp
                  1806 Mallard Dr
                  Houston, TX 77043


                  Connie Walker
                  2807 Wayne Street
                  Erie, PA 16504


                  Connie White
                  72717 12th Avenue
                  South Haven, MI 49090


                  Connie Williams
                  2014 Fox Trail Dr
                  La Grange, KY 40031


                  Connie Williams
                  4407 Lake Street
                  Bridgman, MI 49106


                  Connie Wine
                  306 Mitchell Avenue
                  Clever, MO 65631


                  Connie Wymer
                  921 Plymouth Ridge Road
                  Ashtabula, OH 44004


                  Connie Yates
                  6112 Pine Meadows Dr
                  Loveland, OH 45140


                  Connor Anderson
                  5011 Colorado Ave
                  Harrisburg, PA 17109


                  Connor Green
                  114 Hillside Court
                  Jacksonville, NC 28546
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                  Connor Halpin
                  7144 Sweetgrass Blvd
                  Hanahan, SC 29410


                  Connor Mannion
                  2437 62nd St
                  Fennville, MI 49408


                  Connor Martin
                  3212 Optimist Farm Road
                  Apex, NC 27539


                  Connor Samuel
                  196 hill rd callao va
                  Callao, VA 22435


                  Conny Vincent
                  1727 Lilac Mist
                  San Antonio, TX 78260


                  Conrad Carlson
                  2362 South Pendell Road
                  Ithaca, MI 48847


                  Conrad Feiling
                  3538 Valley Drive
                  Pittsburgh, PA 15234


                  Conrad Jenkins
                  1800 Brotman Court
                  Virginia Beach, VA 23464


                  Conrad Mbassa
                  38763 Courtland Dr
                  Willoughby, OH 44094


                  Conrad Yetter
                  507 Finchley Rd
                  Portsmouth, VA 23702


                  Constance Hall
                  290 Chadwick Acres Rd
                  Sneads Ferry, NC 28460
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                  constantino Diaz-Miranda
                  377 Sugar Hollow Road
                  Jonesborough, TN 37659


                  constanze Mendoza
                  4562 dover rd
                  Indian mound, TN 37079


                  Consuelo Magana
                  3261 Atlanta Boulevard
                  Portage, IN 46368


                  ConsumerAffairs
                  297 Kingsbury Grade
                  Suite 1025 Mailbox 4470
                  Stateline, NV 89449-4470


                  Contact Center Compliance Corp
                  350 E Street
                  Santa Rosa, CA 95404


                  Coorrie Neal
                  1904 Russet Ave
                  Goshen, IN 46528


                  Copper Ridge Condos
                  16215 Redstone Mountain Ln.
                  Charlotte, NC 28277


                  Cora Epps
                  2519 Old Dam Road
                  Goochland, VA 23063


                  Cora Rhodes
                  7713 Mendota dr
                  Richmond, VA 23229


                  Corbin Ellis
                  1018 Garfield Avenue
                  Lincoln Park, MI 48146


                  Cord Taylor
                  107 Fern Lane
                  Ligonier, PA 15658
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                  Cordelia Kondas
                  9536 Kummer Road
                  McCandless, PA 15101


                  Cordell Williams
                  623 w Foulke Ave
                  Findlay, OH 45840


                  Corey (Husband) Walmer
                  4749 South Raccoon Road
                  Canfield, OH 44406


                  Corey Agard
                  1822 Oak Avenue
                  North Muskegon, MI 49445


                  Corey Bankson
                  2111 Marchon Drive
                  Port Huron, MI 48060


                  Corey Bradford
                  9677 Spring Branch Drive
                  North, VA 23128


                  Corey Brookshire
                  4050 Old Clyde Rd
                  Clyde, NC 28721


                  Corey Christian
                  440 Ashbury Court
                  Monroeville, PA 15146


                  Corey Clardy
                  1023 West Austin Street
                  Webb City, MO 64870


                  Corey Diehl
                  2396 N Dickenson Rd
                  Coleman, MI 48618


                  Corey Donker
                  2917 Ames Cove Drive
                  Suffolk, VA 23435
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                  Corey Duvall
                  13256 Telegraph Road
                  Flat Rock, MI 48134


                  Corey Ernst
                  14112 Hix Street
                  Livonia, MI 48154


                  Corey Fry
                  37464 County Road 270
                  De Witt, MO 64639


                  Corey George
                  38715 Berkshire Ave
                  Avon, OH 44011


                  Corey Gifford
                  107 Ifft Ln
                  Butler, PA 16001


                  Corey Gilbert
                  1511 7th Ave
                  Berwick, PA 18603


                  Corey Goss
                  179 Miller Road
                  Benson, NC 27504


                  Corey Graham
                  1990 Pleasant Hope Road
                  Fairmont, NC 28340


                  Corey Gray
                  3115 Davis St
                  Norfolk, VA 23509


                  Corey Harouff
                  403 Miles Ridge Rd
                  Madison, IN 47250


                  Corey Holmes
                  796 Davis Beach Road
                  Little Plymouth, VA 23091
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                  Corey Howard
                  6 Parliament Ct
                  Hampton, VA 23669


                  Corey Jones
                  213 Northwest Street
                  Corry, PA 16407


                  Corey Kuhns
                  2954 Appaloosa Court
                  Graham, NC 27253


                  Corey Laprade
                  2039 3rd Street
                  Lynchburg, VA 24501


                  Corey Lawson
                  351 Wood Dr
                  Ruckersville,, VA 22968


                  Corey Maze
                  2166 Crossbough Drive
                  Toledo, OH 43614


                  Corey McNabb
                  478 Leatherford Road
                  Cleveland, GA 30528


                  Corey Mitchell
                  7011 State Line Rd
                  Cedar Grove, IN 47016


                  Corey Phillips
                  48 County Road 000 East
                  Belle Rive, IL 62810


                  Corey Rodriguez
                  2265 Impala Dr
                  Niles,, MI 49120


                  Corey Sensor
                  1410 Cozy Lane
                  Dyer, IN 46311
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                  Corey Skinner
                  250 Clarion Rd
                  Cherry Tree, PA 15724


                  Corey Swerdloff
                  14331 Northridge Dr
                  Charlotte, NC 28269


                  Corey Taylor
                  5703 Lorieville Lane
                  Richmond, VA 23225


                  Corey Vasquez
                  2201 Lincoln Ave
                  Evansville, IN 47714


                  Corey Willis
                  301 Booker St
                  Chesapeake, VA 23320


                  Corey Wise
                  4017 Abasco Street
                  Fayetteville, NC 28312


                  Corey Wright
                  5704 Pearl Rd
                  Ellabell, GA 31308


                  Corina Bustamante
                  503 1st St
                  LaFayette, GA 30728


                  Corinna Davis
                  1181 US-158 BUS
                  Norlina, NC 27563


                  Corinne lyons
                  102 rozelle ct
                  Stanley, NC 28164


                  Corinne Solis
                  1111 Harrison St
                  La Porte, IN 46350
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                  Corky Campbell
                  1918 Old Gate Rd
                  Sandusky, OH 44870


                  Corky Flatter
                  1398 s. 400 e.
                  Hartford City, IN 47348


                  CORLIS DEES
                  643 E Timber Brook Estates
                  Shelbyville, IN 46176


                  Corliss Ramsey
                  2926 Lawrence St
                  Detroit, MI 48206


                  Cornelious Barney
                  10196 Bellevue Road
                  Battle Creek, MI 49014


                  Cornelious Hill
                  7247 Henderson Road
                  Stony Creek, VA 23882


                  Cornelis Kwawegen
                  4260 Williamson Rd.
                  Saginaw, MI 48601


                  Cornelius Covington
                  12520 Laurelcrest Road
                  Laurinburg, NC 28352


                  Cornelius Greene
                  730 Wheless Road
                  Louisburg, NC 27549


                  Cornelius Lane
                  8283 Hamilton Drive
                  Gloucester, VA 23061


                  Cornelius Venable
                  2889 Promise Land Road
                  Appomattox, VA 24522
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                  Cornelius Young
                  18601 Whitcomb
                  Detroit, MI 48235


                  Cornell Crawford
                  225 Auburn St
                  Inkster, MI 48141


                  Cornell Myers
                  10127 Skeman Rd
                  Brighton, MI 48114


                  Cornell Stockton
                  2914 Chatham Road
                  Martinsville, VA 24112


                  Corrin Bernardini
                  10327main street
                  Honor, MI 49640


                  Corrina Beall
                  2200 Barton Ave
                  Richmond, VA 23222


                  Corrine Aldrich
                  48131 Brewster Court
                  Plymouth, MI 48170


                  Corrine Mfune ( Lift and Pull )
                  5167 Farlow Street
                  ARCHDALE, NC 27263


                  Corrine Warns
                  4158 Indian Trail Rd
                  Keezletown, VA 22832


                  Cortez Colbert
                  614 Shortridge Rd
                  Fayetteville, NC 28303


                  Cortez Davidson
                  18131 Oak Avenue
                  Eastpointe, MI 48021
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                  Cortez Hamilton
                  925 Calista Ridge
                  Shiloh, IL 62269


                  Cortnei Brown
                  1709 Meadow Lake Drive
                  Norfolk, VA 23518


                  Cortney Banks
                  335 Beckenham Road
                  Union, OH 45322


                  Cortney Gibson
                  661 Pepperwood Dr
                  Brunswick, OH 44212


                  Cory Atkins
                  3484 Co Rd 11
                  Bellefontaine, OH 43311


                  Cory Betz
                  2769 Woodhaven Drive
                  Adrian, MI 49221


                  Cory Coulter
                  193 Bennett-Tingle Road
                  New Bern, NC 28560


                  Cory Cripps
                  4663 Rose Ct
                  Bay City, MI 48706


                  Cory Dillon
                  196 saint johns rd
                  Littlestown, PA 17340


                  Cory Fuller
                  324 Arbutus Ave
                  Cadillac, MI 49601


                  Cory graves
                  10370 East Lippincott Boulevard
                  Davison, MI 48423
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                  Cory Hanlon
                  113 Hilglor Drive
                  Pittsburgh, PA 15209


                  Cory Johnson
                  8180 River Road
                  Marine City, MI 48039


                  Cory Jones
                  6237 Darby Rd
                  Saranac, MI 48881


                  Cory Kausch
                  335 North Euclid Avenue
                  Indianapolis, IN 46201


                  Cory Lehman
                  2735 Yellowwood Ct
                  Columbus, IN 47203


                  Cory Lind
                  13920 Brightwater Drive
                  Fishers, IN 46038


                  Cory Maag
                  1443 Timberwood Dr
                  Findlay, OH 45840


                  Cory Melancon
                  10045 Eden Church Road
                  Saint Louisville, OH 43071


                  Cory Millikan
                  4561 East County Road 900 North
                  Brazil, IN 47834


                  Cory Neifert
                  9219 pevely crossing
                  Pevely, MO 63070


                  Cory Norman
                  8325 Long Rd
                  Canal Winchester, OH 43110
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                  Cory Post
                  373 W Co Rd 500 N, Bainbridge, IN 46105,
                  Bainbridge, IN 46105


                  Cory Richards
                  37 Falls Cir
                  Sylva, NC 28779


                  Cory Ritter
                  31 South West Street
                  Du Quoin, IL 62832


                  Cory Robison
                  6969 Stone Hwy
                  Tecumseh, MI 49286


                  Cory Salinas
                  4915 Cronk Street
                  Pleasant Lake, IN 46779


                  Cory Schalburg
                  4576 W 206th St
                  Sheridan, IN 46069


                  Cory Shoemaker
                  6757 La Fountaine Dr
                  Plainwell, MI 49080


                  Cory Smith
                  3730 Brokensword Rd
                  Bucyrus, OH 44820


                  Cory Sperry
                  106 Jonathan Jct
                  Yorktown, VA 23693


                  Cory Zimmerman
                  1431 county road 157
                  Fremont, OH 43420


                  Corylin Fleming
                  202 Virginia Dr
                  Tullahoma, TN 37388
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Coshocton City Income Tax
                  760 Chestnut St.
                  Coshocton, OH 43812-1294


                  Cotina Seay
                  6376 Virgil H Goode Highway
                  Rocky Mount, VA 24151


                  Coty Gilliam
                  114 Morning View Ct
                  sequatchie, TN 37374


                  Coty Parish
                  160 Chesterfield Bypass
                  Lexington, TN 38351


                  County Waste
                  PO Box 8010
                  Clifton Park, NY 12065-8010


                  court johansson
                  101 Pinewood Drive
                  Piedmont, SC 29673


                  Courtland Walters
                  891 Bamberg Place
                  Virginia Beach, VA 23453


                  Courtney Bell Rosenstein
                  3624 Amberidge Dr
                  Chapel Hill, NC 27514


                  Courtney Britt
                  10008 Continental Dr
                  Taylor, MI 48180


                  Courtney Dunstan
                  1012 Rock St
                  Durham, NC 27707


                  Courtney Elwell
                  1721 E Hibbard Rd
                  Owosso, MI 48867
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                  Courtney Foy
                  124 Blossom Creek Drive
                  Garner, NC 27529


                  Courtney Hodges
                  12079 Greern Rd
                  Goodrich, MI 48438


                  Courtney Kelly
                  1500 S Hubbard Rd
                  Lowellville, OH 44436


                  Courtney Moe
                  301 W Hile Rd
                  Norton Shores, MI 49441


                  Courtney Payne
                  4560 Cole Road
                  Hillsdale, MI 49242


                  Courtney Riofrio
                  4736 Sullivan Boulevard
                  Virginia Beach, VA 23455


                  Courtney Staup
                  2828 Hillman-Ford Rd
                  Morral, OH 43337


                  Courtney Swinson
                  4300 Atkins Rd
                  Port Huron, MI 48060


                  Courtney Taylor
                  2535 Grosvenor Dr
                  Cincinnati, OH 45231


                  Courtney Yoder
                  2557 YORDY RD
                  Mio, MI 48647


                  Coy Benningfield
                  2623 Grantville Ln
                  Asheboro, NC 27205
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                  Coyote Holmberg
                  2714 Jaycox Rd
                  Avon, OH 44011


                  CR Sackman
                  9052 West 1550 South
                  Wanatah, IN 46390


                  Craig Ahrens
                  6655 Wabasis Road Northeast
                  Belding, MI 48809


                  Craig Anderson
                  1708 Meadow Park Drive
                  North Chesterfield, VA 23225


                  Craig Andreasen
                  2652 US-117 North
                  Burgaw, NC 28425


                  Craig Baker
                  515 72nd Avenue
                  Lawton, MI 49065


                  Craig Baker
                  3680 Willow Nicole Lane
                  ADRIAN, MI 49221


                  Craig Berger
                  Stace L. Roth Sean R. Steberger Schulman
                  236 3rd Street SW
                  Canton, OH 44702


                  Craig Berger
                  13270 Sidney-Freyburg Rd
                  Anna, OH 45302


                  Craig Berry
                  2120 Cloverleaf Ln
                  Dayton, VA 22821


                  Craig Bodner
                  209 Green Lake Road
                  Moyock, NC 27958
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Craig Brouillette
                  9105 Great Meadows Dr
                  Clemmons, NC 27012


                  Craig Burkhalter
                  130 W. Campbell St.
                  Loudonville, OH 44842


                  Craig Campbell
                  2364 Pineview Ct
                  Flushing, MI 48433


                  Craig Catallo
                  3031 West Kimmel Road
                  Jackson, MI 49201


                  Craig Cihak
                  10184 N 650 E
                  New Carlisle, IN 46552


                  Craig Crawford
                  1645 Whetstone Road
                  Swansea, SC 29160


                  Craig Dahlbeck
                  17701 Wilkinson Rd
                  Dinwiddie,, VA 23841


                  Craig David
                  6757 Apache Lane
                  Bethlehem, PA 18017


                  Craig DeGarmo
                  2820 Doehne Rd
                  Harrisburg, PA 17110


                  Craig Doty
                  1303 Hedrick St
                  Delphos, OH 45833


                  Craig Dowell
                  10072 Forestedge Ln
                  Dayton, OH 45342
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                  Craig Edwards
                  104 N Lee St
                  buckner, MO 64016


                  craig filer
                  26 Coal St
                  Nesquehoning, PA 18240


                  Craig Fitts
                  31 Helen Lane
                  Hamilton, GA 31811


                  Craig Foster
                  4802 Old Shore Rd
                  Blackstone, VA 23824


                  Craig Fulton
                  3526 U.S. 68
                  Dunkirk, OH 45836


                  Craig Grappion
                  2435 Old State Rd
                  Pinconning, MI 48650


                  Craig Grimes
                  19 Meadow Moor Way
                  Mitchell, IN 47446


                  Craig Haines
                  6345 Hunters Creek Rd
                  Imlay City, MI 48444


                  Craig Hainzinger
                  4510 South Ridge Road
                  Oregon, IL 61061


                  Craig Hawkins
                  6067 East Division Road
                  Mill Creek, IN 46365


                  Craig Hedley
                  315 Sam Allen Rd
                  Roper, NC 27970
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                  Craig Hornby
                  47450 Stephanie Drive
                  Macomb, MI 48044


                  Craig Hunt
                  410 Wintergreen Ave
                  Michigan City, IN 46360


                  Craig Jarvis
                  234 Princess Drive
                  canton, MI 48188


                  Craig Jones
                  109 West Morrell Street
                  Jackson, MI 49203


                  Craig Knotts
                  4461 Reynolds Road
                  Centerburg, OH 43011


                  Craig Krivda
                  268 winter flake drive
                  statesville, NC 28677


                  Craig Kubichek
                  1 Red Stone Ct
                  Bloomington, IL 61704


                  Craig Lauder
                  539 S 300 E
                  kouts, IN 46347


                  Craig LeMasters
                  3111 Saxe Rd
                  Mogadore, OH 44260


                  Craig Long
                  5 Stevens Road
                  Franklin Furnace, OH 45629


                  Craig Lynch
                  207 North Cloudman Street
                  Charlotte, NC 28216
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                  Craig Madara
                  27 Sewickley Hills Drive
                  Sewickley, PA 15143


                  Craig Malloy
                  13344 Arlington Farm View Ln
                  Culpeper, VA 22701


                  craig mccloskey
                  2024 CAMPBELL ST
                  SANDUSKY, OH 44870


                  Craig Melson
                  505 S Lakeshore Dr
                  Louisa, VA 23093


                  Craig Miller
                  6463 Craig Dr
                  Cedar Hill, MO 63016


                  Craig Millward
                  1019 Kinzel Drive
                  Winchester, VA 22601


                  Craig Mullins
                  308 East Market Street
                  Palestine, IL 62451


                  Craig Murawski
                  1405 Pine Street
                  Essexville, MI 48732


                  Craig Niederriter
                  6841 Lalemant Dr
                  Parma, OH 44129


                  Craig Norton
                  683 Farrand Road
                  Sherwood, MI 49089


                  Craig Ooten
                  2605 Oak Park Drive
                  Cookeville, TN 38506
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                  Craig Overhiser
                  2917 70th St
                  South Haven, MI 49090


                  Craig Reeder
                  4044 round top
                  Murrysville, PA 15668


                  Craig Reutepohler
                  1257 Orchard Glen Drive
                  Amherst, OH 44001


                  Craig Royer
                  24160 County Road 44
                  Nappanee, IN 46550


                  Craig Sepanak
                  9120 Carpenter Road
                  Flushing, MI 48433


                  Craig Shahan
                  4122 Big Run Drive
                  Elkton, VA 22827


                  Craig Sipe
                  395 Luray Ave
                  Johnstown, PA 15904


                  Craig Smith
                  13291 County Road 42
                  Millersburg, IN 46543


                  Craig Spry
                  106 E Canvasback Dr
                  Currituck, NC 27929


                  Craig Stabley
                  372 Llanfair Road
                  Windber, PA 15963


                  Craig Stanton
                  1259 Maple Ct
                  Evansville, IN 47714
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                  Craig Story
                  177 Crestview Drive
                  Bellefonte, PA 16823


                  Craig Sundberg
                  745 Gold Ave
                  Erie, PA 16509


                  Craig Thomas
                  102 Rockfish Ln
                  Faber, VA 22938


                  Craig Tumidiski
                  4105 Dungannon Road
                  Coeburn, VA 24230


                  Craig Veney
                  559 mulberry Rd 22460
                  Farnham, VA 22460


                  Craig Wagner
                  2658 Hoffman Road
                  Greencastle, PA 17225


                  Craig Waple
                  30429 East Pointe Drive
                  Rockwood, MI 48173


                  Craig Welch
                  309 Ann Dr
                  Hendersonville, NC 28739


                  Craig White
                  80 Chambers Ridge Road
                  West Alexander, PA 15376


                  Craig Williams
                  5087 Ridgewood Street
                  Detroit, MI 48204


                  Craig Zimmerman
                  3820 Vineyard Ave NE
                  Grand Rapids, MI 49525
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                  CRAIG/CRYSTAL- DISBROW
                  410 Walnut Creek Road
                  Franklin, NC 28734


                  Craton McDaniel
                  179 Chestnut Lane SE
                  Calhoun, GA 30701


                  Creig Karhoff
                  5110 Exchange Road
                  Bancroft, MI 48414


                  Crest Watts
                  8218 Mentor Rd
                  Elizabeth, PA 15037


                  Criag Peltier
                  8825 Mary Ann Avenue
                  Shelby Township, MI 48317


                  Cris Crider
                  108 Windham Road
                  Oak Ridge, TN 37830


                  Cris Delrosario
                  3404 Red Hawk
                  Springfield, IL 62711


                  Crisley Cox
                  1718 Riverview Drive
                  Salem, VA 24153


                  Crispin Donahue
                  138 Winter Ln
                  Cortland, OH 44410


                  Cristea Parrish
                  2933 Lake View Dr
                  sumter, SC 29154


                  Cristen Hoagland-Easton
                  2127 Cawley Ave
                  Bethlehem, PA 18020
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                  Cristian Ramirez - Mendez
                  5978 Spring Meadow Lane
                  Seymour, IN 47274


                  Cristina Boggs
                  115 North Church Street
                  New Holland, OH 43145


                  Cristina Bunyard
                  13050 Boyd Rd
                  Bremond, TX 76629


                  Cristina Cojocar
                  7069 Berringer Ct
                  Maineville, OH 45039


                  Cristina Seicarescu
                  9511 Lockard Lane Northeast
                  Rockford, MI 49341


                  Crowe Judi
                  9841 South Reilly Haven Road
                  Borden, IN 47106


                  Cruz Castro Lopez
                  418 Red Hill Road
                  Mount Olive, NC 28365


                  Crystal Blackburn
                  2020 Huffine Mill Road
                  McLeansville, NC 27301


                  Crystal Borgeson
                  5400 Keystone Place
                  Virginia Beach, VA 23464


                  Crystal Brady
                  6508 Pine City Road
                  Venus, PA 16364


                  Crystal Church
                  3093 Peterson Rd
                  Jefferson, OH 44047
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                  Crystal Cottrell
                  3909 Algerene Rd.
                  Drakes Branch, VA 23937


                  Crystal Crews
                  5425 Yanceyville Rd
                  Browns Summit, NC 27214


                  Crystal Cureton
                  5075 Marseilles Street
                  Detroit, MI 48224


                  Crystal Delaney
                  10550 Wolven Ave NE
                  Rockford, MI 49341


                  Crystal Donathan
                  9118 Walton Street
                  Indianapolis, IN 46231


                  Crystal Easterlin
                  6016 Woodberry Farm Road
                  Orange, VA 22960


                  Crystal Edwards
                  103 Pioneer Trails Dr
                  Seven Springs, NC 28578


                  Crystal Elliott
                  16950 Private Road 4004
                  Somerville, TX 77879


                  Crystal Erving
                  2480 Mica Ct
                  Grove City, OH 43123


                  Crystal Ford
                  20 Narrow Drive
                  Kane, PA 16735


                  Crystal Fowler
                  5070 Blackheath Way
                  Fairburn, GA 30213
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                  Crystal Freeman
                  2472 Sylvan Lane
                  Alton, IL 62002


                  Crystal Gauder
                  6289 Black Diamond Road
                  North lawrence, OH 44666


                  Crystal Harrison
                  1211 N Ponca Dr.
                  Independence, MO 64056


                  Crystal Johnson
                  465 Kinsman Court
                  Fuquay-Varina, NC 27526


                  Crystal Jones
                  4341 N 122nd St
                  Kansas City, KS 66109


                  Crystal Lawson
                  2490 Estaline Valley Road
                  Goshen, VA 24439


                  Crystal Liming
                  3562 E. Base Rd
                  dillsboro, IN 47018


                  Crystal Long
                  130 Francis Drive
                  Georgetown, PA 15043


                  Crystal McElroy
                  618 wyatt ct
                  Cottleville, MO 63376


                  Crystal Murphy
                  4172 East River Road
                  Oscoda, MI 48750


                  Crystal Mwaura
                  152 Skipwith Drive
                  Wendell, NC 27591
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                  Crystal Partin
                  10849 General Kirkland Dr
                  Bristow, VA 20136


                  Crystal Patterson
                  50 Lincoln Street
                  Franklin, PA 16323


                  Crystal Piirainen
                  2613 Groesbeck Ave
                  Lansing, MI 48912


                  Crystal Poston
                  6434 Zion Rd NW
                  Rushville, OH 43150


                  Crystal Putnam
                  4134 Lake Wilson Road
                  Wilson, NC 27896


                  Crystal Robinson
                  145 Jennifer Cir
                  East Stroudsburg, PA 18302


                  Crystal Rodriguez
                  340 Hickory Court
                  Oakwood, IL 61858


                  CRYSTAL SAENZ
                  13720 Cabells Mill Dr
                  Centreville, VA 20120


                  Crystal Silva
                  2475 Stadium Rd,
                  Sumter,, SC 29154


                  Crystal Thomas
                  996 Bethany Ford Road
                  North Wilkesboro, NC 28659


                  Crystal Traynham
                  130 Freeway Road
                  Greenwood, SC 29649
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                  Crystal Whitt
                  5733 Thomas Jefferson Hwy
                  Charlotte Court House, VA 23923


                  Culligan Water Conditioning
                  2703 Airport Road
                  Plant City, FL 33563


                  Cully Reiff
                  3968 Jennifer Drive
                  Hamilton, OH 45013


                  Cupid Fincher
                  1803 Mt. Misery Rd.
                  Leland, NC 28451


                  Cuqui Guichardo
                  1262 North Ave NE
                  Grand Rapids,, MI 49505


                  Cure Holdings III, LLC
                  2733 E Battlefield St Number 144
                  Springfield, MO 65804


                  Cure Holdings III, LLC
                  2733 E. BATTLEFIELD
                  SPRINGFIELD, MO 65804


                  Curlie Dillard
                  101 Euclid Avenue
                  Lynchburg, VA 24501


                  Curt Chritzman
                  260 Harmony Road
                  Evans City, PA 16033


                  Curt Ehas
                  5960 Lisa Street
                  Columbus, OH 43231


                  Curt Jordan
                  11951 Rothban Rd
                  Byron, MI 48418
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                  Curt Kinney
                  4039 Grayson Drive
                  Obetz, OH 43207


                  Curt Koenig
                  34497 Parker Rd
                  Locust Grove, VA 22508


                  Curt Lapham
                  8292 Beecher Rd
                  Flushing, MI 48433


                  Curt Leicher
                  947 Flora St
                  Pittsburgh, PA 15212


                  Curt Long
                  4429 Willowbrook Road
                  Elsie, MI 48831


                  Curt Moore
                  2031 Cedar Hill Rd
                  Lancaster, OH 43130


                  Curt Nestinger
                  113 Buck Run Drive
                  Milford, PA 18337


                  Curt Vance
                  2417 Jennings Rd
                  New London, OH 44851


                  Curtis Achberger
                  2971 Robbins Road
                  Montoursville, PA 17754


                  Curtis Askew
                  411 Post Oak Way
                  Warner Robins, GA 31088


                  Curtis Baldwin
                  2506 Edsel Ave
                  Columbus, OH 43207
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                  Curtis Baxter
                  3601 E Eagle Beach Cir
                  Port Clinton, OH 43452


                  Curtis Brown
                  987 Magnolia Drive
                  Rock Hill, SC 29730


                  Curtis Brunson
                  1626 Redbud Circle
                  Radcliff, KY 40160


                  Curtis Carter
                  3089 Baylor Avenue
                  Columbus, OH 43219


                  Curtis Chaney
                  1401 Stoney Battery Road
                  Marion, VA 24354


                  Curtis Clifton
                  300 Carter Road
                  Elizabeth City, NC 27909


                  Curtis Comstock
                  6735 Hatchery Road
                  Waterford Township, MI 48327


                  Curtis Cook
                  3500 Martin Johnson Road
                  Chesapeake, VA 23323


                  Curtis Elbert
                  801 Glen Oak Cove
                  Chesapeake, VA 23323


                  Curtis Epp
                  16907 Gray Rd
                  Noblesville, IN 46062


                  Curtis Etzweiler
                  301 Kay Road
                  Mechanicsburg, PA 17050
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                  Curtis Franklin
                  17115 Glendale Ave
                  Cleveland, OH 44128


                  Curtis Garris
                  2775 Kimberly Court
                  Columbus, IN 47201


                  Curtis Gauthier
                  206 North Wood Street
                  Brunswick, MO 65236


                  Curtis Goss
                  113 Berkshire Cir
                  Winchester,, VA 22601


                  curtis green
                  10508 henderson rd
                  Otisville, MI 48463


                  Curtis Haftman
                  2045 Redrose Ave
                  Pittsburgh, PA 15210


                  Curtis Heverly
                  622 Gravel Point Road
                  Howard, PA 16841


                  Curtis Hooks
                  109 N Elm St
                  Rose Hill, NC 28458


                  Curtis I Wells
                  12398 Nash Hwy
                  Clarksville, MI 48815


                  Curtis Illig
                  2140 gala farm Ln
                  Raleigh, NC 27603


                  Curtis Jarvis
                  212 E Kelly St
                  Fredericktown, MO 63645
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                  Curtis Jenkins
                  4004 South Geber Road
                  Trivoli, IL 61569


                  Curtis Jones
                  2530 Fern St
                  Portage, IN 46368


                  Curtis Kiehl
                  530 Olean Trail
                  New Bethlehem,, PA 16242


                  curtis lewis
                  320 Liberty Road
                  Emporia, VA 23847


                  Curtis Mooney
                  6367 OH-534
                  West Farmington, OH 44491


                  Curtis Paddock
                  10807 June Dr
                  Hollyvilla, KY 40118


                  curtis sabo
                  7359 South Raccoon Road
                  Canfield, OH 44406


                  Curtis Schmitt
                  3433 Montgomery Ln
                  Newburgh, IN 47630


                  Curtis Taylor
                  9201 Peter Ave
                  Houghton Lake, MI 48629


                  Curtis Terry
                  5125 Schlaud Road
                  North Branch, MI 48461


                  Curtis Thorne
                  1288 North Logsdon Parkway
                  Radcliff, KY 40160
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                  Curtis Wyse
                  3300 Haines Rd
                  Petersburg, MI 49270


                  Cyndhia Ortega Ruiz
                  802 South Richardson Avenue
                  Columbus, OH 43204


                  Cyndi Brawley
                  1342 Farnsworth Rd
                  Clarendon, PA 16313


                  Cyndi Kimball
                  13453 Treasure Lake Rd
                  DuBois, PA 15801


                  Cyndi Lane
                  12126 Reeder Ave NE
                  Alliance, OH 44601


                  Cynthia A Kamp
                  12577 N MISSISSIPPI RIVER RD
                  Hamburg, IL 62045


                  Cynthia Adamiec
                  1655 Mt Zion Rd
                  Jackson, OH 45640


                  Cynthia Addison
                  2460 Lincoln Street
                  Gary, IN 46407


                  Cynthia Arent
                  10011 Jacks Ct
                  Boston, VA 22713


                  Cynthia Barnett
                  8771 Gosling Way
                  Powell, OH 43065


                  Cynthia Baum
                  2107 Locust Grove Rd
                  Mount Airy, NC 27030
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                  Cynthia Bearer
                  4378 Wilderness Trail
                  Rock Creek, OH 44084


                  Cynthia Bernardi
                  304 E River Bend Drive
                  Eatonton, GA 31024


                  Cynthia Bracey
                  1230 Hunters Trail
                  Hope Mills, NC 28348


                  Cynthia Brinson
                  2939 Ulm Rd
                  Hephzibah, GA 30815


                  Cynthia Brothers
                  6926 Retriever Lane
                  Wilmington, NC 28411


                  Cynthia Bush
                  8109 West Adaline Street
                  Yorktown, IN 47396


                  cynthia caldwell
                  62205 Savage Road
                  Cambridge, OH 43725


                  Cynthia Cassidy
                  861 S Sunrise Ln
                  Connersville, IN 47331


                  Cynthia Clark
                  3296 Simms Mountain Rd
                  Rainelle, WV 25962


                  Cynthia Click
                  6105 W Noe St
                  Kimmell, IN 46760


                  Cynthia Coles Smith
                  12122 Old Chula Rd
                  Amelia Court House, VA 23002
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                  Cynthia Cusmano
                  2000 Lake Lansing Rd Meridian Township
                  Haslett, MI 48840


                  Cynthia Duncan
                  6472 Cohoon Road
                  Belvidere, IL 61008


                  Cynthia Eubanks
                  1309 Cottontown Rd
                  Lynchburg, VA 24503


                  Cynthia Gimmey
                  8653 S Crawford Rd
                  Mount Pleasant, MI 48858


                  Cynthia Greene
                  1525 Peabody Dr, Maryville, TN 37803, US
                  Maryville, TN 37803


                  Cynthia Hanke
                  234 Parkside Drive
                  Ashland, OH 44805


                  Cynthia Hudspath
                  911 W 5th St
                  Johnston City, IL 62951


                  Cynthia J Brady
                  1403 Rehagen Blvd
                  Jefferson City, MO 65101


                  Cynthia Krueger
                  1298 Dayton Ave NW
                  Washington Court House, OH 43160


                  Cynthia Lang
                  543 Mountain Shadows Road
                  Hamilton, GA 31811


                  Cynthia Long
                  1009 n Kingshighway st
                  Saint Charles, MO 63301
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                  Cynthia Lynch
                  20 Pickos Place
                  Stafford, VA 22556


                  Cynthia Moon
                  23411 Ridge Road
                  Minerva, OH 44657


                  Cynthia Myres
                  261 Wood Duck Circle
                  Jeffersonville, IN 47130


                  cynthia nadell
                  11501 Sutfin Rd
                  Jerome, MI 49249


                  Cynthia Nagy
                  7322 Knoll Court
                  Temperance, MI 48182


                  Cynthia Owen
                  103 Briarwood Drive
                  Greenbrier, TN 37073


                  Cynthia Pride
                  503 Denver Street
                  Kannapolis, NC 28083


                  Cynthia Quantz
                  5510 Hot Springs Rd
                  Hot Springs, VA 24445


                  Cynthia Queiroga
                  1022 south 250 west
                  Albion, IN 46701


                  Cynthia Sheffler
                  200 East Washington Street
                  Blandinsville, IL 61420


                  Cynthia Shilan
                  5304 Ridgeview Road
                  Reva, VA 22735
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                  Cynthia Staley Harter
                  10334 Walnut St
                  Leo-Cedarville, IN 46765


                  Cynthia Stclair
                  335 Bonbrook Road
                  Wirtz, VA 24184


                  Cynthia Stepherson
                  4231 Cadillac Boulevard
                  Detroit, MI 48214


                  Cynthia Stone
                  1020 Louise Lane
                  Joliet, IL 60431


                  Cynthia Thomas
                  8711 Brookstead Dr
                  Charlotte, NC 28215


                  Cynthia Turner
                  5775 Haverhill St
                  Detroit, MI 48224


                  Cynthia Turner
                  18490 Meridian Rd
                  Grosse Ile Township, MI 48138


                  Cynthia Vickers
                  10605 Ravenna Ave NE
                  Louisville, OH 44641


                  Cynthia Walker
                  2055 meadow Ridge dr.
                  Commerce Charter Twp, MI 48390


                  Cynthia Wasem
                  688 Nicole Drive
                  Amherst, OH 44001


                  Cynthia Weintraub
                  1250 China Road
                  Macomb, IL 61455
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                  Cynthia Whitaker
                  100 Bramston Drive
                  Hampton, VA 23666


                  Cynthia Wilson
                  6260 Diley Road
                  Canal Winchester, OH 43110


                  Cynthia Woods
                  105 Druid Ln
                  Danville, VA 24541


                  Cyran Wong
                  3291 belfield rd
                  Freeman, VA 23856


                  Cyril Brown
                  320 View Ridge Drive
                  Goodlettsville, TN 37072


                  Cyrille Masse
                  581 Wilson Creek Ln
                  Lawrenceville, VA 23868


                  Czar Whitfield
                  8846 E 15th St
                  Indianapolis, IN 46219


                  D. R. Bain
                  4499 E Dunbar Rd
                  Monroe, MI 48161


                  Dabama Adjayi
                  3078 Jetstream Drive
                  Columbus, OH 43231


                  Dacho Ongudu
                  10003 Rain Cloud Drive
                  Houston, TX 77095


                  Daehyon Chang
                  5301 Killarney Hope Dr
                  raleigh, NC 27613
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                  Daffy Terry
                  1105 west hitesburg rd
                  Virgilina, VA 24598


                  Dahlas Ingram
                  1675 Savannah Ct
                  Superior Charter Twp, MI 48198


                  Daijon Clark
                  2406 Charleston Avenue
                  Portsmouth, VA 23704


                  Dain Kistner
                  3365 Woodward Rd
                  Huntingdon Valley, PA 19006


                  Dainora Soto Duran
                  2658 Stony Springs Trail
                  Buford, GA 30519


                  Daisy Diaz
                  1136 Percheron Drive Northwest
                  Dalton, GA 30720


                  Daisy Leonard
                  200 Leonard Ln
                  Volant, PA 16156


                  Daisy Reconco
                  9222 Symphony Way
                  Indianapolis, IN 46231


                  Daja Richardson
                  107 Wyoming Ave, Portsmouth, VA 23701, U
                  Portsmouth, VA 23701


                  Dakota Askren
                  5837 Brambleberry Court
                  Indianapolis, IN 46239


                  Dakota Cartwright
                  6077 Tri County Hwy
                  Sardinia, OH 45171
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                  Dakota Flack
                  1471 Chestnut Knob Rd
                  Layland, WV 25864


                  Dakota Matthews
                  825 Polecat Rd
                  Landisburg, PA 17040


                  Dakota Neff
                  3752 Suiter Road
                  Clarksville, TN 37040


                  Dakota Warren
                  1819 Shadowlawn Dr
                  St Mary?s, GA 31558


                  Dakotah silcox
                  2507 Underwood Place
                  Knoxville, TN 37917


                  Dale Austin
                  3534 Longview Ave
                  Rochester Hills, MI 48307


                  Dale Bishop
                  10710 Moores Chapel Road
                  Charlotte, NC 28214


                  Dale Bissonette
                  2928 Silver Lake Boulevard
                  Silver Lake, OH 44224


                  DALE BLACK
                  2013 Avalon Drive
                  Dillon, SC 29536


                  Dale Blakeslee
                  2101 Barritt Street
                  Lansing, MI 48912


                  Dale Bliss
                  2696 Wynterpointe Court
                  Kokomo, IN 46901
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                  Dale Boegeman
                  6475 Ohio 133
                  Goshen, OH 45122


                  Dale Brock
                  300 NELSON ST
                  SPARTA, MI 49345


                  Dale Brown
                  184 Jordan Dr
                  York, SC 29745


                  Dale Case
                  17207 Rd 24
                  Grover Hill, OH 45849


                  Dale Chinault
                  2275 Bethel Church Rd
                  Hiwassee, VA 24347


                  Dale Copher
                  1842 Cedar Willow Dr
                  Columbus, OH 43229


                  Dale Cox
                  11130 U.S. 6
                  Plymouth, IN 46563


                  Dale Dapprich
                  2567 North Hughes Road
                  Howell, MI 48855


                  Dale Deible
                  8836 Lithopolis Rd NW
                  Canal Winchester, OH 43110


                  Dale Duke
                  1290 Carey Road
                  Hartsville, TN 37074


                  Dale Foster
                  1212 Olive Branch Road
                  Galien, MI 49113
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                  Dale Friedenstab
                  21420 Pratt Rd
                  Armada, MI 48005


                  Dale Fudge
                  403 Sutherland Avenue
                  Paris, IL 61944


                  Dale Goodemote
                  94 Pinehurst Ln
                  Newton, NC 28658


                  Dale gore
                  2409 Cherry St
                  Port Huron, MI 48060


                  Dale Grech
                  7581 Britton Hwy
                  Britton, MI 49229


                  Dale Grimm
                  79 Whispering Lane
                  Middlebrook, VA 24459


                  Dale Gynn
                  3923 Richlawn Road
                  Richfield, OH 44286


                  Dale Hilll
                  5935 Lanier Crossroads
                  Maryville, TN 37801


                  Dale Johnson
                  263 Cosner Road
                  Louisa, VA 23093


                  Dale Jones
                  5860 Olde Bridge Court
                  Dallas, GA 30157


                  Dale Jones
                  614 Sinking Creek Rd
                  Petersburg, TN 37144
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                  Dale Kanuth
                  10237 Abrams Fork
                  Brighton, MI 48114


                  Dale Kaster
                  203 Morehead St
                  Troy, OH 45373


                  Dale Keesey
                  12647 Canning House Rd
                  Brogue, PA 17309


                  Dale Kirk
                  14505 Marne Rd
                  Newark, OH 43055


                  Dale Krueger
                  17885 Rogers Ferry Rd
                  Meadville, PA 16335


                  Dale Kruse
                  3515 S Sheridan Rd
                  Sidney, MI 48885


                  Dale Lackey
                  4902 Creekside Drive
                  New Bern, NC 28562


                  Dale Larson
                  2130 Pear Tree Lane
                  Oakland Charter Township, MI 48363


                  Dale Leifheit
                  615 Ridge Dr
                  Goldsboro, NC 27530


                  Dale Lightfield
                  9059 Holland Rd
                  Oxford, IN 47012


                  Dale Loynachan
                  121 Culotta Dr
                  Hampton, VA 23666
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                  Dale McCall
                  251 Rosscommon Rd
                  Wexford, PA 15090


                  Dale Mida
                  24056 County Road 142
                  Goshen, IN 46526


                  Dale Neer
                  19894 Ohio 245
                  Marysville, OH 43040


                  Dale Oconnor
                  4721 Singletary Rd
                  Alvin, TX 77511


                  Dale Olson
                  272 Joel Jones Lane
                  Clinton, NC 28328


                  Dale Peters
                  5260 Banner Rd
                  Deckerville, MI 48427


                  Dale Peters
                  108 Maple Ave
                  Pittsburgh, PA 15202


                  Dale Petersen
                  416 Carson Springs Road
                  Newport, TN 37821


                  Dale Petty
                  2712 Bailey Rd
                  Mooresboro, NC 28114


                  Dale Poklemba
                  42 Penley Park Dr
                  Weaverville, NC 28787


                  Dale Rainier
                  3990 W Sanborn Rd
                  Lake City, MI 49651
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                  Dale Reed
                  16580 Tisdel Avenue Northeast
                  Sand Lake, MI 49343


                  Dale Riggle
                  940 Central Avenue
                  Renovo, PA 17764


                  Dale Ruby
                  921 Georgetown Rd
                  Mt Jackson, VA 22842


                  Dale Sandry
                  108 Greenway View Court
                  Mount Holly, NC 28120


                  Dale Schrock
                  3653 Mast Rd
                  Fairview, MI 48621


                  Dale Sellers
                  7929 S 100 W
                  Claypool, IN 46510


                  Dale Stanley
                  601 Sun Meadows Drive
                  Kernersville, NC 27284


                  Dale Sullivan
                  524 James Street
                  Spring Lake, MI 49456


                  Dale Swoffer
                  21689 Centennial Drive
                  Conklin, MI 49403


                  Dale Thompson
                  12128 Belmont Avenue
                  Warren, MI 48089


                  Dale Uhrich
                  2441 Bewick st
                  Saginaw, MI 48601
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                  Dale Whitaker
                  2063 NC-89
                  Danbury, NC 27016


                  Dale White
                  117 Eve Ct
                  Asheville, NC 28806


                  Dale Withey
                  403 Diamond Lure Road
                  Ellijay, GA 30536


                  Daljit Singh
                  1338 Garden Terrace Avenue
                  Greenwood, IN 46143


                  Dallas Dafford
                  215 Winter Lochen Dr
                  Dunn, NC 28334


                  Dallas George
                  14825 Missouri 48
                  Rea, MO 64480


                  Dallas Mckee
                  656 Westpoint Drive
                  Lexington, TN 38351


                  Dallas Milem
                  20843 Summitt Rd
                  Noblesville, IN 46062


                  Dalmain Peters
                  375 Russell Ct
                  Effort, PA 18330


                  Dalton Clark
                  440 Munden Ave
                  Norfolk, VA 23505


                  Dalton Corporation
                  1200 Tulip Dr
                  Gastonia, NC 28052
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Dalton Dean
                  8799 Harrison Road
                  Mount Sterling, OH 43143


                  Dalton Gruber
                  150 Kennard Road
                  Greenville, PA 16125


                  Dalton Russell
                  3434 Dayton Xenia Road
                  Dayton, OH 45432


                  Dalton Stroup
                  210 Garfield Street
                  Kittanning, PA 16201


                  Dalton White
                  198 Hallet Rd
                  East Stroudsburg, PA 18301


                  Dam Dinh
                  3213 Adele Terrace
                  Commerce Charter Twp, MI 48382


                  Daman Dillree
                  8233 West Cannonsville Road
                  Lakeview, MI 48850


                  Damar Dubois
                  8855 Strath Road
                  Richmond, VA 23231


                  Damen Custer
                  7957 Old Rte 422
                  Portersville,, PA 16051


                  Damian Clark
                  1845 E Page St
                  Springfield, MO 65802


                  Damian Coleman
                  3349 Parker lane
                  East Stroudsburg, PA 18301
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                  Damian Dickson
                  805 E McKay Rd
                  Shelbyville, IN 46176


                  Damian Sydnor
                  396 Rich Neck Road
                  Warsaw, VA 22572


                  Damien Chatelain
                  30 Indian Lane
                  Weaverville, NC 28787


                  Damien Gorham
                  5228 Paula Way
                  Summerfield, NC 27358


                  Damien Kaufman
                  630 Linden Avenue
                  Hellertown, PA 18055


                  Damien Sink
                  5419 Bore Auger Rd
                  Blue Ridge, VA 24064


                  Damika Williams
                  1552 Centurion Drive
                  Hephzibah, GA 30815


                  Damisha Spann
                  6490 Mayfair St
                  Taylor, MI 48180


                  Damon Black
                  320 Township Rd 1600
                  Jeromesville, OH 44840


                  Damon Cox
                  508 Pin Oak Place
                  Mt. Juliet, TN 37122


                  Damon Edwards
                  948 Beverly Drive
                  Alcoa, TN 37701
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                  Damon Fowler
                  1639 Pagel Ave
                  Lincoln Park, MI 48146


                  Damon Hardy
                  23 north main cross street
                  Hanover, IN 47243


                  Damon Mattison
                  16475 Veronica Avenue
                  Eastpointe, MI 48021


                  Damon Tomchick
                  224 Westbridge Pl
                  Mt Airy, NC 27030


                  Damon Tyrone
                  2726 Owen Street
                  Saginaw, MI 48601


                  Damron J D
                  100 State Hwy 1444
                  Grayson, KY 41143


                  Damyanti Patel
                  411 N Layton Rd
                  Anderson, IN 46011


                  Dan Anderson
                  1299 Garfield Rd S
                  Traverse City, MI 49696


                  Dan Armeni
                  123 Far View Ln
                  Front Royal, VA 22630


                  Dan Baker
                  1904 Sherman Street
                  Schererville, IN 46375


                  Dan Bankes
                  600 Roark Road
                  Zanesville, OH 43701
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                  Dan Barnham
                  3145 Beaumont Dr.
                  Highland, MI 48356


                  Dan Barr
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                  Westerville, OH 43082


                  Dan Barriger
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                  Unionville, MI 48767


                  Dan Bickerstaff
                  19734 East 14 Mile Road
                  Roseville, MI 48066


                  Dan Bobos
                  815 Blackberry Dr
                  Greenwood, IN 46143


                  Dan Bosler
                  2446 Baldwin Road
                  Fenton, MI 48430


                  Dan Brewer
                  11278 Sharp Road
                  Linden, MI 48451


                  Dan Caine
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                  DuBois, PA 15801


                  Dan Cannon
                  530 Neola Dr
                  Pittsburgh, PA 15237


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                  48405 Toker Road
                  Hopedale, OH 43976


                  Dan Casteel
                  9512 S Clare Ave
                  Clare, MI 48617
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                  Dan Coulson
                  632 Catoosa Ridge Road
                  Rockwood, TN 37854


                  Dan Cummins
                  43724 66th Street
                  Bangor, MI 49013


                  Dan Dailey
                  410 4th Street
                  Morrisonville, IL 62546


                  Dan Devine
                  186 Pinto Pony Court
                  Roscommon, MI 48653


                  Dan Elledge
                  1375 FM116
                  Gatesville, TX 76528


                  Dan Ellison
                  302 Arthur St
                  Grayling, MI 49738


                  Dan Elston
                  5767 Byron Road
                  Zeeland, MI 49464


                  Dan Epple
                  2426 N Leaton Rd
                  Mt Pleasant, MI 48858


                  Dan Eudailey
                  4220 Cato Dr
                  Gloucester, VA 23061


                  Dan Eversole
                  2495 Bishop Road
                  Blacksburg, VA 24060


                  Dan Fishel
                  1085 19th Ave Pl NW
                  Hickory, NC 28601
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                  Dan Fix
                  8272 N 125 E
                  Laporte, IN 46350


                  Dan Flahive
                  1101 Dequincy Street
                  Indianapolis, IN 46201


                  Dan Flook
                  5234 Pond Mountain Rd
                  Broad Run, VA 20137


                  Dan Gillman
                  5240 Gilbert Rd
                  Centerburg, OH 43011


                  Dan Green
                  25172 N St Hwy 21
                  De Soto, MO 63020


                  dan green
                  6709 sieble rd
                  Hillsboro, MO 63050


                  Dan Harashe
                  1917 Gloria Rd
                  St. Louis, MO 63125


                  Dan Hartley
                  11141 OH-4
                  Mechanicsburg, OH 43044


                  Dan Henry
                  1757 Pulver Rd
                  Mansfield, OH 44903


                  Dan Icard
                  4343 Icard Lane
                  Hudson, NC 28638


                  Dan Justice
                  2794 Waterford Dr
                  Saginaw, MI 48603
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                  Dan Kelly
                  409 Five Aprils Drive
                  Swansboro, NC 28584


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                  Tuscola, IL 61953


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                  Amelia, OH 45102


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                  316 Short Street
                  Buchanan, MI 49107


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                  Mogadore, OH 44260


                  Dan Lewandowski
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                  Ivor, VA 23866


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                  11345 County Road 2140
                  Rolla, MO 65401


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                  Kent City, MI 49330


                  Dan Luft
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                  Bloomfield Hills, MI 48302


                  Dan Markgraf
                  6312 Elderslie Dr
                  Charlotte, NC 28269
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                  Dan McGovern
                  4324 Plover Ave
                  Stow, OH 44224


                  Dan Mcmillan
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                  Athens, TN 37303


                  Dan Meeks
                  164 Whippoorwill Drive
                  Oak Ridge, TN 37830


                  Dan Metts
                  1377 Fisher Road
                  Athens, OH 45701


                  Dan Miller
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                  Mishawaka, IN 46544


                  Dan Miller
                  32263 110th Street
                  Winston, MO 64689


                  Dan Mitchell
                  607 1st St
                  Warrenton, MO 63383


                  Dan Moore
                  118 Woodlawn Drive
                  Chrisman, IL 61924


                  Dan Myers
                  1416 Frankstown Rd
                  Sidman, PA 15955


                  Dan Neumann
                  13012 Lia Court
                  Linden, MI 48451


                  Dan Nicely
                  16561 US Hwy 127
                  Fayette, OH 43521
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                  Dan Obando
                  10160 Lakeview Drive Southwest
                  Covington, GA 30014


                  Dan Oehmke
                  1132 S Allen Rd
                  St Clair, MI 48079


                  Dan Offer
                  7601 Bergin Rd
                  Howell, MI 48843


                  Dan okalski
                  3448 Shoemaker Road
                  Almont, MI 48003


                  Dan Paulsen
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                  Walker, MI 49534


                  Dan Phillips
                  1405 Wreath Ave,
                  Manhattan, KS 66503


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                  Monticello, IN 47960


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                  Dan Reinsmith
                  11371 E Pakes Rd
                  Crystal, MI 48818


                  Dan Rivers
                  1239 Baker Rd
                  Jefferson, SC 29718


                  Dan Rohm
                  2073 Momany Street
                  Oregon, OH 43616
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                  Dan Rubeck
                  73 Equestrian Drive
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                  Dan Rumple
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                  Huntington, IN 46750


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                  Olmsted Township, OH 44138


                  Dan Sampson
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                  Fort Recorery, OH 45846


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                  1161 Thomas Avenue
                  Pittsburgh, PA 15236


                  Dan Slone
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                  Midlothian, VA 23112


                  Dan Smith
                  1294 W Bristol Rd
                  Flint, MI 48507


                  Dan Smith
                  3991 McArthur Rd
                  Jackson, MI 49203


                  Dan Snodgrass
                  1560 Reed Street
                  Canal Fulton, OH 44614


                  Dan Snyder
                  2736 N Dancer Rd
                  Dexter, MI 48130


                  Dan Stan
                  1119 Dee Kennedy Rd
                  Auburn, GA 30011
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                  Dan Tackett
                  350 Hummingbird Circle
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                  Grand Rapids, MI 49525


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                  Dan ward
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                  Wyandotte, MI 48192


                  Dan West
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                  Gregory, MI 48137


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                  Dan Wickard
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                  Knoxville, TN 37934


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                  9281 Russ Lane
                  West Olive, MI 49460


                  Dan Williams
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                  Bridgeview, IL 60455
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                  Dan Wishon
                  811 FR 1200
                  Aurora, MO 65605


                  Dan Woodward
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                  Dwight, IL 60420


                  dan wozniak
                  1724 Springfield Avenue
                  Norfolk, VA 23523


                  Dana Banister
                  1809 Fox Hill Ct,
                  Hartsville, SC 29550


                  Dana Beavers
                  7696 West Co Road 350 South
                  Medora, IN 47260


                  Dana Bell
                  28 Traxler Avenue
                  Williamston, SC 29697


                  Dana Bennett
                  1243 Gray Rd
                  Lexington, NC 27292


                  Dana Benson
                  1315 Avenstoke Road
                  Lawrenceburg, KY 40342


                  Dana Burrows
                  70 Big Macedonia Road Northwest
                  Supply, NC 28462


                  Dana Coval-Dinant
                  71 Pardee Road
                  Philipsburg, PA 16840


                  Dana Dake
                  3515 Gale Rd
                  Eaton Rapids, MI 48827
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                  Dana Derosky
                  1047 Moore Ln
                  Imperial, PA 15126


                  Dana Fisher
                  7770 E West Branch Road
                  St. Helen, MI 48656


                  Dana French
                  14383 Ireland Rd
                  Mishawaka, IN 46544


                  Dana Garno
                  N040 State Rte 65
                  McClure, OH 43534


                  Dana Haakensen
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                  Pittsburgh, PA 15236


                  Dana Hoggatt
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                  Linden, NC 28356


                  Dana Howell
                  426 Spring Street
                  New Kensington, PA 15068


                  Dana Huber
                  75 Kiefer St,
                  Easton, PA 18042


                  Dana Kenney
                  855 Johnson Rd
                  Mineral, VA 23117


                  Dana Krizan
                  9020 South Carlson Rd
                  Fenwick, MI 48834


                  dana lebarnes
                  891 Goodson Rd
                  Dawsonville, GA 30534
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                  Dana Maddox
                  904 Hickory Nut Ct
                  Pleasant Garden, NC 27313


                  Dana Marra
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                  Houghton Lake, MI 48629


                  Dana Norfleet
                  567 Woodland Hills Road
                  Erin, TN 37061


                  Dana Recalde
                  2333 South Hilton Avenue
                  Springfield, MO 65802


                  Dana Schulte-Eatherton
                  204 East Case Street
                  Kinmundy, IL 62854


                  Dana Sparks
                  4270 Sword Highway
                  Clayton, MI 49235


                  Dana Stocum
                  881 Cardinal Rd
                  Southport, NC 28461


                  Dana Waider
                  602 E Ellen St
                  Fenton, MI 48430


                  Dana Weisheit
                  5530 North 600W
                  Otwell, IN 47546


                  Dana Wheeler
                  1155 Rockledge Dr
                  Burlington, NC 27217


                  Dana Whitt Wheeler
                  1155 Rockledge Dr
                  Burlington, NC 27217
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                  Danajean Cicerchi
                  138 East Trail
                  Kunkletown, PA 18058


                  Dane Alexander
                  525 West 600 North
                  Albion, IN 46701


                  Dane Aveard
                  106 Fox Chase Court
                  Cranberry Township, PA 16066


                  Dane Fisher
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                  Supply, NC 28462


                  Dane Kief
                  117 North 600 East Road
                  Loda, IL 60948


                  Dane Thomas
                  5854 E Spicerville Hwy
                  Eaton Rapids, MI 48827


                  Dane Thompson
                  357 Mount Vista Drive
                  Lynchburg, VA 24504


                  Dane Wilson
                  23601 Stauch Drive
                  Brownstown, MI 48134


                  Danella Carroll
                  224 Cochise Trail
                  Winchester, VA 22602


                  Danelle Gurski
                  1730 Loma Ln
                  Beaumont, TX 77707


                  Danette Muzic
                  14731 Terminal Ave
                  Cleveland, OH 44135
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                  Danette Stout
                  5699 turtle dr
                  Gloucester, VA 23061


                  Danh Morrison
                  927 Jack Swamp Road
                  Pleasant Hill, NC 27866


                  Dani Butler
                  5800 Up-A-Way Drive
                  Fredericksburg, VA 22407


                  Dani Davis
                  126 Koeln Avenue
                  St. Louis, MO 63111


                  Daniel "Dan" Moringiello
                  116 Cozy Mountain Ln
                  Hollidaysburg, PA 16648


                  Daniel Akers
                  710 Township Road 116
                  Kitts Hill, OH 45645


                  Daniel Aldridge
                  129 Wellston Circle
                  WARNER ROBINS, GA 31093


                  Daniel Amos
                  4517 Moorfield Ln
                  Fort Wayne, IN 46816


                  Daniel Ancantara
                  2314 Dodge Ave
                  Fort Wayne, IN 46805


                  Daniel Anderson
                  10005 Tellico Drive
                  Collegedale, TN 37363


                  Daniel Askew
                  79 Wyoming Ave
                  Portsmouth, VA 23701
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                  Daniel Askew
                  117 Piedmont Ave
                  Hampton, VA 23661


                  Daniel Bailey
                  85 N Quail Cir
                  Fincastle, VA 24090


                  Daniel Baker
                  1082 Fuller Rd
                  bailey, MI 49303


                  Daniel Balcazar
                  42802 North Cumberland Drive
                  Belleville, MI 48111


                  Daniel Bauer
                  3378 Carlisle Hwy
                  Charlotte, MI 48813


                  Daniel Belcher
                  1134 Tipton Avenue Southeast
                  Roanoke, VA 24014


                  Daniel Bennett
                  1903 Dunbar Heights Drive
                  Greencastle, IN 46135


                  Daniel Berger
                  222 S Main St
                  Arlington, OH 45814


                  Daniel Best
                  4755 State Hwy BB
                  Irondale, MO 63648


                  Daniel Biehl
                  313 West Morgan Street
                  McLean, IL 61754


                  Daniel Blake
                  1455 Meadville Road
                  Titusville, PA 16354
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                  Daniel Bobic
                  7209 Yellow Creek Drive
                  Youngstown, OH 44514


                  Daniel Boeh
                  119 Magdalena Dr
                  Union, OH 45322


                  Daniel Boehm
                  3307 Crestview Drive
                  North Versailles, PA 15137


                  Daniel Boetz
                  502 Centre St
                  Stryker, OH 43557


                  Daniel Bogert
                  9399 Pekin Road
                  Novelty, OH 44072


                  Daniel Bonomo
                  2881 Holland Road
                  Virginia Beach, VA 23453


                  Daniel Boster
                  61 Pr Dr 15455
                  Crown City, OH 45623


                  Daniel Bowman
                  12158 Goff House Court
                  Charlotte, NC 28214


                  Daniel Broadwell
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                  Durham, NC 27705


                  Daniel Brody
                  1700 N Blair Ave
                  Royal Oak, MI 48067


                  Daniel Brown
                  1 Pasadena Court
                  Hampton, VA 23666
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                  Daniel Burghdoff
                  6587 Wood School Road
                  Freeport, MI 49325


                  Daniel Burk
                  1727 Cordia Circle
                  Newton, NC 28658


                  Daniel Burnett
                  6191 Porter Road
                  Grand Blanc, MI 48439


                  Daniel Burt
                  527 West Main Street
                  Dalton, OH 44618


                  Daniel Byl
                  6181 E. Maple Ave
                  Grand Blanc, MI 48439


                  Daniel Calarco
                  22022 Westland Creek Dr
                  Katy, TX 77449


                  Daniel Cameron
                  16201 Norman Rd
                  Le Roy, MI 49655


                  Daniel Carpenter
                  1241 Chinook Circle
                  Clarksville, TN 37042


                  Daniel Carson
                  191 Carson Rd
                  Ava, IL 62907


                  Daniel Carter
                  3421 Lockheed court
                  wade, NC 28395


                  Daniel Chatfield
                  7706 Harrisburg London Rd
                  Orient, OH 43146
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                  Daniel Chovanec
                  7681 W Bonnie Jean Dr
                  Port Clinton, OH 43452


                  Daniel Christy
                  14456 Hillside Road
                  Lewistown, IL 61542


                  Daniel Cichocki
                  5827 Bar Lake Rd
                  Manistee, MI 49660


                  Daniel Clark
                  338 West Finley Street
                  Upper Sandusky, OH 43351


                  Daniel Clark
                  175 Silverdale Rd
                  Julian, PA 16844


                  Daniel Cloud
                  23 Riley Hollow Rd
                  West Union, OH 45693


                  Daniel Correa
                  2102 Cammy Lane
                  La Porte, TX 77571


                  Daniel Coulter
                  407 East Brooks Road
                  Midland, MI 48640


                  Daniel Cremen
                  1740 Ackley Ave
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                  Daniel Crump
                  172 River Run Road
                  Statesville, NC 28625


                  Daniel Custodio
                  112 W Lancaster Rd
                  Richmond, VA 23222
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                  300 West County Road 1200 North
                  Muncie, IN 47303


                  Daniel Darst
                  319 School St
                  Bradford, OH 45308


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                  4418 Cottage Rd
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                  4786 Pratt Road
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                  New Alexandria, PA 15670


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                  Daniel Foytlin
                  5916 Charlies Dead End Road
                  Efland, NC 27243
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                  Daniel Gooch
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                  Paris, TN 38242
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                  20 Peachtree Ln
                  Levittown, PA 19054


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                  Fox Lake, IL 60020


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                  135 Nathan Hale Dr
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                  Grand Rapids, MI 49504


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                  Ionia, MI 48846


                  Daniel Harlow
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                  Daniel Harmon
                  138 Harmon ln
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                  Daniel Harper
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                  Mount Morris, MI 48458


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                  Sanford, NC 27332


                  Daniel Hartman
                  33 Pfeiffer Avenue
                  Akron, OH 44312
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                  Daniel Hawkins
                  6140 N Owosso Rd
                  Fowlerville, MI 48836


                  Daniel Hedger
                  5227 Leland Street
                  Brighton, MI 48116


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                  914 Hemlock Street
                  Celina, OH 45822


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                  Daniel Heitzenrater
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                  McDermott, OH 45652


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                  Dearborn Heights, MI 48127
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                  Daniel Korp
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                  Daniel Lawrence
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                  St Clair Shores, MI 48080
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                  Daniel Leatherman
                  1783 Larkwood Place
                  Columbus, OH 43229


                  Daniel Legge
                  22284 Hidden Hill Ln
                  Magnolia, TX 77354


                  Daniel Leible
                  7982 S Andee Ln
                  Fort Branch, IN 47648


                  Daniel Lewis
                  531 Poplar St
                  Shoals, IN 47581


                  Daniel Lockett
                  67193 Co Rd 31
                  Goshen, IN 46528


                  Daniel Long
                  624 Augusta Street
                  Hampton, VA 23669


                  Daniel Lubs
                  5870 Selis Square Court
                  Noblesville, IN 46062


                  Daniel Macke
                  1215 Barnitz Street
                  Middletown, OH 45042


                  Daniel Mackiewicz
                  116 Rose Drive
                  Connoquenessing, PA 16027


                  Daniel Martin
                  30441 Orr Road
                  Circleville, OH 43113


                  Daniel Martinez
                  20067 Renfrew Road
                  Detroit, MI 48221
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                  Daniel Matthews
                  121 Baney Lane
                  Renfrew, PA 16053


                  Daniel Mayville
                  23345 Meadows Avenue
                  Flat Rock, MI 48134


                  Daniel McCann
                  1217 Spring Valley Dr
                  Erie, PA 16509


                  Daniel McDaniel
                  334 Mitchells Mill Rd.
                  Aylett, VA 23009


                  Daniel McElroy
                  14201 Joyce Street
                  Dyer, IN 46311


                  Daniel McIntyre
                  302 Frankstown Sportsman Road
                  Hollidaysburg, PA 16648


                  Daniel Mckillip
                  5687 W Co Rd 0 Ns
                  Frankfort, IN 46041


                  Daniel McMullen
                  100 East Old Plank Road
                  Bargersville, IN 46106


                  Daniel McRill
                  12251 Township Road 168
                  Findlay, OH 45840


                  Daniel Mehaffey
                  1513 Eagle Bend Rd
                  Clinton, TN 37716


                  Daniel Melendy
                  3475 Boudinot Ave
                  Cincinnati, OH 45211
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                  Daniel Menzies
                  3759 TN-100
                  Centerville, TN 37033


                  Daniel Merry
                  471 Parkridge Drive
                  Bethel Park, PA 15102


                  Daniel Milan
                  16892 Stage Rd
                  Lanexa, VA 23089


                  Daniel Miller
                  440 east Carlisle st
                  Mooresville, IN 46158


                  Daniel Miller
                  421 E Deckerville Rd
                  Caro, MI 48723


                  Daniel Miller
                  48 peace ful valley rd
                  Clarks Summit, PA 18411


                  Daniel Minns
                  16 Tower Lane
                  DuBois, PA 15801


                  Daniel Mondragon
                  212 Connelsville Ave
                  Toledo, OH 43615


                  Daniel Monroe
                  3241 Longfield Road
                  Colonial Beach, VA 22443


                  Daniel Morgan
                  1721 Drayton Drive
                  Port Royal, SC 29935


                  Daniel Newsom
                  206 Chaussette Trace
                  McCormick, SC 29835
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                  Daniel Newton
                  1749 Northridge Lane
                  Lapeer, MI 48446


                  Daniel Norfleet
                  103 Alfred Dr
                  Clarksville, TN 37043


                  Daniel O'Calleghan
                  1075 US 42 E
                  Xenia, OH 45385


                  Daniel Pacey
                  453 Towell Street
                  Mooresville, NC 28115


                  Daniel Pangborn
                  7517 Moscow Rd
                  Horton, MI 49246


                  Daniel Patmore
                  5766 Garden Valley Rd
                  Newburgh, IN 47630


                  Daniel Patterson
                  27665 Pierce Street
                  Southfield, MI 48076


                  Daniel Paulino
                  1243 Edlor Drive
                  St. Louis, MO 63138


                  Daniel Peck
                  197 Rutledge Dr NW
                  Sugar Valley, GA 30746


                  Daniel Pennington
                  806 Oak Moss Dr
                  Wentzville, MO 63385


                  Daniel Perkins
                  3443 Small Court
                  La Porte, IN 46350
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                  Daniel Piner
                  2717 Homes Dr
                  Morehead City,, NC 28557


                  Daniel Pittman
                  432 Robinson Hollow Rd
                  Page, WV 25152


                  Daniel Pope
                  1709 NC-109
                  Wadesboro, NC 28170


                  Daniel Post
                  4637 Ariel Avenue
                  Ludington, MI 49431


                  Daniel Pry
                  235 Centreville Pike
                  Slippery Rock, PA 16057


                  Daniel Radulescu
                  20570 Gentz Road
                  Belleville, MI 48111


                  Daniel Ramacher
                  2987 Elimsport Road
                  Montgomery, PA 17752


                  Daniel Ramey
                  1800 West High st
                  Jackson, MI 49203


                  Daniel Rea
                  6156 Blue Beech Ct
                  Rochester Hills, MI 48306


                  daniel reed
                  129 Cloverleaf Dr
                  Schertz, TX 78154


                  Daniel Reeves
                  1118 W Curtis Rd
                  Saginaw, MI 48601
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                  Daniel Renner
                  6360 Branch Hill Miamiville Rd
                  Loveland,, OH 45140


                  Daniel Riegle
                  13781 23 Mile Rd
                  Albion, MI 49224


                  Daniel Robert
                  1484 Navigation Point
                  Goodview, VA 24095


                  Daniel Roberts
                  26 Jumper Road
                  Shippensburg, PA 17257


                  Daniel Roberts
                  16227 Owens Drive
                  King George, VA 22485


                  Daniel Rodriguez
                  6308 Brumit Lane
                  Charlotte, NC 28269


                  Daniel Rohe
                  12174 Friendship Loop Drive
                  Seneca, SC 29678


                  Daniel Rosener
                  14152 Mount Olive Rd
                  De Soto, MO 63020


                  Daniel Russell
                  10074 Robin Hood Ct, King George, VA 224
                  King George, VA 22485


                  Daniel Rutherford
                  501 Woodcroft Drive
                  Goldsboro, NC 27534


                  Daniel Savage
                  7112 Ponteberry Street Northwest
                  Canton, OH 44718
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                  Daniel Scott
                  7000 West 235 South
                  Homer, IN 46146


                  Daniel Sheill
                  11931 Neil Street
                  Pinckney, MI 48169


                  Daniel Silvis
                  91 Markel Ln
                  Penn Run, PA 15765


                  Daniel Simkins
                  4303 Easton Ln
                  Petersburg, KY 41080


                  Daniel Slegar
                  1665 Nannie Burton Road
                  Louisa, VA 23093


                  Daniel Smith
                  510 Bottom Rd,
                  Blain, PA 17006


                  Daniel Smoot
                  1754 Kenwood Street
                  Inkster, MI 48141


                  Daniel Solomon
                  2639 Memorial Street
                  Alexandria, VA 22306


                  Daniel Soto
                  505 Lakewood Dr
                  Jacksonville, NC 28546


                  Daniel Staniszewski
                  3760 Rolling Hills Road
                  Orion charter Township, MI 48359


                  Daniel Stanley
                  1217 Falcon St
                  Dearborn, MI 48123
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                  Daniel Stillerman
                  5651 Cheval Lane
                  Indianapolis, IN 46235


                  DANIEL STITZER
                  103 WALKER COURT
                  Winchester, VA 22602


                  Daniel Stonex
                  51 Porter Rd
                  Norton Shores, MI 49441


                  Daniel Stupka
                  105 Crosspointe Lane
                  Hendersonville, TN 37075


                  Daniel Sutherland
                  2779 Duck Lake Rd
                  Whitehall, MI 49461


                  Daniel Swank
                  7279 McCandlish Rd
                  Grand Blanc, MI 48439


                  Daniel Taylor
                  5298 East Broadmore Drive
                  Columbus, IN 47201


                  Daniel Taylor
                  322 East North Street
                  Greenfield, IN 46140


                  Daniel Taylor
                  203 South Spring Street
                  Bluefield, WV 24701


                  Daniel Thompson
                  3985 Drew Rd
                  Cumming, GA 30040


                  Daniel Thurston
                  1138 Jefferson Avenue
                  Clifton Forge, VA 24422
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                  Daniel Thuston
                  1825 Orchard Hill Drive
                  Chesterfield, MO 63017


                  DANIEL TOKAR
                  721 North Carpenter Road
                  Brunswick, OH 44212


                  Daniel Tomanovich
                  31426 Sheridan Street
                  Garden City, MI 48135


                  Daniel Tomlinson
                  1222 Lincoln Highway
                  Schellsburg, PA 15559


                  Daniel Trolz
                  2885 N Portage Rd
                  Jackson, MI 49201


                  Daniel Tsui
                  302 gingergate dr
                  Cary, NC 27519


                  Daniel Turner
                  2851 North Sand Lake Road
                  Hillsdale, MI 49242


                  Daniel Turner
                  124 Bost Nursery Rd
                  Maiden, NC 28650


                  Daniel Umbs
                  312 Frazier Dr
                  New Castle, PA 16105


                  Daniel Vaivao
                  2218 Puddle Ct
                  East Stroudsburg, PA 18302


                  Daniel Vance
                  1111 E Monroe Rd
                  Midland, MI 48642
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                  Daniel Waters
                  812 Woodland Terrace
                  Valparaiso, IN 46383


                  Daniel Weiss
                  204 Almond Tree Dr
                  Troy, MO 63379


                  Daniel White
                  701 South Luick Avenue
                  Muncie, IN 47302


                  Daniel White
                  818 Cool Spring St
                  Asheboro, NC 27203


                  Daniel White
                  927 Cumberland Avenue
                  Dayton, OH 45406


                  Daniel Whitmer
                  83 Donelson St
                  Nashville, TN 37210


                  daniel whitworth
                  1123 Granite Drive
                  Bedford, VA 24523


                  Daniel Wilds
                  1313 Joseph Street
                  Jackson, MI 49202


                  Daniel Wiles
                  470 Pinecroft Avenue
                  Altoona, PA 16601


                  Daniel Wiley
                  1207 Penobscot Trail
                  ironton, OH 45638


                  Daniel Wilken
                  893 Sulphur Lick Road
                  Frankfort, OH 45628
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                  Daniel Williams
                  6763 E 317th St
                  Quenemo, KS 66528


                  Daniel Wood
                  344 Butler Johnson Court
                  Township of Taylorsville, NC 28681


                  Daniel Woodward
                  547 County Road 1025 North
                  Albion, IL 62806


                  Daniel Youngs
                  163 Tango Dr
                  Madisonville, TN 37354


                  Daniela de la Torre
                  1265 Parkspur Lane
                  Fenton, MO 63026


                  Daniell Tellis
                  4034 Caprice Rd
                  Englewood, OH 45322


                  Danielle Bradley
                  9777 Mulligans Bluff Rd
                  Defiance, OH 43512


                  Danielle Coxon
                  3802 Welcome Valley Rd SE
                  Roanoke, VA 24014


                  Danielle Dixon
                  13580 Erwin Rd
                  Copemish, MI 49625


                  Danielle Donaldson
                  132 Wellspring Dr
                  Holly Springs, NC 27540


                  Danielle Doyle
                  5964 Paris Avenue Northeast
                  Louisville, OH 44641
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                  Danielle Flack
                  7849 Flack Rd
                  Howard, OH 43028


                  Danielle Francis
                  267 Price Lane
                  Pamplin, VA 23958


                  Danielle Goins
                  201 Northeast Drive
                  Warner Robins, GA 31093


                  Danielle Harper
                  7462 Ponders End Lane
                  Charlotte, NC 28213


                  Danielle Holland
                  402 East Cleveland
                  Ladd, IL 61329


                  Danielle Jameson
                  20251 Schoenherr St
                  Detroit, MI 48205


                  Danielle Johnston
                  1104 Gulfstream Way
                  Mascoutah, IL 62258


                  Danielle Karney
                  2918 N Hoover Rd
                  Buckner, MO 64016


                  Danielle Lansu
                  30259 Dawson Avenue
                  Garden City, MI 48135


                  Danielle McDonald
                  240 Stephens Drive
                  Falmouth, KY 41040


                  Danielle Medlock
                  205 Alma Dr
                  New Bloomfield, MO 65063
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                  Danielle Miller
                  66269 Robinson Rd
                  Burr Oak, MI 49030


                  Danielle Rupert
                  2715 Finley Chapel Rd
                  Wellston, OH 45692


                  Danielle Suess
                  219 North St
                  Cutler, IL 62238


                  Danita McGill
                  19333 Westphalia Street
                  Detroit, MI 48205


                  Danna Patton
                  5134 Balzer st.
                  Lansing, MI 48911


                  DANNY ADDISON
                  152 Lynwood Dr
                  Bluefield, VA 24605


                  Danny Angel
                  313 4th Street
                  Jackson, SC 29831


                  Danny Bell
                  1578 South Union Street
                  Hobart, IN 46342


                  Danny Berley
                  83 State Rd S-20-70
                  Winnsboro, SC 29180


                  Danny Bragg
                  501 North Indiana Street
                  Roachdale, IN 46172


                  Danny Burgess
                  1346 Whisper Way
                  Benton, IL 62812
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                  Danny Cambell
                  205 Wythe View Drive
                  Wytheville, VA 24382


                  Danny Carter
                  109 Cairo Court
                  Chandler, IN 47610


                  Danny Caudill
                  7324 n jennings rd
                  mt morris, MI 48458


                  Danny Culbertson
                  6508 Gardner Heights Rd
                  Norton, VA 24273


                  Danny Davidson
                  1045 IL-108
                  Rockbridge, IL 62081


                  Danny Davis
                  2239 FM 1248
                  Rusk, TX 75785


                  Danny Davis II
                  6715 Atasca Creek Drive
                  Humble, TX 77346


                  Danny DESENTZ
                  7548 Kensington Drive
                  Ypsilanti, MI 48197


                  Danny Garcia
                  8735 Holdenby Trail
                  Raleigh, NC 27616


                  Danny Gentry Jr
                  6747 State Highway 87
                  Newton, TX 75966


                  Danny Goddard
                  507 Victor St
                  New Martinsville, WV 26155
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                  Danny Harris
                  1359 Amos Bridge Road
                  Huddleston, VA 24104


                  Danny Hemphill
                  2183 Fish Lake Rd
                  Lapeer, MI 48446


                  Danny Henemyre
                  74 New Hope Church Road
                  Fredericksburg, VA 22405


                  Danny Isaacs
                  529 Lakeridge Circle
                  Troutville, VA 24175


                  Danny Jarrell
                  10084 Amber Drive
                  Sutherland, VA 23885


                  Danny L Brown
                  235 Lee Rd
                  Cedartown, GA 30125


                  Danny McCurdy
                  10605 Licking Valley Road
                  Frazeysburg, OH 43822


                  Danny Mcgee
                  2831 Deer Run Dr
                  Petersburg, VA 23805


                  Danny Mcguire
                  7111 Upper Miamisburg Rd
                  Miamisburg, OH 45342


                  danny muckerheide
                  2283 E County Road 830 S
                  Greensburg, IN 47240


                  Danny Mudd
                  420 Currituck Dr
                  Chesapeake, VA 23322
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                  Danny Newhouse
                  3717 W 400
                  Marion, IN 46952


                  Danny Parker
                  64 Robinson St
                  Oak Hill, WV 25901


                  Danny Patterson
                  1304 Summit Cir
                  Osage Beach, MO 65065


                  Danny Phillips
                  1265 Horse Ridge Road Northwest
                  Willis, VA 24380


                  Danny Polite
                  970 Kentucky 3001
                  Coalgood, KY 40818


                  Danny Rakes
                  503 Windsor Court
                  Danville, VA 24541


                  Danny Ratley
                  6504 TN-161
                  Springfield, TN 37172


                  Danny Redman
                  5240 Leix Rd
                  Mayville, MI 48744


                  Danny Rose
                  149 Pratt Lane
                  Statesville, NC 28625


                  Danny Ross
                  408 Thompson Street
                  Chattanooga, TN 37405


                  Danny Sanford
                  8450 Duffield Rd
                  Flushing, MI 48433
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                  Danny Scholz
                  4045 Hall Rd
                  Muskegon, MI 49442


                  Danny Shook
                  525 E Monroe St
                  Montpelier, IN 47359


                  Danny Spangler
                  2791 Reeder Rd
                  Blanchester, OH 45107


                  Danny Ulery
                  PO BOX 35
                  Pinnacle, NC 27043


                  Danny Vance
                  28609 Butler Branch Road
                  Petersburg, VA 23805


                  Danny Wade
                  17952 Franklin Turnpike
                  Callands, VA 24530


                  Danny Walsh
                  4783 Hickory Fork Road
                  Gloucester, VA 23061


                  Danny West
                  17301 Ardmore St
                  Detroit, MI 48235


                  Dante Davis
                  833 Hartman Ave
                  Temple, PA 19560


                  Dante Williams
                  15414 Piedmont St
                  Detroit, MI 48223


                  Dante Wilson
                  3637 Devonshire Rd
                  Detroit, MI 48224
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                  Dantrell Bryant
                  7529 Montego Ct
                  Riverdale, GA 30274


                  Danu Sweet
                  881 Oak Creek Road
                  Palmyra, VA 22963


                  Dany Dallaire
                  271 Wynfield Court
                  Gray Court, SC 29645


                  Daphane Terry
                  1105 West Hitesburg Rd
                  Virgilina, VA 24598


                  Daphne Adams Horstmeier
                  3820 Cartwheel Terrace
                  Cincinnati, OH 45251


                  Daphne Bauman
                  27457 Shindler road
                  Defiance, OH 43512


                  Daphne Dahlia
                  4 Center Ave
                  Honesdale, PA 18431


                  Daphne Davis
                  1662 Pharrs Road
                  Snellville, GA 30078


                  Daphne Lynn
                  1706 Charles St
                  Anderson, IN 46013


                  Daphne McClellan
                  3854 Fox Crossing
                  St. Joseph, MI 49085


                  Daphne Myers
                  109 East Hargett Street
                  Richlands, NC 28574
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                  Daquan Gee
                  1309 Bethlehem Street
                  Suffolk, VA 23434


                  Darcey Jones Thomas
                  54540 Thrash Lane
                  Elkhart, IN 46514


                  Darci Gagne
                  12730 Asheville Hwy, Inman SC 29349
                  Inman, SC 29349


                  Darcy Cates
                  23832 Brenta Valley Dr
                  Roman Forest, TX 77357


                  Darcy Davis
                  363 Apalachia Lake Drive
                  Fuquay-Varina, NC 27526


                  Darcy Orsini
                  1809 Brookside Drive
                  Erie, PA 16505


                  Darell Holloway
                  505 Pleasant Hill Drive
                  Elkin, NC 28621


                  Daren Combs
                  697 Swamp Road
                  Eagleville, TN 37060


                  Daren Killingsworth
                  2029 Theberton Trail
                  Locust Grove, GA 30248


                  Daren Ross
                  3093 Hope Street
                  Hapeville, GA 30354


                  Darien Carter
                  6043 Mainsail Lane
                  Suffolk, VA 23435
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                  Darin Bowers
                  1432 Coffee Road
                  Lynchburg, VA 24503


                  Darin Jones
                  57 Rockyford Road
                  La Moille, IL 61330


                  Darin Mueller
                  112 Triple Crown Trail
                  Holly Springs, NC 27540


                  Darin Weeks
                  3964 OH-718
                  Troy, OH 45373


                  Darin Wilbur
                  7661 Bluewater Hwy
                  Saranac, MI 48881


                  Darius banks
                  3849 W Henderson Road
                  Columbus, OH 43220


                  Darius Jackson
                  109 Grassy Pond Rd
                  Emporia, VA 23847


                  Darius Sanders
                  382 Brook Mead Drive
                  Clarksville, TN 37042


                  Darius Taylor
                  1780 Old Poole Road
                  Alberta, VA 23821


                  Darkeesha Sims
                  7212 Brandon Ln
                  Prince George, VA 23875


                  Darko Todorovoski
                  49751 London Bridge Dr
                  Macomb, MI 48044
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                  Darl Rockenbaugh
                  4996 East 200 North
                  Peru, IN 46970


                  Darla Flack
                  1405 Lutz Pl NE
                  Canton,, OH 44704


                  Darla Poynter
                  695 North County Road 540 East
                  Tuscola, IL 61953


                  Darleen Mrdjenovich
                  749 Hickory Grade Rd
                  Bridgeville, PA 15017


                  Darlene Baumgartner
                  984 Southwind Drive
                  Nixa, MO 65714


                  Darlene Cassidy
                  224 Falcon Ave
                  Virginia Beach, VA 23462


                  Darlene Crews
                  2813 Woodruff Rd
                  Boonville, NC 27011


                  Darlene Fanning
                  4400 N. State Road 5
                  Shipshewana, IN 46565


                  Darlene Fulton
                  109 Yorkshire Lane
                  Wilmington, NC 28409


                  Darlene Fyock
                  192 Vazquez Road
                  Shannon, NC 28386


                  Darlene Gibson
                  129 Breedin Street
                  Manning, SC 29102
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                  Darlene Gross
                  244 Lindsay Road
                  Carnegie, PA 15106


                  Darlene Gum
                  928 Bell Rock ave
                  belpre, OH 45714


                  Darlene Kelley
                  2842 Marr Rd
                  Pulaski, PA 16143


                  Darlene Kimber
                  5440 Dalton Ridge
                  Fennville, MI 49408


                  Darlene Maurer
                  69723 Co Rd 29
                  New Paris, IN 46553


                  Darlene Medsker Arellano
                  1109 East Spraker Street
                  Kokomo, IN 46901


                  Darlene Platt
                  180 Kings Ct
                  Madison, NC 27025


                  Darlene Reed-Brest
                  497 North Stringtown Road
                  Xenia, OH 45385


                  Darlene White
                  212 North Lincoln Street
                  Jefferson City, MO 65101


                  Darling's Professional Cleaning Service
                  135 Cup Chase Dr
                  Mooresville, NC 28115


                  Darnae Carpenter
                  3241 Cliffside
                  Colerain Twp, OH 45251
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                  Darnell Baldwin
                  3202 Connie Way
                  Winston, GA 30187


                  Darnell Workman
                  350 Ash St
                  Carleton, MI 48117


                  Darnelle Williams
                  1121 Amber Acres Ln
                  Knightdale, NC 27545


                  Darold Morse
                  10635 Kingsbury Rd
                  Delton, MI 49046


                  Daron Williams
                  5345 N George St Ext
                  Manchester, PA 17345


                  Darran Hutchinson
                  7360 Delta River Dr
                  Lansing, MI 48906


                  Darrel Francisco
                  20839 Gateway Drive
                  Goodman, MO 64843


                  Darrel Gray
                  1797 Mercer Mill Rd Ext,
                  Elizabethtown,, NC 28337


                  DARREL ZACCAGNI
                  106 Ringneck Drive
                  Bellefonte, PA 16823


                  Darrell Adams
                  652 Woodingham St
                  Waterford Twp, MI 48328


                  Darrell Auld
                  202 High
                  Port Jefferson, OH 45360
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                  Darrell B Joyce Sr
                  18711 Hilton Drive
                  Southfield, MI 48075


                  Darrell Banks
                  144 Bridgeview Dr
                  Bean Station, TN 37708


                  Darrell Bernard II
                  99 W Main St
                  Mowrystown, OH 45155


                  Darrell Blevins
                  3620 Reeds Valley Road
                  Castlewood, VA 24224


                  Darrell Brown
                  28 Deer Drive
                  Kingstree, SC 29556


                  Darrell Canfield
                  2922 Euclid Ave
                  Williamsport, PA 17702


                  Darrell Dawson
                  211 Shoshone Circle
                  Kathleen, GA 31047


                  Darrell Dierdorf
                  25616 Fast Fox Trail
                  South Bend, IN 46628


                  Darrell Eller
                  529 Skull Shoals Road
                  Gaffney, SC 29340


                  Darrell Endres
                  5821 Barryville Road
                  Nashville,, MI 49073


                  Darrell Erdman
                  123 Misty Ln
                  Goldsboro, NC 27530
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                  DARRELL FOREMAN
                  325 W walnut street
                  PERRYSVILLE, IN 47974


                  Darrell Frederick
                  4072 N Hornady Park Ln
                  Petersburg, IN 47567


                  Darrell Green
                  148 Forest Drive
                  Madison Heights, VA 24572


                  Darrell Helm
                  406 East Pinzon Street
                  Tuscola, IL 61953


                  Darrell Henderson
                  2616 East 900
                  Pittsboro, IN 46167


                  Darrell Hobbs
                  1230 RR 5
                  Patton, MO 63662


                  Darrell Hodge
                  1588 N Chipman Rd
                  Owosso, MI 48867


                  Darrell Jacobs
                  4125 U.S. 601
                  Mocksville, NC 27028


                  Darrell Lanthorn
                  2120 Sunrise Ave
                  Portsmouth, OH 45662


                  Darrell Letourneau
                  1924 FM 522 Road
                  West Columbia, TX 77486


                  Darrell Levenite
                  6011 Indigo Road
                  Richmond, VA 23230
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                  Darrell Levings
                  518 Grant St
                  Mt Gilead, OH 43338


                  Darrell McDonald
                  2358 E 1100 S
                  Lynn, IN 47355


                  Darrell Meador
                  1078A Bradley Rd
                  Gallatin, TN 37066


                  Darrell Myers
                  13175 Co Rd B
                  New Bavaria, OH 43548


                  Darrell Oenning
                  5982 Kellys Landing Rd
                  Fayetteville, NC 28306


                  Darrell Penberthy
                  16344 Co Rd 624
                  Dexter, MO 63841


                  Darrell Rabe
                  6 Carter Dr
                  Fairbury, IL 61739


                  Darrell Rider
                  3030 Bluewater Ln SW
                  Grandville, MI 49418


                  Darrell Seegraves
                  5098 Howell Road
                  Otter Lake, MI 48464


                  Darrell Smith
                  2324 Blue John Road
                  Burnside, KY 42519


                  Darrell Spivey
                  1308 Ted Melton Rd
                  Chesterfield, SC 29709
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                  Darrell Stovall
                  5703 Bayberry Circle
                  North Ridgeville, OH 44039


                  Darrell Thebeau
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                  Perrysburg, OH 43551


                  Darrell Trpka
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                  Doylestown,, OH 44230


                  Darrell Ward
                  5104 Fallsmead Downs
                  Virginia Beach, VA 23464


                  Darrell Williams
                  55 Bull Pine Road
                  East Stroudsburg, PA 18301


                  Darrell Williams
                  2813 E Emory Rd
                  Knoxville, TN 37938


                  Darrell Wright
                  9164 Bristol Rd
                  Swartz Creek, MI 48473


                  Darrell Wright
                  9320 Vaughn Road
                  Miamisburg, OH 45342


                  Darren Bennett
                  1022 Vicar Road
                  Danville, VA 24540


                  Darren Brand
                  4538 Carnation Court
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                  Darren Dowding
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                  Darren Hakala
                  5425 Sandbeach Road
                  Grass Lake, MI 49240


                  Darren Hollingsworth
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                  Alexandria, IN 46001


                  Darren Knierim
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                  Southgate, MI 48195


                  Darren Lukefahr
                  2232 County Road 469
                  Jackson, MO 63755


                  Darren Nelson
                  1819 Rockford Ln
                  Louisville, KY 40216


                  Darren Nolf
                  20525 Coolidge Rd
                  Big Rapids, MI 49307


                  darren perkins
                  6383 South Doans Road
                  Bloomfield, IN 47424


                  Darren Robertson
                  4127 State Ferry Road
                  Solsberry, IN 47459


                  Darren Smedley
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                  Burgettstown, PA 15021


                  Darren Smithers
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                  Bad Axe, MI 48413


                  darren swoyer
                  311 Vinemont Rd
                  Reinholds, PA 17569
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                  Darren& timothy Aiello
                  1328 Jenks St
                  Port Huron, MI 48060


                  Darrick Earley
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                  Darrick Suttom
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                  Darlington, SC 29532


                  Darrin Barnes
                  515 Magnolia Rd
                  Hollins, VA 24019


                  Darrin Brown
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                  Stoneville, NC 27048


                  Darrin Butler
                  24982 Robin Hood Lane
                  Hockley, TX 77447


                  Darrin Harding
                  5359 Jenkins Road
                  Hamilton, OH 45013


                  Darrin McAllister
                  4504 Charlie Cade Road
                  Effingham, SC 29541


                  Darrin McDermott
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                  Madison, GA 30650


                  Darrin Puckett
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                  Floyds Knobs, IN 47119


                  darrin Valentine
                  17901 Cameron Road
                  Kearney, MO 64060
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                  Darrius Eaton
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                  Darrius Walker
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                  Gary, IN 46404


                  Darryl Floyd
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                  Morrow, GA 30260


                  Darryl Goodwin
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                  Darryl Harris
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                  Carthage, NC 28394


                  Darryl Krause
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                  Darryl Mabe
                  4705 Crestwood Drive
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                  Griffin, IN 47616


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                  Westchester, IL 60154


                  Darryl Rohrbaugh
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                  Friedens, PA 15541


                  Darryl Steele
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                  Darryl Sundstrom
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                  Darwin Loos
                  5158 S Bryon
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                  Darwin McCoy
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                  Detroit, MI 48238


                  Darwin Woodin
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                  Taylor Ridge, IL 61284


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                  Daryl Belanger
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                  Daryl Daulong
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                  Palestine, TX 75803


                  Daryl Eggen
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                  Daryl Finley
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                  Paris, TN 38242


                  Daryl Genord
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                  Daryl Hershberger
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                  Daryl Holder
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                  Daryl Knauss
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                  Daryl McCulley
                  2294 Singleton Creek Road
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                  Daryl Mendrick
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                  Cass City, MI 48726


                  Daryl Scott Lambert
                  5821 Jones Rd
                  Walkertown, NC 27051


                  Daryl Welch
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                  Hampton, VA 23669


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                  Daryn Norton
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                  Daryn Steinert
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                  Spring, TX 77388


                  Daryo Karim
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                  Dashawna Murage
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                  Cincinnati, OH 45239


                  Dasjesha Smith
                  4442 Huntsman Bend
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                  Dave Connar
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                  Dave Craig
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                  Dave Douden
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Redford Charter Township, MI 48240


                  Dave Klatt
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                  Dave Lahay
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                  Norfolk, VA 23513


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                  Dave Rankin
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                  Dave Schoonover
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                  Dave Shaw
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                  Tallmadge, OH 44278


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                  Dave Stouffer
                  15972 Rd 138
                  Paulding,, OH 45879


                  Dave Strait
                  7 North Buys Road
                  Muskegon, MI 49445


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                  Dave Szendre
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                  Dave Thomas
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                  8391 Mallard Xing
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                  Dave Trader
                  2340 Leigh Ct
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                  2127 Gravois Rd
                  St Clair, MO 63077


                  Dave Walter
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                  Dave Weaver
                  530 South Stone Road
                  Fremont, MI 49412
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                  Dave Zagorski
                  16780 Snyder Road
                  Chagrin Falls, OH 44023


                  Dave Zehr
                  1222 Russell Road
                  Chandler, IN 47610


                  Dave Zook
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                  Davell Thompson
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                  David & Debbi Hutzell
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702


                  David (Dave) Dalton
                  7661 Mayfair Street
                  Taylor, MI 48180


                  David Abdelnour
                  5449 Welch Rd
                  Emmett, MI 48022


                  David Abendroth
                  789 E State Rd 48
                  Shelburn, IN 47879


                  David Adair
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                  Morganton, NC 28655


                  David Adams
                  5838 Hollow Corners Road
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                  David Adams
                  660 Forest Hills Boulevard
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  David Addison
                  1439 North 43rd Street
                  East St. Louis, IL 62204


                  David Adkins
                  3473 New Salem Rd
                  Climax, NC 27233


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                  David Ansbro
                  4045 Franks Creek Dr,
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                  David Archer
                  1128 Madison Avenue
                  Winston-Salem, NC 27103


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                  Vermilion, OH 44089


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                  David Batchelder
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                  David Baughman Jr.
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                  Clearfield, PA 16830


                  David Bean
                  10475 North St
                  Norwich, OH 43767


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                  David Beasley
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                  David Binkowski
                  19645 Homer Rd
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                  Dunlap, TN 37327


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                  David Bottomley
                  9765 1/2 Mile Rd
                  East Leroy, MI 49034
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                  David Bowen
                  294 Salster Rd
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                  Liberty, MO 64068


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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  1182 Matthews Rd
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                  David Goretski
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  David Jones
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                  5775 Township Road 466
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                  Kalamazoo, MI 49009


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                  David Killebrew
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  David Prochazka
                  13801 Oak Tree Trail
                  Chardon, OH 44024


                  David Pryor
                  174 Briarwood Circle
                  Macon, GA 31211


                  David Pumford
                  10951 W VanBuren Rd
                  Riverdale, MI 48877


                  David Purdue
                  7180 Choctaw Dr
                  Owosso, MI 48867


                  David Purser
                  12068 Marsh Hen Ln
                  FORT MILL, SC 29708


                  David Pusa
                  2116 West A Street
                  Belleville, IL 62226


                  David Quanz
                  3517 McKean Avenue
                  St. Louis, MO 63118


                  David Quigley
                  305 Michigan Ave
                  Wilmington, NC 28401


                  David Rabold
                  7543 Bingham Rd
                  Brighton, MI 48116
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                  David Radford
                  4044 Pleasant Gate Lane
                  Columbia, TN 38401


                  David Rafferty
                  193 Betty Carlisle Rd
                  Jackson, OH 45640


                  David Ramey
                  560 Substation Rd
                  Brunswick, OH 44212


                  David Ramsey
                  4283 Edgeland Rd
                  Edgemoor, SC 29712


                  David Ramsey
                  2212 Churchville Ave
                  Staunton, VA 24401


                  David Ravert
                  8860 Pennsylvania 405
                  Montgomery, PA 17752


                  David Ray Allen Longerbeam
                  9254 Barbara Lane
                  Rhoadesville, VA 22542


                  David Reed
                  410 Calloway St
                  Hazel, KY 42049


                  David Reese
                  570 Mountain Meadow Drive
                  Jackson, OH 45640


                  David Reyes
                  125 Sledge Farm Drive
                  Spring Hope, NC 27597


                  David Rhoton Jr
                  1437 Furnace Creek Road
                  Minford, OH 45653
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                  David Rhoton Jr Garage
                  1437 Furnace Creek Road
                  Minford, OH 45653


                  David Richmond
                  8227 Church Road
                  Saint Johns, MI 48879


                  David Richwine
                  36 North Greenmount Avenue
                  Springfield, OH 45503


                  David Rickerson
                  249 Silver Maple Road
                  Martinez, GA 30907


                  David Ridel
                  11359 Ridge Rd
                  Girard, PA 16417


                  David Riegle
                  151 South Highway Street
                  Brook, IN 47922


                  David Riley
                  4054 Omaha Dr
                  Bargersville, IN 46106


                  David Ring
                  1820 W Riga Ave
                  marion, IN 46952


                  David Roark
                  442 Eagle Road
                  Newport, NC 28570


                  David Robertson
                  3338 High Street
                  Eastover, NC 28312


                  David Robinson
                  1593 King Hill Road
                  Murphysboro, IL 62966
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                  David Rodriguez
                  894 Holmes rd
                  Allenton, MI 48002


                  David Rogers
                  108 Biddeford Court North
                  Saint Charles, MO 63304


                  David Rouson
                  1197 North Carolina 45
                  Plymouth, NC 27962


                  David Ruble
                  4 4th Street
                  Belpre, OH 45714


                  David Saez
                  16627 Cameron Street
                  Southgate, MI 48195


                  David Salva
                  7601 Eason Circle
                  Raleigh, NC 27613


                  David Sarnecki
                  919 Dominion Drive
                  Clarksville, TN 37042


                  David Saukas
                  8952 Nature Meadows
                  Rockford, MI 49341


                  David Schebil
                  20510 Luna St
                  Charter Twp of Clinton, MI 48035


                  David schilke
                  32492 Shady Ridge Drive
                  Farmington Hills, MI 48336


                  david schooley
                  190 Sunview Dr
                  Beaver Falls, PA 15010
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                  David Schoorens
                  7112 koufax court
                  Ampthill, VA 23234


                  David Schroeder
                  5965 Greenbrier Rd
                  Franklin, TN 37064


                  David Schultz
                  12425 20 Mile Rd NE
                  Sand Lake, MI 49343


                  David Scott
                  401 North Roney Street
                  Carl Junction, MO 64834


                  David Scotton
                  82 Scotton Matthews Dr
                  Siler City, NC 27344


                  David Scribani
                  5555 Bryant Hollow Road
                  Cunningham, TN 37052


                  david Scull
                  130 Deer Road
                  Salem, SC 29676


                  David Seifert
                  420 Long Meadow Dr
                  Fredericksburg, VA 22406


                  David Seliquini
                  302 Outlaw Street
                  Chesapeake, VA 23320


                  David Sell
                  544 S Main St, PO Box 2
                  Willard, OH 44890


                  David Seppelt
                  100 McDowell Ln
                  Dundas, VA 23938
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                  David Setzer
                  674 Goose Creek Rd
                  Marion, NC 28752


                  David Shaalim
                  117 Tuscany Lane
                  Vine Grove, KY 40175


                  David Shackford
                  129 NC Highway 45
                  Winton, NC 27986


                  David Sherlock
                  1624 Rue Cecile
                  Bonne Terre, MO 63628


                  David Shields
                  3275 US-50
                  Williamsburg, OH 45176


                  David Shute
                  1880 Rockwell Road
                  Rockwell, NC 28138


                  David Silverthorne
                  1916 Marylebone Court
                  Virginia Beach, VA 23454


                  David Simmons
                  7800 Richland Church Road
                  Liberty, NC 27298


                  David Simms
                  388 Cary Shop Rd
                  Burkeville, VA 23922


                  David Simpson
                  9636 Cleatwood Dr. NE
                  Leland, NC 28451


                  David Skea
                  594 Crystalview Drive
                  Crystal Spring, PA 15536
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                  David Skinner
                  9248 Cole Rd
                  Durand, MI 48429


                  David Slavik
                  3369 Bayvue Boulevard
                  Arnold, MO 63010


                  David Slesinski Koebel
                  2324 W County Rd 700 N
                  Brazil, IN 47834


                  DAVID SMITH
                  11373 S 720 W
                  Holland, IN 47541


                  David Smith
                  5507 Millett Highway
                  Lansing, MI 48917


                  David Smith
                  984 Rosewood Road
                  Goldsboro, NC 27530


                  David Smith
                  148 Gabriel Dr
                  Mooresville, NC 28115


                  David Smith
                  12240 Yankee St
                  Belleville, OH 44813


                  David Smith
                  124 Leslie Farms Drive
                  Evans City, PA 16033


                  David Smith
                  529 Napier Road
                  Lawrenceburg, TN 38464


                  David Smith
                  17875 6th Avenue Rd
                  Three Rivers, MI 49093
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                  David Snead
                  1209 900 South
                  Pendleton, IN 46064


                  David Snell
                  2257 Co Rd 634
                  Cape Girardeau, MO 63701


                  David Somerville
                  2566 Garners Ford Rd
                  Thurman, OH 45685


                  David Sommer
                  14026 Cemetery Road
                  Conneaut Lake, PA 16316


                  David Sosinski
                  1821 Manhattan Street
                  Michigan City, IN 46360


                  David Soule
                  404 E Forest St
                  Edmore, MI 48829


                  David Soya
                  2345 Tebo Rd.
                  Hastings, MI 49058


                  David Soyak
                  925 Crest Dr
                  Chickamauga, GA 30707


                  David Spadafore
                  1621 Brookline Blvd
                  Pittsburgh, PA 15226


                  David Spivey
                  216 Monument Trail
                  Lorena, TX 76655


                  david spurlock
                  921 Margaret Street
                  Niles, MI 49120
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                  David stadelman
                  288 Woodie Ln
                  Kennerdell, PA 16374


                  David Stauffer
                  103 S 1st Street
                  Continental, OH 45831


                  David Steinbrook
                  9111 Date Rd
                  Baroda, MI 49101


                  David Stephenson
                  940 N Broad St
                  Galesburg,, IL 61401


                  David Stevens
                  14436 Oxford
                  Plymouth, MI 48170


                  David Stewart
                  6756 Brookbank Rd
                  Summerfield, NC 27358


                  David Stieber
                  17 2nd Street
                  Shelby, OH 44875


                  David Stimpson
                  905 Shady Ln
                  Tecumseh, MI 49286


                  David Stittums
                  623 Menelaus Road
                  Berea, KY 40403


                  David Stolte
                  8723 Blue Marlin Dr
                  Indianapolis, IN 46239


                  David Stone
                  168 Mordust Run
                  Hazard, KY 41701
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                  David Stoner
                  1714 Oak St
                  Monroe, MI 48161, MI 48161


                  David Stonewalter
                  50 Beatty Ln
                  Wilburn, AR 72179


                  David Strader
                  1075 Saxonburg Blvd
                  Saxonburg, PA 16056


                  David Strauss
                  8399 Covert Rd
                  Petersburg, MI 49270


                  David Strickler
                  26001 Knights Tower Drive
                  Kingwood, TX 77339


                  David Sweet
                  3021 State Road
                  Glennie, MI 48737


                  David Swierpel
                  884 Wolverine Drive
                  Commerce Charter Township, MI 48390


                  David Tabor
                  6054 Hexagon Dr
                  Fairfield, OH 45014


                  David Taylor
                  4199 Prairie Hill St
                  Kalamazoo, MI 49048


                  David Taylor
                  390 Almora Loop
                  Mooresville, NC 28115


                  David Teeple
                  17544 Pine Ct
                  Lake Milton, OH 44429
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                  David Teeple
                  664 Pine Drive
                  Lake Milton, OH 44429


                  David Teeters
                  889 Ricker Rd
                  Greeneville, TN 37743


                  David Teitsma
                  7138 Kettle Lake Drive Southeast
                  Alto, MI 49302


                  David Thigpen
                  6143 Pagemont Rd
                  Kannapolis, NC 28081


                  David Thompson
                  918 Winston Drive
                  Jefferson City, MO 65101


                  David Thompson
                  7758 Thomas Spring Road
                  Bridgewater, VA 22812


                  David Thompson
                  31420 Judes Way
                  Fredericksburg, VA 22407


                  David Tilson
                  5015 Harding Street
                  Wayne, MI 48184


                  David Tita
                  618 24th Street
                  Beaver Falls, PA 15010


                  david trask
                  9224 Lodge Pole Lane
                  St. Louis, MO 63126


                  David Trinko
                  1905 Pickett Park Hwy
                  Jamestown, TN 38556
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                  David Triplett
                  816 Oakland Avenue Extension
                  Morganton, NC 28655


                  David Truitt
                  3951 NC-62
                  Blanch, NC 27212


                  David Tucker
                  1668 Brookview Dr
                  Dandridge, TN 37725


                  David Tyler
                  5840 Smith Station Rd
                  Fredericksburg, VA 22407


                  David Tyler (Second System)
                  5840 Smith Station Road
                  Fredericksburg, VA 22407


                  David Tyndall
                  1875 Ozzie Rd
                  Clinton, NC 28328


                  David Uhrik
                  2895 Poplar Grove Rd
                  Cookeville, TN 38506


                  David Underwood
                  8500 Franklin Street
                  Ferrum, VA 24088


                  David Valdez
                  729 Marlborough St
                  Detroit, MI 48215


                  David VanDyke
                  4500 Bridgeville Court
                  Hudsonville, MI 49426


                  David VanLoon
                  1521 Hudlow Loop Road
                  Dunlap, TN 37327
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                  David VanLooy
                  13993 Garfield
                  Redford Charter Township, MI 48239


                  David VanOeffelen
                  5647 Baumhoff Avenue Northwest
                  Comstock Park, MI 49321


                  David Vaughan
                  3917 County Highway 8-C
                  Mount Orab, OH 45154


                  David Venema
                  3017 Carla Drive
                  Saginaw, MI 48604


                  David Wade
                  2080 Lauren Woods Dr
                  Winston-Salem, NC 27127


                  David Wakefield
                  2660 Union Hill Road
                  Nashville, TN 37080


                  David Walburn
                  250 Baneberry Loop
                  Lexington, SC 29073


                  David Wallis
                  Jennifer Catherine Snow
                  222 South Central Avenue
                  Suite 1100
                  St. Louis, MO 63105


                  David Walton Hartman & Suzanne Renee Lew
                  Robert N. Young Carruthers & Roth, P.A.
                  235 North Edgeworth Street
                  P.O. Box 540
                  Greensboro, NC 27402


                  David Warren
                  1505 N Ellsworth Ave
                  Salem, OH 44460
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                  David Warren
                  1107 County Road 1616
                  Jacksonville, TX 75766


                  David Waskey
                  1251 Dowdy Rock Rd
                  Bedford, VA 24523


                  David Waterhouse
                  10262 Bainum Drive
                  Collegedale, TN 37363


                  David Watson
                  2462 Edwardsville Galena Road
                  Georgetown, IN 47122


                  David Watson
                  4020 Hatchett Road
                  Penhook, VA 24137


                  David Wauchope
                  14941 Russell Avenue
                  Allen Park, MI 48101


                  DAVID WAYNICK
                  1212 Holland Road
                  Lafayette, TN 37083


                  David Weiblen
                  417 Lakeview Pkwy
                  Locust Grove, VA 22508


                  David Wells
                  2021 Washington Highway
                  Union Point, GA 30669


                  David Whetstone
                  2605 Lincolndale Ave
                  Fort Wayne, IN 46808


                  David White
                  10835 cool springs rd
                  Cleveland, NC 27013
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                  David White
                  210 Georgian Dr SW
                  Reynoldsburg, OH 43068


                  David White
                  371 weaver rd
                  Johnston, SC 29832


                  David Whiteaker
                  12309 State Road CC
                  Festus, MO 63028


                  David Whiteside
                  311 Morgan Road
                  Hendersonville, NC 28739


                  David Whiting
                  3589 Rolling Hills Ln
                  Grove City, OH 43123


                  David Whitmarsh
                  4066 Woodcliff Cir
                  Seven Valleys, PA 17360


                  David Wilbanks
                  980 Howse Church Road
                  Atwood, TN 38220


                  David wilkie
                  990 Windmill Parkway
                  Evans, GA 30809


                  David Wilkins
                  4219 Falling view Ln
                  Mechanicville, VA 23111


                  David Williams
                  2167 Reedsford Road
                  Clinton, NC 28328


                  David williams
                  152 Heritage Circle
                  La Vergne, TN 37086
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                  David Wilson
                  101 Glenn Drive
                  Clinton, PA 15026


                  David Wilson
                  17124 Castlegate Drive
                  Abingdon, VA 24210


                  David Windsor
                  142 Windsor Ln
                  Marshall, NC 28753


                  David Wing
                  137 Racine Drive
                  Newport News, VA 23608


                  David Winkler
                  570 Gentry Ct
                  Howell,, MI 48843


                  David Witt
                  140 Forest Hill Drive
                  Irvine, KY 40336


                  David Wojtecki
                  1559 Ruritan Park Rd
                  North Wilkesboro, NC 28659


                  David Wolfe
                  775 Yates Rd
                  Salisbury, NC 28146


                  David Wolff
                  124 Lazy Ln
                  Gray, TN 37615


                  David Wood
                  4119 North Eager Road
                  Howell, MI 48855


                  David Woodruff
                  25760 Bankhead Drive
                  Bedias, TX 77831
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                  David Woods
                  2459 Springs Rd
                  Mt Airy, NC 27030


                  David Woolwine
                  1304 CC Mountain Road
                  New Castle, VA 24127


                  David Wyant
                  255 Trade Street
                  Villa Grove, IL 61956


                  David Wynne
                  6000 Hidden Acres Rd
                  Byrnes Mill, MO 63051


                  David Wysocki
                  10004 Saltsburg Road
                  Pittsburgh, PA 15239


                  David Yan
                  117 Barrett Heights Rd
                  Stafford, VA 22556


                  David Young
                  6477 Mount Pleasant Road South
                  Concord, NC 28025


                  David Young
                  121 Jay Vonne Trail
                  Stokesdale, NC 27357


                  David Zapata
                  4629 E Moccasin Trail
                  Berrien Springs, MI 49103


                  David Zediker
                  2604 Marian Avenue
                  Lafayette, IN 47905


                  David Zoon
                  4320 Bathurst Drive
                  Charlotte, NC 28227
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                  Davis Ampofo
                  18828 Hundred Acre Ln
                  Triangle, VA 22172


                  Davita Carter
                  4449 8th 1/2 St Ct,
                  East Moline,, IL 61244


                  Davld Van doren
                  220 Windy Knoll Dr
                  Front Royal,, VA 22630


                  Davon Calloway
                  9053 Ridgeline Drive
                  Reynoldsburg, OH 43068


                  Davon Calloway
                  9053 Ridgeline Dr
                  Reynoldsburg, OH 43068


                  DaWayne Brooks
                  1713 Ripley Woods Street
                  Youngsville, NC 27596


                  Dawayne Lepper
                  5817 Mineral Spring Road
                  Suffolk, VA 23438


                  Dawayne Morse
                  6421 Clise Rd
                  Bath Twp, MI 48808


                  Dawn Ann Botts
                  237 Washington Boulevard
                  Franklin, PA 16323


                  Dawn Armstrong
                  6057 Old US Highway 322
                  Milroy, PA 17063


                  Dawn Beacham
                  916 Amanda Street
                  Manteo, NC 27954
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Dawn Berrigan
                  212 Galloway Drive
                  Rustburg, VA 24588


                  Dawn Betzel
                  2059 Highway 12 North
                  Ashland City, TN 37015


                  Dawn Bohjanen
                  6982 Pingree Rd
                  Elwell, MI 48832


                  Dawn Campau
                  11155 Snow rd
                  Bridgman, MI 49106


                  Dawn Chamberlin
                  1502 James Place
                  Goshen, IN 46526


                  Dawn Crawford
                  343 West Blackfoot Drive
                  Ellettsville, IN 47429


                  Dawn Dewitt
                  3126 Spence Road
                  New Carlisle, OH 45344


                  Dawn Dietrich
                  2891 Roosevelt Street
                  Conklin, MI 49403


                  Dawn Dufault
                  9883 Falcon Crest Drive
                  Ooltewah, TN 37363


                  Dawn Dukeman
                  6461 Griffin Hwy
                  Bellevue, MI 49021


                  Dawn Felosa
                  140 Orchard Street B
                  Candler, NC 28715
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                  Dawn Fewell
                  140 Country Run Circle
                  Powell, TN 37849


                  Dawn Fosnaugh
                  5654 Samver Road
                  Cincinnati, OH 45239


                  Dawn Hafner
                  3655 Chamberlain Ave SE
                  Grand Rapids, MI 49508


                  Dawn Hamilton
                  2185 Winslow Avenue
                  Terre Haute, IN 47805


                  Dawn Holiday-Pitcher
                  10374 Laurel St
                  Livonia, MI 48150


                  Dawn Hulbert
                  5860 N Bailey Rd
                  Coral, MI 49322


                  Dawn Hunkapiller
                  880 Deturksville Rd
                  Pine Grove, PA 17963


                  Dawn Jackson
                  403 16th st
                  Virginia Beach, VA 23451


                  Dawn Kovach
                  1376 Swartz Road
                  Flinton, PA 16640


                  Dawn Kuhns
                  786 County Rd 1500 E
                  Toledo, IL 62468


                  Dawn LeGars
                  820 3rd Avenue
                  Hastings, PA 16646
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                  Dawn Lengrand
                  178 Candler Ln
                  Dawsonville, GA 30534


                  Dawn Litwin
                  2612 Baseline Road
                  Stockbridge, MI 49285


                  Dawn Magwire
                  1912 Ridge Drive
                  Washington, IN 47501


                  Dawn McQueen
                  1636 Broadview Dr
                  Jenison,, MI 49428


                  Dawn Miller
                  2525 Pinckney Rd
                  Howell, MI 48843


                  Dawn Mitchell
                  12399 Fife Rd
                  Van Wert, OH 45891


                  Dawn Nead
                  552 North Locke Street
                  Nappanee, IN 46550


                  Dawn O'Dell
                  6370 Waterford Hill Terrace
                  Clarkston, MI 48346


                  Dawn Oliver
                  1076 Sam Davis Rd
                  Bryson City, NC 28713


                  Dawn Osterman
                  7482 Justus Ave SW
                  Navarre, OH 44662


                  Dawn Papple
                  6250 S Morrice Rd
                  Perry, MI 48872
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                  Dawn Pio
                  11384 South 34th Street
                  Vicksburg, MI 49097


                  Dawn Rebitzke
                  921 Pine St
                  Ludington, MI 49431


                  Dawn Sarver
                  201 Magee Jones Road
                  Peebles, OH 45660


                  Dawn Shupp
                  1728 E Lockwood Rd
                  Port Clinton, OH 43452


                  Dawn Snow
                  6611 Glebe Point Road
                  Chesterfield, VA 23838


                  Dawn Stevens
                  3215 Middle Rd
                  Highland, MI 48357


                  Dawn Thorne
                  4025 S Buffalo Rd
                  Lexington, VA 24450


                  Dawn Welt
                  206 N Harris St
                  Saline, MI 48176


                  Dawn Wood
                  31 Martera Pl
                  Pittsburgh, PA 15205


                  Dawson Young
                  2347 Stephanie Lane
                  Clayton, NC 27520


                  Dayton Wallace
                  1113 Anita Ct
                  Mount Sterling, KY 40353
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                  DC Mullings
                  4 Julliard Court
                  Savannah, GA 31419


                  DCL Construction, Inc
                  5298 Bucks Garage Road
                  Maiden, NC 28650


                  De Anna Nease
                  3496 Patten Pike
                  Caledonia, OH 43314


                  Deameon Phillips
                  1925 Scale Rd
                  Benton, KY 42025


                  Dean Anderson II
                  3542 Orchard Road
                  Iron Station, NC 28080


                  Dean Bagnoni
                  1284 E 32nd St
                  Erie,, PA 16504


                  Dean Bancroft
                  979 N Jossman Rd
                  Ortonville, MI 48462


                  Dean Bossick
                  969 Mercer-New Wilmington Rd
                  New Wilmington, PA 16142


                  Dean Britt
                  263 State Rd S-17-300
                  Lake View, SC 29563


                  Dean Carpenter
                  10933 Otter Drive
                  Richfield Township, MI 48656


                  Dean Clendenin
                  2494 Wegnar Dr
                  Allegan, MI 49010
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                  Dean Crow
                  705 Beech St
                  Grafton, WV 26354


                  Dean Dotson
                  44800 Ecorse Rd
                  Belleville, MI 48111


                  Dean Fickett
                  148 South Mills Road
                  Moyock, NC 27958


                  Dean Fleming
                  162 Pine Bluff Dr
                  Newport News,, VA 23602


                  Dean Halsted
                  13894 Thornapple Ln
                  Perry, MI 48872


                  Dean Horne
                  326 Beaver Dam Drive
                  Chesnee, SC 29323


                  Dean Kent
                  3500 Tamarack Trail
                  Mount Morris, MI 48458


                  Dean Kessler
                  409 Locust Street
                  Strasburg, IL 62465


                  Dean Leftwich
                  171 Loving Street
                  Daniels, WV 25832


                  Dean Leiby
                  476 Whitethorn Ct
                  Ruckersville, VA 22968


                  dean mccloud
                  6295 Milton Bear Branch Road
                  Dillsboro, IN 47018
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                  Dean McGraw
                  19540 McCray Drive
                  Abdington, VA 24211


                  DEAN MERCHANT
                  3894 Chevington Road
                  Columbus, OH 43220


                  Dean Mingus
                  6760 Mason Road
                  Berlin Heights, OH 44814


                  Dean O'Keeffe
                  252 Edgar Road
                  Hanover, VA 23069


                  Dean Pavlik
                  1529 E 365th St
                  Eastlake, OH 44095


                  Dean Principe
                  1440 Airport Rd
                  Sulphur Springs, TX 75482


                  Dean Richmond
                  106 Churchill Court
                  Loveland, OH 45140


                  Dean Schrader
                  5362 Co Rd 52
                  St Joe, IN 46785


                  Dean Shepherd
                  2694 South 1050 West
                  Russiaville, IN 46979


                  Dean Smith
                  16708 County Road 8
                  Bristol, IN 46507


                  Dean Smith
                  147 basin drive
                  Boiling Springs, SC 29316
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                  Dean Stokes
                  2230 Camelot Dr
                  Columbiana, OH 44408


                  Dean Taylor
                  415 North Van Buren Street
                  Versailles, MO 65084


                  Dean Thomas
                  32650 Wellwood Road
                  West Mansfield, OH 43358


                  Dean Watson
                  8064 Revere Dr, McDonough, GA 30252
                  Mcdonough, GA 30252


                  Deana Coffey
                  417 W Washington St
                  Dewitt, MI 48820


                  Deana Holbert
                  14 Paul Ave
                  St Charles, MO 63301


                  Deana Stamm
                  19 S Pearl St
                  Wernersville, PA 19565


                  DeAngelo Rodriguez
                  715 S Wolf Rd
                  Des Plaines, IL 60016


                  DeAnn Knight
                  673 Ballymore Road
                  Roscoe, IL 61073


                  Deanna Esper
                  5700 Emmons Rd
                  Fowlerville, MI 48836


                  Deanna Evers
                  14991 Waldron rd
                  Waldron, MI 49288
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                  Deanna Fussi
                  1423 Montvale Street
                  Montvale, VA 24122


                  Deanna Lancaster
                  317 N Jackson St
                  Salisbury, NC 28144


                  Deanna Power
                  608 North Nebo Road
                  Muncie, IN 47304


                  Deanna Rice
                  5116 Silverbrook Drive
                  Mc Leansville, NC 27301


                  Deanna Rosario
                  3632 Lakeshore Drive
                  Hope Mills, NC 28348


                  Deanna Thorner
                  11222 Dunnigan Rd
                  Emmett, MI 48022


                  Deanna Yohn
                  75 Scott Ridge Road
                  Harmony, PA 16037


                  Deb Bauer
                  616 Island Lake Road
                  Chelsea, MI 48118


                  Deb Boniface
                  1515 19th Street
                  Otsego, MI 49078


                  Deb Broome
                  3154 Mt Misery Rd NE
                  Leland, NC 28451


                  Deb Cole
                  6872 Allet Avenue
                  Cincinnati, OH 45239
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                  Deb Cornisco
                  6974 south 116th
                  Rothbury, MI 49452


                  Deb Daniels
                  2110 Mountain Valley Rd
                  Buchanan, VA 24066


                  Deb Gucciardo
                  13031 Carter Road
                  Painesville, OH 44077


                  Deb Lee
                  11760 Wange Road
                  Capron, IL 61012


                  Deb Miller
                  9589 Emerson Rd
                  Van Wert, OH 45891


                  Deb Nelson
                  13113 Coveney Rd
                  Buchanan, MI 49107


                  Deb Toth
                  4311 Home Street
                  West Mifflin, PA 15122


                  Debbi Hutzell
                  1624 Delgany Street
                  Columbus, OH 43228


                  Debbie Abbott
                  1538 S. County Line Rd.
                  Geneva, OH 44041


                  Debbie Adam
                  1850 Lovers Lane
                  New Lexington, OH 43764


                  Debbie Allen
                  2138 E Cavanaugh Rd
                  Lansing, MI 48910
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                  Debbie Amos
                  510 Ridgecrest Lane
                  Hollins, VA 24019


                  Debbie Anderson
                  614 North Chestnut Street
                  Litchfield, IL 62056


                  Debbie Bates
                  108 W Main St
                  Turner, MI 48765


                  Debbie Bogash
                  3155 North Lincoln Lake Drive
                  Coal City, IL 60416


                  Debbie Brown
                  759 McCoys Ford Road
                  Front Royal, VA 22630


                  Debbie Budd
                  11133 West 700 South
                  Columbus, IN 47201


                  Debbie Burley
                  113 Bellebrooke Dr
                  Pataskala,, OH 43062


                  Debbie Davis
                  3568 Millers Run-Back Run Road
                  Lucasville, OH 45648


                  Debbie Donaldson
                  701 North Maple Grove Avenue
                  Hudson, MI 49247


                  Debbie Farmerie
                  2626 Buffalo Ford Rd
                  Asheboro, NC 27205


                  Debbie French
                  1040 Ladys Way
                  Newport, TN 37821
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                  Debbie Gomez
                  310 West Main Street
                  Saint Paris, OH 43072


                  Debbie Grider
                  2212 Ballingarry Drive
                  Statesville, NC 28625


                  Debbie Haney
                  832 Lakewood Neshannock Falls Road
                  New Castle, PA 16105


                  Debbie Hardin
                  1213 Forest Cir Dr
                  Corbin, KY 40701


                  Debbie Hinckle
                  53980 Co Rd 384
                  Grand Jct, MI 49056


                  Debbie Hines
                  836 Wildwood Pointe Drive
                  New Bern, NC 28560


                  Debbie Holton
                  1723 Shankin Dr
                  Commerce Township, MI 48390


                  Debbie Johnson
                  9352 Baumhart Rd
                  Amherst, OH 44001


                  Debbie Keim
                  955 Melody Lane
                  Lebanon, PA 17046


                  Debbie Kral
                  400 Flucom Meadows
                  De Soto, MO 63020


                  Debbie Manis
                  5311 Liz Ln
                  Anderson, IN 46017
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                  Debbie McNeil
                  166 Rosetta Ct
                  Auburn Hills, MI 48326


                  debbie mickens
                  807 Morris St
                  Sweetwater, TN 37874


                  Debbie Mosciano
                  3728 Lilac Drive
                  Portsmouth,, VA 23703


                  Debbie Nay
                  157 Dry Road
                  Speedwell, VA 24374


                  Debbie Noah
                  3224 Tabor Ridge Rd NE
                  Mineral City, OH 44656


                  Debbie Osburn
                  3515 W 123rd Pl
                  Crown Point, IN 46307


                  Debbie Parker
                  828 Indiana Ave
                  Glassport, PA 15045


                  Debbie Powell
                  501 mountain view rd
                  Appomattox, VA 24522


                  Debbie Robinson
                  1190 Cedar Hills Lane
                  Lancaster, SC 29720


                  Debbie Romero
                  15655 White Tail Lane
                  Culpeper, VA 22701


                  Debbie Sites
                  12922 Rockfish River Road
                  Shipman, VA 22971
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                  Debbie sunderman
                  617 Soose Road
                  Pittsburgh, PA 15209


                  Debbie van Witzenburg
                  2130 North Iva Road
                  Hemlock, MI 48626


                  Debbie Volz
                  9320 Settle School Rd
                  Rixeyville, VA 22737


                  Debbie Watkins
                  303 East Walnut Street
                  Gillespie, IL 62033


                  Debbie Wiseman
                  324 Becker Avenue Northwest
                  Valdese, NC 28690


                  Debbie Wisterman
                  6685 Almond Ln
                  Village of Clarkston, MI 48346


                  Debbie Wood
                  1993 Campground Rd
                  Hastings, MI 49058


                  DEBBORA DEPREZ SMITH
                  8504 State Hwy 2096
                  Robards, KY 42452


                  Debbra King
                  379 Lovers Ln
                  Mt Airy, NC 27030


                  debby dusten-taylor
                  13705 North Edgewater Drive
                  Chillicothe, IL 61523


                  Debby Gable
                  31705 Fairchild St
                  Westland, MI 48186
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                  Debby Hart
                  2287 Howardsville Rd
                  Buckingham, VA 23921


                  Debi Fields
                  4128 New Jackson Highway
                  Hodgenville, KY 42748


                  Debi Miller
                  9448 Nickleplate Rd,
                  Muir, MI 48860


                  Debi Mosley
                  6353 Freeport Dr
                  Dayton, OH 45415


                  Debi Yorke
                  2030 Freedom Drive
                  Braselton, GA 30517


                  Debora Grundt
                  29 Charlie Williamson Road
                  Whiteville, NC 28472


                  Debora Ham
                  7059 Pennwright Road
                  Fremont, NC 27830


                  Debora hines
                  12046 North Elyria Road
                  West Salem, OH 44287


                  Debora Hollinqsworth
                  3726 OH-48
                  Lebanon,, OH 45036


                  Debora Kessler
                  6600 State Route 138
                  Frankfort, OH 45628


                  Deborah "Debbie" Latin
                  10031 Highland Rd.
                  White Lake, MI 48386
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                  Deborah Auglr
                  10441 South Kenneth Avenue
                  Oak Lawn, IL 60453


                  Deborah Barrier
                  1320 Kluttz Road
                  Salisbury, NC 28146


                  Deborah Bedford
                  231 Kimwood Dr
                  Cedartown, GA 30125


                  Deborah Berlin
                  1300 Cronk Rd South
                  Hillsdale, MI 49242


                  Deborah Branch
                  101 Alpine Trail
                  San Marcos, TX 78666


                  Deborah Brewer
                  705 pierce street
                  north vernon, IN 47265


                  Deborah Bridges
                  2205 Brown Road
                  Cherryville, NC 28021


                  Deborah Brittain
                  1201 Marshall Farm Street
                  Wake Forest, NC 27587


                  Deborah Brooks
                  3001 Open Lane
                  Hillsborough, NC 27278


                  Deborah Bryant
                  8245 Euclid St
                  Salem, MI 48175


                  Deborah Busch
                  7319 Hill Rd
                  Swartz Creek,, MI 48473
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                  Deborah Casad
                  6065 Chattan Dr
                  West Lafayette, IN 47906


                  Deborah Charpentier Schmidt
                  406 W Drew St
                  Kirbyville, TX 75956


                  Deborah Cooper
                  832 Providence Rd
                  Roxboro, NC 27573


                  Deborah Davis
                  3568 Millers Run-Back Run Rd
                  Lucasville, OH 45648


                  Deborah Earls
                  631 Spring St
                  Grand Ledge,, MI 48837


                  Deborah Edmonds
                  3713 Dunbarton Rd
                  Rocky Mount, NC 27803


                  Deborah Egizii
                  7869 Kinsman Road
                  Novelty, OH 44072


                  Deborah Evans
                  2900 Laura Duncan Rd
                  Cary, NC 27513


                  Deborah Evans
                  9818 South Blvd
                  Cleveland, OH 44108


                  Deborah Gardner
                  504 Oak Street
                  West Mifflin, PA 15122


                  Deborah Geyman Jennings
                  1308 Michigan Ave
                  Monroe, MI 48162
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                  Deborah Gibson
                  689 Old Tobacco Dr
                  Dolphin, VA 23843


                  Deborah Gomke
                  142 Mountain Rd
                  Front Royal, VA 22630


                  Deborah Gurney
                  3952 Rosemond Road
                  Cleveland Heights, OH 44121


                  Deborah Guy
                  8014 Bahama Wood Ln
                  Bahama, NC 27503


                  Deborah Harris
                  4049 Forty-Niner's Rd
                  Clayton, NC 27520


                  Deborah Hedley
                  422 Blair shores rd
                  Roper, NC 27970


                  Deborah Hodge
                  3619 Spring Run Rd
                  Mechanicsville, VA 23116


                  Deborah Hoskins
                  22661 Hoyle Cir
                  Maxton, NC 28364


                  Deborah Hursey
                  14657 Richmond St
                  Southgate, MI 48195


                  Deborah Kaeser
                  29273 Barber Road
                  West Harrison, IN 47060


                  Deborah Lampl
                  6362 Brancheau Street
                  Berlin, MI 48166
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                  Deborah Lawrence
                  2207 Bellevue Ave
                  Columbus,, OH 43207


                  Deborah Lawrence
                  290 Tims Orchard Rd
                  Troutville, VA 24175


                  Deborah M Redman
                  3601 Hebron Rd
                  Hebron, OH 43025


                  Deborah MacDonald
                  450 Holyfield Ln
                  Moneta, VA 24121


                  Deborah Martin
                  201 Carter Street
                  Louisa, VA 23093


                  Deborah McEldowney
                  41 Heslar Way
                  Leicester, NC 28748


                  Deborah McGregor
                  4524 Marshall Ct
                  Monroe, NC 28110


                  Deborah McGriff
                  282 Juno Dr
                  Broadway, NC 27505


                  Deborah McKenzie
                  7968 Woodbury rd
                  Waynesburg, MI 48848


                  Deborah Meridith
                  6657 Kimesville Rd
                  Liberty, NC 27298


                  Deborah Metcalf
                  1000 North Prairie Street
                  Bloomfield, MO 63825
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                  Deborah Mobley
                  305 Wedgewood Drive
                  Clarksville, TN 37043


                  Deborah Oakley
                  1749 Winsett Rd
                  Springville, TN 38256


                  Deborah Perham
                  1002 Natural Springs Way
                  Leland, NC 28451


                  Deborah Peters
                  207 Harbor Drive
                  Hampton, VA 23661


                  Deborah Russell
                  1820 W Harreld Rd Marion, IN 46952
                  Marion, IN 46952


                  Deborah Russell
                  16271 South Duffield Road
                  Byron, MI 48418


                  Deborah Russell
                  755 Lackeytown Road
                  Old Fort, NC 28762


                  Deborah Sanders
                  8494 Gassaway Road
                  Woodbury, TN 37190


                  Deborah Sessium
                  909 Maplewood Ave
                  Ambridge, PA 15003


                  Deborah Sisc
                  5565 Stonehaven Dr
                  Va Beach, VA 23464


                  Deborah Spencer
                  348 Hans Hill Drive
                  Madison Heights, VA 24572
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                  Deborah Swartz
                  3125 Richland Rd,
                  Sumter, SC 29154


                  Deborah Thompson
                  34348 David Lane
                  Brighton, IL 62012


                  Deborah Tillis
                  727 Oak Ln
                  Kingston,, OH 45644


                  Deborah Tubb
                  6660 Swan Creek Rd
                  Saginaw, MI 48609


                  Deborah Virola
                  3204 Rangers Gate
                  Marietta, GA 30062


                  Deborah Wade
                  1084 Cascade Mill Rd
                  Cascade, VA 24069


                  Deborah Wait
                  115 Mom Ln
                  New Bern, NC 28562


                  Deborah Walsh-Jurek
                  5549 Flock Rd
                  Beaverton, MI 48612


                  Deborah Wilk
                  7259 Fhaner Hwy
                  Potterville, MI 48876


                  Deborah Willig
                  4626 Evard RD
                  Fort Wayne, IN 46835


                  Deborah Xander
                  154 W Rogers St
                  Franklin, NC 28734
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                  Deborth Haziz
                  373 Southbend Ct NE
                  Leland, NC 28451


                  Debra "Debbie" McDonnell
                  121 russell hideaway rd
                  Weedville, PA 15868


                  Debra "Debbie" Millard
                  140 Lanie Drive
                  Douglassville, PA 19518


                  Debra Acors
                  413 Benton Point Rd
                  Tappahanmock, VA 22560


                  Debra Archibald
                  1503 Millicent Drive
                  Machesney Park, IL 61115


                  Debra Belloli
                  14602 Shirley Drive
                  Grass Lake, MI 49240


                  Debra Bentley
                  488 Rock Rd
                  Narrows, VA 24124


                  Debra Bowman
                  103 South Mickley Street
                  Danville, OH 43014


                  Debra Boyle
                  11452 N Belsay Rd
                  Clio, MI 48420


                  Debra Burns
                  255 Chassie Ln
                  Stanley, VA 22851


                  Debra Buttery
                  12294 Brookville Pyrmont Rd
                  Brookville, OH 45309
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                  Debra CAPLINGER
                  6621 Garrison Spurling Rd
                  Pleasant Plain, OH 45162


                  Debra Deckard
                  11400 Coble Rd
                  Charlotte, NC 28227


                  Debra Dobbs
                  3419 West County Road 500 North
                  Cayuga, IN 47928


                  Debra Dubuc
                  2234 Curly Maple Wynd NE
                  Leland, NC 28451


                  Debra Echtinaw
                  499 Furrow Rd
                  Hastings, MI 49058


                  Debra Elliott
                  358 Old Denning Road
                  Princeton, NC 27569


                  Debra Emerick
                  308 Division Ave.
                  Fremont, MI 49412


                  Debra Eudy
                  2721 Dusty Trail Lane
                  Lancaster, SC 29720


                  Debra Fuller
                  16222 Hooper Ridge Road
                  Amesville, OH 45711


                  Debra Grant
                  6405 Schooler Road
                  Lima, OH 45806


                  Debra Green
                  1380 SW 90th Rd
                  Asbury, MO 64832
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                  Debra Green
                  248 Pavilion St
                  Summerville, SC 29483


                  Debra Haas
                  3353 Brandywine Avenue
                  Cave Spring, VA 24018


                  Debra Henry
                  200 East St
                  Carmichaels, PA 15320


                  Debra Hodges
                  319 Coleridge Road
                  Asheboro, NC 27203


                  Debra Hoffman
                  911 Wilson Street
                  Reidsville, NC 27320


                  Debra House
                  2200 Twin Lakes Avenue
                  Lake, MI 48632


                  Debra Hurstwright
                  736 Sunset Lane
                  O'Fallon, MO 63366


                  Debra Jackson
                  3304 Elmwood Road
                  Rocky Mount, NC 27804


                  Debra Katoch
                  1938 Dock Road
                  Madison, OH 44057


                  Debra King
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                  Mansfield, OH 44904


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                  101 Brentwood Circle
                  Virginia Beach, VA 23452
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                  Debra Lawler
                  2821 Hibbard Road
                  Corunna, MI 48817


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                  lima, OH 45805


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                  Farmville, VA 23901


                  Debra Mckenna
                  5020 Abilene Rd
                  Farmville, VA 23901


                  Debra Medders
                  701 Cate Ave
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                  Debra Menchini
                  56280 Sink Rd
                  Dowagiac, MI 49047


                  Debra Miller
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                  Newton, NC 28658


                  Debra Morton
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                  Hephzibah, GA 30815


                  Debra Odham
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                  Leland, NC 28451


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                  Debra Orr
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                  Chesapeake, VA 23324
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                  Debra Page
                  3015 Ferris Avenue
                  Lincoln Park, MI 48146


                  Debra Pearson
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                  Calabash, NC 28467


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                  Clemmons, NC 27012


                  Debra Powell
                  4816 Little Creek Drive
                  Denver, NC 28037


                  Debra Pullum
                  216 Tonya Drive
                  Thomasville, NC 27360


                  Debra Richardson
                  5807 Bois Ile Drive
                  Haslett, MI 48840


                  Debra Ross
                  64 Old Mill Rd
                  Franklin, NC 28734


                  Debra Ross
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                  Debra Schrems
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                  Oakley, MI 48649


                  Debra Seabeck
                  3973 wadsworth road
                  Norton, OH 44203


                  Debra Smith
                  602 Baker Court
                  Upper Sandusky, OH 43351
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                  Debra Spatola
                  1550 Latrobe St
                  Latrobe, PA 15650


                  Debra Webb
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                  Jefferson City, MO 65101


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                  51242 67 1/2 Street
                  Hartford, MI 49057


                  Debra Wightman
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                  Debra Wilcox
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                  Parma, MI 49269


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                  Debrea Williams
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                  DecisionPathHR
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                  Dedra Spradling
                  200 longest lane
                  Dayton, TN 37321


                  Dee Burgin
                  5 Woodmere Drive
                  Paris, IL 61944


                  Dee Clay-bey
                  213 Lakewood St
                  Detroit, MI 48215
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                  Dee Dee Koedinger
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                  Ashville, NC 28804


                  Deemeetrea Tabron
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                  Deena Ferguson
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                  Deena Mooney
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                  Deena Nash
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                  Deena Severance
                  2718 West State Street
                  Springfield, MO 65802


                  Deep Dhillon
                  7 Morningside Drive
                  Durham, NC 27713


                  Deep Thakur
                  4433 Carriage Hill Court
                  Rochester, MI 48306


                  Defiance City Income Tax
                  P.O. Box 669
                  Defiance, OH 43512-2100
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                  Defonzie Porterfield
                  105 Foxhunt Road
                  Columbia, SC 29223


                  Deidre Collins
                  689 Crestlyn Drive
                  North Augusta, SC 29841


                  Deidre McBride
                  103 Townsend Drive
                  Wadesboro, NC 28170


                  Deidre Romero
                  6455 Falkenbury Rd
                  North Branch, MI 48461


                  Deidre Williams
                  39 Ripley St
                  Newport News, VA 23603


                  Deitrick Mcghee
                  310 Cedar Street
                  Graham, NC 27253


                  Deji Taiwo
                  5609 Black Maple Dr
                  Raleigh, NC 27616


                  Del Shirely
                  13191 Snowberry Lane
                  Saint John, IN 46373


                  Delaware City Income Tax
                  P.O. Box 496
                  Delaware, OH 43015-0496


                  Delaware Division of Revenue
                  P.O. Box 8703
                  Wilmington, DE 19899-8703


                  Delbert Allan Dotson Jr.
                  530 Indian Creek Drive
                  Leland, IL 60531
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                  Delbert Bickley
                  254 Davenport Avenue
                  Akron, OH 44312


                  delbert bozarth
                  609 Meadow Avenue
                  East Peoria, IL 61611


                  Delbert Daub
                  3568 E Warren Cir
                  Vincennes, IN 47591


                  Delbert Hill
                  638 SW County Rd O
                  Holden, MO 64040


                  Delbert L Scheuneman II
                  13700 Dixie hwy
                  Birch Run, MI 48415


                  DeLee Grimes
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                  Detroit, MI 48219


                  Delilah Alexander
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                  Richmond, VA 23228


                  Dell Simmons
                  80 Marrietta Drive
                  Oakland, TN 38060


                  Della Carpenter
                  247 South Copeland Road
                  Jackson, KY 41339


                  Della Sawyer
                  2421 Newstead Avenue Southwest
                  Wyoming, MI 49509


                  Delma Senn
                  314 Westwood Circle
                  Pickens, SC 29671
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                  Delmar Johnson
                  913 Pontiac Street
                  Rochester, IN 46975


                  Delmas Jackson
                  729 Yukon Way
                  Stockbridge, GA 30281


                  Delmas Overby
                  247 Hylton St
                  Mt Airy, NC 27030


                  Delores Baskin
                  10208 Centralia Station
                  Chester, VA 23831


                  Delores Irving
                  405 Mundys Mill Road
                  Madison Heights, VA 24572


                  Delores Moore
                  12420 Monica St
                  Detroit, MI 48204


                  Deloris Edwards
                  7054 James B White Hwy
                  Whiteville, NC 28472


                  Deloris Suitt
                  1066 Ball Park Loop
                  Halifax, VA 24558


                  Deloris Walch
                  31652 Bretton
                  Livonia, MI 48152


                  Delwyn Butler
                  1608 Selden Ave
                  Norfolk, VA 23523


                  Delwyn Campbell
                  2152 West 14th Avenue
                  Gary, IN 46404
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                  Delwyn Cosby
                  1008 Artisan Avenue
                  Chesapeake, VA 23323


                  Demarco Johnson
                  6475 Fairweather Dr
                  Middleburg Heights, OH 44130


                  Demecia LaBarre
                  1828 Stone Mill Rd
                  Kalamazoo, MI 49006


                  Demetra Hardy
                  1418 Antietam Drive
                  Columbus, GA 31907


                  Demetria Brown
                  1124 Northampton Rd
                  Petersburg, VA 23805


                  Demetrius Burns
                  1626 W Colonial Dr
                  Salisbury, NC 28144


                  Demetrius James
                  6806 Rustic Oak Court
                  Stone Mountain, GA 30087


                  Demetrius Watson
                  724 Alberta Dr
                  McDonough, GA 30252


                  Demir Begovi?
                  3465 Hampton Downs Drive Southeast
                  Kentwood, MI 49512


                  Demoia Eatherly
                  183 Jerry Smith Rd
                  Indian Mound, TN 37079


                  Dena Kelly
                  4481 County Rd 784
                  Buna, TX 77612
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                  Dena Laurene Norris El
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                  Detroit, MI 48221


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                  Goshen,, OH 45122


                  Dena Robinson
                  744 Forge Road
                  Carlisle, PA 17015


                  Denatice Britt
                  13393 Buffalo Road
                  Clayton, NC 27527


                  Dene Sanfillipo
                  5241 Locust Hill Lane
                  Dublin, OH 43017


                  Deneese Fultz
                  1741 North Hayford Avenue
                  Lansing, MI 48912


                  Denelda Riley
                  9255 Black Walnut Run Road
                  Rhoadesville, VA 22542


                  Denes Chapo
                  1816 Rockefeller Road
                  Wickliffe, OH 44092


                  Deney Joseph
                  1505 Farthingale Court
                  Raleigh, NC 27603


                  Denic Corp
                  7735 MARSH RD
                  INDIANAPOLIS, IN 46278


                  Denic Corporation
                  7735 Marsh Rd
                  Indianapolis, IN 46278
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                  Denis Horle
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                  Macomb, MI 48042


                  Denise Bailey
                  1808 Euclid St
                  Lincoln Park, MI 48146


                  Denise Blackburn
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                  Linden, NC 28356


                  Denise Bourbina
                  8242 Ziegler Street
                  Taylor, MI 48180


                  Denise Brehmer
                  2266 S 150 E
                  Peru, IN 46970


                  Denise Busch
                  9505 Shadduck Road
                  McKean, PA 16426


                  Denise Conway
                  11080 Johnson Dr
                  Parma, OH 44130


                  Denise Cooke
                  49 Suitt Road
                  Lillington, NC 27546


                  Denise Davis
                  1414 Kings Mountain Road
                  Columbus, GA 31907


                  Denise Ellis
                  2266 Topaz Dr
                  Grove City,, OH 43123
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                  Denise Eppard
                  8 North Irwin Road
                  Holland, OH 43528


                  Denise Farag
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702


                  Denise Farag
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                  Maineville, OH 45039


                  Denise Henderson
                  130 Briarwood Ln
                  Winchester, VA 22603


                  Denise Hicks
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                  Raleigh, NC 27603


                  Denise Hurley
                  12703 Gallia Pike
                  Portsmouth, OH 45662


                  Denise Iles
                  4521 Hyatts Rd
                  Delaware, OH 43015


                  Denise Lanigan
                  595 Frankfort Road
                  Monaca, PA 15061


                  Denise Lee
                  2200 West Ridge Road
                  Wytheville, VA 24382


                  Denise Leonard-Newbold
                  622 Moore Miller Rd
                  New Paris, OH 45347


                  Denise Madrazo
                  934 Mineral Springs Rd
                  Charlotte, NC 28262
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                  Denise Major
                  100 Windsor Pl
                  Buckingham, VA 23921


                  Denise Matthews
                  7328 Midway Rd
                  Phoenix, VA 23959


                  Denise MCKalpain
                  204 East Ainsworth
                  Ypsilanti, MI 48197


                  Denise Neu
                  8607 Sunmont Drive
                  Cincinnati, OH 45255


                  Denise Norris
                  14114 Kathleen Dr
                  Brook Park, OH 44142


                  Denise Palumbo
                  3604 Helsey Fusselman Rd
                  Southington, OH 44470


                  Denise Rekowski Strachan
                  36608 Acton St
                  Charter Twp of Clinton, MI 48035


                  Denise Scott
                  19535 McKinnon st
                  Roseville, MI 48066


                  Denise Sheffield
                  6136 Woodmoor Drive
                  Burton, MI 48509


                  Denise Slick
                  330 North Mitchell Street
                  Braidwood, IL 60408


                  Denise Smith
                  167 Circle View Drive
                  Mountain City, TN 37683
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                  Denise Spicer
                  9246 Hamburg Rd
                  Brighton, MI 48116


                  Denise Stahl
                  119 Darla Drive
                  Creston, OH 44217


                  Denise Strick
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                  Howell, MI 48855


                  Denise Thornsberry
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                  Petersburg, MI 49270


                  Denise Vaughn
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                  Nabb, IN 47138


                  Denise Zmijewski
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                  Sterling Heights, MI 48310


                  Denita Payton
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                  Graysville, PA 15337


                  Denni Lankford Baryla
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                  Lincoln Park, MI 48146


                  Dennis A Barber
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                  Bedford, PA 15522


                  Dennis Barbee
                  9437 Robin Road
                  Coeburn, VA 24230


                  Dennis Bergmann
                  965 Antioch Road
                  Clarksville, TN 37040
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                  Dennis Blade
                  628 Gatewood Way
                  Monroe, GA 30656


                  Dennis Brenneman
                  771 Courtview Dr SW
                  Carrollton, OH 44615


                  Dennis Brooks
                  1657 Huckleberry Rd
                  Crockett, VA 24323


                  Dennis Brown
                  13849 kimball rd
                  Allenton, MI 48002


                  Dennis Caren
                  157 Spruce St
                  Wyandotte, MI 48192


                  Dennis Carr
                  6197 Robinhood Ln
                  Ashtabula, OH 44004


                  Dennis Carteaux
                  8708 Goshawk Ln
                  Fort Wayne, IN 46825


                  Dennis Collins
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                  Dennis Conway
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                  Park Hills, MO 63601


                  Dennis Cooper
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                  Hesperia, MI 49421


                  Dennis Crupper
                  12361 Scio Church Rd
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                  Dennis Delk
                  4731 Norwood Street Southwest
                  Roanoke, VA 24018


                  Dennis Derror
                  3204 Wetzel Lake Road
                  Mancelona, MI 49659


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                  1327 Rhea Road
                  Knoxville, TN 37920


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                  Indian Land, SC 29707


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                  Wrightsville, PA 17368


                  Dennis Dukes
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                  Stockton, MO 65785


                  Dennis Duncan
                  2056 Dawkins Rd
                  Royston, GA 30662


                  Dennis Ebright
                  1371 us hwy 64 west
                  Mocksville, NC 27028


                  Dennis Eckstrom
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                  Sugar Grove, PA 16350


                  Dennis Elftmann
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                  195 Garling Dr
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                  Dennis Empson
                  17207 Birchwood Drive
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                  Dennis Evans
                  24018 4 Sixes Ln
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                  Dennis filary
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                  Bay City, MI 48706


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                  Lynchburg, VA 24502


                  Dennis Gliem
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                  Media, PA 19063


                  Dennis Goodwin
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                  Morehead City, NC 28557


                  Dennis Gratzl
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                  St. Clair, MO 63077


                  Dennis Greenfield
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                  Dennis Greiner
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                  Barnesville, OH 43713
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                  Dennis Hasemeyer
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                  Remus, MI 49340


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                  Dennis Henderson
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                  Dale, IN 47523


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                  Dennis Hoffman
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                  Dennis Holiday
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                  Dennis Horle
                  17490 Muirfield Drive
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                  Dennis Jenkins
                  4505 W US Rt 20
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                  Whitehall, MI 49461


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                  St. Charles, MO 63303


                  Dennis Kandler
                  6622 Sparling rd
                  Smithscreek, MI 48074


                  Dennis Kirby
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                  Independence, MO 64057


                  Dennis Klein
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                  Lima, OH 45801


                  Dennis Koehler
                  200 Lothlorien Lane
                  Pittsboro, NC 27312


                  Dennis Kresila
                  3205 Narrows Rd
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                  Dennis Krust
                  335 Lutz drive
                  Union, OH 45322


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                  110 W Broadway St
                  Higginsville, MO 64037


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                  Travelers Rest, SC 29690


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                  San Pierre, IN 46374


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                  Ypsilanti, MI 48197


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                  Paulding, OH 45879


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                  Dennis Lievense
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                  Conroe, TX 77306


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                  2419 Shakeley Ln
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                  Batavia, OH 45103


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                  Clifford, MI 48727


                  Dennis McCarthy
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                  Linden, MI 48451


                  Dennis McCarthy - Additional Panels
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                  Linden, MI 48451


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                  Dennis Mitchell
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                  dennis morrice
                  1951 Bock St
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                  Dennis Mulford
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                  Ball Ground, GA 30107


                  Dennis Neibaur
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                  Thurmond, NC 28683


                  Dennis Nordstrom
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                  Carleton, MI 48117


                  Dennis Northgrave
                  24 Delmar Ct
                  Fuquay Varina,, NC 27526


                  Dennis Olmstead
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                  Dennis Paquette
                  333 Sinkler Rd
                  Wyncote, PA 19095
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                  Dennis Piper
                  8700 Jackson St
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                  Dennis Porter
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                  De Soto, MO 63020


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                  Dennis Price
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                  Marion, NC 28752


                  Dennis Ranch
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                  Mentor, OH 44060


                  Dennis Roles
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                  Johnstown,, PA 15906


                  Dennis Rollins
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                  Dennis Rosen
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                  Dennis Rusher
                  7424 Farm to Market Road 943
                  Livingston, TX 77351


                  Dennis Russell
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                  Medina, OH 44256


                  Dennis Sabo
                  124 Swan Lane
                  Duncansville, PA 16635
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                  Dennis Schoenfeld
                  12751 Alexander Street
                  Cedar Lake, IN 46303


                  Dennis Slother
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                  Madison, OH 44057


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                  Detroit, MI 48221


                  Dennis Smith
                  17376 Cherrylawn St
                  Detroit, MI 48221


                  Dennis Spears
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                  Dennis Spencer
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                  Laingsburg, MI 48848


                  Dennis Starkey
                  22529 Deerfield Rd.
                  Novi, MI 48375


                  Dennis Stoneking
                  261 nw 1160th rd
                  Chilhowee, MO 64733


                  Dennis Stump
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                  Galion, OH 44833


                  Dennis Terwilluger
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                  Dennis Varian
                  1072 Seminole St
                  Detroit, MI 48214
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                  Dennis Varian Dennis Varian
                  1072 Seminole St
                  Detroit, MI 48214


                  Dennis Vislosky
                  4064 Setter Rd
                  Brown City, MI 48416


                  Dennis Voisine
                  5508 E Beaverton Rd
                  Clare,, MI 48617


                  Dennis Waggoner
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                  Amanda,, OH 43102


                  Dennis Wakula
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                  Columbus, MI 48063


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                  Summerfield, IL 62289


                  Dennis Wheeler
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                  Canton, MI 48187


                  Dennis Whetstone
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                  New Paris, PA 15554


                  Dennis Wildman
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                  grafton, WV 26354


                  Dennis Wilkowski
                  4878 Filion Road
                  Port Hope, MI 48468


                  Dennis Wilson
                  14704 Ireland Road
                  Mishawaka, IN 46544
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                  Dennis Wineholt
                  298 Dornsife Rd
                  Northumberland, PA 17857


                  Dennis Wontka
                  4209 Neptune Avenue
                  Chesapeake, VA 23325


                  Dennis Wood
                  9112 N Glass Rd
                  Farwell, MI 48622


                  Dennis Zeisler
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                  Norfolk, VA 23505


                  Dennis Zelmer
                  3361 Browntown Rd
                  Bridgman, MI 49106


                  Dennis Zimmerman
                  14390 Leis Rd
                  Spencerville, OH 45887


                  Denny Dalton
                  198 Jerome Ln
                  Linden, NC 28356


                  Denny Dinberu
                  1017 Hearthstone Dr
                  Cincinnati, OH 45231


                  Denny Hutchison
                  13121 Eagleville Road
                  North Baltimore, OH 45872


                  Denny Joslin
                  2054 fox trail
                  Owensville, MO 65066


                  Denny Neal
                  2495 Rich Valley Road
                  Emporium, PA 15834
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                  Denny Sorah
                  509 Altamont Drive
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                  denton brasel
                  9001 St Peter Rd,
                  Kinmundy, IL 62854


                  Dentrell Lee
                  113 Maple Ave
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                  Denver Kennison
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                  Waverly, OH 45690


                  Denver Pickett
                  39795 Cone Road
                  Albany, OH 45710


                  Deogracias Ferrer
                  3954 Spring Meadow Cresent
                  Chesseapeke, VA 23321


                  Deon Tripp
                  10344 Slee Rd
                  Onsted, MI 49265


                  Deon Williams
                  12928 Larkmeade Lane
                  Woodbridge, VA 22193


                  Department of the Treasury - Internal Re
                  Internal Revenue Service Center
                  Ogden, UT 84201-0011


                  Deral Dixon
                  316 Rusche St
                  Creve Coeur, IL 61610


                  Derante Florence
                  145 Gleneagle Dr
                  Eden, NC 27288
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                  Dereck Weatherman
                  5770 Old Greensboro Road
                  Thomasville, NC 27360


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                  Middleville, MI 49333


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                  Huron Charter Township, MI 48164
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                  Derek Harrison
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                  Derek Lamprecht
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                  Derek Mills
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                  Derek Noe
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                  Chapmansboro, TN 37035


                  Derek Noe PANEL ADDITION
                  3892 Thomasville Road
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                  Derek Pulliam
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                  Nathalie, VA 24577


                  Derek Seay
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                  Derek Singleton
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                  Gladys, VA 24554


                  Derek Spilman
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                  Derrick Simmons
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                  Derrick Small
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Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Destiny Fullwood
                  215 Lars Ln
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                  Destiny Thompson
                  338 parish loop
                  Ludowici, GA 31316


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                  Detroit Athletic Club
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                  Deverne Sagstetter
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                  Devica Urwick
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                  Devin Comfort
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                  Devin East
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                  Devin Stoutenborough
                  203 Harvest Pl
                  Farmersville, OH 45325


                  Devin Tadsen
                  2590 Road 192
                  Antwerp, OH 45813


                  Devon Barnett
                  123 Fox Hill Drive
                  Kingstown, NC 28150


                  Devon Johns
                  9402 47 Road
                  Cadillac, MI 49601


                  Devon Scratch
                  125 Roselea Ave
                  Hamilton, OH 45011


                  Devona Senko
                  6523 Jones Road
                  North Branch, MI 48461


                  Devora D'Ercole
                  21129 Warren Ave
                  Petersburg, VA 23803


                  Devore Womble
                  135 Deering Street
                  Hamlet, NC 28345


                  Devrin Perdue
                  3337 Northgate Drive
                  Fayetteville, NC 28311


                  Devry McGlaughlin
                  2 Elm Street
                  Wellston, OH 45692


                  Devyn White
                  2454 Co Rd 10
                  Bellefontaine, OH 43311
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                  Dewayne Carter
                  3335 Legionway
                  Broadway, VA 22815


                  DeWayne Hoover
                  4158 Umiak Dr
                  Columbus, OH 43207


                  Dewayne Hudgins
                  372 Gravel Pit Road
                  Marshall, NC 28753


                  dewey cruze
                  136 Buck Run Lane
                  Elizabethtown, KY 42701


                  Dewey Erwin
                  337 Warlick Rd
                  Lawndale, NC 28090


                  Dewey Sims
                  173 Elder Street
                  Ypsilanti, MI 48197


                  Dewitt Dorsey
                  132 Kristen Lane
                  Suffolk, VA 23434


                  Dexter Trimm
                  8232 Mary Beth Drive
                  West Chester, OH 45069


                  Dexter Turner
                  805 Saddle Point
                  Wilmington,, NC 28411


                  Deyonjai Richards
                  754 Fairview Circle
                  Hinesville, GA 31313


                  Dhibu George
                  2030 Sapphire Meadow Dr
                  Fort Mill, SC 29715
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                  Diahnne visel
                  7523 territorial rd
                  Munith, MI 49259


                  Diana Allen
                  618 Presidential Way
                  Delaware, OH 43015


                  Diana Brown
                  1201 Peach Tree Lane
                  Quincy, IL 62305


                  Diana Devito
                  1328 Cortez Road
                  Lake Ariel, PA 18436


                  Diana Diana Funk
                  1458 Eagleview Road
                  Goodview, VA 24095


                  Diana E Romero
                  1199 Bennetts Bridge Rd
                  Mt Olive,, NC 28365


                  Diana Escamilla
                  138 Belton St
                  Garden City, MI 48135


                  Diana Galloway
                  948 Columbia Avenue
                  Centerville, TN 37033


                  Diana Harding
                  312 East Sheridan Avenue
                  New Castle, PA 16105


                  Diana Klima
                  17477 Moseley Rd
                  Thompson, OH 44086


                  Diana Love-Nelson
                  3711 Susie Dr
                  Petersburg, VA 23803
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                  Diana Manlove
                  5 Davis Court
                  Park Hills, MO 63601


                  Diana Nazario
                  2334 Somerset Rd
                  Chambersburg, PA 17202


                  Diana Nicolai
                  3021 Woodlawn Ave SW
                  Roanoke, VA 24015


                  Diana Obeid
                  114 Ivy Arch
                  Yorktown, VA 23693


                  Diana Orr
                  1526 N Branch Rd
                  North Branch, MI 48461


                  Diana Pander
                  103 Rodeo Drive
                  Aliquippa, PA 15001


                  Diana Parr
                  14640 Logan Rd
                  Manchester, MI 48158


                  Diana Radford
                  1005 Warrendale Bayne Rd
                  Wexford, PA 15090


                  Diana Sprouse
                  2049 Shields Hill Rd
                  Cario, WV 26337


                  Diana Sumpter
                  37482 State Highway C
                  Excello, MO 65247


                  Diana Terpstra
                  3267 118th Avenue
                  Allegan, MI 49010
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                  Diana Whipple
                  14138 Shadeland Road
                  Springboro, PA 16435


                  Diana Wilcox
                  524 Fred Parrish Rd
                  Castalia, NC 27816


                  Diana Williams
                  224 Aldwych Way
                  Nashville, TN 37013


                  Diane Ange
                  6593 Tennessee 76
                  Springfield, TN 37172


                  Diane Appolloni
                  234 Dorer Avenue
                  Bellaire, OH 43906


                  Diane Bommarito
                  8220 Cedar Fork Road
                  Ruther Glen, VA 22546


                  Diane Browder
                  1103 Glade Rd
                  Blacksburg, VA 24060


                  diane brown
                  506 pcr 701
                  Perryville, MO 63775


                  Diane Campbell
                  658 Povo Road
                  Madisonville, TN 37354


                  Diane Compton
                  2823 Lillian Rd
                  Ann Arbor,, MI 48104


                  Diane Conway
                  1138 Willow Oak Dr
                  Blacklick, OH 43004
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                  Diane Crosier
                  4216 Bradshaw Road
                  Salem, VA 24153


                  Diane Darling
                  73829 Omo Rd
                  Armada, MI 48005


                  diane deems
                  1560 Park Dr
                  Jackson, MI 49203


                  Diane Devries
                  470 Crahen Ave Ne
                  Grand Rapids, MI 49525


                  Diane Fisk
                  11910 Sprague Street Northeast
                  Sand Lake, MI 49343


                  Diane Folsom
                  218 Avery Meadows Lane
                  Mountain City, TN 37640


                  Diane Gusmano
                  14151 Huff Drive
                  Warren, MI 48088


                  Diane Haldiman
                  601 West North Avenue
                  East Palestine, OH 44413


                  Diane Hayes
                  113 Boros Landing
                  New Bern, NC 28560


                  Diane Hazzard
                  160 W Fremont Rd
                  Melvin, MI 48454


                  Diane Hyman
                  8060 Plum Hill Ln
                  West Point, VA 23181
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                  Diane Ivy
                  639 Douglas Avenue
                  Calumet City, IL 60409


                  Diane Kohler
                  1478 Hidden Hills Rd
                  franklin, NC 28734


                  Diane Lanier
                  10116 Stocking Farm Estate Drive
                  Richwoods, MO 63071


                  Diane Lopez
                  70928 Elkhart road
                  Edwardsburg, MI 49112


                  Diane Lubking
                  50 2nd St
                  windsor, PA 17366


                  Diane Magnaterra
                  1206 Township Road 217
                  Scottown, OH 45678


                  Diane Martin
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                  Elizabeth City, NC 27909


                  Diane Mcclusky
                  2180 Brighton Road
                  Ellwood City, PA 16117


                  Diane McGuire
                  1115 Meadow Dr
                  Owosso, MI 48867


                  Diane McKee
                  2355 Roanoke Bridge Road
                  Charlotte Court House, VA 23923


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                  30701 Barlow Street
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                  Diane Mitchell
                  565 Knotty Mill Lane
                  Crewe, VA 23930


                  diane molnar
                  3560 Bridge Court
                  Trenton, MI 48183


                  Diane Mominee
                  3559 Long Hwy
                  Charlotte, MI 48813


                  Diane Newby
                  4858 Big Peak Creek Rd
                  laurel springs, NC 28644


                  Diane Newman
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                  New Baltimore, MI 48047


                  Diane Olsen
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                  Adrian, MO 64720


                  Diane Phillips
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                  roxboro, NC 27573


                  Diane Pratley
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                  Pittsburgh, PA 15227


                  Diane Price dennis
                  1441 West 115th Street
                  Chicago, IL 60643


                  Diane Purvis
                  8067 Mulliken Rd
                  Mulliken, MI 48861


                  Diane Rogers
                  7011 Elizabeth Lk Rd
                  Waterford, MI 48327
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                  Diane Russell
                  3112 N McKinley Rd
                  Flushing,, MI 48433


                  Diane Schmidt
                  925 Old W Locust Street
                  Canton, IL 61520


                  Diane Simms
                  9128 Acacia Trail
                  Pinckney, MI 48169


                  Diane Skop
                  211 Huntington Rd
                  Houghton Lake, MI 48629


                  Diane Smith
                  135 Woodland Ave
                  Shelby, NC 28152


                  Diane Spriggs
                  1152 Mermill Rd
                  Bradner, OH 43406


                  Diane Strobelt
                  1626 Sunnyacres Road
                  Akron, OH 44321


                  Diane Thomas Lewicki
                  5984 Brockway Road
                  Peck, MI 48466


                  Diane Vanmoorlehem
                  5579 Bradshaw Road
                  Salem, VA 24153


                  Diane Vermeire
                  3465 McConnell Rd
                  Hermitage, PA 16148


                  Diane Wenzig
                  171 Grandview Avenue
                  Monaca, PA 15061
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                  Diane Wilson
                  699 George James Loop
                  Radiant, VA 22732


                  Diane Wilson
                  13709 Long Cove Pl
                  Midolothian, VA 23112


                  Diann Hinds
                  935 Summer Leaf Drive
                  St. Peters, MO 63376


                  Diann Moran
                  3030 Harrison Rd
                  Emmett, MI 48022


                  Dianna Johnson
                  5315 Hawks Nest Ln
                  Midland, MI 48642


                  Dianna Long
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                  Westerville, OH 43081


                  Dianna Rahall
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                  Bay City, MI 48706


                  Dianna Schooley
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                  Boiling Springs, SC 29316


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                  Dianne Bow
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                  Dianne Demby
                  5128 Greenbrook Drive
                  Portsmouth, VA 23703
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                  Dianne Fields
                  101 Lockfield Dr
                  Clayton, NC 27520


                  Dianne Golden
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                  Sedalia, MO 65301


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                  Neosho, MO 64850


                  Dianne Kelley
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                  Hollins, VA 24019


                  Dianne Lee
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                  Maggie Valley, NC 28751


                  Dianne Lorento
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                  Galena, IL 61036


                  Dianne Mcalister
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                  Jersey Shore, PA 17740


                  Dianne Stewart
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                  Charlotte, NC 28270


                  Dianne Teague
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                  Wirtz, VA 24184


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                  Diannia Pearson
                  2490 Saluda Rd
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                  Dianwei Wang
                  5746 Kenderly Court
                  Carmel, IN 46033


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                  Chillicothe, OH 45601


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                  Belton, MO 64012


                  Dick Dinges
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                  Virginia Beach, VA 23454


                  Dick Fein
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                  Dorr, MI 49323


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                  Dick Greenwood
                  465 H St.
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                  Dick Irvin
                  130 Rossie Ln
                  Wytheville,, VA 24382


                  Dick Jacoby
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                  Battle Creek, MI 49014


                  Dick Larkins
                  2747 Township Rd 249
                  Toronto, OH 43964
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                  Dick Lintemuth
                  4536 Trail View Dr NE
                  Grand Rapids, MI 49525


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                  Kalamazoo, MI 49048


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                  Clare, MI 48617


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                  Columbia City, IN 46725


                  Dick Spencer
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                  Dick VanTilburg
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                  Celina, OH 45822


                  Dick Willis
                  1500 16 Mile Rd
                  Kent City, MI 49330


                  Dickinson Fleet Services, LLC
                  7717 Solution Center
                  Chicago, IL 60677-7007


                  Diego Martinez
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                  Dierre Cospy
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                  Dieter Kirbach
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                  Dietra Cate
                  11212 North Marsh Avenue
                  Kansas City, MO 64157


                  Dillon Doran
                  18738 Moore Avenue
                  Allen Park, MI 48101


                  Dillon Eklund
                  1208 East Cleveland Street
                  West Frankfort, IL 62896


                  Dillon Gregg
                  31056 Bethlehem Rd
                  Champlain, VA 22438


                  Dillon Heath
                  7570 East 850 South
                  Saint Paul, IN 47272


                  Dillon Michael
                  6966 Studebaker Rd
                  New Carlisle, OH 45344


                  Dillon Moorehead-English
                  2756 West Prairie Road
                  Midland, MI 48640


                  Dillon Ong
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                  Dillon Simon
                  2317 Sunnyside Drive
                  Anderson, IN 46013


                  Dillon Webster
                  9021 Dold Drive
                  Findlay, OH 45840


                  Dimitar Trampevski
                  304 South Church Street
                  Bowling Green, OH 43402
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                  Dimitri Moss
                  1701 W Wilson St
                  Tarboro, NC 27886


                  Dimitri Wright
                  1613 Dartmoor Dr
                  Howell, MI 48843


                  Dina Keller
                  1989 Walnut Road
                  Millersport, OH 43046


                  Dinah Bates
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                  Mulkeytown, IL 62865


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                  43443 Mclean Court
                  Novi, MI 48375


                  Dinna Magno
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                  Norfolk, VA 23508


                  Dino Martin
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                  Hale, MI 48739


                  Dion White
                  4070 Heather Hill Court
                  Grand Blanc, MI 48439


                  Dioneira (Dee) Cropper
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                  Holly Springs, NC 27540


                  Dionne Sarden
                  20925 Parkcrest Dr
                  Harper Woods, MI 48225


                  Dionta Staton
                  13690 Couwlier Ave
                  Warren, MI 48089
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                  Diony Angeles
                  3029 Aaron Drive
                  Chesapeake, VA 23323


                  Dirk Longstreth
                  10088 Arbogast Rd
                  Morley, MI 49336


                  Dirk McKown
                  5936 Co Rd 35
                  Auburn, IN 46706


                  Disha Patel
                  204 Northern Trail
                  Salem, VA 24153


                  Dividend Finance
                  One California Street
                  San Francisco, CA 94111


                  DIVINO MOVIDO
                  6 W Dahlia Ln
                  Round Lake Beach, IL 60073


                  Dixie Childers
                  212 West 2nd Street
                  Brookport, IL 62910


                  Dixie Hart
                  2236 ST RT 83
                  Beverly,, OH 45715


                  Dixie Ortiz
                  136 Game Farm Rd
                  Cumberland, VA 23040


                  Dixie Rogers
                  109 E Pleasant St
                  Coshocton, OH 43812


                  Djoachim Lockhart
                  513 South Clemens Avenue
                  Lansing, MI 48912
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                  DLI Properties LLC
                  2000 Brush Street
                  Suite 200
                  Detroit, MI 48226


                  DMarco Ansari
                  7112 Buhr Street
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                  Benton, IL 62812


                  Doc Jacobs
                  8361 Gulley St
                  Taylor,, MI 48180


                  Doc Nelson
                  1333 Northeast Arter Avenue
                  Topeka, KS 66616


                  Dock & Door National LLC
                  920 Cedar Ave
                  St Charles, IL 60174


                  Docota Fox
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                  Dok Stevens-Dehring
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                  Plainwell, MI 49080
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                  Dolletta Montgomery
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                  Dollie Gragg
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                  Hillsboro, OH 45133


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                  Hopewell, VA 23860


                  Dolores (DOLO) Wishard
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                  Dolores Burdick-manakis
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                  Domenica Robinson
                  15502 Brewer Road
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                  Dominic Greco
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                  Dominic Rilott
                  2818 Crampton Lane
                  Rockford, IL 61114


                  Dominic Vicari
                  3132 Papadelis Court
                  Oxford, MI 48371


                  Dominic Yilit
                  890 Jolly School Road
                  Washington, PA 15301


                  Dominick Barone
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                  Dominique Bowen
                  101 Torrance Ct
                  Stem, NC 27581
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                  Dominique Canada
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                  Dominique Morgan
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                  Dominique Williamson
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                  Brodnax, VA 23920


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                  Don Bonner
                  1504 East Co Road 1135 North
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                  Don Brown
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                  9564 Maplewood Ave
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                  Don Charlton
                  3514 Shell Rd
                  Gladwin, MI 48624


                  Don Checkley
                  51491 Atwood rd
                  Dowagiac, MI 49047


                  Don Cohen
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                  Richlands, NC 28574


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                  439 Butler Rd
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                  Ridgeway, VA 24148


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                  Greenfield, OH 45123


                  Don juan Wells
                  64 Blue Ridge Terrace
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                  652 Rock Run Road
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                  Frankford, MO 63441


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                  Don Leight Sr
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                  Don Love
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                  Petersburg, VA 23803


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                  Boone, NC 28607


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                  Britton, MI 49229


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                  Providence, NC 27315


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                  3065 North Aletha Court
                  Midland, MI 48642


                  Don Mosley
                  980 Joslin Branch Rd
                  White Bluff, TN 37187
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                  1799 Park Ridge Court
                  Howell, MI 48843


                  Don Studebaker
                  559 West Brownlee Road
                  Sanford, MI 48657
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                  Don Tinklin
                  4805 Catalina St
                  Roeland Park, KS 66205


                  Don Towner
                  9616 South Sangamon Street
                  Chicago, IL 60643


                  Don Towner 2
                  9616 South Sangamon Street
                  Chicago, IL 60643


                  Don Turner
                  16611 Truetown Rd
                  Millfield, OH 45761


                  Don Upson
                  1226 Saxe Road
                  Mogadore, OH 44260


                  Don Urias
                  4017 Concord St
                  Midland, MI 48642


                  Don Vondenhuevel
                  3581 W Russell RD
                  Sidney, OH 45365


                  Don Wallace
                  14706 Beech Daly Rd
                  Redford Charter Twp, MI 48239


                  Don Weisel
                  974 Martindale Dr
                  Tallmadge, OH 44278


                  Don Wheeler
                  5638 N Lake Rd
                  Columbiaville, MI 48421


                  Don White
                  766 Francktown Rd.
                  Richlands, NC 28574
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                  Don Wilder
                  14917 Carlbern Dr
                  Centreville, VA 20120


                  Don Zimmers
                  2519 Buckingham Court
                  Middletown, OH 45044


                  Dona Gibby
                  124 Lee K Allen Dr
                  Havelock,, NC 28532


                  Dona Veddler
                  23851 100th Avenue
                  Marion, MI 49665


                  Donald
                  1205 E 6th St
                  East Alton, IL 62002


                  Donald "Don" Angst
                  4055 Hamilton Eaton Road
                  Hamilton, OH 45011


                  Donald (Bryan) Jones
                  72 Deer Track Road
                  Lillington, NC 27546


                  Donald Abberger
                  3775 Creekwood Dr
                  Loganville, GA 30052


                  Donald Adams
                  12757 Winchester Avenue
                  Blue Island, IL 60406


                  Donald Adams
                  5469 North Nickel Plate Street
                  Louisville, OH 44641


                  Donald Allegretto
                  200 Thrush Court
                  Jacksonville, NC 28546
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                  Donald Anderson
                  260 Erica Ln SE
                  Calhoun, GA 30701


                  Donald Andrysek
                  744 W Capistrano Ave
                  Toledo,, OH 43612


                  Donald Arbogast
                  26 McCoy Road
                  Oak Hill, OH 45656


                  Donald Arnold
                  602 West Lake Street
                  Salem, IL 62881


                  Donald Bennett
                  3497 Stockton Rd
                  Newport News, TN 38556


                  Donald Bennett
                  104 Dilts Dr
                  Newport News, VA 23608


                  Donald Bland
                  360 Sunfish Terrace
                  Salisbury, NC 28146


                  Donald Bowlin
                  2130 Carolina Rd
                  Burlington, NC 27217


                  Donald Brown
                  2900 Cooley Lake Rd
                  Milford, MI 48381


                  Donald Bryant
                  1915 Oldhams Road
                  Hague, VA 22469


                  Donald Campbell
                  110 Mary Circle
                  Danville, VA 24540
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                  Donald Carawan
                  3616 Moore Road
                  Portsmouth, VA 23703


                  Donald Cardiff
                  1341 Butcher Rd
                  Fenton, MI 48430


                  Donald Cassidy
                  6103 Putney Court Avenue Northwest
                  Massillon, OH 44646


                  Donald Catterton
                  3981 West 10 Cent Road
                  Nabb, IN 47243


                  Donald Chadwick
                  265 Dogwood Glen Lane
                  Powell, TN 37849


                  Donald Champagne
                  119 Shady Oaks
                  Comer, GA 30629


                  Donald Christman
                  436 Hartz Road
                  Fleetwood, PA 19522


                  Donald Clark
                  2475 Coffee Rd
                  Lynchburg, VA 24503


                  Donald Clemons
                  720 Harbor Point Dr
                  Johnson City, TN 37615


                  Donald Colvin
                  2575 Wilson Creek Road
                  Whittemore, MI 48770


                  Donald Cooper
                  433 Butler Road
                  Saluda, SC 29138
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                  Donald Crapp
                  420 English Ivy Way
                  Woodstock, GA 30188


                  Donald Crockett
                  6000 Wertzville Rd
                  Enola, PA 17025


                  Donald Curtin Taylor
                  205 Independence Avenue
                  Mount Carmel, TN 37645


                  Donald Curtis
                  422 Stewart Road
                  Jackson, OH 45640


                  Donald Curtis Taylor
                  205 Independence Avenue
                  Mount Carmel, TN 37645


                  Donald D'Amato
                  109 Glenview Ave
                  Greensburg, PA 15601


                  Donald Dames
                  4808 Mehl Avenue
                  St. Louis, MO 63129


                  Donald Day
                  25101 Crosstie Trl
                  Columbia Sta, OH 44028


                  Donald Deck
                  2112 Adams Street
                  Adrian, MI 49221


                  Donald Duck
                  9999 Smythe Avenue
                  Greenville, SC 29605


                  Donald Eicks
                  4101 Alden Avenue
                  Indianapolis, IN 46221
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                  Donald Eikenberry
                  59919 S 26th Rd
                  Bethesda, OH 43719


                  Donald Elkins
                  12109 Kentucky 10
                  Foster, KY 41043


                  Donald Ellerbee
                  104 Butternut Ln
                  Cadiz, OH 43907


                  Donald Ellis
                  100 Zaharis Cove,
                  Raleigh, NC 27603


                  Donald Ells
                  3851 E Walker Rd
                  St Johns, MI 48879


                  Donald Fletcher
                  8535 Bethune Drive
                  Petersburg, VA 23805


                  Donald Fluture
                  5151 West Beeler Road
                  Lake City, MI 49651


                  Donald Focht
                  510 N 20th St
                  Altoona, PA 16602


                  Donald Ford
                  2620 Dartmoor Rd
                  Grove City, OH 43123


                  donald foster
                  346 East Douglas Avenue
                  Jacksonville, IL 62650


                  Donald Franklin
                  34467 Moravian Drive
                  Sterling Heights, MI 48312
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                  Donald Fritts
                  11110 Indiana 160
                  Salem, IN 47167


                  Donald Gean
                  973 Wanda Drive
                  Granite City, IL 62040


                  Donald Gilliam
                  360 Wayne Gilliam Road
                  State Road, NC 28676


                  Donald Gilliland
                  19 Reiber Road
                  West Middlesex, PA 16159


                  Donald Glaubitz
                  13300 Mallard Dr
                  Neosho, MO 64850


                  Donald Goetz
                  511 lakeview dr mineral va
                  Mineral, VA 23117


                  Donald Goode
                  210 Shoreline Drive West
                  Sunset Beach, NC 28468


                  Donald Grace
                  5779 Woodville Rd
                  Kevil, KY 42053


                  Donald Granchi
                  5644 Kaufman St.
                  Dearborn Heights, MI 48125


                  Donald Groetecke III
                  4025 Division Street
                  Granite City, IL 62040


                  Donald Haberman
                  98 Cedarmore Road
                  Pleasureville, KY 40057
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                  Donald Ham
                  403 Obie Drive
                  Durham, NC 27713


                  Donald Hampton
                  76 Carter 351
                  Ellsinore, MO 63937


                  Donald Hasty
                  7072 Gene Wayne Ln
                  New Church, VA 23415


                  Donald Havey
                  9122 South County Road 765 West
                  Reelsville, IN 46171


                  Donald Haynes
                  4602 Janes Ln
                  Monroe, NC 28112


                  Donald Heller
                  9735 State Highway 15
                  Mexico, MO 65265


                  Donald Henry
                  263 Senior Road
                  Falls Creek, PA 15840


                  Donald Hinson
                  285 Joann Circle
                  Fair Play, SC 29643


                  Donald Holder
                  18 Delmar Ct
                  Fuquay Varina, NC 27526


                  Donald Hough
                  293 Petersburg Road
                  Richlands, NC 28574


                  Donald Hudson
                  9200 Northwest 59th Terrace
                  Parkville, MO 64152
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                  Donald Jewell
                  2016 Beckley Road
                  Princeton, WV 24740


                  Donald Johnson
                  9930 Woodland Creek Court
                  Columbus, GA 31820


                  Donald Johnson
                  13200 A Drive South
                  Ceresco, MI 49033


                  Donald Johnson
                  1036 Ardmore Cir
                  Lynchburg, VA 24501


                  Donald Jones
                  13348 Kerr St
                  Southgate, MI 48195


                  Donald Kaldahl
                  7203 S 775 E
                  Lafayette, IN 47905


                  Donald Kelly
                  321 Ann Street
                  Staunton, VA 24401


                  Donald King
                  1435 West Green Springs Road
                  Gordonsville, VA 22942


                  Donald Knight
                  125 Beachmont Drive
                  Beaver Falls, PA 15010


                  Donald Knotts
                  3632 Moore Rd
                  Portsmouth, VA 23703


                  Donald Landeryou
                  6682 Muirhead Rd
                  Freeland,, MI 48623
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                  Donald LeMaire
                  7541 Taft street
                  Coopersville, MI 49404


                  Donald Lerow
                  496 Waters Rd
                  Jacksonville, NC 28546


                  Donald MacQueen
                  3745 Barry Knoll Drive
                  Ann Arbor, MI 48108


                  Donald Martain
                  6877 Watch Harbour Cir
                  Hayes,, VA 23072


                  Donald Maxwell
                  1362 Lottier Rd
                  Pulaski, VA 24301


                  Donald Maxwell
                  1362 Lottier Street
                  Pulaski, VA 24301


                  Donald Mccloskey
                  2028 Gilboa Avenue
                  Zion, IL 60099


                  Donald McCormick
                  6751 E McCormick Rd
                  Vincennes, IN 47591


                  Donald McGhan
                  1050 N 144th Ave
                  Hart, MI 49420


                  Donald Mckinney
                  857 Scottswood Road
                  Dayton, OH 45417


                  Donald Mckleny
                  2538 Queens Point Dr
                  Suffolk, VA 23434
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                  Donald Mcmiller
                  22418 Avon Ln
                  Southfield, MI 48075


                  Donald Medernach
                  5381 Tater Valley Rd
                  Washburn, TN 37888


                  Donald Merriman
                  627 West 39 Th Street
                  Asthaubule, OH 44004


                  Donald Merritt
                  2730 Burwyn Hills Dr
                  Tecumseh,, MI 49286


                  Donald Miller
                  2795 Southworth Rd
                  Delphos, OH 45833


                  Donald Miller
                  287 Rickey Road
                  Max Meadows, VA 24360


                  Donald Milligan
                  1063 Trojan Run Drive
                  Soddy-Daisy, TN 37379


                  Donald Mohid
                  23 N Hawthorne Ln
                  Indianapolis, IN 46219


                  Donald Morris
                  146 Bradner Ave
                  Northwood, OH 43619


                  Donald Myers
                  1720 Brockton Rd
                  Jefferson, GA 30549


                  Donald Nelson
                  616 Woodlawn St
                  Mexico, MO 65265
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                  Donald Pack
                  1536 Gray Circle Road
                  Westfield, NC 27053


                  Donald Parbus
                  6943 Stafford Park Drive
                  Moseley, VA 23120


                  Donald Patterson
                  2000 W McNichols Road
                  Detroit, MI 48203


                  Donald Pavy
                  662 N 625 W
                  Hobart, IN 46342


                  Donald Petry
                  259 West Short Road
                  Kenna, WV 25248


                  Donald Philip Grubb
                  102 Centina
                  Goldsboro, NC 27530


                  Donald Phillips
                  36695 Newberry Estates Dr
                  Westland, MI 48185


                  Donald Potter
                  7399 State Route 521
                  Sunbury, OH 43074


                  Donald Potter
                  931 Hoodoo Rd
                  Beechgrove, TN 37018


                  Donald Powers
                  597 County Road 475
                  Etowah, TN 37331


                  Donald Prichard
                  208 S Walnut St
                  Fletcher, OH 45326
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donald Puckett
                  489 Aquilla Rd
                  Benson, NC 27504


                  Donald Pugh
                  1352 Honeysuckle Drive
                  Fairborn, OH 45324


                  Donald Rainwater
                  46 Keenview Dr
                  Blairsville, GA 30512


                  Donald Rhoads
                  9815 Ohio 124
                  Hillsboro, OH 45133


                  Donald Riley
                  9028 Nichols Road
                  Montrose, MI 48457


                  Donald Roach
                  4851 Gibbstown Road
                  Letart, WV 25253


                  Donald Roberts
                  4102 Clovelly Drive
                  Greensboro, NC 27406


                  Donald Rockot
                  25510 Valverdant Ct
                  Porter, TX 77365


                  Donald Russell
                  620 Hefner Drive
                  Lima, OH 45801


                  Donald Saathoff
                  41437 McKinley St
                  Van Buren Twp, MI 48111


                  Donald Seig
                  22283 Dakota Rd
                  Lawrenceburg, IN 47025
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donald Sharrer
                  3218 Davis ave
                  Ronake, VA 24015


                  Donald Siegfried
                  5718 Co Rd 30
                  Mt Gilead, OH 43338


                  Donald Simpson
                  1424 Richardson Street
                  Port Huron, MI 48060


                  Donald Sperberg
                  1294 Goggin Ford Road
                  Bedford, VA 24523


                  Donald St. Jean
                  282 azzo rd
                  Eighty Four, PA 15330


                  Donald Stapleton
                  14125 North 100 East
                  Edinburgh, IN 46124


                  Donald Stevens
                  1747 Lynnwood Dr
                  New Albany, IN 47150


                  Donald Sturgill
                  15481 Ohio 279
                  Oak Hill, OH 45656


                  Donald Swartz
                  825 Bull Valley Road
                  Aspers, PA 17304


                  Donald Thorne
                  540 Groveland Street
                  Creve Coeur, IL 61610


                  Donald Tilley
                  14610 Woodlake Trce
                  Louisville, KY 40245
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donald Tonkins
                  2701 Aster Drive
                  Greensboro, NC 27401


                  Donald Trapp
                  12667 Clifton Rd
                  Mount Sterling, OH 43143


                  Donald Tregaskes
                  3109 Deertrack Ln
                  Monroe, NC 28110


                  Donald Unangst
                  7883 West Tarboro Road
                  Rocky Mount, NC 27803


                  Donald Underhill
                  4645 W M 21
                  Owosso, MI 48867


                  Donald Vanderwest
                  154 Mill Brook Ct
                  Muskegon, MI 49442


                  Donald Vanspyker
                  13751 Verona Rd
                  Battle Creek, MI 49014


                  Donald Vollmer
                  6818 Pulltight Hill Road
                  College Grove, TN 37046


                  Donald w Hardwick
                  10604 West 157th Avenue
                  Lowell, IN 46356


                  Donald W Powell
                  317 Wilkinson Lane
                  White House, TN 37188


                  Donald Walker
                  835 Eagle Place
                  Hopewell, VA 23860
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donald Wamser
                  1520 Cannonade Ct
                  Fort Wayne, IN 46825


                  Donald Way Jr
                  1851 Cherry St
                  Lake City, PA 16423


                  Donald Wayman
                  2359 Wheeless Road
                  Augusta, GA 30906


                  Donald Weeks
                  5448 Columbiaville Rd
                  Columbiaville, MI 48421


                  Donald Wheeland II
                  971 Old Vander Rd
                  Fayetteville, NC 28312


                  Donald Whitt
                  1233 Sanford Road
                  Pittsboro, NC 27312


                  Donald Williams
                  1262 Gum Shaw Rd
                  White Oak, NC 28399


                  Donald Wittmann
                  121 Winesap Dr
                  Lynchburg, VA 24503


                  Donald Wooten
                  202 Lane Ridge Dr
                  Goldsboro, NC 27530


                  Donald Writesel
                  380 Smith Street
                  Newport, TN 37821


                  Donald Yaw
                  1498 East Sessions Road
                  Sheridan, MI 48884
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                  Donald Zablocki
                  28772 Van Horn Rd
                  New Boston, MI 48164


                  Donald Zeigler
                  4621 Pinehurst Avenue Southwest
                  Grand Rapids, MI 49548


                  Donele Bailey
                  22129 Audrey Ave,
                  Warren, MI 48091


                  Donetta Workman
                  2018 Shumate Road
                  Peterstown, WV 24963


                  donita murphy
                  629 South Michigan Avenue
                  Hastings, MI 49058


                  Donita Washington
                  1018 Spruce Street
                  Hammond, IN 46324


                  Donna Allard
                  17122 Grettel Avenue
                  Fraser, MI 48026


                  Donna Allen-Ledbetter
                  1064 Snead Dr
                  Suffolk, VA 23434


                  Donna Allman
                  2465 Ridgeview Dr NW
                  Cleveland, TN 37311


                  Donna Anderson
                  7865 Whitneyville Ave SE
                  Alto, MI 49302


                  Donna Barnhoorn
                  101 Virginia Drive
                  Clarksville, TN 37040
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                  Donna Bell
                  1485 Jamestown Rd
                  Cobden, IL 62920


                  Donna Blasko
                  506 Mial Street
                  Raleigh, NC 27608


                  Donna Boutorwick
                  3599 Sheridan Rd
                  Emmett, MI 48022


                  Donna Brimm
                  27824 Townley Street
                  Madison Heights, MI 48071


                  Donna Brustad
                  5614 Earl Road
                  Durham, NC 27712


                  Donna Bryant
                  5890 Stonehaven Drive
                  Stone Mountain, GA 30087


                  Donna Cagle
                  1260 Guyton Road
                  Bladenboro, NC 28320


                  Donna Cameron
                  148 Haven Ridge Trl
                  Franklin, NC 28734


                  Donna Cannon
                  707 Halsbury Ave
                  Hendersonville, NC 28791


                  Donna Chaffin
                  191 3 Oaks Road
                  Crewe, VA 23930


                  Donna Coldiron
                  210 North Grant Street
                  Edinburgh, IN 46124
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donna Conklin
                  6513 sadler rd
                  Waxhaw, NC 28173


                  Donna Connelly
                  903 Hibbs Road
                  Grove City, OH 43123


                  Donna Crechiolo
                  9113 Pere Ave
                  Livonia, MI 48150


                  Donna Crosby
                  3015 5th Street Place Northwest
                  Hickory, NC 28601


                  Donna Deaver Trolinger
                  948 Mills Road
                  Mount Olive, NC 28365


                  Donna Duckworth
                  6494 Charles City Rd
                  Richmond, VA 23231


                  Donna Dulin
                  4367 Gail Ln
                  Concord, NC 28027


                  Donna Fite
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                  Morganton, NC 28655


                  Donna Folden
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                  Lansing, MI 48911


                  Donna Gibson
                  1123 29th St
                  Ashland, KY 41101


                  Donna Glass
                  627 Palestine Road
                  Chester, IL 62233
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                  Donna Goodman
                  1441 Calumet Ave
                  Republic, MO 65738


                  Donna Gordon
                  413 Stacey Street
                  Thomasville, NC 27360


                  Donna Harrah
                  25 Fess Little Rd
                  Taylorsville, NC 28681


                  Donna Hedges
                  148 Orchard Vista Ln
                  Fancy Gap, VA 24328


                  Donna Howell
                  345 Robin Lane
                  Saint Clair, MO 63077


                  Donna Hunt
                  306 Dana Drive
                  Collinsville, IL 62234


                  Donna Jackson
                  71 Braswell Rd
                  Rockmart, GA 30153


                  Donna Jeffries-Castro
                  1904 Lawrenceville Plank Rd
                  Lawrenceville, VA 23868


                  Donna Johnson
                  2009 winsome ln
                  adams, TN 37010


                  Donna Keeley
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                  Saylorsburg, PA 18353


                  Donna Kilcrease
                  3815 Nestrom Rd
                  Whitehall, MI 49461
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                  Donna King
                  183 Tudor Ave
                  Akron, OH 44312


                  Donna Lane
                  9161 W County Rd 550 S
                  Daleville, IN 47334


                  Donna Lecher
                  2090 S Co Rd 700 E
                  Greensburg, IN 47240


                  Donna Louis
                  10097 Willard Rd
                  Otisville, MI 48746


                  Donna Luttmann
                  4830 Cedar Grove Rd
                  Murfreesboro, TN 37127


                  Donna Mace
                  669 MANLEY SMITH RD
                  NAKINA, NC 28455


                  Donna Malone
                  2115 Heatherwood Dr
                  Toledo, OH 43614


                  Donna Mankus
                  78 Home plates Rd
                  Maggie Valley,, NC 28751


                  Donna Marie Cowan
                  29 Ute Trail
                  Albrightsville, PA 18210


                  Donna Martin
                  1222 Bottle Brush Ln
                  Harrisburg,, NC 28075


                  Donna McDonald
                  246 McNeill St
                  Hope Mills, NC 28348
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donna Merritt
                  6341 Blackmer Road
                  Carson City, MI 48811


                  Donna Minney
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                  Rustburg, VA 24588


                  Donna Mosco
                  8379 East 350 North
                  Pierceton, IN 46562


                  Donna Newland
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                  Dayton, OH 45458


                  Donna Overton Strickland
                  1030 Bizzell Grove Church Road
                  Selma, NC 27576


                  Donna PorterMutschler
                  146 Weatheridge Drive
                  Jackson, TN 38305


                  Donna Prewett
                  5092 FM3465
                  Adkins, TX 78101


                  Donna Richardson
                  61 Murray Hill Ln
                  Bassett, VA 24055


                  Donna Roach
                  169 Centennial Dr
                  Yanceyville, NC 27379


                  Donna Roark
                  1554 Walkers Creek Road
                  Marion, VA 24354


                  Donna Roetzer
                  805 Memorial Drive
                  Castlewood, VA 24224
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Donna Ryder
                  65 Sailfish Court
                  Clayton, NC 27520


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                  Fort Valley, VA 22652


                  Donna Shammas
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                  Strongsville, OH 44136


                  Donna Shartle
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                  Saegertown, PA 16433


                  Donna Sibray
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                  Point Marion, PA 15474


                  donna suttles
                  1028 Lashley Rd
                  Chapel Hill, NC 27516


                  Donna Sutton
                  655 Lamms Grove Rd
                  Carthage, NC 28327


                  Donna Taylor
                  10939 E 300 N
                  Thorntown, IN 46071


                  Donna Tessman
                  1549 East Mannsiding Road
                  Harrison, MI 48625


                  Donna Valentine
                  4619 Fishburg Rd
                  Dayton, OH 45424


                  Donna VanVliet
                  614 Lanier Avenue
                  Rocky Point, NC 28457
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                  Donna Vasseur
                  4015 Coachman Rd
                  Manhattan, KS 66502


                  Donna Walker
                  228 Cranapple Lane
                  McDonough, GA 30253


                  Donna Watts-magwood
                  2851 Falcon Bridge Dr
                  Columbus, OH 43232


                  Donna White-Moody
                  1122 Parrish Street
                  Mount Carmel, IL 62863


                  Donna Whiteside
                  35 Fellows Avenue
                  West Jefferson, OH 43162


                  Donna Wilson
                  4002 17th street
                  Ecorse, MI 48229


                  donna wolfe
                  4730 S State Road 75
                  Jamestown, IN 46147


                  Donna Wright
                  111 Lakeshore Dr
                  Stockbridge, GA 30281


                  Donna Yarnell
                  1713 W Raccoon Valley Dr
                  Heiskell, TN 37754


                  Donnavan Harper
                  910 Edgewood Avenue
                  Chesapeake, VA 23324


                  Donnell Adams
                  1173 Beverly Heights Road
                  Chatham, VA 24531
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                  Donnell Caldwell
                  207 Stillwater Creek Dr
                  Goldsboro, NC 27534


                  Donnell Hopkins
                  417 Riverside Avenue
                  Charlottesville, VA 22902


                  Donnellon McCarthy
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                  Cincinnati, OH 45241


                  Donnette Irving
                  4052 Indian Manor Dr
                  Stone Mountain, GA 30083


                  Donnie Ayres
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                  Zebulon, NC 27597


                  Donnie Blakley
                  203 Clairmont Ct
                  LaGrange, GA 30240


                  Donnie Cheadle
                  8750 Twp Rd 136 SE
                  New Straitsville, OH 43766


                  Donnie Crawford
                  5405 John Washington Rd
                  Brown Summit, NC 27214


                  Donnie Fix
                  1033 Pennsylvania 981
                  Smithton, PA 15479


                  DONNIE KEITH
                  608 Pine Street
                  Benton, KY 42025


                  Donnie Tate
                  8526 Starlight Ln
                  Boones Mil, VA 24065
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                  Donnie Tawwater
                  558 Turkey Creek Boat Dock Road
                  Tullahoma, TN 37388


                  Donnie Wasserbeck
                  10137 OH-739
                  Marion, OH 43302


                  Donnie Wright
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                  Browns Summit, NC 27214


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                  Donnilla Maynard
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                  Donny Blanchong
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                  Donny Munden
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                  Chesapeake, VA 23322


                  Donovan Goehl
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                  Liberty, IL 62347


                  Donovan Mihalik
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                  Dontae Hairston
                  30230 Woodgate Drive
                  Southfield, MI 48076
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                  Donte Veal
                  505 Graceview Ln
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                  Dontra Brown
                  3900 Old Farm Road
                  Portsmouth, VA 23703


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                  Doreen Buford
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                  Doreen Cleveland
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                  Grand Rapids, MI 49544


                  Doreen Stanley
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                  Salem, OH 44460


                  Doreen Wright Agnew
                  24474 Mt Olive Dr
                  Brownstown Charter Twp, MI 48134


                  Doreena Miller
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                  Colon, MI 49040


                  Dorian Adams
                  26 Shirley Drive
                  Cincinnati, OH 45217


                  Dorian Cunningham
                  118 Crowell Rd SE
                  Conyers, GA 30094
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                  Dorian Seibel
                  148 Brownsville Road
                  Fayette City, PA 15438


                  Dorian Williams
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                  Atlanta, GA 30331


                  Dorie Cole
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                  Fredericktown, MO 63645


                  Dorie Nitz
                  6199 Deacon Hill Rd
                  Howell, MI 48843


                  Doris Aifuwa
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                  Highland, IN 46322


                  Doris Behnen
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                  Carrollton, IL 62016


                  Doris Bowman
                  70 Township Rd 1950
                  Jeromesville, OH 44840


                  Doris Hollaway
                  753 Livingston Avenue
                  Livingston, IL 62058


                  Doris Large
                  1527 Compton Road
                  Big Stone Gap, VA 24219


                  Doris Lehman
                  331 Taskmaker Lane
                  Reedville, VA 22539


                  Doris Mellon
                  3695 Little Hickory Rd
                  Tionesta, PA 16353
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                  Doris Reeves
                  289 State Rd 2429
                  Swannanoa, NC 28778


                  Doris S. Woolfolk
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                  Lathrup Village, MI 48076


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                  Doris Yates
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                  Dorothy Garrett
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                  Dorothy Gibson
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                  Croswell, MI 48422


                  Dorothy Hollingsworth
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                  Johnstown, PA 15902


                  Dorothy Hottum
                  5013 Vines Rd
                  Howell, MI 48843
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                  Dorothy Jurczyk
                  2832 Highland Avenue
                  Berwyn, IL 60402


                  Dorothy Mitchell
                  4124 Potts Creek Rd
                  Covington, VA 24426


                  Dorothy Potkay
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                  Mayodan, NC 27027


                  Dorothy Price
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                  Findlay, OH 45840


                  Dorothy Simmers
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                  Mount Crawford, VA 22841


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                  7139 West Blue Road
                  Lake City, MI 49651


                  Dorothy Votaw
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                  Sebring, OH 44672


                  Dorothy Wheeler
                  2815 S Homer Rd
                  Midland, MI 48640


                  Dorothy Wing
                  104 Oslo Ct
                  Williamsburg, VA 23188
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                  Dorraina Frederick
                  173 Apple Ridge Drive
                  Apple Creek, OH 44606


                  Dorrie Miller
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                  Reidsville, NC 27320


                  Dortensia Harris
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                  Southfield, MI 48076


                  Dottie Buzzard
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                  Buchanan, VA 24066


                  Dotty Parker
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                  Mill Spring,, NC 28756


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                  Nellysford, VA 22958


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                  Doug Bristle
                  11161 Chase Lake Rd
                  Webberville, MI 48892


                  Doug Burchard
                  9173 East North Avenue
                  Kalamazoo, MI 49048


                  Doug Casavant
                  44941 Ledbetter Rd
                  New London, NC 28127
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                  Doug Charters
                  6527 Turner Rd
                  Pierpont, OH 44082


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                  Otsego, MI 49078


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                  2503 Lorraine Drive
                  Allegan, MI 49010


                  Doug Crawford
                  1222 Easton St Ne
                  Canton, OH 44721


                  Doug Easton
                  1262 Oakfield Dr S
                  Columbus, OH 43229


                  Doug Edge
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                  Pendleton, IN 46064


                  Doug Fabick
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                  Gray, TN 37615


                  Doug Fisk
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                  Sand Lake, MI 49343


                  Doug Forne
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                  Erie, PA 16509


                  Doug Gearhart
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                  Howard, OH 43028


                  Doug Gross
                  2909 Armfield Avenue
                  Burlington, NC 27215
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                  Doug Groves
                  2536 Massillon Rd
                  Akron, OH 44312


                  Doug Haldeman
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                  Sunman, IN 47041


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                  Doug Harvey
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                  382 Emerson Rd
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                  Doug Lewallen
                  408 W 1st St
                  Milford, IN 46542
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                  Rock Creek, OH 44084


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                  Sanford, NC 27330


                  Doug Morath
                  7968 2nd St
                  West Chester Township, OH 45069
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                  Doug Pankop
                  3025 S 25 W
                  Lebanon, IN 46052


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                  Alma, MI 48801


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                  Macomb, MI 48042


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                  Roseville, OH 43777


                  Doug Porath
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                  Madison Hts, MI 48071


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                  Malinta, OH 43535


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                  Ridgway, IL 62979


                  Doug Rowe
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                  clinton, SC 29325


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                  Douglas Arnett
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                  Douglas Baker
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                  Luckey, OH 43443


                  Douglas BASS
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                  Douglas Beish
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                  1105 Maycroft Knoll
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                  15 Falcon Crest Dr
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                  Three Rivers, MI 49093


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                  Hawley, PA 18428


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                  Manning, SC 29102


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                  Douglas Findlater
                  116 Bull Creek Road
                  Sparta, MO 65753
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                  Douglas Freeze
                  45 Marine Dr
                  Battle Creek, MI 49015


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                  Noblesville, IN 46060


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                  Douglas Gleason
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                  Douglas Grant
                  1149 Kenilworth Place
                  Clawson, MI 48017


                  Douglas Hardy
                  549 Emma Dr.
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                  Douglas Henry
                  10434 N Power Pole Rd
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                  Douglas Hilker
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                  Hanover, PA 17331


                  Douglas Houck
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                  Douglas Hovel
                  34 Northbrooke Court
                  Lincoln, IL 62656
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                  Douglas Jenkins
                  480 Burnham Rd
                  Williamsburg, VA 23185


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                  Boerne, TX 78006


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                  2246 Tampico Trail
                  Bellbrook, OH 45305


                  Douglas Keenan
                  348 Wilpen Rd
                  Ligonier, PA 15658


                  Douglas Kelsey
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                  Hampton, VA 23664


                  Douglas Kuhn
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                  Shippensburg, PA 17257


                  Douglas Lawless
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                  Douglas Leonard
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                  Douglas Livingston
                  1096 Le Boeuf Trail Rd
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                  Spring, TX 77381


                  Douglas Magill
                  6960 Old Rte 422
                  Portersville, PA 16051
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                  Douglas McClure
                  268 Lankford Dr
                  Marble Hill, GA 30148


                  Douglas McLaughlin
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                  Hillsboro, OH 45133


                  Douglas Merriott
                  362 Union Grove Rd
                  Niota, TN 37826


                  Douglas Miller
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                  Dearborn, MI 48124


                  Douglas Moore
                  120 Shore Drive
                  Manson, NC 27553


                  Douglas Murray
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                  Douglas Osborn
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                  Douglas Potter
                  515 Snyder Rd
                  Highland Charter Township, MI 48357
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                  Douglas prince
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                  Dewitt, MI 48820


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                  Douglas Talmonti
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                  Industry, PA 15052
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                  2091 12th Street
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                  Douglas White
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                  Drew Dunn
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                  Drew Foppe
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                  Milford, OH 45150


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                  4135 M-66
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                  Duane Eastmond
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                  Castle Hayne, NC 28429


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                  Duane Foster
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                  Duane Hopkins
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                  Duane HUMPHREY
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                  duane matthews
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                  Duane White
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                  Duane Winter
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                  Duncan Barger
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                  Dustin Cason
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                  Dustin Cook
                  522 Jennison Ave
                  Kalamazoo, MI 49006


                  Dustin Donigan
                  3847 Miller Way South
                  Bloomfield Hills, MI 48301
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                  Dustin Dowell
                  5498 Sugar Grove Hwy.
                  Sugar Grove Hwy., VA 24375


                  Dustin Dunklee
                  416 N. Van Buren Street
                  Versailles, MO 65084


                  Dustin Fontenot
                  13613 Bundle Road
                  Chesterfield, VA 23838


                  Dustin Foxworth
                  8066 carvers bay rd
                  Hemingway, SC 29554


                  Dustin Gatrell
                  2560 Monterey Street
                  Wooster, OH 44691


                  Dustin Gilroy
                  9185 South Palmer Road
                  Dayton, OH 45424


                  Dustin Gray
                  319 Andover Woods Dr
                  Fenton, MI 48430


                  Dustin Hays
                  26288 Coffman Road
                  Farmington, MO 63640


                  Dustin Hern
                  11022 State Hwy HH, 64458, USA
                  Hatfield, MO 64458


                  Dustin Horn
                  4602 Central Avenue
                  Middletown, OH 45044


                  Dustin Howard
                  4782 Harris Pl
                  Greenwood, IN 46142
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                  Dustin Hughes
                  13330 Yoder Road
                  Roanoke, IN 46783


                  Dustin Jones
                  5845 Blue Sky Ln
                  Hope Mills, NC 28348


                  Dustin Lyle
                  114 Krantz ct
                  Ashland City, TN 37015


                  Dustin McAuliffe
                  2238 Parkton Way
                  Barnhart, MO 63012


                  Dustin Mclean
                  1102 Andora Rd NE
                  Carrollton, OH 44615


                  Dustin Medsker
                  5354 Wells Hill Road
                  Nineveh, IN 46164


                  Dustin Meece
                  4971 Millers Mill Road
                  Owensboro, KY 42303


                  Dustin Messmer
                  3040 Township Road 190
                  Fredericktown, OH 43019


                  Dustin Miller
                  16864 Lawrence 2200
                  Aurora, MO 65605


                  Dustin Patton
                  440 East Main Street
                  Arcola, IL 61910


                  Dustin Roberson
                  1553 North Ainger Road
                  Charlotte, MI 48813
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                  Dustin Roe
                  954 Red Oak Circle
                  Newport News, VA 23608


                  Dustin Savage
                  6621 Valley Falls Road
                  Hope Mills, NC 28348


                  Dustin Savage panel addition
                  6621 Valley Falls Road
                  Hope Mills, NC 28348


                  Dustin Smith
                  15305 Main St
                  Buchanan, MI 49107


                  Dustin Smith
                  536 Inca Lane
                  Ringgold, VA 24586


                  Dustin Spencer
                  963 Pennsylvania 68
                  New Brighton, PA 15066


                  Dustin Stewart
                  721 E Main St
                  Grayson, KY 41143


                  Dustin Stoey
                  519 East Jackson Street
                  Douglas, GA 31533


                  Dustin Tibbs
                  5050 Birch Church Road
                  Oreana, IL 62554


                  Dustin Walker
                  1402 ottawa drr
                  Royal oak, MI 48073


                  Dustin wickliff
                  119 Hickman Creek Rd
                  Dover, TN 37058
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                  Dustin Wilcox
                  3167 Kirby Ward Lane
                  Hudson, NC 28638


                  Dustin Williams
                  43 Frost Pkwy
                  Tiffin, OH 44883


                  Dustin Yost
                  121 N Spring St
                  Everett, PA 15537


                  Duston OBrien
                  713 Highridge Ave
                  Greencastle, IN 46135


                  Dusty Highfill
                  6692 W Division Rd
                  Tipton, IN 46072


                  Dusty Hughes
                  1145 McCanless Road
                  Salisbury, NC 28146


                  Dusty P
                  3142 E Grand Ledge Hwy
                  Grand Ledge, MI 48837


                  Dusty Parker
                  240 New St.
                  Mount Sterling, OH 43143


                  Duvon Tucker
                  5080 Langcroft Dr
                  Hilliard, OH 43026


                  Duwanda Dorsey
                  5805 Downfield Wood Drive
                  Charlotte, NC 28269


                  DuWayne Walker
                  7610 Wible Wood Court
                  Pittsburgh, PA 15209
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                  DW Hamill
                  204 3rd St
                  Pollocksville, NC 28573


                  Dwain Keith
                  2040 Gyro Dr
                  Winston-Salem, NC 27127


                  Dwand Montgomery
                  3885 Roswell Dr
                  Columbus, OH 43227


                  Dwane Crandell
                  164 Glade Run Road
                  Renfrew, PA 16053


                  Dwayne Allen
                  565 Honeysuckle Ridge
                  Asheboro, NC 27205


                  Dwayne Bissette
                  7910 Stott Rd
                  Bailey, NC 27807


                  Dwayne Brooks
                  6627 Lancia Ct
                  Bealeton, VA 22712


                  Dwayne Brown
                  519 East Street
                  Candler, NC 28715


                  Dwayne Brown
                  8112 Cavendish Ln
                  Richmond, VA 23227


                  Dwayne Conway
                  324 Moore Hollow Rd
                  Prospect, TN 38477


                  Dwayne Cookson
                  4610 Davenport St
                  Houston, TX 77051
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                  dwayne damron
                  518 Whippoorwill Road
                  Lyons, GA 30436


                  Dwayne Daniel
                  13703 Sparling Street
                  Hamtramck, MI 48212


                  Dwayne Ducote
                  39 Lone Oak Street
                  Grantville, GA 30220


                  Dwayne Hite
                  7605 Old Highway 54
                  Philpot, KY 42366


                  Dwayne Hopkins
                  250 Pear Blossom Rd
                  Stafford, VA 22554


                  Dwayne King
                  7138 Co. Rd. 62
                  DeGraff, OH 43318


                  Dwayne Nelson
                  146 Purvis Lane
                  Cameron, NC 28326


                  Dwayne Owens
                  4087 Lowden rd
                  South Euclid, OH 44121


                  Dwayne Rhodes
                  11730 Jaycreek Dr
                  Houston, TX 77070


                  Dwayne Wallace
                  1568 Saint Clair Ave
                  Cincinnati, OH 45231


                  Dwayne Warner
                  3884 Lakeview Drive
                  Galena, OH 43021
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                  Dwayne Wisdom
                  18303 Atkins Rd
                  Lawson, MO 64062


                  Dwayne Wright
                  3619 Pennsylvania 168
                  Volant, PA 16156


                  Dwight Blakey
                  15024 Ashton Road
                  Detroit, MI 48223


                  Dwight Cherry
                  616 South Westgrove Road
                  Virginia Beach, VA 23455


                  Dwight Cooper
                  14978 slack rd
                  van wert, OH 45891


                  Dwight Danner
                  34 Cherry Grove Rd
                  Asheville, NC 28805


                  Dwight Fowler
                  7327 Covered Bridge Drive
                  Waterloo, IL 62298


                  Dwight Griffin
                  719 Hancock Avenue
                  Portsmouth, VA 23701


                  Dwight Harris
                  2047 Oxford Gettysburg Road
                  Eaton, OH 45320


                  Dwight James
                  3315 Dunkirk Avenue
                  Norfolk, VA 23509


                  Dwight Kelly
                  9172 N River Rd
                  Dresden, OH 43821
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                  Dwight Kensinger
                  1396 Cabbage Creek Road
                  Roaring Spring, PA 16673


                  Dwight Ledford
                  33 Morning Glory Turn
                  Ruckersville, VA 22968


                  DWIGHT MAYBERRY
                  17503 Greenlawn Street
                  Detroit, MI 48221


                  Dwight McKinney
                  319 Maple Avenue
                  Colonial Heights, VA 23834


                  Dwight Nelson
                  1618 Florida Avenue
                  Johnstown, PA 15902


                  Dwight Overcash
                  350 Lm Overcash Road
                  Salisbury, NC 28146


                  Dwight Potter
                  5687 West Hensler Road
                  Hanover, IN 47243


                  Dwight Rogers
                  211 tarpley Street
                  Burlington, NC 27215


                  Dwight Stamps
                  1826 Gray Road
                  Lapeer, MI 48446


                  Dwight Turner
                  14716 McBride Bluff Road
                  Shoals, IN 47581


                  Dwight Valentine
                  1632 Web Drive
                  Hartsville, SC 29550
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                  Dwight Waldrop
                  11040 Grand River Trail
                  Portland, MI 48875


                  Dwight Wallace
                  519 Windover Drive
                  Brevard,, NC 28712


                  Dwight Whaley
                  1633 Hickory Lane
                  Mansfield, OH 44905


                  Dwight Williams
                  611 Cheeks Quarter Rd
                  Henderson, NC 27537


                  Dwight Williams
                  2223 Hammerwood Dr
                  Missouri City, TX 77489


                  Dylan Beahr
                  1228 Green Level Rd
                  King William, VA 23086


                  Dylan Kuzda
                  2381 David St
                  Niles, MI 49120


                  Dylan Miller
                  450 Granger Hill Rd
                  Towanda, PA 18848


                  Dylan Mitchell
                  5 Tate Dr
                  Asheville, NC 28806


                  Dylan Randolph
                  10424 Burbank Street
                  West Frankfort, IL 62896


                  Dylan Sheffield
                  9320 Cedar Hollow Road
                  Unionville, VA 22567
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                  Dylan Stafford
                  88 Knob Creek Road
                  Heltonville, IN 47436


                  Dylan Stone
                  3810 Parkwood Dr
                  Greensboro, NC 27403


                  Dylan Tholen
                  309 Jessica Court
                  Lexington, SC 29073


                  Dytanya (Dee) Perry
                  518 Maides Avenue
                  Wilmington, NC 28405


                  E G Thompson
                  672 Beasley Blvd
                  Elizabethtown, KY 42701


                  Ean Gordon
                  507 Ruby Drive
                  Clarksville, TN 37040


                  EAN Services, LLC
                  PO Box 402383
                  Atlanta, GA 30384-2334


                  Earl Bailey
                  5199 Murphy Road
                  Fayetteville, NC 28312


                  Earl Bennett
                  1411 Middle River Road
                  Stanardsville, VA 22973


                  Earl Brooks
                  11610 Pemford Drive
                  Tomball, TX 77377


                  Earl Buck
                  630 Lafayette
                  Glasgow, MO 65254
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                  Earl Cagle
                  179 Angel Watch Ridge
                  Sylva, NC 28779


                  Earl Clover
                  7122 Magnolia Drive
                  Georgetown Township, MI 49428


                  Earl Count
                  784 Robinhood Dr
                  Aurora, OH 44202


                  Earl Dove
                  10345 Mt Holly-Huntersville Rd
                  Huntersville, NC 28078


                  Earl Gants
                  2221 Grand Avenue
                  Liberty, TX 77575


                  Earl Graffius
                  335 Souter Rd
                  Ideal, GA 31041


                  Earl Hacker
                  26661 Indian Creek Drive
                  Rocky Mount, MO 65072


                  Earl Harrison
                  301 Grant Street
                  Galien, MI 49113


                  Earl Hollenbeck
                  645 West Cushing Street
                  Decatur, IL 62526


                  Earl Hovious
                  21431 Hcl Jackson
                  Grosse Ile Township, MI 48138


                  Earl Jones
                  1339 Bayville St.
                  Norfolk, VA 23503
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                  Earl Marinus
                  800 McAdams Loop
                  Jacks Creek, TN 38347


                  Earl Mawyer
                  91 Hillside Dr
                  Verona, VA 24482


                  Earl McKnight
                  5123 Brewer Court
                  Wilson, NC 27896


                  Earl Mcpherson II
                  13202 South Anthony Boulevard
                  Fort Wayne, IN 46819


                  Earl Miller
                  18039 Vista View Drive
                  Goshen, IN 46526


                  Earl Phillips
                  2228 Red Mile Road
                  Murfreesboro, TN 37127


                  Earl Riggs
                  846 Hall Cove Road
                  Warne, NC 28909


                  Earl Rose
                  214 Sycamore Dr
                  East Stroudsburg, PA 18301


                  Earl Skjoldager
                  200 Caisson Crossing
                  Hampton, VA 23669


                  Earl Smith
                  165 W Main St
                  Andover, OH 44003


                  Earl Sturdivant
                  509 N Pine Lane
                  Wadesboro, NC 28170
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                  Earle Whitcomb
                  1195 Rays Bridge Road
                  Whispering Pines, NC 28327


                  Earlene Lowrance
                  260 Cedar Lake
                  Goldsboro, NC 27530


                  Earlene Zumwalt
                  6228 State Hwy K
                  Troy, MO 63379


                  Earnest Bazemore
                  1301 Horne Avenue
                  Portsmouth, VA 23701


                  Earnest Dixon
                  7954 Clydesdale Drive
                  Romulus, MI 48174


                  Earnest Lewis
                  5276 Rosewood Pl
                  Fairburn, GA 30213


                  Earnest Thomas
                  643 Barrett Road
                  Phenix, VA 23959


                  Earnest Wymer
                  806 Pierce Street
                  Maumee, OH 43537


                  Earvin Hansen
                  912 Cantor Street
                  Chesapeake, VA 23322


                  Ease Plumbing
                  19109 West Catawba Ave
                  Suite 110
                  Cornelius, NC 28037


                  East Liverpool City Income Tax
                  126 W. 6th St.
                  East Liverpool, OH 43920-2960
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                  Easton Ray
                  15246 Union Leboeuf Rd
                  Union City,, PA 16438


                  Eb Blair
                  2989 Garretts Way Ct
                  Snellville, GA 30039


                  Ebenezer Atekwana
                  4603 Lind St
                  Norfolk, VA 23513


                  Ebony Stoffer
                  17311 Monica St
                  Detroit, MI 48221


                  Ed Anderson-Smith
                  7295 Brophy Road
                  Howell, MI 48855


                  Ed Bazzy
                  6130 College Dr
                  Dearborn Heights, MI 48127


                  Ed Bertram
                  831 River Road
                  Waverly, OH 45690


                  Ed Cody
                  701 Compton Road
                  Raleigh, NC 27609


                  Ed Cortrecht
                  5914 Daw Street
                  Noblesville, IN 46062


                  Ed Curry
                  1311 Dogwood Drive
                  Portage, MI 49024


                  Ed Dalton
                  6206 Tiffin Avenue
                  Castalia, OH 44824
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                  Ed Danek
                  7968 Ranch Estates Road
                  Clarkston, MI 48348


                  Ed Deem
                  415 Fairway Drive
                  Springboro, OH 45066


                  Ed Deemer
                  1927 Harrison Avenue
                  Jeannette, PA 15644


                  Ed Frame
                  417 Poland Ave
                  Struthers, OH 44471


                  Ed Garvin
                  PO Box 258
                  Allegan, MI 49010


                  Ed Gill
                  1025 Jeanette Ave
                  Vinton, VA 24179


                  Ed Griffis
                  6591 Niderdale Way
                  Middletown, OH 45042


                  Ed Higgins
                  4485 Elmhurst St
                  Saginaw, MI 48603


                  Ed Humenay
                  370 Showerman Rd
                  Michigan Center, MI 49254


                  Ed ihnot
                  21150 Southwood Drive
                  Fairview Park, OH 44126


                  Ed Johnston
                  4355 Sashabaw Rd
                  Waterford Township, MI 48329
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ed kuchar
                  1800 North Cleveland Massillon Road
                  Akron, OH 44333


                  Ed Kuhn
                  206 Taxus Street
                  Chesapeake, VA 23320


                  Ed Livesay
                  1907 ROCKY FORK CHURCH RD
                  SAND FORD, NC 27332


                  Ed Lyda
                  9 Flannery Court
                  Fountain Inn, SC 29644


                  Ed McDonough
                  38 Spring Hill Lane
                  New Castle, PA 16101


                  Ed Myers
                  1123 Blaney Road
                  Kittanning, PA 16201


                  Ed Peterson
                  6 Cambridge Place
                  Hampton, VA 23669


                  Ed Potter III
                  4133 Reedbury Lane
                  Columbus, OH 43220


                  Ed Raskov
                  1507 Woodbine Ave SE
                  Warren, OH 44484


                  Ed Reich
                  533 49th Street Southwest
                  Canton, OH 44706


                  Ed Rovenolt
                  355 Koch Road
                  Turbotville, PA 17772
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ed Schack
                  9424 E Vienna Rd
                  Otisville, MI 48463


                  Ed Schweikert
                  8487 North Bush Road
                  McConnelsville, OH 43756


                  Ed Sherrill
                  3800 Darlington Rd
                  Darlington, PA 16115


                  Ed Sherrill
                  3798 Darlington Road
                  Darlington, PA 16115


                  ed shilling
                  213 Monterey Avenue
                  Ridgway, PA 15853


                  Ed Short
                  1011 Melody Lane
                  Santa Claus, IN 47579


                  Ed Speece
                  1727 State Route 19
                  Bucyrus, OH 44820


                  Ed Spicer
                  230 Lenoxdale Dr
                  Mt Ulla, NC 28125


                  Ed Sprague
                  5307 Lockberry Ridge Court
                  Richmond, VA 23237


                  Ed Swim
                  2555 Wilbur Rd
                  Medina, OH 44256


                  Ed Swogger
                  2270 Windswept View Way
                  Sevierville, TN 37876
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ed Tallent
                  1456 Hession Drive
                  Brownsburg, IN 46112


                  Ed Thomas
                  507 S West St
                  Burnettsville, IN 47926


                  Ed Wiesner
                  9075 Columbia
                  Redford Charter Twp, MI 48239


                  Edd Ferguson
                  2655 Marion Dr
                  Draper, VA 24324


                  Eddie Anderson
                  2123 Apple Grove Rd
                  Mineral, VA 23117


                  Eddie Anderson
                  530 Elizabeth Lake Dr
                  Hampton, VA 23669


                  Eddie Barth
                  1746 Pelton Road
                  Fostoria, OH 44830


                  Eddie Crumpton
                  524 Cedarbrook Dr
                  Danville, VA 24541


                  Eddie Fannon
                  5150 Zion Church Road
                  Concord, NC 28025


                  Eddie Gillespie
                  7721 Lynnle Way
                  Middle Valley, TN 37343


                  Eddie Harris Clark
                  1515 Woodland Dr.
                  CHARLOTTE, NC 28205
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                  Eddie Mcintyre
                  203 Springcrest Drive
                  Seven Springs, NC 28578


                  Eddie Meyer
                  917 Love Road
                  Woodbury, TN 37190


                  Eddie Minnick
                  2325 Forbes Mill Rd
                  Bedford, VA 24523


                  Eddie Murphy
                  413 Lucas Avenue
                  Norfolk, VA 23502


                  Eddie Myrick
                  8510 Creekwood Ridge Dr
                  Palmetto, GA 30268


                  Eddie Payne
                  176 Mountain Vista Rd
                  Scottsville, VA 24590


                  Eddie Peabody
                  29125 County Rd 424
                  Defiance, OH 43512


                  Eddie Perot
                  237 Empress Alexandra Place
                  Fredericksburg, VA 22406


                  Eddie Petersheim
                  3824 Mainesville Rd
                  Junction City, OH 43748


                  Eddie Pierce
                  4235 Thompson Road
                  Fort Wayne, IN 46816


                  Eddie Riddell
                  900 Deep Gap Rd
                  Jackson, TN 38301
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                  Eddie Scott
                  338 Greenfield Lane
                  Estill Springs, TN 37330


                  Eddie Stephens
                  5516 IN 9
                  Fountaintown, IN 46130


                  Eddie Wesson
                  364 Ben Eller Lane
                  Township of Taylorsville, NC 28681


                  Eddie whitaker
                  3617 Laurel Ridge Road Northwest
                  Roanoke, VA 24017


                  Eddie Williams
                  168 Euclid Boulevard
                  Youngstown, OH 44505


                  Eddie Yelicie
                  4407 Vermont Ave
                  Alexandria,, VA 22304


                  Eddy Dominguez
                  190 pin oak dr
                  Thomasville, NC 27360


                  Eddy Ford
                  415 Lapeer Road
                  Burton, MI 48509


                  Eddy Gant
                  1583 Lakeside Drive
                  Prince George, VA 23875


                  Eddy Hitchler
                  1441 Missouri 6
                  Maysville, MO 64469


                  Eden Lake
                  1029 Dale Ave
                  Charlotte, NC 28629
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Edgar Acena
                  10881 Wiggins Road
                  Howell, MI 48855


                  Edgar Burgos
                  16768 Irish Rd
                  Edinboro, PA 16412


                  edgar Burwell
                  64 Semple Farm Road
                  Hampton, VA 23666


                  Edgar Dominguez
                  216 County Road 2422
                  Hull, TX 77564


                  Edgar Rodriguez
                  308 Lone Star Rd
                  Bastrop, TX 78602


                  Edgar Ruiz
                  13048 Orange St
                  Southgate, MI 48195


                  Edgar Umana
                  816 Edenburgh Way
                  Belleville, IL 62221


                  Edgar Velazquez
                  105 Tan Dr
                  East Stroudsburg, PA 18302


                  Edgar Watson
                  3185 Fielstra Drive
                  Muskegon Heights, MI 49444


                  Edgar weakland
                  248 Stepping Stone Rd
                  Somerset, PA 15501


                  Edgar Young
                  1765 Phillis Road
                  Boydton, VA 23917
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                  Edgardo Alicea
                  1110 Santa Fe Avenue
                  Davis Junction, IL 61020


                  Edie Adams
                  165 Adams Street
                  McCutchenville, OH 44844


                  Edith Dunlap
                  11883 West Ridge Road
                  East Springfield, PA 16411


                  Edith Nnachetam
                  2941 Ironstone Drive
                  Columbus, OH 43231


                  Edith Robinson
                  342 Blackbird Drive
                  Ashton, WV 25503


                  Edith Stone
                  639 S Circle Dr
                  Mio, MI 48647


                  Edith Winslow
                  104 Prince William Ln
                  Cary, NC 27511


                  Edmon Elias
                  13769 Brunswick Dr
                  Sterling Heights,, MI 48312


                  Edmond Evans
                  4808 Chippendale Drive
                  Springfield, OH 45503


                  Edmond Soo
                  890 Torino Dr
                  Ballwin, MO 63021


                  Edmund Amick
                  1093 Heister Road Northwest
                  Lancaster, OH 43130
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                  Edmund Graves
                  5808 Baron Dr
                  Chesterfield, VA 23832


                  Edmund James
                  2856 Nancy St
                  Columbus, GA 31906


                  Edmund Martin
                  2230 Rowland Pond Dr
                  Willow Spring, NC 27592


                  Edmund Moyer
                  4151 Custer Road
                  Carsonville, MI 48419


                  Edmundo Moran
                  18952 Cicerone Ct
                  New Caney, TX 77357


                  Edna Barksdale
                  27250 Hopkins St
                  Inkster, MI 48141


                  Edna Sherrill
                  13508 Back Stretch Ct
                  Chester, VA 23836


                  Edna Worthington
                  10299 Lindale Ave
                  Greencastle, PA 17225


                  Edra Hudson
                  27315 Penn Street
                  Inkster, MI 48141


                  Eduardo Bonilla
                  45741 Drexel Rd
                  Canton, MI 48187


                  Eduardo Gonz lez
                  1218 Lombard Avenue
                  Berwyn, IL 60402
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                  Eduardo Jettinghoff
                  1106 Canada Rd
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                  Eduardo Lofranco
                  7090 Highfields Farm Trail
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                  Eduardo R Rojas
                  3508 Atlas Dr
                  Charlotte, NC 28269


                  Eduardo Vargas
                  212 W Highland Ave
                  Elkin, NC 28621


                  Eduardo Villasenor
                  19702 Timberfield Court
                  Katy, TX 77449


                  Eduardo Vista
                  149 greyfield cir
                  Sanannah, GA 31407


                  Edvin Pezic
                  1602 West Springfield Road
                  Saint Clair, MO 63077


                  Edward "Ed" Edwards
                  5445 Fitzsimmons Lane
                  Export, PA 15632


                  Edward "John" Nielsen
                  3485 Landstown Ct
                  Virginia Beach, VA 23456


                  Edward Abreu
                  144 Hanover Street
                  Wilkes-Barre, PA 18702


                  Edward Adams
                  154 East Painted Way
                  Clayton, NC 27527
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                  Edward Allen
                  680 Harbor Bay Dr
                  Lawrenceville, GA 30045


                  Edward Ballweg
                  128 Mulberry Street
                  Port William, OH 45164


                  Edward Beach
                  4330 Icard Lane
                  Hudson, NC 28638


                  Edward Bean
                  13670 Ravenna Ave NE
                  Alliance, OH 44601


                  Edward Becker
                  165 East Main Street
                  Armagh, PA 15920


                  Edward Blechertas
                  2284 Manor Road
                  York, PA 17408


                  Edward Bodinski
                  3929 Lombard Court
                  Virginia Beach, VA 23453


                  Edward Bogan
                  3612 Easthampton Dr
                  Flint, MI 48503


                  Edward Brody
                  2729 Todd Dr
                  Yadkinville, NC 27055


                  Edward Brown
                  2629 New Hope Circle
                  Hephzibah, GA 30815


                  Edward Brown Sr.
                  3229 Hemmeter Rd
                  Saginaw, MI 48603
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                  Edward Bulerski
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                  Belleville, MI 48111


                  Edward Burke
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                  Bristol, TN 37620


                  Edward Cannon
                  923 Scaleybark Rd
                  Charlotte, NC 28209


                  Edward Capenter
                  181 Wilbern Road
                  Washburn, IL 61570


                  Edward Carr
                  533 Wards Road
                  Rose Hill, NC 28458


                  Edward Carson
                  4824 Westgrove Road
                  Virginia Beach, VA 23455


                  Edward chandler
                  9641 NC HWY 96 N
                  Franklinton, NC 27525


                  Edward Chreste
                  212 Glenview Drive
                  Evansville, IN 47710


                  Edward Claudio
                  1010 E 40th Pl
                  Griffith, IN 46319


                  edward d thomas jr
                  8092 n cornwell
                  Harrison, MI 48625


                  Edward Davidson
                  2910 Atwoods Dr
                  Draper, VA 24324
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                  Edward Dery
                  14414 20 Mile Road
                  Tustin, MI 49688


                  Edward Donaher
                  376 Dillon Dr
                  Virginia Beach, VA 23452


                  Edward Edwards
                  505 Carolina Drive
                  Oakdale, PA 15071


                  Edward Eichelberger
                  5746 Bayberry Circle
                  North Ridgeville, OH 44039


                  Edward Eisel
                  13874 County Rd 27
                  Fayette, OH 43521


                  Edward Enochs
                  24161 Wilde Drive
                  Magnolia, TX 77355


                  Edward Eshelman
                  13897 Bliven Rd
                  Byron, MI 48418


                  Edward Flaherty
                  4649 Lucinda Court
                  Lorain, OH 44053


                  Edward Francik
                  2511 Willowview Dr
                  Georgetown Twp, MI 49428


                  Edward Gillus
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                  Emporia, VA 23847


                  Edward Ginn
                  747 Buck Swamp Road
                  Goldsboro, NC 27530
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                  Edward Girlish
                  4188 Le Valley Rd
                  Columbiaville, MI 48421


                  Edward Girouard
                  77 Critcher Farm Ln
                  Benson, NC 27504


                  Edward Golden
                  1235 Vestal Road
                  Rural Hall, NC 27045


                  Edward Goldstein
                  620 County Road 1400 North
                  Trilla, IL 62469


                  Edward Gordan
                  314 Mcbrydge dr
                  Swoope, VA 24479


                  Edward Greene
                  13301 Old Lake Wilmington Rd
                  Riegelwood, NC 28456


                  Edward GREENWOOD
                  431 Foxlair Drive
                  Fayetteville, NC 28311


                  Edward Gutierrez
                  6065 Maggie Lane
                  Cumming, GA 30028


                  Edward Hammond
                  466 Mussel Swamp Rd
                  Tappahannock, VA 22560


                  Edward Harhager
                  15501 Wooster Street Northwest
                  North Lawrence, OH 44666


                  Edward Harriel
                  14 Sunnyside Drive
                  Belleville, IL 62226
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                  Edward Haynes
                  9811 Graves Road
                  Petersburg, VA 23803


                  Edward Helbig
                  5201 Blossom Road
                  Pittsburgh, PA 15236


                  Edward Holbrook
                  328 Donerville Rd
                  Lancaster, PA 17603


                  Edward Houser
                  307 Dally Rd
                  Fredericksburg, TX 78624


                  Edward Hubbell
                  5253 Silvertown Drive
                  Sylvania, OH 43560


                  Edward James
                  7694 Strausser Street Northwest
                  North Canton, OH 44720


                  Edward Johnson
                  205 Pinedale Drive
                  Swansea, IL 62226


                  Edward Johnson
                  2047 Hog Island Road
                  Surry, VA 23883


                  Edward Kaffel
                  22517 Gateway Drive
                  Macomb, MI 48044


                  Edward Kulesa
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                  union city, PA 16438


                  edward lawler
                  7040 Dodge Ln
                  zuni, VA 23898
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                  Edward Leonard
                  3433 Eby Road
                  Boonville, IN 47601


                  Edward Linen
                  6110 Prairie Stream Way
                  Columbus, IN 47203


                  Edward Linstrom
                  640 Cumberland Drive
                  Lemay, MO 63125


                  Edward Long
                  202 River Inlet Road
                  Suffolk, VA 23434


                  Edward Lopez
                  118 Northwood Road
                  Dingmans Ferry, PA 18328


                  Edward Maness
                  1197 Ashford Place Drive
                  O'Fallon, MO 63366


                  Edward Martin
                  3431 Kenmore Rd
                  Richmond,, VA 23225


                  Edward Matias
                  1120 Lexington Ct
                  Bishop, GA 30621


                  Edward Mattix
                  4527 13 Mile Rd NE
                  Rockford, MI 49341


                  Edward May
                  5905 Newport Street
                  Detroit, MI 48213


                  Edward Newman
                  18510 Lincoln Rd
                  New Lothrop, MI 48460
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                  Edward O'connell
                  14352 Speaker Rd
                  Yale, MI 48097


                  Edward Olivis
                  7340 Creek Ridge Rd.
                  Richmond, VA 23231


                  Edward Paradis
                  150 Fairway Ln
                  Zebulon, NC 27597


                  Edward Parish
                  13922 Silver Lake Rd
                  South Lyon, MI 48178


                  Edward Payne
                  3743 Stalk Road
                  Tell City, IN 47586


                  Edward Peterson 2
                  10249 Tims Lake Blvd
                  Grass Lake, MI 49240


                  Edward Porter
                  58726 County Road 657
                  Mattawan, MI 49071


                  Edward Raap
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                  BURLINGTON, NC 27215


                  Edward Ramous
                  893 Venetia Road
                  Venetia, PA 15367


                  Edward Reager
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                  Lebanon, PA 17042


                  Edward Recznik
                  11977 Hall Rd
                  WHITMORE LAKE, MI 48189
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                  Edward Reece
                  1625 S Walnut St
                  Seymour, IN 47274


                  edward retherford
                  7398 Neely Road
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                  Independence, KY 41051


                  Edward Rumbergs
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                  Hastings, MI 49058


                  edward Scharrenberg
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                  Edward Scheffler
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                  Beth Township, MI 48808


                  Edward Scheu
                  75 Arthurs Ln
                  Covington, GA 30016


                  Edward Schrichten
                  9579 Jewett Dr
                  Dillsboro, IN 47018


                  Edward Schueren
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                  Swansboro, NC 28584


                  Edward Shields
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                  Lexington, VA 24450


                  Edward Siemaszko
                  15772 oakbrook st.
                  Romulus, MI 48174
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                  Edward Simms
                  275 South Rebecca Street
                  Saxonburg, PA 16056


                  Edward Sitter
                  4635 State Street
                  Erie, PA 16509


                  Edward Skelly
                  271 Ben Maxwell Road
                  Bowman, GA 30624


                  Edward Smith
                  213 Daniel Dr
                  Goldsboro, NC 27534


                  Edward Snyder
                  5400 Bosher Lake Dr
                  McLeansville, NC 27301


                  Edward Spaans
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                  Grand Rapids, MI 49506


                  edward spitler
                  3621 Northeast Catawba Road
                  Port Clinton, OH 43452


                  Edward Tank
                  8734 Marsh Road
                  Plainwell, MI 49080


                  Edward Taylor
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                  Holland, MI 49423


                  Edward Thomas
                  604 Fairhaven Circle
                  Danville, VA 24540


                  Edward Thornton
                  30327 Thornton Lane
                  Temperanceville, VA 23442
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                  Edward Tindall
                  2237 Hampton Drive
                  Franklin, IN 46131


                  Edward Tobler
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                  Hillsville, VA 24343


                  Edward Torres
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                  Newport News, VA 23602


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                  Lapeer, MI 48446


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                  Edward Vild
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                  Parma, OH 44130


                  Edward Whelan
                  11313 Springfield Dr
                  Fredericksburg, VA 22408


                  Edward Williams
                  14205 Nelson hill rd
                  Milford, VA 22514
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                  Edward Wilson
                  158 Whitetail Deer Ln, Garner, NC 27529,
                  Garner, NC 27529


                  Edward Wilson
                  1325 Cove Road
                  Roanoke, VA 24017


                  Edward Winters
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                  Kentwood, MI 49508


                  Edward Yeida
                  35 Parkridge Drive
                  Mount Vernon, IN 47620


                  Edwin Agosto-Garcia
                  4420 South Loomis Rd
                  Shepherd, MI 48883


                  Edwin Castillo
                  5807 Chesapeake Blvd
                  Norfolk, VA 23513


                  Edwin defer
                  26217 culver st
                  st clair shores, MI 48081


                  Edwin Dixson
                  1065 Mandy Ln
                  Walnut Cove, NC 27052


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                  Edwin Johnson
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                  Edwin Ketcham
                  5257 US-68
                  Kenton, OH 43326
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                  Edwin Lopez
                  2264 Rodgers Street
                  Bethlehem, PA 18017


                  EDWIN MARSTON
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                  Edwin Otero
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                  edwin ross
                  2416 Wood Rd
                  Lebanon, OH 45036


                  Edwin Schubert
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                  East Stroudsburg, PA 18301


                  Edwin Sweeten
                  203 West Lincoln Street
                  White Hall, IL 62092


                  Edwin Tan
                  115 Shady Lane Drive
                  Hollidaysburg, PA 18447


                  edwin wells
                  101 Rollingswood Road
                  Chesapeake, VA 23325


                  Edwin Williams
                  2425 Buck Creek Road
                  Statesboro, GA 30461


                  Edwynna Currier
                  12747 Apple Drive
                  Nunica, MI 49448


                  Effie Bell Hall
                  4322 Mills Rd
                  Prescott, MI 48756
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                  Efrain Sanchez
                  1100 E Rock Creek Dr
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                  Efrem Morales
                  2624 Southpoint Rd
                  Belmont, NC 28012


                  Egbert Elias
                  4018 Snowcreek Dr
                  grove city, OH 43123


                  Eiko Walker
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                  Greencastle, IN 46135


                  Eileen Horner
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                  Carleton, MI 48117


                  Eileen Kaplan
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                  Asheville, NC 28804


                  Eileen Kochensparger
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                  Paulding, OH 45879


                  Eileen Wilhem
                  1285 Stony Ridge Rd
                  Pinnacle, NC 27043


                  Eileen Wojtas
                  10009 Deering street
                  Livonia, MI 48152


                  Eillis Raymond
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                  Toccoa, GA 30577


                  Eilzabeth Krug
                  9820 Lake Pleasant Rd
                  Erie, PA 16509
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                  El Bigham
                  49854 Crystalline Drive
                  Macomb, MI 48044


                  Elaine Amescua
                  9500 Bryan Place
                  Crown Point, IN 46307


                  Elaine Bigelow
                  5349 Pingree Road
                  Elwell, MI 48832


                  Elaine Campana
                  5072 Spaulding Court
                  Lorain, OH 44053


                  Elaine Connett
                  106 Calvert St
                  Cabin Creek, WV 25035


                  Elaine Crothers
                  530 Kurtz Mill Road
                  Mohnton, PA 19540


                  Elaine Davis
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                  Columbus, OH 43228


                  ELAINE DODD
                  1045 Huntinghill Lane
                  Virginia Beach, VA 23455


                  Elaine Freeman
                  4353 Beckett Pl
                  Saginaw, MI 48603


                  Elaine Frock
                  2048 Fairwood Ln
                  State College, PA 16803


                  Elaine LeMaster
                  16 Veneris Court
                  Hampton, VA 23669
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                  Elaine McElroy
                  2824 Pittsburg St
                  Fort Wayne, IN 46803


                  Elaine Pendegraft
                  403 North Everett Street
                  Odin, IL 62870


                  Elaine Pudder
                  145 Portland Pl
                  Lincoln, IL 62656


                  Elaine Ruano
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                  Christiansburg, VA 24073


                  Elaine Schima
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                  Roseville, MI 48066


                  Elaine Serbak
                  1108 Edward St
                  North Versailles, PA 15137


                  Elaine Spackman
                  3344 Pinney Topper Rd
                  Ashtabula, OH 44004


                  Elaine Tapp
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                  Midland, NC 28107


                  Elaine Updyke
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                  Harrison, MI 48625


                  Elan Rajamani
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                  bloomington, IN 47403


                  Elana Sigrist
                  14685 Hillside Dr
                  Wattsburg, PA 16442
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                  Elana Staschak
                  224 Chestnut Ridge Rd
                  Latrobe, PA 15650


                  Elbert Baker
                  103 Hassell Court
                  Garner, NC 27529


                  Elbert Palmer
                  1328 Chickadee Lane
                  Virginia Beach, VA 23454


                  Elbert Sauls
                  6442 Dexter Street
                  Romulus, MI 48174


                  Elden Hutchinson
                  4495 McGregory Road
                  Unionville, MI 48767


                  Eldon Bullock
                  1362 Old Salts Road
                  Somerset, KY 42503


                  Eldon Campbell
                  8523 highland tpke
                  mcdowell, VA 24458


                  eldon leitch
                  1386 S Wolf Lake St
                  Albion, IN 46701


                  Eldon Tyra
                  7696 Jill Lane
                  Franklin, OH 45005


                  Eldridge Allen
                  496 Archer Mill Rd
                  Concord, VA 24538


                  Eleanor Beachboard
                  4 Byers Ave
                  Portsmouth, VA 23701
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                  Eleanor Tornblom
                  216 Thomas School Rd
                  Greensburg,, PA 15601


                  Eleena Fernandez
                  3 Grace Court
                  Easley, SC 29642


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                  Ruther Glen, VA 22546


                  Elgin Smith
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                  Elgio Arellano
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                  Roanoke, VA 24012


                  Elhussein Elmekabaty
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                  East Stroudsburg, PA 18302


                  Eli Byrnes
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                  Ruther Glen, VA 22546


                  Eli Franc
                  4937 Cartner Road
                  Jonesville, NC 28642


                  Eli Kinsinger
                  1122 Barberry Rd SE
                  Alum Ridge, VA 24091


                  ELI SMITH
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                  Spring Lake, NC 28390


                  Eli Stepanovich
                  7656 Knollridge Ave NE
                  Canton, OH 44721
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Eli Todd
                  470 Crook Avenue
                  Henderson, TN 38340


                  Eli Ysasi
                  2714 Co Rd 213
                  Clyde, OH 43410


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                  Snellville, GA 30078


                  Elias SALOUM
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                  Allentown, PA 18103


                  Elie Daniel
                  3120 N Wales Rd
                  Norristown, PA 19403


                  ELIGIA Allison
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                  Macon, GA 31210


                  Elijah &Lisa Elijah& Lisa
                  3425 Lemon Creek Rd
                  Bridgman, MI 49106


                  elijah brooks
                  111 Sanders Street
                  Jacksonville, NC 28540


                  Elijah Burris
                  69 Evelyns Ln
                  Clyde, NC 28721


                  Elijah Givens
                  211 Cheval Trail
                  Cleveland, NC 27013


                  Elijah Williams
                  4122 Crestland Drive
                  St. Louis, MO 63121
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                  Elinor Inge
                  381 Silver Creek Lane
                  Danville, VA 24540


                  Elisabeth Cannon
                  8126 Buffin Rd
                  Henrico, VA 23231


                  Elisabeth Hoernig Garner
                  204 East North Street
                  Remington, IN 47977


                  Elisabeth Horton
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                  Paw Paw, MI 49079


                  Elise Blanck
                  108 Lake Bluff Drive
                  Oakwood, IL 61858


                  Elise Fish
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                  Elise Miles
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                  Linden, MI 48451


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                  Charlotte, NC 28278


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                  471 Greenberry Dr
                  Afton, VA 22920


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                  Raleigh, NC 27610


                  Elizabeth Acevedo
                  7531 Sparta Rd.
                  McGrady, NC 28649
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Elizabeth Baker
                  200 Crescent Ave
                  Kendallville, IN 46755


                  Elizabeth Beischer
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                  Athens, MI 49011


                  Elizabeth Birdsell
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                  Grand Ledge, MI 48837


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                  Broadway, NC 27505


                  Elizabeth Bowman
                  31623 Folsom Road
                  Farmington Hills, MI 48336


                  Elizabeth Bowman
                  6068 Talladay Rd
                  Milan, MI 48160


                  ELIZABETH BRADSHAW
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                  Savannah, TN 38372


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                  1314 Valley Dr NW
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                  Elizabeth Burks
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                  Mansfield, OH 44904


                  Elizabeth Carty
                  1439 Raven Rd
                  clarksville, TN 37042
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                  Elizabeth Chan
                  9 Persimmon Wood Court
                  Irmo, SC 29063


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                  Candler, NC 28715


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                  Lincoln Park, MI 48146


                  Elizabeth Collar
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                  Wolverine Lake, MI 48390


                  Elizabeth Daniels
                  403 East Alpine Drive
                  Terra Alta, WV 26764


                  Elizabeth Demerell
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                  Climax, MI 49034


                  Elizabeth Desgranges
                  9502 72nd Avenue
                  Hudsonville, MI 49426


                  Elizabeth Dropp
                  14363 Dixie
                  Redford Charter Township, MI 48239


                  Elizabeth Dunlap
                  7405 Fairmont Road Southeast
                  Thornville, OH 43076


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                  11510 Willow
                  Southgate, MI 48195


                  Elizabeth Evans
                  228 Arrowhead Circle
                  Spartanburg, SC 29301
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                  42 hickory ln n
                  Crawfordsville, IN 47933


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                  Elizabeth Grundhauser
                  101 Michelle Drive
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                  Elizabeth Guest
                  250 Hobbs Landing Road
                  Elizabeth City, NC 27909


                  Elizabeth Hagner
                  108 Roberts Rd
                  Hampstead, NC 28443


                  Elizabeth Hamilton
                  15780 Lattice Lane
                  East Lansing, MI 48823


                  Elizabeth Henry
                  6821 Perkins Drive
                  Raleigh, NC 27612
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Elizabeth Martin
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                  Candler, NC 28715


                  Elizabeth Martinez
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                  Durham, NC 27713
Case 22-50228   Doc 1   Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Johnson City, TN 37615


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                  Snow Hil, NC 28580


                  Elizabeth Moore
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                  Bostic, NC 28018


                  Elizabeth Moorehead
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                  Sewickley, PA 15143


                  Elizabeth Moorhead
                  8 Farmhill Road
                  Sewickley, PA 15143


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                  Elizabeth Nolasco
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                  elizabeth parker
                  904 Green Swamp Rd
                  Bolton, NC 28423


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                  Murphy, NC 28906


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                  12651 Middle Creek Road
                  Clinton, IL 61727
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                  Cave City, KY 42127


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                  grand rapids, MI 49546


                  Elizabeth Peterson
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                  Clarksville, TN 37043


                  Elizabeth Pike
                  4419 Grisemore Road
                  Cherry Tree, PA 15724


                  Elizabeth Portillo
                  3497 Torrington Ln
                  Clarksville, TN 37042


                  Elizabeth Pressley
                  11180 NC-62
                  Milton, NC 27305


                  Elizabeth Randall
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                  Norweood, NC 28128


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                  Litchfield, MI 49252


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                  Lincolnton, NC 28092


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                  Dickinson, TX 77539
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                  Temple, PA 19560


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                  Elizabeth Smith
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                  Jackson, MI 49201


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                  2132 Laburnum Ave
                  Charlotte, NC 28205
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                  Manitou Beach-Devils Lake, MI 49253


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                  Sewickley, PA 15143


                  Elizabeth Waller
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                  Elizabeth Wilber
                  1519 Cedar Point Rd
                  Sandusky, OH 44870


                  Elizabeth Woods
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                  Kingsley, MI 49649
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                  Graham, NC 27253


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                  Ella Lindstrom
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                  Ellen Campbell
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                  Ellen Rees
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                  Ellen Watson Lane
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                  Ellen Zissis
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                  Elmer Begley II
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                  Glen Allen, VA 23060


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                  Elmer Willman
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                  Elmo Bailey
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                  Elna Jelstrup
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                  Elrades Wright
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                  Weston, OH 43569


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                  Mills River, NC 28759
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                  Eric Trainer
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                  Cheswick, PA 15024


                  Eric Trio
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                  Bellaire, OH 43906


                  Eric Vandam
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                  Big Rapids, MI 49307


                  Eric Wagner
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                  Eric Ware
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                  Eric Wilson
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                  Greenwood, IN 46143


                  Eric Young
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                  Erica Edwards
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                  Erica Jordan
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                  Jamestown, OH 45335


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                  Erin Kramak
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                  Erin Kushner
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                  Erin Raper
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                  Erlinda Gilmore
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                  Ernestine Robertson
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                  Ethann Makinenni
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                  Everett Winn
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                  Faydra Kenning
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                  Faye Meadows
                  601 Bynum Street
                  Maysville, NC 28555


                  Faye Thomas
                  820 Peerless Avenue
                  Akron, OH 44320


                  Fayetteville Warehouse Storage
                  PO Box 64076
                  FAYETTEVILLE, NC 28306
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                  Fayetteville Warehouse Storage, LLC
                  PO Box 64076
                  Fayetteville, NC 28306


                  Fe Delatorre
                  105 Kramer Ave
                  Winston-Salem, NC 27106


                  Felecia Brown
                  2003 Ocracoke Ct
                  Jacksonville, NC 28546


                  Felecia Bryant
                  1503 Sunset Dr
                  Goldsboro, NC 27534


                  Felesa Averitte
                  6014 Tammin Drive
                  Indianapolis, IN 46254


                  Felice Shannon
                  16471 Parklane Street
                  Livonia, MI 48154


                  Felicia Cates
                  6485 Penny Pike
                  Springfield, OH 45502


                  Felicia Daye
                  14 FERNHALL ST
                  Franklinton, NC 27525


                  Felicia de Courcy
                  473 Marion Ave
                  Tazewell, VA 24651


                  Felicia Hatchew
                  3315 Ellis Park Drive
                  Burton, MI 48519


                  Felicia Maloney
                  616 Oak St
                  Ypsilanti, MI 48198
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                  Felicia McCray
                  3502 Greystone Dr. W
                  Wilson, NC 27893


                  Felicia Moss
                  8326 McKinley
                  Center Line, MI 48015


                  Felicia Ramirez
                  1715 Gloria Avenue
                  Bay City, TX 77414


                  Felicia Sherlin
                  9194 N Creek Lane
                  Dayton, OH 45458


                  Felicia Wallace
                  29899 George Drive
                  Dowagiac, MI 49047


                  Felicia Wess
                  4793 State Route 37 East
                  Delaware,, OH 43015


                  Felipe Bonila
                  208 Sharon Avenue
                  Battle Creek, MI 49017


                  Felix Bala
                  844 Shortridge Road
                  Fayetteville, NC 28303


                  Felix Cortes
                  3862 west 31st st Cleveland Ohio
                  Cleveland, OH 44109


                  Felix Gomez
                  5054 North Carolina 87
                  Sanford, NC 27332


                  Felix Gonzales
                  992 Mathis Rd
                  Clinton, NC 28328
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                  Felton Washington
                  2218 Smyrna Road
                  Sunset, TX 76270


                  Ferdinand Volosky
                  172 Edinger Road
                  DuBois, PA 15801


                  Ferenc Katona
                  5104 Candlewood ct
                  Coopersville, MI 49404


                  Ferman Hatton
                  216 Hickory Glen
                  Centerville, GA 31028


                  Fern Dameron
                  503 W Sexton Rd.
                  Columbia, MO 65203


                  Fernadell Haynes
                  6575 Pleasant Valley Dr
                  Morrow, GA 30260


                  fernand costelo
                  2 Lynworth Court
                  Saint Charles, MO 63301


                  Fernando Buentello
                  534 Narva Place
                  East Chicago, IN 46312


                  Fernando Coral
                  656 Monroe Street
                  Grovetown, GA 30813


                  Fernando Enriquez
                  324 Sea Breeze Way
                  Lyman, SC 29365


                  Fernando Herrera
                  3248 Dover Lane
                  Lafayette, IN 47909
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                  Fernando Montes De Oca Mina
                  1506 tara ct
                  Lebanon, TN 37087


                  Fernando Ramos
                  3940 Lake Rd
                  Sheffield Lake, OH 44054


                  Ferris Johnson
                  7028 Obrien Rd
                  Hubbardston, MI 48845


                  FFT Restaurant Group LLC
                  1647 Richmond Road
                  Williamsburg, VA 23185


                  Fikayo Adewunmi
                  130 Lighthouse Dr
                  Portsmouth, VA 23703


                  Filippo Milani
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                  Elkhart, IN 46516


                  Findlay City Income Tax
                  P.O. Box 862
                  Findlay, OH 45839-0862


                  Fiona Sicheneder
                  356 Avanti Ln
                  Highland, MI 48357


                  Fionne Wright
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                  Toledo, OH 43606


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                  PO Box 1069
                  Chatham, VA 24531


                  Fish Window Cleaning
                  PO Box 152323
                  Tampa, FL 33684
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                  Five9, Inc.
                  3001 Bishop Drive
                  Ste 350
                  San Ramon, CA 94583


                  FleetNet America, Inc.
                  PO Box 970
                  Cherryville, NC 28021


                  Flo Sage
                  6424 Bethany Church Rd
                  Wendell, NC 27591


                  FloQast, Inc
                  14721 Califa St
                  Sherman Oaks, CA 91411


                  Flora Sumpter
                  453 Cedar Street
                  Lake City, SC 29560


                  Florence Bogedin
                  6699 Westpointe Drive
                  Troy, MI 48085


                  Florence Cavan
                  561 East 332nd Street
                  Eastlake, OH 44095


                  Florence Ellsworth
                  665 Mill Street
                  Concord, MI 49237


                  Florence Gardner Kohn
                  11837 Indiana 8
                  Culver, IN 46511


                  Florence Plyler
                  283 Potter Rd,
                  Lancaster, SC 29720


                  Florencio Lemus
                  2039 Dale Avenue Southeast
                  Roanoke, VA 24013
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                  Florentino Carter
                  109 Bensens Mill Ct
                  Fredericksburg, VA 22406


                  Florentino Legaspi
                  5744 S Ottawa Rd
                  Virginia Beach, VA 23462


                  Florian Soto
                  4405 Celebration Dr SW
                  Atlanta, GA 30331


                  Florida Department of Revenue
                  5050 W. Tennessee St.
                  Tallahassee, FL 32399-0135


                  Florin Pop
                  1590 high pointe dr
                  Commerce Charter Twp, MI 48390


                  Floyd Bassler
                  143 Union Grove Road Northeast
                  Charleston, TN 37310


                  Floyd Carlton Davis
                  7089 Goodview Road
                  Goodview, VA 24095


                  Floyd Cullipher
                  6348 Back Creek Road
                  Boones Mill, VA 24065


                  Floyd Harris
                  5154 Rollingway Road
                  Chesterfield, VA 23832


                  Floyd Hill
                  5485 Snow Creek Ct
                  Prince George, VA 23875


                  Floyd Juszli
                  2264 Lynnwood Drive
                  Stow, OH 44224
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                  Floyd Latham
                  344 Circleview Dr
                  Shelby, NC 28150


                  Floyd Lynch
                  385 mcconnell dr
                  Zanesville, OH 43701


                  Floyd Parlier
                  537 Ava Jane Ln
                  Jonesville, NC 28642


                  Floyd. R Sydnor Sr.
                  2001 Mulberry Road
                  Nathalie, VA 24577


                  Floydia Johnson
                  2214 Morena St
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                  Flynn Early
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                  Detroit, MI 48219


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                  Fonda Lumpkin
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                  Perry, GA 31069


                  Fong Yang
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                  new braunfels, TX 78130


                  Ford Field
                  1902 Saint Antoine
                  Detroit, MI 48226


                  Forklift Systems Inc.
                  884 Elm Hill Pike
                  PO Box 100913
                  Nashville, TN 37210
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                  Forney Forney
                  673 Westpoint Drive
                  Lexington, TN 38351


                  Forrest Fisher
                  528 Catamaran Drive
                  Wilmington, NC 28412


                  Forrest Smith
                  280 E Linfoot St
                  Wauseon, OH 43567


                  Foster, Swift, Collins & Smith, P.C.
                  313 S. Washington Square
                  Lansing, MI 48933


                  Foye Nicholson
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                  Fran Byrne
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                  Jonesborough, TN 37659


                  Fran Lapi
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                  Salemburg, NC 28385


                  Fran Smith
                  6409 Platt Springs Rd
                  Lexington,, SC 29073


                  Frances Baker
                  9875 Jackson Road
                  Dexter, MI 48130


                  Frances Dickson
                  204 Canterbury Drive
                  La Porte, IN 46350


                  Frances Dougherty
                  14589 Stanwood Street Southwest
                  Navarre, OH 44662
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                  Frances Fort
                  212 Sunray Dr
                  Upton, KY 40165


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                  Hollins, VA 24019


                  Frances Hearon
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                  Benton, TN 37307


                  Frances Herring
                  4024 Malpass Corner Road
                  Burgaw, NC 28425


                  Frances Hocevar
                  3733 Toxaway Ct
                  Chamblee, GA 30341


                  Frances Mills
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                  Kinston, NC 28504


                  Frances Smith
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                  Kershaw, SC 29067


                  Frances Valera
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                  Badin, NC 28009


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                  7110 Apple St
                  Pittsburg, PA 15206
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                  Francis (Tom) Crittenden
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                  Staunton, VA 24401


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                  Nebo, NC 28761


                  Francis Burr
                  15612 South 37th Street
                  Mendon, MI 49072


                  Francis Detmer
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                  Shattuc, IL 62231


                  Francis Doyle
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                  Francis Fontanez
                  1 Summer Lake Way
                  Savannah, GA 31407


                  Francis Freeman
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                  Greenville, SC 29605


                  francis gadson
                  2118 East Elkhorn Road
                  Java, VA 24565


                  Francis Gainer
                  10701 Stonewall Road
                  Appomattox, VA 24522


                  Francis Glasser
                  231 Fort Spring Pike
                  ronceverte, WV 24970


                  Francis Harvell Jr.
                  206 S Mcneil St
                  Burgaw, NC 28425
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                  Francis Johnson
                  8847 Rynn Road
                  Avoca, MI 48006


                  FRANCIS KATULSKI
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                  Swartz Creek, MI 48473


                  Francis Kimmel
                  34945 Cadiz-Piedmont Road
                  Cadiz, OH 43907


                  Francis Maksin
                  228 Elfinwild Ln
                  Glenshaw, PA 15116


                  Francis McCoy
                  363 cr edwards rd
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                  Francis McCoy
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                  Francis Szabo
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                  Wilmington, OH 45177


                  Francisca Britton
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                  Francisco Hernandez
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                  Francisco hernandez
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                  924 North Oak Creek Drive
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                  Francisco Martinez
                  307 Edgewood Dr
                  China, NC 28023


                  Francisco Naputi
                  9181 Buckden Drive
                  New Kent, VA 23124


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                  3513 Christianburg Road
                  Bagdad, KY 40003


                  Francisco R os
                  5735 Cherrycrest Lane
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                  Francisco Rivera
                  480 Stoney Creek Dr
                  Sanford, NC 27332


                  Francisco Romero
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                  Soddy-Daisy, TN 37379


                  Francisco Torrez
                  9245 Christy Road
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                  Francisco Villalobos
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                  Winston-Salem, NC 27106


                  Francois Lecoin
                  2120 Midway Drive
                  Cumming, GA 30040


                  Frank (Father) Frewerd
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                  Zebulon, NC 27597


                  Frank Aster
                  6134 Upper York Road
                  New Hope, PA 18938
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                  Frank Barron
                  364 Burlington Road
                  Jackson, OH 45640


                  Frank Belcher
                  6439 Lapeer Road
                  Smiths Creek, MI 48074


                  Frank Bennett
                  16026 Bird Rd
                  Linden, MI 48451


                  Frank Bigham
                  5656 Park Rd
                  Pinckneyville, IL 62274


                  Frank Bolton
                  66318 Prairie View Dr
                  Goshen, IN 46526


                  Frank Boone
                  7723 County Road 233
                  Centerville, TX 75833


                  Frank Borton
                  63250 Pine Road
                  North Liberty, IN 46554


                  Frank Bosa
                  1501 Mangrove Bay Terrace
                  Chester, VA 23836


                  Frank Brenner
                  480 Peters Dr
                  Campbell, OH 44405


                  Frank Brice
                  157 Circle Dr
                  Wallace,, NC 28466


                  Frank Campbell
                  121 Iron Gap Road
                  Belvidere, TN 37306
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                  Frank Chapko
                  11503 S Mason Rd
                  Bannister, MI 48807


                  Frank Chrzanowski
                  12189 Day Road
                  Maybee, MI 48159


                  Frank Cipollone
                  343 Clarence Street
                  Pittsburgh, PA 15211


                  Frank Cochran
                  28236 Muddy River Rd
                  Warsaw, MO 65355


                  Frank Conley
                  472 Siloam Road
                  Chambersburg, PA 17201


                  Frank Cox
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                  Brown City, MI 48416


                  Frank Darnes
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                  Heath, OH 43056


                  Frank Defever
                  5508 W Monroe Rd
                  Alma, MI 48801


                  Frank Delucia
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                  Raleigh, NC 27614


                  Frank DeSantis
                  286 OH-165
                  East Palestine, OH 44443


                  Frank Dodgen
                  4726 Crestfield Road
                  Millington, TN 38053
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Frank Doss
                  645 NC Highway 801 N
                  Advance, NC 27006


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                  Ottawa, OH 45875


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                  Frank Dunlap
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                  Frank Eaton
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                  Sandston, VA 23150


                  Frank Flores
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                  Frank Francis
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                  Berlin Center, OH 44401


                  Frank Fulbright
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                  Barnardsville, NC 28709


                  Frank Gairo
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                  Frank Galletta
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                  Louisville, OH 44641


                  Frank Garris
                  109 Cherry Hill Circle
                  Winchester, VA 22602
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                  Frank Glover
                  Michael Deal Alderman & Hutcherson, LLC
                  487 Cherry Street
                  Box 8
                  Macon, GA 31201


                  Frank Glover
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                  Dry Branch, GA 31020


                  Frank Gronewald
                  25881 East County Road 2600 North
                  Manito, IL 61546


                  Frank Hackett
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                  Boones Mill, VA 24065


                  Frank Harzinski
                  2816 Conrad Rd
                  Standish, MI 48658


                  Frank Hoover
                  784 Lynnhaven Park Drive
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                  Frank Howard
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                  Hobart, IN 46342


                  Frank Huyberts
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                  Rochester, MI 48307


                  Frank John
                  998 maitland drive
                  Virginia Beach, VA 23454


                  Frank Kimball
                  272 Liberty Road
                  Southport, NC 28461


                  Frank Kroto
                  7858 Grubb Road
                  McKean, PA 16426
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                  Frank Kurta
                  701 Berkshire Road
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                  Frank Laird
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                  Nashville, NC 27856


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                  Erie, PA 16510


                  Frank Mitchell
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                  Frank Modafferi
                  12450 Hadley Rd
                  Gregory, MI 48137


                  Frank Montie
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                  Gladwin,, MI 48624


                  Frank Morris
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                  Exmore, VA 23350


                  Frank Parker
                  6456 Cedar Creek Rd
                  Fayetteville, NC 28312


                  Frank Parochetti
                  65700 Romeo Plank Road
                  Ray, MI 48096


                  Frank Petroski
                  1237 Hawkins Wood Cir
                  Midlothian, VA 23114
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Frank Pitonyak
                  29988 Armada Ridge Rd
                  Richmond, MI 48062


                  Frank Plescha
                  2920 Enchanting Circle
                  Virginia Beach, VA 23456


                  Frank Predmore
                  827 Maplehill Ave
                  Lansing, MI 48910


                  Frank Rea
                  10209 Cecelia Street
                  White Pigeon, MI 49099


                  frank rinard
                  18150 Clearview Lane
                  Dinwiddie, VA 23841


                  Frank Rivera
                  1309 Bookness Street
                  Midland, MI 48640


                  Frank Rodolico
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                  Willow Spring, NC 27592


                  FranK Rovenolt
                  1665 Rovendale DrivE
                  Watsontown, PA 17777


                  Frank Sabido
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                  Kershaw, SC 29067


                  Frank Schmitt
                  190 Caboose Court
                  Cottageville, SC 29435


                  Frank Schragg
                  640 South Clark Street
                  Centreville, MI 49032
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Frank Sgroi
                  28808 Anchor dr
                  New Baltimore, MI 48047


                  Frank Shaw
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                  Hyndman, PA 15545


                  Frank Shumaker
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                  Milford, VA 22514


                  Frank Smith
                  3095 Country Club Rd SW
                  Lancaster, OH 43130


                  Frank Sobczyk
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                  Frank Spears
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                  Brant, MI 48614
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                  Frank Valdez
                  210 E Maple St
                  New Baden, IL 62265


                  Frank Villa
                  6864 Emerson Ln
                  Hayes, VA 23072


                  Frank Wallman
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                  Frank Waters
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                  Frank Weaver
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                  Frank Whatton
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                  Frank Wloch
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                  Frank Yang
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                  Frank Zielinski
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                  Frankie Ceballos
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                  Frankie Lester
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                  Frankie Oxendine
                  3603 Frierson Street
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                  Beulaville, NC 28349


                  Frankie Tucker
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                  Greenfield, IN 46140


                  Franklin Edgeworth
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                  Pageland, SC 29728


                  Franklin Ellis
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                  Franklin Infinger
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                  St George, SC 29477


                  Franklin Kimble
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                  Marietta, OH 45750


                  Franklin Manick
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                  Summerville, SC 29486


                  Franklin Norales
                  2705 Summer Stream Dr
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                  Franklin Raith
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                  Franklin Suero Pena
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                  Albrightsville, PA 18210


                  Franklin Troublefield
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                  Raleigh, NC 27603


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                  York, PA 17403


                  Frans Ploegmakers
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                  Fransisca Quiones
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                  Grand Rapids, MI 49503


                  Frantz Jensen
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                  Cass City, MI 48726


                  Fraser Advanced Information Systems onli
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                  West Reading, PA 19611


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                  Indianapolis, IN 46202


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                  Belding, MI 48809


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                  1551 W 206th St Sheridan
                  SHERIDAN, IN 46069
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                  2 Ripplewater Drive
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                  Cornelius, NC 28031


                  Fred Carson
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                  Norfolk, VA 23509


                  Fred Connor
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                  Efland, NC 27243


                  Fred Crawford
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                  Bryson City, NC 28713


                  Fred Cummings
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                  Freeland, MI 48623


                  Fred Elliott
                  4910 South Airport Road
                  Bartonville, IL 61607


                  Fred Fox
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                  Monmouth, IL 61462


                  Fred Furston
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                  103 Jadestone Court
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                  Metamora, MI 48455


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                  Fred Kroon
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                  Fred Lester
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                  Fred Long
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                  Norristown, PA 19401


                  Fred Makatura
                  830 North Carolina 41
                  Pink Hill, NC 28572


                  Fred Marshall
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                  Anderson, SC 29625


                  Fred Martinez
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                  Columbia, SC 29206


                  Fred Maze
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Fred Walsh
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                  Bloomington, IN 47403


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                  Fred Ziegler
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                  Wytheville, VA 24382


                  Freda Foster
                  67828 Red Arrow Highway
                  Hartford, MI 49057


                  Freda Odell
                  5858 Baptist Hollow Road
                  Hiwassee, VA 24347


                  Freda Reaves
                  16177 La Salle Ave
                  Detroit, MI 48221


                  Freddie Cunningham
                  2822 Victor Ave
                  Lansing,, MI 48911


                  Freddie Darrough
                  2065 Southwyck Dr
                  Flint, MI 48507


                  Freddie Dilley
                  5400 Whitney woods rd
                  Cave City, KY 42127


                  Freddie Pendley
                  251 Reservoir Road
                  Spruce Pine, NC 28777
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                  Freddie Surber
                  1290 Mill Iron Rd
                  Goodview, VA 24095


                  Freddy McFadden
                  2120 Water Front Dr
                  Willow Spring, NC 27592


                  Frederic Baribaud
                  2214 Mary Lane
                  Broomall, PA 19008


                  Frederic Kiema
                  2504 Cedar Rd
                  Chesapeake, VA 23323


                  Frederic Patrick
                  108 Deerwood Drive
                  Williamsburg, VA 23188


                  Frederick Ankomah
                  2600 Pine Lake Dr
                  Richmond, VA 23223


                  Frederick Asumang
                  745 Guy Avenue
                  Norfolk, VA 23505


                  Frederick Baker
                  127 Veterans Street
                  Hillsville, VA 24343


                  Frederick Boggs
                  317 South 8th Street
                  Altoona, PA 16602


                  Frederick Bowen
                  2491 Berry Lewis Rd
                  Butters, NC 28320


                  Frederick Cattell
                  302 W Elizabeth St
                  Stockbridge, MI 49285
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                  Frederick Clatterbuck
                  13227 Cox Mill Road
                  Gordonsville, VA 22942


                  FREDERICK DALES
                  215 Hill Road
                  Crossville, TN 38572


                  Frederick e Mack
                  4116 Grantlake Rd, Richmond, VA 23234, U
                  Richmond, VA 23234


                  Frederick Harris
                  10625 Deauville Road
                  Cincinnati, OH 45240


                  Frederick Lilly
                  734 Lincoln Drive Southwest
                  Camden, AR 71701


                  Frederick Madden
                  13801 William Stowe Dr
                  Charlotte, NC 28262


                  Frederick Mayo
                  132 Brenrose Circle
                  Durham, NC 27705


                  Frederick Scheuplein
                  1064 Hallow Lake Terrace
                  Clover, SC 29710


                  Frederick Sitterding
                  898 Horse Point Rd
                  Hartfield, VA 23071


                  Frederick Truss
                  415 Big Bethel Rd
                  Hampton, VA 23666


                  Frederick Waters
                  415 Sarah Court
                  Senoia, GA 30276
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                  Frederick Wright
                  6692 North Ainger Road
                  Charlotte, MI 48813


                  Fredric "Rick" Glassman
                  5981 Thomas Road
                  Oxford, MI 48371


                  Fredric Hill
                  7375 Kendel Ct
                  Jonesboro, GA 30236


                  Fredrick DeSantis
                  3461 Emig School Rd
                  Dover, PA 17315


                  Fredrick Feinhandler
                  97 S Dawes Ave
                  Kingston, PA 18704


                  Fredrick Harris
                  9731 Deepstep Road
                  Sandersville, GA 31082


                  Fredrick Horner
                  2955 Grant Rd
                  Columbus, GA 31907


                  Fredrick Lathan
                  7 Weslake Drive
                  Fairview Heights, IL 62208


                  Fredrick Marcley
                  5300 Sapphire Springs Dr
                  Knightdale, NC 27545


                  Fredrick Semazzi
                  5332 Pageford Drive
                  Durham, NC 27703


                  Fredrick Sharpless
                  625 Jordan Ridge Ln
                  Raleigh, NC 27603
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                  Fredrick Sharpless-2
                  625 Jordan Ridge Lane
                  Raleigh, NC 27603


                  Fredricka Gant
                  6026 Oak Creek Ln
                  Spring, TX 77379


                  Fredy Briceno
                  1910 Carolyn Dr
                  shelby, NC 28152


                  Freefia Holder
                  213 East Hemphill Road
                  Flint, MI 48507


                  Freeland Matthews
                  16 10 Mile Ln
                  Scenery Hill, PA 15360


                  Fritz Sejuste
                  3325 Buckingham Springs Rd
                  dillwyn, VA 23936


                  FrontApp, Inc
                  1455 Market Street Floor 19
                  San Francisco, CA 94103


                  Fulton tate
                  408 Pepper Mill Lane
                  Norfolk, VA 23502


                  Funmilayo Ogunsemore
                  2714 Keystone Street
                  Bethlehem, PA 18020


                  G Michael Flagg
                  4500 Johnston Ln
                  Kitty Hawk, NC 27949


                  G.A. Fleming Real Estate, LLC
                  50E 1000N
                  Decatur, IN 46733
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                  G.A. Fleming Real Estate, LLC.
                  50E 1000N
                  DECATUR, IN 46733


                  Gabe Pagacz
                  6205 L P Bailey Memorial Highway
                  Halifax, VA 24558


                  Gabe Rod
                  3736 Jefferson Landing Rd
                  Powhatan, VA 23139


                  Gabino Vazquez
                  1918 Fennell Town Road
                  Rocky Point, NC 28457


                  Gabriel Agosto
                  108 West Caren Drive
                  Grantville, PA 17028


                  Gabriel Armah
                  505 Glenn Drive
                  Chatham, IL 62629


                  Gabriel Blackwell
                  11998 Pinewood Hwy
                  Manning, SC 29102


                  Gabriel Borisuk
                  4399 N Graham Rd
                  Madison, IN 47250


                  Gabriel Burnette
                  405 Ray Way
                  Jenkinsburg, GA 30234


                  Gabriel Dietrick
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                  Salisbury, NC 28146


                  Gabriel Evans
                  7619 Coachwood Dr
                  Houston, TX 77071
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                  Gabriel Garcia
                  14613 Allen rd
                  Southgate, MI 48195


                  Gabriel Hernandez
                  1007 Copeland St
                  Lufkin, TX 75904


                  Gabriel Keita
                  99 Peaceful Valley Road
                  Scott Township, PA 18411


                  Gabriel Kinsey
                  23884 14 Mile Road
                  Le Roy, MI 49655


                  Gabriel Martinez
                  87 Chariton Drive
                  East Stroudsburg, PA 18301


                  Gabriel Milam
                  4740 Home Road
                  Powell, OH 43065


                  Gabriel Ugwu
                  19125 Red Oak Lane
                  Brownstown, MI 48193


                  Gabriela Flores
                  112 East Cedar Street
                  Shelbyville, TN 37160


                  Gabriella Kaecher
                  451 30th Street
                  McKeesport, PA 15132


                  Gabrielle Hlasnick
                  195 Bost Drive
                  West Mifflin, PA 15122


                  Gabrielle LaCombe
                  13338 Castle Street
                  Southgate, MI 48195
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                  Gabrielle Moore
                  6 Paddle Court
                  Portsmouth, VA 23703


                  Gabrielle Williams
                  1 Trotwood drive
                  Poquoson, VA 23662


                  Gagan Baidwan
                  215 Rockywalk Ct
                  Durham, NC 27713


                  Gagandeep Toor
                  15250 Dawn Run Drive
                  Fishers, IN 46040


                  Gage Crane
                  30 North 30th Street
                  Battle Creek, MI 49015


                  Gage Taylor
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                  Chesapeake, VA 23324


                  Gail Amend
                  19875 N 200th St
                  Oblong, IL 62449


                  Gail Anderson
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                  Franklin,, NC 28734


                  Gail Armstrong
                  16913 Penny Avenue Northeast
                  Sand Lake, MI 49343


                  Gail Bagale
                  6482 138th Ave
                  Holland, MI 49423


                  Gail Bowman
                  15847 Brandt Street
                  Romulus, MI 48174
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                  Gail Burnett
                  10 Garden Way
                  Johnson City, TN 37604


                  Gail Davison
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                  Erwin, NC 28339


                  Gail Dawson
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                  Huddleston, VA 24104


                  Gail Digiovine
                  11251 Villa Grande Drive
                  North Royalton, OH 44133


                  Gail Fetsch
                  9544 Corregidor Drive
                  St. Louis, MO 63134


                  Gail Harmon
                  638 Central Street
                  Hudson, NC 28638


                  Gail Jacobs
                  5095 Pee Dee Lane
                  Murrells Inlet, SC 29576


                  Gail Karr
                  1871 Jefferson Avenue
                  Memphis, TN 38104


                  Gail Kincaid
                  7000 N. Stoney Creek
                  Monroe, MI 48162


                  Gail Locke
                  9750 n wise rd
                  clare, MI 48617


                  Gail Marie
                  400 jessie lane
                  milton, WV 25541
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                  Gail Minnick
                  5940 n blossom dr
                  Scipio, IN 47273


                  Gail Newcomb
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                  Battle Creek, MI 49015


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                  Huddleston, VA 24104


                  Gail Shoemaker
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                  Murrysville, PA 15668


                  Gail Shoffner
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                  Gail Stone
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                  Henderson, TN 38340


                  Gail Weissert-Sheneman
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                  Stanton, MI 48888


                  Gail williams
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                  durham, NC 27707


                  Gail Wills
                  4217 Wayne Rd
                  Greensboro,, NC 27407


                  Gail Young
                  601 N Biggs St
                  Williamston, NC 27892


                  Gaines Linda
                  757 Ranch Way
                  Sevierville, TN 37862
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                  Gal Szkolnik
                  1708 Hemby Ridge ln
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                  Gale Fellenger
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                  Girard, OH 44420


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                  1214 Chowan Ave
                  Durham, NC 27713


                  Gale Redman
                  15917 Norman rd
                  Yale, MI 48097


                  Gale Smay
                  24539 Joe Knight Road
                  Dow, IL 62022


                  Galen Mowery
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                  Pittsfield, PA 16340


                  Galen Sedo
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                  Wise, VA 24293


                  Galene Eastridge
                  988 Wooleyville Rd
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                  Gamal Elmobasher
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                  Gamal Haidara
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                  Oak Park, MI 48237
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  garbens zamor
                  152 Carter Circle
                  Warner Robins, GA 31093


                  Gardner Watkins
                  2854 Quailview Lane
                  Hilliard, OH 43026


                  Gareth Williams
                  901 S Main St
                  Belmont, NC 28012


                  Garfield McClure
                  325 W Corbin St
                  Hillsborough, NC 27278


                  Garland Carr
                  1674 Broken Island Road
                  Palmyra, VA 22963


                  Garland Shank
                  334 Hunting Ridge Road
                  Winchester, VA 22603


                  Garret Hawkey
                  14402 Devereaux Rd
                  Albion, MI 49224


                  Garretha Atkinson
                  4012 Elmswell Dr
                  Richmond, VA 23223


                  Garrett Brisbin
                  335 Joseph Street
                  Barberton, OH 44203


                  Garrett Burnett
                  2211 West State Rd 2
                  La Porte, IN 46350


                  Garrett Ingram
                  1375 John Everall Road
                  Lancaster, SC 29720
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                  Garrett McIntyre
                  30 Squires Court
                  Canfield, OH 44406


                  Garrett Mees
                  3715 Risch Avenue
                  St. Louis, MO 63125


                  Garrett Milkulka
                  320 South Sale Street
                  Ellettsville, IN 47429


                  Garrett Schwartz
                  5169 Niagara St
                  Wayne, MI 48184


                  Garrett Weaver
                  528 South Saint Charles Avenue
                  Joplin, MO 64801


                  Garrick Opie
                  180 N Nanagosa Trail
                  Suttons Bay, MI 49682


                  Garron Rorick
                  11865 S Adrian Hwy
                  Jasper, MI 49248


                  Garry Bauer
                  12777 Hopewell Rd
                  Silver Point, TN 38582


                  Garry Foster
                  657 Purley Church Rd
                  Yanceyville, NC 27379


                  Garry Galster
                  175 State Highway AB
                  Saint Clair, MO 63077


                  Garry Hardman
                  235 Paso Lane
                  Mocksville, NC 27028
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                  Garry Muma
                  5957 North 37th Street
                  Richland, MI 49083


                  Garry Newman
                  337 Truslow Rd
                  Fredericksburg, VA 22405


                  Garry Patrick
                  1727 Haynor Rd
                  Ionia,, MI 48846


                  Garry Perry
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                  White Sulphur Springs, WV 24986


                  Garry Ritchie
                  370 Arandale Street
                  Bedford, PA 15522


                  Garvin Sanders
                  7721 Brookbury Cove
                  Memphis, TN 38125


                  Gary and Shelly Mousseau
                  3291 Bent Creek Road
                  Russellville, TN 37860


                  Gary Arington
                  147 lazybrook lane 27030
                  mt airy, NC 27030


                  Gary Aris
                  2129 West Frances Road
                  Mount Morris, MI 48458


                  Gary Ashby
                  4217 Cherry Ridge Road
                  Oak Hill, OH 45656


                  Gary Baker
                  9678 West 900 North
                  Commiskey, IN 47227
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Baker
                  13621 Altenbrent Rd
                  Manchester, MI 48158


                  Gary Ban
                  113 White Sands Dr
                  Cary, NC 27513


                  Gary Barnard
                  416 West Jefferson Street
                  Arcola, IL 61910


                  Gary Barrett
                  3633 Noland Drive
                  Tecumseh, MI 49286


                  Gary Bays
                  5225 North Tritt Place
                  West Terre Haute, IN 47885


                  Gary Bell
                  221 Windy Ln
                  Lebanon, KY 40033


                  Gary Biggers
                  1464 county rd 261
                  Auxvasse, MO 65231


                  GARY BISHER
                  700 16th St
                  Saxton, PA 16678


                  Gary Bradford
                  4676 Mccorkle Lane
                  Sherrills Ford, NC 28673


                  Gary Breneman
                  4628 Hayes St Wayne, MI 48184
                  Wayne, MI 48184


                  Gary Brookhart
                  4805 Carlton Crossing Dr
                  Durham, NC 27713
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Brown
                  10975 Irish Road
                  Vermontville, MI 49096


                  Gary Buchanich
                  10175 Shaner Avenue Northeast
                  Rockford, MI 49341


                  Gary Burnett
                  174 Broad Hollow Road
                  Floyd, VA 24091


                  Gary Butler
                  529 Arrowhead Drive
                  Sparta, TN 38583


                  Gary Byrd
                  428 North Honeytown Road
                  Wooster, OH 44691


                  Gary Carter
                  3376 heath drive
                  Hayes, VA 23072


                  Gary Cauthen
                  1800 Mary St
                  sandston, VA 23150


                  Gary Chambers
                  14919 Armitage Lane
                  Sugar Land, TX 77498


                  Gary Cheal
                  2133 Riverdale rd se
                  Roanoke, VA 24014


                  Gary Chvatal
                  125 Elk Stone Trail
                  Garner, NC 27529


                  Gary Coe
                  2917 Northlawn Avenue
                  Ypsilanti, MI 48197
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Cohen
                  1980 Berkeley Rd
                  Highland Park, IL 60035


                  Gary Cooke
                  1022 Cedar Creek Road
                  Adairsville, GA 30103


                  GARY COOPER
                  5088 Merritt Rd
                  Ypsilanti, MI 48197


                  Gary Cordell
                  395 Meadow Dr
                  Ellijay, GA 30540


                  Gary Dail
                  4099 Goldsboro Rd
                  Wade, NC 28395


                  Gary Daniels
                  916 Applewood Dr
                  Cedar Hill, TX 75104


                  Gary Davis
                  2844 Jim Owens Rd NW
                  Kennesaw, GA 30152


                  Gary Dean
                  1578 Glen Armand Avenue
                  Cincinnati, OH 45223


                  Gary Denno
                  9559 Breuer Drive
                  Affton, MO 63123


                  Gary Draper
                  1004 Rockwood Park Road
                  Bassett, VA 24055


                  Gary Easlick
                  6040 Old State Rd
                  North Branch, MI 48461
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Elliott
                  822 Johnson Lake Rd SE
                  Adairsville, GA 30103


                  Gary Ertman
                  5045 N Unionville Rd
                  Unionville, MI 48767


                  Gary Estel
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                  Adrian, MI 49221


                  Gary Evans
                  11353 Pleasant Shore Dr
                  Manchester, MI 48158


                  Gary Ewing
                  3342 E Union Rd
                  Dorset, OH 44032


                  Gary Fernandes
                  311 Lowry Rd
                  Erie, PA 16511


                  Gary Fields
                  1356 West Riverside Drive
                  Ionia, MI 48846


                  Gary Flandro
                  177 Turkey Creek Boat Dock Rd
                  Tullahoma, TN 37388


                  Gary Flora
                  671 62nd Street
                  Pullman, MI 49450


                  Gary Fotch
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                  Port Clinton, OH 43452


                  Gary Frierson
                  461 Boston St
                  Ypsilanti, MI 48197
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Fritz
                  5534 Fieldmiller Drive
                  Cochranton, PA 16314


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                  Warren, OH 44481


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                  Vale, NC 28168


                  Gary Gaskin
                  19511 Prest Street
                  Detroit, MI 48235


                  Gary Genasevich
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                  Sugarloaf, PA 18249


                  Gary Gloss
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                  Gary Gordon
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                  3142 Winter St
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Griggs
                  609 South 18th Street
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                  Willowick,, OH 44095


                  Gary Guebert
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                  Maryland Heights, MO 63043


                  Gary Harris Jr
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                  Tonganoxie, KS 66086


                  Gary Hatmaker
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                  Gary Hawthorne
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                  Palmyra, VA 22963


                  Gary Hemminger
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                  Barberton, OH 44203


                  Gary Hicks
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                  Gary Higginbotham
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                  Gary Hisler
                  22641 27 1/2 Mile Road
                  Springport, MI 49284
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Gary Hooper
                  9090 Stub road
                  Orwell, OH 44076


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                  Asheboro, NC 27205


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                  polk township, PA 18058


                  Gary Infinger
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                  Gary Jackson
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                  Taylor, MI 48180


                  Gary Jaminson
                  1230 Emerald Road
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                  Gary Johanns
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                  Grass Lake, MI 49240


                  Gary Johnson
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                  Gary Jones
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                  Gary Jourdan
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                  Gary Kachenko
                  5917 Lily Patch Street
                  Berlin, MI 48166
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  11430 Mount Olive Rd
                  Shoals, IN 47581


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                  Gary Klose
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                  Gary Kuhse
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                  Gary League
                  559 Blueberry Way
                  Newport, TN 37821
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                  308 Crowley Road
                  Columbus, OH 43207


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                  New Oxford, PA 17350


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                  Niles, MI 49120


                  Gary Machul
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                  Gary Majer
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                  Providence Forge, VA 23140


                  Gary Majka
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                  Gary Martin
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                  Gary Massey
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                  Holly Hill, SC 29059


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                  Scottsburg,, IN 47170


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                  Gary Mittelman
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                  Gary Rauch
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                  Gary Sabin
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                  Gary Schneider
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                  Gary Seelbach
                  3008 Crown Point
                  Springfield, IL 62704


                  Gary Seger
                  4384 North Johnson rd
                  Middleville, MI 49333


                  Gary Siler
                  22784 Watson Road
                  Defiance, OH 43512


                  Gary singleton
                  8980 East Long Lane Drive
                  Knox, IN 46534


                  Gary Skie
                  725 Glenmoor Dr
                  Evansville, IN 47715


                  Gary Smith
                  740 Buss Street
                  St Libory, IL 62282


                  Gary Smith
                  117 Woodland Trail
                  Pineville, KY 40977


                  Gary Smith
                  9411 N McKinley Rd
                  Montrose, MI 48457
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                  Gary Stakes
                  117 Fairway Drive East
                  Morehead City, NC 28557


                  gary stark
                  30036 Carey Road
                  Salem, OH 44460


                  Gary Steele
                  2252 Baker Mill Road
                  Cleveland, NC 27013


                  Gary Stewart
                  641 Old Bushy Branch Road
                  Manchester, TN 37355


                  Gary Sullins
                  3624 Bayedge Lane
                  Saint James, NC 28461


                  Gary Sullivan
                  3777 Ellison Road
                  Standish, MI 48749


                  Gary Sutton
                  7101 Coffron Road
                  North Branch, MI 48461


                  Gary Swink
                  1195 Stillhouse Dr
                  Lexington, VA 24450


                  Gary Tas
                  27503 Middlesprings Ln
                  Katy, TX 77494


                  Gary Taylor
                  1325 West 6th Street
                  Rochester, IN 46975


                  Gary Todd
                  48216 Taylor Road
                  Rogers, OH 44455
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                  Gary Travinski
                  333 Highlark Dr
                  Larksville, PA 18704


                  Gary Trout
                  2143 Amadeus Drive
                  Clarksville, TN 37040


                  Gary Turner
                  152 Township Rd 1168
                  Proctorville, OH 45669


                  Gary Voiles
                  2630 Garland
                  Sylvan Lake, MI 48320


                  Gary Wade
                  1217 Island Ave
                  Pittsburgh, PA 15212


                  Gary Walsh
                  907 Freeport Road
                  Natrona Heights, PA 15065


                  Gary Washington
                  78 Post Oak Circle
                  Crawford, GA 30630


                  Gary Watson
                  8275 Springfield Jamestown Road
                  Springfield, OH 45502


                  Gary Wcislo
                  4700 Chester Harris Road
                  Woodlawn, TN 37191


                  Gary Weekes
                  14 Sheely Rd
                  Frankfort, OH 45628


                  Gary Wheeler
                  423 South 8th Street
                  West Terre Haute, IN 47885
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                  Gary Wheeler
                  2057 W Clark Road
                  Dewitt, MI 48820


                  Gary Whelpley
                  212 Stoner Rd
                  Lansing, MI 48917


                  Gary Wilcox
                  138 Westwind Drive
                  Hays, NC 28635


                  Gary Wilder
                  2906 Bartle Knob Road
                  Borden, IN 47106


                  Gary Williams
                  920 Saint Clair Avenue
                  Collinsville, IL 62234


                  Gary Willis
                  14390 Kane Road
                  Plainwell, MI 49080


                  Gary Zimmerman
                  3143 Gordon Creek Drive
                  Hicksville, OH 43526


                  Gaspar Vizcarra
                  268 West 16th Street
                  Holland, MI 49423


                  Gaudencio Ibanez
                  28 Katy Circle
                  Beaufort, SC 29907


                  GaugeMedia LLC
                  20230 Sportsman Drive
                  Cornelius, NC 28031


                  Gaurav Patel
                  60 Rolling Links Boulevard
                  Oak Ridge, TN 37830
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                  Gautam Bhatia
                  217 Chapman Road
                  Greenville, SC 29605


                  Gautam Paul
                  4556 Rachel Ln
                  St Joseph, MI 49085


                  Gavin Carr
                  220 22 1/2 Mile Road
                  Homer, MI 49245


                  Gavin Mitchell
                  428 Marstonmoor Road
                  Davis, IL 61019


                  Gavin Paiz
                  244 Majestic St SE
                  Kentwood, MI 49548


                  Gay Easterling
                  6991 Breckenwood Dr
                  Dayton, OH 45424


                  Gay Morton
                  2089 Wallace Dairy Road
                  Hickory, NC 28602


                  Gay Sanders
                  4507 Gray Stone Way
                  Jeffersonville, IN 47130


                  Gay Schulenburg
                  13283 Sunset Drive
                  Dillsboro, IN 47018


                  Gayatri Subedi
                  385 Carmen Drive
                  Pittsburgh, PA 15236


                  Gaye Rogowski-haney
                  26600 Yearsley Road
                  Raymond, OH 43067
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                  Gayle Clausen
                  4993 E Bicycle Bridge Rd
                  Battle Ground, IN 47920


                  Gayle Glownia
                  6615 Harwood Road
                  Ionia, MI 48846


                  Gayle Gremillion
                  59 32 Pleasant Farm Terrace
                  Bufort, SC 29906


                  Gayle Heon
                  1852 North Co Road 300 East
                  Milan, IN 47031


                  Gayle Kanz
                  3835 OH-546
                  Mansfield, OH 44904


                  Gayle Somerville Gilchrist
                  8100 Forest Park Dr
                  Clare, MI 48617


                  Gaylen Yoder
                  8668 Dover Rd
                  Apple Creek,, OH 44606


                  Gayre Kelley
                  200 Hilltop Drive
                  Huddleston, VA 24104


                  Gehard Torkelson
                  2962 Bath Road
                  Morrice, MI 48857


                  Gena Carroll
                  193 Lovebridge Drive Southeast
                  Calhoun, GA 30701


                  Genaro Arroyo
                  19 North Hickory Street
                  Joliet, IL 60435
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                  Gene Airhart
                  964 Kendrick Ford Road
                  Front Royal, VA 22630


                  Gene Amick
                  5116 East Boulevard Northwest
                  Canton, OH 44718


                  Gene Arlook
                  150 Mill Lane
                  Troy, VA 22974


                  Gene Bayles
                  542 South Bluegrass Drive
                  Bonner Springs, KS 66012


                  Gene Beale
                  8900 Clovis Street
                  Richmond, VA 23237


                  Gene Begeman
                  30494 Olmstead Road
                  Flat Rock, MI 48134


                  Gene Carroll
                  7665 Cameo Ln
                  Clarkston, MI 48348


                  Gene Carson
                  9425 Lincoln Rd
                  Harbor Beach, MI 48441


                  Gene Cornier
                  195 Flatbrook Way
                  Milford, PA 18337


                  Gene Durange
                  218 Oak St,
                  Jim Thorpe, PA 18229


                  Gene Etchison
                  162 Graves Rd
                  Fayetteville, GA 30214
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                  Gene Farroux
                  831 Willow Crossing
                  New Braunfels, TX 78130


                  Gene Godwin
                  1400 Briarcliff Road
                  Shelby, NC 28152


                  Gene Gray
                  852 Augusta Farms Rd
                  Waynesboro, VA 22980


                  Gene Helser
                  11826 South Wolf Creek Pike
                  Brookville, OH 45309


                  Gene Hurley
                  3111 Platt Pl N
                  Ypsilanti, MI 48197


                  Gene Kirk
                  171 Old Gregory Ln.
                  Lancaster, SC 29720


                  Gene Norman
                  5561 Ohio 19
                  Bloomville, OH 44818


                  Gene Olwin
                  10512 OH-49
                  Payne, OH 45880


                  Gene Peters
                  612 U.S. 70
                  Morganton, NC 28655


                  Gene Polley
                  6078 Lumberjack Road
                  Riverdale, MI 48877


                  Gene Reinhardt
                  188 Thomas Place
                  West End, NC 27376
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                  Gene Scharf
                  730 Hog Pen Branch Rd
                  Mooresboro, NC 28114


                  Gene Simmons
                  1371 Goldmill Way
                  Columbus, OH 43204


                  Gene Smith
                  5256 Doswell Street
                  Norfolk, VA 23502


                  Gene Snead
                  153 Cedar Bluff Drive
                  Winchester, TN 37398


                  Generac Power Systems, Inc
                  S45 W29290 Hwy 59
                  Waukesha, WI 53189


                  Geneva Holder
                  237 Sterling Rd
                  Hendersonville, TN 37075


                  genevieve copeland
                  2636 us 64 hwy
                  apex, NC 27523


                  Genevieve Turenne
                  1617 Colchester Drive
                  Lancaster, PA 17603


                  Genovia Ridgway
                  69 Bladen St
                  Spring Lake, NC 28390


                  Gentry Rice
                  2387 Hopkins Road
                  Talbott, TN 37877


                  Geoff Edwards
                  127 Shiloh Ridge
                  Hendersonville, TN 37075
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                  Geoff Epperson
                  14923 Hale Drive
                  Orland Park, IL 60462


                  Geoff Peart
                  396 Woodlake dr
                  Brighton, MI 48116


                  Geoffrey A Pfister Sr
                  369 Tennessee 394
                  Blountville, TN 37617


                  Geoffrey Bricker
                  2122 East Lon Street
                  Springfield, MO 65803


                  Geoffrey Darling
                  12451 Chestnut St NW
                  Canal Fulton, OH 44614


                  Geoffrey Lee
                  8804 Alden Road
                  Wonder Lake, IL 60097


                  Geoffrey Noblitt
                  13 Enka Oak Street
                  Candler, NC 28715


                  Geoffrey Preece
                  15711 Ohio 7
                  Crown City, OH 45623


                  Geoffrey Tart
                  3131 Mt Moriah Church Rd
                  Clinton, NC 28328


                  Geoffri Ricci
                  904 Amber Acres Ln
                  Knightdale, NC 27545


                  Georganne Persinger
                  4421 Cardan Lane
                  Centerburg, OH 43011
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                  George Adams
                  124 Sycamore Ct
                  Benson, NC 27504


                  George Anderson
                  317 Wallace Ave
                  Linesville, PA 16424


                  George Arbogast
                  521 Memory Ln
                  Stuart, VA 24171


                  George Baker
                  5564 Marjorie Court
                  Camby, IN 46113


                  George Balcewicz
                  1003 Winifred Dr
                  Holly, MI 48442


                  George Baliko
                  4595 Pine Way Dr
                  Fenton,, MI 48430


                  George Bauer
                  2205 Delange Dr SE
                  Grand Rapids,, MI 49506


                  George Belleu
                  4699 E Evans Ave
                  Terre Haute, IN 47805


                  George Bennett
                  514 Boxwood Court
                  Suffolk, VA 23434


                  George Bergman
                  648 Dickerson Road
                  Willis, VA 24380


                  George Berry
                  1383 Northcrest Road
                  Lansing, MI 48906
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  George Bibbings
                  8655 Windsor Hwy
                  Windsor charter Township, MI 48821


                  George Blankenship
                  1426 16th Avenue Northeast
                  Hickory, NC 28601


                  George Blocher
                  1301 Skylark Drive
                  Virginia Beach, VA 23453


                  George Blocher2
                  1301 Skylark Drive
                  Virginia Beach, VA 23453


                  George Bohman
                  1310 W Mefford St
                  Robinson, IL 62454


                  George Bowman
                  1765 Ditty Rd
                  Smiths Creek, MI 48074


                  George Branstutter
                  128 Commerce Drive
                  Berea, KY 40403


                  George Bridge
                  11307 Hillview Dr
                  Bridge, MI 49233


                  George Brown
                  8129 Mount Harmony Rd
                  Connelly Springs, NC 28612


                  George Bruce
                  5806 Madison Ave
                  Cleveland, OH 44102


                  George Brunson
                  333 Stonewood Crossing Dr
                  Boiling Springs, SC 29316
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  George Callender
                  420 S Irving Ave
                  Scranton, PA 18505


                  George Carranza
                  565 Park Drive
                  Saint Clair, MO 63077


                  George Clark
                  8212 Rocky Branch Ln
                  Richmond, VA 23228


                  George Colley
                  2056 Beautiful Run Rd
                  Aroda, VA 22709


                  George Correa
                  1032 Lake Ariel Highway
                  Lake Ariel, PA 18436


                  George Crain
                  909 Maplewood Ave
                  Ambridge, PA 15003


                  George Davies
                  5289 Ohio 345
                  New Lexington, OH 43764


                  George Davis
                  1129 Sanford Rd
                  Pittsboro, NC 27312


                  George Dear
                  34602 Chope Pl
                  Clinton Township, MI 48035


                  george dzierbicki
                  956 Burns Rd
                  Smiths Creek, MI 48074


                  George Edenfield
                  1569 South Bloomington Street
                  Greencastle, IN 46135
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                  George Eilts
                  1304 County Road 1900 North
                  Fowler, IL 62338


                  George Estevez
                  30 Lenape Trail
                  Mount Bethel, PA 18343


                  George Fisher
                  1712 South Carolina 357
                  Lyman, SC 29365


                  George Fisher
                  819 Cartersneck Rd
                  Williamburg, VA 23188


                  George Foster
                  154 Windy Ln
                  Corsica, PA 15829


                  George Gibson
                  444 Elora Road
                  Elora, TN 37328


                  George Gregory
                  42 Blackburn Street Southwest
                  Grand Rapids, MI 49507


                  George Griffiths
                  722 Ellette Drive
                  Charleston, WV 25311


                  George Gschwind
                  30 E Highpoint Dr
                  Lehighton, PA 18235


                  George Guillen
                  218 Williamsburg Court
                  Romeoville, IL 60446


                  George Gunderson
                  10591 Farm Lane
                  Carthage, MO 64836
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                  George Hardiman
                  248 Harwood Court
                  Delaware, OH 43015


                  George Harlan
                  237 Eatmon Rd
                  Zebulon, NC 27597


                  George Harmon
                  324 Westwood Trail
                  Foristell, MO 63348


                  George Harris
                  329 Bertwick Ln
                  Chesapeake, VA 23325


                  George Hartz
                  11950 Southbay Road
                  Fredericktown, OH 43019


                  George Hefley
                  909 Toledo Street
                  Fremont, IN 46737


                  George Hensley
                  509 North Lemen Street
                  Fenton, MI 48430


                  George Hobart
                  304 Upper Pheasant Court
                  BALL GROUND, GA 30107


                  George Holtzapfel
                  1815 Carl Dr
                  Ironton, OH 45638


                  george hubbard
                  549 Riverwalk Drive
                  Mason, MI 48854


                  George Humphrey
                  5824 Quail Run Drive
                  Grove City, OH 43123
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  George Hutchinson
                  324 Northwood Drive
                  Elkin, NC 28621


                  George Judy
                  702 Autumn Rise Lane
                  Columbia, IL 62236


                  George Kent
                  110 Shore Drive
                  Jarvisburg, NC 27947


                  George Kite
                  9888 E Richview Rd
                  Mount Vernon, IL 62864


                  George Koloski
                  2044 Metcalf Creek Loop
                  Mars Hill, NC 28754


                  George Koz
                  270 Wilpen Road
                  Ligonier, PA 15658


                  George Kresslein
                  5155 Piedmont Pl
                  Annandale, VA 22003


                  George Kruth
                  640 Stoneridge Dr
                  Allison Park, PA 15101


                  George Kwascha
                  2033 Allen Jarrett Drive
                  Mebane, NC 27302


                  George lada
                  9300 Head O Lake Road
                  Ottawa Lake, MI 49267


                  George Langley
                  2109 Rock Mill Road
                  Henderson, NC 27537
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                  George LeCompte
                  307 Charlotte Avenue
                  Carolina Beach, NC 28428


                  George Lett
                  8101 Wellsbrook Drive
                  Indianapolis, IN 46278


                  George Lewis
                  621 Floral Valley West
                  Howard, OH 43028


                  George Madaski
                  2780 Reinhardt Rd
                  Monroe, MI 48162


                  George Madison
                  11747 Monsbrook Ct
                  Sterling Heights, MI 48312


                  George Mairs
                  137 Bellaire Drive
                  Madison, IN 47250


                  George Martinez
                  2431 County Rd 769C
                  Brazoria, TX 77422


                  George McCormick
                  335 winton rd
                  Amherst, VA 24521


                  George Mcdonald
                  2419 Village Hwy
                  Rustburg, VA 24588


                  George MCELROY
                  23 Wilson Park Drive
                  Granite City, IL 62040


                  George Melvin
                  3259 Short Street
                  Ashland, KY 41101
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                  George Miller
                  329 Roscommon Drive
                  Bristol, TN 37620


                  George Moore
                  7021 Mulberry Street
                  Cincinnati, OH 45239


                  George Morse
                  10635 Kingsbury Rd
                  Delton, MI 49046


                  George Mueller
                  1041 Parkway St
                  Muskegon, MI 49442


                  George Mullen
                  578 Superior St 2
                  Wabash, IN 46992


                  George Nagy
                  16381 Van Tassel Road
                  Weston, OH 43569


                  George Owens
                  3325 West Lewis Road
                  Hampton, VA 23666


                  George Paustian
                  5108 Union Rd
                  Eau Claire,, MI 49111


                  George Peacock
                  15399 Main Rd
                  Defiance, OH 43512


                  George Peterson
                  106 Mcburney Rd
                  Canonsburg, PA 15317


                  george Podotas
                  610 Lenox Ave
                  Reading, PA 19606
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                  George Puerschner
                  106 Speight Street
                  Havelock, NC 28532


                  George Raimer
                  2944 Pinckney Rd
                  Saranac, MI 48881


                  George Ramsey
                  430 Eden Drive
                  Monroeville, PA 15146


                  George Ramsey Jr
                  525 Green Haven Court
                  Pittsburgh, PA 15239


                  George rathke
                  513 Star Cluster Dr,
                  Clover, SC 29710


                  George Reath
                  4125 Carlisle Road
                  Gardners, PA 17324


                  GEORGE REDFORD IV
                  5905 Carrington Green Court
                  Glen Allen, VA 23060


                  George Richardson
                  1877 Eunice Ct
                  Virginia Beach, VA 23454


                  George Ritchie
                  8655 B Drive North
                  Battle Creek, MI 49014


                  George Robertson
                  3720 Belotes Ferry Road
                  Lebanon, TN 37087


                  George Roederer
                  3807 Scenic Trail
                  Hebron Estates, KY 40165
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                  George Russell
                  57 Maple Ridge Dr
                  Old Fort, NC 28762


                  George Sargent
                  2323 Cedar Valley Court
                  Lawrenceville, GA 30043


                  George Schmitt
                  622 Simon Drive
                  East Peoria, IL 61611


                  George Schwartz
                  1740 Myron Avenue
                  Lincoln Park, MI 48146


                  George Shouse
                  395 Cool Springs Rd
                  Winston-Salem, NC 27107


                  George Silvis
                  210 Drozdo Lane
                  Seneca, PA 16346


                  George Smailes
                  293 Township Rd 1302
                  Chesapeake, OH 45619


                  George Smith
                  11075 10 Mile Road Northeast
                  Rockford, MI 49341


                  George Smith
                  1840 Northwest 2 Street
                  Blue Springs, MO 64014


                  George Smith
                  1149 Ronald Tharrington Rd
                  Louisburg, NC 27549


                  George Smith
                  309 Scenery Dr
                  Elizabeth, PA 15037
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  George Snyder
                  1015 Wythe Ct
                  Fredericksburg, VA 22405


                  George Spracklen
                  348 Meadow Grove Court
                  St. Peters, MO 63304


                  George Stacey
                  3463 Worthington Rd SW
                  Washington Court House, OH 43160


                  George Stalvey
                  712 34th Avenue South
                  North Myrtle Beach, SC 29582


                  George Stanley
                  117 Smithtown Rd
                  Ashland, VA 23005


                  George Stewart
                  502 Annetta Ave
                  Hoyt, KS 66440


                  George Stewart
                  16885 Carlisle St
                  Detroit, MI 48205


                  George Straughn
                  241 Cub Creek Road
                  Indian Mound, TN 37079


                  George Stuart
                  16120 Oxbow Drive
                  Kearney, MO 64060


                  George Thomas
                  201 Pine St
                  Garysburg, NC 27831


                  George Tincher
                  148 Hogue Creek Ln
                  Winchester,, VA 22603
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                  George Turner
                  227 E 13th St
                  Richmond, VA 23224


                  George Uhls
                  4980 Blackfoot Crescent
                  Virginia Beach, VA 23462


                  George Valdivia
                  1282 Barkman Ridge Road
                  Clearville, PA 15535


                  George Wallace
                  10234 Struthers Road
                  New Middletown, OH 44442


                  George West
                  4249 Ohio 559
                  North Lewisburg, OH 43060


                  George Williams
                  1171 W. Co. Rd. 125 S.
                  Greencastle, IN 46135


                  George Wilson
                  3315 Irwin Bridge Road Northwest
                  Conyers, GA 30012


                  George Wilson
                  5500 South Co Road 575 East
                  Selma, IN 47383


                  George Wilson
                  2066 S Nopone Valley Rd
                  Decatur, TN 37322


                  George Winters
                  323 Ohio Street
                  Belle Vernon, PA 15012


                  George Young
                  902 Young Street
                  Piqua, OH 45356
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  George Zerphey
                  11042 Saint Just Road
                  Unionville, VA 22567


                  Georgeand Amy Gardner
                  12301 Arlington Road
                  Berlin Heights, OH 44814


                  Georgetown Village Income Tax
                  P.O. Box 116
                  Georgetown, OH 45121-0116


                  Georgette Britton
                  65 Big Sky Court
                  Bentonville, VA 22610


                  Georgi Tomisato
                  624 Moffet Branch Road
                  Churchill, VA 24421


                  Georgia Bowen
                  6080 West Broadway
                  Lake City, MI 49651


                  Georgia Department of Revenue
                  PO Box 740315
                  Atlanta, GA 30374-0315


                  Georgia Depriest
                  2616 Bayberry Court
                  Brooklyn, MI 49230


                  Georgia Harris
                  3788 Poole Rd
                  Kinston, NC 28504


                  Georgia Roach
                  7505 East Jackson Street
                  Muncie, IN 47302


                  Georgia Savokinas
                  7 poole st
                  pittston, PA 18640
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                  Georgia Smith
                  621 Jennings Pond Road
                  Lebanon, TN 37090


                  Georgia Stapf
                  310 River Country Rd
                  Salisbury, NC 28146


                  Georgia Wiles
                  1265 Shawnee Road
                  Ringgold, VA 24586


                  Georgiann Mathews
                  224 Highland Dr
                  Butler, OH 44822


                  Georgianna Nienaber
                  5 Edam Ct
                  Liberty Township, OH 45044


                  georgina kirtley
                  814 N MAIN AVE
                  SIDNEY, OH 45365


                  Georgina Stratton
                  210 Heffner Road
                  Limerick, PA 19468


                  Geral Robinson
                  227 Cecil Dr
                  Winston-Salem, NC 27105


                  Gerald "Jerry" Senchak II
                  396 3rd St.
                  West Pittsburg, PA 16160


                  Gerald (Jerry) Clapper
                  8190 Kendall Road
                  Columbus, MI 48063


                  Gerald Adkins
                  11235 E Devere Ln
                  Astoria, IL 61501
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                  Gerald Allard
                  1939 S Main St
                  Fairgrove, MI 48733


                  Gerald Arndt
                  439 Ray May Dr
                  Joliet, IL 60433


                  Gerald Barnes
                  7101 Old Union Road
                  Charles City, VA 23030


                  Gerald Becker
                  1845 Hanfield St
                  Cincinnati, OH 45223


                  Gerald Benson
                  25335 Oak Dr
                  Cochranton, PA 16314


                  Gerald Blasiman
                  12701 West Middletown Road
                  Salem, OH 44460


                  Gerald Boykin
                  1920 Irwin St
                  Aliquippa, PA 15001


                  Gerald Brandell
                  1307 Berrywood Pl.
                  Lansing, MI 48917


                  GERALD BROWN
                  54760 Marys Lane
                  Jacobsburg, OH 43933


                  Gerald Buck
                  6100 Tubspring Road
                  Almont, MI 48003


                  gerald butters
                  200 Watson View Dr
                  Franklin, TN 37067
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                  Gerald Daniels
                  448 Cox Lane
                  Bethel Springs, TN 38315


                  Gerald Davis
                  8318 E Richfield Rd
                  Davison, MI 48423


                  Gerald Dunlap
                  4396 Edgarton Drive
                  Grove City, OH 43123


                  Gerald E. Lusch
                  42122 Kyle Drive
                  Clinton Township, MI 48038


                  Gerald Earney
                  1180 Royal Oak Rd NW
                  Supply, NC 28462


                  Gerald Gatrell
                  5210 Sour Run Rd
                  Wellston, OH 45692


                  Gerald Gauss
                  41100 Willis Road
                  Belleville, MI 48111


                  Gerald Goodreau
                  111 Clinton Street
                  Jersey Shore, PA 17740


                  Gerald Gould
                  54 Cassie Court
                  Dallas, GA 30157


                  Gerald Hendricks
                  3186 Hardie Street
                  Creedmoor, NC 27522


                  Gerald Hess
                  57 Brown Branch Road
                  Farmville, VA 23901
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                  Gerald Horval
                  8440 Williams Road
                  Chardon, OH 44024


                  Gerald Huff
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                  Croswell, MI 48422


                  Gerald Johnson
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                  Grand Rapids, MI 49507


                  Gerald Kelly
                  23491 Geneva Street
                  Oak Park, MI 48237


                  Gerald Lamb
                  48274 Menter Street
                  New Baltimore, MI 48047


                  Gerald Landenberger
                  3822 Chappel Dam Road
                  Gladwin, MI 48624


                  Gerald Lang
                  4900 Balsom Rd
                  Pfafftown, NC 27040


                  Gerald Lawrence
                  156 Wendy Ln
                  Angier,, NC 27501


                  Gerald Lewis
                  35 Schley Ave.
                  Pittsburgh, PA 15205


                  Gerald lockett
                  5681 Homestead Road
                  Riner, VA 24149


                  Gerald Lopata Sr.
                  367 Dewoody RD
                  Polk PA, PA 16342
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                  Gerald Newell
                  368 Shady Lane Rd
                  Dayton, TN 37321


                  Gerald Parkhurst
                  6809A Illinois 71
                  Yorkville, IL 60560


                  Gerald Patillo
                  5871 Whitesville Rd
                  West Point, GA 31833


                  Gerald Patterson
                  410 W Riley Thompson Rd
                  Muskegon, MI 49445


                  Gerald Perkins
                  128 West Market Street
                  Mount Union, PA 17066


                  Gerald Petty
                  904 McAdenville Ave
                  Lowell, NC 28098


                  Gerald Pogue
                  20855 Pickford Street
                  Detroit, MI 48219


                  Gerald Puffer
                  4425 West Van Buren Road
                  Hart, MI 49420


                  Gerald Routen
                  43989 S I 94 service drive
                  Belleville, MI 48111


                  Gerald Shealey
                  1370 Graymont Dr SW
                  Atlanta, GA 30310


                  Gerald Shutt
                  2673 Wildflower Ln
                  Greenwood, IN 46143
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                  Gerald Skees
                  410 N Cascades Cir
                  Canton, GA 30114


                  Gerald Sloan
                  206 Brakewood Rd
                  Manteo, NC 27954


                  Gerald Smals
                  356 Annandale Trce
                  Hampstead, NC 28443


                  Gerald Snyder
                  5160 Vine Street
                  Saint Clair, MI 48079


                  Gerald Sommerfeldt
                  564 McCarter Trail
                  Lexington, SC 29073


                  Gerald Spiller
                  2031 Innes Ave
                  Cincinnati, OH 45224


                  Gerald Swehla
                  1995 Grand Army Rd
                  Labadie, MO 63055


                  Gerald Tomlinson
                  1940 W Havens St.
                  Kokomo, IN 46901


                  Gerald Turner
                  17609 East 36th Street Court South
                  Independence, MO 64055


                  Gerald Ward
                  132 Stone Bridge Ln
                  Statesville, NC 28625


                  Gerald Warren
                  190 Riannon Lane
                  Hendersonville, NC 28791
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                  Gerald Wassermann
                  5080 Riverview Dr
                  Payne, OH 45880


                  Gerald Wilczynski
                  16407 15 Mile Road
                  Clinton Township, MI 48035


                  Gerald Young
                  101 Thirsty Lane
                  Chicora, PA 16025


                  Gerald Zlotucha
                  3801 Mill Pl Dr
                  Glen Allen, VA 23060


                  Geraldine Butler
                  680 Song Bird Road
                  Chesterfield, SC 29709


                  Geraldine Chapman
                  5275 N Weber Road
                  Whitehall, MI 49461


                  Geraldine Jackson
                  61754 County Home Rd
                  Lore City, OH 43755


                  Geraldine Miller
                  908 Dutch Road
                  Suffolk, VA 23437


                  Geraldine Schaefer
                  3373 State Route 156
                  Waterloo, IL 62298


                  Geraldine Vilar
                  113 Lockview Ave
                  Fairmont, WV 26554


                  Geran Young
                  1686 oakwood ave
                  Columbus, OH 43207
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                  Gerard Davis
                  12075 Lippert Rd
                  Concord, MI 49237


                  Gerard Davis
                  917 Bushberry Rd
                  Pelion, SC 29123


                  Gerard Stanlaus Wallace
                  2755 County Road 201
                  Alton, MO 65606


                  Gerardo Aguilera
                  9422 Lee Rd.
                  Bailey, NC 27807


                  Gerardo Madero-Martinez
                  51461 Forster Lane
                  Shelby Township, MI 48316


                  Gerardo Menindez
                  15907 Rosebriar Dr
                  Missouri City, TX 77489


                  Gerardo Mora Gonzalez
                  1050 Warren Court
                  Graham, NC 27253


                  Gerardo Perrusquia
                  1024 Spacious Skies Ln
                  Durham, NC 27703


                  Gerardo Rodriguez
                  271 Falls Creek Dr
                  Spring Lake, NC 28390


                  Gerardo Tellez Cazares
                  16 Bon View Drive
                  Sumter, SC 29150


                  Gerardo velasquez
                  156 DEER TRACK RD
                  Lillington, NC 27546
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                  Gerdaie AustinSaintelus
                  172 Stoney Ledge Dr,
                  Stroudsburg, PA 18360


                  Gerlinde Stevens
                  1609 Browns Ln
                  Hayes, VA 23072


                  Germaine Wallace-Spring
                  3600 Canterbury Dr
                  Baytown, TX 77521


                  German Roman
                  2149 Woodland Road Southeast
                  Roanoke, VA 24014


                  Geroge Ruiz
                  3909 Trickling Brook Drive
                  Henrico, VA 23228


                  Gerome Foucha
                  5400 Weathered Rock Court
                  Knightdale, NC 27545


                  Gerraldine Barber
                  411 Sycamore St
                  Weldon, NC 27890


                  Gerritt Mollohan
                  1543 Fox lake Rd
                  Wooster, OH 44691


                  Gerroll Ward
                  2809 Columbus Ave
                  Anderson, IN 46016


                  Gerry Danielson
                  6659 Fieldstream Drive
                  Avon, IN 46123


                  Gerry Deel
                  189 Stallion Road
                  Inman, SC 29349
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                  Gerry Eberly
                  40 Bears School Ln
                  Carlisle, PA 17015


                  Gerry Houser
                  5905 Ridge Rd
                  Jackson, MI 49201


                  Gerry Lawrence
                  4465 Mount Misery NE
                  Leland, NC 28451


                  Gerry Lawson
                  5371 Skuse Road
                  Osseo, MI 49266


                  Gerry Penn
                  1050 Eastland Ave
                  Akron, OH 44305


                  Gershom Avery
                  9205 Dexter-Chelsea Road
                  Dexter, MI 48130


                  GERSHWIN JONES
                  5162 Beacon Hill Road
                  Columbus, OH 43228


                  Gervase Rhodes
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                  Evansville, IN 47711


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                  10 Hensley Rd
                  Bradford, TN 38316
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                  GHA Technologies, Inc
                  8998 E Raintree Drive
                  Scottsdale, AZ 85260


                  Ghazwan Dikhow
                  43209 Winterfield Dr
                  Sterling Heights, MI 48314


                  Ghislaine Martin
                  6967 Hayes Orangeville Road Northeast
                  Burghill, OH 44404


                  Gibran Cuevas
                  1977 Little Cove Rd
                  Sevierville, TN 37862


                  Gibran Gonzalez
                  3041 Riker Street
                  Clover, SC 29710


                  Giddeon Burnette
                  4206 Old Liberty Pl
                  Greensboro, NC 27406


                  Gigi Mannil
                  10932 Cory St
                  Manvel, TX 77578


                  Gilbert (Scott) Cook
                  1899 U.S. 70
                  Stacy, NC 28581


                  Gilbert Brewer
                  124 State Hwy 705
                  West Liberty, KY 41472


                  Gilbert Cook
                  2686 Swanson Rd
                  Crouse, NC 28033


                  Gilbert Diaz
                  4307 Mersington Avenue
                  Kansas City, MO 64130
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                  Gilbert Foster
                  6506 Welch Lake Rd
                  Grass Lake, MI 49240


                  Gilbert Kail
                  102 Lonnie Holt Road
                  Medina, TN 38355


                  Gilbert Pekar
                  21627 County Road 15
                  Damon, TX 77430


                  Gilbert Perez
                  4032 Cameron Avenue
                  Hammond, IN 46327


                  GILBERT SOUTHALL
                  27 Fort Worth St
                  Hampton, VA 23669


                  Gilbert Williams
                  10245 Bayne Road
                  Nashville, MI 49073


                  Gilberto Ballena
                  6128 Valley View Dr
                  Alexandria, VA 22310


                  Giles Whitlow
                  4269 Triplet Road
                  Lawrenceville, VA 23868


                  Gillian Ice
                  62 S Shannon Ave
                  Athens, OH 45701


                  Gillian Rybak Carrocia
                  4420 Metropolitan Drive
                  Cleveland, OH 44135


                  Gillian White
                  4575 West 196th Street
                  Sheridan, IN 46069
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                  Gin Thang
                  667 Crossings Court
                  Bowling Green, KY 42104


                  Gina Austin
                  10 Suddreth Ln
                  Candler, NC 28715


                  Gina Bishop
                  4901 29th Street
                  Dickinson, TX 77539


                  Gina Geissler
                  9802 Pasturegate Ln
                  Munster, IN 46321


                  Gina Gora
                  3347 Wormer Dr
                  Waterford Township, MI 48329


                  Gina Jacobs
                  1102 Mayo St
                  Portsmouth, OH 45662


                  Gina Johnson
                  4915 Dan Robin Rd,
                  Salem, VA 24153


                  Gina Kelley
                  4040 2700 Road
                  Independence, KS 67301


                  Gina Mistoler
                  4701 Bier St
                  Belleville, IL 62226


                  Gina Perrine
                  1740 Sells Rd
                  Salisbury, NC 28144


                  Gina Pisut
                  1989 Stoney Meadow Drive
                  Murfreesboro, TN 37128
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                  Gina Savisky
                  1428 Sportsmans Court
                  O'Fallon, MO 63366


                  Gina Sensabaugh
                  631 Greene Acres Rd N
                  Stanardsville, VA 22973


                  Gina Thomas
                  227 Oak St
                  Dayton, OH 45410


                  Gina Witherington
                  4026 John Dale Lane
                  Charlotte, NC 28269


                  Ginger Andrus
                  37 Charlotte Street
                  Mulliken, MI 48861


                  Ginger Badgley
                  7755 Camp Grove Rd SE
                  Washington Court House, OH 43160


                  Ginger Bane
                  6330 Jefferson Ave
                  Hammond, IN 46324


                  Ginger Cox
                  113 Bunker Hill Road
                  Greer, SC 29650


                  Ginger Curley
                  11729 Autumn Leaves Lane
                  Knoxville, TN 37934


                  Ginger Detrick Sindledecker
                  33852 Kelly Road
                  Ray, OH 45672


                  Ginger Dupree
                  750 S Wilma St
                  Angier, NC 27501
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                  Ginger Kettleson
                  1361 Axford Place
                  Rochester, MI 48307


                  Ginger Quinn
                  509 Vinton Mill Ct NE
                  Roanoke, VA 24012


                  Ginger Swiderski
                  4655 Yellow Pine Lane
                  Kalamazoo, MI 49004


                  Ginny Slawinski
                  12040 West Sylvania Avenue
                  Berkey, OH 43504


                  Ginny Smyers
                  11208 Putnam Road
                  Englewood, OH 45322


                  Gino Small
                  15122 Meadow Ln
                  Linden, MI 48451


                  Giorgio Andrianopoulos
                  429 Carnegie Rd
                  Virginia Beach, VA 23452


                  Giovanna Rossi
                  270 East Ivybridge Drive
                  Hubert, NC 28539


                  Giovanni Desimone
                  3558 Friday Road
                  Bailey, NC 27880


                  Gisele Sorenson
                  2490 Brentlinger Road
                  Harrod, OH 45850


                  Gislene Gontijo
                  215 Ellen Street
                  Goose Creek, SC 29445
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                  Givlett White-McKoy
                  129 Green Drive
                  Cataula, GA 31804


                  GKI    Infill Cincinnati, LLC
                  C/O    Investcorp
                  280    Park Ave
                  New    York, NY 10017


                  GKI Infill Cincinnati, LLC
                  H. Meyers, c/o Investcorp Int'l Rlty
                  280 Park Avenue, 36th Floor
                  NEW YORK, NY 10017


                  Gladfelter Clyde
                  1020 Chestnut Street
                  Columbia, PA 17512


                  Gladys Chacham
                  21046 Kings Hwy
                  Montross, VA 22520


                  GLADYS Jones
                  302 Halstead Street
                  South Mills, NC 27976


                  Gladys Malave
                  13015 Highlandview Avenue
                  Cleveland, OH 44135


                  Gladys Rivera
                  108 Valley View Way
                  Benson, NC 27504


                  Gladys Taylor
                  7394 Hamilton Scipio Road
                  Okeana, OH 45053


                  Gladys Tornquist
                  1271 Walnut Ridge Rd,
                  Brevard, NC 28712


                  Glee Felver
                  186 s berry st
                  Andrews, IN 46702
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                  Glen Adams
                  208 Trackrock Branch Ln
                  Blairsville, GA 30512


                  Glen Allen
                  5737 Central Ave
                  Coloma, MI 49038


                  glen blair
                  2054 IN-42
                  Brazil, IN 47834


                  Glen Drouin
                  9270 North Bray Rd
                  Clio, MI 48420


                  Glen Elmore
                  11109 Piney Forest Dr
                  Bumpass, VA 23024


                  Glen Erwin
                  17285 Shiloh Church Rd
                  Montpelier, VA 23192


                  Glen Fuzy
                  5302 Moody Dr
                  Petersburg, VA 23803


                  Glen hall
                  160 Elizabeth Avenue
                  Gray, TN 37615


                  Glen Hines
                  939 Burris Rd
                  Iva, SC 29655


                  Glen Johnson(duplicate)
                  109 Ryan Boulevard
                  Goldsboro, NC 27534


                  Glen Lacey
                  11684 Silver Lake Rd
                  Byron, MI 48418
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                  Glen McClung
                  485 Lewis Station Road
                  Clendenin, WV 25045


                  Glen Neal
                  427 M Street
                  Edwardsville, IL 62025


                  Glen Phillips
                  1763 McCalla Rd
                  Conyers, GA 30013


                  Glen Stidham
                  1703 Kirby Rd
                  Lebanon, OH 45036


                  Glen Weger
                  1105 Oregon Way
                  Anderson, IN 46012


                  Glen Wickenheiser
                  286 Callaway Drive
                  Monroe, MI 48162


                  glenda aleshire
                  1130 North Nancy Street
                  East Peoria, IL 61611


                  Glenda mo Henrichs
                  527 E Main St
                  Wellington, IL, IL 60973


                  Glenda Morgan
                  17585 Faust Avenue
                  Detroit, MI 48219


                  Glenda Myers
                  1101 South Highland Avenue
                  Covington, VA 24426


                  Glenda Nolting
                  109 Aaron Dr
                  Delaware, OH 43015
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                  Glenda Prather
                  3968 Sparta Drive
                  Maiden, NC 28650


                  Glenda Roberts
                  22 Forest Drive
                  Cleveland, GA 30528


                  Glendle Drake
                  4830 Forest Oak Church Road
                  Belton, KY 42324


                  Glendon Lovejoy
                  705 Hopkins Ave
                  Danville, WV 25053


                  Glendora Welch
                  6488 Township Rd 46
                  Rawson, OH 45881


                  Glenn Almasy
                  248 Pleasant Hill Road
                  Harmony, PA 16037


                  Glenn Arnett
                  128 Atlantis Lane
                  Front Royal, VA 22630


                  Glenn Biles
                  103 Tomahawk Dr
                  Sparta, GA 31087


                  Glenn Blair
                  5405 Ridgewood Rd W
                  Springfield, OH 45503


                  Glenn Cambre
                  3134 Smokestone Ct NE
                  Atlanta, GA 30345


                  Glenn Crocker
                  12 Midland Drive
                  Silver Creek, GA 30173
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                  Glenn Dolfi
                  300 Hawking Dr
                  Galena, OH 43021


                  Glenn Ecker
                  3598 Ponderosa Road
                  Nickelsville, VA 24271


                  Glenn Fuller
                  1603 Carbonton Rd
                  Sanford, NC 27330


                  Glenn Graff
                  4879 Steele Village Rd
                  Rock Hill, SC 29730


                  Glenn Gunsauls
                  1252 Quarles Road
                  Thaxton, VA 24174


                  Glenn Hall
                  367 Camelia rd
                  Benson, NC 27504


                  Glenn Hall
                  118 Lance Ct,
                  Jacksonville, NC 28546


                  Glenn Hara
                  13450 S Moonlight Rd
                  Olathe, KS 66061


                  Glenn Hardy
                  3139 11 Mile Road
                  Auburn, MI 48611


                  Glenn Harms
                  1425 N Jackson St
                  Litchfield, IL 62056


                  Glenn Heim
                  2237 Old State Rd,
                  Dornsife, PA 17823
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                  Glenn Hightower
                  443 Williams Hill Road
                  Elkton, KY 42220


                  Glenn Johnson
                  3670 Flaherty Rd
                  Vine Grove, KY 40175


                  Glenn Justice
                  420 Leinart Ln
                  Rocky Top, TN 37769


                  Glenn Knepshield
                  1784 Airport Rd
                  Vandergrift, PA 15690


                  Glenn Knight
                  190 Forest Lakes Road
                  Louisburg, NC 27549


                  Glenn Luther
                  427 Stephen Dr
                  Lanark, IL 61046


                  Glenn Malvar
                  25407 Springview Drive
                  Plainfield, IL 60544


                  Glenn Palmer
                  121 East Scott Street
                  Cleves, OH 45002


                  Glenn Perry
                  106 West 5th Street
                  Monon, IN 47959


                  Glenn Person
                  5876 Stanley Huff Rd
                  Summerfield, NC 27358


                  Glenn Peters
                  10780 Old US Hwy 131
                  Fife Lake, MI 49633
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                  Glenn Pryor
                  12514 Strawtown Ave
                  Noblesville, IN 46060


                  Glenn Rogers
                  2822 Stennett St
                  Keego Harbor, MI 48320


                  Glenn Sanders
                  612 Arlington Avenue
                  Bristol, VA 24201


                  Glenn Shreve
                  52 Marion Street
                  Corry, PA 16407


                  GLENN SIMMONS
                  365 Dark Hollow Rd
                  Shermans Dale, PA 17090


                  Glenn Stanger
                  2091 Peppers Ferry Rd NW
                  Christiansburg, VA 24073


                  Glenn Tafe
                  480 Cadle Crossing Road
                  Windsor, SC 29856


                  Glenn Wirtj
                  39 Hidden Ln
                  Muncy, PA 17756


                  Glenna Benjamin
                  8 Red Sunset Ln
                  Durham, NC 27703


                  Glenna Newman
                  2462 Careys Run
                  West Portsmouth, OH 45663


                  Glenys Eldred
                  5613 Cricket Dr
                  New Tripoli, PA 18066
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                  Glessie Williams
                  1746 Holton ave
                  Big Stone Gap, VA 24219


                  Global Motivation, Inc
                  2711 N Sepulveda Blvd #287
                  Manhattan Beach, CA 90266


                  Gloria Borton
                  751 Harrison St
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                  Gloria Butler
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                  Calabash, NC 28467


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                  Hampton, SC 29924


                  Gloria Cook
                  6402 North Michigan Road
                  Fairland, IN 46126


                  Gloria Gill
                  12 Cherrywood Court
                  St. Peters, MO 63376


                  Gloria Johnson
                  1987 Lewis Dr
                  Niles, MI 49120


                  Gloria Maldonado
                  212 East College Street
                  Siler City, NC 27344


                  Gloria Mcneilll
                  7990 Friendship Church Rd
                  Reidsville, NC 27320


                  Gloria menefield
                  1177 East Dallas Avenue
                  Madison Heights, MI 48071
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                  Gloria Nichols
                  39 Boundary Road
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                  Gloria Patterson
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                  Luray, VA 22835


                  Gloria Pledger
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                  Topeka, KS 66604


                  Gloria Ramaley
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                  Bostic, NC 28018


                  Gloria Ricker
                  4109 David Cox Road
                  Charlotte, NC 28269


                  Gloria Riley
                  540 Cherry Rd
                  Souderton, PA 18964


                  Gloria Rodriguez
                  215 Davenport Road
                  Rutherfordton, NC 28139


                  Gloria Spencer
                  232 County Rd 3351
                  Nacogdoches, TX 75961


                  Gloria Villa
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                  Hazel Park, MI 48030


                  Gloria Webster
                  1654 17000 Rd
                  Parsons, KS 67357


                  GLORIA WHITE
                  175 South Austin Avenue
                  Decatur, IL 62522
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                  Gordon Blair
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                  Troutville, VA 24175, VA 24175
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                  Gordon Brown
                  354 Sessoms St
                  Salemburg, NC 28385


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                  Roseville, MI 48066


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                  Powhatan, VA 23139


                  Gordon Drews
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                  Stoneville, NC 27048


                  Gordon Evard
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                  Paris, IL 61944


                  Gordon Farley
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                  Athens, OH 45701


                  Gordon Harris
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                  Lynchburg, VA 24503


                  Gordon Holland
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                  PORT HAYWOOD, VA 23125


                  Gordon Lipscomb
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                  Gordon Martin
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                  Bland, VA 24315


                  Gordon McGinnis
                  303 Edgebrook Drive
                  Pikeville, NC 27863
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                  Gordon McGowan
                  2700 East 500 North
                  Rushville, IN 46173


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                  Buena Vista, VA 24416


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                  Gordon Underwood
                  424 Liberty Rd NE
                  Roanoke, VA 24012


                  Gosch Ehlers
                  317 Appaloosa Court
                  Swansboro, NC 28584


                  GPS Dashboard, Inc
                  262 Arlington Ave
                  Kensington, CA 94707


                  Grace Baldwin
                  98 Windy Farm Rd
                  Oak Hill, WV 25901


                  Grace Cole
                  1350 Edgewood Avenue
                  Abington, PA 19001


                  Grace Hoisington
                  685 Ada Avenue
                  Muskegon, MI 49442


                  Grace Klinger
                  2279 Chester Avenue
                  Muskegon, MI 49444


                  Grace Meisner
                  4124 Winding Oak Way
                  Apex, NC 27539
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                  Grace Santana
                  644 Birchhead Drive
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                  Graciano Etrata
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                  Richardsville, VA 22736


                  Gracin Stephenson
                  2813 Squire Court
                  Chesapeake, VA 23323


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                  Asheboro, NC 27203


                  Grady Boatner
                  5565 Hillsboro St
                  Detroit, MI 48204


                  grady coleman
                  331 Gray Station Rd
                  Gray, TN 37615


                  Grady Dix
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                  Asheboro, NC 27205


                  Grady Sillings
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                  Southport, NC 28461


                  Graham Glomski
                  44705 Albert Drive
                  Plymouth, MI 48170


                  Graham Langston
                  3602 Altamira Drive
                  Chattanooga, TN 37412


                  Graham Taylor
                  10248 Strasburg Bolivar Rd NW
                  Strasburg, OH 44680
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                  363 Thrashers Creek Rd
                  Amherst, VA 24521


                  Grand Rapids Income Tax Dept
                  PO Box 109
                  Grand Rapids, MI 49501-0109


                  Grant Bowdish
                  448 Sunset Blvd E
                  Battle Creek, MI 49017


                  Grant Reeves
                  5690 Wolff Rd
                  Medina, OH 44256


                  Grant Sevek
                  1646 Chatham Ave
                  North Canton, OH 44720


                  Grant Smith
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                  Waterford Township, MI 48327


                  Granville Couey
                  1067 West 120th Street
                  Grant, MI 49327


                  Gray & Creech Office Systems
                  PO Box 49373
                  Greensboro, NC 27419


                  Gray Fernandez
                  301 Hunting Lodge Rd
                  Clayton, NC 27520


                  Gray Hagy
                  4930 Township Road 127 NE
                  New Lexington, OH 43764


                  Graybar
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                  Clayton, MO 63105
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                  Graybar Electric Company, Inc.
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                  Suite 200
                  Raleigh, NC 27612


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                  3614 E Princess Anne Rd
                  Norfolk, VA 23502


                  Grechet Schwartz
                  15833 Ohio 49
                  Edon, OH 43518


                  Green It Up Yardscapes
                  9734 Capella Avenue Nw
                  Concord, NC 28027


                  Greenwich Centre Investors
                  c/o Robinson Development Group
                  150 West Main St, Suite 1100
                  NORFOLK, VA 23225


                  Greg Adams
                  46 Cherry Drive
                  Springfield, OH 45506


                  Greg Bassett
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                  Greg Beagle
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                  California, KY 41007


                  Greg Bondy
                  17655 Sharon Hollow Lane
                  Manchester, MI 48158


                  Greg Boulos
                  7115 Ridge Road
                  Natrona Heights, PA 15065
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                  Greg Bowe
                  211 Locust Street
                  Belpre, OH 45714


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                  Dauphin, PA 17018


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                  Greg Burkett
                  5692 West 6 Road
                  Mesick, MI 49668


                  Greg Campbell
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                  West Chester, PA 19382


                  Greg Carter
                  70 Deep Woods Rd
                  Mills River, NC 28759


                  Greg Cook
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                  Lincoln Park, MI 48146


                  Greg Daniels
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                  Kinston, NC 28504


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                  27401 Cottonwood Trail
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                  2334 East Woodbine Ave
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                  Clare, MI 48617


                  Greg Green
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                  Shadyside, OH 43947


                  Greg Griffes
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                  Greg Gulick
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                  Sportsylvania, VA 22551


                  Greg Hall
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                  Clare, MI 48617
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                  Greg Harker
                  228 Long Leaf Trail
                  Byron, GA 31008


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                  West Columbia, SC 29170


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                  Newark, OH 43055


                  Greg Hunter
                  1142 Roscoe Lane
                  Paragon, IN 46166


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                  Stuart, VA 24171


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                  Crawfordsville, IN 47933


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                  Cape Girardeau, MO 63701


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                  Shelbyville, IN 46176


                  Greg Key
                  1206 Park Royale Lane
                  Katy, TX 77450
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                  Greg Kimble-wilder
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                  Greg Kuna
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                  Friedens, PA 15541


                  Greg Lambert
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                  Greg Mason
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                  Chapel Hill,, NC 27517


                  Greg Mills
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                  Mount Clemens, MI 48043


                  Greg Mitchell
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                  Seward, PA 15717


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                  Fredericksburg, VA 22406


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                  Kansas City, MO 64157


                  Greg Moore
                  2176 Webster Rd
                  Glade Hill, VA 24092


                  Greg Nichols
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                  Columbus, OH 43207


                  Greg Niklaus
                  2281 Burns Rd
                  Muncy, PA 17756
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                  Greg Nippert
                  6978 Goshen Rd
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                  Greg Orr
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                  Bryson City, NC 28713


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                  Robards, KY 42452


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                  Franklin, IN 46131


                  Greg Rolfe
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                  Olivet, MI 49076


                  Greg Sabino
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                  Sanford, NC 27330


                  Greg Sarhatt
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                  Greg Schingler
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                  Greg Schumacher
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                  Woodsfield, OH 43793


                  Greg Sedgwick
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                  Perryville, MO 63775


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                  Greg Smith
                  1429 South 8th Street
                  Terre Haute, IN 47802


                  Greg Spires
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                  raymond, OH 43067


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                  New Park, PA 17352


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                  North Industry, OH 44707


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                  Greg Taylor
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                  Bonaire, GA 31005


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                  Greg Tighe
                  9635 State Road Bb
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                  Greg Tourney
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                  Greencastle, PA 17225


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                  Fairview, PA 16415


                  Greg Van Trees
                  7145 Gause Road
                  Celina, OH 45822


                  Greg Vollmer
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                  Stony Creek, VA 23882


                  Greg Walker
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                  Greg White
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                  Quinton, VA 23141


                  Greg Winkler
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                  Lenoir, NC 28645


                  greg wirth
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                  Gregg Bankey
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                  Machesney Park, IL 61115


                  Gregg Bower
                  1013 Jordan Rd
                  Autryville,, NC 28318
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                  Gregg Evans
                  5223 Grants Settlement
                  South Lebanon, OH 45065


                  Gregg Gebhardt
                  11138 Millersburg Rd
                  Howard, OH 43028


                  Gregg King
                  165 Saundra Court
                  Beavercreek, OH 45430


                  Gregg Policari
                  7425 Quail Woods Road
                  Wilmington, NC 28411


                  Gregg Semian
                  146 Guitonville Road
                  Tionesta, PA 16353


                  Gregg Sims
                  306 N. East Street
                  Winslow, IN 47598


                  Greggory Ward
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                  Hanover, WV 24839


                  Gregory "Greg" Lane
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                  Gregory Atkins
                  15510 Gaylord
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                  Gregory Ayers
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                  Graniteville, SC 29829


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                  Gregory Blaise
                  169 Sue Dr
                  Angier, NC 27501


                  Gregory Bowman
                  3233 Keno Road
                  Laurel Fork, VA 24352


                  Gregory Caraway
                  3291 N Green Meadows Dr
                  Solsberry, IN 47459


                  Gregory Caro
                  14 Aaron Woods
                  Wheeling, WV 26003


                  gregory chocianowski
                  236 Warm Wind Dr
                  Selma, NC 27576


                  Gregory Clark
                  39250 Judd Rd
                  Belleville, MI 48111


                  Gregory Creese
                  114 Fox Falls Trail
                  Aliquippa, PA 15001
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                  Gregory Donaldson
                  12004 Springmeadow Lane
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                  Gregory F.X. Daly; Collector of Revenue
                  1200 Market Street, Room 410
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                  Gregory Flermoen
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                  Gregory Foor
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                  Gregory Gammon
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                  Gregory Gayhart
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                  Gregory Gerard
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                  Grant, MI 49327


                  Gregory Golden
                  4737 County Road 95
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                  Gregory Gourdeau
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                  Gregory Graham
                  1633 North Rosewood Drive
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                  Gregory HALL
                  6604 Birchfield Rd
                  Wise, VA 24293
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                  gregory Hammelman
                  3227 Dawley Road
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                  Gregory Hayes
                  404 Chandler Rd
                  Durham, NC 27703


                  Gregory Hensley
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                  Gregory Horne
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                  Tarboro, NC 27886


                  Gregory Hunt
                  328 Bando Road
                  Somerset, PA 15501


                  Gregory Hurst
                  5600 Ayers Rd
                  Walbridge, OH 43465


                  Gregory Jackson
                  79 Grand River Lane
                  Simpsonville, SC 29681


                  Gregory Kline
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                  Indianapolis, IN 46217


                  Gregory Laney
                  1241 Cherrytree Lane,
                  Chesapeake, VA 23320


                  Gregory Lepes
                  2 E Fischer St
                  Smithton, IL 62285


                  Gregory Loveland
                  280 Burtch Road
                  Grass Lake, MI 49240
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                  Gregory Luce
                  420 E Spring St
                  Radcliff, KY 40160


                  gregory maddox
                  112 Buttercup Lane
                  Wellsville, PA 17365


                  gregory mancuso
                  117 Pecan Drive
                  Pickens, SC 29671


                  Gregory Mcdaniel
                  25122 Donald
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                  Gregory Melikhov
                  168 Choctaw Dr
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                  Gregory Merilli
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                  Gregory Mitchell
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                  Gregory Nobles
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                  Milford, OH 45150


                  Gregory O?Neill
                  11577 West Mohrle Road
                  Webberville, MI 48892
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                  Gregory ONeal
                  30 Willow Dr
                  Blue Ridge, GA 30513


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                  Troy, VA 22974


                  Gregory Parker
                  2924 Candlewood Circle
                  Chesapeake, VA 23324


                  Gregory Pixley
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                  Chrisney, IN 47611


                  Gregory Randle
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                  Gregory Roche
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                  Gregory Shelton
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                  Conyers, GA 30013


                  Gregory Smith
                  2616 Hunter Road
                  Trenton, MO 64683


                  Gregory Sumpter
                  121 Longfellow Street
                  Detroit, MI 48202
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                  Gregory Swanseger
                  1674 Skyline drive
                  Erie, PA 16509


                  Gregory Trainum
                  1217 Fentress Rd
                  Chesapeake, VA 23322


                  Gregory Tucker
                  108 Greenmill Road
                  Columbia, SC 29223


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                  Mt Zion, IL 62549


                  Gregory Vaught
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                  Spring Lake, NC 28390


                  Gregory Wagner
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                  Gregory Watts
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                  South Point, OH 45680


                  gregory whitfield
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                  GREGORY WILLIS
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                  Bunnlevel, NC 28323


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                  Raleigh, NC 27608


                  Gregory Winston
                  2201 Lincoln Avenue
                  Point Pleasant, WV 25550
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                  Charleston, WV 25302


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                  Lexington, NC 27292


                  Gregory Ybarra
                  5506 W Mt Morris Rd
                  Mt Morris, MI 48458


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                  Grenyer Guerrero
                  884 Alter St
                  Hazleton, PA 18201


                  Gretchen Humphries
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                  Stockbridge, MI 49285


                  Gretchen Livingston
                  3961 Fay Rd
                  Carleton, MI 48117


                  Gretchen Messick
                  1546 Fairview North Rd
                  Chatham, VA 24531


                  Gretchen Silfee
                  1320 Crockers Nub Road
                  Middlesex, NC 27557


                  Gretchen Spurk
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                  Bear Lake, PA 16402


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                  Grover Johnson
                  1503 Dutch Road
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                  Guardian Alarm
                  75 Remittance Drive Dept 1376
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                  Gudorf Plumbing Heating Cooling Electric
                  1280 3rd Ave
                  Jasper, IN 47546


                  Guearldain Prewitt
                  4394 Red Bird Rd
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                  Guenter Tusch
                  636 Cherry St SE
                  Grand Rapids, MI 49503


                  Guillaume Dadje
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                  Guillaume Pique
                  2137 summer breeze road
                  Chesapeake, VA 23323


                  Gulnaz Rahman
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                  Alexandria, VA 22314


                  Gunnard Engebreth
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                  Greenwood, IN 46143


                  Gurmeet Singh
                  672 Rocky Meadow Drive
                  Greenwood, IN 46143
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                  Reading, PA 19606


                  Gustavo Angeles
                  607 W 33rd St
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                  Gustavo Gomez
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                  Gustavo Villegas-garza
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                  Guy Albero
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                  Charleroi, PA 15022


                  Guy Auger
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                  Winnabow, NC 28479


                  Guy Brown
                  6338 Jamesbrook Lane
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                  Van Wert, OH 45891


                  Guy Dolph
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                  Farina, IL 62838


                  Guy Doughty
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                  Guy Green
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                  Guy Jasick
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                  Guy Leach
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                  Van Buren, MI 48111


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                  guy petty
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                  Guy Russell
                  200 Russell Lane
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                  Guy Sadler
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                  Cosby, TN 37722


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                  Gwen Kurtz-Stenger
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                  Gwen Ladd
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                  Gwen Sutton
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                  Gwen Wood
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                  Bunker Hill, WV 25413


                  Gwendia Oswald
                  7009 Lakeway St Ypsilanti MI
                  Ypsilanti, MI 48197


                  Gwendolyn Crum
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                  South Shore, KY 41175


                  Gwendolyn Keith
                  610 Sharease Cir
                  Wilmington, NC 28405
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                  Webster Springs, WV 26288


                  Gwendolyn Woodard
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                  Villa Rica, GA 30180


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                  Ha Le
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                  . Deckerville, MI 48427
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                  Haitao Bi
                  2284 Asbury Rd
                  Northbrook, IL 60062


                  Haitao Yao
                  243 Colonial Drive
                  Vernon Hills, IL 60061


                  Hal Poret LLC
                  142 Hunter AVe
                  Sleepy Hollow, NY 10591


                  Halee Vandermaas
                  9769 Clay St
                  Montville, OH 44064


                  Haleigh Johnson
                  135 Spring Leaf Lane
                  Jacksonville, NC 28540


                  Haley Brightwell
                  1507 West 9th Street
                  Beaver Falls, PA 15010


                  Haley Whitfield
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                  Conover, NC 28613


                  Hallie Hall
                  1142 West Hunt Road
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                  Hamde Elwan
                  892 Bartek Court
                  Fuquay-Varina, NC 27526


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                  Manassas, VA 20110


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                  2005 Colorado Avenue
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                  Hank Gladkowski
                  1656 Trails End Rd
                  Goodview, VA 24095


                  Hank Metzger
                  1020 S Peach Ct
                  Plainwell, MI 49080


                  Hanna Stelman
                  7323 Carson Road
                  Yale, MI 48097


                  Hannah Arlinghaus
                  120 Sunflower Loop
                  Seymour, TN 37865


                  Hannah Estep
                  26909 North Carolina 210
                  Currie, NC 28435


                  Hannah Hall
                  3117 Chancery Place
                  Raleigh, NC 27607


                  Hannah Hawkins
                  7285 W Gorman Road
                  Sand Creek, MI 49279


                  Hannah Hughes
                  12338 Union Avenue Northeast
                  Alliance, OH 44601


                  Hannah Hunt
                  2808 N Chipman St
                  Owosso, MI 48867


                  Hannah Keith
                  2211 Buena Vista Rd
                  Big Stone Gap, VA 24219


                  Hannah McDonald
                  9810 Spicer Rd
                  Brighton, MI 48116
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                  Hannah Releford
                  23614 Peppermill Lane
                  Hettick, IL 62649


                  Hannah Roach
                  28874 County Road 352
                  Lawton, MI 49065


                  Hannah Sacra
                  5366 Double Bridges Road
                  Meherrin, VA 23954


                  Hannah Sarnow
                  10411 Brown Road
                  Curtice, OH 43412


                  Hannah Shimmin
                  601 Calhoun Road
                  Myrtle Beach, SC 29577


                  Hans Eichler
                  19 Mabel St
                  Pigeon, MI 48755


                  Hans Erdmann
                  3796 Salt Petre Cave Road
                  Eagle Rock, VA 24085


                  Hans Larsen
                  4503 West 224th Street
                  Fairview Park, OH 44126


                  Hans Martens
                  331 Cartersville Rd
                  Cumberland, VA 23040


                  Hans Mendenhall
                  11685 Tunnel Hill Road
                  Crooksville, OH 43731


                  Hans VanHeule
                  7006 McCaslan Lane
                  Waxhaw, NC 28173
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                  Haralabos Vidakis
                  104 Joy Ct
                  Yorktown, VA 23693


                  Harker LLC
                  122 W Bland Street, Suite A
                  Charlotte, NC 28203


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                  10389 Cole Road
                  Blackwell, MO 63626


                  Harlan Mendenhall
                  4413 Driftwood Drive
                  CLEMMONS, NC 27012


                  Harland Easton
                  862 U.S. 322
                  Orwell, OH 44076


                  Harland Fish
                  4351 Peake Road
                  Hastings, MI 49058


                  Harland Shearer
                  80 Memorial Rd
                  West Alexander, PA 15376


                  Harlen Linke
                  166 Taylor St
                  Manistee, MI 49660


                  Harley Corpier
                  1812 West 11th Street
                  Sedalia, MO 65301


                  Harley Gregory
                  4289 State Route
                  Norwalk, OH 44857


                  Harley Lindenmuth
                  756 Yellow Springs Fairfield Road
                  Yellow Springs, OH 45387
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                  Harley Mosher
                  526 Meadowbrook Drive
                  Moberly, MO 65270


                  Harley Muse
                  532 Bridges Creek Road
                  Colonial Beach, VA 22443


                  Harley swan
                  9921 bunker hwy
                  eaton rapids, MI 48827


                  Harmon Mitchell
                  13358 South Huron River Drive
                  Romulus, MI 48174


                  Harmon Thomas
                  7 Inwood Circle A
                  Orange, TX 77630


                  Harmony Mountain Institute
                  131 T-456
                  Waverly, PA 18471


                  Harold Adrian
                  500 15th Avenue
                  Beaver Falls, PA 15010


                  Harold Baker
                  244 N Edinborough St
                  Red Springs, NC 28377


                  Harold Bauder
                  3535 South Section Line Road
                  Delaware, OH 43015


                  Harold Brandon
                  700 Cook Road
                  Durham, NC 27713


                  harold brown
                  110 Hughes ridge rd
                  Burlington, NC 27217
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                  Harold Brunson
                  582 Mcneil Hobbs Rd
                  Bunnlevel, NC 28323


                  Harold Buntin
                  10874 Griffith Highway
                  Whitwell, TN 37397


                  Harold Butts
                  5731 Charles St
                  Hamtramck, MI 48212


                  Harold Cayne
                  4444 Holly Hill Dr
                  Toledo, OH 43614


                  Harold Chrimes
                  722 British Woods Dr
                  Roanoke, VA 24019


                  Harold Clemmer
                  1313 Old Dallas Road
                  Dallas, NC 28034


                  Harold France
                  8318 Main St
                  Altenburg,, MO 63732


                  Harold Frantom
                  537 Schaeffer Dr
                  Coldwater, MI 49036


                  Harold Gates
                  159 mcelmurray rd
                  Beech Island, SC 29842


                  Harold Gresham
                  9425 South Carswell Street
                  Richmond,, VA 23237


                  Harold Haman
                  219 East 900 South
                  Kouts, IN 46347
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                  Harold Hamilton
                  35620 Richard Street
                  Wayne, MI 48184


                  Harold Hassell
                  12316 Willow Woods Drive
                  Fredericksburg, VA 22407


                  Harold Hurt
                  811 North High Street
                  Hillsboro, OH 45133


                  Harold Jefferys
                  66 East High Street
                  McClure, PA 17841


                  Harold Jones
                  162 Clinchdale Rd
                  Bean Station, TN 37708


                  Harold Kirkwood
                  35 Meadow Springs Ct
                  Brandenburg, KY 40108


                  Harold Lorentson
                  200 Echo Valley Dr
                  Bryson City, NC 28713


                  Harold Marsh
                  356 Lakeland Street
                  Gross Pointe, MI 48230


                  Harold Mongar
                  4362 S Leland Rd
                  Laingsburg, MI 48848


                  Harold Muchow
                  8851 Hilltop Rd
                  Irwin, PA 15642


                  Harold Neaus
                  13 Edge Trail
                  Conyngham, PA 18219
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                  Harold Norton
                  10003 Bair Lake Street
                  Three Rivers, MI 49093


                  Harold O'Bryant
                  2307 Danielle Boulevard
                  Conyers, GA 30012


                  Harold Ocampo
                  4154 Owls Head Road
                  Fayetteville, NC 28306


                  Harold Pence
                  505 Nashoba Ave
                  Columbus, OH 43223


                  Harold Pennix
                  527 Tower Hill Road
                  Appomattox, VA 24522


                  Harold Pilgrim
                  854 Pettigrew Dr
                  Concord, VA 24538


                  Harold Pyeatt
                  21717 County Road 15
                  Damon, TX 77430


                  Harold Reed
                  512 Brannen St
                  Statesboro, GA 30458


                  Harold Rogers
                  4760 OH-309
                  Galion, OH 44833


                  Harold Roland
                  17 Meadow Ridge
                  Festus, MO 63028


                  Harold Rose
                  1591 Whetstone Street
                  Bucyrus, OH 44820
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                  Harold Roth
                  595 Bennington Drive
                  Mansfield, OH 44904


                  Harold Roth
                  4824 E. Johnson Ave
                  Port Clinton, OH 43452


                  Harold Sawyers
                  18975 Fenmore St
                  Detroit, MI 48235


                  Harold Smith
                  12 Ginger Snap Ln
                  Sylva, NC 28779


                  Harold Snider
                  1715 Decourcy Ln
                  Franklin, IN 46131


                  Harold Stewart
                  203 N State St, Sorento, IL 62086, USA
                  Sorento, IL 62086


                  Harold Suain
                  14 Process Rd
                  Fieldale, VA 24089


                  Harold Thomas
                  207 Homestead Avenue
                  Scottdale, PA 15683


                  Harold Thompson
                  3521 Parrish Road
                  Winston-Salem, NC 27105


                  Harold W Backus
                  351 Twin Brook Lane
                  Pageland, SC 29728


                  Harold Welch
                  3970 Bronson Lake Rd
                  Lapeer, MI 48446
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                  Harold Williams
                  1275 Summer Hill Church Road
                  Carthage, NC 27376


                  Harold Yafuso
                  21765 Regents Park Circle
                  Sterling, VA 20166


                  Harriet Barror
                  15190 Gary Rd
                  Chesaning, MI 48616


                  Harriet Benney
                  131 County Road 859
                  Etowah, TN 37331


                  Harriet McCoy
                  2704 Meadow Lake Drive
                  Toano, VA 23168


                  Harriet Owen
                  4950 Candlewyck Ln
                  Greenville, SC 29615


                  Harriet Turner
                  251 Belair Dr
                  Stockbridge, GA 30281


                  Harriett Waters
                  161 Lassiter Farms Ln
                  Clayton, NC 27520


                  Harrison Nelms
                  610 Butler Avenue
                  Suffolk, VA 23434


                  Harrison Vanover
                  201 Burl Bridges Road
                  Forest City, NC 28043


                  Harrison Wiggins
                  262 N 28th street
                  kalamazoo, MI 49048
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                  Harry Arnold
                  5087 Mt Tabor Road
                  Chillicothe, OH 45601


                  Harry Atwood
                  160 Eastview St
                  Dayton, VA 22821


                  Harry Bogolin
                  1534 U.S. 421
                  Michigan City, IN 46360


                  Harry Clyde
                  6563 U.S. 30
                  Jeannette, PA 15644


                  Harry Cunningham
                  312 West Wightman Street
                  Moberly, MO 65270


                  Harry Engle
                  7903 Guy Road
                  Nashville, MI 49073


                  Harry Englert
                  219 West Williams Street
                  Westville, IL 61883


                  Harry Fleming
                  320 North Mulberry Street
                  Clinton, IL 61727


                  Harry Fortner
                  444 Webb Road
                  Rogersville, TN 37857


                  Harry Franks, II
                  8114 W Pleasant Valley Rd
                  Cleveland, OH 44130


                  Harry Gotschall
                  31505 Lewis Road
                  Salineville, OH 43945
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                  Harry grant
                  270 Township Road 1302
                  Chesapeake, OH 45619


                  Harry Gregory
                  187 East Shore Drive
                  Rockwood, TN 37854


                  Harry Hannold
                  1641 T-639
                  Strattanville, PA 16258


                  Harry Hyde
                  1756 Sheppard Town Rd
                  Crozier, VA 23039


                  Harry Kellar
                  1707 Graham Road
                  Cutler, OH 45724


                  HARRY LAMB
                  484 Pine Cone Ln
                  Lerona, WV 25971


                  Harry Loose
                  238 Beamer Dr
                  Tyrone, PA 16686


                  Harry Lupinacci
                  1360 Adams Drive
                  Ambridge, PA 15003


                  Harry Maughan
                  111 East Boyd Avenue
                  Butler, PA 16001


                  Harry McKee, Sr.
                  137 Hummingbird Court
                  Chillicothe, OH 45601


                  Harry O'Dell
                  10769 Canvas Nettie Road
                  Nettie, WV 26681
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                  Harry Pursley
                  1272 E 425 N
                  Shelbyville,, IN 46176


                  Harry Raines
                  226 Hilltop Drive
                  Murphysboro, IL 62966


                  Harry Ribblet
                  201 Levrio Road
                  Blairsville, PA 15717


                  Harry Sadler
                  246 Edgewater Lane
                  Lancaster, VA 22503


                  Harry Seawright
                  359 Caldon Rd
                  Swansea, SC 29160


                  Harry Slagle
                  146 Slagle Heights Ln
                  Templeton,, PA 16259


                  HARRY SOUTHWORTH
                  3434 Bridgetown Rd
                  Bristol, IN 46507


                  Harry T Edwards
                  613 Old Station St
                  Ashland, VA 23005


                  Harry Trischler
                  127 Allegheny Drive
                  Natrona Heights, PA 15065


                  Harry Vannus
                  8033 OH-718
                  Pleasant Hill,, OH 45359


                  Harry Walder
                  49033 Skyhi Drive
                  Grand Beach, MI 49117
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                  Harry Weaver
                  12111 Freshwell Rd
                  Charlotte, NC 28273


                  Harry Workman
                  277 County Road 849
                  Etowah, TN 37331


                  Harry-Veronica Rogers
                  154 Bottle Branch Dr
                  Burgaw, NC 28425


                  Hart Dahlhauser
                  63 Sun Valley Drive
                  Alexander, NC 28701


                  Hartford Fire Insurance Company
                  One Hartford Plaza - NP-2
                  HARTFORD, CT 06155


                  Hartford Fire Insurance Compay
                  One Hartford Plaza
                  Hartford, CT 06155


                  Hartford Hall
                  747 Glantz Dr
                  Lorain, OH 44055


                  Hartford Rawlins
                  282 Madru Road
                  Londonderry, OH 45647


                  Harvey Atkinson
                  871 Farmview Road
                  Crockett, VA 24323


                  Harvey Barker
                  8830 80th Ave
                  Zeeland, MI 49464


                  Harvey Coe
                  1201 West 7th Street
                  Centralia, IL 62801
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                  Harvey Dizol
                  4044 Fizer Road
                  Springfield, TN 37172


                  Harvey Early
                  134 Arbor Lane
                  Galax, VA 24333


                  harvey hess
                  1261 Fairlane Dr
                  York, PA 17404


                  Harvey Klee
                  6786 E Atwater Rd.
                  Ruth, MI 48470


                  Harvey Kosinski
                  51979 Fairchild Rd
                  New Baltimore, MI 48051


                  Harvey Mercer
                  8204 N Myers Rd
                  Muncie, IN 47303


                  Harvey Newcomb
                  199 Old Forty 7 Rd
                  Drakes Branch, VA 23937


                  Harvey Staples
                  2809 Darnell Rd
                  Richmond, VA 23294


                  Harvey Warrick
                  8700 Hoddinott Rd
                  Adrian, MI 49221


                  Hary Turner
                  1069 Ralston St
                  Gary, IN 46406


                  Hashem Yasin
                  34650 Cowan Rd
                  Westland, MI 48185
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                  Hashini Galhena-Dissanayake
                  2738 Morning Glory Drive
                  Meridian charter Township, MI 48864


                  Haskell Bennett
                  955 Kassinger Lane
                  Hartford, KY 42347


                  Hassan El Lakkis
                  26250 Harriet St
                  Dearborn Heights, MI 48127


                  Hassan Farran
                  20700 Audette St
                  Dearborn, MI 48124


                  Hassan Fattouh
                  15132 Santa Anita Street
                  Livonia, MI 48154


                  Hassan Saad
                  7250 Jonathan St
                  Dearborn, MI 48126


                  Hassan Salata
                  1208 Fairfax Ave NW
                  Roanoke, VA 24017


                  Hattie Miles
                  213 SANDY LANE
                  GASTON, NC 27832


                  HAV-A-CUP Coffee Service & Quality Water
                  PO Box 3121
                  Hickory, NC 28603


                  Haven Howard
                  8382 E Laughlin St
                  Dugger, IN 47848


                  Hawkins Donald
                  2603 Northgate Rd
                  Albany, GA 31721
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                  Haydeelin carpio
                  252 mountain view road
                  Reading, PA 19607


                  Hayden Bouvier
                  13391 e state highway 76
                  Rocky Comfort, MO 64861


                  Hayden Roten
                  269 Oak Crest Dr
                  North Wilkesboro, NC 28659


                  Hayley Robinette
                  543 W Capistrano Ave
                  Toledo, OH 43612


                  Hayli Dewey
                  10141 Shawnee Lane
                  Spotsylvania Courthouse, VA 22553


                  HayStackID
                  PO Box 6459
                  Carol Stream, IL 60197


                  Hazel Allen
                  46 Gingerwood Dr
                  Franklin, NC 28734


                  Hazel Kean
                  751 Old Rte 322
                  Cochranton, PA 16314


                  Hazel Miller
                  2725 Aerial Ave
                  Dayton, OH 45419


                  Hazen Germaine
                  5055 Hyde Park Dr
                  Swartz Creek, MI 48473


                  Heartland Tanning, Inc
                  4250 NE Sun Ct
                  Lee's Summit, MO 64064
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                  Heath Butler-New H.O (Lift and Pull)
                  1678 Steinhilber Dr
                  Piqua, OH 45356


                  Heath Jansen
                  7075 E Shockey Rd
                  Ridott, IL 61067


                  Heath Nelson
                  2347 Township Rd 21
                  Ashley, OH 43003


                  Heath Pruitt
                  1466 W County Road 125 S
                  Greencastle, IN 46135


                  Heath Utt
                  52256 Ideal Beach
                  Elkhart, IN 46514


                  Heather Arroyo
                  210 Memory Lane
                  Bennettsville, SC 29512


                  Heather Barker
                  313 Bond Street
                  North Manchester, IN 46962


                  Heather Botto
                  715 East 3rd Street
                  Berwick, PA 18603


                  Heather Brumfield
                  113 Beacon Hill Place
                  Lynchburg, VA 24503


                  Heather Buxton
                  1328 Marble Dr
                  Columbus, OH 43227


                  Heather Clark
                  25263 Lettner Lane
                  Rhoadesville, VA 22542
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                  Heather Cooper
                  2657 Brookwest Lane Southwest
                  Marietta, GA 30064


                  Heather Daniel
                  525 Doe Run Rd
                  Rocky Mount, VA 24151


                  Heather Dizerega
                  13645 Toka Ct
                  Huntersville, NC 28078


                  Heather Ebner
                  4236 Coe Ave
                  North Olmsted, OH 44070


                  Heather Evans
                  103 Jodibrook Ct
                  Mauldin, SC 29662


                  Heather Figg
                  172 East Miami Drive
                  Bedford, IN 47421


                  Heather Friend
                  7249 Bowers Road Southwest
                  Amanda, OH 43102


                  Heather Griffith
                  88 Hayes Rd NW
                  Comstock Park, MI 49321


                  Heather Hallas
                  11625 Clinton rd
                  Rives Jct, MI 49277


                  Heather Hawthorne
                  2476 W Georgia Rd
                  Piedmont, SC 29673


                  Heather Heffernan
                  11177 Buno Road,
                  Brighton, MI 48114
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                  Heather Hernandez
                  511 Aberdineshire Court
                  Hubert, NC 28539


                  Heather Johnston
                  3267 Cappahosic Rd
                  Gloucester, VA 23061


                  Heather Juntila
                  33808 Lacrosse Street
                  Westland, MI 48185


                  Heather Kerchkof
                  7582 Arnold Rd
                  Ira Township, MI 48023


                  Heather Kosmulski
                  1241 Kunkletown Road
                  Saylorsburg, PA 18353


                  Heather Lindsey
                  5650 Poole Rd
                  High Point, NC 27263


                  Heather Long
                  407 W Stevens Dr
                  Kershaw, SC 29067


                  Heather McKitrick
                  5245 Elmira Drive
                  Columbus, OH 43232


                  Heather Mitchell
                  2576 Thomas Jefferson Rd
                  Forest, VA 24551


                  Heather Moyers
                  8515 Scott Road
                  Corryton, TN 37721


                  heather Mulcahy
                  230 Mill Creek Rd
                  Woodstock, GA 30188
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                  Heather Muller
                  2078 Montague Road
                  Davison, MI 48423


                  Heather Palm
                  7559 Tucker Road
                  Centerburg, OH 43011


                  Heather Peek
                  7818 North State Road 135
                  Morgantown, IN 46160


                  Heather Perkins
                  10406 Barbour County Hwy
                  Belington, WV 26250


                  Heather Phipps
                  2855 Summercrest Ln
                  Duluth, GA 30096


                  Heather Pierce
                  2743 Wayland Road
                  Diamond, OH 44412


                  Heather Raison
                  855 County Road 153
                  Cardington, OH 43315


                  Heather Reinhold
                  13484 Whippingham Parkway
                  Carrollton, VA 23314


                  Heather Seltzer
                  2609 Friar St
                  Wilmington, NC 28411


                  Heather Shilt
                  5498 Brookberry Farm Rd
                  Winston-Salem, NC 27106


                  Heather Simpson
                  6159 Gibbs Lane
                  Ooltewah, TN 37363
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                  Heather Spera
                  511 Stevens Court
                  Sleepy Hollow, IL 60118


                  Heather Stout
                  916 Bellerive Boulevard
                  St. Louis, MO 63111


                  Heather Switzer
                  3225 Mount Hebron Road
                  Old Fort, NC 28762


                  Heather Sypula
                  25284 Winding Creek Dr
                  New Boston, MI 48164


                  Heather Teagardner / Peng Zheng
                  162 Drake Road
                  Bethel Park, PA 15102


                  Heather Teelander
                  9425 E Price Rd
                  Laingsburg, MI 48848


                  Heather Terry
                  1211 Foothill Drive
                  Champaign, IL 61821


                  Heather Tracy
                  195 Lynn Road
                  Taylors, SC 29687


                  Heather Trapp
                  410 Biastock Rd
                  Benton Harbor, MI 49022


                  Heather Van De Cruize
                  2101 Skyland Cove Lane
                  Snellville, GA 30078


                  Heather Waken
                  4809 Corinthian Way
                  Greensboro, NC 27410
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                  Heather Williams
                  2691 West 200 South
                  Warsaw, IN 46580


                  Heather Willis
                  1000 SW Whitetail Dr
                  Oak Grove, MO 64075


                  Heather Wilson
                  5063 Harvestview Drive
                  Mebane, NC 27302


                  Heather Wilson Medlin
                  19730 Lacy Farm Rd
                  Moseley, VA 23120


                  Heatwole Poultry, Building # 1, Meter #0
                  15942 North Mountain Road
                  New Market, VA 22844


                  Heavyweight Waste Indianapolis
                  484 E Carmel Dr #246
                  Carmel, IN 46032


                  Hebbah Rasch
                  3665 South Inverness Farm Road
                  Bloomington, IN 47401


                  Hector Arcos
                  634 24th Avenue
                  Bellwood, IL 60104


                  Hector Falcon
                  164 Emanuel Creek Drive
                  West Columbia, SC 29170


                  Hector Garcia
                  4885 Sharon Hill Dr
                  columbus, OH 43235


                  Hector Gonzalez
                  5203 Colina Drive
                  Killeen, TX 76549
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                  hector Hernandez
                  6 Bottesford Court
                  Simpsonville, SC 29680


                  Hector Hernandez
                  14618 Saratoga Lane
                  Mont Belvieu, TX 77523


                  Hector Ramirez
                  2185 Lone Birch Drives
                  Waterford, MI 48329


                  Hector Salgado
                  1115 South Main Street
                  New Castle, IN 47362


                  Hector Suarez
                  13303 Tireman Avenue
                  Dearborn, MI 48126


                  Hector Troncoso
                  5100 Trabue Road
                  Columbus, OH 43228


                  Heidi (Home number) Thompson
                  7283 State Route 101
                  Milan, IN 47031


                  Heidi Baumbarger
                  4408 Bigham Rd
                  Waxhaw, NC 28173


                  Heidi Cassler
                  809 Rivers Edge Drive
                  Graham, NC 27253


                  Heidi Clarke
                  8997 Ferry Road
                  Waynesville, OH 45068


                  Heidi Dozier
                  2725 Bradford Dr
                  Middletown, OH 45044
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                  Heidi Ellsworth
                  516 Benjamin Avenue Southeast
                  Grand Rapids, MI 49506


                  Heidi Lacey
                  579 Beech Grove Road
                  Bulls Gap, TN 37711


                  Heidi Meadows
                  24895 Harris St
                  Edwardsburg, MI 49112


                  Heidi Miller
                  174 Gregory Street
                  Shenandoah, VA 22849


                  Heidi Moon
                  2370 Edwin Ave
                  Akron, OH 44314


                  Heidi nguyen
                  51233 Gumwood Rd
                  Granger, IN 46530


                  Heidi Pyers
                  300 Mayfield Lane
                  Eaton Rapids, MI 48827


                  Heidi Reed
                  13864 21 Mile Road
                  Shelby Charter Township, MI 48315


                  Heidi Rice
                  366 Black Tail Drive
                  Keyser, WV 26726


                  Heidi Skurda
                  21700 31 Mile Road
                  Ray, MI 48096


                  Heidi von Oetinger-Reed
                  13864 21 Mile Road
                  Shelby Charter Township, MI 48315
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                  Heidi Wease
                  714 Jones Lane
                  Dublin, GA 31021


                  Heidi Wood
                  2250 Ney Ct
                  Fayetteville, NC 28312


                  Heinz Averbeck
                  7156 Willowood Drive
                  West Chester Township, OH 45241


                  Helen (frank) crowley
                  440 Robe Shull Road
                  Mountain City, TN 37683


                  Helen Baker
                  2101 Jackson Center Polk Road
                  Polk, PA 16342


                  Helen Berenyi
                  5282 Bedaw Farm Drive
                  Awendaw, SC 29429


                  helen douglas
                  24765 Ridgecroft Ave
                  Eastpointe,, MI 48021


                  Helen Duffy
                  9801 Culver Road
                  Clarklake, MI 49234


                  Helen Gant Farley
                  8303 Monroe Avenue
                  Munster, IN 46321


                  Helen Hale
                  12205 Carolina Rd
                  Coeburn, VA 24230


                  Helen Hayes
                  763 Poplar Springs Road
                  Roaring River, NC 28669
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                  Helen Kidder
                  6231 Rook Rd
                  Plainville, MI 49080


                  Helen Kuch-Kunich
                  7469 Roloff Rd
                  Ottawa Lake, MI 49267


                  Helen Leonard
                  13750 Waters Road
                  Chelsea, MI 48118


                  Helen McCormick-Allen
                  5954 Gilstrap Mill Road
                  Murrayville, GA 30564


                  Helen Miller
                  1976 Spencer Road
                  Corry, PA 16407


                  Helen Moore
                  111 Meadowbrook Drive
                  Clarksville, TN 37042


                  Helen Neff
                  3990 Poppyseed Ct
                  Columbus, OH 43207


                  Helen Nunn
                  919 N Dogwood Ave
                  Siler City, NC 27344


                  Helen Quick-Brooks
                  212 Grand Oaks Dr
                  Gibsonville, NC 27249


                  Helen Soto
                  1210 Potomac St
                  Allentown, PA 18103


                  Helen Whitehead
                  573 Buckhorn Road
                  Knox, PA 16232
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                  Helen Wilson
                  699 Price Hairston Lane
                  Martinsville, VA 24112


                  Helen Windsor
                  287 Spring Branch Circle
                  Toccoa, GA 30577


                  Helen Zacherl
                  57520 Ohio Riverview Rd
                  Shadyside, OH 43947


                  Helena Blum
                  11888 Lick Rd
                  Cincinnati, OH 45251


                  Helena Sims
                  1612 Caspian Way Lane
                  Winston-Salem, NC 27127


                  Helene Duckworth
                  134 Willow Mill Park Road
                  Mechanicsburg, PA 17050


                  Helene Raupp
                  31770 bock st
                  Garden City, MI 48135


                  Helene Yearwood
                  11355 PA-18
                  Albion, PA 16401


                  Helion Cruz
                  1334 Brinkley Branch Road
                  Gallatin, TN 37066


                  Hemant Patel
                  34999 School Street
                  Westland, MI 48185


                  Hemphill Willie
                  15625 Beagle Chase Lane
                  Disputanta, VA 23842
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                  Henri Bosch
                  856 1st Street
                  Milford Charter Township, MI 48381


                  Henrietta Shands
                  11308 Quaker Rd
                  Dinwiddie, VA 23841


                  Henry Adams
                  19973 Weyher St
                  Livonia, MI 48152


                  Henry Airemen
                  5050 Jelynn St
                  Raleigh, NC 27616


                  Henry Block
                  4666 Stimpson Ridge Dr
                  Pfafftown, NC 27040


                  Henry Bowman
                  426 Meadowland Circle
                  Maple Hill, NC 28454


                  Henry Bridgham
                  55 Orchard Lane
                  Stafford, VA 22556


                  Henry Bugg
                  100 Pinetree Ln
                  Chase City, VA 23924


                  HENRY Carter
                  1070 Cameron Lane
                  nathalie, VA 24577


                  Henry Cocozzoli
                  14460 Stonehouse
                  Livonia, MI 48154


                  Henry combs
                  697 West End Road
                  Chester, SC 29706
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                  Henry Davis Sr.
                  8518 W Haven St
                  Mt Morris, MI 48458


                  Henry Debord
                  1052 Radford Dr
                  Russell, KY 41169


                  Henry Dreyfus
                  782 Arbuckle Street
                  Chesapeake, VA 23323


                  Henry Eggleston
                  3704 E 110th St
                  Cleveland, OH 44105


                  Henry Estridge
                  989 Ridgedale Rd
                  Saltville, VA 24370


                  Henry Everett
                  128 Bryantville Park Road
                  Como, NC 27818


                  henry fassett
                  229 2nd St
                  Laceyville, PA 18623


                  Henry GNAS
                  190 Stone Quarry Rd
                  Monaca, PA 15061


                  Henry Gohlinghorst
                  602 Cartertown Rd
                  Gatlinburg, TN 37738


                  Henry Harris
                  236 Kiawana Rd
                  Atkins, VA 24311


                  Henry Hinojosa
                  276 East Sub Station Road
                  Temperance, MI 48182
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                  Henry Holland
                  413 Golfview Ct
                  Lenoir, NC 28645


                  Henry Horner
                  3230 Territorial Road
                  Rives Junction, MI 49251


                  Henry Knott
                  15080 Mark Twain Street
                  Detroit, MI 48227


                  Henry Lafollette
                  2555 Grassy Branch Loop
                  Sevierville, TN 37876


                  Henry Lazcano
                  11850 Thomas Mill Dr
                  Glen Allen, VA 23059


                  Henry M. Saalfield
                  1148 High Street
                  Fairport Harbor, OH 44077


                  Henry Mason
                  4813 Burtfield Drive
                  Richmond, VA 23231


                  Henry McBaine
                  280 Mohawk
                  Boonville, MO 65233


                  Henry McCauley
                  1455 Pittsburgh Road
                  Franklin, PA 16323


                  Henry McCaulley
                  1455 Pittsburgh Road
                  Franklin, PA 16323


                  Henry Mcgraw
                  8249 Telegraph Road
                  Temperance, MI 48182
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                  Henry Merkel
                  12996 Shannon Hill Road
                  Louisa, VA 23093


                  Henry Mintz
                  5320 Minta Lane Northwest
                  Shallotte, NC 28470


                  Henry Moore
                  12726 S Petrie Rd
                  Sunfield, MI 48890


                  Henry Morton
                  31 Farmstead Dr
                  Cumberland, VA 23040


                  Henry Moye
                  7426 Sunview Drive
                  Columbia, SC 29209


                  Henry Myrick
                  2901 Quarry Rd
                  Skippers, VA 23879


                  Henry Ortiz
                  202 Walker Springs Road
                  Taylors, SC 29687


                  Henry Perez
                  183 Pipher Rd
                  Bushkill, PA 18324


                  Henry Root
                  475 Hilldale Drive
                  Ann Arbor, MI 48105


                  Henry Ruiz
                  928 South Lincoln Avenue
                  Walnutport, PA 18088


                  Henry Schile
                  1470 N County Rd 400 W
                  North Vernon, IN 47265
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                  Henry Schmidt
                  2075 Cedar street
                  Holt,, MI 48842


                  Henry Steinke
                  5833 Susquehanna Drive
                  Virginia Beach, VA 23462


                  Henry Warner
                  4629 Lindholm Dr
                  White Lake, MI 48383


                  Henry Whilden
                  6204 Duncan Lake Road
                  Middleville, MI 49333


                  Henry Yates
                  309 Graves Drive
                  Lynchburg, VA 24502


                  Henson Missouri Properties
                  649 Huntington Rd
                  Kansas City, MO 64113


                  Henson MO Properties
                  4250 NE SUN COURT
                  LEE'S SUMMIT, MO 64064


                  Herb Christman
                  1345 Anderson Avenue
                  Monongahela, PA 15063


                  Herb Duval
                  2128 Burnet Ave
                  Cincinnati, OH 45219


                  Herb King
                  26 bend hill rd
                  Fredonia, PA 16124


                  Herb Merten
                  433 North 160th Avenue
                  Hart, MI 49420
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                  Herb Richter
                  2990 Barnes St
                  Waterford Twp, MI 48328


                  Herbert Fall III
                  12801 Milligan Ave
                  Cleveland, OH 44135


                  Herbert Horn
                  17186 Prevost St
                  Detroit, MI 48235


                  Herbert Nelson
                  951 Coolidge Dr
                  Six Lakes, MI 48886


                  Herbert Obryan
                  5449 Woodside Road
                  Mentor-on-the-Lake, OH 44060


                  Herbert Spencer
                  24201 Bryants Church Rd
                  capron, VA 23829


                  Herbie Dunlow
                  9520 Pridesville Rd
                  Amelia Court House, VA 23002


                  Herc Rentals, Inc.
                  PO Box 936257
                  Atlanta, GA 31193


                  Herman Barnes
                  207 Steelecreek Dr
                  Midland, GA 31820


                  Herman Bland
                  13300 Bradley Bridge Road
                  Chester, VA 23831


                  Herman Davis
                  9836 Bridgeport Rd
                  Arvonia, VA 23004
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                  Herman Gary
                  8026 South Talman Avenue
                  Chicago, IL 60652


                  Herman Gibson
                  709 Maryland Ave
                  Hampton, VA 23661


                  Herman Koresh
                  3281 Eastgate Street
                  Burton, MI 48519


                  Herman Miller
                  6741 Forestdale Avenue
                  Hammond, IN 46323


                  Herman Roe
                  85 Lakefront St
                  Victoria, TX 77905


                  Herman Russell
                  4302 Camille Avenue Northwest
                  Roanoke, VA 24017


                  Herman Sizemore
                  2513 Browning Lambert Mountain Rd
                  Rock, WV 24747


                  Herman Sprague
                  1474 Kerr Road
                  Bidwell, OH 45614


                  HERMAN STUBBLEFIELD
                  3486 Treeline Drive
                  Murrysville, PA 15668


                  Herman West
                  1010 County Route 13/3
                  Saxon, WV 25180


                  Hermen Pettiway
                  19733 Justine St
                  Detroit, MI 48234
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                  Hermes Hernandez
                  844 Brookberry Farm Circle
                  Winston-Salem, NC 27106


                  Hernan Bravo
                  951 Drake Lane
                  harrisonburg, VA 22802


                  Hernan Garcia
                  229 Hawks Bill Drive
                  Lincolnton, NC 28092


                  Hernan rodriguez-Zambrana
                  10911 Harmony Glen Ct
                  Charlotte,, NC 28273


                  Heston Stein
                  3023 N. Altadena Avenue
                  Royal Oak, MI 48073


                  Hewitt Solutions, PLLC
                  2829 Monteith Rd
                  Richmond, VA 23235


                  Heyl, Royster, Voelker & Allen, P.C.
                  PO Box 6199
                  Peoria, IL 61601


                  Hiawatha Clemons
                  178 Deerwood Dr
                  Charlottesville, VA 22911


                  Hilario Bodella
                  17500 Mulvaney Road
                  Manchester, MI 48158


                  Hilbert Hayes
                  325 Shoreline Dr
                  Hampton, VA 23669


                  Hilda Conde-Ramirez
                  11821 Robious Rd
                  Midlothian, VA 23113
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                  Hilda Littlejohn
                  1368 Oak Ridge Road
                  Gaffney, SC 29341


                  Hilda Marsden
                  282 Turnbridge Cir
                  Peachtree City, GA 30269


                  Hilda Ramirez
                  11821 Robious Rd
                  Midlothian, VA 23113


                  Hilda Straughn
                  161 Straughn Lane
                  Beulaville, NC 28518


                  Hildagard Painter
                  1489 RHINEHART RD
                  BELLVILLE, OH 44813


                  Hildeberto Ramirez
                  484 Sunmeadow Drive SE
                  Grand Rapids, MI 49508


                  Hillary Martinek
                  36588 Boyce Dr
                  Clinton Twp, MI 48035


                  Hillary Sadler
                  3206 Poplar St
                  Port Huron, MI 48060


                  Hillsboro City Income Tax
                  130 N. High St.
                  Hillsboro,, OH 45133-1152


                  Hind Nicholas
                  4001 Longmore Lane
                  Kannapolis, NC 28081


                  Hiram Nieves
                  9 West Hefron Street
                  Washington, IN 47501
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                  Hiram Reyes Rabell
                  207 Addison Drive
                  Fayetteville, NC 28314


                  Hirofumi Matsumoto
                  62 Settlers Tr
                  Blairsville, GA 30512


                  Hirut Shiferaw
                  12983 Trentdale Dr
                  Woodbridge, VA 22193


                  hj cheong
                  4309 Hornyak Drive
                  Monroe, NC 28110


                  Hla Thein
                  405 Edgeknoll Ln
                  Fort Wayne, IN 46816


                  Hla Win
                  204 Pequeen Street
                  Fort Wayne, IN 46804


                  Hoa Nguyen
                  113 Whipp Driv
                  Winchester, VA 22602


                  Hoang Le
                  2610 Weathersford Rd
                  Mint Hill, NC 28227


                  Hoang Luu
                  6724 Wendy Jean Drive
                  Morrow, GA 30260


                  Hoang Nguyen
                  10985 Boutilier Ln
                  Manassas, VA 20112


                  Hohn Church
                  6400 Congo Road
                  Wilkesboro, NC 28697
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                  holbert phillps
                  819 New Garden Road
                  Cleveland, VA 24225


                  Holli Carag
                  186 Hunters Crossing
                  Shady Spring, WV 25918


                  Holli Verhovsek
                  11548 104th Ave
                  West Olive, MI 49460


                  Hollie Hancock
                  2284 Memorial Dr
                  Castlewood, VA 24224


                  Hollie Walton
                  6483 Southeast Irwin Road
                  Cameron, MO 64429


                  Hollitte Greene
                  15732 Roth Rd
                  Grabill, IN 46741


                  Holly Baker
                  1465 Dockham Rd
                  Columbiaville, MI 48421


                  Holly Buskey
                  4684 Grayson Turnpike
                  Crockett, VA 24323


                  HOLLY CHILTON
                  112 Hensley Heights
                  Harrodsburg, KY 40330


                  Holly Coker
                  105 N Fairway Dr
                  Nebo, NC 28761


                  Holly Fortuna
                  2345 Maplecrest Drive
                  Waterford Township, MI 48327
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                  Holly Julian
                  4131 W Sandy Street
                  Battlefield, MO 65619


                  Holly Marrow
                  50 Griggs St
                  Christiansburg, VA 24073


                  Holly McCue
                  212 West Elizabeth Street
                  Stockbridge, MI 49285


                  Holly McDonagh
                  4970 West Drive North
                  Battle Creek, MI 49017


                  Holly Nance
                  1024 CATHEDRAL DR
                  SUFFOLK, VA 23434


                  Holly Pugh
                  20 King Charles Drive
                  Seabrook, SC 29940


                  Holly Quillin
                  101 Baltzley Valley Road Southeast
                  New Philadelphia, OH 44663


                  Holly Seabolt
                  2620 Saint Elmo NE
                  Canton, OH 44714


                  Holly Szych
                  765 Donna Dr
                  Temperance,, MI 48182


                  Holly Tarr
                  10728 Aboite Road
                  Roanoke, IN 46783


                  Holly Witt
                  474 Kemp Road
                  Gallatin, TN 37066
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                  homer buchanan
                  27 Greacian Avenue
                  Dayton, OH 45426


                  Homer Horning
                  7373 Garfield Road
                  Bentley, MI 48613


                  Homer McAdoo
                  310 Holland Point Road
                  stewart, TN 37175


                  Homer Stringer
                  833 Greenfield Ln
                  Chesapeake, VA 23322


                  Hope Bruner
                  113 Kent Drive
                  Wood Heights, MO 64024


                  Hope Geer
                  4510 Golfview Dr
                  Anderson, IN 46011


                  Hope Hamer
                  6320 Barnetts Rd
                  Charles City, VA 23030


                  Hope Richardson
                  13311 Vistula Drive
                  Bristol, IN 46507


                  Hopeton Cameron
                  716 Minsi trail east
                  Long Pond, PA 18334


                  Horace Chester
                  2415 Ludlow Street
                  Norfolk, VA 23504


                  Horace Dillard
                  154 Wiltshire Ave
                  Vine Grove, KY 40175
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                  Horace Hall
                  62 Wildwood Way
                  Cameron, NC 28326


                  Horace McGhee
                  10240 Gregorys Grove Court
                  Manassas, VA 20110


                  Horace Miller
                  13705 Vassar Dr
                  Detroit, MI 48235


                  Horace Williamson
                  3217 Meadowbrook Ln
                  Chesapeake, VA 23321


                  Horatio Pinnock
                  1903 Lawn Avenue
                  Cincinnati, OH 45237


                  Hoshea Rittenhouse
                  6793 Kristins Cove Ln
                  Canal Wincheste, OH 43110


                  Hossam Sadaka
                  1958 Post Chaise Ct
                  Bloomfield Hills, MI 48304


                  Howard and Linda Jack-Bey
                  12861 Sussex Street
                  Detroit, MI 48227


                  Howard Anderson
                  4518 Charlestown Pike
                  Jeffersonville, IN 47130


                  Howard Barber
                  67984 OH-124
                  Reedsville, OH 45772


                  Howard Bearup
                  13150 Dixie Highway
                  Birch Run, MI 48415
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                  Howard Brooks
                  156 8th st
                  Renovo, PA 17764


                  Howard Cook
                  7184 Dryburg Rd
                  Scottsburg, VA 24589


                  Howard Davis
                  6164 White Sands Dr
                  Otter Lake, MI 48464


                  Howard Day
                  5380 Arlington Avenue
                  St. Louis, MO 63120


                  Howard Dean
                  7070 South 27th Street
                  Scotts, MI 49088


                  Howard Feit
                  6358 Timberwood South
                  West Bloomfield Township, MI 48322


                  Howard Hawkes
                  534 East Main Street
                  Pinckney, MI 48169


                  Howard Hibbett
                  689 Mcneices Ridge Rd
                  Crossville, TN 37367


                  Howard Hughey
                  119 State Road S-11-590
                  Gaffney, SC 29340


                  Howard Jones
                  703 HIDDENLAKE CT
                  Browns Summit, NC 27214


                  Howard Lohnes
                  1133 Valley Stream Court
                  Virginia Beach, VA 23464
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                  Howard McFarland
                  2277 Rector Creek Road
                  Thompsonville, IL 62890


                  Howard Morgan
                  68 Morgan Creek Dr
                  Pisgah Forest, NC 28768


                  Howard Sarquist
                  165 Morgan Valley Lane
                  Foley, MO 63347


                  Howard Segee
                  3530 Roswell Rd SW
                  Carrollton, OH 44615


                  Howard Serafine
                  1922 Sherwood Drive
                  Cape Girardeau, MO 63701


                  Howard Sheinfeld
                  1703 Vermira Pl
                  Charlottesville, VA 22901


                  Howard Smith
                  24 Woody Way NE
                  Adairsville, GA 30103


                  Howard Snider
                  5555 Sandudky Rd
                  Lima, OH 45801


                  Howard Steffik
                  55 Dwight Ave
                  Moundsville, WV 26041


                  Howard Vey
                  42 Hatfield Lane
                  Canonsburg, PA 15317


                  HOWARD WEAVER
                  400 Bradford Ave
                  Norfolk, VA 23505
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                  Howard Wesenberg
                  219 Dickens Drive
                  Toledo, OH 43607


                  Howard Williams
                  211 Spruce Lane
                  Callaway, VA 24067


                  Howard Wilson
                  116 Mallard Path
                  Bushkill, PA 18324


                  Howard YOUNG
                  423 Quail Hollow Road
                  South Hill, VA 23970


                  Howie Marunde
                  8400 Howe Road
                  Wonder Lake, IL 60097


                  Hrishi Sekido
                  2773 Lake Charnwood Dr
                  Troy, MI 48098


                  Hubeart Brown
                  555 Stillwater Road
                  Windsor, SC 29856


                  Hubert Brown
                  25731 S Dr South
                  Homer, MI 49245


                  Hubert Hickey
                  6423 E Pemboke Ct
                  Camby, IN 46113


                  Hubert Thomas
                  301 Tattlers Trail
                  Irmo, SC 29063


                  Hubert Wisenbarger
                  4185 Bloomfield Rd
                  Cambridge, OH 43725
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                  Hueman People Solutions, LLC
                  320 1st Street N, Suite 101
                  Jacksonville Beach, FL 32250


                  Hugh CONNELL
                  141 May Apple Lane
                  Nellysford, VA 22958


                  Hugh Hanson
                  3 Morgan Street
                  Basye, VA 22810


                  Hugh Pabarue
                  46010 Private Shore Dr
                  New Baltimore, MI 48047


                  Hugh Webster
                  208 Shadowbrook Dr
                  Burlington, NC 27215


                  Hugh Williams
                  2589 U.S. 41 Alternate
                  Dixon, KY 42409


                  hugh wright
                  32845 Bertrand Street
                  Niles, MI 49120


                  Hugo Ramirez
                  2007 Eastfield Circle
                  Missouri City, TX 77459


                  Hugueline Louis
                  615 Washington Place
                  Tobyhanna, PA 18466


                  Humberto Nagera
                  6579 Milan-Oakville Road
                  Milan, MI 48160


                  Hung Nguyen
                  22161 Sylvan Ave
                  Brownstown, MI 48134
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                  Hunter Gough
                  3360 Courthouse Road
                  Louisa, VA 23093


                  Hunter Knapp
                  726 Rolling Meadows Rd
                  Grand Rivers, KY 42045


                  Hunter Lareau
                  4030 North 71st Terrace
                  Kansas City, KS 66104


                  Hunter Larocco
                  120 Burnetts Court
                  Suffolk, VA 23434


                  Hunter Morgan
                  1090 Dunvegan Road
                  Florence, SC 29501


                  Hunter Yancey
                  1646 Tudor Dr
                  Asheboro, NC 27205


                  Huntington National Bank
                  41 South High Street, HC0910
                  Columbus, OH 43215


                  Hursel King
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                  Ste. Genevieve, MO 63670


                  Hyacinth Davis
                  5006 Grist Mill Dr
                  Villa Rica, GA 30180


                  Hyuna Lee
                  11039 Pierce Valley Drive
                  Richmond, TX 77406


                  Ian Anderson
                  1697 Becket Ave
                  Columbus, OH 43235
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                  ian blair
                  626 Cisler Dr
                  Marietta, OH 45750


                  Ian Bock
                  3271 Streamview Court
                  Bellbrook, OH 45305


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                  Grayson, GA 30017


                  Ian Bugenske
                  4158 Bradford Dr
                  Saginaw, MI 48603


                  Ian Carrillo
                  7546 Hoefork Lane
                  Gloucester Point, VA 23062


                  Ian Corritore
                  4710 bowes ave
                  West Mifflin, PA 15122


                  Ian Evans
                  3011 Old Berwick St SW
                  Shallotte, NC 28470


                  Ian Fraser
                  6915 Goodemoot Road
                  Clarksville, MI 48815


                  Ian Goodwin
                  334 Roses Mill Rd
                  Amherst, VA 24521


                  Ian Hall
                  9501 Blue Ridge Drive
                  Hurt, VA 24563


                  Ian Hardy
                  69145 Boden Rd
                  New Concord, OH 43762
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                  Ian Hooker
                  606 South Farmer Street
                  Otsego, MI 49078


                  Ian MacAlister
                  145 Alaric Drive
                  Hampton, VA 23669


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                  Ian Mesich
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                  Michigan City, IN 46360


                  Ian Montgomery
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                  Belleville, IL 62221
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                  Cherokee, NC 28719


                  Ida Vogelgesang
                  606 Meadow Oaks Drive
                  Saint Clair, MO 63077


                  Ida Wilson
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                  Bluefield, WV 24701


                  Idalia Ramirez
                  54945 Bittersweet Rd
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                  Everett, WA 98201


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                  EVERETT, WA 98213


                  IDI Distributors, Inc.
                  Bin 88008
                  Milwaukee, WI 53288-0008


                  Ifeoma Okekearu
                  5349 Highland Avenue
                  Kansas City, MO 64110


                  Ifrain Morin
                  3792 E 2702nd Rd
                  Sheridan, IL 60551
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                  Ignacio Cruz
                  1903 Silver Creek Place
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                  Pinckney, MI 48169


                  Illinois Department of Labor
                  2309 West Main Street
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                  Marion, IL 62959


                  Illinois Department of Revenue
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                  Suite 1100
                  Chicago, IL 60661


                  Ilonka Harezi
                  1486 IL-1
                  Saint Francisville, IL 62460


                  Imad Barakeh
                  966 Strickland Blvd
                  Virginia Beach, VA 23464


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                  Wilxom, MI 48393


                  Imaginit Technologies
                  28127 Network Place
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                  Imelda Lynn Hill
                  14632 Petal Lane
                  Battle Creek, MI 49014


                  Immanuel Iswariah
                  3220 Garland Ave
                  Richmond, VA 23222
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                  In Re: v. PHS
                  Ryan D. Barack Kwall Barack Nadeau, PLLC
                  304 South Belcher Road
                  Suite C
                  Clearwater, FL 33755


                  Ina Grace Simpson
                  205 Cowan Cove rd
                  Asheville, NC 28806


                  Ina Stephens
                  4886 Dick Woods Rd
                  Charlottesville,, VA 22903


                  Indea Cotner
                  208 Finland Drive
                  Eaton, OH 45320


                  Indeed
                  7501 NORTH CAPITAL OF TEXAS HWY.
                  AUSTIN, TX 78731


                  Inderpal Sandhu
                  38495 Aurora Road
                  Solon, OH 44139


                  India Williams
                  4365 Greentree Trail
                  College Park, GA 30349


                  Indiana Department of Revenue
                  PO Box 7147
                  Indianapolis, IN 46207-7147


                  Indiana Memorial Cremation
                  3562 West 10th Street
                  Indianapolis, IN 46222


                  Indianapolis Colts
                  500 South Capitol Avenue
                  Indianapolis, IN 46225


                  Indya Hairston
                  635 Milford Ave
                  Hampton, VA 23661
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                  Information and Computing Services, Inc
                  3563 Philips Highway, Suite F-601
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                  1485 Sherwood Rd
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                  5043 Eastwin Dr
                  Winston-Salem,, NC 27104


                  Inita Diaz
                  306 Miles Road
                  Shelby, NC 28150


                  Inmar Cedillos
                  14738 Darbydale Ave
                  Woodbridge, VA 22193


                  Inna Pencheva
                  2606 S Pilot Ln
                  Nags Head, NC 27959


                  Insight Direct USA, Inc
                  6820 S Harl Ave
                  Tempe, AZ 85283


                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Intralinks, Inc
                  622 3rd Ave, 10th Floor
                  New York, NY 10017


                  Ira Cox
                  18300 Pine Meta Court
                  Cornelius, NC 28031


                  Ira Good
                  23490 Road H
                  Continental, OH 45831
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                  Ira Hudson
                  301 Signal View St, Chattanooga, TN 3741
                  Chattanooga, TN 37415


                  Ira Ron Watkins
                  113 Justin Lane
                  Lewisburg, NC 27549


                  Ira Sanborn
                  206 Evans St
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                  Iralifsa Renta
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                  IRAN RESENDIZ
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                  Iredell County Department of Tax Adminis
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                  Statesville, NC 28687


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                  Irena Hramenkova
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                  Cary, NC 27513


                  Irene Bryske
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                  Irene Chan
                  9 Levelwind ct
                  Greensboro, NC 27455
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                  Irene Gaye
                  7009 Knotty Pine Drive
                  Chapel Hill, NC 27517


                  Irene Hill
                  3278 W Charmwood Dr
                  Port Huron, MI 48060


                  Irene Kolb
                  1615 Myrtle Rd
                  Tazewell, VA 24651


                  Irene Kuncelman
                  1104 Meadow Lane
                  Duncansville, PA 16635


                  Irene Yupanqui
                  7736 Ponderosa Pine Lane
                  Charlotte, NC 28215


                  Iretha Callenders
                  109 Allison Rd
                  Newport News,, VA 23602


                  Iris Argroe
                  114 Clay Brook Drive
                  Goldsboro, NC 27530


                  Iris Floyd Norris
                  405 Kimball Drive
                  Marion, SC 29571


                  Iris Henriquez
                  120 Elmwood Rd
                  Winchester, VA 22602


                  Iris McCoy
                  16597 Blacker Road
                  Ashville, OH 43103


                  Iris Norris
                  405 Kimball Drive
                  Marion, SC 29571
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                  Iris Rodriguez
                  1897 Yaebo Way
                  Leland, NC 28451


                  IrisLarry Vanderhoef
                  17423 80th Avenue
                  Marion, MI 49665


                  Irma Fitch
                  2325 Valley Creek Way
                  Indianapolis, IN 46229


                  Irma Gilley
                  918 Porterfield Dr
                  Burlington, NC 27217


                  Irma Kimmel
                  802 South Elm Street
                  Sesser, IL 62884


                  Irma Ortiz
                  5100 St Lawrence St
                  Detroit, MI 48210


                  Ironton City Income Tax
                  P.O. Box 704
                  Ironton, OH 45638-0704


                  Irvin Butler
                  230 Rustic Hill Ln
                  Amherst, OH 44001


                  Irving Jessie
                  5315 Bull St
                  Augusta, GA 30909


                  Irving Turnbull
                  611 Bobwhite St
                  Johnstown, PA 15904


                  Irwin Guzman
                  296 Northridge Drive
                  Clarksville, TN 37042
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                  Irwinton 1677, LLC
                  640 NE 32 St
                  Boca Raton, FL 33431


                  Irwinton 1677, LLC
                  640 NE 32nd Street
                  BOCA RATON, FL 33431


                  Isa Castillo
                  141 Bluebird Lane
                  Winfield, PA 17889


                  Isaac Bost
                  226 Ashcraft Drive
                  Granville, OH 43023


                  Isaac Bullock
                  2953 Gresham Rd S E
                  Atlanta, GA 30316


                  Isaac Burleson
                  102 Hoopers Creek Rd
                  Fletcher, NC 28732


                  Isaac Camara
                  2712 SE 3rd St
                  Blue Springs, MO 64014


                  Isaac Dawson
                  3213 Edinburgh Drive Northwest
                  Wilson, NC 27896


                  Isaac Files
                  5031 Cedarwood Dr
                  Winston-Salem, NC 27103


                  Isaac Hopkins
                  168 Hugh Drive
                  Smithfield, NC 27577


                  Isaac Kurtz
                  2468 Dudley Hill Rd
                  Middlebourne, WV 26149
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                  Isaac Martin
                  1521 Moore Rd
                  Woodland, MI 48897


                  Isaac Osei Amponsah
                  1388 Sunnybrook Ln
                  Greenwood, IN 46143


                  Isaac Phares
                  16402 East Wagner Road
                  Sandborn, IN 47578


                  Isaac Pinkstock
                  2660 Pine Grove Rd SW
                  Lancaster, OH 43130


                  Isaac Santa
                  137 Boulevard Ave
                  Throop, PA 18512


                  Isaac smith
                  242 South Miller Road
                  Fairlawn, OH 44333


                  Isaac Thompkins
                  812 13th Street
                  Ambridge, PA 15003


                  Isaac Waters
                  1307 35th Street
                  Columbus, GA 31904


                  Isaac Willard
                  39234 Charbeneau St
                  CLINTON TOWNSHIP, MI 48036


                  Isaac Williamson
                  1801 Meathouse Fork
                  Canada, KY 41519


                  Isaac Wilson
                  100 Waters Way Dr
                  Lillington, NC 27546
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                  Isabel Gutierrez
                  3920 Lost Willow Dr
                  Mason, OH 45040


                  Isabel Raymond
                  5611 Wyalong Drive
                  Charlotte, NC 28227


                  Isabell Zaretti
                  8454 Goodview Road
                  Goodview, VA 24095


                  Isai Lemus
                  236 Nightingale Ave
                  Stephens City, VA 22655


                  Isaiah Brown
                  17 Wildflower Way
                  Streamwood, IL 60107


                  Isaiah Naylor
                  10453 PA-403
                  Seward, PA 15954


                  Ischel Eller
                  1399 Old US 421 Rd
                  Wilkesboro, NC 28697


                  Ishaq Salahuddin
                  5400 Depaul Drive
                  Fairview Heights, IL 62208


                  Ishmael Acoff
                  7131 Mississippi Street
                  Merrillville, IN 46410


                  Isidra Sandoval
                  1675 Godfrey Avenue Southwest
                  Wyoming, MI 49509


                  Ismael Castro
                  12031 Woodland Trail
                  Nunnelly, TN 37137
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                  Ismael Constanza
                  42955 Sundance Square
                  Broadlands, VA 20148


                  Ismael Delacruz
                  911 North Church Street
                  Zebulon, NC 27597


                  Ismael Gaytan
                  1344 Red Rambler Rd
                  Jenkintown, PA 19046


                  Ismael Zina
                  335 S Notre Dame Ave
                  South Bend, IN 46617


                  Issac Washington
                  3811 Cape Henry Ave
                  Norfolk, VA 23513


                  Issac Zent
                  3090 Scott Street
                  Zanesville, IN 46799


                  ISTVAN FROHLING
                  9660 Niver Avenue
                  Allen Park, MI 48101


                  Ittelo Pasha
                  15325 Greenlawn Street
                  Detroit, MI 48238


                  Iva Gilchrist
                  414 North Ivy Avenue
                  Highland Springs, VA 23075


                  Iva Sawtelle
                  5612 Jacksonburg Road
                  Trenton, OH 45067


                  IVA WALKER
                  8289 Park Avenue
                  Garrettsville, OH 44231
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                  Ivan Barrantes
                  1699 Long Branch Lane
                  Mount Pleasant, TN 38474


                  Ivan Elkin
                  52541 Fry Rd
                  Pleasant City, OH 43772


                  ivan galarno
                  4375 Sebewaing Road, Owendale, MI
                  Owendale, MI 48754


                  Ivan Gale Elkins
                  52541 Fry Rd
                  Pleasant City, OH 43772


                  Ivan Page
                  1651 Celerity Drive
                  Florissant, MO 63031


                  Ivan Robelly
                  38881 Dobbins Creek Lane
                  Lovettsville, VA 20180


                  Ivan Russell
                  51 Robinhood Road
                  Pittsburgh, PA 15220


                  Ivan Williams
                  908 Satinwood Ct
                  Fayetteville, NC 28312


                  Ivano Justice
                  329 Hampton Roads Avenue
                  Hampton, VA 23661


                  Ivette Harlow
                  2122 Briley Road
                  Greenville, NC 27834


                  Ivory Levigne
                  19918 Brightstone Drive
                  Humble, TX 77338
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                  Ivory Witherspoon
                  5130 Greeleyville hwy
                  Manning, SC 29102


                  Ivy Crapp
                  404 Thomas Drive
                  Jacksonville, NC 28546


                  Ivy Sweeney
                  185 Watershed Way
                  Fayetteville, GA 30215


                  Izabela Lubinska
                  903 Shoal Creek Rd
                  Whittier, NC 28789


                  J Anderson
                  7121 Union Schoolhouse Rd
                  Dayton, OH 45424


                  J Cooper
                  743 Lochmoor Boulevard
                  Grosse Pointe Woods, MI 48236


                  J Edward Rauch
                  2435 Glosser Road
                  Lebanon, OH 45036


                  J Lyle Story
                  4429 Cherokee Drive
                  Suffolk, VA 23434


                  J McFarland
                  572 North Ohio Boulevard
                  Salem, OH 44460


                  J McMurtry
                  176 Elder Avenue
                  Chicago Heights, IL 60411


                  J Trexler
                  6565 Hidden Falls
                  Salem, VA 24153
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                  J-Lisa Burkhalter
                  5536 Winchester Meadows Drive
                  Canal Winchester, OH 43110


                  Jaaron Snyder
                  109 Russell Street
                  Spartanburg, SC 29307


                  Jabez Corbett
                  968 Hawkins Rd
                  Crandall, GA 30711


                  Jabrell Thomas
                  548 Harpersville road
                  Newport Nws, VA 23601


                  Jacalynn Morey
                  608 burt st
                  Mason, MI 48854


                  Jachob Collins
                  751 3rd Street
                  Stone Mountain, GA 30083


                  Jaci Floyd
                  733 Turtle Bay Rd Boonville, IN 47601
                  Boonville, IN 47601


                  Jack Arnold
                  14310 Broadwood Dr
                  Burton, OH 44021


                  jack bark
                  2980 18 Mile Road
                  Barryton, MI 49305


                  Jack Bark Jr.
                  2980 18 Mile Road
                  Barryton, MI 49305


                  Jack Bickel
                  7571 Kingsley Rd
                  Kingsley, MI 49649
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                  Jack Bielefeld
                  8467 Rye Creek Road
                  Lonedell, MO 63060


                  Jack Birkhimer
                  220 Eaglerock Rd
                  Wampum, PA 16157


                  Jack Cline
                  105 Arnold Palmer Dr
                  Grove City, PA 16127


                  Jack Cornett
                  16089 Addison Rd.
                  Addison, MI 49220


                  Jack Craig
                  5681 Horning Rd
                  Kent, OH 44240


                  JACK CRANFORD
                  18298 GOSPEL TEMPLE RD
                  Melfa, VA 23410


                  Jack Cron
                  311 Rivers Edge Rd
                  siler city, NC 27344


                  Jack Disney
                  1238 Cherokee Circle Drive
                  Sevierville, TN 37862


                  Jack Enen
                  6300 Patrick Rd
                  North Branch, MI 48461


                  Jack Findley
                  590 Nelson Road
                  Sequatchie, TN 37374


                  Jack Gall
                  230 Raintree Drive
                  Hendersonville, NC 28791
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                  Jack Gibbs
                  8543 Dover Downs Court
                  Gainesville, VA 20155


                  Jack Grimes
                  118 Wendy St
                  Stafford, VA 22554


                  Jack Grund
                  11051 Indiana 140
                  Knightstown, IN 46148


                  Jack Halstead
                  1560 Green Farm Road
                  Danville, VA 24540


                  Jack Hanham
                  4416 10th St
                  Ecorse, MI 48229


                  Jack Hannold
                  1231 E Nye Hwy
                  Charlotte, MI 48813


                  jack harris
                  1901 N 300 E
                  Monticello, IN 47960


                  Jack Hetu
                  29132 Brody Ave
                  Westland, MI 48185


                  Jack Heubish
                  1169 Sabel Loop SE
                  Bolivia, NC 28422


                  Jack Housley
                  1629 Knob Road
                  Maryville, TN 37803


                  Jack Hughes
                  79 N18th Road
                  Tonica, IL 61370
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                  Jack James
                  192 Laurel St
                  Nanticoke, PA 18634


                  Jack Johnson
                  4098 Watercourse Dr
                  Medina, OH 44256


                  Jack Jones
                  520 Clark State Rd Columbus, OH 43230
                  colombus, OH 43230


                  Jack Joyner
                  3365 York Rd
                  Winston-Salem, NC 27106


                  Jack Kanitz
                  36 wilcox st
                  Milan, MI 48160


                  Jack Kaschak
                  10560 River Edge Drive
                  Parma, OH 44130


                  Jack Kaylor
                  511 East Pine Street
                  Gillespie, IL 62033


                  Jack Kerr
                  3922 Carl St NW
                  Uniontown, OH 44685


                  Jack Kincaid
                  570 Gamble Gap Road
                  Tellico Plains, TN 37385


                  Jack King
                  7004 Fountainbrook Drive
                  Indian Trail, NC 28079


                  Jack Krynicki
                  413 North William Street
                  Joliet, IL 60435
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                  Jack Lawson
                  7636 Talladay Road
                  Milan, MI 48160


                  Jack Lulis
                  5221 Knoll Rd
                  Capac,, MI 48014


                  Jack Manfredi
                  830 Sunbeam Drive
                  Lincolnton, NC 28092


                  Jack Mason
                  4095 Pitkin Road
                  Martinsville, IN 46151


                  jack mckeehan
                  14457 Wooster Rd
                  Mount Vernon, OH 43050


                  Jack Mcrae
                  731 Cabin Creek Road
                  Biscoe, NC 27209


                  Jack Menge
                  1930 North Charles Street
                  Belleville, IL 62221


                  Jack Mitchem
                  3649 Andrews Dairy Road
                  Greensboro, NC 27406


                  Jack Moore
                  29 Old English Court
                  Smithfield, NC 27577


                  Jack Morgenroth
                  15 St Edmunds Pl Dr
                  Cincinnati, OH 45256


                  Jack Owen
                  8214 Beaver Dam Road
                  Autryville, NC 28318
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                  Jack Owen
                  107 Holly Lane
                  Bristol, VA 24201


                  Jack Pettigrew
                  22885 South Mount Pleasant Road
                  Hartsburg, MO 65039


                  Jack Powell
                  5437 S Holland Rd
                  Sheridan, MI 48884


                  Jack Rayce
                  1351 Riverview Ave
                  Monroe, MI 48162


                  Jack Reeves
                  11580 N Main St
                  Roscommon, MI 48653


                  Jack Rich
                  14880 Painesville Warren rd
                  Thompson, OH 44086


                  Jack Roberts
                  105 Mackinaw Trail
                  Le Roy,, MI 49655


                  Jack Robinson Jr
                  26636 Oregon Rd
                  Perrysburg, OH 43551


                  Jack Rooney
                  94 Woodside circle
                  Jersey Shore, PA 17740


                  Jack Ross
                  3451 Lower Sandford Rd
                  West Terre Haute,, IN 47885


                  Jack Sawer
                  13802 Bliven Rd
                  Byron, MI 48418
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jack Selcovitz
                  2036 High Rock Hill Rd
                  Pilot, VA 24138


                  Jack Sendak
                  117 Redwood Street
                  Moyock, NC 27958


                  Jack Speece
                  3402 Gray Moss Rd
                  Charlotte, NC 28270


                  JACK STANBERRY
                  1510 Muskegon Dr
                  Cincinnati, OH 45255


                  Jack Stearns
                  4426 Gum Branch Road
                  Jacksonville, NC 28540


                  Jack Swan
                  883 Trifecta Ct
                  Columbus, OH 43230


                  Jack Swartz
                  1405 Freeport Road
                  Kittanning, PA 16201


                  Jack Tipton
                  7615 Rte 6N
                  Edinboro, PA 16412


                  Jack White
                  1715 W Price Rd
                  St Johns, MI 48879


                  Jack Wilcox
                  7094 Strawberry Lane
                  Clarksville, MI 48815


                  Jack Willacker
                  2986 Hamilton Road
                  Muskegon, MI 49445
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                  Jack Williams
                  5441 Zoar Road
                  Cheraw, SC 29520


                  Jack Williamson
                  1118 North 300 East Road
                  Thawville, IL 60968


                  Jack Wilson
                  16430 140th Avenue
                  Le Roy, MI 49655


                  Jack Zamora
                  23260 Spring Crest Drive
                  Carrollton, VA 23314


                  Jacki Conway
                  229 Cedar Rd
                  Chesapeake, VA 23322


                  Jackie Borum
                  4021 Granville Avenue
                  Bartonville, IL 61607


                  Jackie Crone Beasley
                  11571 Cosby Mill Rd
                  New Kent, VA 23124


                  Jackie Dowell
                  5525 Sugar Grove Highway
                  Sugar Grove, VA 24375


                  Jackie Farmer
                  108 Clover st
                  Mt Holly, NC 28120


                  Jackie Frederick
                  4 Timber Lane
                  Poquoson, VA 23662


                  Jackie Green
                  8545 Kentucky 81
                  Island, KY 42350
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                  Jackie Harris
                  708 Parks Street
                  Mountain View, AR 72560


                  Jackie Hickman
                  4237 Old Lyne Road
                  Virginia Beach, VA 23453


                  Jackie Hughes
                  5808 Keystone Furnace Road
                  Jackson, OH 45640


                  Jackie Jennings
                  517 West York Street
                  Brook, IN 47922


                  Jackie Jones Alexander
                  56150 Township Road 261
                  West Lafayette, OH 43845


                  Jackie Ketterman III
                  1809 4th St
                  Salisbury, NC 28144


                  Jackie Lewis
                  4902 Wood St
                  Waterford Twp,, MI 48329


                  Jackie Loewe
                  7907 Kathryn Rd
                  Needville, TX 77461


                  Jackie Meier
                  119 Himes Street Southeast
                  Grand Rapids, MI 49548


                  Jackie Nance
                  30039 Signboard Rd
                  Doswell, VA 23047


                  Jackie Newman
                  503 Homestead Ln
                  Lancaster, KY 40444
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                  Jackie North
                  19117 Smokey Road
                  Marysville, OH 43040


                  Jackie O'Daly
                  259 New Elam Church Rd
                  Moncure, NC 27559


                  Jackie Pagani
                  132 Ridgevue Road
                  New Brighton, PA 15066


                  Jackie Parsons
                  14331 Beaver Pond Road
                  Palestine, TX 75803


                  Jackie Pitkin
                  10671 Back Off Road
                  Midland, VA 22728


                  Jackie Robinson
                  145 woodshire drive
                  Lillington, NC 27546


                  Jackie Smith
                  2161 Brett Ct
                  Obetz, OH 43207


                  Jackie Southerland
                  307 South Carlton Street-Mailing address
                  Magnolia, NC 28453


                  Jackie Stewart
                  5240 Matt Hair Road
                  Fayetteville, NC 28312


                  Jackie Taylor
                  1441 Maxwell Dr
                  Flint, MI 48532


                  Jackie Thomas
                  101 Charles Dr
                  Morgantown, NC 28655
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                  Jackie Watson
                  7625 Halldale Rd
                  High Point, NC 27265


                  Jackie Winegar
                  2040 Woodbine St
                  Kingsport, TN 37660


                  jackie zimmerman
                  113 Bear Road
                  Hillsboro, KY 41049


                  Jacknael Peguero-San-Inocencio
                  3500 Mardean Dr.
                  Chesapeake, VA 23321


                  Jackson Bebber
                  24 Halyn Ln
                  Arden, NC 28704


                  Jackson Jarvis
                  73 Thunder Mountain Rd
                  Cowen, WV 26206


                  Jackson Lambert
                  3457 5 Mile Mountain Road
                  Callaway, VA 24067


                  Jackson Pierce
                  751 Galloway Drive
                  Fayetteville, NC 28303


                  Jaclyn Austin
                  11254 Hill View Drive
                  Lowell, MI 49331


                  Jaclyn Egler
                  1410 146th Ave
                  Dorr, MI 49323


                  Jaclyn Hilts
                  277 N Genesee St
                  Montrose,, MI 48457
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                  Jaclyn Karnes
                  3971 Virginia Byway
                  Bedford, VA 24523


                  Jaclyn Royal
                  429 Wynell Drive
                  Callands, VA 24530


                  Jaclyn Thorn
                  299 Sorghum Ridge Rd
                  Wheeling, WV 26003


                  Jaclyn Welicki
                  1308 Main Street
                  Melvin, MI 48454


                  Jaclyn Willman
                  342 Hillside Drive
                  Rossford, OH 43460


                  Jaclyn Wood
                  530 Pine Cone Drive
                  Lexington, TN 38351


                  Jacob "Jake" Revetta
                  537 Brook View Estates Drive
                  Antioch, TN 37013


                  Jacob Albrecht
                  567 Foxworth Rd
                  Asheboro, NC 27203


                  Jacob Allred
                  22 South Cherry Branch Loop
                  Crossville, TN 38571


                  Jacob Baldwin
                  508 Spring Avenue Southeast
                  Wise, VA 24293


                  Jacob Ballard
                  189 Forest Avenue
                  Pennington Gap, VA 24277
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                  Jacob Barber
                  13204 Fox Gate Drive
                  Spotsylvania Courthouse, VA 22553


                  Jacob Barnaby
                  1321 100th St SE
                  Byron Center, MI 49315


                  Jacob Beasley
                  7037 NC-50 S
                  Benson, NC 27504


                  Jacob Bergh
                  13498 Riverside Dr
                  Constantine, MI 49042


                  Jacob Brown
                  118 Blair Lane
                  Lebanon, TN 37087


                  Jacob Clemons
                  676 64th Street
                  South Haven, MI 49090


                  Jacob Cole
                  8997 Championship Drive
                  Davison, MI 48423


                  Jacob Coppage
                  426 McKinney Street
                  Fredericksburg, VA 22401


                  Jacob Daniels
                  533 Dunlap Hollow Road
                  Friendsville, TN 37737


                  Jacob DeFreeuw
                  2820 White Marsh Road
                  Suffolk, VA 23434


                  Jacob Eckley
                  109 Maple Farms Lane
                  Havelock, NC 28532
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                  Jacob Eller
                  111 Oak Drive Extension
                  Honea Path, SC 29654


                  Jacob Fox
                  37323 Laughlin Rd
                  Lisbon, OH 44432


                  Jacob Freeman
                  1725 Apache Way
                  Clarksville, TN 37042


                  Jacob Freeman
                  6900 Redwine Road
                  Wise, VA 24293


                  Jacob Friesner
                  1105 West kumler
                  Baltimore, OH 43105


                  Jacob Gerwig
                  351 School St
                  York, PA 17402


                  jacob Gidron III
                  78 Sand Oak Court
                  Blythewood, SC 29016


                  Jacob Gilbert
                  401 Wood Springs Road
                  La Grange, KY 40031


                  Jacob Grimm
                  7048 Darnell Street
                  Fayetteville, NC 28314


                  Jacob Hoback
                  403 Gunton Park Rd
                  Max Meadows, VA 24360


                  Jacob Holtzapple
                  351 S jameson Ave
                  Lima, OH 45805
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                  Jacob Jatta
                  2775 Old Barn Trail
                  Powder Springs, GA 30127


                  Jacob Knechel
                  571 Lee Rd
                  Clayton, NC 27520


                  Jacob Koch
                  110 Stolze Dr
                  East Alton, IL 62024


                  JAcob Kortz
                  6035 Farm Lane
                  Milan, TN 38358


                  Jacob Kunkel
                  1000 Lee Ave
                  Branson, MO 65616


                  Jacob Lamar
                  189 Sun Valley Court
                  Jackson, MO 63755


                  Jacob Landskroener
                  33530 Fernwood
                  Westland, MI 48186


                  Jacob Long
                  1801 Tam O Shanter Ct
                  Kokomo, IN 46902


                  Jacob Mayer
                  5709 Firwood Pl
                  Columbus, OH 43229


                  Jacob McGuirk
                  51 Summit Avenue
                  Foxburg, PA 16049


                  Jacob Meade
                  3853 Johnson Road
                  Springfield, OH 45502
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                  Jacob Mendenhall
                  2118 John Street
                  Hamilton, OH 45011


                  Jacob Moore
                  119 S Franklin St
                  St. Louis, MI 48880


                  Jacob Ramsey
                  207 Crescent Court
                  Cranberry Township, PA 16066


                  Jacob Ravenell Jr
                  1193 Unity Road
                  Saint Stephen, SC 29479


                  Jacob Risner
                  16560 Montra Rd
                  Anna, OH 45302


                  Jacob Ruby
                  5455 Coopermill Rd
                  Zanesville, OH 43701


                  Jacob Runyon
                  409 Weston St
                  Portsmouth, VA 23702


                  Jacob Seiler
                  10283 State Route 108
                  Wauseon, OH 43567


                  Jacob Smith
                  19 Wade Street
                  Winder, GA 30680


                  Jacob Smith
                  1139 Fulwell Dr
                  Ontario, OH 44906


                  Jacob Sokolowski
                  104 1st Avenue
                  Midland, PA 15059
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                  Jacob Stansbury
                  4024 Brewster Dr
                  Westlake, OH 44145


                  Jacob Stein
                  1079 Howardsville Turnpike
                  Stuarts Draft, VA 24477


                  Jacob Stoltzfus
                  55920 Wynnewood Drive
                  Osceola, IN 46561


                  Jacob Taylor
                  762 Robinwood Ave
                  Sheffield Lake,, OH 44054


                  Jacob Townsend
                  3201 Edgewood Dr
                  Evansville, IN 47712


                  Jacob Trefney
                  1224 Beethoven Ct
                  Virginia Beach, VA 23454


                  Jacob Turner
                  115 Country Manor Lane
                  Linden, PA 17744


                  Jacob Vandenberg
                  60 Waters Road
                  Asheville, NC 28805


                  Jacob Voss
                  6453 Fishing Pond Court
                  High Point, NC 27265


                  Jacob Warden
                  511 w Jefferson ave
                  Farina, IL 62838


                  Jacob Watters
                  9246 Homeside Dr
                  Indianapolis, IN 46250
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                  Jacob Wiley
                  1462 Gibson Road
                  Goshen, OH 45122


                  Jacob Wright
                  1917 S Hardy Ave
                  Independence, MO 64052


                  Jacque Book
                  112 Weckerly Road
                  Butler, PA 16002


                  Jacqueline Adamson
                  1645 Goshen Rd
                  Augusta, GA 30906


                  Jacqueline Araujo Hale
                  11639 Hamble Drive
                  Indianapolis, IN 46235


                  Jacqueline Barker
                  140 Casey Circle
                  Keeling, VA 24566


                  Jacqueline Bennett
                  29838 County Road 10
                  Elkhart, IN 46514


                  Jacqueline Berkley
                  742 Gaine Lynn Drive
                  Clarksville, TN 37040


                  Jacqueline Conner
                  8308 King Drive
                  Disputanta, VA 23842


                  Jacqueline Cristobal-Perez
                  337 N Shannon Rd
                  Red Springs,, NC 28377


                  Jacqueline Decker
                  1322 Orchard Lakes Circle
                  Belleville, IL 62220
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                  Jacqueline Haefner
                  841 East Bnvl-New Harmony Road
                  Evansville, IN 47725


                  Jacqueline harris
                  13435 Cambridge Court
                  Van Buren, MI 48111


                  Jacqueline Larkins
                  17246 Shaftsbury Avenue
                  Detroit, MI 48219


                  Jacqueline Lowe
                  520 Helton Dr
                  Clarksville, TN 37042


                  Jacqueline McCrary
                  220 Trelawney Circle
                  Covington, GA 30016


                  Jacqueline Monsanto
                  22273 Colette St.
                  Trenton, MI 48183


                  Jacqueline Nunn
                  482 Madison Street
                  Ypsilanti, MI 48197


                  Jacqueline Oder
                  100 W North St
                  Leadwood, MO 63653


                  Jacqueline Popejoy
                  100 North Bickett Road
                  Xenia, OH 45385


                  Jacqueline Rose
                  5286 Monticello Drive
                  Lapeer, MI 48446


                  Jacqueline Scott
                  2314 S Goyer Rd
                  Kokomo, IN 46902
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                  Jacqueline Smith
                  103 Fraser Rd
                  Valencia,, PA 16059


                  Jacqueline Todd
                  503 forest run dr
                  Eureka, MO 63025


                  Jacqueline Vande Streek
                  6611 N 32nd St
                  Richland, MI 49083


                  Jacqueline Vanheule
                  7006 McCaslan Lane
                  Waxhaw, NC 28173


                  Jacqueline Waldron
                  1369 Snyder Rd
                  New Milford, PA 18834


                  Jacquelyn Chamberlin
                  211 South St
                  Quincy, OH 43343


                  Jacquelyn Morris
                  508 Hammond Dr
                  Dalton, GA 30721


                  Jacquelyn Robinson
                  2754 Stauffer Drive
                  Dayton, OH 45434


                  Jacquelyn Suto
                  26704 Lemoyne Rd
                  Perrysburg,, OH 43551


                  Jacques Gascoyne
                  6816 Oakes Road
                  Brecksville, OH 44141


                  Jacques Narcisse
                  312 Goodale Road
                  Stroudsburg, PA 18360
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                  Jacquetta Owen
                  120 Massie Ln
                  Stephens City,, VA 22655


                  Jacquline Furby
                  318 Nolan Road
                  Goodells, MI 48027


                  Jacqulyn Jarosz
                  3130 Post Rd
                  Newport, MI 48166


                  Jacyr Ferreras
                  59384 Garver Avenue
                  Elkhart, IN 46517


                  Jada Wilson
                  19202 Marvin Rd
                  Warrensville Heights, OH 44128


                  Jade Price
                  37 Timberland Circle
                  Richmond Hill, GA 31324


                  Jadira Valencia
                  26103 Parkman Grove Dr
                  Richmond, TX 77406


                  Jae Ahn
                  202 Colonel Holcombe Place
                  Candler, NC 28715


                  Jae Cho
                  708 Indian Cave Rd
                  Ellijay, GA 30536


                  Jae Cho 2
                  708 Indian Cave Rd
                  Ellijay, GA 30536


                  Jafferie Garrison
                  12357 Porter Rd
                  Orange, VA 22960
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                  Jagadeeswara Nagalamadaka
                  852 Cozy Oak Ave
                  Cary,, NC 27519


                  Jahmard Hudson
                  126 Alexandria Drive
                  Macon, GA 31210


                  Jaime Bagos
                  51406 Caroline Drive
                  New Baltimore, MI 48047


                  Jaime Davis
                  2725 Fairview Pkwy
                  Wytheville, VA 24382


                  Jaime De Jesus
                  291 Bethany Road
                  Covington, GA 30016


                  Jaime Desjardin
                  264 N Homer Rd
                  Midland, MI 48640


                  Jaime Farley
                  1997 Saint Johns Road
                  Lascassas, TN 37085


                  Jaime Morales
                  17107 Jetton Park Lane
                  Humble, TX 77346


                  Jaimee Fogerty
                  6028 Ozark Drive
                  High Ridge, MO 63049


                  Jaipal Singh
                  6425 Gem Stone Dr
                  Liberty Township, OH 45044


                  Jake Biggs
                  496 Arbor Lane
                  Huntington, IN 46750
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                  Jake Crowder
                  9202 NW 76th Ter
                  Weatherby Lake, MO 64152


                  Jake Davis
                  120 W North B St
                  Elwood, IN 46036


                  JAKE Fitzgerald
                  3741 Highland Pl
                  Country Club Hills, IL 60478


                  Jake Grundemann
                  10474 29 Mile Rd
                  Albion, MI 49224


                  Jake Hartman
                  4618 New England Blvd
                  Boardman, OH 44512


                  Jake Havens
                  424 maple st
                  Saint Marys, PA 15857


                  Jake Herr
                  109 Dogwood Drive
                  Jacksonville, NC 28540


                  Jake Nichter
                  3424 Courtwood Dr
                  Fort Wayne, IN 46815


                  Jake Revis
                  346 Somerset Lane
                  Whittier, NC 28789


                  Jake Sides
                  658 Richardson Rd
                  Dresden, TN 38225


                  Jake Terry
                  4686 Ohio 131
                  Fayetteville, OH 45118
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                  Jake Williams
                  3678 golfview rd
                  Hope Mills, NC 28348


                  Jakisha Shepherd
                  1001 Wooded Avenue
                  Winston-Salem, NC 27105


                  Jalene Duffman
                  18575 County Road 120
                  Kenton, OH 43326


                  Jamal Alwawi
                  1123 Carmania Avenue
                  Cincinnati, OH 45238


                  Jamal Jackson
                  7200 Gary Dr
                  Belleville, IL 62223


                  Jamal Mouzaihem
                  25639 Hass St
                  Dearborn Heights, MI 48127


                  Jamal Rolle
                  30 Rochester St
                  Hampstead, NC 28443


                  Jamal Steward
                  14769 Lakeshore Avenue
                  Grand Haven, MI 49417


                  Jamall Johnson
                  16623 Washburn Ave
                  MI, MI 48221


                  Jaman Lock
                  113 Newry Drive
                  Atlanta, GA 30349


                  Jamee Mitchell
                  603 E Morgan St
                  Newton, IL 62448
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                  Jamen Mainor
                  535 Harriett Street
                  Hampton, VA 23669


                  James "Jim" Brown
                  6150 Hazel Drive
                  Jamestown, PA 16134


                  James "Jim" Cox
                  4115 Farnham Avenue
                  Dayton, OH 45420


                  James "Jim" Gerber II
                  116 Penrod Street
                  Johnstown, PA 15902


                  James "Jim" Mouse
                  3781 Knollwood Dr
                  Dayton, OH 45432


                  James "Jim" Pearson
                  116 Hart Drive
                  Pittsburgh, PA 15235


                  James "Jim" Peters
                  2649 Dublin Road,
                  Waterford, PA 16441


                  James "Mike" Speedy
                  6779 OH-213
                  Toronto, OH 43964


                  James "Mike" Tester
                  2230 Cullen Road
                  Gibsonville, NC 27249


                  James (Jim) Sexton
                  2095 McCutchenville Rd
                  Fostoria, OH 44830


                  James Abbitt
                  575 Highgrove Dr
                  Spring Lake, NC 28390
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                  James Abbott
                  206 N Lincoln Ave
                  Lakeview, MI 48850


                  james ADAMS
                  17278 State Hwy HH
                  Mexico, MO 65265


                  James Adams
                  10894 Selma Road
                  Middlesex, NC 27557


                  James Aderman
                  100 Pinkston Court
                  Winder, GA 30680


                  James Albright
                  207 Jefferson St
                  Simpson, PA 18407


                  James Alcorn
                  130 Spring Street
                  Yukon, PA 15698


                  James Alderson
                  12629 Hoffman Rd
                  Three Rivers, MI 49093


                  James Alexander
                  180 Barfield Road
                  Mooresville, NC 28115


                  James Alexi
                  1530 West Park Avenue
                  Niles, OH 44446


                  James Allen
                  5935 M-33
                  Alger,, MI 48610


                  James Allen
                  4335 County Line Rd
                  Ortonville, MI 48462
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Allphin
                  112 Cross Street
                  Sarcoxie, MO 64862


                  James Alston
                  876 Pheasant Loop
                  Columbus, GA 31907


                  James Anderson
                  3127 Benny Lane
                  Indianapolis, IN 46241


                  James Anderson
                  1003 Mitchell St
                  Ludington, MI 49431


                  James Anderson
                  3245 Hopewell Indian Road
                  Glenford, OH 43739


                  James Anderson
                  4789 Township Road 188
                  West Liberty, OH 43357


                  James Andrews
                  4480 East 600 South
                  Gas City, IN 46933


                  James Arsenault
                  3928 Starboard Rd
                  Chesapeake, VA 23321


                  James Ash
                  5748 Shreve Rd
                  Wooster, OH 44691


                  James Atkins
                  2215 Pigeon Point Rd
                  Beaufort, SC 29902


                  James Austin
                  6539 Rosemont Ave
                  Detroit, MI 48228
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                  James Bailey
                  7314 Elm Grove Rd
                  Circleville, OH 43113


                  James Baker
                  194 Sunset Drive
                  Forsyth, MO 65653


                  James Baker
                  2382 route 446
                  Eldred, PA 16731


                  James Balloue
                  12173 Harry Byrd Highway
                  Berryville, VA 22611


                  James Bandy
                  928 Hedgewood Dr NW
                  Roanoke, VA 24017


                  James Banks
                  17926 M 60
                  Three Rivers, MI 49093


                  James Bannow
                  216 Park Ave
                  Holly, MI 48442


                  James Barber
                  2694 Roods Lake Road
                  Lapeer, MI 48446


                  James Barker
                  1732 US-1 BUS
                  Cameron, NC 28326


                  James Barnes
                  2935 Cecil Ave
                  Knoxville, TN 37917


                  james barringer
                  1063 Jamaica Drive
                  Marion, OH 43302
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                  James Barrows
                  1093 Cascade Blvd
                  Chesapeake, VA 23324


                  James Barton
                  226 Colony Cir
                  Fort Oglethorpe, GA 30742


                  James Bates
                  235 West Maplehurst Avenue
                  Ferndale, MI 48220


                  James Bauer
                  126 State Highway H
                  Salem, MO 65560


                  James Bayne
                  180 Clanton Ln
                  Wartrace, TN 37183


                  James Beamon
                  72 Brittany Manor Way
                  Stafford, VA 22554


                  James Benson
                  234 Maysville School Road
                  Mount Olive, NC 28365


                  James BerriniShaner
                  1876 Haw Branch Road
                  Beulaville, NC 28518


                  James Berryhill
                  365 Tank Hill Rd
                  Erin, TN 37061


                  James Bettridge
                  114 W Dallas Ave
                  Madison Heights, MI 48071


                  James Betz
                  671 Elaine Drive
                  Pittsburgh, PA 15236
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                  James bickley
                  26071 Constitution Highway
                  Rhoadesville, VA 22542


                  James Bingham
                  1043 Wellman Street
                  Gastonia, NC 28054


                  james binkley
                  3527 Arthur Sampson Road
                  Lewisburg, TN 37091


                  James Birtcher
                  449 Pickering Drive
                  Pickerington, OH 43147


                  James Blanchard
                  635 Highway W
                  Poplar Bluff, MO 63901


                  James Blaney
                  612 Mill Creek Road
                  Middle Brook, MO 63656


                  James Blend
                  8920 Prancer Ave NW
                  North Canton, OH 44720


                  James Blotner
                  4020 Patriot Rd SE
                  Amsterdam, OH 43903


                  James Bolden
                  100 Derby Downs
                  Perry, GA 31069


                  James Bolton
                  20125 W Hachita Cir
                  Spring, TX 77379


                  James bond
                  246 Crabtree Cemetery Rd.
                  Lucasville, OH 45648
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Bonnett
                  106 Simpson Street
                  Stoneville, NC 27048


                  James Boring
                  881 Scotts Chapel Road
                  Cumberland City, TN 37050


                  James Bowman
                  1514 W Quail Run Dr
                  Newark, OH 43055


                  James Boyd
                  115 Margaret Way
                  Hogansville, GA 30230


                  James Boyd
                  437 Circle Road
                  Greer, SC 29651


                  james bracewell
                  4926 Comal River Loop
                  Spring, TX 77386


                  James Bradbury
                  9170 Old Stage Road
                  Limestone, TN 37681


                  James Braden
                  1210 W 10th Street
                  Roanoke Rapids, NC 27870


                  James Brady
                  2702 New Garden Rd E
                  Greensboro, NC 27455


                  James Brendlinger
                  175 West Philadelphia Street
                  Armagh, PA 15920


                  James Brewer
                  149 Furrville Rd
                  candor, NC 27229
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                  James Brewster
                  208 Tatum Rd
                  Cedar Bluff, VA 24609


                  James Bridenbaugh
                  57 Timberlane Dr
                  Chillicothe, OH 45601


                  James Bridges
                  201 Griswold Street
                  Marthasville, MO 63357


                  James Bridgewater
                  8085 E. Popular St.
                  Lexington, IN 47138


                  James Britch
                  14902 Armitage Lane
                  Sugar Land, TX 77498


                  James Brock
                  340 Rocky Ridge Road
                  Enoree, SC 29335


                  James Brown
                  371 Opal St
                  Empora, VA 23847


                  James Brown
                  6255 Dews Rd
                  Hurt, VA 24563


                  James Bryant
                  197 County Road 587
                  Englewood, TN 37329


                  James Bunn
                  100 Davis Creek Road
                  Franklinton, NC 27525


                  James Burns
                  5107 Duncan Road
                  Monroe, NC 28110
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Butcher
                  5625 w Monroe rd
                  Alma, MI 48801


                  James Byrd
                  264 Hampton Road
                  Eden, NC 27288


                  James C. Manore
                  54851 Chesterfield Rd
                  New Baltimore, MI 48051


                  James Cale
                  8104 Morrisett Rd
                  Chesterfield, VA 23838


                  James Campbell
                  18 South Main Street
                  Glouster, OH 45732


                  James Cannon jr.
                  4799 Briarhill Road
                  New Bern, NC 28562


                  James Carr
                  1295 Perri Pl
                  Blue Bell, PA 19422


                  James Carson
                  3215 Old Sligo Road
                  La Grange, KY 40031


                  James Carter
                  100 Cloverdale Dr
                  Bloomingdale, GA 31302


                  James Carter
                  4017 Guilford Ct NW
                  Concord, NC 28027


                  James Carter
                  625 Safford Avenue
                  Chillicothe, OH 45601
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                  James Carter
                  1344 Red Horse Dr
                  Goodview, VA 24095


                  James Carver
                  407 Cotoneaster Ln
                  Jackson, MO 63755


                  James Casarotto
                  3001 North Church Street
                  Belvidere, IL 61103


                  James Cayao
                  110 Hillside Court
                  Jacksonville, NC 28546


                  James clemons
                  57 Rendezvous Drive
                  New Concord, KY 42076


                  James Cleveland
                  493 South 100 East
                  Fowler, IN 47944


                  James Cline
                  353 Clear Branch Dr
                  West Jefferson, NC 28694


                  James Collins
                  4220 OH-47
                  Bellefontaine, OH 43311


                  James Compton
                  126 Deer Trail Road
                  Cumberland City, TN 37050


                  James Conaway
                  2752 Cheyenne Wells Drive
                  Belleville, IL 62221


                  James Conklin
                  980 Pioneer Trail
                  Saginaw, MI 48604
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Cook
                  2385 Collins Ave
                  Shelby Charter Twp, MI 48317


                  James Cook
                  226 Strawberry Hill Estate Drive
                  O'Fallon, MO 63366


                  James Cook
                  601 3rd Street
                  Unadilla, GA 31091


                  James Cooke
                  1031 Sunridge Trail S
                  Pevely, MO 63070


                  James Cooper
                  5326 Upper Possum Creek Rd
                  Gate City, VA 24251


                  James Cooper
                  15820 Nobles Rd
                  Hopewell, VA 23860


                  James Corbett
                  1003 Ramstan Drive
                  Stroudsburg, PA 18360


                  James Corderman
                  223 Parsonage Ave
                  Rural Retreat, VA 24368


                  James Corker
                  7442 Tyndale Ct
                  Norfolk, VA 23505


                  James Courts
                  5311 Raven Drive
                  Charleston, WV 25306


                  James Cox
                  1050 Coolwood Drive
                  Valparaiso, IN 46385
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                  James Coy
                  603 W County Road 500 N
                  Greensburg, IN 47240


                  James Crawford
                  5610 KY-142
                  Philpot, KY 42366


                  James Crenshaw
                  123 Arvida Street
                  Walled Lake, MI 48390


                  James Crook
                  735 20th Street Northwest
                  Hickory, NC 28601


                  James Crowder
                  1125 Rodgers Chapel Road
                  Clover, VA 24534


                  James Cryer
                  5600 Orange Grove Road
                  Hillsborough, NC 27278


                  James Curtis
                  8066 South Huron River Dr
                  South Rockwood, MI 48179


                  James Cushman
                  4909 Mutual Catawba Road
                  Mechanicsburg, OH 43044


                  James Cushman
                  4909 Mutual Catawba Rd
                  Mechanicsburg,, OH 43044


                  James Dail
                  139 Peacemaker Lane
                  Smithfield, NC 27577


                  James Dalton
                  2065 Courthouse Rd
                  Stafford, VA 22554
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Davidson
                  1697 Douglas Rd
                  Bremen, IN 46506


                  James Davidson
                  4229 Cavalier Dr NW
                  Winston-Salem, NC 27104


                  James Davidson
                  34 Farley Ln
                  Carthage, TN 37030


                  James Davis
                  1826 Folly Gate Ct
                  Charlotte, NC 28262


                  James Davis
                  3075 Northridge Rd
                  Alexandria, OH 43001


                  James Davis
                  6110 Applegate Lane
                  columbus, OH 43213


                  James Day
                  793 Yankee Hill Rd
                  Piketon, OH 45661


                  James Dearmon
                  3660 Lansing Rd
                  Bancroft, MI 48414


                  James Deboard
                  14583 Gilchrist Rd
                  Mount Vernon, OH 43050


                  James Decaestecker
                  1035 Hidden Ridge Lane
                  Washington Township, OH 45459


                  James Decker
                  798 Park Dr
                  Gentryville, IN 47537
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                  James Deimer
                  2806 Indian Head Lane
                  Joliet, IL 60435


                  James Deming
                  15590 Portage Road
                  Vicksburg, MI 49097


                  James Demkowski
                  8690 Homer Rd
                  Jonesville, MI 49250


                  James DeNardis
                  36664 Ridgecroft Drive
                  Sterling Heights, MI 48312


                  James Deneen
                  1717 Millville Road
                  Lapeer, MI 48446


                  James Dennis
                  3220 Rayanna Street Northwest
                  Massillon, OH 44646


                  James Deornellis
                  176 Jones St
                  Hollister, MO 65672


                  James DeTemple
                  5646 North Galena Road
                  Sunbury, OH 43074


                  James Dobrezechowski
                  416 hillcrest ave
                  Grosse Pointe Farms, MI 48236


                  James Dolan
                  3807 Sivertson Road
                  Autryville, NC 28318


                  James Donath
                  631 Chisos Trail
                  Spring, TX 77388
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Dotson
                  227 Sorrell Chapel Loop
                  Dyersburg, TN 38024


                  James Douglas
                  1022 Douglas Mill Road
                  Chesterfield, SC 29709


                  James Downer
                  204 Mays Lane
                  Covington, VA 24426


                  James Dreps
                  4127 Hydon Road
                  Olivet, MI 49076


                  James Dunn
                  5600 Bowdle Rd
                  Waynesfield, OH 45896


                  James E Blaney
                  430 Decatur Avenue
                  Pittsburgh, PA 15221


                  James E Whitley
                  220 Briarfield Dr
                  Kingsport, TN 37660


                  James Easterling
                  482 Shawsville Pike Northeast
                  Check, VA 24072


                  James Eberhart
                  112 Trading Block Ln
                  Forest, VA 24551


                  James Eldridge
                  5138 Springfield Rd
                  Bardstown, KY 40004


                  James Ellis
                  5305 W Collins Rd
                  Collins, OH 44826
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Eschbacher
                  12023 Spanish Boulevard
                  St. Louis, MO 63138


                  James Ewing
                  7401 Ballauer pl
                  Huber Heights, OH 45424


                  James Fack
                  6935 Tolers Ferry Road
                  Huddleston, VA 24104


                  James Fagan
                  409 Kino Rd
                  Volant, PA 16156


                  James Farmer
                  40069 National Rd
                  Bethesda, OH 43719


                  James Farrell
                  29924 Treva St
                  Elkhart, IN 46514


                  James Fasano
                  3636 Carolina Ct
                  Fredericksburg, VA 22408


                  James Faunce
                  10670 Fauncetown Rd
                  guys mills, PA 16360


                  James Felger
                  721 Garner Ave
                  East Liverpool, OH 43920


                  James Fickas
                  19895 Gudgel Avenue
                  Petersburg, IL 62675


                  James Fields
                  151 Alpine Rd
                  Henryville, PA 18332
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                  James Finkler
                  939 Buttermilk Road
                  Dalton, PA 18414


                  James Finn
                  5225 Saline Waterworks Rd
                  Saline, MI 48176


                  James Fisher
                  2944 Wisecup Hill Rd
                  South Salem, OH 45681


                  James Fisher
                  23115 Mount Cloud Road
                  Bowling Green, VA 22427


                  James Fleenor
                  2996 Grove Hill Rd
                  Fincastle, VA 24090


                  James Fleming
                  1227 Grandview Dr
                  Rochester Hills, MI 48306


                  James Fleming
                  1323 Trim Tree Road
                  Indiana, PA 15701


                  James flowers
                  9679 Dade Rd.
                  Lynchburg, OH 45142


                  James Foglesong
                  1191 Rosewood Drive
                  White House, TN 37188


                  James Forbes
                  1811 Hannon Farm Road
                  Fort Mill, SC 29715


                  james force
                  58310 Ray ctr rd
                  Ray, MI 48096
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Forshee
                  101 OLA DRIVE
                  Cohutta, GA 30710


                  James Fortner
                  45 Burkett Rd
                  Thomaston, GA 30286


                  James Fox
                  2111 Belmont Drive
                  Clarksville, TN 37043


                  James Frankel
                  495 Atkinson Loop Rd
                  Hampstead, NC 28443


                  James Fraser
                  140 Cleveland Street
                  Clarksburg, WV 26301


                  James Frederick
                  37084 Bennett St
                  Livonia, MI 48152


                  James Freeman
                  6955 Superior Rd SE
                  Uhrichsville, OH 44683


                  James Frencher
                  18033 Birwood Street
                  Detroit, MI 48221


                  James Friel
                  600 Keiser Hill Rd
                  Newcomerstown, OH 43832


                  James Full
                  101 Dundee Drive
                  Moon Twp, PA 15108


                  James FUNKE
                  728 E Woodland Dr
                  East Alton, IL 62024
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Gabris
                  14021 State Rd H
                  richwoods, MO 63071


                  James Gardner
                  12202 Ash Ln
                  Allensville, PA 17002


                  James Garrett
                  1254 Castleberry Road
                  Clayton, NC 27527


                  James Gates
                  515 E 3rd Ave
                  Red Springs, NC 28377


                  James Gates
                  2675 Seifert-Lewis Rd
                  Hubbard, OH 44425


                  James GATLIFF
                  129 Apple Tree Ct
                  Frankfort, KY 40601


                  James Gatwood
                  14401 Shepard Hill Rd
                  Willis, TX 77318


                  James Gay
                  943 Crissinger Hill RD
                  Sunbury, PA 17801


                  James Gebhardt
                  786 GIRTYS POINT ROAD
                  Wheeling, WV 26003


                  James Gettinger
                  13672 IN -38
                  Hagerstown, IN 47346


                  James Gibbs
                  6682 Spring Mist Court
                  Mason, OH 45040
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Gilbert
                  7069 Shiloh Rd
                  Goshen, OH 45122


                  James Giles
                  100 Marion Ave
                  Granite Falls, NC 28601


                  James Gillian
                  210 Black Road
                  Simpsonville, SC 29680


                  James Gillians
                  5818 Pepperhill Road
                  Charlotte, NC 28212


                  James Gillis
                  5216 Evansdale Road
                  Wilson, NC 27893


                  James Gleeson
                  5680 Friendship Glen Dr
                  Browns Summit, NC 27214


                  James Godbold
                  4380 Quain Rd
                  Emmett, MI 48022


                  James Goforth
                  1005 South Sarasota Drive
                  Yorktown, IN 47396


                  James Goins
                  4525 Enoch Dr
                  Sherrills Ford, NC 28673


                  James Goldsberry
                  9031 County Road 400 South
                  Oakland City, IN 47660


                  James Golston
                  2282 Hibiscus St
                  Portage, IN 46368
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Goodwin
                  4818 East X Avenue
                  Vicksburg, MI 49097


                  James Goodwin
                  3908 Peach Street
                  Newton, NC 28658


                  James Goodwin
                  4310 8th Avenue
                  Temple, PA 19560


                  James Gordon
                  440 Richard Byerly Rd
                  High Point, NC 27262


                  James Griffin
                  1316 Tulip Tree Road
                  Fort Wayne, IN 46825


                  James Griffin
                  3926 Harris Ln
                  Springfield, OH 45503


                  James Griffiths
                  6150 S Friegel Rd
                  Owosso, MI 48867


                  James Grogan
                  325 Plantation Drive
                  Penhook, VA 24137


                  James Gumm
                  350 Loving Chapel Road
                  Franklin, KY 42134


                  James Haag
                  326 Maple Ln
                  Crown Point, IN 46307


                  James Halfhill
                  1554 Brown Road
                  Columbus, OH 43223
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                  James Hall
                  12951 N Miller Hwy
                  Brooklyn, MI 49230


                  James Hall
                  11580 Lares Drive
                  Florissant, MO 63033


                  James Hamather
                  16427 Ironstone Ln
                  Romulus, MI 48174


                  James Hammel
                  6732 N 32nd St
                  Richland, MI 49083


                  James Hampton
                  291 Summit Rd
                  eagle Lake, TX 77434


                  James Hancock
                  112 Skyview Dr
                  Beckley, WV 25801


                  James Handley
                  2913 Bluestone Drive Southwest
                  Atlanta, GA 30331


                  James Handshy
                  236 Wabash Woods Way
                  O'Fallon, MO 63366


                  James Hardie
                  117 Pheasant Drive
                  Blawnox, PA 15238


                  James Hardman
                  3312 Sherwood Drive
                  Lafayette, IN 47909


                  James Hardwick
                  2580 Krouse Road
                  Owosso, MI 48867
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                  James Hardy
                  1733 Greenridge Ct
                  Jefferson City,, MO 65101


                  James Harold Allen Boyd
                  1117 Virginia Ave
                  Culpeper, VA 22701


                  James Harris
                  1300 Patrick St
                  Hampton, VA 23669


                  James Harrison
                  4789 Long Acre Drive Northeast
                  Roanoke, VA 24019


                  James Harvey
                  3927 Laurel Fork Road
                  Rocky Gap, VA 24366


                  James Hasher
                  1013 Hawk Hollow Lane
                  Wake Forest, NC 27587


                  James Haynes
                  54065 Atwood Rd
                  Dowagiac, MI 49047


                  James Hazel
                  8259 Powderhorn Trail SE
                  Caledonia, MI 49316


                  James Head
                  138 Road 1 South Southwest
                  Cartersville, GA 30120


                  James Heiser
                  1130 Page Street
                  Kewanee, IL 61443


                  James Helton
                  6179 Stone Wolfe Drive
                  Glen Carbon, IL 62034
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                  James Henige
                  5282 Pilgrim Drive
                  Saginaw, MI 48638


                  James Hensley
                  101 Burnett Ave
                  Risco, MO 63874


                  James Herod
                  22001 Frazho
                  Saint Clair Shores, MI 48081


                  James Higgins
                  53133 Michael Drive
                  New Baltimore, MI 48047


                  James Hinkebein
                  1917 Bainbridge Road
                  Jackson, MO 63755


                  James Hirsch
                  22308 Featherstone Road
                  Sturgis, MI 49091


                  James Hixson
                  4706 Melrose Drive
                  Wooster, OH 44691


                  James Hobson
                  1221 Niagara Lane
                  Franklin, IN 46131


                  James Hodges
                  11861 34 Rd
                  Cadillac, MI 49601


                  James Hogan
                  3545 Cherokee Overlook Dr
                  Canton, GA 30115


                  James Holbert
                  137 Westbrook Drive
                  Hampton, VA 23666
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                  James Holbrock
                  13691 Irene Street
                  Southgate, MI 48195


                  James Horan
                  3951 Connors Rd
                  Emmett, MI 48022


                  James Horne
                  6145 Buttonwood Drive
                  Noblesville, IN 46062


                  James Howard
                  2727 Kilborne Drive
                  Charlotte, NC 28205


                  James Huckemeyer
                  7960 U.S. 33
                  Celina, OH 45822


                  James Hughes
                  2540 South Wellsville Highway
                  Blissfield, MI 49228


                  James Hughes
                  160 Timberline Trl
                  Spruce Pine, NC 28777


                  James Hunter
                  13892 Lawrence Park Ct
                  Chantilly, VA 20151


                  James Hupp
                  15153 Kentucky 690
                  Custer, KY 40115


                  James Hurse
                  961 Marion-Cardington Rd W
                  Marion, OH 43302


                  James Huseltine
                  2798 Oakshire Ave
                  Berkley, MI 48072
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                  James Ibigbami
                  430 Nolan Cherry Circle
                  McDonough, GA 30252


                  James Ingalsbe
                  500 Blarney Street
                  Havelock, NC 28532


                  James Irby
                  390 Merritt Ln
                  Altavista, VA 24517


                  James Jack
                  3420 Nazarene Church Road
                  Sumter, SC 29154


                  James Jackson
                  522 S Maple St
                  Galveston, IN 46932


                  James Jacobs
                  8253 Mccandlish Rd
                  Grand Blanc, MI 48439


                  James Jenkins
                  1303 Madison Ave
                  Charleston, IL 61920


                  James Jenks
                  301 South East Street
                  Linden, MI 48451


                  James Johns
                  122 Whispering Wood Road
                  Meherrin, VA 23954


                  James Johnson
                  625 County Road 1375 East
                  Carmi, IL 62821


                  JAMES JOHNSON
                  17200 Faust Ave
                  Detroit, MI 48219
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                  James Johnson
                  2100 North Ave
                  Richmond, VA 23222


                  James Johnston
                  332 McFadyen Dr
                  Fayetteville, NC 28314


                  James Jonas
                  5509 Chiswell Run
                  Fort Wayne,, IN 46835


                  JAMES JONES
                  315 Villa Trace
                  Villa Rica, GA 30180


                  James Jones
                  3037 Twin Pines Point
                  Elkhart, IN 46514


                  James Jones
                  408 Harding Road
                  Kingsport, TN 37663


                  James Jordan
                  333 McGaughey Chapel Rd NE
                  Dalton, GA 30721


                  James Jordan
                  285 Patterson Avenue
                  Rocky Mount, VA 24151


                  James Jury
                  722 Ray Rd
                  Brookfield, MO 64628


                  James K Penland
                  1005 Bomar St
                  LaFayette, GA 30728


                  James Kaminski
                  3228 Twelve Oaks Blvd
                  Clarksville, TN 37042
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                  James Kanieski
                  8969 Gilbert Road
                  Ravenna, OH 44266


                  James Keebaugh
                  7116 Pleasant Ridge Rd
                  Harrisonville, PA 17228


                  JAMES KEITH
                  438 morrison ave
                  Newport News, VA 23601


                  James Kellogg
                  140 Traditions Circle
                  Columbia, SC 29229


                  James Kemp
                  8250 Dallasburg Rd
                  Morrow, OH 45152


                  James Kennedy
                  1112 W. 5 point
                  Charlotte, MI 48813


                  James Kennicott
                  10900 East Bellevue Hwy
                  Eaton Rapids, MI 48827


                  James Kent
                  4909 Bisbee Dr
                  Greensboro, NC 27407


                  James Kidd
                  235 Lodebar Estate
                  Nellysford, VA 22958


                  James Kim
                  13 Crestview Lane Southeast
                  Rome, GA 30161


                  James King
                  7280 Westmoreland Dr
                  Warrenton, VA 20187
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                  James Kirkwood
                  3721 Crossvale rd
                  Lithonia, GA 30038


                  James Klinesmith
                  12700 Gates Road
                  Cement City, MI 49233


                  James Klopfenstein
                  2831 North 450 East
                  Bluffton, IN 46714


                  James Klopfenstein Pole barn
                  2831 North 450 East
                  Bluffton, IN 46714


                  James Knott
                  2570 Newcomb Bridge Road
                  Chase City, VA 23924


                  James Knox
                  3307 Martin Luther King Dr
                  Orange, TX 77630


                  James Koeltzow
                  2127 Lynch St
                  St. Louis, MO 63118


                  James Kolongowski
                  8233 Valleyview Drive
                  Ypsilanti, MI 48197


                  James Koop
                  8604 s shrout rd
                  grain valley, MO 64029


                  James Korenoski
                  160 Turkey Ridge Rd
                  Big Rock, TN 37023


                  James Krailik
                  10004 Seven Oaks Dr
                  Charlotte, NC 28216
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                  James Krajnik
                  48224 Lake Valley Dr
                  Shelby Township, MI 48317


                  james kramer
                  23737 State Route N
                  St Mary, MO 63673


                  James Krull
                  14 Sheffield Rd
                  Jacksonville, NC 28546


                  James L Watson
                  6718 Bethel Rd
                  Uhrichsville, OH 44683


                  James Lamb
                  510 E Gilson St
                  Edmore, MI 48829


                  James Lary
                  560 Chaffin Road
                  Roswell, GA 30075


                  James Lattanzi
                  1674 Longfellow st
                  Detroit, MI 48206


                  James Lawless
                  665 Cross Avenue
                  Pearisburg, VA 24134


                  James Lawrence
                  6620 Newport S Rd
                  Newport, MI 48166


                  James Lawson
                  2448 Topside Road
                  Louisville, TN 37777


                  James Lawson
                  216 Peaceful Meadow Road
                  Spout Spring, VA 24593
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                  JAMES LEE
                  3476 Riverchase Dr
                  Decatur, GA 30034


                  James Lemmon
                  10414 West 200 South
                  Westville, IN 46391


                  James Leonard
                  10645 Pennsylvania 98
                  Edinboro, PA 16412


                  James Lewis
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                  Ashtabula, OH 44004


                  James Lewis
                  27890 Troublefield Ln
                  Stony Creek, VA 23882


                  James Li
                  3945 Ravenwood Dr
                  Hilliard, OH 43026


                  James Liccardi
                  8550 Fay Lake Rd
                  Brooklyn, MI 49230


                  James Lichtenberger
                  620 West Wildwood Drive
                  Mount Zion, IL 62549


                  James Linder
                  860 East Front Street
                  Kidder, MO 64649


                  James Lining
                  832 Lenz Avenue
                  Ambridge, PA 15003


                  James Little
                  4924 U.S. 50
                  Salem, IL 62881
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                  James Little
                  548 Huston Street
                  Flemington, PA 17745


                  James Lodge
                  17560 Myron St
                  Livonia, MI 48152


                  James Logan
                  107 W Summit St
                  Aurora, MO 65605


                  james long
                  166 Watson Road
                  North Benton, OH 44449


                  James Lorenzen
                  9344 Golf Creek Lane
                  Perrysburg, OH 43551


                  James Lovekamp
                  695 Main St
                  Wellford, SC 29385


                  James Lowe
                  100 Meadow Drive
                  Wellsburg, WV 26070


                  James Luciano
                  1249 Scotrun Drive
                  Scotrun, PA 18355


                  James M Myers
                  3550 Liberty Rd
                  Delaware, OH 43015


                  James MacFarland Sr.
                  2674 Occupacia Road
                  Hustle, VA 22476


                  James Macintyre
                  695 Underwood Drive
                  Girard, OH 44420
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                  James Mackey
                  116 Bobcat Path
                  Marion, NC 28752


                  James Madden
                  90 Foster Dr.
                  Thornville, OH 43076


                  james Maiers
                  850 Seminole Rd
                  Radcliff, KY 40160


                  James Mallian
                  5506 Pheasant Drive
                  North Myrtle Beach, SC 29582


                  James Maniccia
                  1072 Detroit Ave
                  Lincoln Park, MI 48146


                  James Marsh
                  126 Cobblers Ct
                  Stafford, VA 22554


                  James Martin
                  12 Newky Rd
                  New Columbia, PA 17856


                  James Martin
                  2076 Country Road
                  Lynchburg, VA 24504


                  James Martinez
                  16515 Defiance Paulding County Line Road
                  Defiance, OH 43512


                  James Marvin
                  6195 Bell Rd
                  Whitehall, MI 49461


                  James Mason
                  195 Paige Ave
                  Dayton, OH 45417
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Massenburg
                  2410 Scarlet Oaks Lane
                  Kernersville, NC 27284


                  James Maxey
                  13216 US-231
                  Linden, IN 47955


                  James Maxwell
                  11351 W Sinking Creek Rd
                  Rocheport, MO 65279


                  James May
                  5202 Laur Road
                  North Branch, MI 48461


                  James Mayo
                  128 Pond Drive
                  Kathleen, GA 31047


                  James McArdle
                  1187 Monument Road
                  Tawas City, MI 48763


                  james mcbride
                  4087 South U.S Highway 31
                  Franklin, IN 46131


                  James McCaffrey
                  326 NE 47th St
                  Oak Island, NC 28465


                  James McCaleb
                  13825 Mountain View Drive
                  Spotsylvania Courthouse, VA 22553


                  James McCall
                  1353 Pittsburgh Rd
                  Franklin, PA 16323


                  James McConnell
                  10231 Wood Hollow Rd
                  Mineral Point, MO 63660
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James McCormick
                  208 Spirit Lane
                  Spout Spring, VA 24593


                  James McCue
                  5807 Charlton Ct
                  Alexandria, VA 22315


                  James McDole
                  6706 Van Kirk Ave
                  Cincinnati, OH 45216


                  James McFadden
                  125 Kiowa Ln
                  Albrightsville, PA 18210


                  James McGinnis
                  1879 Bards Dr SE
                  Bolivia, NC 28422


                  James Mckinnis
                  120 Miller School Ln
                  West Sunbury, PA 16061


                  James mckinnon
                  5101 Stimson Rd
                  Onondaga, MI 49264


                  James Mcknight
                  1725 Duke Dr
                  Sumter, SC 29153


                  james mcneeley
                  998 Pea Ridge Rd
                  Oak Hill, WV 25901


                  James McNeely
                  201 Copper Mountain Dr
                  Columbia, MO 65202


                  James McNemar
                  11338 Kathryn Drive
                  Mercersburg, PA 17236
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James McWilliams
                  30624 Old Elco Road
                  Tamms, IL 62988


                  James Medlin
                  441 Old Federal Rd
                  Cleveland, TN 37323


                  James Mejia
                  80 Amelia Breann Lane
                  Selmer, TN 38375


                  James Merritt
                  188 Rivershadows Drive
                  Rogersville, TN 37857


                  James Milam
                  236 King William Estates Lane
                  King William, VA 23086


                  james Millard
                  200 North Freer Road
                  Chelsea, MI 48118


                  JAMES MILLER
                  3640 napier rd
                  canton, MI 48187


                  James Missad
                  11711 Bowens Mill Rd
                  Middleville, MI 49333


                  James Mitchell
                  911 Narrative Ln Durham, NC 27703
                  Durham, NC 27703


                  James Montemarano
                  11000 Johnson Dr
                  Parma, OH 44130


                  James Moore
                  18320 Grass Lake Road
                  Big Rapids, MI 49307
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Morgan
                  9862 Orkney Grade
                  Mount Jackson, VA 22842


                  James Mosakowski
                  6476 Vernon St
                  Dearborn Heights, MI 48127


                  James Motts
                  11826 N 400 W
                  Wheatfield, IN 46392


                  James Mszyco
                  1701 Outlook Dr
                  Verona, PA 15147


                  James Munoz
                  1926 Painted Horse Drive
                  Indian Trail, NC 28079


                  James Murdock
                  4591 State Park Road
                  Dublin, VA 24084


                  James Nash
                  1340 South Summit Drive
                  Holts Summit, MO 65043


                  James New
                  3509 NE 62ND
                  Kansas City, MO 64188


                  James Newhart Jr.
                  3224 Chase Rd
                  Shavertown, PA 18708


                  James Newton
                  4249 Pine Knoll Ave
                  Kalamazoo, MI 49004


                  James Neyhart
                  227 Price Rd
                  Stroudsburg, PA 18360
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                  James Nichols
                  843 Mount Clair Avenue
                  Dayton, OH 45417


                  James Nichols
                  11029 FM1764
                  Santa Fe, TX 77510


                  James Nino
                  520 thackeray Rd
                  Maumee, OH 43537


                  James Norman
                  3187 Rainbow Ave
                  Pfafftown, NC 27040


                  James Nowlin
                  2769 Red Oak School Rd
                  Concord, VA 24538


                  James O'Neil
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                  Camden, NC 27921


                  James Odens
                  3678 Holly Place
                  Macon, GA 31216


                  James Ohryn
                  21961 Spearswood Dr
                  Pinckney, MI 48169


                  james otermat
                  906 Lake Street
                  Lakeside Marblehead, OH 43440


                  James Owen
                  25910 Drybrook Road
                  Spring, TX 77389


                  James P O'Garra
                  614 Duncan Road
                  Spring Lake, NC 28390
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Padlock
                  349 Kent Cove Rd
                  Kilmarnock, VA 22482


                  James Paige
                  4719 Polly Place
                  Snellville, GA 30039


                  James Papulias
                  762 Durango Dr
                  Toledo, OH 43609


                  James Parado
                  2505 Lauren Lane
                  Kokomo, IN 46901


                  James Parker
                  2708 Spinners Way
                  Chesapeake, VA 23323


                  James Pattan
                  218 Curry St
                  Clio, MI 48420


                  James Peacock
                  1646 Denning Rd, Benson, NC 27504, USA
                  Benson, NC 27504


                  James Pearson
                  812 Harway ave
                  Chesapeake, VA 23325


                  james peck
                  476 Central Ave
                  Marysville, MI 48040


                  James Peoples
                  12925 County Road 7140
                  Rolla, MO 65401


                  James Perry
                  1361 Hull Avenue
                  Ypsilanti, MI 48198
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                  James Perry
                  3341 Wahrani Lane
                  Lanexa, VA 23089


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                  Natrona Heights, PA 15065


                  James Peters
                  1075 Limber Ridge Rd
                  Ripley, WV 25271


                  James Peterson
                  1118 Oaklawn St NE
                  Grand Rapids, MI 49505


                  James Pewitt
                  203 Central High Street
                  Dickson, TN 37055


                  James Phebus
                  3830 East 900 South
                  Lafayette, IN 47909


                  James Phillips
                  27 Mathiott St
                  Portsmouth, OH 45662


                  James Phillips
                  1010 Middle St
                  Chesapeake, VA 23324


                  James Pierce
                  2130 Perkins Drive
                  Springfield, OH 45505


                  James Pike
                  6762 Amanda ct
                  Gloucester, VA 23061


                  James Pilrose
                  6924 Summerfield Rd
                  Temperance, MI 48182
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Pittman
                  1021 Highridge Ave
                  Dayton, OH 45420


                  James Platt
                  8257 Potter Road
                  Flushing, MI 48433


                  James Plotts
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                  Linden, NC 28356


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                  Grosse Pointe Park, MI 48230


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                  Charlotte, NC 28216


                  James Porter
                  2505 Linhay Dr. Charlotte NC 28216
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                  James Powell
                  2645 Rome Jones Road
                  Newton, NC 28658


                  James Powers
                  35 Cessna Drive
                  Centralia, IL 62801


                  James Powers
                  11918 Brookington Dr
                  Bridgeton, MO 63044


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                  1202 Merriman St
                  Port Neches, TX 77651


                  James Pratt Jr
                  661 Lindsey Drive
                  Union, MO 63084
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                  James Price
                  1280 Lori Ellen Ct
                  Sevierville, TN 37876


                  James Pursley
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                  Forest City, NC 28043


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                  James R Harding
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                  James Randolph
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                  Gloucester, VA 23061


                  James Ransom
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                  Hazel Park, MI 48030


                  James Rauner
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                  Benton Harbor, MI 49098


                  James Ray
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                  Georgetown, KY 40324


                  James Ray
                  7639 Doughtie Rd
                  Bailey, NC 27807


                  James Rayman
                  3311 Sandstone Cove
                  Bartlett, TN 38134


                  James Redfearn
                  290 Tumbleweed Pass
                  Jackson, MO 63755
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                  James Reed
                  3651 Prospect St
                  Mogadore, OH 44260


                  James Reed
                  406 Hill Street
                  Belle Vernon, PA 15012


                  James Reed
                  406 Hill St
                  Belle Vernon, PA 15012


                  James Reese
                  23371 Lookout Point Rd
                  Jackson, MI 49202


                  James Reese
                  4030 Textile Road
                  Ypsilanti, MI 48197


                  James Regan
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                  Pottstown, PA 19464


                  James Rhodes
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                  Rantoul, IL 61866


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                  Irvine, KY 40336


                  James Rhodes
                  232 Cheatham Road
                  Troy, MO 63379


                  James Richardson
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                  Brookshire, TX 77423


                  James Richardson
                  20425 East Co Road 600 North
                  Kilbourne, IL 62655
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                  James Richert
                  6787 Houghten Dr
                  Troy, MI 48098


                  James Ricketts
                  764 Pecan Hill Drive
                  Saint Charles, MO 63304


                  James Rickey
                  7224 West Streitmatter Road
                  Princeville, IL 61559


                  James Riddell
                  2352 N Geeck RD
                  Corunna, MI 48817


                  James Riddle
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                  Hobart, IN 46342


                  James Rike
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                  Burke, VA 22015


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                  Hinesville, GA 31313


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                  Milan, MI 48160


                  James Ritenour
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                  Kalamazoo, MI 49008


                  James River Air Conditioning Co.
                  1905 Westmoreland Street
                  Richmond, VA 23230-3225


                  James Roberts
                  3902 Mill Wheel Ct
                  High Point, NC 27265
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                  James Roberts
                  236 Mountain Road
                  Milton, PA 17847


                  James Robertson
                  1218 500 North
                  Anderson, IN 46012


                  James Rogers
                  5970 N 400th St
                  Oblong, IL 62449


                  James Rogers
                  8701 N Michigan 18
                  Gladwin, MI 48624


                  James Roose
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                  Trenton, MI 48183


                  JAMES ROSE
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                  Stanford, KY 40484


                  James Roth
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                  Toledo, OH 43614


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                  Naperville, IL 60540


                  James Rowe
                  153 River Ridge Lane
                  Rhodhiss, NC 28601


                  James Rumberger
                  812 GENERAL JONES DR
                  TYRONE, PA 16686


                  James Rushia
                  935 U.S. 6
                  Rome, OH 44085
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                  117 Spaws Creek Road
                  West Liberty, KY 41472


                  James Ryan
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                  Twinsburg, OH 44087


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                  65 Hickory Trail
                  Norris, TN 37828


                  James Safrit
                  3670 Sharpe Mill Road
                  Hiddenite, NC 28636


                  James Sagar
                  1070 Old Canton Rd
                  Marietta, GA 30068


                  James Saline
                  51501 cr 384 grand junction MI 49056
                  Grand Jct, MI 49056


                  James Sandefur
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                  Hampton, VA 28669


                  James Sanders
                  8032 Locust Avenue
                  Gary, IN 46403


                  James Sanders
                  7708 Gable Run Dr
                  Wilmington, NC 28411


                  James Saunders
                  170 Rhinewood Lane
                  Reidsville, NC 27320


                  James Sayer
                  5638 Winterberry Court
                  Dayton, OH 45431
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                  James Schilling
                  7835 Linn-Hipsher Rd
                  Caledonia, OH 43314


                  James Schloemp
                  6560 OH-12
                  Findlay, OH 45840


                  James Schmall
                  5140 Williamston Rd
                  Stockbridge, MI 49285


                  James Schultz
                  14008 Lauerman Street
                  Cedar Lake, IN 46303


                  James Scott
                  8421 Oakpoint Dr
                  Jackson, MI 49201


                  James Seay
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                  Vicksburg, MI 49097


                  James Sexton
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                  Riverview, MI 48193


                  James Shackleford
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                  James Shafer
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                  Glouster, OH 45732


                  James Sharkey
                  34 Dogwood Dr
                  Andrews, NC 28901


                  James Sheehan
                  6164 3rd St,
                  King George,, VA 22485
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                  James Shelton
                  151 Whitehead Road
                  Bluff City, TN 37618


                  James Shenk
                  2221 Erly Road
                  Newport, PA 17074


                  James Shetler
                  411 Hillside Drive
                  Rossford, OH 43460


                  James Shively
                  1829 E Vermontville Hwy
                  Charlotte, MI 48813


                  James Shoemaker
                  4986 Babcock Rd
                  Ravenna, OH 44266


                  James Shope
                  67110 Country Side Dr
                  St Clairsville, OH 43950


                  James Silliman
                  1052 Bexley St
                  North Charleston, SC 29405


                  James Simpson
                  37 S Post Rd
                  Indianapolis, IN 46219


                  James Sizemore
                  2293 W Woodrow Rd
                  Shelby, MI 49455


                  James Skidmore
                  6745 State Route 160
                  Bidwell, OH 45614


                  James Skinner
                  9750 S 575 E
                  Lafayette, IN 47909
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                  James Skinner
                  2248 Tulls Cove Road
                  Winterville, NC 28590


                  James Skoviak
                  18018 Riley Road
                  Bremen, IN 46506


                  James Skupien
                  6016 W School St
                  Chicago, IL 60634


                  James Smith
                  1794 Richards Rd
                  Clarklake, MI 49234


                  James Smith
                  2627 Wild Valley Dr
                  High Ridge, MO 63049


                  james Smith
                  4435 High Rock Road
                  Gibsonville, NC 27249


                  James Smith
                  303 Knollwood Drive
                  Hampstead, NC 28443


                  James Smith
                  9705 Ward Road
                  Saint Paris, OH 43072


                  James Smith
                  14509 W James Anderson Hwy
                  Buckingham, VA 23921


                  James Smith
                  487 Springdale Rd.
                  Pearisburg, VA 24134


                  James Smith
                  487 Springdale Road
                  Pearisburg, VA 24134
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                  James Snyder
                  154 Serenity Court
                  Hoschton, GA 30548


                  James Snyder
                  2344 Ohio 307
                  Jefferson, OH 44047


                  James Soe
                  5422 Twilight Lane
                  Fort Wayne, IN 46835


                  James Solomon
                  1068 Vaiden Road
                  Louisburg, NC 27549


                  James Sonoras
                  15754 Milliman Rd
                  Brownstown Charter Twp, MI 48173


                  James Spainhour
                  205 North Brook Street
                  Wilkesboro, NC 28697


                  James Spangler
                  25800 Folley Rd Columbia Station
                  Columbia station, OH 44028


                  James Stacy
                  1525 Ballenger Road
                  Wellford, SC 29385


                  James Starcher
                  258 Adams Rd
                  Polk, PA 16342


                  James Steffey
                  3419 Snowflake Road
                  Gate City, VA 24251


                  James Stephens
                  7357 Goodall Rd
                  Durand,, MI 48429
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Stephens
                  249 E Liberty Rd
                  Clarklake, MI 49234


                  James Stevens
                  10 Hillside Drive
                  Lexington, TN 38351


                  James Stilwell
                  3821 Ripley Road 142E-20
                  Doniphan, MO 63935


                  James Stokke
                  7 stonehenge
                  St Charles, MO 63303


                  James story
                  9210 Monarch Field lLane
                  Cypress, TX 77433


                  James Stover
                  3561 Castlefield Ln
                  Fayetteville, NC 28306


                  James Strohl
                  11580 Sports Park Trail
                  Onsted,, MI 49265


                  James Struewing
                  12200 Gerlaugh Rd
                  Medway, OH 45341


                  James Summers
                  1102 Quincy Cottage Road
                  Hillsborough, NC 27278


                  James Susino
                  5814 Azalea Garden Road
                  Norfolk, VA 23518


                  James Swiger
                  2669 Bethany Pike
                  Wellsburg, WV 26070
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                  James Talley
                  591 County Road 1515e
                  Greenup, IL 62428


                  James Taul
                  460 Booth Pond Rd
                  Raeford, NC 28376


                  James Taylor
                  1013 E Broadway Hwy
                  Charlotte, MI 48813


                  James Taylor
                  7189 Chadbourne Dr
                  Dayton,, OH 45424


                  james taylor
                  1403 Las Palmas Circle
                  Beeville, TX 78102


                  James Taylor
                  148 Taylor Lane
                  Greenville, VA 24440


                  James Terrel
                  1203 Shiloh Rd
                  Cedar Creek, TX 78612


                  James Terrell
                  807 east 22nd st
                  KANNAPOLIS, NC 28083


                  James Tew
                  131 Ridgemont Dr
                  Industry, PA 15052


                  James Thatcher
                  4354 County Rd 217
                  Fulton, MO 65251


                  James Thiel
                  436 Micah Court
                  Burlington, KY 41005
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                  James Thomas
                  2345 Juno Bargerton Road
                  Lexington, TN 38351


                  James Thomason Sr.
                  5112 Finlay Dr
                  Flint, MI 48506


                  James Thompson
                  840 Gerald Miller Rd
                  West Branch, MI 48661


                  James Thompson
                  445 Cape Lookout Drive
                  Harkers Island, NC 28531


                  James Thompson
                  100 Acres Ct
                  Lynchburg, VA 24502


                  James Thompson
                  13612 Bellamy Road
                  Collins, OH 44826


                  James Thornton
                  117 Brookhaven Dr
                  Aliquippa, PA 15001


                  James Thornton
                  1805 Pathfinder Dr
                  Virginia Beach, VA 23454


                  James Thorpe
                  18 Golden Russet Drive
                  Linden, VA 22642


                  James Thurman
                  6150 Lincoln Ave
                  Evansville, IN 47715


                  James Tidd
                  5670 Brown Road
                  Lake Odessa, MI 48849
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                  James Tolbert
                  3354 Timber View
                  Flint, MI 48532


                  james Tolley
                  5662 Township Road 122
                  Mount Gilead, OH 43338


                  James Tongue
                  202 Fieldbrook Xing
                  Canton, GA 30115


                  James Tormey Jr
                  610 Gatewood Dr
                  Lowell, IN 46356


                  James Tran
                  535 S State St
                  Pewamo, MI 48873


                  James Trayser
                  11845 Devereaux Rd
                  Parma, MI 49269


                  James Tretter
                  313 Brehm Road
                  Boswell, PA 15531


                  James Triscila
                  104 Logan Road
                  Imperial, PA 15126


                  JAMES TROCME
                  14797 Chillicothe Road
                  Novelty, OH 44072


                  James Trumble
                  8181 m66
                  Fife Lake, MI 49633


                  James Turner
                  3502 North Carolina 150 E
                  Greensboro, NC 27455
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Ulmer
                  2409 South 17th Terrace
                  Leavenworth, KS 66048


                  James Underwood
                  22395 Jordan Run Rd
                  Guysville, OH 45735


                  James Urie JR
                  5325 Ferris Rd
                  Eaton Rapids, MI 48827


                  James Van Allen
                  41908 Tufts Dr
                  Sterling Heights, MI 48313


                  James Van Fossan
                  939 E 725 N
                  West Lafayette, IN 47906


                  James Van Pelt
                  11263 W State Rd 28
                  Redkey, IN 47373


                  James VanFossen
                  10049 Webb Road
                  Logan, OH 43138


                  James VanTuyle
                  5360 Goedert Drive
                  Tecumseh, MI 49286


                  James Vervaecke
                  2511 Mary Viola Road
                  Sophia, NC 27350


                  James Voss
                  54326 Haden Place
                  New London, MO 63459


                  James Wafford
                  8170 Sulphur Creek Road
                  Big Sandy, TN 38221
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                  James Wagner
                  4002 Enola Court
                  Fort Wayne, IN 46809


                  James Wagner
                  59385 Frost Rd
                  New Haven, MI 48048


                  James Wakeland
                  602 N 3rd St
                  Herrick, IL 62431


                  James Walker
                  14319 Park Drive
                  Mecosta, MI 49332


                  James Walker
                  43910 E 351st St
                  Creighton, MO 64739


                  James Walsh
                  2032 Mason Lane
                  Spring Hill, TN 37174


                  James Walther
                  4639 Adkins Ave
                  St. Louis, MO 63116


                  James Ward
                  45 North 300 East
                  Reynolds, IN 47960


                  James Weaver
                  8121 Hayden Drive Northwest
                  Knoxville, TN 37919


                  James Welling
                  62350 Cedar Rd
                  Mishawaka, IN 46544


                  James Wells
                  13035 Coster Rd SW
                  Fife Lake, MI 49633
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                  James Wheatley
                  801 Main Street
                  Beech Grove, IN 46107


                  James Wheeler
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                  Burgaw, NC 28425


                  James Whitaker
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                  James White
                  410 Sharon Way
                  Jacksonville, NC 28546


                  James White
                  4373 Glenview Road
                  Warrensville Heights, OH 44128


                  James White
                  6830 Greenway Dr
                  Hollins, VA 24019


                  James Whitehead
                  9492 County Highway 58
                  De Graff, OH 43318


                  James Wickersham
                  2693 Yachtsman Dr.
                  Lansing, MI 48911


                  James Wiggins Jr.
                  7236 City View Drive
                  Charlotte, NC 28212


                  James Wilcox
                  1725 Somers Rd
                  Ronda, NC 28670


                  James Wilcox
                  11125 Rd 48
                  Haviland, OH 45851
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                  James Wilkins
                  436 Waveland Avenue
                  Rockford, IL 61102


                  James Wilkinson
                  4386 Pimlico Place
                  Huber Heights, OH 45424


                  James Willard
                  1555 Hunters Woods Drive
                  Trinity, NC 27370


                  James Willis
                  142 Oostanali Way
                  Loudon, TN 37774


                  James Wills
                  12156 West Township Rd. 112
                  Fostoria, OH 44830


                  James Wilson
                  404 Tulip Tree Lane
                  Simpsonville, SC 29680


                  James Winfield
                  5101 Providence Rd
                  Virginia Beach, VA 23464


                  James Winnie
                  59658 Thunder Head Dr
                  Washington, MI 48094


                  james winterbottom
                  1330 West Nielsen Road
                  Sanford, MI 48657


                  James Wiseman
                  3320 Streamside Dr
                  Davidson, NC 28036


                  James Wombacher
                  1280 Sleepy Hollow Dr
                  Troy, MO 63379
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  James Wood
                  134 Presidio Drive
                  Wilmington, NC 28412


                  James Wood
                  134 Presidio Dr
                  Wilmington, NC 28412


                  James Wood
                  5620 Borden Grant Trl
                  Raphine, VA 24472


                  James Wood
                  1473 Rock Island Road
                  Scottsville, VA 24590


                  James Woodard
                  7205 Fillyaw Rd
                  Fayetteville, NC 28303


                  James Woods
                  211 South Alexander Street
                  Alexis, IL 61412


                  James Wutke
                  110 North Grant Avenue
                  Knob Noster, MO 65336


                  James Young
                  312 South 11th Avenue
                  Windsor, IL 61465


                  James Young
                  651 Spindale Street
                  Spindale, NC 28160


                  James Young
                  1117 Noel Dr
                  Portsmouth, OH 45662


                  James Young
                  9836 Studer Ln
                  Whitehouse, OH 43571
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                  James Zelling
                  1226 W Erie Rd
                  Temperance, MI 48182


                  James Zeng
                  750 Wenneker Drive
                  St. Louis, MO 63124


                  James Zint
                  219 State Rd S-11-233
                  Gaffney, SC 29340


                  Jameson Helmick
                  918 Dale Avenue Southeast
                  Roanoke, VA 24013


                  Jamey McCray
                  17300 Creekbed Road
                  Chesterfield, VA 23838


                  Jamez Roberts
                  1408 16th Street
                  Bedford, IN 47421


                  Jami Marcoux
                  60900 Schoenherr Rd
                  Washington, MI 48094


                  Jami Vogt
                  6165 Woodville Drive
                  Loveland, OH 45140


                  Jamie Adams
                  1578 Railview Road
                  Gladys, VA 24554


                  Jamie Adickes
                  8010 Long Reach Road
                  Providence Forge, VA 23140


                  Jamie Albers
                  15400 Schultz Rd
                  Berlin, MI 48002
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                  Jamie Arbogast
                  7421 Northwest Oak Drive
                  Parkville, MO 64152


                  JAMIE ARCHER
                  29853 County road 390
                  Gobles, MI 49055


                  Jamie Asman
                  148 Saddle Ridge Dr
                  Dallas, PA 18612


                  Jamie Baker
                  7260 East Langley RD
                  ELM CITY, NC 27822


                  Jamie Boring
                  116 Bayberry Rd
                  Newport, NC 28570


                  Jamie Brewer
                  1680 brown rd
                  Jefferson, OH 44047


                  Jamie Bruen
                  907 Hampshire Heath Dr
                  O'Fallon, MO 63368


                  Jamie Bruyere
                  6597 Hunters Creek
                  Imlay City, MI 48444


                  Jamie Chomas
                  3612 Collingwood Ct
                  Midland, MI 48642


                  Jamie Cottrell
                  184 Winding Road
                  Claysville, PA 15323


                  Jamie Crouse
                  11114 FLINT RIDGE RD SE
                  Heath, OH 43056
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jamie Dail
                  8196 N Williams Rd
                  St Johns, MI 48879


                  Jamie Davis
                  579 Old Dalton Highway
                  LaFayette, GA 30728


                  Jamie Davis
                  3920 Lang Horne ave
                  Charlotte, NC 28205


                  Jamie DeMann
                  3382 125th Avenue
                  Allegan, MI 49010


                  Jamie Demarais
                  100 Grindstone Drive
                  Winchester, VA 22602


                  Jamie DesRuisseau
                  145 Waterline Way
                  Riegelwood, NC 28456


                  Jamie Dudan
                  1140 S French Rd
                  lake leelanau, MI 49653


                  Jamie dugan
                  915 Foch St
                  Maryville, TN 37801


                  Jamie Dunham
                  4462 400 South
                  Hemlock, IN 46937


                  Jamie Farley
                  1 Kings Court
                  Ona, WV 25545


                  Jamie Fetterman
                  265 Sober Road
                  Leechburg, PA 15656
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                  Jamie Fowler
                  5220 Sunriver Rd
                  Gastonia, NC 28054


                  Jamie Fowler
                  488 Little Daniels Run Road
                  Scenery Hill, PA 15360


                  Jamie Guy
                  238 Oak Grove Rd
                  Elkin, NC 28621


                  Jamie Hale
                  910 Hales Haven Way
                  Dandridge, TN 37725


                  Jamie Heath
                  1478 North 700 East
                  Hartford City, IN 47348


                  Jamie Heimbach
                  37 Weikert Road
                  Millmont, PA 17845


                  Jamie Huffman
                  207 McConnell Road
                  Canonsburg, PA 15317


                  Jamie Jones
                  776 Tanbark Dr
                  Dimondale, MI 48821


                  Jamie Kightlinger
                  6320 U.S. 42
                  Mount Gilead, OH 43338


                  Jamie Kokla-Parada
                  866 Mount Joy Road
                  Clearfield, PA 16830


                  Jamie Littleton
                  2958 Laurel Ridge Ln
                  Kinston, NC 28504
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                  Jamie Luna
                  4791 Cogdell Rd
                  Fayetteville, NC 28312


                  Jamie Matthews Friedrich
                  20594 Ohio 697
                  Delphos, OH 45833


                  Jamie Morrin
                  7544 Secor Rd
                  Lambertville, MI 48144


                  Jamie Motchenbaugh
                  708 Main Street
                  Windber, PA 15963


                  Jamie Noe
                  728 Whipple Rd.
                  Bronson, MI 49028


                  Jamie Ogiba
                  116 Lynwood Ln
                  Leesburg, GA 31763


                  jamie Peterson
                  2065 Royal View
                  Kewadin, MI 49648


                  Jamie Pruett
                  415 North Adams Street
                  Washburn, IL 61570


                  Jamie Richardson
                  1501 Baron Ct
                  Auburn, IN 46706


                  Jamie Robinson
                  3000 Thickety Rd
                  Clyde, NC 28721


                  Jamie Samland
                  3060 Greenwich Ct
                  Canton, MI 48188
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                  Jamie Sharples
                  12602 Hunters Canyon Ln
                  Cypress, TX 77429


                  Jamie Smith
                  197 Spring Run Road
                  Butler, PA 16001


                  Jamie Sternberg
                  1505 Market Street
                  Algonac, MI 48001


                  Jamie Stiles
                  3215 Sharlen Dr
                  Hamptonville, NC 27020


                  Jamie Vaughn
                  616 Rose St
                  Bristol, TN 37620


                  Jamie Yockey
                  4983 Ridgebury Boulevard
                  Lyndhurst, OH 44124


                  Jamieson Strand
                  3653 Lake Shore Rd S
                  Denver, NC 28037


                  Jamil Chris
                  1037 Buck Mountain Road
                  Goodview, VA 24095


                  Jamil Cooper
                  1019 Cora Drive
                  Flint, MI 48532


                  Jamin Hershberger
                  330 East Trail Southeast
                  Kalkaska, MI 49646


                  Jamison Clark
                  8844 W Hardinsburg Rd
                  Hardinsburg, IN 47125
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                  Jamison Floyd
                  2349 Sage Crossing Rd
                  Winston-Salem, NC 27127


                  Jamme Tracey
                  779 Monticello Rd
                  Eatonton, GA 31024


                  jamshed haq
                  956 Gettysvue Dr
                  Knoxville, TN 37922


                  Jan Bruce
                  5534 SE 69th St
                  Galena, KS 66739


                  Jan Coleman
                  112 Windy Meadow Way
                  Simpsonville, SC 29680


                  Jan Findley
                  2679 Franks Creek Road
                  Robbinsville, NC 28771


                  Jan George
                  122 Ashtons Way
                  Franklinton, NC 27525


                  Jan Hull
                  10274 South 300 East
                  Markleville, IN 46056


                  Jan LaLone
                  2257 Quiet Creek Lane
                  Collettsville, NC 28611


                  Jan Lindholm
                  282 East Eaglewood Lane
                  Mt Jackson, VA 22842


                  Jan Long
                  8460 Boyd Lane
                  Dearborn, MO 64439
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                  Jan Openlander
                  J471 County Road 18
                  Napoleon, OH 43545


                  Jan Rowland
                  502 Burrell Road
                  Durham, NC 27703


                  Jan Smith
                  14609 Phillips Road
                  Matthews, NC 28105


                  Jan Speare
                  10 Mahogany Dr
                  Stuarts Draft, VA 24477


                  Jan Stelloh
                  26308 Dry Fork Road
                  Warrenton, MO 63383


                  Jan Trollinger
                  2611 Springwood Dr
                  Greensboro, NC 27403


                  Jan Urbanek
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                  Bedford, IN 47421


                  Jan White
                  4075 Ashbourne Lane
                  Indianapolis, IN 46226


                  Jana Broughton
                  1363 14th st w
                  West Portsmouth, OH 45663


                  Jana Hooker
                  210 Northridge Rd
                  Franklin, VA 24101


                  Jana Kaminski
                  10048 Carmel Ct
                  Brighton, MI 48116
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jana Kettle
                  417 Ladue Rd
                  Jefferson City, MO 65109


                  Jana Ropp Crawford
                  231 West Main Street
                  Saint Paris, OH 43072


                  Jana Schellinger
                  6819 W Lee Hwy
                  Rural Retreat, VA 24368


                  Janai Ramirez Gomez
                  1314 Dena Street
                  Chesapeake, VA 23324


                  Janaye Tanks
                  4435 Tanglebrook dr
                  Black Jack, MO 63033


                  Jane Bassett / Joan Bennett
                  3085 E Textile Rd
                  Ypsilanti, MI 48197


                  jane berkebile
                  9216 Nichols Ln
                  Johnstown, OH 43031


                  Jane Blount
                  40 Burnt Ridge Trail
                  Black Mountain, NC 28711


                  Jane Bostrom
                  143 South Winter Street
                  Hesperia, MI 49421


                  Jane Christensen
                  828 W Oregon St
                  Lapeer,, MI 48446


                  Jane Cook
                  112 Giddy-Up Ln
                  Ashland, VA 23005
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jane Cooley
                  901 Lake Destiny Ct
                  Virginia Beach, VA 23464


                  Jane Corlee
                  14847 FM 95
                  Nacogdoches, TX 75961


                  Jane Denney
                  4217 West State Road 32
                  Winchester, IN 47394


                  Jane Ebben
                  2506 Brookside Ct, Columbia, MO 65201, U
                  Columbia, MO 65201


                  Jane Greene
                  329 Jackson Store Rd
                  Beulaville, NC 28518


                  Jane Hanes
                  3070 Leonard Brown Road
                  Sumter, SC 29153


                  Jane Ilbrink
                  222 Hedgecrest Ln.
                  York, SC 29745


                  Jane Kipp
                  4830 Briggs Road
                  Otter Lake, MI 48464


                  Jane Kunkler
                  3030 Palomino Rd NW
                  Rushville, OH 43150


                  Jane Mariles
                  200 Willow Dr
                  O'Fallon, IL 62269


                  Jane Morrison
                  36 Park Dr
                  Sylva, NC 28779
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                  Jane Moses
                  3100 E Bay City Forestville Road
                  Minden City, MI 48456


                  Jane Pan
                  1220 Goodwin Road
                  Apex, NC 27523


                  Jane Taylor
                  2021 Rabbit Run
                  Martinsville,, IN 46151


                  Jane Taylor
                  133 Kelsey Way
                  Fincastle, VA 24090


                  Jane Weaver
                  350 Joines Dr
                  Saluda, NC 28773


                  Jane Weiseman
                  1919 Lacy Lane
                  Blacksburg, VA 24060


                  Jane-ann Nyerges
                  34 Elizabeth St
                  Newark, OH 43055


                  Janeen Bradshaw
                  5559 East Richview Road
                  Woodlawn, IL 62898


                  Janell Hogan
                  31261 Day Lily Dr
                  Brownstown Charter Twp, MI 48173


                  Janell Umscheid
                  1402 Nancywood Dr
                  Waterford Twp,, MI 48327


                  Janell Walker
                  205 W State St
                  Botkins, OH 45306
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                  Janelle Boyer
                  3615 Burnham Woods Dr
                  Amelia, OH 45102


                  Janelle Clouse
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                  Traverse City, MI 49686


                  Janelle Cornell
                  510 W Taylorville Rd
                  Taylorville, IL 62568


                  Janelle Haynes
                  4477 South Jim Minor Road
                  Haw River, NC 27258


                  Janelle Pallas
                  431 N Rogers St,
                  Mason, MI 48854


                  Janelle Randall
                  8757 Glass Road
                  Hayes, VA 23072


                  Janet & Guy (Morton) Hunker
                  6424 Oak Grove Chruch Rd
                  MEBANE, NC 27302


                  Janet Bock
                  201 Morning Grove Lane
                  Valencia, PA 16059


                  Janet Bowers
                  4846 US Route 127 N
                  Eaton, OH 45320


                  Janet Childress
                  67 Grove Avenue
                  Lynchburg, VA 24502


                  Janet Cole
                  495 rea road
                  spencer, VA 24165
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                  Janet Crawford
                  5678 North Silverton Street
                  Jackson, SC 29831


                  Janet Cuatt
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                  Albion, MI 49224


                  Janet Dallmann
                  2517 Lauren Lane
                  Kokomo, IN 46901


                  Janet Davidge
                  807 Tyndall Avenue
                  Erie, PA 16511


                  Janet Dolores Luckanavage
                  14292 Northbrook Ln
                  Gainesville, VA 20155


                  Janet Dowd
                  9290 Chase Lake Road
                  Fowlerville, MI 48836


                  Janet Feldman
                  7 Willina Drive
                  Carnegie,, PA 15106


                  Janet Georganzis
                  635 Spruce Street
                  Staunton, VA 24401


                  Janet Heider-Heinzerling
                  325 W 30th St
                  Lorain, OH 44055


                  Janet Hendricks
                  5436 Hill Ave
                  Ashland, KY 41102


                  Janet Holt
                  22382 Gail
                  New Caney, TX 77357
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                  Janet Isabell
                  4116 Sunnyfields Road
                  Portsmouth, VA 23703


                  Janet Jackson
                  10360 South 600 West
                  Silver Lake, IN 46982


                  Janet Jackson
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                  Lynchburg, VA 24502


                  Janet Kalajainen
                  23365 Larkshire St
                  Farmington Hills, MI 48336


                  Janet Kenworthy
                  201 Blue St
                  Aberdeen, NC 28315


                  Janet Kirby
                  218 Rolling Hills Drive
                  Marion, VA 24354


                  Janet Kolbinsky
                  298 Decatur St
                  Aurora,, IN 47001


                  Janet Ladd
                  2261 N Main St
                  Fairgrove, MI 48733


                  Janet Love
                  15 W High St
                  Maytown, PA 17550


                  Janet Lucas
                  6741 Mckibbon rd
                  North Branch, MI 48461


                  Janet Madding
                  11815 Juniper Court
                  Evansville, IN 47725
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                  janet malecki
                  9818 Harrison Rd
                  Wakeman, OH 44889


                  Janet Maurer
                  1035 Bath Rd
                  Bristol, PA 19007


                  Janet McCarville
                  3235 southern hills dr
                  Pickerington, OH 43147


                  Janet Meckley
                  2612 Test Road
                  Richmond, IN 47374


                  Janet Mizelle
                  291 U.S Highway 158 West
                  Gatesville, NC 27938


                  Janet Nieman
                  222 East Main Street
                  Saint Paris, OH 43072


                  Janet Papp
                  6446 Baker Road
                  Howell, MI 48843


                  Janet Phillips
                  6443 Hamilton Avenue
                  Cincinnati, OH 45224


                  Janet Phillips
                  900 Hills-Miller Rd
                  Delaware, OH 43015


                  Janet Porcher
                  4897 Oroszy Avenue
                  Lorain, OH 44052


                  Janet Rodgers
                  2839 Almester Dr
                  Cincinnati, OH 45211
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                  Janet Shepard
                  6973 Root Road
                  North Ridgeville, OH 44039


                  Janet Shilling
                  34 Mack Rd
                  Shenango, PA 16125


                  Janet Teichman
                  6910 Glenwood Road
                  Cumberland, OH 43732


                  Janet Tiwo
                  153 Brookwood dr
                  Spindale, NC 28160


                  Janet Trowbridge
                  316 Jordan Narron Rd
                  Selma, NC 27576


                  Janett Lewis
                  11735 Eckert Lane
                  St. Louis, MO 63138


                  Janetta Garcia
                  2585 Middlefield Road
                  Trenton, MI 48183


                  Janette Battle
                  11822 Seven Hills Drive
                  Florissant, MO 63033


                  Janette Ruiz
                  2508 Sheriff Johnson Rd
                  Lillington, NC 27546


                  Janette Scott
                  10510 Windswept Drive
                  St. Louis, MO 63128


                  Janey Kelly
                  130 Charland Forest Rd
                  Asheville, NC 28803
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                  Jani Brown TEST
                  9644 ASHLEY LAKE COURT
                  CHARLOTTE, NC 28262


                  Jani Rice
                  4755 Chambersburg Rd
                  Dayton, OH 45424


                  Janice Bright
                  5044 Elms Rd
                  Flushing, MI 48433


                  Janice Britt
                  16707 Paint Rock Road
                  Friendswood, TX 77546


                  Janice Callahan
                  765 Thorntons Mill Road
                  Red House, VA 23963


                  Janice Capezzuto
                  1493 W Wallings Rd
                  Broadview Heights, OH 44147


                  Janice Collins
                  1460 McGee Street
                  Morganton, NC 28655


                  Janice Cuneo
                  448 Washington St
                  Portsmouth, VA 23704


                  Janice Dixon
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                  Durham, NC 27703


                  Janice Evans
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                  Johnstown, OH 43031


                  Janice Gahagans
                  12414 Askew Drive
                  Grandview, MO 64030
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                  Janice Gilliam
                  1996 Muddy Creek Rd
                  Blountville, TN 37617


                  Janice Goldsby
                  382 Irrigation Pond Rd
                  Pink Hill, NC 28572


                  Janice Hanna
                  6467 Latta Road
                  East Palestine, OH 44413


                  Janice Hinchberger
                  120 Hall Road
                  Slippery Rock, PA 16057


                  Janice Keller
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                  Oak Harbor, OH 43449


                  Janice Kuhns
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                  Latrobe, PA 15650


                  Janice Mancuso
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                  Clarkston, MI 48346


                  Janice McLaughlin
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                  Evington, VA 24550


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                  Johnstown, OH 43031


                  Janice Patterson
                  17701 Sharon St
                  Laurel Hill, NC 28351


                  Janice Rambo
                  1814 Sherrick Court
                  Jefferson City, MO 65109
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                  Janice Shoemaker
                  28203 Moon Portrait Ln
                  Katy, TX 77494


                  Janice Smathers
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                  Waynesville, NC 28786


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                  Janina Mason
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                  Janine Houle
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                  Janine Meneghini
                  4566 Lincoln Avenue
                  Jeannette, PA 15644
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                  Janine Roberts
                  304 Vogler Rd
                  Advance, NC 27006


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                  Friendsville, TN 37737


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                  Staunton, VA 24401


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                  Janney Husebo
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                  Jared Bodary
                  76 Detroit St
                  Dearborn, MI 48183


                  JARED FREIBURGER
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                  Jared Gandy
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                  Jared Hughes
                  104 Angie Ct
                  Troy, MO 63379
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                  Jared Jansen
                  8132 N Clear Creek Rd
                  Huntington, IN 46750


                  Jared Jarvis
                  3756 Middlebrook Village Rd
                  Middlebrook, VA 24459


                  Jared Justice
                  9504 Bivens Rd
                  Nashville, MI 49073


                  Jared Justice
                  4114 Chicken Foot Road
                  Saint Pauls, NC 28384


                  Jared Karl
                  26543 Marina Road
                  Freeport, OH 43973


                  Jared Knutson
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                  Augusta, GA 30909


                  Jared Land
                  1126 Court Street
                  Port Huron, MI 48060


                  Jared Meade
                  3507 Washburn Rd
                  Berkey, OH 43504


                  Jared Morgan
                  5929 Chicwood Dr
                  Pulaski, VA 24301


                  Jared Nicholls
                  4587 Colf Rd
                  Carleton, MI 48117


                  Jared Orth
                  11812 Amberwood Lane
                  Glen Allen, VA 23059
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                  Jared Overley
                  43779 Co Rd 669
                  Decatur, MI 49045


                  Jared Petrine
                  1611 Venable Drive
                  Carterville, IL 62918


                  Jared Roberts
                  1445 Vanarsdall Rd
                  Harrodsburg, KY 40330


                  Jared Sheedy
                  4721 3rd Street
                  McKeesport, PA 15132


                  Jared Stayton
                  5719 West Woodview Trail
                  McCordsville, IN 46055


                  Jared Stewmay
                  914 Marietta Ave
                  Norfolk, VA 23513


                  Jared Strader
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                  Sterling, IL 61081


                  Jared Sullivan
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                  O'Fallon, IL 62269


                  Jared Thiele
                  14323 Thiele Road
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                  Jaret Allen
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                  Muskegon, MI 49445


                  Jarid Clapp
                  7578 IN-59
                  Brazil, IN 47834
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                  Jarod Moffit
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                  New London, OH 44851


                  Jarod Talbert
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                  Winnabow, NC 28479


                  Jarred Hall
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                  Spencerville, IN 46788


                  jarred lofton
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                  Garden City, MI 48135


                  Jarred Melcher
                  18825 Pemberville Rd
                  Pemberville, OH 43450


                  Jarred Wallace
                  4618 Meigs St
                  Waterford Twp, MI 48329


                  Jarrett Burgess
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                  Stevensville, MI 49127


                  Jarrett Newcomb
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                  Jarrious Lassiter
                  2620 Plank Road
                  South Hill, VA 23970


                  Jarrod bloor
                  49972 Duke Vodrey Road
                  East Liverpool, OH 43920


                  Jarrod Donnersbach
                  7691 Bowman Street
                  Plymouth, OH 44865
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                  Jarrod Stewart
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                  Perry, GA 31069


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                  Stony Point, NC 28678


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                  7185 Al Foreman Court
                  Clarkston, MI 48348


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                  Bumpass, VA 23024


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                  Eagle Rock, VA 24085


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                  Jason Bernstein
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                  30363 Big Pine Rd
                  Painter, VA 23420
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                  Jason Carpenter
                  1402 Cherry Avenue
                  Grottoes, VA 24441


                  Jason Carter
                  4838 Tanner Oaks Drive
                  Evans, GA 30809


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                  Moon Township, PA 15108


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                  Jason Corrado
                  7464 Fosdick Rd
                  Saline, MI 48176


                  Jason Cox
                  3497 S Sweet Lake AVE
                  Twin Lake, MI 49457


                  Jason Cox
                  1458 Dusty Rd
                  Crewe, VA 23930


                  Jason Creager
                  3527 E 200 N
                  Windfall, IN 46076
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                  Jason Crowder
                  324 spruce ivy street
                  Moncks Corner, SC 29461


                  Jason Curtis
                  411 Airport Road
                  Chillicothe, OH 45601


                  Jason Dahlke-butle
                  227 College Avenue Southeast
                  Grand Rapids, MI 49503


                  Jason Dale
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                  Mount Vernon, IL 62864


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                  Mount Pleasant, SC 29464


                  Jason DALLY
                  23205 Struwin Road
                  Battle Creek, MI 49017


                  Jason Davidson
                  13431 lismore pl
                  Nokesville, VA 20181


                  Jason Davis
                  3341 Charles Street
                  Trenton, MI 48183


                  Jason Davis
                  201 Lester Street
                  Beckley, WV 25801


                  Jason Deal
                  1168 Kendrick Road
                  Clover, SC 29710


                  JASON DERKS
                  3737 Trappers Crossing
                  Hamilton, MI 49419
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                  Jason Deweese
                  1263 Erskine Road
                  Hemlock, MI 48626


                  Jason Dick
                  653 Ira Gustin Rd
                  Peebles, OH 45660


                  Jason Dietrich
                  16806 U.S. 20 Alternate
                  West Unity, OH 43570


                  Jason Dillon
                  701 Virgin Run Road
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                  Jason Drake
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                  Jason Eamich
                  1836 Secretarys Rd
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                  Jason East
                  556 Eastanollee bypass
                  EASTANOLLEE, GA 30538


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                  Polk, PA 16342


                  Jason Elwell
                  106 Abbington Cir
                  Battle Creek, MI 49015
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                  Jason Emerson
                  114 Scotland Drive
                  Goldsboro, NC 27530


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                  Larwill, IN 46764


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                  Jason Gasche
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                  Marion,, NC 28752
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                  Jason Gayheart
                  110 Wildcat Drive
                  Pine Top, KY 41843


                  Jason Gerstenberg
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                  Nazareth, PA 18064


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                  Aiken, SC 29801


                  Jason Giffin
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                  Cutler, OH 45724


                  Jason Graves
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                  La Salle, MI 48145


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                  Jason Hammitt
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                  Jason Harper
                  17531 Co Rd 40
                  Goshen, IN 46526


                  Jason Harrelson
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                  McLeansboro, IL 62859


                  Jason Harris
                  286 Pine Grove Rd
                  South Pittsburg, TN 37380
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                  Jason Hengesbach
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                  Lansing, MI 48906


                  Jason Henry
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                  Talbott, TN 37877


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                  310 Clydesdale Court
                  Spotsylvania Courthouse, VA 22551
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                  China Township, MI 48054


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                  Jay Hines
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                  Sunbury, OH 43074
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                  Jeff Litzsinger
                  5 Plum Ln
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                  Jeff May
                  2720 Lost Nation Rd
                  Willoughby, OH 44094


                  Jeff May
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                  Jeff Moore
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                  Waynesboro, VA 22980


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                  Rising Sun, IN 47040


                  Jeff Myers
                  10624 Auburn Rd
                  Chardon, OH 44024


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                  Fuquay Varina, NC 27526


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                  Harrisburg, PA 17109


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                  Jeff Reitz
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                  Jeff Richardson
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                  Jeff Saunders
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                  Gallipolis, OH 45631
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                  Jeff Smith
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                  Charlotte, NC 28210


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                  McDonald, PA 15057


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                  Jeff Stiles
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                  Jeff Szych
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                  Jeff Vanpage
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                  Jeff Veith
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                  Saginaw, MI 48603


                  Jeff Wakeman
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                  Edinburg, VA 22824
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                  Jeff Waldorf
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                  Rochester Hills, MI 48309


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                  Jeffery nevel
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                  Jeffery Woolsey
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                  Meyersdale, PA 15552
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                  Export, PA 15632


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                  Jeffrey Fisher
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                  Columbia Station, OH 44028


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                  Hazel Crest, IL 60429


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                  941 Johnsonburg Road
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                  Jenkins Restoration
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                  Jenna Anderson
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                  Jenna Barker
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                  Jenna Cooper
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                  Jenna Hudson
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                  Jenna Ross
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                  Jennie Bard
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                  Jennie Ware
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                  Jennifer Akers
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                  Jennifer Almjeld
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                  Waxhaw, NC 28173


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                  Heathsville, VA 22473


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                  Bowling Green, KY 42101


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                  514 North Buck Creek Road
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                  Jennifer Brockmoller
                  122 W 2nd Ave
                  Red Springs, NC 28377


                  Jennifer Brooks
                  137 Bridle Path
                  Staunton, VA 24401


                  Jennifer brown
                  7309 S Pr 425 W
                  Shelbyville, IN 46176


                  Jennifer Brunell
                  1457 Mt Pisgah Rd SW
                  Supply, NC 28462


                  Jennifer Bryant
                  1551 Maryan Ave
                  Amelia, OH 45102


                  Jennifer Carter
                  424 Buttons Bluff
                  Buchanan, VA 24066


                  Jennifer Case Andrew
                  5035 Starwood Drive
                  Fort Wayne, IN 46835


                  Jennifer Cates
                  9529 Grove Avenue
                  Norfolk, VA 23503


                  Jennifer Chinea
                  1825 Maple Shade Court
                  Virginia Beach, VA 23453


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                  Columbia, MO 65203


                  Jennifer Clark
                  1641 East Cooke Road
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                  Jennifer Claussen
                  501 Haw Ln
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                  Abingdon, VA 24210


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                  Lebanon, VA 24266


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                  Jennifer Donohoe Killby
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                  Troy, MI 48084


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                  Jennifer Eckel
                  321 N Langley St
                  Alexandria, VA 22304
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                  Jennifer Elsenpeter
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                  Rockingham, NC 28379


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                  Cloverdale, IN 46120


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                  Jackson, MI 49201


                  Jennifer Fletcher
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                  Danville, PA 17821


                  Jennifer Frick
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                  Dunn, NC 28334


                  Jennifer Furgason
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                  Saginaw, MI 48604


                  Jennifer Gipson
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                  Edinburg, PA 16116


                  Jennifer Gonzales
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                  Sheldon, IL 60966


                  Jennifer Grubbs
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                  Eden, NC 27288


                  Jennifer Hardison
                  1756 Kentucky 1473
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                  Jennifer Hay
                  5676 Scuffletown Road
                  Barboursville, VA 22923


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                  8740 Jackson Street
                  Taylor, MI 48180


                  jennifer hoffmann
                  7208 Wiley Mangum Rd
                  Bahama, NC 27503


                  Jennifer Hooten
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                  Waco, KY 40385


                  Jennifer Hough
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                  Alexander, NC 28701


                  Jennifer Howard
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                  Flushing, MI 48433


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                  Erie, PA 16510


                  Jennifer Hyler
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                  Asheboro, NC 27205


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                  West Bloomfield Township, MI 48322


                  Jennifer Jennings
                  521 Rice Rd
                  Marion, VA 24354


                  Jennifer Karosus
                  4 Sherman Ave.
                  Carbondale, PA 18407
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                  Jennifer Kelly
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                  Cincinnati, OH 45231


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                  Marysville, IN 47141


                  Jennifer Koons
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                  Wellsville, MO 63384


                  Jennifer Kootsillas
                  4651 Cooley Lake Road
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                  Jennifer Korb
                  9854 Timothy Ln
                  South Lyon, MI 48178


                  Jennifer Krofchok
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                  Mountain Top, PA 18707


                  Jennifer Lamontagne
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                  Cheboygan, MI 49721


                  Jennifer Lewis
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                  Saint Helen, MI 48656


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                  2161 Sheraton Dr
                  Trenton, MI 48183
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                  Jennifer Marple
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                  O'Fallon, MO 63366


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                  Chesapeake, VA 23322


                  Jennifer McKinney
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                  Mt Airy, NC 27030


                  Jennifer McKinstry
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                  East Lansing, MI 48823


                  Jennifer Miller
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                  Anderson, IN 46012


                  Jennifer Moeser
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                  Jennifer Moss
                  17263 North Lohman Road
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                  Hull, GA 30646


                  Jennifer Myers
                  3571 Osborn Rd
                  Medway, OH 45341
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                  Jennifer Olejnik
                  20278 North Territorial Road
                  Chelsea,, MI 48118


                  Jennifer Osborn
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                  Stanton, MI 48888


                  Jennifer Owen
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                  Arlington, VA 22201


                  Jennifer Park
                  3088 N Martadale Dr
                  Akron, OH 44333


                  Jennifer Perkins
                  2208 Elijah St
                  Chesapeake, VA 23323


                  Jennifer Pisor
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                  Volant, PA 16156


                  Jennifer Pulido
                  178 Cline Smith Rd NE
                  Cartersville, GA 30121


                  Jennifer Ravine
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                  Willshire, OH 45898


                  Jennifer Redmond
                  1821 Melissa Cir
                  Vinton, VA 24179


                  Jennifer Reynolds
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                  Gowen, MI 49326


                  Jennifer Rice
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                  Erie, PA 16508
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                  Jennifer Richardson
                  2708 West 37th Street
                  Lorain, OH 44053


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                  Glenshaw, PA 15116


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                  Jennifer Sanchez
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                  Jennifer Savoy
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                  Jennifer Scaff
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                  Oak Hill, OH 45656


                  Jennifer Scarberry
                  1015 22nd Street
                  Portsmouth, OH 45662


                  Jennifer Schoffstall
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                  Roanoke, VA 24017


                  Jennifer Schout
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                  Georgetown Twp, MI 49428


                  Jennifer Sheppard
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                  Oakwood, VA 24631


                  Jennifer Shuttleworth
                  33038 Till Road
                  Logan, OH 43138
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                  Jennifer Smiddle
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                  Jennifer Smith
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                  Winnabow, NC 28479


                  Jennifer Smith
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                  Galena, OH 43021


                  Jennifer Swift
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                  Garner, NC 27529


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                  Kernersville, NC 27284


                  Jennifer Taylor
                  595 Hollen Rd
                  Tyrone, PA 16686


                  Jennifer Thomas
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                  McDonough, GA 30252


                  Jennifer Thomas
                  14901 Dunn Rd
                  Haslett, MI 48840


                  Jennifer Thomas
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                  TAYLOR, MI 48180


                  Jennifer Togneri
                  1915 Lowrie St
                  Pittsburgh, PA 15212
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                  Jennifer Tran
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                  Jennifer Wheeler
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                  Jennifer Williamson
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                  Jenny Hamby
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                  Jenny Woelzlein
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                  Jeovanna Padgett
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                  Jeral Jones
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                  Jerald Templeton
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                  Littlestown, PA 17340


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                  Village of Clarkston, MI 48346


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                  Jeremiah Bright
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                  Jeremiah Chauvigne
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                  11720 Drury Avenue
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                  Jeremiah Daniels
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                  Raytown, MO 64133


                  Jeremiah Hockman
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                  North Augusta, SC 29860


                  Jeremiah Holmes
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                  Jeremiah Jones
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                  Jeremiah Kincaid
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                  Jeremiah LeCroy
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                  Jeremiah Niemaczek
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                  Jeremiah Prosser
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                  Jeremiah Siggard
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                  Middle Valley, TN 37343


                  Jeremiah St Clair
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                  Toano, VA 23168


                  Jeremiah Walter
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                  Danville, PA 17821


                  Jeremiah Wilkinson
                  704 E Normal St
                  Lewistown, IL 61542


                  Jeremie Bolte
                  7317 Kellywood Dr
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                  Lugoff, SC 29078


                  Jeremy Agans
                  2044 South Highview Avenue
                  Joplin, MO 64804
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                  Franklin, NC 28734


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                  North Charleston, SC 29406


                  Jeremy Barnes
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                  Jeremy Bishop
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                  URBANA, OH 43078


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                  New Riegel, OH 44853


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                  4232 Marion-Upper Sandusky Rd
                  Marion, OH 43302
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                  22 Southeast 125 Road
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                  Pikeville, NC 27863


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                  Chillicothe, MO 64601


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                  Nancy, KY 42544


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                  Litchfield, MI 49252
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                  Summerville, GA 30747


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                  Jeremy Driver
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                  Bellefontaine, OH 43311


                  Jeremy Edgmon
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                  Belmont, OH 43718


                  Jeremy Enser
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                  Saginaw, MI 48603


                  Jeremy Erwin
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                  Weaverville, NC 28787


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                  Linwood, MI 48634


                  Jeremy Fillmore
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                  Jeremy Harper
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                  Xenia, OH 45385


                  Jeremy Harris
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                  Assumption, IL 62510


                  Jeremy Harris
                  3543 Bradshaw Rd
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                  Jeremy Hayes
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                  Jeremy Newton
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                  Mount Holly, NC 28120


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                  Streetsboro, OH 44241


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                  Hebron, IN 46341


                  Jeremy Robbins
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                  Jeremy Roberson
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                  Jeremy Sibley
                  252 West 100 North
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                  Jeremy Signorino
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                  Jeremy Silva
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                  Jeremy Smith
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                  Oakley, MI 48649


                  Jeremy Smith
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                  Jeremy Thompson
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                  SOUTH BEND, IN 46628


                  Jeremy Tunstall
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                  Whitmore Lake, MI 48189


                  Jeremy Westerfield
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                  Jeremy Whiting
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                  jeremy williams
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                  Benton, KY 42025
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                  Jeri Strickland
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                  Frankfort, MI 49635


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                  Jermaine Davis
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                  3220 Bloomfield Dr
                  Macon, GA 31206


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                  Jermyn Church
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                  Haslett, MI 48840


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                  Houston, TX 77070


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                  Jerome Durham
                  10365 Main Street
                  Fingerville, SC 29338
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                  Jerome Griffin
                  332 Donelson Way
                  Burlington, NC 27217


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                  Manassas, VA 20111


                  Jerome Hunt
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                  Johnstown, PA 15905


                  Jerome Leonard
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                  Eastpointe, MI 48021


                  Jerome Loring
                  120 Yates Chapel Road
                  Cecilia, KY 42724


                  Jerome Lowe
                  350 Pecan Orchard
                  Angleton, TX 77515


                  Jerome Polk
                  105 Country Club Boulevard
                  Chesapeake, VA 23322


                  Jerome Soulliere
                  5568 Lum Rd
                  Attica, MI 48412


                  Jerome Sowa
                  3787 Adam Dr
                  Attica, MI 48412


                  Jerome Stephens
                  211 Skylark Drive
                  Danville, VA 24541


                  Jerome Waller
                  2224 Buck Smith Hill Road
                  Palmyra, TN 37142
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                  Jerome Weigel
                  106 Park Ln
                  Seafort, VA 23696


                  Jeromey Cowart
                  156 Glenway Dr
                  Amherst, VA 24521


                  Jeromey Wilson
                  1180 Lawrence Rd
                  Harrod, OH 45850


                  Jeromy Bowman
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                  Markle, IN 46770


                  Jeron Ray
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                  Fayetteville, NC 28303


                  Jeron Towns
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                  Jerrad Campbell
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                  Roanoke, VA 24014


                  Jerrell Birdwell
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                  Jerri Stoilkov
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                  Inman, SC 29349


                  Jerrie Hutfman
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                  Jerrie King
                  216 Tareyton Ln
                  Portsmouth, VA 23701
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                  Jerrod Gillispie
                  1911 Cora Avenue
                  St. Louis, MO 63113


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                  Richmond,, VA 23222


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                  Bellevue, OH 44811


                  Jerrold Deese
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                  Nashville, NC 27856


                  Jerron Julien
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                  Grand Rapids, MI 49504


                  Jerry Abbott
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                  Saginaw, MI 48601


                  Jerry Arpaio
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                  Blackstone, VA 23824


                  Jerry Baker
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                  Graham, NC 27253


                  Jerry Banks
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                  McDonald, PA 15057


                  Jerry Beninate
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                  Scottsville, VA 24590
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                  Jerry Bennet
                  2912 Lake Drummond Causeway
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                  Chesapeake, VA 23322


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                  Croswell, MI 48422


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                  Jerry Bulifant
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                  Richmond, VA 23234


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                  Caseyville, IL 62232
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                  Jerry Cassel
                  10028 Torrey Rd
                  Willis, MI 48191


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                  Arlington, TN 38002


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                  Cleveland, TN 37323


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                  Beverly, OH 45715


                  Jerry Cline
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                  Bellefontaine, OH 43311


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                  Claypool, IN 46510


                  Jerry Custer
                  28 Covered Bridge Road
                  Kents Store,, VA 23084
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                  Jerry Darst
                  4027 Kemper Hollow Road
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                  St Helen, MI 48656


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                  Grand Rapids, MI 49503


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                  Jerry Fairbank
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                  Salisbury, NC 28147


                  Jerry Foster
                  28903 Springlake Drive
                  Lincoln, MO 65338
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                  JERRY GAMBILL
                  2316 Chapel Creek Rd
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                  Jerry Girdner
                  7221 Apache Trail
                  Holland, OH 43528


                  Jerry Goewey
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                  New London, MO 63459


                  Jerry Goubeaux
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                  Russia, OH 45363


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                  Jerry Harris
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                  Archbald, PA 18403


                  Jerry Hatfield
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                  Jerry Hazlett
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                  Ada, OH 45810


                  Jerry Hinton
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                  Battle Creek, MI 49017
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                  Jerry Hodges
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                  Jerry Jeffries
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                  Jerry Kelley
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                  Brighton, MI 48116


                  Jerry Kelman
                  4497 Duval Court
                  Bloomfield Hills, MI 48301


                  Jerry Kepple
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                  Jerry Kiracofe
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                  Byron, GA 31008


                  Jerry Ledbetter
                  2800 New Town Rd
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                  Jerry Leonard
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                  Sheridan, IN 46069


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                  Richmond, VA 23231


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                  Vincent, OH 45784


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                  Jerry Morrow
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                  King, NC 27021


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                  Jerry Pennington
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                  Lufkin, TX 75904
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                  Jerry Poronsky
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                  Jerry Smith
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                  Decatur, IL 62521


                  Jerry Spall
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                  Huntington, IN 46750


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                  Jerry Stine
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                  Mt Vernon, OH 43050


                  Jerry Stroud
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                  Elyria, OH 44035
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                  Jerry Trader
                  101 E Agnes St
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                  Jerry Trask
                  1701 Sherwood Drive
                  Conway, SC 29526


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                  3515 Waxhaw Indian Trail Rd S
                  Waxhaw, NC 28173


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                  Ostrander, OH 43061


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                  JERRY WHITE
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                  Jerry White
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                  Virginia Beach, VA 23453


                  Jerry Whitlock
                  369 Sutton Court
                  Saint Stephens Church, VA 23148
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jerry Wilson
                  2704 Lynnbrook Dr
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                  Reidsville, NC 27320


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                  Jess Gibson
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                  Jesse Andrews
                  1029 Tarleton Avenue
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                  Jesse Apsey
                  893 Avondale St
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                  WILLIAMSBURG, OH 45176


                  Jesse Blevins
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                  Jesse Brown
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                  Jesse Cook
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                  vassar, MI 48768


                  Jesse COOPER Jr
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                  Fort Mill, SC 29707


                  Jesse Couch
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                  Highland Charter Township, MI 48380


                  Jesse Duncan
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                  Jesse Fidler
                  217 High St
                  Milton, PA 17847


                  Jesse Fowler
                  6325 Cooper Street
                  Jackson, MI 49201
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                  Jesse Grause
                  3471 Cheviot Ave
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                  Jesse Keenan
                  1153 Boyer Rd
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                  Jesse Longacre
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                  Raliegh, NC 27616


                  Jesse Martinez
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                  Jesse Mascotti
                  655 Boss Ct
                  Miamisburg, OH 45342
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                  Jesse Peck
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                  Charlotte, NC 28215


                  Jesse Shumard
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                  Jesse Thompson
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                  Amanda, OH 43102


                  Jesse Tryon
                  4016 22 1/2 Mile Rd
                  Homer, MI 49245


                  Jesse Turner
                  2240 School Road
                  Hope Mills, NC 28348


                  Jesse Walker
                  65 Par 5 Lane
                  Hardy, VA 24101
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                  Jesse Walter
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                  Walsh, IL 62297


                  Jesse Walter
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                  Covert, MI 49043


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                  Jesse West
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                  Jessica Alberts
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                  Jessica Bocock
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                  Callaway, VA 24067


                  Jessica Brown
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                  Jessica Chanitz
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                  Jessica Crum
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                  Jessica Cunningham
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                  Jessica Edwards
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                  Woodlawn, VA 24381


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                  Jessica England
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                  Jessica Reaves
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                  Jessica Tran
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                  Jessie Koonce
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                  Sebree, KY 42455


                  Jessie Lipsey
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                  Jessie Martinez
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                  Jessie Zamudio Erin Romph
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                  Saylorsburg, PA 18353


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                  1711 Ave J
                  Nederland, TX 77627


                  Jesus Sanabria
                  1889 Parkwood Street
                  Georgetown Township, MI 49428


                  Jesus Sanchez
                  328 Marlboro Road
                  Newport News, VA 23602


                  Jesus Tavares
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                  O'Fallon, IL 62269


                  Jesus Varela
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                  King, NC 27021


                  Jettie Smith
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                  Anderson, SC 29624


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                  Jevon Cox
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                  Jewel Holton
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                  Jewel Richardson
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                  Wellston, MI 49689


                  Jewel Wilson
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                  Detroit, MI 48204
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                  Jewell Leverett
                  8971 Outer Dr E
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                  Jewell Miles
                  105 Bensens Mill Ct
                  Fredericksburg, VA 22406


                  Jewell Strother
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                  Jhune Marra
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                  Jian Zhang
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                  Madison Heights, MI 48071


                  Jigna Patel
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                  Perry, GA 31069


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                  Jill Aubry
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                  Arlington, VA 22205


                  Jill Barnes
                  2010 Lyn Grove Drive
                  Lima, OH 45806


                  Jill Bennett
                  2708 Hartland Center Rd
                  Collins, OH 44826
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                  Jill Bosley
                  11004 Mae Ave
                  Warren, MI 48089


                  Jill Donohoo
                  10433 Morrow Woodville Rd
                  Blanchester, OH 45107


                  Jill Farkas
                  6425 Spring Ave
                  Fairlawn, VA 24141


                  Jill Fidler
                  216 Shorecrest Lane
                  Linden, PA 17744


                  Jill Fisher
                  115 Countrywood Drive
                  Lebanon, TN 37087


                  Jill Fowler
                  416 Rittenhouse Cir
                  Havertown, PA 19083


                  Jill Grear
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                  Cincinnati, OH 45239


                  Jill Hall
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                  Camden, SC 29020


                  Jill Heincelman
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                  Oxford, MI 48371


                  Jill Hendrix
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                  Cincinnati, OH 45231


                  Jill Hina
                  3964 Darlington Drive
                  Zanesville, OH 43701
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                  Jill Kandel
                  7147 Sandy Lane
                  Malvern, OH 44644


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                  Ann Arbor, MI 48103


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                  Rixeyville, VA 22737


                  Jill Pentland
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                  Candler, NC 28715


                  jill rohloff
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                  Jill Schlosser
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                  Edwards, IL 61528


                  Jill Schram
                  20125 Avalon Street
                  St. Clair Shores, MI 48080


                  Jill Silos
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                  Washington, MI 48094


                  Jillian Brennan
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                  Jillian Byler
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                  Columbiaville, MI 48421


                  JIM ADAMS
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                  Jim Adams
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                  Jim Baker
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                  Alger, MI 48610


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                  Bassett, VA 24055


                  Jim Blackard
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                  Pontiac, IL 61764


                  Jim Boersma
                  6600 McCarty Rd
                  Saginaw, MI 48603


                  Jim Borek
                  4510 Betherl Rd
                  Garnet Valley, PA 19061
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                  Jim Brewer
                  724 Vine St
                  Louisville, KY 40204


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                  Nilwood, IL 62672


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                  Jim Collins
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                  jim Dale
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                  119 Shields Avenue
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                  Pena, IL 62557


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                  Homer, MI 49245


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                  Jim Diorio
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                  Gladwin, MI 48624


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                  21171 Armada Ridge Road
                  Armada, MI 48005
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Ferebee
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                  Union City,, OH 45390


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                  Jim Hardy
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Holt
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                  Jim Kissane
                  2723 North Dewitt Road
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Koval
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                  Atwater, OH 44201


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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Paoli Township, IN 47454


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                  Taylor, MI 48180


                  Jim McCune
                  9820 Rose
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                  Jim McCune
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                  Jim Meyer
                  2728 Abby Lane
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Lowell, IN 46356


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                  247 Windsor Dr
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                  Leslie, MI 49251


                  Jim Onsted
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                  clinton, MI 49236


                  Jim Peterson
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                  Jim Powers
                  1728 North Stadium Road
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Pratt
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                  Jim Presson
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                  Jim Riegel
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                  Max Meadows, VA 24360


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                  Jim Sellers
                  479 N Fork Rd
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Sharp
                  18282 Brenridge Dr
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                  South Bend, IN 46614


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                  West Plains, MO 65775


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                  Jim Steingrandt
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                  Jim Stewart
                  76 Mine 10 Rd
                  Coalport, PA 16627
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jim Stoddard
                  407 West Samuel Street
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                  Jim Story
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                  Jim Stout
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                  Macon, GA 31211


                  Jim Stutzman
                  4696 E Ridgeville Rd
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                  Jim Swinney
                  109 Monterey Street
                  Highland Park, MI 48203


                  Jim Tanner
                  226 S Main St
                  Perry, MI 48872


                  Jim Taylor
                  403 Old 3 Mile Rd
                  Newland,, NC 28657


                  Jim Theisen
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                  Erie, PA 16508


                  Jim Thomas
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                  16950 Overlook Way
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                  Jim Walker
                  1044 W Miller St
                  Clinton, IN 47842


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                  Advance, MO 63730


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                  Twin Lake, MI 49457


                  Jim Wells
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                  Springfield, OH 45502


                  Jim Wike
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                  Jim Willsey
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                  Cross Junction, VA 22625


                  Jimmie Baker
                  9864 NC-42
                  Holly Springs, NC 27540
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                  Jimmie Bush
                  3105 Wing Rd
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                  Chesapeake, VA 23320


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                  Norfolk, VA 23518


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                  Jimmy Barfield
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                  Jimmy Barfield
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                  Jimmy Bates
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                  Jimmy Benton
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jimmy Bolden
                  1635 Quesinberry Road
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                  Fairview Heights, IL 62208


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                  Jimmy Cooper
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                  Jimmy Crocker
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                  Jimmy Diep
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                  Chester, VA 23836


                  Jimmy Ducrepont
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                  Spurger, TX 77660


                  Jimmy Essig
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                  Bosworth, MO 64623


                  Jimmy Galal
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                  Fuquay-Varina, NC 27526


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                  Jimmy Green
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jimmy Hayes
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                  Yale, MI 48097


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                  Jimmy Lawrence
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                  Jimmy Webster
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joan Lavengood
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                  Joan Mass
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joanne Brandon
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                  Joanne Daniel
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                  Grand Junction, MI 49056


                  Joanne Peck
                  110 Heron Dr
                  Holden Beach, NC 28462


                  Joanne Revis
                  401 Nob Ct
                  Portsmouth, VA 23701


                  Joanne Stahl
                  7448 Skytop Ct
                  Orefield, PA 18069


                  Joanne Walden
                  7477 S Ransom Rd
                  Ashley, MI 48806


                  Joaquin Antonio
                  3721 Table Rock lane
                  Virginia Beach, VA 23452


                  Joaquina Everette
                  5721 Priscilla Circle
                  Indianapolis, IN 46226


                  Joboyd Gibson
                  4003 Battlefield Drive
                  Memphis, TN 38128


                  Jocelyn Green
                  5775 Eaglesham Drive
                  Westerville, OH 43081
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                  Jocelynn Reese
                  709 N Mecklenburg Ave
                  South Hill, VA 23970


                  Jochen Kunstler
                  228 Statesville Road
                  Como, NC 27818


                  Jodi Breckner
                  1465 Mariner Dr
                  Reynoldsburg, OH 43068


                  Jodi Casteel
                  3912 Middlewood Drive
                  Virginia Beach, VA 23456


                  Jodi Daniel
                  3945 Long Meadow Ln
                  Orion Charter Township, MI 48359


                  Jodi Gingiss
                  19364 Fairview Drive
                  Mundelein, IL 60060


                  Jodi Harmon
                  665 Vallery Road
                  Waverly, OH 45690


                  Jodi Head
                  315 N Poplar St
                  Wapella, IL 61777


                  Jodi Marles
                  269 Joe Barnett Road
                  Jamestown, TN 38556


                  Jodi McPherson
                  823 Thomas St
                  Reidsville, NC 27320


                  Jodi Newberry-Matas
                  1560 Ravens Nest Branch Rd
                  Cedar Bluff, VA 24609
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                  Jodi Stillin-Ely
                  11815 Herbert Avenue
                  Warren, MI 48089


                  Jodi Teutsch
                  35457 Jeffers Ct
                  Harrison Charter Township, MI 48045


                  Jodi Traverse
                  185 Jackson St
                  Plain City, OH 43064


                  Jodie Blankenship
                  3841 Cresthaven Drive
                  Waterford Township, MI 48328


                  Jodie Grannan
                  355 Mowery Road
                  Cleveland, TN 37312


                  Jodie Hott
                  6189 Blue Crown Ct
                  Kannapolis, NC 28081


                  Jodie Peyton
                  2923 Harbur Blvd
                  Anderson, IN 46011


                  Jody Bickmeyer
                  72950 Dunn Rd.
                  St Clairsville, OH 43950


                  Jody Cerrato
                  1885 South Grant City Road
                  Shirley, IN 47384


                  Jody Cole
                  6552 Michael Rd
                  Middletown, OH 45042


                  Jody Cromley
                  92 Terrys Ln
                  Watsontown, PA 17777
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                  Jody green
                  6998 East County Line Road
                  Indianapolis, IN 46237


                  Jody Guske
                  20700 County Road 2050 North
                  Princeton, IL 61356


                  Jody Landes
                  121 Railroad Ave
                  Roulette, PA 16746


                  Jody Miller
                  3025 S Campbell Rd
                  Bethel, OH 45106


                  Jody Morgan
                  334 Piedmont Rd
                  Barnesville, GA 30204


                  Jody Oliver
                  107 Normal Street
                  Middle Point, OH 45863


                  Jody Pinkston
                  2509 Pennsylvania Ave
                  Kannapolis, NC 28083


                  Jody Pombrio
                  107 Mulberry Court
                  Yorktown, VA 23690


                  Jody Potts-Davis
                  45395 Virginia Ave
                  New Waterford, OH 44445


                  Jody Sherwood
                  1308 Elm St
                  Mt Pleasant, MI 48858


                  Jody Shinn
                  5820 Keowee Road
                  Honea Path, SC 29654
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                  Jody Todd
                  4210 Mumford Court
                  Columbus, OH 43220


                  Jody Wood
                  609 Norton Branch Rd
                  Marshall, NC 28753


                  Joe Abel
                  957 Woodville Ave
                  Monroe, MI 48161


                  Joe Adams
                  272 North Emerson Avenue
                  Greenwood, IN 46143


                  Joe Alexander
                  665 Joseph Drive
                  Aurora, OH 44202


                  Joe Arpad
                  280 Woodland Ave
                  Wadsworth,, OH 44281


                  Joe Baker
                  2765 Township Rd 364
                  New Lexington, OH 43764


                  Joe Baluha
                  2949 Donegal Dr
                  Kannapolis, NC 28081


                  Joe Barboza
                  3038 Oakwood Street
                  Portage, IN 46368


                  Joe Bates
                  15 Wilshire Dr
                  Fairview Heights, IL 62208


                  Joe Behnke
                  29733 Gregg Drive
                  Roseville, MI 48066
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                  Joe Bellian
                  325 6th St
                  Fairport Harbor, OH 44077


                  Joe Bishop
                  2419 IN-38
                  Westfield, IN 46074


                  Joe Bissell
                  2877 1st St
                  La Salle, MI 48145


                  Joe Bloink
                  1916 8th St
                  Port Huron, MI 48060


                  Joe Bova Conti
                  371 Sylvester Ave
                  Webster Groves, MO 63119


                  joe brewer
                  960 Park Drive
                  Pottstown, PA 19464


                  Joe Bryant
                  615 clinton st
                  Flint, MI 48507


                  Joe Burns
                  443 Waggoner Boulevard
                  Toledo, OH 43612


                  Joe Calcagni
                  1804 Buttermilk Ct
                  Virginia Beach, VA 23456


                  Joe Carr
                  494 Lower Caseyville Road
                  Morganfield, KY 42437


                  Joe Cennamo
                  7421 Waco St
                  Richmond, VA 23294
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                  Joe Charles
                  520 Stacey Dr
                  Belton, MO 64012


                  Joe Cole
                  216 Charles Street
                  South Amherst, OH 44001


                  Joe Compton
                  290 Audrea Lane
                  Clarksville, TN 37042


                  JOE CRINER
                  1125 Kerns Avenue Southwest
                  Roanoke, VA 24015


                  Joe Cucchi
                  1137 South Washington Street
                  Du Quoin, IL 62832


                  Joe Dailey
                  1524 Brookwood Drive
                  Elkhart, IN 46514


                  Joe Detmer
                  232 North Franklin Street
                  Rushville, IL 62681


                  Joe Diclaro
                  159 Deepwood Avenue
                  Beckley, WV 25801


                  Joe DiNardo
                  6920 Irish Creek Rd
                  Vesuvius, VA 24483


                  Joe Eckhart
                  2214 Caleb Dr
                  Spring Hill, TN 37174


                  Joe Evans
                  2071 Bonds Mill Road
                  Lawrenceburg, KY 40342
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                  Joe Franko
                  103 Sextant Court
                  New Bern, NC 28562


                  Joe French
                  4589 E River Rd
                  Buchanan, MI 49107


                  joe Galloni
                  2001 Tynne Meadow Lane
                  Prince George, VA 23875


                  Joe Gamiere
                  12425 Carter Road
                  Painesville, OH 44077


                  Joe Giannola
                  33638 Hillcrest Street
                  Farmington, MI 48335


                  Joe Gonzales
                  919 Hall st
                  Albion, MI 49224


                  joe gooch
                  349 Cr-1072
                  Slaughters, KY 42456


                  Joe Grabowski
                  58765 Travis Road
                  Lyon Charter Township, MI 48165


                  Joe Granger
                  6646 Breckenridge Drive
                  Indianapolis, IN 46236


                  Joe Hahn
                  268 Pat Haven Drive
                  Pataskala, OH 43062


                  Joe Halpain
                  1902 N Hoover Ave
                  Cameron, TX 76520
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                  Joe Hanshaw
                  368 Commercial Street
                  Marion, OH 43302


                  Joe Harris
                  5245 Denlinger Road
                  Dayton, OH 45426


                  Joe Heidi
                  22770 Jackson Ridge Road
                  Lawrenceburg, IN 47025


                  Joe Helsel Sr.
                  441 Roberta Ln
                  Chillicothe,, OH 45601


                  Joe Hintz
                  10 E Quail Hollow Dr
                  Norwalk, OH 44857


                  Joe Hobbins
                  2317 Smith Rd
                  Shelocta, PA 15774


                  Joe Hood
                  5132 Fawn Lane Southwest
                  Conyers, GA 30094


                  Joe Hunt
                  17342 C-73
                  Cecil,, OH 45821


                  Joe Jackson
                  7414 Dunlap Creek Rd,
                  Covington, VA 24426


                  Joe Jenkins
                  1025 Main Street
                  Buffalo, SC 29321


                  Joe Kaler
                  28945 County Road 22
                  Elkhart, IN 46517
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                  Joe Kenley
                  12 S. Boxwood St
                  Hampton, VA 23669


                  Joe Kennedy
                  197 Falls Cove Drive
                  Troutman, NC 28166


                  Joe Kobus
                  2055 Salisbury Rd
                  Melvin, MI 48454


                  Joe Koch
                  401 E Pinzon St
                  Tuscola, IL 61953


                  Joe Lacey
                  378 Fernwood Ave
                  Tallmadge, OH 44278


                  Joe Liles
                  221 North Broad Street
                  Mooreland, IN 47360


                  Joe Loper
                  876 Blackfoot Trail
                  Jamestown, OH 45335


                  Joe loyacono
                  918 Sunset Drive
                  Berwick, PA 18603


                  Joe Mac
                  4046 Sir Andred Dr
                  Erie, PA 16506


                  Joe Marino
                  42521 Postiff Ave
                  Plymouth, MI 48170


                  Joe Marley
                  10793 Bud Road
                  Wheatland, IN 47597
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                  Joe Martone
                  4413 Jeanne St
                  Virginia Beach, VA 23462


                  Joe Mazzola
                  717 Summit St
                  RAVENNA, OH 44266


                  Joe Mcdonough
                  6983 Castlebrook Dr
                  Franklin, OH 45005


                  Joe McFatridge
                  8205 w mt morris rd
                  Flushing MI, MI 48433


                  Joe Mckinney
                  990 Crab Creek Rd
                  Hendersonville, NC 28739


                  Joe Mcvey
                  14354 Flanders St
                  Southgate, MI 48195


                  Joe Meadows
                  618 Grayson Avenue
                  Richmond, VA 23222


                  Joe Mikula
                  800 Eaton Ave
                  Middletown, OH 45044


                  Joe Morris
                  8670 U.S. 601
                  Salisbury, NC 28147


                  Joe Napier
                  1553 Old Stage Rd
                  Amherst,, VA 24521


                  Joe Neely
                  546 Greenwell Ave
                  Cincinnati, OH 45238
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                  Joe Ostermann
                  629 East Boston Street
                  Brookfield, MO 64628


                  Joe Paisley
                  1417 East Weidman Road
                  Rosebush, MI 48878


                  Joe Perez
                  404 E Grand River Ave
                  Fowlerville, MI 48836


                  Joe Pinkos
                  6905 Lakeview Blvd,
                  St Helen, MI 48656


                  Joe Pope sr
                  20808 Vernetta Lane
                  Petersburg, VA 23803


                  Joe Putney
                  8834 W Howe Rd
                  Eagle, MI 48822


                  Joe Rayl
                  80622 Wood Ridge Ln
                  romeo, MI 48065


                  Joe Richter
                  5150 Hopewell Manor Drive
                  Cumming, GA 30028


                  Joe Rider
                  11631 Bottom Diggins Road
                  Cadet, MO 63630


                  Joe Robidoux
                  9009 Packard Rd
                  Morenci, MI 49256


                  Joe Rodriguez
                  1312 Pops Court
                  Jackson, MI 49202
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                  Joe Rodriguez
                  7080 Sterling Road
                  Yale, MI 48097


                  Joe Roorda
                  10317 N Fairway Dr
                  Wheatfield, IN 46392


                  Joe Seckelman
                  5050 Pillar Creek Avenue Southeast
                  Kentwood, MI 49508


                  Joe Shaheen
                  207 Claremont Avenue Northwest
                  Canton, OH 44708


                  Joe Slone
                  2228 East Little Bear Road
                  Connersville, IN 47331


                  Joe Smith
                  5900 OH-681
                  New Marshfield, OH 45766


                  Joe Smith
                  4259 Ohio 73
                  Wilmington, OH 45177


                  Joe Snell
                  12509 East 34th Street South
                  Independence, MO 64055


                  Joe Soisson
                  1035 Chapel Rd
                  Beaver, PA 15009


                  Joe Sordyl
                  6479 West Court Street
                  Flint, MI 48532


                  Joe Stamey
                  1310 Chestnut Mountain Rd
                  Canton, NC 28716
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                  Joe Stanley
                  2817 Locust Street
                  Eldorado, IL 62930


                  Joe Starnes
                  100 Wave Rd
                  Kings Mountain, NC 28086


                  Joe Starnes
                  100 Wave Rd
                  Kings Mountain,, NC 28086


                  Joe Straub
                  1222 Tulls Hill Road
                  Manns Choice, PA 15550


                  Joe Swanson
                  3251 Rustic Ln
                  Crown Point, IN 46307


                  Joe Sweet
                  5747 Miller Rd
                  Capac, MI 48014


                  Joe Tamburro
                  4078 16 Mile Road Northwest
                  Kent City, MI 49330


                  Joe Thomashefski
                  612 Cooks Hill Road
                  Mt. Juliet, TN 37122


                  Joe Thomason
                  1256 Reedy Creek Rd
                  Lexington, NC 27295


                  Joe Thornton
                  414 Thistlegate Trail
                  Raleigh, NC 27610


                  Joe Timberlake
                  410 North Palisades Drive
                  Signal Mountain, TN 37377
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joe Trevino
                  1804 Rosedale St
                  Bryan, TX 77803


                  Joe Upham
                  539 Ansonia Street
                  Oregon, OH 43616


                  Joe Ureel
                  23483 Grandy Street
                  Clinton Township, MI 48035


                  Joe Vander Yacht
                  10725 112th ave
                  West Olive, MI 49460


                  Joe vandyke
                  4861 US HWY 22 W
                  Circleville, OH 43113


                  Joe Vantroostenberghe Sr.
                  5598 Hartlein Dr
                  Warren, MI 48092


                  Joe Vernier
                  449 Maple St
                  Algonac, MI 48001


                  Joe VICE
                  890 Alexander Bridge Rd
                  Ringgold, GA 30736


                  Joe Waddle
                  49 Oak Street
                  Parsons, TN 38363


                  Joe Walden
                  1156 Flood Town Road
                  Chatsworth, GA 30705


                  Joe Wareing
                  1932 Laurel Creek Rd NE
                  Pilot, VA 24138
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joe Warner
                  1976 South Centerville Road
                  Centerville, IN 47330


                  Joe Wasukiewicz
                  5160 Laur Road
                  North Branch, MI 48461


                  Joe Weaver
                  6452 L Avenue East
                  Kalamazoo, MI 49048


                  Joe Wenderoth
                  111 Kindig Road
                  Littlestown, PA 17340


                  Joe White
                  8908 West Knapp Lake Road
                  Kimmell, IN 46760


                  Joe Willeke
                  11199 Co Rd 104
                  Belle Center, OH 43310


                  Joe Williams
                  4170 State Route 146 West
                  Jonesboro, IL 62952


                  Joe Wingo
                  7730 Shireman Road
                  Poseyville, IN 47633


                  Joe Wohn
                  21320 Dunbridge Road
                  Bowling Green, OH 43402


                  Joe Wojcik
                  2551 North Diane Street
                  Jackson, MI 49201


                  Joe Wright
                  1151 Indian Rd
                  Lapeer, MI 48446
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joe Yousif
                  25793 Regal Drive
                  CHESTERFIELD, MI 48051


                  Joel Albright
                  500 Bluff View Ln
                  Swansboro, NC 28584


                  Joel Alvarenga
                  450 Liberty Trce
                  Roswell, GA 30076


                  Joel Barnett
                  2189 County Road 342
                  Milano, TX 76556


                  Joel Blakeman
                  1847 Walnut St
                  Muskegon, MI 49441


                  Joel Blank
                  5885 East Schrader Road
                  Columbia City, IN 46725


                  Joel Bledsoe
                  102 Pinewood Dr
                  Goldsboro, NC 27534


                  Joel Bowman
                  9040 Arrow Rd NW
                  Minerva, OH 44657


                  Joel Bridge
                  1715 S Wilson Rd
                  Radcliff, KY 40160


                  Joel Cabrera
                  1000 Bluestone Rd
                  Durham, NC 27713


                  Joel Camp
                  2182 Happy Hills Acre Road
                  Woodlawn, TN 37191
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                  Joel Carson
                  601 May Avenue
                  Waynesboro, VA 22980


                  Joel Casler
                  7552 North Long Lake Road
                  Traverse City, MI 49685


                  Joel Denman
                  3821 Meadowbrook Dr
                  Trinity, NC 27370


                  Joel Dulebohn
                  6587 Pomeroy Road
                  Jackson, MI 49201


                  Joel ELDERKIN
                  183 County Road 327
                  Niota, TN 37826


                  Joel Gallagher
                  806 Westminster Drive
                  Greensboro, NC 27410


                  Joel Harris
                  1693 Sheffield dr
                  Superior Township, MI 48198


                  Joel Hathaway
                  9524 Fritz Rd
                  Fort Wayne, IN 46818


                  Joel Hernandez
                  4133 Lois Lane
                  St. Louis, MO 63125


                  Joel Hopper
                  1335 Concord Street
                  Shelby, NC 28150


                  Joel Howard
                  206 W Harding Rd
                  Springfield, OH 45504
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joel Kuntz
                  6148 Bentley Lake Rd
                  Pinckney, MI 48169


                  Joel Le Clair
                  8681 Lake Forest Trail
                  Chargrin Falls, OH 44023


                  Joel Lopez
                  907 Rutherford Road
                  Richmond, VA 23225


                  Joel MacDonald
                  2003 102nd Ave
                  Otsego, MI 49078


                  Joel Maul
                  3610 Shaw Road
                  Winston Salem, NC 27105


                  Joel Mckinney
                  30135 Oakgrove Street
                  St Clair Shores, MI 48082


                  Joel Nichols
                  12764 Primrose Drive Northeast
                  Hartville, OH 44632


                  Joel Norder
                  6491 Willowood Ave
                  Georgetown Twp, MI 49428


                  Joel Nyamohanga
                  520 Willow Breeze Court
                  Zebulon, NC 27597


                  Joel Powell
                  1020 Country View Road
                  Anderson, SC 29621


                  Joel Pruner
                  116 Saltybrook Ln
                  Holly Springs, NC 27540
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                  Joel Rivera
                  121 Redstone Drive
                  Nazareth, PA 18064


                  Joel Sanderson
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                  Fort Wayne, IN 46825


                  Joel Santana
                  2601 Norwood Avenue
                  Goldsboro, NC 27534


                  Joel Sharpe
                  6210 Cooley Lake Rd
                  Commerce Charter Twp, MI 48382


                  joel Shoemaker
                  3395 26th St
                  Hopkins, MI 49328


                  Joel Smith
                  5416 Holston Hills Rd
                  Knoxville, TN 37914


                  Joel Stocksdale
                  25821 Pineview Ave
                  Warren, MI 48091


                  Joel Turney
                  102 Westridge Drive
                  King, NC 27021


                  Joel Van Kuiken
                  618 Windsor Terrace SE
                  Grand Rapids, MI 49503


                  Joel Vazquez
                  2622 Rozzelles Landing Dr.
                  Charlotte, NC 28214


                  JOEL VILLAFLOR
                  4842 Windermere Avenue
                  Norfolk, VA 23513
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                  Joella Matheny
                  5378 Watts Passage
                  Charlottesville, VA 22911


                  JoEllen Walker
                  945 Turkey Foot Rd
                  Wheelersburg, OH 45694


                  Joerg Meyer
                  17189 Black Hill Rd
                  Rixeyville, VA 22737


                  Joesil Moore
                  6127 Old Townpoint Road
                  Suffolk, VA 23435


                  Joesph Paloscio
                  291 Catholic Church Road
                  Beach Lake, PA 18405


                  Joesph Vietmeier
                  8986 Mann Dr
                  mechanicsville, VA 23116


                  Joey Annas
                  3651 Judea Dr
                  Lenoir, NC 28645


                  Joey Arrowood
                  9001 Bergin Road
                  Howell, MI 48843


                  Joey Butler
                  611 Arnoldsville Road
                  Winterville, GA 30683


                  Joey Cornett
                  3030 N Arlington Ave
                  Indianapolis, IN 46218


                  Joey Cougan
                  2505 Ryan Drive
                  Indianapolis, IN 46220
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                  Joey Day
                  2535 Halls Valley Dr
                  Trion, GA 30753


                  Joey Fritz
                  750 Eldersville Road
                  Burgettstown, PA 15021


                  Joey Johnson
                  4486 OH-18
                  Hicksville, OH 43526


                  Joey Lye
                  14 Meadow Lane
                  Lewisburg, PA 17837


                  Joey Parsons
                  6090 Ridge Road
                  Parma, OH 44129


                  Joey Peters
                  250 N. Tibbles Drive
                  Lake Marblehead, OH 43440


                  Joey Shinn
                  120 Meadow Crest Drive
                  West Columbia, SC 29172


                  Joey Soverino
                  22905 bussey dr
                  plainfield, IL 60586


                  Joey Youngs
                  7243 Ohio 138
                  Frankfort, OH 45628


                  Johal Narinder
                  5747 Twin River Ln
                  Indianapolis, IN 46239


                  Johann Kerekesch
                  3130 Dutch Ridge Road
                  Beaver, PA 15009
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                  Johanna Diaz
                  13331 Hensley Rd
                  Midlothian, VA 23112


                  Johannes Feru
                  5433 queen rd
                  Emmett, MI 48022


                  John A. Finley
                  2425 Olde Sawmill Boulevard
                  Dublin, OH 43016


                  John Acord
                  2964 Stones Dairy Road
                  Bassett, VA 24055


                  John Acquaye
                  5986 Arbor Links Rd
                  Lithonia, GA 30058


                  John Adlesic
                  401 Parallel Ave
                  Pittsburgh, PA 15210


                  John Alexander
                  804 Brye St
                  Durham, NC 27703


                  John Allanach
                  107 Boone Tr
                  Garner, NC 27529


                  John Allen
                  19272 Hilltop Trail
                  Warrenton, MO 63383


                  John Alston
                  710 Axtell Ridgeway Road
                  Norlina, NC 27563


                  John Ammerman
                  114 Knob Hill Road
                  Boone, NC 28607
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                  John Amrine
                  3828 Banks Rd
                  Cincinnati, OH 45245


                  John Anderson
                  5210 Independence Avenue
                  Portage, IN 46368


                  John Anderson
                  16751 Greenview Ave
                  Detroit, MI 48219


                  John Anderson
                  7991 E NC 55 Hwy
                  Seven Springs, NC 28578


                  John Anderson
                  85 Market St
                  Philo, OH 43771


                  John Anderson
                  154 Zachary Drive
                  Williamsburg, OH 45176


                  John Anderson
                  1642 Jolliff Rd
                  chesapeake, VA 23321


                  John Anger
                  425 Lee St
                  Hampton, VA 23669


                  John Anthony
                  733 Belle Grove Dr
                  Jonesboro, GA 30238


                  John Antill
                  7936 S Edinburgh Rd
                  Edinburgh, IN 46124


                  John Arison
                  404 Wally Drive
                  Uniontown, PA 15401
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Arthur
                  112 Carolina Pines BLVD
                  New Bern, NC 28560


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                  224 Gass Road
                  Pittsburgh, PA 15229


                  John Averill
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                  Ravenna, MI 49451


                  John Avery
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                  Clawson, MI 48017


                  John Baccus
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                  Elkhart, IN 46517


                  John Baker
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                  Paris, KY 40361


                  John Ballash
                  607 Simons Drive
                  Brunswick, OH 44212


                  John Balotsky
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                  Frackville, PA 17931


                  John Banning
                  913 Edison Street
                  Saginaw, MI 48604


                  john banuelos
                  1341 4th Street
                  West Portsmouth, OH 45663


                  John Barber
                  45 Rilandwell Drive
                  Fletcher, NC 28732
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                  8275 Honda Hills Road
                  Thornville, OH 43076


                  John Barhoover
                  2107 Timber Creek Drive East
                  Cortland, OH 44410


                  John Barker
                  9828 D Ave W
                  Kalamazoo, MI 49009


                  John Barker
                  1266 Cox Mill Rd
                  Concord, NC 28027


                  John Barnum
                  1240 W Curtis Rd
                  Saginaw, MI 48601


                  John Barrett
                  289 Hugh Story Rd
                  Limestone, TN 37681


                  john barton
                  1353 P J East Road
                  Covington, GA 30014


                  John Barton
                  4701 South Gadbury Road
                  Hartford City, IN 47348


                  John Barton
                  6339 Anita Dr
                  Parma Heights, OH 44130


                  John Baum
                  37691 Wabash St
                  Romulus, MI 48174


                  John Baumgardner
                  3851 185th Avenue
                  Hersey, MI 49639
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                  1022 Farrell Street
                  Niota, TN 37826


                  john bays
                  18492 McCall Gap Rd
                  Bristol, VA 24202


                  john bee
                  544 MO-32
                  Bolivar, MO 65613


                  John Beebe
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                  Advance, NC 27006


                  John Beels
                  500 Daytona Drive
                  Hardy, VA 24101


                  John Behm
                  6512 South Friegel Road
                  Owosso, MI 48867


                  John Belser
                  9172 Lake Crest Drive
                  Whitmore Lake, MI 48189


                  John Bennett
                  3915 Hazel Court
                  Fredericksburg, VA 22407


                  John Bergeron
                  28537 Pondside Ct
                  Flat Rock, MI 48134


                  John Berry
                  146 Foothill Rd
                  Everett, PA 15537


                  John Bettencourt
                  970 East Market Street
                  Warrensburg, MO 64093
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                  John Bettorf
                  303 Reid Ave.
                  Troy, IL 62294


                  John Bickford
                  65 Smith Ford Rd
                  Roanoke, VA 24012


                  John Bigley
                  109 Railroad Street
                  Shippenville, PA 16254


                  John Bishop
                  2713 Coxindale Dr
                  Raleigh, NC 27615


                  John Bishop
                  1534 5th Avenue
                  Latrobe, PA 15650


                  John Blackburn
                  120 Belleadair Ln
                  Mount Hope, WV 25880


                  John Blair
                  504 Walnut Ave
                  Pulaski, VA 24301


                  John Blanchard
                  29600 Minglewood Lane
                  Farmington Hills, MI 48334


                  John Blankinsop
                  11 West Main Street
                  North Fairfield, OH 44855


                  John Blowers
                  5924 Liberty Corners Road
                  Towanda, PA 18848


                  John Boerger
                  229 Williams Street
                  Sidney, OH 45365
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                  John Bohdan
                  5812 Dee Jay Ln
                  Fort Wayne, IN 46845


                  John Bonds
                  418 North Shirley Avenue
                  Honea Path, SC 29654


                  John Brandenburg
                  1295 Hale's Branch Road
                  Midland, OH 45148


                  John Braziel
                  1160 Dryhill Rd
                  Ferrum, VA 24088


                  John Brehm
                  947 Madison Street
                  Birmingham, MI 48009


                  John Brennan
                  2804 Braxton Dr
                  Indianapolis, IN 46229


                  John Brenner
                  5212 West Bay City Forestville Road
                  Unionville, MI 48767


                  John Brogan
                  2545 Co Rd 74
                  Gibsonburg, OH 43431


                  John Bronston III
                  11873 Winston Circle
                  Cincinnati, OH 45240


                  John Brown
                  425 Misty Meadows Dr
                  Oakland, TN 38060


                  John Brumenschenkel
                  1867 OH-314
                  Crestline, OH 44827
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                  John Brunner
                  2332 Muriel Court
                  Cincinnati, OH 45219


                  John Bunce
                  9279 Himalayas Avenue
                  Kalamazoo, MI 49009


                  John Burge
                  8330 Main St
                  Rushville, OH 43150


                  John Burton
                  882 Wilda Rd
                  Stuarts Draft, VA 24477


                  John Busbee
                  2876 Dogwood Dr
                  Claremont, NC 28610


                  John bush
                  560 Shenandoah Dr
                  Cataula, GA 31804


                  John Byrd
                  15161 Verona Road
                  Marshall, MI 49068


                  John C Cassara
                  4102 Tyne Drive,
                  Durham, NC 27703


                  John Cade
                  2772 Selma Ave
                  Knoxville, TN 37914


                  John Caldwell
                  145 Groves Ave
                  Marietta, OH 45750


                  John Calvin Hancock
                  Robert Underwood Underwood, LLC
                  4600 Touchton Road East
                  Suite 1150
                  Jacksonville, FL 28345
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                  John Cambell
                  24887 Hummingbird Lane
                  Warrenton, MO 63383


                  John Cameron
                  1373 Morgan Ave
                  Alliance, OH 44601


                  John Campbell
                  6889 North County Road 200 East
                  Osgood, IN 47037


                  John Campbell
                  9205 County Road 196
                  Liverpool, TX 77577


                  John Carlier
                  52355 Lakeview Dr
                  Dillonvale, OH 43917


                  John Carr
                  3220 Bougainville Way
                  Wilmington, NC 28409


                  JOHN CARROLL
                  1029 Baltimore Rd
                  Yadkinville, NC 27055


                  John Carter
                  75 Schaffer Road
                  Mercer, PA 16137


                  John Carter
                  4856 Linshaw Ln
                  Virginia Beach, VA 23455


                  John Cassidy
                  706 170th Avenue
                  Morley, MI 49336


                  John Cermak
                  9705 North 100 East
                  Lake Village, IN 46349
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                  John Chamness
                  603 South Parkview Drive
                  Perryville, MO 63775


                  John Chapin
                  6366 Ohio 107
                  Edon, OH 43518


                  John Chapman
                  52784 Helmen Ave
                  South Bend, IN 46637


                  John Chapman
                  5264 Bunnell Hill Rd
                  Lebanon, OH 45036


                  John Chavis
                  1095 Pleasant Grove Rd
                  Lynchburg, SC 29080


                  John Cheadle
                  1697 Monroe bay circle
                  Colonial Beach, VA 22443


                  John Chesmar
                  322 Ferguson Ave
                  South Webster, OH 45682


                  John Chesney
                  27320 Cottonwood Trail
                  North Olmsted, OH 44070


                  John Chester
                  2118 Simbury Court
                  Cincinnati, OH 45224


                  John Cheval
                  345 South Main Avenue
                  Kankakee, IL 60901


                  John Chilinski
                  3415 Lanesboro Road
                  Marshville, NC 28103
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                  John Chirco
                  1788 Peters Road
                  Bailey, MI 49303


                  John Church
                  482 Chimney Rise Road
                  Mount Airy, GA 30563


                  john chuvalas
                  2950 Eledge Ln
                  Sevierville, TN 37876


                  John Cipriano
                  12580 Lilac Ln
                  Shelby Township, MI 48315


                  John cipriano jr
                  4479 palms rd
                  casco, MI 48064


                  John Clark
                  103 North Fairway Dr.
                  Nebo, NC 28761


                  John Clark
                  1806 OH-257
                  Delaware, OH 43015


                  John Clawson
                  419 Pine Trees Dr
                  Carnegie, PA 15106


                  John Clement
                  148 Blossom Creek Drive
                  Garner, NC 27529


                  John Clifton
                  21857 Bellwood St
                  Trenton,, MI 48183


                  John Cobb
                  9385 E Conard Dr
                  Bloomington, IN 47401
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                  John Cole
                  5472 North Carolina 66 Hwy S
                  King, NC 27021


                  John Cole
                  314 Pie Ridge Road
                  Prosperity, PA 15329


                  John Coleman
                  6600 O'Keefe Knoll Ct
                  Fairfax Station, VA 22039


                  John Collins
                  1491 Butterfield Highway West
                  Olivet, MI 49076


                  John Collins
                  3867 Equestrian Ct
                  Columbus, OH 43221


                  John Collison
                  4909 Holly Dr
                  Partlow, VA 22534


                  John Colt
                  1707 Skiers Alley
                  Lapeer, MI 48446


                  John Compton
                  9520 Hungary Spring Rd
                  Glen Allen, VA 23060


                  John Concepcion
                  26236 Rambling Ln
                  Richland, MO 65556


                  John Conley
                  13781 Bethel Road
                  Hartford, OH 43013


                  John Cook
                  451 East Harden Street
                  Graham, NC 27253
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                  John Cooke
                  15745 Owens Dr,
                  King George,, VA 22485


                  John Cooper
                  4716 Jamestowne Dr
                  Washington, NC 27889


                  John Cooper
                  6306 Oak Valley Dr
                  Louisville, KY 40214


                  John Copeland
                  333 Bernie Cir
                  Mineral, VA 23117


                  John Cordes
                  6030 North County Road 225 East
                  Seymour, IN 47274


                  John Corwin
                  162 Pheasant Ln
                  Rockwell, NC 28138


                  John Cotton
                  318 South 10th Street Southwest
                  Clay City, IL 62824


                  John Coussons
                  38 Rex Road
                  Griffin, GA 30224


                  John Craft
                  27116 Ford-Reed Rd
                  Richwood, OH 43344


                  John Crain
                  7041 East US Highway 36
                  Cable, OH 43009


                  John Cramer
                  4276 Kinneville Road
                  Leslie, MI 49251
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                  John Creek
                  105 Marcellus Way
                  Clayton, NC 27527


                  John Crouch
                  5027 Pike Creek Boulevard
                  Indianapolis, IN 46254


                  John Cruz
                  4609 W New Market Rd
                  Hillsboro, OH 45133


                  John Cuddie
                  4971 E Harvard Ave
                  Village of Clarkston, MI 48348


                  John Cunningham
                  310 Twin Creek Drive
                  Smithfield, NC 27577


                  John Curran Jr
                  1432 Grand Ave
                  Galesburg, IL 61401


                  John D Chapman
                  12209 Ridgeview Dr
                  Goshen, KY 40026


                  John D. Shetler
                  4939 South Ubly Road
                  Ubly, MI 48475


                  John Dailidonis
                  4026 Roberts Drive
                  Anderson, IN 46013


                  John Dale
                  9815 W 510 S
                  West Point, IN 47992


                  John Dam
                  15625 Thomas Avenue
                  Allen Park, MI 48101
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                  John Dambach
                  225 Dambach Lane
                  Ellwood City, PA 16117


                  John Daniel
                  352 Settle Bridge Road
                  Reidsville, NC 27320


                  John Darlington
                  2175 Rollins Street
                  Grand Blanc, MI 48439


                  John Daugherty
                  4390 Rockhill Rd
                  Mechanicsville, VA 23111


                  John Day
                  4816 Howe Road
                  Trenton, OH 45067


                  John Dean
                  38154 Wolfpen Rd
                  Pomeroy, OH 45769


                  John Deardorff
                  17214 Courtney Rd
                  Hanover, VA 23069


                  John DeBalko
                  500 South Cleveland Street
                  McAdoo, PA 18237


                  John Dercole
                  217 Nathan Court
                  Fletcher, NC 28732


                  John Devoogd
                  1821 Ambrose Rd
                  Mayville, MI 48744


                  John DeYoe
                  14225 27 Mile Road
                  Albion, MI 49224
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                  John Didion
                  7011 Putt Ln
                  Fort Wayne, IN 46835


                  John DiLeo
                  103 Mirage Court
                  Renfrew, PA 16053


                  John Dillon
                  5074 Saddleview Drive
                  Franklin, TN 37067


                  John DiMascio
                  177 Star Ln
                  Dunn, NC 28334


                  John Dipkens
                  9258 County Road west 76-506
                  Ava, MO 65608


                  John Dobransky
                  3923 W 18th St
                  Cleveland, OH 44109


                  John Doggett
                  7962 Highfill Road
                  Summerfield, NC 27358


                  John Doljac
                  5218 E Philippi Pl
                  Fredericksburg, VA 22407


                  John Donaldson
                  2406 Wheatfield Drive
                  Greensboro, NC 27405


                  JOHN DOUGLAS
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                  John Dowling
                  1075 Teakwood Dr
                  Greenville, NC 27834
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                  John Draves
                  6599 Rose Ellen Avenue
                  Portage, IN 46368


                  John Dunham
                  1369 Club Dr
                  Loudon, TN 37774


                  John Dziatlik
                  14715 Hoover Road
                  Garrettsville, OH 44231


                  John E. Morris
                  186 Rosecliff Farms Road
                  Amherst, VA 24521


                  John Edwards
                  8205 Caffey Dr
                  Colfax, NC 27235


                  John Edwards
                  1984 Oak Ln
                  Kingston, OH 45644


                  John Edwards
                  104 Jordan Ct
                  Charleston, SC 29492


                  John Egan
                  7505 Chancellor Way
                  Springfield, VA 22153


                  John Elliot
                  18332 Hideaway Rd
                  Charlotte, NC 28278


                  John Ellis
                  7682 Lloyd Road
                  Columbus, GA 31909


                  John Endahl
                  6219 Herons Landing Dr
                  Radford, VA 24141
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Estabrook
                  4020 Adams street
                  Zeeland, MI 49464


                  John Fabbro
                  159 Lenders Ln,
                  Winnsboro, SC 29180


                  John Fascetti
                  506 Rywood Ct
                  Cranberry Township, PA 16066


                  John Faulk
                  5842 Nicolet Drive
                  Hope Mills, NC 28348


                  John Fehl
                  1913 Finley Drive
                  Fremont, OH 43420


                  John Fender
                  2503 Edinburgh Dr NW
                  Roanoke, VA 24012


                  John Feola
                  8868 Chapman Road
                  Alden, MI 49612


                  John Ferris
                  8530 Lytle Rd
                  Corunna, MI 48817


                  John Fitzpatrick
                  31094 Boggs Rd
                  Painter, VA 23420


                  John Fleener
                  809 Woodrow Court
                  Chesapeake, VA 23322


                  John Fleming
                  2267 County Road 280
                  Vickery, OH 43464
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Fox
                  369 Cook Hollow Road
                  Bristol, TN 37620


                  John Franklin
                  6310 Ivanhoe Road
                  Ivanhoe, NC 28447


                  John Fraser
                  15901 Hampton Road
                  Hamilton, VA 20158


                  John French
                  255 Kings Grant Road
                  Maryville, TN 37804


                  John G Giannios Jr
                  2345 Shetland Lane
                  Youngstown, OH 44514


                  John Gall
                  3375 Montgomery Road Northeast
                  Newark, OH 43055


                  John Garnich
                  3384 Ohio 222
                  Batavia, OH 45103


                  John Garvin
                  6 Elizabeth Lane
                  South Shore, KY 41175


                  John Gaskill
                  4435 Sugar Grove Rd. SE
                  Lancaster, OH 43130


                  John Gasper
                  26980 Elwell Rd
                  Belleville, MI 48111


                  JOHN GEAS
                  139 Mike St
                  McEwen, TN 37101
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Geisler
                  3549 West Kinsel Highway
                  Charlotte, MI 48813


                  John Genna
                  4202 Brott Road
                  North Street, MI 48049


                  John Gibbons
                  8067 Nantucket Drive
                  Mount Morris, MI 48458


                  John Gibbs
                  308 S Pumphrey St
                  Edna, TX 77957


                  John Giffin
                  18668 Greens Run Rd
                  Glouster, OH 45732


                  John Gilbert
                  3231 Seneca Dr
                  Portsmouth, OH 45662


                  John Gilbert
                  24223 Bryants Church Road
                  Capron, VA 23829


                  John Gillis
                  25732 D Drive South
                  Albion, MI 49224


                  John Goodman
                  6001 Lead Mine Road
                  Raleigh, NC 27612


                  John Goodwin
                  1250 Hornaday Rd
                  Brownsburg, IN 46112


                  John Gosse
                  13123 West 54th Terrace
                  Shawnee, KS 66216
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Gould
                  5352 South 400 East
                  Star City, IN 46985


                  John Gould
                  201 Stroman Rd
                  Marston, NC 28363


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                  Bloomingdale, OH 43910


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                  St. Louis, MO 63110


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                  621 Blue Ridge Dr
                  Harrisonburg, VA 22802


                  John Greene
                  1530 Ackley Avenue
                  Westland, MI 48186


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                  4503 Canterbury Ave
                  Kalamazoo, MI 49006


                  John Greene
                  60 Ambey Ln
                  Vinton, OH 45686


                  John Greenfield
                  6899 Torrington Drive
                  Franklin, OH 45005


                  John Gregory
                  310 Forrester Dr
                  Greenville, SC 29607


                  John Greiner
                  3643 Bunkerhill School Rd
                  Claremont,, NC 28610
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Griffin
                  4205 Estelle Court
                  Hopewell, VA 23860


                  John Grimes
                  8175 Petersburg Pike
                  Petersburg, PA 16669


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                  3901 W Court St
                  Deer Park, TX 77536


                  John Groenestyn
                  21006 Ivor Road
                  Courtland, VA 23837


                  John Gruntfest
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                  Hampstead, NC 28443


                  John Gutterman
                  7563 Independence Ln
                  Lowell, IN 46356


                  John guzman
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                  Vinton, VA 24179


                  John Hagelund
                  3919 W Wahachee Dr
                  Terre Haute, IN 47802


                  John Hale
                  942 Lavergne Lane
                  La Vergne, TN 37086


                  John Halley
                  283 S 2000 Rd
                  White City, KS 66872


                  John Hancock
                  305 McLean St
                  Hamlet, NC 28345
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Hans
                  30721 Rocking Horse Ln
                  Niles, MI 49120


                  John Hargis
                  119 E Water St
                  Lewisburg, OH 45338


                  John Hargreaves
                  29815 Middle Crossing Rd
                  Dowagiac, MI 49047


                  John Harmon
                  631 Shamrock Drive
                  Jacksonville, NC 28540


                  John Harmon
                  206 Green Pastures Ln
                  Aylett, VA 23009


                  John Harrell
                  152 Battlefield Ct
                  Manteo, NC 27954


                  John Harrington
                  3731 Coleman Hill Rd
                  Rockvale, TN 37153


                  John Harris
                  325 Lower Bellburn
                  Leslie, WV 25972


                  John Harsh
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                  Knoxville, TN 37912


                  John Harvey
                  7911 Jefferson Rd
                  Brooklyn, MI 49230
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Hastings
                  5341 Hoods Branch Rd
                  Springfield, TN 37172


                  John Haverkos
                  1112 South Miller Street
                  Shelbyville, IN 46176


                  John Hawkins
                  22 Iris Lane
                  Waynesville, NC 28786


                  John Hayes
                  1541 N York Rd
                  Hart, MI 49420


                  John Hayes
                  4904 Thacker Dairy Rd
                  Greensboro, NC 27406


                  John Haywood
                  15482 Lobdell Rd.
                  Linden, MI 48451


                  John Heath Withrow
                  2809 Covey Court
                  Chesapeake, VA 23323


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                  1950 Deisher Blvd
                  Eagle Rock, VA 24085


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                  Nicholson, GA 30565


                  John Helton
                  4085 Plateau Rd
                  Newton, NC 28658


                  John Hendricks
                  4545 Indian Road
                  Toledo, OH 43615
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                  5768 Ohio 296
                  Cable, OH 43009


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                  Thurmond, NC 28683


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                  Morehead, KY 40351


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                  Paulding, OH 45879


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                  184 Evening Dr
                  Salisbury, NC 28147


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                  Marion, OH 43302


                  John Hess
                  10141 Hamot Rd
                  Waterford, PA 16441


                  John Hibbard
                  215 east caroline st
                  Swansea, IL 62226


                  John Hickey
                  418 South Prospect Avenue
                  Elmhurst, IL 60126


                  John Higgins
                  6041 Durango Way
                  Denver, NC 28037


                  John Hill
                  109 Dustin Lane
                  Moyock, NC 27958
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  7069 Watkins Road
                  Delaware, OH 43015


                  John Holmes
                  9176 Whitestone Court
                  Culpeper, VA 22701


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                  Hillsboro, OH 45133


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                  townville, PA 16360


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                  77 Halfback Trail
                  Waynesville, NC 28786


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                  Gloucester, VA 23061


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                  John Hughes
                  26449 Norfolk St
                  INKSTER, MI 48141


                  John Hughes
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                  Reynoldsville, PA 15851


                  John Hughes
                  9476 Andrew Wickham Ln
                  Ashland, VA 23005
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                  John Hungerford
                  1350 Kelchner Road
                  Bethlehem, PA 18018


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                  Santa Fe, TX 77510


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                  Franklin, NC 28734


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                  Charlotte, NC 28211


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                  Indianapolis, IN 46219


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                  Tyrone, PA 16686


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                  Seven Valleys, PA 17360


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                  937 Buck Hollow Road
                  Beaver, OH 45613


                  John Jeffries
                  26999 W 10 Mile Rd
                  Southfield, MI 48033


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                  John Johnson
                  3117 North Belsay Road
                  Flint, MI 48506
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                  4895 Mechums River Road
                  Charlottesville, VA 22901


                  John Johnson
                  7137 Middle Road
                  Middletown, VA 22645


                  John Johnston
                  8918 Radner Drive
                  Sterling Heights, MI 48314


                  John Jolley
                  2020 Parks Well Rd
                  Gleason, TN 38229


                  John Jones
                  4528 N US-35
                  Winamac,, IN 46996


                  John Jones
                  44 9 Center Court
                  Reeds Spring, MO 65737


                  John Jones
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                  Orange, VA 22960


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                  Chesapeake, VA 23322


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                  Woodhaven, MI 48183


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                  Wonder Lake, IL 60097


                  John Keifer
                  98 Columbia Ave
                  Athens, OH 45701
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                  John Keller
                  360 Florida Ave
                  Portsmouth, VA 23707


                  John Kelley
                  118 North Courtney Drive
                  Connersville, IN 47331


                  John Kennedy
                  302 Belair Road
                  Southampton, PA 18966


                  John Kiefer
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                  St Clair Shores, MI 48082


                  John Kieffer
                  23900 Cutbank Road
                  Mckenney, VA 23872


                  John Kight
                  202 Rocky Ford Rd
                  Lavonia, GA 30553


                  John Kilcrease
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                  Whitehall, MI 49461


                  John Kiley
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                  Columbia Station, OH 44028


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                  Powhatan, VA 23139


                  John Kinsey
                  126 Docheno Road
                  Belton, SC 29627
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                  2861 Easy Street
                  Newport, NC 28570


                  John Kjaer
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                  Delphi, IN 46923


                  John Kleptach
                  1985 Greendale Ave SW
                  Massillon, OH 44647


                  John Klewicki
                  925 Saddleback Trail Rd
                  Chesapeake, VA 23322


                  John Kohlhepp
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                  Columbus, OH 43207


                  John Koutsis
                  917 Greystone Rd
                  Asheboro,, NC 27203


                  John Kovac
                  558 Market Street
                  Bolivar, PA 15501


                  John Kozik
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                  Valley Grove, WV 26060


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                  Hampstead, NC 28443


                  John Krol
                  30324 Glenwood Cir
                  Warren, MI 48088
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                  4316 June Burn Road
                  Manning, SC 29102


                  John Kulton
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                  Wadsworth, OH 44281


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                  Henryville, IN 47126


                  John Laboski
                  7731 Rohl Road
                  Harborcreek, PA 16428


                  John Lacher
                  4740 Galloway Road
                  Martinsville, IN 46151


                  John Lambert
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                  South Point, OH 45680


                  John Lamping
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                  Cincinnati, OH 45240


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                  John Lancaster
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                  New Paris,, PA 15554


                  John Laniewicz
                  12840 Old Route 86
                  Edinboro, PA 16412


                  John Laster
                  188 Farr Rd
                  Kathleen, GA 31047
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                  John Lawson
                  3415 Highway Y
                  Valles Mines, MO 63087


                  John Layman
                  150 County Road 71
                  Riceville, TN 37370


                  John Leab
                  2049 Willow Branch Road
                  Bristol, VA 24202


                  John Leblanc
                  5425 Woodcreek Dr
                  Clarkston, MI 48348


                  John Lee
                  202 E Mulberry St
                  Salem, IN 47167


                  john lee
                  7337 Paxton Rd
                  Falls Church, VA 22043


                  John Leech
                  101 Batchelor trail
                  Jacksonville, NC 28546


                  John Leodler
                  2188 Ives Road
                  Leslie, MI 49251


                  John Leschinskey
                  1721 Woodstone Drive
                  Winston-Salem, NC 27127


                  John Lesher
                  2259 Vinson Rd
                  Clayton, NC 27527


                  John Less
                  529 Carroll Eastern Road Northwest
                  Baltimore, OH 43105
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                  john levendowski
                  208 Canterbury Dr
                  La Porte, IN 46350


                  John Levine
                  39 West Maple Street
                  Wabash, IN 46992


                  John Lewis
                  2305 Salem Road
                  Spout Spring, VA 24593


                  John Lindon
                  5052 Soldiers Home Rd
                  Miamisburg, OH 45342


                  John Livingston
                  2414 Cliffmont Avenue
                  Bluefield, WV 24701


                  John Lohr
                  283 Pond Avenue
                  Stanley, VA 22851


                  John Lomax
                  420 Lomax Dr
                  Gold Hill, NC 28071


                  John Loomis
                  342 Claranna Ave
                  Dayton,, OH 45419


                  John Luck
                  8356 Maineville Rd
                  Maineville, OH 45039


                  John Luich
                  103 Cobham Ln
                  Cabot, PA 16023


                  John Lynch
                  4356 North Carolina 211
                  Lumberton, NC 28358
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                  John Machado
                  6112 Hibbling Avenue
                  Springfield, VA 22150


                  John Macrini
                  114 Oakridge Dr
                  Hitchcock, TX 77563


                  John Maljovec
                  304 Quaker Hill Rd
                  Warren, PA 16365


                  John Mancy
                  2246 Barrington Drive
                  Toledo, OH 43606


                  John Mann
                  791 Polk Ln
                  Dallas, GA 30132


                  John Manning
                  8901 Kimages Rd
                  Charles City, VA 23030


                  John Manning
                  2906 Kippling Ct
                  Suffolk, VA 23434


                  John Marks
                  83 Telesto Cir
                  Garner, NC 27529


                  John Martin
                  394 Selman Avenue
                  Summerville, GA 30747


                  John Martin
                  5235 Twilight Lane
                  Fort Wayne, IN 46835


                  John Martin
                  28182 34th Ave
                  Mattawan, MI 49071
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                  John Martin
                  1408 Bogle Ct
                  Richmond, VA 23231


                  John Mateer
                  107 Tanbark Ln
                  Williamsburg, VA 23188


                  John Mayer
                  10898 50th Ave,
                  Remus, MI 49340


                  John Mazza
                  90 Jarrett Rd
                  Hayesville, NC 28904


                  John McAden
                  5661 Country Lane
                  Roanoke, VA 24018


                  John McClung
                  151 Laurel Woods Way
                  Rome Township, NC 27929


                  John Mcclure
                  8521 Green Braes South Drive
                  Indianapolis, IN 46234


                  John McCormick
                  1000 Long Branch Drive
                  Gretna, VA 24557


                  John McCreedy
                  1427 Tanglewood Dr
                  Lapeer, MI 48446


                  John McCullough
                  1127 Greenville Pike
                  Clarion, PA 16214


                  John McDaniel
                  155 Davis Street
                  Smithville, TN 37166
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                  John McDonald
                  1147 Stella Drive
                  Wrens, GA 30833


                  John McDonald
                  8625 High Lark Ln
                  Knoxville, TN 37923


                  John McFadden
                  6955 Firman Rd
                  Erie, PA 16510


                  John McKerchie
                  7382 Beech Ave
                  Howard City, MI 49329


                  John McKewen
                  700 46th Ave N
                  Myrtle Beach, SC 29577


                  JOHN MCLAREN
                  13445 Long Branch Rd
                  Woodford, VA 22580


                  John McMillin
                  1626 Grandview Dr
                  Rochester Hills, MI 48306


                  John McPheron
                  222 Cleveland St E
                  Coopersville, MI 49404


                  John Meier
                  1801 Gruber Avenue
                  Fort Wayne, IN 46809


                  John Meir
                  10575 Johnson Road
                  North Benton, OH 44449


                  John Melvin
                  12107 North Carolina 96
                  Zebulon, NC 27597
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Merrill
                  1158 Eaglecrest Drive
                  Stanley, NC 28164


                  John Merry
                  2507 Baldwin Ave NE
                  Canton, OH 44705


                  John Meszaros
                  206 Keller Street
                  Plano, IL 60545


                  John Millan
                  1180 Maple Vista Ln
                  Newland, NC 28657


                  John Miller
                  408 E Monroe St
                  Dundee, MI 48131


                  John Miller
                  2557 Turkey Foot Rd, Bourbon, MO 65441,
                  Bourbon, MO 65441


                  John Miller
                  3439 Ohio 774
                  Bethel, OH 45106


                  John Miller
                  420 Haas Dr
                  Stockport, OH 43787


                  John miller
                  67 Buck Mountain Rd
                  Zion Grove, PA 17985


                  John Mills
                  8801 Day Rd
                  Monroe, MI 48162


                  John Mills
                  8529 North Shoreside Way Northeast
                  Leland, NC 28451
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Mohr
                  980 Martha-Leeville Rd
                  Lebanon, TN 37090


                  John Monson
                  5265 124th Avenue
                  Fennville, MI 49408


                  John Moore
                  34135 Side Hill Rd
                  Rutland, OH 45775


                  John Moore
                  305 Diane Drive
                  Cheraw, SC 29520


                  John Morand
                  6146 N 300 E
                  Whiteland, IN 46184


                  John Morehead
                  10965 Cincinnati-Zanesville Rd SW
                  Amanda, OH 43102


                  John Morrill
                  812 W Center St
                  Alma, MI 48801


                  John Morris
                  8955 Indiana 267
                  Brownsburg, IN 46112


                  John Morris
                  3674 Mariners Drive
                  Gloucester Point, VA 23072


                  John Morse
                  7550 Monclova Road
                  Maumee, OH 43537


                  John Mote
                  132 East 600 South
                  Valparaiso, IN 46383
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                  John Mullis
                  2390 Deal Road
                  Mooresville, NC 28115


                  John Muse
                  126 Young Muse Trail
                  Ewing, VA 24248


                  John Myers
                  291 Leroy Avenue
                  Pacific, MO 63069


                  John Nebel
                  104 April Circle
                  Portland, TN 37148


                  John Neppel
                  1235 North Grove Avenue
                  Oak Park, IL 60302


                  John Neuenschwander
                  8053 S Sullivan Pl
                  Terre Haute,, IN 47802


                  John Neurohr
                  522 Cabin Creek
                  Pittsboro, NC 27312


                  John Newman
                  607 West Salcedo Rd.
                  Sikeston, MO 63801


                  John Nichols
                  1351 Chapman Street
                  Indian River, MI 49749


                  John Nichols
                  419 Ramsgate Dr
                  Gibsonia, PA 15044


                  John Nickle
                  2420 Big Falls Road
                  Blacksburg, VA 24111
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Noeth
                  108 Old Glory Lane
                  Jacksonville, NC 28540


                  John Noone
                  99 Davy Crockett Trail
                  Pauline, SC 29374


                  John Notter
                  1574 Tower Avenue
                  Mulberry Grove, IL 62262


                  John O'Connell
                  1706 Acres Dr
                  Beaufort, SC 29902


                  john ohara
                  5568 Tanglewood Ln
                  Granite Falls, NC 28630


                  John Oneal
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                  Kinston, NC 28501


                  John Otruba
                  1600 Fescue Cir
                  Huddleston, VA 24104


                  John Ottino
                  8536 Ashton Ct.
                  Ypsilanti, MI 48198


                  John Owen
                  20733 2nd St
                  McKenney, VA 23872


                  John Owens
                  2165 Squirrel Tail Hollow Road
                  Hawesville, KY 42348


                  John P Brown
                  193 Cherry Ln
                  Morrison, TN 37357
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                  John Page
                  7122 Montague Rd
                  Dayton, OH 45424


                  John Paknik
                  943 South Central Avenue
                  Canonsburg, PA 15317


                  John Palimino
                  35840 Garfield Rd
                  Charter Twp of Clinton,, MI 48035


                  John Papuga
                  904 N Riverside Ave
                  Saint Clair, MI 48079


                  John Partridge
                  2100 Milton Road
                  Williamston, MI 48895


                  John Patterson
                  3533 Eby Rd
                  Boonville, IN 47601


                  John Payne
                  284 Great Fork Road
                  Suffolk, VA 23438


                  John Pearce
                  2310 Mountain Ave
                  Flint, MI 48503


                  John Pellam
                  11401 S 850 E
                  Clarks Hill, IN 47930


                  John Pelton
                  156 Miller Rd
                  Avon Lake, OH 44012


                  John Pentland
                  2473 N. 300 W
                  Kokomo, IN 46901
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Perkins
                  3015 N State Road 37
                  english, IN 47118


                  John Perkins
                  3114 Mitchell Avenue
                  Saint Joseph, MO 64507


                  John Perry
                  11100 Ohio 139
                  Minford, OH 45653


                  John Petersen
                  65 Bridle Creek Dr
                  Lillington, NC 27546


                  John Petzold
                  8207 Murphy Lake Rd
                  Millington, MI 48746


                  John Phelps
                  655 eversole rd
                  Anderson Township, OH 45230


                  John Phillips
                  3991 East Park Lane
                  Decatur, IL 62521


                  john phillips
                  5168 John Thomas Rd
                  Ravenna, OH 44266


                  John Phillips
                  4904 Newbern rd
                  pulaski, VA 24301


                  John Pickard
                  2608 Chippendale Trail
                  Sanford, NC 27330


                  John Pickens
                  364 Thorn Lane
                  Grafton, WV 26354
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                  John Pilz
                  15147 North Kimble Drive
                  Edgar Springs, MO 65462


                  John Pinnix
                  260 Briar Ridge Road
                  Whitwell, TN 37397


                  John Piorkowsi
                  365 High Point Ln
                  Independence, VA 24348


                  John Pirolli
                  672 spencer hill rd
                  Nicholson, PA 18446


                  John Pisano
                  535 Richneck Rd
                  Newport News, VA 23608


                  John Plunkett
                  9 Coventry Rd
                  Williamsburg, VA 23188


                  John Podsiadlik
                  8694 Vernon Rd
                  Durand, MI 48429


                  John Portland
                  109 Leafy Holly Dr.
                  Holly Springs, NC 27540


                  John Potts
                  413 Severn Way
                  Lexington, KY 40503


                  John Price
                  762 Old Plank Road
                  Siler City, NC 27344


                  John Prieshoff
                  4922 S Missouri St
                  Indianapolis, IN 46217
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                  John Prunty
                  7731 Ridgewood Road
                  Goodlettsville, TN 37072


                  JOHN PTASZNIK
                  722 Barclay Drive
                  Troy, MI 48085


                  John Puralewski
                  100 McCatty Dr
                  White Lake, MI 48386


                  john quiel
                  315 Plank Road
                  Hudson, MI 49247


                  John Radik
                  2147 105th Ave
                  Aledo, IL 61231


                  John Randolph
                  614 W 127th Pl
                  Crown Point, IN 46307


                  John Ranger
                  505 East Walnut Street
                  Gillespie, IL 62033


                  John Raven
                  5920 Sunbird Lane
                  Beaumont, TX 77708


                  John Ray
                  7103 Optimara Drive
                  Pickerington, OH 43147


                  John Reed
                  210 3rd Street
                  Ivesdale, IL 61851


                  John Reeves
                  1118 Enchanted View Dr
                  Mooresville, IN 46158
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Reynolds
                  186 Hoffman Rd
                  Montoursville, PA 17754


                  John Reynolds
                  1303 Wi Powell Rd
                  Dry Fork, VA 24549


                  John Rhodes
                  32 Michelle Court
                  Lillington, NC 27546


                  John Rhone
                  14524 South Wabash Avenue
                  Riverdale, IL 60827


                  John Rice
                  9981 Fort Valley Rd
                  Fort Valley, VA 22652


                  John Rich
                  35 Carlisle Place
                  Spring Lake, NC 28390


                  John Ridings
                  5160 U.S. 22
                  Washington Court House, OH 43160


                  John Riester
                  8626 Thames St
                  Springfield, VA 22151


                  John Roberson II
                  3703 Nazareth Rd
                  Kalamazoo, MI 49048


                  John Roberts
                  656 N Columbia St
                  Frankfort, IN 46041


                  John Robinson
                  6956 Farmhouse Road
                  Liberty, NC 27298
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Rodgers
                  35 Allegheny Dr
                  Spring Lake, NC 28390


                  John Rose
                  18940 13 B Rd
                  Culver, IN 46511


                  John Rothschild
                  2623 Lakeside Drive
                  Harveys Lake, PA 18618


                  John Roy
                  609 Frog Spur Road
                  Fancy Gap, VA 24328


                  John Rushing
                  9477 County Road 296
                  East Liberty, OH 43319


                  John Russ
                  5500 Larchwood Lane
                  Toledo, OH 43614


                  John Russell
                  1217 Gresham Road
                  Columbus, OH 43204


                  John Sabo
                  11560 Day Rd.
                  Maybee, MI 48159


                  John Sacker
                  9535 Amy rd
                  Algonac, MI 48001


                  John Sales
                  711 Crystal Dr
                  Salem, VA 24153


                  John Salmon
                  J. Barrett Lucy Freeman, Dunn, Lucy & Co
                  1045 Cottonwood Road
                  Lynchburg, VA 24503
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Salmon
                  144 Beacon Hill Pl
                  Lynchburg, VA 24503


                  John Saltzgaber
                  5977 York Way
                  East Lansing, MI 48823


                  John Sawyer
                  7975 Tower Rd
                  Seville, OH 44273


                  John Schmauder
                  11740 Wellesley Ln
                  Chardon, OH 44024


                  John Schmidt
                  826 Sutherland Rd
                  Church Rd, VA 23833


                  John Schmitt
                  87 Prospect Rd
                  Cleveland, GA 30528


                  John Schnarr
                  5004 Sutherland Avenue
                  St. Louis, MO 63109


                  John Schoenfeld
                  220 N. Kinney Ave
                  Mount Pleasant, MI 48858


                  John Schoenmeyer
                  1387 Pacelli Street
                  Saginaw, MI 48638


                  John Schultz
                  2124 E Lawn Pkwy
                  Erie, PA 16510


                  John Schultz
                  964 Township Highway 267
                  Amsterdam, OH 43903
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                  john schuurmans
                  14484 Bell Rd,
                  Lake Odessa, MI 48849


                  John Schwieterman
                  4250 Possum Run Rd
                  Dayton, OH 45440


                  john seeber
                  2200 Wood School Rd
                  Middleville, MI 49333


                  John Shakarjian
                  10134 Canal St
                  Whitmore Lake, MI 48189


                  John Sharpe
                  1981 East Commerce Road
                  Commerce Charter Township, MI 48382


                  John Shaw
                  736 Page Street
                  Troy, NC 27371


                  John Shelton
                  22078 Saskatoon Court
                  Macomb, MI 48044


                  John Sheppard
                  980 Burnetts Chapel Road
                  Farmington, KY 42040


                  John Shirey
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                  Avonmore, PA 15618


                  John Shoemaker
                  1110 Hillcrest Rd
                  Akron, PA 17501


                  John Short
                  119 Jerusalem Chapel Road
                  Churchville, VA 24421
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                  John Shumate
                  253 Conrad Shumate Road
                  Elkin, NC 28621


                  John Sidorenko
                  655 Highland Dr
                  Columbus, OH 43214


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                  Bowersville, GA 30516


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                  John Small
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                  John Smith
                  2182 East Miller Road
                  Fairview, MI 48621


                  John Smith
                  11137 South River Rd.
                  Grand Rapids, OH 43522


                  John Smith
                  223 Vine St
                  Lakeside Marblehead,, OH 43440


                  John Smith
                  421 Sylvan Dr
                  Manning, SC 29102


                  John Smith
                  2711 Holcomb Rd
                  Orange, TX 77632
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Smith
                  987 Falls Ridge Rd
                  Christiansburg, VA 24073


                  John Snider
                  4333 230th Avenue
                  Reed City, MI 49677


                  John Snook
                  9297 28 Mile Rd
                  Albion, MI 49224


                  John Sommerer
                  822 Swank Lane
                  Saltsburg, PA 15681


                  john spedowski
                  20384 Hoover Road
                  Big Rapids, MI 49307


                  John Spells
                  211 West Daniels Lane
                  Ozark, MO 65721


                  John Spelta
                  18648 180th Ave
                  Spring Lake, MI 49456


                  John Stalder
                  2425 Stalder Dr
                  Zanesville, OH 43701


                  John Stanley
                  13951 oakville waltz rd
                  Willis, MI 48191


                  John Stanley
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                  Dublin, VA 24084


                  John Stano
                  1105 Allegheny Dr
                  Blakeslee, PA 18610
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  921 Percy Drive
                  Bourbonnais, IL 60914


                  John Stears
                  15130 Featherstone Rd
                  Constantine, MI 49042


                  John Steele
                  5135 Roedel Road
                  Bridgeport, MI 48722


                  John Steinauer
                  1420 Silver Valley Drive
                  Knightdale, NC 27545


                  john Stephens
                  292 Gordon Hollow Road
                  Ten Mile, TN 37880


                  John Stike
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                  Wilmington, NC 28405


                  John Stinson
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                  Elwood, IN 46036


                  John Stockton
                  13121 Windsor Cir
                  Leawood, KS 66209


                  John Stratton
                  937 Limestone Arch
                  Norfolk, VA 23504


                  John Strelow
                  6085 Cedarhurst Drive
                  Lake, MI 48632


                  John Strodtbeck
                  13444 24th Ave
                  Marne, MI 49435
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  PO Box 166865
                  Oregon, OH 43616


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                  Lapeer, MI 48446


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                  2111 New Danville Pike
                  Lancaster, PA 17603


                  John Surratt
                  515 Nachusa Avenue
                  Dixon, IL 61021


                  John Sutherland
                  12058 Mitchell Road
                  Mitchells, VA 22729


                  John Suttonj
                  1475 Hybla Farm Road
                  King William, VA 23086


                  John Szczerba
                  1104 White Horse Trail
                  Metamora, IL 61548


                  John Tarreto
                  2908 Old Galberry Rd
                  Chesapeake, VA 23323


                  John Tartamella
                  85422 Dudley
                  Chapel Hill, NC 27517


                  John Taylor
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                  Sumter, SC 29154


                  John Taylor
                  32 Net Ln
                  Raccoon, KY 41557
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Tedford
                  9181 Hunter Valley Ln
                  Knoxville, TN 37922


                  John Terry
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                  Munster, IN 46321


                  John Terry
                  8741 Poor Mountain Road
                  Bent Mountain, VA 24059


                  John Thigpen
                  1412 highland villa rd
                  Pittsburgh, PA 15234


                  John Thomas
                  1742 Kimball Rd
                  Luray, VA 22835


                  John Thompson
                  4114 Sawkaw Dr NE
                  Grand Rapids, MI 49525


                  John Thompson
                  3133 Morley Ave NE
                  Grand Rapids, MI 49505


                  John Thompson
                  1217 Barnitz St
                  Middletown, OH 45042


                  John Thornton
                  731 W Darden Rd
                  Clinton, NC 28328


                  John Thornton
                  1265 E Cedarview Dr
                  Springfield, OH 45503


                  John Tibolla
                  14199 State Highway 44
                  Allenwood, PA 17810
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Topliffe
                  2838 Woodson Drive
                  Columbia, IL 62236


                  John Toschlog
                  1414 S 9th St
                  Richmond, IN 47374


                  John Townsend
                  8390 Holly Tree Rd
                  Boones Mill, VA 24065


                  John Trantham
                  53 Hudgins Road
                  Poquoson, VA 23662


                  John Troy
                  30 Capitol Hill Road
                  Dillsburg, PA 17019


                  John Truelove
                  4103 State Hwy DD
                  Fisk, MO 63940


                  JOHN TUCKER
                  8662 48th Avenue
                  Watervliet, MI 49098


                  John Tupper
                  1140 Glenwood Park Rd
                  Princeton, WV 24740


                  John Turner
                  6051 Budd Rd
                  New Albany, IN 47150


                  John Turner
                  3225 Jay Lynn Dr
                  Greensboro, NC 27406


                  John Tuttle
                  8681 IN-3
                  Muncie, IN 47302
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Tyson
                  811 Howard St
                  Taylor, TX 76574


                  John Van Oenen
                  5497 Sherwood Rd
                  Oxford, MI 48371


                  John VanOoyen
                  4839 Sweet Cherry Ln
                  Kalamazoo, MI 49004


                  John Vincent
                  3 Bayview Ave
                  Melfa, VA 23410


                  John Vu
                  11846 Chapel Rd
                  Clifton, VA 20124


                  John Wade
                  545 Lake Front Drive
                  Lebanon, OH 45036


                  John Wagner
                  4336 Michaels Dr
                  Franklin, OH 45005


                  John Waiba
                  2263 Old Oxford Road
                  Hamilton, OH 45013


                  John Wald
                  3259 North Portage Road
                  Grass Lake, MI 49240


                  John Wall
                  1914 Wilder Rd
                  Bay City, MI 48706


                  John Walters
                  2107 Wedgewood Dr
                  Columbia, TN 38401
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  John Wardwell
                  650 Glendale rd
                  Galax, VA 24333


                  John Warner III
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                  Annold, MO 63010


                  John Washam
                  351 Sheets
                  Sedalia, IN 46067


                  John Washington
                  7921 Surrey Drive
                  Romulus, MI 48174


                  John Wassell
                  600 Lochinvar Drive
                  Pittsburgh, PA 15237


                  John Watts
                  6566 Bertha Street
                  Indianapolis, IN 46241


                  John Way
                  10478 Stark Rd
                  Livonia, MI 48150


                  John Weaver
                  4137 West State road 256
                  Hanover, IN 47243


                  John Weber
                  6025 Branch Road
                  Medina, OH 44256


                  John Weingart
                  256 Willow Dr
                  Nortonville, KY 42442


                  John Welch
                  5242 Jay Road
                  Whitehall, MI 49461
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  1445 E 35th St
                  Erie, PA 16504


                  John Weltmeyer
                  3865 School Drive
                  Morris, IL 60450


                  John Wenzel
                  15433 Albain Street
                  Petersburg, MI 49270


                  John West
                  1429 Glencoe
                  Allegan, MI 49010


                  John Whichard
                  119 Lee St
                  Greenville, NC 27858


                  John White
                  716 Seip Avenue
                  Nazareth, PA 18064


                  John Whitehead
                  3392 Upper River Way
                  Powhatan, VA 23139


                  John Whitley
                  6581 Eastlawn Avenue
                  Clarkston, MI 48346


                  John Whitney
                  545 Peachtree Valley Drive
                  Roanoke, VA 24012


                  John Wilkins
                  1401 North Co Road 900
                  Hamilton, IL 62341


                  John Williams
                  158 Idlewood Dr
                  Brodheadsville, PA 18322
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  56 Church Rd,
                  Linfield, PA 19468


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                  Ninety Six, SC 29666


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                  Garrison, TX 75946


                  John Wilson
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                  Milan, MI 48160


                  John Wilson
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                  John Wilson
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                  Fuquay-Varina, NC 27526


                  John Wilson
                  6758 Dawson Road
                  Lynchburg, OH 45142


                  John Wolf
                  36 Robin Way
                  Amelia, OH 45102


                  John Wood
                  3603 us hwy 601 south Mocksville Nc 2702
                  Mocksville, NC 27028


                  John Woodcock
                  1568 US HW 68 North
                  Bellefontaine, OH 43311


                  John Wright
                  4315 Reid Road
                  Swartz Creek, MI 48473
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                  John Wysocki
                  27365 Bell Rd
                  Brownstwn Twp, MI 48164


                  John Young
                  117 Darden Drive
                  Poquoson, VA 23662


                  John Zavrl
                  506 6th St
                  Fairport Harbor, OH 44077


                  John/ Leah Thompson/Barnett
                  2311 Virginia Avenue
                  Aliquippa, PA 15001


                  John/Mary Riley
                  29319 East Belpre Pike
                  Coolville, OH 45723


                  Johnathan Dewey
                  1232 Olive Road
                  Homewood, IL 60430


                  Johnathan Geddert
                  1405 Boynton Drive
                  Lansing, MI 48917


                  Johnathan Stevens
                  2868 North Meridian Road
                  Camden, IN 46917


                  Johnathan Tue
                  192 Zoe Cir
                  Jacksboro, TN 37757


                  Johnathan Young
                  18874 US-127
                  Rockford,, OH 45882


                  Johnathon Thornton
                  912 West Oak Street
                  South Bend, IN 46616
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                  Johndell Hill
                  1196 Hubbard St SW Atlanta, GA 30310
                  Atlanta, GA 30310


                  Johnie Perryman
                  446 Mitchell Ave
                  Clairton, PA 15025


                  Johnie West
                  11 West Lane
                  Cherokee, NC 28719


                  Johnnett Razon
                  226 Church St
                  Yorktown, VA 23690


                  Johnnie Ellis
                  5805 Willow Tree Court
                  Mineral, VA 23117


                  Johnnie Gordon
                  3276 Wolf Club Lane Southwest
                  Atlanta, GA 30349


                  Johnnie Hughes
                  6112 Summerville Drive
                  Gloucester, VA 23061


                  Johnnie Moore
                  284 Earle Dr
                  Carleton, MI 48117


                  Johnnie Owens
                  11001 Merchants Hope Rd
                  North Prince, VA 23860


                  Johnnie Shoemaker
                  2533 Wessex Lane
                  Chattanooga, TN 37421


                  Johnnie Williams
                  2135 pleasant union road
                  Roseboro, NC 28382
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                  Johnnie Williams Jr.
                  5301 Deer Path Lane
                  Dayton, OH 45415


                  Johnny Amador
                  156 Pleasant Knoll Dr
                  Adrian, MI 49221


                  Johnny Andrews
                  393 White Peach Way
                  Duncan, SC 29334


                  Johnny Ashe
                  50 Ashmont Lane
                  Henderson, NC 27537


                  Johnny Baumeister
                  2591 North Gates Road
                  Sandusky, MI 48471


                  Johnny Brown
                  10436 W Falmouth Rd
                  McBain, MI 49657


                  Johnny Brown
                  8996 Brown Road
                  Velpen, IN 47590


                  Johnny Cash
                  1625 East 23rd Street
                  Muncie, IN 47302


                  Johnny Cedeno
                  4343 Charleston Ridge Court
                  Grove City, OH 43123


                  Johnny Clay
                  4165 FM 3152
                  Livingston, TX 77351


                  Johnny Cockerham
                  3612 Simmons Patton Road
                  Jonesville, NC 28642
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                  Johnny Cole
                  10063 Red House Road
                  Appomattox, VA 24522


                  JOHNNY COOK
                  7329 Rhodes Dr
                  Windsor, VA 23487


                  Johnny Crocker
                  2205 Millgate Road
                  Anderson, SC 29621


                  Johnny Epting
                  5128 Ga 24 W (Barkow )
                  Louisville, GA 30434


                  Johnny Ernest
                  4404 Providence Road
                  Hayes, VA 23072


                  Johnny Farris
                  2623 Natchez Dr
                  Columbus, GA 31907


                  Johnny Hickman
                  17 Mundy Lane
                  Falmouth, VA 22405


                  Johnny Jessie
                  5763 E FM 149
                  Anderson, TX 77830


                  Johnny Kolakowski
                  4084 23rd Street
                  Wyandotte, MI 48192


                  Johnny Le
                  4805 W Bancroft St
                  Toledo, OH 43615


                  Johnny McKissack
                  24192 Kraft Pl
                  Brownstown, MI 48174
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                  Johnny Meeks
                  456 Beacon Ln
                  Evensville, TN 37332


                  Johnny Moore
                  2755 New Ridge Rd
                  Elliston, VA 24087


                  Johnny Newsome
                  9889 peatmoss rd
                  utica, OH 43080


                  Johnny Pak
                  116 Belardi Rd
                  Swiftwater, PA 18370


                  Johnny Pierce
                  3263 North Carolina 903
                  La Grange, NC 28551


                  Johnny Powell
                  400 Grove Street
                  Clinton, NC 28328


                  Johnny Prettyman
                  15 Scenic View Drive
                  Weaverville, NC 28787


                  johnny Punch
                  2155 finger bridge rd
                  Hickory, NC 28602


                  Johnny Randel
                  85 Waldorf Way
                  Hampstead, NC 28443


                  Johnny Rodriguez
                  6630 Planters Row Dr
                  Hope Mills, NC 28348


                  Johnny Salazar
                  1120 Ewell Road
                  Virginia Beach, VA 23455
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                  Johnny Steelman
                  1011 Armory Rd
                  North Wilkesboro, NC 28659


                  Johnny Stephens
                  510 Greenwich Circle
                  Danville, VA 24540


                  Johnny Stokes
                  356 scott St NE
                  charleston, TN 37310


                  Johnny Williams
                  310 Tim Henderson Lane
                  Benton, KY 42025


                  Johnny Yarborough
                  9066 W-Drive South
                  Union City, MI 49094


                  Joique Bell
                  19 Sand Bar Lane
                  Detroit, MI 48214


                  jolene schlegel
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                  Lenhartsville, PA 19534


                  Jolenne Stewart
                  6455 Sandy Knoll
                  Linden, MI 48451


                  JoMarie Finnegan
                  966 Granny Shepherd Road
                  Mars Hill, NC 28754


                  Jomo Drew
                  3024 Crystal Avenue
                  Memphis, TN 38112


                  Jon Andrews
                  18118 Cadbury Dr
                  Houston, TX 77084
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                  Jon Barnes
                  3965 Percy King Rd
                  Waterford Township, MI 48329


                  Jon Bergeman
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                  Tunnel Hill, GA 30755


                  Jon Bernier
                  3605 Indocin Court
                  Louisville, KY 40220


                  Jon Bexell
                  7400 W Gifford Rd
                  Bloomington, IN 47403


                  Jon Boers
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                  King George, VA 22485


                  Jon Brazeal
                  6956 County Road 47
                  West Liberty, OH 43357


                  Jon Buckingham
                  711 Crabapple Court
                  Wooster, OH 44691


                  Jon Burkett
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                  Midlothian, VA 23114


                  Jon Burnette
                  295 Rachel Lane
                  Monroe, OH 45050


                  Jon Carrie
                  130 East Lafayette Street
                  Somonauk, IL 60552


                  Jon Crispi
                  731 Charismatic Dr
                  Oswego, IL 60543
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                  Jon Davidson
                  1911 Winter Road
                  Warm Springs, GA 31830


                  Jon Dee Coulter
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                  Bay City,, MI 48708


                  Jon DeOliveira
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                  West End, NC 27376


                  Jon Diffendarfer
                  11041 Center Street
                  Flat Rock, IN 47234


                  Jon Dodge
                  9520 Bond Rd
                  DeWitt, MI 48820


                  Jon Dresser
                  6870 Edison Street Northeast
                  Hartville, OH 44632


                  Jon Droski
                  210 Gold Ave NW
                  Grand Rapids, MI 49504


                  JON ELLIOT
                  2190 ROLLING MEADOWS DR. NE
                  Warren, OH 44484


                  Jon Ellis
                  227 Alder St
                  Demorest, GA 30535


                  Jon Foster
                  111 Chamberlain Drive
                  Staunton, VA 24401


                  Jon Goldsberry
                  5648 Park Avenue
                  Aurora, IN 47001
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                  JON GONZALES
                  59893 County Road 3
                  Elkhart, IN 46517


                  Jon Graham
                  373 Falcon Hill Rd
                  Palestine, TX 75801


                  Jon Harris
                  173 Rabbitsville Rd
                  Mitchell, IN 47446


                  Jon Hoffman
                  115 Circle View Dr
                  Vine Grove, KY 40175


                  Jon Home
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                  Port Clinton, OH 43452


                  Jon Hufford
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                  Noblesville, IN 46062


                  Jon Johnson
                  2700 East Riley-Thompson Road
                  Muskegon, MI 49445


                  Jon kaminski
                  10016 pinecrest path
                  berrien springs, MI 49103


                  Jon Kirschner
                  159 Michelle Lane
                  Dingmans Ferry, PA 18328


                  Jon Leach
                  401 Rockvale ct
                  Benson, NC 27504


                  Jon Lemming
                  6171 Poplar Street
                  Chincoteague, VA 23336
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                  Jon Locik
                  7687 Apollo Dr
                  Parma, OH 44130


                  Jon McVay
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                  Onstead, MI 49265


                  Jon Meredith
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                  Shelburn, IN 47879


                  Jon Metz
                  10415 Woods Cross Rd
                  Gloucester, VA 23061


                  Jon Mix
                  3230 Leaf Lane
                  Coloma, MI 49038


                  Jon Myers
                  6130 Baux Mountain Rd
                  Winston-Salem, NC 27105


                  Jon O'Brien
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                  Birch Run, MI 48415


                  Jon Ogden
                  7 Harper Court
                  Algonquin, IL 60102


                  Jon Patterson
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                  Milton, PA 17847


                  Jon Reed
                  32701 Hees St
                  Livonia, MI 48150


                  Jon Reintges
                  2441 Tisdale Road
                  Barboursville, VA 22923
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                  Jon Reno
                  3895 Heinz Camp Rd
                  Ellwood City, PA 16117


                  Jon Roock
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                  Franklin, IN 46131


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                  Adrian, MI 49221


                  Jon Sanders
                  1538 Kaare Court
                  Lebanon, OH 45036


                  Jon Santini
                  220 Lantern Lane
                  Plain City, OH 43064


                  Jon Secviar
                  6532 E 135 S
                  Kewanna, IN 46939


                  Jon Shields
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                  Troy, IL 62294


                  Jon Slaven
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                  Ada, MI 49301


                  Jon Smith
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                  Evansville, IN 47711


                  Jon Stroven
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                  Leonard, MI 48367


                  Jon Tackett
                  5683 Country Lane
                  Ypsilanti, MI 48197
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                  Jon Thiele
                  127 Pine Rd
                  Friedens, PA 15541


                  Jon Thomas
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                  Clarksville, TN 37042


                  Jon Thomas
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                  Richmond, VA 23223


                  Jon Tyler
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                  Anderson, SC 29625


                  Jon Wetmore
                  3954 Atherton Drive
                  Coloma, MI 49038


                  Jon Williams
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                  Mechanicsburg, OH 43044


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                  2627 Butler Road
                  Fort Wayne, IN 46808


                  Jon Ydrogo
                  22306 Fairway Dr N
                  Trenton, MI 48183


                  Jon-Michael Hatmaker
                  213 Alhambra Rd
                  Oak ridge, TN 37830


                  Jonah Wachtell
                  16020 Quarters Ln
                  Haymarket,, VA 20169


                  Jonas Moretz
                  3708 Pinecrest Dr NE
                  Hickory, NC 28601
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                  Jonathan Achtemeier
                  2185 U.S. 33
                  Rockford, OH 45882


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                  Salem, VA 24153


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                  10754 Robert's Rd
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                  Jonathan Beaulac
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                  St Clair Shores, MI 48081


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                  Salem, IN 47167


                  Jonathan Brown
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                  Selma, NC 27576


                  Jonathan Bukva
                  9740 Copeland Dr
                  Manassas, VA 20109


                  Jonathan Burke
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                  Weaverville, NC 28787


                  Jonathan Carr
                  103 Rimrock Dr
                  Eleanor, WV 25070


                  Jonathan Casebeer
                  6 Country View Ln
                  Makanda, IL 62958
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                  Jonathan Cavin
                  3512 Chesnee Rd.
                  Rutherfordton, NC 28139


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                  Norfolk, VA 23502


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                  1011 N Boeke Rd
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                  Jonathan D Owens Owens
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                  Beaverton, MI 48612


                  Jonathan Davis
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                  Brockneal, VA 24528


                  Jonathan Deane
                  5610 Midway Road
                  Williamston, SC 29697


                  Jonathan Dove
                  1955 Laurel Mountain Dr
                  Salem, VA 24153


                  Jonathan Dykstra
                  2168 Tyler St
                  Jenison, MI 49428


                  Jonathan Farrell
                  5206 Southeast Fox Run Road
                  Lathrop, MO 64465


                  Jonathan Fox
                  1335 Oxford-Middletown
                  Hamilton, OH 45013


                  Jonathan Grice
                  5430 E 44th St,
                  Newaygo, MI 49337
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                  Jonathan Grindall
                  2942 Sagegrass Dr
                  Louisville, TN 37777


                  Jonathan Hall
                  16369 Melrose St
                  Southfield, MI 48075


                  Jonathan Harris
                  4887 Elmwood Street
                  Norton Shores, MI 49441


                  Jonathan Hart
                  3225 Frances Slocum Trl
                  Marion, IN 46952


                  Jonathan Hill
                  1496 Ingman Rd
                  Tracy City, TN 37387


                  Jonathan hottinger
                  138 Neal Avenue
                  Newark, OH 43055


                  Jonathan Hughes
                  71 Grange Road
                  McDonald, PA 15057


                  Jonathan Jackson
                  5469 Fairford Ct
                  Dayton, OH 45414


                  Jonathan James
                  11563 Linden Dr
                  Marne, MI 49435


                  Jonathan Jameson
                  34043 Sequoia St
                  Westland, MI 48185


                  Jonathan Joles
                  3100 Canterbury Dr
                  Bay City, MI 48706
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                  Jonathan Jones
                  8870 Flower Hill Road
                  Middlesex, NC 27557


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                  169 Gold St
                  Warm Springs, GA 31830


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                  465 Catlin Dr
                  Richmond Heights, OH 44143


                  Jonathan Knight
                  716 Rewill Dr
                  Fort Wayne, IN 46804


                  Jonathan Krajewski
                  4264 18th St SW
                  Dorr, MI 49323


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                  60795 N Lakeshore Dr
                  Lawrence, MI 49064


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                  680 Hull Rd
                  Waterford, PA 16441


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                  Jonathan Mathews
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                  Clarksville, TN 37042


                  Jonathan matthews
                  1609 Shelby Place
                  New Albany, IN 47150


                  Jonathan McBride
                  4155 West Washington Road
                  Ithaca, MI 48847
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                  Jonathan McGill
                  258 Home Stretch Lane
                  Raeford, NC 28376


                  Jonathan McGrail
                  31807 Belleau Dr
                  Warren, MI 48092


                  Jonathan Miller
                  12461 IN-10
                  Argos, IN 46501


                  Jonathan Mitchell
                  1950 Bunkum Rd
                  Rensselaer,, IN 47978


                  Jonathan Mortenon
                  634 Pilgrims Trail
                  Dugspur, VA 24325


                  Jonathan Mullins
                  7119 Peachtree Rd
                  Lynchburg, VA 24502


                  Jonathan Nance
                  3006 Links Manor Drive
                  Salem, VA 24153


                  Jonathan Nealan
                  3884 Michael Drive
                  Cincinnati, OH 45255


                  Jonathan Nuno
                  1862 Ackley Ave
                  Westland, MI 48186


                  Jonathan Prater
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                  Alexandria, IN 46001


                  Jonathan Proud
                  11451 Stateline Road
                  Dyer, IN 46311
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                  Jonathan Purdy
                  6901 Countryside Ln
                  Spotsylvania Courthouse, VA 22551


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                  594 Van Buren Ct
                  Virginia Beach, VA 23452


                  Jonathan Riley
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                  Bates City, MO 64011


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                  West Orange, TX 77630


                  Jonathan Schultz
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                  Jonathan Shaffer
                  211 Creekside Dr
                  Goldsboro, NC 27534


                  Jonathan Sites
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                  Concord, NC 28027


                  Jonathan Smith
                  247 Rock Quarry Road
                  Toccoa, GA 30577
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                  5951 Pittsburg Road
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                  Butler, PA 16001


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                  Jonathan Susman
                  215 Norwood Street
                  Lynchburg, VA 24504


                  Jonathan Szabady
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                  Sanford, NC 27332


                  Jonathan Thiele
                  127 Pine Rd
                  Friedens, PA 15541


                  Jonathan Timmerman
                  5571 Crippen Ave SW
                  Grand Rapids, MI 49548


                  Jonathan Upright
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                  Moravian Falls, NC 28654


                  Jonathan VanMoorlehem
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                  Salem, VA 24153


                  Jonathan Walters
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                  Thornville, OH 43076


                  Jonathan Wegerich
                  334 E 650 S
                  La Porte, IN 46350
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                  Jonathan West
                  493 Pearson Street
                  Ferndale, MI 48220


                  Jonathan White
                  813 Herr rd
                  Fairborn, OH 45324


                  Jonathan Wickliff
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                  Plymouth, MI 48170


                  Jonathan Wiley
                  621 Osprey Landing Drive
                  Holly Ridge, NC 28445


                  Jonathan Williams
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                  Newport News, VA 23607


                  Jonathan Womack
                  18203 Woodingham
                  Detroit, MI 48221


                  Jonathan Yettaw
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                  Jonathan Yocum
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                  Jonathan Z Davis
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                  Concord, VA 24538


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                  401 East 34th Court
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                  Jonathon Bryson
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                  Westminster, SC 29693
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Jonathon Collier
                  409 Dora Avenue
                  Connersville, IN 47331


                  Jonathon Eckert
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                  Etowah, TN 37331


                  Jonathon Kalakay
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                  West Branch, MI 48661


                  Jonathon Pannell
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                  Cross Junction, VA 22625


                  Jonathon Paris
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                  Jonathon Reese
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                  Jonathon Ruzich
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                  Jonathon Shores
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                  Jonathon Stephens
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                  Jonathon Tillman
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                  Jones Douglas
                  3130 Old Medina Road
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  1017 Lilly Dr
                  Tobaccoville, NC 27050


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                  Trenton, MI 48183


                  Joni Newell
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                  Owosso, MI 48867


                  Joni Steven
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                  Athens, TN 37303


                  Jonita Green
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                  Winston-Salem, NC 27106


                  Jonn Fender
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                  Traverse City, MI 49686


                  Jonna Tidwell
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                  pierce city, MO 65723


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                  Jordan Bales
                  2647 Canton Rd
                  Akron, OH 44312


                  Jordan Barney
                  905 North State Street
                  Westville, IL 61883
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                  Jordan Brown
                  129 Tanbark Drive
                  Jacksonville, NC 28546


                  Jordan Bunner
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                  Atlanta, IL 61723


                  Jordan Carter
                  1271 Upper Brush Creek Road
                  Fairview, NC 28730


                  Jordan Cole
                  807 Hettick Rd
                  Hettick, IL 62649


                  Jordan Duckworth
                  581 Foster Dr
                  Ringgold, GA 30736


                  Jordan Fimple
                  9891 Shepherd Road
                  Lockbourne, OH 43137


                  Jordan Hastings
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                  Jordan Justice
                  910 North Franklin Street
                  Rensselaer, IN 47978


                  Jordan Kennedy
                  4500 Bedford St
                  Dearborn Heights, MI 48125


                  Jordan Kleinsmith
                  12009 Maple Rd
                  Milan, MI 48160


                  Jordan Patterson
                  2601 Selkirk Ct
                  Wilmington, NC 28411
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                  1723 Henry Street
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                  Lansing,, MI 48910


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                  Linden, MI 48451


                  Jordan Sly
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                  Southgate, MI 48195


                  jordan teegardin
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                  Jordan Wiersma
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                  Muskegon, MI 49442


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                  JoRenie Armstrong
                  1189 Gerry Street
                  Gary, IN 46406
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                  bolivia, NC 28422


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                  Jorge Chavez
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                  Jorge Gracia
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                  Jorge Guerrero
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                  Florence, KY 41042


                  Jorge Maldonado
                  1870 Duke Drive
                  Sumter, SC 29153


                  Jorge Montes
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                  Vandalia, OH 45377


                  Jorge Zuniga
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                  Jorma Virtanen
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                  Warrenton, MO 63383


                  Jose Andino
                  3920 Pine Line Drive
                  Sanford, NC 27332
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                  Jose Arbelaez
                  2450 Martha Street
                  Highland, IN 46322


                  Jose Barahona
                  2316 K Wesley Way
                  Raleigh, NC 27610


                  Jose Barrientos
                  1976 Wood Duck Drive West
                  Chambersburg, PA 17202


                  Jose Betancourt
                  21231 Knollblossom Ln
                  Richmond, TX 77407


                  Jose Burgos
                  124 Saluda Drive
                  Moncks Corner, SC 29461


                  Jose Cano
                  3260 Wicklow Ln
                  Clover, SC 29710


                  Jose casillas
                  231 South Walnut Street
                  Arcola, IL 61910


                  Jose Cesar
                  55 Senter Farm Ct
                  Fuquay Varina, NC 27526


                  Jose Contreras
                  4005 Brickyard Road
                  Charlotte, NC 28214


                  Jose David Merida
                  3534 Moncure Ave
                  Falls Church,, VA 22041


                  Jose Delgado
                  15603 Valley Creek Dr
                  Houston, TX 77095
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                  Jose E Espinosa
                  18438 East St
                  Tippecanoe, IN 46570


                  Jose Edwards
                  6330 Highland Commons Drive
                  Charlotte, NC 28269


                  Jose Esparza
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                  Bryan, TX 77808


                  Jose Espitia
                  323 Crooked Meadow Ln
                  Hillsborough, NC 27278


                  Jose Estrada
                  1112 Niagara St
                  Houston, TX 77051


                  Jose Garcia
                  2105 Textile Drive
                  Greensboro, NC 27405


                  Jose Garcia
                  2900 Continental Drive
                  Lancaster, PA 17601


                  Jose Gomez
                  210 Tarver Street
                  Dalton, GA 30721


                  Jose Gomez
                  15218 Hawthorne Court
                  Cedar Lake, IN 46303


                  Jose Gonz lez
                  705 Highland St
                  Steelton, PA 17113


                  Jose Gonzalez
                  610 Ulah Court
                  Asheboro, NC 27205
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                  Jose Guajardo
                  263 Sneed Ln, Godwin, NC 28344, USA
                  Godwin, NC 28344


                  Jose Gutierrez
                  100 Skillman Drive
                  Toano, VA 23168


                  jose guzman
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                  Elkhart, IN 46517


                  Jose Guzman
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                  Virginia Beach, VA 23452


                  Jose Jimenez
                  201 Sterling Dr
                  Rincon, GA 31326


                  Jose Jr Sarno
                  102 South Thalia Road
                  Virginia Beach, VA 23452


                  Jose Lopez
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                  Tecumseh, MI 49286


                  Jose Lopez
                  6465 Brookhill Drive
                  Garfield Heights, OH 44125


                  Jose Madan
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                  Athens, GA 30606


                  Jose Morales
                  1966 Ferdinand Street
                  Detroit, MI 48209


                  Jose Norberto
                  2315 Marion Avenue Road
                  Mansfield, OH 44903
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                  Jose Ontiveros
                  4028 Pineridge Drive Southwest
                  Lilburn, GA 30047


                  Jose Orellana
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                  Culpeper, VA 22701


                  Jose Ortega
                  7350 Arizona Avenue
                  Hammond, IN 46323


                  Jose Ortiz
                  2654 Woodbourne Drive
                  Waterford Township, MI 48329


                  Jose Padillajimenez
                  14 Gloucester Court
                  Cameron, NC 28326


                  Jose Perez
                  5223 Balzer St
                  Lansing, MI 48911


                  Jose Perez
                  805 Millers Run Court
                  Hamilton, OH 45011


                  Jose Perez
                  1415 Kemp Bridge Drive
                  Chesapeake, VA 23320


                  Jose Portillo
                  11603 James Madison St
                  Remington, VA 22734


                  Jose Ramirez
                  4901 April Dr
                  Gastonia, NC 28056


                  Jose Rivera
                  3 Jake Snake Ct
                  Greenville, SC 29609
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                  Jose Rivera
                  6600 Timberland Dr
                  Sandston, VA 23150


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                  19275 Bainbridge Avenue
                  Livonia, MI 48152


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                  Bellefonte, PA 16823


                  Jose Rodriguez
                  917 Krumsville Road
                  Kutztown, PA 19530


                  Jose Rodriguez
                  2730 Lititz Pike
                  Lancaster, PA 17601


                  Jose Rodriguez
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                  Troutman, NC 28166


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                  Chesapeake, VA 23323


                  Jose Romero
                  2601 Tunnel Hill Road
                  Lebanon, PA 17046


                  Jose Ruiz
                  355 Romie Snow Road
                  Dobson, NC 27017


                  jose sanchez
                  1601 Star Point Road
                  Carrollton, GA 30116


                  Jose Sanchez
                  1285 Sheep Hill Road
                  Pottstown, PA 19465
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                  Jose Santos
                  68969 Thomas Rd
                  White Pigeon, MI 49099


                  Jose Sosa
                  10260 Fayettesville Road
                  Bealeton, VA 22712


                  Jose Soto
                  61952 Territorial RD
                  Decatur, MI 49045


                  Jose Torres
                  300 E Elm St
                  Browning, MO 64630


                  Jose Valentin
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                  Youngstown, OH 44511


                  Jose Velez
                  3 Hawser Way
                  Port Wentworth, GA 31407


                  Jose Vera
                  3910 Spring Meadow Crescent
                  Chesapeake, VA 23321


                  Jose Vigil
                  20528 Fitzwilliam Ln
                  Porter, TX 77365


                  Josef Lopuchowycz
                  2331 Range Rd
                  Kimball Twp, MI 48074


                  Josef Newgarden
                  4621 Dustin Lane
                  Nashville, TN 37220


                  Josef Newgarden Racing, Inc.
                  44 Park Crescent Circle
                  Nashville, TN 37215
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                  Josefina Doumbia
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                  Annandale, VA 22003


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                  Carthage, NC 28327


                  Joseluis Gonzalez
                  4089 Stanberry Ave
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                  Joseph "Joe" Krebs
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                  Joseph "Joe" Martin
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                  Joseph A Bujalski
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                  Irwin, PA 15642


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                  Winterville, NC 28590


                  Joseph Affholter
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                  Pleasant Hill, MO 64080


                  Joseph Alachoyan
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                  Asheville, NC 28806


                  Joseph Almodovar
                  1111 Maryland Ave
                  Glen Allen, VA 23060
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                  Joseph Anderson
                  11224 Portlance Ave
                  Detroit, MI 48205


                  Joseph Anderson
                  773 Oakwood Drive Southwest
                  Roanoke, VA 24015


                  Joseph Annicchiarico
                  11521 Willow Bend Dr
                  Zionsville, IN 46077


                  Joseph Antantis
                  6164 Noblestown Road
                  Oakdale, PA 15071


                  Joseph Apger
                  4261 West 49th Street
                  Cleveland, OH 44144


                  Joseph Arms
                  5665 Bishop rd
                  Almont, MI 48003


                  joseph arnold
                  4074 Stone Post Road
                  Berlin, MI 48166


                  Joseph Avila
                  34941 E 1900 N Rd,
                  Cullom, IL 60929


                  Joseph Baker
                  1511 Indigo Dr
                  Beavercreek, OH 45324


                  Joseph Baleanu
                  613 Dorchester Street
                  Clemmons, NC 27012


                  Joseph Beach
                  1610 Margarita Street
                  Ypsilanti, MI 48198
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                  joseph beam
                  862 East Old Limestone Road
                  York, SC 29745


                  Joseph Bendis
                  71 E Alex Dr
                  Clayton, NC 27520


                  Joseph Berrier
                  1020 Alex Bales Rd
                  Kodak, TN 37764


                  Joseph Bertrand
                  21602 Lake View Road
                  Damon, TX 77430


                  Joseph Birmele
                  689 Wilson Road
                  South Vienna, OH 45369


                  Joseph Blankenship
                  2055 Dixon Rd SW
                  Blacklick, OH 43004


                  Joseph Boganski
                  5631 Huron Drive
                  Cedar Lake, IN 46303


                  Joseph Botwinski
                  2350 Paris Ave SE
                  Grand Rapids, MI 49507


                  Joseph Bowman
                  413 Summerton Pl
                  Moore, SC 29369


                  Joseph Boyer
                  523 Alger St SE
                  Grand Rapids, MI 49507


                  Joseph Bradley
                  409 Covington Cove
                  Byron, GA 31008
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                  Joseph Brammer
                  24014 Cox Rd
                  Petersburg, VA 23803


                  Joseph Brown
                  2460 Tandy Dr
                  Flint, MI 48532


                  JOSEPH BRUCE
                  1020 Country Creek Lane
                  Chesterton, IN 46304


                  Joseph Bruns
                  1617 Red Brook Court
                  Norfolk, VA 23518


                  Joseph Bryan
                  224 Stark Road
                  Sarver, PA 16055


                  Joseph Burch
                  789 Gallop Lane
                  Marysville, OH 43040


                  Joseph Burt
                  3807 State Street
                  Erie, PA 16508


                  Joseph Bushman
                  1549 Mulligan Drive
                  Wyoming, MI 49509


                  joseph Byers
                  628 Lindbergh Boulevard
                  Berea, OH 44017


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                  Grays Creek, NC 28348


                  JOSEPH C MAXWELL
                  231 Troupe Road
                  Shelbyville, TN 37160
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                  Joseph Carey
                  1064 Peachtree Rd
                  Hoschton, GA 30548


                  Joseph Carwile
                  1028 Blue Spring Court
                  Virginia Beach, VA 23452


                  Joseph Caudle
                  3841 Nottingham Ave
                  YOUNGSTOWN, OH 44511


                  Joseph Champine
                  22621 Dale Allen St
                  Clinton Township, MI 48035


                  Joseph Costulas
                  13 Costulas Lane
                  Renovo, PA 17764


                  JOSEPH CUCCURULLO
                  300 ATWOOD DRIVE
                  HOLLY SPRINGS, NC 27540


                  Joseph Cutino
                  4051 Miller Rd
                  Capac, MI 48014


                  Joseph Davis
                  12627 Timberloch Drive
                  Dexter, MO 63841


                  Joseph Dean
                  4701 Singing Bird Dr
                  Moseley, VA 23120


                  Joseph DeLange
                  11 Morris Cir
                  Wellsboro, PA 16901


                  Joseph DeLeon
                  1077 Hidden Meadow Road
                  Winston-Salem, NC 27127
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                  Joseph Detzler
                  1240 w Taylor rd
                  Mt Pleasant, MI 48858


                  Joseph Dibenedetto
                  2396 Walker Rd
                  Talbott, TN 37877


                  Joseph Dickinson
                  254 Belgrade-Swansboro Road
                  stella, NC 28582


                  Joseph Dix
                  1880 Juniper Creek Drive
                  Keysville, VA 23947


                  Joseph Dockery
                  7036 Millers Glen Way
                  Memphis, TN 38125


                  Joseph Doherty
                  1529 Empire Ave
                  Lincoln Park, MI 48146


                  Joseph Donaldson
                  2329 Sr2006
                  Martinsburg, PA 16662


                  Joseph Doskocil
                  1429 Sunset Drive
                  Lancaster, PA 17601


                  Joseph DURST
                  3009 Ellington Drive
                  Summerville, SC 29485


                  Joseph Edwards Edwards
                  89391 52nd Street
                  Decatur, MI 49045


                  Joseph Ellis
                  14078 104th Ave
                  Grand Haven, MI 49417
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                  Joseph Ewing
                  12271 East Burt Road
                  Birch Run, MI 48415


                  Joseph Fischer
                  8310 Essen Avenue
                  Parma, OH 44129


                  Joseph Fitzgibbon
                  1408 Crutchfield Rd
                  Efland, NC 27243


                  Joseph Flinn
                  6127 Kenilworth St
                  Dearborn, MI 48126


                  Joseph Forman
                  810 Grace Street
                  Owosso, MI 48867


                  Joseph Fox
                  4407 Nash Rd
                  East Springfield, PA 16411


                  Joseph Fraczek
                  1893 midway
                  Weidman, MI 48893


                  Joseph Fureigh
                  413 Otsego Street
                  Oscoda, MI 48750


                  Joseph G HORAN
                  9051 Lykens Lane
                  Philadelphia, PA 19128


                  Joseph Garc a
                  196 County Road 866
                  Evadale, TX 77656


                  Joseph Garrett
                  417 Pearl St
                  Mound City, IL 62963
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                  Joseph Gartin
                  25 Theresa Terrace Dr
                  Nebo, NC 28761


                  Joseph Gatny
                  47486 County Road 384
                  Grand Junction, MI 49056


                  Joseph Gerbitz
                  2169 County Road 1990
                  willow springs, MO 65793


                  Joseph Gerbofsky
                  1219 East Maxwell Lane
                  Bloomington, IN 47401


                  Joseph Gilbert
                  518 Two Tops Lane
                  Woodlawn, VA 24381


                  Joseph Ginn
                  610 lightsey street extension
                  Hampton, SC 29924


                  Joseph Gleason
                  1070 County Road 1175 East
                  Lincoln, IL 62656


                  Joseph Good
                  4216 East 50 North
                  Kokomo, IN 46901


                  Joseph Goodman
                  704 Braden st
                  Waynesburg, PA 15370


                  Joseph Grech
                  4625 Bradley Rd
                  Gregory, MI 48137


                  JOSEPH GREENE
                  6204 Westminster Court
                  Springfield, IL 62711
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                  Joseph Grimm
                  534 Flower St
                  Benton Harbor, MI 49022


                  Joseph Grove
                  197 Desoto Dr
                  Aiken, SC 29803


                  Joseph Guest
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                  Bonaire, GA 31005


                  Joseph Guzman
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                  Shelbyville, IN 46176


                  Joseph H. Harris
                  200 Nottingham Place
                  Smithfield, VA 23430


                  Joseph Hall
                  105 Old US Highway 13
                  Winton, NC 27986


                  Joseph Hammel
                  106 Johnson Trail
                  Moraine, OH 45439


                  Joseph Harfman
                  302 Birch Street
                  Easton, PA 18040


                  Joseph Harris
                  124 S Dietz Mill Rd
                  Telford, PA 18969


                  Joseph Hartsburg
                  306 Corbin Street
                  Sandborn, IN 47578


                  Joseph Hatfield
                  3401 Wren Cir
                  Lenoir, NC 28645
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                  Joseph Haywood
                  456 Chip Road
                  Mount Gilead, NC 27306


                  Joseph Hefner
                  3011 Snider Rd
                  yadkinville, NC 27055


                  Joseph Herdklotz
                  336 Winding Oak Drive
                  Woodruff, SC 29388


                  Joseph Herzberg
                  924 Maplegrove Avenue
                  Royal Oak, MI 48067


                  Joseph Hess
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                  Joseph Hickle
                  110 Trouttown Road
                  Hunker, PA 15639


                  Joseph Hicks
                  69578 Heils Lane
                  Bridgeport, OH 43912


                  Joseph Hicks
                  305 Marsh View Court
                  Carrollton, VA 23314


                  Joseph Hill
                  2326 184th Street
                  Lansing, IL 60438


                  Joseph Hill
                  9828 E Q Ave
                  Scotts, MI 49088


                  Joseph Hill
                  429 McAmoore Dr
                  Smyrna, TN 37167
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joseph Hilton
                  11710 Sapony Church Road
                  McKenney, VA 23872


                  joseph homeister
                  606 Charlton Dr
                  Hampton, VA 23666


                  Joseph Hommel
                  604 Nagle St
                  New Berlin, PA 17855


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                  Rineyville, KY 40162


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                  113 Marshall Farm Road
                  Jacksonville, NC 28546


                  Joseph Howe
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                  Joseph Huertas
                  7130 Anglin Road
                  Fairview, TN 37062


                  Joseph Hutchins
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                  Houston, TX 77007


                  Joseph J Wilson
                  5304 Lobdell Road
                  Fenton, MI 48430


                  Joseph johnson
                  7320 Felton Road
                  Prophetstown, IL 61277


                  Joseph Jones
                  121 South Dr
                  Anderson, IN 46013
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                  Joseph Jones
                  2746 Salem Road
                  Spout Spring, VA 24593


                  Joseph Karoub
                  4406 Merrick Street
                  Dearborn Heights, MI 48125


                  Joseph Kass
                  227 Asbury Avenue
                  Greenville, SC 29601


                  Joseph Keefe
                  62 Harris Creek Road
                  Hampton, VA 23669


                  Joseph Kind
                  1155 S Hockaday Rd
                  Gladwin, MI 48624


                  Joseph Kirchhoff
                  2318 Sowell Mill Pike
                  Columbia, TN 38401


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                  911 S Coy Rd,
                  Oregon, OH 43616


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                  215 Redfield Ln
                  Callaway, VA 24067


                  Joseph Kracker
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                  Union Town, OH 44685


                  Joseph Lansberry
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                  Clayton, IN 46118


                  Joseph LeBlanc
                  76 W Sandusky St
                  Fredericktown, OH 43019
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                  Joseph Lehmann
                  5013 Hwy YY
                  Salem, MO 65560


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                  Florence, SC 29506


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                  1096 Hyannis Circle
                  Carol Stream, IL 60188


                  Joseph Lewis
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                  Dayton, OH 45402


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                  220 Hall Dr
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                  Joseph Lott
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                  Staunton, VA 24401


                  Joseph Lowe
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                  Leavittsburg, OH 44430


                  Joseph Luckinbill
                  7017 Erfie Drive
                  Fulton, MO 65251


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                  Tamaqua, PA 18252


                  Joseph Lysogorski
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                  Standish, MI 48658


                  Joseph M Bushfan
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                  Oxford, NC 27565
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                  Joseph M. Lewis Jr.
                  2815 Shadyoak Dr
                  Fort Wayne, IN 46806


                  Joseph Manning
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                  Barnhart, MO 63012


                  Joseph Mayer
                  1067 Madison 9255
                  Fredericktown, MO 63645


                  Joseph Mazzara
                  1993 Country Club Drive
                  Grosse Pointe Woods, MI 48236


                  Joseph Mears
                  2494 Westpoint Drive
                  Cincinnati, OH 45231


                  Joseph Medal
                  7022 Bluebird Rd NW
                  East Canton, OH 44730


                  Joseph Meerschaert
                  7326 n lapeer rd
                  Fostoria, MI 48435


                  Joseph Mejia
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                  Joseph Melton
                  6799 Lancaster Circleville Rd SW
                  Lancaster, OH 43130


                  Joseph Montgomery
                  2392 Queensbury Road
                  Alliance, OH 44601


                  Joseph Nagy
                  9459 Morrish Rd
                  Swartz Creek, MI 48473
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                  27361 Lee hwy
                  Abingdon, VA 24211


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                  Tell City, IN 47586


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                  Exeter, PA 18643


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                  Centralia, MO 65240


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                  Suffolk, VA 23437


                  Joseph Ogden
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                  Conroe, TX 77304


                  Joseph Oliver
                  3429 Anderson Valley Rd
                  McLeansville, NC 27301


                  Joseph Paille
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                  Joseph Parker
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                  Paw Paw, MI 49079


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                  Essexville, MI 48732


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                  19978 Pierceall Rd
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Shelby, OH 44875


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                  Steubenville, OH 43952


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                  12810 Ohio 60
                  Lowell, OH 45744


                  Joseph Porter
                  778 Lees Ridge Road
                  Martinsville, VA 24112
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                  10711 Rollingwood Drive
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                  Medina, OH 44256


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                  Summerton, SC 29148


                  Joseph Ragland
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                  Joseph Rainey
                  1537 South Ola Road
                  Locust Grove, GA 30248


                  Joseph Rambo
                  4934 Shadow Creek Drive
                  Hudsonville, MI 49426


                  Joseph Ramsey
                  4636 Turley Mill Rd
                  Farmington, MO 63640


                  Joseph Ray
                  105 Pluto Street
                  Dunn, NC 28334


                  Joseph Reid
                  2456 Horseshoe Bend Road
                  Keysville, VA 23947


                  Joseph Richardson
                  4578 Bobcat Drive
                  Fort Lawn, SC 29714


                  Joseph Roberts
                  3702 East 196th Street
                  Westfield, IN 46074
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                  224 Mt. Zion Church Rd.
                  Marshall, NC 28753


                  Joseph Robinson
                  532 Piney Fork Church Road
                  Eden, NC 27288


                  Joseph Rosipal
                  5274 Wendwood Rd SW
                  Conyers, GA 30094


                  Joseph Russell
                  1878 Coghill Drive
                  Columbus, OH 43229


                  Joseph Salesky
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                  Clarksville, TN 37042


                  Joseph Scibetta
                  1773 Cabin Museum Rd
                  Turkey, NC 28393


                  Joseph Scott
                  8825 Proctors Run Dr,
                  Richmond, VA 23237


                  Joseph Sixt
                  196 East Meadowview Drive
                  Statesville, NC 28625


                  Joseph Small
                  312 Riverside Dr
                  Hampton, VA 23669


                  Joseph Smith
                  409 South Mary Street
                  Stronghurst, IL 61480


                  Joseph Smith
                  1817 Dockwood Trail
                  Chesapeake, VA 23321
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                  3341 Davidson Drive
                  Fayetteville, NC 28306


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                  2012 Burlwood Court
                  Stallings, NC 28104


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                  5378 Rood Rd
                  Holly, MI 48442


                  Joseph Stanley
                  148 Garren Rd
                  Madisonville, TN 37354


                  Joseph Stoops
                  4020 Hayes Street
                  Wayne, MI 48184


                  Joseph Strickland
                  532 White Plains Road
                  Roaring River, NC 28669


                  Joseph Stringer
                  883 Longs Store Rd
                  Roxboro, NC 27574


                  Joseph Sturza
                  26761 Irwin Road
                  Richmond, MI 48062


                  Joseph T Jorden
                  18907 Grange Hall Road
                  Brighton, IL 62012


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                  Columbus, OH 43219


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                  3300 US Hwy 17
                  Williamston, NC 27892
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                  Joseph Tiemeyer
                  1239 Heritage Trail
                  Franklin, IN 46131


                  Joseph Upmann
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                  Illiopolis, IL 62539


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                  80 Irwin Farm Ln
                  Sparta, NC 28675


                  Joseph Vernon
                  1124 Burgundy Lane
                  Ballwin, MO 63011


                  Joseph Via
                  312 Holyoke Road
                  Greensboro, NC 27406


                  Joseph Vivenzio
                  1501 E Martin Luther King Junior Highway
                  Maxton, NC 28364


                  Joseph Warner
                  2004 West 37th Street
                  Erie, PA 16508


                  Joseph Weber
                  8338 Church Rd
                  Imlay City, MI 48444


                  Joseph Welsh
                  201 Coffee Mill Creek Road
                  Georgetown, TX 78633


                  Joseph White
                  9774 Pine Seed Ct
                  Columbus, GA 31820


                  Joseph Wilczek
                  391 Tower Rd
                  Sapphire, NC 28774
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                  Joseph Wilson
                  1565 Roy Drive
                  Arnold, MO 63010


                  Joseph Woodyard
                  5401 Lakeview Road
                  Hope Mills, NC 28348


                  Joseph Worlie
                  3750 Johnston Road
                  Winston, GA 30187


                  Joseph Wyn
                  1519 Pinegree Ave
                  Lincoln Park, MI 48146


                  Joseph Yarborough
                  1077 Paynes Tavern Road
                  Roxboro, NC 27574


                  Joseph Young
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                  Southampton, PA 18966


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                  Virginia Beach, VA 23453


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                  Twinsburg, OH 44087


                  Josephine Beam
                  754 Fiery Run Road
                  Linden, VA 22642


                  Josephine Buchanan
                  895 Watershed Road
                  Newton Grove, NC 28366


                  Josephine Clevenger
                  2658 Indiana 13
                  Pierceton, IN 46562
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                  Josephus Willis
                  4678 Perry Mill Cir
                  Grovetown, GA 30813


                  Josey Lewis
                  2842 Locker Court
                  Evansville, IN 47725


                  Josh Amos
                  151 George Bateman Rd
                  Ridgeway, VA 24148


                  Josh Anthony
                  858 N Honeysuckle Ln
                  La Porte, IN 46350


                  Josh Bartz
                  5336 Angling rd
                  Portage, MI 49024


                  Josh Benfield
                  273 Gentlemans Ridge Rd
                  Pelham, NC 27311


                  Josh Boyd
                  11901 Belfonte Road
                  Bumpass, VA 23024


                  Josh Bradley
                  4222 North 175 East
                  Ossian, IN 46777


                  Josh Brown
                  9 Ellison lake Rd
                  willamston, SC 29697


                  Josh Bryant
                  8791 West Kirksville Road
                  Bloomington, IN 47403


                  Josh Bryant
                  3919 Kentucky 301
                  Hickory, KY 42051
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                  josh burkhour
                  8570 Olive Lake Court 28
                  West Olive, MI 49460


                  Josh Butler
                  76 Greenbriar Lane
                  Stuarts Draft, VA 24477


                  Josh Camp
                  9 Clearview Drive
                  Cartersville, GA 30121


                  Josh Carrigan
                  7809 Locust Ave
                  Newaygo, MI 49337


                  Josh Chapman
                  317 County Road 123
                  Chesapeake, OH 45619


                  Josh Coleman
                  14 Davins Dr
                  South Shore, KY 41175


                  Josh Cuddie
                  2190 Mechanicsburg-Sanford Road
                  Mechanicsburg, OH 43044


                  Josh Cummings
                  29845 South Cottage Grove Avenue
                  Beecher, IL 60401


                  Josh Davis
                  596 North Cunningham Road
                  Seymour, TN 37865


                  Josh Deaton
                  1023 N Main St
                  Troy, NC 27371


                  josh deloach
                  600 maycox ave
                  Norfolk, VA 23505
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                  Josh Edgell
                  787 Eastwood St
                  Geneva,, OH 44041


                  Josh Edmiston
                  350 McKelvey Road
                  Dauphin, PA 17018


                  Josh Eller
                  1618 Norcol Lane
                  Cincinnati, OH 45231


                  Josh Elliott
                  260 W Main St
                  Monrovia, IN 46157


                  Josh Eubanks
                  1232 Pleasant View Drive
                  PATRICK SPRINGS, VA 24133


                  Josh Fabean
                  4406 East 107th Street
                  Kansas City, MO 64137


                  Josh Falls
                  4675 Kilgore Road
                  Croswell, MI 48422


                  Josh Fiscus
                  1208 Petersburg Road
                  Hadley, PA 16130


                  Josh Ford
                  24779 delwood street
                  harrison charter township, MI 48045


                  Josh G
                  9080 Spring Creek Road
                  Cookeville, TN 38506


                  Josh Garcia
                  646 West Munger Road
                  Munger, MI 48747
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                  Josh Guy
                  563 Endless Mountain Rd
                  Maysville, WV 26833


                  Josh Havens
                  660 West Pine Street
                  Wytheville, VA 24382


                  Josh Hayes
                  1147 Yellowwood Dr
                  Aberdeen, NC 28315


                  Josh Hayford
                  1159 timber ridge Rd
                  Charlotte, TN 37036


                  Josh Helton
                  160 Juliana Court
                  Columbia, IL 62236


                  Josh Hernandez
                  750 Highway 905
                  Conway, SC 29526


                  Josh Herr
                  420 Periwinkle Dr
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                  Josh Higgins
                  2781 W Isabella Rd
                  Midland, MI 48640


                  Josh Hill
                  6769 Frandsen Rd
                  Alhambra, IL 62001


                  Josh Hollis
                  7080 Billmyer Hwy
                  Tecumseh, MI 49286


                  Josh Horton
                  1647 Hamilton Hills Drive
                  Chambersburg, PA 17202
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                  Josh Howell
                  130 Fox Trace Road
                  Sylva, NC 28779


                  Josh Kelly
                  4180 Georgia 138
                  Oxford, GA 30054


                  Josh Klingelhofer
                  22666 Lefever Rd
                  Maplewood, OH 45340


                  Josh Kohler
                  2869 Bullard Rd
                  Hartland, MI 48353


                  Josh Kolter
                  7509 East 600 North
                  Falmouth, IN 46127


                  Josh Kowle
                  9812 State Line Rd
                  North East, PA 16428


                  Josh Laidler
                  4127 Woodland Church Road
                  Buckingham, VA 23921


                  Josh Lange
                  5074 Sawmill Lake Rd
                  Ortonville, MI 48462


                  Josh Lightner
                  40 Connie Ln
                  Millerstown, PA 17062


                  josh Longmire
                  313 Richardson Road
                  Strasburg, VA 22657


                  Josh Luke
                  4400 Co Rd 20
                  Ada, OH 45810
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                  Josh Marks
                  586 Lodebar Estate
                  Nellysford, VA 22958


                  Josh McConkey
                  785 East Old Route 47
                  Monticello, IL 61856


                  Josh Nemec
                  6238 State Road
                  Parma, OH 44134


                  Josh New
                  67121 Oxbow Drive
                  Constantine, MI 49042


                  Josh noblitt
                  9045 U.S. 50
                  North Vernon, IN 47265


                  Josh Petty
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                  Wilmington, NC 28411


                  Josh Poe
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                  Bronson, MI 49028


                  Josh Randol
                  45798 Highway M-140
                  Covert, MI 49043


                  Josh Roach
                  125 S Bunker Hill Rd
                  German Valley, IL 61039


                  Josh Rosenbush
                  4254 Shields Street
                  Pittsburgh, PA 15207


                  Josh Rostorfer
                  2506 Wildwood Rd
                  Middletown, OH 45042
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                  Josh Rutherford
                  1862 Statehouse Court
                  Bellbrook, OH 45305


                  Josh Saling
                  9269 Mulberry Road
                  Mount Perry, OH 43760


                  Josh Sanborn
                  1827 Davis Road
                  Crown City, OH 45623


                  Josh Sattler
                  15777 Co Rd 216
                  Arcadia, OH 44804


                  Josh Schmitt
                  3466 Erwin St
                  Saginaw, MI 48604


                  Josh Shaw
                  1007 Charest Dr
                  Waterford Twp,, MI 48327


                  Josh Smith
                  23479 Rowe Road
                  Racine, OH 45771


                  Josh Starlin
                  8545 Township Rd 392 SE
                  Shawnee, OH 43782


                  Josh Strickland
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                  Glen Allen, VA 23060


                  Josh Swearer
                  128 Night Harbor Drive
                  Chapin, SC 29036


                  Josh Troski
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                  Toronto, OH 43964
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                  Josh Umberger
                  1092 Blandford Ave
                  Vinton, VA 24179


                  Josh Vierling
                  2400 Flatwoods Road
                  Corydon, IN 47112


                  Josh Walker
                  6734 4th Road
                  Bremen, IN 46506


                  Josh Watkins
                  110 South Stallion Drive
                  Cowpens, SC 29330


                  Josh Wheeler
                  14019 North 1790 East Road
                  Danville, IL 61834


                  Josh Wymard-Tomlinson
                  172 Nassau Drive
                  Pittsburgh, PA 15239


                  Joshua "Josh" Brotherton
                  22 Delphi Dr
                  Erlanger, KY 41018


                  Joshua Arnold
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                  Wyandotte, MI 48192


                  Joshua Bailey
                  2575 Township Road 40
                  Somerset, OH 43783


                  Joshua Bandur
                  10444 Davison Road
                  Davison, MI 48423


                  joshua barnhart
                  450 Walker Lane
                  Washington, PA 15301
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                  Joshua Baumer
                  303 N Hewitt Rd
                  Ypsilanti, MI 48197


                  Joshua Berry
                  118 Spruce Street
                  White Sulphur Springs, WV 24986


                  Joshua Biddle
                  4090 River Rd
                  Perry, OH 44081


                  Joshua Bowers
                  109 Braeburn Boulevard
                  Richlands, NC 28574


                  Joshua Branch
                  8176 Buck Drive
                  Cedar Hill, MO 63016


                  Joshua Braun
                  3050 Macdonald Rd
                  Port Hope, MI 48468


                  Joshua Bridges
                  6921 Short Tail Springs Road
                  Harrison, TN 37341


                  Joshua Brown
                  15092 State Highway AD
                  Dexter, MO 63841


                  Joshua Brown
                  6 Campus Avenue
                  Spring Grove, PA 17362


                  Joshua Buckmaster
                  200 Alhambra Road
                  Oak Ridge, TN 37830


                  Joshua Cagle
                  315 Joel Rd
                  Carthage, NC 28327
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                  Joshua Catalano
                  19316 Garfield st
                  Redford Charter Township, MI 48240


                  Joshua Charlton
                  101 Kelly Lane
                  Poplar Branch, NC 27965


                  Joshua Clifford
                  3006 N Michigan Rd
                  Dimondale, MI 48821


                  Joshua Copson
                  9772 James River Rd
                  Shipman, VA 22971


                  Joshua Cross
                  1005 Green Street Road
                  Centralia, IL 62801


                  Joshua Crowton
                  8851 Bartel Road
                  Columbus, MI 48063


                  Joshua Dickey
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                  Joshua Dixon
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                  Winston-Salem, NC 27127


                  Joshua Drouillard
                  12301 Halifax Rd
                  Petersburg, VA 23805


                  Joshua Dunham
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                  Joshua Edwards
                  1027 Church Street
                  Xenia, IL 62899
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                  Joshua Elsass
                  6969 pilot knob ave
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                  Joshua Emery
                  4413 Old State Rd 28
                  Frankfort, IN 46041


                  Joshua Emery Martin
                  2314 Springwater Drive
                  Gastonia, NC 28056


                  Joshua Espinal
                  7433 Davidson Street
                  Norfolk, VA 23513


                  Joshua Evans
                  2240 O'leary Rd
                  Jackson, MI 49201


                  Joshua Ferury
                  211 Bellwood dr
                  Belmont, NC 28012


                  Joshua Fisher
                  7 Triple Oak Dr
                  Candler, NC 28715


                  Joshua Gann
                  4424 Southeast Pennsylvania Avenue
                  Topeka, KS 66609


                  Joshua Garrison
                  587 U.S. 40
                  Clayton, IN 46118


                  Joshua Ginn
                  410 Major Rd
                  Piedmont, SC 29673


                  Joshua Graham
                  31879 Stevens Branch Rd
                  Londonderry, OH 43152
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                  Joshua Hamilton
                  68 Log Cabin Lane
                  Buena Vista, VA 24416


                  Joshua Hanenkratt
                  13943 Rita St 45879
                  Paulding, OH 45879


                  Joshua Hardin
                  728 S Meadow Road
                  RALEIGH, NC 27603


                  Joshua Harris
                  265 West 4th Avenue
                  Colbert, GA 30628


                  Joshua Hart
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                  Kansas City, MO 64155


                  Joshua Headworth
                  401 Mill Street
                  Farwell, MI 48622


                  Joshua Hill
                  14866 Big Spring Circle
                  Willis, TX 77378


                  Joshua Hlawnmual
                  230 Meridian Gardens Lane
                  Indianapolis, IN 46227


                  Joshua Hollinger
                  504 High Gate Circle
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                  Joshua Janus
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                  Monroe, MI 48162


                  Joshua Jensen
                  14207 Whirlaway Terrace
                  Midlothian, VA 23112
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                  Joshua Johner
                  751 Rockshire Drive
                  Herculaneum, MO 63048


                  Joshua Kimberlin
                  10578 Dewitt Rd
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                  412 E Maple St
                  Nicholasville, KY 40356


                  Joshua Kumi
                  3 Beech Tree Ct
                  Stafford, VA 22554


                  Joshua Lange
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                  Ortonville, MI 48462


                  Joshua Leach
                  115 Bannister Court
                  Danville, VA 24540


                  Joshua Lee
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                  Jacksonville, NC 28546


                  Joshua Legate
                  499 Northwest Lakesite Road
                  Maysville, MO 64469


                  Joshua Lessing
                  7641 IN-32
                  Anderson,, IN 46011


                  Joshua Lisowski
                  6026 Paisley Dr
                  North Olmsted, OH 44070
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Joshua Lott
                  148 Ladder Lane
                  Nettie, WV 26681


                  Joshua Lynn
                  809 Oak Court
                  Greenfield, IN 46140


                  Joshua Marchant
                  731 Spring Place Road NE
                  White, GA 30184


                  Joshua Marteny
                  745 Franlyn Dr
                  Dallastown, PA 17313


                  Joshua Messersmith
                  114 South Cherry Street
                  Hartford City, IN 47348


                  Joshua Minnick
                  895 Pine Glade RD
                  RUEAL RETREAT, VA 24368


                  Joshua Mounce
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                  Covington, KY 41017


                  Joshua Moyer
                  110 Lakeridge Cir
                  Troutville, VA 24175


                  Joshua Mullins
                  5713 Christmas Ln
                  Wise, VA 24293


                  Joshua Mullins
                  1151 Springfield rd
                  Williamsburg, VA 23185


                  Joshua Noland
                  8629 Althaus Rd
                  Cincinnati, OH 45247
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                  Joshua O'Neil
                  1020 Walnut St
                  Berwick, PA 18603


                  Joshua Odle
                  22 Northeast 375th Road
                  Warrensburg, MO 64093


                  Joshua Ohm
                  3793 Perrine Rd
                  Rives Junction, MI 49277


                  Joshua Powell
                  219 N Karle St
                  Westland, MI 48185


                  Joshua Robey
                  2999 Murray Rd
                  Lima, OH 45801


                  JOSHUA ROCKWELL
                  776 Denice Street
                  Westland, MI 48186


                  Joshua Rose
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                  Joshua Ross
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                  Burton, MI 48509


                  Joshua Sadler
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                  Imlay City, MI 48444


                  Joshua Salazar
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                  Church Rd, VA 23833


                  Joshua Salsgiver
                  6502 Holly Cove Ln
                  Katy, TX 77449
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                  Joshua Sassaman
                  1464 Sarah Way
                  Avon, IN 46123


                  Joshua Seitzinger
                  7502 West Raymond Run
                  Ellettsville, IN 47429


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                  1409 spring road
                  Chesapeake, VA 23321


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                  Englewood, OH 45322


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                  Joshua Smith
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                  Joshua Smith
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                  Flint, MI 48504


                  Joshua Sternall
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                  Roseville, MI 48066


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                  Orange, VA 22960


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                  Lafayette, IN 47904
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                  Indianapolis, IN 46256


                  Joshua Weaver
                  6608 Ridgerock Lane
                  Knoxville, TN 37909


                  Joshua Wells
                  156 Bear Mountain Trail
                  Helen, GA 30545


                  Joshua Wells
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                  Summerford, OH 43140


                  Joshua White
                  210 Boone Road
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                  Pink Hill, NC 28572


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                  Quaker City, OH 43773


                  Josiah Moyer
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                  Urbana, OH 43078


                  Josiah St Myers
                  754 South Wayne Street
                  Piqua, OH 45356


                  Josiane Snyder
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                  Grosse Pointe, MI 48230


                  Josias Sop
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                  Portsmouth, VA 23523


                  Josie Hendrix
                  8663 Short Cut Road
                  Ira Township, MI 48023


                  Joubert Altidort
                  124 Crescent Creek Ct
                  Greenville, SC 29605


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                  6137 Washington Avenue Southeast
                  Hubbard, OH 44425


                  Jourdan Henson
                  10985 Ohio 730
                  Blanchester, OH 45107
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                  204 Monte Carlo Drive
                  Kirksville, MO 63501


                  Jovanny McClarence
                  2059 Resting Creek drive
                  Decatur, GA 30035


                  Jovon Bryant
                  305 East Muir Avenue
                  Hazel Park, MI 48030


                  Joy Anderson
                  501 S Mill St
                  Leland,, MI 49654


                  Joy Anne
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                  Charlotte, NC 28214


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                  Chardon, OH 44024


                  Joy Bogemann
                  1848 South 200 East
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                  Joy Brady Beer
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                  Reynoldsburg, OH 43068


                  Joy Bragin
                  4823 Kinloch Ln
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                  Joy Conner
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                  Caledonia, OH 43314


                  Joy DeVries
                  14473 96th Ave
                  Lawton, MI 49065
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                  Joy Hanes
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                  Powhatan, VA 23139


                  Joy Jones
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                  Canton, MI 48187


                  Joy Kaiser
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                  Anderson, IN 46017


                  Joy Lombardi
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                  Burton, OH 44021


                  Joy Mulkern
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                  Parker, PA 16049


                  Joy Pederson
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                  Winston-Salem, NC 27106


                  Joy Santamaria
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                  Joy Sayre
                  3646 Sanford Ave
                  Stow, OH 44224


                  Joy Smith
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                  Strasburg,, VA 22657


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                  Wytheville, VA 24382


                  Joyann Smith-Ward
                  5573 Coplin St
                  Detroit, MI 48213


                  Joyce Appel
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                  East Brady, PA 16028


                  Joyce Beitel
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                  Ashtabula, OH 44004


                  Joyce Bleiweiss
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                  Rocky Mount, VA 24151


                  Joyce Brosius
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                  Wilmington,, NC 28412


                  Joyce Burton
                  9134 Roachester Cozaddale Rd
                  Pleasant Plain, OH 45162


                  Joyce Clemente
                  8315 Hudson Ave
                  Warren, MI 48089


                  Joyce Cornett
                  3246 Reed Road
                  Niangua, MO 65713
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                  Joyce Cox
                  1979 Commonwealth Road
                  Galax, VA 24333


                  Joyce Dean
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                  La Porte, IN 46350


                  Joyce Hamilton
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                  Valencia, PA 16059


                  Joyce Harrison
                  43931 Lost Corner Rd
                  Leesburg, VA 20176


                  Joyce Hicks
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                  Valdese, NC 28690


                  Joyce Hill
                  37675 Skinner Rd
                  Pomeroy, OH 45769


                  Joyce Lauderdale
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                  Chicago, IL 60643


                  Joyce Leatherwood
                  7914 COGBILL RD
                  CHESTERFIELD, VA 23832


                  Joyce Lee
                  2053 Fawn Avenue
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                  Joyce Madkins
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                  Joyce Marshman
                  22303 Constitution Highway
                  Unionville, VA 22567
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                  Resaca, GA 30735


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                  Cordova, SC 29039


                  Joyce Ott
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                  Murfreesboro, TN 37128


                  Joyce Prioleau
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                  Greenwood, SC 29649


                  Joyce Reed
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                  Horton, MI 49246


                  Joyce Shaffer
                  208 Tester Ln
                  McEwen, TN 37101


                  Joyce Shaffer
                  6734 Chestnut Oak Ln
                  Warrenton, VA 20187


                  Joyce Smith
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                  Charlotte,, MI 48813


                  Joyce Stacy
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                  Shepherd, MI 48883


                  Joyce Stephens
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                  East Fultonham, OH 43735


                  joyce tharp
                  12022 W 300 N
                  Parker City, IN 47368
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                  Asheville, NC 28803


                  Joyce Zamarron
                  5109 Lakewood Dr
                  Harrison, MI 48625


                  Joyce Zeuschner
                  1109 Prairie View Road
                  Joplin, MO 64804


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                  Special Credits Group
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                  Mail Code MI1-00MZ
                  Detroit, MI 48226


                  Jp Snider
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                  Pleasantville, OH 43148


                  JT Claytor
                  1293 Sullivan Knowles Rd
                  Sparta, TN 38583


                  Jt Porter
                  109 Taylor Avenue
                  Wheeling, WV 26003


                  Juan Alejandrez
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                  Whiteville, NC 28472


                  Juan Asenjo
                  75 Keewaydin Drive
                  Timberlake, OH 44095


                  Juan Ayala
                  1915 Powells Landing Circle
                  Woodbridge, VA 22191
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                  Charlotte, NC 28262


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                  Juan Frank
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                  Juan Fuentes
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                  Juan Garcia
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                  Juan Gutierrez
                  3313 Anne De Bourgh Dr
                  Triangle, VA 22172


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                  16339 Briarwood Ct
                  Effingham, IL 62401


                  Juan Leon
                  13586 Hannan Rd
                  Romulus, MI 48174


                  Juan Lopez
                  51229 M-43
                  Bangor, MI 49013


                  Juan Lopez
                  1366 Stewart Ave
                  Lincoln Park, MI 48146


                  Juan Martinez
                  7092 Haggerty Road
                  Hillsboro, OH 45133


                  Juan Mata
                  9626 East Napier Avenue
                  Benton Harbor, MI 49022


                  Juan Mercado
                  49 Mar-Bob Road
                  Halifax, PA 17032


                  Juan Nieves
                  2913 Burley Ridge Terrace
                  Chester, VA 23831


                  Juan Pena Mercado
                  1537 Thornsdale Drive
                  Asheboro, NC 27203


                  Juan Ponce
                  263 Arbor Dr
                  Chesterton, IN 46304
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                  Juan Reyes-Romero
                  3719 St Charles St
                  Anderson, IN 46013


                  Juan Rios
                  1811 Richmond Rd
                  Columbus, OH 43223


                  Juan Rodriguez
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                  Winston-Salem, NC 27103


                  Juan Soto
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                  Kansas City, KS 66106


                  Juan Svenningsen
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                  King George, VA 22485


                  Juan Torres
                  600 Hillcrest St
                  Hudson, NC 28638


                  Juan Vazquez
                  797 Shenandoah Drive
                  Carol Stream, IL 60188


                  Juana Garcia
                  101 Circle Drive
                  Mount Airy, NC 27030


                  Juanita Adkins
                  8895 Rum Ridge
                  Jonesboro, GA 30236


                  Juanita Campbell
                  7731 Courthouse Rd
                  Chesterfield, VA 23832


                  Juanita Linkous
                  169 Parker Lane Northwest
                  Willis, VA 24380
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                  Juanita Milner
                  944 East Co Road 1175 North
                  Farmersburg, IN 47850


                  Juanita Paciocco
                  10577 Livingston
                  Hamburg, MI 48139


                  Juanita Wood
                  2625 Henrietta Dr
                  Uniontown, OH 44685


                  Juany Mandujano
                  777 Jefferson Drive
                  Palmyra, VA 22963


                  Juanzia Dewalt
                  3438 Sargeant Drive
                  Charlotte, NC 28217


                  Jud Carnes
                  8973 Licking Trails Road
                  Thornville, OH 43076


                  Judah Weber
                  47144 Forton Drive
                  New Baltimore, MI 48047


                  Judd Daigneau
                  52161 Woodsedge Drive
                  Granger, IN 46530


                  Judd Kozikowski
                  3752 Moss Rose Dr
                  Nashville, TN 37216


                  Judd Pendred
                  1435 East Oakwood Terrace
                  Midland, MI 48640


                  Judd Sehn
                  3275 Le Valley Rd
                  Columbiaville, MI 48421
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                  Jude Jewell
                  748 West 9th Street
                  Rochester, IN 46975


                  Judi Latham
                  364 Cedar View Cir
                  Mineral, VA 23117


                  Judi Melich
                  6600 Shepler Church Avenue Southwest
                  Navarre, OH 44662


                  Judie Schiel
                  2583 Ionia St
                  Crystal, MI 48818


                  Judith "Annette" Schoemaker
                  20405 Main Street
                  Buchanan, VA 24066


                  Judith Booker
                  19280 Berden Street
                  Harper Woods, MI 48225


                  Judith Brandt
                  1 Sharp Ridge Road
                  Catawissa, PA 17820


                  Judith Broadbent
                  1848 Sawgrass Ln
                  Chapel Hill, TN 37034


                  Judith Carpenter
                  3440 Sharon View Road
                  Charlotte, NC 28210


                  Judith Crepps
                  344 Shumate Lane
                  Bardstown, KY 40004


                  Judith Dotts
                  3950 Willowmeade Drive
                  Snellville, GA 30039
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                  Judith Fick
                  6601 N 1st Trail
                  North Webster, IN 46555


                  Judith Gentner
                  8660 Bomiea Rd
                  Berlin, MI 48166


                  Judith Haddox
                  165 Nye Rd
                  Waverly, OH 45690


                  Judith Hatfield
                  7855 High St
                  Adamsville,, OH 43802


                  Judith Jensen
                  1000 Woodglen Lane
                  Matthews, NC 28104


                  Judith Jones
                  18701 St. Marys Street
                  Detroit, MI 48235


                  Judith Jones
                  401 Grassy Creek Rd
                  Tuckasegee, NC 28783


                  Judith Littrell
                  8260 Monn Dr
                  Waynesboro, PA 17268


                  Judith Mendez
                  4877 Meadowlark Ln
                  Sealy, TX 77474


                  Judith Meno
                  413 Holland Avenue
                  Port Huron, MI 48060


                  Judith Moore
                  9010 North 250 East
                  Morristown, IN 46161
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                  Judith Sampson
                  4480 Rabidue Road
                  North Street, MI 48049


                  Judith Scherer
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                  Winston-Salem, NC 27103


                  Judith Schuller
                  339 Kope-Kon Point
                  Coldwater, MI 49036


                  Judith Smith
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                  Wilmington, NC 28412


                  Judith Tompkins
                  805 North Hickory Ridge Road
                  Highland Charter Township, MI 48357


                  Judith Warner
                  3400 West Maple Grove Road
                  Farwell, MI 48622


                  Judy Adcock
                  3215 Ivy Point Road
                  Goodlettsville, TN 37072


                  Judy Bledsoe
                  1544 Berry Hill Rd
                  Danville, VA 24541


                  Judy Blevins
                  5929 Ripshin Road
                  Troutdale, VA 24378


                  Judy bouck
                  325 Orchard St
                  Mayville,, MI 48744


                  Judy Connor
                  635 Legend Court Southwest
                  Atlanta, GA 30331
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                  Judy Custer
                  5409 Bedford Valley Rd
                  Bedford, PA 15522


                  Judy Dean
                  117 Phillips Landing Dr
                  Morehead City, NC 28557


                  Judy Gauldin
                  210 Dodson Rd
                  Mebane, NC 27302


                  Judy Grimes
                  9959 Grimes St.
                  Defiance, OH 43512


                  Judy Grimm
                  140 Jocelynn Ln
                  Smithfield, PA 15478


                  Judy Hannum
                  1631 E 500 S
                  Crawfordsville, IN 47933


                  Judy Helms
                  5884 Winebarger St
                  Conover, NC 28613


                  Judy Hodgesmith
                  67 County Road PP-2
                  Saint Elizabeth, MO 65075


                  Judy Hoehn
                  518 Scenic Cir
                  Wilmington, NC 28411


                  Judy Holmes
                  50 Marsh Place Rd
                  Trenton, SC 29847


                  Judy Hopkins
                  175 Beck Road
                  Salisbury, NC 28144
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                  Judy Howard-Mack
                  215 Alice Street
                  East Palestine, OH 44413


                  Judy Huston
                  10411 State Road
                  Rives Junction, MI 49277


                  Judy Jenney
                  7675 Croton Road
                  Johnstown, OH 43031


                  Judy Klusman
                  115 Maupin Ave
                  Salisbury, NC 28144


                  Judy Koos
                  6432 Argyle st
                  Dearborn, MI 48126


                  Judy Kopp
                  1510 College Avenue
                  Vincennes, IN 47591


                  Judy Lewis
                  131 Princeton Rd
                  Princeton, NC 27569


                  Judy Lynn
                  12715 N Egypt Shore Drive
                  Creal Springs, IL 62917


                  Judy Melin
                  6690 Lorne Drive
                  Pentwater, MI 49449


                  Judy Merrell
                  110 Haag Drive
                  Warner Robins, GA 31093


                  Judy Metcalfe
                  509 4th Street
                  Ellwood City, PA 16117
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                  Judy OConner
                  715 Wayne Avenue
                  Kennett Square, PA 19348


                  Judy Powell
                  227 E D Ave
                  Kalamazoo, MI 49009


                  Judy Pryor
                  1025 Hanford Rd
                  Graham, NC 27253


                  Judy Rafeld
                  1645 Township Road 1153
                  Ashland, OH 44805


                  Judy Riboni
                  50572 Hedgewood Ct
                  Granger,, IN 46530


                  Judy Rivera
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                  Clayton, NC 27520


                  Judy Robinson
                  1369 Kison Court Northwest
                  Concord, NC 28027


                  Judy Robinson
                  17153 Hunkadora Road
                  Caldwell, OH 43724


                  Judy Ross
                  2140 Gwyn Rd
                  Burlington, NC 27217


                  Judy Schall
                  345 Dutch Rd
                  Harmony, PA 16037


                  Judy Scott
                  5021 South Jefferson Street
                  Oakland City, IN 47660
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                  Judy Skinner
                  5485 118th Ave
                  Fennville, MI 49408


                  Judy Stiltner
                  63 Angel Street
                  Cleveland, VA 24225


                  Judy Thomas
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                  Arcola, IL 61910


                  Judy Webster
                  4597 Smith Rd
                  Smiths Creek, MI 48074


                  Judy Westra
                  12218 Appletree Dr
                  Plymouth, MI 48170


                  Judy Wiandt
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                  North Canton, OH 44720


                  Judy Zeimer
                  6264 True Vine Rd
                  Glade Hill, VA 24092


                  Juetta Potter
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                  Mount Vernon, KY 40456


                  Juilianne Myers
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                  Wagener, SC 29164


                  Jukie Leary
                  2507 South Carolina 248
                  Ninety Six, SC 29666


                  Jule Hogan
                  2965 Pierce Road
                  Mio, MI 48647
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                  jules Adams
                  7122 Oran Drive Southeast
                  Grand Rapids, MI 49546


                  Jules Jakubczak
                  10306 Stone Rd
                  Valley View, OH 44125


                  Juli McGlinchey
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                  Grove City, OH 43123


                  Julia Arline
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                  Suffolk, VA 23434


                  Julia Balsiger
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                  Sumter, SC 29154


                  Julia Bowers
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                  Martinsburg, PA 16662


                  Julia Branson
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                  Indianapolis, IN 46239


                  Julia Ceglarski
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                  Marion, NC 28752


                  Julia Chamberlain
                  2797 West Bellevue Road
                  Leslie, MI 49251


                  Julia Coffman
                  1050 Garth Rd
                  Stanardsville, VA 22973


                  Julia Cusimano
                  6516 Old Rte 42 Rd
                  South Charleston, OH 45368
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                  Julia Diamond
                  1655 Crooked Ln
                  Coraopolis, PA 15108


                  Julia Dillon
                  130 Daisy Hill Ln
                  Fredericksburg, VA 22405


                  Julia Fuller
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                  Julia Hutchinson
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                  Julia Kaseman
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                  richland, MI 49083


                  Julia Knott
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                  Seymour, IN 47274


                  Julia McDonald
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                  Julia Moore
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                  Moore, SC 29369


                  Julia Price Allison
                  10035 Deer Wood Dr
                  Joplin, MO 64804
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                  Julia Randall
                  1419 Firwood Dr
                  Columbus, OH 43229


                  Julian
                  515 Chantry Ln
                  Moore, SC 29369


                  Julian Almeida
                  5211 Pennsylvania 873
                  Schnecksville, PA 18078


                  Julian Ant n Marte
                  32 Riddle Road
                  Cincinnati, OH 45215


                  Julian Bradbery
                  217 yorkshire Lane
                  Wi, NC 28409


                  Julian Jennings
                  135 Lakeside Dr
                  Ellenwood, GA 30294


                  Julian Jobe
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                  Belleville,, MI 48111


                  julian lupercio
                  232 Olive St
                  Cromwell,, IN 46732


                  Julian Magana
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                  Charlotte, NC 28270


                  Julian Martin
                  3 Martin Valley Road
                  Swannanoa, NC 28778


                  Julian Pawlowski
                  1934 Co Rd 262
                  Advance, MO 63730
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                  Julian Seaton
                  9705 Kenneth Oren Dr
                  Charlotte, NC 28213


                  Julian Subanney
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                  Dugspur, VA 24325


                  Julian Taylor
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                  Selmer, TN 38375


                  Julian Wade
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                  Detroit, MI 48205


                  Julian Woods
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                  Havelock, NC 28532


                  Juliana Obi Wilson
                  1304 Old Trail Rd
                  Leesburg, PA 18411


                  Juliann Winfr
                  123 Sealock Drive
                  Front Royal, VA 22630


                  Julianna Davis
                  214 N Maple St
                  LaGrange, IN 46761


                  Julianne Phillips
                  2100 Old Columbus Rd
                  London, OH 43140


                  Julie Aagard
                  5763 Privilege Drive
                  Hilliard, OH 43026


                  Julie Agostoni
                  134 Main Street
                  New Eagle, PA 15067
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                  Julie Arias
                  1416 Fieldstone Drive
                  Dayton, OH 45414


                  Julie Bransky Warshawsky
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                  Julie Brown
                  25969 Dover
                  Redford Charter Township, MI 48239


                  Julie Bryant
                  4017 Ridge Crest Drive
                  Barnhart, MO 63012


                  Julie Bumgardner
                  116 Lucent Ln
                  Mooresville, NC 28117


                  Julie Burgett
                  4297 Ohio 775
                  Proctorville, OH 45669


                  Julie Collins
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                  Fairmont, NC 28340


                  Julie Dice
                  404 Kleiner Ct
                  Cheswick, PA 15024


                  Julie Dinerman-Plunkett
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                  Indian Trail, NC 28079


                  Julie Doneen
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                  Metamora, MI 48455


                  Julie France
                  1407 Greenhouse Rd
                  Bangor, MI 49013
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Julie Green
                  154 Forest Bluff Drive
                  Jacksonville, NC 28540


                  Julie Gunter
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                  Pottersville, MO 65790


                  Julie Hanson
                  35150 Palmer Rd
                  Westland,, MI 48186


                  Julie Hart
                  212 Lorri Lane
                  Point Pleasant, WV 25550


                  Julie Hendon
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                  Brevard, NC 28712


                  Julie Hernandez
                  127 Coltons Way
                  Penrose, NC 28766


                  Julie Higgins
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                  Jefferson, OH 44047


                  Julie Kosmala
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                  Glendale Heights, IL 60139


                  Julie L. Johnson
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                  Brookville, PA 15825


                  Julie LaFray
                  9271 W Burt Rd
                  Saint Charles, MI 48655


                  Julie Light
                  3249 Somerset Street Southwest
                  Roanoke, VA 24014
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Julie Longway
                  4890 Wheat Dr
                  Lowell,, MI 49331


                  Julie Maney
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                  Westfield, NC 27053


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                  Pittsburgh, PA 15201


                  Julie Morgan
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                  Lilburn, GA 30047


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                  Rockingham, NC 28379


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                  Carson City, MI 48811


                  Julie Offenbacker
                  2564 Honey Run Rd
                  Dayton, VA 22821


                  Julie Oliveros
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                  Brunswick, OH 44212


                  Julie Ongena-Wiles
                  29396 Jennifer Dr
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                  Julie Palagyi
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                  West Chester Township, OH 45069


                  Julie Parkey
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                  Blacklick, OH 43004
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Julie Parks
                  4095 Craver Land Rd
                  Clemmons, NC 27012


                  Julie Reincke
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                  Eaton Rapids, MI 48827


                  Julie Reinhardt
                  44303 Township RD 469
                  Woodsfield, OH 43793


                  Julie Richardson
                  3342 North Branch Road
                  North Branch, MI 48461


                  Julie Riggins
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                  Winston-Salem, NC 27107


                  Julie Shoemaker
                  1569 Folly Rd
                  Hendersonville, NC 28739


                  Julie Stahlman
                  18770 Brenneman Road
                  Dundee, OH 44624


                  Julie Stenske
                  2000 Rock Way
                  Lansing, MI 48910


                  Julie Tetrault
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                  Raleigh, NC 27613


                  Julie Wall
                  14201 Private Drive 3662
                  Savannah, MO 64485


                  Julie Weaver
                  4570 W Hibbard Rd
                  Owosso,, MI 48867
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Julie Winsor
                  9628 Lakeview Ct
                  Perrinton, MI 48871


                  Julie Young
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                  Greenfield, IN 46140


                  Julie Zeager
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                  new london, OH 44889


                  Juliet Jones
                  2321 Hillborn Rd
                  Erie, PA 16509


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                  Julio rdonez
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                  Humble, TX 77338


                  Julio A Fajardo Franco
                  2957 gaffney Rd
                  N Chesterfld, VA 23237


                  Julio Battistini
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                  Salem, VA 24153


                  Julio Diehl
                  1129 Fox Rd
                  Jackson, MI 49201


                  Julio Montanez
                  121 Planters Place
                  Goldsboro, NC 27530


                  Julio Pando
                  2595 Griffith Road
                  Winston-Salem, NC 27103
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                  Julio Villeda
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                  Julius Besser
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                  Memphis, TN 38120


                  Julius Conway
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                  Julius Faile
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                  Kershaw, SC 29067


                  Julius Guinto
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                  Belleville, MI 48111


                  Julius Hawkins
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                  VA Beach, VA 23452


                  Julius McNeill
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                  Hephzibah, GA 30815


                  Junction Climate Control, Inc
                  1103 Freeport Rd
                  Cheswick, PA 15024


                  June Brandes
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                  Cincinnati, OH 45244


                  June Bruske
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                  Evart, MI 49631


                  June Comer-Surface
                  1183 Comer Ln
                  Bedford, VA 24523
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                  June Cull
                  16236 Durand Road
                  Durand, IL 61024


                  June Green
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                  Staunton, VA 24401


                  June Moser
                  1250 Whitmoyer Road
                  Watsontown, PA 17777


                  June Mudd
                  3501 Eminence
                  ST LOUIS, MO 63114


                  June Nace
                  2800 Longtown Road
                  Ridgeway, SC 29130


                  June Phillips
                  14188 Center Road
                  Clio, MI 48420


                  June Slabach
                  6990 Crestline Rd
                  Crestline, OH 44827


                  June Vann
                  1017 North Yaupon Terrace,
                  Morehead, NC 28557


                  June Zubrenic
                  120 North Oakwood Drive
                  Griffith, IN 46319


                  Junie Auguste
                  1762 Dunbarton Dr
                  Lithonia, GA 30058


                  Junior Adkins
                  107 Evans Trail
                  Randleman, NC 27317
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                  Junior Beason
                  626 Vaughan Dr
                  Hampton, GA 30228


                  Junior Yoder
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                  Lakeville, OH 44638


                  Justa Linares
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                  Buford, GA 30519


                  Justice Barber
                  3942 Missouri 94
                  Saint Charles, MO 63301


                  Justin Adams
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                  Centerburg, OH 43011


                  Justin Albert
                  357 E Evergreen Rd
                  Lebanon, PA 17042


                  Justin All
                  16132 Brunswick Drive
                  Goshen, IN 46526


                  Justin Amos
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                  Monroe, NC 28110


                  Justin Anderson
                  7242 Childsdale Avenue Northeast
                  Rockford, MI 49341


                  Justin Badat
                  3118 Waldo-Fulton Road
                  Waldo, OH 43356


                  Justin Bailey
                  7695 County Rd 428
                  Fulton, MO 65251
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                  Justin Bailey
                  1799 Southampton Road
                  Wakefield, VA 23888


                  Justin Begarek
                  425 Appaloosa Trail
                  Chesapeake, VA 23323


                  Justin Berg
                  1137 Glendale Road
                  Galax, VA 24333


                  Justin Bonuke
                  2305 Penarth Ct
                  Zebulon, NC 27597


                  Justin Bruce
                  9006 Township Road 1040
                  Big Prairie, OH 44611


                  Justin Campbell
                  10101 U.S. 40
                  Terre Haute, IN 47803


                  Justin Carr
                  2907 Iroquois Drive
                  Oregon, OH 43616


                  Justin chisum
                  616 Jewell Avenue
                  Portsmouth, VA 23701


                  Justin Chittum
                  105 Overlook Ave
                  Mt Sidney, VA 24467


                  Justin Cooke
                  9 Seabrook Point Drive
                  Seabrook, SC 29940


                  Justin Cosgrove
                  4830 lorwood
                  Kimball, MI 48074
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Justin Cowley
                  294 Westmont Ln
                  Charleston, WV 25320


                  Justin Daley
                  223 Little Pond Road
                  Big Rock, TN 37023


                  Justin Davis
                  1714 3 Mile Rd
                  Walterboro, SC 29488


                  Justin Debraska
                  113 Berkshire Drive
                  Havelock, NC 28532


                  Justin Dempich
                  13775 Spruce Street
                  Southgate, MI 48195


                  Justin Derush
                  259 N Vernon Ave
                  Newark,, OH 43055


                  Justin Detweiler
                  430 Locust St,
                  Wrightsville, PA 17368


                  Justin Doty
                  133 Nassau Drive
                  Pittsburgh, PA 15239


                  Justin Drouillard
                  9562 Cardwell Street
                  Livonia, MI 48150


                  Justin Duran
                  1287 Co Rd 305
                  Palacios, TX 77465


                  Justin Evans
                  655 Wall Rd
                  Cunningham, TN 37052
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Justin Figert
                  1470 Dutch John Rd
                  Scott, OH 45886


                  Justin Fitzgerald
                  41 Winchester Drive
                  Euharlee, GA 30145


                  Justin Gainey
                  101 E Point Estates Rd
                  Knotts Island, NC 27950


                  Justin Genson
                  4114 The Lake Rd
                  Clintwood, VA 24228


                  Justin Gilmore
                  101 Manchester Court
                  Virginia Beach, VA 23430


                  Justin Gorka
                  5714 Rawlings Road
                  Needville, TX 77461


                  Justin Greer
                  2038 East Virginia Street
                  Evansville, IN 47711


                  Justin Gregory
                  227 Selah Drive
                  Rockingham, NC 28379


                  Justin hackney
                  9581 Barkers Ridge Road
                  Milton, WV 25541


                  Justin Hagerty
                  609 Iris Lane
                  Virginia Beach, VA 23462


                  Justin Hall
                  14938 A Drive North
                  Marshall, MI 49068
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                  Justin Hardcastle
                  3505 Dresden Rd
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                  Justin Helms
                  629 Sydenham Blvd
                  Chesapeake, VA 23322


                  Justin Henderson
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                  Cowpens, SC 29330


                  Justin Hessler
                  73443 Hidden Creek Lane
                  Bruce Township, MI 48065


                  Justin Hickey
                  8206 Devonwood Lane
                  Houston, TX 77070


                  Justin Hutchcraft
                  8503 County Road 659
                  Dexter, MO 63841


                  Justin Kazulen
                  329 Baldwin Hollow Rd
                  Graysville, PA 15337


                  Justin Kennington
                  1963 State Rd S-29-726
                  Lancaster, SC 29720


                  justin knight
                  808 SE 6th St
                  evansville, IN 47713


                  Justin Knouf
                  1763 Ford City Rd
                  Kittanning, PA 16201


                  Justin Koch
                  3850 Caldwell Rd
                  Newton, NC 28658
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                  Justin Ku
                  270 Clifty Creek Road
                  Paris, TN 38242


                  Justin Kuruc
                  1889 Fairhill Rd
                  allison park, PA 15101


                  Justin LaBove
                  5050 Brittini Court
                  Beaumont, TX 77708


                  JUSTIN LADRA
                  38435 Long Street
                  Harrison charter Township, MI 48045


                  Justin LaRiche
                  12499 Township Road 45
                  Findlay, OH 45840


                  Justin LeBlanc
                  4 Blowing Ridge Ln
                  Sylva, NC 28779


                  Justin Lee
                  1931 Dupont Road
                  Seymour, TN 37865


                  Justin Lightner
                  2023 Dayton Germantown Pike
                  Germantown, OH 45327


                  Justin Lindsay
                  5304 East Raymond Street
                  Indianapolis, IN 46203


                  Justin London
                  545 Camelot Ln
                  Pigeon, MI 48755


                  Justin LucasSmall
                  153 Short St
                  bastrop, TX 78602
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                  Justin Marshall
                  36 Rowland Ave
                  Winchester, KY 40391


                  Justin Martin
                  1103 Fernwood Drive
                  Orange, TX 77632


                  Justin McDowell
                  22025 Rosemary Street
                  St. Clair Shores, MI 48081


                  Justin McGhee
                  1306 West Chilhowie Street
                  Marion, VA 24354


                  Justin McKown
                  1312 Mallory Ct
                  Huntington, WV 25701


                  Justin Melton
                  4280 King Harmon Lane
                  Pulaski, VA 24301


                  Justin Mendoza
                  406 Parkdale Boulevard
                  Parchment, MI 49004


                  Justin Meredith
                  496 Longwell Road
                  Brockway, PA 15824


                  Justin Miller
                  1010 Gray Squirrel Drive
                  Pendleton, IN 46064


                  Justin Moore
                  17981 The Glebe Lane
                  Charles City, VA 23030


                  Justin Morgan
                  2864 North Street
                  Forksville, PA 18616
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                  Justin Mosby
                  1301 Madison Street
                  Radford, VA 24141


                  Justin Nelson
                  4401 Minor Hill Rd
                  Ashland, MO 65010


                  Justin Packer
                  1719 Rebecca Ln
                  Conroe, TX 77301


                  Justin Perry
                  17020 Heiser rd
                  Berlin Center ,, OH 44401


                  Justin Petty
                  1450 Harness Road
                  Festus, MO 63028


                  Justin Pollitt
                  514 South Main Street
                  Winchester, IN 47394


                  Justin Ponder
                  24 Wright lane
                  Greenville, VA 24440


                  Justin Pope
                  250 Greendale Drive Exn
                  Mount Holly, NC 28120


                  Justin Prescott
                  26 Slack Hollow Road
                  Eldred, PA 16731


                  Justin Ray
                  1100 Bennett Way
                  Chesapeake, VA 23322


                  Justin ray
                  711 South Ruffner Road
                  Charleston, WV 25314
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                  Justin Rhorer
                  755 Greenhills Rd
                  Irwin, PA 15642


                  Justin Rice
                  221 Griggs Rd
                  Old Fort, NC 28762


                  Justin Rich
                  7421 Private Rd 2011
                  West Plains, MO 65775


                  Justin Robinson
                  4320 S Loomis Rd
                  Shepherd, MI 48883


                  Justin Roupe
                  1910 Bradyville Pike
                  Murfreesboro, TN 37130


                  Justin Rozwat
                  117 Redwood Avenue
                  Johnstown, PA 15905


                  Justin Ruffing
                  12 Locust St
                  Attica, OH 44807


                  Justin Ryan
                  3605 Starlighter Drive
                  Virginia Beach, VA 23452


                  Justin Schenck
                  440 Cherokee Drive
                  Butler, PA 16001


                  Justin Scherer
                  14731 330th Rd
                  Atchison, KS 66002


                  Justin Scheretie
                  30325 Copperfield Cove
                  Granger, IN 46530
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                  Justin Scott
                  72375 Joseph Drive
                  Milford, IN 46542


                  Justin Sextin
                  203 Ferncliff Rd.
                  Louisa, VA 23093


                  Justin Shipe
                  5 Whitestone Ln
                  Kennett Square, PA 19348


                  Justin Shipley
                  302 Roanoke Drive
                  Warrenton, MO 63383


                  Justin Sloan
                  1037 Dobbins Mill Rd,
                  Elkin, NC 28621


                  Justin Small
                  4125 Dog Legg Dr
                  Cohutta, GA 30710


                  Justin Sofio
                  575 County Road 42
                  Toronto, OH 43964


                  Justin Spiekerman
                  12138 Vienna Rd
                  Montrose, MI 48457


                  Justin Swift
                  7438 Davidson Street
                  Norfolk, VA 23513


                  Justin Thomas
                  11501 Leslie Rd
                  Lisbon, OH 44432


                  Justin Thompson
                  25 Clay Rd
                  Statesboro, GA 30461
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                  Justin Thompson
                  180 County Road 2299
                  Cleveland, TX 77327


                  Justin Umbright
                  6652 Lindenwood Place
                  St. Louis, MO 63109


                  Justin walters
                  7988 Crow Rd
                  Zionsville, PA 18092


                  Justin Ward
                  219 Will Hambrick Rd
                  Cleveland, GA 30528


                  Justin Whiteside
                  3031 Kenrick Street
                  Keego Harbor, MI 48320


                  Justin Williams
                  14607 Boydton Plank Rd
                  Warfield, VA 23889


                  Justin Woodruff
                  7076 West 725 North
                  Delphi, IN 46923


                  Justin Youvan
                  8642 W 400 N
                  Rochester, IN 46975


                  Justine Kalezi
                  409 Oak View Drive
                  Middleville, MI 49333


                  Juston Williams
                  8235 US-35
                  Williamsburg, IN 47393


                  Justun Corfield
                  163 Seavey Road
                  Etna, PA 15223
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                  Justyn Burgess
                  3016 Plantation Glen Dr
                  Zebulon, NC 27597


                  Justyn Phelps
                  185 Annie Lee Rd
                  Henderson, NC 27537


                  Juvencio Herrera
                  1215 Opal Cir
                  Lawrenceville, GA 30043


                  Juwain Miner
                  560 Tennessee Street
                  Detroit, MI 48215


                  Jyoti Patel
                  764 Tuckborough Street
                  Greer, SC 29651


                  K Smith
                  770 North Canada Road
                  Bailey, MI 49303


                  K Sulli
                  4579 Old Stage Rd
                  Kingsport, TN 37664


                  Ka Chanthavong
                  809 Hawthorne Rd
                  Findlay, OH 45840


                  Kacee Mckenzey
                  6929 Upper Craigs Creek Road
                  New Castle, VA 24070


                  Kaci Wagle
                  1937 Garringer Road
                  Jamestown, OH 45335


                  Kaci Weiss
                  204 Academy St
                  Gatesville, NC 27938
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                  Kaden Konen
                  40698 Oakland Court
                  Clinton Township, MI 48038


                  Kae Poole
                  85604 23rd Street
                  Schoolcraft, MI 49087


                  Kaeleb Grissom
                  115 East 16th Street
                  Georgetown, IL 61846


                  Kaeron Garraway
                  3166 Hamlet Dr
                  Tobyhanna, PA 18466


                  Kai Bechmann
                  6761 W 800 N
                  McCordsville, IN 46055


                  Kai Zhang
                  179 Ridgetop DR
                  Weyers Cave, VA 24486


                  Kailey Kimbrell
                  361 West Church Street
                  Cowpens, SC 29330


                  Kailyn Lyn Thomas
                  5 Williams Drive
                  West Newton, PA 15089


                  Kaitlin Sutherland
                  6421 Issak Walton League Road
                  Hiwassee, VA 24347


                  Kaitlyn Federkeil
                  5117 Stockyard Loop
                  Myrtle Beach, SC 29588


                  Kaitlyn Figueroa
                  2065 North Old Trail
                  Selinsgrove, PA 17870
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                  Kaitlyn Smart
                  14854 Lee Road
                  Danville, IL 61834


                  Kaja Enterprises, LLC: Interpower Induct
                  3578 Michigan 53
                  Almont, MI 48003


                  Kaleb Butts
                  1722 Blue Jay Rd Heath, OH 43056
                  Heath, OH 43056


                  Kaleb Cunningham
                  1775 N Cambridge Rd
                  Cambridge City, IN 47327


                  Kaleb Reid
                  1112 Weatherly Drive
                  Bryan, TX 77803


                  Kali Sedak
                  19440 69th St
                  South Haven, MI 49090


                  Kallan Dahn
                  7504 North Ardmore Lane
                  Jackson, MI 49201


                  Kallie Dzubak
                  2673 Cedar Hill Rd SW
                  Amanda, OH 43102


                  Kalvin Kurtz
                  31049 Old Plank Rd
                  Locust Grove, VA 22508


                  Kameron Collins
                  167 Overland Trail
                  Stoneville, NC 27048


                  Kameron Ford
                  758 Riverside Dr NW
                  Calhoun, GA 30701
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                  Kameron Leitzel
                  210 Melody Lane
                  Lock Haven, PA 17745


                  Kami Jordy
                  350 Widewater Road
                  Stafford, VA 22554


                  Kamia Rider
                  1141 S Elm St
                  West Carroltton, OH 45449


                  Kamps Wood Shavings & Refuse Disposal
                  280 Bliss Drive Sw
                  Grandville, MI 49418


                  Kandace Beaman
                  9898 2 Mile Road Northeast
                  Lowell, MI 49331


                  Kandi Schlemmer
                  2203 Manlyn Road
                  Richmond, VA 23229


                  Kandi Snyder
                  3816 Planters Trl
                  Hillsborough, NC 27278


                  kandia allen
                  30655 Lorraine Avenue
                  Warren, MI 48093


                  Kandice Smith
                  303 County Road 144
                  Marble Falls, TX 78654


                  Kandy Loehr
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                  Branson, MO 65616


                  Kansas Department of Revenue
                  PO Box 750250
                  Topeka, KS 66699-0260
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                  Kapeel Shewnarain
                  171 Birchwood Rd
                  Blakeslee, PA 18610


                  Kara Backer
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                  Knoxville, TN 37914


                  Kara Bond
                  1207 28th Street Northeast
                  Canton, OH 44714


                  Kara Davis
                  3674 Brooks Rd
                  Brown City, MI 48416


                  Kara Eagen
                  319 Mitteer Lane
                  Stockbridge, MI 49285


                  Kara Evans
                  2817 Kentshire Place
                  Apex, NC 27523


                  Kara Gordon
                  139 Renee Road
                  Dover, TN 37058


                  Kara McCormick
                  153 Hide-A-Way Hills Rd.
                  Bremen, OH 43107


                  Kara Menckowski
                  12000 Hudgens Road
                  Marion, IL 62959


                  Kara Partridge
                  20925 Co Rd 306
                  Saint Joseph, MO 64505


                  Kara Rittenhouse
                  5626 Reardon Ln
                  Woodbridge, VA 22193
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                  Karalyn Sechrist
                  9408 Morris Drive
                  Harrison, OH 45030


                  Karan Cerutti
                  4404 Tarpon Ln
                  Alexandria, VA 22309


                  Kareem Phillips
                  113 Civil Ct
                  Suffolk, VA 23434


                  Kareem Rogers
                  16 Crescent Avenue
                  Sumter, SC 29150


                  Kareen Lherisson
                  64 Ashburn Lane
                  Fredericksburg, VA 22406


                  Karen Akers
                  510 Caudill Branch
                  Sitka, KY 41255


                  Karen Andrews
                  22479 Airline Road
                  Sturgis, MI 49091


                  Karen Arny
                  416 Knoll Circle
                  Greenville, NC 27858


                  Karen Baird
                  30284 Jacksonburg Road
                  Leonidas, MI 49066


                  Karen Balser
                  2035 Jacobs Run Rd
                  New Richmond, OH 45157


                  Karen Bamberger
                  130 Maury Mill Road
                  Verona, VA 24482
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                  Karen Boswell
                  55 Eason Avenue
                  Highland Park, MI 48203


                  Karen Brown
                  241 Majestic Way
                  Clarkesville, GA 30523


                  Karen Brown
                  11135 75th Avenue
                  Mecosta, MI 49332


                  Karen Buckley
                  3737 Taylor st
                  Norton shores, MI 49444


                  Karen Butler
                  3106 Weaver Ln
                  Lafayette, IN 47909


                  Karen Carey
                  505 Cartwright Avenue
                  Ashton, IL 61006


                  Karen Cataline
                  427 Bates St.
                  Jackson,, MI 49202


                  karen chapman
                  5865 Mink St Sw
                  pataskala, OH 43062


                  Karen Christopher
                  5620 Crystal Hill
                  Stone Mountain, GA 30088


                  Karen Cole
                  1407 S Delaney Rd
                  Owosso, MI 48867


                  Karen Collier Gentry
                  908 5th Street West
                  Scott City, MO 63780
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                  Karen Crawford
                  5777 North Broadway Street
                  Freeport, MI 49325


                  Karen Crawford
                  809 Washburn Switch Rd
                  Shelby, NC 28150


                  Karen Crites
                  2621 Grandview Avenue
                  Alton, IL 62002


                  Karen Dahmer
                  162 Friends Ave
                  Sidman, PA 15955


                  Karen Davis
                  121 South Driver Street
                  Durham, NC 27703


                  Karen Dedow
                  3 Ruth Circle
                  Hampton, VA 23666


                  Karen Drummond
                  130 W Old Glencoe Rd
                  Burlington, NC 27217


                  Karen Evans
                  4041 Ravine Gap Dr
                  Suffolk, VA 23434


                  Karen Ferguson
                  2343 Audrey Dr
                  Newark, OH 43055


                  Karen Fibers
                  144 Scottland Dr
                  Chillicothe, OH 45601


                  Karen Ficacci
                  5170 Oakcrest Ave
                  Youngstown, OH 44515
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Karen Finley
                  2244 Owens Ave
                  Groves, TX 77619


                  Karen Fritz
                  544 River Bend Park Lane
                  Saint Clair, MO 63077


                  Karen Fulp
                  4139 E 1300 N
                  Syracuse, IN 46567


                  Karen Gankosky
                  3151 Stevenson Hill Rd
                  Reynoldsville, PA 15851


                  Karen Gerow
                  30248 Marr Street
                  Rockwood, MI 48173


                  Karen Gibson
                  11 Bradshaw Drive
                  Cedartown, GA 30125


                  Karen Golden
                  209 E Wardlow Rd
                  Highland Charter Twp, MI 48356


                  Karen Green
                  874 Red Bank Rd.
                  Walterboro, SC 29488


                  Karen Hanson
                  924 Waterford Dr
                  Chesapeake, VA 23322


                  Karen Heacock
                  843 Dragon Shores Dr
                  Coldwater, MI 49036


                  Karen Hegner
                  1410 Winterfield Pl
                  Midlothian, VA 23113
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                  Karen Hicks
                  706 Tick Ridge Road
                  Vincent, OH 45784


                  Karen Holland
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                  Newark, OH 43055


                  Karen Humphries Davis
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                  Durham, NC 27703


                  Karen Jacobs
                  316 Tobias Court
                  Jasper, TN 37347


                  Karen Janssen
                  2109 Clark Drive
                  Richmond, KY 40475


                  karen jennings
                  4900 Sharon Hill Drive
                  Columbus, OH 43235


                  karen Johnson
                  86 Liberty Street
                  Butler, OH 44822


                  Karen Kaminski
                  4803 Chevy Ln
                  Buchanan, MI 49107


                  Karen Knapp
                  9173 Sherrills Ford Road
                  Sherrills Ford, NC 28682


                  Karen Kremer
                  1240 pump station ed
                  Sugar grove, OH 43155


                  Karen Kruse
                  8320 Schleppi Rd
                  Westerville, OH 43081
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Karen Larwin
                  14601 Seacrist Road
                  Salem, OH 44460


                  Karen Lewis
                  11789 Achille Drive
                  Painesville, OH 44077


                  Karen Lis
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                  Lexington, MI 48450


                  Karen Livingston
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                  Hendersonville, NC 28739


                  Karen Lucka-Beristain
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                  Virginia Beach, VA 23454


                  KAREN MANN
                  52777 34th Ave
                  Bangor, MI 49013


                  Karen Martin
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                  Jefferson, OH 44047


                  Karen Marusa
                  5058 Tunnelton Road
                  Saltsburg, PA 15681


                  Karen McFarland
                  8280 Stoutsville Pike
                  Circleville, OH 43113


                  Karen McIntyre
                  50 East Maple Street
                  Johnstown, OH 43031


                  Karen Miller
                  2845 Industry Road
                  Rootstown, OH 44272
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                  Karen Mitchell
                  77 Brooklane Dr
                  Penrose, NC 28766


                  Karen Napora
                  7085 Helen Street
                  Saginaw, MI 48609


                  Karen Nealis
                  137 Quail Trail
                  Mt.Airy, NC 27030


                  Karen Nevins
                  406 Jipson St
                  Blissfield, MI 49228


                  Karen Pearce
                  916 Tidewater Lane
                  Carolina Beach, NC 28428


                  Karen Peck
                  8105 Buzz Aldren Court
                  Browns Summit, NC 27214


                  Karen Pfohl
                  6440 Lucky Lane
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                  Karen piotrowski
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                  Allenton, MI 48002


                  Karen Powell
                  4343 Honey Locust Ln
                  Dayton, OH 45432


                  Karen Powell
                  1096 Maple St
                  Turbeville, SC 29162


                  Karen Prochazka
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                  Chagrin Falls, OH 44023
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Karen Puckey
                  132 Low Hill Road
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                  Karen Randall
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                  Wake Forest, NC 27587


                  Karen Richard
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                  Franklin, TN 37064


                  Karen Robinson
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                  New Palestine, IN 46163


                  Karen Robinson
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                  Cary, NC 27511


                  Karen Rock
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                  Fredericksburg, VA 22405


                  Karen Roth
                  539 Reed Street
                  Northville, MI 48167


                  Karen Sage
                  4962 Wilcox Road
                  Delhi charter Township, MI 48842


                  Karen Santowasso
                  347 Red Hawk Rd
                  Lumberport, WV 26386


                  Karen Shaw
                  3009 Shreve Eastern Rd
                  Shreve, OH 44676


                  Karen Spaulding
                  15205 McKinley Rd
                  Big Rapids,, MI 49307
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                  Karen Sperry
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                  Gladwin, MI 48624


                  Karen Stallings
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                  Kinston, NC 28504


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                  North Royalton, OH 44133


                  Karen Thompson
                  1805 Jack Roberson Rd
                  Williamston, NC 27892


                  Karen Thompson
                  137 Zitney Rd
                  Vanderbilt, PA 15486


                  Karen Todd
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                  Moravian Falls, NC 28654


                  Karen Trudgen
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                  Horton, MI 49246


                  Karen Vaden
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                  Pinckney, MI 48169


                  Karen Vaughan
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                  Lynchburg, VA 24502


                  Karen Wallace
                  1218 South Broadway Street
                  Hastings, MI 49058


                  Karen Walter
                  4834 N Swede Rd
                  Midland, MI 48642
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                  Karen Ward
                  91 Rainwater Dr
                  Aylett, VA 23009


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                  Romulus, MI 48174


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                  karen white
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                  Karen Windsor
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                  Eagle Rock, VA 24085


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                  St. Peters, MO 63376


                  Karen Worley
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                  Karen Wyant
                  1019 Haley Street
                  Van Wert, OH 45891


                  Karen York
                  1105 Thorn Creek Pl
                  Round Rock, TX 78664


                  Kari Field
                  5826 Kenny Rd
                  Manistee, MI 49660


                  Kari Fuller
                  9322 Ames Hollow Road
                  Charlotte, NC 28216
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kari Panse
                  1731 Breezy Point Ln
                  Kalamazoo, MI 49009


                  Karie Thomas
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                  Sheridan, MI 48884


                  Karilynn Leedy
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                  Karim Akrawi
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                  Karin Anderson
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                  Karin Buffum
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                  Holland, MI 49423


                  Karin Himstedt
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                  Karin Sedor
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                  Karina Alarcon
                  5112 Willow Tarn
                  Acworth, GA 30102


                  Karissa LeFan
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                  Edgar Springs, MO 65462


                  Karissa Smith
                  50057 S County Line Rd
                  Dowagiac, MI 49047
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Karl Barske
                  867 Ironwood West Drive
                  Brownsburg, IN 46112


                  Karl Butler
                  5441 Swanson Rd
                  ellenwood, GA 30294


                  Karl Casort
                  510 Cottonwood Street
                  Pulaski, TN 38478


                  Karl Cockrum
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                  Richland, MO 65556


                  Karl De Lisen
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                  Trenton, MI 48183


                  Karl Deering
                  5184 Stein Rd
                  Elkton, MI 48731


                  karl Degener
                  4222 Sugar Ridge Rd
                  Hillsborough, NC 27278


                  Karl Ellis
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                  Cleveland, TN 37311


                  Karl Fauser
                  115 Wildwood Rd
                  Midland,, PA 15059


                  Karl Fitch
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                  Greenbrier, TN 37073


                  Karl Gonzabay
                  16002 HAMMER SMITH FARM DR
                  CHARLOTTE, NC 28273
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                  Denver, PA 17517


                  Karl Holliman
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                  Karl Liske
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                  Kent, OH 44240


                  Karl Pankey
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                  Karl Ran
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                  Karl Sawyer
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                  Lapeer, MI 48446


                  Karl Sell
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                  Karl Smith
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                  Karl Smith
                  12737 Fordline Street
                  Southgate, MI 48195
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Richmond, TX 77469


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                  Jackson, MI 49201


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                  Mount Vernon, KY 40456


                  Karla Bullock
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                  Mt Vernon, KY 40456


                  Karla Ferrara
                  10198 McKinley Rd
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                  Karla Green
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                  Mason City, IL 62664


                  Karla Hall
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                  Karla Lindeman
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                  Karrie Davison
                  2720 Hamilton Rd
                  Crown City, OH 45623


                  Karrie Emmons
                  301 Stafford Street
                  Washington, MO 63090


                  Karsen Adams
                  10912 State Highway 25
                  Dexter, MO 63841


                  Karson Russell
                  2550 S Grout Rd
                  Gladwin, MI 48624


                  Kary Haskins
                  1085 Gustavo Ln
                  Petersburg, VA 23805


                  Karyl Metevia
                  3556 North Mile Rd
                  Pinconning, MI 48650


                  Kaseem Cohen
                  7107 La Paloma Lane
                  Ypsilanti, MI 48197


                  Kasey Braun
                  2693 Southlawn Street
                  Ypsilanti,, MI 48197


                  Kasey Stugart
                  6761 Longitude Cir
                  Sims, NC 27880


                  Kasie Mumford
                  5255 W County Road 950 N
                  Middletown, IN 47356
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                  Kassandra prowitt
                  109 Liberty Street
                  Russell, PA 16345


                  Kassie Downs
                  214 Big Gap Road
                  Williamsburg, VA 23188


                  Kate Gudiel
                  1615 Sand Hill Road
                  Hope Mills, NC 28348


                  Kate Henson
                  29 Fletcher Dr.
                  Fairview, NC 28730


                  Kate Hurd
                  188 EMS W17 Lane
                  North Webster, IN 46555


                  Kate Lane
                  7450 Sunrise Oval
                  Middleburg Heights, OH 44130


                  Kate Mencer
                  301 Sawmill Lane
                  Glen Easton, WV 26039


                  Kate Nickels
                  11274 Sharp Road
                  Linden, MI 48451


                  Kate Sloss
                  2077 Locust Grove Rd
                  Hendersonville, NC 28792


                  Kate Vee
                  26 Newport Ave
                  Newport News, VA 23601


                  Katelyn Newhart
                  336 Cecil Avenue
                  Indianapolis, IN 46219
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                  Katelyn Schultz
                  188 Corinthia Drive
                  Newport News, VA 23608


                  Katelynn Horton
                  407 Mercier St
                  Louisville, OH 44641


                  Katharine Knight
                  8665 Big Plain Circle Rd
                  London, OH 43140


                  Katherine (Kati) July
                  103 Eastgate Drive
                  Jacksonville, NC 28540


                  Katherine Abrams
                  236 Tremont Park Dr SE
                  Lenoir, NC 28645


                  Katherine Blackburn
                  447 3200 Block
                  Huntington, WV 25702


                  Katherine Brantley
                  2101 Heights Dr
                  Brooklyn, MI 49230


                  Katherine Candie anderson
                  154 Rochdale Lane
                  Suffolk, VA 23434


                  Katherine Carlson
                  17 Westmont Dr
                  Asheville, NC 28806


                  Katherine Cox
                  10129 Flint Ridge Road
                  Heath, OH 43056


                  Katherine Cunningham
                  1509 Daniels Farm Rd
                  Mebane, NC 27302
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                  Katherine Delgado
                  817 Northeast 46 Terrace
                  Kansas City, MO 64116


                  Katherine Fenshaw
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                  Kent, OH 44240


                  Katherine George
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                  Wellford, SC 29385


                  Katherine Glod
                  1405 Cove Road
                  Goodells, MI 48027


                  Katherine Jennings
                  84 Pebble Creek Drive
                  Newnan, GA 30265


                  Katherine Johnston
                  11762 Maxfield Blvd
                  Hartland, MI 48353


                  Katherine Kennedy
                  4013 N Hollyridge Cir
                  Peoria, IL 61614


                  Katherine Kilby
                  1565 Yadkin Valley Rd
                  Advance,, NC 27006


                  Katherine Lindsay
                  4311 S Fall Lake Dr
                  Avon, OH 44011


                  Katherine Lofton
                  258 Edna Ln
                  Goldsboro, NC 27530


                  Katherine Mall
                  2601 West Woodview Drive
                  Zanesville, IN 46799
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                  Katherine McGuinn
                  37 Rollingwood Rd
                  Asheville, NC 28805


                  Katherine Mularz
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                  Freeland, MI 48623


                  Katherine N Geouge
                  1725 Calais Trail
                  Powhatan, VA 23139


                  Katherine O'Connor
                  23800 Griswold Road
                  South Lyon, MI 48178


                  Katherine Payne
                  3279 Thoroughfare Road
                  Culpeper, VA 22701


                  Katherine Petinko
                  111 Ryan Ln
                  Milford, PA 18337


                  Katherine Propst
                  836 Spur Rd
                  Decherd, TN 37324


                  Katherine Roody
                  175 Seekhaven Way
                  Waynesville, NC 28786


                  Katherine Savant
                  8033 Tarpon Place
                  Norfolk, VA 23518


                  Katherine Settle
                  525 Scrabble Road
                  Castleton, VA 22716


                  Katherine Spiteri
                  468 Cloverview Ln
                  Howell, MI 48843
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                  Katherine Stafford
                  61 Muncy Lane
                  Bland, VA 24315


                  Katherine Stoffel
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                  Flint, MI 48507


                  Katherine Wolk
                  19655 Parklane Dr.
                  Rocky River, OH 44116


                  Katherine Zimmer
                  3910 Seymour Rd
                  Jackson, MI 49201


                  Katheryn Gordon
                  709 Elliott Avenue
                  Charlottesville, VA 22902


                  Kathi Hennip
                  6952 Illinois 173
                  Poplar Grove, IL 61065


                  Kathi Sweet
                  5323 South Pine Street
                  Beaverton, MI 48612


                  Kathi Wimmer
                  2615 Lynn Dr
                  Burlington, NC 27215


                  kathie foreman
                  920 W Wayne St
                  Maumee, OH 43537


                  Kathie Good
                  4577 Gun Barrel Rd NE
                  Rushville, OH 43150


                  Kathie Landress-Pierce
                  831 Duncan Rd
                  Oxford, GA 30054
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                  Kathleen "Kathy" Bewley
                  6288 Jamestown Dr
                  Parma, OH 44134


                  Kathleen Bauer
                  2447 S Fletcher Rd
                  Chelsea, MI 48118


                  Kathleen Blanco
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                  Redford Charter Township, MI 48240


                  Kathleen Boyde
                  116 Clover Dr
                  Monaca, PA 15061


                  Kathleen Cham
                  1190 Lake Lane Drive
                  White Lake, MI 48386


                  Kathleen Clipner
                  764 Loudon Highway
                  Kingston, TN 37763


                  Kathleen Crippin
                  127 Lakewood Ave
                  Pittsburgh, PA 15229


                  kathleen daniels
                  12890 Woodmont Avenue
                  Detroit, MI 48227


                  Kathleen Dominguez
                  1844 County Road 1850
                  Urbana, IL 61802


                  Kathleen Ellis
                  343 S Main St
                  Fillmore, IN 46128


                  Kathleen Foster
                  161 Pleasant View LN
                  RUTHERFORDTON, NC 28139
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                  Kathleen Garcia
                  52602 Jackie Lane
                  South Bend, IN 46637


                  Kathleen Garrett
                  150 Newton Road
                  Lenoir City, TN 37771


                  Kathleen Gavitt
                  60336 Custer Valley Rd
                  Colon, MI 49040


                  Kathleen Gearhart
                  3300 Yankee Street
                  Niles, MI 49120


                  Kathleen Grossimon
                  2181 Old Wilkesboro Rd
                  Statesville, NC 28625


                  KATHLEEN HARNER
                  14 Savo Avenue
                  Lancaster, PA 17601


                  Kathleen Harrison
                  14874 Hayes Road
                  Middlefield, OH 44062


                  Kathleen Hershman
                  700 N Green Tee Rd
                  Hampstead, NC 28443


                  Kathleen Horvath
                  501 Jerome Rd
                  Durham, NC 27713


                  Kathleen Landis
                  1436 Cedar Grove Rd
                  Asheboro, NC 27205


                  Kathleen Lindhout
                  1259 Franklin Street Southeast
                  Grand Rapids, MI 49506
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                  Kathleen Martinez
                  1120 Falcon Run
                  Christiansburg, VA 24073


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                  Bremen, IN 46506


                  Kathleen Mcgowan
                  45 Shelby Rd
                  Asheville, NC 28806


                  kathleen miskanin
                  1102 minnesota ave
                  Glassport, PA 15045


                  Kathleen Moore
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                  Durham, NC 27703


                  Kathleen Murphy
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                  Petersburg, VA 23805


                  Kathleen Murtaugh
                  1077 South 950 West
                  West Lafayette, IN 47906


                  Kathleen Parker
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                  Jacksonville, TX 75766


                  Kathleen Poske
                  9303 Rawsonville Rd
                  Belleville, MI 48111


                  Kathleen Rankin
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                  Lenexa, KS 66227


                  Kathleen Reitlinger
                  146 Elmwood Drive
                  Glenshaw, PA 15116
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                  Kathleen Vallejos
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                  Hilliard, OH 43026


                  Kathleen Vogel
                  226 North Saylor Street
                  Southern Pines, NC 28387


                  Kathleen Waller-Derks
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                  Richmond, VA 23225


                  Kathleen WARREN
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                  Crewe, VA 23930


                  Kathleen Wilbourn
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                  Detroit, MI 48221


                  Kathleen Worley
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                  Spruce Pine, NC 28777


                  Kathleen Wragg
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                  Georgetown, SC 29440


                  Kathleen Zdanowicz
                  9343 Johnnycake Ridge Road
                  Mentor, OH 44060


                  Kathrene Carter Brendell
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                  Weaverville, NC 28787


                  Kathrin Meyer
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                  Columbus, OH 43204


                  Kathry Frasure
                  35030 Silo Rd
                  Langsville, OH 45741
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                  Kathryn Balch
                  136 Hewitt Street
                  Saluda, VA 23149


                  Kathryn Fessenden
                  6068 Morning Star Ln
                  Twin Lake, MI 49457


                  Kathryn Forth
                  4300 Jot Em Down Rd
                  Cumming, GA 30028


                  Kathryn Franklin
                  14392 Canterbury Rd
                  Montpelier, VA 23192


                  Kathryn Greer
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                  Shallotte, NC 28470


                  Kathryn Hafer
                  559 Lincoln Road
                  Otsego, MI 49078


                  Kathryn Heckerd
                  13830 Baumhart Road
                  Oberlin, OH 44074


                  Kathryn Houghland
                  313 W Chester St
                  Pinckneyville, IL 62274


                  Kathryn James
                  264 Woodruff Ln
                  Beech Creek, KY 42321


                  Kathryn King
                  800 Banister Dr
                  Clarksville, TN 37042


                  Kathryn Martin
                  837 Grant Street
                  Traverse City, MI 49686
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                  KATHRYN Mcgee
                  1011 Concord Street
                  Vidor, TX 77662


                  Kathryn Meier
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                  Kingwood, TX 77339


                  Kathryn Peters
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                  Ashland, OH 44805


                  Kathryn Schneider
                  151 McCatty Dr
                  White Lake, MI 48386


                  Kathryn Schweitzer
                  5510 Croomsbridge Rd
                  Burgaw, NC 28425


                  Kathryn Shirer
                  2104 Avalon Drive
                  Sumter, SC 29154


                  Kathryn Traugh
                  8 Sunrise Terrace Road
                  Berwick, PA 18603


                  Kathryn Trudeau
                  27455 Henry
                  South Lyon, MI 48178


                  Kathy Anders
                  306 Harris St
                  Williamston, NC 27892


                  Kathy Anderson
                  601 West Missouri Avenue
                  Sandoval, IL 62882


                  Kathy Boswell
                  12725 Kent Road
                  Salem, OH 44460
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kathy Bowling
                  1829 County Road 44 South
                  Ironton, OH 45638


                  Kathy Boysel
                  229 S Walnut St
                  Urbana, OH 43078


                  Kathy Buchanan
                  703 E Fork Rd
                  Sylva, NC 28779


                  Kathy Busch
                  21 Blonde Bear Lane
                  Selma, NC 27576


                  Kathy Campbell
                  10 Knollwood Lane
                  Beaufort, SC 29907


                  Kathy Chieco
                  1621 Bend of Ivy Rd,
                  Marshall, NC 28753


                  kathy Coe
                  108 Hemlock Drive
                  Danville, VA 24540


                  Kathy Cooper
                  4857 Forest St.
                  Leonard, MI 48367


                  Kathy Cox
                  100 Washington St
                  Omaha, AR 72662


                  Kathy Darling
                  171 Beatty County Rd
                  Latrobe, PA 15650


                  Kathy Demusky
                  12621 Gust Rd
                  Riga, MI 49276
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kathy Disney
                  116 Fullers Way
                  Aberdeen, NC 28315


                  Kathy Douglas
                  8735 New England Road
                  Stewart, OH 45778


                  Kathy Drake
                  117 Daphne lane
                  Manteo, NC 27954


                  Kathy Dukes
                  1035 Tilden Rd
                  Charlotte,, NC 28214


                  kathy edmons
                  6879 Kingston Cove Lane
                  Willis, TX 77318


                  Kathy Ely
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                  Conneaut, OH 44030


                  Kathy Erwin
                  4916 N Lake Rd
                  Columbiaville, MI 48421


                  Kathy Gaines
                  811 Morrison Farm Rd
                  Troutman, NC 28166


                  Kathy Gawthorp
                  5017 North Renwood Avenue
                  Peoria, IL 61614


                  Kathy Gee
                  9319 Danforth Way
                  Houston, TX 77083


                  Kathy Gruen
                  1406 Niemanville Trail
                  Walshville, IL 62091
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kathy Hall
                  7203 Hudson Ave
                  Warren, MI 48091


                  Kathy Hollick
                  2011 Cemetery St.
                  Jersey Shore, PA 17740


                  Kathy Huffman
                  8233 Muscatay Grove
                  Rockford, MI 49341


                  Kathy Jones
                  43645 Township Rd 28
                  Coshocton, OH 43812


                  Kathy Kendrew
                  426 Vermont Avenue
                  Rochester, PA 15074


                  Kathy Krepelka
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                  Brook Park,, OH 44142


                  Kathy Lamming
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                  Napoleon, OH 43545


                  Kathy Lewis
                  1025 Elk Drive
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                  Kathy Linck
                  506 E Brown St
                  Mebane, NC 27302


                  Kathy Lineberger
                  5357 Kramer Rd
                  Edgerton, OH 43517


                  Kathy Martin
                  18462 Westhampton Ave
                  Southfield, MI 48075
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kathy McCarroll
                  1533 Moody Town Rd
                  Bumpass, VA 23024


                  Kathy Meador
                  5156 Paradise Road
                  Concord, VA 24538


                  Kathy Moore
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                  Durham, NC 27703


                  Kathy NAFTZGER
                  5740 w haton chapel rd
                  Columbia, MO 65202


                  Kathy Oakes
                  476 Slate Hill Road
                  Telford, TN 37690


                  KATHY ODELL
                  205 Emory Ave
                  Princeton, WV 24740


                  Kathy Ott
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                  Loves Park, IL 61111


                  Kathy Pace
                  29779 School Section Road
                  Richmond, MI 48062


                  Kathy Parkison
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                  Rensselaer, IN 47978


                  Kathy Quesada
                  6515 Creyts Rd
                  Dimondale, MI 48821


                  Kathy Radcliff
                  419 Norton St
                  Oak Island, NC 28465
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                  Kathy Rasberry
                  213 McKinley Street
                  Worden, IL 62097


                  Kathy Reiss
                  580 S Gravel Pit Rd
                  Decatur, IL 62522


                  Kathy Roberson
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                  Kathy Roschek
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                  Kathy Royster
                  7 Lower Trail
                  Fairfield, PA 17320


                  Kathy Russell
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                  Milledgeville, GA 31061


                  Kathy Shives
                  2844 Freezeland Road
                  Linden, VA 22642


                  Kathy Simmons
                  241 Cattle Farm Dr
                  Raleigh,, NC 27603


                  Kathy Smeltzer
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                  Grand Junction, MI 49056


                  Kathy Smith
                  3451 Henninger Road
                  Cleveland, OH 44109


                  Kathy Smith
                  504 East Market Street
                  Tiffin, OH 44883
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  2790 Hilliard Rome Rd
                  Hilliard, OH 43026


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                  Independence, MI 48462


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                  Delta, OH 43515


                  Kathy Sutter
                  909 Benwood Avenue
                  McKees Rocks, PA 15136


                  Kathy Swiencki
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                  Brighton, MI 48116


                  Kathy Tarr
                  11316 Flamingo Street
                  Livonia, MI 48150


                  Kathy Thorn
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                  Wellsville, OH 43968


                  Kathy Timms
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                  Sunrise Beach, MO 65079


                  Kathy Wahl
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                  Brownstown Charter Twp, MI 48134


                  Kathy Wallace
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                  Conover, NC 28613


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                  1273 Kirk Trail
                  Holladay, TN 38341
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Boykins, VA 23827


                  Kathy Williams
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                  Holt, MI 48842


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                  Wallace, NC 28466


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                  Moorseville, NC 28117


                  Kathy Woodcock
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                  Polo, IL 61064


                  Kathy Young
                  933 Pine Circle
                  Woodstock, GA 30189


                  Kathy Zellers
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                  Katie Branham
                  10222 Starmont Road
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                  Katie Burkholder
                  103 Westminster Ct
                  Mebane, NC 27302
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Fancy Gap, VA 24328


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                  Katie Duncan
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                  Hopewell, VA 23860


                  Katie Gennrich
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                  Katie Hermann
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                  Armada, MI 48005


                  Katie Holland
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                  Katie Kotula
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                  Au Sable Oscoda Township, MI 48750


                  Katie Mcgowen
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                  Katie Miller
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Petersburg, VA 23803


                  Katie Rhodes
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                  Sheffield Lake, OH 44054


                  Katie Schemmel
                  4640 Backwoods Road
                  Chesapeake, VA 23322


                  Katie Schlogl
                  130 Savannah Drive
                  Troy, MO 63379


                  Katie Sheehan
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                  Katie Skipworth
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                  Springfield, VA 22150


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                  Katie Wilson
                  4389 Alvin Street
                  Saginaw, MI 48603
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Katilin Coley
                  133 Winberry Lane
                  Statesville, NC 28677


                  Katin Mann
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                  Katina Huttenlocher
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                  Pecatonica, IL 61063


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                  Katrena Shackleford
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                  Katrina Blakesley
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                  Sellersburg, IN 47172


                  Katrina Boseman
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                  Katrina Edwards
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                  Bradford, PA 16701


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                  Stone Mountain, GA 30087


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                  Katrina Sites
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                  Katrina Stafford
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                  Broadway, NC 27505


                  Katrina Whitfield
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                  Memphis, TN 38118


                  Katrina Wolfe
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                  181 Brooks Point Ln
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kay Goodemoot
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                  Lake Odessa, MI 48875


                  Kay Griffin
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                  Graham, NC 27253


                  Kay Kunz
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                  Hopkins, MI 49328


                  Kay L. Miller
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                  Van Wert, OH 45891


                  Kay Lovell
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                  Lansing, MI 48910


                  Kay Luffman
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                  Sparta,, NC 28675


                  Kay Macy
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                  Hampton, VA 23661


                  Kay Nevil
                  9139 Date Rd
                  Baroda, MI 49101


                  Kay Tipton
                  11938 South Senator Road
                  Hubbardston, MI 48845
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Wirtz, VA 24184


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                  Kayla Griffith
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                  Westminster, SC 29693


                  Kayla McRobb
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                  Northville, MI 48168


                  Kayla Merew
                  2890 Shaw Rd
                  Zanesville, OH 43701


                  Kayla Michel
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                  Kayla Montgomery
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                  Kayla Smith
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                  Yellow Springs, OH 45387
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kaylee Bonneau
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                  Plainfield, IN 46168


                  Kaylee Gordon
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                  West Frankfort, IL 62896


                  Kaylee Mullins
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                  Ida, MI 48140


                  Kaytee Lee
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                  New Baltimore, MI 48047


                  Kayto Floyd
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                  Kaywana Brown
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                  GREENSBORO, NC 27406


                  Kazeem Akintunde
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                  KC Rennicker
                  76303 Science Hill Road
                  Kimbolton, OH 43749
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                  Kean Tracy
                  634 Tennessee Avenue
                  Fort Wayne, IN 46805


                  Keandre Mason
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                  Gary, IN 46407


                  Keaton Mueller
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                  Greensburg, IN 47240


                  Keefe Howell
                  107 Glenmore Drive
                  Rochingham, NC 28379


                  Keegan Powell
                  1025 Merritt Lewis Lane
                  Clarksville, TN 37042


                  Keegan Stagnolia
                  5400 Bland Ln
                  Knoxville, TN 37920


                  Keegan Van Auken
                  233 Greenwood Ln
                  Virginia Beach, VA 23452


                  Keel Coleman
                  2229 Wycliffe Ave SW
                  Roanoke, VA 24014


                  Keelie Mann
                  1816 Redgate Drive
                  Portsmouth, VA 23702


                  Keely Gray
                  1109 Eton Road
                  Toledo, OH 43615


                  Keelyn VanderWeide
                  532 Carrier Street Northeast
                  Grand Rapids, MI 49505
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                  Kegan Holfeltz
                  1070 Dune Street
                  Norfolk, VA 23503


                  Kei Ariah Moore
                  58276 River Oaks Dr
                  New Haven, MI 48048


                  Keia Tate
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                  Belleville, IL 62221


                  Keiley Bays
                  606 Macarthur Street
                  Washington, MO 63090


                  Keisha Stricklin
                  3634 Cedar Run Road
                  Bonne Terre, MO 63628


                  keith acton
                  156 Rogers Rd
                  Frankfort, OH 45628


                  Keith Allensworth
                  11 Paulina Drive
                  Hannibal, MO 63401


                  Keith Armour
                  1904 Richardson Dr
                  Hubbard, OH 44425


                  keith arnold
                  1651 West 416th Road
                  East Prairie, MO 63845


                  Keith B. Seltzer
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                  Lock Haven, PA 17745


                  keith bailey
                  5100 john st
                  Chesapeake, VA 23321
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                  Keith Barker
                  3745 North DeQuincy St
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                  Austin, TX 78738


                  Keith Bigelow
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                  Elwell, MI 48832


                  Keith Bitar
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                  New Kensington, PA 15068


                  Keith Blevins
                  380 Moores Lane
                  West Portsmouth, OH 45663


                  Keith Brandon
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                  Island Creek Township, OH 43964


                  Keith Brewer
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                  Akron, OH 44312


                  Keith Bronson
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                  Mount Morris, MI 48458


                  Keith Brown
                  9910 Valentine Rd SW
                  Stoutsville, OH 43154
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                  Keith BROWN
                  8870 S Cochran Rd
                  Olivet, MI 49076


                  Keith Cantrell
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                  Middletown, OH 45044


                  Keith Chisholm
                  15540 Pheasant Run
                  Southgate, MI 48195


                  Keith Cooke
                  541 Raven Ridge Trail
                  Dobson, NC 27017


                  Keith Cox
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                  Cisne, IL 62823


                  Keith Crocker
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                  Sedley, VA 23878


                  KEITH DAVIS
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                  Bonaire, GA 31005


                  Keith Dewitt
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                  Township of Branch, MI 49402


                  Keith Dodd
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                  Virginia Beach, VA 23456


                  Keith Dunham
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                  Keith Dysinger
                  3780 Dennis Rd E
                  Webberville, MI 48892
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                  Keith Easterly
                  117 South Pinto Court
                  Paige, TX 78659


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                  Gallipolis, OH 45631


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                  25207 Mallard Drive
                  Channahon, IL 60410


                  Keith Falconer
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                  Warren, PA 16365


                  Keith Farthing
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                  Dayton, OH 45410


                  Keith Fawley
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                  Keith Foreman
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                  Hummelstown, PA 17036


                  Keith Fry
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                  Lake Tapawingo, MO 64015


                  Keith Gaffney
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                  Keith Garland
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                  Keith Giese
                  20579 7 Mile Road
                  Reed City, MI 49677
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                  Keith Gray
                  5152 Shingle Block Road
                  Bedford, VA 24523


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                  Hadley, MI 48440


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                  Keith Hammann
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                  Alexandria, KY 41001


                  keith hanback
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                  King George, VA 22485


                  Keith Hickman
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                  Keith Hilliard
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                  Rayland, OH 43943


                  Keith Holman
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                  Hickory,, NC 28602


                  Keith Hutchins
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                  Clay Township, MI 48001


                  Keith Irvin
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                  Keith James
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                  Laurelville, OH 43135
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                  Keith Jarvis
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                  Adrian, MI 49221


                  Keith Krol
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                  Muskegon,, MI 49442


                  Keith LaShomb
                  2673 Julia Simpkins Road
                  Hiwassee, VA 24347


                  Keith Lauseng
                  70304 Shimmel Road
                  Sturgis, MI 49091


                  Keith Lewis
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                  Keith Locklear
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                  Pembroke, NC 28372


                  Keith Lowe
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                  Akon, OH 45030


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                  Highland, IN 46322


                  Keith McCaslin
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                  Westerville, OH 43082
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                  Keith Meserole
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                  Keith Newby
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                  Keith Newell
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                  Rossford, OH 43460


                  Keith Nicholls
                  8270 Oakville Waltz Road
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                  Keith Pelkey
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                  Martin, GA 30557


                  Keith Radabaugh
                  105 Sylvanus Street
                  Archbold, OH 43502


                  Keith Rapoza
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                  Hampton, VA 23666


                  Keith Rawson
                  448 Tentree Street
                  Sparta, MI 49345


                  Keith Reeves
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                  Maysville, KY 41056


                  Keith Roland
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                  Hope Mills, NC 28348


                  Keith Sanders
                  1819 Busby Road
                  Anderson, SC 29626


                  Keith Schlosser
                  21885 Bowman Road
                  Defiance, OH 43512


                  Keith Sellers
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                  Maggie Valley, NC 28751


                  Keith Shenberger
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                  Cogan Station, PA 17728
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                  Keith Shields
                  808 Main Street
                  Byron, GA 31008


                  Keith Skaggs
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                  Plainfield, IN 46168


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                  Norfolk, VA 23513


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                  Staunton, IN 47881


                  Keith Stam
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                  Waynesville, MO 65583


                  Keith Stein
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                  Clay Township, MI 48001


                  Keith Stevenson
                  15299 Co Rd 30
                  Bunkirk, OH 45836


                  Keith Stone
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                  Keith Studer
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                  Creston, OH 44217


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                  Sarver, PA 16055


                  Keith Taylor
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                  Keith Trippensee
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                  Durand, MI 48429


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                  Sterling Heights, MI 48313


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                  New Palestine, IN 46163


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                  Statesville, NC 28625


                  Keith Winters
                  216 Jonathans Way
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                  Keith Wolber
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                  Keith Worley
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                  Denton, NC 27239


                  Keith Zuzich
                  614 Cypress Ct
                  trafford, PA 15085
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kelan Bloom
                  403 Water Street
                  Woodville, OH 43469


                  Kelby Burke
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                  Clarkesville, GA 30523


                  Kelby Haskins
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                  Kelee Tritipo
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                  Logan, OH 43138


                  Keleigh Williams
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                  Charlotte, NC 28278


                  Keli Tenard
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                  Stafford, VA 22554


                  Kelita Jackson
                  3644 Burns Street
                  Inkster, MI 48141


                  Kellee Witgen
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                  Armada, MI 48005


                  Kelley Gensheimer
                  3420 Old Winchester Trail
                  Xenia, OH 45385


                  Kelley Kajdasz
                  654 Sumter Highway
                  Kingstree, SC 29556


                  Kelley Mock
                  4433 Fikes Rd
                  Benton Harbor, MI 49022
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                  Kelley Nance
                  586 Dagger Spring Road
                  Eagle Rock, VA 24085


                  Kelley Neiderhiser
                  1307 High Rock Rd Lot #1
                  Gibsonville, NC 27249


                  Kelley Schlachter
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                  Riga, MI 49276


                  Kelley Stackpoole
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                  St. Clair Shores, MI 48082


                  Kelley-Anne Smith
                  308 n 5th Street
                  Harbor Beach, MI 48441


                  Kelli Appleberg
                  7448 Van Vleet Rd
                  Swartz Creek, MI 48473


                  Kelli Covington
                  3740 Robin Rd
                  Columbus, GA 31906


                  Kelli Hoffmann
                  204 Circle Drive
                  Merritt, MI 49667


                  Kelli Klotz
                  7230 e Michigan Avenue
                  Parma, MI 49269


                  Kelli Menchaca
                  3966 Township Road 59
                  Mount Gilead, OH 43338


                  Kelli Shepard
                  3300 Ladd Ridge Rd
                  Athens, OH 45701
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                  Kelli Simoneau
                  1280 Parris Road
                  Rock Hill, SC 29732


                  Kelli Smith
                  3350 Orchard Valley Drive
                  Columbus, IN 47203


                  Kelli Welker
                  408 Toney Ave
                  Greenfield, MO 65661


                  Kellie Allen
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                  Baldwin, MI 49304


                  Kellie Blackhurst
                  79 Twin Springs Road
                  Petersburg, TN 37144


                  Kellie Councilman
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                  Kellie Covington
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                  Cleveland, OH 44108


                  Kellie England
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                  Lima, OH 45801


                  Kellie Michels
                  1701 Amostown Road
                  Sandy Ridge, NC 27046


                  Kellie Passerotti
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                  Erie, PA 16504


                  Kellie Webb
                  14010 Ponderosa Lane
                  Carrollton, VA 23314
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kelly Alexander
                  820 Maydoll Drive
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                  DeWitt, VA 23840


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                  Evans, GA 30809


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                  Kelly bedard
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                  Roseville, MI 48066


                  Kelly Bidlespacher
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                  Trout Run, PA 17771


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                  3160 Lyndhurst Road
                  Stuarts Draft, VA 24477
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                  Kelly Clampitt
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                  Waterford Township, MI 48327


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                  oak island, NC 28465


                  Kelly Collins
                  67 Highland Rd
                  Sturgis, KY 42459


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                  Hickory, NC 28601


                  Kelly Corbin
                  1007 11th Street
                  Beaver Falls, PA 15010


                  Kelly Corwin
                  2761 Baldwin Street
                  Georgetown Township, MI 49428


                  Kelly Crouse
                  4649 Tom Fett Rd
                  Harrod, OH 45850


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                  Richmond, VA 23224


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                  York, PA 17406


                  Kelly Dyer
                  1300 Mossrose Rd
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                  Fairborn, OH 45324


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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Fraser, MI 48026


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                  Hubert, NC 28539


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                  Kelly Murphy
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                  Kelly Osifo
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                  Jeffersonton, VA 22724


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                  Grand Rapids, MI 49505


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                  Kelly Schenkel
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                  Kelly Wheeler
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                  Mooresburg, TN 37811


                  Kelsey Stamm
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                  Archbold, OH 43502


                  Kelsey Titus
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                  Kelsey Truett
                  10515 Eliot Avenue
                  Cleveland, OH 44104


                  Kelsey Webster
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                  Grosse Pointe, MI 48230


                  Kelsie Feichtner
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                  Southport, NC 28461


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                  11661 Cherry Hill Rd
                  Glenford, OH 43739
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                  Kelvin Thompson
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                  MINERAL, VA 23117


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                  Dalton, GA 30721


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                  riley, MI 48041


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                  Ken Doctor
                  5451 Davis Rd
                  Norton Shores, MI 49441
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                  Cecil, OH 45821


                  Ken Lardie
                  7307 Middleton Drive
                  Fredericksburg, VA 22407


                  Ken Ledman
                  2355 North Co Road 800 West
                  Frankfort, IN 46041


                  Ken Mathias
                  5716 Brayton Park Pl
                  Holly Springs, NC 27540


                  Ken McIntosh
                  9611 Debold Koebel Rd
                  Pleasant Plain, OH 45162
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                  Ken Moore
                  379 Jim Starr Rd
                  Newnan, GA 30263


                  Ken Morgan
                  1910 S Grant Ave
                  Indianapolis, IN 46203


                  Ken Mussen
                  12720 Carlsbad Court
                  Herndon, VA 20171


                  Ken Myers
                  7384 County Line Road
                  New Carlisle, IN 46552


                  Ken Norman
                  1205 Snowdon Dr
                  Knoxville, TN 37912


                  Ken Pasay
                  204 Pilot View Dr
                  King, NC 27021


                  Ken Peterson
                  4212 Packard Rd
                  Toledo, OH 43612


                  Ken Phelps
                  8207 Harmony Lane
                  Denver, NC 28037


                  Ken Reinoehl
                  407 9th Street Northwest
                  North Canton, OH 44720


                  Ken Schuchter
                  2001 U.S. 22
                  Morrow, OH 45152


                  Ken Schutz
                  671 High Street
                  Van Wert, OH 45891
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                  Ken Scott
                  2420 SE 37th St
                  Topeka, KS 66605


                  Ken Sefton
                  6714 Memory Ln
                  Ann Arbor, MI 48105


                  Ken Silas
                  3385 Erhardt Drive
                  Mount Morris, MI 48458


                  Ken Smelcer
                  25530 Jennifer
                  Redford Charter Township, MI 48239


                  Ken Stewart
                  4507 Thanksgiving Fire Rd
                  Zebulon, NC 27597


                  Ken Straley
                  3115 Maplepond Drive
                  Hudsonville, MI 49426


                  Ken Thon
                  14530 Balsam Street
                  Southgate, MI 48195


                  Ken Threewitts
                  504 Club Center Drive
                  Youngsville, NC 27596


                  Ken Toner
                  120 Maple Ln
                  Spring Mills, PA 16875


                  Ken Wahl
                  512 Willow Park Rd
                  Elyria, OH 44035


                  Ken Weems
                  13166 State Rd TT
                  Festus, MO 63028
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                  Ken Welch
                  2901 Chapel Rd
                  Parma, MI 49269


                  Ken Wright
                  3201 Wellington Drive
                  Dayton, OH 45410


                  Kendall Clark
                  3654 Clark Rd
                  PRESTON, MI 48756


                  Kendall Covell
                  3360 Mells Rd
                  Dorset, OH 44032


                  Kendall Electric, Inc
                  P.O. Box 671121
                  Detroit, MI 48267-1121


                  Kendall Stanley
                  664 Bobcat Rd
                  Summerfield, NC 27358


                  Kendell Kniseley
                  23290 Hawfield Road
                  Unionville, VA 22567


                  Kendra Hazlett-Becker
                  12068 Abbott Rd
                  Hiram, OH 44234


                  Kendra McCray
                  10801 Ohio 13
                  Thornville, OH 43076


                  Kendrick Stanley
                  825 Recreational Rd 255
                  Colmesneil, TX 75938


                  Keneta Maddron
                  522 Quail Run Road
                  Ellijay, GA 30540
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                  Kennedy Abbott
                  3417 cedar lane
                  Portsmouth, VA 23703


                  Kenneth "Andrew" Mortensen
                  502 Center Avenue
                  Verona, PA 15147


                  Kenneth "Ken" Daugherty
                  70 Birch Lane
                  Marion Center, PA 15759


                  Kenneth (Ken) Warren
                  21600 Trombly Street
                  St. Clair Shores, MI 48080


                  Kenneth Alexander
                  209 Bonnaoaks Dr
                  Nashville, TN 37076


                  Kenneth Anderson
                  13243 Millers Mill Road
                  Constantine, MI 49042


                  Kenneth Armour
                  2628 N Keystone Ave
                  Indianapolis, IN 46218


                  Kenneth Ayers
                  3961 Abigail Dr
                  Lorain, OH 44053


                  Kenneth Barker
                  1391 Starbuck Rd
                  Wilmington, OH 45177


                  Kenneth Barton
                  58 Talawanda Trail
                  Dayton, OH 45429


                  Kenneth Bastien
                  11267 Watchbird Drive
                  Fenton, MI 48430
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                  Kenneth Bean
                  1820 Needmore Rd
                  Woodleaf, NC 27054


                  Kenneth Benedetto
                  718 Georgia Trail
                  Lincolnton, NC 28092


                  Kenneth Benson
                  21 Crescent Drive
                  Bristol, VA 24201


                  Kenneth Berregard
                  421 Meadowland Cir
                  Maple Hill, NC 28454


                  Kenneth Blumenstock
                  3437 South 100 West
                  Princeton, IN 47670


                  Kenneth Bost
                  1145 Song bird Lane
                  Rockwell, NC 28138


                  Kenneth Boyles
                  1052 Pinetown Rd
                  Lewisberry, PA 17339


                  Kenneth Brewster
                  404 Washington Boulevard
                  Flora, IN 46929


                  Kenneth Brown
                  6315 Midway Dr
                  Moro, IL 62067


                  Kenneth Carlson
                  15995 500 E St
                  Sheffield, IL 61361


                  Kenneth Clemons
                  143 North Point Blvd
                  Moyock, NC 27958
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                  Kenneth Clossey
                  103 North Lehigh Avenue
                  Wind Gap, PA 18091


                  Kenneth Clugston
                  1648 Carriage Place SW
                  Ocean Isle Beach, NC 28469


                  Kenneth Colf
                  6672 Campground rd
                  Denver, NC 28037


                  Kenneth Collins
                  8502 Kirksage Drive
                  Houston, TX 77089


                  kenneth colyer
                  1169 W County Rd 300 N
                  Osgood, IN 47037


                  Kenneth Cooper
                  838 Wilburn Rd
                  Whitesburg, TN 37891


                  Kenneth Craig
                  399 Oliver Drive
                  Bassett, VA 24055


                  Kenneth Dambrosio
                  75 Williams Corner Rd
                  Port Haywood, VA 23138


                  Kenneth Darga
                  5645 Dvorak Street
                  Clarkston, MI 48346


                  kenneth delawder
                  2535 South 10th Street
                  Ironton, OH 45638


                  Kenneth DeVries
                  12334 S. 36th St.
                  Vicksburg, MI 49097
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                  Kenneth Dietz
                  5122 Silver Street
                  Cincinnati, OH 45212


                  Kenneth Dildine
                  551 Ransom Road
                  Leasburg, MO 65535


                  Kenneth Downing
                  637 Dutch Ridge Rd
                  Ellwood City, PA 16117


                  Kenneth Drexler
                  989 S St Clair St
                  Martinsville, IN 46151


                  Kenneth Dyer
                  1776 Gladdice Hwy
                  Whitleyville, TN 38588


                  Kenneth Fennell
                  11764 Clint Parker Road
                  Conroe, TX 77303


                  Kenneth Foley
                  6356 Calkins Road
                  Flint, MI 48532


                  Kenneth Foster
                  5681 Tricia Drive
                  Galloway, OH 43119


                  Kenneth Fox
                  70394 Ironwood Dr
                  Niles, MI 49120


                  Kenneth Fulkerson
                  5710 Karle Street
                  Westland, MI 48185


                  Kenneth Furesz
                  8126 Norman Road
                  Imlay City, MI 48444
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Gaines
                  207 Autumn Court
                  Berea, KY 40403


                  Kenneth Gaines
                  4036 Walters Dr
                  Chester, VA 23831


                  Kenneth Gamboa
                  2417 Havenfaire Lane
                  Wake Forest, NC 27587


                  Kenneth Garrison
                  1 Blue Jay Drive
                  Bloomsburg, PA 17815


                  Kenneth Goddard
                  45 County Pond Road
                  Vine Grove, KY 40175


                  Kenneth Goodrich
                  512 Harrison Circle
                  Locust Grove, VA 22508


                  Kenneth Gorsline
                  2210 East VW Avenue
                  Vicksburg, MI 49097


                  Kenneth Gorsline
                  2210 VW Avenue East
                  Vicksburg, MI 49097


                  Kenneth Grant
                  7517 Beaverland Street
                  Detroit, MI 48239


                  Kenneth Harker
                  70281 Big Hill Rd
                  Sturgis, MI 49091


                  Kenneth Harper
                  3474 Underwood Rd SE
                  Conyers, GA 30013
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                  Kenneth Hausauer
                  5014 Denise Way
                  Floyds Knobs, IN 47119


                  Kenneth Henshaw
                  4586 Kentucky state route 130 south
                  Morganfield, KY 42437


                  Kenneth Herbort
                  11336 Kensington Street
                  Allen Park, MI 48101


                  Kenneth Hess
                  1187 Penn Grant Rd
                  Lancaster, PA 17602


                  Kenneth Hicks
                  10 Tanglewood Drive
                  Covington, GA 30016


                  Kenneth Hill
                  103 Kitts Lane
                  South Point, OH 45680


                  Kenneth Hoffmann
                  433 Green Acres Lane
                  Saint Clair, MO 63077


                  Kenneth Hogan
                  245 W Congress St
                  Corry, PA 16407


                  Kenneth Howard
                  2169 E. Cook Rd
                  Grand Blanc, MI 48439


                  Kenneth Howard
                  71 Riflemen Ln
                  Winchester, VA 22601


                  Kenneth Howell
                  1420 South 23rd Street
                  Elwood, IN 46036
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                  Kenneth Hoy
                  4493 Ohio 598
                  Crestline, OH 44827


                  kenneth hoyt
                  25900 B-Drive S,
                  Albion, MI 49224


                  Kenneth Hunter
                  600 Legacy Park Drive
                  Perry, GA 31069


                  KENNETH J GAINES
                  1837 Global Dr
                  McDonough, GA 30252


                  kenneth Jackson
                  3308 Mike Rd
                  Richmond, VA 23234


                  Kenneth James
                  2831 Somerset Pike
                  Johnstown, PA 15905


                  Kenneth Johnson
                  5204 S Union St
                  Independence, MO 64055


                  Kenneth Johnson
                  9910 Browns Mill Rd
                  Greencastle, PA 17225


                  Kenneth Johnson
                  903 Vidalia Onion Drive
                  Richmond, TX 77406


                  KENNETH Jones
                  14280 Orchard Road
                  Brookville, IN 47012


                  Kenneth Keys
                  311 Pheasant Run Trail
                  Macon, GA 31216
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                  Kenneth Kiwicz
                  134 South Ave
                  Mount Clemens, MI 48043


                  Kenneth Knight
                  112 E Laramie Dr
                  mebane, NC 27302


                  Kenneth Kornowski
                  16727 Galehouse Rd
                  Doylestown, OH 44230


                  Kenneth Lahr
                  408 Sunset Avenue
                  Great Falls, SC 29055


                  Kenneth Lebeda
                  410 N Rowland St.
                  Cassapolis, MI 49031


                  Kenneth Lee
                  503 Crawfords View Rd,
                  Afton, VA 22920


                  Kenneth Lewis
                  10569 Bottom Creek Road
                  Bent Mountain, VA 24059


                  Kenneth Looney
                  310 Fincastle Ln
                  Bluefield, VA 24605


                  Kenneth Lord
                  3771 Jimmy Gray Robinson Road
                  Williamsport, TN 38487


                  Kenneth M Snyder
                  134 Clair Street
                  Claysburg, PA 16625


                  Kenneth Manning
                  119 Motor Road
                  Lexington, NC 27295
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Marlin
                  776 Jasper Rd
                  Xenia, OH 45385


                  Kenneth McCoy
                  3701 Northeast 43rd Street
                  Kansas City, MO 64117


                  Kenneth McManus
                  2900 Mobile Street
                  Virginia Beach, VA 23456


                  Kenneth Miller
                  141 Tall Fern Loop
                  Mooresville, NC 28117


                  Kenneth Mossicotte
                  5825 Morley St
                  Westland, MI 48185


                  Kenneth Myers
                  1401 Joyce Ln
                  Round Rock, TX 78664


                  Kenneth Myrick
                  827 Walker St
                  Reidsville, NC 27320


                  Kenneth Norman
                  1087 Jerusalem Road
                  Lexington, NC 27292


                  Kenneth Nutter
                  930 Kinsman Rd NW
                  North Bloomfield,, OH 44450


                  Kenneth O'Neil
                  8512 Bellechasse Dr
                  Davison, MI 48423


                  Kenneth O'Neill
                  121 Mcchesney Road
                  New Galilee, PA 16141
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Oneil
                  2839 Hampton Hwy
                  Yorktown, VA 23693


                  Kenneth Ostrander
                  2971 U.S. 20 Alternate
                  Swanton, OH 43558


                  Kenneth Parker
                  531 Misty Lake Dr
                  El Lago, TX 77586


                  Kenneth Parker
                  129 Blue Willow Lane Southeast
                  Floyd, VA 24091


                  Kenneth Partridge
                  250 Rolling Creek Dr
                  Roxboro, NC 27574


                  Kenneth Patton
                  32 Lake Shore Boulevard
                  Port Wentworth, GA 31407


                  Kenneth Pepin
                  2283 South 300 West
                  Albion, IN 46701


                  Kenneth Phillis
                  2326 OH-60
                  McConnelsville, OH 43756


                  Kenneth Powell
                  9465 Thurgood Marshall Highway
                  Andrews, SC 29510


                  Kenneth Pugh
                  4343 U.S. 27
                  Falmouth, KY 41040


                  Kenneth Reynolds
                  320 Bonaventure Drive
                  Salisbury, NC 28147
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Riggs
                  20002 County Road 144
                  Kenton, OH 43326


                  Kenneth Rigler
                  291 Lake Meade Drive
                  East Berlin, PA 17316


                  Kenneth Salmond
                  2401 Mercer Walk
                  Conyers, GA 30094


                  Kenneth Schinke
                  5631 South 23 Road
                  Boon, MI 49618


                  Kenneth Schult
                  13260 Co Rd 2
                  Middlebury, IN 46540


                  Kenneth Skutle
                  2480 Old Forge Road
                  Kent, OH 44240


                  kenneth smith
                  606 East 47 Highway
                  Franklin, KS 66735


                  Kenneth Smith
                  219 Country Club Road
                  Holland, MI 49423


                  Kenneth Snead
                  2717 Laurel St
                  Mechanicsburg, PA 17055


                  Kenneth Spears Jr
                  310 N King David Dr
                  Florence, SC 29506


                  Kenneth Sponseller
                  365 Coitsville Rd
                  Campbell, OH 44405
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Stack
                  2910 Streitz Drive
                  Joliet, IL 60435


                  Kenneth Standhardt
                  27201 Van Horn Rd
                  Brownstown Charter Twp,, MI 48134


                  Kenneth Starcher
                  5311 Franklin Rd
                  Moody, TX 76557


                  Kenneth Stephens
                  320 Lake Avenue
                  Franklin, OH 45005


                  Kenneth Stephens
                  613 Fairhaven Circle
                  Danville, VA 24540


                  Kenneth Stone
                  2045 Hemric Mountain Rd
                  Hamptonville, NC 27020


                  Kenneth Stroupe
                  2000 Providence Church Rd
                  Anderson, SC 29626


                  Kenneth Swartz
                  2394 Palms Rd
                  Columbus, MI 48063


                  Kenneth Taylor
                  2211 N Olive St
                  South Bend, IN 46628


                  Kenneth Thomas
                  18159 Toepfer Dr
                  Eastpointe, MI 48021


                  Kenneth Thompson
                  200 Willow Landing Rd
                  Stafford, VA 22554
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Trim
                  51 Richmond Park Drive
                  Cameron, NC 28326


                  Kenneth Vaughn
                  107 North Division Street
                  Kankakee, IL 60910


                  Kenneth Vogan
                  1170 Summerfield Dr
                  Cumming, GA 30040


                  Kenneth W Richards
                  600 Sydenham Blvd
                  Chesapeake, VA 23322


                  Kenneth Walker
                  7985 Deer Run Ct
                  Terre Haute, IN 47802


                  Kenneth Walker
                  2271 Sallies Lane
                  Winston-Salem, NC 27106


                  Kenneth White
                  5338 Chihuahua Rd
                  Higginsville, MO 64037


                  Kenneth Williams
                  21500 Dale Dr
                  Belleville, MI 48111


                  Kenneth Williams
                  705 Allforth Place
                  Cary, NC 27519


                  Kenneth Wilson
                  1041 West Walnut Street
                  Springfield, MO 65806


                  Kenneth Wilson
                  1255 Reedy Prong Church Rd
                  Newton Grove, NC 28366
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenneth Wilson
                  815 Gould St
                  Northwood, OH 43619


                  Kenneth Withly
                  3618 Trilby Court
                  Columbus, OH 43230


                  kenneth young
                  1820 LAKE SHORE DR
                  Romeoville, IL 60446


                  KENNEY THOMAS
                  1125 n 2nd st
                  silsbee, TX 77656


                  Kennis Brown
                  6405 N Appollo Dr
                  Alexandria, IN 46001


                  Kennon Woods
                  981 Old County Farm Rd
                  Jesup, GA 31545


                  Kenny
                  61621 Cool Hill Rd
                  Belmont, OH 43718


                  Kenny Barnes
                  1936 Old Lennon Rd SE
                  Bolivia, NC 28422


                  Kenny Blankenship
                  1821 Peters Branch Road
                  Crown City, OH 45623


                  Kenny Deel
                  105 Burlins Drive
                  Birchleaf, VA 24220


                  Kenny Green
                  2671 Galts Mill Rd
                  Madison Heights, VA 24572
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenny Hickman
                  99 Renee Drive
                  Struthers, OH 44471


                  kenny johnson
                  1211 Amber Stapp Studdard Rd
                  Social Circle, GA 30025


                  Kenny Keithly
                  540 Parr Drive
                  Tappahannock, VA 22560


                  Kenny Kwiatkowski
                  262 N Railroad St
                  Du Bois, IL 62831


                  Kenny Leckrone
                  U.S. Highway 23 North
                  Delaware, OH 43015


                  Kenny Miller
                  3559 North Oxford Street
                  Claremont, NC 28610


                  Kenny Rowland
                  4800 Johnson Pond Road
                  Apex, NC 27539


                  Kenny Sitzes
                  6891 west HWY 72 Fredericktown
                  Millcreek, MO 63645


                  Kenny Springer
                  154 Midvale Road
                  Wampum, PA 16157


                  Kenny Tracey Hendrix
                  2641 South Capitol Avenue
                  Indianapolis, IN 46225


                  Kenny Vega
                  1030 Spring Road
                  Cleveland, OH 44109
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kenny Wells
                  10257 Old Pee Dee Road
                  Hemingway, SC 29554


                  Kenny Wilson
                  315 Melody Lane
                  Virden, IL 62690


                  Kent Anderson
                  1903 Sugar Maple Pl
                  Bellbrook, OH 45305


                  Kent Fowler
                  7050 Wellington ln
                  Ypsilanti, MI 48197


                  Kent Garinger
                  2829 West Sacramento Drive
                  Muncie, IN 47303


                  Kent Greenfelder
                  920 N Line St
                  Chesaning, MI 48616


                  Kent Hart
                  636 North 2nd Street
                  Decatur, IN 46733


                  Kent Holsopple
                  5643 County Rd 20-50
                  Stryker, OH 43557


                  Kent Hudson
                  229 South Fisher Rd
                  Trivoli, IL 61569


                  Kent Lewis
                  95 gable dr
                  abbeville, SC 29620


                  Kent Rosenberger
                  414 Jamestown Rd
                  Daleville, VA 24083
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kent Shoemaker
                  225 Glade Run Road
                  Renfrew, PA 16053


                  Kent Sturgill
                  26445 Thompson Rd
                  Williamsport, OH 43164


                  Kenton David
                  3648 Cashiers Road
                  Highlands, NC 28741


                  Kentucky Department of Revenue
                  501 High Street
                  Frankfort, KY 40601


                  Kentucky Derby Festival, Inc
                  1001 S. Third St
                  Louisville, KY 40203


                  Kentucky Heart and Vascular
                  1320 Woodland Drive
                  Elizabethtown, KY 42701


                  Kentwood Plumbing & Heating, Inc.
                  3411 32nd St SE
                  Grand Rapids, MI 49512


                  Kenwood Thode
                  18 Knotting Hill Rd
                  fayetteville, TN 37334


                  Kenya Mickens
                  4618 Stony Falls Way
                  Knightdale, NC 27545


                  Kenyon Patterson
                  415 Iroquois Dr
                  Knoxville, TN 37914


                  Keontra Jackson
                  606 Lebanon
                  Pontiac, MI 48340
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kerel Ingram
                  2119 Kentucky Avenue
                  Flint, MI 48506


                  Kerensa Riordan
                  8405 Paige Glen Avenue
                  Springfield, VA 22152


                  Keri Adams
                  113 Bridletrail Ln
                  Union, SC 29379


                  Kermit Woidan
                  4212 Welch Rd
                  Attica, MI 48412


                  Kerri Amour
                  3509 Terrazzo Trail
                  Virginia Beach, VA 23452


                  Kerri Harris
                  11285 Bluewater Highway
                  Lowell, MI 49331


                  Kerri Harris
                  2648 Longstreet Ave SW
                  Wyoming, MI 49509


                  Kerri Vincent
                  6635 U.S. 54
                  Collins, MO 64738


                  Kerric Ray
                  317 Hazel Street
                  Girard, OH 44420


                  Kerrie Phillips
                  86 Bronco Pass
                  East Flat Rock, NC 28726


                  Kerrie Wilkinson
                  5835 McCarty Road
                  Kinmundy, IL 62854
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kerry Baer
                  2471 Thurmont Road
                  Akron, OH 44313


                  Kerry Cox
                  4003 Long Point Boulevard
                  Portsmouth, VA 23703


                  Kerry Dukes
                  9767 190th Avenue
                  Stanwood, MI 49346


                  Kerry feagan
                  307 1st Street
                  Arcola, MO 65603


                  Kerry Gipson
                  680 Old Alabama Rd SW
                  McDonald, TN 37353


                  Kerry Hayslip
                  16005 Whippoorwill Lane
                  Manchester, MI 48158


                  Kerry Jones
                  180 N Township Rd 165
                  Tiffin, OH 44883


                  Kerry Kirby
                  300 Delphi Drive
                  Seneca, SC 29672


                  Kerry Larson
                  11751 Hastings Rd ,
                  Clarksville, MI 48815


                  Kerry Miller
                  6646 Sutton Road
                  Britton, MI 49229


                  Kerry Orndorff
                  211 Maxie Avenue
                  Greenville, SC 29611
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                  Kerry Renick
                  285 Cahas Ln
                  Boones Mill, VA 24065


                  Kerry Shaffer
                  7882 Linton Rd
                  St Johns, MI 48879


                  Kerstin Wyman
                  604 South State Street
                  Warren, PA 16365


                  Kesava Collopy
                  2674 Churchill Road
                  Leslie, MI 49251


                  Keshar Katiwada
                  5927 Buttonwood Drive
                  Meridian charter Township, MI 48840


                  keshar khatiwada
                  5927 Buttonwood Drive
                  Meridian charter Township, MI 48840


                  Keshayla Bennett
                  1960 Vermont St
                  Gary, IN 46407


                  Keshia Maddox
                  2225 Fulton St
                  Toledo, OH 43620


                  Keshon Moorehead
                  1315 Hampton Rd
                  Grosse Pointe Woods, MI 48236


                  Kester Strickland
                  8951 Boggy Branch Road
                  Nichols, SC 29581


                  Ketan Nagar
                  46508 Creekside Ct
                  Canton, MI 48187
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                  Ketan Patel
                  2332 Timber Ridge Court
                  Princeton, IL 61356


                  Keven Dudgeon
                  7171 County Road 70
                  Edison, OH 43320


                  Keven Shockley
                  2234 Fairfax Drive
                  Clarksville, TN 37043


                  Kevin Abbott
                  7513 Whitneyville Road
                  Middleville, MI 49333


                  Kevin Alflen
                  644 124th Avenue
                  Shelbyville, MI 49344


                  Kevin Allen
                  418 North Jonesville Road
                  Bowdon, GA 30108


                  Kevin Anderson
                  29070 Mill Street
                  Flat Rock, MI 48134


                  Kevin Arnett
                  495 48th Street Southeast
                  Grand Rapids, MI 49548


                  Kevin Arthur
                  1035 Highway 11
                  Seymour, IN 47274


                  Kevin Bangle
                  605 Madison Ave
                  Arcadia, IN 46030


                  Kevin BANKS
                  514 Ames Court
                  Hampton, VA 23669
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kevin Bartley
                  107 Norcross Pl
                  Cary, NC 27513


                  Kevin Batman
                  6200 E Pilot Knob Rd
                  Milltown, IN 47145


                  Kevin Bell
                  92 HICK RD
                  Arlington, KY 42021


                  Kevin Benton
                  4016 Big Creek Road
                  Hartford, TN 37753


                  Kevin bialek
                  1744 Buchanan Street
                  Aliquippa, PA 15001


                  Kevin Blades
                  23346 Elm Point Dr
                  South Lyon, MI 48178


                  Kevin Bloom
                  8 Sycamore Rd
                  Mountain Top, PA 18707


                  Kevin Bluxome
                  458 Keith Ave
                  Kilmarnock, VA 22482


                  Kevin Boerner
                  15834 Valleyview Dr
                  Marysville, OH 43040


                  Kevin Bond
                  245 Bridgeview Cir,
                  Chesapeake, VA 23322


                  kevin bouchard
                  291 Mallards Cove
                  Beecher, IL 60401
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Kevin Bowman
                  5447 North 31 Road
                  Manton, MI 49663


                  Kevin Boyer
                  105 Timmerman Ct
                  Easley, SC 29642


                  Kevin Boyle
                  915 Johnstown Rd
                  Chesapeake, VA 23322


                  Kevin Bracey
                  1132 East 167th Street
                  Cleveland, OH 44110


                  Kevin Brister
                  896 Goddard Ave
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                  Greenville, NC 27858


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                  Kimberly Bouchard
                  1310 Highland Park Dr
                  Seymour, TN 37865


                  Kimberly Brown
                  9120 Amber Grove Drive
                  Howell, MI 48843
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                  Kimberly Burkhart
                  20097 W Middletown Rd
                  North Benton, OH 44449


                  Kimberly Chambers
                  182 Patriot Lane
                  Reidsville, NC 27320


                  Kimberly Clarke
                  240 Lizzie Neighbours Road
                  Ripley, TN 38063


                  Kimberly Cochran
                  1107 East Cherry Avenue
                  Christopher, IL 62822


                  Kimberly Cochran
                  24 Saline Hills Lane
                  Saint Mary, MO 63673


                  Kimberly Cochran
                  379 A R Morris Road
                  Denton, NC 27239


                  Kimberly Corell
                  2511 Clover Ridge
                  League City, TX 77573


                  Kimberly Cremeans
                  4 Rice Road
                  Jackson, OH 45640


                  Kimberly Curry
                  14582 Jack Gibbs Rd
                  Willis, TX 77378


                  Kimberly Daniel
                  2195 Virgie Cole Rd
                  South Boston, VA 24592


                  Kimberly Deloach
                  359 Dancing Water Road
                  Chesnee, SC 29323
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                  Kimberly Dickerson
                  11937 W Lake Rd
                  East Springfield, PA 16411


                  Kimberly Duke
                  3202 Fairburn Road
                  Douglasville, GA 30135


                  Kimberly Edwards
                  9135 Cooley Rd
                  Brookville, IN 47012


                  Kimberly Evans
                  2939 Branderwood Drive
                  Greensboro, NC 27406


                  Kimberly Fili
                  3223 Edinburg Avenue Northwest
                  Canton, OH 44708


                  Kimberly Fussell
                  249 Hickory Point Rd Exd
                  Hampstead, NC 28443


                  Kimberly Gardner
                  198 Sunnyside Rd
                  New Castle, PA 16102


                  Kimberly Gibson
                  599 West New Hope Road
                  Boonville, IN 47601


                  Kimberly Grant
                  180 National dr
                  Pinehurst, NC 28374


                  Kimberly Grevenstuk
                  479 Chatham View Road
                  Ramseur, NC 27316


                  Kimberly Hagood
                  7310 Brandy Creek Dr
                  Mechanicsville, VA 23111
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                  Kimberly Hall
                  3364 Perrowville Rd
                  Forest,, VA 24551


                  Kimberly Harris
                  105 Lands End
                  Anderson, SC 29626


                  Kimberly Hernandez
                  334 N Sycamore St
                  Marysville, OH 43040


                  Kimberly Heumann
                  2813 Bellwood Avenue
                  Ann Arbor, MI 48104


                  Kimberly Hill
                  435 North Timberlake Ln
                  HARTSVILLE, SC 29550


                  Kimberly Hocker
                  251 North Street
                  Danville, IN 46122


                  Kimberly Johns
                  6384 Perry rd
                  6384 Perry Rd, MI 48439


                  Kimberly Johns
                  6384 Perry Road
                  Grand Blanc, MI 48439


                  Kimberly Johnson
                  510 Trebisky Rd
                  Richmond Heights, OH 44143


                  Kimberly Johnson
                  10936 Grantwood Ave
                  Cleveland, OH 44108


                  Kimberly Koon
                  2067 Hackmann Estates Drive
                  Saint Charles, MO 63303
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                  Kimberly Land
                  4589 Keno Rd
                  Burnside, KY 42519


                  Kimberly Les
                  10337 Washburn Road
                  Columbiaville, MI 48421


                  Kimberly Lewis
                  4712 Dryden Road
                  Dryden, MI 48428


                  Kimberly Lynn
                  355 Talley Rd
                  Reidsville, NC 27320


                  Kimberly McClure
                  11782 Bunton Road
                  Willis, MI 48191


                  Kimberly McConnell
                  175 Wagner Road
                  Marietta, OH 45750


                  Kimberly McGlinchey
                  1907 Thorndyke Ln
                  Bryan, TX 77807


                  Kimberly McGlory
                  4930 Alaina Dr
                  Rosharon, TX 77583


                  Kimberly McLaurin
                  205 Shaw Road
                  Hamlet, NC 28345


                  Kimberly Morin
                  8097 Groger Rd
                  Onstead, MI 49265


                  Kimberly Mumphard
                  519 Springdale Drive
                  Belleville, IL 62223
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                  Kimberly Nyvoll
                  1018 W Virginia Blvd
                  Marion, VA 24354


                  Kimberly Revie Buchheit
                  7135 Bruno Avenue
                  Maplewood, MO 63143


                  Kimberly Riley
                  8197 Irish Rd
                  Millington, MI 48746


                  Kimberly Ross
                  4081 Golf Club Rd
                  Howell, MI 48843


                  Kimberly Ross
                  390 Freeman Rd
                  Waynesville, NC 28786


                  Kimberly Sanders
                  124 North Carolina 461
                  Winton, NC 27986


                  Kimberly Sayles
                  122 Harris Rd
                  Lake Lure,, NC 28746


                  Kimberly Schoneboom
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                  Quincy, MI 49082


                  Kimberly Shelton
                  3509 Normandy Hills Cir.
                  Greensboro, NC 27410


                  Kimberly Signorelli
                  7396 Drexler Rd
                  St Clair, MI 48079


                  Kimberly Simmons
                  409 Pepper Mill Ln
                  Norfolk, VA 23502
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                  Kimberly Smith
                  1447 Magnolia Dr
                  Bedford, VA 24523


                  Kimberly Warner
                  8454 Terri Dr
                  Westland, MI 48185


                  Kimberly Whitehurst
                  5304 Harpers Rd
                  McKenney, VA 23872


                  Kimberly Williams-Guillen
                  32725 SIBLEY RD
                  Romulus, MI 48174


                  KIMBERLY WINTERS
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                  Gary, IN 46404


                  Kimberly Zuniga
                  1625 Marion Avenue
                  Lincoln Park, MI 48146


                  Kimberly Zunker
                  2710 Sutton Road
                  Yellow Springs, OH 45387


                  Kimberlyn Towles
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                  Richmond, VA 23234


                  Kimbriel Odell
                  2627 New Hope Cir
                  Hephzibah, GA 30815


                  Kimeri Shull
                  113 East North Street
                  Dwight, IL 60420


                  Kimetha Perry
                  871 Ode Peppers Court
                  Winder, GA 30680
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                  Kimi Flischel-Kesling
                  453 Hyde Park Place
                  Xenia, OH 45385


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                  Standish, MI 48658


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                  Rockingham, NC 28379


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                  Mahomet, IL 61853


                  King Tutt Graphics LLC
                  1113 Transport Dr
                  Raleigh, NC 27603


                  Kinkela Kuedituka
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                  KINSTON williams
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                  Apex, NC 27539


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                  30 North Oak Court
                  Surf City, NC 28445


                  Kip Cerciello
                  65 Reed Rd
                  Avella, PA 15312
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                  Kip Lawson
                  617 Courageous Lane
                  Foristell, MO 63348


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                  Maineville, OH 45039


                  Kirby Trent
                  8095 West San Pierre Road
                  San Pierre, IN 46374


                  Kirby Wintermeyer
                  2764 St Clair Dr
                  Rochester, MI 48309


                  Kirk Castner
                  26159 Burg Road
                  Warren, MI 48089


                  Kirk Daniels
                  9880 Big Rock Drive
                  Fowlerville, MI 48836


                  Kirk Dodson
                  1167 Easter Mountain Ln
                  Boones Mill, VA 24065


                  Kirk Eichelberger
                  29021 naylor
                  Solon, OH 44139


                  Kirk Fox
                  3149 stuarts draft hwy stuarts draft va
                  Stuarts Draft, VA 24477


                  Kirk Fronczke
                  53 Marshlane Way
                  Clayton, NC 27527


                  Kirk Jackson
                  1102 Crystal Heights Road
                  Crystal City, MO 63019
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                  Kirk Jones
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                  Williamsburg, VA 23185


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                  Kirk Moyes
                  10507 N County Rd 400 E
                  Pittsboro, IN 46167


                  Kirk Peterson
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                  St. Clair Shores, MI 48080


                  Kirk Russell
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                  Sanford, NC 27332


                  Kirk Woodman
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                  Wyandotte, MI 48192


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                  Kirsten Breeden
                  188 W Main St
                  Orange, VA 22960


                  Kirsten Murphy
                  64754 Winterwoods Dr
                  Lawton, MI 49065
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                  Kirsten Thomas
                  206 Summerfield Drive
                  Pikeville, NC 27863


                  Kirsten Vaughan
                  9024 Mulberry Rd
                  Chesterland, OH 44026


                  Kirstene Forsyth
                  395 Brann Road
                  Browns Summit, NC 27214


                  Kisha Moise-Lubin
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                  Kissleayanic Holloway
                  107 Smith Street
                  Pembroke, VA 24136


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                  Paragon, IN 47433


                  Kitty Trigger
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                  Kitty Wynter
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                  Chesapeake, VA 23323


                  Kiva Small
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                  Swayzee, IN 46986


                  Kizzy Lewis Phillips
                  1044 Solstice Street
                  Rural Hall, NC 27045
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                  Kizzy Weathersby
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                  Kodie Evans
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                  918 West 39th Place
                  Hobart, IN 46342
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                  Koffi Assila
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                  Salem, VA 24153


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                  Konrad Anderson
                  1234 S. Finn Rd
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                  Stanardsville, VA 22973


                  Kory Briner
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                  Montpelier, OH 43543


                  Kory Caldwell
                  9141 Oregonia Rd
                  Waynesville, OH 45068


                  Kory Chapman
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                  Greenfield, IL 62044


                  Kory Kerkhof
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                  Livonia, MI 48152


                  Kory Montiel
                  2512 Northeast Dale Hunter Place
                  Lee's Summit, MO 64086


                  Kory Trummer
                  160 E Redwood St
                  Dana, IN 47847


                  Kourtney Dill
                  819 North Green River Road
                  Gaffney, SC 29341


                  Krag Bullis
                  245 Cardinal Lane
                  shacklesfords, VA 23156
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                  Kramer Levin Naftalis & Frankel, LLP
                  1177 Avenue of the Americas
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                  Kreigh Tomaszewski
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                  Kris Beaven
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                  Louisville, KY 40272


                  Kris Cole
                  339 South Behnke Road
                  Coldwater, MI 49036


                  Kris Dukes
                  7233 East 3550 North Road
                  Rossville, IL 60963


                  Kris Irwin
                  410 Foxcroft Dr
                  Monroe, VA 24574


                  Kris Kareus
                  22316 Avon Street
                  St. Clair Shores, MI 48082


                  Kris Kuchta
                  42130 Mac Rae Dr
                  Sterling Heights, MI 48313


                  Kris Lachowski
                  8708 Sumner Rd
                  Chardon,, OH 44024


                  Kris Lada
                  4849 Bricker Road
                  Avoca, MI 48006


                  Kris Matzenbacher
                  319 Pearl St
                  Anderson, IN 46017
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                  Kris Miller
                  3456 W Temperance Rd
                  Lambertville, MI 48144


                  Kris Turner
                  1630 Hiser Station Road
                  Milton, IN 47357


                  Kris White
                  17300 Tuma Run Rd
                  Utica, OH 43080


                  Krista Davis
                  907 Bennett Street
                  McKeesport, PA 15132


                  Krista Hickman
                  566 N Kristi Rd
                  Martinsville, IN 46151


                  Krista Hilliard
                  56 Iron Will Cove
                  Waynesville, NC 28785


                  Krista Hogan
                  2810 Bradford Way
                  Maryville, TN 37803


                  Krista Massa
                  218 Woodside Court
                  Valparaiso, IN 46385


                  Krista Robbins
                  493 Lehigh Road
                  covington township, PA 18424


                  Krista Schmidt
                  7015 Ten Hill Dr
                  West Bloomfield Township, MI 48322


                  Krista Shelton
                  125 Chestnut Ridge Drive
                  Wright City, MO 63390
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                  Krista Steier
                  7628 Main St NE
                  Lanesville, IN 47136


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                  3605 Turner Road
                  Richmond, IN 47374


                  Kristal Goetz
                  353 Timberwood Drive
                  Woodruff, SC 29388


                  Kristal Leverett
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                  Detroit, MI 48214


                  Kristan Hobgood
                  220 rifle rd
                  Ashland, TN 37015


                  Kristan Sivells
                  8649 Pocahontas Trail
                  Williamsburg, VA 23185


                  Kristen Bohn
                  920 North Pike Road
                  Cabot, PA 16023


                  Kristen Currier
                  8693 Gulf Road
                  North East, PA 16428


                  Kristen Hudson
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                  Rockingham, NC 28379


                  Kristen Kosatka
                  7314 Taft St
                  Mentor, OH 44060


                  Kristen Lancaster
                  1176 Regal Hills Ln
                  Manleton, GA 30126
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                  Kristen Langrehr
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                  Nashville, NC 27856


                  Kristen Morris
                  8420 Willett Lane
                  Bent Mountain, VA 24059


                  Kristen Nightingale
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                  Kristen Perry TEST
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                  ROANOKE, VA 24016


                  Kristen Vena
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                  Kristen White
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                  Kristen Wolfe
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                  Temple, PA 19560


                  Kristi Brewer
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                  Charleston, IL 61920


                  Kristi Durham
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                  Kristi Henry
                  5380 Center Street
                  Clarkston, MI 48346
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                  Kristi Lawless
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                  Richlands, NC 28574


                  Kristi Slaby
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                  Kristi Vilminot
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                  Kristi Watty
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                  Whittier, NC 28789


                  Kristian Hughes
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                  Kristian Moorman
                  412 S State St
                  Athens, WV 24712


                  Kristian Wilson
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                  Detroit, MI 48227


                  Kristie Claytor
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                  Troutville, VA 24175


                  Kristie Diehl
                  130 Tanyard Bridge Road
                  Elkton, VA 22827
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                  Kristie Hornick
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                  Kristin Brady
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                  Kristin Geiger
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                  Kristin Haut
                  26 Spring Hill Lane
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                  Kristina Case
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                  350 Hilton Rd NC
                  Advance, NC 27006
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                  Kristopher Hollen
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                  grove city, PA 16127


                  Kristopher Kyzar
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                  Kristopher Meek
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                  Kristopher Paul
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                  Kristy Pitchford
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                  Kuksi Vodoley
                  6379 Stoney Creek Dr
                  Huber Heights,, OH 45424


                  Kuku Girma
                  12010 Teeside Dr
                  Fredericksburg, VA 22407


                  Kul Rai
                  608 Spring Leaf Ct
                  Greensboro, NC 27455
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                  Kurat Sinka
                  120 Denbar Rd
                  Bloomfield Hills, MI 48304


                  KURT BEYREIS
                  1730 Van Buren Road
                  Maurertown, VA 22644


                  Kurt Bradtke
                  1016 Ormond Court
                  Virginia Beach, VA 23464


                  Kurt Cook
                  105 Camberly Ln
                  Aberdeen, NC 28315


                  Kurt Doughty
                  3394 Albany Road
                  Terre Haute, IN 47802


                  Kurt Fisher
                  37 Lookout Drive
                  Columbia, IL 62236


                  Kurt Hiller
                  3069 Silver Maple Dr
                  Virginia Beach, VA 23452


                  Kurt Hunter
                  518 Plum Street
                  Wyandotte, MI 48192


                  Kurt Jones
                  402 N 1st St
                  Wolcottville, IN 46795


                  KURT KRUEGER
                  8387 Pine Island Drive
                  Crown Point, IN 46307


                  Kurt Lair
                  10394 Hegel Rd
                  Goodrich, MI 48438
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                  Kurt Majewski
                  11682 Poplar Grove Road
                  Poplar Grove, IL 61065


                  Kurt Miller
                  55 Paul Street
                  Ashland, PA 17921


                  Kurt Ohlau
                  5844 Volunteer Ln
                  Martinsville, IN 46151


                  Kurt Potts
                  667 Pearman Avenue
                  Radcliff, KY 40160


                  Kurt Smith
                  2326 Teaberry Lane
                  Lock Haven, PA 17745


                  Kurt Stockmaster
                  7060 township hwy 204
                  belevue, OH 44811


                  Kurt Wicker
                  625 s ovid St
                  Elsie, MI 48831


                  Kurtis Jackson
                  15008 Avening Court
                  Midlothian, VA 23112


                  Kutella Kevin
                  110 Genevieve Dr
                  Madisonville, KY 42431


                  Kwabena Koranteng
                  47 Fulton Street
                  Hampton, VA 23663


                  Kyle Aiken
                  7787 Dragonhead Road
                  Fayetteville, NC 28311
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                  Kyle Anderson
                  217 East South Street
                  Durand, IL 61024


                  Kyle Arreguin
                  5472 S Harlan Dr
                  Rochelle, IL 61068


                  Kyle Bailey
                  4440 Richards Rd
                  Davison, MI 48423


                  Kyle Becker
                  65143 Sevison Rd
                  Constantine, MI 49042


                  Kyle Borgan
                  6395 Winchester Road Northwest
                  Carroll, OH 43112


                  Kyle Boyd
                  627 North Washington Street
                  Bloomfield, IN 47424


                  Kyle Brown
                  9274 Ridge Rd
                  Lancaster, VA 22503


                  Kyle Brugger
                  3307 Lark Drive
                  Arnold, MO 63010


                  Kyle Bruhn
                  306 Honey Court West
                  Jacksonville, NC 28540


                  Kyle Caldwell
                  910 park avenue
                  Henderson, NC 27536


                  Kyle Catron
                  1458 Wards Rd
                  Altavista, VA 24517
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                  Kyle Chrzanowski
                  669 Braidwood Road
                  Memphis, MI 48041


                  Kyle Ciminillo
                  2691 Little Dry Run Road
                  Cincinnati, OH 45244


                  Kyle Cloven
                  29011 Oakmont Dr
                  New Baltimore, MI 48051


                  Kyle Cook
                  810 Prairie Street
                  Greenfield, IL 62044


                  Kyle Davidson
                  7995 Cedar Rd
                  Chesterland, OH 44026


                  Kyle Dean
                  232 Matthews Xing
                  Matthews, NC 28105


                  Kyle Dunbar
                  7821 TN-100 Nashville, TN 37221
                  Nashville, TN 37205


                  Kyle Estvanik
                  2200 Cambrian Way
                  Madison, OH 44057


                  Kyle Farson
                  112 Arlington Dr
                  Jamestown, NC 27282


                  Kyle Flamm
                  7883 Metropolitan Boulevard
                  Barnhart, MO 63012


                  Kyle Foresman
                  181 Show Horse Lane
                  Dobson, NC 27017
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                  Kyle Frische
                  1948 E McPherson Hwy
                  Clyde, OH 43410


                  Kyle Fuller
                  20112 Woodpecker Rd
                  Petersburg, VA 23803


                  Kyle Good
                  3857 East 800 South
                  Lynn, IN 47355


                  Kyle Hale
                  153 Stallings Road
                  Knotts Island, NC 27950


                  Kyle Handy
                  640 Blackthorne Drive
                  Chesapeake, VA 23322


                  Kyle Hardy
                  4220 County Road 724
                  Nacogdoches, TX 75961


                  Kyle Hathaway
                  500 Hazel Court
                  Muskegon, MI 49442


                  Kyle Heaton
                  6518 Ashbrook Drive
                  Fort Wayne, IN 46835


                  Kyle Hosenfeld
                  1945 McConnells Highway
                  Rock Hill, SC 29732


                  Kyle Humbard
                  1104 Western Ave
                  Fremont, OH 43420


                  Kyle Hunter
                  2834 Brumfield Rd
                  Crown City, OH 45623
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                  Kyle Ketten
                  125 Fitzpatrick Road
                  Mount Cobb, PA 18436


                  Kyle Koss
                  21410 Brooklyn Bridge
                  Sterling Heights, MI 48044


                  Kyle Kranich
                  17 Dixon Terrace
                  Candler, NC 28715


                  Kyle Kyle
                  28969 32 Mile Rd
                  Richmond,, MI 48062


                  Kyle Landry
                  231 Ponchartrain Dr
                  Fenton, MI 48430


                  Kyle Lauchlan
                  8900 Burr Street
                  Taylor, MI 48180


                  Kyle Lautzenhiser
                  189 Kentucky Derby LN
                  Lillington, NC 27546


                  Kyle Lemaster
                  8933 belsay rd
                  millington, MI 48746


                  Kyle Lemay
                  1127 Indian Trail
                  Lawrenceburg, KY 40342


                  Kyle Martin
                  2977 Greer Rd
                  Goodlettsville, TN 37072


                  Kyle Mauck
                  1401 N 16th St
                  Vincennes, IN 47591
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                  Kyle McCafferty
                  4246 Martin Rd
                  Warren, MI 48092


                  Kyle McGinnis
                  115 Ford Rd
                  Bumpass, VA 23024


                  Kyle McNulty
                  4845 east walnut street
                  Westerville, OH 43081


                  Kyle Merrill
                  8560 King Arthurs Ct,
                  Kingsley, MI 49649


                  Kyle Moreland
                  2818 Croton Rd
                  Centerburg, OH 43011


                  Kyle Morrison
                  420 Stanford Ct
                  Maysville, NC 28555


                  Kyle Phillips
                  163 woodland circle
                  Madison Hts, VA 24572


                  Kyle Pierce
                  5910 Marion-Williamsport Rd E
                  Caledonia, OH 43314


                  Kyle Pourciau
                  1304 Broadmoor Dr
                  O'Fallon, IL 62269


                  Kyle Quillen
                  7905 Dover Zoar Road Northeast
                  Dover, OH 44622


                  Kyle Raypole
                  315 Forest Street
                  Washington Court House, OH 43160
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                  Kyle Reed
                  201 Lincoln St
                  Kalkaska,, MI 49646


                  Kyle Reichle
                  313 Blue Sky Court
                  Monroe, VA 24574


                  Kyle Reis
                  22853 Teppert ave
                  Eastpointe, MI 48021


                  Kyle Reynolds
                  2360 U.S. 36
                  Pendleton, IN 46064


                  Kyle Rice
                  111 Roxbury Ln
                  Battle Creek, MI 49017


                  Kyle Richer
                  733 Sheppard Ave
                  Norfolk, VA 23518


                  Kyle Robinson
                  1026 Peidmont Drive
                  Fairborn, OH 45324


                  Kyle Robinson
                  3439 golfview ct
                  fairfield, OH 45014


                  Kyle Roman
                  921 West Leigh Street
                  Richmond, VA 23220


                  kyle rushing
                  31001 Coble Road
                  Logan, OH 43138


                  Kyle Schoenrock
                  46200 Jefferson Ave
                  New Baltimore, MI 48047
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                  Kyle Smith
                  3850 Grayson Drive
                  Winston-Salem, NC 27107


                  Kyle Stotesberry
                  1056 Toba Bowen Rd
                  Williamston, NC 27892


                  Kyle Talmadge
                  1923 Morrison Blvd
                  Canton, MI 48187


                  Kyle Traxler
                  15631 County Rd 1150
                  Montpelier, OH 43543


                  kyle turcotte
                  22840 Harper Lake Ave
                  St Clair Shores, MI 48080


                  Kyle Volk
                  425 West Co Road 1175 North
                  Farmersburg, IN 47850


                  Kyle von Kamp
                  603 Center Street
                  Ashland, OH 44805


                  Kyle Wallace
                  153 West 600 South
                  Fort Branch, IN 47648


                  Kyle Webb
                  606 Waynetown Road
                  Crawfordsville, IN 47933


                  Kyle Webb
                  9539 Smoky Row Road
                  Greens Fork, IN 47345


                  Kyle Williford
                  2218 Walters Division Rd
                  Monroe, NC 28110
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                  Kyle Zuvic
                  4 Chipewa Ct
                  Lakeville, PA 18438


                  Kylene Hesler
                  604 E Main St
                  Hillsboro, IN 47949


                  Kyler Rilett
                  3755 Van Horn Rd
                  Jackson, MI 49201


                  Kylie Collier
                  115 Beverly Avenue
                  Norfolk, VA 23505


                  Kylie Woods
                  15442 State Route 65
                  Wapakoneta, OH 45895


                  Kym Kurtz
                  497 Wayside Rd
                  Baskerville, VA 23915


                  Kyoko Keener
                  424 Marsh Grass Dr
                  Raleigh, NC 27610


                  Kyre Trotman
                  4008 Lakeview Drive
                  Chesapeake, VA 23323


                  Kyren Gunn
                  1103 Kelcrasta Dr
                  St Johnns, MI 48879


                  Kyron Meredith
                  1201 Clift Street
                  Fredericksburg, VA 22405


                  L'Harry Williams
                  7222 Capri St
                  Portage, MI 49002
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                  La-Netta Davis
                  1035 Mary Peake Blvd S
                  Hampton, VA 23666


                  Labor Law Compliance Center, LLC
                  23855 Gosling Road
                  Spring, TX 77389


                  Lac Do
                  731 S Broad Street
                  Lancaster,, OH 43130


                  Lacey Breker
                  12024 Woodstock Avenue
                  Pickerington, OH 43147


                  Lacey Keesee
                  2025 Powhatan Drive
                  Danville, VA 24540


                  Lacy Adkins
                  10756 Johnnycake Ridge Rd
                  Painesville, OH 44077


                  Lacy Carpenter
                  35260 Downing Ave
                  North Ridgeville, OH 44039


                  Lacy Hardy
                  3139 11 Mile Road
                  Auburn, MI 48611


                  Lacy Johnson
                  4320 Old Liberty Place
                  Greensboro, NC 27406


                  Lacy Rundell
                  3021 Steeple Chase Ct
                  Jacksonville, NC 28546


                  Lacy Scott
                  345 N Indiana Ave
                  Salem, IL 62881
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                  Ladell Traxler
                  3092 Hodges St
                  Connelly Springs, NC 28612


                  Laferne Harris
                  745 Churchmans Mill Road
                  Stuarts Draft, VA 24477


                  Lafontaine Motors
                  16555 Silver Parkway
                  Fenton, MI 48430


                  Laike Misikir
                  5972 Rollingwood Drive
                  Ann Arbor, MI 48103


                  LaJoya Roy
                  38710 Santa Barbara St
                  Clinton Twp,, MI 48036


                  Lakema Herb
                  2043 Staleys Farm Road
                  Asheboro, NC 27205


                  Lakesha Bentley
                  4063 ravine Gap Drive
                  Suffolk, VA 23434


                  Lakesha Smith
                  105 Willow Grove Way
                  Piedmont, SC 29673


                  Laketa Williams
                  5829 Lynwood Drive
                  Oak Lawn, IL 60453


                  Laketta Lee
                  703 Commons Dr
                  Gibsonville, NC 27249


                  Lakshimi Hancock
                  18601 Oak Drive
                  Detroit, MI 48221
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                  Lal Ralte
                  11582 E 650 N
                  Shirley, IN 47384


                  lal ruata
                  105 West Sunset Boulevard
                  Battle Creek, MI 49017


                  Lalei Gutierrez-Belzunce
                  22380 Berry Drive
                  Rocky River, OH 44116


                  Lalit Narkhede
                  1917 Condor Dr
                  Troy, MI 48084


                  Lamar Braggs
                  1012 Tatum Road
                  Shelbyville, KY 40065


                  LAMAR Brown
                  2409 HARLEY DR
                  GREENSBORO, NC 27406


                  Lamar Crocker
                  2965 Crockers Nub Rd
                  Kenly, NC 27542


                  Lamar Metzger
                  61323 County Road 15
                  Goshen, IN 46526


                  Lamar Person
                  224 W Belle St
                  Henderson, NC 27536


                  Lamar Robinson
                  34352 Barton Street
                  Westland, MI 48185


                  Lamis Fleischer
                  1367 Michael Way
                  Lansdale, PA 19446
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                  Lamont Bazemore
                  2004 Smalleys Dam Circle
                  Suffolk, VA 23434


                  Lamont Clayton
                  351 Waxwing Drive
                  Richmond, VA 23227


                  Lamont colquitt
                  24079 Konarska Court
                  Brownstown, MI 48134


                  Lamont Lieffers
                  1920 Leonard Street Northwest
                  Grand Rapids, MI 49504


                  Lan Trinh
                  4960 Cox-Smith Rd
                  Mason, OH 45040


                  Lana Atwell
                  14099 Round Hill Road
                  King George, VA 22485


                  Lana Brown
                  322 Main St W
                  Mount Carmel, TN 37645


                  Lana Gravil
                  6677 Penns Chapel Rd
                  Bowling Green, KY 42101


                  Lana Murrell
                  166 Tuttles Grove Road
                  Beaufort, NC 28516


                  Lana Phillips
                  201 Bristol Drive
                  Sylva, NC 28779


                  Lana White
                  7392 East Chiniquy Street
                  Saint Anne, IL 60964
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                  Lancaster City Income Tax
                  P.O. Box 128
                  Lancaster, OH 43130-0128


                  Lance Appleby
                  6950 Kalamazoo Ave SE
                  Caledonia, MI 49316


                  Lance Charlson
                  2 Hawthorn Street
                  Kimberling City, MO 65686


                  Lance Dickerson
                  10825 W Carleton Rd
                  Clayton, MI 49235


                  Lance Dorin
                  3181 Hungary town Rd
                  Blackstone, VA 23824


                  Lance Eyler
                  6549 Monroe Central Rd
                  Eaton, OH 45320


                  Lance Fargo
                  22492 Hatchtown Road
                  Spartansburg, PA 16434


                  Lance Goetz
                  13904 Beechwood Point Cir
                  Midlothian, VA 23112


                  Lance Greeson
                  513 Berry Ridge Ln
                  Suffolk, VA 23435


                  Lance Headden
                  210 Emerald Crest Court
                  Youngsville, NC 27596


                  Lance Hilliker
                  416 Corinth Circle
                  Dundee, MI 48131
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                  Lance Hockin
                  481 Willits Rd
                  Hastings, MI 49058


                  Lance Holt
                  3679 Wiestertown Rd
                  Export, PA 15632


                  Lance Kelley
                  2030 West Adams Road
                  Macomb, IL 61455


                  Lance Lord
                  7126 Ryerson Rd
                  Twin Lake, MI 49457


                  Lance Mahone
                  4703 Drexel Street
                  Detroit, MI 48215


                  Lance Manning
                  3170 Willowdale Drive
                  Macon, GA 31204


                  Lance Naidoo
                  5836 Sterling Trail
                  Dexter, MI 48130


                  Lance Percle
                  6126 Chicory Dr
                  Fort Wayne, IN 46835


                  Lance Primeaux
                  715 Osborn Avenue
                  Chesapeake, VA 23325


                  Lance Schreiber
                  183 Powell Ln
                  Front Royal, VA 22630


                  Lance Sensenig
                  1703 Kratzerville Road
                  Winfield, PA 17889
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                  Lance Stevenson
                  730 Hummingbird Circle
                  Salisbury, NC 28146


                  Lance Tipton
                  426 Aycock Road
                  Lexington, GA 30648


                  Lance Welker
                  824 East State Boulevard
                  Fort Wayne, IN 46805


                  Lance Whitsell
                  1277 W Scratch Gravel Rd
                  Liberty, IN 47353


                  Landa Jackson
                  342 N Timm Creek Ave
                  Spartanburg, SC 29376


                  Landy Sok
                  923 Oglethorpe Mountain Trail Box 20272
                  Big Canoe, GA 30143


                  Lane Francis
                  2515 Holman-Autry Road
                  Colbert, GA 30628


                  Langelo Yalo
                  38962 Willow Creek Pkwy
                  Westland, MI 48185


                  Lanina Long
                  723 Timberhill Drive
                  Chatham, IL 62629


                  Lanita Flowers
                  22404 Oakley Drive
                  Petersburg, VA 23803


                  LANNY DITTMER
                  1929 Gay Lane
                  Lansing, MI 48912
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                  LANNY LOGAN
                  509 West Louise Avenue
                  Morristown, TN 37813


                  Lanotta Gainey
                  4161 Frick Drive
                  Coward, SC 29530


                  Lanretta Coving
                  202 Wessex Road
                  Lynchburg, VA 24501


                  Laquanna Garraway
                  616 Creekstone Court
                  Jonesboro, GA 30236


                  Laquantis Point
                  2918 Garden Creek Road
                  Charleston, SC 29414


                  LaQuetta Robinson
                  407 Clemens Dr
                  Pikeville, NC 27863


                  Lara Dabbene
                  3844 William Penn Blvd
                  Virginia Beach, VA 23452


                  Lara Hite
                  688 Hazel Drive, Evington va 24550
                  Evington, VA 24550


                  Lara Jackson
                  20 Fairhaven Drive Northwest
                  Rome, GA 30165


                  Lara McDonald
                  5865 Carriage Ln
                  Mt Pleasant, MI 48858


                  Lara Morris
                  3594 Stockholm Rd
                  Westerville, OH 43081
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                  Lara West
                  4113 HIGHWAY 62 NE
                  Corydon, IN 47112


                  Laran Jones Gary
                  3332 Trotter Road
                  Columbia, SC 29209


                  LaRene Branch
                  160 Peaceful Ln
                  Spring Lake, NC 28390


                  Larie Glynn
                  12614 McGee Street
                  Kansas City, MO 64145


                  Larine Graham
                  553 Shaw Rd
                  Riegelwood, NC 28456


                  Larine Lee
                  1409 East Elm Street
                  Goldsboro, NC 27530


                  Larisa Vazquez
                  145 March Lane
                  Lexington, NC 27295


                  Laron Travioli
                  3841 N 25th St
                  Terre Haute, IN 47805


                  Laronda Howard
                  25341 Palomino Avenue
                  Warren, MI 48089


                  Larrie Malobenski
                  10961 Madison Road
                  Montville, OH 44064


                  Larry A Staffin
                  255 Mc Donald Hill Road
                  Frankfort, OH 45628
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                  Larry Abfall
                  44050 Middle Ridge Rd
                  Lorain, OH 44053


                  Larry Adams
                  5298 N Kruse Rd
                  Mount Zion, IL 62549


                  Larry Adams
                  6450 White Rd
                  Muskegon, MI 49442


                  Larry Adkins
                  1522 Clearview Heights Road
                  Charleston, WV 25312


                  Larry Allanson
                  382 Eastwood Dr
                  Staunton, VA 24401


                  Larry Ashby
                  1252 Tunnel Hill Road
                  Cameron, WV 26033


                  Larry Barnes
                  2817 Willowwood Ct
                  Chesapeake, VA 23323


                  Larry Barr
                  916 West Kickapoo Street
                  Hartford City, IN 47348


                  Larry Beal
                  42175 Adelbert St
                  Elyria, OH 44035


                  Larry Beal
                  42069 Adelbert Street
                  Elyria, OH 44035


                  Larry Beasley
                  4241 Georgia Street
                  Gary, IN 46409
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                  Larry Bell
                  908 Southwest Boulevard
                  Clinton, NC 28328


                  Larry Bloomfield
                  497 Fox Den Lane
                  Woodlawn, VA 24381


                  Larry Bridges
                  10244 Mariners Cove Ct
                  Belville,, NC 28451


                  Larry Brown
                  1302 Oakwood Dr
                  Colonial Heights,, VA 23834


                  Larry Butcher
                  6489 Morningside Drive
                  Lewis Center, OH 43035


                  Larry Byrd
                  118 Linda St
                  Judsonia, AR 72081


                  Larry Cain
                  475 Broaddus Dr
                  Zavalla, TX 75980


                  Larry Cameron
                  5805 Chase Lake Road
                  Fowlerville, MI 48836


                  Larry Campbell
                  405 Grandview Ave
                  New Castle, PA 16101


                  Larry Carr
                  1522 Thunderwood Lane Southwest
                  Mableton, GA 30126


                  Larry Caton
                  801 Cherry Ln
                  Smithville, MO 64089
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                  Larry Clay
                  10218 Legion Drive
                  Richfield Township, MI 48656


                  Larry Cole
                  1028 Caroline Dr
                  Richmond, KY 40475


                  Larry Cole
                  709 Ridgeway-Warrenton Rd
                  Norlina, NC 27563


                  LARRY COLLINS
                  128 Burton Hills Circle
                  Gastonia, NC 28054


                  Larry Cooper
                  26142 Brest
                  Taylor, MI 48180


                  Larry Courtheyn
                  1575 Chaun Dr SE
                  Minerva, OH 44657


                  Larry Cox
                  7827 Gardner Road
                  Georgetown, OH 45121


                  Larry Craig
                  4377 Stewart Rd
                  Metamora, MI 48455


                  Larry Culler
                  6685 e.southrange rd.
                  Petersburg, OH 44454


                  Larry Custer
                  997 Ohara Drive
                  Dandridge, TN 37725


                  Larry Davis
                  7131 Great Bear Ct
                  Fort Wayne, IN 46815
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                  Larry Davis
                  1448 Warrenton Rd
                  Henderson, NC 27537


                  Larry Deathridge
                  216 S Castle Street
                  Knoxville, TN 37914


                  Larry Derscheid
                  4181 70th Ave
                  Evart, MI 49631


                  Larry Doan
                  3750 Bangor Rd
                  Bay City, MI 48706


                  Larry Dobbs
                  6415 Deland Ave
                  Fayetteville, NC 28303


                  Larry Donner
                  5200 Baner Road
                  Jackson, MI 49201


                  Larry Duncan
                  424 Horton Creek Road
                  Helen, GA 30545


                  Larry Duncan
                  1102 Jackson Blvd
                  Rochester, IN 46975


                  Larry Dunn
                  504 North Jefferson Street
                  Raymore, MO 64083


                  Larry Early
                  1513 Westwood Ave
                  columbus, OH 43212


                  Larry Eblin
                  1867 Bucklick Road
                  Jackson, OH 45640
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Larry English
                  11 Eileen Rd
                  Wyoming, PA 18644


                  Larry Farmer
                  6354 Sour Run Rd
                  Wellston, OH 45692


                  Larry Faw
                  25700 Pineview Ave
                  Warren, MI 48091


                  Larry Felske
                  7915 State Route 101 W
                  Castalia, OH 44824


                  Larry Fisher
                  5272 Golf Club Road
                  Howell, MI 48843


                  Larry Fisher
                  1159 Highland Dr
                  Mechanicsburg, PA 17055


                  Larry Flewelling
                  4264 E River Rd
                  Buchanan, MI 49107


                  Larry Flohr
                  4317 Briarwood Court
                  York, PA 17408


                  Larry Gamble
                  536 Oak St
                  Newcomerstown, OH 43832


                  Larry Gangewere
                  5934 Portland Drive
                  Bath, PA 18014


                  Larry Garrett
                  3295 Morgan Ross Rd
                  Hamilton,, OH 45013
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Larry Gergau
                  31043 Pierce Avenue
                  Garden City, MI 48135


                  Larry Giles
                  55 Elmwood Dr
                  Jackson, TN 38305


                  larry gist
                  6324 Amarillo Dr
                  Fort Wayne, IN 46816


                  Larry Glisan
                  685 W 4th St
                  Dallas City, IL 62330


                  Larry Gouge
                  1099 N Lilac Ln
                  Salisbury, NC 28147


                  Larry Green
                  13855 Timbers Road
                  Carleton, MI 48117


                  Larry Gressett
                  313 Cotten Ln
                  Zavalla, TX 75980


                  Larry Grice
                  6373 West 250 North
                  La Porte, IN 46350


                  Larry Grube
                  47985 Morning Star Road
                  Racine, OH 45771


                  Larry Gutierrez
                  20829 Lincoln Road
                  Sterling, IL 61081


                  Larry H Roberson Jr.
                  111 Sherwood Drive
                  Washington, GA 30673
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                  Larry Haas
                  14725 Crackerneck Rd
                  Trenton, IL 62293


                  Larry Haggart
                  1173 Audubon Road
                  Grosse Pointe Park, MI 48230


                  Larry Hale
                  3421 State Hwy 7
                  Madison, IN 47250


                  Larry Hall
                  247 Main Street
                  Wilmington, OH 45164


                  Larry Hamlin
                  302 Terry Avenue
                  Oak Hill, WV 25901


                  Larry Hamon
                  12329 Montgomery Rd
                  Fredericktown, OH 43019


                  Larry Hardwicke
                  393 Victoria Ln
                  Heathsville,, VA 22473


                  Larry Harer
                  107 Jeffrey Lane Road
                  Heath, OH 43056


                  Larry Harris
                  3466 Taneytown Rd
                  Gettysburg, PA 17325


                  Larry Hatfield
                  36429 Hees Street
                  Livonia, MI 48150


                  Larry Herwig
                  2925 NC Highway 33 W
                  Grimesland, NC 27837
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                  Larry Hick
                  16950 Maryland St
                  Southfield, MI 48075


                  Larry Holsey
                  4322 Pasuth Lane
                  Conley, GA 30288


                  Larry Hornbuckle
                  1944 wayne Route-P
                  lowndes, MO 63951


                  larry howard
                  1492 Bull Run Road
                  Minford, OH 45653


                  Larry Howell
                  1537 Silver Star Dr
                  Raleigh,, NC 27610


                  Larry Howland
                  9925 Kiousville Georgesvill Road
                  Mount Sterling, OH 43143


                  Larry Huddle
                  8059 Hambrick Road
                  Bonne Terre, MO 63628


                  Larry Hudson
                  7079 Hopkins Circle
                  Gloucester, VA 23061


                  Larry Jackson
                  60 Wilmont Drive
                  Norton Shores, MI 49444


                  Larry Jackson
                  3807 Allen Dr
                  North Branch, MI 48461


                  Larry Jackson
                  1177 Brittle Ridge Rd
                  Warrenton, VA 20187
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                  Larry Jacobs
                  1934 Whistling Rufus Road
                  Pembroke, NC 28372


                  Larry Jacox
                  236 Battle Creek Street
                  Ceresco, MI 49033


                  Larry Jeltz
                  905 sadler court
                  Carlisle, PA 17013


                  Larry Jochum
                  936 Summerside Ct
                  Virginia Beach, VA 23456


                  Larry Johnisee
                  691 W Michigan Ave
                  Jacksonville, IL 62650


                  Larry Johnson
                  1100 Eddystone Drive
                  Amherst, OH 44001


                  Larry Johnson
                  6150 Silver Road
                  Manning, SC 29102


                  Larry Journell
                  184 Tranquility Drive
                  Pearisburg, VA 24134


                  Larry Kemper
                  22 Lasalle Circle
                  Gallipolis, OH 45631


                  Larry King
                  122 General Griffith Cir
                  Rutherfordton, NC 28139


                  Larry King
                  106 louise ave
                  Montgomery, PA 17752
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                  Larry King
                  109 altavista dr
                  liberty, SC 29657


                  Larry Kingsbury
                  5386 Meridian Rd
                  Haslett, MI 48840


                  Larry Kiser
                  1149 Tilley Rd
                  Walnut Cove, NC 27052


                  Larry Kissell
                  153 Kissell Drive
                  Biscoe, NC 27209


                  Larry Klavitter
                  18374 Hickory Ridge Rd
                  Fenton,, MI 48430


                  Larry Kraus
                  1237 Quiet Hills Ln
                  Effort, PA 18330


                  Larry Krile
                  5324 Jeannie Dr NW
                  Carroll, OH 43112


                  Larry Landsness
                  2717 Creon Court
                  De Soto, MO 63020


                  Larry Latunski
                  305 Elmwood Drive
                  Corunna, MI 48817


                  Larry Lazor
                  427 Champion Ave West
                  Warren, OH 44483


                  larry Lefowyk
                  5391 East Bevens Road
                  Deford, MI 48729
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                  Larry Lemieux
                  14193 Grandview Court
                  Somerset, MI 49281


                  Larry Littell
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                  Petersburg, VA 23803


                  larry little
                  3623 Poplar Drive
                  Efland, NC 27243


                  Larry Lockett
                  4313 Woodlawn Dr.
                  Raleigh, NC 27616


                  Larry Longworth
                  7809 Brooks Rd
                  Brown City, MI 48416


                  Larry Lott
                  12027 East Coldwater Road
                  Columbiaville, MI 48421


                  Larry Luedtke
                  344 S Church St
                  Coats, NC 27521


                  Larry Main
                  7699 Murphy Lake Road
                  Millington, MI 48746


                  Larry Malone
                  1296 Irvin Shoots Rd.
                  Morral, OH 43337


                  Larry Marsh
                  190 Fawns Rest Road
                  Siler City, NC 27344


                  Larry McDonald Jr
                  2618 Angier Avenue
                  Durham, NC 27703
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                  Larry Mckinnon
                  14146 hickory oaks lane
                  Ashland, VA 23005


                  Larry Mercer
                  1509 S. Longwood Dr
                  Alexandria, IN 46001


                  Larry Merx
                  39 Judd Rd
                  Milan, MI 48160


                  Larry Milligan Sr.
                  139 Oakwood Dr
                  Stafford, VA 22554


                  Larry Moore
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                  Ocean Isle Beach, NC 28469


                  Larry Mouser
                  10025 State Rd Bb
                  Hillsboro, MO 63050


                  Larry Murray
                  1020 Blain Hwy
                  Waverly, OH 45690


                  Larry Nattier
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                  Xenia, IL 62899


                  Larry New
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                  Bedford, IN 47421


                  Larry Newton
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                  Houghton Lake, MI 48629


                  Larry Newton
                  598 Brown Road
                  Gibsonville, NC 27249
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                  Larry Nichols
                  6604 Whitehorse Avenue
                  Kalamazoo, MI 49048


                  Larry Nodnoc
                  10055 Mortenview Dr
                  Taylor,, MI 48180


                  Larry Norman
                  1570 Twin Oaks Lane
                  marion, VA 24345


                  LARRY NUNAMAKER
                  132 Lakeview Road
                  Ford City, PA 16226


                  larry offerdahl
                  1234 Underwood Rd,
                  Roseboro, NC 28382


                  LARRY PALMBOS
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                  Fennville, MI 49408


                  larry parks
                  4644 Tama Road
                  Celina, OH 45822


                  larry penny
                  2180 Primrose Lane
                  Kinston, NC 28504


                  Larry Perkins
                  1101 Twin Lakes Dr
                  Southport, NC 28461


                  Larry Peters
                  5979 South State Road 67
                  Pendleton, IN 46064


                  Larry Petty
                  1152 champion ferry rd
                  Gaffney, SC 29341
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                  Larry Pigg
                  608 Drakes Lane
                  Summertown, TN 38483


                  Larry Pike
                  3660 Hosiers Oaks Dr
                  Portsmouth, VA 23703


                  Larry Pittenger
                  880 Lick Run Road
                  Williamsport, PA 17701


                  Larry Pogodzinski
                  13770 Myers Lake Avenue Northeast
                  Cedar Springs, MI 49319


                  Larry Pope
                  794 Fox River Road
                  Valparaiso, IN 46385


                  Larry Pope
                  914 Dewitt Helms Rd
                  Monroe, NC 28112


                  Larry Porada
                  90 Dutchtown Road
                  Punxsutawney, PA 15767


                  Larry Presley
                  180 Fox Squirrel Circle
                  Columbia, SC 29209


                  Larry Proctor
                  445 Bramblewood Heights Rd
                  Marietta, OH 45750


                  Larry Ray
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                  Dayton,, OH 45459


                  Larry Reep
                  2453 S Brushwood Circle
                  Newton, NC 28658
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                  Larry Richmond
                  82 Kildav Loop Road
                  Evarts, KY 40828


                  Larry Riehl
                  777 Chapel Road
                  Fremont, OH 43420


                  Larry Riigs
                  5450 Strawberry Plains Pike
                  Knoxville, TN 37914


                  Larry Sachs
                  4590 W. Garrison Rd.
                  Laingsburg, MI 48867


                  Larry Scalf
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                  East China, MI 48062


                  Larry Schofield
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                  Farwell, MI 48622


                  Larry Scragg
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                  Leetonia, OH 44431


                  Larry Sellers
                  250 Perciful St
                  Mount Vernon, KY 40456


                  Larry Shaw Sr.
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                  Johnstown, PA 15902


                  Larry Shirley
                  4 Harmon Drive
                  Lebanon, IL 62254


                  Larry Sinclair
                  2102 East Lawrence Street
                  Decatur, IL 62521
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                  Larry Smith
                  421 North 25 Road
                  Boon, MI 49618


                  Larry Smith
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                  Delco, NC 28436


                  Larry Smith
                  921 Open Field Dr
                  Garner, NC 27529


                  Larry Smith
                  9800 Meeker Rd
                  Dayton, OH 45414


                  Larry Smith
                  126 Bent Tree Dr
                  Blairs, VA 24527


                  Larry Sprague
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                  Durand, MI 48429


                  Larry Stanley
                  7627 Smalley Rd
                  Windham, OH 44288


                  Larry Studebaker
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                  Greenfield, IN 46140


                  Larry Taylor
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                  Elmhurst, IL 60126


                  Larry Taylor
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                  De Soto, MO 63020


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                  11499 Barnum Lake Rd
                  Fenton, MI 48430
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                  Larry Thomas
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                  Hawthorn Woods, IL 60047


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                  Statesville, NC 28677


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                  De Soto, MO 63020


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                  Kansas City, KS 66109


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                  Romulus, MI 48174


                  Larry Walker
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                  Danville, IL 61832


                  Larry Wall
                  4600 Meadows Dr
                  Jeffersonville, IN 47130


                  larry walla
                  1341 Frelsburg Road
                  Alleyton, TX 78935


                  Larry Walters
                  10128 Georgia 301
                  Trenton, GA 30752


                  Larry Waters
                  4470 NC Highway 118
                  Grifton, NC 28530
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                  Larry Watson
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                  McDonough, GA 30253


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                  Larry Wilson
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                  Weaverville, NC 28787


                  Larry Wilson
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                  Elyria, OH 44035


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                  12160 Bayus Rd
                  Albion, PA 16401


                  Larry Yerk
                  6282 West 700 South
                  Chalmers, IN 47929


                  Larry Yoder
                  12737 Arnold Rd
                  Orrville, OH 44667


                  Larry Zakora
                  718 S Clinton St
                  Charlotte, MI 48813


                  Larry/Lawrence Chipner
                  9559 Whippoorwill Rd
                  Diamond, OH 44412
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                  LarryLora Fogerson
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                  Larwrence Jordan Jordan
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                  Glen Allen,, VA 23059


                  Lasandra Wall
                  1013 Candytuft Court
                  Franklin, TN 37067


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                  Cincinnati, OH 45240


                  Lashay Cross
                  5308 Montevista Dr
                  Greensboro, NC 27407


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                  Burlington, MI 49029


                  Lashon English
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                  Ridgeway, SC 29130


                  LaShonda Perkins
                  17712 Grassland Drive
                  Brownstown, MI 48193


                  Laszlo Hoesel
                  3672 Prospect Road
                  Ann Arbor, MI 48105


                  Latasha Copening
                  2516 National St
                  Henrico, VA 23231


                  LaTasha Johnson
                  1529 mammy ln
                  Clarksville, TN 37042
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                  Lateefah Irvine
                  3532 Lena Lane
                  Greenville, NC 27834


                  Lateria Philips
                  6304 Springcrest Lane
                  Richmond, VA 23231


                  Latif fakhoury Fakhoury
                  409 Woods Ammons Road
                  Mars Hill, NC 28754


                  Latisa Lee
                  1519 Ellsworth Avenue
                  Columbus, OH 43206


                  Latisha Tolliver
                  4019 South 1st Street
                  Louisville, KY 40214


                  Latisha Ware
                  14315 Merriweather Pl
                  Warren, MI 48089


                  LaTonya Boyce
                  3204 Lost Pond Ct
                  Triangle, VA 22172


                  LaTonya Fleming
                  6099 Bitterroot Drive
                  Westerville, OH 43081


                  LaTonya Hicks
                  178 John Davis Dr
                  Georgetown, KY 40324


                  LaTonya Martin
                  5818 Ironhorse Road
                  Richmond, VA 23234


                  LaTosha Chambliss
                  813 East Irvington Avenue
                  South Bend, IN 46614
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                  Latosha Pawnell
                  25 Fourscore Dr
                  Belleville, IL 62226


                  LaToya Gaines
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                  Beavercreek, OH 45430


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                  Latrice Dewitt
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                  Latricia Beer
                  Ravid & Associates, P.C.
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                  Lauise Stahl
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                  Lauletta Birbaum LLC
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                  Sewell, NJ 08080


                  Laura Adams
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                  Newport News, VA 23605


                  Laura Adkins
                  3184 State Rd S-14-28
                  Alcolu, SC 29001


                  Laura alley
                  303 W Dawes St
                  Broughton, IL 62817


                  Laura Baird
                  3491 Metcalf Rd
                  Fort Gratiot Twp, MI 48059
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                  Laura Beggs
                  109 North 7th Street
                  New Douglas, IL 62074


                  Laura Belanger
                  4636 Ashley View Lane
                  North Charleston, SC 29405


                  Laura Benavides
                  1697 Grandview Drive
                  Rochester Hills, MI 48306


                  Laura Bernfield
                  8235 West 1200 North
                  Monticello, IN 47960


                  Laura Brye
                  412 Westside Station Dr
                  Winchester, VA 22601


                  Laura Buchanan
                  420 South street
                  Woodville, OH 43469


                  Laura Bunting
                  5188 Dumon Road
                  Belding, MI 48809


                  Laura Bush
                  120 Jim Rucker Road
                  Swansea, SC 29160


                  Laura Ceballos
                  10319 Creek Bend Dr Lot A
                  Needville, TX 77461


                  Laura Certa
                  1104 Kings Mill Ct
                  Chesapeake, VA 23320


                  Laura Corkill
                  7230 Rockland Drive
                  Charlotte, NC 28213
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                  Laura Cowell
                  12211 Farrand rd
                  Otisville, MI 48463


                  Laura Curtin
                  2750 Chestnut Lane
                  Easton, PA 18040


                  Laura DeYoung
                  107 Birchwood Road
                  Hawley, PA 18428


                  Laura Diaz
                  188 Pleasantview Drive
                  Battle Creek, MI 49017


                  Laura Durbin
                  525 S Pine St
                  Arthur, IL 61911


                  Laura Eakman
                  542 Cornetti Rd
                  Fenelton, PA 16034


                  Laura Eldridge
                  164 McLemore Rd
                  Taft, TN 38488


                  Laura Friz
                  1213 Ransom Road
                  Leasburg, MO 65535


                  Laura Godwin
                  131 Sonora Dr SE
                  Calhoun, GA 30701


                  Laura Gute
                  10891 Fountain Street Rd
                  Mark Center,, OH 43536


                  Laura Haggard
                  1705 West 39th Street
                  Chattanooga, TN 37409
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                  Laura Haimes
                  2241 Woodcrest Drive
                  Wheelersburg, OH 45694


                  Laura Harvey
                  1012 Ranch Rd
                  Connersville, IN 47331


                  Laura Hauter
                  5942 Whitehorse Court
                  west chester township, OH 45069


                  Laura Hensel
                  3470 Imlay City Rd
                  Attica, MI 48412


                  Laura Heskett
                  2421 Fulford St
                  Kalamazoo, MI 49001


                  Laura Hester
                  1105 Cresthaven Road
                  Lewisville, NC 27023


                  Laura Howard
                  564 Carter Route F
                  Van Buren, MO 63965


                  Laura Hudman
                  3703 Brandon Drive
                  High Point, NC 27265


                  Laura Jackson
                  2495 Kemler Rd
                  Eaton Rapids, MI 48827


                  Laura Jacomet
                  5061 Camden Street
                  Indianapolis, IN 46227


                  Laura Jenkins
                  10715 Settlers Landing
                  Ware, VA 23061
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                  Laura Johnson
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                  Union City, PA 16438


                  Laura Kelley
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                  Union City, PA 16438


                  Laura Kelley
                  3110 Mud Pike
                  Christiansbrg, VA 24073


                  Laura Lambright
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                  Perrinton, MI 48871


                  Laura Legget
                  20562 Woodward Street
                  Clinton Township, MI 48035


                  Laura Ligrow
                  6886 Herron Dr
                  Cass City, MI 48726


                  Laura Maddux
                  1255 Airport Rd
                  Paxinos, PA 17860


                  Laura Magoon
                  5123 marsh Rd
                  Kingsley, MI 49649


                  Laura Manlove
                  5105 E Nicholson Hollow Rd
                  Salem, IN 47167


                  Laura Marinack
                  2333 West Reid Road
                  Flint, MI 48507


                  Laura Martin
                  6824 west 800 north
                  Lake Village, IN 46349
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                  Laura Martin
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                  Raleigh, NC 27616


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                  Grover Hill, OH 45849


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                  Brooklyn, MI 49230


                  Laura Niederquell
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                  Pound, VA 24279


                  Laura OBrien
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                  Berea, OH 44017


                  Laura Parker
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                  Kenockee, MI 48006


                  Laura Pennington
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                  Princeton, WV 24740


                  Laura Roman
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                  Fort Wayne, IN 46814


                  Laura Schaeffer
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                  Taylor, MI 48180


                  Laura Schmidt
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                  862 S 1200 W
                  Russiaville, IN 46979
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                  Laura Strait
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                  Laura Summers
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                  Laura Swien
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                  Laura Thomas
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                  Laura Thomas
                  25354 Lincolnville Rd
                  Union City,, PA 16438


                  Laura Thorpe
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                  Mechanicsville, VA 23116


                  Laura Veen
                  107 Creighton Drive
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                  Laura Wachowski
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                  Downers Grove, IL 60515


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                  Laura Warner
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                  Shelby Township, MI 48316


                  Laura Warrick
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                  Macomb, MI 48042


                  Laura Wimmer
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                  Ashland, VA 23005


                  Laura Woodard
                  270 Dogwood Dr
                  Wytheville, VA 24382


                  Laura Wright
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                  Cleveland, TN 37311


                  Lauralie Pope
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                  Laurel Burke
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                  Creve Coeur, MO 63141


                  Laurel Price
                  606 E County Rd
                  Drums, PA 18222
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                  Laurelle Moseley
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                  Norfolk, VA 23505


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                  Spartanburg, SC 29301


                  Lauren Beckner
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                  Troutville, VA 24175


                  Lauren Braxton
                  2023 Tradewinds Drive
                  Missouri City, TX 77459


                  Lauren Bushnell
                  136 Gillie Lane Lot 41
                  Blue Ridge, VA 24064


                  Lauren Cantwell
                  523 Linden St SE
                  Roanoke, VA 24014


                  Lauren Childers
                  275 Stirewalt Rd.
                  China Grove, NC 28023


                  Lauren Edwards
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                  Barryton, MI 49305


                  Lauren Elmore
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                  Hampton, VA 23661


                  Lauren Le Roux
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                  Cincinnati, OH 45243


                  Lauren Moran
                  20700 18 Mile Road
                  Big Rapids, MI 49307
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                  Lauren Murray
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                  Charlotte, NC 28205


                  Lauren Simmons
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                  Charlotte, NC 28270


                  Lauren Whitney
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                  Hendersonville, NC 28739


                  Lauren Wunder
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                  Lexington, SC 29073


                  Laurence Horne
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                  Hampton, VA 23666


                  Laurence Langenderfer
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                  Laurence Mike Poulin
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                  LAURENCE PEGGIE
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                  San Antonio, TX 78239


                  laurence peterson
                  3685 Deepwater Ln
                  Brookhaven, PA 19015


                  Laurence Tucker
                  7512 South Sangamon Street
                  Chicago, IL 60620


                  Laurene Chapman
                  61 Oakdale Ave
                  Akron, OH 44302
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                  Lauri Parks Andres
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                  Laurie Ashworth
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                  Cascade, VA 24069


                  Laurie Bass
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                  Bath Township, MI 48840


                  Laurie chalker
                  21650 29 Mile Rd
                  Ray, MI 48096


                  Laurie Compton
                  10908 Shannon Hill Road
                  Louisa, VA 23093


                  Laurie Hogan
                  8343 Maplewood Drive
                  Erie, PA 16510


                  Laurie Hughes
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                  Cloverdale, IN 46120


                  Laurie Lotter
                  215 Indian Rd
                  Battle Creek, MI 49017
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                  Laurie McCrillis
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                  Laurie Montgomery
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                  Bellevue, OH 44811


                  Laurie Nichols
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                  Cincinnati, OH 45213


                  Laurie Scheid
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                  Laurie Smith
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                  Laurie Thacker
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                  Laurie Thomas
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                  Martinsville, IN 46151


                  Laurie Washington
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                  Laurie Wilson
                  132 Winddrift Way
                  Walland, TN 37886


                  Lauriel Fitzgerald
                  1667 Buckhorn Dr
                  Danville,, VA 24540


                  Lauro Martinez
                  310 Northwood Dr
                  Akron, IN 46910
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                  Lauro Patino
                  204 South Behnke Road
                  Coldwater, MI 49036


                  Lavarne Iverson
                  612 Knowlton Street
                  Rockford, IL 61102


                  LaVaune Bremiller
                  119 Blue Bird Lane
                  Wellsburg, WV 26070


                  Lavene Robinson
                  13988 San Jose Avenue
                  Redford Charter Township, MI 48239


                  Lavetta J Kenworthy
                  1034-E Greenville Pike,Winchester
                  Winchester, IN 47394


                  Lavon shirk
                  4326 East 700 North
                  Rochester, IN 46975


                  LaVonne Armes
                  4723 W 500 N
                  Fairland, IN 46126


                  Lavonne Hysell
                  6887 West 104th Street
                  Fremont, MI 49412


                  Lavonne Wyatt
                  683 Brick Yard Dr
                  Sunman, IN 47041


                  LaVonnie Conley
                  121 Wildcat Dr
                  Grayson, KY 41143


                  Lawanda Caldwell
                  278 superior ave
                  Mansfield, OH 44902
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                  Lawanda Swope
                  9249 Wood Glade Dr
                  Great Falls, VA 22066


                  Lawanna Oliver
                  4607 East 45th Street
                  Kansas City, MO 64130


                  Lawerence Fischer
                  4879 M-65
                  Hale, MI 48739, MI 48739


                  Lawerence Frank
                  8484 Parks Avenue Northeast
                  Alliance, OH 44601


                  Lawrence Barr
                  1496 Fairview Rd
                  West Branch, MI 48661


                  Lawrence Becker
                  377 Narrows Rd
                  Connellsville, PA 15425


                  Lawrence Bennett
                  1107 Michigan Ave
                  Monroe, MI 48162


                  Lawrence Brandon III
                  60580 Main Street
                  Jacobsburg, OH 43933


                  Lawrence Cable
                  2201 Front Street
                  Monaca, PA 15061


                  Lawrence Clites
                  13590 Countryside Drive
                  Greencastle, PA 17225


                  Lawrence Crandall
                  342 N FREMONT RD
                  COLDWATER, MI 49036
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                  Lawrence Dowdy
                  1213 State Rte 92
                  Excelsior Springs, MO 64024


                  Lawrence Elvin
                  306 South Barber Avenue
                  Polo, IL 61064


                  Lawrence Fraser
                  7570 Abigail Dr
                  Superior Charter Township, MI 48198


                  Lawrence Frazier
                  2529 Blackstone St
                  Augusta, GA 30906


                  Lawrence Fye
                  19118 Fulton Rd
                  Marshallville, OH 44645


                  Lawrence Grandberry
                  6708 Manderley Drive
                  Charlotte, NC 28214


                  Lawrence Henry
                  2417 Egypt Pike
                  Chillicothe, OH 45601


                  Lawrence Herlinger
                  899 Robinson Hollow Rd
                  West Union, OH 45693


                  Lawrence Herlingerf
                  899 Robinson Hollow Rd
                  West Union, OH 45693


                  Lawrence Hill
                  1681 Amber Drive
                  Hobart, IN 46342


                  Lawrence Hill
                  34001 Ardmore Ridge Rd
                  Ardmore, TN 38449
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                  Lawrence Hines
                  67 Monte Vista Terrace
                  Candler, NC 28715


                  Lawrence Hirth
                  7700 Millikin Rd
                  Monroe, OH 45044


                  Lawrence Holley
                  4536 Mc Gregor Drive
                  Virginia Beach, VA 23462


                  Lawrence Inman
                  1355 Lorraine Drive
                  Waterford Township, MI 48327


                  Lawrence Jancsek
                  36655 Stockport Mill Drive
                  North Ridgeville, OH 44039


                  Lawrence Jude
                  2843 Greate Way
                  Williamsburg, VA 23185


                  Lawrence Kiswani
                  811 Kevin Drive
                  Wentzville, MO 63385


                  Lawrence Kozoyed
                  300 Snead Fairway
                  Portsmouth, VA 23701


                  Lawrence Martin
                  325 Liberty St
                  Hutto, TX 78634


                  Lawrence Mattox
                  1825 Stevens Avenue
                  Louisville, KY 40205


                  lawrence Michaels
                  3004 FM1007
                  Brookeland, TX 75931
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                  Lawrence Miller
                  700 Weaver Street
                  Saxton, PA 16678


                  Lawrence Newquist
                  4904 Pierce Ln
                  Godfrey, IL 62035


                  Lawrence Pelis
                  2120 Bandera Dr
                  Clarksville, TN 37042


                  Lawrence Pernestti
                  27 Private Road 1813
                  Kitts Hill,, OH 45645


                  Lawrence Pope
                  3219 Cliff Ave
                  Richmond, VA 23222


                  Lawrence Robinson
                  9105 Beecher Road
                  Flushing, MI 48433


                  Lawrence Schwingel
                  185 Lawrence Avenue
                  Washington, PA 15301


                  Lawrence Sebastian
                  1734 Southernwood Dr
                  Chattanooga, TN 37421


                  Lawrence Smith
                  5711 Savannah Road
                  Saint Joseph, MO 64505


                  Lawrence Tailford
                  9154 Linden road
                  Fenton, MI 48430


                  Lawrence Toney
                  111 Old Wood Court
                  Aurora, IL 60506
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                  Lawrence Tuck
                  6827 BYERS RD
                  ROANOKE, VA 24019


                  Lawrence Voss
                  1169 Wheeler Road
                  Allenton, MI 48002


                  Lawrence Wilborn
                  7054 Green Valley Ln
                  Riverdale, GA 30274


                  Lawrence Williams
                  15869 Dexter Avenue
                  Detroit, MI 48238


                  Lawrence Wilson
                  704 Azalea Dr
                  Cleveland, OH 44143


                  Lawrence Wykoff
                  175 Toles Hollow Rd
                  Coudersport, PA 16915


                  Lawrence Wymer
                  3631 reimer road
                  norton, OH 44203


                  Lawrence Yemma
                  5316 Beretta Way
                  Wilmington, NC 28409


                  Layne LaBryer
                  3382 Trent Hatchery Road
                  Appomattox, VA 24522


                  Layne West
                  1014 Stone Stewart Road
                  Hull, GA 30646


                  Layne Wireman
                  380 Township Rd 1204
                  Proctorville, OH 45669
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                  Lazetta Faulcon
                  1792 Bowers Rd
                  Littleton, NC 27850


                  Lazieta Parish
                  15505 Oakleigh
                  Southgate, MI 48195


                  LDC Hub Limited
                  28045 Ranney Parkway, Suite E
                  Westlake, OH 44145


                  Le Yang
                  12150 Ams Run
                  Carmel, IN 46032


                  Lea Balogh
                  27291 Celtic Farms Dr
                  Flat Rock, MI 48134


                  Lea Best
                  3764 North Carolina 49
                  Burlington, NC 27217


                  Leah Black
                  101 Horse Creek Trail
                  Middlesex, NC 27557


                  Leah Conger
                  909 Aqua Drive
                  Gallatin, TN 37066


                  Leah Graves
                  12375 Ridgeview Lane
                  De Soto, MO 63020


                  Leah Haller
                  29340 West 95th Street
                  De Soto, KS 66018


                  Leah McConnaughey
                  137 Westover Drive
                  Hillsboro, OH 45133
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                  Leah Moore
                  5289 IN-9
                  Fountaintown, IN 46130


                  Leah Morse
                  11482 Calkins Rd
                  Flushing, MI 48433


                  leah newcomer
                  7414 Quail Run Drive
                  West Chester Township, OH 45069


                  Leah Shelton
                  18254 San Juan Drive
                  Detroit, MI 48221


                  Leah Simons
                  10314 North 700 East
                  Indianapolis, IN 46259


                  Leah Soles
                  935 Madison St
                  Brighton, MI 48116


                  Leah Sumey
                  2362 OH-44
                  Atwater, OH 44201


                  Leah Taylor
                  7077 North State Route 61
                  Boonville, IN 47601


                  Leah Terhune
                  4251 Florida Ave
                  Cincinnati, OH 45223


                  Leah Thwing
                  646 South Park Avenue
                  Crown Point, IN 46307


                  Leah Walker
                  14445 Norman Road
                  Culpeper, VA 22701
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                  Leah Wells
                  8162 Clark State Court
                  Blacklick, OH 43004


                  Leah Wolfe
                  10703 E 100th St
                  Lynn Center, IL 61262


                  Leaner Irby
                  5595 West Glenview Drive
                  McCordsville, IN 46055


                  Leann Lawson
                  130 Indian Hill Road
                  Leechburg, PA 15656


                  Leann Vahovick
                  910 King St
                  Bad Axe, MI 48413


                  LeAnn Windsor
                  5709 State Road 67
                  Muncie, IN 47303


                  Leanna French
                  508 7th St
                  Park Hills, MO 63601


                  Leanne Hester
                  1180 Bluejay Drive
                  Enon, OH 45323


                  Leanne Johnson
                  11154 Kent Ave NE
                  Hartville, OH 44632


                  Leanne Weller
                  646 Orchard Ave
                  Ellwood City, PA 16117


                  LeAnne Withrow
                  320 S Main Street
                  Niantic, IL 62551
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                  Ledonia Bryson
                  6343 MacBeth Ct
                  Richmond, VA 23234


                  Lee (Mitchell) Mercer
                  2011 Valley Hills Ln NW
                  Cleveland, TN 37311


                  Lee A Matson
                  2068 Hoeft Dr
                  Commerce Charter Township, MI 48390


                  lee ambrose
                  361 Hurricane Creek Road
                  Lynchburg, TN 37352


                  Lee Ann Tate
                  9432 Duerson Lane
                  Partlow, VA 22534


                  Lee Arnold
                  2422 County Road North 800 East
                  Kokomo, IN 46901


                  Lee Ballou
                  2523 Windview Street Southwest
                  Wyoming, MI 49519


                  Lee Barrett
                  904 Staton Rd
                  Flat Rock, NC 28731


                  Lee Brown
                  848 Abington Rd
                  Lenoir, NC 28645


                  Lee Christensen
                  332 N Carolina Hwy 343 N
                  Camden, NC 27921


                  Lee Christman
                  3235 North 2nd Street
                  Hokendauqua, PA 18052
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                  Lee Clough
                  5535 Shady Lane
                  Pink Hill, NC 28572


                  Lee Cole
                  173 Wyoming Woods Lane
                  Cincinnati, OH 45215


                  Lee Coram
                  2770 Stewart Creek Road
                  Murfreesboro, TN 37129


                  Lee Costner
                  23460 Interurban Road
                  Dearborn, MO 64439


                  Lee Crabtree
                  8211 North Green River Road
                  Evansville, IN 47725


                  Lee Diana
                  5392 N 36th St
                  Richland, MI 49083


                  Lee Douglas
                  3821 Cage Ellis Road
                  Springfield, TN 37172


                  Lee Edwards
                  1099 Deerhaven Court
                  Loveland, OH 45140


                  Lee Feldman
                  856 East 300N Road
                  Gibson City, IL 60936


                  Lee Finlayson
                  8912 W Suwanee Trail
                  Howard City, MI 49329


                  Lee Griffin
                  4950 South Dixie Highway
                  Resaca, GA 30735
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                  Lee Griffin
                  15376 Stout St
                  Detroit, MI 48223


                  Lee Guidry
                  27 South Crab Meadow Drive
                  Hendersonville, NC 28739


                  Lee Harris
                  2565 Norwood Rd
                  Trenton, MI 48183


                  Lee Hayes
                  205 River N Blvd
                  Macon, GA 31211


                  Lee Hoffman
                  410 Nevada Ave
                  Mount Sterling, KY 40353


                  Lee Holden
                  609 N Main St
                  King, NC 27021


                  Lee Jackson
                  224 Juniper Court
                  Mount Sterling, KY 40353


                  Lee Johnson Jr.
                  27869 Rosewood Street
                  Inkster, MI 48141


                  Lee Justice
                  14715 State Highway M
                  Wright City, MO 63390


                  Lee Kinder
                  298 Penn Road
                  Arkadelphia, AR 71923


                  Lee Osentoski
                  206 Redman St
                  Harbor Beach, MI 48441
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                  Lee Peck
                  4014 N Ridgeview Dr
                  Indianapolis, IN 46226


                  Lee Pierce
                  94 May Ln
                  Louisa, VA 23093


                  Lee Purdy
                  11489 Reid Rd
                  Swartz Creek, MI 48473


                  Lee Robitschek
                  6315 Fountain Hill Church Rd
                  Marshville, NC 28103


                  LEE ROE
                  106 E Agnes St,
                  Malta Bend, MO 65339


                  Lee Rule
                  382 County Road 801
                  Etowah, TN 37331


                  Lee Stein
                  1096 Sellers Rd
                  Jefferson City, TN 37760


                  Lee Suggs Sr
                  1602 Dodson Rd NW
                  Roanoke, VA 24017


                  Lee Sweitzer
                  14322 Terminal Avenue
                  Cleveland, OH 44135


                  Lee Terkel
                  243 Buffalo St
                  Beaver, PA 15009


                  Lee Thao
                  4917 Carillon Ct
                  Rock hill, SC 29745
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                  Lee Turner
                  15 Trails Of Kitazuma
                  Black Mountain, NC 28711


                  Lee Williams
                  111 Shadow Lawn Dr
                  Jackson, TN 38301


                  Lee Wright
                  373 Alford Rd
                  Dundee, MI 48131


                  LeeAnn Sherman
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                  Pinconning, MI 48650


                  LeeLee Elfenbein
                  2253 Rushmore Dr
                  Marietta, GA 30062


                  Leesha Zielke
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                  Princeville, IL 61559


                  Lehelle Yancey
                  179 Marsh Glen Dr
                  Jonesboro, GA 30238


                  Leiann Shephard
                  71 Hamilton Drive
                  Toronto, OH 43964


                  Leiba Medina
                  4531 Taino Dr
                  Baytown, TX 77521


                  Leif Davis-Williams
                  2844 E Beeler Rd
                  Lake City, MI 49651


                  Leigh Backenstose
                  1370 Demode Road
                  Holly, MI 48442
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                  Leigh Cockrell
                  2220Liberty hill rd
                  chillicothe, OH 45601


                  Leigh Cunningham
                  101 Wadamalaw Circle
                  Summerville, SC 29483


                  Leigha Rohrer-Barna
                  764 Virginia Dr NW
                  Warren, OH 44483


                  Leigha Starnes
                  182 Pinecrest Ct
                  Taylorsville, NC 28681


                  Leighann Shifflett
                  983 Albert Avenue
                  Norfolk, VA 23513


                  Leisa LeVasseur
                  505 15th Street
                  Old Hickory, TN 37138


                  Leitha James
                  634 Bradford Ln
                  Petersburg, VA 23805


                  Leiva Trumper
                  850 Maumee Street
                  Jonesville, MI 49250


                  Leizl Simeon
                  427 Walton Heath Drive
                  Raeford, NC 28376


                  Lela Joseph
                  3628 W. Forest Lake Drive
                  Florence, SC 29501


                  Leland Burch
                  8148 Indian Spring Rd
                  Richmond, VA 23237
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                  Leland Fluitt
                  4438 Oak Ridge Dr
                  Winston-Salem,, NC 27105


                  leland jackson
                  9710 Woodland Vista Drive
                  Cordova, TN 38018


                  Leland Pearson
                  535 Reading Road
                  Christiansburg, VA 24073


                  Leland Scales
                  7360 Schley Avenue
                  Pittsburgh, PA 15218


                  Leland Tucker
                  18 Bleckley Ave,
                  Greenville, SC 29607


                  Leland Ursu
                  14142 Ike St NE
                  Lowell, MI 49331


                  Lelis Mejia
                  24062 Sam Road
                  Albemarle, NC 28001


                  Lelis Pond
                  1018 St Brides rd west
                  Chesapeke, VA 23322


                  Len Bunch
                  337 Peach Tree Crescent
                  Newport News, VA 23602


                  Len Cribbs
                  1072 Cribbs Road Southwest
                  Townsend, GA 31331


                  Len Lacina
                  955 Jacoby Creek Rd
                  Mt Bethel, PA 18343
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                  Len Smith
                  1620 Composer Way
                  Indianapolis, IN 46231


                  Lena Guinto
                  50800 BOG RD
                  Belleville, MI 48111


                  Lenard Magginnis
                  2144 Forest Lane
                  Seymour, IN 47274


                  Lenda Ferguson
                  439 Eastern Avenue
                  Indianapolis, IN 46201


                  Lenita Gilliam
                  830 McKean Drive
                  Smyrna, TN 37167


                  Lenny Coutcher
                  10330 Corduroy
                  Curtice, OH 43412


                  Lenny Decato
                  4240 holl ave
                  Sheffield Lake, OH 44054


                  Lenny Williams
                  4449 Childers Rd
                  Gosport, IN 47433


                  Lenora Gajramsingh
                  3814 Hill St
                  Fairfax,, VA 22030


                  Lenora Parham
                  1224 Lockbourne Rd
                  Columbus, OH 43206


                  Lenora Slusher
                  5681 Harlowe Drive
                  Shelby Charter Township, MI 48316
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                  Leo Baker
                  300 West Jackson Street
                  Farmer City, IL 61842


                  Leo Bonner
                  13267 Queensdale Dr
                  Woodbridge, VA 22193


                  Leo Borter
                  1615 Shiloh Church Road
                  Palmyra, VA 22963


                  Leo Hartung
                  12876 Wilder Rd
                  Reese, MI 48757


                  Leo Kelly
                  2331 Martin Rd
                  Mogadore, OH 44260


                  Leo Mitchell
                  22129 McAdow Rd
                  Marysville, OH 43040


                  Leo Raymond
                  143 East State Street
                  Montrose, MI 48457


                  Leo Shunyakov
                  2404 East Bagnell Street
                  Springfield, MO 65804


                  Leo Simpson
                  42 east oak street
                  West Alexandria, OH 45381


                  Leo Susick
                  5280 Cedar Lake Road
                  Howell, MI 48843


                  Leo Trepanier
                  1703 Page Store Road
                  Cameron, NC 28326
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                  Leo Trumble
                  540 Little South Road
                  Hustonville, KY 40437


                  Leo Wright
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                  Huntsville, OH 43324


                  Leon Baker
                  2177 Littlemore Dr
                  Memphis, TN 38016


                  Leon Briggs
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                  Lynchburg, VA 24501


                  Leon Gregg
                  146 Monitor Road
                  Portsmouth, VA 23707


                  Leon Lucas
                  4330 Brabham Drive
                  Dalzell, SC 29040


                  Leon Martin
                  5452 Township Rd 377
                  Millersburg,, OH 44654


                  Leon Nicholson
                  1504 West 8th Street
                  Marion, IN 46953


                  Leon Parham
                  5377 Mockhorn Bay Dr
                  Cape Charles, VA 23310


                  Leon Wilson
                  208 Hollybrook Dr
                  Midland, MI 48642


                  Leona Amick
                  911 South Prairie Street
                  Brookston, IN 47923
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                  Leona Walker
                  1012 East 5th
                  Beardstown, IL 62618


                  Leonard Adams
                  31990 Morrison Road
                  Piedmont, OH 43983


                  Leonard Anderson
                  820 Orchard Street
                  California, PA 15419


                  Leonard B George
                  20135 Houghton Street
                  Detroit, MI 48219


                  Leonard Baker
                  440 Wayne Street
                  Corry, PA 16407


                  Leonard Blankenship
                  3874 Cooks Run Road
                  Greenville, WV 24951


                  Leonard Blasen
                  310 South East Street
                  Clinton, IL 61727


                  Leonard Campbell
                  39 Campbell Town Lane
                  Goshen, VA 24439


                  Leonard Chinnici
                  6312 Silver Lake Dr
                  Saugatuck, MI 49453


                  Leonard Cleveland
                  34191 Glouster Circle
                  Farmington Hills, MI 48331


                  Leonard Ernest
                  3011 Old Greenville Rd.
                  Staunton, VA 24401
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                  Leonard Evans
                  980 Childress Rd
                  Ringgold, VA 24586


                  Leonard Hoffman
                  8814 Yoder Rd
                  Yoder, IN 46798


                  Leonard Koprowski
                  7960 W South Branch Dr
                  Monee, IL 60449


                  Leonard Littlejohn
                  303 Santa Clara Drive
                  Richmond, VA 23229


                  Leonard Mccloskey
                  619 Cunningham Road
                  Ebensburg, PA 15931


                  Leonard Nyandoro
                  2006 Arden Court
                  Mt. Juliet, TN 37122


                  Leonard Partaka
                  1594 Manchester Way
                  Gladwin, MI 48624


                  Leonard Smith
                  2000 Basswood Court
                  Virginia Beach, VA 23453


                  LEONARD STEINMAN
                  2217 west edgewood jefferson city mo
                  Jefferson City, MO 65109


                  Leonard Tuomi
                  25673 Napier Rd
                  South Lyon, MI 48178


                  Leonard Wagoner
                  11873 Old 66 Boulevard
                  Carthage, MO 64836
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                  Leonard Washington
                  5909 Comanche Place
                  Lynchburg, VA 24502


                  Leonardo Correa
                  491 Crusaders Drive
                  Sanford, NC 27330


                  Leonardo Melendez
                  1428 W Fairmont St
                  Allentown, PA 18102


                  Leonardo Reyes
                  6150 Kenton Oaks Court
                  Lithonia, GA 30058


                  Leonardo Tovar
                  5 North Adams street
                  North Aurora, IL 60542


                  Leone Bihl
                  6486 Ohio 73
                  Hillsboro, OH 45133


                  Leonid Kolmanovsky
                  5730 Carriagehouse Ct
                  Apex, NC 27539


                  Leopoldo Dela Cruz
                  6533 Carswell Drive
                  Fayetteville, NC 28311


                  Leora Vincenti
                  5212 Walnut Level Road
                  Crozet, VA 22932


                  LeRand McFadden
                  17 Sherwood street
                  kingstree, SC 29556


                  Leroy Ault
                  7119 Doral Dr
                  Tobaccoville, NC 27050
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                  Leroy Austin, Jr
                  502 North Harrell Street
                  Wallace, NC 28466


                  Leroy Beeler
                  2980 Sollenberger Drive
                  Chambersburg, PA 17202


                  LeRoy Chambers
                  5124 Mallison Way
                  McLeansville, NC 27301


                  Leroy Everhart
                  3613 Clodfelter Road
                  Winston-Salem, NC 27107


                  Leroy Harrill
                  311 Northwind Drive
                  Winston-Salem, NC 27127


                  Leroy Leonard
                  2400 Crestdale Cir SE
                  Atlanta, GA 30316


                  Leroy Lipsey
                  100 Huntington Place
                  Covington, GA 30016


                  Leroy Mason
                  4007 Forest Vine Dr
                  Colonial Heights, VA 23834


                  LeRoy McCarty
                  650 Ferncliff Drive
                  Marietta, OH 45750


                  Leroy Mckennie
                  63 Green St
                  Wadley, GA 30477


                  LeRoy McMullin
                  452 Augusta Place
                  Union, MO 63084
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                  leroy miner
                  649 Fallbrook Lane
                  Clarksville, TN 37040


                  Leroy Smith
                  1917 Whitcomb Street
                  Gary, IN 46404


                  Leroy Tweedy
                  205 East State Street
                  Hamel, IL 62046


                  leroy tyse
                  119 Lucinda Ave
                  Belleville, IL 62221


                  Leroy Ventress
                  525 Waters Way
                  Fayetteville, GA 30215


                  Leroy Wood
                  209 Newton Rd
                  Fayetteville, WV 25840


                  Lerry Krohn
                  5003 West Wackerly Street
                  Midland, MI 48640


                  Les Flemming
                  3902 S McDougal St
                  Bloomington, IN 47403


                  Les Jenkins
                  217 Yosemite Dr
                  Pittsburgh, PA 15235


                  Les Massengale
                  106 Bishop St NW
                  Winston-Salem,, NC 27104


                  Les Schneider
                  13705 Stowell Rd
                  Dundee, MI 48131
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                  Lesa Barnes
                  2801 Park Crescent
                  Norfolk, VA 23504


                  Lesley Jackson
                  119 Cavalier Dr
                  Jacksonville, NC 28546


                  Lesley Otter
                  5155 Green Hwy
                  Tecumseh, MI 49286


                  Leslie (Doug) Game
                  7275 Crowflight Road
                  Liberty, NC 27298


                  Leslie (Marty) Isaac
                  1920 Kittrell Dr. SW
                  Ocean Isle Beach, NC 28469


                  Leslie Adair
                  2538 Cherry Point Rd
                  Wadmalaw Island, SC 29487


                  Leslie Chidsey
                  6435 Lahring Rd
                  Holly, MI 48442


                  Leslie Cooper
                  243 Cabell Drive
                  Newport News, VA 23602


                  Leslie Daniels-Stamper
                  2194 Taylor Hill Rd
                  Minford, OH 45653


                  Leslie Felts
                  847 Mitchell Road
                  Dudley, NC 28333


                  Leslie Gabriel
                  5199 Lakewood Road
                  Whitehall, MI 49461
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                  Leslie Groskopf
                  4016 Flax Mill Dr
                  Virginia Beach, VA 23456


                  Leslie Haupt
                  1322 Archbold Ave NE
                  Roanoke, VA 24012


                  Leslie Hubbard
                  1470 Willow Lake Dr
                  Charlottesville, VA 22902


                  Leslie Jones
                  56 Deer Creek Drive
                  Williamstown, KY 41097


                  Leslie Kemp
                  10919 Whitepine Drive
                  Hopewell, VA 23860


                  Leslie Lambert
                  1870 Irwin Bridge Rd NW
                  Conyers, GA 30012


                  Leslie Lupien
                  13560 Tucker Rd
                  Dewitt, MI 48820


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                  627 Bridle Way
                  Kokomo, IN 46901


                  Leslie May
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                  Hamilton, OH 45011


                  Leslie McCotry
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                  Surf City, NC 28445


                  Leslie McElveen
                  402 N Main St
                  Darlington, SC 29532
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                  LESLIE Melvin
                  7879 Wildcat Rd
                  Ovid, MI 48866


                  Leslie Mills
                  507 Josh Dr
                  Brighton, IL 62012


                  Leslie Nelson
                  2003 Mathews Road
                  Northwood, OH 43619


                  Leslie Ostrowski
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                  Valparaiso, IN 46383


                  Leslie Parish
                  6319 Ferris Rd
                  Eaton Rapids, MI 48827


                  Leslie Perkins
                  510 Gray Street
                  Plain City, OH 43064


                  Leslie Pitts
                  39 Chestnut Ct
                  Heathsville, VA 22473


                  Leslie Roberts
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                  Indianapolis, IN 46231


                  Leslie Schmitt
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                  Evansville, IN 47712


                  Leslie Wehner
                  35 Inverness Ct
                  Youngsville, NC 27596


                  Leslie Wilson
                  180 W Balview Ave
                  Norfolk, VA 23503
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                  Lester Beery
                  141 Valley Stream Road
                  Spring Lake, NC 28390


                  Lester Brown
                  1857 Castle Highway
                  Eminence, KY 40019


                  Lester Cerana
                  3463 Orion St NW
                  North Canton, OH 44720


                  Lester Clark
                  34 Yobo Lane
                  Scott, PA 18411


                  Lester Grose
                  2025 Marion-Edison Road
                  Marion, OH 43302


                  Lester Hancock
                  4146 Little Creek Highway
                  Dublin, VA 24084


                  Lester Hoch
                  124 N Main St
                  Berrysburg, PA 17005


                  Lester Kaiser
                  305 Kansas
                  Lincolnville, KS 66858


                  Lester King
                  1725 North 650 West
                  Columbia City, IN 46725


                  Lester Laursen
                  3387 Kindley Farm Rd
                  Asheboro, NC 27205


                  Lester McNeal
                  11007 Aldera Lane
                  Chesterfield, VA 23838
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                  Lester McSwain
                  6085 Adams Street
                  Merrillville, IN 46410


                  lester rathburn
                  4401 S Co Rd 850 W
                  Greensburg, IN 47240


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                  5516 Enoree Lane
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                  Leticia Cardoso
                  7610 Lane Street
                  Merrillville, IN 46410


                  Leticia Ponce
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                  Fremont, MI 49412


                  Letitia Eid
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                  Pinckney, MI 48169


                  Levi Alexander
                  3565 Test Road
                  Richmond, IN 47374


                  Levi Clark
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                  Gregory, MI 48137


                  Levi Conley
                  2555 west D ave
                  Kalamazoo, MI 49009
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                  Levi Martindale
                  5801 6 Mile Creek Rd
                  Corunna, MI 48817


                  Levi Patterson
                  1113 McKee Farm Ln
                  Belmont, NC 28012


                  Levi Pledger
                  3003 N Getty St
                  Kansas City, KS 66104


                  Levi Pullins
                  5570 Kentland Avenue
                  Portsmouth, OH 45662


                  Levi Risner
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                  Franklin, OH 45005


                  Levi Smith
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                  Lewis Dickerson
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                  Lewis Hilburn
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                  Lewis Hopkins Sr.
                  6313 134th Ave
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                  Lewis Lindner
                  4886 South Ox Road
                  Edinburg, VA 22824


                  Lewis McCullough
                  624 Thompson Street
                  Pittsburgh, PA 15206


                  Lewis Mcgraw
                  209 Chestnut St
                  Roseville, IL 61437


                  Lewis Miller
                  4428 Magnolia Lane
                  Hudson, NC 28638


                  Lewis Miller
                  4900 Break Heart Rd
                  Crozet, VA 22932


                  Lewis Rowell
                  4914 Star Hill Lane
                  Charlotte, NC 28214


                  Lewis Sokolowski
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                  Kaleva, MI 49645


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                  Lex Beckley
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                  Lexcine Harris
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                  Portsmouth, VA 23703


                  Lexia Frasher
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                  Huntington, WV 25704
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                  Leyla Bevil
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                  Rochester Hills, MI 48309


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                  Liam Thurkettle
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                  Hampton, VA 23666


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                  Libby Flowers
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                  Liladhar Bastola
                  570 Riverend Court
                  Fairfield, OH 45014
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                  Lili Guajardo
                  199 Poplar Hill Church Rd
                  Polkton, NC 28135


                  Liliana Bertea
                  11 Cub Ln
                  Jim Thorpe, PA 18229


                  Lilie Gilbert
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                  Clermont, GA 30527


                  Lillian Bolte
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                  Milford, PA 18337


                  Lillian Flory
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                  Lillian Lee
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                  Lillian Raff
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                  Lillian Shade
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                  East Bend,, NC 27018


                  Lillian Thomas
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                  Moscow, TN 38057


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                  Lillie Seal
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                  Battle Creek, MI 49017


                  Lincoln Minott
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                  Lancaster, VA 22503


                  Lincoln Steele
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                  Strawberry Plains, TN 37871


                  Lincoln Ward
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                  York, PA 17402


                  Linda Albert
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                  O'Fallon, MO 63366


                  Linda Armstrong
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                  Linda Atkins
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                  Linda AUSTELL
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                  North Augusta, SC 29841


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                  Lawton, MI 49065


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                  Linda Barnett
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                  Powhatan, VA 23139


                  Linda Barron
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                  Clifton Forge, VA 24422


                  Linda Barron
                  312 Bath Street
                  Clifton Forge, VA 24422


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                  Knox, IN 46534


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                  Fredericktown, OH 43019


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                  Macedonia, OH 44056


                  Linda Bogle
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                  Selma, IN 47383


                  Linda Braeuninger
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                  Rosman, NC 28772


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                  Mechanicsburg, PA 17050


                  Linda Callison
                  15480 Lee Rd
                  Brownstown, MI 48173


                  Linda Cannon
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                  Linda Chanick
                  6740 N Burkhart Rd
                  Howell, MI 48855


                  Linda Chapman
                  1734 Hewitt Gifford Rd SW
                  Warren, OH 44481


                  Linda Clowser
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                  Akron, OH 44306


                  Linda Cochran
                  2551 Academy Road
                  Lebanon, TN 37087


                  Linda Coe
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                  Linda Conrad
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                  Rhoadesville, VA 22542
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                  Roanoke, VA 24012


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                  Orange, VA 22960


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                  Adrian, MI 49221


                  Linda Dowdy
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                  Christiansburg, VA 24073


                  Linda Dubuque
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                  2229 Ocran Rd
                  White Stone, VA 22578
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                  Linda Eichorn Young
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                  Athens, MI 49011


                  Linda Elam
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                  Pittsburg, IL 62974


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                  Linda Fluke
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                  Ann Arbor, MI 48103


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                  linda gifford
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                  Midland, MI 48640
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                  Linda Goodell
                  761 Warwick Drive
                  Sheffield Lake, OH 44054


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                  DuBois, PA 15801


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                  Taylor, MI 48180


                  Linda Guntharp
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                  Goodview, VA 24095


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                  Fredericktown, MO 63645
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                  900 Evergreen Rd
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                  Harbinger, NC 27941


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                  Kinde, MI 48445


                  Linda Kelly
                  3322 Diamondback Dr
                  Dayton, OH 45414


                  Linda Kelly
                  8116 Huntley Rd
                  Albion, PA 16401


                  Linda Kemper
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                  New Straitsville, OH 43766


                  Linda Kidd
                  496 County Rd 2570 E
                  El Paso, IL 61738


                  Linda Kirkpatrick
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                  Trenton, MI 48183


                  Linda Klein
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                  Chesaning, MI 48616


                  Linda Knighton
                  5705 Scenic Hills Dr
                  Roanoke, VA 24018
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                  Linda Kowalcyk
                  367 Redbrush Road
                  Boyers, PA 16020


                  Linda Kuenzer
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                  Falmouth, MI 49632


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                  263 Courtney st.
                  Galesburg, MI 49053


                  Linda Lawrence
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                  Shenango, PA 16125


                  Linda Leadman
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                  Winnabow, NC 28479


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                  13900 Greyledge Mews
                  Chester, VA 23836


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                  Hersey, MI 49639


                  Linda Mathis
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                  Talmo, GA 30575


                  Linda May
                  1250 S Tower Rd
                  Dawson, IL 62520
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                  Linda McGiness
                  208 S Huron
                  Lake City, MI 49651


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                  Canton, OH 44707


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                  23938 Lee Baker Drive
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                  Lowell, OH 45744


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                  Festus, OH 60328


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                  Upland, IN 46989


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                  Garden City, MI 48135


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                  Prescott, MI 48756


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                  McKeesport, PA 15132


                  Linda Northup
                  53 Hope Ln
                  Point Pleasant, WV 25550
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                  101 Bean Mill Way
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                  3307 Sterling Vista Boulevard
                  Katy, TX 77494


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                  Ashland, OH 44805


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                  34 Brooks Southshore Dr
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                  Ampthill, VA 23234


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                  standardsville, VA 22973


                  Linda Schuyler
                  9655 Garden St
                  Livionia, MI 48150
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                  113 Dickerson Northeast
                  Marietta, GA 30067


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                  Linda Stone
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                  Lindsey Clingan
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                  Lindsey Hatherly-Petiet
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                  Lindsey Kaufman
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                  Lindsey Thomas
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                  Lancaster, OH 43130


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                  Newton Falls, OH 44444


                  Lionel Lambert
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                  Lionel Olson
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                  LIONEL REED
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                  Lisa Deboard
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                  Imperial, MO 63052


                  Lisa Dockins
                  12 sleepy hollow street
                  Bneton, MO 63736


                  Lisa Durdan
                  1224 Maple St
                  Bloomsburg, PA 17815


                  Lisa Everly
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                  Lisa Falls
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                  Massillon, OH 44646


                  Lisa Fanberg
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                  Rockford, MI 49341


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                  Lisa Flanigan
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                  Lisa Fleming
                  21602 Roosevelt Ave
                  Farmington Hills, MI 48336


                  Lisa Fralinger
                  1393 West Midland Trail
                  Lexington, VA 24450


                  Lisa Gonzalez
                  1492 Wyandotte Ave
                  Lakewood, OH 44107


                  Lisa Gunter
                  525 McCorkle Hollow Road
                  McMinnville, TN 37110


                  Lisa Harkins
                  212 Green Gable Rd
                  Niles, MI 49120


                  Lisa Hastings
                  17471 Namozine Road
                  Amelia Court House, VA 23002


                  Lisa Hauck
                  8418 Pennsylvania 46
                  Emporium, PA 15834


                  Lisa Henkel
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                  Denver, NC 28037


                  Lisa Hobbs
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                  Petersburg, VA 23803


                  Lisa Holloman
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                  Anderson, IN 46012


                  Lisa Ison
                  34340 36th Avenue
                  Paw Paw, MI 49079
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                  Lisa Jarvis
                  14585 Townsend Road
                  Milan, MI 48160


                  Lisa Johnson
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                  Traverse City, MI 49686


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                  Bradenville, PA 15620


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                  Levittown, PA 19055


                  Lisa Leppek
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                  Richmond, MI 48062


                  Lisa Leslie
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                  Piketon, OH 45661


                  Lisa Letchworth
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                  Lanexa, VA 23089


                  Lisa Lindsey
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                  Lisa Luben
                  1127 Alleghany Ave.
                  Oil City, PA 16301


                  Lisa Lulis
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                  Riley, MI 48041


                  Lisa Maier
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                  Saint Charles, MI 48655


                  Lisa Malcomson
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                  Columbiana, OH 44408


                  Lisa Mangan
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                  Macomb, MI 48044


                  Lisa Martin
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                  Stella, NC 28582


                  Lisa Mathis
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                  Baltimore, OH 43105


                  Lisa Maynard
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                  Marion, IL 62959


                  Lisa McGrath
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                  Mullins, SC 29574


                  Lisa McMeekin
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                  Lisa Mearing
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                  Paw Paw, MI 49079
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                  Lisa Meritt
                  4921 N SPRING DR
                  Roanoke, VA 24019


                  Lisa Miller
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                  South Bend, IN 46635


                  Lisa Miller
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                  Waterford Twp, MI 48329


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                  Lisa Minna
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                  Lisa Moose
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                  Thurmond, NC 28683


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                  Fort Wayne, IN 46815


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                  Canal Winchester, OH 43110
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                  Lisa Palazzo Willcutt
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                  Willard, OH 44890


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                  Lisa Pirro
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                  Lisa Porter
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                  California, MO 65018


                  Lisa Price
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                  Clute, TX 77531


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                  Lisa Rancour
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                  Lansing, MI 48910


                  Lisa Reed
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                  Lisa Rich
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                  Lisa Richardson
                  1796 East 24th Avenue
                  Columbus, OH 43219


                  Lisa Riede
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                  Lock Haven, PA 17745


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                  Lisa Sackett
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                  Lisa Sayeh
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                  Lisa Shapcott
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                  Lisa Shelton
                  164 Ivy Cliff Drive
                  bumpass, VA 23024


                  Lisa Shrader
                  8702 Indiana 2
                  La Porte, IN 46350


                  Lisa Slade
                  7595 Thelma Road
                  Athens, OH 45701
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                  Lisa Smith
                  2107 Yellowstone Dr
                  Blakeslee, PA 18610


                  Lisa Smith-Dietrich
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                  Wauseon, OH 43567


                  Lisa Snowden
                  10025 Watson Rd
                  Wolverine, MI 49799


                  Lisa Sotter
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                  Volant, PA 16156


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                  Lisa Stevens
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                  Lisa Stowers
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                  Lisa Taylor
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                  Lisa Teitsma
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                  LISA TEUBERT
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                  Hartford City, IN 47348


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                  Lisa Thomas
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                  Taylor, MI 48180


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                  Lisa Ward
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                  Fries, VA 24330


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                  Onsted, MI 49265


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                  Cumberland, IN 46229


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                  Liza Stone
                  7910 Quince Road
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                  Lj McLean
                  12060 EAGLE PASS DR
                  CHESTERFIELD, VA 23838


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                  Tionesta, PA 16353


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                  Lloyd Bass
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                  Lloyd Boeke
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                  Lloyd Clemons
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                  Chesapeake, VA 23323


                  lloyd dezarn
                  10915 Harrison Lane
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                  Lloyd Feduccia
                  2485 W. Romona Rd
                  Spencer, IN 47460


                  Lloyd Graham
                  1853 Liddicot St
                  Westland, MI 48186


                  Lloyd Grigsby
                  2429 Luigs Road
                  Wadesville, IN 47638


                  Lloyd Hall
                  151 Kerda Street
                  Township of Taylorsville, NC 28681
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                  Lloyd Hines
                  1648 N Valor Dr
                  Petersburg, VA 23803


                  Lloyd James
                  3461 Ayersville Rd
                  Mayodan, NC 27027


                  Lloyd Jennings
                  2151 Elon Rd
                  Madison Heights, VA 24572


                  Lloyd Lockard
                  1822 Salem Ave SW
                  Roanoke, VA 24016


                  Lloyd Long
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                  Brandywine, WV 26802


                  Lloyd McDaniel
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                  Lloyd Murphy
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                  Lloyd Nicholson
                  3101 Mackin Rd
                  Flint, MI 48504


                  Lloyd Smith
                  1070 Burkeville Rd
                  Victoria, VA 23974


                  Lloyd Swift
                  130 East Trace
                  Franklin, NC 28734


                  Lloyd Vickers
                  116 Secretariat Dr
                  Havelock, NC 28532
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                  Lloyd Watley
                  18980 Cheyenne St
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                  Lloyd West
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                  4512 Sedgewood Ln
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                  Logan, OH 43138-0343


                  Logan Gard
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                  Logan Gartin
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                  Logan Johnson
                  2819 Sandalwood Drive
                  New Albany, IN 47150
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                  Logan Jones
                  108 Bedford Green
                  Jacksonville, NC 28546


                  Logan Morgan
                  934 Belvin Ave
                  Durham, NC 27704


                  logan no Warren
                  51833 East County Line Road
                  Middlebury, IN 46540


                  Logan Russell
                  3152 South County Road 850 East
                  Walton, IN 46994


                  Logan Schalk
                  183 Harris Lane
                  Marion, VA 24354


                  Logen Kanngiesser
                  35 Woodland Drive
                  Wheeling, WV 26003


                  Loi Nguyen
                  3709 Jeremiah Wallace Dr
                  Williamsburg, VA 23188


                  Lois Bires
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                  Baden,, PA 15005


                  Lois Cameron
                  210 South Molly Bright Road
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                  724 McClincy Rd
                  Bellefonte, PA 16823


                  Lois Davis
                  210 Dry Monia Rd
                  New Bern, NC 28562
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                  Lois M Young
                  722 Peck Street Northwest
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                  Lois Milkey
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                  Manchester, MI 48158


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                  Lois Sutton
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                  Star, NC 27356


                  Lois Vincent
                  4629 Circle Drive
                  Loris, SC 29569


                  Lois Williams
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                  McArthur,, OH 45651


                  Lola DeBois
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                  Flint, MI 48506


                  Lola Douglas
                  1205 Stoney Ridge Rd
                  Bulverde, TX 78163


                  Lola Williams
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                  Gary, IN 46409


                  Lon Bale
                  4188 Nelson Road
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                  Londa Terry
                  1115 Shady Lane
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                  Londel Woodbury
                  20833 Hawthorne Street
                  Harper Woods, MI 48225


                  London Barrett
                  3913 Betsy Crescent
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                  Logan, OH 43140-0387


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                  Bahama, NC 27503


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                  Long's School of Dance
                  14679 Gourley Road
                  Waterford, PA 16441


                  Loni Eaton
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                  Bonne Terre, MO 63628


                  Loni Romero
                  1415 Hickory Valley Road
                  Chattanooga, TN 37421
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                  Lonna Downard
                  102 Riverwood Drive
                  Hendersonville, TN 37075


                  Lonnie Bentley
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                  Lancaster, KY 40444


                  Lonnie Branstetter
                  8197 Dehner Rd
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                  Lonnie Buettner
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                  Lonnie Collins
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                  Lonnie Fleck
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                  Osseo, MI 49266


                  Lonnie Friesen
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                  Rural Hall, NC 27045


                  Lonnie Harrison
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                  Allegan, MI 49010


                  Lonnie King
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                  Lonnie Lacey
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                  Lonnie Lohmeyer
                  3011 North Tower Way Northeast
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                  Lonnie Martin
                  918 Behm Road
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                  Lonnie Miller
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                  Halfway, MO 65663


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                  Lonnie Stratton
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                  Lonnie Tracy
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                  Afton,, VA 22920


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                  Lonnie Woodard
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                  Lonzo Lamb
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                  Lora Bertell
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                  Lora Carlisle Stuckert
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                  Loren Heggemeier
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                  Lorena Nava
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                  Indianapolis, IN 46217


                  Lorene Kinsler
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                  La Porte, IN 46350


                  Lorenza creekmur
                  562 Harvell Road
                  Coats, NC 27521


                  Lorenzo Grande
                  4539 Hicks Road
                  Mableton, GA 30126


                  Lorenzo Parks
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                  Decatur, GA 30034


                  Loreto Mendaza
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                  Loretta Krise Sanders
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                  Loretta Sekula
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                  Union Mills, IN 46382


                  Loretta Tjarks
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                  Lori Athey
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                  Lori Black
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                  Portage, IN 46368


                  Lori Brogan
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                  Lori Cairns
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                  Jackson, TN 38305


                  Lori Cervantes
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                  Hastings, MI 49058


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                  Hastings, MI 49058


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                  Brown City, MI 48416


                  Lori Davis
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                  Lori Erwin
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                  Lori Feier
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                  Lori Galer
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                  Lori Gill
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                  Lori Green
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                  Lori Kwisnek
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                  Lori Lange
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                  Moshannon, PA 16859


                  Lori Lindberg
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                  Lori Lister
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                  Utica, OH 43080


                  Lori Lundquist
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                  Lori Marken
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                  Lori Peak
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                  Lori Perez
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                  Richmond, TX 77469


                  Lori Sawaya
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                  Lori Schelling
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                  Lori Schooley
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                  Bay Port,, MI 48720


                  Lori Seibert
                  1617 Glades Road
                  Minford, OH 45653


                  Lori Spencer
                  4943 Marshfield dr
                  Athens, OH 45701
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                  Lori Stillwell
                  47731 Meadowbrook Dr
                  Macomb, MI 48044


                  Lori Stout
                  3210 Prairie Hills Drive
                  Hutchinson, KS 67502


                  Lori Taylor
                  1130 Chickasaw Road
                  Paris, TN 38242


                  Lori Turner
                  1152 Wirtz Rd
                  Wirtz, VA 24184


                  Lori Walker
                  165 North Road
                  Butler, PA 16001


                  Lori Welke
                  3115 Wickersham Rd
                  Charlotte, NC 28211


                  Lori Wiley
                  2320 Griggs Road
                  Jefferson, OH 44047


                  Lori Wise
                  420 Cleveland Ave
                  Bourbonnais, IL 60914


                  Lori Wright
                  8915 Mapleview Ave
                  Henrico, VA 23294


                  Lorianne Harris
                  6237 Underwood Avenue
                  Charlotte, NC 28213


                  Lorie Applegate
                  19068 Harrisburg Westville Rd
                  Beloit, OH 44609
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                  Lorie Jameson
                  6434 Snover Rd
                  Decker, MI 48426


                  Lorie Kayler
                  34 Bomac Rd
                  Lake Junaluska, NC 28745


                  Lorie Reedy
                  180 Natalie Lane
                  McMinnville, TN 37110


                  Lorie Snyder
                  1111 S Hill St
                  Sardis, GA 30456


                  Lorie Williams
                  2685 Corriher Grange Road
                  Mount Ulla, NC 28125


                  Lorie Yauney
                  2750 East County Rd 150th S
                  Frankfort, IN 46041


                  Lorin Driver
                  7357 Murrayfield Dr
                  Worthington, OH 43085


                  Lorin Price
                  210 Pinelawn Dr
                  Kernersville, NC 27284


                  Lorin Watkins
                  8200 Taylor?s Rd
                  Garner, NC 27529


                  Lorna Brooks
                  620 eggleston falls
                  rideway, VA 24148


                  LORNA CLARK-RUBIN
                  541 Longleaf Drive
                  Seven Lakes, NC 27376
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                  Lorna Malone
                  4810 Tomahawk Trail
                  Chattanooga, TN 37411


                  Lorne Langstrom
                  302 Prairie St
                  Raymond, IL 62560


                  Lorpu Reffell
                  2868 Lyndell Way
                  Lancaster, SC 29720


                  Lorra Schippers
                  18438 112th Ave
                  Nunica, MI 49448


                  Lorraine Burns
                  304 Glastonbury Drive
                  Hedgesville, WV 25427


                  Lorraine DeKam
                  3750 West 48th Street
                  Fremont, MI 49412


                  Lorraine edwards
                  152 Northwest 12th Street
                  Oak Island, NC 28465


                  Lorraine Fox
                  27102 Ashford Sky Lane
                  Katy, TX 77494


                  Lorraine Harmon
                  8150 Linda St
                  Warren, MI 48093


                  Lorraine Heimann
                  2201 East 4th Street
                  Royal Oak, MI 48067


                  Lorraine Jeske
                  2452 Bullock Rd
                  Bay City, MI 48708
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                  Lorraine Johnson
                  2529 Wards Gap Road
                  Mount Airy, NC 27030


                  Lorraine Loren
                  40 Rocky Springs Road
                  Taylorsville, NC 28681


                  Lorraine McNeilly
                  2511 Burke Memorial Park Rd
                  Morganton, NC 28655


                  Lorraine wallace
                  798 E Lake Rd
                  New Milford, PA 18834


                  Lorraine Willoughby
                  50 Carol Lane
                  Toledo, OH 43615


                  Lorren Kelsey
                  4759 Billie J Dr
                  Augusta, GA 30909


                  Lorretta yates
                  8118 Fair Oak Drive
                  Whitmore Lake, MI 48189


                  Lorrie Foster
                  147 Scio Road
                  Carrollton, OH 44615


                  Lorrie Hernandez
                  3616 Potato Creek Road
                  Mouth of Wilson, VA 24363


                  Lorrie Mulich-Ficara
                  8 Lor-Ren Drive
                  Uniontown, PA 15401


                  Lorrie Schartow
                  10023 Blackberry Ln
                  Haslett, MI 48840
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                  Lottie Lashley
                  9635 Douglas Rd
                  Temperance, MI 48182


                  Lou Ann Garwood
                  203 Center St
                  Larwill, IN 46764


                  Lou Ann Jones
                  1414 Coronet Dr
                  Richmond, VA 23229


                  Lou Ann Wallace
                  1221 Old Perryville Rd
                  Parsons, TN 38363


                  Lou CATIC
                  108 Brian Trail
                  Arnold, MO 63010


                  Lou Gaffney
                  5201 Rose Hill Ct
                  Greensboro, NC 27407


                  Lou Milotte
                  2122 Laurel Lane
                  Altavista, VA 24517


                  Lou Pope
                  7989 Lake Crest Dr
                  Ypsilanti, MI 48197


                  Louann Knapp
                  3953 Savannah Drive
                  Chesapeake, VA 23322


                  Louella Sparks
                  276 Grove Street
                  Richwood, OH 43344


                  Louie Cottrell
                  2616 Nancy Avenue
                  Granite City, IL 62040
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                  Louie Schreuder
                  19799 W Lake Montcalm Rd
                  Howard City, MI 49329


                  Louis Arnett
                  13901 Q Ave E
                  Scotts, MI 49088


                  Louis Boyer
                  2959 Brock Drive
                  Toledo, OH 43613


                  Louis Collins
                  3753 Crane Street
                  Detroit, MI 48214


                  Louis Del Valle
                  2320 Bear Town Road
                  Canadensis, PA 18325


                  Louis Devito
                  1406 Haley Street
                  Midland, MI 48642


                  Louis Dotstry
                  6353 Sadie Lane
                  Sumpter Twp, MI 48111


                  Louis Drusbacky
                  2263 TOWNSHIP RD 1097
                  PERRYSVILLE, OH 44864


                  Louis Espinoza
                  1628 Commonwealth Blvd
                  Reading, PA 19607


                  Louis Herremans
                  3781 E Clock Rd
                  Hart, MI 49420


                  Louis Holliday
                  3842 South Boatman Road
                  Scottsburg, IN 47170
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                  Louis Kennedy
                  3843 Pat St
                  Ypsilanti, MI 48197


                  Louis Miller
                  28314 Colony Dr
                  Petersburg, VA 23805


                  Louis Parsch
                  8081 Kohler Rd
                  Imlay City,, MI 48444


                  Louis Phillips
                  504 Ragland Lane
                  Henderson, NC 27537


                  Louis Platt
                  7601 swan view rd
                  Newport, MI 48166


                  Louis Reece
                  217 Mosaic Ridge
                  Canton, NC 28716


                  Louis Salak
                  1404 E Pakes Rd
                  Stanton, MI 48888


                  Louis Spencer
                  141 Nelson Blvd NW
                  Rome, GA 30165


                  Louis Stultz
                  5305 Fern Drive
                  Fenton, MI 48430


                  Louis T. Ollesheimer & Son, Inc.
                  605 E. 12 Mile Road
                  Madison Heights, MI 48071


                  Louis Waters
                  811 Bayhill Court
                  Greenville, NC 27858
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                  Louisa Dunford
                  113 Mallard Pointe Boulevard
                  Shepherdsville, KY 40165


                  louise allen
                  1911 Lone Oak Rd
                  Chase City, VA 23924


                  Louise Augustine
                  10560 Cox Rd
                  Bellevue, MI 49021


                  Louise Champlin
                  2405 Lourance Boulevard
                  Greensboro, NC 27407


                  Louise Coppola
                  23835 26 mile rd.
                  Ray Twp, MI 48096


                  Louise Edwards
                  2901 King Arthur Circle
                  Chesapeake, VA 23323


                  Louise Grove
                  143 Freewill Road
                  Catawissa, PA 17820


                  Louise Guerra
                  20388 Wick Rd
                  Taylor, MI 48180


                  Louise Hunley
                  3165 Highland Road
                  Roanoke, VA 24014


                  Louise Mapp
                  478 Lakeridge Dr
                  Cincinnati, OH 45231


                  Louise Martin
                  60 Diana Dr
                  Blairsville, GA 30512
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                  Louise Selden
                  6012 Rainbow Trout Drive
                  Johns Island, SC 29455


                  Louisville City Income Tax
                  215 S. Mill St.
                  Louisville, OH 44641-1665


                  Louisville Water
                  2521 Halloway Rd
                  Louisville, KY 40279


                  Loula Deshommes
                  140 cornerstone Dr
                  Blandon, PA 19510


                  Loura Pierce
                  12826 State Rte D, Savannah, MO 64485, U
                  Savannah, MO 64485


                  Louvenia Forest
                  220 Leyland Cypress Way
                  Ellenwood, GA 30294


                  lowell Brokaw
                  4920 Grim Road
                  Bentley, MI 48613


                  Lowell Kriser
                  842 Lester Rd
                  Quincy, MI 49082


                  Lowell Schwing
                  10421 Harrison Ave
                  Harrison, OH 45030


                  Lowell Wedekind
                  17818 322nd St W
                  Illinois City, IL 61259


                  Lowery Williams
                  2530 Claremont Road
                  Rembert, SC 29128
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                  Lowry Spiecher
                  2515 Willowhurst Cir
                  New Castle,, PA 16101


                  Lt Ronald Allen
                  6216 Springbrook Road
                  Horton, MI 49246


                  Lu Ann Ellsworth
                  1190 W LAKE RD
                  MARION, NC 28752


                  Lu Zhang
                  9170 Reed Rd
                  Bent Mountain, VA 24059


                  Luann Norbo
                  39854 The Narrows Road / PO Box 355
                  Waterford, VA 20197


                  Luann Thomas
                  3532 Swan Creek Road
                  Jonesville, NC 28642


                  Luanne Vaughn
                  15654 21 Mile Rd
                  Tustin, MI 49688


                  Lucas Arbogast
                  301 Hill Street
                  Saint Albans, WV 25177


                  Lucas Girven
                  5155 Melwood Ct
                  Decatur, IL 62521


                  Lucas Guet
                  395 Academy Street
                  Ronceverte, WV 24970


                  Lucas Mason
                  9517 Bussert Rd SW
                  Amanda, OH 43102
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                  Lucas Randle
                  701 W Cromer Ave
                  Muncie, IN 47303


                  Lucas Shelley
                  15392 County Rd 700 N
                  Watson, IL 62473


                  Lucas Sherry
                  522 Ralston Avenue
                  Defiance, OH 43512


                  Lucas Shi-Pe
                  119 Neal Street
                  Ford City, PA 16226


                  Lucas Timothy
                  19760 Mount Zion dr
                  Jetersville,, VA 23083


                  Lucas Unger
                  12469 Wilson Rd
                  Leesburg, OH 45135


                  Lucas Wray
                  211 Knight Dr
                  Richmond, VA 23223


                  Lucia Zamorano
                  2372 Pine Lake Rd
                  West Bloomfield Township, MI 48324


                  Lucille Asberry
                  4029 Salem Road
                  Oxford, NC 27565


                  Lucille Turbin
                  15803 Rosebriar Dr
                  Missouri City, TX 77489


                  Lucinda Haddix
                  310 East County Road 800 North
                  North Vernon, IN 47265
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                  Lucky Horton
                  2316 Blackthorn Drive
                  Champaign, IL 61821


                  Lucky Johnson
                  4747 South 207th Road
                  Halfway, MO 65663


                  Lucy Kulbago
                  3147 Darien Ln
                  Twinsburg, OH 44087


                  Lucy McCarl
                  508 Tremont Park Dr SE
                  Lenoir, NC 28645


                  Lucy Simon
                  6894 N Tutterow Rd
                  Monrovia, IN 46157


                  Luellen Gall
                  159 Camp Fatima Rd
                  Renfrew, PA 16053


                  Luhk Mullendore
                  62602 Brick Chapel Road
                  Constantine, MI 49042


                  Luigi Pecoraro
                  2863 Scarborough Rd
                  Cleveland Heights, OH 44118


                  Luis Berrios
                  1640 Boyer Hill Road
                  Sunbury, PA 17801


                  Luis Buruca
                  14 Tillerson Drive
                  Newport News, VA 23602


                  Luis Calvo
                  166 Tusculum Lane East
                  Amherst, VA 24521
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                  Luis Caraballo
                  330 St Johns Loop
                  Ferrum, VA 24088


                  Luis Castaneda
                  4405 20th Avenue
                  Rock Island, IL 61201


                  Luis Contreras
                  6226 Scott Way
                  Rosenberg, TX 77471


                  Luis Cotto
                  1123 n. RADEMACHER ST
                  Detroit, MI 48209


                  luis cruz
                  176 Brody Dr NE,
                  Resaca, GA 30735


                  Luis De jesus
                  1628 D St
                  Waynesboro, VA 22980


                  Luis Diaz
                  301 Caddoan Turn
                  Virginia Beach, VA 23462


                  Luis Gonzalez
                  109 Maplewood Drive
                  Dover, PA 17315


                  Luis Mata
                  8221 Nathan Avenue
                  Norfolk, VA 23518


                  Luis Melendez
                  6345 Devereaux Street
                  Detroit, MI 48210


                  Luis Mendez
                  10881 Emerald Dr
                  Cement City, MI 49233
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                  Luis Montero
                  12303 Jordan Road
                  Saline, MI 48176


                  LUIS ORTIZ
                  201 Stone Creek Court
                  Temple, GA 30179


                  Luis Ortiz
                  1135 Yellowwood Drive
                  Aberdeen, NC 28315


                  Luis Raspaldo
                  33000 Dutton-Love Road
                  Richwood, OH 43344


                  Luis Rivera
                  111 Robin Hood Cir
                  Aberdeen, NC 28315


                  Luis Rubio Davila
                  4629 Shannondale Ln
                  Stonecrest, GA 30038


                  Luis Santana
                  970 John Ave
                  Scranton, PA 18510


                  Luis Torres
                  3008 Woodbridge Avenue
                  Cleveland, OH 44109


                  Luiz Assumpcao
                  898 Lynndale Dr
                  Rochester Hills, MI 48309


                  Lukas Hafer
                  1069 Edenbrooke Circle
                  Anderson, SC 29621


                  Luke Bollschweiler
                  1032 Young Avenue
                  Maryville, TN 37801
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                  Luke Graves
                  217 Roundhill Drive
                  Christiansburg, VA 24073


                  Luke Guthrie
                  4464 Greenhill Road
                  Snow Camp, NC 27349


                  Luke Hargrave
                  910 E 14th St
                  Sedalia, MO 65301


                  Luke Hopcroft
                  209 Haverhill Drive
                  Fayetteville, NC 28314


                  Luke Langlinais
                  5101 Edon Hall Lane
                  Virginia Beach, VA 23464


                  Luke McDaniel
                  6817 Golfway Dr.
                  Cincinnati, OH 45239


                  Luke Merritt
                  183 Honey Locust Lane
                  Commercial Point, OH 43116


                  Luke Miller
                  22 Finish Line Road
                  Bahama, NC 27503


                  Luke Nadley
                  2123 Berrell Ave
                  Abington, PA 19001


                  Luke Orth
                  6142 Birchwood Dr
                  Lake, MI 48632


                  Luke Phillippo
                  2830 N Williamsport Rd
                  Attica, IN 47918
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                  Luke Rescorla
                  8680 Magnolia Way
                  Dexter, MI 48130


                  Luke Rininger
                  105 Williamson Rd
                  Grainville, OH 43023


                  Luke Sayers
                  134 Lovingood Dr
                  Woodstock, GA 30189


                  Luke Schafer
                  7505 Thompson Road
                  Hoagland, IN 46745


                  Luke Seelen
                  513 Greenwood Dr
                  Hartford City, IN 47348


                  Luke Sherrill
                  738 S. Champion
                  Columbus, OH 43205


                  Luke Smith
                  21 Fairfield Lane Southwest
                  Euharlee, GA 30120


                  Luke Walker
                  413 E. Cherry St.
                  Clearfield, PA 16830


                  Lula Lott
                  4701 Pine Hall Road
                  Walkertown, NC 27051


                  Lupe Castellon
                  1550 Turner Road
                  Cumming, GA 30041


                  Luraine Blagrove
                  3011 Brighton Court Southwest
                  Conyers, GA 30094
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                  Luranne Beck
                  2046 County Road 2100 North
                  Minonk, IL 61760


                  Lusha Fowler
                  158 Warbler Road
                  Cochran, GA 31014


                  Lusvin Alvarado
                  169 Lovebridge Dr SE
                  Calhoun, GA 30701


                  Luther Boykin
                  608 Sirine Avenue
                  Virginia Beach, VA 23462


                  Luther Gilland
                  4429 Kerrs Chapel Road
                  Elon, NC 27244


                  Luther Kreitz
                  1519 Princeton Ave
                  Williamsport, PA 17701


                  Luther Miller
                  40 Seymour Drive
                  Myerstown, PA 17067


                  Luther Mizell
                  1195 hendersonville hwy
                  pigsah forrest, NC 28768


                  Luz Giraldo
                  403 Cheyenne Dr
                  LaGrange, GA 30240


                  Lydell Jackson
                  71 Southbrook Lane
                  Sanford, NC 27332


                  Lydia Cooper
                  565 Gardinia Drive
                  McDonough, GA 30253
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                  Lydia Geary
                  226 E Cleveland Ave
                  Vinton, VA 24179


                  Lydia Hill
                  5187 Bennington Chapel Rd
                  Johnstown, OH 43031


                  Lydia Light
                  16453 North Carolina 73
                  Albemarle, NC 28001


                  Lydia Mairs
                  1020 Johnston Street Southeast
                  Grand Rapids, MI 49507


                  Lydia Piriczky Caruso
                  222 Pollock St
                  Pollocksville, NC 28573


                  Lyle Alexander
                  14550 Shannons Ln
                  Disputanta, VA 23842


                  Lyle Bertram
                  2134 Braceville Robison Rd SW
                  Southington, OH 44470


                  Lyle Carey
                  3256 OH-152
                  Bloomingdale, OH 43910


                  Lyle Hartman
                  1976 Co Rd V
                  Liberty Center, OH 43532


                  Lyle Law
                  1748 Hartzler Street
                  Warsaw, IN 46580


                  Lyle Woods
                  989 Beesons Field Dr
                  Kernersville, NC 27284
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                  Lyman Brown
                  10226 ONONDAGA
                  ONONDAGA, MI 49264


                  Lyman Ryon
                  135 Hannas Rd
                  Romney, WV 26757


                  Lyn backlund
                  4202 Meridian Road
                  Leslie, MI 49251


                  Lyn Boerkoel
                  5464 Dalton Ridge
                  Fennville, MI 49408


                  Lyn Slavicek
                  859 East 1200N Road
                  Melvin, IL 60952


                  Lyn Smith
                  21584 Elkwood Crossing
                  Elkwood, VA 22718


                  Lyn Stewart
                  3837 Sioux Ridge Rd
                  Roanoke, VA 24017


                  Lyn Williams
                  118 Foxcrest Drive
                  Lynchburg, VA 24502


                  Lynda Baker
                  9345 Rivertown Rd
                  Fairburn, GA 30213


                  Lynda Chapman
                  5327 Tholozan Avenue
                  St. Louis, MO 63109


                  Lynda Jayne
                  210 Jayhawk Lane
                  Brevard, NC 28712
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                  Lynda Priddy
                  10 Tami Court
                  Cortland, OH 44410


                  Lynda Ravenell
                  452 N.Staley St
                  Staley, NC 27355


                  Lynda Voodre
                  107 Prestwick Dr
                  Hendersonville, NC 28791


                  Lynda Wilford
                  51678 Portman Road
                  Amherst, OH 44001


                  Lyndon Eldon
                  1418 W 96th Ave
                  Crown Point, IN 46307


                  Lyndsay Cambell
                  3306 Dixon RD
                  Durahm, NC 27707


                  Lynee Harris
                  1625 Verna Dr
                  Henrico, VA 23228


                  Lynette Antonaros
                  112 Lands End Court
                  Hampstead, NC 28443


                  Lynette christine Aguilar
                  2832 Laurel Ln
                  Lenoir,, NC 28645


                  Lynette King Murray
                  64 Thomas Christopher Ln
                  Pataskala, OH 43062


                  Lynette Matherly
                  2775 Truman Hill Road
                  Hardy, VA 24101
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                  Lynette McKenzie
                  4006 paces ferry road
                  Chester, VA 23831


                  Lynette Meynig
                  1647 Brandywine Dr
                  Charlottesville, VA 22901


                  Lynette Sikes
                  15200 Catawba Circle South
                  Matthews, NC 28104


                  Lynette Taylor
                  4227 Timber Ridge Lake Road
                  Liberty, NC 27298


                  Lynette Tennis
                  6273 PA-225
                  Elizabethville, PA 17023


                  Lynn Abram
                  808 Circle Terrace
                  Alexandria, VA 22302


                  Lynn Bell
                  448 Ranson Ct
                  Grimesland, NC 27837


                  Lynn Beveridge Jr
                  1818 County Road 137
                  Cardington, OH 43315


                  Lynn Bott
                  3613 Parkview Ct
                  Lawrence, KS 66049


                  Lynn Brotherton
                  5610 Smith Rd
                  Ellis Grove, IL 62241


                  Lynn Cash
                  11335 Brady
                  Redford Charter Township, MI 48239
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                  Lynn Chandler
                  17203 Prevost St
                  Detroit, MI 48235


                  Lynn Cole
                  993 Easton Road
                  Gladwin, MI 48624


                  Lynn Conrad
                  20315 Martinsville Rd
                  Belleville, MI 48111


                  Lynn Creel
                  15115 New Kent Hwy
                  Lanexa, VA 23089


                  Lynn Grover
                  290 Twilitemist Dr
                  Duncan, SC 29334


                  Lynn Harper
                  428 Private Road 1107
                  Kitts Hill, OH 45645


                  Lynn Harris
                  1130 Mt Vernon Ave
                  Columbus, OH 43203


                  Lynn Hart
                  4011 W Shaffer Rd
                  Coleman, MI 48618


                  Lynn Hegeman
                  22 North 28th Street
                  Belleville, IL 62226


                  Lynn Himler
                  1337 Barbara Ct
                  Chesapeake, VA 23322


                  Lynn Huntley
                  25601 25 Mile Rd
                  New Baltimore, MI 48051
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                  Lynn Kammerer
                  15356 Turner Rd
                  Yale, MI 48097


                  Lynn Keller
                  419 Morgantown Street
                  Uniontown, PA 15401


                  Lynn Kennedy
                  126 Queen Street
                  Stroudsburg, PA 18360


                  Lynn Lee
                  24 Pauls Court
                  Blairsville, GA 30512


                  Lynn Montry
                  25217 Crowley St
                  Taylor, MI 48180


                  Lynn Moser-Stribrny
                  287 N Ridge Rd
                  Brooklyn, MI 49230


                  Lynn Painter
                  212 North Linden Avenue
                  Highland Springs, VA 23075


                  Lynn Pottenger
                  3118 Valorie Lane
                  Midland, MI 48640


                  Lynn Powell
                  2933 Turning Brook Lane
                  Raleigh, NC 27616


                  Lynn Pritt
                  6818 River Walk dr.
                  Valley City, OH 44280


                  Lynn Prunty
                  111 West Adams Avenue
                  Vandergrift, PA 15690
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                  Lynn Rimmey
                  247 Rachels Way
                  Aaronsburg, PA 16820


                  Lynn Sham
                  7 Circle Drive
                  Mauldin, SC 29662


                  Lynn Shellenberger
                  510 South Stichter Road
                  Pleasant Hill, OH 45359


                  Lynn Spencer
                  515 Meadowbrook Road
                  Richmond, IN 47374


                  Lynn Stratford
                  17950 Layton Road
                  South Bend, IN 46614


                  Lynn Tack
                  405 Ellsworth Bailey Rd
                  Warren, OH 44481


                  Lynn Trombley
                  112 Winding Creek Rd
                  Youngsville, NC 27596


                  Lynn Valena
                  10681 West Sweet Gum Street
                  Yorktown, IN 47396


                  Lynn Vanderwall
                  7860 Rodebaugh Road
                  Reynoldsburg, OH 43068


                  Lynn Williams
                  486 Sam Carnes Rd
                  Pageland, SC 29728


                  Lynn Wolfe
                  191 Washington Street
                  Freeport, PA 16229
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                  Lynne Barkley
                  14599 Sharrard Rd
                  Berlin Township, MI 48002


                  Lynne Bradley
                  10751 Liss Road
                  Willis, MI 48191


                  Lynne Bryan
                  1454 Pennsylvania 428
                  Oil City, PA 16301


                  Lynne Byers
                  5025 Groover Drive
                  Cumming, GA 30040


                  Lynne George
                  128 Naydonlin Drive
                  Columbia, TN 38401


                  Lynne Hatton
                  1501 Griffin Road
                  Madison, NC 27025


                  Lynne Hool
                  100 Andrew Drive
                  Grandy, NC 27939


                  Lynne Kearns
                  1142 1st St
                  Canonsburg, PA 15317


                  Lynne Ledbetter
                  7687 Co Rd 621,
                  Cape Girardeau, MO 63701


                  Lynne Wendel
                  625 Locust Street
                  Festus, MO 63028


                  Lynne Wheeland
                  248 Bear Creek Road
                  Hubert, NC 28539
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                  Lynneshia Dillard
                  106 Cambridge Drive
                  Danville, VA 24541


                  Lynnette Pair
                  215 S Main St
                  Wendell, NC 27591


                  Lynsey Hochstetler
                  5860 Highway 150 E
                  Denver, NC 28037


                  Lynssi Shanklin
                  3118 East New York Street
                  Indianapolis, IN 46201


                  Lyvona Terrell
                  123 Rice St
                  Beckley, WV 25801


                  Lyzette Velazquez
                  6595 Yarmouth Run
                  Williamsburg, VA 23188


                  Mabel Medina
                  3100 South 33rd Terrace
                  Saint Joseph, MO 64503


                  Mabrey Boseman
                  2030 Cool Springs Trail
                  Mount Holly, NC 28120


                  Mac Hussie
                  2693 Jackson Pike
                  Batavia, OH 45103


                  Mac Macdougall
                  24431 Boston Street
                  Dearborn, MI 48124


                  Mac Warren
                  2904 Lone Hickory Rd
                  Yadkinville, NC 27055
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                  Mac Zerlaut
                  9946 South Dickinson Ave
                  Holton, MI 49425


                  MacAllister Rentals
                  Dept. 78731
                  P.O. Box 78000
                  Detroit, MI 48278-0731


                  Maceo Fleming
                  21602 Roosevelt Ave
                  Farmington Hills, MI 48336


                  Macharr Heisel
                  3715 Hwy A
                  Union, MO 63084


                  Mack Carr
                  4270 Evans Rd
                  Holly, MI 48442


                  Mack Murray
                  205 Heron Drive
                  Goldsboro, NC 27534


                  Mackenzie Trupka
                  318 Cedar Drive
                  Potosi, MO 63664


                  Mackenzy Christophe
                  2 Cool Well Court
                  Fredericksburg, VA 22406


                  Maddox Industrial Transformer, LLC
                  865 Victor Hill Rd
                  Greer, SC 29651


                  Made From Scratch
                  2454 Wellington Chase Dr
                  Concord, NC 28027


                  Madelene Cutting
                  1245 Old Orchard Dr
                  Lancaster, VA 22503
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                  Madeline Christian
                  1423 Sunshine Lane
                  Jeffersonville, IN 47130


                  Madeline Lorenz
                  12 Rustin Drive
                  Dallas, GA 30157


                  Madeline Oconnor
                  1154 Ruritan Road
                  Rocky Mount, VA 24151


                  Madeline Rivera
                  4705 OH-303
                  Ravenna, OH 44266


                  Madeline Roberts
                  2 Sturgeon Bay Drive
                  Taylors, SC 29687


                  Madeline Wagner
                  13988 Georgia 109
                  Meansville, GA 30256


                  Madi Kuevi
                  4814 Autumn Oak Dr ,
                  Charlotte, NC 28269


                  Madi Riegel
                  100 Lane 250a Lake Gage
                  Angola, IN 46703


                  Madilyn Reagan
                  8105 Joshua Rd
                  Knoxville, TN 37938


                  Madison Eshelman
                  649 Archer Avenue
                  Fort Wayne, IN 46808


                  Madison McPhee
                  8935 Gilmour Ln.
                  Freeland, MI 48623
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                  Madison Zavala
                  16137 Fawn River Road
                  White Pigeon, MI 49099


                  Madolyn Richardson
                  161 Maple View Drive
                  Orleans, MI 48865


                  Mae Wood
                  1283 Rock Island Road
                  Scottsville, VA 24590


                  Mag Mikesell
                  5054 State route 121
                  Greenville, OH 45331


                  Magdelena Morris
                  5300 Kirby Ave
                  Cincinnati,, OH 45223


                  Magentrix
                  50 Minthorn Blvd, Unit 502
                  Thornhill,ON,L3T7X8
                  CANADA


                  Maggie Dutton
                  6217 Blacks Rd SW
                  Pataskala, OH 43062


                  Maggie Jacobs
                  4132 Turnberry Park Court
                  Pfafftown, NC 27040


                  Maggie Plaster Shoemaker
                  2727 Prospect Street Northeast
                  Canton, OH 44721


                  Maggie Smith
                  491 Star Tannery Rd
                  Star Tannery, VA 22654


                  Maggie Sparks
                  319 North Wood Street
                  Gibson City, IL 60936
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                  Maggie Venema
                  5902 Sandypine Court
                  Spring, TX 77379


                  Mahamadou Oumarou
                  200 Stag Ct
                  Hubert, NC 28539


                  Mahbub Alom
                  12062 Sobieski Street
                  Hamtramck, MI 48212


                  Mahindra Sumeersarnauth
                  3679 Vestavia Dr
                  Kernersville, NC 27284


                  Mahlon Mills
                  2702 Barrington Drive North
                  Wilson, NC 27896


                  Mahmud Issa
                  8627 Hanley Lane
                  Crown Point, IN 46307


                  Mai Ha
                  19330 Yachtman Dr
                  Cornelius, NC 28031


                  Mainank Patel
                  3299 Oulten Street Southwest
                  Concord, NC 28027


                  Mainstream Fiber Networks, LLC
                  4588 Old State Route 46
                  Nashville, IN 47448


                  Mairanne Drasler
                  317 Vine Street
                  Forest City, PA 18421


                  Makeda Kirk
                  225 Boat St
                  Portsmouth, VA 23702
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                  Makini Ahket
                  479 Prentis St
                  Detroit, MI 48201


                  Malcolm Douglas
                  5201 Archer Drive
                  Cave Spring, VA 24018


                  Malcolm Fleming
                  241 West Avenue
                  Urbanna, VA 23175


                  Malcolm Gordon
                  180 West Blanchard Road
                  Shepherd, MI 48883


                  Malcolm Graham
                  209 Walnut Drive
                  Fredericksburg, VA 22405


                  Malcolm Macdougall
                  46735 Partridge Creek Drive
                  Macomb, MI 48044


                  Malcolm Matthews
                  110 Jacob Brook Ct
                  Mauldin, SC 29662


                  malcolm Neumeyer
                  3107 Bridgeway Ct
                  West Lafayette, IN 47906


                  Malcolm Robinson
                  1114 Belmar Street
                  Columbus, GA 31907


                  Malcolm Trombley
                  401 North Hollow Road
                  Coudersport, PA 16915


                  malcolm wilborn
                  8305 Cortez Road
                  Lake, MI 48632
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                  Malcom Gray Williams
                  38163 TN-95
                  Greenback, TN 37742


                  Malina Stoychev
                  201 Collington Dr
                  Mebane, NC 27302


                  Malinda Dalton
                  1264 W Leota Rd
                  Scottsburg, IN 47170


                  Malinda Rutherford
                  602 N. Main St.
                  Walbirdge, OH 43465


                  Malinda Tejada
                  2005 Oak Grove Rd
                  Keeling, VA 24566


                  Malinda Tillman
                  461 Rubicon Road
                  West End, NC 27376


                  Maliro Kasondwa
                  43 Ridgewood Drive
                  Verona, VA 24482


                  Mallerie Lane
                  14016 Springhill Road
                  Prophetstown, IL 61277


                  Mallorie Neblett
                  322 Patrick Circle
                  Jenkinsburg, GA 30234


                  Mallory Burkett
                  48 McClure Avenue
                  East Palestine, OH 44413


                  Mallory Fawcett
                  16427 W Smithville Rd, Glasford IL 61533
                  Glasford, IL 61533
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                  Mallory Hall
                  112 North White Oak Street
                  Desloge, MO 63601


                  Mallory Milam
                  6785 Bennett Rd
                  Cumming, GA 30041


                  Mallory Poitevint
                  1013 Country Club Rd
                  Perry, GA 31069


                  malona maxwell
                  7980 Brooks Lake Road
                  Browns Summit, NC 27214


                  Malvinder Dhillon
                  6297 Daleview Road
                  Cincinnati, OH 45247


                  Mamoon Al Jaylani
                  7911 Calhoun Street
                  Dearborn, MI 48126


                  Mandy Butler
                  20 Barnes Ct
                  Hamster, VA 23664


                  Mandy Iatzko
                  11187 Armstrong Road
                  Berlin, MI 48179


                  Mandy Mastrovita
                  175 Tilson Rd
                  Athens, GA 30606


                  Mandy Overstreet
                  400 Flat Creek Rd
                  Fairview, NC 28730


                  Mandy Parsons
                  4883 W Isabella Road
                  Shepherd, MI 48883
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                  Mandy Pohil
                  3765 Helen Street
                  Harrison, MI 48625


                  Mandy Renegar
                  6026 Highway 150 E
                  Denver, NC 28037


                  Mandy safrit
                  7850 Ross Rd
                  New Carlisle, OH 45344


                  Manfred Egerer
                  29797 East River Rd
                  Grosse Ile, MI 48138


                  Manjinder Singh
                  1369 Old Market Square
                  Greenwood, IN 46143


                  Manny Andradee
                  106 Reliance Woods Lane
                  Middletown, VA 22645


                  Manny Dalis
                  2393 Morris Callaway Road
                  Appling, GA 30802


                  Manoj Patel
                  12600 Beacon Hill Ct
                  Plymouth, MI 48170


                  Manpreet Dhaliwal
                  24536 Aric Way
                  Elkhart, IN 46517


                  Mansfield City Income Tax
                  P.O. Box 577
                  Mansfield, OH 44901-0577


                  Manuel A Gonzalez Garcia
                  111 Cone Street North
                  Wilson, NC 27893
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                  Manuel Alas
                  816 Sedley Rd
                  Virginia Beach, VA 23462


                  Manuel Anguiano
                  206 Kathleen Drive
                  Elgin, IL 60123


                  Manuel Campos
                  8329 Frith Rd
                  Columbus, MI 48063


                  Manuel Davis
                  1819 Arrowpoint Drive
                  St. Louis, MO 63138


                  Manuel Deisen
                  5103 Nicolet Ct
                  Marietta, GA 30062


                  Manuel Diaz
                  11441 Belmont Drive
                  Plainfield, IL 60585


                  Manuel Escobar
                  5804 Betty Dr
                  Savannah, GA 31406


                  Manuel Gonzalez
                  618 Murphy Dr
                  Romeoville, IL 60446


                  Manuel Lothschuetz
                  1816 W Snoddy Rd
                  Covington, IN 47932


                  Manuel Ramos
                  30 South Greenway Avenue
                  Boyce, VA 22620


                  Manuel Vallin
                  29 N Cheyenne Dr
                  Warsaw, IN 46582
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                  MANUEL VERASALBA
                  5711 Cottontown Road
                  Forest, VA 24551


                  Manuel Villanueva
                  607 Huntercrest Dr
                  El Lago, TX 77586


                  Manuellyn Walker
                  18 Cherry Hill Drive
                  Hardin, KY 42048


                  Mar a Barrios
                  1970 Francis Avenue
                  Muskegon, MI 49442


                  Mar a Reyes
                  33 midway ct
                  Battle Creek, MI 49014


                  Mara Joyce
                  1010 Shady Hollow Dr
                  Walnut Cove, NC 27052


                  Maradona Tallo
                  47222 Robins Nest Dr
                  Shelby Charter Twp, MI 48315


                  Maranda Bunting
                  805 Ridge Road
                  Asheville, NC 28806


                  Marbrico Anderson
                  44 Indian Springs Dr
                  Newport News, VA 23606


                  Marc Awe
                  1907 Hillcrest Road
                  Rockford, IL 61108


                  Marc Barrett
                  137 Braddock Road
                  Williamsburg, VA 23185
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                  Marc Bastinelli
                  3238 Cherryville Rd
                  Northampton, PA 18067


                  Marc Bialeck
                  2052 Tom Taylor Trail
                  Murray, KY 42071


                  Marc Brewer
                  13920 North Raccoon Run Road
                  Camby, IN 46113


                  Marc cioto
                  872 Screamer Road
                  Lynnville, TN 38472


                  Marc Cook
                  1607 Needmore Hwy
                  Grand Ledge, MI 48837


                  Marc Dyer
                  114 S Shandon St
                  Columbia, SC 29205


                  Marc Etienne
                  4201 Coursey Lake Rd
                  Douglasville, GA 30135


                  Marc Fenkner
                  1515 West Street
                  Honesdale, PA 18431


                  Marc Fisher
                  314 Brook Street
                  Kannapolis, NC 28083


                  Marc Fly
                  3671 Chaparral Drive
                  Cave Spring, VA 24018


                  MARC GARDNER
                  3648 Olive Hamlet Rd
                  Benton, KY 42025
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                  Marc Garside
                  2330 Federal Avenue
                  Williamsport, PA 17701


                  Marc Girolamo
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                  Oak Park, MI 48237


                  Marc Gnerich
                  7903 Juneau Ln
                  Knoxville, TN 37931


                  Marc Hall
                  9035 Royal Oak Dr
                  Holland, OH 43528


                  Marc Hardman
                  260 Laymantown rd
                  Troutville, VA 24175


                  Marc Hoople
                  514 E Van Deinse St
                  Greenville, MI 48838


                  Marc Johnson
                  1924 Kylemayne Ct
                  Fuquay Varina, NC 27526


                  Marc Karasek
                  2880 Blarney Way Northwest
                  Duluth, GA 30096


                  Marc Kennedy
                  15693 Thistle Court
                  Montclair, VA 22025


                  Marc Kubicek
                  04787 Baker Rd
                  Gobles, MI 49055


                  Marc Landau
                  1630 Beverly street
                  Sylvan Lake, MI 48320
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                  Marc Lewis
                  1031 Caitlin trail
                  Smyrna, TN 37167


                  Marc Michaels
                  903 El Hatco Drive
                  Temple, PA 19560


                  Marc Miller
                  1392 E Orange Pike
                  Rushville, IN 46173


                  Marc Otto
                  115 Allendale Terrace
                  Terre Haute,, IN 47802


                  Marc Ouellette
                  719 W Main Cross St
                  Findlay, OH 45840


                  Marc Taylor
                  86 Osborne St
                  Johnstown, PA 15905


                  Marc Turner
                  985 Givens Tyler Road
                  Salem, VA 24153


                  Marc Voit
                  940 Pearce Mill Road
                  Wexford, PA 15090


                  Marc Vredenburg
                  22416 Shippings Rd
                  McKenney, VA 23872


                  Marc Winans
                  1511 Philmont Avenue
                  Chesapeake, VA 23325


                  Marc Workiewicz
                  4716 Black Pine Ct
                  Winnabow, NC 28479
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                  Marcel Anzeumafack
                  268 Baywood Way
                  Hiram, GA 30141


                  Marcel Loudil
                  1351 Highway K
                  Saint Clair, MO 63077


                  Marcel Miller
                  2706 Fireside Dr
                  Lansing, MI 48910


                  Marceline Crawford
                  1530 Hunter Green Ln
                  Fresno, TX 77545


                  Marcelino Marquez
                  2603 Sam Calvin Drive
                  Dacula, GA 30019


                  Marcella Singer
                  480 Old West Creek Road
                  Emporium, PA 15834


                  Marcelle Nolan
                  4505 Bent Oak Highway
                  Adrian, MI 49221


                  Marcellus Kashin
                  142 Cambridge Place
                  Hampton, VA 23669


                  Marcelo Ormezzano
                  575 Lithia Valley Road
                  Moravian Falls, NC 28654


                  Marcelo PerezRubio
                  603 North 38th Street
                  Richmond, VA 23223


                  Marcelo Zornitta
                  2828 Lakeview Circle
                  Matthews, NC 28105
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                  Marcene Bishop
                  3843 Dickey Mill Rd
                  Mebane, NC 27302


                  Marci Hebert
                  28624 2650 East Street
                  La Moille, IL 61330


                  Marcia Baltimore
                  2006 Lazio Ln
                  Apex, NC 27502


                  Marcia Blankenship
                  1203 South Perry Street
                  Attica, IN 47918


                  Marcia Curry
                  2711 Nashua Road
                  New Castle, PA 16105


                  Marcia Freridge
                  5417 Marsh Rd,
                  Haslett, MI 48840


                  Marcia Halasz
                  9875 Portie-Flamingo Rd
                  Corning, OH 43730


                  Marcia Hessler
                  16 Zilber Court
                  Hampton, VA 23669


                  Marcia Lee
                  3315 Warsaw Rd
                  Lima, OH 45806


                  Marcia Lubbers
                  7750 S Comstock Ave
                  Fremont, MI 49412


                  Marcia McCrimmon
                  263 Meadow Lane
                  Bowling Green, VA 22427
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                  Marcia Mervin
                  4890 Veasey Mill Drive
                  Wade, NC 28395


                  Marcia Nickel
                  27075 Ford-Reed Rd
                  Richwood, OH 43344


                  Marcia Pacho
                  1901 McVitty Road
                  Salem, VA 24153


                  Marcia Skodak
                  9575 Copas Road
                  Lennon, MI 48449


                  Marcia Smeenk
                  724 3 Wood Lane
                  Woodruff, SC 29388


                  Marcia Tackett
                  16536 State Rd. 104
                  Lucasville, OH 45648


                  Marcia Timmel
                  105 Quiet Refuge LN
                  GARNER, NC 27529


                  Marcia Zeiss
                  3241 E Siebert Rd
                  Midland, MI 48642


                  Marcie Young
                  180 Glendale Road
                  Beaver Falls, PA 15010


                  Marcina Baker
                  9747 Windfall Road
                  La Rue, OH 43332


                  Marco Bryant
                  12201 Old Stage Rd
                  Gibson, NC 28343
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                  Marco Cucci
                  566 Woodfield Drive
                  Covington, VA 24426


                  Marco Garcia
                  1568 Pebble Beach Dr
                  Pontiac, MI 48340


                  Marco Leal
                  803 Jonathan Dr
                  Lebanon, TN 37087


                  Marco Monroy
                  1915 Welch Rd
                  Salisbury,, NC 28144


                  Marco Ortizshaemaker
                  9400 Long Ln
                  Greencastle, PA 17225


                  Marco Saporito
                  485 Winterberry Dr
                  Yorkville, IL 60560


                  Marco Scappaticci
                  10855 North Territorial Road
                  Plymouth, MI 48170


                  Marco Segura
                  8473 Wabash Road
                  Andrews, IN 46702


                  Marco Vargas
                  1300 Beard St
                  Detroit, MI 48209


                  Marcos Arceo
                  6305 Victory Ave
                  Portage, IN 46368


                  Marcos Del Rio
                  508 Ellis Ct.
                  Raliegh, NC 27603
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                  Marcos Eyzaguirre
                  4380 Smokey Lake Drive
                  Virginia Beach, VA 23462


                  Marcos Machado
                  5297 Van Vleet Rd
                  Swartz Creek, MI 48473


                  Marcos Rodriguez
                  2113 South 57th Court
                  Cicero, IL 60804


                  Marcus Cameron
                  148 North Sunset Street
                  Greeneville, TN 37743


                  Marcus Cherry
                  4332 Creekdale Dr
                  Greensboro, NC 27406


                  Marcus Deas
                  115 Willard Way
                  Lynchburg, VA 24502


                  Marcus Durden
                  345 Horseshoe Rd
                  Moncks Corner, SC 29461


                  Marcus Green
                  706 North Seminole Drive
                  Independence, MO 64056


                  marcus gullett
                  1164 Homeworth Road
                  Alliance, OH 44601


                  Marcus Houze
                  212 Dixon School Rd
                  Kings Mountain, NC 28086


                  Marcus Kirkland
                  2107 Ashley Glen Way
                  indian land, SC 29707
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                  Marcus Little
                  1047 Fairfield Ave NW
                  Grand Rapids, MI 49504


                  Marcus Lowe
                  580 Crestview Avenue
                  Akron, OH 44320


                  Marcus Martinez
                  102 Maple
                  Galesburg,, MI 49053


                  Marcus McCoy
                  274 Fairview Road
                  Blackstone, VA 23824


                  Marcus Messenger
                  32115 Rosslyn Avenue
                  Garden City, MI 48135


                  Marcus Miller
                  30 Shady Grove Cemetery Road
                  Flintville, TN 37335


                  Marcus Moore
                  66 Wilderness Cove
                  Jackson, TN 38305


                  Marcus Ovando
                  9201 Amelia Street
                  Amelia Court House, VA 23002


                  Marcus Pepper
                  208 Groton Court
                  Simpsonville, SC 29680


                  Marcus Smith
                  60 Tilly Farm Rd
                  Ellijay, GA 30540


                  Marcus Symons
                  5632 South 400 East
                  Warren, IN 46792
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                  Marcus Wilson
                  111 royal oak dr
                  Guyton, GA 31312


                  Marcus Womer
                  2310 Cottagefield Lane
                  Leland, NC 28451


                  Marcus Young
                  168 Helen Drive
                  Monroe, GA 30656


                  Marcy Byler
                  19 Walter Rd
                  Shenango, PA 16125


                  Marcy Hitt
                  1032 Grand Ave
                  Edwardsville, IL 62025


                  Marcy Simpson
                  54 Swan Lane
                  Farmington, MO 63640


                  Mardi Wilcox
                  956 Cottontail Ln
                  St Charles, MO 63303


                  Mardina Tep
                  14924 Hough Road
                  Charlotte, NC 28227


                  Mareece Clark
                  195 Hodges Road
                  Chocowinity, NC 27817


                  Margaret
                  323 Wilson Farm RD
                  GASTONIA, NC 28056


                  Margaret Adrinameg
                  127 Southview Terrace
                  Louisville, KY 40214
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                  Margaret Bagley
                  9897 S 26th St
                  Scotts, MI 49088


                  Margaret Bean
                  7493 Cadle Ave
                  Mentor, OH 44060


                  Margaret Bolf
                  521 Garfield Ave NW
                  Grand Rapids, MI 49504


                  Margaret Bopra
                  2818 Daley Road
                  Lapeer, MI 48446


                  Margaret Fleshman
                  466 Sunset Drive
                  Concord, VA 24538


                  Margaret Follin
                  108 North Pine River Road
                  Kimball, MI 48074


                  Margaret Freeman
                  1207 Vinemont Street
                  Pittsburgh, PA 15205


                  Margaret Goebel
                  1123 Stonehenge Rd
                  Flint, MI 48532


                  Margaret Gorman
                  325 Dark Hollow Road
                  Shermans Dale, PA 17090


                  Margaret Gregory
                  3825 Johnson Rd
                  Saline, MI 48176


                  Margaret Hamel
                  3330 N Lake Wilson Rd
                  Hillsdale, MI 49242
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                  Margaret Harden
                  23223 New Guilford Road
                  Martinsburg, OH 43037


                  Margaret Hauser
                  261 Saunders Dr
                  Winder, GA 30680


                  Margaret Huestis
                  361 Indian Trail
                  Columbiaville, MI 48421


                  Margaret Hufstedler
                  1137 Little Piney Road
                  Roseland, VA 22967


                  Margaret Jeffreys
                  4 Wedgewood Ct
                  Greensboro, NC 27403


                  Margaret Kjeldgaard
                  4075 Harty Hill Dr
                  Traverse City, MI 49685


                  Margaret McDaniel
                  3856 Shandee Ln
                  Morristown, TN 37814


                  Margaret Melton
                  251 Pittman Road
                  Dawsonville, GA 30534


                  Margaret Oerther
                  20710 B-Drive South
                  Marshall, MI 49068


                  Margaret Parks
                  166 Jesse Ln
                  Johnstown, PA 15909


                  Margaret Parsons
                  11137 Spencer Dr
                  Fowlerville, MI 48836
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                  Margaret Perkins
                  240 Purcell rd
                  Reidsville, NC 27320


                  Margaret Person
                  409 Locust Lane
                  Danville, VA 24540


                  Margaret Prusak
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                  Richfield, OH 44286


                  Margaret Schmidt
                  10931 Belding Rd NE
                  Belding, MI 48809


                  Margaret Sego
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                  Buffalo, KY 42716


                  Margaret Short
                  13168 Olive Branch Road
                  Hagerstown, IN 47346


                  Margaret Tam
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                  Elkhart, IN 46514


                  Margaret Timm
                  1907 Alabama Ave
                  Fort Wayne, IN 46805


                  Margaret Yarbrough
                  1204 East Mcintosh Road
                  Griffin, GA 30223


                  Margarita Hern ndez
                  11903 Katelyn dr
                  Fredericksburg, VA 22407


                  Marge Giznsky
                  11480 Finzel Road
                  Carleton, MI 48117
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                  Margery Vanova
                  107 Bellamy Court
                  Clarksville, TN 37043


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                  Richmond, VA 23224


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                  Williamsport, PA 17701


                  Margie Hackworth
                  177 Quailrun Rd
                  Thornville, OH 43076


                  Margie Kritzer
                  1798 Deerfield Rd
                  Louisa, VA 23093


                  Margie Potts
                  1651 School St
                  Lorain, OH 44055


                  Margie Schultz
                  1556 Alabama Avenue Northwest
                  North Lawrence, OH 44666


                  Margie Vlasits
                  3399 Caverns Dr
                  Keezletown, VA 22832


                  Margo Puffenberger
                  318 W Harrison St
                  Maumee, OH 43537


                  Margo VanVorst
                  3622 South County Road 525 East
                  Greencastle, IN 46135


                  Margret Nichols
                  12 Northwest 7th Street
                  Washington, IN 47501
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                  Margret Nydell
                  1611 Charles st
                  Fredericksburg, VA 22401


                  Marguerite DeVita
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                  Cardinal, VA 23025


                  Marhea Bishop
                  7295 32nd St
                  Gobles, MI 49055


                  Mari KreinSecrist
                  729 Furr Rd
                  Vass, NC 28394


                  Mari McCarley-Mills
                  1282 Possum Hollow Rd
                  Wheelersburg, OH 45694


                  Mari Stolsig
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                  Liberty, NC 27298


                  Maria Alford
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                  Maria Arney
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                  Hendersonville, NC 28791


                  Maria Brazier
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                  Trenton, MI 48183


                  Maria Capriles
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                  Richmond, VA 23237


                  Maria Carey
                  1813 Waiola Rd
                  Valparaiso, IN 46383
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                  Maria Crapa
                  3937 Shenandoah Cir
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                  32 Allen Mountain Lane
                  Spruce Pine, NC 28777


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                  Spring, TX 77379


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                  Harrisonburg, VA 22801


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                  East Chicago, IN 46312


                  Maria Imelda Matias de pinto
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                  Locust Grove, VA 22508


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                  Saginaw, MI 48602
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                  Maria Madison
                  419 Lower Grassy Branch Road
                  Asheville, NC 28805


                  Maria Marin
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                  Richmond, MI 48062


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                  Maria Molinik
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                  Maria Renno
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                  Maria Siffert
                  121 Normandy Road
                  Eatonton, GA 31024


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                  King George, VA 22485


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                  Mariah Miller
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                  Richmond, VA 23234


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                  Mariana Sanchez
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                  Marianita Holloway
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                  Mariann McElwain
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                  Sewickley, PA 15143


                  Marianne Chester
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                  Stroudsburg, PA 18360
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                  Marianne Watson
                  241 Rolling Rock Road
                  Star Tannery, VA 22654


                  Maribel Colon
                  124 Corktree Rd
                  Kunkletown, PA 18058


                  Maribel Riojas-Ortega
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                  Havelock, NC 28532


                  Maribeth Boisse
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                  Ada, OH 45810


                  Marie Clancy
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                  Marie Collins
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                  Thurmond, NC 28683


                  Marie Eagleson
                  4373 M-61
                  Gladwin, MI 48624
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                  Marie Elkin
                  905 Adrian Road
                  De Lancey, PA 15733


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                  Yorktown, VA 23692


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                  Marie Kmucha
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                  Marie Lamb
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                  Garner, NC 27529


                  Marie Lee
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                  Murrells Inlet, SC 29576


                  Marie LeMay
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                  Pennsylvania Furnace, PA 16865


                  Marie Liott
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                  Greensburg, PA 15601
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                  Marie Michael
                  2924 Harmon Road
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                  Memphis, MI 48041


                  Marie Turner
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                  Jackson, OH 45640


                  Marie Vannucci
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                  Marietta Anderson
                  2774 Moore Rd
                  Beaumont, TX 77713
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                  Marietta City Income Tax
                  301 Putnam St.
                  Marietta, OH 45750-3023


                  Marietta Riddel Cohen
                  1217 University Avenue
                  Knoxville, TN 37921


                  Marijane Lane
                  17333 Brockman Ave
                  Cole Camp, MO 65325


                  Marijo Cook
                  4303 Elkins Avenue
                  Nashville, TN 37209


                  Marilee Tice
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                  Marilia Pimenta
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                  Eaton, OH 45320


                  Marilou Cruz
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                  Macomb, MI 48044


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                  Marilyn Carter
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                  Marilyn Dailey
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                  marilyn davis
                  212 Crittendon Avenue Northeast
                  Roanoke, VA 24012
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                  Marilyn Dunn
                  3455 13 Mile Road Northeast
                  Rockford, MI 49341


                  Marilyn Finnemore
                  20344 Cockerill Road
                  Purcellville, VA 20132


                  Marilyn Griffith
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                  Saint Stephen, SC 29479


                  Marilyn Hall
                  5201 Hendee Rd
                  Jackson, MI 49201


                  Marilyn Henley
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                  Augusta, GA 30906


                  Marilyn Johnson
                  3120 Lincoln Street
                  White Pine, TN 37890


                  Marilyn Jordan
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                  St. Helen, MI 48656


                  Marilyn Kruchkow
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                  Marilyn Lacey
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                  Marilyn May
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                  Emerald Isle, NC 28594


                  Marilyn McDaris
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                  8527 E Gum Rd
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                  Marina Moseley
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                  Fulshear, TX 77441


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                  Mario Bianchi
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                  Rockingham, VA 22802


                  Mario Carrillo
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                  Mario Dillard
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                  Mario Ledesma
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                  Mario Price
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                  Marion Bell
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                  Huntingburg, IN 47542
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                  Marion Blansett
                  501 Shandell Drive
                  Bedford, IN 47421


                  Marion City Income Tax
                  233 W. Center St.
                  Marion, OH 43302


                  Marion Ellis
                  1306 E Oak St.
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                  Marion Key Powers
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                  Mt Vernon,, IN 47620


                  Marion Klingler
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                  Marion Luttrell jr
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                  Marion Mumford
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                  Marisa Mansfield
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                  Marisela Kalmus
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                  Willis, VA 24380


                  Marisol Dippolito
                  7652 Lazy Hollow Ln
                  Denver, NC 28037
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                  Marjorie Gaddis
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                  Fair Play, MO 65649


                  Marjorie Miller
                  204 Kreinbrook Hill Road
                  Acme, PA 15610
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                  Marjorie Trotter
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                  8723 Pittsboro Goldston Road
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                  11211 The Bend Rd 134
                  Sherwood,, OH 43556


                  Mark Barber
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                  Dandridge, TN 37725


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                  Mark Bornemann
                  8422 McCulley Lane
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                  Glasgow, MO 65254


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                  North Branch, MI 48461


                  Mark Chapson
                  4513 County Rd 459C
                  Freeport, TX 77541
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                  Manchester, MI 48158


                  Mark Fetter
                  1412 Mill Springs Road
                  Jonesborough, TN 37659
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                  7318 Cliff Drive
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                  Farmington, MO 63640


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                  Mark Funk
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Coral, MI 49322


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                  Virginia Beach, VA 23464


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                  Mark Gowarty
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                  Johnstown, PA 15905
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                  Mcminnville, TN 37110


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                  Mark Johnson
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                  Newport News, VA 23608
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  13251 HABOUR VIEW DR
                  LINDEN, MI 48451


                  Mark Kanott
                  81 Ama Ridge
                  Whittier, NC 28789


                  Mark Kaufmann
                  406 Cardinal Dr
                  Washington, IL 61571


                  Mark Kerrigan
                  133 Penn Street
                  Clymer, PA 15728


                  Mark Kise
                  838 Grenada Rd #3rd
                  Columbus, OH 43207


                  Mark Knapp
                  8540 Brockway Rd
                  Yale, MI 48097


                  Mark Kratzer
                  177 Paddock Pl
                  Wilmington, OH 45177


                  Mark L. Miller
                  6669 County Road 407
                  Millersburg, OH 44654


                  Mark LaBean
                  3363 26th Street
                  Hopkins, MI 49328


                  Mark Lakoduk
                  4628 N Ozanam Ave
                  Norridge, IL 60706
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                  Mark Lane
                  7080 Long Run Road
                  Athens, OH 45701


                  Mark Lange
                  632 7 Mile Road
                  Eaton, OH 45320


                  Mark LaPointe
                  4557 Lewis Ave
                  Ida, MI 48140


                  Mark Lawrence
                  3488 Great Egret Drive
                  Johns Island, SC 29455


                  Mark Leedy
                  9950 North Washington Street
                  Macy, IN 46951


                  Mark Leggett
                  4340 South Fort Hill Drive
                  Suttons Bay, MI 49682


                  Mark Levengood
                  624 W Monroe St
                  Jackson, MI 49202


                  Mark Lewis
                  2307 Salem Road
                  Spout Spring, VA 24593


                  Mark Lilly
                  240 Purdy Rd
                  Emporia, VA 23847


                  Mark Lipscomb
                  12291 Perry Road
                  Battle Creek, MI 49015


                  Mark Long
                  101 Suburban Acres
                  Carmichaels, PA 15320
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                  Mark Lowry
                  16554 Universal Avenue
                  Clinton, IN 47842


                  Mark Ludwig
                  5920 115th Ave
                  Fennville, MI 49408


                  Mark Maloney
                  12079 Spalding Dr
                  Cincinnati, OH 45231


                  Mark Marshall
                  3470 Papin Road
                  De Soto, MO 63020


                  Mark Masloski
                  2024 Eve Dr
                  Steubenville, OH 43952


                  Mark Matheny
                  3716 Nautilus Trail Aurora
                  Aurora, OH 44202


                  Mark Mathis
                  9180 S Custer Rd
                  Monroe, MI 48161


                  Mark Mavers
                  4025 Wing Hill Rd
                  Cobden, IL 62920


                  Mark McClanahan
                  1132 Little Mountain Road
                  Russellville, TN 37860


                  Mark McCoy
                  3447 Golfview Court
                  Fairfield, OH 45014


                  Mark McDaniel
                  149 Rodighiero Avenue
                  Terre Haute, IN 47805
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                  mark mcdermott
                  6030 E Michigan Ave
                  Jackson, MI 49201


                  Mark Mcgary
                  240 Center Avenue
                  Burgettstown, PA 15021


                  Mark Mcintosh
                  2410 butler st
                  lafayette, IN 47905


                  mark mesojednik
                  1519 Putters Lane
                  Lima, OH 45805


                  Mark Messina
                  2635 Artz Road
                  Salisbury, NC 28146


                  Mark Michelotti
                  184 Egg Hill Rd,
                  Spring Mills, PA 16875


                  Mark Midcap
                  6340 Smith Kramer Street Northeast
                  Hartville, OH 44632


                  Mark Miller
                  153 Old Fort Sugar Hill Rd
                  Old Fort, NC 28762


                  Mark Miller
                  4360 sugar grove rd
                  Lancaster, OH 43130


                  Mark Mills
                  29449 Saddlebred Lane
                  Dowagic, MI 49047


                  Mark Mindy
                  480 Swopes Valley Rd
                  Pine Grove, PA 17963
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                  Mark Minnema
                  1729 E Monroe St
                  White Cloud, MI 49349


                  Mark Mitchell
                  8685 Eastway Drive
                  White Lake,, MI 48386


                  Mark Mondello
                  424 Kehner Road
                  Mogadore, OH 44260


                  Mark Mosorjak
                  1535 Luzerne St Ext
                  Johnstown, PA 15905


                  Mark Musial
                  5243 Portage Dr
                  Vermilion,, OH 44089


                  Mark Myers
                  22950 19 mile Rd
                  Big Rapids, MI 49307


                  Mark Nave
                  2601 South Sanders Road
                  Hillsboro, OH 45133


                  Mark Noel
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                  Roxboro, NC 27573


                  Mark Norman
                  8400 Churchill Court
                  Evansville, IN 47725


                  Mark OBryan
                  635 Henderson Grove Road
                  Lewisport, KY 42351


                  Mark Ogden
                  575 Duffey Rd
                  Peebles, OH 45660
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                  Mark Pace
                  6160 Swan Lake Dr
                  Romulus, MI 48174


                  Mark Paolino
                  419 Milan Street North
                  Canal Fulton, OH 44614


                  Mark Passeretti
                  5405 Huntwood Street
                  Cave Spring, VA 24018


                  Mark Passeretti
                  412 Fairfax Avenue Northwest
                  Roanoke, VA 24016


                  Mark Patterson
                  9061 U.S. 322
                  Cranberry, PA 16319


                  Mark Payne
                  448 Vicar Road
                  Danville, VA 24540


                  Mark Pike
                  5148 South 25 Road
                  Boon, MI 49618


                  Mark Piraino
                  1212 Wheatfield Drive
                  Morton, IL 61550


                  Mark Pitts
                  11 Turk Crk Trl
                  Forsyth, GA 31029


                  Mark Pittsley
                  63 West River Road
                  Mount Pleasant, MI 48858


                  Mark Price
                  805 East Coolspring Avenue
                  Michigan City, IN 46360
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                  Mark Prince
                  3473 Grange Hall Road
                  Asheboro, NC 27205


                  Mark Pruett
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                  Staunton, VA 24401


                  Mark Quillen
                  643 W Rose City Rd
                  West Branch, MI 48654


                  Mark Rado
                  11220 Brosius Rd
                  Garrettsville, OH 44231


                  Mark Rahm
                  730 High St
                  Pecatonica, IL 61063


                  Mark Randall
                  2501 3 Mile Road
                  Urbana, OH 43078


                  Mark Ray
                  8115 Fraziers Ln
                  Lesage, WV 25537


                  Mark Read
                  1898 Broadstone Rd
                  Banner Elk, NC 28604


                  Mark Redcay
                  39 Sky Top Rd
                  Coudersport, PA 16915


                  Mark Reid
                  361 Woodland Shores Road
                  Charleston, SC 29412


                  Mark Rice
                  887 Laguna Dr
                  Wolverine Lake, MI 48390
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                  Mark Richards
                  370 Old Ferry Lane
                  Adamsville, TN 38310


                  Mark Richardson
                  12612 Forest Rd
                  Huntsburg, OH 44046


                  Mark Risner
                  3892 School Rd
                  New Carlisle, OH 45344


                  Mark Rivard
                  760 N Carter Rd
                  Linwood, MI 48634


                  Mark Roberts
                  3423 East 450 South
                  Lafayette, IN 47909


                  Mark Roberts
                  7355 Castle Hills Drive
                  Newburgh, IN 47630


                  Mark Roberts
                  303 Deerwood Drive
                  Lynchburg, VA 24502


                  Mark Roe
                  3833 Chapel Cir
                  Sedalia, MO 65301


                  Mark Roemer
                  509 South Street
                  Roscommon, MI 48653


                  Mark Rosales
                  9360 Northridge Dr
                  Conroe, TX 77303


                  Mark Rossman
                  10249 Co Rd 40
                  Findlay, OH 45840
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                  Mark Ruediger
                  616 Coitsville Rd
                  Campbell, OH 44405


                  Mark Russell
                  12400 Fowler Road
                  Brant, MI 48614


                  Mark Sanders
                  4593 McCain Rd
                  Jackson, MI 49201


                  Mark Sanders
                  1119 S 26th St
                  South Bend, IN 46615


                  Mark Sanford
                  3581 1st St
                  La Salle, MI 48145


                  Mark Satkovich
                  241 Quemahoning Street
                  Stoystown, PA 15563


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                  St. Louis, MO 63124


                  Mark Schinnie
                  2519 Knoxville Drive
                  League City, TX 77573


                  Mark Schriner
                  15521 Ryan's Creek Way
                  Big Rapids, MI 49307


                  Mark Schultz
                  851 Warrington Avenue
                  Warrington, PA 18976


                  Mark Schuman
                  34255 Co Rd 673
                  Bangor, MI 49013
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mark Schurman
                  186 Splitcreek Trail
                  Cope, SC 29038


                  Mark Scott
                  47 S Johnsville Farmersvil Rd
                  New Lebanon, OH 45345


                  Mark Sellers
                  28418 Schroeder St
                  Farmington Hills, MI 48331


                  Mark Sheets
                  795 Botanical Ct
                  Bunnlevel, NC 28323


                  Mark Shelton
                  160 River Oak Ln
                  Stokesdale, NC 27357


                  Mark Shetterly
                  606 Mitchell Drive
                  Knoxville, TN 37912


                  Mark Shewbridge
                  32204 Craftsbury Rd
                  Farmington Hills, MI 48334


                  Mark Shilling
                  11885 Indian Creek Rd S
                  Indianapolis, IN 46259


                  MARK SIMPSON
                  575 Amberwood St
                  Auburn Hills, MI 48326


                  Mark Slough
                  710 West Melrose Avenue
                  Findlay, OH 45840


                  Mark Smit
                  40019 Gulliver Dr
                  Sterling Heights, MI 48310
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mark Smith
                  57867 Jemian Dr
                  Goshen, IN 46528


                  Mark Smith
                  189 Woodfield Dr
                  Highlandville, MO 65669


                  Mark Smith
                  879 Vollmar Rd
                  Chillicothe, OH 45601


                  Mark Sonnier
                  1025 West 8th Street
                  Hobart, IN 46342


                  Mark Soper
                  33825 West 204th Street
                  Lawson, MO 64062


                  Mark Spallinger
                  5151 E State Rd
                  Elida, OH 45807


                  Mark Spangler
                  5281 Travis Road
                  Greenwood, IN 46143


                  Mark Spencer
                  2471 North Van Dyke Road
                  Imlay City, MI 48444


                  Mark Speth
                  8904 Deer Run Dr
                  Indianapolis, IN 46256


                  Mark Spivey
                  2950 Lately Bridge Rd
                  Elko, GA 31025


                  Mark Squier
                  18039 Summer Lane South
                  Fraser, MI 48026
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                  Mark Stalker
                  556 Pisgah Ridge Cir
                  Hiddenite, NC 28636


                  Mark Stevens
                  243 Hub Ln
                  Lebanon, VA 24266


                  Mark Stiltner
                  19304 Tulip Tree Lane
                  Meadowview, VA 24361


                  Mark Stolzenberg
                  164 Plantation Drive
                  Swansboro, NC 28584


                  Mark Stoody
                  111 Hereford Drive
                  Pickerington, OH 43147


                  Mark Strizak
                  5860 Waterloo
                  Atwater, OH 44201


                  Mark Tamlyn
                  1315 Natalie Ln
                  Cheboygan, MI 49721


                  Mark Thompson
                  1380 OH-201 Casstown, OH 45312
                  Casstown,, OH 45312


                  Mark Timm
                  7862 North County Road 100 East
                  Bainbridge, IN 46105


                  mark Tippett
                  2104 RIDGE CREEK DR
                  Lincoln, IL 61705


                  Mark Tippett
                  1216 Nicholson Rd
                  Lincoln, IL 62656
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                  Mark Tolliver
                  865 Slash Branch Road
                  Greenup, KY 41144


                  Mark Trevor
                  6309 Stubbs Cove Lane
                  Spotsylvania Courthouse, VA 22551


                  Mark Trudeau
                  316 A E Trudeau Road
                  Paris, TN 38242


                  Mark Turo
                  12615 Burt Road
                  Memphis, MI 48041


                  Mark Van Buren
                  317 parkway st
                  Jackson, MI 49203


                  Mark Van Cuyck
                  44 Lake Field Crossing
                  Hampton, VA 23666


                  Mark Vaughn
                  1790 6th Vein Road
                  Dawson Springs, KY 42408


                  Mark Vennitti
                  1221 Deer Path Ct.
                  Grove City, OH 43123


                  Mark Ventura
                  195 South Whiteman Street
                  Xenia, OH 45385


                  Mark Vernon
                  5590 Belfast-Owensville Rd
                  Batavia, OH 45103


                  Mark Vogel
                  14371 Kellys Ford Road
                  Elkwood, VA 22718
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                  Mark Waller
                  1630 N Martin Luther King Jr Blvd
                  Lansing, MI 48915


                  Mark Walsh
                  1241 Cambria Drive
                  Troy, MI 48085


                  Mark Walters
                  5934 S Derby Road
                  Sheridan, MI 48884


                  Mark Wardrop
                  894 Maytown Road
                  Elizabethtown, PA 17022


                  Mark Wasserman
                  202 S Main St
                  Pleasant Hill, OH 45359


                  Mark Wasson
                  9673 Bob Rogers Road
                  Frankfort, KY 40601


                  Mark Watt
                  4220 OH-3
                  Sunbury, OH 43074


                  Mark Wedgeworth
                  530 Clairpointe Woods Dr.
                  Detroit, MI 48215


                  Mark Weers
                  2587 State Route 116
                  Minonk, IL 61760


                  Mark Wehr
                  2432 North 27th Street
                  Terre Haute, IN 47804


                  mark werline
                  10839 Indiana 43
                  Brookston, IN 47923
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                  Mark Wienert
                  23W103 Armitage Ave
                  Glen Ellyn, IL 60137


                  Mark Willett
                  2706 Western St
                  Hopewell, VA 23860


                  Mark Williams
                  3311 Maryland Ave
                  Richmond, VA 23222


                  Mark Winship
                  12081 Green Rd
                  Goodrich, MI 48438


                  Mark Wise
                  1312 Epworth Ave
                  Reynoldsburg, OH 43068


                  Mark Wyant
                  566 Longview Road
                  Fairmount City, PA 16224


                  Mark Yates
                  121 Park Avenue
                  McMinnville, TN 37110


                  mark yesho
                  11781 North Carolina HWY 212
                  Marshall, NC 28753


                  Mark Yow
                  115 Mary Esther Ln
                  China Grove, NC 28023


                  Mark Ziesmer
                  7462 Dixon Rd
                  Monroe, MI 48161


                  Markco Lewis
                  1702 McCrae Hill Ct
                  Park Row, TX 77494
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Markeseo Williams
                  102 Puett Drive
                  Stanley, NC 28164


                  Markila Thomas
                  8430 Outer Drive East
                  Detroit, MI 48213


                  Markous Baldwin
                  2003 Gannon Road
                  Howell, MI 48855


                  Marla Patchel
                  107 Crest Hill Dr
                  Morganton, NC 28655


                  Marla Stephens
                  3795 Brimfield Ave
                  Auburn Hills, MI 48326


                  Marleen Loff
                  615 Gladstone Acres Rd
                  Sparta, TN 38583


                  Marlen Jost
                  4018 Wild Meadow Street
                  Kalamazoo, MI 49048


                  Marlena Markiewicz
                  8426 Lovers Ln
                  Portage, MI 49002


                  Marlena Wilhelm
                  20928 Taylor Stand Rd
                  Centerville, PA 16404


                  Marlene Bond
                  22954 Cadiz Road
                  Freeport, OH 43973


                  Marlene Hoeft
                  18546 Davidson Rd
                  Fraser, MI 48026
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Marlene Hoffman
                  14 Belmont Dr
                  Gallipolis, OH 45631


                  Marlene Jarvis
                  1422 Rankin Rd
                  Greensboro, NC 27405


                  Marlene Mckay
                  9541 Gravel Ridge Dr
                  Farwell, MI 48622


                  Marlene Mohler
                  208 South 4th Street
                  Cambridge City, IN 47327


                  Marlene Pear
                  147 Kohler Road
                  Barton City, MI 48705


                  Marlene Perez
                  121 covey ln
                  Drums, PA 18222


                  Marlene Rezac
                  412 Turnberry Court
                  Vine Grove, KY 40175


                  Marlene Tucker
                  5299 Garfield Blvd
                  Sheffield Lake, OH 44054


                  Marlin Hall
                  804 Public Hwy
                  alma, IL 62807


                  Marlin Lamaak
                  3768 Saxonburg Boulevard
                  Pittsburgh, PA 15238


                  marlin wagner
                  101 Wood Pointe Ct
                  Lexington, NC 27295
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Marlon Franklin
                  3740 Fox St
                  Inkster, MI 48141


                  Marlowe Rooks
                  1289 Suellen Way
                  Clarksville, TN 37042


                  Marnie Boord
                  2541 Baird Avenue Southeast
                  Paris, OH 44669


                  Marques Rogers
                  90 Valley View Rd
                  Morehead, KY 40351


                  Marquis Washington
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                  Indianapolis, IN 46236


                  Marquita Garrett
                  8901 N 5 Forks Rd
                  Amelia Court House, VA 23002


                  Marquita Neyland
                  1486 Biloxi Dr
                  Cincinnati, OH 45231


                  Marsha Bellaver
                  4349 Bristolwood Dr
                  Flint, MI 48507


                  Marsha Boone
                  1745 Wilson Street
                  Gary, IN 46404


                  Marsha Deeter
                  8941 State Route 73
                  Hillsboro, OH 45133


                  Marsha Johnson
                  579 West Peters Road
                  West Branch, MI 48661
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                  Marsha Johnson
                  114 Carolina Pines Boulevard
                  New Bern, NC 28560


                  Marsha Knoy
                  415 Hamlet Drive
                  New Albany, IN 47150


                  Marsha Longbrake
                  1280 Turner Dr
                  Sidney, OH 45365


                  Marsha Mathews
                  160 Sophia Drive
                  Eastman, GA 31023


                  Marsha Mcmillen
                  126 Boyd Ln
                  New Brighton, PA 15066


                  Marsha Nahra
                  500 Mexico Rd
                  Milton, PA 17847


                  Marsha Smith
                  10079 State Highway YY
                  New Haven, MO 63068


                  Marsha Tyhurst
                  11101 Fallsburg Road Northeast
                  Frazeysburg, OH 43822


                  Marsha Waggoner
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                  Marshall Harvey
                  204 Shadywood Drive
                  Goldsboro, NC 27534


                  Marshall Johnson
                  5550 Oakman Blvd
                  Detroit, MI 48204
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                  Marshall Lauderdale
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                  Wake Forest, NC 27587


                  Marshall McDonald?s
                  4 Nightingale Drive
                  Springfield, IL 62711


                  Marshall Pampkin
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                  Johnson City, TN 37604


                  Marshall Parker
                  5512 Greenridge Dr
                  McLeansville, NC 27301


                  Marshall Terbush
                  274 S Sheridan Rd
                  Caro, MI 48723


                  Marshall Tweedy
                  128 Eubank Circle
                  Madison Heights, VA 24572


                  Marshella Nelson
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                  Marta Gryniuk
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                  Washington Court House, OH 43160


                  Marta Merid
                  1319 Bundy Drive
                  Smyrna, TN 37167


                  Martha Berry
                  4311 Nevada Avenue
                  Nashville, TN 37209


                  Martha Burch
                  5491 Georgia 52
                  Gillsville, GA 30543
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roxboro, NC 27574


                  Martha Childers
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                  Whittier, NC 28789


                  Martha Chiles
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                  Martha Curtis
                  6135 Duncan Rd SW
                  Lancaster, OH 43130


                  Martha Daddato
                  7113 Pullen Dr
                  Fredericksburg, VA 22407


                  Martha Darling
                  173 Keo Lane
                  South Salem, OH 45681


                  Martha Dumas
                  3617 Weeburn
                  Ann Arbor, MI 48108


                  Martha L Webb
                  215 McKinney Road
                  Shady Spring, WV 25825


                  Martha Lavigne
                  7 Walnut Lane
                  Fletcher, NC 28732


                  Martha McKeen Viets
                  509 North Willow Street
                  Kent, OH 44240
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                  Martha Miller
                  19328 Banner Avenue
                  Brownstown, MI 48174


                  Martha Miller
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                  Kernersville, NC 27284


                  martha mitchell
                  95 wheeler ln
                  franklinton, NC 27525


                  Martha Pinkard
                  120 De Vaughn Avenue
                  Montezuma, GA 31063


                  Martha Proffitt
                  876 Armel Rd
                  White Post, VA 22663


                  Martha Scott
                  132 East Suttenfield St
                  Fort Wayne, IN 46803


                  Martha Seaman
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                  Edwardsburg, MI 49112


                  Martha Shelton
                  310 6th St
                  Radford, VA 24141


                  Martha Spadaro
                  2203 Norside Drive
                  Alton, IL 62002


                  Martha Taylor
                  91 Georges Creek
                  Gallipolis, OH 45631


                  Martha Watson
                  70230 Morency Dr
                  Bruce Township, MI 48065
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                  Martha Wilkes
                  124 West King Street
                  Littlestown, PA 17340


                  Martha Worsley
                  7 Leland Street
                  Ocean Isle Beach, NC 28469


                  Marti Day
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                  Elizabeth, IN 47117


                  Marti MacArthur
                  111 Carlton Ave SE
                  Grand Rapids, MI 49506


                  Martia Anderson
                  4871 S Gera Rd
                  Frankenmuth, MI 48734


                  Martika Gartmen
                  35 East 56th Street
                  Westmont, IL 60559


                  Martin Agbugui
                  3075 Hartslock Woods Dr
                  West Bloomfield Township, MI 48322


                  Martin Albarran
                  1506 North Bloomington Street
                  Streator, IL 61364


                  Martin B
                  17460 Fleetwood Lane
                  South Bend, IN 46635


                  Martin Bell
                  5585 Wilcox Rd
                  Dublin, OH 43016


                  Martin Bruhy
                  1202 9th St
                  Bedford, IN 47421
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                  62240 walnut rd
                  Vandalia, MI 49095


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                  Altoona, PA 16602


                  Martin Curran
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                  Bellevue, OH 44811


                  Martin Curtis
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                  Jackson, TN 38301


                  Martin Dahl
                  4866 Leaside Drive
                  Saginaw, MI 28115


                  Martin Dahl
                  4866 Leaside Dr
                  Saginaw, MI 48603


                  Martin Domaradzki
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                  Hubert, NC 28539


                  Martin Emmanuel
                  712 East Grand Blanc Road
                  Grand Blanc, MI 48439


                  Martin Fox
                  10987 West Jason Road
                  Fowler, MI 48835


                  Martin Hart
                  3143 Walnut Creek Rd
                  Chillicothe, OH 45601


                  Martin Koziol
                  52 51st Street
                  Grand Junction, MI 49056
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                  Martin Lawson
                  19555 Saxton Avenue
                  Southfield, MI 48075


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                  Parma Heights, OH 44130


                  Martin Mann
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                  Martin Mellish
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                  Rockford, MI 49341


                  Martin Meloche
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                  Kalamazoo, MI 49004


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                  Newton, NC 28658


                  Martin Mitchell
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                  Franklinton, NC 27525


                  Martin Ochs
                  8781 Birch Run Rd
                  Millington, MI 48746


                  martin paluszewski
                  27845 Early Road
                  New Carlisle, IN 46552
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  3267 Van Campen Drive
                  Waterford Township, MI 48329


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                  Lilly, PA 15938


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                  White Lake, MI 48383


                  Martin Racey
                  441 McDonald Rd
                  Winchester, VA 22602


                  Martin Riggen
                  928 W NorthShore Dr
                  Brazil, IN 47834


                  Martin Sanders
                  2858 Master Road
                  Emlenton, PA 16373


                  Martin Sendra
                  1606 N Autumn Dr
                  Joliet, IL 60431


                  Martin Shaffer
                  2671 Swaringen Road
                  Traphill, NC 28685


                  Martin Shelton
                  47020 Gloede Rd
                  Macomb, MI 48044


                  Martin Steiner
                  63388 Old Winding Hill Road
                  Bellaire, OH 43906


                  Martin Szczublewski
                  26148 Oregon Rd
                  Perrysburg, OH 43551
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                  5129 U.S.220
                  Ellerbe, NC 28338


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                  Hammond, IN 46323


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                  Davison,, MI 48423


                  Martin Vantil
                  204 Lakeshore Drive
                  Georgetown, KY 40324


                  Martin Witchger
                  1103 Alma Street
                  Durham, NC 27703


                  Martin Wolfe
                  6124 E Dodge Rd
                  Mt Morris, MI 48458


                  Martin Young
                  6123 Wickshire Dr
                  Rosenberg, TX 77471


                  Martiz Williams
                  726 Pallister
                  Detroit, MI 48202


                  Marty Angeli
                  7791 Twin Hills Road
                  Streetsboro, OH 44241


                  Marty Bennett
                  1224 Kennsington Dr
                  Findlay, OH 45840


                  Marty Cripe
                  1236 North 600 East
                  Elwood, IN 46036
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                  Marty Deaton
                  4713 Clairmont Dr.
                  COLUMBUS, IN 47203


                  Marty Devine
                  7968 Woodbury rd
                  Waynesburg, MI 48848


                  Marty Drahos
                  1206 Fence Post Lane
                  Carolina Shores, NC 28467


                  Marty Flournory
                  12217 Norwood Road
                  Raleigh, NC 27613


                  Marty Freet
                  6355 Missouri PP
                  High Ridge, MO 63049


                  Marty Goergen
                  826 Lipton Dr
                  Newport News, VA 23608


                  Marty Hartman
                  508 Sunset Rd
                  Clemmons, NC 27012


                  Marty Johnson
                  2742 Wildwood Rd
                  Columbus, OH 43231


                  Marty Jolena
                  2248 W 50 S
                  Crawfordsville, IN 47933


                  Marty Koch
                  1359 South Wynn Road
                  Oregon, OH 43616


                  Marty Patrick
                  5305 E SR-4
                  La Porte, IN 46365
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                  Marty Stauffer
                  101 Inn Road
                  Duncannon, PA 17020


                  Marty Winn
                  5820 Elm Rd
                  Hudson, MI 49247


                  Martyna Gudat
                  7908 South Oak Drive
                  Indianapolis, IN 46227


                  Marv Huff
                  6571 Hochberger Rd
                  Eau Claire,, MI 49111


                  Marva Farber
                  751 Hoffman Street
                  Muskegon, MI 49442


                  Marvic Brown
                  19068 Hanna St
                  Melvindale, MI 48122


                  Marvin Dow
                  3471 Old Hightower Trail, Loganville, GA
                  Loganville, GA 30052


                  Marvin Fleming
                  16307 Farm Road 2110
                  Cassville, MO 65625


                  Marvin Franklin
                  121 Catherine Dr
                  Harbinger, NC 27941


                  Marvin Grissom
                  4273 Old N C 75
                  Oxford, NC 27565


                  Marvin Hayes
                  14339 Rivers Mill Road
                  Capron, VA 23829
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                  Marvin Heavens
                  1202 Tower Rd
                  Norlina, NC 27563


                  Marvin Jones
                  5235 U.S. Hwy 17 S
                  New Bern, NC 28562


                  Marvin Nettles
                  10281 Hawkhurst Dr
                  Cincinnati, OH 45231


                  Marvin Phillips
                  25 Station Street
                  Sykesville, PA 15865


                  Marvin Plumlee
                  4033 Pleasant Avenue
                  Portsmouth, OH 45662


                  Marvin Robbins
                  8432 Marten Road
                  Neosho, MO 64850


                  Marvin Russell
                  242 Rugged Creek Drive
                  Stockbridge, GA 30281


                  Marvin Schepers
                  4170 North Walters Lane
                  Otwell, IN 47564


                  Marvin Simpson
                  114 Gann Drive
                  Darlington, SC 29532


                  Marvin Staines
                  4317 Bennett Drive
                  Burton, MI 48519


                  Marvin Volmering
                  6558 E Atwater Rd
                  Ruth, MI 48470
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                  Marvin Weinstock
                  55 Griffin Road
                  Lowell, OH 45744


                  Marvin Wirth
                  3423 South Keller Road
                  Crawfordsville, IN 47933


                  Marvin Zehr
                  128 Old Bridgewater Rd
                  Mt. Crawford, VA 22841


                  Marwan N Saliba (Nick)
                  9022 Linksvue Dr
                  Knoxville, TN 37923


                  Mary A Rubeck
                  2845 East County Road 100 South
                  Center Point, IN 47840


                  Mary Adams
                  2222 Heideman Drive
                  Seymour, IN 47274


                  mary adams
                  8509 Minnesota Avenue
                  St. Louis, MO 63111


                  Mary Anderson
                  3881 Double Bridges Rd
                  Meherrin, VA 23954


                  Mary Angeline Crofoot
                  7000 Layton Road
                  Fowlerville, MI 48836


                  Mary Ann Buckley
                  32292 Old Plank Road
                  Locust Grove, VA 22508


                  Mary Ann Fletcher
                  621 E Wesner Rd
                  Blandon, PA 19510
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                  Mary Ann Gaster
                  1600 Clearwater Dr
                  Sanford, NC 27330


                  Mary Ann Harris
                  6071 U.S. 258
                  Tarboro, NC 27886


                  Mary Ann Lamb
                  6127 North New Hope Road
                  Nashville, TN 37076


                  Mary Ann Lenkey-Myers
                  1817 S Kohler Rd
                  Orrville, OH 44667


                  Mary Ann Nash
                  1100 Dunvegan Road
                  Florence, SC 29501


                  Mary Ann Schmidt
                  3924 Kahn Ave
                  Allison Park, PA 15101


                  Mary Ann Shafer
                  12921 Lake Pointe Pass
                  Van Buren, MI 48111


                  Mary Ann Thorp
                  807 West North Street
                  Hebron, OH 43025


                  Mary Ann Wolski
                  807 Boundary St
                  Newberry, SC 29108


                  Mary Barker
                  6016 Carleton Rockwood Road
                  Berlin, MI 48179


                  Mary Barnes
                  631 North Medway-Carlisle Road
                  New Carlisle, OH 45344
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                  Mary Barrett
                  128 Hogan Road
                  Gordonsville, TN 38563


                  Mary Barrosse
                  4114 Spokane Ave
                  Cleveland, OH 44109


                  Mary Bartholomew
                  951 S Main St
                  Hinesville, GA 31313


                  Mary Baynes
                  1560 E Hughes Mill Rd
                  Burlington, NC 27217


                  Mary Bennett
                  2136 Buchanan Trail West
                  Greencastle, PA 17225


                  Mary Beswilen
                  1715 Progress Ln
                  Charlotte, NC 28205


                  Mary Beth D?Hondt
                  52695 Ihla
                  Shelby Charter Twp, MI 48316


                  Mary Beth Shook
                  2584 Sanderstown Rd.
                  Franklin, NC 28734


                  mary blankenship
                  4250 Buffalo Mountain Rd SW
                  Willis, VA 24380


                  Mary Bollinger
                  1067 Bristol Dr
                  Vandalia, OH 45377


                  Mary Bortz
                  989 Abbottstown Pike
                  Hanover, PA 17331
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                  Mary Brough
                  4181 Cygnet Rd
                  Fostoria, OH 44830


                  Mary Bryson
                  35 Torrey Pines Ln
                  Pinehurst, NC 28374


                  Mary Bunting Fick
                  6245 Frenchline Rd
                  Marlette, MI 48453


                  Mary Burd
                  1406 Oak Grove Dr
                  Walled Lake, MI 48390


                  Mary Burr
                  504 W Race St
                  Odon, IN 47562


                  Mary Calvert
                  3853 Edinburgh Drive
                  Va Beach, VA 23452


                  Mary Canter
                  11326 Oak Grove Road
                  Bristol, VA 24202


                  Mary Carter
                  53 Secretariat Trail
                  Cataula, GA 31804


                  Mary Chambers
                  541 Sabre Circle
                  Ringgold, GA 30736


                  Mary Cheeseboro
                  209 Dyers Hall Rd
                  Irma, SC 29063


                  Mary Chilson-Landmesser
                  8172 Yale Road
                  Rootstown, OH 44272
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary Christie Finnell
                  11855 Staffordsburg Rd
                  Independence, KY 41051


                  Mary Christy
                  312 3rd Ave
                  Worthington, KY 41183


                  Mary Coker
                  400 Riley Ridge
                  Waynesville, NC 28785


                  Mary Cole
                  1316 S Michigan Rd
                  Eaton Rapids, MI 48827


                  Mary Combs
                  1352 STATE ROUTE 127
                  Nashville, IL 62263


                  Mary Cook
                  14502 Fort Ashby Rd
                  Keyser, WV 26726


                  mary cooke
                  396 Spratley Mill Rd
                  Dendron, VA 23839


                  Mary Daily
                  2324 Meloy Road
                  Kent, OH 44240


                  Mary Daniels
                  2140 Emerson Rd
                  Goodells,, MI 48027


                  Mary Dawson
                  2772 Lylewood Road
                  Woodlawn, TN 37191


                  Mary Dierking Fortin
                  3370 East Bard Road
                  Twin Lake, MI 49457
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary Dignan-Nunn
                  724 Cascade Dr
                  Dayton, OH 45431


                  Mary Divittorio
                  424 Browns Crossing Road Northwest
                  Milledgeville, GA 31061


                  Mary Douglas
                  3359 Fanone Drive
                  Port Huron, MI 48060


                  mary downs
                  109 Gloucester Court
                  Waynesboro, VA 22980


                  Mary duran
                  1297 South Dye Road
                  Flint, MI 48532


                  Mary Elaine Rupinta
                  1103 Swan Drive
                  Elburn, IL 60119


                  Mary Elizabeth Isenogle
                  19320 Hartzell Lane
                  Marthasville, MO 63357


                  Mary Ellen Flack
                  3567 Algoma Road
                  Boones Mill, VA 24065


                  Mary Ellen Lewandoski
                  1021 Beaconsfield
                  Grosse Pointe, MI 48230


                  Mary Everett
                  193 Fayetteville Coxton Road
                  Williams, IN 47470


                  Mary Fadely
                  12 Green Oaks Rd
                  Bryson City, NC 28713
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary Fagnilli
                  3166 Austinburg Rd
                  Ashtabula, OH 44004


                  Mary Feight
                  2441 Hickory Hill Road
                  Saxton, PA 16678


                  Mary Fisher
                  72 Pharoah Drive
                  Brevard, NC 28712


                  Mary Fitzpatrick
                  12164 Pinhook Road
                  Rockville, VA 23146


                  Mary Franklin
                  3286 Werk Rd
                  Cincinnati, OH 45211


                  Mary Freeman
                  523 College Drive,
                  Raeford, NC 28376


                  Mary Gattermeir
                  448 Daniel Rd
                  Blackstone, VA 23824


                  Mary Giesing
                  768 Coffeyton Road
                  Bourbon, MO 65441


                  Mary Gillies
                  431 Tanner Commons Lane
                  Rock Hill, SC 29732


                  Mary Gladstone
                  23750 Buckingham St
                  Dearborn,, MI 48128


                  Mary Gray
                  2150 E Rattalee Lake Rd
                  Holly, MI 48442
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  mary guibert
                  4242 Ave C
                  Newport, MI 48166


                  Mary Hamilton
                  2025 Skinner Rd
                  Plymouth, OH 44865


                  Mary Hammond
                  2570 Mogadore.
                  Akron, OH 44312


                  Mary Hartman
                  8340 Struble Rd
                  Jerome, MI 49249


                  Mary Haughey
                  7 Neff Drive
                  Hampton, VA 23669


                  Mary Hegedus
                  2220 Lakewood Road
                  Whitehall, MI 49461


                  Mary Heim
                  17650 Heim Road
                  Chelsea, MI 48118


                  Mary Herlache
                  1154 Schemp rd
                  Lupton, MI 48635


                  MARY HICKERSON
                  1473 Bridle Ln
                  Chapel Hill, TN 37034


                  Mary Hoeller
                  2519 North Delaware Street
                  Indianapolis, IN 46205


                  Mary Hogan
                  304 E Flint Hills Blvd
                  Junction City, KS 66441
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                  Mary Holbrook
                  759 Andover Woods Drive
                  Fenton, MI 48430


                  Mary Hutchison
                  54 Colvin Loop
                  Brumley, MO 65017


                  Mary Ingram
                  204 Crestwood Dr
                  Goldsboro, NC 27530


                  Mary Isenogle
                  19320 Hartzell Lane
                  Marthasville, MO 63357


                  Mary Jackson
                  27019 Bathurst Dr
                  Brownstown Charter Twp, MI 48134


                  Mary Jackson
                  14 Augusta St
                  Heathsville, VA 22473


                  Mary Jane Cottell
                  3058 Adirondack Ave
                  Columbus, OH 43231


                  Mary Jane Hooker
                  350 Maplewood Ave
                  Columbus, OH 43213


                  Mary Jane Jordan
                  83 Pearson Lane
                  Waverly, OH 45690


                  Mary Jane Palaganas
                  105 Susan Cir
                  Goldsboro, NC 27530


                  Mary Jane Rudowsky
                  8551 Wyatt Road
                  Broadview Heights, OH 44147
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                  Mary Jauw
                  3286 Ipswich Drive Northwest
                  Grand Rapids, MI 49544


                  Mary Jennie
                  11011 Laurel Hill Rd.
                  Thornville, OH 43076


                  Mary Jo Duffy
                  18956 Faulman Road
                  Clinton Township, MI 48035


                  Mary Jo Henretty-Jornales
                  427 W Pleasant St
                  Watervliet, MI 49098


                  Mary Jo Stephens
                  2731 Forest Lake Drive
                  Jackson, MI 49203


                  Mary Jo Tomak
                  839 Bruce St
                  Johnstown, PA 15902


                  Mary Jo Volker
                  8642 Elmtree Avenue
                  Cincinnati, OH 45231


                  Mary Jones
                  4104 Seneca Street
                  Sand Creek, MI 49289


                  Mary Joseph
                  351 Allyson Dr
                  Raleigh, NC 27603


                  Mary Joseph
                  155 Harbour Dr
                  Springboro, OH 46066


                  Mary Kabat
                  3537 IL-127
                  Nashville, IL 62263
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                  Mary Kay Shirey
                  490 Hickernell Road
                  Ellwood City, PA 16117


                  Mary Kersey
                  1954 Kent Rd
                  Pamplico, SC 29583


                  Mary Kirsopp
                  6806 Vara Drive
                  Pittsburgh, PA 15236


                  Mary Kurth
                  209 Ogden St
                  Belvidere, IL 61008


                  Mary LaFrance
                  36296 Gregory Dr
                  Sterling Heights, MI 48312


                  Mary Langer
                  168 Friendship Road
                  Beaver Falls,, PA 15010


                  Mary Lee-Baer
                  210 Co Rd 135
                  Athens, TN 37303


                  Mary Lehman
                  109 Willards Way
                  White Lake, MI 48386


                  Mary Lehman
                  161 Claren Dr
                  Heath, OH 43056


                  Mary Leto
                  817 Liberty street
                  Gallitzin, PA 16641


                  Mary Lewis
                  9127 7 Mile Rd
                  Battle Creek, MI 49014
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                  Mary Lewis
                  2717 SE 7th St
                  Blue Springs, MO 64014


                  Mary Lloyd
                  2036 North Seymour Road
                  Flushing, MI 48433


                  Mary Lou Lindemann
                  120 29th Avenue Drive Northwest
                  Hickory, NC 28601


                  Mary Lou Meadows
                  1357 Ward Rd
                  Canvas, WV 26662


                  Mary Lou Pollen
                  3315 Madison St
                  Saginaw,, MI 48604


                  Mary Louise Bellamy
                  6 Church Street
                  Wilmington, NC 28401


                  Mary Luchka
                  1565 Mazepa Trail
                  Cleveland, OH 44134


                  Mary Ludwig
                  457 High Hill Road
                  Jacksonville, NC 28540


                  Mary Lynn Smith
                  784 Moore Road
                  Lavalette, WV 25535


                  Mary Mayhue
                  1305 Meadow Street
                  Hopewell, VA 23860


                  Mary McCall
                  18067 Littlefield
                  Detroit, MI 48235
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                  Mary Mccarthy
                  7 Deer Field Ridge Road
                  Wildwood, MO 63005


                  Mary McClure
                  3908 Willowick Park Drive
                  Wilmington, NC 28409


                  Mary McLennan
                  4357 11Th St
                  Luna Pier, MI 48157


                  Mary McNair
                  421 Laurel St
                  Lake City,, SC 29560


                  Mary Morache
                  387 Meeting St
                  McDonough, GA 30252


                  Mary Mullen
                  7412 Audrain Road 433
                  Rush Hill, MO 65280


                  Mary Mullinix
                  3557 Franklin Road
                  Metropolis, IL 62960


                  Mary Murphy
                  2228 Lynnbrook Avenue
                  Pittsburgh, PA 15226


                  Mary Murphy Little
                  420 South Xenia Drive
                  Enon, OH 45323


                  Mary Myers
                  679 Barber Rd
                  Hastings, MI 49058


                  Mary Myers
                  22290 Brister Road
                  Coolville, OH 45723
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary N Whitaker
                  1817 Grant Line Road
                  New Albany, IN 47150


                  Mary Nisley
                  6650 N 675 W
                  Shipshewana, IN 46565


                  Mary Nolan
                  343 A I Taylor Road
                  Richlands, NC 28574


                  Mary Norton
                  11310 Britton Highway
                  Britton, MI 49229


                  Mary O'Connor
                  330 Stonehenge Drive
                  Washington, MO 63090


                  Mary Olson Allen
                  1240 N 198th Ave
                  Walkerville, MI 49459


                  Mary OMalley
                  197 Colony Ct
                  Columbus, OH 43230


                  Mary Ouellette
                  6883 S Staley Lake Rd
                  Roscommon, MI 48653


                  Mary Paige
                  6755 Rivertown Rd
                  Fairburn, GA 30213


                  Mary Peck
                  3303 Tropicana Road
                  Decatur, IL 62526


                  Mary Pierson
                  3625 Jefferson Landing Rd
                  Powhatan,, VA 23139
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                  Mary Poisson
                  1528 Timber Wolf Drive
                  Festus, MO 63028


                  Mary Potts
                  121 Earl Ct
                  West Columbia, SC 29169


                  Mary Powell
                  3098 Ketzler Dr
                  Flint, MI 48507


                  Mary Prince
                  123 North Mulberry Street
                  Bremen, OH 43107


                  Mary Ray
                  7200 North Dort Highway
                  Mt Morris, MI 48458


                  Mary Reese
                  116 Vickie Lane
                  Cheraw, SC 29520


                  Mary Reynolds
                  33368 Wolf Hill Road
                  McArthur, OH 45651


                  Mary Rhodes
                  1150 Macedonia Church Road
                  Ronda, NC 28670


                  Mary Richards
                  4138 Woodbine Terrace
                  Erie, PA 16504


                  Mary Richardson
                  1725 Hill Road
                  Eagleville, TN 37060


                  Mary Rogus
                  4920 W Clinton St
                  Albany, OH 45710
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                  Mary Romano
                  211 Silver Isles Boulevard
                  Hampton, VA 23664


                  Mary Rue
                  7536 Rocky Lane
                  Harrisonburg, VA 22802


                  Mary Russell
                  416 W. Cherry Street
                  Glasgow, KY 42141


                  Mary Rutledge-Hill
                  607 Darby Court
                  Kernersville, NC 27284


                  Mary Santorum
                  304 Sailwinds Rd
                  Mooresville, NC 28115


                  Mary Schroer
                  4209 N Columbus Ave
                  Peoria, IL 61614


                  Mary Sebald
                  809 Old Greensboro Rd
                  Chapel Hill,, NC 27516


                  Mary Serafini
                  1530 33rd Street Southwest
                  Canton, OH 44706


                  Mary Shableski
                  315 2nd Avenue East
                  Beaver Falls, PA 15010


                  Mary Shockley
                  282 Wood Ridge Drive
                  Blue Eye, MO 65611


                  Mary Short
                  219 Destiny Drive
                  Gray Court, SC 29645
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary Shreve
                  29805 Pine Grove Rd
                  Racine, OH 45771


                  Mary Simpson
                  3142 Rainier Ave
                  Columbus, OH 43231


                  Mary Sorrells
                  121 E College St
                  Black Mountain, NC 28711


                  Mary Sprague
                  278 Skippers Lane
                  New Bern, NC 28562


                  Mary Stanhope
                  933 Marble Arch
                  Chesapeake, VA 23322


                  Mary Stauffer
                  1085 margureite lake rd
                  Greensburg,, PA 15601


                  Mary Talley
                  5433 Oakland Boulevard NW
                  Roanoke, VA 24019


                  Mary Tangora
                  3596 Prairie Ave
                  Berkley,, MI 48072


                  Mary Taylor Hundley
                  5113 Samoa Ridge Drive
                  Lancaster, SC 29720


                  Mary Tovar
                  10700 Stanton Street
                  Zeeland, MI 49464


                  Mary Treece
                  8388 D Avenue West
                  Kalamazoo, MI 49009
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mary Tucker
                  48 W Beckwith Dr
                  Galesburg, MI 49053


                  Mary Turbe
                  669 Avington Lane Northeast
                  Leland, NC 28451


                  Mary Van Dorp
                  7889 Lyman Road
                  Kaleva, MI 49645


                  Mary VanTiem
                  833 Hessen Road
                  Columbus, MI 48063


                  Mary Walworth
                  4437 Wheeler Hwy
                  Clayton, MI 49235


                  Mary Watson
                  5380 Chaumonte Ave
                  Columbus, OH 43232


                  Mary Wetzel
                  14 Wallace Rd
                  Pittsburgh, PA 15209


                  Mary Zurcher
                  546 Buchanan St
                  Warren, PA 16365


                  Mary, Mary Ada, Pollock
                  623 W 3rd St
                  Fort Scott, KS 66701


                  Mary-Frank Smith
                  228 Vilas Overlook
                  Vilas, NC 28692


                  Mary/Heather Eastridge/Woolwine
                  4490 Dry Valley Rd
                  Radford, VA 24141
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Maryann Daffeh
                  3711 Lifford Ct
                  Columbus, OH 43221


                  Maryann Marshall
                  645 Oak Springs Dr NW
                  Lawrenceville, GA 30043


                  Maryann Martin Martin
                  13285 Howard Road
                  Concord, MI 49237


                  MaryAnn McGrail
                  3663 Chatsworth St
                  Detroit, MI 48224


                  Maryann Mellor
                  909 Eddy Rd,
                  Bloomington, IL 61704


                  MaryAnn Teitelbaum
                  1918 East 34th Street
                  Lorain, OH 44055


                  MaryAnn Thompson
                  40351 Esther Street
                  Antioch, IL 60002


                  Marybeth Adams
                  752 Winding Creek Court
                  Evans, GA 30809


                  Maryjane Wiley Reed
                  8292 Township Road 263
                  Bergholz, OH 43908


                  Maryln Santo
                  104 Momyer Road
                  Smithton, PA 15479


                  MaryLou Farmer.
                  69 Fair Oaks Road
                  Arden, NC 28704
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                  Marylou Quick
                  1104 Prince Dr
                  Cortland, OH 44410


                  Maryon King
                  363 Meadowood Lane
                  Carbondale, IL 62901


                  Maryrose Carroll
                  2053 Beaver Dam Road
                  Vilas, NC 28692


                  Marysol Ramirez
                  183 Brooke Run Drive
                  Lumber Bridge, NC 28357


                  Masaya Takahashi
                  310 West Lane
                  Winchester, VA 22601


                  Masen Scofield
                  39025 Orangelawn St
                  Livonia, MI 48150


                  Mashone Johnson
                  1012 Sir Galahad Dr
                  Chesapeake, VA 23323


                  Mason Drew
                  4467 Great Oaks Dr.
                  Grand Blanc, MI 48439


                  Mason Graham
                  20266 Berg Rd
                  Detroit, MI 48219


                  Mason Trowbridge
                  9350 Macon Highway
                  Tecumseh, MI 49286


                  Massimo Pagliaroli
                  4454 Palms Rd
                  Casco, MI 48064
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                  Mat Springsteen
                  2589 Poplar Road
                  Barnwell, SC 29812


                  Mathew Ciecalone
                  1031 West Outer 21 Road
                  Arnold, MO 63010


                  Mathew Clements
                  4667 Lakeshore Road
                  Fort Gratiot Township, MI 48059


                  Mathew Coston
                  3473 Landstown Ct
                  Virginia Beach, VA 23453


                  Mathew Dubord
                  109 Hopemont Lane
                  Suffolk, VA 23434


                  Mathew Endean
                  35475 Hawthorne Drive
                  Romulus, MI 48174


                  Mathew Hill
                  277 Oxford Rd.
                  Lexington, OH 44904


                  Mathew Lee
                  6256 Mouse Creek Rd NW
                  Cleveland, TN 37312


                  Mathew Lewis
                  8040 Webster Dr
                  Lambertville, MI 48144


                  Mathew McEwen
                  325 West Genesee Street
                  Flint, MI 48505


                  Mathia Schmidt
                  377 Richards Rd
                  Bay City, MI 48706
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                  Matiur Choudhury
                  3367 Edwin St
                  Hamtramck, MI 48212


                  Matt Bailey
                  6308 Earle Ridge Ln
                  Raleigh, NC 27606


                  Matt Bender
                  6291 Cole Road
                  Hillsdale, MI 49242


                  Matt Blakely
                  6320 Stephen
                  Brighton, MI 48116


                  Matt Bonosky
                  357 West Park Road
                  Portersville, PA 16051


                  Matt Bowman
                  1508 Indian Lakes Road Northeast
                  Sparta, MI 49345


                  Matt Braun
                  11262 West 4th Street
                  Fowler, MI 48835


                  Matt Brewer
                  720 Cedar Bluff Ct
                  Ballwin, MO 63021


                  Matt brewster
                  647 Newport Rd
                  Duncannon, PA 17020


                  Matt Bruns
                  2863 Zumbrum Road
                  Rossburg, OH 45362


                  Matt Campbell
                  7529 Canterbury Road
                  Portsmouth, OH 45662
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matt Caprarese
                  320 Sunrise Dr
                  Weirton, WV 26062


                  Matt Cenci
                  1437 Cornell Drive Southeast
                  Grand Rapids, MI 49506


                  Matt Chambers
                  205 Sonni Lane
                  McKees Rocks, PA 15136


                  Matt Crouse
                  5328 Old Village Road
                  Nashville, TN 37211


                  Matt Dait
                  460 Holly Point Road
                  Mathews, VA 23109


                  Matt Dean
                  4107 Briarcrest Road
                  Toledo, OH 43623


                  Matt Demaree
                  4712 Dumfries Rd
                  Catlett, VA 20119


                  Matt Doddo
                  2730 Rutledge Road
                  Transfer, PA 16154


                  Matt Dodson
                  2333 East Greensboro Chapel Hill Road
                  Graham, NC 27253


                  Matt Downs
                  1662 Rishon Hill Drive
                  St. Louis, MO 63146


                  Matt Dzurko
                  13091 County Line Road
                  Chesterland, OH 44026
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                  Matt Fidler
                  11401 Old Lewiston Rd
                  Richmond, VA 23236


                  Matt Fischer
                  3717 Winward Way Drive
                  Swansea, IL 62226


                  Matt Frazier
                  884 Balsley Rd
                  Staunton, VA 24401


                  Matt Garing
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                  Westchester Township, OH 45069


                  Matt Gerkin
                  1733 Black Bark Ln
                  Traverse City, MI 49696


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                  3012 Plantation Glen Drive
                  Zebulon, NC 27597


                  Matt Hamilton
                  53070 Cobus Woods Ct
                  Elkhart, IN 46514


                  Matt Hammel
                  212 West Jefferson Street
                  Augusta, MI 49012


                  Matt Hedrington
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                  Athens, MI 49011


                  MATT Hoskins
                  7430 S Co Rd 25a
                  Tipp City, OH 45371


                  matt howard
                  7841 Bluff Road
                  Indianapolis, IN 46217
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                  Matt Ives
                  7715 Risden Rd
                  Vermilion, OH 44089


                  Matt Jamie
                  310 South Bayly Avenue
                  Louisville, KY 40206


                  Matt Klabnik
                  159 Gerner Rd
                  Cabot, PA 16023


                  Matt Koch
                  1501 Big Sam Court
                  Clarksville, TN 37042


                  Matt Landro
                  704 Smith Street
                  Mooresville, NC 28115


                  Matt LaPorte
                  800 N. Thomas Rd.
                  Saginaw, MI 48609


                  Matt Lawson
                  512 Findley St
                  Toronto, OH 43964


                  Matt Leberfinger
                  301 Sickles Corner Back Rd
                  Altoona, PA 16601


                  Matt Lockaby
                  6346 Cameo Ln
                  Ravenel, SC 29470


                  Matt Mackenzie
                  1404 Brier Hill Lane
                  Ronceverte, WV 24970


                  Matt Macy
                  2769 Newark Rd
                  Utica,, OH 43080
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                  Matt Martorelli
                  1173 Emerald Forest Ln
                  Davison, MI 48423


                  Matt Marzocchi
                  411 Harmony Lane
                  Auburn, GA 30011


                  Matt Mathew
                  5407 Flintlock Ln
                  Cave Spring, VA 24018


                  Matt McCann
                  4466 Broadview Road
                  Richfield, OH 44286


                  Matt Mccloskey
                  113 Old Laurel Hill Road
                  Verona, VA 24482


                  Matt McDowell
                  9663 Grand Oak Trail
                  Olmsted Falls, OH 44138


                  Matt McLain
                  15050 Nottingham Fields Parkway
                  Lansing, MI 48906


                  Matt Meyer
                  4332 State Route 66
                  Houston, OH 45333


                  Matt Moore
                  16600 Lucille Ave
                  Cleveland, OH 44111


                  Matt Morgan
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                  East Millsboro, PA 15433


                  Matt Morris
                  7273 Botha Rd
                  Bealeton, VA 22712
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                  matt murphy
                  3833 Hh Road
                  Waterloo, IL 62298


                  Matt Murray
                  1511 Patricia Dr
                  Marysville, OH 43040


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                  5196 Cortland Drive
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                  Fairmount, IN 46928


                  Matt Penman
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                  Huddleston, VA 24104


                  Matt Pepple
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                  Indiana, PA 15701


                  Matt Peterson
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                  Caledonia, MI 49316


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                  Alexandria, IN 46001


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                  Dallas, GA 30157


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                  Hendersonville, NC 28739


                  Matt Raymond
                  9750 Grant Road
                  Fowlerville, MI 48836
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                  Matt Rizkallah
                  90 Vista Court
                  Monroe, OH 45050


                  Matt Saunders
                  62 East Chelton Road
                  Brookhaven, PA 19015


                  Matt Schipinski
                  65 Crown Rd
                  Bad Axe, MI 48413


                  Matt Schreiner
                  6356 East H Ave
                  Kalamazoo, MI 49048


                  Matt Schut
                  2189 S Mackinaw Trail
                  Cadillac, MI 49601


                  Matt Shultz
                  58085 Co Rd 117
                  Goshen, IN 46528


                  Matt Slawson
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                  Great Falls, SC 29055


                  Matt solar Breeden-Walton
                  2939 Hundley Branch Road
                  Scottsville, VA 24590


                  Matt Starrett
                  5694 Matuka Dr
                  Columbus, OH 43232


                  Matt Stephens
                  606 Fairway Road
                  Belton, MO 64012


                  Matt Suttle
                  131 Saluda Dr,
                  Santee, SC 29142
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                  Matt Villaruel
                  985 NW State Hwy Z
                  Bates City, MO 64011


                  Matt Villmer
                  137 Sophie Lane
                  Arnold, MO 63010


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                  Lorain, OH 44052


                  Matt Wallace
                  208 Amber Lane
                  Willow Spring, NC 27592


                  Matt Weimer
                  4213 Schenck Avenue
                  Cincinnati, OH 45236


                  Matt Wentling
                  10484 County Highway 5
                  Carey, OH 43316


                  Matt White
                  2401 Nelson Road
                  Sheridan, MI 48884


                  Matt Wielinski
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                  Defiance, OH 43512


                  Matt Woltersdorf
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                  Matt Wyant
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                  Vandalia, IL 62471


                  Matthew "Matt" Orenshaw
                  5988 Kourtney Ct.
                  Huntingdon, PA 16652
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                  Matthew Ahn
                  1035 Toledo Bend Dr
                  College Station, TX 77845


                  MATTHEW Andries
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                  Lehman Township, PA 18371


                  Matthew Asselstine
                  6074 Beechgrove Drive
                  Martinsville, IN 46151


                  Matthew Aydelette
                  934 Double Bridges Drive
                  Fancy Gap, VA 24328


                  Matthew Ballentine
                  26 Glendale Street
                  Honea Path, SC 29654


                  Matthew Barge
                  6309 Lucille Avenue
                  St. Louis, MO 63136


                  Matthew Barranco
                  301 Camp Rd
                  Jasper, GA 30143


                  Matthew Bechstein
                  18480 Aufderstrasse Road
                  Pemberville, OH 43450


                  Matthew Belt
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                  St. Louis, MO 63109


                  Matthew Bender
                  5889 Cherrywood Dr
                  Lorain, OH 44053


                  matthew bigham
                  685 Mount Carmel Road
                  Orrtanna, PA 17353
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                  Matthew Birchfield
                  755 W. Main St
                  Christiansburg, VA 24073


                  Matthew Bird
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                  Jackson, KY 41339


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                  Matthew Bonham
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                  Matthew Bonner
                  1065 Georgia 257
                  Hawkinsville, GA 31036


                  Matthew Boyert
                  184 Marko Lane
                  Brooklyn Heights, OH 44131


                  Matthew Brandt
                  2462 Wedgewood Way
                  York, PA 17408


                  Matthew Brassart
                  1888 Landing Rd
                  Va Beach, VA 23457


                  Matthew Brooks
                  429 5th St
                  Tyrone, PA 16686


                  Matthew Brown
                  8651 North Mission Road
                  Clare, MI 48617


                  Matthew Brown
                  2110 Mechanicsburg-Sanford Rd
                  Mechanicsburg, OH 43044
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                  Matthew Brungard
                  1090 E Springfield Dr
                  Bellefonte, PA 16823


                  Matthew Burnett
                  909 Trombley Drive
                  Troy, MI 48083


                  Matthew Call
                  16142 Morris Road
                  Logan, OH 43138


                  Matthew Carroll
                  2836 Windridge Dr
                  Acworth, GA 30102


                  Matthew Carter
                  2918 Idle Road
                  Saint Paris, OH 43072


                  Matthew Carter
                  3129 Crestwood Ln
                  Virginia Beach, VA 23453


                  Matthew Casterline
                  18400 11 Mile Rd
                  Battle Creek, MI 49014


                  Matthew Chain
                  5335 Ohio 753
                  Hillsboro, OH 45133


                  Matthew Circle
                  4887 Payton Dr
                  Waterford Twp, MI 48328


                  Matthew Clouse
                  2020 Hallmark Way
                  Chesapeake, VA 23323


                  Matthew Colon
                  309 Skylark Rd
                  Augusta, GA 30907
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Cook
                  8911 New Heritage Court
                  Indianapolis, IN 46239


                  Matthew Courtney
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                  Sumter, SC 29153


                  Matthew Crain
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                  Sunbury, OH 43074


                  Matthew Crall
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                  Sherrodsville, OH 44675


                  Matthew Creacy
                  5732 Goener Ave
                  Saint Louis, MO 63116


                  Matthew Crisi
                  1036 Sweet Brier Drive
                  Aliquippa, PA 15001


                  Matthew Damon
                  119 Spain Drive
                  Hubert, NC 28539


                  Matthew Davis
                  131 Red Gate Road
                  Beckley, WV 25801


                  Matthew Dempster
                  112 Palmate Ct
                  Linden, NC 28356


                  Matthew Dickison
                  6169 Township Road 80
                  Bellville, OH 44813


                  Matthew Dieudonne
                  317 Neuse Drive
                  Holly Ridge, NC 28445
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Dixon
                  2705 Willowpark Drive
                  Champaign, IL 61821


                  Matthew Dixon
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                  Terre Haute, IN 47802


                  Matthew Dodge
                  22180 Frog Level Rd
                  Ruther Glen, VA 22546


                  Matthew Dodson
                  2532 Old Gilliard Road
                  Ridgeville, SC 29472


                  Matthew Doyle
                  9736 South Harding Avenue
                  Evergreen Park, IL 60805


                  Matthew Dubics
                  154 Harry Boring Road
                  New Florence, PA 15944


                  Matthew Eakin
                  9639 Roley Hills Rd
                  Thornville, OH 43076


                  Matthew Early
                  3551 Markey Rd
                  Midlothian, VA 23112


                  Matthew Elker
                  40958 Malott Dr
                  Novi, MI 48375


                  Matthew Elliott
                  1821 Garlick Road
                  Elliston, VA 24087


                  Matthew Ellis
                  110 four seasons Lane
                  Irwin, PA 15642
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Erdy
                  57 Brown Lynch Rd
                  Candler, NC 28715


                  Matthew Faulder
                  251 Brentwood Drive
                  Marion, OH 43302


                  Matthew Faunt
                  304 Woodhaven Drive
                  Lansing, MI 48917


                  Matthew Fellabaum
                  1544 Grant Ave
                  Altoona, PA 16602


                  Matthew Fidler
                  177 Spring Flower Way
                  Pataskala, OH 43062


                  Matthew Fieldman
                  25716 Hendon Road
                  Beachwood, OH 44122


                  Matthew Finseth
                  2322 Wilber rd
                  East Tawas, MI 48730


                  Matthew Fish
                  117 Hannon Lane
                  Saylorsburg, PA 18353


                  Matthew Fitzgerald
                  5408 Venado St
                  Charlotte, NC 28215


                  Matthew Folger
                  192 Collins Road
                  Dobson, NC 27017


                  Matthew Gallek
                  301 Sand Dollar Lane
                  Hampstead, NC 28443
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Geisler
                  5970 Meadowmohr Ln
                  Twin Lake, MI 49457


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                  Caseyville, IL 62232


                  Matthew Gort
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                  Grand Rapids, MI 49504


                  Matthew Gray
                  3680 Wayne Ridge Rd
                  Zanesville, OH 43701


                  Matthew Griffin
                  1305 Davis Homestead Road
                  Selma, NC 27576


                  Matthew Harrington
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                  MATTHEW HARRISON
                  17057 US 10
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                  Matthew Hartfelder
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                  New Lebanon, OH 45345


                  Matthew Hauser
                  7360 Linnville Rd
                  Heath, OH 43056


                  Matthew Hautz
                  915 9th Street
                  Windber, PA 15963


                  Matthew Heddings
                  1700 Deer Hollow Road
                  Forest, VA 24551
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Heller
                  8033 Chestnut Dr
                  Newburgh, IN 47630


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                  Wilmington, NC 28411


                  Matthew Herd
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                  Matthew Holtyn
                  15743 Masonic
                  Fraser, MI 48026


                  Matthew Hoover
                  149 Airview Dr
                  London, KY 40744


                  Matthew Hoover
                  15397 McKeighan Rd
                  Chesaning, MI 48616


                  Matthew Hostetler
                  5686 Copper Corner Dr
                  Caledonia, MI 49316


                  Matthew Howell
                  709 Elmwood Dr
                  Leitchfield, KY 42754


                  Matthew Huber
                  1559 Hwy O
                  Silex, MO 63377


                  Matthew Hulse
                  307 Link Rd
                  Waynesboro, VA 22980


                  Matthew Jacobs
                  1531 Baker St
                  Liberty, MO 64068
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Janes
                  1868 Hanover Lane
                  Barnhart, MO 63012


                  Matthew Johnson
                  3277 N Henderson Rd
                  Davison, MI 48423


                  Matthew Jourden
                  10772 Bouldercrest Dr
                  South Lyon, MI 48178


                  Matthew Kanuszewski
                  10309 Carr Road
                  Saint Charles, MI 48655


                  Matthew Karen
                  364 Windsor Ln
                  Winchester, VA 22602


                  Matthew Kassin
                  10326 Jossman Rd
                  Goodrich, MI 48438


                  Matthew Keener
                  20 East Slate Hill Road
                  Carlisle, PA 17013


                  Matthew Keller
                  1337 Cherry Street
                  Boothwyn, PA 19061


                  matthew King
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                  La Porte, IN 46350


                  Matthew Kintz
                  911 Glenwood St SW
                  North Canton, OH 44720


                  Matthew Kisow
                  679 Valencia Road
                  Mars, PA 16046
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Kitt
                  101 N Sherman Dr
                  Indianapolis, IN 46201


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                  Hopewell, VA 23860


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                  Scottsburg, IN 47170


                  Matthew Laut
                  3635 Conway Rd
                  Farmington, MO 63640


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                  Matthew Lavey
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                  Lake City, MI 49651


                  Matthew Lawrence
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                  Knox, IN 46534


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                  391 Bracken Ridge Drive
                  Laurel Springs, NC 28644


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                  Grampian, PA 16838


                  Matthew Loy
                  205 lisbon dr
                  Fort Wayne, IN 46818


                  Matthew Lyon
                  1925 W 50th St
                  Cleveland, OH 44102
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Magginnis
                  8068 North Harvest Lane
                  Columbus, IN 47201


                  Matthew Magiera
                  5775 E 32 Rd
                  Cadillac, MI 49601


                  Matthew Mahoney
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                  Harrisburg, PA 17109


                  Matthew Manchester
                  10236 Sheridan Rd
                  Millington,, MI 48746


                  Matthew Manigold
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                  Elkhart, IN 46516


                  Matthew Maple
                  155 Hi Way Supply Road
                  Dunbar, PA 15431


                  Matthew Marion
                  11225 Forest Rd
                  Forest, VA 24551


                  Matthew Martell
                  5277 Trager Rd
                  Traverse City, MI 49696


                  Matthew Massengill
                  14715 4th Road
                  Plymouth, IN 46563


                  Matthew Mccorry
                  1101 Blanchard Ave
                  Flint, MI 48503


                  Matthew McDonald
                  2017 Lagoon Drive
                  Meridian charter Township, MI 48864
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew McDonald
                  1303 Barnhill Rd SE
                  New Philadelphia, OH 44663


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                  Antwerp, OH 45813


                  Matthew Mendoza
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                  Louisville, GA 30434


                  Matthew Miller
                  1904 Middle Ave
                  Elyria, OH 44035


                  Matthew Morgan
                  13547 Guy Street
                  Fishers, IN 46038


                  Matthew Natitus
                  427 Main St
                  Benton, PA 17888


                  Matthew Neice
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                  Farmersburg, IN 47850


                  Matthew Nelson
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                  Apex, NC 27539


                  Matthew Olah
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                  Matthew Ozog
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                  Wayne, MI 48184


                  Matthew Pappert
                  265 Cass Avenue
                  Marion, OH 43302
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Parker
                  3484 High Knoll Dr
                  Highland Charter Twp, MI 48356


                  Matthew Parsons
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                  Defiance, OH 43512


                  Matthew Passmore
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                  Curwensville, PA 16833


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                  Warren, MI 48088


                  Matthew Philo
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                  Vassar, MI 48768


                  Matthew Pierce
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                  Findlay, OH 45840


                  Matthew Poteat
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                  Morganton, NC 28655


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                  Matthew Raines
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                  Crystal, MI 48818


                  Matthew Rakar
                  6751 Hordubay Road
                  Huntingdon, PA 16652


                  Matthew Rattay
                  4014 Congaree Drive
                  Indianapolis, IN 46235
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Rawlins
                  6119 South 594 West
                  Warren, IN 46792


                  Matthew Reedy
                  12265 6 Ponds Lane
                  Smithfield, VA 23430


                  Matthew Reinert
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                  Millington, MI 48746


                  Matthew Rich
                  5231 Red Bank Road
                  Virgilina, VA 24598


                  Matthew Roberts
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                  Farmington Hills, MI 48336


                  Matthew Roebuck
                  346 Prairie Dr
                  Climax, MI 49034


                  Matthew Rogusz
                  11206 Hoagland Rd
                  Hoagland, IN 46745


                  Matthew Rowland
                  819 Bacon Flat Rd
                  Peebles, OH 45660


                  Matthew Ruehs
                  1815 Gloff Road
                  Dundee, MI 48131


                  Matthew Ruff
                  1470 Makatoka Rd NW
                  Supply, NC 28462


                  Matthew Runyon
                  3409 Houston Hollow-Long Run Rd
                  Lucasville, OH 45648
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                  Matthew Russell
                  206 Clearview Ct
                  Sanford, NC 27332


                  Matthew Sawyer
                  47380 Royal Rd
                  Macomb, MI 48044


                  Matthew Schiering
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                  Perrysburg, OH 43551


                  Matthew Schmidt
                  13421 Cleveland Ave
                  Buchanan, MI 49107


                  Matthew Schultz
                  26209 Winton Street
                  St. Clair Shores, MI 48081


                  Matthew Scruggs
                  514 Holly Circle
                  Mount Holly, NC 28120


                  Matthew Seward
                  1323 Elaine Road
                  Columbus, OH 43227


                  Matthew Shepherd
                  3169 North Park Lane
                  Medina, OH 44256


                  Matthew Shutes
                  193 Glen Eagle Dr NE
                  Rockford, MI 49341


                  Matthew Simmons
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                  Northville, MI 48168


                  Matthew Sloan
                  52 D St
                  Jackson, TN 38301
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Smith
                  7045 Barbara Rd
                  Alexandria, VA 22315


                  Matthew Smith
                  3636 Indian Spring Road
                  Green Bay, VA 23942


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                  Trenton, MI 48183


                  Matthew Spradlin
                  39 Glenn Eagles View
                  Hiram, GA 30141


                  Matthew St Peters
                  2935 East 241st Street
                  Cicero, IN 46034


                  Matthew Stamper
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                  Matthew Steiner
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                  Lafayette,, IN 47909


                  Matthew Stephens
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                  Jerome, MI 49249


                  Matthew Stern
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                  Hopewell, PA 16650


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                  Atlanta, IN 46031


                  Matthew Stone
                  24867 Pine Ridge Road
                  Hockley, TX 77447
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Strohl
                  190 Hopkins Drive
                  Atlanta, IN 46031


                  Matthew Swager
                  401 Freedom Trail
                  Walhalla, SC 29691


                  Matthew Thomas
                  410 E Logan St
                  Arthur, IL 61911


                  Matthew Thrift
                  200 Pruitt Drive
                  Greenville, SC 29607


                  Matthew Tyler
                  1681 Blankenship Road
                  Goodview, VA 24095


                  Matthew Vaughn
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                  Arcanum, OH 45304


                  Matthew Viebag
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                  La Porte, TX 77571


                  Matthew Wayne
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                  Farmington, MO 63640


                  Matthew Weiland
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                  Haslett, MI 48840


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                  Matthew Whisonant
                  630 Lakedale Drive
                  Clover, SC 29710
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Matthew Whitaker
                  1465 S Eva Ct
                  Chesapeake, VA 23320


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                  Carlinville, IL 62626


                  Matthew Williams
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                  Oil City, PA 16301


                  Matthew Wilson
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                  Matthew Wolfe
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                  Matthew Wolfe
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                  Matthew Young
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                  Spindale, NC 28160


                  Matthew Zacaroli
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                  Charlotte, NC 28278


                  Mattias Haney
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                  Beaver Falls, PA 15010


                  Mattie Freeman
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                  Rochelle, GA 31079


                  Mattie Snow
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                  Cincinnati, OH 45231
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  1625 Glenn Dr
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                  400 Conant St.
                  Maumee, OH 43537-3300


                  Maurane Ramsey
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                  Maureen Beattie
                  604 Slippery Moss Drive
                  Spartanburg, SC 29303


                  Maureen Bryan
                  109 Daisy Trail NW
                  Milledgeville, GA 31061


                  Maureen Grant
                  416 Avondale Road
                  Portsmouth, VA 23701


                  Maureen Mcilrath
                  24045 Notre Dame Street
                  Dearborn, MI 48124


                  Maureen Wing
                  10710 Howard Dr
                  Chardon,, OH 44024


                  Maurice (Bond) Jester
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                  Pikeville, NC 27863


                  Maurice Beverly
                  5218 Woodridge Drive
                  Hephzibah, GA 30815
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Maurice Black
                  137 Bloxome Drive
                  Hopkins, SC 29061


                  Maurice Clark
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                  Gordonsville, VA 22942


                  Maurice Davis
                  5275 Mccaghren Drive
                  Columbus, GA 31909


                  Maurice Davis
                  410 Verna Drive
                  Winchester, KY 40391


                  Maurice Gore
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                  Providence Forge, VA 23140


                  Maurice Jones
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                  Macomb, MI 48044


                  Maurice Jones
                  2876 East Point Drive
                  Chesapeake, VA 23321


                  Maurice Jones
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                  Chesapeake, VA 23509


                  Maurice Kizer
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                  Maurice Lavender
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                  Wilson, NC 27896


                  Maurice Manchester
                  13471 Howardsville Road
                  Howardsville, VA 24562
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                  Maurice Naranjo
                  228 Suter St.
                  Harrisonburg, VA 22802


                  Maurice Reed
                  6549e 50n
                  Greentown, IN 46936


                  Maurice Smith
                  7820 Hessen Cassel Rd
                  Fort Wayne,, IN 46816


                  Maurice Wilkins
                  33374 Paoletti Dr
                  Fraser, MI 48026


                  Mauricio Imba
                  149 Cedar View Circle
                  Mineral, VA 23117


                  Mauricio Villa
                  192 Old NC Hwy 20
                  Alexander, NC 28701


                  Maurissa Demary
                  222 Wind Chase Dr
                  Madisonville, TN 37354


                  Maurita Smith
                  556 Georgia 57
                  Swainsboro, GA 30401


                  Maveric Ledbetter
                  125 Traveller Ln
                  Sanford, NC 27332


                  Mavis Anderson
                  2021 Photography Pl
                  Dallas, NC 28034


                  Max Bostwick
                  737 Musgrove Rd, Chillicothe, OH 45601,
                  Chillicothe, OH 45601
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                  Max Hamlet
                  30412 Groveland Street
                  Madison Heights, MI 48071


                  Max Ingersoll
                  2318 Vanderbilt Ave
                  Portage, MI 49024


                  Max Mickles
                  400 Jefferson Avenue
                  Hopewell, VA 23860


                  Max Ralston
                  9600 Wornall Rd,
                  Kansas City, MO 64114


                  Max Riley
                  1100 Park Avenue
                  LaGrange, GA 30240


                  Max Russell
                  51501 Base St
                  New Baltimore, MI 48047


                  Max Thompson
                  6789 Northland Dr NE
                  Rockford, MI 49341


                  Maxine DeBlois
                  2805 English Road
                  Kingston, MI 48741


                  Maxine Denmon
                  999 Saxer Rd
                  Dushore, PA 18614


                  Maxine Diggs
                  664 Zion Rd
                  Gretna, VA 24557


                  Maxine Milazzo
                  909 Manakin Rd
                  Midlothian, VA 23113
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                  Maxine Williams
                  2700 Coldwell Street
                  Virginia Beach, VA 23456


                  Maxwell Crawford
                  4985 Grassy Creek Rd
                  Denver, NC 28037


                  Maxwell Jackson
                  2314 Haven Drive
                  Evansville, IN 47711


                  Maye Hammond
                  2525 Hampton St
                  Ashland, KY 41101


                  Maylen Hickman
                  5495 Justice Rd
                  Orlinda, TN 37141


                  Maynard Tingley III
                  606 N Pine St
                  Warsaw, NC 28398


                  Maynor Cuellar
                  10211 Hollyberry Drive
                  Richmond, VA 23237


                  Mayssa Attia
                  18052 N Wind Dr
                  Fraser, MI 48026


                  Mazie Codrington
                  2980 Tranbycroft Way
                  Sandy Hook, VA 23153


                  Mazo Freeman
                  5105 Drakes Branch Road
                  Nashville, TN 37218


                  MC General Contracting, LLC
                  5 S Oak St
                  Mount Carmel, PA 17851
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                  McCall Linares
                  5173 Copain Cove
                  Fuquay-Varina, NC 27526


                  McConnell LARRY
                  608 E Oak St
                  Princeton, IN 47670


                  McFarland Cascade
                  15939 History Land
                  Warsaw, VA 22572


                  Mchael Coppola
                  2813 Squirrel Run
                  Chesapeake, VA 23321


                  McKenzie Lindsey
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                  MCLIP Properties
                  3330 Hollins Rd, Ste A
                  ROANOKE, VA 24012


                  McLip Properties, LLC
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                  Roanoke, VA 24012


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                  Meagan Fulford
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                  Meagan Johnson
                  26 E 150 S
                  Valparaiso, IN 46383
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                  Meagan Munsch
                  31805 East Stony Point School Road
                  Grain Valley, MO 64029


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                  Havelock, NC 28532


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                  Lake Jackson, TX 77566


                  Mecah Shenise
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                  Meeyah Yehuda
                  165 Mathewson Place Southwest
                  Atlanta, GA 30314
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                  Megale Crumpler
                  326 Dick Street
                  Garland, NC 28441


                  Megan Bazner
                  28804 Beechwood Avenue
                  Garden City, MI 48135


                  Megan Butler
                  3421 Salem Rd
                  Covington, GA 30016


                  Megan Byrne
                  416 Oriole Circle
                  Clarksville, TN 37043


                  Megan DeAtley
                  5363 Orchardcreek Ct
                  Cincinnati, OH 45239


                  Megan Draper
                  658 Chestnut Street
                  Noblesville, IN 46060


                  Megan Fernsler
                  55 Norman Street
                  West Lawn, PA 19609


                  Megan Fulkerson
                  793 N Adams Rd
                  Birmingham,, MI 48009


                  Megan Gurtner
                  102 Station Drive
                  Suffolk, VA 23434


                  Megan Heisse
                  517 Hatteras Crescent
                  Chesapeake, VA 23322


                  Megan Kuhlenbeck
                  12537 county road 52
                  Lewistown, OH 43333
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                  Megan Lewis
                  670 Russwood Street Northeast
                  Grand Rapids, MI 49505


                  Megan Mabe
                  408 eggleston falls rd
                  ridgeway, VA 24148


                  Megan Mathis Williams
                  3592 Maxwell Rd
                  Mansfield, OH 44904


                  Megan Miller
                  13116 National Rd SE
                  Thornville, OH 43076


                  Megan n Dimacchia
                  8018 Deer Creek Run
                  Amherst, OH 44001


                  Megan Rau
                  2264 S. Campbell Rd
                  West Branch, MI 48661


                  Megan Ren
                  94 Butler Lake Road
                  Reidsville, NC 27320


                  Megan Richmond
                  8729 Mineral Road
                  Erie, IL 61250


                  Megan Romano
                  8792 Bentham Court
                  Courtland Township, MI 49341


                  Megan Stout
                  6273 Joyce Ln
                  Salem, VA 24153


                  Meggan Hane
                  35 Pace Road
                  Eldon, MO 65026
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                  Meggan Laucher
                  1966 Country Club Road
                  Troutville, VA 24175


                  Meghan Brunner
                  6828 Forestlawn Court
                  Waterford Township, MI 48327


                  Meghan Hilton
                  1030 Bernstein Rd
                  Fredericksbrg, VA 22407


                  Meghan Murray
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                  Meghan Sailer
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                  Columbus, OH 43235


                  Meghan Wurst
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                  Mel Blaylock
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                  Sienna Plantation, TX 77459


                  Mel Butler
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                  New Richmond, OH 45157


                  Mel Hart
                  1495 Woodhill Dr
                  Bloomington, IN 47403


                  Mel Monsein
                  4681 Union Church Rd
                  Thaxton, VA 24174


                  Melaney Stewart
                  6581 Loblolly Drive
                  Dayton, OH 45424
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                  Melanie Aydelette
                  1148 Lakeview Avenue
                  Richlands, NC 28574


                  Melanie Bell
                  6234 Cavalcade Drive
                  Hamilton, OH 45011


                  Melanie Blaisdell
                  5500 School Rd
                  Petersburg, MI 49270


                  Melanie Debord
                  8441 Carriage Hill Dr NE
                  Warren, OH 44484


                  Melanie Don
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                  St. Louis, MO 63125


                  Melanie Dunnagan
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                  Wake Forest, NC 27587


                  Melanie Fry
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                  Melanie Gallup
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                  Anderson, IN 46011


                  Melanie Haliburton
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                  Oxford,, MI 48371


                  Melanie Ockert
                  191 E Center Rd
                  Kingsley, MI 49649


                  Melanie Pitstick
                  106 North Stringtown Road
                  Xenia, OH 45385
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                  Melanie Quinn
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                  Peebles, OH 45660


                  Melanie Storrs
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                  Gloucester, VA 23061


                  Melanie Zimmerman
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                  Melendy Martin
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                  Cleveland, TN 37312


                  Melia Phelps
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                  Kalamazoo, MI 49009


                  Melina Brown
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                  Florence, SC 29501


                  Melina Jackson
                  6 Betsy Ross Cove
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                  Melinda Adams
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                  Melinda Beaumont
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                  Yancey Mills, VA 22932


                  Melinda Bentley
                  6805 Winding Archer Drive
                  Durham, NC 27713
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                  Melinda Carroll
                  773 Cherry Hill Ct
                  Columbiaville, MI 48421


                  Melinda Cunningham
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                  Unionville, VA 22567


                  Melinda Landry
                  3689 Shakertown Rd
                  Dayton, OH 45430


                  Melinda Mason
                  1825 Chippewa Drive
                  Circleville, OH 43113


                  Melinda McCall
                  6723 Poindexter Rd
                  Louisa, VA 23093


                  Melinda Merrill
                  4102 W Ten Rd
                  Efland, NC 27243


                  Melinda Shrable-Fairfax
                  2315 Tanner Bridge Road
                  Jefferson City, MO 65101


                  Melinda Shupinsky
                  7505 North 200 East
                  Alexandria, IN 46001


                  Melinda Slagle
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                  Dublin, OH 43017


                  Melinda Slusser
                  608 Manitou DRive
                  Maumee, OH 43537


                  Melinda Smith
                  2245 Welch Road
                  Commerce Charter Township, MI 48390
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                  Melinda Williams
                  2405 W 22nd St
                  Anderson, IN 46016


                  Melisa Ruscsak
                  1458 Lucas North Rd
                  Lucas, OH 44843


                  Melissa Anderson
                  1840 North Martin Williston Road
                  Genoa, OH 43430


                  Melissa Atwood
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                  Maiden, NC 28650


                  Melissa Babcock
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                  Freeport, IL 61032


                  Melissa Barnes
                  648 Holston Place
                  Erwin, TN 37650


                  Melissa Benke Spencer
                  413 Pottowatamie Court
                  Oswego, IL 60543


                  Melissa Bennett
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                  Rock Hill, SC 29732


                  Melissa Bristow
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                  Melissa Britton
                  310 Scott
                  South Lyon, MI 48178


                  Melissa Burks
                  3120 Mount Tabor Road
                  Blacksburg, VA 24060
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                  Melissa Calloway
                  2505 Brianna Lane Northeast
                  Conyers, GA 30013


                  Melissa Clay
                  8615 Cribbins Road
                  Jeddo, MI 48032


                  Melissa Clevenger
                  1456 County Rd 251
                  Jeromesville, OH 44840


                  Melissa Davis
                  1586 Secor Farms Trail
                  Traverse City, MI 49685


                  Melissa Donohoe
                  22146 Center Road
                  Alliance, OH 28115


                  Melissa Donohoe
                  22146 Center Road
                  Alliance, OH 44601


                  Melissa Douglas
                  1302 Burnsville Rd,
                  Williamsville,, VA 24487


                  Melissa Eddings
                  1934 South Lake Drive
                  Lexington, SC 29073


                  Melissa Elston
                  602 East Foch Road
                  Herrin, IL 62948


                  Melissa Fein
                  813 Wadaduga Lane
                  Niles, MI 49120


                  Melissa Frisinger
                  3760 Melanie Ct
                  Brandon Township, MI 48371
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                  Melissa Garrison
                  20221 Monrovia Rd
                  Orange, VA 22960


                  Melissa Gibson
                  1045 Head of River Rd
                  Chesapeake, VA 23322


                  Melissa Gibson
                  1502 Judith Court
                  Virginia Beach, VA 23464


                  Melissa Gilliland
                  403 Airport Rd
                  Grove City, PA 16127


                  Melissa Grubbs
                  228 Rush Court
                  Hobart, IN 46342


                  Melissa Grube
                  3942 Ordinary Loop
                  Hayes, VA 23072


                  Melissa Hathaway
                  180 South Main Street
                  Granite Falls, NC 28630


                  Melissa Hathaway
                  9739 Hoose Road
                  Mentor, OH 44060


                  Melissa Honeycutt
                  205 E Capital St
                  Benton, IL 62812


                  Melissa Huddleston
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                  Melissa Jeter
                  3031 Latonia Blvd
                  Toledo, OH 43606
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                  Melissa Jones
                  31667 Karolyn Lane
                  Fraser, MI 48026


                  Melissa Kullman
                  43 West Railroad Street
                  McClure, PA 17841


                  Melissa Lee
                  2656 Prophecy Rd
                  Zebulon, NC 27557


                  Melissa Lojek
                  5839 Treebrook Lane Northeast
                  Forest Hills, MI 49301


                  Melissa Loken
                  206 Adams Hill Rd
                  Asheville, NC 28806


                  Melissa Lowery
                  4607 Medlin Roberts rd
                  Marshville, NC 28103


                  Melissa Mackay
                  119 Riggs Drive
                  Shiloh, NC 27974


                  melissa macomber
                  4710 E Fillmore St
                  White Cloud, MI 49349


                  Melissa Marshall
                  195 Mountain Creek Road
                  Linn Creek, MO 65052


                  Melissa Mayaudon
                  449 Keeler Woods Drive Northwest
                  Marietta, GA 30064


                  Melissa Maynard
                  197 Alcock Rd
                  Amherst, VA 24521
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                  Melissa McDermott McDermott
                  347 Christi Drive
                  Berea, KY 40403


                  Melissa Melton
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                  Williamsburg, MI 49690


                  Melissa Murphy
                  103 Indigo Drive
                  Maysville, NC 28555


                  Melissa Mutschelknaus
                  6451 Harmony Valley Road Southwest
                  Newcomerstown, OH 43832


                  Melissa Parnell
                  14 Lake Shore Dr
                  Benton, IL 62812


                  Melissa Polston
                  224 Cherokee Drive
                  Jeffersonville, IN 47130


                  Melissa Prybor
                  100 River Park Pl
                  Dundee, MI 48131


                  Melissa Pugh
                  1140 Peidmont Drive
                  Fairborn, OH 45324


                  Melissa R Shyan-Norwalt
                  11571 U.S. 40
                  Cambridge City, IN 47327


                  Melissa Raymer
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                  Kodak, TN 37764


                  Melissa Rogers
                  5228 Township Hwy 211
                  Marengo, OH 43334
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                  Melissa Rohde
                  2771 Town Line Rd. 32
                  Monroeville, OH 44847


                  Melissa Sancho
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                  Marysville, OH 43040


                  Melissa Shetter
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                  Everett, PA 15537


                  Melissa Sparks
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                  Kingsley, MI 49649


                  Melissa Szigeti
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                  oregon, OH 43616


                  Melissa Teague
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                  Lafayette, IN 47905


                  Melissa Thompson
                  120 Golf Course Road
                  Rogersville, TN 37857


                  Melissa Thompson
                  3311 Peronne Avenue
                  Norfolk, VA 23509


                  Melissa Vautaw
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                  Elwood, IN 46036


                  Melissa White
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                  Bryan, TX 77807


                  Melissa Wright
                  1283 Ethel Ave
                  Lincoln Park, MI 48146
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                  Melissa Zamot
                  14174 Blackburn Street
                  Livonia, MI 48154


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                  Conneaut Lake, PA 16316


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                  Alliance, OH 44601


                  Mellisa Dodrill
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                  Melodee Bottari
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                  Mount Pocono, PA 18344


                  Melodi Welborn
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                  Richmond, VA 23228


                  Melodie Lockhart
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                  Sophia, NC 27350


                  Melodie Moermond
                  5254 Riverside Road
                  Coloma, MI 49038


                  Melody Blose
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                  Melody Cavanaugh
                  18260 W St Hwy 76
                  ava, MO 65608


                  Melody Diamond
                  756 Ewing Rd
                  Cochranville, PA 19330
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                  Corning, OH 43730


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                  Melva Deal Baynard
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                  Melva Hartzell
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                  Melvin Calbett
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                  Melvin Campbell
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                  Melvin Charriez
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                  Melvin Cherry
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                  Portsmouth, VA 23704


                  Melvin Cottingham
                  128 Albertson Rd
                  Thomasville, NC 27360
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                  Melvin Counts
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                  Melvin Flowers
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                  Akron, OH 44307


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                  Avonmore, PA 15618


                  Melvin Francis
                  301 Waggoner Rd
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                  Melvin Hall
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                  Indianapolis, IN 46235


                  Melvin Harvey
                  1919 Barbara Ave
                  Newark, OH 43055


                  Melvin Johnson
                  709 West Katella Street
                  Springfield, MO 65807


                  Melvin Johnson
                  4982 Medlar Rd
                  Miamisburg, OH 45342


                  Melvin Johnson
                  4 Willglow Street
                  York, SC 29745
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                  3060 Antigua Rd SW
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                  Ruther Glen, VA 22546


                  Melvin McCoy
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                  Melvin McPhearson
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                  Melvin Parker
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                  Evans, GA 30809


                  Melvin Parks
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                  Melvin Rodriguez
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                  Melvin Rodriguez
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                  Melvin Snyder
                  211 Elm St
                  Christopher, IL 62822


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                  Independence, MO 64052


                  Melvin Trumbo
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                  Taylor, MI 48180


                  Melvin Van Nostrand
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                  Bolivar, MO 65613


                  Melvin Vaughn
                  1285 Chipmunk Ln
                  Easton, PA 18040


                  Melvin Wade
                  8366 Buffin Rd
                  Richmond, VA 23231


                  Melyssia Herring
                  25 Smith Street
                  Pelzer, SC 29669


                  Ment Van mil
                  309 N 2nd St,
                  Baldwin, IL 62217


                  Mercedes Sawyer
                  160 Vango Drive
                  Goose Creek, SC 29445


                  Mercedes Speicher
                  300 W Allegheny St
                  Martinsburg, PA 16662


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                  PO Box 730212
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                  Merchants Automotive Group Inc
                  14 Central Park Drive
                  1st Floor
                  Hooksett, NH 03106-2407


                  Merchants Automotive Group, LLC (Merchan
                  Michael J. Lambert Sheehan, Phinney, Bas
                  1000 Elm Street
                  17th Floor
                  Manchester, NH 03105


                  Meredith Haataja
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                  Meredith Ruth
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                  Imlay city, MI 48444


                  MeriBeth Glenn
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                  Boyers, PA 16020


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                  Merissa Hightower
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                  Columbus, OH 43232


                  Merle Donoho
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                  Merle Thompson
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                  Merlin Marlatt
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                  Merril Gough
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                  Merrill Downing
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                  Westland, MI 48185


                  Merrill Lang
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                  Durham, NC 27705


                  Merrill Punke
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                  Merton Keiser
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                  Mervin Kemp
                  12779 Demotte Drive
                  Odon, IN 47562


                  Messick
                  Justin Johl Shook, Hardy & Bacon, LLP
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                  Kansas City, MO 64108


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                  Melno Park, CA 94025
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                  C/O Sturges Property Group
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                  McKees Rocks, PA 15136


                  Michael "Mike" Norris
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                  Boswell, PA 15531


                  Michael "Mike" Relph
                  39037 DURAND CT
                  Sterling Hts, MI 48310


                  Michael "Mike" Spaeth
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                  Emporium, PA 15834


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                  Hickory, NC 28601


                  Michael Abarca
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                  Niles, MI 49120
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                  Michael Abplanalp
                  1117 Geranium Crescent
                  Virginia Beach, VA 23453


                  Michael Adamo
                  4790 Yankee Rd
                  Saint Clair, MI 48079


                  Michael Adams
                  8818 Pinedale St
                  Norfolk, VA 23503


                  Michael Aiello
                  51 Day LILY STREET
                  Selma, NC 27576


                  Michael Albaugh
                  599 Raven Cliff Rd
                  Graysville, TN 37338


                  Michael Alderson
                  6910 Schwegler Rd
                  Cass City, MI 48726


                  Michael Alesi
                  129 Hilda Dr
                  Stafford, VA 22556


                  Michael Alicea
                  572 Lamkin Road
                  Harlem, GA 30814


                  Michael Allen
                  413 Sandra Dr
                  Truesdale, MO 63380


                  Michael Allen
                  8336 Wexford Ln
                  Chattanooga, TN 37421


                  Michael Allen
                  3732 Chartstone Crescent
                  Williamsburg, VA 23188
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                  Michael and Judy Ann slocum
                  9520 West Moss Road
                  Fowler, MI 48835


                  Michael Anderson
                  924 Colony Road
                  Hartsville, SC 29550


                  Michael Andres
                  9546 North County Road 700 West
                  Middletown, IN 47356


                  Michael Andrews
                  22507 Airline Road
                  Sturgis, MI 49091


                  Michael Antle
                  3344 Pebble Beach Road
                  Grove City, OH 43123


                  Michael Aplet
                  275 West Road
                  Moore, SC 29369


                  Michael Aponte
                  2357 Grant Avenue
                  Fayetteville, NC 28312


                  Michael Arlt
                  11851 29 1/2 Rd
                  Kingsley, MI 49649


                  Michael Armstead
                  3341 The Loop rd
                  richmond, VA 23231


                  Michael Arness
                  3001 Hidden Spring Lane
                  Oxford, NC 27565


                  Michael Ayers
                  461 West Wind Road
                  Fincastle, VA 24090
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                  Michael Ayres
                  4712 Messer Ln
                  Powell, TN 37849


                  Michael Baalmann
                  2555 McClay Gardens Drive
                  St. Peters, MO 63376


                  Michael Baker
                  5843 Kiger Rd
                  Rougemont, NC 27572


                  Michael Bardarik
                  231 Dixie Ave
                  Harrisonburg, VA 22801


                  Michael Barner
                  29810 Sequoia Trail
                  Westlake, OH 44145


                  Michael Barnhart
                  12514 Farrand Rd
                  Otter Lake, MI 48464


                  Michael Barnhouse
                  1443 Co Hwy 75
                  Amsterdam, OH 43903


                  Michael Baron
                  3561 Markey Rd
                  Midlothian, VA 23112


                  Michael Barrett
                  11555 Hereford Road
                  Hume, VA 22639


                  Michael Barry
                  3775 Vanneter Road
                  Williamston, MI 48895


                  Michael Bartlett
                  9208 N Irish Rd
                  Mt Morris, MI 48458
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                  Michael Basel
                  229 Dunnes Shop Rd
                  Ruckersville, VA 22968


                  Michael Battle
                  108 Lincoln Dr
                  Annville, PA 17003


                  Michael Baum
                  907 North 6th Street
                  Festus, MO 63028


                  Michael Bealmear
                  1028 State Highway 1199
                  Fredonia, KY 42411


                  Michael Beck
                  430 1st Avenue Southeast
                  Carmel, IN 46032


                  Michael Beck
                  3377 Elmwood Road
                  Rocky Mount, NC 27804


                  Michael Behun
                  5015 Boneta Rd
                  Medina, OH 44256


                  Michael Belvin
                  5357 Achilles Dr
                  Virginia Beach, VA 23464


                  Michael Bennett
                  2198 W 100 S
                  Princeton, IN 47670


                  Michael Bentoski
                  317 Wyandotte Ave W
                  Big Stone Gap, VA 24219


                  Michael Bernard
                  716 Smith Ridge Road
                  Campbellsville, KY 42718
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                  Michael Bertolucci
                  1637 Park Road
                  Waynesboro, VA 22980


                  Michael Best & Friedrich Llp
                  River POint
                  444 West Lake Street
                  Chicago, IL 60606


                  Michael Bianchi
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                  Mill Hall, PA 17751


                  Michael Bierema
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                  Kalamazoo, MI 49004


                  Michael Black
                  2351 Ellerbe Dr
                  Kannapolis, NC 28083


                  Michael Blackburn
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                  Sterling, VA 20164


                  Michael Blackmer
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                  Harrietta, MI 49638


                  Michael Blackwood
                  3402 East Devonshire Drive
                  Saint Joseph, MO 64506


                  Michael Blaine
                  3758 Bulaville Pike
                  Gallipolis, OH 45631


                  Michael Blough
                  138 Berkley Ct
                  Decatur, IN 46733


                  Michael Boardwine
                  381 Teaberry dr
                  Fancy Gap, VA 24328
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                  Michael Boeschen
                  2202 S Vermont
                  Sedalia, MO 65301


                  Michael Bogard
                  196 Deer Ridge Lane
                  Romney, WV 26757


                  Michael Bonin
                  2524 Prudden Trce
                  Chesapeake, VA 23323


                  Michael Bonner
                  6336 Sunstone Dr
                  Charlotte, NC 28269


                  Michael Booker
                  3458 Old Hwy Rd
                  Inez, TX 77968


                  Michael Bookwalter
                  5484 East Co Road 150 South
                  Logansport, IN 46947


                  Michael Boorde
                  1101 Perryville Road
                  Georgetown, IL 61846


                  Michael Braddock
                  1230 Meadowview Lane
                  Amherst, OH 44001


                  Michael Brandt
                  7343 W 11 Mile Ave
                  Bitely, MI 49309


                  Michael Brant
                  2870 Norton Rd
                  Radnor, OH 43066


                  Michael Breedlove
                  4003 Johns St NW
                  Lilburn, GA 30047
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                  Michael Briddy
                  103 Wren Ct
                  Stockbridge, GA 30281


                  Michael Bridge
                  7881 Twin Hills Road
                  Streetsboro, OH 44241


                  Michael Bridges
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                  Chattanooga, TN 37405


                  Michael Bridgman
                  123 West Santa Fe Avenue
                  Toluca, IL 61369


                  Michael Brisbin
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                  Baroda, MI 49101


                  Michael Brooks
                  670 Kapper Ln
                  Fredericktown, MO 63645


                  Michael Brooks
                  3502 Torrington Ln
                  Clarksville, TN 37042


                  Michael Brooks
                  6057 Big Island Highway
                  Bedford, VA 24523


                  Michael Brown
                  1350 Bear Hole Rd
                  Vanceboro, NC 28586


                  Michael Brownfield
                  9843 Collins-Arbogast Road
                  South Vienna, OH 45369


                  Michael Brownlow
                  160 Old Wax Road
                  Aragon, GA 30104
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                  Michael Buczkowski
                  239 Valley Road
                  Eighty Four, PA 15330


                  Michael Buglione
                  6044 Collier Street
                  Dublin, VA 24084


                  Michael Burgoyne
                  6250 Ellison Road
                  Sterling, MI 48659


                  Michael Burns
                  91 Porter Road
                  Eldon, MO 65026


                  Michael Bush
                  682 Allen Road
                  Milan, MI 48160


                  Michael Butera
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                  Exeter, PA 18643


                  Michael C Barker
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                  Rossford, OH 43460


                  Michael Calfo
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                  Fairborn, OH 45324


                  Michael Campbell
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                  Rushville, IL 62681


                  Michael Campbell
                  6448 Scott Carter Ln
                  Mechanicsville, VA 23111


                  Michael Carberry
                  774 New Hope Road
                  Staunton, VA 24401
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                  Michael Cardillo
                  2657 South Marietta Road
                  Shelbyville, IN 46176


                  Michael Carver
                  2750 Pleasant Grove Church Rd
                  Hendersonville, NC 28739


                  Michael Cashdollar
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                  Rochester, PA 15074


                  Michael Casper
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                  Blissfield, MI 49228


                  Michael Cassidy
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                  Michael Caver
                  961 Tommy Oliver Rd
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                  Michael Chandler
                  139 Mettler Street
                  Toledo, OH 43608


                  Michael Charecky
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                  Springfield, VA 22153


                  Michael Choler
                  4450 Louella Drive
                  Waterford Township, MI 48329


                  Michael Chorba
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                  Millville, PA 17846


                  Michael Christy
                  58 Hillcrest Way
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                  Michael Clark
                  1490 Irish Ridge Road
                  Bloomfield, KY 40008


                  Michael Cogar
                  1631 N Fork Rd
                  Pine Grove, WV 26419


                  Michael Coile
                  1431 Coachlight Dr
                  De Soto, MO 63020


                  Michael Coleman
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                  Spotsylvania Courthouse, VA 22551


                  Michael Collett
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                  Blue Creek, OH 45616


                  Michael Combs
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                  Michael Combs
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                  Frankfort, KY 40601


                  Michael Compton
                  1316 Dulcimer Lane
                  Grottoes, VA 24441


                  Michael Conrad
                  1725 Blempton Road Northwest
                  Massillon, OH 44646


                  Michael Cook
                  9709 Patty's Ln
                  Traverse City, MI 49684


                  Michael Coots
                  421 Virginia Lane
                  Algonac, MI 48001
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                  Michael Coppernoll
                  2121 Connelly Springs Rd
                  Lenoir, NC 28645


                  Michael Coppola
                  2813 Squirrel Run
                  Chesapeake, VA 23321


                  Michael Cote
                  20 Caitlin Ct
                  Honey Brook, PA 19344


                  Michael Cowdrey
                  1103 slater street
                  Toledo, OH 43612


                  Michael Crabb
                  7008 countryview Blvd
                  Jackson, MI 49201


                  Michael Crabtree
                  13376 N Adams Rd
                  Addison, MI 49220


                  Michael Craighead
                  5122 Northwood Drive Northwest
                  Roanoke, VA 24017


                  Michael Crane
                  38890 Santa Barbara St
                  Clinton TWP, MI 48036


                  Michael Crawford
                  154 Branch Canal Rd
                  New Bern, NC 28560


                  Michael Crawford
                  1753 Still River Way
                  Fort Mill, SC 29708


                  Michael Crear
                  1010 Eads St
                  Marlin, TX 76661
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                  Michael Cress
                  3969 OH-601
                  Norwalk, OH 44857


                  Michael Crone
                  2079 Penny Lane
                  Hebron, KY 41048


                  Michael Crosheck
                  7743 M-52
                  Manchester, MI 48158


                  Michael Cross
                  105 Sycamore Rd
                  Salisbury, NC 28147


                  Michael Cullen
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                  Allegan, MI 49010


                  Michael Culp
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                  Circleville, OH 43113


                  Michael Cunningham
                  402 Jeffery Drive
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                  Michael Curatolo
                  2764 Bransford Dr SE
                  Kentwood, MI 49512


                  Michael Curtsinger
                  4095 Pleasant Grove Road
                  White House, TN 37188


                  Michael Custer
                  6657 Newport Road
                  Catawba, VA 24070


                  Michael D?Amico
                  2533 Joshua Dr
                  Reading, PA 19608
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                  Michael Daley
                  1813 S Shore Dr
                  Holland, MI 49423


                  Michael Daly
                  13182 Dixon Road
                  Dundee, MI 48131


                  Michael Danforth
                  1559 Shenandoah Avenue
                  Cincinnati, OH 45237


                  Michael Davidson
                  330 Williams Street
                  Collinsville, VA 24078


                  Michael Davis
                  406 South Gonser Avenue
                  Ashley, IN 46705


                  Michael Davis
                  5270 Braun Rd
                  Saline, MI 48176


                  Michael Davis
                  265 OH-790
                  Crown City, OH 45623


                  Michael Day
                  5217 Union Road
                  Walkerton, IN 46574


                  Michael Dean
                  137 Walnut Hill Rd
                  Davidsville, PA 15928


                  Michael Debo
                  1093 E Erickson Rd
                  Pinconning, MI 48650


                  Michael DeGroot
                  79 Bayshore avenue
                  Reedville, VA 22539
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                  Michael DeGroot
                  79 Bay Shore Ave
                  Reedville, VA 22539


                  Michael DeLong
                  122 Swatara Rd
                  Shenandoah, PA 17976


                  Michael DeMers
                  10574 Phillips Store Road
                  Broadway, VA 22815


                  Michael DePoortere
                  1557 Hillendale road
                  Crossville, TN 38572


                  Michael Depto
                  281 Vista View Road
                  Flinton, PA 16640


                  Michael DeVault
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                  Goodlettsville, TN 37072


                  Michael Dial
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                  Dearborn Heights, MI 48125


                  Michael Dial
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                  Port Huron, MI 48060


                  michael dickerson
                  3921 Fox Meadow Lane
                  Hope Mills, NC 28348


                  Michael Dierkes
                  6213 Regal Ct
                  Charlotte, NC 28269


                  Michael DiMuzio
                  14103 Ostrander Road
                  Maybee, MI 48159
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                  Michael Dixon
                  2000 Sheree Court
                  Greensboro, NC 27406


                  Michael Donley
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                  Basehor, KS 66007


                  Michael Donovan
                  809 East Maple Street
                  Scott City, MO 63780


                  Michael Dornon
                  8098 S Charleston Pike
                  South Charleston, OH 45368


                  Michael Dotson
                  11117 OH-124
                  Hillsboro, OH 45133


                  Michael Douglass
                  888 Flat Rock Church Rd
                  Louisburg, NC 27549


                  Michael Drew
                  714 Idlewood Ave
                  Carnegie, PA 15106


                  Michael Driscoll
                  58111 Oak Dr
                  Three Rivers, MI 49093


                  Michael Dugan
                  641 Leona St
                  Sharpsville, PA 16150


                  Michael Duncan
                  200 Old Sunset Hill Road
                  Hendersonville, NC 28792


                  Michael Duncan
                  5718 Jerrys Run Road
                  Apple Grove, WV 25502
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                  Michael Dunfee
                  5830 Friendship Dr
                  New Concord, OH 43762


                  Michael Dunford
                  196 Keffer Rd
                  Pearisburg, VA 24134


                  Michael Dunn
                  5261 Hill Dr
                  Roanoke, VA 24012


                  Michael Durbin
                  1834 Rain Forest Drive
                  York, SC 29745


                  Michael Durden
                  5208 West Keller Road
                  Muncie, IN 47304


                  Michael Dwayne Mcclean
                  2250 West 7th Avenue
                  Gastonia, NC 28052


                  Michael Dwyer
                  633 Industrial Avenue
                  Marion, VA 24354


                  Michael Dye
                  156 Peete Lane
                  Stanton, TN 38069


                  Michael East
                  713 Dennis Road
                  Jacksonville, NC 28546


                  Michael Eaton
                  1320 Taylor Rd
                  Tecumseh, MI 49286


                  Michael Echtinaw
                  8445 Vista Dr
                  Newaygo,, MI 49337
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                  Michael Edgell
                  23 Applewood Ct
                  Lebanon, PA 17046


                  MICHAEL EDINGER
                  95 Twigkenham Drive
                  Richboro, PA 18954


                  Michael Edwards
                  175 Apache Trail
                  Ringgold, GA 30736


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                  991 Red Stone Court
                  Rougemont, NC 27572


                  Michael Edwards
                  4204 Rose Ln
                  Williamsburg, VA 23188


                  Michael EIfert
                  13266 Highway J
                  Monroe City, MO 63456


                  Michael Elder
                  8787 Algoma Ave NE
                  Rockford, MI 49341


                  Michael Ende
                  140 Farmview Court
                  East Peoria, IL 61611


                  Michael Ensley
                  10600 Still Creek Ct
                  Raleigh, NC 27614


                  Michael Epperson
                  17052 Green Acres Dr
                  Sidney, OH 45365


                  Michael Eramo
                  14836 Fancher Rd
                  Westerville, OH 43082
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                  Michael Erbisch
                  318 west elm
                  Mason, MI 48854


                  Michael Ervin
                  33721 Sebastian Ln Dr
                  Sterling Heights, MI 48312


                  Michael Escott
                  1425 Gayla Drive
                  Quincy, IL 62305


                  Michael Eseh-Logue
                  7746 Water Edge
                  Beaumont, TX 77707


                  Michael Espen
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                  St Clairsville, OH 43950


                  Michael Esposito
                  4320 Brookgrove Drive
                  Grove City, OH 43123


                  Michael Evans
                  19 Greys Mill Dr
                  Hiram, GA 30141


                  Michael Ezell
                  11907 Winterpock Rd
                  Chesterfield, VA 23838


                  Michael Farmer
                  206 Marler Road
                  Marion, NC 28752


                  Michael Farner
                  174 Oak Grove Rd
                  Benton, TN 37307


                  Michael Fetting
                  111 Randy Court
                  Angier, NC 27501
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                  Michael Fink
                  72 Wooten Ridge
                  Franklin, NC 28734


                  Michael Fiorill
                  712 Rosemont Dr
                  Lititz, PA 17543


                  Michael Fisher
                  9373 Callus Mill Rd
                  Lula, GA 30554


                  Michael Fisher
                  1201 Cowpasture River Road
                  Head Waters, VA 24442


                  Michael Fisher Price Gatlin
                  3739 Mariner Street
                  Waterford Township, MI 48329


                  Michael Flasher
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                  Saxton, PA 16678


                  Michael Flynn
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                  Michael Fogle
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                  Michael Ford
                  4001 North 400 West
                  La Porte, IN 46350


                  Michael Ford
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                  Zavalla, TX 75980


                  Michael Foreman
                  9820 Whitneyville Ave SE
                  Alto, MI 49302
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                  Michael Foster
                  246 3rd Ave
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                  Richmond, VA 23227


                  Michael Fragale
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                  morgantown, WV 26505


                  Michael Frame
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                  Portsmouth, VA 23703


                  Michael Franke
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                  Blue Springs, MO 64014


                  Michael Freezer
                  283 Kepner Hill Road
                  Muncy, PA 17756


                  Michael Fry
                  63934 Sand Hill Rd
                  Bellaire, OH 43906


                  Michael Fuhrman
                  565 century Court
                  Wytheville, VA 24382


                  Michael Fulk
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                  Mount Airy, NC 27030


                  Michael G. Laughlin
                  6520 Sim Canady Rd
                  Hope Mills, NC 28348


                  Michael Gaines
                  5567 Beacon Hill
                  King George, VA 22485
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                  Michael Gaines
                  3300 Margo Lane
                  North Chesterfield, VA 23237


                  Michael Garrison
                  3076 Millville Road
                  Lapeer, MI 48446


                  Michael Gary
                  4103 Bernard Street
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                  Michael Geiser
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                  Quincy, IL 62305


                  Michael George
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                  Michael Gifford
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                  Dyer, IN 46311


                  Michael Gillen
                  446 South St
                  Cameron, IL 61423


                  Michael Gillespie
                  Christopher Wetherbee Oberholtzer Filous
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                  Michael Gillespie
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                  Brunswick, OH 44212


                  Michael Gilliland
                  108 Scheibel Lane
                  Portersville, PA 16051
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                  Michael Glaser
                  2716 West Meadow Drive
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                  Michael Goetting
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                  Maumee, OH 43537


                  Michael Gormley
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                  Michael Gornick
                  1089 Shady Avenue
                  Pittsburgh, PA 15232


                  Michael Gralewski
                  7506 West Kirsch Road
                  Collinsville, IL 62234


                  Michael Gravenstreter
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                  Fishers, IN 46038


                  Michael Green
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                  Michael Gregory
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                  Michael Grey
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                  Wellston, OH 45692


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                  Grove City, OH 43123


                  Michael Guernsey
                  5475 Zue Rd
                  Buckley, MI 49620
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                  Michael Guffey
                  461 Ridge Rd
                  Zelienople, PA 16063


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                  303 HATCHER DR
                  NEWPORT, NC 28570


                  Michael Haight
                  3119 Cherry Flats Road
                  Covington, PA 16917


                  Michael Hall
                  2474 Magnolia Street
                  Portage, IN 46368


                  Michael Hallman
                  303 Randall Avenue
                  Mio, MI 48647


                  Michael Hamilton
                  1333 Gideon Grove Church Rd
                  Stokesdale, NC 27357


                  Michael Hannon
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                  Jacksonville, NC 28540


                  Michael Hardin
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                  Grove City, OH 43123


                  Michael Harmon
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                  Vanceboro, NC 28586


                  Michael Harnar
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                  Kalamazoo, MI 49009


                  Michael Harrell
                  1753 Emerald Woods Dr, Chesapeake, VA 23
                  Chesapeake, VA 23321
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                  614 Cardinal Dr
                  Columbus, GA 31907


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                  Columbus, OH 43232


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                  Madisonville, TN 37354


                  Michael Harrison
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                  MARCELLUS, MI 49067


                  Michael Harsen
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                  St. Clair Shores, MI 48081


                  Michael Harville
                  21310 Buckhorn Quarter Road
                  Courtland, VA 23837


                  Michael Hayes
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                  Louisburg, NC 27549


                  Michael Hayes
                  1281 Keats Street Northeast
                  Canton, OH 44721


                  Michael Hayes
                  2511 Jackson Creek Rd
                  Wimsborogh, SC 29180


                  Michael Headley
                  790 Virginia Court Southeast
                  Conyers, GA 30094


                  Michael Heitman
                  415 Willow St
                  East Stroudsburg, PA 18301
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                  Michael Henry
                  668 Rinkliff Ln
                  Chillicothe, OH 45601


                  Michael Hensley
                  3066 Wilson Ave
                  Lincoln Park, MI 48146


                  Michael Hess
                  234 Evas Walk
                  Pounding Mill, VA 24637


                  Michael Hetrick
                  5876 Angela Pl
                  Macon, GA 31216


                  Michael Hickman
                  100 Locust Street
                  Windber, PA 15963


                  Michael Hicks
                  1961 Leawood Court
                  Grove City, OH 43123


                  Michael Hicks
                  189 Hicks Lane
                  Violet Hill, AR 72584


                  Michael Hill
                  195 Archibald Street
                  Rincon, GA 31326


                  Michael Himes
                  14103 State Route 208
                  Marble, PA 16334


                  Michael Hinton
                  13304 Centerview Ln
                  Huntersville, NC 28078


                  Michael Hitchingham
                  575 Ridge Point Drive
                  Dundee, MI 48131
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                  60 Skyline Dr
                  Mohrsville, PA 19541


                  Michael Hoerig
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                  Tiffin, OH 44883


                  Michael Holleman
                  198 Kerry Ln
                  Wilkesboro, NC 28697


                  Michael Hollingsworth
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                  Michael Hollis
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                  Junction City, KS 66441


                  Michael Holloway
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                  Murfreesboro, TN 37128


                  Michael Holt
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                  New Caney, TX 77357


                  Michael Hook
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                  Cecil, OH 45821


                  Michael Horsley
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                  Mechanicsville, VA 23111


                  Michael Houle
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                  Lillington, NC 27546


                  Michael Hovis
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                  Taft, TN 38488
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                  20990 Nummer St
                  Warren, MI 48089


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                  Goodlettsville, TN 37072


                  Michael Howarth
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                  New Galilee, PA 16141


                  Michael Hufford
                  113 Monessen Street
                  Belle Vernon, PA 15012


                  Michael Hunter
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                  Michael Johnson
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                  Kansas City, MO 64131


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                  Greensboro, NC 27406


                  Michael Johnson
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                  Aspers, PA 17304


                  Michael Johnston
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                  Michael Jones
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                  Cape Girardeau, MO 63701


                  Michael Jones
                  491 Manson-Axtell Road
                  Norlina, NC 27563


                  Michael Jones
                  10907 Hacksaw Rd
                  Cainsville, MO 64632
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                  Michael Jones
                  311 Scranton Court
                  Richlands, NC 28574


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                  Mexico, MO 65265


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                  Akron, OH 44305


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                  Terre Haute, IN 47805


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                  2485 Massena Avenue
                  Commerce Charter Township, MI 48382
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                  Michael Kegg
                  7027 E state rd 64
                  Francisco, IN 47649


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                  Trenton, MI 48183


                  Michael Kelleher
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                  Michael Kelly
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                  Poplar Bluff, MO 63901


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                  Amherst, OH 44001


                  Michael Kesner
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                  Michael Kindret
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                  Michael King
                  7128 900 E
                  Sheridan, IN 46069
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                  Michael Kinyo
                  17 Mozart Meadows
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                  New Baltimore, MI 48047


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                  Pittsburgh, PA 15237


                  Michael Kunz
                  993 Koenig Drive
                  Godfrey, IL 62035
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                  Michael LaChapelle
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                  Michael Lemoine
                  2555 Brainard Road
                  Pepper Pike, OH 44124
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                  Michael Lennon
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                  Michael Lindgren
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                  Hart, MI 49420


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                  Crewe, VA 23930


                  Michael Logan
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                  Michael Lucas
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                  Shoreacres, TX 77571


                  Michael Ludy
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                  Michael Lukens
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                  Michael Martinez
                  18591 Cardinal Dr
                  Dinwiddie, VA 23841


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                  Indianapolis, IN 46241


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                  Topeka, IN 46571


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                  Elizabethtown, NC 28337


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                  298 Link Drive
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                  Michael Nottingham
                  16157 Shurmer
                  Strongsville, OH 44136


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                  787 Hartzell Rd
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Michael Owens
                  6108 Misty Pine Court
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                  Michael Parker
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                  Michael Patterson
                  5797 NE 3rd St
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Michael Patterson
                  4542 County Road 19
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                  8933 S Custer Rd
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Michael Perkins
                  8576 s 625 w
                  Rosedale, IN 47874


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                  1229 West 22nd Street
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                  160 Coldstream Dr
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                  Knoxville, TN 37914


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                  Charmco, WV 25958


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                  Michael Schadler
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                  Michael Smith
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                  Andrews, IN 46702


                  Michael Teal
                  207 History Pl
                  Morrisville, NC 27560
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                  Michael Teem
                  357 Shepherds Creek Rd
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                  Georgetown, IN 47122


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                  Fountaintown, IN 46130


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                  Edinburg,, VA 22824


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                  Michael Tobin
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                  Michael Tollette Tollette
                  885 Athena Dr
                  Albion, MI 49224
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                  Michael Tollis
                  76302 Burman Road
                  Richmond, MI 48062


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                  Lindsey, OH 43442


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                  Cadillac, MI 49601


                  Michael Triana
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                  Hendersonville, NC 28739


                  Michael Tripp
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                  Richmond, VA 23231


                  Michael Tucker
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                  Riverdale, GA 30296


                  Michael Tucker
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                  Annapolis, MO 63620


                  Michael Tucker
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                  Michael Tyler
                  3594 138th Ave
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                  Michael Upton
                  182 Main Street
                  Lore City, OH 43755


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                  Mt. Juliet, TN 37122


                  Michael Van Bree
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                  Michael Vanator
                  2925 N 925 E
                  Pierceton, IN 46562


                  Michael Vermeulen
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                  New Haven, MI 48048


                  Michael Vetor
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                  Gas City, IN 46933


                  Michael Viti
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                  Cullom, IL 60929


                  Michael Vorce
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                  Warsaw, MO 65355


                  Michael W Strouse
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                  Lamar, PA 16841


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                  Michael Waickman
                  833 Tricolor Dr
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                  Michael Wallace
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                  Otway, OH 45657


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                  Michael Ward
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                  Glouster, OH 45732


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                  Goshen, IN 46528


                  Michael Watkins
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                  Michael Way
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                  South Hill, VA 23970


                  Michael Weaver
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                  Michael Weer
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                  Leicester, NC 28748


                  Michael Wells
                  1209 Moorehead Place
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                  Michael Wetmore
                  1522 La Plante Street
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                  Ava, MO 65608


                  Michael Wiktor
                  19490 Saint Francis
                  Livonia, MI 48152


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                  Williamsville, IL 62693


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                  Michael Williams
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                  Ellettsville, IN 47429
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                  Michael Williams
                  4142 Wilhite Road
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                  Michael Williamson
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                  Hawley, PA 18428


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                  Toledo, OH 43612


                  Michael Wilson
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                  Michael Wilson
                  230 Peebles Drive
                  Smyrna, TN 37167


                  Michael Winkles
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                  Sedley, VA 23878


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                  Michael wooden
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                  Michael Woods
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                  Emporium, PA 15834


                  Michael Woods
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                  Hampton, VA 23661


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                  Michael Wortman Wortman
                  191 2nd Texas Road
                  SAINT GEORGE, SC 29477


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                  Michael Yow
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                  Sylva, NC 28779


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                  Micheal Meahl
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                  Micheal Ritchie
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                  Micheal Strickland
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                  Michedolene Hogan
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                  Michel Abranches
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                  Michele Davies-blanton
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                  Felicity, OH 45120


                  Michele Davis
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                  Beaver, WV 25813


                  Michele Dorgelo
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                  Fowlerville, MI 48836
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                  Michele Dye
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                  Michele Marsh
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                  Michele Oren
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                  Pamplin, VA 23958


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                  Michele Santoriella
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                  Michele Teegardin
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                  Hastings, MI 49058


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                  Richlands, NC 28474
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                  Michelle Facchina
                  290 Smoke Ridge Rd
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                  Michelle Hildreth
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                  Beaverfalls, PA 15010
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                  Michelle Hoffman
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                  Brevard,, NC 28712


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                  Michigan.com/Detroit Free Press/ Localiq
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                  Burton, MI 48519


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                  Mickie Nyquist
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                  Metamora, IL 61548


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                  Reno, NV 89511
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                  Middle Georgia Truck Repair
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                  Miguel Denyer
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                  Miguel Morillo
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                  Miguel Panduro Jr
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                  Matthews, NC 28105


                  Miguel Rivera
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                  Miguel Tinoco
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                  Wendell, NC 27591


                  Miguel Vasquez
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                  Hamptonville, NC 27020
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                  Toldeo, OH 43617


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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Mike Carter
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Lynchburg, VA 24502


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                  1338 Hamilton Road
                  Pittsburgh, PA 15234


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                  Troutville, VA 24175
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                  Mike Durham
                  10200 Small Rd
                  Hillsboro, OH 45133


                  Mike Dutlinger
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                  Milford, OH 45150


                  Mike E Phillips
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                  Wheelersburg, OH 45694


                  Mike Edwards
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                  Hampton, VA 23666


                  Mike Edwards
                  820 Arlington Terrace
                  Hickory, VA 23666


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                  Winchester, VA 22602


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                  Geneva, OH 44041


                  Mike Filice
                  5472 E Holly Rd
                  Holly, MI 48442


                  Mike Fisher
                  150 Reservoir Road
                  Black Mountain, NC 28711


                  Mike Fisher
                  9287 Bradyville Pike
                  Murfreesboro, TN 37127


                  Mike Fitzgerald
                  3845 Manning Rd
                  Suffolk, VA 23437
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                  Mike Flagg
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                  Massillon, OH 44646


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                  Brookville, IN 47012


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                  Mike Gladden
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                  Mike Grafinger
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                  Raleigh, NC 27606


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                  Harrison, OH 45030


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                  Hemlock, MI 48626


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                  31836 Lynne Drive
                  Rockwood, MI 48173


                  Mike Groover
                  816 Back Road
                  Roaring Branch, PA 17765
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                  Mike Hammett
                  21404 Waterloo Road
                  Chelsea, MI 48118


                  Mike Harman
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                  Fostoria, OH 44830


                  Mike Harris
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                  Windham, OH 44288


                  Mike Harris
                  260 Clay Hodge Lane
                  Axton, VA 24054


                  Mike Harty
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                  Rittman, OH 44270


                  Mike Haveman
                  7188 Taylor St
                  Hudsonville, MI 49426


                  Mike Headlee
                  4259 Troy Road
                  Delaware,, OH 43015


                  Mike Hebert
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                  Mike Hines
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                  Columbia, KY 42728


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                  Warsaw, IN 46580


                  Mike Hockstra
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                  Hastings, MI 49058
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                  Mike Hogan
                  3512 OH-746
                  Cardington, OH 43315


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                  Kaleva, MI 49645


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                  Mike Howard
                  2915 Ross Street
                  Highland, IN 46322


                  Mike Howard
                  124 Knight Lane
                  Rogersville, TN 37857


                  Mike Howell
                  1272 OH-125
                  Hamersville, OH 45130


                  Mike Huckabone
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                  Clarkston, MI 48348


                  Mike Hudak
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                  Medina, OH 44256


                  Mike Jacobs
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                  Hillsboro, MO 63050


                  Mike James
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                  Mike Jamieson
                  265 Ruth Circle
                  Fuquay-Varina, NC 27526


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                  Granger, IN 46530


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                  Columbia City, IN 46725


                  Mike Jones
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                  Canton, MI 48187


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                  Mike Kelly
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                  Mike Kelsay
                  5701 N Shaffer Rd
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                  Canonsburg, PA 15317


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                  Richwood, OH 43344


                  Mike Klinger
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                  Mike Kopp
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                  Brogue, PA 17309


                  Mike Krawczynski
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                  Harrison, MI 48625


                  Mike Kronner
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                  Erie, MI 48133


                  Mike Larsen
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                  Plain City, OH 43064


                  Mike Laucher
                  1501 Sandbridge Rd
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                  Mike Lehr
                  142 Trotters Creek Lane
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                  Pittsburgh, PA 15206


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                  Mike Linder
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                  Hendersonville, NC 28791


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                  Conover, OH 45317


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                  Dugger, IN 47848


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                  1488 W Stanley Rd
                  Mt Morris, MI 48458


                  Mike Miller
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                  Truesdale, MO 63380


                  Mike Mills
                  13087 Banks Lake Road
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                  Mike Molinsky
                  149 N Medina Line Rd
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                  Montpelier, OH 43543


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                  Maywood, MO 63454


                  Mike Munsee
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                  Mike Murray
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                  Whitehall, MI 49461


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                  45474 M-43
                  Bangor, MI 49013


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                  Mike Newman
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                  Pierpont, OH 44082


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                  Fayette, OH 43521


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                  Norfolk, VA 23505


                  Mike Rounkles
                  258 East North Street
                  Corder, MO 64021


                  Mike Runkle
                  317 Sign Pine Road
                  Chesapeake, VA 23322
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                  Mike ryman
                  13482 Millers Mill Road
                  Constantine, MI 49042


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                  Wheeling, WV 26003


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                  Lawrenceville, GA 30043


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                  Quinton, VA 23141


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                  Elida, OH 45807


                  Mike Schloss
                  5150 N Rodehaver
                  Guysville, OH 45735


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                  Defiance, OH 43512


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                  Lafayette, IN 47909


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                  West Newton, PA 15089


                  Mike Speelman
                  8787 James Road
                  Wooster, OH 44691


                  Mike Stadler
                  20495 Milburn Street
                  Livonia, MI 48152


                  Mike Stanley
                  211 Birchwood Drive
                  Temple, GA 30179
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                  Mike Stephan
                  75153 Dequindre , .
                  Leonard, MI 48367


                  Mike Stevens
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                  St James, NC 28461


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                  Blanchester, OH 45107


                  Mike Stewart
                  709 3rd Street
                  Palmer, IL 62556


                  Mike Straw
                  2115 Turtle Pond Ct
                  Suffolk, VA 23434


                  Mike Strong
                  15980 Old Wire Road
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                  Pearl, IL 62361


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                  Gainesboro, TN 38562
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                  Mike Tikkanen
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                  St Clair Shores, MI 48082


                  Mike Tilman
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                  Chesapeake, VA 23324


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                  Millfield, OH 45761


                  Mike Trexler
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                  Salisbury, NC 28147


                  Mike Trouille
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                  Maiden, NC 28650


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                  Mooresville, NC 28115


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                  315 East 308th Street
                  Willowick, OH 44095
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                  Manassas, VA 20111, VA 20111


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                  Mike wells
                  685 Berville Rd Allenton, MI 48002
                  Allenton, MI 48002


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                  Plymouth, IN 46563


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                  Edwardsburg, MI 49112
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                  Mikell Grant
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                  Miki Patterson
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                  22353 Avon Lane
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                  Mildred Gallaway
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                  Mildred Kennerly
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                  Mildred Lopez
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                  Mildred Smith
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                  Greencastle, IN 46135


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                  4433 Village Park Drive
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                  1328 East 800 South
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                  Miles Praay
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                  Muskegon, MI 49442


                  Milford Prebble
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                  Richmond, MI 48062


                  Milind Patel
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                  Levittown, PA 19055


                  Milissa Fitzgerald
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                  Millard Burch
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                  Colfax, IN 46035


                  Millard Martin
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                  Miller Arthur N
                  35 Bee Jay Ln
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                  Millicent Hicks
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                  Michigan City, IN 46360


                  Millie Curtis
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                  Asheboro, NC 27205
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                  308 South Main Street
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                  Bedford, OH 44146


                  Milosh Pujo
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                  Milquiades Romero
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                  Milton Meyer
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                  Colon, MI 49040


                  Milton Redden
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                  McDonald, PA 15057


                  Milton Waddler
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                  Portsmouth, VA 23701


                  milton yearsley
                  1504 E Mountain Rd
                  Hegins, PA 17938


                  Mimi Cartee
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Charlottesville, VA 22911


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                  North Canton, OH 44720


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                  Grant, MI 49327


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                  Urbana, OH 43078


                  Mindy Caldwell
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                  Mindy Cornstubble
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                  Mindy Fountain
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                  Mindy Goddard
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                  Mindy Hinkle
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                  Mindy Hunter
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                  Lexington, KY 40517


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                  North East, PA 16428
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                  Troy, OH 45373


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                  Lowell, MI 49331


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                  Wingina, VA 24599


                  Minhaj Abideen
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                  Sterling, VA 20164


                  Minhloan Tran
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                  Miranda Kay Langen
                  141 East 900 North Road
                  Morrisonville, IL 62546
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                  242 Tanglewood Drive
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                  Miriam Galeana
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                  Manassas Park, VA 20111


                  Miriam Garcellano
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                  Miriam Hoskins
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                  Miriam Krug
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                  Miriam Palomino
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                  Miriam Pinckney
                  504 Summerland Drive
                  Spartanburg, SC 29306


                  Mirta Verano
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                  Mirtha Munnigh
                  283 Woodcock Rd
                  Bushkill, PA 18324
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                  Missy Roe-Bowles
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                  Misti Ramirez
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                  Misty Croston
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                  Malta, OH 43758


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                  Misty Mullinax
                  148 Virginia Avenue
                  Gaffney, SC 29341


                  Misty myers
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                  Misty Nies
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                  Misty Shillings
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                  Williamsburg, VA 23185


                  Misty Stricklin
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                  Mitch Ralph
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                  Mitchell Ensley
                  147 Mode Rd
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                  Mitchell Griffin
                  2337 Jasper St
                  Hamer, SC 29547


                  Mitchell Jacobs Jr
                  18310 Woody Lane
                  Barhamsville, VA 23011


                  Mitchell Lewis
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                  Mitchell McCool
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                  Mitchell Russell
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                  Buford, GA 30518


                  Moe Traiore
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                  Mollie Dixon
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                  Monica Norbie
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                  Myron Jackson
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                  Natalie Janvier
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                  Natalie Kittrell
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                  406 Jefferson Street
                  Herculaneum, MO 63048
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                  Natalie Smith
                  4985 South Crystal
                  Carson City, MI 48811


                  Nataly Maisonet
                  4217 Carafe Dr
                  Richmond,, VA 23234


                  Nataly Rivera
                  7009 Kenfig Place
                  Falls Church, VA 22042


                  Natasha Blanton
                  2505 Ritchie Rd
                  China Grove, NC 28023


                  Natasha Decker
                  125 Wilder St
                  Delaware, OH 43015


                  Natasha French
                  13834 State Road TT
                  Festus, MO 63028


                  Natasha Hill
                  298 W 2nd St El Paso, IL 61738
                  El Paso, IL 61738


                  Natasha Pretzsch
                  504 Richardson Ave
                  Ashton, IL 61006


                  Natasha Reid
                  5185 Victoria Park Drive
                  Loganville, GA 30052


                  Natasha Viers
                  115 Stallard Avenue
                  Clintwood, VA 24228


                  Natasha Woodruff
                  606 Huss St
                  Lincolnton, NC 28092
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                  Nate Arnett
                  446 Overbrook Blvd
                  Pittsburgh, PA 15210


                  Nate Bernheimer
                  14 Bailey Drive
                  Jacksonville, NC 28540


                  Nate Haigler
                  113 Plantation Creek Dr.
                  Vanceboro, NC 28586


                  Nate King
                  21171 11 Mile Road
                  Big Rapids, MI 49307


                  Nate Melotti
                  207 N Ottawa St
                  St Johns, MI 48879


                  Nate Poulin
                  12755 Leonard Road
                  Nunica, MI 49448


                  Nate Russell
                  14221 Township Hwy 60
                  Upper Sandusky, OH 43351


                  Nate Sims
                  4401 Hubbard Avenue
                  Suffolk, VA 23435


                  Nate Sterling
                  3224 E Tyler Rd
                  Muskegon, MI 49445


                  Nate Stowers
                  7801 Pintail Drive
                  Fayetteville, NC 28311


                  Nate Walker
                  55948 Forest Beach Road
                  Dowagiac, MI 49047
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                  Nate Yetzer
                  5310 Canoe Circle
                  Salem, VA 24153


                  Nathalie Cruz
                  3166 Candace Dr SE
                  Atlanta, GA 30316


                  Nathalie Martinez
                  50 Pleasent Valley Rd
                  McDonoug, GA 30253


                  Nathan "Nate" Oesterling
                  1184 Herman Road
                  Butler, PA 16002


                  Nathan Adams
                  193 Cedar Ln
                  Sumner, IL 62466


                  Nathan Barnett
                  168 North Fork Lane
                  Palmyra, VA 22963


                  Nathan Barrick
                  919 S Battleground Ave
                  Kings Mountain, NC 28086


                  Nathan Bear
                  1163 N Windy Point Rd
                  Madison, IN 47250


                  Nathan Bolton
                  2169 New Lewisburg Hwy
                  Columbia, TN 38401


                  Nathan Boorgerd
                  6579 Harbor Pines Lane
                  Norton Shores, MI 49444


                  Nathan Brinker
                  1042 Broadway St,
                  Martins Ferry, OH 43935
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                  Nathan Bryan
                  2035 Mitchell Road
                  Williamston, MI 48895


                  Nathan Burnett
                  12492 Kentuck Rd
                  Sutherlin, VA 24594


                  Nathan Callon
                  464 Cloverdale Ave
                  Springdale, OH 45246


                  Nathan Carle
                  405 Sagebrush Road
                  Simonton, TX 77476


                  Nathan Cowan
                  31918 McKinley Run Drive
                  Cypress, TX 77433


                  Nathan Davis
                  21867 3 Mile Rd
                  Reed City, MI 49677


                  Nathan Dininger
                  138 E Church St
                  Perrysville, OH 44864


                  Nathan Dorobek
                  3949 Ohio 53
                  Fremont, OH 43420


                  Nathan Doyon
                  5322 N Elms Road
                  Flushing, MI 48433


                  Nathan Dykstra
                  836 E Thomas L Pkwy
                  Lansing, MI 48917


                  Nathan Ehrhart
                  1128 East 450 South
                  Bluffton, IN 46714
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                  Nathan Engweiler
                  60 9 Mile Rd NW
                  Comstock Park, MI 49321


                  Nathan Field
                  325 Ave D
                  Danville, PA 17821


                  Nathan Flint
                  313 Northeast Ave
                  Swannanoa, NC 28778


                  Nathan Franke
                  5501 Acorn Trail
                  Hillsboro, MO 63050


                  Nathan Franson
                  85 Mcgregor dr
                  Blue Ridge, VA 24064


                  Nathan Frazee
                  9084 Ohio 218
                  Crown City, OH 45623


                  Nathan Genton
                  719 Trapp Drive
                  Columbus, OH 43230


                  Nathan Glover
                  1101 Narrow Ln
                  Lexington, KY 40517


                  Nathan Hamm
                  926 Yorktown Rd
                  Poquoson, VA 23662


                  Nathan Hilbrand
                  4047 E 96th St
                  Newaygo, MI 49337


                  Nathan Hise
                  3037 Partlow Rd.
                  Partlow, VA 22534
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                  Nathan House
                  3673 Lake Estates Way
                  Atlanta, GA 30349


                  Nathan Jackson
                  1506 South Rock Hill Road
                  Webster Groves, MO 63119


                  Nathan Jeffries
                  314 Miller Avenue
                  Hinton, WV 25951


                  Nathan Jones
                  5925 Greenvillage Road
                  Chambersburg, PA 17202


                  Nathan June
                  712 West Shiawassee Street
                  Lansing, MI 48915


                  Nathan Kaelin
                  9402 South 325 West
                  Waveland, IN 47989


                  Nathan Kautsky
                  228 Cahors Trail
                  Holly Springs, NC 27540


                  Nathan Kingma
                  8941 West 1000 North
                  De Motte, IN 46310


                  Nathan Kurth
                  3391 Jewell Rd.
                  Howell,, MI 48843


                  Nathan Lilly
                  111 Glydon Ct
                  Odd, WV 25902


                  nathan loveland
                  1071 Stevenson Road
                  Ashtabula, OH 44004
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                  nathan meek
                  1327 Orange St
                  Coshocton, OH 43812


                  Nathan Mills
                  115 Lakeview Circle
                  Pikeville, KY 41501


                  Nathan Murad
                  51 Highridge Drive
                  Loveland, OH 45140


                  Nathan Naron
                  1118 KY-949
                  Dunmor, KY 42339


                  Nathan Noel
                  2826 W Henderson St
                  Chicago, IL 60618


                  Nathan Osting
                  769 West Co Road 750 North
                  Milroy, IN 46156


                  Nathan Parish
                  722 Burke Street
                  Columbia City, IN 46725


                  Nathan Pell
                  6736 Stone Creek Court
                  Columbus, GA 31909


                  Nathan Pentico
                  3065 Conrad Drive
                  North Street, MI 48049


                  Nathan Pilgrim
                  6935 Conifer Trail
                  Vale, NC 28168


                  Nathan Quante
                  12660 Ohio 177
                  Camden, OH 45311
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                  Nathan Resnick
                  415 Corley St,
                  Lexington,, SC 29072


                  Nathan Smith
                  3920 Monks Road
                  Pinckney, MI 48169


                  Nathan Smock
                  121 Star Grille Rd
                  Cabot,, PA 16023


                  Nathan Spencer
                  557 North Baldwin Road
                  Owosso, MI 48867


                  Nathan Stone
                  110 E Iowa St
                  Spring Valley, IL 61362


                  Nathan Tatro
                  136 furnace creek rd
                  La Fayette, GA 30728


                  Nathan Thielmann
                  4066 N State Road 129
                  Milan, IN 47031


                  Nathan Thompson
                  1035 London Groveport Road
                  Grove City, OH 43123


                  Nathan Tipton
                  151 County Road 854
                  Etowah, TN 37331


                  Nathan Truitt
                  339 West 500 South
                  Anderson, IN 46013


                  Nathan Webb
                  12690 Katherine Street
                  Sesser, IL 62884
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                  Nathan Wetzel
                  937 Everyman Ct
                  Columbia, TN 38401


                  Nathan Witt
                  1073 Truwood Dr
                  Rochester Hills, MI 48307


                  Nathan Wolf
                  7748 Jericho Rd
                  Stevensville, MI 49127


                  Nathan Wolverton
                  42 Campbell Lane
                  Indiana, PA 15701


                  Nathan Wood
                  1500 Bentley Street
                  Wabash, IN 46992


                  Nathan Yoder
                  5766 Hancock St SW
                  Canton, OH 44706


                  Nathanael Ammons
                  46 Fieldcrest Court
                  Jefferson, GA 30549


                  Nathanael Gerke
                  413 Bamboo Lane
                  Virginia Beach, VA 23452


                  Nathanael Sudduth
                  2421 S Gertrude St
                  South Bend, IN 46614


                  Nathaneal Butzer
                  16742 Gonzales Ave
                  East Liverpool, OH 43920


                  Nathanial Farrell
                  3212 Optimist Farm Road
                  Apex, NC 27539
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                  Nathanial Heckathorn
                  13312 US-62
                  Leesburg, OH 45135


                  NATHANIAL/ Allysha Borges
                  3025 John McMillan Road
                  Hope Mills, NC 28348


                  Nathaniel Acken
                  107 County Road 500
                  West Salem, OH 44287


                  Nathaniel Battle
                  2601 Isaac Drive
                  Goldsboro, NC 27530


                  Nathaniel Bolds
                  441 Texanna Way
                  Holly Springs, NC 27540


                  Nathaniel Coleman
                  3804 Seasons Lane
                  Richmond, VA 23223


                  Nathaniel Fellows
                  7403 Polk Run Drive
                  Charlestown, IN 47111


                  Nathaniel Greer
                  259 Bartlettsville Road
                  Bedford, IN 47421


                  Nathaniel Heath
                  510 S STATE ST
                  North Warren, PA 16365


                  Nathaniel Hopkins
                  3499 Black Bear Cove
                  Burlington, NC 27215


                  Nathaniel Jackson
                  2217 Calvary Court
                  Portsmouth, VA 23704
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                  Nathaniel Johnson
                  2821 Boynton Ave NE
                  Ada, MI 49301


                  Nathaniel Moore
                  5328 Johnstown Alexandria Rd
                  Johnstown, OH 43031


                  Nathaniel Mooty
                  32617 Dover Ave
                  Warren, MI 48088


                  Nathaniel Roberson
                  93 South Sanford Street
                  Pontiac, MI 48342


                  Nathaniel Roberts
                  6670 Sauk Trail
                  Saline, MI 48176


                  Nathaniel Schultz
                  607 West Rose City Road
                  Rose City, MI 48654


                  Nathaniel Thomas
                  11727 Longacre Street
                  Detroit, MI 48227


                  Nathaniel Torain
                  344 Loftis Loop
                  Roxboro, NC 27574


                  Nathaniel Trible
                  28468 Eleys Ford Rd
                  Richardsville, VA 22736


                  Nathaniel Wagner
                  100 Peach St
                  Selinsgrove, PA 17870


                  Nathaniel Walker
                  145 mulledy farm ln
                  romney, WV 26757
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                  Nathaniel Waller
                  3624 Lovers Ln
                  Kalamazoo, MI 49001


                  Natosha Boutwell
                  3035 Walden Rd
                  Macon, GA 31216


                  Navaska Wiggan
                  2057 Mitford Court
                  Dacula, GA 30019


                  Navene Sowmick
                  7983 East Baseline Road
                  Mount Pleasant, MI 48858


                  Nawaz Chughtai
                  21 Summerwood Drive
                  Stafford, VA 22554


                  Naythan Taitano
                  9705 Roseberry Street
                  Summerville, SC 29485


                  Nazario Miguel
                  98 Garden City Drive
                  Lancaster, PA 17602


                  NB Handy
                  PO Box 11407
                  Birmingham, AL 35246-1653


                  NC Dept of Revenue Bankruptcy Unit
                  PO Box 1168
                  Raleigh, NC 27602-1168


                  Ndem Asong
                  507 Alta View Village Court
                  Worthington, OH 43085


                  Nea Hers
                  4885 West Hallet Rd
                  Hillsdale, MI 49242
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                  Neal Archer
                  1103 Clark Road
                  Wadsworth, OH 44281


                  Neal Boob
                  214 Lloyd Ave
                  Spring Mills, PA 16875


                  Neal Gobrogge
                  20773 County Road X
                  Napoleon, OH 43545


                  Neal Gregory
                  999 McGuire Valley Road
                  Cedar Bluff, VA 24609


                  Neal Hobbs
                  3132 Deer Path Road
                  Suffolk, VA 23434


                  Neal Stephens jr
                  8155 E Hildale St
                  Detroit, MI 48234


                  Neale Hubschneider
                  1788 Gonder Road
                  Interlochen, MI 49643


                  Neale Sutton
                  11353 Q Road
                  Hoyt, KS 66440


                  Nearmap US Inc.
                  10897 South River Front Parkway
                  Suite 150
                  South Jordan, UT 84095


                  Nedra Ball
                  21557 9 Mile Road
                  Reed City, MI 49677


                  Nedra Pike
                  1129 Wayne Ave
                  Defiance, OH 43512
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                  Neely Coble Company, Inc.
                  PO Box 100347
                  Nashville, TN 37224-0347


                  Neil Adams-Conroy
                  6348 3rd Avenue
                  Bangor, PA 18013


                  Neil Bertelsen
                  304 5th Street
                  Clarksville, VA 23927


                  Neil Carr
                  2550 Bowers Road
                  Lapeer, MI 48446


                  Neil Gonda
                  230 Patterson
                  Bolivar, PA 15923


                  Neil Heacock
                  416 West main st
                  McComb, OH 45858


                  Neil Jacobs
                  3928 26th Street
                  Dorr, MI 49323


                  NEIL JOHNSON
                  3230 Robina Ave
                  Berkley, MI 48072


                  Neil Madaczky
                  7806 Royalton Road
                  North Royalton, OH 44133


                  Neil Maley
                  7749 West 1000 South
                  Fortville, IN 46040


                  Neil Marquardt
                  42 W McMickmen Ave
                  Cincinnati, OH 45202
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                  Neil Reimbold
                  4445 Frost Ave NE
                  Grand Rapids, MI 49525


                  Neil Seibel
                  5505 Ohio 377
                  Chesterhill, OH 43728


                  Neil White
                  1307 North Hickory
                  Owosso, MI 48867


                  neil white
                  1214 devonshire ct
                  Owosso, MI 48867


                  Neil Young
                  220 Shady Nook
                  Hanover, IN 47243


                  Nekeisha Oxford
                  218 Ridgewood Ave
                  Pittsburgh, PA 15229


                  Nelda Herndon
                  609 26th Ave N
                  Texas City, TX 77590


                  Nelly Delph
                  2118 Gardner Rd
                  Hamilton, OH 45013


                  Nelly Zabala
                  888 Lexington St
                  Norfolk, VA 23504


                  Nelson (Todd) Myers
                  922 West Jackson Street
                  Covington, VA 24426


                  Nelson Dunn
                  1023 Boonville Rd
                  Jefferson City, MO 65109
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                  Nelson Hall
                  419 Valley Drive
                  Rustburg, VA 24588


                  Nelson Hiestand
                  11378 E G Ave
                  Galesburg, MI 49053


                  Nelson Howard
                  104 Tom Thomas Road
                  Williamsburg, VA 23188


                  Nelson Krueger
                  259 Elliott Hill Road
                  Portsmouth, OH 45662


                  Nelson Mayer
                  203 Laura Court
                  Jeannette, PA 15644


                  Nelson Ortiz
                  4512 Carsten Lane
                  North Olmsted, OH 44070


                  Nelson Quant
                  3314 Symphony Court
                  Fayetteville, NC 28312


                  Nelson Russell
                  453 Feather Falls Trail
                  Black Mountain, NC 28711


                  Nelson Sellers
                  36 West Kellogg Drive
                  Colbert, GA 30628


                  Nelson Williams
                  1074 lake greenwood dr
                  north augusta, SC 29841


                  Nelyda Varela
                  808 N Chatham Ave
                  Norton Shores, NC 27344
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                  Nephi Miller
                  228 Primrose Way
                  New Braunfels, TX 78132


                  Nesie Nichols
                  24610 Pressonville Road
                  Wellsville, KS 66092


                  Nestor Aponte
                  3696 W 130 St
                  Cleveland, OH 44102


                  Nestor Fermin
                  25996 Timberline Drive
                  Warren, MI 48091


                  Nestor Hernandez
                  11107 Sundown Ln
                  Charlotte, NC 28226


                  Nettie Williams
                  4125 Batesburg Dr
                  Hope Mills, NC 28348


                  Netty Carey
                  300 Oakridge Blvd
                  Lynchburg, VA 24502


                  Nevada Allen
                  PO BOX 192
                  New Market, IN 47965


                  Neville Archer
                  184 Riverside Drive
                  Detroit, MI 48215


                  Neville Edmonds
                  2383 Brunswick Dr
                  Alberta, VA 23821


                  New Branch Real Estate Advisors LLC Trus
                  167 Church St
                  Concord, NC 28025
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                  New Mexico Taxation and Revenue
                  PO Box 2527
                  Santa Fe, NM 87504-2527


                  New South Waste, Inc
                  PO Box 3549
                  West Columbia, SC 29171


                  Newark City Income Tax
                  P.O. Box 4577
                  Newark, OH 43058-4577


                  Newt Smith
                  8 Stephanies Rd
                  Hampton, VA 23666


                  ngeles Montiel
                  1743 36th Avenue
                  Stone Park, IL 60165


                  Nhat Ta
                  11361 Knightsbridge Lane
                  Fishers, IN 46037


                  Nhi Nguyen
                  42 Diggs Drive
                  Hampton, VA 23666


                  Nhung Pham
                  3424 Church Street
                  Covington, KY 41015


                  Nic Ney
                  7225 N. Dewitt Rd.
                  Saint Johns, MI 48879


                  Nic Rivera
                  5813 Lady Way
                  Hope Mills, NC 28348


                  Nicalas Lopez
                  16301 Happy Hill Road
                  South Chesterfield, VA 23834
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                  Nichele Mitchell
                  3006 Pine Lake Street
                  Niles, MI 49120


                  Nicholas "Nick" Rourke
                  648 South Hadley Road
                  Brandon Township, MI 48462


                  Nicholas Adamczyk
                  3121 Adams Road
                  Niles, MI 49120


                  Nicholas Avouris
                  7050 Eichelberger Dr
                  St. Louis,, MO 63123


                  Nicholas Bevens
                  362 Tarpine Valley Road
                  Rogersville, TN 37857


                  Nicholas Blachuciak
                  9448 Parkway Dr
                  Highland, IN 46322


                  Nicholas Blaha
                  4035 Fillmore Street
                  Georgetown Township, MI 49428


                  Nicholas Boden
                  2933 West 43rd Avenue
                  Kansas City, KS 66103


                  Nicholas Brezinski
                  4081 NC-39, Louisburg, NC, 27549
                  Henderson, NC 27549


                  Nicholas Brown
                  200 Countryview Lane
                  Auburn, MI 48611


                  Nicholas Canole
                  1901 N Salem Dr
                  Independence, MO 64058
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                  Nicholas D Parsons
                  2034 Candlewood Dr
                  Blakeslee, PA 18610


                  Nicholas Davis
                  4313 Pottertown Road
                  Murray, KY 42071


                  Nicholas Distasio
                  11276 Fredericksburg Turnpike
                  Woodford, VA 22580


                  Nicholas Dondzila
                  902 Township Rd 378
                  Steubenville, OH 43952


                  Nicholas Dubina
                  32 Cario Dr
                  Washington, PA 15301


                  Nicholas Foor
                  159 Plantation Rd
                  North, VA 23128


                  Nicholas Force
                  2910 Delta River Dr
                  Lansing, MI 48906


                  Nicholas Geeding
                  504 East Summit Street
                  Bolivar, MO 65613


                  Nicholas George
                  3168 Yellow Brick Dr.
                  Charlotte, MI 48813


                  Nicholas Godfrey
                  462 Triangle Road
                  Lexington, SC 29072


                  Nicholas Heiland & Jessica Thornton
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702
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                  Nicholas Hendricks
                  26 Liner St
                  Canton,, NC 28716


                  Nicholas Hillman
                  515 18th Street
                  Apollo, PA 15613


                  Nicholas Holland
                  1119 Hillcrest St
                  White Lake, MI 48386


                  Nicholas Holmes
                  3840 Barnes Lake Rd
                  Columbiaville, MI 48421


                  Nicholas Holton
                  610 W Rose City Rd
                  Rose City, MI 48654


                  Nicholas Hoschar
                  7026 Albion Falls Trail
                  Spring, TX 77379


                  Nicholas Johnson
                  2870 Fairview Rd
                  Andrews, NC 28901


                  Nicholas Kaminski
                  4326 Dumfries Road
                  Catlett, VA 20119


                  Nicholas Kekeocha
                  1410 Oliver Avenue
                  Chesapeake, VA 23324


                  Nicholas Langdon
                  3504 Jasperstone Ln
                  Pearland, TX 77581


                  Nicholas Lewakowski
                  3832 Summitt Dr
                  Kingsport, TN 37664
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                  Nicholas Lollie
                  53233 Woodbridge dr.
                  Shelby Township, MI 48316


                  Nicholas Lunsford
                  5077 County Road 48
                  Waterloo, OH 45688


                  nicholas maddy
                  854 Marion Pike
                  Coal Grove, OH 45638


                  Nicholas Matt
                  1208 Glen Ave
                  Henry, IL 61537


                  Nicholas McCarthy
                  4875 Aleda Avenue Southeast
                  Kentwood, MI 49508


                  Nicholas McDougal
                  10731 West Doric Circle
                  Palos Hills, IL 60465


                  Nicholas McKnight
                  2726 Royal Oak Dr
                  High Ridge, MO 63049


                  Nicholas Monaco
                  302 Choptank Dr
                  Chocowinity, NC 27817


                  Nicholas Morgan
                  818 West Oakview Drive
                  Peoria, IL 61615


                  Nicholas Morrow
                  5737 Carmack Rd
                  Chattanooga, TN 37343


                  Nicholas Novosel
                  4001 Grove Branch Trail
                  Walshville, IL 62091
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                  Nicholas Nye
                  144 John Drive
                  Canonsburg, PA 15317


                  nicholas pez
                  826 Krupp Dr
                  Fayetteville, OH 45118


                  Nicholas Robinson
                  316 Granite Cove Court
                  Rolesville, NC 27571


                  nicholas schlachter
                  5703 Peet Road
                  Chesaning, MI 48616


                  Nicholas Schuld
                  8201 Royalview Dr
                  Parma, OH 44129


                  Nicholas Schweiger
                  37264 Weber Road
                  Richmond, MI 48062


                  Nicholas Sipes
                  7722 South Peoga Road
                  Trafalgar, IN 46181


                  Nicholas Skjerseth
                  848 Newport Bay Drive
                  Edwardsville, IL 62025


                  Nicholas Soper
                  58071 Sunflower Cir S
                  New Hudson, MI 48165


                  Nicholas Sturgill
                  324 Rurel Court
                  Burlington, KY 41005


                  Nicholas Thommen
                  23501 Hill Ave
                  Warren, MI 48091
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                  Nicholas VanderJagt
                  820 Arrowleaf Ct
                  Chesapeake, VA 23323


                  Nicholas Vinez
                  262 Longs Chapel Road
                  Weaverville, NC 28787


                  Nicholas Winters
                  1838 Mud Run Rd SE
                  New Philadelphia, OH 44663


                  Nicholas Wittman
                  16752 liberty ridge road
                  Grafton, IL 62037


                  Nicholas York
                  1790 York Road
                  Jacksonville, IL 62650


                  Nicholas Zientarski
                  11517 Van Lopik Ave
                  Grand Haven, MI 49417


                  Nicholaus King
                  2400 Richmond Road
                  Amelia Court House, VA 23002


                  Nicholaus Knecht
                  620 Brompton Ct
                  Noblesville, IN 46060


                  Nichole Beguhl
                  6432 Berridge Dr
                  Wilmington, NC 28412


                  Nichole Georg 2nd home
                  671 Wards Corner Road
                  Loveland, OH 45140


                  Nichole George
                  606 Oak St
                  Loveland, OH 45140
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                  Nichole Krist
                  4422 Walton Ave
                  Grand Rapids, MI 49548


                  Nichole Laurencin
                  8739 Mayfair St
                  Taylor, MI 48180


                  Nichole Schoolcraft
                  308 Green Hollow Lane
                  Sandston, VA 23150


                  Nichole Seabolt
                  2303 Winchester Avenue
                  Middlesboro, KY 40965


                  Nicholle Pankuch
                  311 Woodcroft Road
                  Baden, PA 15005


                  Nick Alvarez
                  44 Pat Way Ln
                  Lillington, NC 27546


                  Nick Applegarth
                  14849 OH-152
                  Toronto, OH 43964


                  Nick Bader
                  8400 Concord Road
                  Grosse Ile Township, MI 48138


                  Nick Beard
                  6378 North 300 East
                  Whiteland, IN 46184


                  Nick Birchmeier
                  9342 Genesee Street
                  New Lothrop, MI 48460


                  Nick Burg
                  9 Boyd Dr
                  Stafford, VA 22556
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                  Nick Carroll
                  2036 Shurley Road
                  Eldorado, OH 45321


                  Nick Casterline
                  3164 Baldwin St
                  Hudsonville, MI 49426


                  Nick Colonna
                  2646 Wildflower Lane
                  Greenwood, IN 46143


                  Nick Curran
                  409 Hutchison St
                  Oswego, IL 60543


                  Nick Curran
                  409 Hutchinson
                  Oswego, IL 60543


                  Nick DiDonato
                  7841 Lagenaria Dr
                  Angier, NC 27501


                  Nick Dillow
                  2265 Lick Creek Road
                  Anna, IL 62906


                  Nick Dukeshire
                  6690 Rauch Rd
                  Petersburg, MI 49270


                  Nick Elam
                  15411 Bainbridge St
                  Livonia, MI 48154


                  Nick Esper
                  30236 Ann Arbor Trail
                  Westland, MI 48185


                  Nick Felice
                  1315 Oaklawn Drive
                  PONTIAC, MI 48341
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                  Nick Ford
                  13851 Grass Lake Road
                  Camden, MI 49232


                  Nick Girod
                  116 George Street
                  Convoy, OH 45832


                  Nick Gitgood
                  490 Brock Rd
                  Chickamauga, GA 30707


                  Nick Good
                  43 West Lewis Street
                  Struthers, OH 44471


                  Nick Greene
                  1707 Barbee Rd
                  Shelby, NC 28150


                  Nick Gucwa
                  870 Elm St
                  Bad Axe, MI 48413


                  Nick Hall
                  52 Green Oaks Road
                  Newport News, VA 23601


                  Nick Hayhoe
                  528 E South St
                  Mason, MI 48854


                  Nick Heiland
                  4309 Brookdale dr
                  cincinnati, OH 45211


                  Nick Johnson
                  8504 Fieldstream Drive
                  Stokesdale, NC 27357


                  Nick Kelly
                  6790 Bessie Watson Ln
                  Manassas, VA 20112
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                  Nick Kennedy
                  21478 Valle Dr
                  Meadville, PA 16335


                  Nick Kucnic
                  1710 Greeley Street
                  Bear Lake, PA 16402


                  Nick Lemley
                  3336 West Nickajack Road
                  Ringgold, GA 30736


                  Nick Marino
                  2036 Meadowdale Dr NW
                  Grand Rapids, MI 49504


                  Nick Merillat
                  1269 Buckingham Ct
                  Adrian, MI 49221


                  Nick Nance
                  4077 North Co Road 800 West
                  Frankton, IN 46044


                  Nick Neuhardt
                  6996 castlewood dr
                  Carroll, OH 43112


                  Nick Novellino
                  407 Berry Ridge Ln
                  Suffolk, VA 23435


                  Nick Olson
                  635 W Twelfth St.
                  Traverse City, MI 49685


                  Nick Owens
                  208 Danford Rd Bolivia, NC 28422
                  bolivia, NC 28422


                  Nick Pappas
                  25053 Cashel Bay Road
                  Manhattan, IL 60442
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                  Nick Pawlak
                  7240 West 93rd Street
                  Zionsville, IN 46077


                  Nick Penaloza
                  372 Gray Fox Lane
                  Lancaster, SC 29720


                  Nick Pendleton
                  5212 Wayne Madison Rd
                  Trenton, OH 45067


                  Nick Piazza
                  17307 Sandy Cliffs Dr
                  Houston, TX 77090


                  Nick Presson
                  401 West Chicago Boulevard
                  Tecumseh, MI 49286


                  Nick Rathbun
                  1625 Belle Meade Road
                  Bells, TN 38006


                  Nick Riazzi
                  6068 Daggett Road
                  Girard, PA 16417


                  Nick richie
                  310 Berry Ave
                  Ashland, KY 41102


                  Nick Ross
                  16031 Dunn Street
                  Amelia Court House, VA 23002


                  Nick Roster
                  4430 Foxfire Dr
                  Traverse City, MI 49684


                  Nick Rothwell
                  56012 Ruggles Rd
                  Three Rivers, MI 49093
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                  Nick Saliba
                  9022 Linksvue Dr
                  KNOXVILLE, TN 37922


                  Nick Schmidt
                  33031 Lynx St
                  Westland, MI 48185


                  Nick Schroeder
                  7350 Crestline Rd
                  Crestline, OH 44827


                  Nick Sells
                  21536 Parkway St
                  Saint Clair Shores, MI 48082


                  Nick Shreiber
                  660 High Shoals Dr
                  Dahlonega, GA 30533


                  Nick Simopoulos
                  4431 Robinwood Avenue
                  Royal Oak, MI 48073


                  Nick Speelman
                  3051 Hamilton Ave
                  Columbus, OH 43224


                  Nick Stockwell
                  101 Valley Drive
                  Dittmer, MO 63023


                  Nick Terwilliger
                  113 Norwich Court
                  La Vergne, TN 37086


                  Nick Tomilenko
                  3800 lakeshore rd
                  Deckerville, MI 48427


                  Nick Triantafillou
                  4827 Milligan Road
                  Lowellville, OH 44436
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                  Nick Tsalapatasam
                  6935 Kane Rd
                  Transfer, PA 16154


                  Nick Wettling
                  3501 Williams Dr
                  Kokomo, IN 46902


                  Nick Whitehead
                  6089 S Whiteville Rd
                  Mt Pleasant, MI 48858


                  Nick Wilchewsky
                  17807 Co Rd 18
                  Goshen, IN 46528


                  Nick Wilhelm
                  4937 Bassett rd
                  Atwater, OH 44201


                  Nick Wolf
                  7687 Deercreek Drive
                  Columbus, OH 43085


                  Nick Wright
                  329 Redbud Rd
                  Dexter, KY 42036


                  Nickie Bruner
                  433 Cass Drive
                  Troy, MO 63379


                  Nicklous Sparks
                  1399 Lees Chapel Rd
                  Albany, KY 42602


                  Nicola Ffrench
                  5905 South Sharon Church Rd.
                  Loganville, GA 30052


                  Nicolas Brown
                  39 Banister Drive
                  Hampton, VA 23666
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                  Nicolas Carter
                  890 Roslin Road
                  Benton Harbor, MI 49022


                  Nicolas Carvajal
                  7217 Beaverwood Dr
                  Releigh, NC 27616


                  Nicolas Clark
                  214 West Arlee Avenue
                  St. Louis, MO 63125


                  Nicolas hogan
                  308 Deepwoods
                  Saint Clair, MO 63077


                  Nicolas Kennedy
                  315 Main Street
                  Quincy, OH 43343


                  Nicolas Martin
                  943 Davis Street
                  Ypsilanti, MI 48198


                  Nicolas Mikhael
                  225 Parrish Lane
                  Carthage, NC 28327


                  Nicolas Verrill
                  12771 150th Avenue
                  Big Rapids, MI 49307


                  Nicole Albright
                  301 Court Street Southeast
                  Kalkaska, MI 49646


                  Nicole Amos
                  2052 3 Oaks Road
                  Wirtz, VA 24184


                  Nicole Barfield
                  141 Edward Street
                  Branchville, SC 29432
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                  Nicole Barraia
                  11114 E H J Ave
                  Galesburg, MI 49053


                  Nicole Baumgardner
                  7017 Gibbs Drive
                  Spotsylvania, VA 22551


                  Nicole Brandon
                  322 Providence Lane
                  Martinsville, VA 24112


                  Nicole Brimer
                  224 Apple Orchard Road
                  Louisa, VA 23093


                  Nicole Brown
                  614 174th Ave
                  Spring Lake, MI 49456


                  Nicole Chupp
                  31585 Michigian Ave
                  Leonidas, MI 49066


                  Nicole Cordova
                  17411 Le Master Road
                  Petersburg, VA 23803


                  Nicole Cousineau
                  22535 Pennsylvania Rd
                  Brownstown, MI 48193


                  Nicole Gillette
                  6421 Shippy Road
                  South Boardman, MI 49680


                  Nicole Hills
                  1016 Cindy Jo Court
                  Clarksville, TN 37040


                  Nicole Hooghkirk
                  575 Wagon Trail Rd
                  Monroe, VA 24574
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                  Nicole Jones
                  9663 Ellis Rd
                  Village of Clarkston, MI 48348


                  Nicole Kenyon
                  205 Swarthmore Dr
                  Lititz, PA 17543


                  Nicole Kibert Basler
                  205 Norwood Avenue Northeast
                  Atlanta, GA 30317


                  Nicole Kirkland
                  686 Fox River Dr
                  Bloomfield Hills, MI 48304


                  Nicole L Porter
                  5439 Shepper Road
                  Stockbridge, MI 49285


                  Nicole Langmesser
                  13052 Dunn Road
                  Memphis, MI 48041


                  Nicole Larson
                  1204 N Liberty-Keuter Rd
                  Lebanon, OH 45036


                  Nicole Lewis
                  3075 Salem RD
                  Spout Spring,, VA 24593


                  Nicole Malone
                  1955 E Fork Rd
                  New Vienna, OH 45159


                  Nicole Marr
                  4674 Granada Dr
                  Hillsboro, MO 63050


                  Nicole Massie
                  251 Smokey Row Road
                  Patriot, OH 45658
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                  Nicole Randall
                  3200 May Street
                  Pittsburgh, PA 15234


                  Nicole Rasmussen
                  7878 7 Mile Road
                  Northville, MI 48167


                  Nicole Reed
                  10245 Talladay Road
                  Willis, MI 48191


                  Nicole Richards
                  2140 Glasgow Drive
                  Bushkill, PA 18324


                  Nicole Shore
                  4490 Wedge Dr.
                  Pfafftown, NC 27040


                  Nicole Sladich
                  20078 Herzog Dr
                  Rockwood, MI 48173


                  Nicole Thomas
                  7088 East David Highway
                  Lyons, MI 48851


                  Nicole Tsai
                  7205 East 134th Circle
                  Grandview, MO 64030


                  Nicole Venanzi
                  1045 St Andrews Road
                  Kernersville, NC 27284


                  Nicole Whetstone
                  8629 Pasture Southeast
                  Caledonia, MI 49316


                  Nicole Wray
                  6685 Hearth Court
                  Rex, GA 30273
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                  Nicolette Brown
                  23390 County Road B50
                  Stryker, OH 43557


                  Nicolette Darkangelo
                  1313 Virginia Trail
                  Youngstown, OH 44505


                  Nicolette Leigh
                  3306 Nazareth Rd
                  Kalamazoo Township, MI 49048


                  Niema Washington
                  3531 Skyview Lane
                  Cincinnati, OH 45213


                  nigeL ELCOCK
                  2876 Garfield Lane
                  Trevose, PA 19053


                  Nigel Johnson
                  239 Northpark DR W
                  East Stroudsburg, PA 18302


                  Nigel Thomas
                  307 Maplehurst Drive
                  Jacksonville, NC 28540


                  Nii Ankrah
                  4018 Singletree Ln
                  Indian Trail, NC 28079


                  Nik Donges
                  1426 Glenwood Court;
                  Amelia, OH 45102


                  Nikia Cummins
                  2111 East National Highway
                  Washington, IN 47501


                  Nikita Wright
                  22281 Bunker Hill Road
                  Sugar Grove, OH 43155
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                  Nikki Deel
                  9741 Tinsley Lane
                  Bent Mountain, VA 24059


                  Nikki James
                  111 Bay Court
                  Eatonton, GA 31024


                  Nikki Krom
                  890 W 700 N
                  North Manchester, IN 46962


                  Nikki Reynolds
                  54490 M-66
                  Mendon, MI 49072


                  Nikki Schlaud
                  2269 Miller Rd
                  Metamora, MI 48455


                  Nikki Scott
                  1535 North 18th Street
                  St. Louis, MO 63106


                  Niko Elder
                  7735 Governors Ln
                  Douglasville, GA 30134


                  Nikolas Garhartt
                  5973 Lockamy Lane
                  Norfolk, VA 23502


                  Nikolas Manthei
                  507 W Dixon St
                  Polo, IL 61064


                  NILDA JORDAN
                  1408 Minter Road
                  Chester, SC 29706


                  Nilo Verde
                  12317 Chinquapin Street
                  Cassville, MO 65625
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                  Nilsa Johnson
                  3 Loblolly Court
                  Pinehurst, NC 28374


                  Nimrod L pez
                  26997 Jackson Road
                  South Bend, IN 46619


                  Nina Campbell
                  704 Miner Street
                  Ann Arbor, MI 48103


                  Nina Campbell
                  5520 Spoke Ct
                  Ampthill, VA 23234


                  Nina Honeycutt
                  4195 Heathcliff Road
                  Concord, NC 28025


                  Nina Klooster
                  1438 West 700 North
                  Lake Village, IN 46349


                  Nina Vanwey
                  7269 Claybeck Drive
                  Huber Heights, OH 45424


                  Nina Webb
                  250 Shawnee Rd
                  Newport, TN 37821


                  Ninette Miller
                  66 Zipp Road
                  Hillsboro, MO 63050


                  Ninon Henry
                  1093 Valencia Ct
                  Virginia Beach, VA 23454


                  Nirmal Sakthi
                  4428 Hungary Glen Terrace
                  Richmond, VA 23294
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                  Nirvana Grant
                  82 Thise Court
                  Lafayette, IN 47905


                  Nita Dye
                  15 Archers Fork Rd
                  Reno, OH 45773


                  Nitia Bettinger
                  23 Winthrop Rd
                  Columbus, OH 43214


                  Nitin Kanade
                  12348 folkstone dr
                  Herndon, VA 20171


                  Noah Buchanan
                  2923 Pisgah Dr
                  Canton, NC 28716


                  Noah Graydon
                  347 Linden dr
                  Danville, VA 24541


                  Noah Jones jr
                  1149 East 170th Street
                  Cleveland, OH 44110


                  Noah Kettman
                  7795 North Alton Avenue
                  Indianapolis, IN 46268


                  Noah Laws
                  1450 Inverness Dr
                  Adrian, MI 49221


                  Noah Ruckman
                  2331 Apache Dr
                  Lafayette, IN 47909


                  Noah Yoder
                  2024 North Street
                  Wakeman, OH 44889
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                  Noble Johnsono
                  152 Old Dyer-Trenton Road
                  Dyer, TN 38330


                  Noe Lagunes
                  189 Hazel St
                  Battle Creek, MI 49037


                  Noe Sambrano
                  104 Westwood Lane
                  Elkin, NC 28621


                  Noel Duncan
                  1876 Blairmore Road
                  Blandinsville, IL 61420


                  Noel Gener
                  3890 Aquarina St
                  Waterford Twp, MI 48329


                  Noel Hansel
                  1950 Old Rex Morrow Rd
                  Morrow, GA 30260


                  Noel Lorenzo
                  588 Mountain Road
                  Albrightsville, PA 18210


                  Noel Rivera
                  2334 Columbia Ave
                  Lancaster, PA 17603


                  Noel Schraufnagel
                  3450 Pontiac Dr
                  Columbus, GA 31907


                  Noel Spencer
                  405 Booth Ln
                  Dayton, TN 37321


                  Noel Thompson
                  308 West Washington Street
                  Morocco, IN 47963
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                  Noelle Cambas
                  5004 Leatherback Rd
                  Woodbridge, VA 22193, VA 22193


                  Noelle Kuklo
                  13840 Rd 43
                  Antwerp,, OH 45813


                  Noelle Singleton
                  701 East John Street
                  Knox, IN 46534


                  Noemi Binagatan
                  6441 Staple Rd
                  Twin Lake,, MI 49457


                  Noemi Guadalupe Collazo
                  2148 Crehore Street
                  Lorain, OH 44052


                  Nola Lee
                  2537 Woodstock Dr
                  Detroit, MI 48203


                  Nola Thomas
                  3055 Charing Cross Rd
                  Ann Arbor, MI 48108


                  Nolan Ayer
                  5545 KY-250
                  Calhoun, KY 42327


                  Nolan Estell
                  5911 Sandypine ct
                  Spring, TX 77379


                  nolen trueblood
                  238 Gallop Drive
                  Lafayette, IN 47905


                  Nolt Snyder
                  510 N Ottawa St
                  St Johns, MI 48879
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                  Nonnie Myers
                  9304 Hollansburg-Sampson Rd
                  Arcanum, OH 45304


                  Nor Thivarat
                  585 McLeod Rd.
                  Mount Gilead, NC 27306


                  Nora Burrows
                  6157 Burning Tree Ln
                  Fayetteville, PA 17222


                  Nora de Triquet
                  1606 Ridgehaven Rd
                  Richmond, VA 23229


                  Nora Peischl
                  401 Messinger Street
                  Bangor, PA 18013


                  Nora Zaragoza
                  1300 Carbon St
                  Fremont, OH 43420


                  Norbert Schmitt
                  5025 Stableton Drive
                  Mason, OH 45040


                  Norbert Scholle
                  2058 Blodgett Street
                  Muskegon, MI 49441


                  Noreen Cole
                  5098 S Fenton Rd
                  Fenton, MI 48430


                  Noreen McGuire
                  5337 Durwood Dr
                  Swartz Creek, MI 48473


                  Noreen Nortier
                  3110 Strawberry Lane
                  Port Huron, MI 48060
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                  Noreen Paeth
                  6117 North 2250W Road
                  Bourbonnais, IL 60914


                  Noreen Zastrow
                  3890 S Patterson Rd
                  Hemlock, MI 48626


                  Norene Nelson
                  915 Beechville Rd
                  Edmonton, KY 42129


                  Norine Clark
                  5044 Maple Island Rd
                  Ravenna, MI 49451


                  Norkys medina
                  68 Buckleigh Drive
                  clayton, NC 27527


                  Norm Drogmiller
                  5118 Sandra Drive
                  Toledo, OH 43613


                  Norm King
                  661 South 220th Avenue
                  Reed City, MI 49677


                  Norm Mueller
                  151 Rothart Drive
                  New Brighton, PA 15066


                  Norm/ Michelle Molitor Charleville
                  212 Boulder Point Drive
                  St. Peters, MO 63376


                  Norma Alvarenga
                  137 lidio rd
                  blakelsee, PA 18610


                  Norma Andrews
                  3011 Carter Rd
                  Dansville, MI 48819
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                  Norma Bryant
                  616 Yondota St
                  Toledo, OH 43605


                  Norma Eggleston
                  3451 Herbert St
                  Norfolk, VA 23513


                  Norma Jean Wade
                  19012 Norwich Rd
                  Livonia, MI 48152


                  Norma Kost
                  220 Glen Eden Road
                  Rochester, PA 15074


                  Norma Ruehl
                  1115 Scatterfield Road
                  Anderson, IN 46012


                  Norma Stevens
                  6633 Costner Dr
                  Falls Church, VA 22042


                  Norma Waldsmith
                  710 Longbranch Rd
                  Grover, NC 28073


                  Norman Alford
                  104 Finley Street
                  Hendersonville, NC 28739


                  Norman Baker
                  96 S 250 W
                  Greenfield, IN 46140


                  Norman Bossert
                  188 Ingley road
                  Pisgah Forest, NC 28768


                  Norman Case
                  917 Cricket KnollRd
                  Fuquay Varina, NC 27526
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                  Norman Cremeans
                  1315 Holly Creek Rd
                  Greeneville, TN 37745


                  Norman Cutaway
                  1849 Shytle LN
                  YORK, SC 29745


                  Norman Eva
                  10525 Morehead Drive
                  Chester, VA 23831


                  Norman Galbraith
                  225 Grand Avenue
                  Perryville, MO 63775


                  NORMAN GARRISON
                  716 Sugar Maple Lane
                  Harrisonburg, VA 22801


                  Norman Gear
                  3760 Hulett Road
                  OKEMO, MI 48864


                  Norman Gray
                  3000 Sugar Grove Road
                  Christiansburg, VA 24073


                  Norman Green
                  1260 Paramount Court
                  Hephzibah, GA 30815


                  Norman Grigsby
                  3600 Fawn Ct
                  Elida, OH 45807


                  Norman Harris
                  204 Grant Ct
                  Selma, NC 27576


                  Norman Hornstein
                  1861 Reidsville Rd
                  Southport, NC 28461
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                  Norman L. Carter
                  10554 Egypt Pike
                  Clarksburg, OH 43115


                  Norman Middy
                  2690 N Malta Hill Rd NW,
                  Malta, OH 43758


                  Norman Neman
                  5511 jackson st
                  pittsburg, PA 15206


                  Norman Pearson
                  8411 Pleasant Hill Road
                  Lithonia, GA 30058


                  Norman Rizor
                  4401 Greenridge Ln
                  Linden, MI 48451


                  Norman Roller
                  3850 W Loch Alpine Dr
                  Ann Arbor, MI 48103


                  Norman Sadler
                  700 Royal Cresent Dr
                  Richmond, VA 23236


                  Norman Selinas
                  449 Westchester Drive
                  Akron, OH 44333


                  Norman Swan
                  5889 Michigan 18
                  Beaverton, MI 48612


                  norman talley
                  1215 seventh street virgilina va
                  Virgilina, VA 24598


                  Norman Taylor
                  1300 Lester Dr
                  Charlottesville, VA 22901
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                  Norman Webber
                  7292 Powlesland Avenue
                  Temperance, MI 48182


                  Norman Weyant
                  1981 Corner Stone Rd
                  Friedens, PA 15541


                  Norman Zellers
                  5740 US-6
                  Vickery, OH 43464


                  Normandy Place LLC
                  C/O KELLEY COMMERCIAL PARTNERS
                  LITTLE ROCK, AR 72201


                  Normandy Place, LLC
                  425 West Capitol Ave, Suite 300
                  Little Rock, AR 72201


                  North Carolina Department of Revenue
                  P.O. Box 25000
                  Raleigh, NC 27640-0640


                  Northside Grill
                  1015 Broadway Street
                  Ann Arbor, MI 48105


                  Norward Carter
                  9701 State Road 46
                  Bloomington, IN 47401


                  Noushad Naqvi
                  24258 Thatcher Court
                  Novi, MI 48375


                  Nouy Chaleunsinh
                  1305 Beacons Reach Drive
                  Virginia Beach, VA 23454


                  Nova Conover
                  5600 Vancouver St
                  Detroit, MI 48204
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                  Noviegbo Sowu
                  1630 Adrian Dr
                  Riverdale, GA 30296


                  NTA, Inc.
                  P.O. Box 508
                  Mooresville, NC 28115


                  Nu Tran
                  3422 76th Street Southeast
                  Caledonia, MI 49316


                  Nutayi Toyon
                  36 plum branch trace
                  Dallas, GA 30157


                  Nyamekye Paintsil
                  29753 Guy St
                  Southfield, MI 48076


                  Nydia Green
                  202 Skimino Rd
                  Williamsburg, VA 23188


                  Oakstar Properties LLC
                  8319-201 Six Forks Rd
                  RALEIGH, NC 27615


                  Oakstar Properties, LLC
                  8319-201 Six Forks Rd
                  Raleigh, NC 27615


                  Obed Maburuki
                  4502 Hutton Road
                  Knoxville, TN 37912


                  Obed Nketiah
                  3037 Aaron Drive
                  Chesapeake, VA 23323


                  Obed Piang
                  6370 Crimson Circle West Drive
                  Indianapolis, IN 46227
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                  Oceanwind Rainbowsnowsong
                  712 Newman St
                  Angleton, TX 77515


                  Octaviano Ximil
                  8147 Deodora Cedar Ln
                  Charlotte, NC 28215


                  Octavio Galindo
                  22618 Twelve Mile Road
                  St. Clair Shores, MI 48081


                  Octavius Scurlock
                  114 Colina Vista Way
                  Montgomery, TX 77316


                  Octavius Stith
                  7500 Brookshire Dr
                  Prince George, VA 23875


                  Odaliz Baez
                  6815 Colgate Avenue
                  Cleveland, OH 44102


                  Odalys Rosado
                  9435 Burnette Street
                  Detroit, MI 48204


                  Odessa Roberts
                  1417 East Little Bear Road
                  Connersville, IN 47331


                  Odester Watson
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                  Clarksville, TN 37042


                  Offix
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                  Gainesville, VA 20155


                  Ohio Bureau Of Workers
                  PO Box 89492
                  Cleveland, OH 44101-6492
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                  Ohio Department of Taxation
                  P.O. Box 181140
                  Columbus, OH 43218-1140


                  Ola Opaleye
                  35 Kiowa Lane
                  Palmyra, VA 22963


                  Oladoyin Ogundayomi
                  8624 Wheatfield Dr
                  Indianapolis, IN 46113


                  Olaf Shafer
                  94 Swan Run Dr
                  Bruceton Mills, WV 26525


                  Olaf Vonramm
                  4718 Harmony Church Rd
                  Efland, NC 27243


                  Olatunbosun Okediji
                  8124 Fivespot Ln
                  Cartersburg, IN 46168


                  Olawale Kehinde
                  8205 Lupine Dr.
                  plainsflied, IN 46168


                  Oleg Vasilizhenko
                  1241 Serenity Ln
                  Worthington,, OH 43085


                  Olga Oppermann
                  235 Crawford Rd
                  Coats, NC 27521


                  Oliver Bolin
                  15895 Loving Union Road
                  Disputanta, VA 23842


                  Oliver Collins
                  20450 Wilmot Road
                  Belleville, MI 48111
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                  Oliver Connally
                  103 Rodset Ct
                  Suffolk, VA 23434


                  Oliver Felder Jr.
                  17040 Sarah Street
                  Bowling Green, VA 22427


                  Oliver Holmes
                  118 Eastminster Drive
                  Verona, PA 15147


                  Oliverymaribel Deortiz
                  1590 Keystone Dr
                  Salsberry, NC 28147


                  Olivia Bruce
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                  Olivia Davis
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                  Durham, NC 27704


                  Olivia Dorothy
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                  East Moline, IL 61244


                  Olivia Rasquiza
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                  Olivier Clarisse
                  681 Kenmare Drive
                  Des Plaines, IL 60016


                  Olthea Croom
                  651 Field Crossing Ct
                  Winston-Salem, NC 27107


                  Olubunmi Ariwajoye
                  101 S Morrison St
                  Raymore, MO 64083
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                  Olusoji Okeowo
                  1734 Hill Street Northeast
                  Conyers, GA 30012


                  Oluwafemi Babayemi
                  1722 Pele Place
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                  62 Angel Oak Drive
                  Bunnlevel, NC 28323


                  Om Siwakoti
                  5820 Wallace Avenue
                  Bethel Park, PA 15102


                  Omar Arambula
                  4840 Tod Ave
                  East Chicago, IN 46312


                  omar mombille
                  231 Macduff Lane
                  Weaverville, NC 28787


                  Omar Montoya
                  8283 U.S. 27
                  Ridgeville, IN 47380


                  Omar Olivar
                  14956 Front Street
                  Caledonia, IL 61011


                  Omari Gaskins Sr.
                  4849 Pennswood Dr,
                  Dayton, OH 45424


                  Omega Holland
                  904 Apple Grove Lane
                  Richmond, VA 23223


                  Omer Hogsett
                  22700 County Road 2300 North
                  Topeka, IL 61567
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                  Omer Munshi
                  4815 Harvest Chase Ln
                  Sugar Land, TX 77479


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                  25 W Central Ave
                  Asheville, NC 28806


                  Ondrae Dickens
                  916 Bickerton Ct
                  Newport News, VA 23608


                  Oneil Wellington
                  1620 Gaff Road
                  Chesapeake, VA 23321


                  Ophelia Munn
                  927 Graham Rd
                  Riegelwood, NC 28456


                  Oracle Netsuite
                  Bank Of America Lockbox Services
                  15612 Collections Center Dr.
                  Chicago, IL 60693


                  Oregon City Income Tax
                  5330 Seaman Road
                  Oregon, OH 43616-2633


                  Oren Snyder
                  746 Beaumont Dr NW
                  Grand Rapids, MI 49504


                  Oried Graves
                  5821 Bernhowe Manor Lane
                  Suffolk, VA 23435


                  Orin Brown
                  428 Ashton Green Boulevard
                  Newport News, VA 23608
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                  Oris Mobley
                  15271 Parkers Grove Road
                  Morning View, KY 41063


                  Orlando Adams
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                  Wentzville, MO 63385


                  Orlando Castromayor
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                  Virginia Beach, VA 23464


                  Orlando Fraley
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                  Fairburn, GA 30213


                  Orlando Fuentes
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                  Mechanicsburg, OH 43044


                  ORLANDO GARCIA
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                  Fort Wayne, IN 46803


                  Orlando Lewis
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                  Toledo, OH 43607


                  Orlando Luna Aldana
                  8410 Smoketree Cir
                  Ooltewah, TN 37363


                  orlando Moore
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                  Canton, GA 30114


                  orlando moorer
                  71 Floral Ave
                  Mount Clemens, MI 48043


                  Orlando Rico
                  505 Mahan Avenue
                  Wharton, TX 77488
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                  Orney Walker
                  3662 Harmann Estates Drive
                  Bridgeton, MO 63044


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                  1407 Gray Meadow Dr
                  Columbus, OH 43223


                  Orrin Kunkler
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                  Junction City, OH 43748


                  Orval Lehman
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                  Linville, VA 22834


                  Orval Page
                  3013 Ferguson Drive
                  Portsmouth, VA 23703


                  Orville Sine
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                  Jacksonville, NC 28540


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                  Osama Saleh
                  8036 Summerlin Blvd
                  Liberty Township, OH 45044


                  Osbaldo Regalado
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                  Ligonier, IN 46767


                  Osbin Perdomo-Rosales
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                  Linwood, NC 27299


                  Oscar Aleman
                  221 Splintered Arrow Dr
                  La Marque, TX 77568
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                  Oscar Barton
                  218 Dunn Street
                  Eden, NC 27288


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                  Oscar Lopez
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                  Cameron, TX 76520


                  Oscar Miller
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                  Jackson, OH 45640


                  Oscar Vega
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                  Osvaldo Reyes
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                  Newton, NC 28658


                  Othell Johnson
                  23554 Shake Rag Road
                  Danville, IL 61834
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                  Otis Fleming
                  2824 Queenswood Drive
                  Cincinnati, OH 45211


                  Otis Hallbright
                  2722 Zakary Ct
                  Spring Hill, TN 37174


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                  47305 Sunnybrook Lane
                  Novi, MI 48374


                  ottis pagett
                  856 Hook Rd
                  Xenia, OH 45385


                  Ottoniel Larios
                  1013 Johnstons Rd
                  Norfolk, VA 23513


                  Ottoniel Larios
                  1013 Johnstons
                  Norfolk, VA 23513


                  Ousman Kamara
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                  Southfield, MI 48075


                  Ovel Ortiz
                  34 Larch Lane
                  Albrightsville, PA 18210


                  Owen Geiger
                  111 West North Street
                  Wyanet, IL 61379


                  Owen HIGGINS jR HIGGINS
                  2592 Cold Spring Rd
                  Lansdale, PA 19446


                  Owen Hills
                  103 King St
                  Jacksonville, NC 28540
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                  Owen Seibel
                  1210 Leclaire Court
                  O'Fallon, IL 62269


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                  108 Hanback Road
                  Gordonsville, VA 22942


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                  Steger, IL 60475


                  Ozey Thorpe
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                  Tarboro, NC 27886


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                  New Boston, MI 48164


                  P Sal
                  301 Marquette Drive
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                  Waterfall,3652
                  SOUTH AFRICA


                  Paapa Yeboah
                  1098 Goldeneye Dr
                  blacklick, OH 43004
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                  Pablo Abreu
                  35 Michael Ct
                  Erwin, NC 28339


                  Pablo Cruz
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                  Lorain, OH 44055


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                  Kernersville, NC 27284


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                  Iron Station, NC 28080


                  Pablo Martinez
                  4715 Ballast Drive
                  Kings Grant, NC 28405


                  Page Goffigon
                  4402 Marengo Rd
                  La Crosse, VA 23950


                  Paige Osterman
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                  Fort Wayne, IN 46818


                  Paige Tiller
                  476 Booher Drive
                  Bristol, TN 37620


                  Paige Tremblay
                  777 Barrington Road
                  Grosse Pointe Park, MI 48230


                  Paige Young
                  15376 E Erie Rd
                  Albion, MI 49224


                  Pam Adams
                  28615 49th Ave
                  Paw Paw, MI 49079
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                  Pam Allen
                  1676 Spout Springs Rd SW
                  Cave Spring, GA 30124


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                  1038 Turbeville Road
                  Alton, VA 24520


                  Pam Boswell
                  602 Tillman Territory Road
                  Ninety Six, SC 29666


                  Pam Bumgarner
                  28280 Kinney Pike
                  Richwood, OH 43344


                  Pam Coloton
                  5083 Narrow Passage Rd
                  Buchanan, VA 24066


                  Pam Cupac
                  510 4th St
                  Beaver Falls, PA 15010


                  Pam Dearing
                  49055 Judd Road
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                  Pam Ebert
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                  O'Fallon, MO 63368


                  Pam Fulwider
                  1133 Longtown Road
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                  Pam Gainey
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                  Taylors, SC 29687


                  Pam Gemmill
                  102 Crandol Dr
                  Yorktown, VA 23693
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                  pam Goldsmith
                  539 S Goshen Rd
                  Scottsburg, IN 47170


                  Pam Graves
                  51600 Old Route 50
                  Londonderry, OH 45647


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                  205 Oakhill Dr
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                  Pam Lewis
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                  Goshen, IN 46526


                  Pam Marshall
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                  Pam Moffat
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                  Pam Pray
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                  Pam Redditt
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                  Pam Sawhney
                  3618 Walbri Dr
                  Bloomfield Hills, MI 48304


                  Pam Sims
                  30 Barneston Rd
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                  Pam Smith
                  180 Stokes Ct
                  Branchville, SC 29432


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                  Hermitage, PA 16148


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                  Pamela Brandt
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                  Pamela Cardiel
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                  Pamela Chandler
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                  Dalzell, SC 29040


                  Pamela Colemon
                  3238 Springside Ridge
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                  Pamela Dancy
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                  Mount Union, PA 17066


                  Pamela Fuller
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                  Pamela Gaylord
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                  Pamela Kampeter
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                  Pamela Miller
                  146 Mountain View Rd
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                  Pamela Modisher
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                  Pamela Niemi Partin
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                  Pamela Osborn
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                  Pamela Pacheco
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                  Owosso, MI 48857


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                  Pamela Peter
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                  Pamela Riley
                  3211 Letart Rd
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                  Pamela Roch
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                  Jonesville, MI 49250


                  Pamela Stringer
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                  Pamela Thornton
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                  Pamela Torrey
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                  Pamela Vaughan
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                  Pamella Schmitt
                  4776 South Medina Line Road
                  Doylestown, OH 44230


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                  3409 Wagon Wheel Rd
                  Rocky Mount, NC 27804


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                  6919 Laurel Boat Lane
                  Canal Winchester, OH 43110
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                  Parin Chheda
                  809 James St NW
                  Marietta, GA 30060


                  Parker Lanscaping Inc
                  2024 Canton Rd
                  Marietta, GA 30066


                  Parker Maas
                  123 N 5th St,
                  Decatur, IN 46733


                  Parker Massengill
                  373 Chinquapin Rd
                  Prospect, VA 23960


                  Parry Freed
                  263 South 4th Street
                  Kalamazoo, MI 49009


                  Pascual Carrasco Jr
                  163 Brocks Ln
                  Montgomery, TX 77356


                  Pasquale Cipollone
                  9409 Dick Rd
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                  25212 South Ohare Court
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                  Pat Alles
                  10170 North 300 East
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                  Pat Ankney
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                  Pat Beasley
                  11025 County Road 830 West
                  Poland, IN 47868
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                  Pat Bruen
                  60676 New Haven Rd
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                  Gladwin, MI 48624


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                  Glasgow, KY 42141


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                  Pat Grant
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                  pat lazzaro
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                  North Manchester, IN 46962


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                  Hale, MI 48739


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                  Patric Slaven
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                  Patrice Mazyck
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                  Patrice Middlebrooks
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                  Patrice Woods
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                  Patricia (Patti) Trott
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                  Patricia (Trish) Spencer
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                  Montross, VA 22520


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                  Patricia Brown
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                  Patricia Buckholt
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                  Patricia Bura
                  193 West 1300 North
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                  Patricia Fons
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                  Patricia Gakstatter
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                  Patricia Gary
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                  Patricia GeeBright
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                  Patricia Gilcrist
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                  Patricia Hixon
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                  Penfield, PA 15849


                  Patricia Hofer
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                  Patricia Holland-Ott
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                  Vale, NC 28168


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                  1026 Grady Street
                  Salisbury, NC 28144
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                  Patricia Kingsmill
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                  Patricia Laib
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                  Gallipolis, OH 45631


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                  Greenwood, SC 29649


                  Patricia McCrea
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                  Erie, PA 16505


                  Patricia McElfresh
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                  Patricia Meeuwes
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                  Patricia Miller
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                  Linden, VA 22642
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Patricia Rhodes
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                  Patricia Simmons
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                  Patricia Sisinger
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                  Patricia Thi
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                  Linden, MI 48451


                  Patricia Tracey
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                  White Stone, VA 22578


                  Patricia Vargo
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                  Murrysville, PA 15668


                  Patricia Vodenichar
                  273 Miller Road
                  Rochester, PA 15074
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                  Patricia Waddell
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                  Patrick Allen
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                  Saint Albans, WV 25177


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                  West Jefferson, OH 43162


                  Patrick Ballen
                  4411 Green Forest Rd
                  Greensboro, NC 27410
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                  Patrick Beal
                  2014 Wabash St
                  Detroit, MI 48216


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                  Wyandotte, MI 48192


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                  Norris City, IL 62869


                  Patrick Carlin
                  134 Mallard Street
                  Grandy, NC 27939
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                  PATRICK CATTONI
                  1533 Brandon Ave
                  Poland, OH 44514


                  Patrick Clark
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                  Virginia Beach, VA 23464


                  Patrick Crumback
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                  Grant, MI 49327


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                  Chester, VA 23831


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                  St Pauls, NC 28384


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                  14282 Sweetbriar Ln
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                  883 Sparling Dr
                  Saginaw, MI 48609


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                  Portsmouth, VA 23707


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                  Fieldale, VA 24089


                  Patrick Gut
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                  Chillicothe, MO 64601


                  Patrick Harrison
                  4827 County Road 41
                  Helena, OH 43435
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                  Patrick Haskins
                  4792 West 900 North
                  Monon, IN 47959


                  Patrick Hawkins
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                  Forest, VA 24551


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                  Patrick Llewellyn
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                  Richmond, VA 23220


                  Patrick Majeske
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                  LIVONIA, MI 48154


                  Patrick Mangold
                  1035 County Rd 800 E
                  Sparland, IL 61565
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                  Patrick Marshall
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                  Winston-Salem, NC 27103


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                  Topeka,, IN 46571


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                  Allen Park, MI 48101


                  Patrick Meeks
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                  Orange, TX 77630


                  Patrick Monahan
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                  Berkley, MI 48072


                  Patrick Montgomery
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                  Grand Blanc, MI 48439


                  Patrick Mullen
                  5217 Parkline Drive
                  Columbus, OH 43232
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                  Patrick Murphy
                  533 Timber Lane
                  Brooklyn, MI 49230


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                  cross junction, VA 22625


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                  Patrick Quinn
                  38526 Loruss Avenue
                  Westland, MI 48186


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                  Northville, MI 48168


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                  Patrick Stoddard
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                  Patton Cardwell
                  88 Appian Way
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                  Patty Trim
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                  Paul Arnett
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                  Tryon, NC 28782


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                  Paul Bennett
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                  3936 East Calla Road
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                  Almost, MI 48003


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                  Latrobe, PA 15650


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                  Paul Collins
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                  Paul Hughes
                  1411 Idlewood Road
                  Hardy, VA 24101
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  5315 Cedar Ln
                  Amelia Court House, VA 23002
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                  Richmond, VA 23224


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                  Paul Oh
                  5914 Dairy Road
                  Hollins, VA 24019


                  Paul Oswald
                  617 Kling Drive
                  Dayton, OH 45419


                  Paul Peake
                  31710 Leona Street
                  Garden City, MI 48135


                  Paul Peebles
                  9274 W R S Ave
                  Schoolcraft, MI 49087
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                  Paul Pelletier
                  1320 Horseshoe Point Rd
                  Henry, VA 24102


                  Paul Perkins
                  103 Stagecoach Road
                  Laurens, SC 29360


                  Paul Perry
                  407 Old East Ridge Rd
                  Boone, NC 28607


                  paul pickard
                  339 East 104th Street
                  Grant, MI 49327


                  Paul Pierre
                  1176 Gould Road
                  Jacksonville, NC 28540


                  Paul Poppel
                  1292 OH-296
                  Urbana, OH 43078


                  Paul Porter
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                  Iola, KS 66749


                  Paul Powell
                  14458 Fossil Rock Road
                  Athens, OH 45701


                  Paul Priesmeyer
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                  Sorento, IL 62086


                  Paul Pruitt
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                  Dittmer, MO 63023


                  Paul Raney
                  17300 Saint Mary Church Road
                  Saint Mary, MO 63673
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                  Paul Reid
                  3919 Parker Rd
                  Fort Gratiot Twp,, MI 48059


                  Paul Resele
                  778 E Cornell Rd
                  Mercer, PA 16137


                  Paul Rifenberg
                  3967 Hennessey Rd
                  Watervliet, MI 49098


                  Paul Roberts
                  9444 Wise Road
                  Greenville, MI 48838


                  Paul Roberts
                  1033 Newton Rd
                  Quincy, MI 49082


                  Paul Robertson
                  5944 Pocahontas Trail
                  Providence Forge, VA 23140


                  Paul Rogers
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                  Rochester Hills, MI 48309


                  Paul Rowe
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                  covington, GA 30014


                  Paul Sadowski
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                  Blairs, VA 24527


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                  Swartz Creek, MI 48473


                  Paul Savannah
                  3441 clearcreek rd
                  Emporium, PA 15834
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                  Paul Schaffer
                  2305 McKail Rd
                  Bruce Township, MI 48065


                  Paul Scheiwe
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                  Lowell, IN 46356


                  Paul Scherr
                  501 Cr-1044D5
                  Ashland, KY 41102


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                  Lansing, MI 48911


                  Paul Schmidt
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                  Landrum, SC 29356


                  Paul Schulte
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                  Paul Scott
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                  Wright City, MO 63390


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                  Lewis Center, OH 43035


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                  Paul Slagle
                  10811 North Gasburg Road
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                  Greensboro,, NC 27405


                  Paul Smith
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                  Dewitt, MI 48820


                  Paul Snyder
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                  Talbotton, GA 31827


                  Paul Sopko
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                  Paul Souligne
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                  Martinton, IL 60951


                  Paul Spencer
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                  Dunlap, TN 37327


                  Paul Stapleton
                  17340 Parsons Ridge Rd
                  Beaverdam, VA 23015


                  Paul Steketee
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                  Jenison, MI 49428


                  Paul Stephan
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                  Canal Fulton, OH 44614


                  Paul Stroup
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                  Flushing, MI 48433
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                  PAUL SUTKAYTIS
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                  madison, OH 44057


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                  Paul Szulewski
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                  Apex, NC 27523


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                  Paul Ward
                  703 Broadway St
                  Fostoria, OH 44830


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                  Clinton, NC 28328


                  Paul Wells
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                  Brazil, IN 47834


                  Paul Wesler
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                  Richmond, IN 47374


                  Paul White
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                  Paul Wiese
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                  Paul Wightman
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                  Nanty-Glo, PA 15943


                  Paul Wilson
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                  Paul Wokuluk
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                  Paul Woolf
                  233 Stout Ln
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                  Paula Davis
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                  Paula Durham
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                  1550 18th Street Southwest
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                  Paula Falis
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                  Dudley, MO 63936


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                  Paula Greeno
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                  Chapel Hill, NC 27514


                  Paula Henderson
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                  Henrico, VA 23294


                  Paula Lancaster
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                  Howard City, MI 49329


                  Paula Loehr
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                  Paula Salter
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                  Kinston, NC 28501
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                  Paula Sheley
                  7295 Cedar Forest Road
                  Lebanon, TN 37090


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                  Paula Winkler
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                  Fancy Gap, VA 24328


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                  Paulette trump
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                  PAULINE DUCKWORTH
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                  Novi, MI 48375


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                  Pauline Weidner
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                  Pearl Inglis
                  141 Stewart Dr
                  Warner Robins, GA 31093
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                  Pearl Joseph Arthur
                  915 Salem Rd
                  Excelsior Springs, MO 64024


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                  Earlysville, VA 22936


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                  Pedro Banos
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                  Grand Junction, MI 49056


                  Pedro Felix
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                  Granite Falls, NC 28630


                  Pedro Moreno Jr
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                  Victoria, TX 77904


                  Pedro Pagan Cordova
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                  Colonial Heights, VA 23834


                  Pedro Sola
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                  Cross Junction, VA 22625


                  Pedro Varas
                  813 Allison Drive
                  Industry, PA 15052


                  Peg Callahan
                  6739 Eagles View Drive
                  Pacific, MO 63069
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                  Peg Patterson
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                  Peg Reamer
                  108 Kathy Drive
                  Hunker, PA 15639


                  Peg Snyder
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                  Norfolk, VA 23502


                  Peggie Hall
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                  Waco, KY 40385


                  Peggy Bartlett
                  6221 Marathon-Edenton Road
                  Blanchester, OH 45107


                  Peggy Bowman
                  3685 W Johnson Rd
                  Ludington, MI 49431


                  Peggy Buckler
                  124 South Main Street
                  Mount Olivet, KY 41064


                  Peggy Busick
                  5797 Bethel Church Rd
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                  Peggy Craig
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                  Peggy Duron
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                  Peggy Eaton
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                  Olivet, MI 49076
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                  Peggy Eaton
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                  Cloverdale, IN 46120


                  Peggy Halfacre
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                  Peggy Hunt
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                  Macon, GA 31217


                  Peggy Johnson
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                  Yanceyville, NC 27379


                  Peggy Johnson
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                  Mount Vernon, OH 43050


                  Peggy Klapper
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                  Peggy Kopacz
                  327 Steller Rd
                  Jacksonville,, NC 28540
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                  Peggy McElhenny
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                  Peggy Milatovich
                  7870 Old Town Rd
                  Fultonham, OH 43738


                  Peggy Nelson
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                  Peggy Rupp
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                  Wooster, OH 44691


                  Peggy Trujillo
                  2301 County Road N 100 East
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                  Peggy Vorous
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                  Sandston, VA 23150


                  Peggy Weller
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                  Dayton, OH 45409


                  Penelope Dewees
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                  New Castle, IN 47362


                  Penn Fusion Engineering
                  152 S.Broad St
                  Lansdale, PA 19446


                  Penni Potter
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                  Pennsylvania Department of Revenue
                  PO Box 280947
                  Bureau of Compliance
                  Harrisburg, PA 17128-0947
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                  Penny Blackburn
                  219 E Vine St
                  Kingman, IN 47952


                  Penny Bostic
                  1687 Trinity Rd
                  Troutville, VA 24175


                  Penny Boulas
                  4595 Hoover Rd
                  Barryton, MI 49305


                  Penny Buening- Bogner
                  1044 Meadowrun Rd
                  Englewood, OH 45322


                  Penny Callis
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                  Chillicothe, OH 45601


                  Penny Dummer
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                  Fremont, MI 49412


                  Penny Elder
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                  New Market, TN 37820


                  Penny Ettinger
                  4071 Knollwood Dr
                  Grand Blanc, MI 48439


                  Penny Hess
                  3063 Nanwich Dr
                  Waterford Twp, MI 48329


                  Penny Leigey
                  156 Upper Georges Valley Rd
                  Spring Mills, PA 16875


                  Penny Mccurry
                  21 E Hunters Creek Rd
                  Lapeer,, MI 48446
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                  Penny Moore
                  388 Oakgrove Rd
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                  Long Bottom, OH 45743


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                  Penny Norton
                  4757 Wedgewood Court
                  Martinez, GA 30907


                  Penny Plowman
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                  kewannna, IN 46939


                  Penny Ries
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                  Penny Siewert
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                  Sycamore, IL 60178


                  Penny Smith
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                  Warren, MI 48092


                  Penny Smith
                  26162 Meherrin Road
                  Capron, VA 23829


                  Penny Stevens
                  916 North 3rd Street
                  Clinton, MO 64735


                  Pep Mccollough
                  723 Evergreen Rd
                  Leechburg, PA 15656
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                  Pepper Reaves
                  527 E Meadow Rd
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                  Perry Lemley
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                  4356 South Otis Street
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  peter lowery
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                  Scotts, MI 49088


                  Peter Miller
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                  Mason, MI 48854


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                  8712 S 250 W
                  Trafalgar, IN 46181
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                  Peru, IN 46970
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                  5290 Spainhour Mill Rd
                  tobaccoville, NC 27050


                  Phil Marozzi
                  3075 Staunton Ave
                  Dover, PA 17315


                  Phil Martin
                  1628 Queenswood Dr
                  Findlay, OH 45840


                  Phil Mcqueen Jr
                  2126 East Co Road 300 North
                  Frankfort, IN 46041


                  Phil Miller
                  308 Fox Hollow Rd
                  Shermans Dale, PA 17090


                  Phil Penley
                  12453 Sandridge Rd
                  Sawyer, MI 49125


                  Phil Roehl
                  7916 E Vermontville Hwy
                  Dimondale, MI 48821
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                  Phil Savage
                  2992 M 66
                  Athens, MI 49011


                  Phil Sproat
                  340 Deer Path Ave SW
                  Leesburg, VA 20175


                  Phil Staten
                  9 Far Hills Rd
                  Athens, OH 45701


                  Phil Watkins
                  4120 Bridle Way
                  Virginia Beach, VA 23456


                  Phil Wyatt
                  508 Bessinger Dr
                  Cincinatti, OH 45240


                  Phil's Undercar Specialty Shop
                  11353 Tecumseh-Clinton Highway
                  Clinton, MI 49236


                  Phildora Prigmore Lewis
                  7053 Old Clarksville Pike
                  Joelton, TN 37080


                  Philip Argento
                  6434 Sterling Rd
                  Yale, MI 48097


                  Philip Aurelio
                  420 Moorland Drive
                  Virginia Beach, VA 23452


                  Philip Bell
                  12031 Hazel River Rd
                  Rixeyville, VA 22737


                  Philip Blethen
                  1005 Shakespeare Drive
                  Wilmington, NC 28405
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                  Philip Bonney
                  1448 Sylvan Glen Rd
                  Okemos, MI 48864


                  Philip Bourne
                  2197 Teasdale Drive
                  Virginia Beach, VA 23454


                  Philip Buck
                  12321 Jefferson Street
                  Perrysburg, OH 43551


                  Philip Camp
                  1040 powel pl ln
                  Halifax, VA 24558


                  Philip Carpenter
                  753 Sardis Emory Road
                  Oak Hill, OH 45656


                  Philip Casagrande
                  5401 North Paulina Street
                  Chicago, IL 60640


                  Philip Cieply
                  308 Eagle Point Rd
                  Rossford, OH 43460


                  Philip Dillon
                  2626 Gratiot Blvd
                  Marysville, MI 48040


                  Philip Fosdick
                  380 N Market St
                  Shreve, OH 44676


                  Philip Jeffery
                  847 Bluff Brook Drive
                  O'Fallon, MO 63366


                  Philip Kubico
                  5078 Skyline Dr
                  Cambridge, OH 43725
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                  Philip Lakernick
                  436 Ber Lake Dr
                  Henderson, NC 27537


                  Philip Lewis
                  11085 Stephan Bridge Rd
                  Roscommon, MI 48653


                  Philip Luster-Bartz
                  2787 Whittier Street
                  Portage, IN 46368


                  Philip Malara
                  9716 Laurence Ave
                  Allen Park, MI 48101


                  Philip McPherson
                  15209 Ivor Rd
                  Sedley, VA 23878


                  Philip Morse
                  39900 Stoneleigh St
                  Northville, MI 48167


                  Philip Paden
                  165 Spring Flower Way
                  Etna, OH 43062


                  Philip Peterson
                  3588 Houghtby Road
                  Paw Paw, IL 61353


                  Philip Savalle
                  18437 Woodbine Road
                  Fraser, MI 48026


                  Philip Schember
                  1270 Lavender St
                  Monroe, MI 48162


                  Philip Serraon
                  12918 Masonic
                  Warren, MI 48088
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                  Philip Simmons
                  7104 Cherry Beam Path
                  Austin, TX 78744


                  Philip Smalley
                  29882 Van Horn Rd
                  Huron Charter Township, MI 48164


                  Philip Spellman
                  781 East Market Street
                  Cadiz, OH 43907


                  Philip Stephens
                  9661 Culloden Ct
                  Bristow, VA 20136


                  Philip Stravino
                  110 Pine Place
                  Hawley, PA 18428


                  Philip Traucht
                  5833 OH-103
                  Rawson, OH 45881


                  Philip Trbovic
                  723 Cloud Dr
                  Clarksville, TN 37043


                  Philip Vaught
                  2770 S County Rd 750 E
                  Dillsboro, IN 47018


                  Philip Williams
                  8611 Mauck Rd
                  Hillsdale, MI 49242


                  Phill Shelner
                  1475 10 Mile Rd NE
                  Comstock Park, MI 49321


                  Phillip Atkins
                  773 Howards Creek Rd
                  Sandy Hook, KY 41171
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                  Phillip Blackburn
                  16218 Ohio 139
                  Minford, OH 45653


                  Phillip Boan
                  12316 Red Oak Lane
                  Amelia Court House, VA 23002


                  Phillip Branham
                  145 Jerry Riffe Ridge Road
                  Louisa, KY 41230


                  Phillip Braswell
                  1802 Jolliff Rd
                  Chesapeake, VA 23321


                  Phillip Brooks II
                  6645 Murray Ridge Road
                  Elyria, OH 44035


                  Phillip Brumfield
                  2111 Paradise Lane
                  Ashland, KY 41102


                  Phillip Bush II
                  7304 Kennedy Rd
                  Nokesville, VA 20181


                  Phillip Carson Sr.
                  756 Round Hill Road
                  Bryson City, NC 28713


                  Phillip Cook
                  5811 E Troy Ave
                  Indianapolis, IN 46203


                  Phillip Corey
                  3000 Memory Lane
                  McKeesport, PA 15133


                  Phillip Davis
                  1194 union church rd
                  Churchville, VA 24421
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                  Phillip Delgado
                  109 Corktree Road
                  Kunkletown, PA 18058


                  Phillip Denike
                  316 Bentwood Road
                  PIEDMONT, SC 29673


                  Phillip Dews
                  2640 Roark Mill Road
                  Hurt, VA 24563


                  Phillip Dickey
                  6858 W 950 S
                  Waveland, IN 47989


                  Phillip Elliot
                  178 Ackerson Lake Drive
                  Jackson, MI 49201


                  Phillip Elliott
                  178 Ackerson Lake Drive
                  Jackson, MI 49201


                  Phillip Freel
                  1175 East 600 North
                  Hartford City, IN 47348


                  Phillip Graebner
                  214 Plantation DR
                  IVA, SC 29655


                  Phillip Gwisdalla
                  5257 Castle Road
                  Otter Lake, MI 48464


                  Phillip Haberern
                  7110 Benita Dr
                  Charlotte, NC 28212


                  Phillip Hall
                  4616 Sleight Rd.
                  Bath, MI 48808
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                  Phillip Hall
                  13889 Riverside Drive
                  Constantine, MI 49042


                  phillip hamrick
                  205 Neil Road
                  Shippensburg, PA 17257


                  Phillip Haney
                  130 Quail Run
                  Gaffney, SC 29341


                  Phillip Harris
                  119 Cottonwood Dr.
                  Clayton, NC 27520


                  Phillip Hegel
                  4262 W Fike Rd
                  Coleman, MI 48618


                  Phillip Henning
                  5244 Shingle Oak Lane
                  Smithton, IL 62285


                  Phillip Horny
                  8045 Dehmel Rd
                  Birch Run, MI 48415


                  Phillip Isham
                  8432 W Frances Rd
                  Flushing, MI 48433


                  Phillip Jameson
                  34520 Richard Street
                  Wayne, MI 48184


                  Phillip Johnson
                  925 Pennwood Dr
                  New Albany, IN 47150


                  Phillip Joiner
                  19982 James River Dr
                  Spring Grove, VA 23881
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                  Phillip Klinkoski
                  1609 Frederick Street
                  Owosso, MI 48867


                  Phillip Kohn
                  4142 Curtice Road
                  Mason, MI 48854


                  Phillip Lamb
                  4215 Lakeside Dr
                  Sellersburg, IN 47172


                  Phillip Lamb
                  80 Brittany Manor Way
                  Stafford, VA 22554


                  Phillip Law
                  8525 Mountain Valley Road
                  Axton, VA 24054


                  Phillip Lowry
                  340 Virginian Drive
                  Norfolk, VA 23505


                  Phillip Mackovich
                  441 Creed Street
                  Struthers, OH 44471


                  Phillip Maiden
                  3535 Valley Lake Dr
                  Indianapolis, IN 46227


                  Phillip Maly
                  17702 Sharon Hollow Lane
                  Manchester, MI 48158


                  Phillip Matis
                  103 Korman Rd
                  Bellefonte, PA 16823


                  Phillip Maxwell
                  4650 Beaver Ridge Road
                  Knoxville, TN 37931
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                  Phillip Monroe
                  30 Woodthorn Rd
                  Weaverville, NC 28787


                  Phillip MYERS
                  11333 Reserve Way
                  Columbia Station,, OH 44028


                  Phillip Parker
                  3006 Caraway Dr,
                  Murfreesboro, TN 37130


                  Phillip Parker
                  3006 Caraway drive
                  Murfreesboro, TN 37130


                  Phillip Pikarski
                  955 North Sashabaw
                  Ortonville, MI 48462


                  Phillip Pittman
                  271 Creed Pitman Rd
                  Spruce Pine, NC 28777


                  Phillip Reid
                  6050 Shappie Rd
                  Village of Clarkston,, MI 48348


                  Phillip Sanders
                  1719 Sheffield Dr
                  Superior Township, MI 48198


                  Phillip Schmehl
                  29815 Gladys Avenue
                  Westland, MI 48185


                  Phillip Smith
                  29310 Twin Fawn Trail
                  Elkhart, IN 46514


                  Phillip starkey
                  311 D St
                  Chesapeake, VA 23324
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                  Phillip Stupar
                  7045 Crofoot Rd
                  Fowlerville, MI 48836


                  Phillip Thompson
                  185 Audubon Drive
                  Jacksonville, NC 28546


                  Phillip Weaver
                  10693 Cross Station Rd
                  Girard, PA 16417


                  Phillip Wilkerson
                  1205 Rixtown Court
                  Chesapeake, VA 23322


                  Phillip Wishnefsky
                  165 Lavelle Road
                  Ashland, PA 17921


                  Phillip Wood
                  12214 Benson Rd
                  Mt Morris,, MI 48458


                  Phillip Wood
                  145 Leisure Shore Rd
                  Como, NC 27818


                  Phillip Wylie
                  1406 Buckskin Trace
                  Martinsville, IN 46151


                  Phillippa Mullen
                  3927 Locust Grove Rd
                  Columbia, PA 17512


                  Phillp Ayers
                  1721 Farmers Market Drive
                  Hillsville, VA 24343


                  Phoebe Roeder
                  2012 Pin Oak Court
                  Indianapolis, IN 46260
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                  Phong Bui
                  120 East Acorn Hill Drive
                  Olyphant, PA 18447


                  Phyleece Young
                  342 Sequoia Drive
                  Clayton, NC 27527


                  Phyliss Hammerstrom
                  4019 Burton Dr
                  Stow, OH 44224


                  Phyllinda Garris
                  1483 Green Creek Drive
                  Columbus, NC 28722


                  Phyllis Brubaker
                  7041 East Loop Road
                  Hesperia, MI 49421


                  Phyllis Clark
                  1961 Private Road 1475 North
                  Carbon, IN 47837


                  Phyllis Dilley
                  4210 Indiana 39
                  Martinsville, IN 46151


                  Phyllis Dobson
                  114 Granger Rd
                  Ortonville, MI 48462


                  Phyllis Futrell
                  1336 River St
                  Murfreesboro, NC 27855


                  Phyllis Hutchinson
                  11609 Motz Rd
                  Wadesville, IN 47638


                  Phyllis Lowe
                  10600 Crosby Rd
                  Akon, OH 45030
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                  Phyllis Nunn
                  233 Buck Jones Rd
                  Raleigh, NC 27606


                  Phyllis Paulk
                  432 Jefferson St
                  Gary, IN 46402


                  Phyllis Rierson
                  778 N Pine River St
                  Ithaca, MI 48847


                  Phyllis Smith
                  8491 W 500 N 27
                  converse, IN 46919


                  Phyllis Stanley
                  125 31st Ave NW
                  Hickory, NC 28601


                  Phyllis Sullivan
                  1020 Gutter Road
                  Walnut Cove, NC 27052


                  Phyllis Summers
                  15 Walnut Street
                  Delaware, OH 43015


                  Physicians Urgent Care
                  PO Box 6601
                  Carol Stream, IL 60197-6601


                  Pickens Saxton
                  602 Mourning Dove Lane
                  Newport, NC 28570


                  Pickerington City Income Tax
                  100 Lockville Rd.
                  Pickerington, OH 43147-1321


                  Pierce Cole
                  14714 Atlantic Avenue
                  Dolton, IL 60419
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                  pierce wickens
                  1148 Henry Place Boulevard
                  Clarksville, TN 37042


                  Pierre Walker
                  7295 Mountain Ash
                  Memphis, TN 38125


                  Pierre-Olivier Tavernier
                  1986 South Carolina 905
                  Conway, SC 29526


                  Pine Grove Inc
                  1685 H Street, Unit 205
                  BLAINE, WA 98230


                  Pine Grove, LLC
                  1685 H Street Unit 205
                  Blaine, WA 98230


                  Pittsburg Steelers
                  100 Art Rooney Ave
                  Pittsburgh, PA 15212


                  Pittsburgh Home & Garden Show
                  857 Western Ave
                  Pittsburgh, PA 15233


                  pj bess
                  1182 Yeye Street
                  Rock Hill, SC 29730


                  Pj Brydon
                  4340 William Flynn Highway
                  Harrisville, PA 16038


                  Please Don't Go LLC
                  977 E 14 Mile Rd
                  Troy, MI 48092


                  Poen Sognavong
                  74 Selwyn Rd
                  Asheville, NC 28806
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                  Polly Melton
                  2232 South Prosperity Avenue
                  Joplin, MO 64801


                  Pollyanna Manset
                  705 Columbia Ave
                  Carolina Beach, NC 28428


                  Poly Ouma
                  2519 Rosings Park Drive
                  Mason, OH 45040


                  Ponnishia Patterson
                  1802 West 51st Street
                  Indianapolis, IN 46228


                  Poppy Hudson
                  4532 North Washburn Rd
                  Davison, MI 48423


                  Porsche Jowers
                  4090 S Fork Dr
                  Snellville, GA 30039


                  Port Clinton City Income Tax
                  1868 E. Perry St.
                  Port Clinton, OH 43452-1499


                  Porter Realty Company, Inc.
                  PO Box 6482
                  Richmond, VA 23230


                  Portia Pace
                  3560 Jefferson Landing Rd
                  Powhatan, VA 23139


                  Portsmouth City Income Tax
                  P.O. Box 1323
                  Portsmouth, OH 45662-1323


                  PossibleNOW, Inc
                  4400 River Green Parkway Suite 100
                  Duluth, GA 30096
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                  Powers Business Machines, Inc.
                  9701 Warwick Blvd
                  New Port News, VA 23601


                  Pradeep Tyagi
                  1752 Parkview Blvd
                  Pittsburgh, PA 15217


                  Praful Patel
                  3928 Beechmont Circle
                  Belleville, IL 62226


                  Prakash Gera
                  40461 Dequindre Rd
                  Troy, MI 48085


                  Prakash Pandya
                  1763 Summersweet Circle
                  Lewis Center, OH 43035


                  Prashant Patel
                  112 Dartmouth Dr
                  Yorktown, VA 23693


                  Pravin Pingle
                  429 Eckford Dr
                  Troy, MI 48085


                  Precision Copy Products, Inc.
                  600 State Street
                  Carleton, PA 15025


                  Preecha Chaya
                  1609 Saint Marys Blvd
                  Jefferson City, MO 65109


                  Prentice Minner
                  605 Gateswood Drive
                  Florissant, MO 63033


                  Prentice Odom
                  32 Roberts Lane
                  Lebanon, TN 37087
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                  Prentiss Morris
                  3402 Polly Dr
                  Clarksville, TN 37042


                  Presley Gray
                  218 Mill Creek Cove
                  Dawsonville, GA 30534


                  Preston Davis
                  3733 Seagrave Farm Road
                  Concord, NC 28025


                  Preston Farver
                  443 Austin Trl
                  Orangeville, PA 17859


                  Preston Lowe
                  96 Royal Crescent Way
                  Fredericksburg, VA 22406


                  Preston Mullins
                  55 Dillard Court
                  Front Royal, VA 22630


                  Preston reese
                  14791 Jacob Avenue
                  Eastpointe, MI 48021


                  Preston Stout
                  110 Buena Vista Drive
                  Campobello, SC 29322


                  Price Cathy
                  606 Kech St
                  North Manchester, IN 46962


                  Primo Garcia
                  95135 30th Street
                  Marcellus, MI 49067


                  Prince Agyemang
                  7718 Emory Chase Ln
                  Knoxville, TN 37918
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                  Prince Appiah Danquah
                  6219 Forest Grove Dr
                  Fredericksburg, VA 22407


                  Princess Hearn
                  1271 Rossmore Avenue
                  Cincinnati, OH 45237


                  Prinest Burton
                  12535 Zeiman Road
                  Maybee, MI 48159


                  Priority Waste
                  42822 Garfield Road
                  Clinton Township, MI 48038


                  Priscila Serpa
                  304 Apperson Drive
                  Blacksburg, VA 24060


                  Priscilla Beckham
                  6910 Dial Dr
                  Dayton, OH 45424


                  Priscilla Cleaveland
                  24503 Emerald Pool Falls Dr
                  Tomball, TX 77375


                  Priscilla Filocco
                  4376 Farmington Circle
                  Allentown, PA 18104


                  Priscilla Gardner
                  10300 W Bath Rd
                  Laingsburg, MI 48848


                  Priscilla Hayes
                  4804 Templar dr
                  Portsmouth, VA 23703


                  Priscilla Mc/ Kenzie
                  550 Mamie Road
                  Benson, NC 27504
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                  Priscilla Waddy
                  921 Greendale Dr
                  Charleston, WV 25302


                  Priya Trivedi
                  8807 Powderhorn Ln
                  Indianapolis, IN 46256


                  Pro Leasing Services, LLC
                  35235 Mound Rd
                  Sterling Heights, MI 48310


                  Profectus Partners
                  2900 Charlevoix Dr SE, Ste 360
                  GRAND RAPIDS, MI 49546


                  Profectus Partners LLC
                  C/O Oxford Partners
                  2900 Charlevoix Drive SE Suite 360
                  Grand Rapids, MI 49546


                  Prospero Castelluccio
                  23 Mason Dr
                  Coraopolis, PA 15108


                  Psychus Properties LLC
                  30035 Commerce Blvd
                  CHESTERFIELD TWP, MI 48051


                  Psychus Properties, Llc.
                  30035 Commerce Blvd.
                  Chesterfield Township, MI 48051


                  Pure Water Partners LLC
                  Dept CH 19648
                  Palatine, IL 60055-9648


                  Pyce Mahannah
                  2945 South Twin Bridge Road
                  Decatur, IL 62521


                  Quade Snyder
                  3490 E County Rd 675 N
                  Bainbridge, IN 46105
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                  Quan Eastin
                  9515 East 32nd Street South
                  Independence, MO 64052


                  Quanyanna Bacon
                  6 Catawba Trail
                  Portsmouth, VA 23701


                  Quaterrio Angel
                  8434 Houston Road
                  Eaton Rapids, MI 48827


                  Quayanna Reese
                  212 Final Trail CT
                  Raleigh, NC 27603


                  Queen Dixon
                  27 Center Point Drive
                  Yemassee, SC 29945


                  Quench Usa, Inc.
                  PO Bix 781393
                  Philadelphia, PA 19178-1393


                  Quentin Hamilton
                  225 Hatch Street
                  Burlington, NC 27217


                  Quentin Lawrence
                  18640 Lesure St
                  Detroit, MI 48235


                  Quill, LLC
                  500 Staples Dr
                  Framingham, MA 01702


                  Quincy Lloyd
                  871 Allen Road
                  Smiths Creek, MI 48074


                  Quinn Renta
                  412 Longview Dr
                  Reeders, PA 18360
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                  Quinnstreet Inc
                  950 Tower Ln 6th Floor
                  Foster City, CA 94404


                  Quinten Kelley
                  3333 144th Ave
                  Holland, MI 49424


                  Quintin Harrell
                  11861 Olson Lane
                  Neosho, MO 64850


                  Quinton Black
                  482 Cub Creek Road
                  Indian Mound, TN 37079


                  Quinton Grabowski
                  18981 Doyle Ct
                  Gregory, MI 48137


                  Quitin Ellis
                  808 Griffin Street
                  Hampton, VA 23669


                  Quive Wright
                  104 Henry Court
                  Clayton, NC 27520


                  Quojuante Moreland
                  7437 Strickland Manor Way
                  Winston, GA 30187


                  R D Hunt
                  255 Oakwoods Rd
                  Wilkesboro, NC 28697


                  R Kage
                  718 Eckford Drive
                  Troy, MI 48085


                  R.E.M., LLE DBA Roanoke Landscapes
                  183 Shane Lane
                  Fincastle, VA 24090
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                  Ra l Ch vez
                  240 Cabell Drive
                  Newport News, VA 23602


                  Rabb Water Systems
                  303 Argonne Rd
                  PO Box 835
                  Warsaw, IN 46581


                  Rabbie Hanna
                  35159 Lancashire Road
                  Livonia, MI 48152


                  Rachael Blasiman
                  24359 Center Rd
                  Alliance, OH 44601


                  Rachael Kerkhof
                  2767 E Charmil Dr
                  Mooresville, IN 46158


                  Rachael Northey
                  18795 Clinton River Road
                  Clinton Township, MI 48038


                  Rachael Rosamond
                  12941 Oakdale Street
                  Southgate, MI 48195


                  Rachael Seymore
                  719 Bristol Drive
                  Statesville, NC 28677


                  Rachel Atwood
                  8978 Bosworth Drive
                  Georgetown Township, MI 49428


                  Rachel Chapman
                  18940 Albion Ave
                  Detroit, MI 48234
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                  Rachel Christner
                  1425 Depot Street Ext.
                  New Stanton, PA 15672


                  Rachel Colby
                  9714 Rich Patch Rd
                  Low Moor, VA 24457


                  Rachel Davis
                  1736 Dutch Cove Road
                  Canton, NC 28716


                  Rachel Duran
                  5483 Snydertown Road
                  Paxinos, PA 17860


                  Rachel Elkadri
                  14280 Katie Lane
                  Livonia, MI 48154


                  Rachel Fortwangler
                  1147 Brent Rd
                  Volant, PA 16156


                  Rachel Hoffman
                  2684 Piney Road
                  Nunnelly, TN 37137


                  Rachel Howell
                  3639 Colby Avenue Southwest
                  Wyoming, MI 49509


                  Rachel Isenberg
                  390 Samuel Cross Rd
                  Oneida, TN 37841


                  Rachel Karyakose
                  5435 Silverton Dr
                  Grand Blanc, MI 48439


                  Rachel King
                  106 Check Court
                  Smyrna, TN 37167
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                  Rachel LaRue
                  6299 Ohio 316
                  Ashville, OH 43103


                  Rachel Long
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                  Hemlock, MI 48626


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                  Stokesdale, NC 27357


                  Rachel Mabe
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                  West Augusta, VA 24485


                  Rachel Mackey
                  5096 Pleasant Valley Road
                  Virginia Beach, VA 23464


                  Rachel Mande Rozsa
                  3046 E Overlook Rd
                  Cleveland, OH 44118


                  Rachel McKnight
                  2739 Lawndale Ave
                  Cincinnati, OH 45212


                  Rachel OConnor
                  2074 Rooks Branch Rd
                  Keavy, KY 40737


                  Rachel Quint
                  28815 Runkle St
                  Niles, MI 49120


                  Rachel Ramirez
                  1305 Meredith Way
                  Clarksville, TN 37042


                  Rachel Reece
                  191 Hughey Road
                  Alexander, NC 28701
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                  Rachel Rosza
                  3046 E Overlook Rd
                  Cleveland, OH 44118


                  Rachel schuiling
                  10207 Wabasis Avenue Northeast
                  Greenville, MI 48838


                  rachel smith
                  209 Fallsway Lane
                  Stafford, VA 22554


                  Rachel Taulbee
                  789 Edgehill Dr
                  Logan, OH 43138


                  Rachel Vannatta
                  19077 Kellogg Road
                  Bowling Green, OH 43402


                  Rachel Vich
                  53 Pecan Lane
                  Fountain Inn, SC 29644


                  Rachel Walker
                  3987 Kleinschmidt Rd
                  Annold, MO 63010


                  Rachel Williams
                  1930 benton pike ne
                  Cleveland, TN 37323


                  Rachel Yates
                  1630 South Raisinville Road
                  Monroe, MI 48161


                  Rachel Young
                  265 Alters Road
                  Carlisle, PA 17015


                  Rachell Monk
                  253 O'Brian Drive
                  Milan, MI 48160
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                  Rachelle Bauer
                  2631 Bellevue Avenue
                  Cincinnati, OH 45219


                  Rachelle Collier
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                  Adamsville, PA 16110


                  Rada Oakley
                  4069 Louella Ln
                  Walnut Cove, NC 27052


                  Radha Metro-Midkiff
                  3068 S James River Hwy
                  Wingina, VA 24599


                  Radley Monson
                  1802 6 Points Rd
                  Bloomington, IL 61705


                  Rae Absher
                  305 S Main St
                  Ohio, IL 61349


                  Rae Matre Bruns
                  9370 Lark Court
                  Cincinnati, OH 45242


                  Raeanne Coon
                  212 Hobbs Drive
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                  Ridgeland, SC 29936


                  Raeleen Sample
                  5825 Croswell Rd
                  Croswell, MI 48422
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                  Raene Redinger
                  4288 S Luce Ave
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                  Rafael Gaud
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                  Ashland City, TN 37015


                  Rafael Hernandez Mondragon
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                  Rafael Jimenez
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                  Rafael Rameriz
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                  Rafael Sanchez
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                  Rafael Toro
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                  Rafael Vega
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                  Troy, OH 45373


                  Rafaelee Jimenez
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                  York Haven, PA 17370


                  Raffel Smith
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                  Douglasville, GA 30135
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                  Rafieg Boctor
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                  Rahim Patel
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                  Okemos, MI 48864


                  Rahul Patel
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                  Willoughby, OH 44094


                  Raine Vititoe
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                  Bardstown, KY 40004


                  Rainie Carter
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                  Goshen, OH 45122


                  Raj vaghela
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                  Chester, VA 23836


                  Rajesh Mehta
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                  rajesh PATEL
                  21103 Hickory Branch Trail
                  Strongsville, OH 44149


                  Rakeem Hester
                  3507 Synthia Court
                  Gainesville, GA 30507
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                  Rakesh Aryal
                  2722 Felsinger Dr
                  Lancaster, PA 17603


                  Raleigh Arnall
                  101 Gardenia Court
                  Milner, GA 30257


                  Raleigh Covington
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                  West Middlesex, PA 16159


                  Ralph Barnes
                  8474 Renee Ford Rd
                  Stanfield, NC 28163


                  Ralph Boerema
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                  Grant, MI 49327


                  Ralph Bryant
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                  Salem, IN 47167


                  Ralph Carroll
                  814 Vine St
                  manistee, MI 49660


                  Ralph Collins
                  232 E Washington St
                  Greensburg, IN 47240


                  Ralph Cornell
                  2479 Oakley Road
                  Stockbridge, MI 49285


                  Ralph Craig
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                  Marion, OH 43302


                  Ralph Cumston
                  3550 Whetstone River Road South
                  Marion, OH 43302
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                  Ralph Dearth
                  1035 Andora Rd NE
                  Carrollton, OH 44615


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                  Ralph Egley
                  1068 Anderson Creek Rd
                  Kittanning, PA 16201


                  Ralph Faber
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                  Huntley, IL 60142


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                  Ralph Harris
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                  Swannanoa, NC 28778


                  Ralph Hendricks
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                  Appomattox, VA 24522


                  Ralph Knowlton
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                  Lynchburg, VA 24502


                  Ralph Liang
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                  Battle Creek, MI 49015


                  Ralph Lindon
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                  Morehead, KY 40351


                  Ralph Mensah
                  2 Colbury Court
                  Durham, NC 27713
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                  Ralph Napp
                  19415 Greentree Way
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                  Ralph Ronne
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                  Patrick, SC 29584


                  Ralph Scharfenberg
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                  Burgettstown, PA 15021


                  Ralph Senter
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                  Ralph Sharpe
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                  Niles, MI 49120


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                  Ralph Taube
                  621 W Harrison St
                  Paulding, OH 45879
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                  Ralph Vanderbeek
                  570 Edwards Rd
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                  Moorseville, NC 27560


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                  Ramanan Venkat
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                  Suttons Bay, MI 49682


                  Ramanand Heeralall
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                  Ramirez Flores
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                  Scranton, PA 18505


                  Ramiro Melendez
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                  Villa Rica, GA 30180


                  Ramon Cloud
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                  Crawfordsville, IN 47933


                  Ramon Gonzalez
                  283 Falls Drive
                  Clayton, NC 27527
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                  Ramon Motos
                  461 Star St
                  Pounding Mill, VA 24637


                  Ramon Nazario
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                  Long Pond, PA 18334


                  Ramon Perez
                  9798 Dolan Rd.
                  Columbus, MI 48063


                  Ramon Perez
                  5330 Quaker Drive
                  Suffolk, VA 23437


                  Ramon Rodriguez
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                  Lakewood, OH 44107


                  Ramon Salles
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                  Eastman, GA 31023


                  Ramona Dorsey
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                  St Clair Shores, MI 48082


                  RAMONA PICKARD
                  2225 18th St NE
                  Canton, OH 44705


                  Ramona Reddick
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                  Franklinton, NC 27525


                  Ramona Suttles
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                  Asheville, NC 28806


                  Ramona White
                  3207 Pimlico Pkwy
                  Lexington, KY 40517
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                  Ramond Curtis
                  31 Tamela Court
                  Harrisonburg, VA 22801


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                  Monroe, VA 24574


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                  Livonia,, MI 48152


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                  Troy, MI 48083


                  Rana Hamade
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                  Dearborn Heights, MI 48127


                  Rana Murzda
                  3675 Turnberry Ln
                  wooster, OH 44691


                  Rana Romania
                  42 Heritage Dr
                  Jacksonville, NC 28540


                  Rand ll Kellerman
                  135 Babe Lane
                  Howard, PA 16841


                  Randa Jackson
                  1186 East 99th Street
                  Cleveland, OH 44108


                  Randal Bartlett
                  9190 Centralia
                  Redford Charter Township, MI 48239


                  Randal Cohen
                  9133 Madell Lane
                  Warrenton, VA 20187
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                  Randal Gable
                  2410 River Road
                  Hastings, MI 49058


                  Randal Swindle
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                  Nashville, TN 37138


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                  232 E Yorktown Dr
                  Lagrange, GA 30240


                  Randall Abner
                  1317 Azalea Lane
                  Flora, IL 62839


                  Randall Anderson
                  9219 Wheaton Rd
                  Dinwiddie, VA 23803


                  Randall Blackburn
                  26530 Hwy Aa
                  Lebanon, MO 65536


                  Randall Blakely
                  5890 N Broadway Rd
                  Freeport, MI 49325


                  Randall Bower
                  2217 E 700 S
                  Columbia City, IN 46725


                  Randall Breitner
                  10311 Bacon Rd
                  Ottawa Lake, MI 49267


                  Randall Butler
                  10590 Magnet Dr
                  Smithfield, VA 23430


                  Randall Carlson
                  4145 Ash Highway
                  Charlotte, MI 48813
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                  Randall Fecay
                  2979 East Labo Road
                  Carleton, MI 48117


                  Randall Harper
                  74 Jandale Dr
                  LaGrange, GA 30241


                  Randall Hostetter
                  7367 W Higgins Ct
                  Ellettsville, IN 47429


                  Randall Hughes
                  7200 Woodside Street
                  Richmond, VA 23231


                  Randall Johnson
                  127 Brawley Street
                  Chester, SC 29706


                  Randall Luffman
                  163 Bernice Blanton Drive
                  Teachey, NC 28464


                  Randall Morse
                  2703 Badger Rd
                  Beaverton, MI 48612


                  Randall Musick
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                  Tonganoxie, KS 66086


                  Randall R Corder
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                  Walkerville, MI 49459


                  Randall Reveal
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                  Decatur, TN 37322


                  Randall Rice
                  2109 W Madison St
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                  Randall Selby
                  2078 S Aurelius Rd
                  Mason, MI 48854


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                  Middlesboro, KY 40965


                  Randall Smith
                  3708 North Myers Road
                  Geneva, OH 44041


                  Randall Stivers
                  2209 State Street
                  Lafayette, IN 47905


                  RANDALL VANHOOSE
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                  Sevierville, TN 37876


                  Randell Conley
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                  Fort Wayne, IN 46804


                  Randell Dubs
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                  Mattawan, MI 49071


                  Randell Hasting
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                  Montgomery, TX 77316


                  Randell Kilbreath
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                  Grand Blanc, MI 48439


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                  Canton, MO 63435


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                  Cincinnati, OH 45226
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                  Randolph G. Scott
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                  Cumberland, VA 23040


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                  Allegan, MI 49010


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                  Davison, MI 48423


                  Randolph Lewis
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                  Bumpass, VA 23024


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                  Cleveland, TN 37312


                  Randy Ashworth
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                  Martinsville, VA 24112


                  Randy Baccomo
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                  West Columbia, SC 29172


                  Randy Baehl
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                  Haubstadt, IN 47639


                  Randy Barman
                  348 Knox Highway 2
                  Rio, IL 61472
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                  Randy Bauman
                  128 Oak Hill Rd.
                  Cutler, OH 45724


                  Randy Benge
                  9574 OH-559
                  North Lewisburg, OH 43060


                  Randy Beverage
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                  Virginia Beach, VA 23455


                  Randy Blakeman
                  287 S Edgehill Ave
                  Youngstown, OH 44515


                  Randy Bolton
                  7163 Knottsville-Mount Zion Rd
                  Philpot, KY 42366


                  Randy Breitzman
                  3039 MontClair Dr.
                  Claremont, NC 28610


                  Randy Brown
                  3435 Centerton Road
                  Mooresville, IN 46158


                  Randy Broyles
                  3779 Winning Stakes Way
                  Mason, OH 45040


                  randy buettner
                  3083 Db Road
                  Waterloo, IL 62298


                  Randy Butler
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                  Caldwell, TX 77836


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                  13213 Saint Peter Street
                  Carlyle, IL 62231
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                  Randy Carr
                  232 Mill St SE
                  Canton, OH 44707


                  Randy Carroll
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                  Sharpsville, PA 16150


                  Randy Carter
                  5139 Flanders Ave
                  Memphis, TN 38118


                  Randy Coffelt
                  2040 Kentucky Street
                  Seymour, TN 37865


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                  Randy Coleman
                  5191 Roberts Drive
                  Flint, MI 48506


                  Randy Constant
                  3745 Lake Tahoe Trail
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                  Randy Crihfield
                  10567 steubenville pike rd
                  libson, OH 44432


                  Randy Crihfield Randy Crihfield
                  10567 Steubenville Pike Rd
                  libson, OH 44432


                  Randy Day
                  17454 Hensley Rd
                  Warsaw, MO 65355


                  Randy Dieterle
                  204 Lamplighter Way
                  Spring Lake, NC 28390
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                  Randy Dominic
                  821 Painter Street
                  Streator, IL 61364


                  Randy Drake
                  209 South School Street
                  Saint Joe, IN 46785


                  Randy Duffield
                  6291 New Paris Twin Rd
                  New Paris, OH 45347


                  Randy Duran
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                  Stroudsburg, PA 18302


                  Randy Farmer
                  3646 Rouggly Rd
                  Valles Mines, MO 63087


                  Randy Farmer
                  33418 Rebel Circle
                  Damascus, VA 24236


                  Randy Ferrell
                  2009 Scollin Cir
                  HAMPTON, VA 23663


                  Randy Flory
                  287 Michigan 40
                  Allegan, MI 49010


                  Randy Flory
                  240 Moss Creek Cir
                  Smithville, OH 44677


                  Randy Fulford
                  2022 Indiana 252
                  Martinsville, IN 46151


                  Randy Gibson
                  429 Division Street
                  Elizabethton, TN 37643
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                  Randy Gilbert
                  398 East Eaglewood Lane
                  Mount Jackson, VA 22842


                  Randy Golden
                  3687 Hennings Mill Rd
                  Williamsburg, OH 45176


                  Randy Gossard
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                  Randy Green
                  117 River Valley Trail
                  Kathleen, GA 31047


                  Randy Grosvenor
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                  Randy Gunderman
                  3222 Franklin Road
                  Spencer, IN 47460


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                  Randy Hamrick
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                  Randy Harmon
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                  Randy Harper
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                  Kitts Hill, OH 45645


                  Randy Harris
                  7237 Sanchez Road
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                  Randy Johnson
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                  Randy Jordan
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                  Kendallville, IN 46755
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                  Randy Kemp
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                  Randy Kiersey
                  3050 w reading rd
                  Hillsdale, MI 49242


                  Randy Lane
                  617 Vought Creek Rd
                  Wysox, PA 18854


                  Randy Little
                  11490 Reed Rock Road
                  Amelia Court House, VA 23002


                  Randy Lyall
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                  Randy Lydic
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                  Berlin, MI 48166


                  Randy Muston
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                  Evansville, IN 47711


                  Randy Nichols
                  1737 East Parish Road
                  Kawkawlin, MI 48631


                  Randy Nord
                  7838 North Lapeer Road
                  Fostoria, MI 48435


                  Randy Oum
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                  Stockbridge, GA 30281


                  Randy Patterson
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                  Randy Pethel
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                  North Lewisburg, OH 43060


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                  randy stump
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                  Kannapolis, NC 28081


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                  Henrico, VA 23294


                  Randy Traynham
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                  Mechanicsville, VA 23111


                  Randy Tredway
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                  Saint Clair, MO 63077


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                  Bedford, IN 47421


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                  Crown Point, IN 46307


                  Randy Wade
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                  Randy Wansedel
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                  Clifford, MI 48727


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                  Knoxville, TN 37914
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                  Randy Winter
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                  Clarksville, MI 48815


                  Randy Wyles
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                  Ransom Eberlin
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                  Pataskala, OH 43062
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                  Gary, IN 46408


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                  Kingsley, MI 49649


                  Raquel Pearce
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                  Raquel Urrutia
                  112 Rolling Hills Avenue
                  Columbia City, IN 46725


                  Rasha Vaye
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                  Lafayette, IN 47909


                  Rashan Morris
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                  Chester, VA 23836


                  Rasheen WilliamsBarnes
                  509 E Moler Ave
                  Martinsburg, WV 25404


                  Rashid Abdullah
                  504 Woodshire Ln
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                  Rashid Ahmad
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                  Pittsburgh, PA 15216


                  Rashida Wright
                  4136 Winter Ct
                  Long Pond, PA 18334
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                  rashidat turner
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                  Albany, GA 31721


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                  Harrisburg, PA 17111


                  Rattana Srichabok
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                  Baytown, TX 77521


                  Raul De Mata
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                  Manakin-Sabot, VA 23103


                  Raul Perez
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                  Ravindran Venkidapathy
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                  Pearland, TX 77584


                  Ray Aguirre
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                  Ray Benton
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                  Claysburg, PA 16625


                  Ray Black
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                  Scarbro, WV 25917
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                  Rupert, WV 25984


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                  Ray Connin
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                  Ray Gadomski
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                  RAY GARLICK
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                  Belle Vernon, PA 15012


                  Ray Giancecchi
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                  Ray Gonzalez
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                  Berwyn, IL 60402
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                  Ray Griffith
                  5561 N State Rd 9
                  Shelbyville, IN 46176


                  Ray grigsby
                  183 Shiloh Road
                  Clay City, KY 40312


                  Ray Heidecker
                  3768 Footville-Richmond Road
                  Rock Creek, OH 44084


                  Ray Hoskie
                  30487 Riverdale Dr
                  Franklin, VA 23851


                  Ray Howard
                  712 Asylum St
                  Flint, MI 48503


                  Ray Hunter
                  9114 Georgetown St
                  Louisville, OH 44641


                  Ray Jackson
                  2901 Wolf Trap Dr NW
                  Wilson, NC 27896


                  Ray Johnson
                  4800 Cooper Rd
                  Dowling,, MI 49050


                  Ray Johnson
                  17005 Old Bb Highway
                  Kearney, MO 64060


                  ray jones
                  600 Hales Chapel Road
                  Gray, TN 37615


                  Ray Koivunen
                  8822 River Valley Rd
                  Brighton, MI 48116
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                  Ray Koon II
                  8980 Bechtel Rd
                  N Ridgeville, OH 44035


                  Ray Lee
                  52141 Co Rd 5
                  Elkhart, IN 46514


                  Ray Lukosavich
                  16735 Moseley Rd
                  Thompson, OH 44086


                  Ray Melton
                  8258 County Road 750 W
                  Pendleton, IN 46064


                  Ray Miles
                  115 Maple Ridge Dr
                  Mayodan, NC 27027


                  Ray O'Neal
                  4540 County Line Rd
                  Kansas City, KS 66106


                  Ray Pethtel
                  455 Chrisman Mill Rd
                  Christiansburg, VA 24073


                  Ray Petty
                  823 Oldfield Circle
                  Florence, SC 29501


                  Ray Rankin
                  4850 Campbellsport Road
                  Ravenna, OH 44266


                  Ray Rapposelli
                  5516 Landings Crest
                  Virginia Beach,, VA 23464


                  Ray Regulinski
                  3417 South Woodland Dr.
                  Highland, MI 48356
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                  Ray Ritter
                  1258 Co Rd 100
                  Fremont, OH 43420


                  Ray Sanders
                  1704 River Rd
                  Henrico, NC 27842


                  Ray Smalley Jr.
                  22474 Craig Avenue
                  Noblesville, IN 46060


                  Ray Stevens
                  911 River Barfield Road
                  Murfreesboro, TN 37128


                  Ray Swisher
                  148 Lakewood Dr
                  Bellefontaine, OH 43311


                  Ray Tait
                  2930 Oak Grove Rd
                  North Branch, MI 48461


                  Ray Tate
                  11680 Co Rd 26
                  Fayette, OH 43521


                  Ray Tevenal
                  703 Polkville Rd
                  Shelby, NC 28150


                  ray thomas
                  1294 South Deer Trail
                  Fredericktown, MO 63645


                  Ray Thomas
                  1918 Ford Road
                  Delaware, OH 43015


                  Ray Torres
                  6646 Montana Avenue
                  Hammond, IN 46323
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                  Ray Tremblay
                  9931 Fry Rd
                  McKean, PA 16426


                  RAY TRIPLETT
                  801 Bethany Road
                  Rustburg, VA 24588


                  Ray Tubbs
                  16577 Wilmont Rd
                  King George, VA 22485


                  Ray Tyndall
                  4842 Lakeview Rd
                  Elm City, NC 27822


                  Ray Viggiano
                  10833 Schwartz Road
                  Fort Wayne, IN 46835


                  Ray watson
                  34010 Oak Street
                  Pomeroy, OH 45769


                  Ray Weiss
                  1015 Golf Course Rd
                  Halifax, VA 24558


                  Ray Welch
                  4N358 7th Avenue
                  Addison, IL 60101


                  Ray Whitener
                  3391 W NC 10 Hwy
                  Newton, NC 28658


                  Raye Love-Martin
                  4109 Barrett Drive
                  Archdale, NC 27263


                  Rayetta Fitzgerald
                  2724 Jackson Street
                  Saint Joseph, MO 64507
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                  Raylene Burton
                  1126 KS-65
                  Mapleton, KS 66754


                  Rayman Boyd
                  1701 P Avenue
                  Plano, TX 75074


                  Raymon Brown
                  66 Towpath Road
                  Levittown, PA 19056


                  Raymond Barnes
                  48 Pin Oak Ln
                  Warsaw, VA 22572


                  Raymond Barton
                  1301 Archer Elevator Road
                  Springfield, IL 62711


                  Raymond Bazar
                  34735 Nelson Dr
                  Piedmont,, OH 43983


                  Raymond Brackett
                  103 Haven Terrace
                  Winchester, VA 22602


                  Raymond Cadorette
                  16340 Froghop Rd
                  Hopkinsville, KY 42240


                  Raymond Carnegie
                  2672 Kingsgate Way NW
                  Acworth, GA 30101


                  raymond carter
                  5655 Pingree Road
                  Howell, MI 48843


                  Raymond Catlett
                  U.S. 60
                  Ellsinore, MO 63937
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                  Raymond Clawson
                  1127 Fairview St
                  Claremont, NC 28610


                  Raymond Clugston
                  604 Amesbury Dr
                  Davison, MI 48423


                  Raymond Collins
                  585 Allen Rd
                  Smiths Creek, MI 48074


                  Raymond Cope
                  2183 State Route 157
                  Oil City, PA 16301


                  Raymond Dalton
                  2536 Una Antioch Pike
                  Nashville, TN 37013


                  Raymond Dean
                  1620 W Sunbury Rd
                  Sunbury, PA 16061


                  Raymond DeLong
                  121 Kelso Drive
                  Erie, PA 16505


                  Raymond Dugan
                  900 sunset road southwest
                  Clay City, IL 62824


                  Raymond Dutton Sr.
                  28933 W. 9 Mile Rd.
                  Farmington Hills, MI 48336


                  Raymond Edwards
                  4606 Kangley Avenue
                  Streator, IL 61364


                  Raymond Fergason
                  66886 IN-331
                  Wyatt, IN 46595
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                  Raymond Fox
                  1117 Money Lane
                  Danville, IN 46122


                  Raymond Freeman
                  6625 E 256th St
                  Arcadia, IN 46030


                  Raymond Gadomski
                  111 Middlefield Lane
                  Blythewood, SC 29016


                  Raymond Golovich
                  31576 23rd Avenue
                  Gobles, MI 49055


                  Raymond Guinther
                  2115 Cambridge Rd
                  Coshocton, OH 43812


                  Raymond Halstead
                  4382 Lake Rd E
                  Geneva, OH 44041


                  Raymond Hartley
                  124 Paradise Acres Drive
                  Ernul, NC 28527


                  Raymond Hartrum
                  1453 North Dobys Bridge Road
                  Fort Mill, SC 29715


                  Raymond Hiller
                  15726 Dobson Avenue
                  Dolton, IL 60419


                  Raymond Hindle
                  1325 Joe Wells Rd
                  Buena Vista, GA 31803


                  Raymond Hogan
                  3748 Mack Ave
                  Cincinnati, OH 45248
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                  Raymond Hunter
                  360 E Oak St
                  Covington, VA 24426


                  Raymond Iman
                  806 North Craig Street
                  Mexico, MO 65265


                  Raymond Marquez
                  215 Wedgewood Dr
                  Glasgow, KY 42141


                  Raymond Mason
                  1645 Canady Pond Road
                  Hope Mills, NC 28348


                  Raymond Massey
                  522 Orange St
                  Jackson, MI 49202


                  Raymond Mathis
                  51515 Winding Waters Lane North
                  Elkhart, IN 46514


                  Raymond OBrien
                  12998 Carter Rd
                  Painesville, OH 44077


                  Raymond Parent
                  3307 Port Austin Road
                  Port Austin, MI 48467


                  Raymond Pecht
                  106 Minick Drive
                  Newburg, PA 17240


                  Raymond Pirouz
                  6925 Hough Road
                  Almont, MI 48003


                  Raymond Putnam
                  126 Eagle Ridge Drive
                  Chesnee, SC 29323
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                  Raymond Raddatz Sr.
                  15571 Delbridge Road
                  Potosi, MO 63664


                  Raymond Resseguie
                  5839 North Andover Court
                  Peoria, IL 61615


                  Raymond Roche
                  4000 Royster Pl
                  Prince george, VA 23875


                  Raymond Schonfeld
                  2427 Maier Road
                  Mio, MI 48647


                  Raymond Sheffield
                  1235 Maple Ridge Dr
                  Burlington, NC 27217


                  Raymond Shelton
                  813 Otto Street
                  Cahokia, IL 62206


                  Raymond Shropshire
                  4471 Osborn Mill Rd
                  Asheboro, NC 27205


                  Raymond Silcott
                  37 Silver Lane
                  Winchester, OH 45697


                  Raymond Smith Sr
                  8500 Strath Road
                  Richmond, VA 23231


                  Raymond Solomon
                  207 Lakeview Dr.
                  Sanford, NC 27332


                  Raymond Stone
                  134 West Cedar Street
                  Jefferson, OH 44047
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                  Raymond Stuart
                  1284 Parsons Hill Road
                  Lansing, NC 28643


                  Raymond T Scott
                  9065 North Waverly Park Road
                  Martinsville, IN 46151


                  Raymond Tegano
                  212 Orchard Ave
                  Ridgway, PA 15853


                  Raymond Towler
                  257 Windward Dr.
                  Elyria, OH 44035


                  raymond triggs
                  1369 West 85th Street
                  Cleveland, OH 44102


                  Raymond Twining
                  740 McGill St
                  Orrville, OH 44667


                  Raymond Viktorin
                  3431 Co Rd 235
                  Wharton, TX 77488


                  Raymond Wan
                  3234 Byron Center Ave SW
                  Wyoming, MI 49519


                  Raymond White
                  3143 Dawson Street
                  Indianapolis, IN 46237


                  Raymond White
                  626 Quebec Drive
                  Branson, MO 65616


                  Raymond White
                  11229 Arlen Park Dr,
                  Huntersville, NC 28078
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                  Raymond Williams
                  24211 Armada Center Rd
                  Armada, MI 48005


                  Raymond Wilson
                  235 W Craven Rd
                  vanceboro, NC 28586


                  Raymund Shippey
                  2960 Nickleplate Road
                  Ionia, MI 48846


                  Raymundo Garcia
                  203 Harrison Street
                  Yadkinville, NC 27055


                  Raynold Saalsaa
                  1215 Shiva Blvd
                  Winder, GA 30680


                  Rayshun Mitchell
                  2800 Feddo Ct
                  Chester, VA 23831


                  RayTarsha Bell
                  1710 Elder Way
                  Burlington, NC 27215


                  Rea Terry
                  416 South 3rd Street
                  Caseyville, IL 62232


                  Reagan Atkins
                  110 Bannister Ct
                  Danville, VA 24540


                  Reba Adams
                  2165 Brannen Rd SE
                  Atlanta, GA 30316


                  Reba Callins
                  1100 Tennessee 124
                  Greenfield, TN 38230
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                  Reba Liv
                  205 South Prince Henry Way
                  Cameron, NC 28326


                  Rebecah Smith
                  4334 Oakleaf Drive Northwest
                  Roanoke, VA 24017


                  Rebecca (Becca) Giannetti
                  597 Penland Street
                  Clyde, NC 28721


                  Rebecca Arrick
                  7117 S 375 W
                  Jamestown, IN 46147


                  Rebecca Barraclough
                  3928 Windgap Avenue
                  Pittsburgh, PA 15204


                  Rebecca Bourne
                  518 Moberly Ave
                  Richmond, KY 40475


                  Rebecca Boyd
                  449 York Road
                  Ocoee, TN 37361


                  Rebecca Braydich
                  9400 Haines Road
                  Waynesville, OH 45068


                  Rebecca Brocker
                  5698 South Hazelwood Avenue
                  Newaygo, MI 49337


                  Rebecca Bukowsky
                  2232 South El Centro Court
                  Columbia, MO 65201


                  Rebecca Callens
                  40419 Colony Dr
                  Sterling Heights, MI 48313
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                  Rebecca Campbell
                  103 Wexford Street
                  Staunton, VA 24401


                  Rebecca Chandler
                  111 Macgregor Lane
                  Stoneville, NC 27048


                  Rebecca Cook
                  219 Trout Lane
                  Commerce, GA 30529


                  Rebecca Cover
                  24931 Nelson
                  St Clair Shores, MI 48080


                  Rebecca Craig
                  14210 Monroeville Rd
                  Monroeville, IN 46773


                  Rebecca Doroh
                  1239 Parkway Drive
                  Benton Harbor, MI 49022


                  Rebecca Doyle
                  204 E Ross St
                  Danville, OH 43014


                  Rebecca Ellis Taylor
                  2108 Huntclub Drive
                  Clayton, NC 27520


                  Rebecca Faith
                  813 Shenango Stop Rd
                  New Castle, PA 16101


                  Rebecca Farrell
                  491 Balthazar Drive
                  Santa Claus, IN 47579


                  Rebecca Fishel Bright
                  1525 Hillsdale Avenue
                  Ambridge, PA 15003
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                  Rebecca Gartner
                  11235 Craig Lane
                  Bealeton, VA 22712


                  Rebecca Ginn
                  617 Lightsey Street Extension
                  Hampton, SC 29924


                  Rebecca Graves
                  3019 Goolsby Ave
                  Chesterfield, VA 23234


                  Rebecca Grier
                  179 W Central Ave
                  Demorest, GA 30535


                  Rebecca Griffith
                  127 Rebert Pike
                  Enon, OH 45323


                  Rebecca Hewitt
                  25992 Old Valley Pike
                  Toms Brook, VA 22660


                  Rebecca Hollingshead
                  7044 East Richfield Road
                  Davison, MI 48423


                  Rebecca Hull
                  44145 Belmont Warnock Road
                  Belmont, OH 43718


                  Rebecca Jones
                  8995 SE Side Hwy
                  Elkton, VA 22827


                  Rebecca Kinney
                  119 Susquehanna Street
                  New Milford, PA 18834


                  Rebecca Kozar
                  2071 Pennsylvania 68
                  Zelienople, PA 16063
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                  Rebecca Laing Austin
                  6294 E 76th St
                  Newaygo, MI 49337


                  Rebecca Lewis
                  60 Ryan Lane
                  Grove City, OH 43123


                  Rebecca Lowe
                  6591 Brushy Mountain Rd
                  Moravian Falls, NC 28654


                  Rebecca Lundervold
                  105 Aspen Dr
                  Auburn, PA 17922


                  Rebecca McClung
                  185 Pr Dr 155
                  Rome Township, OH 45669


                  Rebecca McGraw
                  948 ROCKHOUSE RD
                  Marion, NC 28752


                  Rebecca Mcnew
                  106 West 5th Street
                  Danville, IL 61832


                  Rebecca Morris
                  1089 Jordan Store Road
                  Kents Store, VA 23084


                  Rebecca Mullins
                  1166 Stowehill Lane
                  Catawba, NC 28609


                  Rebecca Parks
                  707 Davis Street
                  Findlay, OH 45840


                  Rebecca Richardson
                  2600 East Seymour Lake Road
                  Brandon Township, MI 48462
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                  Rebecca Rieble
                  125 Coker rd
                  fountain inn, SC 29644


                  Rebecca Roark
                  3367 Superior Park Drive
                  Cleveland Heights, OH 44118


                  Rebecca shearer
                  32520 County Road 669
                  Lawton, MI 49065


                  Rebecca Southard
                  6642 Howard Avenue
                  Hammond, IN 46324


                  Rebecca Spaven
                  109 Hickory Cir
                  Hampstead, NC 28443


                  Rebecca Temple
                  27450 Penrose Rd
                  Coleta, IL 61081


                  Rebecca Thomas
                  259 Cabin Creek Road
                  Piketon, OH 45661


                  Rebecca Trisch-Aleksink
                  2342 W Hoppe Rd
                  Unionville, MI 48767


                  Rebecca West
                  141 Single Oak Drive
                  Troutman, NC 28166


                  Rebecca Wigaard
                  3710 Admire Road
                  Dover, PA 17315


                  Rebecca Wise
                  1016 Oak Bark Ln
                  Chesapeake, VA 23323
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                  Rebecca Wolfe
                  863 Haskins Drive
                  Conneaut, VA 23434


                  Rebecca Wood
                  1048 Peach Grove Road
                  Saint Stephens Church, VA 23148


                  Rebecca Zong
                  3018 Stover Lane
                  Tyrone, PA 16686


                  Rebekah Carter
                  160 Tulip St
                  Martinsville, IN 46151


                  Rebekah Liadis
                  21210 Tanglewood Street
                  St. Clair Shores, MI 48082


                  Rebekah Milito
                  7351 12th Avenue
                  Georgetown Township, MI 49428


                  Rebekah Seabaugh
                  1500 Jessica Ln
                  Herrin, IL 62948


                  Recknagel Investments LLC
                  8715 Surf Drive
                  302
                  Panama City Beach, FL 32408


                  Recycled Systems Furniture RSFI Office F
                  401 East Wilson Bridge Rd
                  Worthington, OH 43085


                  Red Resener
                  19529 Natalie Rd
                  Cornelius, NC 28031


                  Reda Hurst
                  1280 Hwy18 Medon Tn
                  Medon, TN 38356
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                  Redell Harris
                  4618 Blanchard Rd
                  Durham, NC 27713


                  Redentor Galang
                  390 Cardinal Pointe Dr SE
                  Caledonia, MI 49316


                  RediMed/Business Health Servies
                  15897 Collections Center Dr
                  Chicago, IL 60693-0158


                  Reece Heirnich
                  4874 Bond Rd
                  Onondaga, MI 49264


                  Reed Beery
                  3679 E Palomino Dr
                  Columbia City, IN 46725


                  Reed Davis
                  233 Renee Circle
                  Florence, SC 29506


                  Reed Martin
                  1355 West 59th Street
                  Cleveland, OH 44102


                  Reed Wickham
                  12068 Tower Rd
                  Unionville,, VA 22567


                  Reem Bathish-Ramirez
                  23220 Forest St
                  Oak Park, MI 48237


                  Reena Cherian
                  14140 Yankeetown Road
                  Ashland, VA 23005


                  Reeo Evans
                  124 Pronghorn Deer Ct
                  Garner, NC 27529
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                  Refath Ahmed
                  39457 Ladrone Ct
                  Sterling Heights, MI 48313


                  Regal Voice, Inc
                  276 5th Ave, Suite 704 #846
                  New York, NY 10001


                  Regeni Miller
                  569 chalmers st
                  Detroit, MI 48215


                  Reggie Arrington
                  4800 Brownes Ferry Road
                  Charlotte, NC 28269


                  Reggie Bourlier
                  69092 Brush Trail
                  Niles, MI 49120


                  Reggie Hudson
                  3331 Saratoga Drive
                  Belleville, IL 62221


                  Reggie Jones
                  5595 Mills Ridge Dr
                  Wyoming, MI 49418


                  Regi Leonard
                  231 East Quailwood Drive
                  Fuquay-Varina, NC 27526


                  Regimon Daniel
                  1725 Peach Orchard Hill Road Northeast
                  Cleveland, TN 37323


                  Regina Andersen
                  22743 w Peet rd
                  Bannister, MI 48807


                  Regina Breeden
                  107 Baker Drive
                  Stanton, KY 40380
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                  Regina Breitner
                  10285 bacon road
                  Ottawa Lake, MI 49267


                  Regina Casstevens
                  3711 Lone Hickory Road
                  Hamptonville, NC 27020


                  Regina Estwick
                  13554 Woodmont Avenue
                  Detroit, MI 48227


                  Regina Hall
                  9943 John Woods Road
                  Winchester, OH 45697


                  Regina Jackson
                  517 Damron Branch Road
                  Grayson, KY 41143


                  Regina Jennings
                  670 Freedom Drive
                  Maryville, TN 37801


                  Regina Kastrup
                  28657 Gore Rd
                  Lincoln, MO 65338


                  Regina Kohls
                  6976 Dublin Ct
                  West Chester, OH 45069


                  Regina Little
                  930 Old Charlotte Rd.
                  Taylorsville, NC 28681


                  Regina Martin
                  79 Honeysuckle Drive
                  Martinsville, VA 24112


                  Regina Norman
                  1015 Summit Ln NW
                  Roanoke,, VA 24017
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                  Regina Townsley
                  41001 Savage Road
                  Belleville, MI 48111


                  Regina Tyler
                  5859 Village Loop
                  Fairburn, GA 30213


                  Regina Vaughn
                  112 Fairlawn Court
                  Columbia, SC 29203


                  Reginald Bennett
                  704 10th St
                  altavista, VA 24517


                  Reginald Bethel
                  9900 Park Lake Dr
                  Louisville, KY 40229


                  REGINALD FRASER
                  201 Hyde Park Drive
                  Goldsboro, NC 27530


                  Reginald Gilliam
                  554 Rutledge Street
                  Gary, IN 46404


                  Reginald Ginter
                  1185 Idlewood Rd
                  Hardy, VA 24101


                  Reginald Godley
                  1028 Grayson Ave NW
                  Roanoke, VA 24017


                  Reginald Pasteur
                  1645 Advent Street
                  Winston-Salem, NC 27127


                  Reginald Ross
                  1104 WT Ross Rd
                  Williamston, NC 27892
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                  Reginald Segres
                  211 Sherwood Street
                  Kingstree, SC 29556


                  Reginald Smith
                  848 Rollo Domino Circle
                  Evans, GA 30809


                  Reginald Thompson
                  2065 Mountain Pass Road
                  Troutville, VA 24175


                  Reginald Williams
                  1923 Bessie Avenue
                  Moraine, OH 45439


                  Regional Income Tax Agency
                  PO Box 94951
                  Cleveland, OH 44101-4951


                  Regis Johns
                  329 Aruba Ln
                  Greensburg, PA 15601


                  Regus
                  2000 E Lamar Blvd, Suite 600 #616
                  ARLINGTON, TX 76006


                  Rehurem Bravo
                  4763 Wesson Street
                  Detroit, MI 48210


                  REID MOSS
                  1189 Capac Road
                  Berlin, MI 48002


                  Reid Pierce
                  2009 Monument Avenue
                  Richmond, VA 23220


                  Reid Wadsworth
                  6066 Hilldom Rd
                  Conneaut, OH 44030
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                  Reidar Lotvedt lll
                  132 Leonard Dr
                  Fries, VA 24330


                  Reimund Zippmann
                  107 Bethany Ln
                  Godfrey, IL 62035


                  Reina Blackburn
                  246 N Gilbert St
                  Clinton, IN 47842


                  Reinaldo Barrera
                  10313 Abbott Road
                  Manassas, VA 20110


                  Reinaldo Siles
                  80 Taylor St
                  Warrenton, VA 20186


                  Reiss Helka
                  6412 Cloverton Dr
                  Waterford Township, MI 48329


                  Reliable First Aid & Safety
                  PO Box 99237
                  Troy, MI 48099


                  Reliance Forensics, Llc.
                  2901 Coltsgate Road
                  Suite 203A
                  Charlotte, NC 28211


                  RemX
                  1040 Crown Pointe Parkway, Ste 1040
                  ATlanta, GA 30338


                  Rena Martin
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                  Lore City, OH 43755


                  Renae Premo
                  250 Lone Oak
                  Hemlock, MI 48626
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                  Renaldo Guitterez
                  4811 Franconia Rd
                  Alexandria, VA 22310


                  Renan Pena
                  6510 Wilding Wimbledon Ct
                  Spring, TX 77379


                  Renata Biggers
                  481 Cherokee Creek
                  Waynesboro, TN 38485


                  Renata Young
                  811 Sonora Court
                  Englewood, OH 45322


                  Renate Hartman
                  21880 40th Ave
                  Barryton, MI 49305


                  Renaud Osterlund
                  5551 Caledon Rd
                  King George, VA 22485


                  Rene Hutchins
                  106 Meadow Lane
                  Lapeer, MI 48446


                  Rene Kodjo
                  1129 Hawthorne Dr
                  Chesapeake, VA 23325


                  Rene Perrier
                  4848 Ramey Lane
                  Salem, VA 24153


                  Renee Adkins
                  149 Richard Shaw Road
                  Moyock, NC 27958


                  Renee Anderson Drap
                  8970 Huron Bluffs Dr
                  White Lake, MI 48386
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                  Renee Bice
                  6571 klam Rd
                  Otter Lake, MI 48464


                  Renee Burns
                  2036 Johnson Mill Rd
                  North Branch, MI 48461


                  Renee Davidson
                  501 Ferrell Ave
                  Belmont, NC 28012


                  Renee Davis
                  4202 Willard Rd
                  Wytheville, NC 27349


                  Renee Davis
                  155 Flynn Road
                  Gallatin, TN 37066


                  Renee Gilliland
                  1640 Bolt Rd
                  Gray Court, SC 29645


                  Renee Johnston
                  315 Canterbury Road
                  High Point, NC 27262


                  Renee Kobs
                  191 West Rutgers Avenue
                  Pontiac, MI 48340


                  Renee Lethco
                  106 Finch Dr
                  Kathleen, GA 31047


                  Renee Lindsley
                  14219 Milverton Road
                  Cleveland, OH 44120


                  Renee Moore-Edwards
                  21 Columbia Court
                  Portsmouth, VA 23704
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                  Renee Ondrajka
                  1685 South Brown Road
                  Pigeon, MI 48755


                  Renee Runkle
                  1776 Scranton Road
                  Norwalk, OH 44857


                  Renee Shomo
                  29350 Desmond Dr
                  Warren, MI 48093


                  Renee Simms
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                  Homewood, IL 60430


                  Renell Caudill
                  8475 Kentucky 773
                  Denton, KY 41132


                  Renetta Knighten
                  2207 Roosevelt Pl
                  Gary, IN 46404


                  Renna Renna
                  35827 Rainbow Dr
                  Sterling Heights, MI 48312


                  Renny McMahon
                  445 Bob Johnson Lane
                  Cookeville, TN 38501


                  Resa Thompson
                  879 US-221
                  Rutherfordton, NC 28139


                  Resident
                  3578 Michigan 53
                  Almont, MI 48003


                  Reuben Shurtleff
                  4415 Midland Trail
                  Covington, VA 24426
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                  Reuel York
                  22014 Hanna Hills Dr
                  Hockley, TX 77447


                  Reuven Anafshalom
                  2995 Wolverine Dr
                  Ann Arbor, MI 48108


                  Rev Wayne Knight
                  1773 Ayersville Rd
                  Mayodan, NC 27027


                  Reva Alcoser
                  388 Walnut Street
                  Newport, TN 37821


                  revey benchley
                  732 North Scott Drive
                  Farwell, MI 48622


                  Rex Bennett
                  4965 Pennsylvania 446
                  Eldred, PA 16731


                  Rex Champlin
                  10110 East Pickard Road
                  Mount Pleasant, MI 48858


                  Rex Crain
                  2683 Lyman Dr
                  Clinton, OH 44216


                  Rex Folkerts
                  6235 Selwyck Ln
                  Kernersville, NC 27284


                  Rex Fountain
                  1763 Haynor Road
                  Ionia, MI 48846


                  Rex Gourley
                  721 West Elk Street
                  Dexter, MO 63841
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                  Rex Gravely
                  2101 Blue Jay 6 Road
                  Cool Ridge, WV 25825


                  Rex Hahn
                  701 Colton Court
                  Chesapeake, VA 23322


                  Rex Harrison
                  133 Spring Park Rd,
                  Marietta, SC 29661


                  Rex Holman
                  402 East Page Avenue
                  Trenton, OH 45067


                  Rex Holzapfel
                  20415 OH-93
                  Wellston,, OH 45692


                  Rex Marshall
                  257 Robinson Dr
                  Woodlawn,, VA 24381


                  Rex McRobie
                  400 Gum Avenue
                  Grottoes, VA 24441


                  rex menzer
                  104 South Dutcher Street
                  Corunna, MI 48817


                  Rex Pitman
                  270 State Rd S-41-441
                  Ridge Spring, SC 29129


                  Rex Riggins
                  4814 W 200 N
                  Anderson, IN 46011


                  rex tharp
                  6244 Indiana 14
                  South Whitley, IN 46787
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                  Rex Whitehead
                  1315 Gerber Woods Dr
                  Edwardsville, IL 62025


                  Rex Young
                  12525 Miller Road
                  Sterling, OH 44276


                  Rey Watson
                  531 Lory Ln
                  Grovetown, GA 30813


                  Reynaldo (Rey) Garcia
                  8621 Keystone Cir
                  Chattanooga, TN 37421


                  Reynaldo Robles Ramirez
                  308 Colin Court
                  Wake Forest, NC 27587


                  Reynold Johnson
                  86 Edisto St
                  Johnston, SC 29832


                  Rhea Cawley
                  2775 Sunnyvale St
                  Roanoke, VA 24014


                  Rhea Essa
                  1390 OPOSSUM CREEK RD
                  Victor, WV 25938


                  Rhett Rowe
                  15550 Old Ridge Rd
                  Beaverdam, VA 23015


                  Rhoades Justin
                  1275 Brandywine Street
                  Temperance, MI 48182


                  Rhoda Hurst
                  571 Indian Valley Rd NW
                  Radford, VA 24141
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                  Rhodes Newsom
                  5320 Karr Road
                  Cumming, GA 30040


                  Rhonda Brooks
                  27240 Sumpter Road
                  Belleville, MI 48111


                  Rhonda Clem
                  275 Melvin Wrenn Road
                  Yanceyville, NC 27379


                  Rhonda Cooley
                  9072 North 860 West
                  Ligonier, IN 46767


                  Rhonda Cortner
                  416 Vaniman Ave
                  Dayton, OH 45426


                  Rhonda Doane
                  8990 350N
                  Charlottesville, IN 46117


                  Rhonda Dotson
                  4219 North 700 East
                  Union City, IN 47390


                  Rhonda Hirsch Ashbaugh
                  1012 Whitehall Road
                  Emlenton, PA 16373


                  Rhonda Huffman
                  9313 Mills Rd
                  Ostrander, OH 43061


                  Rhonda Kimbrough
                  6267 N 100 E
                  Windfall, IN 46076


                  Rhonda Madison
                  1301 Rosemont Lane
                  Vinton, VA 24179
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                  Rhonda Marlo
                  401 East Taylor Street
                  Benton, IL 62812


                  Rhonda Mosby
                  6900 Concord Rd
                  Jonesville, MI 49250


                  Rhonda Roof
                  256 Crestridge Drive
                  Lexington, SC 29073


                  Rhonda Simons
                  4218 Dorsey Dr
                  Sumter, SC 29154


                  Rhonda Williams
                  55914 Gale Road
                  South Bend, IN 46619


                  Rhonda Wiseman
                  30165 Rock Stull Rd
                  Logan, OH 43138


                  Rhondy Grandison
                  12720 Jefferson Boulevard
                  Mishawaka, IN 46545


                  Rhyan Hughes
                  3112 Leon Avenue
                  Columbus, OH 43219


                  Rian ECKLEY
                  156 College Ave Greenville, PA 16125
                  Shenango, PA 16125


                  Rianna Szatkowski
                  14348 Fairway Dr
                  Chelsea, MI 48118


                  Ric Hamilton
                  3168 East North Street
                  Kendallville, IN 46755
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                  Ricardo Amoroz
                  5681 Stonington Ct
                  West Bloomfield Township, MI 48322


                  Ricardo Dos Santos
                  937 Michael Dr
                  Chesapeake, VA 23323


                  Ricardo Fernandez
                  1770 Fairystone Park Highway
                  Bassett, VA 24055


                  Ricardo Herrera
                  1157 Grand Boulevard
                  Romeoville, IL 60446


                  Ricardo Lopez Lomeli
                  900 Dietz Road North
                  Webberville, MI 48892


                  Ricardo Nesbeth
                  1214 Davidson Street
                  Aliquippa, PA 15001


                  Ricardo noel Garcia
                  4725 Hopkins Road
                  Richmond, VA 23234


                  Ricardo Pickens
                  7158 Glenwood Drive
                  East Stroudsburg, PA 18301


                  RICARDO PISTONE
                  38 Browns Neck Road
                  Poquoson, VA 23662


                  Ricardo Rosa
                  1435 Elizabeth Street
                  Scranton, PA 18504


                  Ricardo Velez
                  5963 Crescentbrook Lane
                  Clemmons, NC 27012
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                  Ricc Casto
                  Township Road 106, Waterford, OH
                  Waterford, OH 45786


                  Riccardo Micheletto
                  33 Green Ct
                  Newport News, VA 23601


                  Riccardo Schinina
                  8259 East Denver Road
                  Mount Pleasant, MI 48858


                  Rich Barton
                  19527 Cottonwood Trail
                  Strongsville, OH 44136


                  Rich Creagh
                  13664 Hidden Creek Road
                  Manassas, VA 20112


                  Rich Gannon
                  126 Wood Acres Dr
                  Cresco, PA 18326


                  Rich Gummere
                  626 N County Rd 100 E
                  Center Point, IN 47840


                  Rich Holbrook
                  18344 Dale Drive
                  Brook Park, OH 44142


                  Rich Kensey
                  10994 OH-287
                  East Liberty, OH 43319


                  Rich Leber
                  120 Mountain View Drive
                  Crossville, TN 38558


                  rich mauzey
                  2705 Meadow Ridge Drive
                  Saint Joseph, MO 64504
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                  Rich Maxwell
                  801 Township Rd 93
                  Somerset, OH 43783


                  Rich Pierce
                  7330 Dewey Rd
                  Thompson, OH 44086


                  Rich Pochert
                  9120 Angie Way
                  Grand Ledge, MI 48837


                  Rich Priest
                  279 State Rd
                  West Branch, MI 48661


                  Rich Renshaw
                  10890 East Brooks Road
                  Lennon, MI 48449


                  rich riggins
                  408 E Santa Fe Rd, Chillicothe, IL 61523
                  Chillicothe, IL 61523


                  Rich Root
                  9315 E Vienna Rd
                  Otisville, MI 48463


                  Rich Scarpino
                  2425 Dorn Rd
                  Waterford, PA 16441


                  Rich Sobol
                  276 Wilkerson Dr
                  Mount Washington, KY 40047


                  Rich Turner
                  207 Shady Oak Lane
                  Forest, VA 24551


                  Rich Wilson
                  207 Catatoga Path
                  Brevard, NC 28712
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                  Rich Wooten
                  1217 Buck Avenue
                  Richmond Heights, MO 63117


                  Rich Yaworski
                  1860 Wilder Rd
                  Bay City, MI 48706


                  Richard "Neil" White
                  8633 Gerhardt Street
                  Shelby Charter Township, MI 48317


                  Richard "Rich" Copelli
                  1220 Clay Plant Road
                  Brockway, PA 15824


                  Richard "Rich" Saylor
                  230 Maple Drive
                  Karns City, PA 16041


                  Richard Abbatoy
                  6110 Demorrow Rd
                  Stevensville,, MI 49127


                  Richard Akers
                  167 Caldon Rd.
                  Swansea, SC 29160


                  Richard Allen
                  64010 Needham Rd
                  Burr Oak, MI 49030


                  Richard Allen
                  1095 Park Glen Dr
                  Union City, OH 45417


                  Richard Allison
                  1615 West Holmes Road
                  Lansing, MI 48910


                  Richard Andrus
                  8327 Cactus Wren Hill
                  SAn Antonio, TX 78253
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                  Richard Anstice
                  1049 chapel wood drive
                  bedford, VA 24523


                  Richard Arn
                  9417 Russellville-Winchester Road
                  Winchester, OH 45697


                  Richard Arnold
                  2450 Baseline Road
                  Stockbridge, MI 49285


                  Richard Arriaga
                  3103 Mockingbird Ln
                  Rosenberg, TX 77471


                  Richard Ayers
                  336 Barron Rd
                  Slippery Rock, PA 16057


                  Richard Babcock
                  5800 West Burns Road
                  Coleman, MI 48618


                  Richard Bagwell
                  450 Middle Fork Road
                  Hartsville, TN 37074


                  Richard Ball
                  1962 Oak Hill Road
                  Crawfordsville, IN 47933


                  Richard Barnett
                  855 pearman rd
                  Cumberland Gap, TN 37724


                  Richard Batterton
                  1918 Illinois 78
                  Jacksonville, IL 62650


                  Richard Bayerl
                  43646 Westridge Lane
                  Northville, MI 48167
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                  Richard Bend
                  7542 Fred W Moore Hwy
                  Columbus, MI 48063


                  Richard Berkley
                  4285 Whitmell School Road
                  Dry Fork, VA 24549


                  Richard Berkley
                  2154 Sandy Ridge Rd
                  Nathalie, VA 24577


                  Richard Berry
                  5419 North Rodgers Avenue
                  Harrison, MI 48625


                  Richard Besinger
                  3700 Saratoga Avenue
                  Downers Grove, IL 60515


                  Richard Billa
                  8607 Plum Lake Drive
                  Houston, TX 77095


                  Richard Billman
                  7940 Bates Rd
                  West Salem, OH 44287


                  Richard Bishop
                  115 Bishop Lane Northwest
                  Willis, VA 24380


                  Richard Blanton
                  611 Sandusky Street
                  Jacksonville, IL 62650


                  Richard Blasko
                  1824 Bumpass Road
                  Bumpass, VA 23024


                  Richard Boandl
                  56 N Sycamore St
                  Macungie, PA 18062
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                  Richard Boisvert
                  15296 NC-39
                  Henderson, NC 27537


                  Richard Bole
                  4629 Bennington Dr
                  Sterling Heights, MI 48310


                  Richard Booker
                  1 Angus Ln
                  Hampton, VA 23669


                  Richard Boone
                  1100 Vista Valley Road
                  Washington, PA 15301


                  Richard BOWEN
                  715 East Westchester Court
                  Springfield, MO 65810


                  Richard Bowersox
                  1316 Brittany Hills Dr
                  Dayton, OH 45459


                  Richard Boyce
                  208 Derby Rd
                  Portsmouth, VA 23702


                  Richard Brannon
                  745 Fleetwood Avenue
                  Marion, OH 43302


                  Richard Brinkley
                  4554 Marysville Rd
                  Delaware, OH 43015


                  Richard Burgett
                  4327 Stone Ridge Drive
                  Traverse City, MI 49684


                  Richard Burley
                  9773 Monroe Blvd
                  Taylor, MI 48180
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                  Richard Byers
                  4035 Cumberland City Road
                  Indian Mound, TN 37079


                  Richard C Thomas
                  1834 U.S. 19E
                  Spruce Pine, NC 28777


                  Richard Cannode
                  16478 County Rd 90
                  Kenton, OH 43326


                  Richard Carlson
                  710 North Center Avenue
                  Galva, IL 61434


                  Richard Cathcart
                  194 Mays Lane
                  Covington, VA 24426


                  Richard Cathcart Richard Cathcart
                  194 Mays Lane
                  Covington, VA 24426


                  Richard Caufield
                  9792 lowmiller rd
                  Minerva, OH 44657


                  Richard Cavinder
                  1337 Township Rd 180
                  Waynesfield, OH 45896


                  Richard Celata
                  1900 County Lane 148
                  Carthage, MO 64836


                  Richard Chalut
                  3947 East Columbia Road
                  Dansville, MI 48819


                  Richard Channer
                  192 Reilly Rd
                  East Shroudsburg, PA 18302
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                  Richard Chapman
                  107 North Shupe Street
                  Mount Pleasant, PA 15666


                  Richard Chojnacki
                  1125 Maryetta Dr.
                  Gladwin, MI 48624


                  Richard Chojnacki
                  1108 E. Cedar Ave.
                  Gladwin, MI 48624


                  Richard Chojnacki
                  1114 E Cedar Ave
                  Gladwin, MI 48624


                  Richard Clark
                  591 Kappler Road
                  Heath, OH 43056


                  Richard Clifford
                  479 Adrian Drive
                  Delaware, OH 43015


                  Richard Cline
                  21369 OH-15
                  Continental, OH 45831


                  Richard Cnossen
                  3724 Taplin St SW
                  Grandville, MI 49418


                  Richard Coccaro
                  9906 Webster Road
                  Freeland, MI 48623


                  Richard Colbert
                  16 Reed St
                  Trion, GA 30753


                  Richard Colclough
                  342 Green View Rd
                  Moyock, NC 27958
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Richard Collins
                  143 Naked Mountain Ln
                  Shipman, VA 22971


                  Richard Consul
                  31911 Inglewood Street
                  Beverly Hills, MI 48025


                  richard cook
                  12668 Mentzer Gap Rd
                  Waynesboro, PA 17268


                  Richard Cooksey
                  40804 OH-684
                  albany, OH 45710


                  Richard Coon
                  132 Swanson Rd
                  Cusseta, GA 31805


                  Richard Copner
                  5697 West Johnson Road
                  La Porte, IN 46350


                  Richard Cotrell
                  2447 Lutz Road
                  Lima, OH 45801


                  Richard Coulter
                  17022 State Route 101
                  Grabill, IN 46741


                  Richard Crandall
                  4955 Dennis Rd East
                  Webberville, MI 48892


                  Richard Crites
                  773 Hagwood Rd
                  Middlesex, NC 27557


                  Richard Cronin
                  5710 Gerald Avenue
                  Parma, OH 44129
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                  Richard Cuevas
                  241 Deep Creek Dr
                  Clayton, NC 27520


                  Richard Cullen
                  130 Beverly Road
                  Ashland, VA 23005


                  Richard Dalhaus
                  726 Loudon View Drive
                  Friendsville, TN 37737


                  Richard Damm
                  7927 Meade Street
                  Montague, MI 49437


                  Richard Danhoff
                  1103 Poplar Street
                  Lake in the Hills, IL 60156


                  Richard Davis
                  8408 Williamsburg Cir
                  Huntersville, NC 28078


                  Richard Davis
                  911 Old Cincinnati Pike
                  West Union, OH 45693


                  Richard Defibaugh
                  140 Chestnut Road
                  Avella, PA 15312


                  Richard DeVires
                  1690 Cashtown Road
                  Bremen, GA 30110


                  Richard Dickens
                  11805 State Route 41
                  West Union, OH 45693


                  Richard Dickens
                  105 Allen Ct
                  Boiling Springs, SC 29316
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                  richard dickson
                  48484 Wear Road
                  Belleville, MI 48111


                  Richard Dillon
                  120 Ziegler Ave
                  Columbus, OH 43207


                  Richard Dixon
                  657 Moore Farm Ln
                  Suffolk, VA 23434


                  Richard Doyle
                  805 East Lincoln Street
                  Hoopeston, IL 60942


                  Richard Drake
                  7770 Grand River Road
                  Bancroft, MI 48414


                  richard dycus
                  1005 East 6th Street
                  Cookeville, TN 38501


                  Richard Eberly
                  1249 Forest Rd
                  Ulster, PA 18850


                  Richard Eckrote
                  24767 Jeb Stuart Highway
                  Stuart, VA 24171


                  Richard Elenbaas Jr.
                  20203 Church Road
                  Howard City, MI 49329


                  Richard Ellsworth
                  170 Blueberry Road
                  Jasper, GA 30143


                  Richard Ely
                  107 East Benton Street
                  Greenville, MI 48838
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                  Richard Emberson
                  107 Ashlyn drive
                  Fisher, IL 61843


                  Richard Endress
                  492 Bissonette Road
                  Oscoda, MI 48750


                  Richard Erwin
                  324 West Indiana Street
                  Trenton, IL 62293


                  Richard Fabijancic
                  3347 Delano street
                  Allegan, MI 49010


                  Richard Flasher
                  20920 Coles Valley Rd
                  Robertsdale, PA 16674


                  Richard Foland
                  534 Wright St
                  Corry, PA 16407


                  Richard Foster
                  4720 Round Lake Highway
                  Manitou Beach-Devils Lake, MI 49253


                  richard foxworthy
                  15380 East Lake Shore Drive North
                  Hope, IN 47246


                  Richard Frazier
                  3401 Eby Road
                  Smithville, OH 44677


                  Richard Freeland
                  175 Hill Street
                  Rayland, OH 43943


                  Richard Galler
                  4357 Kingston Drive
                  Milan, MI 48160
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Richard Garrison
                  321 Old Salem Way
                  Martinez, GA 30907


                  Richard Gates
                  1902 Windsor Ln
                  Flint, MI 48507


                  Richard Gerrick
                  8023 Bremen Ave
                  Parma, OH 44129


                  Richard Gibson
                  16655 state route 103
                  Mt Blanchard,, OH 45867


                  RICHARD Gillespie
                  148 Forrest Dr SW
                  Plainville, GA 30733


                  Richard Gipson
                  3803 New Road
                  Youngstown, OH 44515


                  Richard Glass
                  5694 Plantation Pl
                  New Holland, OH 43145


                  Richard Goddard
                  Nicholas G. Higgins A&L Licker Law Firm
                  108 Explorer Drive
                  Union, MO 63084


                  Richard GODDARD
                  212 South Grand Avenue
                  Sparta, IL 62286


                  RIchard Goslin
                  17190 Ravenscraft Road
                  Sturgeon, MO 65284


                  Richard Graham
                  273 Reagan Drive
                  Taylorsville, KY 40071
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                  Richard Grant
                  376 Brewer Rd
                  Rochester, PA 15074


                  Richard Grenell
                  1142 Bitumen Road
                  Westport, PA 17778


                  Richard Griffie
                  382 Crossroad School Road
                  Newville, PA 17241


                  Richard Groenwald
                  1329 Martin Dr
                  Frankfort, MI 49635


                  Richard Groller
                  131 Snow Bird Ln
                  Graysville, TN 37338


                  Richard Hall
                  559 N 700 W
                  La Porte, IN 46350


                  Richard Hall
                  C Harrison Hall Drive
                  Lake Toxaway, NC 28747


                  Richard Hall
                  131 Jonas Circle
                  Chester, SC 29323


                  Richard Hamrick
                  130 E 11th St
                  Lapel, IN 46051


                  Richard Harrell
                  277 Wythe Creek Rd
                  Poquoson, VA 23662


                  Richard Harvey
                  4680 N County Rd 500 W
                  Middletown, IN 47356
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                  Richard Hathaway III
                  3476 Fish Lake Road
                  Lapeer, MI 48446


                  richard hays
                  4015 Scott Station Ln
                  Jefferson City, MO 65109


                  Richard Head
                  130 Highland Avenue Extension
                  Spruce Pine, NC 28777


                  Richard Heinrich
                  566 Barber Loop
                  Mooresville,, NC 28117


                  Richard Hemphill
                  19354 Laney Rd
                  Waynesville, MO 65583


                  Richard Henderson
                  110 Frank Bullock Rd
                  Manson, NC 27553


                  Richard Hernandez
                  437 S Bay Haven Dr
                  Gwynn, VA 23066


                  Richard Hernandez
                  437 S Bay Haven Rd
                  Gwynn, VA 23064


                  Richard Hoffman
                  136 Westbrook Dr Rutherfordton, NC 28139
                  Rutherfordton,, NC 28139


                  Richard Hollenback
                  4215 W Lake Rd
                  Clio, MI 48420


                  Richard Hudson
                  8310 State Route 762
                  Orient, OH 43146
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                  Richard Hughes
                  24292 Crescent Hill Rd
                  Edgerton, KS 66021


                  Richard Hughes
                  13918 Seattle Slew Ln.
                  Midlothian, VA 23112


                  Richard Hunter
                  170 Old Ragland Rd
                  Madison Heights, VA 24572


                  Richard hurst
                  711 Pinehurst Drive
                  Fort Wayne, IN 46815


                  Richard Iddins
                  1840 Willow Road
                  Hendersonville, NC 28739


                  Richard Isom
                  1900 Sheffield Street
                  Middletown, OH 45044


                  Richard J. Thomas Jr
                  114 Pepper Ridge Drive
                  Spring Mills, PA 16875


                  Richard Jackson
                  410 West Walnut Street
                  Jacksonville, IL 62650


                  Richard Jackson
                  5037 Wymore Dr
                  Columbus, OH 43232


                  Richard Jackson
                  3441 North Drexel Avenue
                  Indianapolis, IN 46218


                  Richard James
                  150 Birchwood Road
                  Blakeslee, PA 18610
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                  Richard Jay
                  22 Park Loop Drive
                  Fredericktown, PA 15333


                  Richard Johns
                  4674 Country Ct,
                  Anderson, IN 46012


                  Richard Johnson
                  121 Debbie Drive
                  Industry, PA 15052


                  Richard Jones
                  1537 Lea View Ave,
                  Norfolk, VA 23503


                  Richard Kaiser
                  203 Wilshire Blvd
                  Steubenville, OH 43952


                  Richard Kawamura
                  332 N Fairview Ave
                  Lansing, MI 48912


                  richard keener
                  15 Oakwood Lane
                  Jonestown, PA 17038


                  Richard Kelch
                  6106 E 149th St
                  Grandview, MO 64030


                  Richard Keller
                  1712 Marilyn Ave
                  Dayton, OH 45420


                  Richard Kelley
                  653 Idaho Drive
                  Xenia, OH 45385


                  Richard Kensey
                  10994 OH-287
                  East Liberty, OH 43319
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                  Richard Kilgore
                  260 Lexington Trail
                  Dry Ridge, KY 41035


                  Richard King
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                  Gldwin, MI 48624


                  Richard King
                  5950 Chappel Dam Rd.
                  Gladwin, MI 48624


                  Richard King
                  123 orchard Avenue
                  Renshaw, PA 15116


                  Richard King
                  333 Cedar St
                  Wayland, MI 49348


                  Richard Kiparski
                  9506 Eastern Sky Ln
                  Richmond, TX 77406


                  Richard Klein
                  12705 State Road TT
                  Festus, MO 63028


                  Richard Knobloch
                  266 Padgett Ln
                  Turtletown, TN 37391


                  Richard Koscielak
                  2603 School Drive
                  Rolling Meadows, IL 60008


                  Richard Kozlowski
                  344 Wilton Avenue
                  Hampton, VA 23663


                  Richard Krause
                  148 Stratford Drive
                  Blue Ridge, VA 24064
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                  Richard Krawczyk
                  1973 W 200 N
                  Greenfield, IN 46140


                  Richard Lacy
                  302 County Road 6720
                  Natalia, TX 78059


                  Richard LaFace
                  155 Grange Road
                  Beaver, PA 15009


                  Richard LaFlamme
                  1800 Jefferson Road
                  Clarklake, MI 49234


                  Richard LAIRD
                  2106 Henry Rd
                  Edgeworth, PA 15143


                  Richard Lamp
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                  Lancaster, OH 43130


                  Richard Lantz
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                  Senecaville, OH 43780


                  Richard Lapham
                  2437 Brasileno Drive
                  Virginia Beach, VA 23456


                  Richard LeBlanc
                  13943 Charlynn Oaks Dr
                  Houston, TX 77070


                  Richard Lenger
                  5762 Brookfarm Dr SE
                  Kentwood, MI 49508


                  Richard Linsk
                  22163 chatsford circuit
                  Southfield, MI 48034
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                  Richard Loats
                  1209 Ivy Ln
                  Cary, NC 27511


                  Richard Lockard
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                  Elkton, MI 48731


                  Richard Lord Lord
                  1025 Shenk Avenue
                  Erie, PA 16505


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                  Oriental, NC 28571


                  Richard Lucas
                  9130 East 50 North
                  Seymour, IN 47274


                  Richard Luther
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                  Friedens, PA 15541


                  Richard Lynch
                  4748 Wyo Rd
                  Yadkinville, NC 27055


                  Richard Lyons
                  420 Old River Acres Dr
                  Burgaw, NC 28425


                  Richard Mabe
                  45 Harbor Drive
                  Reedville, VA 22539


                  Richard MacDonald
                  4737 McMillan Court
                  Rochester Hills, MI 48306


                  Richard Mackey
                  705 Villa Ave
                  Akron, OH 44310
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                  RICHARD MANNING
                  24 Quick Drive
                  Hillsville, VA 24343


                  Richard Martin
                  100 N Mulberry Ct
                  Mt Holly, NC 28120


                  Richard May
                  840 Fox Valley Road
                  Marion, VA 24354


                  Richard May
                  6568 Iroquois Avenue
                  Harborcreek, PA 16421


                  Richard McClendon
                  4759 Ryland Rd
                  Hale, MI 48739


                  richard mcdonald
                  4881 Styles Road
                  Pleasant Lake, MI 49272


                  Richard McKenzie
                  189 Good Earth Drive
                  Hemingway, SC 29554


                  Richard Mcnabb
                  7690 Black river rd
                  Crosswell, MI 48422


                  richard mercer
                  545 Twin Springs Lane
                  Stockbridge, GA 30281


                  Richard Mercurio
                  207 Robin Hill Ln
                  Ballwin, MO 63021


                  Richard Meyer
                  1218 Greystone Drive
                  Pittsburgh, PA 15241
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                  Richard Milazzo
                  2121 Chamberling Key
                  Virginia Beach, VA 23454


                  Richard Miller
                  39491 E 2250 North Rd
                  Cropsey, IL 61731


                  Richard Miller
                  10747 Indian Trial Rd
                  Harrisonburg, VA 22802


                  Richard Monfort
                  2335 South 225 East
                  Winchester, IN 47394


                  Richard Monteria
                  5617 Belfield Road
                  Freeman, VA 23856


                  Richard Moon
                  206 Staman Dr
                  Inman, SC 29349


                  Richard Moore
                  602 Rockhampton Drive
                  Columbia, IL 62236


                  Richard Moore
                  1037 Shirley Drive
                  Jacksonville, NC 28540


                  Richard Mosher
                  5184 N Bass Lake Rd
                  Pierson, MI 49339


                  Richard Moss
                  1047 Radhas Way
                  Sandy Ridge, NC 27046


                  Richard Muller
                  1116 Vine Street
                  East Liverpool, OH 43920
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                  Richard Murphy
                  122 County Line Road
                  Tyner, NC 27980


                  Richard Niemczura
                  8524 Cranwood Drive
                  Chesterland, OH 44026


                  Richard Niles
                  616 Hoyt Street Southeast
                  Grand Rapids, MI 49507


                  Richard Norman
                  11175 East 550 North
                  Grovertown, IN 46531


                  Richard Ohearn
                  5613 Thomas Rd
                  Georgetown, OH 45121


                  Richard Orlowski
                  104 Wright Rd
                  Quincy, MI 49082


                  Richard Osborne
                  188 Blackberry Hill Lane
                  Butler, PA 16002


                  Richard Owens
                  2219 Hildreth
                  St Richmond, VA 23223


                  Richard Pace
                  1284 Shore Ln
                  Lottsburg, VA 22511


                  Richard Page
                  237 Dwiggins Ave
                  Griffith, IN 46319


                  Richard Parham
                  884 Knightsbridge Dr
                  Raveen, OH 44266
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                  Richard Pierce
                  1808 Pitchkettle Rd
                  Suffolk, VA 23434


                  Richard Pinckney
                  451 Seqouia Dr
                  Clayton, NC 27527


                  Richard Pizzimenti
                  8089 Garden Pointe NE
                  Leland, NC 28451


                  Richard Polley
                  7812 Hermitage Drive
                  Fredericksburg, VA 22407


                  Richard Pollum
                  8101 South Parisville Road
                  Minden City, MI 48456


                  Richard Polzin
                  1620 N Fletcher Rd
                  Chelsea, MI 48118


                  Richard Prather
                  2713 Glendale Blvd
                  Kalamazoo, MI 49004


                  Richard Price
                  7303 Audubon St
                  Clay Township, MI 48001


                  Richard Priest
                  279 State Rd
                  West Branch, MI 48661


                  Richard Quiton
                  2123 Glencove Rd
                  Wolverine Lake, MI 48390


                  Richard Ratzer
                  8576 Wayland Street
                  Norfolk, VA 23503
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                  Richard Ray
                  9930 Ohio 49
                  Ansonia, OH 45303


                  Richard Rea
                  1064 OH-7
                  Pierpont,, OH 44082


                  Richard Rec
                  627 W 8th St
                  Monroe, MI 48161


                  Richard Reens
                  17392 64th Ave
                  Coopersville, MI 49404


                  Richard Reese
                  6602 E Shafer Ridge Rd
                  Milltown, IN 47145


                  Richard Reichenbach
                  4980 Indiana 234
                  Greenfield, IN 46140


                  Richard Rice
                  14100 Germantown Road
                  Columbiana, OH 44408


                  Richard Ridgill
                  2600 SC-11
                  Travelers Rest, SC 29690


                  Richard Rieser
                  3712 Carondelet Blvd
                  St. Louis,, MO 63123


                  Richard Rising
                  2680 Pardee Road
                  Howell, MI 48843


                  Richard Roa
                  1611 Barlow Rd
                  HUdson, OH 44236
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                  Richard Roach
                  149 Doris Lane
                  Pinetops, NC 27864


                  Richard Robbins
                  160 Shawnee Dr
                  Lancaster, OH 43130


                  Richard Roberts
                  137 Goff Rd NE,
                  Check, VA 24072


                  richard rodenbaugh
                  885 County Road 28
                  Corunna, IN 46730


                  Richard Roth
                  602 Winters Street
                  Augusta, IL 62311


                  RICHARD RUCKER
                  1812 Jose Way
                  Murfreesboro, TN 37130


                  Richard Russell
                  6112 South Hanna City Glasford Road
                  Glasford, IL 61533


                  Richard Sackosky
                  1928 Oakwood Rd
                  Chesapeake, VA 23323


                  Richard Salmon
                  323 Berkleigh Trails Dr
                  Hiram, GA 30141


                  Richard Saltzgaber
                  431 Bates Street
                  Jackson, MI 49202


                  Richard Samuelson
                  110 Shell Box Dr
                  Leasburg, MO 65535
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                  Richard Sargo
                  1138 Brookton Chase Court
                  Dacula, GA 30019


                  Richard Sayles
                  122 Harris Rd
                  Lake Lure, NC 28746


                  Richard Scheck
                  1301 Somerlot Hoffman Rd W
                  Marion, OH 43302


                  Richard Schneck
                  3497 Wade Road
                  Capac, MI 48014


                  Richard Schneider
                  12460 Fralick Rd
                  South Solon, OH 43153


                  Richard Schram
                  2372 Indiana 135
                  Nashville, IN 47448


                  Richard Schrock
                  1243 W Co Rd 700 N
                  Orleans, IN 47452


                  Richard Schultz
                  684 Pennsylvania 29
                  Tunkhannock, PA 18657


                  Richard Schwartz
                  3501 Club House Road
                  Virginia Beach, VA 23452


                  Richard Scorzelli
                  7153 Manor Lane
                  Fowlerville, MI 48836


                  Richard Scroggins
                  1063 East Simmons Road
                  Madison, IN 47250
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                  richard sebree
                  6918 Broadfield Ct
                  columbus, GA 31907


                  Richard Shepard
                  1044 Steelhorse Drive
                  Fuquay-Varina, NC 27526


                  Richard Shinew
                  12191 S Spruce Ave
                  Grant, MI 49327


                  Richard Shingledecker
                  7970 Orangeville Road
                  Sharpsville, PA 16150


                  Richard Shipley
                  234 Fain Road
                  Blountville, TN 37617


                  Richard Shurick
                  707 Highcrest Dr,
                  Greenville,, SC 29617


                  Richard Simtob
                  2435 Doleman Dr
                  West Bloomfield Township, MI 48324


                  Richard Sinclair Sr
                  91 Yeager Dr
                  Shippensburg, PA 17257


                  Richard Small
                  9027 Oak Ridge Plantation Drive Southwes
                  Calabash, NC 28467


                  Richard Smith
                  2709 Kimberley Road
                  Ann Arbor, MI 48104


                  Richard Smith
                  225 Timberland Drive
                  Warrenton, MO 63383
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                  Richard Smith
                  415 Lambeth Dr
                  Johnson City, TN 37601


                  Richard Smith
                  360 Lummis Rd
                  Suffolk, VA 23434


                  RICHARD SOBOTTA
                  4157 Webberville Road North
                  Williamston, MI 48895


                  Richard Speed
                  377 Lakeshore Dr
                  Victoria, TX 77905


                  Richard Stambaugh
                  1845 Walnut Bottom Rd
                  Newville, PA 17241


                  Richard Stanley
                  6331 Marywood Dr
                  Wilmington, NC 28409


                  Richard Stark
                  3182 Cannon Road
                  Twinsburg, OH 44087


                  Richard Staton
                  5462 Warwood Drive
                  Cave Spring, VA 24018


                  Richard Stclair
                  2487 Meadors Spur Rd
                  Moneta, VA 24121


                  Richard Stearns
                  6680 North West Bay Shore Drive
                  Northport, MI 49670


                  Richard Stebbins
                  1800 Kelleytown Rd
                  HARTSVILLE, SC 29550
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                  Richard Stehley
                  19 E Market St
                  Freeburg, PA 17827


                  Richard Stevens
                  3741 Whistlewood Way
                  Perry, OH 44081


                  Richard Stewart
                  1682 Lakewood Rd
                  TWIN LAKE, MI 49457


                  Richard Stoddard
                  9525 Old U.S. 27
                  DeWitt, MI 48820


                  Richard Stormer
                  5997 7 Mile Road
                  Burlington, MI 49029


                  Richard Stover
                  1492 Farnsworth rd
                  Lapeer, MI 48446


                  Richard Stover
                  228 Taylor Road
                  West Newton, PA 15089


                  Richard Stuart
                  2304 Emeline Place
                  Morehead City, NC 28557


                  Richard Sutton
                  12524 PA 198
                  Guy Mills, PA 16327


                  Richard Swanson
                  1702 Ken Klare Drive
                  Dayton, OH 45432


                  Richard Tapley
                  42 Albrecht lane
                  Scott City, MO 63780
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                  RICHARD THEVENIN
                  10514 Ohio 305
                  Southington, OH 44470


                  Richard Thomas
                  PO BOX 334
                  Winnabow, NC 28479


                  Richard Thompson
                  1338 Winding Way
                  Charlotte, MI 48813


                  Richard Ulsh
                  8847 Olde Scotland Rd
                  Shippensburg, PA 17257


                  Richard Valgora
                  119 Memorial Drive
                  Perryopolis, PA 15473


                  Richard Van Abel
                  3090 Wilson Lane
                  Connelly Springs, NC 28612


                  Richard VanArsdel
                  1000 S Graywell Dr
                  Bloomington, IN 47401


                  Richard Vandevender
                  32816 Seneca Trail
                  Marlinton, WV 24954


                  Richard Vankirk
                  12802 Dixie Rd
                  Redford, MI 48239


                  Richard Vargas
                  8917 Dunmore Lane
                  Fort Wayne, IN 46804


                  Richard Veliky
                  925 East Presqueisle Street
                  Philipsburg, PA 16866
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                  Richard Vernon
                  12382 State Highway Y
                  Kennett, MO 63857


                  Richard Vogler
                  4150 Welcome-Arcadia Road
                  Lexington, NC 27295


                  Richard Walch
                  10791 Addison Road
                  Jerome, MI 49249


                  Richard Wald
                  181 Hidden Valley Court
                  Palmyra, VA 22963


                  Richard Walker
                  2804 Selhurst Drive
                  Fayetteville, NC 28306


                  Richard Washington
                  54 Forest Trail Court
                  Columbia, SC 29212


                  Richard Washington
                  10161 Amelia Springs Rd
                  Jetersville, VA 23083


                  Richard Weaver
                  431 South Lawton Street
                  Jasonville, IN 47438


                  Richard Weaver
                  4405 Governors Square
                  Gastonia, NC 28056


                  Richard Weil
                  2812 Rutherford Way
                  Charleston, SC 29414


                  Richard Westerburg
                  8537 Kinsey Road
                  Cranesville, PA 16410
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Richard White
                  1642 Stephens Drive
                  Superior Charter Twp, MI 48198


                  Richard Whitson
                  365 S 7th St
                  Conneaut Lake, PA 16316


                  Richard Wilcox
                  3208 Frank Grigg Drive
                  Shelby, NC 28150


                  Richard Williams
                  1860 Epley Rd
                  Williamston, MI 48895


                  Richard Wilson
                  7165 Becky Ct
                  Canton, MI 48187


                  Richard Wittels
                  104 Garrettford Drive
                  Bethalto, IL 62010


                  Richard Wood
                  16779 Texas Rd SE
                  Newark, OH 43056


                  Richard Workman
                  5528 Louise Lane
                  Northampton, PA 18067


                  Richard Wray
                  6075 Sandy Ridge Circle Northwest
                  North Canton, OH 44720


                  Richard Wright
                  609 White Clover Ct
                  Clayton, OH 45315


                  RICHARD WUNDERLICH
                  130 Arbor Shoals Drive
                  Canton, GA 30115
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                  Richard Wurtzler
                  7407 Ohio 134
                  Lynchburg, OH 45142


                  Richard Wuzpeace Barringer
                  920 Geneva Avenue
                  Toledo, OH 43609


                  Richard Zachrich
                  16714 Kinner Rd
                  Holgate, OH 43527


                  Richard Zaragoza
                  72 Ruby Lane
                  Levittown, PA 19055


                  Richard-whatley Turpin
                  2942 MIZE RD
                  Toccoa, GA 30577


                  Richardo Archer
                  1320 Waylon Ave
                  Gastonia, NC 28054


                  Richie Adams
                  5132 North Carolina 904
                  Fairmont, NC 28340


                  Richie Martin
                  611 Wildwood Drive
                  Pearisburg, VA 24134


                  Rick Allomong
                  21270 Roehrig Rd
                  Defiance, OH 43512


                  Rick Antill
                  6489 OH-213
                  Toronto, OH 43964


                  Rick Bauer
                  999 North 250 East
                  Chesterton, IN 46304
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Rick Blankenship
                  157 Courthouse Lane
                  Bowling Green, VA 22427


                  Rick Boros
                  1428 Rose Ave
                  Lincoln Park, MI 48146


                  Rick Bousquet
                  30 Seneca Terrace
                  Fredericksburg, VA 22401


                  Rick Brown
                  22455 Iron Gate Street
                  Trenton, MI 48183


                  Rick Calla
                  75 Powells Ridge Rd
                  Halifax, PA 17032


                  Rick Carie
                  2095 Concord Arenzville Road
                  Concord, IL 62631


                  Rick Carrick
                  5898 Cane Ridge Rd
                  Nashville, TN 37013


                  Rick Carter
                  610 E 14th St
                  Maryville, MO 64468


                  Rick Cleary
                  6426 Oak Grove Rd
                  Howell, MI 48855


                  rick Clough
                  159 Millstream Drive
                  Jackson, TN 38305


                  Rick Cokel
                  19913 Clinton Place
                  Monroe City, MO 63456
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Rick Commers
                  5698 W Pleasant Hills Trail
                  La Porte, IN 46350


                  Rick Cox
                  1843 Cheviot Hills Dr
                  Springfield, OH 45505


                  Rick Crist
                  101 sw 3rd st
                  Atwood, IL 61913


                  Rick Crossman
                  15609 Mockingbird Ln
                  King George, VA 22485


                  Rick Dankmyer
                  338 Peconi Dr
                  Apollo,, PA 15613


                  Rick Davis
                  7151 Trappers Ridge
                  Battle Creek, MI 49014


                  rick Dennis
                  1787 300 West
                  Kokomo, IN 46901


                  Rick Doak
                  6521 E Eaton Hwy
                  Sunfield, MI 48890


                  Rick Eneberg
                  17098 Rosehill Road
                  Pinckney, MI 48169


                  Rick Geer
                  125 Will Dixon Road
                  Lawndale, NC 28090


                  Rick Gonzalez
                  12300 East Richfield Road
                  Davison, MI 48423
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                  Rick Hankins
                  770 Melinda Drive
                  Union, MO 63084


                  Rick Hartrick
                  3202 Vine Street Southeast
                  New Philadelphia, OH 44663


                  Rick Hawksley
                  160 N Chestnut St
                  Ravenna, OH 44266


                  Rick Haynes
                  1784 Castleton Dr
                  Troy, MI 48083


                  Rick Henson
                  1317 E Dodge Rd
                  Mount Morris, MI 48458


                  Rick Hoffman
                  2836 Lancaster-Kirkersville Road Northwe
                  Lancaster, OH 43130


                  Rick Holland
                  2750 Timpson Ave SE
                  Lowell, MI 49331


                  Rick House
                  26907 West Road
                  Wellington, OH 44090


                  Rick Howard
                  166 Beatrice Ln
                  Chillicothe, OH 45601


                  Rick Johannes
                  1038 union rd.
                  Xenia, OH 45385


                  Rick Johnson
                  1800 Creech Church Rd
                  Kenly, NC 27542
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Rick Johnson
                  7220 Monarch Street
                  Canal Winchester, OH 43110


                  Rick Kercheval
                  4201 W 254th St
                  Sheridan, IN 46069


                  Rick Killmer
                  1050 South 250th Street
                  Pittsburg, KS 66762


                  Rick King
                  41 E Hickory Grove Rd
                  Urbana, OH 43078


                  Rick Klempner
                  1315 East Breckinridge Street
                  Louisville, KY 40204


                  Rick Kollar
                  2073 Clyde Road
                  Highland, MI 48357


                  Rick Krieger
                  3575 Richmond Road
                  Easton, PA 18040


                  Rick Landry
                  13 Shaker Court
                  Asheville, NC 28805


                  Rick LAWSON
                  905 West 9th Street
                  Anderson, IN 46016


                  Rick Lukomski
                  535 Country Club Road
                  Brookville, PA 15825


                  Rick McCoy
                  1035 Peachtree Dr
                  Thomson, GA 30824
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                  Rick Mehaffey
                  83 Sorrells Cove Rd
                  Waynesville, NC 28786


                  Rick Meier
                  2459 W Sterns Rd
                  Temperance, MI 48182


                  Rick Menego
                  630 Golf Rd
                  Lexington, MO 64067


                  Rick Miller
                  3307 Church Dr
                  Lorain, OH 44053


                  Rick Miller
                  6939 Shaker Rd
                  Franklin, OH 45005


                  Rick Mohl
                  1015 Woodcrest Lane
                  Hazelwood, MO 63042


                  Rick Morch
                  11686 Blue Ridge Drive
                  Schoolcraft, MI 49087


                  Rick Nash
                  1613 102nd Avenue
                  Otsego, MI 49078


                  Rick Owen
                  2540 W Old North Carolina 150 Hwy
                  Crouse, NC 28033


                  Rick Paavola
                  5454 E Michigan Ave,
                  Au Gres, MI 48703


                  Rick Parker
                  806 Kure Village Way
                  Kure Beach, NC 28449
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                  Rick Parker
                  329 E Hemlock Ave
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                  Rick Pellant
                  103 Patrick Henry Ct
                  Danville, KY 40422


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                  1381 Shula Dr
                  Hurt, VA 24563


                  Rick Powers
                  37390 McBride Street
                  Romulus, MI 48174


                  Rick Radde
                  50935 Mercury Drive
                  Granger, IN 46530


                  Rick Radocy
                  190 Farnstead Drive
                  Northwood, OH 43619


                  Rick Rahm
                  1733 N Leutz Rd
                  Oak Harbor, OH 43449


                  Rick Roberts
                  513 Pembroke Road Southwest
                  Poplar Grove, IL 61065


                  Rick Rolston
                  4747 Enlow Rd
                  Athens, OH 45701


                  Rick Romero
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                  Kalamazoo, MI 49009


                  Rick Roveta
                  2713 Sandy Creek Rd
                  Dry Fork, VA 24549
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                  4031 Club Course Drive
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                  Rick Schlee
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                  Chester, SC 29706


                  Rick Schmierbach
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                  New Athens, IL 62264


                  Rick Sense
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                  Akron, OH 44333


                  Rick Seymour
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                  Johnstown, OH 43031


                  Rick Sluder
                  340 Dula Springs Road
                  Weaverville, NC 28787


                  Rick Smith
                  7350 Kochville Rd
                  Freeland, MI 48623


                  Rick Smith
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                  Roanoke, VA 24015


                  rick Stark
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                  Perryville, MO 63775


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                  Howell, MI 48855


                  Rick Strange
                  1308 E Kirklin Brick Rd
                  Frankfort, IN 46041
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                  7984 Cavender St
                  Morenci, MI 49256


                  Rick Swartwood
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                  Cary, NC 27518


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                  Ellenboro, NC 28040


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                  8377 so. Co. Rd. 300 E.
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                  RICK WEJROWSKI
                  1012 Harry Lane
                  Midland, MI 48642


                  Rick Wiegand
                  13301 Lashbrook Ln E
                  Brighton, MI 48114


                  Rick Williams
                  738 British Woods Dr
                  Roanoke, VA 24019


                  Rick Young III
                  469 Creekview Dr
                  Ellijay, GA 30536


                  Rickey Abbott
                  2314 Plumosa Drive
                  Grimesland, NC 27837


                  Rickey Barnett
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                  Rickey Campbell
                  440 Treeline Drive
                  Moncks Corner, SC 29461
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                  3818 U.S. 60
                  Grayson, KY 41143


                  Rickey Lollie
                  2264 West Howard Road
                  Beaverton, MI 48612


                  Rickey Ringer
                  243 Branch Canal Rd
                  New Bern, NC 28560


                  Rickey Schott
                  27568 Bison Ridge
                  Elkhart, IN 46514


                  Ricki Ford
                  1183 Andersonville Road
                  Chillicothe, OH 45601


                  Ricki Hood
                  4029 West Washington Street
                  New Castle, PA 16101


                  Rickie Gilliland
                  295 State Hwy 604
                  Central City, KY 42330


                  Rickie Wren
                  5060 Lahring Rd
                  Linden, MI 48451


                  Ricky Abrams
                  8881 St Rt 243 South Point Ohio
                  South Point, OH 45680


                  Ricky Allen
                  470 Applewood Lane,
                  Palmyra,, VA 22963


                  Ricky Applegate
                  600 S Jackson Ave
                  Waynesboro, VA 22980
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                  Ricky Boyne
                  4734 Hummel Dr
                  Attica, MI 48412


                  Ricky Brooks
                  327 Jordan Store Road
                  Kents Store, VA 23084


                  Ricky Burgess
                  2927 Mathis Church Road
                  Catawba, NC 28609


                  Ricky Cooke
                  346 Powells Store Road
                  Glade Hill, VA 24092


                  Ricky Denton
                  1547 N Oxford St
                  Indianapolis, IN 46201


                  Ricky Gallogly
                  2363 Co Rd 206
                  Marengo, OH 43334


                  Ricky Hancock
                  1137 Hancock Hill Road
                  Mount Croghan, SC 29727


                  Ricky Harris
                  18909 Huntington Ave
                  Harper Woods, MI 48225


                  Ricky Harvey
                  327-2 Joliet Rd
                  Valparaiso, IN 46385


                  Ricky Hewett
                  161 Freedom Blvd
                  Whiteville, NC 28472


                  Ricky Holt
                  5978 Castle Brook Ave SE
                  Kentwood, MI 49508
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ricky Jackson
                  12 Brewster Drive
                  Taylors, SC 29687


                  Ricky Jones I
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                  Buford, GA 30518


                  Ricky Koehler
                  36259 Westfield Drive
                  North Ridgeville, OH 44039


                  Ricky LAFountain
                  11410 Cove Creek Court
                  Taylor, MI 48180


                  Ricky Lamson
                  18022 Milwaukee Rd
                  Dundee, MI 48131


                  Ricky Mattern
                  3401 Princeton Road
                  Cadiz, KY 42211


                  Ricky Mildenstein
                  185 Carter Drive
                  Vine Grove, KY 40175


                  Ricky Millen
                  3488 Toms Hill Rd
                  Saluda, VA 23149


                  Ricky Mudd
                  317 Seay St
                  Glasgow, KY 42141


                  Ricky Nelson
                  7436 Lilly Square
                  Dayton, VA 22821


                  Ricky Nolan
                  2103 E State Route 95
                  Marietta, IL 61459
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ricky Palmer
                  1109 North Maple
                  Stanberry, MO 64489


                  Ricky Patrick
                  1243 Culbert Rd
                  Marion, VA 24354


                  Ricky Polk
                  435 Kenwood Rd
                  Glade Hill, VA 24092


                  Ricky Randolph
                  513 Harris Rd
                  Wilmington, NC 28411


                  Ricky Reed
                  219 Mountain View Road
                  Ronceverte, WV 24970


                  Ricky Reesman
                  422 East Grant Avenue
                  Dayton, PA 16222


                  Ricky Richards
                  3715 West Tyler Road
                  Alma, MI 48801


                  Ricky Shepherd
                  609 George Sherman Rd
                  Rougemont, NC 27572


                  Ricky Simmons
                  290 Uriah Rd
                  Whitesburg, KY 41858


                  Ricky Small
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                  Marthasville, MO 63357


                  Ricky Smith
                  64 Zeke Brown Rd
                  Tunnel Hill, GA 30755
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                  Ricky Smith
                  157 Jackson Run Road
                  Punxsutawney, PA 15767


                  Ricky Stokes
                  600 E Fillmore St
                  Fillmore, IL 62032


                  Ricky Stone
                  22 Clover Ln
                  Colonial Beach, VA 22443


                  Ricky Whitehurst
                  3742 Armstrong Road
                  Springfield, TN 37172


                  Ricky Wilson
                  2350 North Dennis Ave
                  Decatur, IL 62521


                  RICKY WILSON
                  1609 Chapleau Dr Ann Arbor, MI 48103
                  Ann Arbor, MI 48103


                  Ricky Wright sr
                  211 Bridgemont Way
                  Hinesville, GA 31313


                  Rico Johnson
                  910 Godwin Avenue
                  Chesapeake, VA 23324


                  Ricole Rios
                  7644 Kilowatt Drive
                  Kalamazoo, MI 49048


                  Ridgeway Business Center
                  5865 Ridgeway Center Parkway, Suite 300
                  Memphis, TN 38120


                  Riemer Natural Gas, Llc
                  PO Box 156
                  Herman, PA 16039
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                  Right Angle Engineering
                  608 W 400 S
                  Orem, UT 84058


                  Rigoberto Salas
                  19 Wagon Ln Loop
                  Angleton, TX 77515


                  Rigoberto Sandoval
                  7318 Fallow Ln.
                  Charlotte, NC 28273


                  Rikki Goodwin
                  220 Competition Road
                  Raleigh, NC 27603


                  Ril Mattison
                  504 Greenwich Circle
                  Danville, VA 24540


                  Riley Dejesus
                  62927 Oak Shadows Rd
                  Lawton, MI 49065


                  Riley Ferguson
                  8049 E Bristol Rd
                  Davison, MI 48423


                  Riley Lawson
                  524 Beechtree Court
                  Danville, VA 24541


                  Rimun Kouza
                  35413 Gardner St
                  Livonia, MI 48152


                  Rishi Richardson
                  2335 Hickory Avenue
                  Buena Vista, VA 24416


                  Rita Allis
                  6594 Leraysville Road
                  Rome, PA 18837
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                  Rita Bissell
                  9078 N Coon Rd
                  Dakota, IL 61018


                  Rita Callen
                  15500 Cedar Leaf Ct
                  Cedar Springs, MI 49319


                  Rita Carman
                  1037 Daniel Drive
                  Stanley, NC 28164


                  Rita Chiu
                  121 Holly Green Drive
                  Ballwin, MO 63021


                  Rita Emrich
                  223 Newton Avenue
                  Newark, OH 43055


                  Rita Hemker
                  929 Wattles Rd
                  Sherwood, MI 49089


                  Rita Henson
                  80 Morgan County rd
                  Otterville, MO 65348


                  Rita Laninga
                  11045 North Wyman Road
                  Blanchard, MI 49310


                  Rita Lyubchenko
                  102 Oakridge Court
                  Hawley, PA 18428


                  Rita Maggott
                  18227 Manor
                  Detroit, MI 48221


                  Rita Nafziger
                  16640 Nall Ave
                  Stilwell, KS 66085
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                  Rita Rasmussen
                  3695 Henderson St
                  Denver, NC 28037


                  Rita Smith
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                  Southington, OH 44470


                  Rita Surber
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                  Cincinnati, OH 45215


                  Rita Wakefield
                  10174 East 1700th Avenue
                  Effingham, IL 62401


                  Rita Weadon
                  4148 French Acors Rd,
                  Spotsylvania Courthouse, VA 22551


                  Rita Weir
                  236 Pick Ave
                  Anderson, IN 46017


                  Rita Winger
                  2319 William Flynn Hwy
                  Butler, PA 16001


                  Rita Wylie
                  670 Saint John Street
                  Wyandotte, MI 48192


                  Ritalyle Crouse
                  2116 South County Road 550 West
                  Coatesville, IN 46121


                  River City Printed Products
                  12700 Townepark Way #313
                  Louisville, KY 40243


                  RJ cummings
                  2119 Oakview Rd SE
                  Atlanta, GA 30317
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                  Rj Duff
                  10675 Indiana 8
                  Knox, IN 46534


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                  10065 Louisville Street NE
                  LOUISVILLE, OH 44641


                  Rob Allen
                  6215 Lula Road
                  Lula, GA 30554


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                  3077 E Clark Rd
                  Harrisville, MI 48740


                  Rob Brinkerhoff
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                  Paris, IL 61944


                  Rob Busch
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                  Virginia Beach, VA 23464


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                  Carsonville, MI 48419


                  Rob Cofer
                  370 County Road 102
                  Ironton, MO 63650


                  Rob Curran
                  14330A Budd Rd
                  Yorkville, IL 60560


                  Rob Dail
                  936 NC-903
                  Seven Springs, NC 28578


                  Rob DeClerok
                  1050 Savannah Dr
                  Columbus, OH 43228
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                  Rob Dundee
                  262 Topaz Cir
                  Canfield, OH 44406


                  Rob Elhart
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                  Holland, MI 49423


                  Rob Flaugh
                  203 East State Street
                  Ashley, IN 46705


                  Rob Foulk
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                  Cincinnati, OH 45247


                  Rob Foy-George
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                  Mt. Juliet, TN 37122


                  Rob Gilbert
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                  Wilmington, OH 45177


                  Rob Harrel
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                  Coolidge, TX 76635


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                  2689 Beckett Drive
                  Lebanon, OH 45036


                  Rob KOONS
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                  Bucyrus, OH 44820


                  Rob Kurowski
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                  Smithfield, VA 23430


                  Rob Lyman
                  6830 Jones rd
                  North Branch, MI 48461
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                  Rob Mateovic
                  330 Oak Summit Rd
                  Winston-Salem,, NC 27105


                  Rob McClelland
                  456 Langford Road Northeast
                  Ranger, GA 30734


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                  Jackson, MI 49203


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                  Erie, PA 16509


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                  Columbiaville, MI 48421


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                  West Chester Township, OH 45069


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                  Rob Paquette
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                  Rob Pfeiffer
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                  Garrettsville,, OH 44231


                  Rob Potter
                  169 Perrin Dr
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                  Rob Praetzel
                  332 Sarah Blvd
                  Toronto, OH 43964


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                  Lancaster, OH 43130


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                  Sunbury, PA 17801


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                  Edinburg, PA 16116


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                  Dearborn Heights,, MI 48127


                  Rob Smith
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                  Scotts, MI 49088


                  Rob Sorrow
                  1617 Old Alabama Road
                  Taylorsville, GA 30178


                  Rob Uzmack
                  1379 Ash Rd
                  Vandergrift, PA 15690


                  Rob Varcho
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                  Sunbury,, OH 43074


                  Rob Wallace Jr.
                  443 Ivy Hills Circle
                  Mount Airy, GA 30563
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                  Rob West
                  961 Vine St
                  Saint Clair,, MI 48079


                  Rob Wilkey
                  8989 1400 N
                  Elwood, IN 46036


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                  Portage, IN 46368


                  Robb Bryn
                  126 Edmund Dr
                  Angier, NC 27501


                  Robb Goodwin
                  6585 Rosedale Ave
                  Reynoldsburg, OH 43068


                  Robbie Brown
                  1946 Furman Nixville Parkway
                  Estill, SC 29918


                  Robbie Eason
                  1009 Warren Rd
                  Erwin, NC 28339


                  Robbie Garren
                  24 Kay Road
                  Flat Rock, NC 28731


                  Robbie Graham
                  10415 Thiele Rd
                  Fort Wayne, IN 46819


                  robbie saunders
                  1318 Bentbrook Drive
                  Richmond, VA 23231


                  Robbie Sue King
                  4233 OH-139
                  portsmouth, OH 45662
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                  Robbin Anderson
                  1154 Millhaven Dr
                  Akron, OH 44321


                  Robbin Fogle
                  2255 University Drive Southeast
                  Massillon, OH 44646


                  Robbin Ploughman
                  9370 State Rd
                  Haslett, MI 48840


                  Robby Gingerich
                  69662 Co Rd 137
                  Millersburg, IN 46543


                  Robby Weaver
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                  Huddleston, VA 24139


                  Robert "Rob" Deemer
                  105 Dogwood Lane
                  Grove City, PA 16027


                  Robert (Bob) Rehahn
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                  Southgate, MI 48195


                  Robert (Steve) Kaiser
                  677 Rustic Valley Drive
                  Ballwin, MO 63021


                  Robert Abar
                  19086 Parkwood Lane
                  Brownstown, MI 48183


                  Robert Abt
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                  Wilmington, NC 28411


                  Robert Adams
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                  Kure Beach, NC 28449
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Adams
                  4385 Windsong Lane
                  Rock Hill, SC 29732


                  Robert Adkins
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                  Union Hall, VA 24176


                  Robert Albright
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                  Mohnton, PA 19540


                  Robert Altizer
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                  Hardy, VA 24101


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                  Gibsonia, PA 15044


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                  Robert Anderson
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                  Detroit, MI 48228


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                  Robert Anderson
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                  Mt Pleasant, MI 48858


                  Robert Anzalone
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                  Savannah, GA 31405


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                  2330 Forest Rd.
                  Lansing, MI 48910
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                  Robert Asencio
                  2 Keswick Ln
                  Hampton, VA 23669


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                  3332 Elk Creek Dr.
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                  robert baeumler
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                  Robert Bailey
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                  Eau Claire, MI 49111


                  Robert Baker
                  50200 Arkona Road
                  Belleville, MI 48111


                  Robert Baker
                  2307 Rochester Ct
                  Troy, MI 48083


                  Robert Baker
                  6251 Beamsville-Webster Rd
                  Versailles, OH 45380


                  Robert Balaka
                  1130 Falcon St
                  Dearborn, MI 48128


                  Robert Balk
                  439 Godfroy Avenue
                  Monroe, MI 48162
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                  Robert Ballinger
                  3443 W Walker Rd
                  Saint Johns, MI 48879


                  Robert Banks
                  2735 Strachan Ave
                  Pittsburgh, PA 15216


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                  Junction City, KS 66441


                  Robert Barbieri
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                  Marissa, IL 62257


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                  Dunn, NC 28334


                  Robert Bargy
                  6745 Cairn Highway
                  Kewadin, MI 49648


                  Robert Barich
                  11855 State Road Ww
                  Dittmer, MO 63023


                  Robert Barnes
                  5645 Pine Grove Drive
                  Dublin, VA 24084


                  Robert Barnett
                  1635 Peachtree Road
                  Charlotte, NC 28216


                  Robert Bates
                  987 Bear run road
                  Gallipolis, OH 45631


                  Robert Bauman
                  7890 Windhaven Ln
                  Brighton, MI 48114
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                  Robert Bayer
                  5831 Nature Hills Court
                  Martinsville, IN 46151


                  Robert Bayless
                  6408 Oriole Drive
                  Flint, MI 48506


                  Robert Beatty
                  1704 Murdough St
                  Braddock, PA 15104


                  Robert Bechdoldt
                  507 Charlotte Street
                  Oregon, MO 64473


                  Robert Beck
                  3043 Edgewood Dr NE
                  Milledgeville, GA 31061


                  Robert Beck
                  59470 Scott's Ln
                  New London, MO 63459


                  Robert Becker
                  8480 Pleasant Plain Rd
                  Brookville, OH 45309


                  Robert Beilby
                  5331 East CD Avenue
                  Kalamazoo, MI 49004


                  Robert Bell
                  7235 Ridgestone Drive
                  Ooltewah, TN 37363


                  Robert Bellinger
                  713 Matneys Branch Lane
                  Tannersville, VA 24377


                  Robert Bendel
                  2592 24th Street
                  Cuyahoga Falls, OH 44223
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                  Robert Bennett
                  188 Parsons Lane
                  Newland, NC 28657


                  Robert Beringer
                  5115 Hot Springs Rd
                  Hot Springs, VA 24445


                  Robert Bernfeld
                  6122 Centerville Road
                  Williamsburg, VA 23188


                  Robert Bernhardt
                  52063 Antler Dr
                  Macomb, MI 48042


                  Robert Bernstein
                  310 Via de Rosa Dr
                  Stafford Virginia, VA 22556


                  Robert Bieser
                  258 Wellington Lane
                  Cape Girardeau, MO 63701


                  Robert Birr
                  9463 East 5 Mile Road
                  White Cloud, MI 49349


                  Robert Birr
                  9610 Remington Drive
                  Mentor, OH 44060


                  Robert Bissell
                  19185 Virgil H Goode Highway
                  Rocky Mount, VA 24151


                  Robert Blevins
                  8293 Leetown Road
                  Kearneysville, WV 25430


                  Robert Bliesath
                  616 Meier Drive
                  Jefferson City, MO 65109
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Blocker
                  120 Hightop Lane
                  China Grove, NC 28023


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                  Irwin, PA 15642


                  Robert Bogle
                  3946 US-35
                  La Porte, IN 46350


                  Robert Bolton
                  1476 Bolton Road
                  West Terre Haute, IN 47885


                  Robert Boone
                  12 San Juan Dr
                  Mechanicsburg, PA 17055


                  Robert Bortles
                  5108 Bay Shore Rd
                  Oregon, OH 43616


                  Robert Bowers
                  771 Forrest Hills Road
                  Saluda, SC 29138


                  Robert Bowman
                  5261 Silver Fox Way
                  North Augusta, SC 29841


                  Robert Bradshaw
                  944 Alexander Drive
                  Bracey, VA 23919


                  Robert Brandon
                  4081 Beanblossom Rd
                  Greenville, OH 45331


                  Robert Brannan
                  1244 Vesper St
                  Bridgeville, PA 15017
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                  Robert Breitbarth
                  15502 Scott Drive
                  Lockport, IL 60441


                  Robert Brinkley
                  403 West Villa Dunes Dr
                  Nags Head, NC 27959


                  Robert Brinkley
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                  Robert Brizendine
                  2686 Penicks Mill Road
                  Bedford, VA 24523


                  Robert Brock
                  8 Grant Farm Road
                  Moscow, OH 45153


                  Robert Brooks
                  1141 Whitesburg Drive
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                  Robert Brooks
                  229 Box Factory Ln
                  Center Cross, VA 22437


                  Robert Brown
                  2115 20th St
                  Allegan, MI 49010


                  robert Brown
                  109 East Meadowbrook Ln
                  Polo, MO 64671


                  Robert Brown
                  2098 Tall Timber Rd NE
                  New Philadelphia, OH 44663


                  Robert Brown
                  20153 County Road 25A
                  Wapakoneta, OH 45895
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                  Robert Brown
                  9749 Birchbrook Ct
                  Irwin, PA 15642


                  Robert Brown
                  2416 Adair Ct
                  Franklin, TN 37064


                  Robert Brueggemann
                  221 Bethel Mine Road
                  Caseyville, IL 62232


                  Robert Brummeler
                  44437 OREGON TRAIL
                  PLYMOUTH, MI 48170


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                  Shavertown, PA 18708


                  Robert Bryant
                  21 Liberty Knolls Drive
                  Stafford, VA 22554


                  Robert Buda
                  4029 Dan Road
                  Medina, OH 44256


                  Robert Burch
                  821 West Main Street
                  Festus, MO 63028


                  Robert Burnett
                  2353 Cheaneys Bridge Road
                  Dunnsville, VA 22454


                  Robert Burns
                  6480 Hivon Road
                  Carleton, MI 48117


                  Robert Burns
                  2027 Sandy creek road
                  Monroe, MI 48162
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                  Robert Busch
                  2216 Cabot Court
                  Virginia Beach, VA 23453


                  Robert Buzza
                  4910 McDonald Road
                  Chandlersville, OH 43727


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                  105 Forest Lane
                  Collegeville, PA 19426


                  Robert Calderone
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                  Etowah, TN 37331


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                  Avilla, IN 46710


                  Robert Canterbury
                  20 Guthrie Court
                  Whitesville, WV 25209


                  Robert Cappel
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                  Cincinnati, OH 45236


                  Robert Carey
                  1070 Beatrice Dr
                  King, NC 27021


                  Robert Carlson
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                  Crown Point, IN 46307


                  Robert Carr
                  1856 Golf Course Rd
                  Hartsville, SC 29550


                  Robert Carson
                  160 S Monroe Ave
                  Columbus, OH 43205
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                  Robert Carter
                  4495 Academy St
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                  Gloucester, VA 23061


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                  beaverdam, VA 23015


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                  St Johns, MI 48879


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                  Merrillville, IN 46410


                  Robert Castaneda
                  210 West South Street
                  Morrison, IL 61270


                  Robert Castiillo
                  7251 Wildcat Rd
                  Croswell, MI 48422


                  Robert Chapman
                  1002 Pearl Ct
                  Randleman, NC 27317


                  Robert Chestnut
                  500 Maple Grove
                  New Waterford, OH 44445
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Clark
                  3 Kirstie Lane
                  Winterville, GA 30683


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                  Pana, IL 62557


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                  Akron, IN 46910


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                  Lakeville, IN 46536


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                  Robert Colwill
                  317 Cottesbrook Drive
                  Wake Forest, NC 27587
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Delaware, OH 43015


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                  Robert Cox
                  1070 Ferris Rd
                  Battle Creek, MI 49017
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                  Belleville, MI 48111


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                  Robert Culberson
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                  Eatonton, GA 31024


                  ROBERT CURTIS
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                  Sweetser, IN 46987


                  Robert Curtis
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                  Robert Dalton
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                  36 East Orchard Springs Drive
                  Dayton, OH 45415


                  Robert Davis
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                  Union, MO 63084


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                  Austell, GA 30106


                  Robert Dawson
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                  Clarksville, TN 37040


                  Robert Deardorff
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                  Township of Taylorsville, NC 28681


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                  Robert DeLashmit
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                  Robert Delonas
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                  Milford, PA 18337


                  Robert Desiderio
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                  Ogden, IL 61859


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                  14571 Caberfae Highway
                  Wellston, MI 49689
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                  19 Wheaton Drive
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                  2292 S Vassar Rd
                  Burton,, MI 48519


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                  Hodges, SC 29653


                  Robert Dillman
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                  Robert Dills
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                  Robert DiMaria
                  751 Maxwell Avenue
                  La Belle, PA 15450


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                  Raphine, VA 24472


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                  Seaman, OH 45679


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                  3420 Robert Burns Drive
                  Richfield, OH 44286
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                  Huddleston, VA 24104


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                  Hamilton, MI 49419


                  Robert Dudley
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                  Monroe, VA 24574


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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  410 Road 120
                  Emporia, KS 66801


                  Robert Edmonds
                  804 Faye St
                  Richmond,, VA 23225


                  Robert Edmonson
                  5404 Menteith Ct
                  Virginia Beach, VA 23464


                  Robert Edward Adkins
                  308 Beech Street
                  Green Camp, OH 43322


                  Robert Eick
                  929 29th St
                  Portsmouth, OH 45662


                  Robert Elliott
                  5045 Sophy Drive
                  Powder Springs, GA 30127


                  Robert Eubank
                  2729 Kimball Terrace
                  Norfolk, VA 23504


                  Robert Evanger
                  225 Old Health Road
                  Brevard, NC 28712


                  Robert Evans
                  428 Scandia St
                  Blacklick, OH 43004


                  ROBERT Fabera
                  2651 OLD STATE RD
                  PINCONNING, MI 48650


                  Robert Fai
                  12505 Sherwood Forest Drive
                  Culpeper, VA 22701
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                  Robert Farkas
                  18336 Cedar Island Boulevard
                  Brownstown, MI 48174


                  Robert Farmer
                  2013 Yorktown Street
                  Kill Devil Hills, NC 27948


                  Robert Farrow
                  523 Pennsylvania St
                  Oswego, KS 67356


                  Robert Fedak
                  1501 Village Road
                  Clearfield, PA 16830


                  Robert Fennelly
                  3005 Minsteris Dr
                  Conway, SC 29526


                  Robert fetsch
                  6155 Hunters Ford Road
                  Pacific, MO 63069


                  Robert Field Jr
                  110 Hillcrest Drive
                  Easley, SC 29640


                  Robert Finnan
                  526 Neck-O-Land Road
                  Williamsburg, VA 23185


                  Robert Fisher
                  98 W Rexford Dr
                  Newport News, VA 23608


                  Robert Flick
                  2240 8th Street Drive
                  Watsontown, PA 17777


                  Robert Flinchum
                  187 Gallaher Street
                  Huntington, WV 25705
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Flowers
                  4914 Colorado Ave
                  Harrisburg, PA 17109


                  Robert Flynn
                  188 Bayberry Ln
                  Smithfield, NC 27577


                  Robert Ford
                  6450 North Merrimac Avenue
                  Kansas City, MO 64151


                  Robert Forrest
                  223 Oklahoma Avenue
                  Warner Robins, GA 31093


                  Robert Foster
                  612 North 31st Street
                  Herrin, IL 62948


                  Robert Fred
                  11504 Indiana 160
                  Henryville, IN 47126


                  Robert Fuchs
                  20215 Shady Ln Ave
                  St. Clair Shores, MI 48080


                  Robert Fuzi
                  3520 Gaslight Dr
                  Archbold, OH 43502


                  Robert G Sarkisian
                  272 Germantown Rd
                  Keysville, VA 23947


                  Robert Gaffney
                  304 Apache Drive
                  Effort, PA 18330


                  Robert Galbreath
                  12581 Bethel Ridge Road
                  Vevay, IN 47043
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                  Robert Galloway
                  128 Township Road 1353
                  Crown City, OH 45623


                  Robert Galvin
                  505 Fred Hall Rd
                  Stedman, NC 28391


                  ROBERT GARNER
                  33261 Monroe Road 446
                  Stoutsville, MO 65283


                  Robert Gentry
                  55 Morgan Cove Dr
                  Burgaw, NC 28425


                  Robert Gholston
                  13430 Carol Avenue
                  Warren, MI 48088


                  Robert Gillette
                  830 Northwest 1371st Road
                  Holden, MO 64040


                  Robert Ginter
                  4780 North Section Line Road
                  Radnor, OH 43066


                  Robert Gomez
                  2500 Bluebonnet Blvd
                  Brenham, TX 77833


                  Robert Goodman
                  1282 Maplegrove Road
                  Jackson, MI 49201


                  Robert Goodman
                  2432 London Bridge Road,
                  Virginia Beach, VA 23456


                  Robert Gorbett
                  42500 Peck Wadsworth Road
                  Wellington, OH 44090
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                  Robert Graham
                  3309 Flint Stone Trail
                  Frankfort, KY 40601


                  Robert Graham
                  142 Stone Ridge
                  Jefferson, NC 28640


                  Robert Graham
                  2520 Landon Rd
                  Orange, TX 77632


                  Robert Granfors
                  6671 Dunham Road
                  Walton Hills, OH 44146


                  Robert Graves
                  126 North Jackson Street
                  Oakland City, IN 47660


                  Robert Gray
                  5102 Roberts Drive
                  Flint, MI 48506


                  Robert Green
                  1650 Kenwood St
                  Inkster, MI 48141


                  Robert Green
                  64 Highmeadow Drive
                  Cameron, NC 28326


                  Robert Green
                  1809 Elaina Drive
                  Springfield, OH 45503


                  Robert Greene
                  3161 Meadow Lark Lane
                  Sophia, NC 27350


                  Robert GREESON
                  165 Walker Street Northwest
                  Resaca, GA 30735
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                  Robert Gribble
                  416 W Church St
                  Harrisburg,, IL 62946


                  Robert Griffith
                  345 D Harvey Road
                  Graysville, TN 37338


                  Robert Grimmett
                  17 Brandon Lane
                  Gilbert, WV 25621


                  Robert Grooms
                  3341 Calumet Ave
                  Elkhart, IN 46514


                  Robert Grubb
                  240 foresail rd
                  Salisbury, NC 28146


                  Robert Grunn
                  2500 Indian Mound Ave
                  Cincinnati, OH 45212


                  Robert Gustafson
                  13736 Stone Jug Rd
                  Battle Creek, MI 49015


                  Robert Guthrie
                  635 w. Ashton ave
                  Lima, OH 45805


                  Robert Hadselford
                  524 6th St
                  Andover, IL 61233


                  Robert Hall
                  125 Lyric Ct
                  Saylorsburg, PA 18353


                  Robert Hammond
                  73364 Gambill Hollow Rd
                  Albany, OH 45710
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Hanke
                  11419 Stacy Crossing Way
                  Fredericksburg, VA 22407


                  Robert Hansard
                  1108 Cheryl Ln
                  Wilmington, NC 28405


                  Robert Hardaker
                  2121 West Bennington Road
                  Owosso, MI 48867


                  Robert Harmon
                  4037 Hunsberger Ave NE
                  Grand Rapids, MI 49525


                  Robert Harmon
                  207 Longleaf Pine Dr
                  Festus, MO 63028


                  Robert Harmon
                  14932 Rosemary Way Dr
                  Huntersville, NC 28078


                  Robert Harper
                  22205 East Maple Lane
                  Lewistown, IL 61542


                  Robert Harris
                  201 West 4th Street
                  Momence, IL 60954


                  Robert Harris
                  15280 South Lowell Road
                  Lansing, MI 48906


                  Robert Harris
                  10780 Silver Creek Rd
                  White Pigeon, MI 49099


                  Robert Harris
                  3215 Delano Street
                  Richmond, VA 23234
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Harrison
                  34 Old Pond Court
                  Hampton, VA 23666


                  Robert Hart
                  8145 Lake Pleasant Rd
                  Erie, PA 16509


                  Robert Hartloff
                  102 Alcove Dr
                  Blue Rapids, KS 66411


                  Robert Hassel
                  34136 Voorhees Lane
                  Brighton, IL 62012


                  Robert Havener
                  3136 Spring Run
                  Owensboro, KY 42303


                  Robert Hawkins
                  7754 Martz-Paulin Rd
                  Franklin, OH 45005


                  Robert Hayward
                  739 Shook Ct
                  Bay City,, MI 48708


                  Robert Haywood
                  4616 Chapel Grove Rd
                  Gastonia, NC 28052


                  Robert Heaton
                  3989 Beatty Drive
                  Dayton, OH 45416


                  Robert Hedges
                  4445 West 216th Street
                  Sheridan, IN 46069


                  Robert Heigle
                  1819 Walnut Rd
                  Heath, OH 43056
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Hendon
                  48 McKinley Ave S
                  Battle Creek, MI 49017


                  Robert Hendricks
                  1827 South Northern Boulevard
                  Independence, MO 64052


                  Robert Hennen
                  1444 Eagle City Rd
                  Springfield, OH 45504


                  Robert Hennessey
                  1442 Doyle Rd
                  Jefferson, OH 44047


                  Robert Henry
                  94 Robin Wood Lane
                  Sikeston, MO 63801


                  Robert Henry
                  515 Allendale Road
                  Rochester, PA 15074


                  Robert Hernandez
                  1840 W 56th Ave
                  Hobart, IN 46342


                  Robert Hester
                  313 West Pennsylvania Avenue
                  Jacksonville, IL 62650


                  Robert Hicks
                  1125 Dotta Dr
                  Pen Argyl, PA 18072


                  Robert Hill
                  3430 South County Farm Road
                  Warsaw, IN 46580


                  Robert Hill
                  1060 Lawnridge Drive Northeast
                  Bolivar, OH 44612
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Hockman
                  1260 Vertrees Church Ln
                  Cecilia, KY 42724


                  Robert Hodge
                  2000 Broadhead School Rd
                  Middlebrook, VA 24459


                  Robert Hollar
                  1876 evans rd
                  jackson, OH 45640


                  Robert Horton
                  3032 Coldwater Street
                  Connelly Springs, NC 28612


                  Robert Horton
                  800 Abbot Dr
                  Fairfield, OH 45014


                  Robert Hoyt
                  1844 Dixon Run Road
                  Jackson, OH 45640


                  Robert Hubbard
                  20145 Winchester St
                  Southfield, MI 48076


                  Robert Hulstrom
                  3428 Parman Road
                  Stockbridge, MI 49285


                  Robert Hunt
                  3681 Dildine Rd
                  Ionia, MI 48846


                  Robert Iveson
                  14253 Grandview Ct
                  Cement City, MI 49233


                  Robert Jackson
                  9023 Erie Ave
                  Richfield Township, MI 48656
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Jackson
                  703 Buster Ct
                  Jacksonville, NC 28540


                  Robert Jackson
                  6376 Clubside Drive
                  Whitsett, NC 27377


                  Robert Jackson
                  29 Eastlake Dr
                  Sandston, VA 23150


                  Robert Jacobs
                  1477 Lakeshore Road
                  Manistee, MI 49660


                  Robert Jayne
                  3811 Tavern Road
                  South Prince George, VA 23805


                  Robert Jenkins
                  3408 Yellow Buckeye Ln
                  Zebulon, NC 27597


                  Robert Jenkins
                  515 Mowbray Arch
                  Danville, VA 24541


                  Robert Johnson
                  3837 S Johnson Rd
                  Gowen, MI 49326


                  Robert Johnson
                  7352 Windridge Drive
                  Pinckney, MI 48169


                  Robert Johnson
                  1120 Forest Avenue
                  Burton, MI 48509


                  Robert Johnston
                  205 Gallagher Creek Rd
                  Friendsville, TN 37737
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Jones
                  3946 Bishop St
                  Detroit, MI 48224


                  Robert Joseph
                  116 Elm Drive
                  Kittanning, PA 16201


                  Robert Joyce
                  109 Merrymet Farm Drive
                  Kennett Square, PA 19348


                  Robert Justice
                  13117 Sunnybrook Drive
                  Memphis, IN 47143


                  Robert Kahn
                  7062 North Carolina Highway 8 South
                  Germanton, NC 27019


                  Robert kaplan
                  3649 Pine Creek Dr
                  Metamora, MI 48455


                  Robert Kappelmann
                  304 Lazy canyon ln
                  hayesville, NC 28904


                  Robert Kappler
                  9601 Fairview Rd
                  Partlow, VA 22534


                  Robert Kaye
                  290 Geri Ln
                  Louisa, VA 23093


                  Robert Kearns
                  3567 Armour Street
                  Port Huron, MI 48060


                  Robert Keeth
                  12825 Silver Lake Hwy
                  Cement City, MI 49233
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Kelley
                  464 North Otter Creek Road
                  Campbellsville, KY 42716


                  Robert Kelly
                  34 Sheridan St
                  Newport, MI 48043


                  Robert Kennedy
                  272 Laurel Mountain Road
                  Madisonville, TN 37354


                  Robert Kennell
                  4344 South Vernon Road
                  Corunna, MI 48817


                  Robert Kerr
                  6824 South 400 West
                  Huntingburg, IN 47542


                  Robert Kerr
                  26 Ludwigs Crossing Lane
                  Glenmoore, PA 19343


                  Robert King
                  4573 South Platsville Road
                  Rockville, IN 47872


                  Robert Kingston
                  13901 North Palmyra Rd
                  North Jackson, OH 44451


                  Robert Kirby
                  31686 STATE HWY MM
                  Warsaw, MO 65355


                  Robert Klauka
                  2094 Roods Lake Road
                  Lapeer, MI 48446


                  Robert Klen
                  33210 Whitley Court
                  Fulshear, TX 77441
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Klimczak
                  1530 Church Road
                  Aurora,, IL 60505


                  Robert Knapp
                  10716 Chancellorsville Dr
                  Spotsylvania Courthouse, VA 22553


                  Robert Knieriemen
                  310 Sullivan Street
                  Bettsville, OH 44815


                  Robert Knight
                  930 Ross Cove
                  Suwanee, GA 30024


                  Robert Knorr
                  6839 Decatur Ridge Place
                  Indianapolis, IN 46221


                  Robert Knowlden
                  9964 Pennsylvania 14
                  Trout Run, PA 17763


                  Robert Kohn
                  5330 Teal Road
                  Petersburg, MI 49270


                  Robert Kolinek
                  157 Howley Lane
                  Cedar Grove, TN 38321


                  Robert Kovatch
                  25 Morning Side Drive South
                  Arapahoe, NC 28510


                  Robert Kubishke
                  4327 Toledo Avenue
                  Lorain, OH 44055


                  Robert Kuderik
                  37205 Elizabeth Ln
                  New Boston, MI 48164
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert L. Huffman
                  4225 Hamilton Cleves Road
                  Hamilton, OH 45014


                  Robert Ladford
                  409 Pecan Dr
                  Canton, GA 30114


                  Robert Lake
                  24 Birdie Drive
                  West Salem, OH 44287


                  Robert Lakey
                  135 Starmont Dr
                  Danville, VA 24540


                  Robert Lalley
                  12335 Back Road
                  Toms Brook, VA 22660


                  Robert Lamb
                  9500 Schow Road
                  Holton, MI 49425


                  Robert Langenderfer
                  5985 U.S. 70
                  Nebo, NC 28761


                  Robert Latta
                  182 Summer Shores Lane
                  Manson, NC 27537


                  Robert Lattery
                  125 Lindsey Terrace
                  Fayetteville, GA 30214


                  Robert Lauinger
                  13497 White Lake Rd
                  Fenton, MI 48430


                  Robert Lawrence
                  820 Twp. Hwy. 246
                  Toronto, OH 43964
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Lawson
                  1338 Holloway Ridge Rd
                  Spring City, TN 37381


                  Robert Leathers
                  734 Ridge Road
                  Mill Hall, PA 17751


                  Robert Lee
                  16372 Ancient Acres Rd
                  Beaverdam,, VA 23015


                  Robert Lee
                  6647 Shadow Ln
                  Spotsylvania Courthouse, VA 22551


                  Robert LeMay
                  11894 Rountree Road
                  Jonesville, MI 49250


                  Robert Lemke
                  155 Cellular White Drive
                  Vanceboro, NC 28586


                  Robert Lengacher
                  9441 Doylestown Road
                  Sterling, OH 44276


                  Robert Lenhardt
                  224 W. Tydeman Ave
                  Roxana, IL 62084


                  Robert Lewis
                  828 County Road 47
                  Toronto, OH 43964


                  Robert Lewis
                  265 Jaybird Ln
                  Greeneville, TN 37743


                  Robert Lilly
                  24803 Timberlake Trail
                  Greenwood, MO 64034
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Lipscomb
                  3922 Brooksville Dr
                  Amelia, OH 45102


                  Robert Locke
                  20505 Garrison Dr
                  Windsor, VA 23487


                  Robert Long
                  71 Steele Drive
                  Granite City, IL 62040


                  robert loosley
                  3651 Greenlawn Avenue
                  Erie, PA 16510


                  Robert Lopez
                  4963 W 85th Ave
                  Crown Point, IN 46307


                  Robert Losee
                  6088 Sedgwick Road
                  Columbus, OH 43235


                  Robert Loudermilk
                  4908 Thompson Heights Dr
                  Adrian, MI 49221


                  Robert Love
                  663 Overhill Drive
                  North Versailles, PA 15137


                  Robert Lowe
                  5380 n 500 e
                  Rochester, IN 46975


                  Robert Lucas
                  129 Kerfoot Street
                  East Peoria, IL 61611


                  Robert Luke
                  7112 St Johns Rd
                  Junction City, KS 66441
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Lykins
                  1017 Sullivan Road
                  Chillicothe, OH 45601


                  Robert Lyons
                  17346 Westland Ave
                  Southfield, MI 48075


                  Robert Lyons
                  8020 Millfair Rd
                  McKean, PA 16426


                  Robert MacDonald
                  4095 Pardee Lake Rd
                  Howell, MI 48843


                  Robert Macleod
                  8268 Ferrell Pl
                  Harrisburg, NC 28075


                  Robert Mahoy
                  20052 State Rd 46
                  hope, IN 47246


                  robert makins
                  9840 Crofoot Road
                  Fowlerville, MI 48836


                  Robert Maldonado Sr
                  3 Peach Street
                  Annville, PA 17003


                  Robert Manenkoff
                  10582 River Road
                  New Columbia, PA 17856


                  Robert Maniere
                  12381 Bryce Rd
                  Emmet, MI 48022


                  Robert Manning
                  4638 Barrier Rd
                  Concord, NC 28025
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Manring
                  4638 Barrier Rd
                  Concord, NC 28025


                  Robert Mantz
                  18232 Reva Farms Ln
                  Culpeper,, VA 22701


                  Robert Marotta
                  2701 Pomme Meadows Drive
                  Arnold, MO 63010


                  Robert Marshall
                  109 Palmer Dr
                  Martinsville, VA 24112


                  Robert Martin
                  2130 Rosie Lane
                  Snellville, GA 30078


                  Robert Martin Sr.
                  17606 Cambridge Blvd
                  Lathrup Village, MI 48076


                  Robert Maschino
                  12483 Kniffen Rd
                  Britton, MI 49229


                  Robert Mason
                  219 Inverness Dr
                  Lexington, KY 40517


                  Robert Mason
                  8729 Citrus Bend Drive
                  Memphis, TN 38018


                  Robert Matthews
                  1127 Gorley St
                  Uhrichsville, OH 44683


                  Robert May
                  1453 West Country Club Drive
                  New Castle, IN 47362
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Mays
                  2924 Struble Road
                  Cincinnati, OH 45251


                  Robert McCandless
                  212 Central Ave
                  Croydon, PA 19021


                  Robert McClimans
                  66 Bedford Road
                  West Middlesex, PA 16159


                  Robert Mcclure
                  55710 Brown Squirrel Drive
                  New Carlisle, IN 46552


                  Robert McConkey
                  207 Ashley Crest Drive
                  Columbia, SC 29229


                  Robert McConkie
                  6294 Durbin Rd
                  Bellville, OH 44813


                  Robert McConkie
                  6029 Stoffer Road
                  Bellville, OH 44813


                  Robert McCullough
                  12437 Hopewell Rd
                  Mineral Point, MO 63660


                  Robert Mccurren
                  2950 Newport Rd
                  Ann Arbor, MI 48103


                  Robert McDonald
                  1206 Bethlehem Rd E
                  Waldo, OH 43356


                  Robert McDonough
                  6060 Roundhead Rd
                  Hillsboro,, OH 45133
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert McGaughey
                  2915 Wandering Way
                  Columbus, IN 47201


                  Robert McGinnis
                  142 Clyde Road
                  New Florence, PA 15944


                  Robert Mcglothlin
                  4341 West Hagener Road
                  Beardstown, IL 62618


                  Robert Mcgowan
                  9264 Kerrs Chapel Rd
                  Gibsonville, NC 27249


                  Robert McGrew
                  13607 Streamside Court
                  Grand Haven, MI 49417


                  Robert MCJilton
                  6564 U.S. Route 209
                  Lykens, PA 17048


                  Robert McKinnon
                  321 Longwood Dr
                  Statesboro, GA 30461


                  Robert Mcknight
                  260 Jane Ln
                  Grayson, KY 41143


                  Robert McNeil
                  2129 Mills Crest Street
                  Fuquay-Varina, NC 27526


                  Robert Meek
                  4914 15 Mile Road
                  Sterling Heights, MI 48310


                  ROBERT MEIERS
                  3869 Charlotte St
                  Kansas City, MO 64109
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Melton
                  2747 Tuckaleechee Pike
                  Maryville, TN 37803


                  Robert Melvin
                  6329 Ruprecht Rd
                  Twin Lake, MI 49457


                  Robert mendelson
                  119 Georgia Ave
                  Carolina Beach, NC 28428


                  Robert Meyers
                  4 Abbey Rd.
                  Glen Carbon, IL 62034


                  Robert Miller
                  2020 E Rinda Dr NE
                  Dalton, GA 30721


                  Robert Miller
                  11601 South Bell Avenue
                  Chicago, IL 60643


                  Robert Miller
                  6806 Embers Ct
                  Fort Wayne, IN 46815


                  Robert Miller
                  1111 St Johns Blvd
                  Lincoln Park, MI 48146


                  Robert Miller
                  11487 Lawnford Avenue Southwest
                  Beach City, OH 44608


                  Robert Miller
                  4910 Tussic St. Rd.
                  Westerville, OH 43082


                  Robert Miller
                  1825 Sugar Hill Road
                  Brookneal, VA 24528
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Mills
                  7706 Gable Run Drive
                  Wilmington, NC 28411


                  Robert Milum Jr
                  18096 US-41
                  Chattanooga, TN 37419


                  Robert Mingus
                  3162 South Loomis Road
                  Mount Pleasant, MI 48858


                  Robert Minor
                  3299 Ivyland Drive
                  Roanoke, VA 24014


                  Robert Mitchell
                  151 Spring Street
                  Boiling Springs, SC 29316


                  Robert Mitchell
                  9613 Graves Road
                  Petersburg, VA 23803


                  Robert Mize
                  3342 Hickory Valley Rd
                  Maynardville, TN 37807


                  Robert Mlynarski
                  944 East Crest Avenue
                  Addison, IL 60101


                  Robert Mock
                  1867 South Francisco
                  Grass lake, MI 49240


                  Robert Moeller
                  11801 Kenyon Dr
                  Hiram, OH 44234


                  Robert Mohr
                  19658 Sparta Rd
                  Milford, VA 22514
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Montes
                  8611 Silent Oaks
                  San Antonio, TX 78250


                  Robert Montgomery
                  424 Ridge Avenue
                  New Kensington, PA 15068


                  Robert Moore
                  2794 Chouteau Avenue
                  Odin, IL 62870


                  Robert Moore
                  945 Franklin Avenue
                  Aliquippa, PA 15001


                  Robert Moore
                  268 Doss Rd
                  Concord,, VA 24538


                  Robert Moore
                  149 Wise Drive
                  Ivanhoe, VA 24350


                  Robert Moore
                  2437 Holly springs Rd
                  amissville, VA 20106


                  Robert Morgan
                  940 North Park Street
                  Owosso, MI 48867


                  Robert Morgan
                  163 Sonora Dr
                  Lillington, NC 27546


                  Robert Morgan
                  1770 Latanes Mill Rd
                  Tappahannock, VA 22560


                  Robert Morikawa
                  17227 Cross Winds Court
                  Livonia, MI 48152
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Moss
                  320 Beavertail Rd
                  Henderson, NC 27537


                  Robert Moughler
                  5720 Annibal Drive
                  Lapeer, MI 48446


                  Robert Mousseau
                  2233 Sinking Creek Road
                  Parrottsville, TN 37843


                  Robert Multari
                  6685 Wise Rd
                  Hermitage, PA 16148


                  Robert Murray
                  273 Murray Farm Road
                  Roanoke, VA 24019


                  Robert Myers
                  112 Gardner Road
                  Unityville, PA 17774


                  Robert Mynatt
                  6725 Elwynne Dr
                  Cincinnati, OH 45236


                  Robert Neill
                  10120 Coldwater Rd
                  Flushing, MI 48433


                  Robert Nelson
                  8449 Corrison Road
                  Grand Ledge, MI 48837


                  Robert Nesbit
                  5290 Sharp Road
                  Palmyra, MI 49268


                  Robert Newberry
                  7602 Grasshopper Road
                  Georgetown, TN 37336
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Newkirk Jr.
                  17530 Clarann St
                  Melvindale, MI 48122


                  Robert Newman
                  6743 Chestnut Oak Lane
                  Warrenton, VA 20187


                  Robert Nichols
                  4433 Ohio 676
                  Stockport, OH 43787


                  Robert Nichter
                  203 E Leedy St
                  Warsaw, IN 46580


                  Robert Nickols
                  1434 Canton Rd.
                  Blackwater, VA 24221


                  robert nies
                  3013 Our Tibbs Trail
                  Lexington, KY 40511


                  Robert Norton
                  5024 Star Hill Ln
                  Charlotte, NC 28214


                  Robert Ober
                  553 Red Rose Drive
                  Manheim, PA 17545


                  Robert Ogilvie
                  7965 Glenside Pl
                  University City, MO 63130


                  Robert Oldham
                  7213 NC-62
                  Blanch, NC 27212


                  Robert Oliver
                  422 Foster Ln
                  Pittsboro, NC 27312
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert ONeal
                  1959 Pilgrim St.
                  Akron, OH 44305


                  Robert Oppenheimer
                  9818 Glastonbury Ct
                  Charlotte, NC 28270


                  Robert Ortiz
                  1482 Manfield Road
                  Aylett, VA 23009


                  Robert Osman
                  11 Granvue Drive
                  Belleville, IL 62223


                  Robert Owens
                  1016 Dickerson Rd
                  Anderson, SC 29626


                  Robert Pace
                  5381 Britton Dr
                  Chincoteague Island,, VA 23336


                  Robert Palen
                  726 West 400 South
                  La Porte, IN 46350


                  Robert Pembrooke
                  449 Tivoli Road
                  Pittsburgh, PA 15239


                  Robert Perry
                  5274 North Halifax Road
                  Battleboro, NC 27809


                  robert peterson
                  659 West Wilke Road
                  Rothbury, MI 49452


                  Robert Peterson
                  1100 Dale Ave
                  Charlotte, NC 28216
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                  Robert Pickell
                  3125 E 5th St
                  Anderson, IN 46012


                  Robert Pierson
                  128 Martin Rd
                  Aiken, SC 29801


                  Robert Pietrzak
                  4940 Co Rd 35
                  Galion, OH 44833


                  Robert Powell
                  4573 Lane Road
                  Perry, OH 44081


                  Robert Powell
                  1194 Turkey Farm Road
                  Chesnee, SC 29323


                  Robert Price
                  331 Clayton Rd
                  Princeton, NC 27569


                  Robert Pritchard
                  440 Lehigh Rd
                  Wilmington, NC 28412


                  Robert Pruitt
                  9224 Shattuc Road
                  Centralia, IL 62801


                  Robert Quarterman
                  129 Star Flower Road
                  Alexander, NC 28701


                  Robert Rabe
                  4765 East 900 North
                  Rolling Prairie, IN 46371


                  Robert Rademaker
                  1423 Virginia Ave
                  Roanoke Rapids, NC 27870
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                  Robert Radke
                  540 Cardwell St
                  Garden City, MI 48135


                  Robert Rager
                  2610 Old Forge Road
                  Kent, OH 44240


                  Robert Railing
                  1079 Mount Pleasant Road
                  Sunbury, PA 17801


                  Robert Rasmussen
                  8763 Baldwin Avenue
                  Newaygo, MI 49337


                  Robert Recker
                  1099 West Flat Rock Road
                  Flat Rock, IN 47234


                  Robert Reda
                  1197 State Road
                  Monessen, PA 15062


                  Robert Reddick
                  109 Greenhaven Drive
                  Archdale, NC 27263


                  Robert Reece
                  4601 Mayfield Drive
                  Kokomo, IN 46901


                  Robert Reece
                  6324 Lapeer Road
                  Burton, MI 48509


                  Robert Reid
                  1010 N 7th St
                  Emmaus, PA 18049


                  Robert Rhoads
                  29 Valley Street
                  Carlisle, PA 17013
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Rice
                  6880 Forest Manor Drive
                  Denver, NC 28037


                  Robert Richards
                  330 Schoolcrest Dr
                  Shepherd, MI 48883


                  Robert Richards
                  53 Winchester Dr
                  Culloden, WV 25510


                  Robert Richardson
                  1316 Bright Leaf Rd
                  Lawrenceville,, VA 23868


                  Robert Rickertsen
                  6658 Penrose Rd Fulton Il
                  Fulton, IL 61252


                  Robert Ricks
                  9621 15th Bay Street
                  Norfolk, VA 23518


                  Robert Riddle
                  11441 Tide Road
                  Derby, IN 47525


                  Robert Riddle
                  904 Huffine Road
                  Johnson City, TN 37604


                  Robert Rider
                  55780 Log Pile Road
                  Ray, OH 45672


                  Robert Riehl
                  304 Mike Dr
                  Truesdale, MO 63383


                  Robert Rigler
                  2002 Le Suer Road
                  Richmond, VA 23229
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                  Robert Rivest
                  5340 W Elmwood Rd
                  Akron, MI 48701


                  Robert Robele
                  609 2nd Street
                  Butler, PA 16001


                  Robert Roberts
                  8201 South Pine Tree Lane
                  Cedar, MI 49621


                  Robert Robinson
                  205 McKinley Street
                  Speer, IL 61479


                  Robert Robinson
                  7535 Wilkins Drive
                  Fayetteville, NC 28311


                  Robert Robinson
                  4329 Cralles Road
                  Amelia Court House, VA 23002


                  Robert Roebuck
                  12195 Arthur Road
                  Rodney, MI 49342


                  Robert Rogers
                  8557 Mendota Street
                  Detroit, MI 48204


                  Robert Roquemore
                  206 Autumn Ct
                  Berea, KY 40403


                  Robert Rosegrant
                  9915 Reavis Rd
                  Affton, MO 63123


                  Robert Rosner
                  4 Castle Pines Lane
                  Hazel Township, PA 18202
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Rudolph
                  11517 Sheridan Avenue
                  Gaines, MI 48436


                  Robert Rue
                  411 jennelle rd
                  christiansburg, VA 24073


                  Robert Rummage
                  29052 Jordan Pond Drive
                  Albemarle, NC 28001


                  Robert Russ III
                  336 E 13th St
                  Covington, KY 41011


                  Robert Russell
                  980 Bonellis Lane
                  Clarksville, TN 37040


                  Robert Russell
                  1611 Tennessee 156
                  South Pittsburg, TN 37380


                  Robert Ryan
                  1713 West Mount Forest Road
                  Pinconning, MI 48650


                  Robert Sain
                  3500 Ruffin Road
                  Hopewell, VA 23860


                  Robert Salas
                  11227 Longhedge Lane
                  CHARLOTTE, NC 28273


                  Robert Salvatore
                  3598 Lloyd Rd
                  Cleveland, OH 44111


                  Robert Sander
                  2614 Glen Burnie Dr
                  Raleigh, NC 27607
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Sanfilippo
                  17700 Odyssey Drive
                  Belleville, MI 48111


                  Robert Scheich
                  1058 E Temperance Rd
                  Temperance, MI 48182


                  Robert Schirmer
                  16910 County Road 2200 North
                  Princeton, IL 61356


                  Robert Schneider
                  1635 Weigel Rd
                  Valley City, OH 44280


                  Robert Schrei
                  6457 Hannah Dr
                  Portage, IN 46368


                  Robert Schultz
                  29107 Co Rd 12
                  Elkhart, IN 46514


                  Robert Schwartz
                  6293 N 28th St
                  Richland, MI 49083


                  Robert Scott
                  1144 Spruce Pointe Drive
                  Whitehall, MI 49461


                  Robert Seed
                  9621 Two Pines Road
                  McClellanville, SC 29458


                  Robert Seed
                  1263 Walton Heath Court
                  Mount Pleasant, SC 29466


                  Robert Seibert
                  10884 Bob White Beach Blvd
                  Whitmore Lake, MI 48189
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                  Robert Self
                  2018 Portsmouth Street
                  Kill Devil Hills, NC 27948


                  Robert Selle
                  1930 Gulf Street Northwest
                  Uniontown, OH 44685


                  Robert Semple
                  1770 Old Nc 105
                  Nebo, NC 28761


                  ROBERT SETNICKER
                  6549 Illinois Avenue
                  Hammond, IN 46323


                  Robert Severson
                  Route 5 Box 1276
                  Ava, MO 65608


                  ROBERT SEYMOUR
                  827 Walbridge Dr
                  Gahanna, OH 43230


                  Robert Shannon
                  2639 West Philadelphia Street
                  Detroit, MI 48206


                  Robert Sharp
                  793 W 450 S
                  Hebron, IN 46341


                  Robert Sharrard
                  588 Evans Road
                  Attica, MI 48412


                  Robert Shelton
                  4524 Victor Ave
                  Cincinnati,, OH 45242


                  Robert Shepard
                  1000 W Champlin Rd
                  Wilmington, OH 45177
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Shivers
                  20031 Sussex Dr
                  Stony Creek,, VA 23882


                  Robert Shortridge
                  3650 Newton Falls Bailey Road Southwest
                  Warren, OH 44481


                  Robert Shough
                  837 Stratfordshire Drive
                  Matthews, NC 28105


                  Robert Showerman
                  4720 Palmer Drive
                  Parma, MI 49269


                  Robert Sieber
                  723 County Road 3b
                  Washington, OH 43532


                  Robert Signor
                  638 Phillip Road
                  Reading, MI 49274


                  Robert Silcott
                  10493 Russellville-Winchester Rd
                  Winchester, OH 45697


                  Robert Simmerer
                  951 Mitchell Drive
                  Westland, MI 48185


                  Robert Skender
                  6187 Creekside Circle
                  Ypsilanti, MI 48197


                  Robert Skidmore
                  31 Pittman Road
                  Lyman, SC 29365


                  Robert Skotnicki
                  1805 7th Street
                  Wyandotte, MI 48192
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Small
                  246 Elmview Dr
                  Quincy, MI 49082


                  Robert Smith
                  23032 Schroeder Avenue, Eastpointe, MI
                  Eastpointe,, MI 48021


                  Robert Smith
                  3112 Range Rd
                  Lincolnton, NC 28092


                  Robert Smith
                  10286 Menominee Dr
                  Cincinnati, OH 45251


                  Robert Smith
                  252 S Mary Ellen St
                  South Lebanon, OH 45065


                  Robert Smith
                  7188 Dale Road
                  Stockport, OH 43787


                  Robert Smith
                  24961 Sandusky Road
                  Richwood, OH 43344


                  Robert Snyder
                  1637 Quaker Church Road
                  Pennsdale, PA 17756


                  Robert Sommer
                  6953 Indiana 62
                  Madison, IN 47250


                  ROBERT Souza
                  14 Triangle Lane
                  Adairsville, GA 30103


                  Robert Stabler
                  7920 Ester Court
                  Ashland, KY 41102
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Stacy
                  3291 Twelve Oaks Boulevard
                  Clarksville, TN 37042


                  Robert Steffan
                  1011 Comer Road
                  Stoneville, NC 27048


                  Robert Steveling
                  40825 Michael Street
                  Clinton Township, MI 48038


                  Robert Stevens
                  7817 N Scott Rd ,
                  St Johns, MI 48879


                  Robert Stone
                  108 Pandora Drive
                  Goose Creek, SC 29445


                  Robert Stottlemyer
                  517 Sunset Ridge
                  Dunlap, TN 37327


                  Robert Stratton
                  3106 Whitegate Dr
                  Fort Wayne, IN 46805


                  robert straway
                  3647 Spring Hill Road
                  Staunton, VA 24401


                  Robert Stumpo
                  6285 W Cimarron Trail
                  Flint, MI 48532


                  Robert Sum
                  481 McCray Boulevard
                  Springboro, OH 45066


                  Robert Swain
                  7647 Alexander Rd
                  French Creek, WV 26218
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                  Robert Swanson
                  8702 Deadstream Rd
                  Honor, MI 49640


                  Robert Swearingen
                  10881 Stout Rd
                  Winchester, OH 45697


                  Robert Swift
                  14239 Pleasant Ridge Dr
                  Marysville, OH 43040


                  Robert Swofford
                  4210 Providence Road
                  Hayes, VA 23072


                  Robert Szymanski
                  10423 Bennett Road
                  Erie, PA 16510


                  Robert Tardivo
                  383 Lively Road
                  Eighty Four, PA 15330


                  Robert Tavares
                  2502 West Broadway
                  Hopewell, VA 23860


                  Robert Teel
                  19201 Tomlin Hill Dr
                  Zuni, VA 23898


                  Robert Terry
                  1256 Seneca Street
                  Adrian, MI 49221


                  Robert Thacker
                  15721 Brooks-Malott Road
                  Mount Orab, OH 45154


                  robert Thayer
                  3720 Fargo Road
                  Avoca, MI 48006
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Thomas
                  2847 Tall Timbers Drive
                  Milford Charter Township, MI 48380


                  Robert Thomas
                  465 South River Road
                  Grottoes, VA 24441


                  Robert Thompson
                  841 Potts Spring road
                  Blackstone, VA 23938


                  Robert Timper
                  13083 Hencher Rd
                  De Soto, MO 63020


                  robert tinsley
                  140 Harrison Creek Road
                  Amherst, VA 24521


                  Robert Tonner
                  1904 Claymont Dr
                  Clarksville, TN 37040


                  Robert Torres
                  79 Spring Valley Rd
                  Henderson, NC 27537


                  Robert Towner
                  2038 Kevin Dr
                  Cape Girardeau, MO 63701


                  Robert Townley
                  7371 Copper Creek Drive
                  Ypsilanti, MI 48197


                  Robert Townsend
                  3461 Squirrel Ct
                  Auburn Hills, MI 48326


                  Robert Traskos
                  8581 Haller Street
                  Westland, MI 48185
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Truitt
                  214 T 1279
                  Chillicothe, OH 45601


                  Robert Tumminello
                  5336 Weston
                  Commerce Charter Twp,, MI 48382


                  Robert Turner
                  267 David Larsen Drive
                  Stockbridge, GA 30281


                  Robert Valdes
                  8971 Tipton Highway
                  Tipton, MI 49287


                  Robert VanAtta
                  1819 Adams Street
                  Coshocton, OH 43812


                  Robert Vanden Bosch
                  4075 46th
                  Hamilton, MI 49419


                  Robert Vanderwerf
                  818 Washington Street
                  Pekin, IL 61554


                  Robert VanKuiken
                  3590 Timbrook Ct
                  Dayton,, OH 45431


                  Robert VanVield
                  153 Jasper Point Dr
                  Holly Springs, NC 27540


                  Robert Vaughn
                  859 McNeil Mill Rd
                  Broadway, NC 27505


                  Robert Victory
                  7222 Old U.S. Highway 50
                  Breese, IL 62230
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Vineyard
                  107 Deer Run Rd
                  Palestine, TX 75801


                  Robert Voorhis
                  312 Main St
                  Kennard, IN 47351


                  Robert Vorac
                  7011 Pine Hollow Dr
                  Westerville, OH 43082


                  Robert Vought
                  200 E Hamilton Ln
                  Battle Creek, MI 49015


                  Robert WALKER
                  418 Fike Hollow Rd
                  Meyersdale, PA 15552


                  Robert Walkup
                  178 Ray Dr
                  Lewisburg, WV 24901


                  Robert Wallace
                  3679 Wildcat Rd
                  Williamston, NC 27892


                  Robert Walls
                  5100 OH-53
                  Forest, OH 45843


                  Robert Walsh
                  1045 Lions Park Drive
                  Walnut Cove, NC 27052


                  Robert Ward
                  3595 Hopewell Rd
                  Fountain City, IN 47341


                  Robert Wasmire
                  1165 South 12th Street
                  Beloit, OH 44609
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Watkins
                  1106 Bethel Ave
                  Hampton, VA 23669


                  Robert Watson
                  5117 Huntcliff Trail
                  Winston-Salem, NC 27104


                  Robert Watson
                  100 dawn lane
                  Peebles, OH 45660


                  Robert Watts
                  2706 Alton Darby Creek Road
                  Hilliard, OH 43026


                  Robert Wavro
                  250 Village Ct
                  Sparta, GA 31087


                  Robert Wegner
                  4307 Winners Circle
                  Friendswood, TX 77546


                  Robert Wells
                  107 Sunset ave
                  Lodi, OH 44254


                  Robert Welton
                  175 Oregon Road
                  Volant, PA 16156


                  Robert Wenum
                  107 Jasmine Lane
                  Kingsland, GA 31548


                  Robert Wesselhoft
                  823 West Church Street
                  Lynn, IN 47355


                  Robert Westendorf
                  4645 Broadway Rd
                  Springfield, OH 45502
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Westerfield
                  1012 Laurelwood RD.
                  Mansfield, OH 44907


                  Robert Wexstaff
                  10904 Buchanan Street
                  Grand Haven, MI 49417


                  Robert Wheeler
                  10013 Whitetail Ln
                  Jackson, MI 49201


                  Robert Whippy
                  1501 Crawley Circle
                  Virginia Beach, VA 23464


                  Robert Whisnant
                  5835 Penn Forest Pl
                  Cave Spring, VA 24018


                  Robert Whitcomb
                  2525 Pilgrim Mill Circle
                  Cumming, GA 30041


                  Robert White
                  284 S Saginaw Street
                  Montrose, MI 48457


                  Robert White
                  300 South Saginaw Street
                  Montrose, MI 48457


                  Robert White
                  31115 Clark Rd
                  Marceline, MO 64658


                  Robert Whitney
                  5964 Ryan Road
                  Medina, OH 44256


                  Robert Wilkey
                  1214 Dulee Drive
                  Elwood, IN 46036
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                  Robert Williams
                  573 Frebis Avenue
                  Columbus, OH 43206


                  Robert Williams
                  1211 Marmion Avenue
                  Toledo, OH 43607


                  Robert Williams
                  110 Paradise Point
                  Signal Mountain, TN 37377


                  Robert Williams
                  1658 Darrow Street
                  Virginia Beach, VA 23456


                  Robert Williams
                  227 Byrd Street
                  Hopewell, VA 23860


                  Robert Williams
                  3629 Britton Rd
                  Richmond, VA 23231


                  Robert Williams
                  1202 Wellbrook Pl NE
                  Conyers, GA 30012


                  Robert Willis
                  106 West South Avenue
                  Glenolden, PA 19036


                  Robert Wilson
                  103 Kindt Road
                  Bloomsburg, PA 17815


                  Robert Wilson
                  6566 Beechwood Ave
                  Portage, IN 46368


                  Robert Wilt
                  531 Beach Ave
                  Cambridge Springs, PA 16403
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robert Wineman
                  2180 Oak Ridge Dr
                  Farwell, MI 48622


                  Robert Wirth Sr
                  27331 Blum Street
                  Roseville, MI 48066


                  Robert Wolf
                  7970 Valleybrook Street Southeast
                  East Canton, OH 44730


                  Robert Wolf
                  505 Sandy Hollow Rd.
                  New Bloomfield, PA 17068


                  Robert Wonnacott
                  7525 Terra Ln
                  Ann Arbor, MI 48105


                  Robert Wood
                  132 Sweet William Lane
                  Niles, MI 49120


                  Robert Woodford
                  1110 West Bluelick Road
                  Lima, OH 45801


                  Robert Worsham
                  1535 Slack Rd
                  St Paris, OH 43072


                  ROBERT WRAY
                  2605 Carolina Rd
                  Chesapeake, VA 23322


                  Robert Wright
                  398 Summit Ridge Road
                  Dunlap, TN 37327


                  Robert Yarger
                  99 South Dugan Road
                  Urbana, OH 43078
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                  Robert Young
                  1475 State Hwy 94
                  Aledo, IL 61231


                  Robert Young
                  6551 McCreery Court
                  Indianapolis, IN 46221


                  Robert Young
                  746 Settlers Lane
                  Kure Beach, NC 28449


                  Robert Young
                  27260 Snediker Road
                  Richwood, OH 43344


                  Robert Yount
                  2827 Cat Square Rd
                  Vale, NC 28168


                  Robert Zarichny
                  977 Windsor Road
                  Dutton, VA 23050


                  Robert Zarp
                  1311 Calla Ave
                  Norfolk, VA 23503


                  Robert Zehnder
                  1209 Maryland Avenue Southwest
                  Canton, OH 44710


                  Robert Zenz
                  14200 East Michigan Avenue
                  Grass Lake, MI 49240


                  Robert Zerr
                  1406 Mary Lee Dr, Princeton, IN 47670, U
                  Princeton, IN 47670


                  Robert. Milhoan
                  44262 Watertower Road
                  Belmont, OH 43718
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                  Robert/ john Sochacki/ Yelda
                  11779 Dunn Road
                  Memphis, MI 48041


                  Roberta Carlson
                  251 Cleveland Street
                  Butler, PA 16001


                  Roberta Decker
                  736 Maple Street
                  Marengo, IL 60152


                  Roberta Grifana
                  813 Plainsman Cir
                  Virginia Beach, VA 23452


                  Roberta Hoops
                  9054 Gifford Road
                  Amherst, OH 44001


                  Roberta Landon
                  327 Galatian Street
                  Glenmont, OH 44628


                  Roberta Littleton
                  5430 Hill Avenue
                  Ashland, KY 41102


                  Roberta Mcdougal
                  27 Evergreen School Rd
                  Evergreen, NC 28438


                  Roberta Poe
                  1455 Spring Meadow Drive
                  Woodleaf, NC 27054


                  Roberta Springsteen
                  11860 Glenbrook Road
                  Pinckney, MI 48169


                  Roberta Tuttle
                  7644 Old Pinetta Rd
                  Gloucester, VA 23061
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                  roberta Wood
                  909 Jonesville Rd
                  Quincy, MI 49082


                  Roberto Huacuja
                  12749 Windsor Ct
                  Sterling Heights, MI 48313


                  Roberto Ramirez
                  10335 Brocks Gap Road
                  Fulks Run, VA 22830


                  Roberto Rivera
                  58268 Debra Dr
                  Goshen, IN 46528


                  Roberto Rodriguez
                  1505 East 6th Street
                  Bethlehem, PA 18015


                  Robi Losicki
                  38839 lakeshore drive
                  Harrison Charter Township, MI 48045


                  Robie Clearwood
                  300 Murphy Dr
                  Saint Clair, MI 48079


                  Robin Ash
                  268 Purcell Rd
                  Reidsville, NC 27320


                  Robin Auston
                  633 Cristal Drive
                  Newport News, VA 23608


                  Robin Barker
                  107 SW 11th St
                  Oak Island, NC 28465


                  Robin Barnes
                  483 W Kings Hwy
                  Coatesville, PA 19320
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robin Benzel
                  3080 Denniston Rd
                  Alton, VA 24520


                  Robin caceres
                  56 south shores dr
                  Decatur, IL 28115


                  robin calcaterra
                  2601 South Decker Road
                  Marlette, MI 48453


                  Robin Carpenter
                  5926 Sullivantown Road
                  Walkertown, NC 27051


                  Robin Cousins Payne
                  464 Belleview Avenue
                  Chillicothe, OH 45601


                  Robin Cyr
                  114 Rabbit Run
                  Pittsboro, NC 27312


                  Robin Donaldson
                  401 South Main Street
                  Sullivan, IN 47882


                  Robin Ellis
                  659 Stories Creek Road
                  Roxboro, NC 27574


                  Robin Feringa
                  76181 33rd Street
                  Lawton, MI 49065


                  Robin Fernandez
                  920 Grant Street
                  Reynoldsville, PA 15851


                  Robin Frame
                  870 Rocky Pinch Ln
                  Manheim, PA 17545
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robin Hall
                  5514 Doctor Ralph Stanley Highway
                  Coeburn, VA 24230


                  Robin Harris
                  29515 Heritage Ln
                  Southfield, MI 48076


                  Robin Haun
                  2055 Pageant Rd SE
                  Carrollton, OH 44615


                  Robin Horth
                  2172 Grange Hall Rd
                  Dayton, OH 45431


                  Robin Hubbs
                  3419 Summertime Trail
                  Lafayette, IN 47909


                  Robin Jackson
                  5719 Baughan Rd
                  Marion, MI 49665


                  Robin Jackson
                  1102 South Main Street
                  Carthage, MO 64836


                  Robin King
                  1811 N Market St
                  St. Louis, MO 63106


                  Robin King
                  1141 Oak Grove Road
                  Kings Mountain, NC 28086


                  Robin Kornaus
                  316 E Wise St
                  Trenton, SC 29847


                  Robin Laird
                  2196 Zenia Drive
                  Troy, MI 48083
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                  Robin Leady
                  922 Harold Avenue
                  Washington, PA 15301


                  Robin Lee
                  117 Miles Street
                  Superior Township, MI 48198


                  Robin Mallor
                  4281 Our Acres Dr
                  Columbiaville, MI 48421


                  Robin Marken
                  14930 Larkfield Drive
                  Brook Park, OH 44142


                  Robin Materie
                  1774 Keppen Blvd
                  Lincoln Park,, MI 48146


                  Robin Mejia
                  1220 26th Street Northeast
                  Canton, OH 44714


                  Robin Mullins
                  332 Bill Jenkins Road
                  Shady Valley, TN 37688


                  Robin Phillips
                  78 Muriel Road
                  Nettie, WV 26681


                  Robin Prescott
                  107 Lynnway Dr
                  Aliquippa, PA 15001


                  Robin Riggs
                  292 600 East
                  Greentown, IN 46936


                  Robin Ritter
                  708 Hoover Rd
                  Mansfield, OH 44905
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                  Robin Stickney
                  25 W Black Oak Dr
                  Asheville, NC 28804


                  Robin Stickney
                  25 West Black Oak Dr
                  Asheville, NC 28804


                  Robin Sturgil
                  5505 Frey Road
                  Newport, MI 48166


                  Robin Wheale
                  2320 Rowe Street
                  Hinesville, GA 31313


                  Robin Williams
                  119 Camp Davidson Road
                  Vonore, TN 37885


                  Robin Willis
                  10000 N County Road 525 W
                  Gaston, IN 47342


                  Robin Wooten
                  7512 Kilcullen Drive
                  Charlotte, NC 28270


                  Robin Workman
                  3516 Moore Road
                  Portsmouth, VA 23703


                  Robin Wright
                  12721 Vincent Dr
                  Rosharon, TX 77583


                  Robin Wright
                  512 Old Mill Ct
                  Virgina BeacH, VA 23452


                  Robin Wynn
                  2766 Claxton Dairy Road
                  Dublin, GA 31021
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Robley Russell
                  16360 nc 27 w
                  Sanford, NC 27332


                  Robwrt Pieper
                  6791 Wesley Chapel Road
                  Chatham, IL 62629


                  Robyn Avery
                  812 West Rollins Street
                  Moberly, MO 65270


                  Robyn Chapin
                  2988 Pickett Park Highway
                  Jamestown, TN 38556


                  Robyn Chapman
                  18147 Springer Lane
                  Gordonsville, VA 22942


                  Robyn Ensing
                  3439 W Baseline Rd
                  Fremont, MI 49412


                  Robyn Francis
                  9273 Matthews Hwy
                  Tecumseh, MI 49286


                  Robyn Murray
                  1656 Ransom Road
                  Valparaiso, IN 46385


                  Robyn Watts
                  810 N Norwood Rd
                  Huntington, WV 25705


                  Roche Flowers
                  116 Miles Oak Lane
                  Blythewood, SC 29016


                  Rochell Johnson
                  12 Sharon Ln
                  Stafford, VA 22554
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                  Rochelle Rogers
                  205 Mulberry Ct
                  Evans, GA 30809


                  Rock Burger
                  1166 The Crossings Drive
                  O'Fallon, MO 63366


                  Rockford Village Income Tax
                  P.O. Box 282
                  Rockford, OH 45882


                  Rocky Brooks
                  4489 Fredericksburg Turnpike
                  Woodford, VA 22580


                  Rocky Edwards
                  5032 Newbern Rd
                  Dublin,, VA 24084


                  Rocky Pasiwk
                  500 Nieman Rd
                  Monroe, MI 48161


                  Rod Burris
                  30302 M 43
                  Paw Paw, MI 49079


                  Rod Fortune
                  5437 Mallard Walk
                  Gainesville, GA 30504


                  Rod Hershberger
                  200 Long Leaf Trail
                  Byron, GA 31008


                  Rod Rutan
                  7965 Ida Center Rd
                  Ida, MI 48140


                  Rod wangelin
                  409 Red Oak Rd
                  Walnut, IL 61376
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                  Roddy Fleming
                  5354 Canterford Ln
                  Virginia Beach, VA 23464


                  Roddy Rudkin
                  3878 Helsey Fusselman Road
                  Southington, OH 44470


                  Rodeen Hughes
                  21 Verano Lake Dr
                  Savannah, GA 31407


                  Roderica Clohessy
                  2 lakeside dr
                  Stafford, VA 22554


                  Roderick Connor
                  132 River Rd
                  New Haven, KY 40051


                  Roderick Cribbs
                  32610 Robeson St
                  St. Clair Shores, MI 48082


                  RODERICK DAVIS
                  4073 Plymouth Rock Drive
                  Loganville, GA 30052


                  Roderick Gluski
                  911 Prospect Point
                  Quincy, MI 49082


                  Roderick Jeffrey
                  1049 S Indian Creek Dr
                  Stone Mountain, GA 30083


                  Roderick Skeete
                  46030 Huling Street
                  Shelby Charter Twp, MI 48317


                  Rodger Amelunke
                  1456 County Road 365
                  Jackson, MO 63755
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                  Rodger Berry
                  914 Big Ridge Lane
                  Duffield, VA 24244


                  Rodger Carpenter
                  1342 Froesel Drive
                  Ellisville, MO 63011


                  Rodger Carroll
                  1802 Charlestown Square
                  Vinton, VA 24179


                  Rodger Davis
                  2780 Old Glory Drive
                  Zanesville, OH 43701


                  Rodger Dry
                  904 Morris Run Road
                  Blossburg, PA 16912


                  Rodger Frears
                  11780 Bakers Lane
                  King George, VA 22485


                  Rodger Huff
                  966 Phillips Lane
                  Franklin, KY 42134


                  Rodger Sandeen
                  21022 200th Avenue
                  Big Rapids, MI 49307


                  Rodger Shively
                  512 Partridge Rd
                  Heath, OH 43056


                  Rodger Zehrung
                  1608 Cedar Point Drive
                  Niles, MI 49120


                  Rodney "Rod" McCrea
                  43342 Thompson Run Road
                  Titusville, PA 16354
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                  Rodney Aldridge
                  3344 Flat Stone Ct
                  Conyers, GA 30094


                  Rodney Aldridge
                  605 West Adam St
                  Alexandria, IN 46001


                  Rodney Alman
                  12330 Parker Road
                  Delton, MI 49046


                  Rodney Badgett
                  1497 Stephentown Rd
                  Blanch, NC 27212


                  Rodney Baker
                  3240 Lewis st
                  Elm City, NC 27822


                  Rodney Bohon
                  4736 Bohon Hollow Road
                  Salem, VA 24153


                  Rodney Boyd
                  229 Main Street
                  Summerton, SC 29148


                  Rodney Cauthen
                  5162 Taxahaw Road
                  Lancaster, SC 29720


                  Rodney Choate
                  713 County Rd 4774
                  Warren, TX 77664


                  Rodney Cooper
                  535 North Heincke Road
                  Miamisburg, OH 45342


                  Rodney Corley
                  907 Courtland Avenue
                  Reidsville, NC 27320
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                  Rodney Cox
                  930 Clifford Street
                  Pearisburg, VA 24134


                  Rodney Cox
                  406 Yorktown Drive
                  De Soto, MO 63020


                  Rodney Deffenbaugh
                  105 W Lincoln Street
                  Sidell, IL 61876


                  Rodney Douglas
                  131 Pilot Dr
                  Thomasville, NC 27360


                  Rodney Fuller
                  7006 Bison St
                  Westland, MI 48185


                  Rodney Guinn
                  298 Snell Rd
                  Shelbyville, TN 37160


                  Rodney Harrison
                  548 South 730 East
                  Hillsboro, IN 47949


                  Rodney King
                  4095 Friendship Drive
                  New Concord, OH 43762


                  Rodney Koutz
                  712 Republic Avenue
                  Alma, MI 48801


                  Rodney lane
                  65 Oak Haven Court
                  Sumter, SC 29154


                  Rodney Martin
                  3370 OH-598
                  Crestline, OH 44827
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                  Rodney Maskell
                  8245 Babcock Road
                  Croswell, MI 48422


                  Rodney Meadows Sr
                  18509 Albany St
                  Southfield, MI 48075


                  Rodney Miedema
                  12380 White Creek Avenue Northeast
                  Cedar Springs, MI 49319


                  Rodney Mohr
                  4083 Sams Fork Road
                  Hurricane, WV 25526


                  Rodney Moore
                  280 Old Rte 146 Loop
                  Vienna, IL 62995


                  RODNEY MOORE
                  2595 Scott Pike
                  Waddy, KY 40076


                  Rodney Myers
                  2291 Old Newport Hwy
                  Sevierville, TN 37876


                  Rodney Nichols
                  13155 West Henry Road
                  Deputy, IN 47230


                  Rodney Porter
                  1773 Theresa Dr
                  Clarksville, TN 37043


                  Rodney Rainbolt
                  3717 State Street
                  Quincy, IL 62305


                  Rodney Richardson
                  11891 State Road B
                  Montgomery City, MO 63361
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                  Rodney Runyan
                  6895 Galion Rd.
                  Hale, MI 48739


                  RODNEY Rust
                  2048 Kegley School Road
                  Princeton, WV 24740


                  Rodney Schmidt
                  12221 Sandy Woods Dr
                  Grand Haven, MI 49417


                  Rodney Schwieter
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                  Atlanta, MO 63530


                  Rodney Shaver
                  1117 E 800 N
                  Denver, IN 46926


                  Rodney Smith
                  34 Garden View Drive
                  Alexander, NC 28701


                  Rodney Tucker II
                  1101 Ousleydale Road
                  Hartsville, SC 29550


                  Rodney Tumlin
                  590 Pony Lake Rd ,
                  Dahlonega, GA 30533


                  Rodney Tuttle
                  198 Smokey Ln
                  Corbin, KY 40701


                  Rodney Walker
                  4511 450 East
                  Kokomo, IN 46902


                  Rodney Warren
                  17828 Clover St
                  Brownstown, MI 48193
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                  Rodney White
                  7026 Asheville Highway
                  Knoxville, TN 37924


                  Rodney Williams
                  12176 Tollgate ct
                  Pickerington, OH 43147


                  Rodney Yoder
                  123 Northwood Dr
                  Celina, OH 45822


                  Rodolfo Elizondo-Rodriguez
                  18602 Olympia
                  Redford Charter Township, MI 48240


                  Rodolfo Marquez
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                  Chicago, IL 60629


                  Rodolfo Olivo
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                  Clayton, NC 27520


                  Rodoris Lyons
                  3220 E Frances Rd
                  Clio, MI 48420


                  Rodrigo Castor
                  2830 12th Ave N
                  Texas City, TX 77590


                  Rody (Roddy) Schwartzel
                  717 5th Street
                  New Brighton, PA 15066


                  Rody Buroker
                  333 Decatur St
                  Kenton, OH 43326


                  Roger
                  2161 Willoughby. Rd
                  Mason, MI 48854
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                  Roger Aude
                  612 E Ridge Street
                  Mount Carroll, IL 61053


                  Roger Barnes
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                  Schertz, TX 78154


                  Roger Bartholome
                  2137 Cleveland Blvd
                  Granite City, IL 62040


                  Roger Boleen
                  1764 U.S. 322
                  Brookville, PA 15825


                  Roger Breasbois
                  7227 Meisner Rd
                  China Township, MI 48054


                  Roger Burhite
                  1623 West 32nd Street
                  Marion, IN 46953


                  Roger Busick
                  12097 NC-119
                  Burlington, NC 27217


                  Roger Butt
                  3832 N Fork Rd
                  Elliston, VA 24087


                  Roger Cahoon
                  182 Pcr 460
                  Frohna, MO 63748


                  Roger Calendine
                  661 N Reynolds Rd,
                  McConnelsville, OH 43756


                  Roger chilson
                  1820 Fairview Court
                  Salem, OH 44460
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                  Roger Churchwell
                  3024 North State Road 67
                  Vincennes, IN 47591


                  Roger Clark
                  125 Wert Allen Dr
                  Dryden, VA 24243


                  Roger Coleman
                  5711 Mayfair St
                  Dearborn Heights, MI 48125


                  Roger Couch
                  10322 Indiana 18
                  Galveston, IN 46932


                  Roger Crim
                  4131 Van Hill Road
                  Greeneville, TN 37745


                  Roger Davis
                  3979 NC-16
                  Millers Creek, NC 28651


                  Roger Day
                  1077 South Lakeview Drive
                  De Soto, MO 63020


                  Roger Desouza
                  5602 Broadacre drive stroudsburg pa
                  Stroudsburg, PA 18360


                  Roger Dixon
                  3141 Weicks Dr,
                  Hopkins, MI 49328


                  Roger Epling
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                  Newport News, VA 23601


                  Roger Fitzgerald
                  1881 Cedar Ln
                  Sumner, IL 62466
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                  Roger Foderingham
                  21157 Baileys Lane
                  Petersburg, VA 23803


                  Roger Fowler
                  2758 Steam Mill Ferry Road
                  Jackson, TN 38301


                  Roger Fuerst
                  211 Eastown Road
                  Columbus Grove, OH 45830


                  Roger Gibson
                  192 Township Rd 1287
                  Chesapeake, OH 45619


                  Roger Grant
                  16875 Glastonbury Road
                  Detroit, MI 48219


                  Roger Grant
                  116 Eade Rd
                  Etowah, NC 28729


                  Roger Grider
                  607 S 1st St
                  Rosebud, TX 76570


                  Roger Grotenhuis
                  883 61st Street Southeast
                  Grand Rapids, MI 49508


                  Roger Guffey
                  12801 Laird Road
                  Brooklyn, MI 49230


                  Roger Harrison
                  300 Castle Park Ln
                  Mineral, VA 23117


                  Roger Heath
                  11328 Lawrence Highway
                  Nashville, MI 49073
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roger Heath
                  276 Oyster Bay Rd
                  Reedville, VA 22539


                  Roger Hendricks
                  18307 County Highway 4
                  Carey, OH 43316


                  Roger Hersman
                  3469 Georgetown Road
                  Polk, PA 16342


                  Roger Holle
                  1302 W Pearsall St
                  Dunn, NC 28334


                  Roger Horn
                  2999 Mt Carmel Road
                  Decatur, TN 37322


                  Roger Jarinski
                  427 Curwood Dr
                  Owosso, MI 48867


                  Roger Judson
                  7076 Plymouth Road
                  Ann Arbor, MI 48105


                  Roger Laster
                  188 Farr Rd
                  Kathleen, GA 31047


                  Roger Leach
                  50652 Co Rd 352
                  Decatur, MI 49045


                  Roger Lee
                  208 stillwood rd
                  Jacksonville, NC 28540


                  Roger Luffman
                  1012 Luffman Farm Rd
                  Boonville, NC 27011
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roger Manmohan
                  5805 Satinwood Dr
                  Columbus, OH 43229


                  Roger Marks
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                  Whitmore Lake, MI 48189


                  Roger Martin
                  13280 Painesville Warren Road
                  Painesville, OH 44077


                  Roger McColly
                  501 N Warpole Street
                  Upper Sandusky, OH 43351


                  Roger Mooneyhan
                  845 Chris Barney Road
                  Dryden, VA 24243


                  Roger Moore
                  45 Walter Way
                  Covington, GA 30016


                  Roger Morse
                  5106 Heritage Rd
                  Hopewell, VA 23860


                  Roger Munn Jr.
                  123 Kristen Ln.
                  Suffolk, VA 23434


                  Roger Neal
                  505 Grant Street
                  Charleston, WV 25302


                  Roger Nichols
                  861 Chappell Road
                  Charleston, WV 25304


                  Roger Nivens
                  1693 Highway U
                  Jamesport, MO 64648
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roger Osborne
                  139 Railroad Lane
                  Williamsburg, WV 24991


                  Roger Parker
                  4474 Horseshoe Bend Rd
                  Hudson, NC 28638


                  Roger Parkhurst
                  6311 Roberts Creek Ln
                  Indianapolis, IN 46221


                  Roger Peruzzi
                  8339 San Marco Blvd
                  Sterling Heights, MI 48313


                  Roger Ratkowski
                  9816 Kent Lane
                  Belleville, MI 48111


                  Roger Ratkowski SR
                  9345 Firwood Road
                  South Lyon, MI 48178


                  Roger Reid
                  259 Camille Drive
                  Lincoln, MO 65338


                  Roger Reynolds
                  2921 E 1519th Road
                  Ottawa, IL 61350


                  Roger Rose
                  210 Knoll Way
                  Hubert, NC 28539


                  Roger Russell
                  16903 Spring Mill Road
                  Westfield, IN 46074


                  Roger Siekmann
                  2111 Clover Leaf School Road
                  Belleville, IL 62223
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roger Smith
                  222 Brunty Hollow Rd
                  Fairdale, WV 25839


                  ROGER SOUTHERS
                  746 Co Rd 124
                  Chesapeake, OH 45619


                  Roger Stebbins
                  12223 Apple Drive
                  Nunica, MI 49448


                  Roger Stepp
                  192 Lovelace Subdivision
                  London, KY 40744


                  Roger Stevens
                  1065 Yankee Run Road
                  Masury, OH 44438


                  Roger Stump
                  1867 E Montgomery Rd, Hillsdale, MI 4924
                  Hillsdale, MI 49242


                  Roger Subacz
                  24970 37th Street
                  Gobles, MI 49055


                  Roger Summers
                  183 Berry Rd
                  Scottown, OH 45678


                  Roger Sweatt
                  1152 Madison 228
                  Fredericktown, MO 63645


                  Roger Tackett
                  5000 Dayton Springfield Road
                  Springfield, OH 45502


                  Roger Talley
                  8250 Whitaker Ridge Rd
                  Whitesburg, TN 37891
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roger Tassell
                  11841 N Haggerty Road
                  Plymouth, MI 48170


                  Roger Thomas
                  9081 South Wyman Road
                  Blanchard, MI 49310


                  Roger Thomerson
                  3621 Redwood Road
                  Durham, NC 27704


                  Roger Turner
                  807 Wage Dr SW
                  Leesburg, VA 20175


                  Roger Turner
                  116 Glenbrier Drive
                  Ridgeway, VA 24148


                  Roger Vesely
                  4695 Jeter Mountain Rd
                  Hendersonville, NC 28739


                  Roger Wales
                  680 1st Avenue Southwest
                  Conyers, GA 30012


                  Roger White
                  7106 Rathbun Road
                  Birch Run, MI 48415


                  roger wolting
                  5045 Lorenson Road
                  Muskegon, MI 49445


                  roger wright
                  1015 Mitchell Way
                  Pacific, MO 63069


                  Roger Youngblood
                  1233 U.S. 68
                  Benton, KY 42025
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Rogerick Pugh
                  1175 Lewis Road
                  Sumter, SC 29154


                  Rohan Alahakone
                  4630 Davis Farms Drive
                  Cumming, GA 30040


                  Rohan Lyle
                  258 Alpine Rd
                  Henryville, PA 18332


                  Rohan Patankar
                  5315 Priamus Dr
                  Missouri City, TX 77459


                  Rohn Smith
                  7668 North County Road 425 West
                  Brazil, IN 47834


                  Roland Gauvin
                  9934 Five Mile Road
                  Northville, MI 48168


                  Roland Gibbs
                  2878 Old Dixie Highway South
                  Springfield, GA 31329


                  Roland Howes
                  9729 Healy Lake Rd
                  Kaleva, MI 49645


                  Roland Majewski
                  15478 Winston
                  Redford Charter Twp, MI 48239


                  Roland Martin
                  18310 Northlawn Street
                  Detroit, MI 48221


                  Roland McClain
                  10719 Cove Point Drive
                  Charlotte, NC 28278
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Roland McFadden
                  7426 South Beaver Dam Road
                  Claypool, IN 46510


                  Roland Riddick
                  321 Ben St
                  Suffolk, VA 23434


                  Roland Schama
                  4221 Arlington Drive
                  Brunswick, OH 44212


                  Roland Sheppard
                  43825 Albrecht Rd
                  Elyria, OH 44035


                  Roland Smyer
                  6773 State Highway MM
                  Cabool, MO 65689


                  Roland Stanley
                  5333 Goshen Run Road
                  Chesterhill, OH 43728


                  Roland Szukhent
                  11105 Carpenter Rd
                  Flushing, MI 48433


                  Roland Wadge
                  225 Blossom Dr
                  Amherst, OH 44001


                  Rolanda Perry
                  934 Rollo Domino Cir, Evans, GA 30809, U
                  Evans, GA 30809


                  Rolf Myers
                  2195 Strader Dr
                  West Bloomfield Township, MI 48324


                  Rolind Rolind
                  3054 Emery Ln
                  Metamora, MI 48455
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                  Roma Ames
                  78 North Gamble Street
                  Shelby, OH 44875


                  Roman Hostetler
                  16640 Kinsman Road
                  Middlefield, OH 44062


                  Roman Rosales
                  5775 19 Mile Rd
                  Sterling Heights, MI 48314


                  Romeika Dillingham
                  2905 Kippling Court
                  Suffolk, VA 23434


                  Romeo Sandivar
                  1104 Linden St
                  Woodbridge, VA 22191


                  Rominick Moze
                  509 Amaryllis Drive
                  Columbia, SC 29229


                  Rommel Santos
                  3025 Jonothan Pl
                  Falls Church,, VA 22042


                  Romona Hall
                  19491 Avon Ave
                  Detroit, MI 48193


                  Romona Wells
                  6306 Arsenal Ave
                  Raleigh, NC 27610


                  Ron Alcorn
                  7067 Richland Church Road
                  Liberty, NC 27298


                  Ron Alicea
                  31 Old Company Road
                  Barto, PA 19504
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ron Andre
                  300 Moores Lane
                  West Portsmouth, OH 45663


                  Ron Antoine
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                  Dyer, IN 46311


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                  231 Valley View Lane
                  Jersey Shore, PA 17740


                  Ron Bacus
                  121 Westwood Circle
                  Dingmans Ferry, PA 18328


                  Ron Balzer
                  3636 E Hubbard Rd
                  Midland, MI 48642


                  Ron Bayles
                  2945 18th Street
                  Charleston, IL 61920


                  Ron Bishop
                  18 Windy Hollow Lane
                  Newland, NC 28657


                  Ron Bochette
                  7478 Greenville Rd
                  Nokesville, VA 20181


                  Ron Bronson
                  615 Walnut St
                  Darby, PA 19023


                  Ron Brown
                  765 Fayette Street
                  Washington, PA 15301


                  Ron Chamberlain
                  9027 Gittins Street
                  Commerce Charter Township, MI 48382
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ron Clark
                  75 Little Deep Creek
                  Roanoke Rapids, NC 27870


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                  Findlay, OH 45840


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                  4825 Hogback Rd
                  Fowlerville, MI 48836


                  Ron Corl
                  5017 New Haven Dr
                  Columbus, OH 43220


                  Ron Coulter
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                  Ron Damrell
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                  Ron Dancel
                  39066 Plumbrook Drive
                  Farmington Hills, MI 48331


                  Ron Daugherty
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                  Walker, WV 26180


                  Ron Davco
                  3380 Greenwood Rd
                  Hellertown, PA 18055


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                  125 Cardiff Dr
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                  Ron Dudley
                  6977 Ainsworth Road
                  Hobart, IN 46342
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                  Mantua, OH 44255


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                  King William, VA 23086


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                  Elyria, OH 44035


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                  Florissant, MO 63031


                  Ron Finley
                  5690 W 6 Rd
                  Mesick, MI 49668


                  Ron Flynt
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                  Hickory, NC 28601


                  Ron Ford
                  514 Jefferson Street
                  Sheridan, MO 64486


                  Ron Foreman
                  67 Sizemore Trailer Park Road
                  Maysel, WV 25133


                  Ron Fox
                  6621 Winans Lake Rd
                  Brighton, MI 48116


                  Ron French
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                  Battle Creek, MI 49017


                  Ron Frommling
                  5970 Middletown Rd
                  Waynesville, OH 45068
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Ron Hartline
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                  Leesville, OH 44639


                  Ron Herman
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                  Ron Houston
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                  Newport, TN 37821


                  Ron Hummel
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                  Ron Hunt
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                  Vermontville,, MI 49096


                  Ron Hutkai
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                  Ron Johnson
                  7290 Trestle Way Court
                  Indianapolis, IN 46256


                  Ron Jones
                  107 Wilkins Blvd
                  Inman, SC 29349
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  212 W Fairmount Ave
                  Pontiac, MI 48340


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                  Ellis Grove, IL 62241


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                  East Stroudsburg, PA 18301


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                  Houtzdale, PA 16651


                  Ron Mapes
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                  lowell, MI 49331


                  Ron Mast
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                  Ron Muhammad
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                  Country Club Hills, IL 60478


                  Ron Nienhuis
                  17026 Van Buren St
                  West Olive, MI 49460


                  Ron Parson
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                  Wilkesboro, NC 28697


                  Ron Pedemonte
                  541 Cedar Trail
                  Fleetwood, NC 28626


                  Ron Potts
                  105 Heather Ln
                  Kings Mountain, NC 28086
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                  Manchester, OH 45144


                  ron qudec
                  32415 Cowan Road
                  Westland, MI 48185


                  Ron Raleigh
                  5829 Cahall School House Rd
                  Georgetown, OH 45121


                  Ron Recknagel
                  26551 Tracy Rd
                  Walbridge, OH 43465


                  Ron Rummel
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                  Acme, PA 15610


                  Ron Schaffer
                  521 Sawyer Road
                  Cameron, NC 28326


                  Ron Schultheiss
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                  Otsego, MI 49078


                  Ron Scribner
                  1281 Bethel-New Richmond Rd
                  New Richmond, OH 45157


                  Ron Sharp
                  13677 Goodrich Road
                  Ravenna, MI 49451


                  Ron Shoemaker
                  2771 Lexington Avenue
                  Mansfield, OH 44904
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  10206 Wall Street
                  Mill Creek, PA 17060


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                  Cabot, PA 16023


                  Ron Swales
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                  Harrisville, MI 48740


                  Ron Tate
                  6575 E Sternberg Rd
                  Nunica, MI 49415


                  Ron Tranter
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                  Hookstown, PA 15050


                  Ron Urrutia
                  622 Corundum Hill Road
                  Franklin, NC 28734


                  Ron Westhoff
                  99 Hidden Oaks Drive
                  Winfield, MO 63389


                  Ron Whitlow
                  15756 Whitlow Drive
                  Glenwood, MO 63541


                  Ron Willis
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                  Six Mile, SC 29682


                  Ron Wines
                  419 Roberts Rd
                  Sanford, NC 27332


                  Ron Young
                  124 Ramage Road
                  Pittsburgh, PA 15214
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Reidsville, NC 27320


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                  349 Pilgraheim Drive
                  Knox, PA 16232


                  Ronald Bailey
                  34034 Monroe Road
                  Newsoms, VA 23874


                  Ronald Banta
                  6828 IN-1
                  Connersville, IN 47331


                  Ronald Bennett
                  3960 Ridge Road
                  Westover, PA 16692


                  Ronald Bennett
                  1733 Lake Christopher Drive
                  Virginia Beach, VA 23464


                  Ronald Bishop
                  146 Rupert Rd
                  Pottstown, PA 19464


                  Ronald Bostick
                  1533 Cone Ave
                  Apex, NC 27502


                  Ronald Bradd
                  675 Winchester Dr
                  Lenoir City, TN 37772


                  Ronald Bradley
                  83 Pisgah Shadows Road
                  Hendersonville, NC 28739
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                  Ronald Brentlinger
                  4729 Willowview Dr
                  Moraine, OH 45439


                  Ronald Brockhouse
                  200 Randolph Street
                  Chester, IL 62233


                  Ronald Brodd
                  501 N Holmes St
                  Cambridge, IL 61238


                  Ronald Brooks
                  57 Nours Court
                  Lavonia, GA 30553


                  Ronald Brown
                  507 Woodland Dr
                  Clarksville, TN 37043


                  Ronald Buchanan
                  279 Pleasant Grove Road
                  Staunton, VA 24401


                  Ronald Burk
                  589 North Cotter Road
                  Essexville, MI 48732


                  Ronald Carpenter
                  3701 Pleasant Valley Road Southeast
                  Dennison, OH 44621


                  Ronald Chapman
                  6288 Jennings Rd
                  Mount Gilead, OH 43338


                  Ronald Chapman
                  8 Curry Drive
                  Alum Creek, WV 25003


                  Ronald Conard
                  274 Washington Rd
                  Waynesburg, PA 15370
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                  Ronald Cook
                  537 Lancaster Rd
                  Fombell, PA 16123


                  Ronald crouse
                  427 N Johnson St
                  Ada, OH 45810


                  Ronald Custer
                  568-Pa 356
                  Apollo, PA 15613


                  Ronald Daniels
                  2011 Sarahs Cove Drive
                  Gloucester Point, VA 23072


                  Ronald Davis
                  3229 Hamlin Rd
                  Lizella, GA 31052


                  ronald davis
                  109 Bully Hill Road
                  Franklin, PA 16323


                  Ronald Devers
                  141 South Tower Road
                  Fombell, PA 16123


                  Ronald Duguay
                  1455 North Searls Road
                  Webberville, MI 48892


                  Ronald Duncan
                  1232 North Sioux Court
                  Independence, MO 64056


                  Ronald Eaton
                  10565 Tomkinson DR
                  Scotts, MI 49088


                  Ronald Eberhart
                  131 Garrison Court
                  Temple, GA 30179
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                  Ronald Fancher
                  32 Porter Hollow Rd
                  Linden, TN 37096


                  Ronald Fields
                  4420 Miller Road
                  Middletown, OH 45042


                  Ronald Fink
                  3851 Jackson Road
                  Suffolk, VA 23434


                  Ronald Fisher
                  104 Eden Brook Ct.
                  Gaston, SC 29053


                  Ronald Force
                  61350 Kunstman Rd
                  Ray, MI 48096


                  Ronald Ford
                  152 Holly Grove Court
                  Bumpass, VA 23024


                  Ronald Franklin
                  12896 Fenton
                  Redford, MI 48239


                  Ronald Franks
                  4319 South Mount Juliet Road
                  Rural Hill, TN 37076


                  Ronald Gale
                  110 Red Oak Court
                  Gastonia, NC 28052


                  Ronald Garrison
                  251 S Poplar St
                  Pembroke, GA 31321


                  Ronald Gilbert
                  211 Queen Street
                  Loogootee, IN 47553
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                  Ronald Glover
                  442 Chandler St
                  Detroit, MI 48202


                  Ronald Gonzalez
                  13114 Lima Dr
                  Houston, TX 77099


                  Ronald Goudzwaard
                  6384 Thornapple Valley Dr
                  Hastings, MI 49058


                  Ronald Goulet
                  4486 Pheasant Run Lane
                  Berlin, MI 48166


                  Ronald Griffith
                  10393 Ohio 117
                  Belle Center, OH 43310


                  Ronald Hadley
                  4055 County Road 13
                  Bellefontaine, OH 43311


                  Ronald Hall
                  103 Oliver Avenue
                  Crewe, VA 23930


                  Ronald Hancharik
                  10812 Sawgrass Ct
                  Charlotte,, NC 28226


                  Ronald Henderson
                  2318 Ziner Circle
                  South Grove city, OH 43123


                  Ronald Hicks
                  397 Mountain Lake Dr
                  Jasper, GA 30143


                  Ronald Hinman
                  107 Hickory Hill Ln
                  Russellville, KY 42276
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                  Ronald Hoffman
                  46 Riverview Dr
                  Lock Haven, PA 17745


                  Ronald Hopkins
                  405 Carter Ridge Drive
                  Reidsville, NC 27320


                  Ronald Houchins
                  9480 Sarah Lea Court
                  Pinckney, MI 48169


                  Ronald Hoyt
                  4440 Allegan Road
                  Vermontville, MI 49096


                  Ronald Hunt
                  137 Plum Creek Road
                  Lapeer, MI 48446


                  Ronald Jancso
                  290 Regency Drive
                  Nashville, NC 27856


                  Ronald Jenson
                  220 Pine Street
                  Grant, MI 49327


                  Ronald Johnson
                  1273 Steenbergen Road
                  Scottsville, KY 42164


                  Ronald Johnson
                  11962 Myers Lake Ave NE
                  Cedar Springs, MI 49319


                  Ronald Joyner
                  8449 Raleigh Road
                  Benson, NC 27504


                  Ronald Julian
                  2939 Parkdale Road
                  Richmond, VA 23234
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                  Ronald Kazorck
                  309 Possum Island Rd
                  Madison Heights, VA 24572


                  Ronald Kern
                  701 Springview Dr
                  Mount Sterling, KY 40353


                  Ronald Krill
                  405 East Epworth Forest Road
                  North Webster, IN 46555


                  Ronald krise
                  1513 Victoria Drive
                  Lebanon, IN 46052


                  Ronald Kruger
                  823 Johnson Street
                  Streator, IL 61364


                  Ronald Kujawa
                  24 Fox Briar Drive
                  Columbus, NC 28722


                  Ronald kurth
                  228 Maplecroft St
                  liberty, SC 29657


                  Ronald LaForest
                  23215 Sherwood Rd
                  Belleville, MI 48111


                  Ronald Lambert
                  211 Oak St
                  Wood Heights, MO 64024


                  Ronald Lawrence Jr
                  9900 Spindrift Ct
                  Charlotte, NC 28269


                  Ronald Lee
                  6802 Walnut Square
                  Richmond, TX 77407
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                  Ronald Lesko
                  1630 Morris Street
                  Mineral Ridge, OH 44440


                  RONALD Luna
                  3362 Eastdale Dr
                  Flint, MI 48506


                  Ronald Magin
                  9805 Dutch Gap Drive
                  Fredericksburg, VA 22407


                  Ronald Mansell
                  6009 Old Chestnut Avenue
                  Newport News, VA 23605


                  Ronald Marbrey
                  1686 Riverbirch Drive
                  Columbus, OH 43229


                  Ronald Mason
                  764 West Kemper Road
                  Cincinnati, OH 45240


                  Ronald McCoy
                  125 Point View Ln
                  Lilly, PA 15938


                  Ronald McGinnis
                  1908 Grandiose Court
                  Conyers, GA 30012


                  Ronald Mclean
                  1045 10th St
                  Plainwell,, MI 49080


                  Ronald Meeks
                  117 East St,
                  Madison Heights, VA 24572


                  Ronald Metti
                  805 Ashbury Dr,
                  Perrysburg, OH 43551
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                  Ronald Minor
                  328 Bradley Road
                  Stoneboro, PA 16153


                  Ronald mouton
                  6809 Cardwell Street
                  Garden City, MI 48135


                  Ronald Mueller
                  11235 Main St
                  Venedy, IL 62214


                  Ronald Nance
                  6545 George Taylor Road
                  Spencer, VA 24165


                  Ronald Niece
                  25129 kohlmyre trail
                  Kirksville, MO 63501


                  Ronald Nurenberg
                  1570 New Hampshire Avenue
                  Marysville, MI 48040


                  Ronald Nussbaum
                  2359 Colony Way
                  Ypsilanti, MI 48197


                  Ronald Overall
                  8890 Carpenter Rd
                  Milan, MI 48160


                  Ronald Payne
                  173 W State St
                  Milford Ctr, OH 43045


                  Ronald Phillips
                  1544 Looneys Creek Rd
                  Grundy, VA 24614


                  Ronald Pratt
                  618 26th St
                  Blairsville, PA 15717
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                  Ronald RANDOLPH
                  1701 South Benbow Road
                  Greensboro, NC 27406


                  Ronald Regula
                  141 Barnswallow Lane
                  Mooresville, NC 28115


                  RonAld Reid
                  243 Stewart St
                  Flemingsburg, KY 41041


                  Ronald Robinson
                  1125 Sean Drive
                  Chesapeake, VA 23323


                  Ronald Rock
                  474 Walmsley Rd
                  Callao, VA 22435


                  Ronald Samples
                  802 S County Rd 1050 E
                  Indianapolis, IN 46231


                  Ronald SanCartier
                  20398 Craft Road
                  Reed City, MI 49677


                  Ronald Schlett
                  11230 State Hwy C
                  Hillsboro, MO 63050


                  Ronald Schultheis
                  911 Oak Drive
                  Morehead City, NC 28557


                  Ronald Sheets
                  576 Houston Hollow Long Run Road
                  Lucasville, OH 45648


                  Ronald Shoup
                  1232 Polk Cutoff
                  Polk, PA 16342
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                  Ronald Sims
                  550 Marrus Cir
                  Richmond Heights, OH 44143


                  Ronald Smith
                  423 W Chestnut St
                  Junction City, KS 66441


                  Ronald Smith
                  2706 Crums Lane
                  Louisville, KY 40216


                  Ronald Smith
                  1710 Buckner Road
                  Bumpass, VA 23024


                  Ronald Southard
                  572 Royall Road
                  Thurmond, NC 28683


                  Ronald Sowder
                  1337 Slemp St.
                  Salem, VA 24153


                  Ronald Stanley
                  913 23rd Avenue North
                  Texas City, TX 77590


                  Ronald Stone
                  240 Tick Ridge Road
                  Wheelersburg, OH 45694


                  Ronald Struble
                  510 W Borton Rd
                  Essexville, MI 48732


                  Ronald Switzer
                  27471 Strawberry Hill Rd
                  Rhoadesville, VA 22542


                  Ronald Szpont
                  11015 Tralee Dr
                  Washington, MI 48095
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                  Ronald Tavernier
                  51 Ruby Ln
                  Cumberland, VA 23040


                  Ronald Teague
                  204 Rio Vista Dr
                  Saint Charles, MO 63303


                  Ronald Thiry
                  316 Black Rd
                  Harrisville, PA 16038


                  Ronald Thomas
                  745 Main Street
                  Boonville, MO 65233


                  Ronald Thompson
                  284 Freeman Place Trail
                  Hendersonville, NC 28792


                  Ronald Tomko
                  747 Charles st
                  Rochester, PA 15074


                  Ronald Trense
                  10 Enochs Way
                  Fletcher, NC 28732


                  Ronald VanHarn
                  5858 Van Buren Street
                  Hudsonville, MI 49426


                  Ronald Vasser
                  1037 Sharonville Road
                  Jackson, OH 45640


                  Ronald W Hill
                  188 Rolling Hills Cir, Hillsville, VA 24
                  Hillsville, VA 24343


                  RONALD WADDELL
                  1200 Marlborough Ln
                  winston-salem, NC 27105
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                  Ronald Washington
                  17340 Olympia
                  Redford Charter Township, MI 48240


                  Ronald Washington
                  3745 Criollo Dr
                  Virginia Beach, VA 23453


                  Ronald Webster
                  9615 Bloom Hill Dr
                  Holly, MI 48442


                  Ronald Wetherington
                  243 King Heights Boulevard
                  Kinston, NC 28501


                  Ronald Wetzler
                  2605 Artz Road
                  Salisbury, NC 28146


                  Ronald White
                  5038 Aurand Rd
                  Otter Lake,, MI 48464


                  Ronald White
                  3525 Angus Drive
                  Castle Hayne, NC 28429


                  Ronald Withey
                  2271 Hunter Lane
                  Burton, MI 48519


                  Ronald Wynne
                  4526 Canasta Ct
                  Hope Mills, NC 28348


                  Ronaldo Romero
                  2012 Peach Street
                  Portsmouth, VA 23704


                  Ronaldo Vanterpool
                  4149 Owls Head Road
                  Fayetteville, NC 29306
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                  Ronda Barnes
                  1093 Livingston lane
                  Spencer, IN 47460


                  Ronda Bedford
                  400 Airport Road
                  Shamokin, PA 17872


                  Ronda Currin
                  2008 Tanglewood Dr
                  Clayton, NC 27520


                  Ronda Roach
                  120 Walker Streets
                  Gaines, MI 48436


                  Ronda Roland
                  20 Harvard Pl
                  Asheville, NC 28806


                  Ronda Skinner
                  2209 Harmony Ct
                  Batavia,, OH 45103


                  Ronda Stabler
                  21624 County Road 10
                  Elkhart, IN 46514


                  Ronda Tyson
                  Crosstown Highway
                  Poyntelle, PA 18454


                  Rondal Lowe
                  649 Young Road
                  Smiths Grove, KY 42171


                  Rondi Tuten
                  4779 Rosedale Abbey
                  Stone Mountain, GA 30087


                  Roneil Swaby
                  402 New Castle Ln
                  Spring Lake, NC 28390
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                  Ronetta Neal
                  209 Liberty Trace
                  Milner, GA 30257


                  Roni Willmer
                  9900 16 Mile Rd NE
                  Cedar Springs, MI 49319


                  Ronnie Bath
                  688 North Bicknell Road
                  Wheatland, IN 47597


                  Ronnie Beeman
                  2230 Budd Road
                  New Albany, IN 47150


                  Ronnie Bettis
                  4012 Bentwood Cove Dr
                  Apison, TN 37302


                  Ronnie Bracy
                  15223 Holly Cove Road
                  Lanexa, VA 23089


                  Ronnie Bradburn
                  400 Old Quarry Trail
                  Litchfield, IL 62056


                  Ronnie Chandler
                  1816 Morgan Smith Drive
                  Greensboro, NC 27405


                  Ronnie Chapman
                  465 58th St
                  Grand Junction,, MI 49056


                  Ronnie Como
                  271 Fremont Road
                  Charleroi, PA 15022


                  Ronnie Cooke
                  4074 Gaines Street
                  Hickory, NC 28602
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                  ronnie east
                  278 Guerrant Springs Rd
                  Ruffin, NC 27326


                  Ronnie Eldridge
                  1370 nc highway 704 east
                  lawsonville, NC 27022


                  Ronnie Engle
                  650 Meadowbrook Ln
                  Calabash, NC 28467


                  Ronnie Graff
                  526 N Metter Ave
                  Columbia, IL 62236


                  Ronnie Hall
                  65785 Barrens Drive
                  Goshen, IN 46526


                  Ronnie Hasting
                  541 Blackhawk Rd
                  Beaver Falls, PA 15010


                  Ronnie Hatcher
                  4665 Garrett Drive
                  Norton, OH 44203


                  Ronnie Haun
                  505 Morgan Ridge Road
                  Rivesville, WV 26588


                  Ronnie Hicks
                  4155 Section House Road
                  Hickory, NC 28601


                  Ronnie Jessup
                  121 Wright Rd
                  Kings Mountain, NC 28086


                  Ronnie Layne
                  4802 Highlands Pl
                  Charlottesville, VA 22901
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                  Ronnie Loebich
                  36552 Schafer Dr
                  North Ridgeville, OH 44039


                  Ronnie Mann
                  38 Viking Dr
                  Eaton, OH 45320


                  Ronnie May
                  7944 Bryce Road
                  Avoca, MI 48006


                  Ronnie McMurray
                  634 Click St
                  Weber City, VA 24290


                  Ronnie Mills
                  14112 Medinah Ct
                  Chester, VA 23831


                  Ronnie Pannell
                  3227 Buffalo Road
                  Long Island, VA 24569


                  Ronnie Parker
                  330 Main St,
                  Vass, NC 28394


                  Ronnie Pipkin
                  21 Live Oak Ct
                  Kenly, NC 27542


                  Ronnie Poland
                  3230 Thoroughfare Road
                  Culpeper, VA 22701


                  Ronnie Prieskorn
                  1810 Berville Rd
                  Allenton, MI 48002


                  Ronnie Shiverdecker
                  2461 Rentchler Road
                  Belleville, IL 62221
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                  Ronnie Thompson
                  536 Sunset Drive
                  Byrdstown, TN 38549


                  Ronnie Whitmire
                  116 Sterling Court
                  Easley, SC 29640


                  Ronny Rentz
                  5595 Sadecco Lane
                  Sumter, SC 29153


                  Ronoka Strausburg
                  2667 Wildflower Lane
                  Greenwood, IN 46143


                  Ronrico Calhoun
                  8314 Gates Road
                  Suffolk, VA 23437


                  Roo Search Management, LLC
                  3250 Mary Street
                  Miami, FL 33133


                  Roosevelt Fran ois
                  129 Crown Pointe Drive
                  East Stroudsburg, PA 18302


                  Roosevelt Rozier
                  5944 Chicken Foot Road
                  Saint Pauls, NC 28384


                  Rory Almond
                  26 Cordle Dr NE
                  Rome, GA 30165


                  Rory Jones
                  255 Delano Avenue
                  Chillicothe, OH 45601


                  Rory Simpson
                  18083 Jason Lane
                  Lansing, IL 60438
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                  Rory Warren
                  1075 Heatherdale Road
                  Salisbury, NC 28146


                  Rosa Calderon
                  6720 Woodthrush Dr
                  Charlotte, NC 28227


                  Rosa Coleman
                  1007 Crawford Ave
                  Duquesne, PA 15110


                  Rosa Escamilla
                  4253 Jonesboro Road
                  Hampton, GA 30228


                  Rosa Lujan Suarez
                  15978 County Road 40
                  Goshen, IN 46528


                  Rosa Nakasone
                  263 Tram Road
                  Columbia, SC 29210


                  Rosa Perry
                  210 Lakeshore Dr
                  Hillsborough, NC 27278


                  Rosa Ramirez
                  1015 Cornflower Lane
                  Indian Trail, NC 28079


                  Rosa Romero
                  21 Thimbleweed Ln
                  Lillington, NC 27546


                  Rosa Staley
                  4501 East Old Fort Harrison Avenue
                  Terre Haute, IN 47805


                  Rosalie Reynolds
                  4216 Jamesway Drive
                  Toledo, OH 43606
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                  Rosalie Sansone
                  1112 Yorkshire Lane
                  Bushkill, PA 18324


                  Rosalie Smith
                  12117 N Cedar Dr
                  Robinson Township, MI 49417


                  Rosalin James
                  459 Camelia Lane
                  Lake City, SC 29560


                  Rosalina Aurillo
                  15501 Allaire Drive
                  Gainesville, VA 20155


                  Rosalind Berk
                  210 Creekside Dr
                  Goldsboro, NC 27534


                  Rosalinda Haskins
                  17600 Prairie Street
                  Detroit, MI 48221


                  Rosaline Rubin
                  138 Cherry Point Cir
                  Canadensis, PA 18325


                  Rosalyn Gibson
                  3750 Middlebelt Rd
                  Inkster, MI 48141


                  Rosalyn Hutchison
                  1317 Bushel Drive
                  Josephine, TX 75189


                  Rosalyn Wade
                  1424 Faxon Pl
                  Elyria, OH 44035


                  Rosalyn Walters
                  3170 brierbrook ln
                  Fort Wayne, IN 46804
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                  Rosanne Crownover
                  2021 State Highway DD
                  Cuba, MO 65453


                  Rosario Estrada
                  124 North Dibble Avenue
                  Lansing, MI 48917


                  Rosario Minelli
                  9637 Grove Ave
                  Norfolk, VA 23503


                  Rose Ann Hodgins
                  5433 McKinley Road
                  China Township, MI 48054


                  Rose Bell
                  5620 Hillcrest Drive
                  Union City, GA 30291


                  Rose Cheesebrough
                  1115 N Oakwood St
                  Griffith, IN 46319


                  Rose Daniels
                  314 W Montana St
                  Highland Park, MI 48203


                  Rose Dethrow
                  7550 Shawneetown Trail
                  Ellis Grove, IL 62241


                  Rose Donnelly
                  3547 Boswell Avenue
                  St. Louis, MO 63114


                  Rose Ferguson
                  3413 Mount Pisgah Church Road
                  Broadway, NC 27505


                  Rose Ferrell
                  305 Woodland Drive
                  Buchanan, MI 49107
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                  Rose Jones
                  121 Roses Trail Dr
                  Weaverville, NC 28787


                  Rose Maiden
                  19 Elm St
                  Thomasville, NC 27360


                  Rose Marie Sclesky Stefan
                  203 Grampian Drive
                  oxford, MI 48371


                  Rose Mary Mattox
                  10368 Wellington
                  Streetsboro, OH 44241


                  Rose Moreno
                  100 Grand Acres Lane
                  Maiden, NC 28650


                  Rose Motley
                  1013 Elm St
                  Weldon, NC 27890


                  Rose Naber
                  3979 Lovell Ave
                  Cincinnati,, OH 45211


                  Rose Santos
                  8806 University Boulevard
                  Berrien Springs, MI 49103


                  Rose Sheehan
                  606 Holton Road
                  La Porte, IN 46350


                  Rose Starks
                  1008 Newkirk Dr
                  Richmond, VA 23224


                  Rose Tyman
                  2821 1st St
                  Coolville, OH 45723
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                  Rose Walton
                  618 Rapidan Street
                  Portsmouth, VA 23701


                  rose Wilkinson
                  709 robeson ave
                  lake waccamaw, NC 28450


                  Rose Woelfel
                  25469 Dunham Road
                  Fieldon, IL 62031


                  Roseann Halcomb
                  5683 IN-44
                  Shelbyville, IN 46176


                  Roseann Sanders
                  3209 Wilton Rd
                  West Columbia, SC 29170


                  Roseanna Saenz
                  1449 Classic Ave
                  Greenwood, IN 46143


                  rosellia Kelly
                  2009 Saline Avenue
                  Eldorado, IL 62930


                  Roselyn Meadows
                  2068 Wadsworth Dr
                  Columbus, OH 43232


                  Roselyne Onkundi
                  1225 Whitney Dr
                  Aberdeen, NC 28315


                  Rosemarie McDannell
                  1456 Ridge Road
                  Clearville, PA 15535


                  Rosemarie Young
                  11170 Dude Ranch Road
                  Glen Allen, VA 23059
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                  Rosemary Hawthorne
                  51 W Deer Trail
                  Belton, SC 29627


                  Rosemary Hood
                  12569 Tower Hill Rd
                  Midland, VA 22728


                  Rosemary Johnson
                  1116 Avenue C Street
                  Greencastle, IN 46135


                  Rosemary Lane
                  4378 Ohio 287
                  West Liberty, OH 43357


                  Rosemary Schroeder
                  10360 Douglas Road
                  Temperance, MI 48182


                  Rosemary Straughter
                  505 Cape Fear Blvd
                  Carolina Beach, NC 28428


                  Rosemary Tacy
                  114 Hanover Street
                  Hampton, VA 23661


                  Rosendo Rosalez
                  148 Lexington Dr
                  Clarksville, TN 37042


                  Rosetta Blackburn
                  4701 Fries Road
                  Galax, VA 24333


                  Rosetta Shamoun
                  11256 Forrer Dr
                  Sterling Heights, MI 48312


                  Rosey Ordish
                  1975 Sanilac Road
                  Carsonville, MI 48419
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                  Roshan Singh
                  2407 Inkberry Court
                  Lake Wylie, SC 29710


                  Roshani Patel-Chludzinski
                  11 Cambridge circle
                  Pittston, PA 18641


                  Roshon Powell
                  150 Thorne Hedge Way
                  Hampton, GA 30228


                  Rosie Cruz
                  5663 Homedale Street
                  Detroit, MI 48210


                  Rosie Hall
                  485 Pine Ridge Rd
                  Petersburg,, VA 23805


                  Rosie Oatman
                  1765 Nottingham Trail
                  Ionia, MI 48846


                  Rosie Petrillo
                  106 McNally Cir
                  Indiana, PA 15701


                  Rosimenia Queiroz
                  514 St. Paul Rd
                  Dorchester, SC 29437


                  Rosita Torres
                  36380 Township Road 337
                  Warsaw, OH 43844


                  Rosolino Gaglio
                  24793 Pheasant Run Rd
                  Brownstown Charter Twp, MI 48134


                  Ross Alan Craddock
                  1652 Market Ave S
                  Canton, OH 44707
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                  Ross Flynn
                  1940 Angelo St
                  Winston-Salem, NC 27104


                  Ross Hudson
                  4154 13 Mile Road Northwest
                  Sparta, MI 49345


                  Ross Kendall
                  904 Munday Ct
                  Charlotte, NC 28270


                  Ross McCallum
                  3275 N Cemetery Rd
                  Cass City, MI 48726


                  Ross Mountjoy
                  318 Souther Rd
                  Fletcher, NC 28732


                  Ross O"Shea
                  4305 Wallace Ln
                  Nashville, TN 37215


                  Ross Parent
                  3301 Barcelona Court
                  Virginia Beach, VA 23452


                  Ross Romer
                  14406 Rockymount Court
                  Centreville, VA 20120


                  Ross Sladowski
                  6302 Gratiot Ave
                  St Clair, MI 48079


                  Ross Terrasi
                  28384 Hunter Court
                  Flat Rock, MI 48134


                  Ross Vrieze
                  1814 Michigan Ave
                  Cadillac, MI 49601
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                  Ross Williams
                  13173 N 1300th St
                  Robinson, IL 62454


                  Rotell Hitchcock
                  195 Cedar Creek Court
                  Fayetteville, GA 30215


                  Rowina Bassinger
                  13520 64th St
                  South Haven, MI 49090


                  Rowland Heishman
                  107 Kingsnoll Dr
                  Warner Robins, GA 31093


                  Rowshan Cleaning Service, LLC
                  3805 Dawson Dr
                  Warren, MI 48092


                  Roxana Ruiz
                  301 S Lincoln Ave
                  Sterling, VA 20164


                  Roxane Anderson
                  821 North Taylor Avenue
                  Oak Park, IL 60302


                  Roxann Roman
                  1213 Welch Boulevard
                  Flint, MI 48504


                  Roxann Steeb
                  3581 Wolf Creek Hwy
                  Adrian, MI 49221


                  Roxanna Belflower
                  220 University Parkway
                  Bluffton, SC 29909


                  Roxanna Jenkins
                  64 Elizabeth Court
                  Chillicothe, OH 45601
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                  Roxanne Dalton
                  128 Mountain Loop Road
                  Pilot Mountain, NC 27041


                  Roxanne Jones
                  4631 Cool Hill Road,
                  Providence Forge, VA 23140


                  Roxanne Sterling
                  4233 Grafton Rd
                  Leetonia, OH 44431


                  Roxanne White
                  6262 West Cowden Road
                  Ellettsville, IN 47429


                  Roxie Powell
                  92 Brentwood Drive
                  Mooresville, IN 46158


                  Roy (R.C.) Walton
                  4858 Harmony Highway
                  Hamptonville, NC 27020


                  Roy Adams
                  137 Hunterwood Pl
                  Benson, NC 27504


                  Roy Archambeau
                  9332 Stone Rd
                  Clay Township, MI 48001


                  Roy Ayers
                  157 Meadowlark Rd
                  Mt Airy, NC 27030


                  Roy Brady
                  2649 Powell Circle
                  Chesapeake, VA 23323


                  Roy Brummell
                  615 Tranquil Court
                  Fayetteville, GA 30215
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                  Roy Burk
                  121 Hogan Street
                  Willshire, OH 45898


                  Roy Chambers
                  1301 Greenstone Ct
                  Columbus, GA 31906


                  Roy Clayton
                  11236 Old Ridge Road
                  Doswell, VA 23047


                  Roy Clayton2
                  11236 Old Ridge Road
                  Doswell, VA 23047


                  Roy Darnell
                  162 Purple Martin Dr
                  Blanch, NC 27212


                  Roy Davenport
                  209 Ellenboro Henrietta Road
                  Ellenboro, NC 28040


                  Roy Davis
                  6430 NC Highway 55 West
                  Cove City, NC 28523


                  Roy Dawson
                  176 Belair Drive
                  Stockbridge, GA 30281


                  ROY DEFRAHN
                  64 Mentcle Drive
                  Heilwood, PA 15761


                  Roy Edwards
                  9371 OH-104
                  Lockbourne, OH 43137


                  Roy Eyanson
                  13447 BentBrook Dr
                  Van Wert, OH 45891
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                  Roy Farmer
                  2950 Eastview Terrace
                  Cleveland, TN 37323


                  Roy Gilbert
                  3608 E Yacht Dr
                  Oak Island, NC 28465


                  Roy Harrison
                  889 Shawboro Road
                  Shawboro, NC 27973


                  Roy Hatfield
                  12625 144th Ave
                  Grand Haven, MI 49417


                  Roy Highfill
                  496 knollwoods street
                  Winston-Salem, NC 27103


                  Roy Holt
                  20276 Woodcrest St
                  Harper Woods, MI 48225


                  Roy Johnson
                  213 Regents Park
                  Stockbridge, GA 30281


                  Roy Kent
                  54 Ashbrook Drive
                  Candler, NC 28715


                  Roy Kuney
                  8475 Geneva St
                  Jasper, MI 49248


                  Roy Landers
                  1861 Charleston Road
                  Salem, IL 62881


                  Roy LeMaster Jr
                  260 Shade Drive
                  Fairborn, OH 45324
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                  Roy Leschiniskey
                  3840 Two Oaks Road
                  Portsmouth, VA 23703


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                  Roy Quist
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                  Roy Russell
                  1597 West 416th Road
                  East Prairie, MO 63845


                  Roy S Wiegand
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                  Dayton, OH 45410


                  Roy Sanders
                  522 Wilson Road
                  West Memphis, AR 72301


                  Roy Schroeder
                  73255 Memphis Ridge Rd
                  Richmond, MI 48062


                  Roy Smith
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                  Fairfield, VA 24435


                  Roy Stevens
                  1108 Myers Rd
                  Mansfield, OH 44903
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                  Roy Tappan
                  1855 Liberty Woods Rd
                  Clarklake, MI 49234


                  Roy Taylor
                  41 Larkin
                  Middleport, OH 45760


                  Roy Torres
                  665 N Huron Rd
                  Bay City, MI 48708


                  Roy Wickham
                  7997 Bohemian Road Southeast
                  Corning, OH 43730


                  Roy Wiley
                  13579 Ohio 213
                  Irondale, OH 43932


                  Roy Williams
                  11046 4th Street
                  Clarksburg, OH 43115


                  Roy Winkler
                  29384 Wand Dr
                  New Baltimore, MI 48047


                  Roy Winstead
                  2022 Fieldcrest Road East
                  Wilson, NC 27893


                  royanne Reddy
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                  Seneca, IL 61360


                  Royce Adams
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                  Beckett Ridge, OH 45069


                  Royce Parmer
                  1200 Hylton Rd NW
                  Indian Valley, VA 24105
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                  Royce Rock
                  6551 S Roxbury Mill Rd
                  Spotsylvania Courthouse, VA 22551


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                  rozetta major
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                  4748 Blue Grass Dr. SE
                  Grand Rapids, MI 49546


                  RS & VDG Enterprises LLC
                  4748 BLUE GRASS DR SE
                  GRAND RAPIDS, MI 49546


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                  Ruben Echevarria
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                  Columbus, OH 43224


                  Ruben Garcia
                  24 Crutchfield Dr
                  Newport News, VA 23602


                  Ruben Luna
                  339 Simtal Lane
                  Beechgrove, TN 37018


                  Ruben Minjarez
                  3172 County Road 313
                  Bluffton, OH 45817


                  Ruben Pena
                  1915 Alpha Wolf Bay
                  San Antonio, TX 78245
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                  Ruben Popoca
                  5337 South Mayfield Avenue
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                  Ruben Sajnin
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                  Chester, VA 23831


                  Ruble Conatser
                  1509 Adair Avenue
                  Chattanooga, TN 37412


                  Ruby Brinson-Doman
                  29334 Campbell Drive
                  Warren, MI 48093


                  Ruby Combs
                  23151 State Rte. 4
                  Marysville, OH 43040


                  Ruby King
                  31980 Higley Road
                  Middleport, OH 45760


                  Ruby Lucas
                  30 North 8th Street
                  Columbia, PA 17512


                  Rudolph Hnilo
                  1515 Le Jeune
                  Lincoln Park, MI 48146


                  Rudy B Oakley
                  11439 Ohio 118
                  Van Wert, OH 45891


                  Rudy De Los Reyes
                  13185 Mill Creek Court, Reva VA 22735
                  Reva, VA 22735


                  Rudy Jones
                  15013 Keelers Mill Rd
                  Dewitt,, VA 23840
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                  Rudy Lyon
                  67 Buck Lane
                  Roanoke, VA 24012


                  Rudy Moravec
                  1317 South Clinton Road
                  Caseyville, IL 62232


                  Rudy Naciancneo
                  4408 Hamilton Dr
                  Woodbridge, VA 22193


                  Rudy Ramoutar
                  9 Marianne Drive
                  St. Peters, MO 63376


                  Rudy Rodriguez
                  2504 West Melrose Place
                  Peoria, IL 61604


                  Rudy Snipes
                  2597 Canfield Road
                  Youngstown, OH 44511


                  RUDY Troyer
                  60 Black Road
                  Marion Center, PA 15759


                  Rufus Earls
                  4633 Old Kentucky Road
                  Morristown, TN 37814


                  Rufus Miller
                  31204 Jeb Stuart Hwy
                  Spencer, VA 24165


                  Rufus Roberts
                  11605 Woodland View Dr
                  Fredericksburg, VA 22407


                  Rupa Raass
                  322 Lakeland Dr
                  Hampton, VA 23669
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                  Rupert Cox
                  127 Blackhaw Ln
                  Pembroke, VA 24136


                  Ruslan Shevchik
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                  Goshen, IN 46528


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                  209 W 3Rd St
                  Creighton, MO 64739


                  Russ Bissell
                  1212 E 348th St
                  Eastlake, OH 44095


                  Russ Brown
                  6406 Duhollow Road
                  Warrenton, VA 20187


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                  Indianapolis, IN 46203


                  Russ Ganun
                  9800 E W Ave
                  Vicksburg, MI 49097


                  Russ Geissinger
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                  Hillsboro, OH 45133


                  Russ Herlache
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                  Freeland, MI 48623


                  Russ Meier
                  5808 Holston Dr
                  Knoxville, TN 37924


                  Russ Owens
                  562 Main St
                  Barry, IL 62312
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                  Russ Shaffer
                  269 North Hill Drive
                  Middleburg, PA 17842


                  russ thayer
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                  Casnovia, MI 49318


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                  Macedonia, OH 44056


                  Russ Walker
                  7111 South M 88 Highway
                  Bellaire, MI 49615


                  Russel Pickering
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                  Statesville, NC 28625


                  Russel Tiede
                  7533 Surrey Dr
                  Onsted, MI 49265


                  Russell Baker
                  76440 33rd Street
                  Lawton, MI 49065


                  Russell Baker
                  2419 Copley Rd
                  Akron, OH 44321


                  Russell Bigham
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                  Chattanooga, TN 37415


                  Russell Broome
                  4281A Edgeland Rd
                  Edgemoor, SC 29712


                  Russell Brown
                  261 Sophia Dr
                  Eastman, GA 31823
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                  Russell Brown
                  129 Bentley Dr
                  Troy, NC 27371


                  Russell Campbell
                  1102 Riverside Avenue
                  Grottoes, VA 24441


                  Russell Cooper
                  1509 Norristown Place
                  Shelbyville, IN 46176


                  Russell Dean
                  483 Inverness Ct
                  Hudson, OH 44236


                  Russell Dern
                  3424 Sprucewood Rd
                  Knoxville, TN 37921


                  Russell Dillard
                  1930 Hickoryridge Road
                  Richmond, VA 23238


                  Russell Douglass
                  1117 Stillhouse Road
                  White House, TN 37188


                  Russell Eborg
                  62 N Cedar Ct
                  Tiffin, OH 44883


                  Russell Evans
                  131 Seminole Drive
                  Greenwood, SC 29646


                  Russell FRANK
                  14661 U.S. 422
                  Strongstown, PA 15957


                  Russell Gordon
                  704 West 10th Street
                  La Porte, IN 46350
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                  RUSSELL GREER
                  122 Schiebel Rd
                  Butler,, PA 16002


                  Russell Hancock
                  9802 Alexander Glen Drive
                  Charlotte, NC 28262


                  Russell Hering
                  31 Locust Street
                  McEwensville, PA 17749


                  Russell Huggins
                  30 Dorinda Drive
                  Christiana, PA 17509


                  Russell Hyde
                  605 S Fancher
                  Mt Pleasant, MI 48858


                  Russell Judy
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                  Spring Mills, PA 16875


                  Russell Keating
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                  Manassas, VA 20109


                  Russell Long
                  1 South Maple Ave
                  North Bend, PA 17760


                  Russell Manning
                  709 West Earl Street
                  Dillon, SC 29536


                  Russell Mason
                  1563 East River Road
                  Edinburg, PA 16116


                  Russell Montgomery
                  16798 Tamarack Rd
                  Howard City, MI 49329
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                  Russell Parker
                  16514 Seals Road
                  Bowling Green, VA 22427


                  Russell Pettaway
                  127 Niblick Circle
                  Suffolk, VA 23434


                  Russell Politte
                  1470 Riverwood Drive
                  Pacific, MO 63069


                  Russell Poma Use second Contact
                  837 Elm St
                  Holly, MI 48442


                  Russell Rmah
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                  Asheboro, NC 27205


                  Russell Roose
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                  Girard, OH 44420


                  Russell Root.
                  4617 Youngstown Kingsville Rd
                  Cortland, OH 44410


                  Russell Sanders
                  5821 Blaine Ave SE
                  Kentwood, MI 49508


                  Russell Smith
                  11828 Township Hwy 58
                  Upper Sandusky, OH 43351


                  Russell Steele
                  1826 Hiser Station Road
                  Milton, IN 47357


                  Russell Stewart
                  635 Sycamore Grove Rd
                  Wingate, NC 28174
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                  Russell Stewart
                  6641 East 950th Avenue
                  Robinson, IL 62454


                  Russell Sullins
                  49411 Co Rd 380
                  Grand Junction, MI 49056


                  Russell Taylor
                  970 Homestead Trail
                  Ringgold, VA 24586


                  Russell Vickery
                  1090 Shell Rd
                  Jonesborough, TN 37659


                  Rusty (Earnest) Ritch
                  5318 Auburndale Rd
                  Charlotte, NC 28205


                  Rusty Ackerman
                  1938 W Bear Lake Rd NE
                  Kalkaska, MI 49646


                  Rusty Drye
                  5895 Rimer Rd
                  Rockwell, NC 28138


                  Rusty Drye Lift and Pull
                  5895 Rimer Road
                  Rockwell, NC 28138


                  Rusty Morgan
                  19125 County Road 260
                  Bloomfield, MO 63825


                  Rusty Sanders
                  23 Tucker Street
                  Greeleyville, SC 29056


                  Rusty Shafer
                  5650 South Ridge Road West
                  Ashtabula, OH 44004
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                  Rusty Taylor
                  477 Kiwanis Avenue
                  Morgantown, WV 26505


                  Rusty Vicik
                  2217 Gilmerton Road
                  Chesapeake, VA 23323


                  Ruta Dornon
                  2724 Hilldale Rd
                  Springfield, OH 45505


                  Ruth Atkins
                  92 Bald Eagle Lane
                  Saluda, NC 28773


                  Ruth Atwood
                  910 Alexander Spring Road
                  Carlisle, PA 17015


                  Ruth Dean
                  1721 Graveltown Road
                  Quicksburg, VA 22847


                  Ruth Ekema
                  5621 West C Avenue
                  Kalamazoo, MI 49009


                  Ruth Eubanks
                  226 West Adams Street
                  Tennille, GA 31089


                  Ruth Ferguson
                  214 Burr Oak St NE
                  Grand Rapids, MI 49505


                  Ruth Field
                  8540 Bryce Road
                  Avoca, MI 48006


                  Ruth Gardner
                  236 Northwest Street
                  Bellevue, OH 44811
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                  Ruth Gault
                  16509 OH-37
                  Forest, OH 45843


                  Ruth Gerhardt
                  1282 Chapel Road
                  Leeper, PA 16233


                  Ruth Hampton
                  271 South Main Street
                  West Mansfield, OH 43358


                  Ruth Heuer-Jones
                  184 Dietz Road North
                  Webberville, MI 48892


                  Ruth Jones
                  2704 Nature Trail Rd
                  Glen Allen, VA 23060


                  Ruth Luce
                  147 Spruce St
                  Wyandotte, MI 48192


                  Ruth Michakek-Zimmer
                  1213 Dana Lane
                  Colonial Heights, VA 23834


                  Ruth Miller
                  17 Monarch Dr
                  Candler, NC 28715


                  Ruth Moore
                  3422 King Road
                  Saginaw, MI 48601


                  Ruth Nichols
                  308 East Davis Street
                  Dakota, IL 61018


                  Ruth Poberesky
                  5847 Naneva Court
                  West Bloomfield Township, MI 48322
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                  Ruth Reid
                  1676 Dale Road
                  Beaverton, MI 48612


                  Ruth Sandoval
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                  Maineville, OH 45039


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                  Mason, MI 48854


                  Ruth Stiles
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                  Dow, IL 62022


                  Ruth Stump
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                  East Lansing, MI 48823


                  Ruth Sylvestre
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                  Roanoke, VA 24017


                  Ruth Weldner
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                  Pilot Mountain, NC 27041


                  Ruthann Ball
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                  Ruthann Birchfield
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                  Albany, OH 45710


                  Ruthanne Neary
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                  York, PA 17403


                  Ryan Adams
                  5117 Shorthorn Way
                  Greensboro, NC 27405
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                  Ryan Alban
                  704 Whittmore Lane
                  Knoxville, TN 37918


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                  Muncie, IN 47303


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                  Galva,, IL 61434


                  Ryan Arens
                  3311 Slippery Elm Ct
                  Hilliard, OH 43026


                  Ryan B
                  1027 116th Ave
                  Martin, MI 49070


                  Ryan Babb
                  35 Bower Rd
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                  Cornelius, NC 28031


                  Ryan Baker
                  20532 North 1125th Street
                  Hutsonville, IL 62433


                  Ryan Beach
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                  Hudson, MI 49247


                  Ryan Behe
                  2652 Georgia 63
                  Homer, GA 30547


                  Ryan Bennett
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                  Otsego, MI 49078
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                  Ryan Blair
                  25534 Maywood St
                  Trenton, MI 48183


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                  Clyde, OH 43410


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                  Ryan Brooks
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                  Ryan Brutts
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                  Ryan Carr
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                  Ryan Carter
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                  Richland City, KY 42327


                  Ryan Christie
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                  Parker, PA 16049


                  Ryan Coe
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                  Jackson, MI 49201


                  Ryan Corey
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                  Abingdon, VA 24211


                  Ryan Cox
                  1450 4 Notch Road
                  Carrollton, GA 30116
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                  13936 Windemere Drive Northwest
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                  Loogootee, IN 47553


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                  Mill Creek, IN 46365


                  Ryan Everett
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                  Ryan Fast
                  5215 W Maple Rd
                  West Bloomfield Township, MI 48322


                  Ryan Ferguson
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                  Okemos, MI 48864


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                  2994 Marietta Avenue
                  Waterford Township, MI 48329
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  10570 IN-67
                  Albany, IN 47320


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                  Columbus, OH 45414


                  Ryan Giovacchini
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                  Joplin, MO 64804


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                  Ryan Hamilton
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                  Ryan Hammonds
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                  Ryan Hancock
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                  Ryan Hanks
                  2280 Equinox Avenue
                  Dalzell, SC 29040


                  Ryan Hann
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                  Claysburg, PA 16625


                  Ryan Hanson
                  1218 California Drive
                  Murfreesboro, TN 37129
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                  1855 South Winn Road
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                  Ryan Hefty
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                  Athens, GA 30605


                  Ryan Hendricks
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                  Ryan Hilla
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                  Madison Heights, MI 48071


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                  GRANITE FALLS, NC 28630


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                  Ryan Jay
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                  Madison Heights, VA 24572


                  Ryan Johnson
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                  Ryan Johnson
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                  Toledo, OH 43615


                  Ryan Knutson
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                  Chesapeake, VA 24322
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                  Chillicothe, IL 61523


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                  Ryan Major
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                  St Peters, MO 63376


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                  Ryan Matthew
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                  Potosi, MO 63664


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                  Westville, IN 46391


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                  Ryan Moore
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                  Springfield, OH 45503


                  Ryan Mullins
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                  Beulaville, NC 28518


                  Ryan Murphy
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                  Ryan Muzykoski
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                  Ozark, MO 65721


                  Ryan Oliver
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                  Nags head, NC 27959
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                  Nunica, MI 49448


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                  Ryan Pollett
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                  Findlay, OH 45840


                  Ryan Post
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                  Ryan Powers
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                  Raleigh, NC 27603


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                  Ryan Railsback
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                  New Paris, IN 46553
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                  209 North 1st Street
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                  Sandy Dickerson
                  969 Big Sky Rd
                  Jamestown, TN 38556


                  Sandy Foster
                  313 W Brown St
                  Seymour, IN 47274


                  Sandy Franck
                  6120 Angling Rd
                  Portage, MI 49024


                  Sandy Garber
                  215 Blose Road
                  Arcanum, OH 45304


                  Sandy Glanton
                  15781 S Vankal St.
                  Schoolcraft, MI 49087


                  Sandy Glowacki
                  12607 Hyne Rd
                  Brighton, MI 48114


                  Sandy Holton
                  11652 TJ Lane
                  Lowell, MI 49331


                  Sandy Huang
                  2301 Warm Hearth Drive
                  Blacksburg, VA 24060


                  Sandy Kay Marckman
                  8236 Autumn Mill Lane
                  Indianapolis, IN 46256


                  Sandy Kay Marckmann
                  8236 Autumn Mill Lane
                  Indianapolis, IN 46256


                  Sandy Kinzie
                  45 Alclare Ct
                  Asheville, NC 28804
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                  Sandy Kyle Channel
                  57059 Glenns Run Road
                  Martins Ferry, OH 43935


                  Sandy Langlois
                  1017 Gillespie Avenue
                  Portage, PA 15946


                  Sandy McCord
                  4126 Hardwood Heights Dr
                  Prescott, MI 48756


                  Sandy McCullough
                  28247 Ohio 83
                  Coshocton, OH 43812


                  Sandy Mers
                  399 Private Dr 254
                  Ironton, OH 45638


                  Sandy Miller
                  1166 Parks Rd
                  Goodells, MI 48027


                  Sandy Orthober
                  3018 Douglas Boulevard
                  Jeffersonville, IN 47130


                  Sandy Riese
                  8305 Mitchell Mill Rd
                  Ooltewah, TN 37363


                  Sandy Routh
                  4114 Jess Hackett Road
                  Climax, NC 27233


                  Sandy Sladowski
                  716 Mayer Rd
                  Columbus, MI 48063


                  Sandy Snovelle
                  2403 Toledo St
                  Emporia, KS 66801
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                  Sandy Stimson
                  401 Arnold Branch Rd
                  Franklin, NC 28734


                  Sandy Tumbleson
                  2903 Upper 5 Mile Road
                  Williamsburg, OH 45176


                  Sandy Untermyer
                  2237 Morris Callaway Rd
                  Appling, GA 30802


                  Sandy West
                  3247 Ridge Road
                  Vernon Hill, VA 24597


                  Sang Kim
                  1205 Valley Oaks Drive
                  Lewisville, TX 75067


                  Sanjay Tiwari
                  54682 Birchfield Dr
                  Shelby Charter Twp, MI 48316


                  SanJuana Gardea
                  5537 124th Avenue
                  Fennville, MI 49408


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                  2481 Shadowbrook Trace
                  Greenwood, IN 46143


                  Sanra Peters
                  15904 Wick Rd.
                  Allen Park, MI 48101


                  Santi Singhsindh
                  501 Yellowstone Drive
                  Hopewell, VA 23860


                  Santiago De Jesus
                  29803 White Hall
                  Farmington Hills, MI 48331
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                  Santiago Majam
                  328 High Country Drive
                  Blakeslee, PA 18610


                  Santiago Nieto
                  1445 121st Street
                  Whiting, IN 46394


                  Santiago Valentin
                  203 N Beverly Street
                  Wheaton, IL 60187


                  Santisuk Wongpeng
                  4352 W 132nd St ,
                  Cleveland, OH 44135


                  Sara Boyd
                  13193 Plattsburg Rd
                  South Charleston, OH 45368


                  Sara Continenza
                  4222 Bexley Blvd
                  South Euclid, OH 44121


                  Sara Crowe
                  21510 Mc Clung Ave
                  Southfield, MI 48075


                  Sara Davis
                  7012 Clovernook Avenue
                  Cincinnati, OH 45231


                  Sara Dolt
                  10340 Summerfield Rd
                  Temperance, MI 48182


                  Sara Eskridge
                  8595 Crestwicke Lane
                  Quinton, VA 23141


                  Sara Huntley Lutsy
                  178 Prospect Street
                  Berea, OH 44017
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                  Sara Jones
                  2075 Christian Road
                  Bowman, GA 30624


                  Sara Jones
                  415 Dickenson Road
                  Williamson, GA 30295


                  Sara Justine
                  7010 Lido Court
                  Parma, OH 44129


                  Sara Kerrigan
                  202 Wellington Crescent
                  Mt Clemens, MI 48043


                  Sara king
                  6788 Lulu Rd
                  ida, MI 48140


                  Sara Kristiansen
                  832 Cedar Grove Rd
                  Loudon, TN 37774


                  Sara Long
                  9007 McCracken Rd
                  Garfield Heights, OH 44125


                  Sara Mauch
                  2738 Eastlawn Ave
                  Ypsilanti, MI 48197


                  Sara McConville
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                  Streetsboro, OH 44241


                  Sara Morgan
                  4496 Bonsack Rd NE
                  Roanoke, VA 24012


                  Sara Pullum
                  603 South Stage Road
                  Ionia, MI 48846
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                  Sara Rachael
                  6190 Folkerth Rd
                  Greenville, OH 45331


                  Sara Ramirez
                  1313 Maplewood Avenue
                  Norfolk, VA 23503


                  Sara Schott
                  3830 Green Level Rd
                  Rocky Mount, VA 24151


                  Sara Simpkins
                  207 Lorraine Court
                  Jacksonville, NC 28540


                  sara smit
                  22922 Violet St
                  St Clair Shores, MI 48082


                  Sara Stellema
                  10615 Wildwood Drive
                  Fishers, IN 46037


                  Sara Vanvactor
                  8959 Lod Powell Rd
                  Corydon, KY 42406


                  Sara Wimmer
                  4815 Buttercup Way
                  Anderson, IN 46013


                  Sarah Barnwell
                  101 Morgan St.
                  Swannanoa, NC 28778


                  Sarah Blackwell
                  191 Church St
                  Pamplin, VA 23958


                  Sarah Burch
                  1203 Peach Ave
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                  Sarah Carter
                  6136 Paint Creek Road
                  Scarbro, WV 25917


                  Sarah Conkle
                  74 South Beverly Avenue
                  Youngstown, OH 44515


                  Sarah Cook
                  132 Raymond Street
                  Mocksville, NC 27028


                  Sarah Cramer
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                  Fuquay Varina, NC 27526


                  Sarah Dahlman
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                  Grand Haven, MI 49417


                  Sarah Dees
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                  Canton, NC 28716


                  Sarah DeWalt
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                  Pittsburgh, PA 15227


                  Sarah Durham
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                  Coraopolis, PA 15108


                  Sarah Eldridge
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                  Warren, MI 48089


                  Sarah Finney
                  803 Franklin Street
                  Roanoke Rapids, NC 27870


                  Sarah Flores
                  1114 Fox
                  Jackson, MI 49201
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                  Sarah Glasbergen
                  5310 Crawford Toms Run Rd
                  Brookville, OH 45309


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                  Sandston, VA 23150


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                  Winamac, IN 46996


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                  Hastings, MI 49058


                  Sarah Heath
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                  Sarah Hethcoat
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                  Dobson, NC 27017


                  Sarah Hodges
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                  Sarah Ipson
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                  Sarah Jablonowski
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                  Orion Township, MI 48360


                  Sarah Jones
                  4063 Little Creek Road
                  Dublin, VA 24084


                  Sarah Jones
                  347 Holston Terrace
                  Weber City, VA 24290
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                  Sarah Kindrick
                  19 Ditmar Street
                  Warren, PA 16365


                  Sarah King
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                  Black River, MI 48721


                  Sarah Kirbach
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                  Pamplin, VA 23958


                  Sarah Kubus
                  1415 Big Bend Road
                  Poplar Bluff, MO 63901


                  Sarah Lambertson
                  706 Dill Rd
                  Suffolk, VA 23434


                  Sarah Lee
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                  Pflugerville, TX 78660


                  Sarah Maher-Vargas
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                  Grand Blanc, MI 48439


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                  Dennison, OH 44621


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                  2022 Girard Avenue
                  Chesapeake, VA 23323
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                  16140 Suffolk Dr
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                  Sarah Parker
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                  Plymouth, MI 48170


                  Sarah Passomato
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                  North Wilkesboro, NC 28659


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                  Sarah Plocharczyk
                  38360 Judd Rd
                  Belleville, MI 48111


                  Sarah Poorman
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                  Niles, MI 49120


                  Sarah Ralston
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                  Marengo, OH 43334


                  Sarah Rand
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                  Fredericksburg, VA 22407
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                  1180 Grace Church Road
                  Knox, PA 16232


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                  553 Belmar Road
                  Franklin, PA 16323


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                  Sarah Schwinzer
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                  Madisonville, TN 37354


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                  Solon, OH 44139


                  Sarah Swanson
                  531 West Drexel Road
                  Twin Lake, MI 49457


                  Sarah Switzer
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                  Paris, IL 61944


                  Sarah Tilghman
                  221 North Greenway Avenue
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                  Battle Creek, MI 49015


                  Saudia Petersen
                  3155 N Bellamy Rd
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                  Saundra Echols
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                  7955 Tioga St
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                  Schannon Sargent
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                  Houston, TX 77077


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                  733 Lynch Lane
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                  Scot Duchesne
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                  Wilmington, NC 28405


                  Scot Matkovich
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                  Indianapolis, IN 46260


                  Scot Powell
                  729 Southeast Country Lane
                  Lee's Summit, MO 64063


                  Scot Reitenour
                  7335 Stoney Woods
                  Otsego, MI 49078


                  Scot Rittenberg
                  15214 Sheads Mountain Road
                  Rixeyville, VA 22737
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                  Scott Acker
                  3073 E. Tyler Rd.
                  Ithaca,, MI 48847


                  Scott Ackling
                  10956 Macon Rd
                  Saline, MI 48176


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                  6481 michillinda rd
                  whitehall, MI 49461


                  Scott Adams
                  19887 Boetger Rd
                  Manchester, MI 48158


                  Scott Adams
                  5182 W 110th Ave
                  Pullman, MI 49450


                  Scott Adams
                  1276 Ridge Run Ct
                  Wadsworth, OH 44281


                  Scott Adkins
                  2414 Haviland Ct
                  Mansfield, OH 44903


                  Scott Ahrens
                  846 Dallas Spencer Mtn Rd
                  Dallas, NC 28034


                  Scott Anderson
                  1209 Twelve Mile Rd
                  Royal Oak, MI 48073


                  Scott Andree Bowen
                  659 Brent St
                  Winston-Salem,, NC 27103


                  Scott Bailey
                  9565 Salem Rd
                  Athens, OH 45701
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Scott Barry
                  18935 Hyde Park Dr
                  Trenton, MI 48183


                  Scott Bates
                  40266 Lexington Park Dr
                  Sterling Heights, MI 48313


                  Scott Baxter
                  5054 Piersonville Rd
                  Columbiaville, MI 48421


                  Scott Beaver
                  610 Gray Hill Rd
                  New Columbia, PA 17856


                  Scott Bell
                  107 Saint Claire Court
                  Joplin, MO 64801


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                  12101 Green Rd
                  Goodrich, MI 48438


                  Scott Bernard
                  13041 Norwood Road
                  Raleigh, NC 27613


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                  32660 Marquette St
                  Garden City, MI 48135


                  Scott Berthold
                  149 Gardenia Drive
                  Turtle Creek, PA 15145


                  Scott Beutner
                  22101 Old Forge Ct
                  Woodhaven, MI 48183


                  Scott Biggerstaff
                  7001 Fountainbrook Dr
                  Indian Trail, NC 28079
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                  Scott Bilderback
                  49594 Manistee Drive
                  Chesterfield, MI 48047


                  Scott blount
                  4204 Grantham Drive
                  Saint George, KS 66535


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                  Schoolcraft, MI 49087


                  Scott Bonita Gardner
                  261 Mount Carmel Road
                  Vinton, OH 45686


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                  Troy, MO 63379


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                  Fillmore, IN 46128


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                  Colonial Heights, VA 23834


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                  Connersville, IN 47331


                  Scott Bruns
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                  Troy, MI 48085


                  Scott Buffington
                  153 Everett Springs Rd
                  Calhoun, GA 30701
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                  3098 Glenshaw Ave
                  Columbus, OH 43231


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                  2565 Green Farm Road
                  Danville, VA 24540


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                  787 Cherry Grove Rd
                  Greenville, VA 24440


                  Scott Christensen
                  7721 South Luce Ave
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                  Scott Christian
                  104 Jetta Drive
                  Camden, OH 45311


                  scott Cicchini
                  50327 Madison Drive
                  Macomb, MI 48044


                  Scott Conkwright
                  527 Conkwright Lane
                  Charlotte Court House, VA 23923


                  Scott Connelly
                  573 Cross Creek Rd
                  Reevesville, SC 29471


                  Scott Critten
                  1034 Cleveland Avenue
                  Fremont, OH 43420


                  Scott Cromes
                  2663 River Rd
                  Sidney, OH 45365


                  Scott Dann
                  4376 Central St
                  Columbiaville, MI 48421
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                  Farmland, IN 47340


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                  Grand Blanc, MI 48439


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                  Scott Eastman
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                  Hartford, MI 49057


                  Scott Ellett
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                  Scott Ericsson
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                  Westmoreland, TN 37186


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                  Grindstone, PA 15442


                  Scott Finney
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                  6724 North Chandler Road
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                  Saint Robert, MO 65584


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                  Manistee, MI 49660


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                  Scott Gibson
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                  Locust Grove, VA 22508


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                  Scott Laws
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                  Scott McElwee
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  24508 Lawrence 2210
                  Aurora, MO 65605
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                  Scott Petersen
                  265 Arbor Drive
                  Chesterton, IN 46304


                  Scott Peterson
                  6015 Jennings Ln
                  Springfield, VA 22150


                  Scott Pozworski
                  13640 Kauffman Avenue
                  Sterling, OH 44276


                  scott puckett
                  1127 Birchwood Drive
                  Griffin, GA 30224


                  Scott Purcell
                  5108 Star Hill Ln
                  Charlotte, NC 28214


                  Scott Quimby
                  322 Dabbsy Ford Road
                  Decherd, TN 37324


                  Scott Rader
                  5616 Sugar Grove Rd SE
                  Sugar Grove, OH 43155


                  Scott Rapp
                  4255 Walker Road
                  Rock Hill, SC 29730


                  Scott Ray
                  11387 Enyart Road
                  Loveland, OH 45140


                  Scott Reaugh
                  955 Blaire Rd
                  Blairsville, PA 15717


                  Scott Resch
                  4471 Spring Oaks Lane
                  Brighton, MI 48114
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                  Scott Reynolds
                  664 John R Road
                  Rochester Hills, MI 48307


                  Scott Rife
                  6124 Saint Johns Road
                  Floyds Knobs, IN 47119


                  Scott Rob
                  2125 E Hudson Ave, Royal Oak, MI 48067,
                  Royal Oak, MI 48067


                  Scott Rogers
                  410 morhouse dr
                  galesburg, MI 49053


                  Scott Rogers
                  363 Holder Inman Road
                  Randleman, NC 27317


                  Scott Rosiak
                  2524 Josiah Street
                  Charleston, SC 29492


                  Scott Rupp
                  2502 North Urbana Street
                  South Vienna, OH 45369


                  Scott Santelik
                  11931 West 103rd Court
                  Saint John, IN 46373


                  Scott Scalf
                  19281 Rd 23-Q
                  Delphos, OH 45833


                  Scott Scholl
                  1039 Markris Dr
                  Hillsdale, MI 49242


                  Scott Schultz
                  7382 S Gobblers Knob Rd
                  Williamsport, IN 47993
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                  Scott Seifer
                  101 N 6th St
                  Carolina Beach, NC 28428


                  Scott Severance
                  4624 Cottontown Rd
                  Forest, VA 24551


                  Scott Sewing
                  1822 Echo Forest Way
                  Huddleston, VA 24104


                  Scott Shearer
                  2757 Hilltop Road
                  Oakdale, PA 15071


                  Scott Shepherd
                  11737 Flowerfield Rd
                  Marcellus, MI 49067


                  Scott Sherman
                  2421 West Gratiot County Line Road
                  Saint Johns, MI 48879


                  Scott Shrader
                  55471 Snowberry Road
                  New Carlisle, IN 46552


                  Scott Sieh
                  6289 Peck Road
                  Brown City, MI 48416


                  Scott Sigler
                  7641 Kinney Road
                  Mount Vernon, OH 43050


                  Scott sikkema
                  3532 Lincoln Road
                  Hamilton, MI 49419


                  Scott simpkins
                  3843 Stow Road
                  Stow, OH 44224
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                  Scott Simpson
                  14 Red Oak Cir
                  Dallas, GA 30157


                  Scott Slepecki
                  232 Long Ridge Dr
                  Coraopolis, PA 15108


                  Scott Smith
                  442 Gilead Lake Rd
                  Bronson, MI 49028


                  Scott Smith
                  123 Clearview Road
                  Washington Court House, OH 43160


                  Scott Smithson
                  26010 Airline Street
                  Taylor, MI 48180


                  Scott Snider
                  124 1st St
                  Pleasantville, OH 43148


                  Scott Spencer
                  10839 Pleasant Valley Road
                  Somerville, OH 45064


                  Scott Staten
                  10421 Williams County Road 4
                  Edon, OH 43518


                  Scott Stephenson
                  14103 Mud Fork Rd,
                  Falls Mills, VA 24613


                  Scott Stickdorn
                  2275 Township Road 128 SE
                  Junction City, OH 43748


                  scott stone
                  26555 Glick Drive
                  Elkhart, IN 46514
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                  Scott Stuehrenberg
                  3508 Hh Road
                  Waterloo, IL 62298


                  Scott Stuifbergen
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                  Scott Swartz
                  415 Dorsey Hageman Rd
                  Sidney, OH 45365


                  Scott Swartz
                  4745 Whaleyville Blvd
                  Suffolk, VA 23438


                  Scott Thiel
                  8826 N 50 W, Fortville, IN 46040, USA
                  Fortville, IN 46040


                  Scott Thomas
                  7107 Hill Road
                  Swartz Creek, MI 48473


                  Scott Toomer
                  2329 Angler Ln
                  Chesapeake, VA 23323


                  Scott Vanhevel
                  4395 Kilgore Rd
                  Avoca, MI 48006


                  Scott VanVlerah
                  18776 Co Rd 218
                  Defiance,, OH 43512


                  Scott Vatter
                  4679 South Street
                  Gagetown, MI 48735


                  Scott Vermillion
                  7195 Township Road 137
                  Rushsylvania, OH 43347
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                  Scott Vezinau
                  20400 Pleasant St
                  St. Clair Shores, MI 48080


                  Scott Via
                  1617 Elrod Street Southeast
                  Cleveland, TN 37311


                  Scott Wagner
                  1325 Aviemore Ln
                  Ruckersville, VA 22968


                  Scott Wagoner
                  688 Walnut Grove Ln
                  Tiger, GA 30576


                  Scott Walker
                  404 Rumbaugh Rd
                  Apollo, PA 15613


                  Scott Warden
                  3904 Hillside Terrace Ln
                  Knoxville, TN 37924


                  Scott Welch
                  4198 Sarah Ln
                  Traverse City, MI 49685


                  Scott Wells
                  214 Pearl St
                  Ottawa, OH 45875


                  Scott whaley
                  11950 Case Road
                  Bellevue, MI 49021


                  Scott Willett
                  136 W Green St
                  Hastings, MI 49058


                  Scott Williquette
                  334 Oakhurst Ave
                  Kalamazoo, MI 49001
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                  Scott Winegardner
                  127 Heritage Estates Dr
                  Schellsburg, PA 15559


                  Scott Wippel
                  778 e mock rd
                  Milford, IN 46542


                  Scott Wobrock
                  36511 Rolf Street
                  Westland, MI 48186


                  Scott Wodowski
                  4137 North Vassar Road
                  Flint, MI 48506


                  Scott Woolf
                  2237 Ballentine Pike
                  Springfield, OH 45502


                  Scottt Fields
                  5429 Willow Avenue
                  Raytown, MO 64133


                  Scotty Cox
                  2369 Traphill Union Road
                  Traphill, NC 28683


                  Scotty Davidson
                  111 Vaughn Brooks Rd, Cleveland, VA
                  Cleveland, VA 24225


                  Scotty Hart
                  59962 Missouri 21
                  Ellington, MO 63638


                  Scotty Mundell
                  2848 E. Colonial Ave
                  Terre Haute, IN 47805


                  Scwatrick Brummell
                  137 Horizon Drive
                  Statesville, NC 28625
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                  Seaborn Edwards
                  22983 Valleyview Dr
                  Southfield, MI 48033


                  Sean & Sara McConville
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702


                  Sean Adomaitis
                  301 Dutch Road
                  Harmony, PA 16037


                  Sean Allen
                  3724 Douglas Rd
                  Chesapeake, VA 23322


                  Sean Braden
                  7297 Nichols Rd
                  Flushing, MI 48433


                  Sean Carroll
                  17359 Brookview Drive
                  Livonia, MI 48152


                  Sean Chase
                  501 Woodlake Road
                  Virginia Beach, VA 23452


                  Sean Clifford
                  900 Southwind
                  Port Arthur, TX 77640


                  sean cooper
                  5182 Brown Leaf Way SW
                  Powder Springs, GA 30127


                  Sean Defeo
                  438 Jesse Safrit Road
                  Salisbury, NC 28147


                  Sean Deokaran
                  7329 Perry Street
                  Cincinnati, OH 45231
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                  Sean Dunn
                  120 Blake Way
                  Lebanon, KY 40033


                  Sean Esterline
                  5900 Booker Road
                  Evansville, IN 47720


                  Sean Flaherty
                  6150 Antique Court
                  Burlington, KY 41005


                  Sean Fout
                  19463 Co Rd 190
                  Kenton, OH 43326


                  Sean Fox
                  24 Latimer Ln NE
                  Kennesaw, GA 30144


                  Sean Gazaway
                  1620 Hawthorne Trce
                  Cumming, GA 30040


                  Sean Geffre
                  45 Pheasant Run Lane
                  Wilmington, OH 45177


                  Sean Gess
                  2604 Timothy Drive
                  Murrysville, PA 15632


                  Sean Goggans
                  2064 Lick Creek Dr
                  Wentzville, MO 63385


                  Sean Hampton
                  10357 Alspach Road Northwest
                  Canal Winchester, OH 43110


                  Sean Harvey
                  133 Rhaubert Circle
                  State College, PA 16801
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                  Sean Henry
                  2260 Red Barn St
                  Delaware, OH 43015


                  Sean Jones
                  9781 Pinewood Lake Drive
                  Nunnelly, TN 37137


                  Sean Kovanda
                  716 Setliff Pl
                  Nashville, TN 37206


                  sean maclean
                  3858 Chesterfield Rd
                  Orion Township, MI 48359


                  Sean McCarrall
                  3624 Elder Mountain Rd
                  Chattanooga, TN 37419


                  Sean McCormick
                  33 Haven Road
                  Levittown, PA 19056


                  Sean McCoy
                  25427 Blue Heron Ln
                  Accomac, VA 23301


                  Sean McCullough
                  9750 E 200 N
                  Whitestown, IN 46075


                  Sean McGaughey
                  4361 Senseny Road
                  Berryville, VA 22611


                  Sean Mclaughlin
                  2301 Loney Lane
                  Louisville, KY 40215


                  Sean Mclone
                  5080 Adkins Ct
                  Flint, MI 48506
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                  Sean Mcnally
                  14365 Brushy Fork Rd SE
                  Newark, OH 43056


                  Sean Miller
                  6220 south clark road
                  Nashville, MI 49073


                  Sean Miller
                  2232 Germany Hollow Road
                  Wheelersburg, OH 45694


                  Sean Miller
                  575 Harmony Road
                  New Brighton, PA 15066


                  Sean Murray
                  131 Fernbrook Circle
                  Spartanburg, SC 29307


                  Sean Mygatt
                  1139 Churchill Court
                  De Soto, MO 63020


                  Sean Pak
                  9323 Cedar Grove Lane
                  Fredericksburg, VA 22407


                  Sean Pawlowski
                  2820 Tracewood Dr
                  Toledo, OH 43617


                  Sean Plowright
                  3193 Rainier Ave
                  Columbus,, OH 43231


                  Sean Podgaysky
                  3128 Commonwealth Ave
                  Charlotte, NC 28204


                  Sean Qualls
                  7556 Parsonage Rd
                  Saranac, MI 48881
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                  Sean Reid
                  1508 Partridge Avenue
                  St. Louis, MO 63133


                  Sean Roberts
                  228 Edmund Avenue
                  Royal Oak, MI 48073


                  Sean Rowin
                  64 Herds Ct.
                  Cataula, GA 31804


                  Sean Ryan
                  554 Stewart Road
                  Salem, OH 44460


                  Sean Shank
                  23 sweetapple rd
                  Vincent, OH 45784


                  Sean Shannon
                  1175 Tranquility Via Northwest
                  Christiansburg, VA 24073


                  Sean Springs
                  2151 Sungold Court
                  Greenwood, IN 46143


                  Sean Stapler
                  234 Wood View Drive
                  Brandenburg, KY 40108


                  Sean Stever
                  406 Elm St
                  Cairo, OH 45820


                  Sean Thompson
                  150 OH-4
                  Attica, OH 44807


                  Sean Thurston
                  2448 Hermitage Rd
                  Waynesboro, VA 22980
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                  Sean Tyree
                  584 Floyd Springs Road Northeast
                  Armuchee, GA 30105


                  Sean Wager
                  4099 Mohawk Trail
                  Adrian, MI 49221


                  Sean Webb
                  2876 N 300 W
                  Anderson, IN 46011


                  Sean Welch
                  144 Hideaway Ln
                  Mooresville, NC 28117


                  Sean Westergaard
                  12235 Oelke Road
                  Maybee, MI 48159


                  Sebastien Goncalves
                  547 Micahs Way North
                  Spring Lake, NC 28390


                  Sebrina Glass
                  2637 2nd Avenue
                  Koppel, PA 16136


                  Security Control Integrators, Inc
                  20 Chapin Road, Unit 1012
                  Pine Brook, NJ 07058


                  Sedgwick Claims Management Services, Inc
                  8125 Sedgwick Way
                  Memphis, TN 38125


                  Sefika Campara
                  21608 Doral Drive
                  Macomb, MI 48042


                  Selena Collins
                  1980 Mark Pine Rd
                  Hayes,, VA 23072
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                  Selina Bowman
                  201 Bowman Road
                  Ararat, NC 27007


                  Selina Spade
                  984 Herman Rd
                  Selinsgrove, PA 17870


                  Semaj Jordan
                  12 Pleasant Way
                  Hampton, VA 23666


                  Senad Omerovic
                  6793 Reinhart Drive
                  Belding, MI 48809


                  Sendil Krishnan
                  17 Beech Ridge Court
                  Greensboro, NC 27455


                  SeQuel Response, LLC
                  7480 Flying Cloud Drive, Suite 100
                  Eden Prairie, MN 55344-3720


                  Serena Jordan
                  1386 Idlewild Dr
                  Columbus,, OH 43232


                  Serena Sigala
                  14814 Van Pelt Drive
                  Goshen, IN 46526


                  Sergei Samoilenko
                  5640 Hickory Tree Lane
                  Mineral, VA 23117


                  Sergey Panich
                  2624 Lost Nation Rd
                  Willoughby, OH 44094


                  Serghei Potorac
                  10501 Wickens Rd
                  Vienna, VA 22181
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                  Sergio Delgado
                  2045 61st St
                  Downers Grove, IL 60516


                  Sergio Mora
                  1030 Warren Ct
                  Graham, NC 27253


                  Sergio Orozco
                  2020 S John Hix Rd
                  Westland, MI 48186


                  Sergio Pereira
                  2321 Woodcrest Drive
                  East Stroudsburg, PA 18302


                  Sergio Trevi o
                  2005 25th Street
                  Detroit, MI 48216


                  Sergio Villagomez
                  7139 McLaughlin Avenue
                  Hammond, IN 46324


                  Serica Simon
                  23278 Coventry Woods Ln
                  Southfield, MI 48034


                  Serita Joyner
                  4733 Periwinkle Place
                  Rocky Mount, NC 27804


                  Service Partners, LLC
                  475 N Williamson Blvd
                  Daytona Beach, FL 32114


                  Seth Bridger
                  26760 Chapel Hill Dr
                  North Olmsted, OH 44070


                  Seth Conley
                  9605 N 12 th st
                  Kalamazoo, MI 49009
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                  Seth Gabbert
                  584 Dallas Nebo Road
                  Dallas, GA 30157


                  Seth Garrepy
                  2451 Pepperstone Dr
                  Graham, NC 27253


                  Seth Gendron
                  139 Prelude Dr
                  Richlands, NC 28574


                  Seth Hinman
                  49 Rathfarnham Rd
                  Asheville, NC 28803


                  Seth Hoffman
                  165 Ridge Rd
                  Newport, PA 17074


                  Seth Houston
                  145 Armour Rd
                  Avon Lake, OH 44012


                  Seth Howard
                  1075 Baltimore Somerset Rd NE
                  Baltimore, OH 43105


                  Seth Miles
                  149 Outlaw Lane
                  Suffolk, VA 23435


                  Seth Montgomery
                  4832 Ramsey Ln
                  Dublin, VA 24084


                  Seth Pierce
                  255 Swiss Pine Lake Dr
                  Spruce Pine, NC 28777


                  Seth Rhoades
                  435 Rhoades Drive
                  North Wilkesboro,, NC 28659
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                  Seth Wagner
                  102 Ken Lee Dr
                  Green Springs, OH 44836


                  Sevak Kalantarian
                  2714 Pineleaf Drive
                  Sugar Land, TX 77479


                  severo lopez
                  2222 Azure Spring Drive
                  Sienna Plantation, TX 77459


                  Seward I. Weaver Appt
                  12531 County Line Road
                  Hemingway, SC 29554


                  Seymour Bray
                  7813 Crabb Rd
                  Temperance, MI 48182


                  Sha-kil Moss
                  120 Natchez Ln
                  Fredericksburg, VA 22406


                  Shacker Mourad
                  227 Honey Locust Dr
                  Avondale, PA 19311


                  Shad Daniel
                  915 County Road 534
                  Caruthersville, MO 63830


                  Shad Devillier
                  1115 Hard Rock Rd
                  Savannah, TN 38372


                  Shad Syfert
                  1626 Garden Valley Drive
                  Wildwood, MO 63038


                  Shadley Evers
                  10950 Sparkle Creek Dr
                  Midland, NC 28107
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                  Shae Avery
                  1987 Hill Road
                  Marietta, GA 30062


                  Shaehmus Sawyer
                  125 Constitution Avenue
                  Jacksonville, NC 28540


                  Shaida Benson
                  235 Laurel Meadows Drive, West Columbia,
                  West Columbia, SC 29169


                  Shaida Benson- Panel Addition
                  235 Laurel Meadows Dr
                  North Augusta, SC 29169


                  Shaka Cummings
                  17500 Evans St
                  Southfield, MI 48076


                  Shalanda Raynor
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                  Fredericksburg, VA 22407


                  Shalee Allender
                  4920 West Private Road 890 North
                  Brazil, IN 47834


                  Shalinda Mabery
                  1789 Revere Drive
                  Hampton, VA 23664


                  Shallah Shabazz
                  309 Bowfin Trl
                  McDonough, GA 30253


                  Shalon Banks
                  44 Midland St
                  Highland Park, MI 48203


                  Shalyn Greer
                  1302 Allendale Ct
                  New Haven, WV 25265
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                  Shamar Herron
                  1644 Greenway Dr
                  Superior Charter Twp, MI 48198


                  Shamika Moore
                  9079 Mercedes
                  Redford Charter Township, MI 48239


                  Shams Adakkai
                  1053 Yorkshire Pl
                  Dayton, OH 45419


                  Shamus McManaman
                  3520 Parr Lane
                  Chesapeake, VA 23323


                  Shan Chou
                  588 North Sandbranch Road
                  Mount Hope, WV 25880


                  Shana Franz
                  816 Kidwell Road
                  DeMossville, KY 41033


                  Shana Player
                  25815 Rayban Ln
                  Waynesville, MO 65583


                  Shana Price
                  2382 Munger Pointe Drive
                  Dayton, OH 45459


                  Shana Reed
                  4790 Crestwood Avenue
                  Holland, MI 49423


                  Shandre Delle
                  27999 M 60
                  Mendon, MI 49072


                  Shandricka Fetherson
                  7324 Mitzi Deborah Ln
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                  Shane Alesi
                  167 Ebling Rd
                  Kutztown, PA 19530


                  Shane Argyle
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                  East Stroudsburg, PA 18302


                  Shane Ayers
                  123 countryside street sw
                  Supply, NC 28462


                  Shane Bailey
                  517 E Water St
                  North Baltimore,, OH 45872


                  Shane Brouwer
                  4657 Gibbs Road Northwest
                  Grand Rapids, MI 49544


                  Shane Cernik
                  9381 Oak Leaf Trail
                  Hillsboro, MO 63050


                  Shane Clark
                  5094 S River Rd E
                  Geneva, OH 44041


                  Shane Crawford
                  10042 Young Rd
                  Union City, OH 45390


                  Shane Curtis
                  812 Mullen Road
                  Chesapeake, VA 23320


                  Shane Druley
                  5884 Dorwood Road
                  Saginaw, MI 48601


                  Shane Evans
                  1499 Pine Run Rd
                  Freedom PA, PA 15042
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                  Shane Evans
                  755 E Hampton St
                  Olanta, SC 29114


                  Shane Farr
                  2710 North D Street
                  Elwood, IN 46036


                  Shane Fusco
                  84 Five-O Drive
                  Portageville, MO 63873


                  Shane Garnett
                  18042 State Highway East
                  Parnell, MO 64475


                  Shane Gould
                  103 Tayler Lane
                  Tuscola, IL 61953


                  Shane Jetzer
                  800 C Avenue
                  Norfolk, VA 23504


                  Shane Koziatek
                  898 East Oregon Church Road
                  Terre Haute, IN 47802


                  shane kronengold
                  851 east court st
                  Sidney, OH 45365


                  Shane Leffel
                  804 Martin Road
                  Danville, VA 24541


                  Shane Mixon
                  1687 Cedar Grove Road
                  Conley, GA 30288


                  Shane Nall
                  324 Southland Drive
                  Vine Grove, KY 40175
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                  SHANE POISEL
                  3250 17B Road
                  Tippecanoe, IN 46570


                  Shane Ring
                  1284 County Rd 750 N
                  Tuscola, IL 61953


                  Shane Scruggs
                  302 S Elm St
                  Kempton, IN 46049


                  Shane Simmons
                  106 Dawning Ct
                  Georgetown, KY 40324


                  Shane Sipes
                  899 Clearfield Lane
                  Cincinnati, OH 45240


                  Shane Skates
                  1077 Springwood Drive
                  Fremont, OH 43420


                  Shane Smith
                  1001 Plank Rd
                  Dundee, MI 48131


                  Shane Stone
                  6929 Ontario Rd
                  Wilmington, NC 28412


                  Shane Thomas
                  5757 OH-412
                  Vickery, OH 43464


                  Shane Travis
                  1360 Travis Trail
                  Mikado, MI 48745


                  Shane Watkins
                  8200 Taylor Dr
                  Garner, NC 27529
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                  Shane Wells
                  4085 S Baker Rd
                  Lynchburg, OH 45142


                  Shane Whatley
                  201 Mill Pond Crossing
                  Carrollton, GA 30116


                  Shane Wilson
                  144 Chickasaw Lane
                  O'Fallon, IL 62269


                  Shaneh Woods
                  1773 Martindale Rd
                  Greenville, OH 45331


                  Shanekkia Middleton
                  104 Woodchase Lane
                  Elgin, SC 29045


                  Shanina Tyus
                  18700 Whitcomb st
                  Detroit, MI 48235


                  Shankar kumar Revu
                  456 Filmore Road
                  Pittsburgh, PA 15221


                  Shanna Berryman
                  2109 Westerly Drive
                  Lynchburg, VA 24501


                  Shanna Ricchezza
                  141 Dogwood Court
                  Aylett, VA 23009


                  Shanna Sauve
                  19722 Timberfield Ct
                  Katy, TX 77449


                  Shannah Godfrey
                  2104 North Lazy Branch Road
                  Independence, MO 64058
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                  Shannen Holloway
                  2535 State Route 108
                  Columbus, NC 28722


                  Shannon (Scot) Singleton
                  14942 W US Highway 64
                  murphy, NC 28906


                  Shannon Anderson
                  38898 Johnnycake Ridge Rd
                  Willoughby, OH 44094


                  Shannon Bigger
                  1025 Warren St
                  Oquawka, IL 61469


                  Shannon Binns
                  2317 Laburnum Ave
                  Charlotte, NC 28205


                  Shannon Blake
                  1656 Brevard Dr
                  Asheboro, NC 27205


                  Shannon Colby
                  275 Anneswood Rd
                  Martinez, GA 30907


                  Shannon Compton
                  2350 Buck Run Rd
                  Seaman, OH 45679


                  Shannon Conwell
                  1001 East 26th Street
                  Muncie, IN 47302


                  Shannon Craig
                  53444 Ash Rd
                  Granger, IN 46530


                  Shannon Curry
                  3013 Water Leaf Cir
                  Chester, VA 23831
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                  Shannon Davis
                  1058 West County Road 400 North
                  Cayuga, IN 47928


                  Shannon Evans
                  1030 Chestnut Level Lane
                  Blairs, VA 24527


                  Shannon Frazier
                  3666 Woodcutter Ln
                  Columbus, OH 43224


                  Shannon Gerasimchik
                  967 Lock 2 Road
                  New Bremen, OH 45869


                  Shannon Graves
                  2505 Oliver Road
                  Timmonsville, SC 29161


                  Shannon Gress
                  10290 Morton St.
                  Byesville, OH 43723


                  Shannon Jones
                  105 Wendall Ln
                  Flat Lick, KY 40935


                  Shannon Knott
                  2390 Snowbird Rd
                  Robbinsville, NC 28771


                  Shannon Lee
                  3625 Baldwin Road
                  Brandon Township, MI 48462


                  Shannon Mehrmann
                  207 Mellon St
                  West Mifflin, PA 15122


                  Shannon O'leary
                  38675 Overlook Drive
                  Grafton, OH 44044
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                  Shannon Oberley
                  406 Marie Street
                  Glassport, PA 15045


                  Shannon OBrien
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                  Dupo, IL 62239


                  Shannon OReilly
                  1671 Sheffield Dr
                  Superior Charter Twp, MI 48198


                  Shannon Owens
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                  Round Rock, TX 78665


                  SHANNON PATTERSON
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                  Shanon Geiser
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                  Three Rivers, MI 49093


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                  Sharlene Flansburg
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                  Milford, PA 18337
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                  Sharlene Rhein
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                  Sharon Cahill
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                  Sharon Foos
                  75 East Loy Road
                  Piqua, OH 45356
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                  Sharon Gammons
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                  Armuchee, GA 30105


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                  Bessemer, PA 16112
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                  Pinckney, MI 48169
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                  Sharon Merryman
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                  Sharon Roach
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Dorr, MI 49323


                  Shelly Guzzo
                  270 Partridge Street
                  Apple Creek, OH 44606


                  Shelly Lewis
                  1153 Cherry Avenue
                  Buena Vista, VA 24416
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                  Shelly Quinn
                  8120 Windsong Rd
                  Denver, NC 28037


                  Shelly Suarez
                  36636 Avondale Street
                  Westland, MI 48186


                  Shelly Thompson
                  2121 12th St SW
                  Akron, OH 44314


                  Shelly Van Dusen
                  679 126th Avenue
                  Shelbyville, MI 49344


                  Shelly Winter
                  204 Conrad Circle
                  Truesdale, MO 63380


                  Shelton Sherman
                  6843 Beech Daly Rd
                  Taylor, MI 48180


                  Shenan Stephens
                  24921 Gunterman Road
                  Fieldon, IL 62031


                  Sheneva Miller
                  1100 Birchwood Dr
                  Griffin, GA 30224


                  Sheree Goettman
                  121 Bay Meadow Lane
                  Benson, NC 27504


                  Sherelle Green
                  8801 Lake Jordan Way
                  Petersburg, VA 23803


                  Sheresa Catoe
                  505 woodland dr
                  Kershaw, SC 29067
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                  Sheri Balmforth
                  900 Hermitage Farm Lane
                  Stockbridge, MI 49285


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                  Mason, MI 48854


                  Sheri Jackson
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                  Fort Wayne, IN 46809


                  Sheri Jahn
                  1743 South Lakeshore Road
                  Carsonville, MI 48419


                  Sheri Scheurer
                  1433 E Tuttle Rd
                  Ionia, MI 48846


                  Sheridan Snyder
                  267 Vest Rd
                  Turtletown, TN 37391


                  Sherinette Solomon
                  970 Aspen Rd
                  Stafford, VA 22554


                  Sherjeel Khan
                  4108 Kinfolk Court
                  Pinckney, MI 48169


                  Sherman Gumbs
                  588 Leonard Lane
                  Newport News, VA 23601


                  Sherman Lane
                  3525 Daisy Crescent
                  Virginia Beach, VA 23453


                  Sherman Mullins
                  495 Ikenberry Rd
                  Boones Mill, VA 49524
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                  Sherman Williams
                  3704 Givens Avenue
                  Salem, VA 24153


                  Shernita Powell
                  681 Juliette Court
                  Creedmoor, NC 27522


                  Sherri Blake
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                  Navasota, TX 77868


                  Sherri Blaney
                  5425 Congo Road Southeast
                  Corning, OH 43730


                  Sherri Brandt
                  6500 Welch Lake Rd
                  Grass Lake, MI 49240


                  Sherri Brooks
                  27638 West Huron River Drive
                  Flat Rock, MI 48134


                  Sherri Bush
                  15332 Gayle Way
                  Carrollton, VA 23314


                  Sherri Gray
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                  Chesapeake, VA 23323


                  Sherri Kincaid
                  1810 County Road 1A
                  Ironton, OH 45638


                  Sherri Mundt
                  913 East Center Street
                  Benton, IL 62812


                  Sherri Painter
                  1473 Lovi Rd
                  Freedom, PA 15042
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                  Sherri Roe
                  517 Kings Road
                  Shelby, NC 28150


                  Sherri VanSkoyck
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                  Germantown, OH 45327


                  Sherri Willis
                  167 Township Rd 1376
                  Iron, OH 45638


                  Sherrie Hatfield
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                  Bear Creek, NC 27207


                  Sherrie roby
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                  Sherry Blust
                  840 Anderson Road
                  Tawas City, MI 48763


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                  Mount Airy, NC 27030


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                  Gray Court, SC 29645


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                  Athens, OH 45701


                  Sherry Dugan
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                  Maryville, TN 37801


                  Sherry Ecker
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                  Metamora, MI 48455


                  Sherry Gunderson
                  53 Toms Park Circle
                  Hendersonville, NC 28739


                  Sherry Hidalgo
                  32 Lark Lndg
                  Ringgold, GA 30736


                  Sherry Klepper
                  4770 Ohio 303
                  Ravenna, OH 44266
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                  Sherry Koontz
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                  Sherry Lovett
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                  Hayes, VA 23072


                  Sherry Mains
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                  Stuart, VA 24171


                  Sherry Marker
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                  Castlewood, VA 24224


                  Sherry Mathias
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                  Red Lion, PA 17356


                  Sherry Moore
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                  Maryville, TN 37803


                  Sherry Pautsch Sr
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                  Leaf River, IL 61047


                  Sherry Payne
                  6306 Belfast Rd
                  Goshen, OH 45122
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                  Sherry Peak
                  701 Selene Street
                  Lynchburg, VA 24503


                  Sherry Roehrig
                  11771 MO-94
                  Marthasville, MO 63357


                  Sherry Snider
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                  King, NC 27021


                  Sherry Sonnessa
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                  Blacksburg, VA 24060


                  Sherry Spezia
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                  Columbus, MI 48063


                  Sherry Story-Kelty
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                  Prescott, MI 48756


                  Sherry Taylor
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                  Newark, OH 43056


                  Sherry Vaughn
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                  Hiwassee, VA 24347


                  Sherry Wallace
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                  Danville, VA 24540


                  Sherry Winston
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                  Groveport, OH 43125


                  Sherry Wood
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                  Sheryl Mccoy
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                  Sheryl Wahl
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                  Sheryl Woods
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                  Sheryll Johnson
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                  Van Buren, IN 46991


                  Sheul Helena
                  5003 Forest Ave
                  Temple, PA 19560
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                  Shevaun Cooper
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                  Shiela Musser
                  135 Pond Springs Rd
                  Kingsport, TN 37664


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                  Woodville, TX 75979


                  Shiloh Pittman
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                  Briarcliff, TX 78669


                  Shiloh Steffen
                  4415 Indiana 1
                  Ossian, IN 46777


                  Shipp's Fire Equipment Sales and Service
                  52 Wilshire Ave SW
                  Concord, NC 28025


                  Shira Rose
                  125 River Rd
                  Fuquay Varina, NC 27526


                  Shirley Birch
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                  Temperanceville, VA 23442


                  Shirley Blosser
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                  Broadway, VA 22815


                  Shirley Brackett
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                  Williamston, SC 29697


                  Shirley Delahanty
                  232 dunklin Drive
                  Herculaneum, MO 63048
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                  Shirley Deltondo
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                  Shirley Fletcher
                  5821 Oak Creek Lane
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                  Shirley Gibson
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                  Burton,, MI 48519


                  Shirley Ginwright
                  11615 Gunston Rd
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                  Shirley Hilty
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                  Shirley Hoffman
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                  Shirley Huffman
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                  Shirley Hunt
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                  Shirley Jenkins
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                  Shirley Kelly
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                  Shirley Morris
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                  Shirley Schmidt
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                  3 Firethorn Court
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                  Shon Jualin
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                  O'Fallon, IL 62269


                  Siddius Harris
                  2935 West 60th Drive
                  Merrillville, IN 46410
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                  Sidley Austin, LLP
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                  sidney burleson
                  42 fox rd
                  fairview, NC 28730


                  Sidney Cage
                  5353 State Rd Y
                  De Soto, MO 63020


                  Sidney Cox
                  4220 Wendell Court
                  Middletown, OH 45005


                  Sidney Guidry
                  501 west st.lou
                  Bland, MO 65014


                  Sidney McCall
                  6909 Lakeland Way
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                  Siearra Mabry
                  314 wren rd
                  richmond, VA 23223


                  Sieglinde Graves
                  3722 Steiner St
                  Trenton, MI 48183


                  Sierra Fifield
                  42203 Montroy Drive
                  Sterling Hts, MI 48313


                  Sierra Ingram
                  212 West Main Street
                  Mount Orab, OH 45154


                  Signature Designs, Inc
                  245357 Indopley Circle
                  Farmington Hills, MI 48335
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                  Silas Craven
                  2824 Sidneys Road
                  Walterboro, SC 29488


                  Silas Freitas
                  854 Old Stonecutter Rd
                  Rutherfordton, NC 28139


                  Silas Robinson
                  2086 Strawberry Dr
                  New Market, TN 37820


                  Silberio Reyes
                  500 East Gertrude Street
                  Fairmont, NC 28340


                  Silfab Solar
                  Attn: Maurice Smith
                  Accounts Receivable
                  Buffalo, NY 14202


                  SilverBack Advertising, LLC
                  631 Brawley School Rd Suite 300-#203
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                  Silverio Knights
                  3259 Beech Ridge Drive
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                  Silvia Munoz
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                  Wilkesboro, NC 28697
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                  1852 ridge road ext.
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                  Midland, MI 48642


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                  Simone Hock
                  1931 W Ridge Dr
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                  Simone Mangold
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                  Simpson Investments, LP
                  3029 Wilshire
                  SPRINGFIELD, MO 65804


                  Simson Investments LP
                  3029 E Wilshire Dr
                  Spingfield, MO 65804-4149


                  Simuel Stevenson
                  65 General Longstreet Line
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                  Skip James
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                  1606 County Highway 11
                  Beecher City, IL 62414
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                  Sobhi Nahhas
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                  Soha Soha Alammoury
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                  Washington, DC 20005


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                  Sonia Lightfield
                  6520 Stillwell Beckett Rd
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                  2006 Fairfax Street
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                  5671 Buchanan Trail West
                  Mercersburg, PA 17236


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                  4922 Kistler Lane
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                  Sonny Kamper
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                  Sonny Valles
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                  Sonya Brown
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                  Sonya Stauder
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                  Richlands, NC 28574
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                  Vass, NC 28394


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                  Sharon, TN 38255


                  Sophia McKenzie-Scott
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                  Sophie Roby
                  607 South Street
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                  Soundra Elliott
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                  South Carolina Department of Revenue
                  PO Box 125
                  Columbia, SC 29214-0036


                  Southeast Series Of Lockton Companies,Ll
                  C/O Bank Of America
                  P.O. Box 741732
                  Atlanta, GA 30374-1732


                  Southern Shingles
                  7440 State Highway 121
                  MCKinney, TX 75070


                  Southern Spring
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                  2443 Fillmore St #380-8456
                  San Francisco, CA 94115
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                  Spencer Delbridge
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                  Bunnlevel, NC 28323


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                  Spencer Myszka
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                  Spencer Szuda
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                  1319 Quiet Forest Lane
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                  Springfield, OH 45501-5200


                  Sprint
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                  Carol Stream, IL 60197-4181


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                  Detroit,, MI 48219


                  Spurgeon Smith
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                  Millers Tavern, VA 22560


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                  St. Claire Laronde
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                  Staccato Ohara
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                  Stacey Cooke
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                  Stacey Daniels
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                  Stacey Darling
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                  Stacey Forbes
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                  Port Huron, MI 48060


                  Stacey Goslin
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                  Stacey Griffith
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                  stacey Hobbs
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                  Stacey Lewis
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                  Stacey McCabe
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                  Stacia Miller
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                  3151 Providence Church Rd
                  Tallapoosa, GA 30176


                  Stacie Macdonald
                  3144 Sandpoint Dr
                  Brighton, MI 48114
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                  STACIE MORGAN
                  596 Cub Creek Road
                  Appomattox, VA 24522


                  STACIE PORTER
                  204 Oolitic Ln
                  Oolitic, IN 47451


                  Stacie Quimby
                  731 US-40
                  Troy, IL 62294


                  Stacie Stutzman
                  1835 East Paw Paw Pike
                  Peru, IN 46970


                  Stacy Berry
                  632 College Park Circle
                  Bluffton, SC 29909


                  Stacy Black
                  124 Cowan Ln
                  LaFollette, TN 37766


                  stacy brown
                  1433 Pamlico Boulevard
                  Chesapeake, VA 23322


                  Stacy Burris-Rinehart
                  10673 Hammer Road
                  Neosho, MO 64850


                  Stacy Christian
                  382 Hilltop Dr
                  Madison Heights, VA 24572


                  Stacy Crawford
                  201 Potts Branch Rd
                  Franklin, NC 28734


                  Stacy Davis
                  1194 2175th Ave
                  Beason, IL 62512
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                  Stacy Dean
                  22 Evergreen Ln
                  Levittown, PA 19054


                  Stacy Faulkner
                  6331 10th Street
                  Twin Lake, MI 49457


                  Stacy Frantz
                  4712 North 700 West
                  Wabash, IN 46992


                  Stacy Gettier
                  127 Coppahaunk Avenue
                  Waverly, VA 23890


                  Stacy Gielda
                  4103 Brookview Dr E
                  Prescott, MI 48756


                  Stacy Gould
                  4385 Cooper Rd
                  Winston-Salem, NC 27127


                  Stacy Harris
                  4685 Elizabeth Lane
                  Gloucester, VA 23061


                  Stacy Lee
                  135 Coulter Lane
                  Spring Mills, PA 16875


                  Stacy Leonard
                  102 Buckingham Drive
                  Guyton, GA 31312


                  Stacy Link
                  4670 Fort Avenue
                  Lynchburg, VA 24502


                  Stacy Martinez
                  1391 Prison Camp Road
                  Whiteville, NC 28472
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                  Stacy Parris
                  2601 Sam Davis Road
                  Bryson City, NC 28713


                  Stacy Payne
                  1411 Baux Mountain Road
                  Germanton, NC 27019


                  Stacy Roderick
                  715 South Water Street
                  Shelbyville, IL 62565


                  Stacy Sather
                  208 Falling Leaf Ct, Jacksonville, NC
                  Jacksonville, NC 28540


                  Stacy Sinyard
                  607 NC-581
                  Goldsboro, NC 27530


                  Stacy Thacker
                  17180 State Highway 185
                  Coffeen, IL 62017


                  Stacy Tong
                  29721 Larches Street
                  Flat Rock, MI 48134


                  Stacy Wolf
                  2196 Paige Marie Dr,
                  Warrenton, MO 63383


                  Stahlgebaude LTD
                  7303 Hwy 90 E
                  Seguin, TX 78155


                  Stahlgebaude LTD
                  PO Box 117
                  KINGSBURY, TX 78638


                  Stallone Maria
                  1520 Hollythorne Drive
                  Rock Hill, SC 29732
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                  Stan Brandon
                  2096 South Hoosier Road
                  Franklin Grove, IL 61031


                  Stan Burge
                  2240 Walton St
                  Petersburg, VA 23805


                  Stan Fry
                  22800 Beech Daly rd.
                  Brownstown twp, MI 48134


                  Stan Galganski
                  6870 York Rd
                  Parma Heights, OH 44130


                  Stan Gray
                  204 Ashford Court
                  Easley, SC 29642


                  Stan Lancaster
                  408 North School Avenue
                  Minier, IL 61759


                  Stan Nebelski III
                  1920 West Jackson Street
                  Painesville, OH 44077


                  Stan Osowski
                  6494 West Bleck Road
                  La Porte, IN 46350


                  Stan Scheidler
                  5679 Kyles Lane
                  Liberty Township, OH 45044


                  Stan Szelest
                  5396 Country Lane
                  Miami Township, OH 45150


                  Stan Szymialis
                  1398 stone church road wheeling wv
                  Wheeling, WV 26003
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                  Stan Wawzysko
                  9100 Division Dr
                  Ceresco, MI 49033


                  Stan Williams
                  3944 Fawnridge Court
                  Erlanger, KY 41018


                  Stanislaw Nowicki
                  10 Von Zech Way,
                  Mohrsville, PA 19541


                  stanley clinton
                  382 Davis Road
                  Mansfield, OH 44907


                  Stanley Davis
                  6435 W Ridge Ct
                  Douglasville, GA 30135


                  Stanley Fisher
                  263 Miller Lane
                  Mount Vernon, KY 40456


                  Stanley Fleming
                  13003 South Baltimore Avenue
                  Chicago, IL 60633


                  Stanley Gaines
                  122 Tc-11-46
                  Anderson, SC 29626


                  Stanley Guenther
                  7922 E 50 Rd
                  Cadillac, MI 49601


                  Stanley Hughes
                  149 Gerner Rd
                  Cabot, PA 16023


                  Stanley Hunt
                  421 Laurel Drive
                  Greenville, SC 29607
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                  Stanley janiszewski
                  902 Baird St
                  Logan, OH 43138


                  Stanley Jones
                  4055 E Greensboro Chapel Hill Road
                  Graham, NC 27253


                  stanley koziol
                  310 watering pond rd
                  pink hill, NC 28572


                  Stanley Lamore
                  160 Maloy Lane Southeast
                  Calhoun, GA 30701


                  Stanley Lipka
                  2628 Desmond Road
                  Waterford Township, MI 48329


                  Stanley Majesky
                  468 Highland Ridge Road
                  Marianna, PA 15345


                  Stanley Meaders
                  1461 Hwy 2
                  Blue Ridge, GA 30513


                  Stanley Meiggs
                  1693 Tulls Creek Rd
                  Moyock, NC 27958


                  Stanley Milan
                  232 East Skyline Drive
                  Purcellville, VA 20132


                  Stanley Nelson
                  1390 Old Memphis Road
                  Covington, TN 38019


                  Stanley Rogoff
                  1667 Greenside Ct SW
                  Ocean Isle Beach, NC 28469
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                  stanley sandle
                  227 Caitlyn Drive
                  Hampton, GA 30228


                  Stanley Sutton
                  201 Missouri 102
                  East Prairie, MO 63845


                  Stanley Vongunten
                  1021 E 550 S
                  Berne, IN 46711


                  Stanley Walczak
                  1124 Sutherlyn Ct
                  Chesapeake, VA 23322


                  Stanley Weisman
                  1177 Stixfield Ct
                  Winston-Salem, NC 27103


                  Stanley Wolk
                  14077 A Drive South
                  Marshall, MI 49068


                  Stanton Sollenberger
                  6167 Guitner Rd
                  Greencastle, PA 17225


                  Star Prater
                  86 Kriswood Drive
                  Rossville, GA 30741


                  Stark Exterminators
                  800 Huffman St
                  Greensboro, NC 27405


                  Starling Holding, LLC
                  6685 N CR 550 E
                  Bownsburg, IN 46112


                  Starling Holdings, LLC
                  6377 Morenci Trail
                  INDIANAPOLIS, IN 46268
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  State of Tennessee Department of Revenue
                  500 Deadrick Street
                  Nashville, TN 37242


                  Stavros Boinodiris
                  103 Lippershey Ct
                  Cary, NC 27513


                  Stefan Cazzonelli
                  190 Dix Creek Rd 2
                  Leicester, NC 28748


                  Stefan Cervik
                  138 West 1025 South
                  Kouts, IN 46347


                  Stefan Grenvik
                  222 Meadow Glen Drive
                  Bristol, TN 37620


                  Stefan Ireland
                  3784 Miigwan Ln
                  Mt Pleasant, MI 48858


                  Stefanie Day
                  3404 3rd Avenue
                  Grove City, OH 43123


                  Stefanie McWhorter
                  1719 Dunwich Dr
                  Liberty, MO 64068


                  Stefanie Redding
                  196 Laurel Ridge
                  Baldwin, GA 30511


                  Stefanie Wise
                  19009 Wayne Road
                  Livonia, MI 48152


                  Steffan Walker
                  1558 Mustang Dr, Edgemoor, SC 29712, USA
                  Edgemoor, SC 29712
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                  Stella Davis
                  212 Quail Circle
                  Hutto, TX 78634


                  Stella Pettiford
                  2672 Bryans Hill Rd
                  Oxford, NC 27565


                  Steph Consani
                  4068 Raymond Rd
                  Frankfort, MI 49635


                  Steph Hasbrouck
                  3535 Julie Lane
                  Indianapolis, IN 46228


                  Stephan Borman
                  1209 Northeast 1050 Street
                  Greenfield, IL 62044


                  Stephan Grainger
                  1064 Sunset Drive
                  Latta, SC 29565


                  Stephan Guilford
                  856 Autumn Grove Drive
                  O'Fallon, MO 63366


                  Stephan Mullins
                  2904 Harvard Ave
                  Durham, NC 27703


                  Stephan Ulbrich
                  4375 River Ridge Road
                  Dayton, OH 45415


                  Stephanie and Thomas Barnett
                  7447 O'Keefe Road
                  Bealeton, VA 22712


                  Stephanie Angell
                  331 Main St
                  Manns Choice, PA 15550
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                  Stephanie Bailey
                  5001 Tatum Rd
                  Disputanta, VA 23842


                  Stephanie Bake
                  377 Fisher Rd
                  St Pauls, NC 28384


                  Stephanie Banks
                  200 Ida Young Trail
                  Riegelwood, NC 28456


                  Stephanie Barnett
                  7447 O'Keefe Road
                  Bealeton, VA 22712


                  Stephanie Barthelmes
                  420 North 9th Avenue
                  Altoona, PA 16601


                  Stephanie Bellesheim
                  1690 Glenobey Road
                  Jamestown, TN 38556


                  Stephanie Bey
                  2818 Lee Blvd
                  Lansing, MI 48912


                  Stephanie Boyer
                  1200 Barnes Road
                  Park Hills, MO 63601


                  Stephanie Burnett
                  15 Cuttysark Rd
                  Savannah, GA 31410


                  Stephanie Butler
                  143 Countryside Dr,
                  Narrows, VA 24124


                  Stephanie Chambers
                  414 North Eighty Eight Road
                  Carmichaels, PA 15320
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephanie Daniels
                  404 South Maple Street
                  Centralia, IL 62801


                  Stephanie Davis
                  12325 6 Ponds Lane
                  Smithfield, VA 23430


                  Stephanie Dazey
                  5677 Wiclif Road Northeast
                  Canton, OH 44721


                  Stephanie Delia
                  5 Howard Ln
                  Long Lane, MO 65590


                  Stephanie Deutsch
                  18208 MILL RD
                  GEORGETOWN, IL 61846


                  Stephanie Earnhardt
                  355 Dortons Horse Rd
                  Rockwell, NC 28138


                  Stephanie Freeland
                  3515 Burton Avenue
                  Erie, PA 16504


                  Stephanie Fuller
                  5629 Boyd Hill Lane
                  Hiwassee, VA 24347


                  Stephanie Garcia-Freedman Freedman
                  436 Lacey Oak Loop
                  San Marcos, TX 78666


                  Stephanie Glazar
                  1930 Northwest Drive
                  North Huntingdon, PA 15642


                  Stephanie Goering
                  231 Riding Trail Lane
                  Madison, VA 22727
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                  Stephanie Goodrich
                  2 Canoe Ct
                  Portsmouth, VA 23703


                  Stephanie Green
                  35622 claybank road.
                  Logan, OH 43138


                  Stephanie Hayes
                  344 Bill Sansing Dr
                  Harrison, AR 72601


                  Stephanie Hedge
                  370 Rome Beauty Dr
                  Linden, VA 22642


                  Stephanie Hill
                  277 Oxford Rd.
                  Lexington, OH 44904


                  Stephanie Hughes
                  3554 Traxler Dr
                  Beaverton, MI 48612


                  Stephanie Hurst
                  532 Watson St
                  Davidson, NC 28036


                  Stephanie Inglett
                  112 Jenkins St
                  Union, SC 29379


                  Stephanie Johnson
                  362 Wynstone Way
                  Rockton, IL 61072


                  Stephanie Jones
                  2313 Tunnel Boulevard
                  Chattanooga, TN 37406


                  Stephanie Knewtson
                  538 Pinehurst Boulevard
                  Kalamazoo, MI 49006
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephanie Lambert
                  6067 Sylvia St
                  Taylor, MI 48180


                  Stephanie Laplante
                  1132 Ebenezer chrurch rd
                  Gore, VA 22637


                  Stephanie Mitchell
                  1101 Skelton Bluff Rd
                  Kingsport, TN 37660


                  Stephanie Moran
                  19106 Powers Dr
                  Manchester, MI 48158


                  Stephanie Morefield
                  910 Garwood Road
                  Richmond, IN 47374


                  Stephanie Morgan
                  52 Marlowe Dr
                  Asheville, NC 28801


                  Stephanie Oliver
                  146 Nesbitt Road
                  Wellford, SC 29385


                  Stephanie Osborn
                  17204 Shaftsbury Avenue
                  Detroit, MI 48219


                  STEPHANIE PARKER
                  595 Felton Wood Road
                  Byron, GA 31008


                  Stephanie Poncsak
                  13665 County Road A
                  Bryan, OH 43506


                  Stephanie Potts
                  3513 Frieden Wood Drive
                  Gibsonville, NC 27249
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                  Stephanie Presson
                  12700 Kirk Lane
                  Spotsylvania Courthouse, VA 22553


                  Stephanie Rake
                  17070 Myers Lake Ave
                  Sand Lake, MI 49343


                  Stephanie Redman
                  7201 Aitken Road
                  Lexington, MI 48450


                  Stephanie Redwine-Broach
                  31 Walker Road
                  Columbus, NC 28722


                  Stephanie Ruby
                  3319 Crimson Oak Avenue
                  Kalamazoo, MI 49004


                  Stephanie Sando
                  5456 McDowell St
                  Norton Shores, MI 49441


                  Stephanie Senn
                  316 West Beattie Street
                  Liberty, SC 29657


                  Stephanie Shaffer
                  3700 Bosart Road
                  Springfield, OH 45503


                  Stephanie Shepperson
                  7874 Brown Road
                  Avoca, MI 48006


                  Stephanie Sholhead
                  100 Eisele Farm Ln
                  Cheswick, PA 15024


                  Stephanie Smith
                  20 Volunteers Drive (20 Dogwood Dr)
                  Whittier, NC 28789
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephanie Sparrow
                  588 West Street
                  Coloma, MI 49038


                  Stephanie Stack
                  1320 N REYNOLDS RD NE
                  McConnelsville, OH 43756


                  Stephanie Steffes
                  39902 Wilmette Dr
                  Sterling Heights, MI 48313


                  Stephanie Streeter
                  682 US-30
                  Clinton, PA 15026


                  Stephanie Streeter
                  682 U.S. 30
                  Clinton, PA 15026


                  Stephanie Strickland
                  24294 Thorn Drive
                  Brownstown, MI 48134


                  Stephanie Terribilini
                  5699 Bentwood Drive
                  Mason, OH 45040


                  Stephanie Thacker
                  3420 Poplar Drive
                  Joplin, MO 64804


                  Stephanie Tolan
                  104 Carole Drive
                  Greer, SC 29651


                  Stephanie Tompsett
                  12250 Rooksby Street
                  Sand Lake, MI 49343


                  Stephanie Washington
                  8083 Normile St
                  Detroit, MI 48204
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephanie Webster
                  11465 S 450 E
                  Fairmount, IN 46928


                  Stephanie Workman
                  4922 East University Avenue
                  Indianapolis, IN 46201


                  Stephen "Steve" Frank
                  419 Seminole Trail
                  Jacksonville, NC 28540


                  Stephen "Steve" Osgood
                  1420 Pittsburgh Rd
                  Franklin, PA 16323


                  Stephen Abel
                  5294 Amanda Ridge Court
                  Westerville, OH 43082


                  Stephen Adkins
                  3817 Pendent Ln
                  Columbus, OH 43207


                  Stephen Agar
                  14679 Brookside Drive
                  Belleville, MI 48111


                  Stephen Aho
                  744 Bluebird Ln
                  Milan,, MI 48160


                  Stephen Albert
                  384 Pike st
                  State College, PA 16801


                  Stephen Alexander
                  4295 Co Hwy 23
                  Cardington, OH 43315


                  Stephen Ast
                  377 Douglas Drive
                  State College, PA 16803
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Ballman
                  11740 IN-28
                  Redkey, IN 47373


                  Stephen Bilodeau
                  8553 Sherman Way
                  Gloucester, VA 23061


                  Stephen Blake
                  717 Ohio 124
                  Coolville, OH 45723


                  Stephen Bradley
                  5609 Grumms Lane Northeast
                  Newark, OH 43055


                  Stephen Bruehl
                  926 Gale Lane Unit B
                  Nashville, TN 37204


                  Stephen Burchett
                  781 Smith-White Road
                  Minford, OH 45653


                  Stephen Burke
                  240 Stayman Rd
                  Roanoke, VA 24019


                  Stephen Carron
                  512 Green Meadows Lane
                  Perryville, MO 63775


                  Stephen Clark
                  107 Andrea Dr
                  Sikeston, MO 63801


                  Stephen Clark
                  121 Vincent Ln
                  Thomasville, NC 27360


                  Stephen Clouser
                  7560 Horton Hwy
                  Greeneville, TN 37745
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Collins
                  1277 Holly Hock Lane
                  Schererville, IN 46375


                  Stephen Conley
                  4977 West 800th Road
                  Blue Mound, KS 66010


                  Stephen Cordero
                  623 Village Green Pkwy
                  Newport News, VA 23602


                  Stephen Crain
                  2806 Collingwood Street
                  Spring Lake, NC 28390


                  Stephen Cruz
                  159 County Road 333
                  Benton, MO 63736


                  Stephen Dean
                  652 Copper Line Road
                  Bumpass, VA 23024


                  Stephen Dean
                  178 Celestial Street
                  Crab Orchard, WV 25801


                  Stephen Douds
                  194 St Cecilia Rd
                  Latrobe, PA 15650


                  Stephen Downing
                  3771 Rain Valley Drive
                  Hudson, NC 28638


                  Stephen downs
                  4531 Jackson Rd
                  Nashville, TN 37189


                  Stephen Duffy
                  172 Pleasant St
                  Birmingham, MI 48009
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Emery
                  17278 State Route 554
                  Bidwell, OH 45614


                  Stephen F George
                  1475 DIAMOND MILL RD
                  BROOKVILLE, OH 45309


                  Stephen Farley
                  132 Lance Rd
                  Sweetwater, TN 37874


                  Stephen Farrell
                  16580 West Ridgeville Road
                  Waldron, MI 49288


                  Stephen Fisher
                  1225 key lane
                  Caseyville, IL 62232


                  Stephen Flinchum
                  491 Union Church Rd
                  Carthage, NC 28327


                  Stephen Friel
                  101 Greenwood Dr
                  Butler, PA 16001


                  Stephen Goforth
                  2155 Hyatt Creek Rd
                  Waynesville, NC 28786


                  Stephen Greene
                  910 S County Rd 850 E
                  New Castle, IN 47362


                  Stephen Gress
                  248 Queens Cove Road
                  Mooresville, NC 28117


                  Stephen Grogan
                  2194 Price Road
                  Eden, NC 27288
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Gunter
                  442 Rebel Ridge Road
                  Lyman, SC 29365


                  Stephen H. Day
                  117 Westwood Drive
                  Clinton, TN 37716


                  Stephen Hahn
                  4021 St Edmunds Ln
                  Apex, NC 27539


                  Stephen Hammond
                  13392 Paige Rd
                  Mt Vernon, OH 43050


                  Stephen Harvey
                  5275 Rosedale Road
                  Terre Haute, IN 47805


                  Stephen Hendricksen
                  170 S Hutchins Creek Rd
                  Alto Pass, IL 62905


                  Stephen Hermiller
                  35004 Newport Ct
                  New Baltimore, MI 48047


                  Stephen Higginbotham
                  97 Antique Ln
                  Kenna, WV 25248


                  Stephen Hohs
                  2165 East Dexter Trail
                  Dansville, MI 48819


                  Stephen Hott
                  213 Lucas Rd
                  Grafton, WV 26354


                  Stephen Howard
                  4 Eagle Ct
                  Johnson City, TN 37601
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Hughes
                  123 North Benbrook Road
                  Butler, PA 16001


                  stephen hulbert
                  4699 South Lake George Road
                  Metamora, MI 48455


                  Stephen j. BOULTON
                  1640 Farley Dr
                  Indianapolis, IN 46214


                  Stephen Jackson
                  13932 Pierson Street
                  Detroit, MI 48223


                  Stephen James
                  4220 Sincerity Rd
                  Monroe, NC 28110


                  Stephen Jordan
                  9 Delmar Court
                  Delmont, PA 15626


                  Stephen Kinser
                  5039 KS-101
                  Edna, KS 67342


                  Stephen Knece
                  468 Church Street
                  Logan, OH 43138


                  Stephen Koly
                  3568 Francis Blvd
                  Brunswick, OH 44212


                  Stephen Kreps
                  4501 E Tator Holler Rd
                  Avon, IL 61415


                  Stephen Kuchenmeister
                  1721 Washington Road NE
                  Crawfordville, GA 30631
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Kyle
                  773 Rothrock Dr
                  Galloway, OH 43119


                  Stephen Kyle
                  1495 Willow View Drive
                  Grove City, OH 43123


                  Stephen Lambright
                  8678 Lamplighter Lane
                  Cadillac, MI 49601


                  Stephen Lipowski
                  7424 Rosewind Drive
                  Plainfield, IL 60586


                  Stephen Loeffler
                  4745 Lathrop Rd
                  Berkey, OH 43504


                  Stephen Lutz
                  1355 Sharcanna Rd
                  Towanda, PA 18848


                  Stephen Martin
                  5740 N Williamston Rd.
                  Williamston, MI 48895


                  Stephen Martin
                  904 Tecumseh Drive
                  Saint Marys, OH 45885


                  STEPHEN MCCOMAS
                  1238 Cox Lake Road
                  Belton, SC 29627


                  Stephen Mckinstry
                  15299 Berry Rd
                  Cabool, MO 65689


                  Stephen McMillan
                  3217 Canadian Street
                  Katy, TX 77493
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                  Stephen Meade
                  149 Millerton Rd
                  Danville, VA 24540


                  Stephen Meinhardt
                  1122 Cabin Field Rd
                  Crystal, VA 24504


                  Stephen Morris
                  1708 Apple Valley Drive
                  Howard, OH 43028


                  Stephen Morris
                  2946 Forest Hills Circle
                  Rock Hill, SC 29732


                  Stephen Mraz
                  3261 W 11th St
                  Erie, PA 16505


                  Stephen Muthler
                  258 Red Oak Lane
                  Jersey Shore, PA 17740


                  Stephen Nesler
                  421 Pond Creek Rd
                  White Haven, PA 18661


                  Stephen Newby
                  1552 U.S. 52
                  Moscow, OH 45153


                  Stephen Newman
                  1666 Purdum Mill Road
                  Appomattox, VA 24522


                  Stephen Nyambariga
                  90 Ashberry Lane
                  Franklinton, NC 27525


                  Stephen Overstreet
                  67 Grove Ter
                  Rustburg, VA 24588
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Owen
                  737 Bunting Court
                  West Chicago, IL 60185


                  Stephen Padgett
                  106 Rice Ct
                  Amherst, OH 44001


                  Stephen Parker
                  315 N Sheffield Dr
                  Bloomington, IN 47408


                  Stephen Parker
                  12011 Abernathy Road
                  Charlotte, NC 28216


                  Stephen Peltier
                  10655 Cedar Lake Road
                  Pinckney, MI 48169


                  Stephen Philipp
                  4291 Dimmers Road
                  Camden, MI 49232


                  Stephen Pitkin
                  407 Christine Drive
                  Clarksville, TN 37042


                  Stephen Polk
                  111 Lone Pine Road
                  Bloomfield Hills, MI 48304


                  Stephen Raddatz
                  7282 Crisp Rd
                  Williamsburg, MI 49690


                  Stephen Repko
                  68 Pike Rd
                  Punxsutawney, PA 15767


                  Stephen Richers
                  174 Sand Shoals Rd
                  Freeport, TX 77541
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Rish
                  510 Marshall Road
                  Coldwater, MI 49036


                  Stephen Rue
                  16811 Illinois 109
                  Dow, IL 62022


                  Stephen Russell
                  1642 Cheshire Cir
                  Middletown, OH 45042


                  Stephen Russell
                  702 Edgewood Street Southeast
                  North Canton, OH 44720


                  Stephen Salazar
                  181 Spring Flower Way
                  Pataskala, OH 43062


                  Stephen Salazar
                  802 S Walnut St
                  Van Wert, OH 45891


                  Stephen Sawin
                  901 South Virginia Dare Trail
                  Kill Devil Hills, NC 27948


                  Stephen Sayre
                  804 Kiwana Dr
                  Youngstown, OH 44512


                  Stephen Schnieders
                  8212 W Payne Rd
                  Russellville, MO 65074


                  Stephen Sebesta
                  700 W 5th St
                  Brenham, TX 77833


                  Stephen Secaur
                  4381 Urban Rd
                  South Euclid, OH 44121
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Stephen Shaw
                  305 Tahoe Dr
                  Newport News, VA 23602


                  Stephen Sloan
                  3569 bethel church rd
                  Evington, VA 24550


                  Stephen Smeltzer
                  840 N Stygler Rd
                  Columbus, OH 43230


                  Stephen Sollenberger
                  1666 Susan Avenue
                  Lancaster, PA 17602


                  Stephen Spiceland
                  8328 Crabb Rd ,
                  Temperance, MI 48182


                  Stephen Stone
                  125 Stone Street
                  Moyock, NC 27958


                  Stephen Tate
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Steven Karpa
                  207 Purgold Rd
                  Seaford, VA 23696


                  Steven Keeling
                  8096 US Highway 136
                  Waynetown, IN 47990


                  Steven Kelly
                  8208 Mayfield Ave
                  Burbank, IL 60459


                  Steven Kelly
                  10454 Woodleigh Court
                  Cincinnati, OH 45241


                  Steven Klaumann
                  16850 Stricker Avenue
                  Eastpointe, MI 48021


                  Steven Kueker
                  807 Liberty Street
                  Evansville, IL 62242


                  Steven Lamb
                  171 Lakeview Drive
                  Middletown, OH 45044


                  STEVEN LANZ
                  124 Woodland Way
                  Camden, NC 27921


                  Steven Largent
                  101 W Pera St
                  Ludlow, IL 60949


                  Steven Levett
                  671 Wilson Ave SW
                  Grand Rapids, MI 49534
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                  Steven Lowery
                  1192 Hine Road
                  Hamilton, OH 45013


                  Steven Mack
                  3705 Turner Forest Ct
                  Richmond,, VA 23231


                  Steven McCorkle
                  1704 Michael Ave
                  Mount Carmel, IL 62863


                  Steven McCormick
                  42781 Savage Road
                  Belleville, MI 48111


                  Steven McKelvey
                  14124 Washington Dr
                  Plymouth, MI 48170


                  Steven Meyer
                  2053 Jackie Lorraine Drive
                  Clarksville, TN 37042


                  Steven Miller
                  1135 Double Impact Drive
                  Rockwell, NC 28138


                  Steven Millspaugh
                  1119 County Road 469
                  Jackson, MO 63755


                  Steven Moretz
                  2414 23rd Street Ct NE
                  Hickory, NC 28601


                  Steven Motruk
                  1705 Niles Road
                  Dandridge, TN 37725


                  Steven Nagy
                  906 43rd Avenue Ct. NE
                  Hickory, NC 28602
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                  Steven Nguyen
                  19 Silverside Dr
                  Angier, NC 27501


                  Steven Nunnally
                  451 Almon Road
                  Carrollton, GA 30117


                  Steven Nuyen
                  4210 Croyden Avenue
                  Kalamazoo, MI 49006


                  Steven O'Leary
                  3824 West 83rd Place
                  Chicago, IL 60652


                  Steven Oaks
                  1472 Woodforest Street Northwest
                  Massillon, OH 44647


                  Steven Owens
                  3925 Forest Glen Rd
                  Virginia Beach, VA 23452


                  Steven Papadopoulos
                  6 Meandering Lane
                  St Petersburg, MO 63376


                  Steven Parkhurst
                  1330 Fieldcrest Dr
                  Hickory, NC 28602


                  Steven Paul
                  5429 State 157
                  Edwardsville, IL 62025


                  Steven Payne
                  1015 Carver Ridge Road
                  Portsmouth, OH 45662


                  Steven Payne
                  2337 E Greensboro Chapel Hill Rd, Graham
                  Graham, NC 27253
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                  Steven Peckinpaugh
                  4160 West County Road 750 North
                  Middletown, IN 47356


                  Steven Peek
                  13497 Creektree Lane
                  Fishers, IN 46038


                  Steven Pelton
                  400 Main Street
                  Moosic, PA 18507


                  Steven Penland
                  106 Dellwood Dr
                  Morganton, NC 28655


                  Steven Peterson
                  15837 Haggis Dr
                  Chesterfield, VA 23838


                  Steven Pipkins
                  11 Royallridge Ct
                  O'Fallon, MO 63368


                  Steven Poliskey
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                  Linden, MI 48451


                  Steven Preston
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                  North Branch, MI 48461


                  Steven Prince
                  6463 Waters Edge Drive
                  Midland, NC 28107


                  Steven Ramarge
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                  Hillsborough, NC 27278


                  Steven Reaves
                  445 Old Hamer Road
                  Hamer, SC 29547
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                  Steven Robinson
                  223 Nottingham Dr
                  Middlesboro, KY 40965


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                  Drakes Branch, VA 23937


                  Steven Romzek
                  2174 Hurford Dr
                  Ubly, MI 48475


                  Steven Rothacker
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                  Norcross, GA 30093


                  Steven Ruzumna
                  850 Forest Avenue
                  Birmingham, MI 48009


                  Steven Sackitt
                  5720 North Weber Road
                  Whitehall, MI 49461


                  Steven Sadler
                  302 Henrietta St
                  Gillespie, IL 62033


                  Steven Sanders
                  4927 Oshel Road
                  Point Pleasant, WV 25550


                  Steven Sauver
                  2782 Hill Cir
                  Dacula, GA 30019


                  Steven Shrum
                  201 Sweet Gum Valley Road
                  Travelers Rest, SC 29690


                  Steven Slapnicker
                  749 Robin Drive
                  Eastlake, OH 44095
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                  Steven Smoke
                  2003 Lundy's Lane Road Northwest
                  Newark, OH 43055


                  Steven Soles
                  117 Wandering Way
                  Pickens, SC 29671


                  Steven Specht
                  104 Willowmere Pond Road
                  Stafford, VA 22556


                  steven spence
                  3238 Dutch Ridge Rd
                  Beaver, PA 15009


                  Steven St. Sauver
                  2782 Hill Cir
                  Dacula, GA 30019


                  Steven Stacey
                  19621 Bethel Church Rd
                  Manchester, MI 48158


                  Steven Stratton
                  4638 plateau dr north
                  Springfield, OH 45502


                  Steven Strickland
                  209 South Main Street
                  Black Oak, AR 72414


                  Steven Stull
                  4272 N Vassar Rd
                  Flint, MI 48506


                  Steven Stump
                  321 Parkertown Rd
                  Hubert, NC 28539


                  Steven Suchocki
                  2686 Blue Willow Court
                  Clarksville, TN 37042
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                  Steven Swogger
                  237 North Perry Highway
                  Mercer, PA 16137


                  Steven Thomson
                  455 New Creech Rd
                  Selma, NC 27576


                  Steven Thorstenson
                  8431 Whispering Mist Lane
                  Mooresville, IN 46158


                  Steven Townsend
                  1825 Nebo Road
                  Boonville, NC 27011


                  STEVEN TRAUB
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                  almont, MI 48003


                  Steven Turman
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                  Hillsville, VA 24343


                  Steven Uhl
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                  Lancaster, OH 43130


                  Steven Underwood
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                  Norton, VA 24273


                  Steven Varnas
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                  Livonia, MI 48154


                  Steven W Worden
                  16202 State Line Road
                  Union, MI 49130


                  Steven Wade
                  618 Linda Ln
                  Clarksville, TN 37042
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                  Steven Wasielewski
                  14740 26 Mile Rd
                  Albion, MI 49224


                  Steven Wendrof
                  2660 Applegate Road
                  Applegate, MI 48401


                  Steven Wess
                  1219 New Germany Rd
                  Summerhill, PA 15958


                  Steven Wheaton
                  9333 Cherry Street
                  Fostoria, MI 48435


                  Steven Wheeler
                  5545 Trackside Road
                  Chappell Hill, TX 77426


                  Steven Whitaker
                  202 Bowery Street
                  Ligonier, IN 46767


                  Steven White
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                  Myrtle Beach, SC 29572


                  Steven Wright
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                  winder, GA 30680


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                  Steven Zettel
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                  Shelby, MI 49455


                  stevenb mcauley
                  22800 Power Road
                  Farmington, MI 48336
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                  Stevens Hull
                  4079 West Meisenheimer Road
                  Ludington, MI 49431


                  Stevens Smith
                  23 carter 351
                  Ellsinore, MO 63937


                  Stevern Smith
                  2028 Lloyd Ct
                  Wickliffe, OH 44092


                  Stevlan Pric
                  6450 Walter Hagen Circle
                  North Justin, IN 46366


                  Stewart Barrow
                  4136 Sunset Dr
                  Martinsville, VA 24112


                  Stewart Gingerich
                  718 West Main Street
                  Boalsburg, PA 16827


                  Stewart Kinney
                  19 Shirlwin Drive
                  Granite City, IL 62040


                  Stewart Morse
                  12052 Wright Lane
                  Bristow, VA 20136


                  Stewart Plaza, LLC
                  1217 Stewart Plaza
                  Dunbar, WV 25064


                  Stewart Plaza, LLC
                  1217 Stewart Plaza, PO Box 970
                  DUNBAR, WV 25064-0970


                  Stewart Whitcomb
                  2514 Broadway St
                  Indianapolis, IN 46205
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                  Stewart Witzman
                  3317 Tall Tree Pl
                  Raleigh, NC 27607


                  Stoney Matlock
                  1809 South State Line
                  Texarkana, AR 71854


                  Stoney Powers
                  1035 Brown Road
                  Pisgah Forest, NC 28768


                  Storm Howard
                  220 Patch Drive
                  Spartanburg, SC 29302


                  Stratton Delaney
                  4212 Lake Drive Southwest
                  Roanoke, VA 24018


                  Striker Sox
                  152 Silver Drive
                  Saluda, SC 29138


                  Strouse Roll-Offs, Inc.
                  6767 Travis Road
                  Greenwood, IN 46143-8865


                  Stu Levinson
                  835 Deerpath Lane
                  Hoffman Estates, IL 60169


                  Stuart Ashley
                  15526 A Drive North
                  Marshall, MI 49068


                  Stuart Gardner
                  5485 Edmonds Rd
                  Bellevue, OH 44811


                  Stuart Hightower
                  28 Timber Wolf Crossing
                  Garner, NC 27529
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                  Stuart Hotte
                  1002 Blalock Rd SE
                  Adairsville, GA 30103


                  Stuart Janke
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                  Ira Twp, MI 48023


                  Stuart Kavalec
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                  Kent, OH 44240


                  Stuart Morin
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                  Athens, TN 37303


                  Stuart Moser
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                  Savannah, MO 64485


                  stuart munro
                  27709 Palmer St
                  Madison Heights, MI 48071


                  Stuart Taylor
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                  Elkin, NC 28621


                  Stuart Williams
                  15521 Bradley Bridge Road
                  Chesterfield, VA 23838


                  Suad Zamil
                  20355 Sherwood Drive
                  Macomb, MI 48044


                  Suanne Garrett
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                  Columbus, OH 43229


                  Suchitra Pandey
                  4279 Ashfield Pl
                  St James, NC 28461
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                  Sudhakar Bobbity
                  9701 Pemberton Crossing Dr
                  Richmond, VA 23294


                  Sudhakar Pandey
                  4279 Ashfield Pl
                  St James, NC 28461


                  Sudhakara Bobbity
                  9701 pemberton crossing dr
                  Richmond, VA 23294


                  Sue Beachel
                  589 Parthemer Road
                  McClure, PA 17841


                  Sue Budnick
                  330 Elm Street
                  Breckenridge, MI 48615


                  Sue Carlson
                  18760 120th Ave
                  Nunica, MI 49448


                  Sue Davis
                  818 North Broadway
                  Salem, IL 62881


                  Sue Demianenko
                  4343 Miller Rd
                  Capac, MI 48014


                  Sue Dietz
                  5445 Windfall Road
                  Medina, OH 44256


                  Sue Downing
                  12717 Buckley Road
                  Timberville, VA 22853


                  Sue Erskin
                  2730 W Blanchard Rd
                  Winn, MI 48896
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                  Sue Fosdick
                  6064 Old State Rd
                  North Branch, MI 48641


                  Sue Gearhart
                  90 Stump Road
                  Danville, PA 17821


                  Sue Hembree
                  336 Fairway Drive
                  Hendersonville, NC 28739


                  Sue Henry
                  1462 Wilmore Drive
                  Columbus, OH 43209


                  Sue Hill
                  4667 Baker Rd
                  Crestline, OH 44827


                  Sue Lange
                  5789 Jimtown Road
                  Oakdale, IL 62268


                  Sue McGrory
                  PO BOX 367
                  Bahama, NC 27503


                  Sue McPherson-Boyd
                  1710 Maratta Rd
                  Aliquippa, PA 15001


                  Sue Nash
                  5701 Gray Lane
                  Festus, MO 63028


                  Sue Ritter
                  727 Little Fox Court
                  Union, MO 63084


                  Sue Roark
                  5029 N Golf Course Rd
                  Bruceville, IN 47516
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                  Sue Sedlitsky
                  637 Lone Pine Rd
                  washington, PA 15301


                  Sue Stark
                  60 East Juniper Ln W
                  Moreland Hills, OH 44022


                  Sue Torgersen
                  84 Woodman Ave
                  New Castle, VA 24127


                  Sue Triantaflos
                  5888 Hickory Hill Drive
                  Laingsburg, MI 48848


                  Sue Tweedy
                  38501 Lees Run Rd
                  Cadiz, OH 43907


                  Sue Weber-Pobanz
                  306 Plummer St
                  Essexville, MI 48732


                  Sue Webster
                  882 Clearfield Lane
                  Cincinnati, OH 45240


                  Sue Zemke
                  248 East Mount Garfield Road
                  Norton Shores, MI 49441


                  Sueann McMillan
                  780 Hillcrest Drive
                  Lake, MI 48632


                  Suereth Boudagh
                  3432 S State Rd
                  Davison, MI 48423


                  Summer Black
                  112 Sunset Road
                  Hebron, OH 43025
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                  summer dennis
                  2585 Tanglewood St
                  Wooster, OH 44691


                  Summer Paulson
                  3236 Fishing Creek Rd
                  North Wilkesboro, NC 28659


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                  P.O. Box 409211
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                  1715 Alder Road
                  Charlottesville, VA 22911


                  Sungwon Matunas
                  392 Covenant Drive Northeast
                  Cleveland, TN 37323


                  Sunil Chacko
                  2 Doris Drive
                  Ruckersville, VA 22968


                  Sunita Khatiwada
                  13 Neponsit Lane
                  Camp Hill, PA 17011


                  Sunithi Gnanadoss
                  13160 Hackberry Rd
                  Orange, VA 22960


                  Sunlight Financial
                  234 W 39th St 7th Floor
                  New York, NY 10018


                  SunLight Solar
                  145 S Livernois Rd #317
                  Rochester Hills, MI 48307


                  sunny Riccio
                  936 Mount Hope Road
                  New Castle, PA 16101
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                  Sunny Sanders
                  4001 South Coachman Drive
                  Independence, MO 64055


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                  7440 State Highway 121
                  McKinney, TX 75070


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                  Katy, TX 77450


                  Surinder Kaur
                  10214 Sager Ave
                  Fairfax, VA 22030


                  Susan - Joseph Kerr
                  198 Deerfield Lane
                  Eatonton, GA 31024


                  Susan Arnold
                  28 Locust Street
                  Warren, PA 16365


                  Susan Austin
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                  Gloucester, VA 23061


                  Susan Babcock
                  410 S Frost Dr
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                  Susan Barnette
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                  Garner, NC 27529


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                  Susan Bilko
                  12820 Cold Springs Road
                  Waynesboro, PA 17268
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                  Susan Blake
                  1281 Palmer Ave
                  Muskegon, MI 49441


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                  41843 Brentwood Drive
                  Plymouth, MI 48170


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                  2193 Grooms Rd
                  Reidsville,, NC 27320


                  Susan Bowman
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                  Susan Boyd
                  182 Lee Cemetery Road
                  Whitmire, SC 29178


                  Susan Brown
                  2575 De Laat Ave SW
                  Wyoming, MI 49509


                  Susan Brown
                  8030 Platt Rd
                  Saline, MI 48176


                  Susan Bungard
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                  Elyria, OH 44035


                  Susan Burkhardt allen
                  5355 Horseshoe Dr S
                  Orient, OH 43146


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                  Susan Costakis
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                  Susan Crowe
                  18950 River Reach Dr
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                  Susan Daly
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                  Village of Clarkston, MI 48348


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                  Susan Dawes
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                  Stow, OH 44224


                  Susan Dowker
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                  Susan Downs
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                  Polo, IL 61064


                  Susan Downs
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                  Susan Evans
                  3601 Cherrylog Rd
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                  Susan Frey
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                  Susan Funk
                  134 Liberty Street
                  Asheboro, NC 27203
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                  Susan Gainer
                  79700 McFadden Road
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                  Shickshinny, PA 18655


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                  Susan Haag
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                  Susan Haynes
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                  Rapidan, VA 22733


                  Susan Hess
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                  Susan Himrod
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                  Dryden, MI 48428


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                  Susan Holls
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                  Allen Park, MI 48101
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  1575 Kentucky 853
                  Greenville, KY 42345


                  Susan Holt
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                  Forest City, NC 28043


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                  517 Johns Creek Rd,
                  Cullowhee, NC 28723


                  Susan Hughes
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                  Milan, TN 38358


                  Susan Johnson
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                  susan johnston
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                  Susan Kanode
                  1615 Suqulak Trail
                  London, OH 43140


                  Susan Kaufman
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                  Susan Kimbell
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                  Susan Laurent
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                  Susan Lawrence
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Susan McKinney
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                  Susan Moore
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                  Susan Moore
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                  Powhatan, VA 23139


                  Susan Moore
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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Susan Parker
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                  Grandy, NC 27939


                  Susan Pedrick
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                  Jonesville, MI 49250


                  Susan Pellerito
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                  New Baltimore, MI 48047


                  Susan Pinkowski
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                  Deford,, MI 48729


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Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  181 Edith St
                  Oxford, MI 48371


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                  Pecatonica, IL 61063


                  Susan Roberson
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                  Chester, VA 23836


                  Susan Ruhlman
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                  Asheville, NC 28806


                  Susan Saxton
                  10932 Summit City Road
                  Kingsley, MI 49649


                  Susan Schneider
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                  Harrison Charter Township, MI 48045


                  Susan Schneider
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                  Temperance, MI 48182


                  Susan Sherwood
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                  Niles, MI 49120


                  Susan Skirvin
                  8988 East State Road 45
                  Unionville, IN 47468


                  Susan Smith
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                  Bristol, TN 37620


                  Susan Snow
                  4693 Kenmore Dr
                  Pinckney,, MI 48169
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                  Sterling Heights, MI 48312


                  Susan Stelling
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                  Susan Stevenson
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                  Susan Swindoll
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                  Susan Taylor
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                  Stuart, VA 24171


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                  Susan Tucker
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                  Susan Tucker
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                  Susan Tully
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                  Atlantic, VA 23303


                  Susan Wakefield
                  2121 20th Street
                  Allegan, MI 49010
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Barnard, MO 64423


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                  Susan Wilson
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                  Susan Woodburn
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                  Polkton, NC 28135


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                  Susana Hawkins
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                  Susann Pangerl
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                  Susanna Pickman
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                  Chesapeake, VA 23322


                  Susanne Balliet
                  100 Matthew Ave
                  Palmerton, PA 18071
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  lincoln, MI 48742


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                  Charlotte, MI 48813


                  Susie Terrell
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                  sussan cromer
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                  Stephenson, VA 22656


                  Sutannah Offenburger
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                  Sterling Heights, MI 48310


                  Sutton Leasing Inc
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                  Sterling Heights, MI 48312


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                  Sterling Heights, MI 48310


                  Suzana Herculano
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                  Suzann Whiting
                  15 Thistle Way
                  Danville, PA 17821
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                  Suzanna Hummel
                  708 Old White Hill Road
                  Stuarts Draft, VA 24477


                  Suzanne "Sue" Sparks
                  3906 Red Arrow Road
                  Flint, MI 48507


                  Suzanne Anderson
                  8159 Kephart Ln
                  Berrien Springs, MI 49103


                  Suzanne Bennett
                  6514 Crest Drive
                  Waterford, MI 48329


                  Suzanne Cameron
                  1040 Cameron Lane
                  Nathalie, VA 24577


                  Suzanne Carney
                  2286 400 N
                  Rockport, IN 47635


                  Suzanne Carpenter
                  4056 Whittemore Rd
                  National City,, MI 48748


                  Suzanne Cofer
                  4068 Pine Ridge Rd
                  Franklinton, NC 27525


                  Suzanne Crouch
                  416 Poors Ford Road
                  Rutherfordton, NC 28139


                  Suzanne Dwyer
                  6036 Hidden Oaks Ct
                  Maineville, OH 45039


                  Suzanne Farmer
                  3 Courtney Street
                  Pelzer, SC 29669
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                  Suzanne Gean
                  6593 Wilkinson Road
                  Corunna, MI 48817


                  Suzanne Hart
                  9819 Hamilton Rd
                  Yoder, IN 46798


                  Suzanne Heitler
                  15528 Strooptown Road
                  Timberville, VA 22853


                  Suzanne Laferriere
                  1018 Hopps Road
                  Chester, SC 29706


                  Suzanne Mellendorf
                  3690 Ohio 48
                  Lebanon, OH 45036


                  Suzanne Neessen
                  10166 Conde Rd
                  Marshall, VA 20115


                  Suzanne Perez
                  1901 Clovis Ct
                  Virginia Beach, VA 23454


                  Suzanne Roksandich-McDermott
                  7145 Harding St
                  Taylor, MI 48180


                  Suzanne Russell
                  2179 Swiss Pine Lake Dr
                  Spruce Pine, NC 28777


                  Suzanne Tover
                  213 National Drive
                  Pinehurst, NC 28374


                  Suzette Chin
                  54 Cedar Gate Lane
                  Kingston, GA 30145
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                  Suzie McCreary
                  2921 Kelsey Ave
                  Elkhart, IN 46517


                  Suzy Moorhead
                  8198 Michigan 115
                  Mesick, MI 49668


                  Swaminathan Vadivelu
                  10326 Shrader St NW
                  Concord, NC 28027


                  Swift Air Mechanical, Inc.
                  4537 N Franklin Rd
                  Indianapolis, IN 46226


                  Sy Cleckley
                  7446 Tyndale Ct.
                  Norfolk, VA 23505


                  Sybil Jones
                  2532 Bakers Bridge Rd
                  Douglasville, GA 30134


                  Sydney Benson
                  606 East 4th Street
                  Minonk, IL 61760


                  Syed Azeem
                  17 Grand Manor Court
                  Sugar Land, TX 77479


                  Syed Masud
                  6004 Waynesboro Cir
                  Springfield,, VA 22150


                  Sylvana Radley
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                  Fairview Heights, IL 62208


                  Sylvester Bailey
                  1120 Lexington Downs Dr
                  Greenville, NC 27858
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                  Sylvester Stancil
                  800 Marsh Grass Dr
                  Raleigh, NC 27610


                  Sylvester Williams
                  8002 Venable Road
                  Kents Store, VA 23084


                  Sylvia Aukeman
                  370 Perry Street
                  Byron Center, MI 49315


                  Sylvia Baker-Noren
                  225 Griers Creek Road
                  Versailles, KY 40383


                  Sylvia Ivory
                  2180 North Hammond Lake Rd.
                  West Bloomfield Twp, MI 48324


                  Sylvia Moseley-Robinson
                  705 Coleridge Avenue
                  Dayton, OH 45426


                  Sylvia Princing
                  2113 Thistlewood Dr
                  Burton, MI 48509


                  Sylvia Stein
                  1664 5 Points Road
                  La Jose, PA 15753


                  Sylvia White
                  5825 heritage oaks lane
                  leland, NC 28451


                  sylviaann Sischo
                  6103 West Madison Road
                  Alma, MI 48801


                  Syreeta Jarrett
                  102 Connecticut St
                  Highland Park, MI 48203
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                  Sysmall Anderson ( previous Warfield)
                  7103 Layton Drive
                  Springfield, VA 22150


                  Syvalla Washington Collins
                  3397 NC HWY 41
                  LUMBERTON, NC 28358


                  T.s. Lamb
                  239 Navajo Avenue
                  Pontiac, MI 48341


                  Tabatha Berry
                  8644 Oak Level Church Rd
                  Stokesdale, NC 27357


                  Tabatha Davis
                  6638 Autumn Flowers Drive
                  Katy, TX 77449


                  Tabatha Jeffers
                  825 Treasure lake
                  DuBois, PA 15801


                  Tabitha Clark
                  27062 Missouri 32
                  Lebanon, MO 65536


                  Tabitha Cox
                  7052 Tara Dr
                  Villa Rica, GA 30180


                  Tabitha Young Mingus
                  417 Baseline Road
                  Battle Creek, MI 49017


                  tacora hernandez
                  6172 Vance Lane
                  Culpeper, VA 22701


                  Tadaysha Taylor
                  2772 Jacanar Lane Southwest
                  Atlanta, GA 30331
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                  Tadeusz Mazurek
                  10110 South 83rd Court
                  Palos Hills, IL 60465


                  Tahaja Murphy
                  319 Little Lake Rd
                  Hutto, TX 78634


                  Taiz Villarreal
                  5806 Azalea Garden Road
                  Norfolk, VA 23518


                  Tajuan Blackstock
                  4017 Lakewood Circle
                  Trinity, NC 27370


                  Tajuana Hunnicutt
                  31555 Arthur Road
                  Solon, OH 44139


                  TAJVINDER Sardar
                  1620 Beverly Boulevard
                  Ashland, KY 41101


                  Takeem Lamlemberth
                  5415 Kenmere Lane
                  Smithfield, VA 23430


                  Takeo Muraoka
                  2608 Strathmore St
                  Kalamazoo, MI 49009


                  Takis Iakovou
                  625 Kings Rd
                  Athens, GA 30606


                  Talma Kee
                  4301 Lord Jeff Dr
                  Greensboro, NC 27405


                  tam dang
                  4750 Trevino Circle
                  Duluth, GA 30096
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                  Tamara Argueta
                  10508 Meakin Dr
                  Raleigh, NC 27614


                  Tamara Bihary
                  40 Bullseye Drive
                  Troy, IL 62294


                  Tamara Bradley
                  418 Churchill Drive
                  Lynchburg, VA 24502


                  Tamara Bright
                  2318 Mount Zion Church Road
                  Alexis, NC 28006


                  Tamara Burns
                  462 Ivanhoe Drive
                  Fairborn, OH 45324


                  Tamara Gibson
                  967 Twp. Rd. 713
                  Ashland, OH 44805


                  Tamara Henry
                  625 Sunnyside Shores Road
                  Hiawassee, GA 30546


                  Tamara Hutmacher Cornelius
                  12475 Jordan Rd
                  Saline, MI 48176


                  Tamara Koors
                  8540 S 900 E
                  Lafayette, IN 47905


                  Tamara LaForest
                  5245 Franklin Church Road
                  Shiloh, OH 44837


                  Tamara Leonard
                  535 Lulu Street
                  Kalamazoo, MI 49007
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                  Tamara Makela
                  2119 S Union Rd
                  Dayton, OH 45417


                  Tamara McDonald
                  3150 Miller Road
                  Sidney, MI 48885


                  Tamara Minor
                  10603 Meadowlark Ln
                  Spotsylvania Courthouse, VA 22553


                  Tamara Simmons
                  7678 Pond View Lane
                  Lithonia, GA 30058


                  Tamara Spencer Ward
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702


                  Tamara Sublett
                  227 North Cedar Avenue
                  Independence, MO 64053


                  Tamara Turner
                  17609 East 36th Street Court South
                  Independence, MO 64055


                  Tamara Williams
                  1506 Scranton Road
                  Norwalk, OH 44857


                  Tamara Wiman
                  13004 U.S. 31
                  Kokomo, IN 46901


                  Tamber Woodworth
                  3921 oak drive
                  Ypsilanti, MI 48197


                  Tambrea Holden
                  791 Baum Hill Road
                  Chillicothe, OH 45601
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                  Tameka Cobb
                  20547 Santa Clara
                  Detroit, MI 48219


                  Tameka Curtis
                  1426 N Indiana St
                  Griffith, IN 46319


                  Tamela Brihm
                  162 Virginia Avenue
                  Waynesboro, GA 30830


                  Tamera Rothschild
                  260 Masterson Road
                  Oil City, PA 16301


                  Tami Blue
                  1721 Ashfield Drive
                  Maumee, OH 43537


                  Tami Brown
                  16411 Fern Cir
                  Abingdon, VA 24210


                  Tami Davidson
                  11001 Ivan Avenue
                  Saint Ann, MO 63074


                  Tami Foss
                  44128 Arlington Road
                  Canton, MI 48187


                  Tami Foster
                  6306 Washburn Road
                  Goodrich, MI 48438


                  Tami Moose
                  1653 River Rd SE
                  Winnabow, NC 28412


                  Tami Phipps
                  3221 Millers Run-Fallen Timber Road
                  lucasville, OH 45648
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                  Tami Porteous
                  245 131st Ave
                  Wayland, MI 49348


                  Tami Presley
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                  Nixa, MO 65714


                  Tami Rua
                  6630 Ransom St
                  Zeeland, MI 49464


                  Tami Smith
                  3265 Varnell Rd SW
                  Cleveland, TN 37311


                  Tami Van Skike
                  4079 Fay Road
                  Carleton, MI 48117


                  Tami Vaughn
                  3176 Camelin Hill Road
                  Chillicothe, OH 45601


                  Tamia Colbert
                  160 Collington Drive
                  Lynchburg, VA 24502


                  Tamika Abbott
                  58 Algrace Boulevard
                  Stafford, VA 22556


                  Tamika Hogan-Smith
                  135 Daisy Avenue
                  Kannapolis, NC 28081


                  Tamika Hunter
                  110 Bryn Way
                  Mount Wolf, PA 17347


                  Tamika Lloyd
                  413 Birchrun Dr
                  Durham, NC 27712
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                  Tamika Witherspoon
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                  Alexandria, VA 22309


                  Tamiray Debriel
                  18137 Wyndale Road
                  Abingdon, VA 24210


                  Tammara Hendershot
                  7130 East Rocklane Road
                  Needham, IN 46162


                  TammaRae Hansen
                  198 E Scofield Rd
                  Leslie, MI 49251


                  Tammie Burch
                  1432 Central Ave
                  Anderson, IN 46016


                  Tammie Gandy
                  112 North Main Street
                  Chatham, VA 24531


                  Tammie Gilbert
                  240 Salem Street
                  Rutland, OH 45775


                  Tammie Myers
                  12509 County Road 4
                  Waterloo, OH 45688


                  Tammie Vandevelde
                  9201 Durham Drive
                  Huntley, IL 60142


                  Tammie Whittaker
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                  Gagetown, MI 48735


                  TAMMY ADAMS
                  658 Rice Road
                  Jackson, OH 45640
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                  tammy babcock
                  3726 Morton Avenue
                  Brookfield, IL 60513


                  Tammy Baker
                  5843 Kiger Rd
                  Rougemont, NC 27572


                  Tammy Bartley
                  2891 Route 368
                  Parker, PA 16049


                  Tammy Beckner
                  888 Farm View Rd
                  Glade Hill, VA 24092


                  Tammy Bivins
                  821 Blissful Road
                  Vermilion, OH 44089


                  Tammy Braskett
                  11471 Silvers Road
                  South Vienna, OH 45369


                  Tammy Brooks
                  3027 N Ontario St
                  Toledo, OH 43611


                  Tammy Cottrell
                  4347 Lankford Mill Road
                  Bedford, VA 24523


                  Tammy Davison
                  5801 State Route 141
                  Gallipolis, OH 45631


                  Tammy Detwiler
                  212 Poe Ave
                  Urbana, OH 43078


                  Tammy Dietrich
                  915 Homedale Street
                  Saginaw, MI 48604
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                  Tammy Easley
                  22 Knox Road 1800 North
                  Galesburg, IL 61401


                  Tammy Fleischer
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                  Burlington, NC 27217


                  Tammy Fox
                  9190 Sheldon Rd
                  Plymouth, MI 48170


                  Tammy Gallaher
                  3721 Holgate Ln
                  Powell, TN 37849


                  Tammy Gorski
                  8126 Philadelphia Dr
                  Fairborn, OH 45324


                  Tammy Guthrie
                  3788 C-25
                  Bellefontaine, OH 43311


                  Tammy Hagle
                  4750 Ormond Road
                  Davisburg, MI 48350


                  Tammy Heldman
                  2621 Pleasant Colony Dr
                  Lewis Center, OH 43035


                  Tammy Jenkins
                  19184 Bretton Dr
                  Detroit, MI 48223


                  Tammy Keenan
                  69 High Haven Drive
                  Toronto, OH 43964


                  Tammy Lathan
                  163 Crystal Forest Dr
                  Semora, NC 27343
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                  Tammy Lockwood-Delia
                  59420 Butcher Road
                  Hartford, MI 49057


                  Tammy Maberry
                  21103 Halloway Ave
                  S. Chesterfield, VA 23803


                  Tammy Malone
                  2403 South Old State Rd 3
                  Laotto, IN 46763


                  Tammy Mason
                  7511 peppersferry blvd
                  Lexington, VA 28115


                  Tammy Mason
                  7511 peppersferry blvd
                  ferryline, VA 24141


                  Tammy Meddock
                  844 LACY RD
                  New Vienna, OH 45159


                  Tammy Moritz
                  11875 Quail Run Ln
                  Prince George, VA 23875


                  Tammy Myers-Putman
                  517 Longvue Dr
                  New Kensington,, PA 15068


                  Tammy Oswald
                  658 Old William Penn Hwy
                  Blairsville, PA 15717


                  Tammy Powell
                  1413 Rogers Road
                  Graham, NC 27253


                  Tammy Sands
                  1043 Waldron Rd
                  La Vergne, TN 37086
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                  Tammy Sandy
                  112 Arabian Trail
                  Spotsylvania Courthouse, VA 22551


                  Tammy Santana
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                  Ashtabula, OH 44004


                  Tammy Schell
                  2228 N 31st St
                  Terre Haute,, IN 47804


                  Tammy sheets
                  990 Biskup Lane
                  Monaca, PA 15061


                  Tammy Simpson
                  4175 Georgetown rd.
                  Polk, PA 16342


                  Tammy Slaton
                  188 KY-56
                  Sebree, KY 42455


                  Tammy Smith
                  5018 S Jefferson Rd
                  Shreve, OH 44676


                  Tammy Stone
                  103 South Kentucky Avenue
                  Adrian, MO 64720


                  Tammy Thomas
                  4032 West County Road 200 South
                  Danville, IN 46122


                  Tammy Thomas
                  8335 Wall Farm Rd
                  Rural Hall, NC 27045


                  Tammy Tynes
                  9866 Youngstown Kingsville Road
                  Farmdale, OH 44417
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                  Tammy Whitley
                  968 East Penning Avenue
                  Wood River, IL 62095


                  Tammy Wilson
                  6467 North High Bridge Road
                  Brethren, MI 49619


                  Tammy Worthington
                  126 Hazel Avenue
                  East Leroy, MI 49051


                  Tammy Worthington
                  1837 Walters Road
                  Montoursville, PA 17754


                  Tamyra Wong
                  59250 Christian Hill Rd
                  Cambridge, OH 43725


                  Tana Cadena-Vuignier
                  32 Gibson Street
                  North East, PA 16428


                  Tana Ragsdale
                  2132 S 29 Rd
                  Cadillac,, MI 49601


                  Taneisha Embry-Oliver
                  3137 Belgian Dr
                  Lansing, MI 48906


                  Tangi Christenson
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                  Tangie Frazier
                  18061 Whitcomb
                  Detroit, MI 48235


                  Tania Taylor
                  126 Cherrywood Lane
                  Romeoville, IL 60446
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                  Tania Vaneyken
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                  Ninety Six, SC 29666


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                  Ann Arbor, MI 48108


                  Tanner Mayzel
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                  Castle Hayne, NC 28429


                  Tanner Simpson
                  11 Fessenden St
                  Mt Clemens, MI 48043


                  Tanya Clark
                  840 Tyrone Pike
                  Versailles, KY 40383


                  Tanya Cope
                  508 Locust St
                  Jeffersonville, IN 47130


                  Tanya Cox
                  198 Hunters Crossing
                  Shady Spring, WV 25918


                  Tanya Hale
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                  Tanya Locklair
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                  Durham, NC 27713
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                  Tanya Mitz
                  1786 Cuper Avenue
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                  Tanya Noszek
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                  Spotsylvania Courthouse, VA 22553


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                  Gowen, MI 49326


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                  Tara Burkett
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                  paw paw, MI 49079


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                  Trimble, OH 45782


                  Tara Clouser
                  212 green forest rd
                  Oswayo, PA 16915
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                  Tara Fogle
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                  Tara Hayes
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                  Vincennes, IN 47591


                  Tara Henry
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                  Warren, MI 48089


                  Tara Jimenez
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                  Tara Little
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                  Harrison, TN 37341


                  Tara Noble
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                  Tara Randall
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                  Southgate, MI 48195


                  Tara Selman
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                  Tara Tye-Santana
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                  Tara Vincent
                  409 NC Hwy 46 Lot 1
                  Garysburg, NC 27832


                  Tare Beaver
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                  Tarifa, LLC: Interpower Induction, 3720
                  3720 Van Dyke Road
                  Almont, MI 48003


                  Tarifa, LLC: Interpower Induction, 7320
                  7320 Burgett Drive
                  Almont, MI 48003


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                  Tarrence Shields
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                  Memphis, TN 38127


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                  87 James Drew Drive
                  Munford, TN 38058
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                  Tasha Melchor
                  319 Goshen Lane
                  Hampton, SC 29924


                  Tate Vermeulen
                  18840 Stonebluff Lane
                  Noblesville, IN 46062


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                  Beavercreek, OH 45431


                  Tatyana Passater
                  5460 Mill Race Way
                  Commerce Charter Twp, MI 48382


                  Taurino Bueno
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                  Harrisonburg, VA 22801


                  Tawny Warren
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                  Taylor Anastazia
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                  Cleveland, OH 44111


                  Taylor Clark
                  1605 Lathrup Avenue
                  Saginaw, MI 48638


                  Taylor Gainey
                  294 Weisner Street
                  Winston-Salem, NC 27127


                  Taylor Gundlach
                  603 Hidden Creek Circle
                  Warner Robbins, GA 31088


                  Taylor Hill
                  1053 McKinley Blvd
                  Flint, MI 48507
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                  Taylor Johson
                  640 Grubert Ave Staunton, VA
                  Staunton, VA 24401


                  Taylor Kravitz
                  5908 Jerry Road
                  Norfolk, VA 23502


                  Taylor Lane
                  6148 Bootsie Blvd
                  Richmond, VA 23231


                  Taylor Lawson
                  2668 W Old North Carolina 150 Hwy
                  Crouse,, NC 28033


                  Taylor Massey
                  315 S Church St
                  PERRVILLE, MO 63775


                  Taylor Skelley
                  1093 Baier Avenue
                  Louisville, OH 44641


                  Tazmann Azaldrich
                  861 Golden Horseshoe Lane
                  Sanford, NC 27330


                  Ted Babinger
                  43 Dusty Oak Ln
                  Lyndhurst,, VA 22952


                  Ted Bianco
                  104 Edgewood Avenue
                  Suffolk, VA 23434


                  Ted Brown
                  110 Way Home Lane
                  Columbus, NC 28722


                  Ted Chiudioni
                  34500 Pettibone Rd
                  Solon, OH 44139
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                  806 Pleasant Lane
                  LaGrange, IN 46761


                  Ted Dahal
                  13360 Shipley Road
                  Johnstown, OH 43031


                  Ted Dronebarger
                  451 Findlay S D Road
                  Sparta, TN 38583


                  Ted Hauer
                  236 8th Street Pl
                  Andalusia, IL 61232


                  Ted Hoffert
                  413 1st St
                  Letart, WV 25253


                  Ted jensen
                  55 Everett Rd
                  Pikeville, TN 37367


                  Ted Jones
                  1514 West Grant Road
                  New Era, MI 49446


                  Ted Kantor
                  56 Illinois 127
                  Nashville, IL 62263


                  Ted Labbe
                  1320 Hosner Rd
                  Oxford, MI 48370


                  Ted Lokenberg
                  834 Nicholas Drive Southwest
                  Calabash, NC 28467


                  Ted Long
                  3344 Old Midway Road
                  Lenoir City, TN 37772
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                  Ted McDonald
                  7610 County Road 5
                  Rushsylvania, OH 43347


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                  Pulaski, PA 16143


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                  Goodrich, MI 48438


                  Ted Shaffer
                  501 North 19th Street
                  Herrin, IL 62948


                  Ted Sigmon
                  304 Trailway Drive
                  Summerville, SC 29483


                  Ted Tillery
                  1439 George Dr SE
                  Conyers, GA 30013


                  Ted Trunzo
                  1220 Cheesman St
                  Bethel Park, PA 15102


                  Tedd Spurgeon
                  128 St Richards Ct
                  Swanton, OH 43558


                  Tedd Ward Jr.
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                  Ashtabula,, OH 44004
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                  3031 11th St SW
                  Canton, OH 44710


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                  205 Bolivia Court
                  Whitsett, NC 27377


                  Tek Shibakoti
                  5124 S Jarrod Ct
                  Erie, PA 16506


                  Telerrance Cooke
                  29155 Smiths Ferry Rd
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                  Temidayo Bomani-Nikoi
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                  Tena Wooten
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                  12303 Maysville-Williams Road
                  Logan, OH 43138


                  TeQuisha Woycik
                  23620 Elmira St
                  St Clair Shores, MI 48082
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                  Terasha Whitehead
                  4212 Okalona Road
                  South Euclid, OH 44121


                  Terell Richardson
                  102 Staten Rd
                  New Bern, NC 28562


                  Terence Franklin
                  9555 Barlow Springs Lane
                  Humble, TX 77396


                  Terence Frixen
                  730 Diamond Ave NE
                  Grand Rapids, MI 49503


                  Terence Mack
                  29533 Rambling rd
                  Southfield, MI 48076


                  Terence Wiles
                  2071 Lenroy Valley Rd
                  Luzerne, MI 48636


                  Teresa Ackerman
                  5821 Dudley Rd
                  Fayetteville, NC 28312


                  Teresa Aldridge
                  510 Hamilton Avenue
                  New Carlisle, OH 45344


                  Teresa Allen
                  4600 S M 66 Hwy
                  Nashville, MI 49073


                  teresa and emmanual meade
                  260 Dry House Road
                  Harts, WV 25524


                  Teresa Anderson
                  2670 Center Dr
                  South Zanesville, OH 43701
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                  Teresa Beck
                  3830 Frankmont Road
                  Richmond, VA 23234


                  Teresa Bly
                  7267 Ohio 345
                  New Lexington, OH 43764


                  Teresa Bower
                  346 Williams Street
                  Collinsville, VA 24078


                  Teresa Bowman
                  2976 Norwood Lane
                  Asheboro, NC 27205


                  Teresa Buschmann
                  11834 Jonesdale Ct
                  Maryland Heights, MO 63043


                  Teresa Butler
                  449 Stewart Rd
                  Henderson, NC 27537


                  Teresa Cade
                  1170 County Road 26
                  Ironton, OH 45638


                  Teresa Ciccone
                  2616 Deerfield Crescent
                  Chesapeake, VA 23321


                  Teresa Coalson
                  461 Dry Run
                  Marion, VA 24354


                  Teresa Combs
                  11712 N 322 E
                  Thayer, IN 46381


                  Teresa David
                  135 Angels Way
                  Newport, VA 24128
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                  Teresa Dearnley
                  8879 Hagers Ferry Rd
                  Denver, NC 28037


                  Teresa Downs
                  22149 Cliff Rd
                  Rockbridge,, OH 43149


                  Teresa Eagle
                  370 Columbiaville Rd
                  Columbiaville, MI 48421


                  Teresa Eddy
                  605 Hayfield Street
                  Morgantown, WV 26508


                  Teresa English
                  14610 Vaughan Drive
                  Charlotte, NC 28273


                  Teresa Evans
                  572 Tobacco Rd
                  Henderson,, NC 27537


                  Teresa Furman
                  3240 W Schafer Rd
                  Pinckney, MI 48169


                  Teresa Gregg
                  14205 mt Perry rd
                  Mount Perry, OH 43760


                  Teresa Grzelak
                  141 Shallow Creek
                  Blairsville, GA 30512


                  Teresa Hoskin
                  27583 Pratt Rd
                  Richmond, MI 48062


                  Teresa Humphries
                  513 NC Hwy 150 West
                  Greensboro, NC 27455
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                  Teresa Isley
                  367 Periwinkle Road
                  Eden, NC 27288


                  teresa jackson
                  458 South Carolina 395
                  Newberry, SC 29108


                  Teresa Jewell
                  14820 Woolfolk Road
                  Spotsylvania, VA 22551


                  Teresa Kessler
                  1204 Weldon Street
                  Montoursville, PA 17754


                  teresa king
                  1115 North Eleanor Street
                  Indianapolis, IN 46214


                  Teresa King
                  1780 Eason Rd
                  Waterford Twp, MI 48328


                  Teresa Knittel
                  2856 Pollock Rd
                  McDermott, OH 45652


                  Teresa Lindley
                  4109 W Horseshoe Dr
                  Muncie, IN 47302


                  Teresa Mayer
                  1338 Willow Downs Ct
                  Asheboro, NC 27205


                  Teresa McNabb
                  205 Pool St Kennett Mo.
                  Kennett, MO 63857


                  Teresa Mejaski
                  125 Hilltop Lane
                  Sleepy Hollow, IL 60118
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                  Teresa Mitchell
                  14575 County Road 626
                  Dexter, MO 63841


                  Teresa Mitchell
                  2303 School Drive
                  Pevely, MO 63070


                  Teresa Pietsch
                  1807 Conley Ridge Road
                  Bakersville, NC 28705


                  Teresa Raglin
                  205 North Briegel Street
                  Columbia, IL 62236


                  Teresa Reynolds
                  9216 Red House Road
                  Appomattox, VA 24522


                  Teresa Riehl
                  4503 Salem Turnpike NW
                  Roanoke, VA 24017


                  Teresa Salinas
                  16 East Morningside Drive
                  Bluffton, SC 29910


                  Teresa Severns
                  8420 Old Jacksonville Road
                  Pleasant Plains, IL 62677


                  Teresa Shane
                  5126 N Lake Rd
                  Columbiaville, MI 48421


                  Teresa Sharrard
                  10257 Suck Run Road
                  Ripley, OH 45167


                  Teresa Smith
                  517 Fosters Bend Rd SW
                  Rome, GA 30165
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                  Teresa Spaulding
                  6013 Almina Dr
                  Galloway, OH 43119


                  teresa Starr
                  440 Water Works Road
                  Lancaster, KY 40444


                  Teresa Sutter
                  1126 North Mallory Street
                  Hampton, VA 23663


                  Teresa Tallon
                  6702 County Road 51
                  Spencerville, IN 46788


                  Teresa Taylor
                  255 Custer Road
                  Stockport, OH 43787


                  Teresa Travis
                  14466 Mansfield Street
                  Detroit, MI 48227


                  Teresa Vermeesch
                  3155 Maple Ridge Rd
                  Twining, MI 48766


                  Teresa Walker
                  108 Long Street
                  Elon, NC 27244


                  Terese Quick
                  8051 McKinley
                  Center Line, MI 48015


                  Teresita Ambrosio
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                  Charlotte, NC 28213


                  TERESSA BRANDT
                  224 Pine Tract Road
                  Butler, PA 16001
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                  Teressa Carr
                  4705 Beau Court
                  Trinity, NC 27370


                  Teressa Streng
                  7330 Cynthia St
                  Ann Arbor, MI 48105


                  Terez Ekom
                  40 Chris Court
                  Pittsburgh, PA 15239


                  TeRhonda Nelson
                  1327 east Eva Blvd Chesapeake va
                  Chesapeake, VA 23320


                  Teri Bradley
                  4855 Township Road 160
                  Waterloo, OH 45688


                  Teri Butler
                  1322 N 750 E
                  Avilla, IN 46710


                  Teri Mertz
                  4327 S Hesperides Dr
                  Nags Head, NC 27959


                  Teri Whitaker
                  Stace L. Roth Sean R. Steward Schulman,
                  236 3rd Street SW
                  Canton, OH 44702


                  Teri Whitaker
                  5306 Shields Road
                  Lewisburg, OH 45338


                  Terinique Keys
                  950 E 28th St
                  Erie, PA 16504


                  Terra Hawley
                  4713 Crown Point Ln
                  Virginia Beach, VA 23462
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                  Terra Mckenzie
                  1685 Heritage Road
                  Decatur, IL 62521


                  Terran Lehmann
                  2701 Raymond Lehmann Ln
                  Ledbetter, TX 78946


                  Terrance Christopher
                  141 6th St
                  Auburn, GA 30011


                  Terrance Gist
                  300 Corvette Drive
                  Williamsburg, VA 23185


                  Terrance Jennings
                  11811 Registry Blvd
                  Hampton, GA 30228


                  Terrance Reece
                  271 wallace rd
                  ellerbe, NC 28338


                  Terrance Rosser
                  2213 St John Rd
                  Schererville, IN 46375


                  Terrance Shaw
                  3585 Marvell Road
                  Virginia Beach, VA 23462


                  Terrance Towns
                  30556 Scrivo Drive
                  Warren, MI 48092


                  Terrance Williams
                  3954 Mountain View Court
                  Locust Grove, VA 22508


                  Terrance Windham
                  14129 Rutland St
                  Detroit, MI 48227
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                  Terrannce Brough
                  440 County Road 331
                  Benton, MO 63736


                  Terrell Davis
                  16805 Riverwood Pointe Court
                  Florissant, MO 63034


                  Terrence Alexander
                  5874 Highwood Drive
                  Fairfield, OH 45014


                  Terrence Gonzalez
                  1909 King George Lane Southwest
                  Atlanta, GA 30331


                  Terrence Hicks
                  100 Annie Road
                  Richlands, NC 28574


                  Terrence Marshall
                  715 North Street
                  Mount Vernon, IL 62864


                  Terrence Robinson
                  159 Ridge Brooke Lane
                  Douglasville, GA 30134


                  Terrence Rutland
                  24512 Martha Washington Drive
                  Southfield, MI 48075


                  Terrence Starks
                  132 Meridian Rd
                  Glen Carbon, IL 62034


                  Terrence Tabron
                  1012 Joyce St
                  Norfolk, VA 23523


                  Terrence Walker
                  2400 Norbury Drive
                  Columbia, MO 65202
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                  terrence white
                  26231 Crown Ranch Boulevard
                  Montgomery, TX 77316


                  Terrez Hilton
                  1327 Landsdown Drive
                  Salisbury, NC 28147


                  Terri Bryant
                  826 East Darby Road
                  Taylors, SC 29687


                  Terri Byrne
                  7272 Bellspring Dr
                  Mechanicsville, VA 23111


                  Terri Castle
                  1279 Charles st
                  Logan, OH 43138


                  Terri Coburn
                  4415 South Scarff Road
                  New Carlisle, OH 45344


                  Terri Freeman
                  2658 Gemstone St
                  Claremont, NC 28610


                  Terri Leedy
                  1335 Moorefield Rd
                  Danbury, NC 27016


                  Terri Mewborn
                  405 5th Street
                  Clarksville, VA 23927


                  Terri Meyer
                  137 Bells Island Rd
                  Currituck, NC 27929


                  Terri Napier
                  9468 Byron Center Avenue Southwest
                  Byron Center, MI 49315
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                  Terri Richison
                  610 W Martindale Rd
                  Englewood, OH 45322


                  Terri Self
                  25 Cow Shed Rd
                  Lancaster, VA 22503


                  Terri Shattuck
                  5920 N 39th St
                  Augusta, MI 49012


                  Terri Short
                  11 Park Street
                  Coldwater, MI 49036


                  Terri Smith
                  153 Thorofare Road
                  Crimora, VA 24431


                  Terri stocks
                  5912 Kentucky Street
                  Joshua, TX 76058


                  Terri Thomas
                  6516 Rd 176
                  Antwerp, OH 45813


                  Terri Twiford
                  7534 Osborne Tpke
                  Richmond, VA 23231


                  Terri Washington
                  23504 Lakewood Street
                  Clinton Township, MI 48035


                  Terri Whiteman
                  2843 U.S. 12
                  Clinton, MI 49236


                  Terrie Allen
                  4955 County Rd 450 E
                  Columbia City, IN 46725
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                  Terrie Hampel
                  6171 Duck Lake Road
                  Whitehall, MI 49461


                  Terrie Holder
                  1926 La Salle Street
                  Belleville, IL 62221


                  Terrie Horton
                  4803 McClure Rd
                  Charlotte, NC 28216


                  Terron Reed
                  2262 Valleydale Rd
                  salem, VA 24153


                  Terry Adams
                  195 Konnarock Road
                  Troutdale, VA 24378


                  Terry Allen
                  3800 US-62 E
                  Cynthiana, KY 41031


                  Terry Arbogast
                  1305 Franklin Pike Southeast
                  Floyd, VA 24091


                  Terry Argenbright
                  1363 Christians Creek Road
                  Staunton, VA 24401


                  Terry Austin
                  14 Bertram Boulevard
                  Stafford, VA 22556


                  Terry Benscoter
                  1105 Moody Farm Road
                  Maggie Valley, NC 28751


                  Terry Bis Jr.
                  3031 N Carter Rd
                  Pinconning, MI 48650
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                  Terry Boss
                  6224 Moon Rd
                  Columbus, GA 31909


                  Terry Bradley
                  4084 Beniteau st
                  Detroit, MI 48214


                  Terry Brannan
                  128 Sholle Dr
                  Hudson, OH 44236


                  Terry Branoff
                  303 N Harris St
                  Saline, MI 49307


                  Terry Brimer
                  1244 Jim Starr Road
                  Newnan, GA 30263


                  Terry Brown
                  3434 Oliver Avenue
                  Indianapolis, IN 46241


                  Terry Burkett
                  7326 Schoyer Avenue
                  Pittsburgh, PA 15218


                  Terry Buzzard
                  301 West Broad Street
                  New Bethlehem, PA 16242


                  Terry Carbaugh
                  960 Edith Dr
                  Chambersburg, PA 17202


                  Terry Chappell
                  1925 SC-418
                  Pelzer, SC 29669


                  Terry Cobb
                  7311 Mountain Ash
                  Memphis, TN 38125
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                  terry coley
                  235 Pirkle Ct
                  Cumming, GA 30040


                  Terry Collier
                  13421 Lowe Drive
                  Warren, MI 48088


                  Terry Collins
                  3181 Leda Grove Rd
                  Nathalie, VA 24577


                  Terry Cummings
                  3711 Sterling Drive
                  Franklin, OH 45005


                  Terry Dempsey
                  149 Flat Ridge Rd
                  Sugar Grove, VA 24375


                  Terry Dickert
                  7116 Taylor Rd
                  Lynchburg, VA 24502


                  Terry Dusseau
                  2411 Washington Road
                  Lansing, MI 48911


                  Terry Eiland
                  2304 East Ashman Street
                  Midland, MI 48642


                  Terry Freed
                  13568 Township Rd
                  Findlay, OH 45840


                  Terry Gant
                  14233 Asbury Park
                  Detroit, MI 48227


                  Terry Geer
                  4488 Pattonsville Road
                  Jackson, OH 45640
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                  Terry Glasgow
                  4325 Clarkson Road
                  Richmond, VA 23224


                  Terry Gossard
                  470 N Cool Rd
                  Lima, OH 45801


                  Terry Grooms
                  13363 OH-729
                  New Vienna, OH 45159


                  Terry Grubar
                  15624 Herberger Road
                  Mackinaw, IL 61755


                  Terry Hays
                  5711 Newman Rd
                  St. Clair, MI 48079


                  Terry Helderman Helderman
                  3151 Berry St
                  Paris, IL 61944


                  Terry Henkel
                  2137 Colfax Avenue
                  Columbus, OH 43224


                  Terry Herald
                  80 Homer Taylor Drive
                  Oakland charter Township, MI 48363


                  Terry Horton
                  P O BOX 304
                  Hillsville, VA 24343


                  Terry Howes
                  13444 Belle River Rd
                  Memphis, MI 48041


                  Terry Hudson
                  103 NE 6th St, Galva, IL 61434, USA
                  Galva, IL 61434
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                  Terry Husz
                  8221 Little Florida Rd
                  Mechanicsville, VA 23111


                  Terry Ings
                  156 Forbes Estates Dr
                  Jacksonville, NC 28540


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                  800 Sharon Street
                  Bloomfield, MO 63825


                  Terry Jackson
                  1714 Snapper Lane
                  Carolina Beach, NC 28428


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                  5101 East Centennial Avenue
                  Muncie, IN 47303


                  Terry Johnson
                  4815 Murray Hills Drive
                  Chattanooga, TN 37416


                  Terry Johnson
                  893 Bobwhite Rd
                  Amherst, VA 24521


                  Terry Kellogg
                  2948 Parmenter Road
                  Corunna, MI 48817


                  Terry King
                  3033 Indiana 124
                  Wabash, IN 46992


                  Terry Koonce
                  1836 Cobb Rd
                  Kinston, NC 28501


                  Terry L Davis
                  645 West Olive St
                  Decatur, IL 62526
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                  Terry L Fairlamb
                  3490 Cooper Foster Park Rd
                  VERMILION, OH 44089


                  Terry L Knepp
                  133 Kuhns Lane
                  State College, PA 16801


                  Terry Lake
                  4450 bent oak hwy
                  Adrian, MI 49221


                  Terry Laurain
                  2719 Leelanau drive NE
                  Grand Rapids, MI 49525


                  Terry Lehr
                  2710 Thornbridge Road West
                  York, PA 17408


                  Terry Lewis
                  1401 Michigan Road
                  Madison, IN 47250


                  Terry Luce
                  2824 Chesapeake Ln
                  Bloomington, IL 61704


                  Terry Mason
                  8611 Yale Rd
                  Avoca, MI 48006


                  Terry Massey
                  1719 Oleander Hill Court
                  Charlotte, NC 28214


                  Terry McCall
                  125 Springside Rd
                  Asheville, NC 28803


                  Terry McCartan
                  2550 S Preble County Line Rd
                  Farmersville, OH 45325
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                  Terry McDonald
                  6189 Thorncliff Dr
                  Swartz Creek, MI 48473


                  Terry McDonald
                  726 Skyview Drive
                  Branson, MO 65616


                  Terry Meadows
                  189 Blackwell Street
                  Tazewell, VA 24651


                  Terry Meisling
                  6425 Naomi Street
                  Portage, MI 49002


                  Terry Miller
                  2757 32nd Ave NE
                  Hickory, NC 28601


                  Terry Miller
                  6249 Rising Sun Drive
                  Grove City, OH 43123


                  Terry Miller
                  1831 Hwy 81 S
                  Jonesborough, TN 37659


                  Terry Moore
                  4807 Eagles Nest Road
                  Bruceton Mills, WV 26525


                  Terry Mudd
                  2 Margaret Brown Court
                  St. Peters, MO 63376


                  Terry Myers
                  5680 East 700 North
                  Ossian, IN 46777


                  Terry Newell
                  135 Magnolia Drive
                  Oxford, GA 30054
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                  Terry Newsome
                  23402 Sibley Rd
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                  Terry Nitz
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                  Fredericksburg, VA 22405


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                  26249 International Drive
                  South Lyon, MI 48178


                  Terry Orazi
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                  Farmington, PA 15437


                  Terry Peterson
                  3522 Reliford Rd
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                  Terry Phelps
                  4455 Mt Vernon Pass
                  Swartz Creek, MI 48473


                  Terry Pickens
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                  Van Wert, OH 45891


                  Terry Polega
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                  Port Austin, MI 48467


                  Terry Powell
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                  terry Price
                  276 Gore Road
                  Boiling Springs, SC 29316
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                  Terry Pyland
                  5318 Liz Ln
                  Anderson, IN 46017


                  Terry Rawlins
                  3 Coosawhatchie Way
                  Beaufort, SC 29906


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                  Ellwood City, PA 16117


                  Terry Richberg
                  236 Toole Cir
                  Beech Island, SC 29842


                  Terry Rood
                  1746 East Hyde Road
                  Saint Johns, MI 48879


                  Terry Rosbach
                  1923 Old Salisbury Rd
                  Winston-Salem, NC 27127


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                  1872 Ernsthausen Rd
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                  Terry Scott
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                  terry sessions
                  98 Lincoln Ln
                  LaGrange, GA 30240


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                  Terry Shaffer
                  1220 Yahres Rd
                  Sharon, PA 16146
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                  Terry Shumpert
                  4338 North 700 East
                  Leesburg, IN 46538


                  Terry Simmons
                  3654 Wood Street
                  Elkhart, IN 46516


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                  Hays, NC 28635


                  Terry Tasich
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                  Quinton, VA 23141


                  Terry Tatman
                  2325 West 100 South
                  Flora, IN 46929


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                  13450 north rd
                  Fenton, MI 48430


                  Terry Thobe
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                  Middletown, OH 45042


                  Terry Thomas
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                  Roanoke, VA 24012


                  Terry Thomas
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                  Sevierville, TN 37862


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                  Henrico, VA 23231


                  Terry Thrush
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                  Logan, OH 43138
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                  Terry Tippett
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                  Terry Watson
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                  Barnhart, MO 63012


                  Terry Webster
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                  Florence, IN 47020


                  Terry Wells
                  7360 Indiana 44
                  Shelbyville, IN 46176


                  Terry Wells
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                  Festus, MO 63028


                  Terry Welsh
                  1023 Coolidge Rd
                  Lansing, MI 48912


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                  Terry White
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                  Fort Mill, SC 29715


                  Terry Whitehead
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                  Dearborn Heights, MI 48125


                  Terry Williams
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                  Chapmansboro, TN 37035


                  Terry Willis
                  4268 Weldon Springs Rd
                  Clinton, IL 61727
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                  Amelia, OH 45102


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                  Winnsboro, SC 29180


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                  13524 Jennice Ct
                  Wamego, KS 66547


                  Teryl Studer
                  6183 W Buchanan Rd
                  Ithaca, MI 48847


                  Tesia Walmsley
                  6572 South Mission Road
                  Mount Pleasant, MI 48858


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                  119 Crescent Dr
                  Chester, SC 29706


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                  Clinton Twp, MI 48035


                  Thad Sparkman
                  220 Candlewick Loop
                  McCormick, SC 29835


                  Thadious Webber
                  646 Carolina Road
                  Suffolk, VA 23434


                  Tharen Stevens
                  1125 Tennessee Ridge Road
                  Parksville, KY 40464


                  The Attic Depot
                  121 Waterstone Dr
                  Montgomery, TX 77304


                  The Bancorp Bank
                  PO Box 140733
                  Orlando, FL 32814-0733


                  The City of Parma; Division of Taxation
                  P.O. Box 94734
                  Cleveland, OH 44101-4734


                  The Guardian Life Insurance Company of A
                  PO Box 824404
                  Philadelphia, PA 19182-4404


                  The Hartford
                  PO Box 415738
                  Boston, MA 02241


                  The Hartford
                  P.O. Box 14472
                  Lexington, KY 40512
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                  Thelma Coffone
                  222 Lonesome Dove Trail
                  Blue Ridge, GA 30513


                  Thelma Farrington
                  3379 US-27
                  Winchester, IN 47394


                  Thelma Francisco
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                  Berrien Springs, MI 49103


                  thelma Perez
                  618 Onandaga Avenue
                  Ypsilanti, MI 48198
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                  Theodora Stewart
                  17596 Fairfield Street
                  Detroit, MI 48221


                  Theodore Alston
                  212 Wendwood Dr
                  Newport News, VA 23602


                  Theodore Crail
                  60 Memorial Court
                  Highland, IL 62249


                  Theodore Goetzel III
                  5136 Shirley Rd
                  Gainesville, GA 30506


                  Theodore Musser
                  1279 Circlewood Loop
                  Goodview, VA 24095


                  Theodore OHarah
                  435 South Shady Avenue
                  Corry, PA 16407


                  Theodore Powell
                  913 Helmsdale Court
                  Chesapeake, VA 23320


                  Theodore Rawlings
                  189 Blue Ridge Drive
                  Levittown, PA 19057
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                  Theodore Rusiecki
                  2064 Valley Forge st
                  Grand rapids, MI 49504


                  Theodore Schwab
                  142 Muffley Drive
                  Apollo, PA 15613


                  Theodore Singletary
                  2379 Butler Mill Road
                  Bladenboro, NC 28320


                  Theodore Thomas
                  1533 Pepper Rd
                  Ehrhardt, SC 29081


                  Therandal Epps
                  128 Bowman Drive
                  Suffolk, VA 23434


                  Theresa Barbour
                  6424 Newcastle Rd
                  Fayetteville, NC 28303


                  Theresa Bussanich
                  4185 West Jeff Davis Highway
                  Elkton, KY 42220


                  Theresa Chesmar
                  322 Ferguson Ave
                  South Webster, OH 45682


                  Theresa Choudhury
                  2042 Bayleaf Dr
                  Durham, NC 27712


                  Theresa Columber
                  905 Richland Rd
                  Marion, OH 43302


                  Theresa Davenport
                  22518 7 Mile Road
                  Reed City, MI 49677
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                  Theresa Deal
                  6 Vanwood Drive
                  Anderson, SC 29621


                  Theresa Fingers
                  10080 Turnpike Rd
                  Laurinburg, NC 28352


                  Theresa Flohr
                  23342 Bowman St NE
                  Homeworth, OH 44634


                  Theresa Harris
                  58904 Huntly Court
                  Goshen, IN 46528


                  Theresa Hartley
                  493 Don Claire Drive
                  Moundsville, WV 26041


                  Theresa Hess
                  7509 Bridgeman Drive
                  Fayetteville, NC 28303


                  Theresa Hopkins
                  2522 49th St
                  Fennville, MI 49408


                  Theresa Kinkelaar
                  2528 Drum Creek Road
                  Chesapeake, VA 23321


                  Theresa Kucsma
                  8105 Gale Rd SW
                  Hebron, OH 43025


                  Theresa Kunkel
                  223 South Railroad Street
                  Lawton, MI 49065


                  Theresa Lam
                  4882 S Chestnut Avenue
                  Newaygo, MI 49337
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                  Theresa Lavizzio
                  357 Jane Briggs Avenue
                  Lexington, KY 40509


                  Theresa Madden-Pope
                  473 Virginia Ave
                  Paoli, PA 19301


                  Theresa Makely
                  1403 Jolliff Rd
                  Chesapeake, VA 23321


                  Theresa McDade
                  109 Chicoma Dr
                  Townville, SC 29689


                  Theresa McMurray
                  1207 Peebles Point Road
                  Cape Fair, MO 65624


                  Theresa Meador
                  3350 View Avenue
                  Cave Spring, VA 24018


                  Theresa Nichols
                  1640 Southwest Sharp Road
                  Amity, MO 64422


                  Theresa Padgett
                  153 High Bluff Cir
                  Mooresville, NC 28115


                  Theresa Riddick
                  2824 Parkside Dr
                  Chesapeake, VA 23324


                  Theresa Samson
                  1538 Carrow Road
                  Chocowinity, NC 27817


                  Theresa Smith
                  1109 Reddish Drive
                  Jerseyville, IL 62052
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                  Theresa Waldron
                  16269 Moon Rd
                  Mount Orab, OH 45154


                  Theresa Way
                  7432 Lee Rd
                  Jackson, MI 49201


                  Theresa Zilska
                  4981 East Sylvan Road
                  Evart, MI 49631


                  Therese Figueroa
                  3101 Kentucky 1054
                  Berry, KY 41003


                  Therese Geyer
                  1133 West Brocker Road
                  Metamora, MI 48455


                  Therese Jobe-Kerwin
                  12750 Scully Rd
                  Manchester, MI 48158


                  Therese Vanuum
                  4520 Praise Him Lane
                  Bellaire, MI 49615


                  Theron Vinson
                  715 Georgie St
                  Troutman, NC 28166


                  Theron Wilkes
                  1262 Head Rd
                  Andersonville, GA 31711


                  Thien Huyunh
                  10689 Broadlands Drive
                  Brownsburg, IN 46112


                  Thien Thanh Tran
                  1219 East Pine st.
                  Mount Airy, NC 27030
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                  Thiler Claxton
                  124 East Branning Avenue
                  Fort Wayne, IN 46806


                  Thira Coleman
                  341 Creedmoor Road
                  Jacksonville, NC 28546


                  Thoi Huynh
                  1232 Quarterline Rd
                  Muskegon, MI 49442


                  Thomas "Tom" Ristvey
                  2190 Oak Haven Court
                  Hermitage, PA 16148


                  Thomas A Gales II
                  170 Timberline Drive
                  Vine Grove, KY 40175


                  Thomas Abruzzino
                  8935 Blazer Rd
                  Greenfield, OH 45123


                  Thomas Ackers
                  4228 Briarcliff Road
                  Nashport, OH 43830


                  Thomas Agnew
                  2634 Skyview Trace Ct
                  Houston, TX 77047


                  Thomas Alsbach
                  1195 Merkle Rd
                  Ortonville, MI 48462


                  Thomas Alvado
                  9177 Ann Maria Boulevard
                  Grand Blanc, MI 48439


                  Thomas Alvey
                  4852 north county road 200 East
                  Petersburg, IN 47567
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                  Thomas Amor
                  12493 Hopkins Forest Dr
                  Bear Lake, MI 49614


                  Thomas Anderson
                  1184 Conway Rd
                  Decatur, GA 30030


                  Thomas Applebee
                  4820 Chambers Road
                  Mayville, MI 48744


                  Thomas Bailey
                  15 Topsail Dr
                  Angier, NC 27501


                  Thomas Bailey
                  6353 OH-522
                  Franklin Furnace, OH 45629


                  Thomas Bainbridge
                  2492 Sutton Road
                  Jamestown, OH 45335


                  Thomas Baker
                  5929 S Lama St
                  Terre Haute, IN 47802


                  Thomas Baker
                  7745 Lindbergh Drive
                  Maplewood, MO 63143


                  Thomas Barnard
                  PO BOX 66
                  Hymera, IN 47855


                  Thomas Barnes
                  5176 North 925th Street
                  Paris, IL 61944


                  thomas bayarinas
                  3494 Filer Road
                  Greencastle, PA 17225
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                  thomas beichler
                  939 Crittenden St
                  Carlinville, IL 62626


                  Thomas Bell
                  169 Sun Valley Dr
                  Mineral Bluff, GA 30559


                  Thomas Berta
                  3551 Burnley Station Rd
                  Barboursville, VA 22923


                  Thomas Betz
                  8358 S Reese Rd
                  Birch Run, MI 48415


                  Thomas Birch
                  6325 E 169th St
                  Noblesville, IN 46062


                  Thomas Blount
                  1869 Bards Dr SE
                  Bolivia, NC 28422


                  Thomas Bolden
                  6310 Lakeway Drive
                  Mechanicsville, VA 23111


                  Thomas Bond
                  1016 Northwest 16th Street
                  Washington, IN 47501


                  Thomas Bowen
                  5749 Mill Ridge Rd
                  Granite Falls, NC 28630


                  Thomas Boyd Jr
                  675 E RAILROAD AVE
                  Michigan City, IN 46360


                  Thomas Brandon
                  286 Snow Valley Dr
                  Drums, PA 18222
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                  Thomas Bratcher
                  4901 North 75 East
                  West Lafayette, IN 47906


                  Thomas Brooks
                  123 Bienville Dr
                  Fayetteville, NC 28311


                  Thomas Brooks
                  13242 Spring Road
                  Rockville, VA 23146


                  Thomas Brown
                  3440 McAlpine Dr
                  augusta, GA 30906


                  Thomas Bruckmann
                  6548 Montevista Dr
                  Cincinnati, OH 45224


                  Thomas Burnett Jr
                  174 Cornfield Lane
                  Appomattox, VA 24522


                  Thomas Bush
                  4239 N Oak Rd
                  Davison, MI 48423


                  Thomas Cabaniss
                  46 Frey Court
                  HAMPSTEAD, NC 28443


                  Thomas Cahill
                  206 Channel Dr
                  Cape Carteret, NC 28584


                  Thomas Cameron
                  2274 Cameron Rd
                  Broadway, NC 27505


                  Thomas Carter
                  363 West Hobbs Road
                  Delton, MI 49046
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                  Thomas Chamberlin
                  3509 Monroe Hollow Road
                  Oak Hill, OH 45656


                  Thomas Chaney
                  21035 Nifty Lane
                  Purcell, MO 64755


                  Thomas Chapman
                  7 Flamingo Drive
                  Greenville, SC 29609


                  Thomas Church
                  2350 Nature Ln
                  Lenoir, NC 28645


                  Thomas Church
                  314 Candlelight Lane
                  Mifflinburg, PA 17844


                  Thomas Collins
                  4880 Ashley Rd
                  SMITHS CREEK, MI 48074


                  Thomas Connell
                  81 Dew Drop Ct
                  Clarkson, KY 42726


                  Thomas Conners
                  1303 Park Avenue
                  Salisbury, NC 28146


                  Thomas Cook
                  773 Fox Trace Rd
                  Sylva, NC 28779


                  Thomas Cook
                  1739 Black Jack Road
                  Stuart, VA 24171


                  Thomas Cooper
                  7489 Suder Ave
                  Erie, MI 48133
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                  Thomas Couch
                  6175 North Highway 11 Southeast
                  Elizabeth, IN 47117


                  Thomas Crandall
                  1675 92nd Street Southeast
                  Caledonia, MI 49316


                  Thomas Crawford
                  1724 Alpha St
                  Massillon, OH 44647


                  Thomas Curtis
                  6124 Jericho Rd
                  Stevensville, MI 49127


                  Thomas Czechowski
                  819 Greenlawn Ave NW
                  Warren, OH 44483


                  Thomas Dahlmann
                  1142 Sunbury Road
                  Shamokin Dam, PA 17876


                  Thomas Daniels
                  6140 s us 45 rd metropolis I?ll
                  Metropolis, IL 62960


                  Thomas Danko
                  71550 Eldred Rd
                  Bruce Twp, MI 48065


                  Thomas Dauss
                  2130 Hollywood Dr
                  Monroe, MI 48162


                  Thomas Davis Davis
                  6071 Hart Lake Road
                  Otter Lake, MI 48464


                  Thomas Dawson
                  520 Linda Dr
                  West Unity, OH 43570
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                  Thomas Deline
                  11503 E 72nd St
                  Reed City, MI 49677


                  Thomas Dennis
                  5633 Dividing Ridge Rd
                  Goodlettsville, TN 37072


                  Thomas Des Jardins
                  1420 Hiller Rd
                  Waterford Twp, MI 48327


                  Thomas Diehl
                  421 State Rte 3005
                  Kennerdell, PA 16374


                  Thomas Diggs
                  4 Deveron Drive
                  Poquoson, VA 23662


                  Thomas Doyle
                  680 Northview Ln
                  Hoffman Estates, IL 60169


                  Thomas Dula
                  20855 Saber Jet Pl
                  Ashburn, VA 20147


                  Thomas Dumais
                  203 Reston Ct
                  Richlands, NC 28574


                  Thomas Dungan
                  6319 Quaker Dr
                  Suffolk, VA 23437


                  Thomas Dunlap
                  967 Herrs Ridge Rd
                  Gettysburg, PA 17325


                  Thomas Duren
                  9830 Wolf Creek Pike
                  Trotwood, OH 45426
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                  Thomas Dwyer
                  34254 Richards Ferry Road
                  Richardsville, VA 22736


                  Thomas Dye
                  175 Deerfield Rd.
                  Columbus, OH 43228


                  Thomas Dykstra
                  1181 E Hile Rd
                  Norton Shores, MI 49441


                  Thomas E Pitts
                  1834 Tamarack Court South
                  Columbus, OH 43229


                  Thomas Edwards
                  20320 Shadyside
                  Livonia, MI 48152


                  Thomas Ellis
                  40219 Country Forest Dr
                  Magnolia, TX 77354


                  Thomas Fagedes
                  5353 Delhi Pike
                  Cincinnati, OH 45238


                  Thomas Falone
                  6310 Bull Creek Road
                  Charlestown, IN 47111


                  Thomas Fantaci
                  11248 Craig Lane
                  Bealeton, VA 22712


                  Thomas Fenerty
                  211 Abb Morris Rd
                  Louisa, VA 23093


                  Thomas Fetterman
                  334 Timber Ln
                  Punxsutawney,, PA 15767
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                  Thomas Fitzpatrick
                  315 South Linn Street
                  Bay City, MI 48706


                  Thomas Floyd
                  2897 E Point Dr
                  Chesapeake, VA 23321


                  Thomas Foskey
                  142 Mary St
                  Gray, TN 37615


                  Thomas Fox
                  9820 Chestnut Hills Road
                  Harrisburg, NC 28075


                  Thomas Fralick
                  3 Concord Avenue
                  Factoryville, PA 18419


                  Thomas Francis
                  841 Rosegill Road
                  Richmond, VA 23236


                  Thomas Gates
                  1070 Baxter Ct
                  Statham, GA 30666


                  Thomas Gehalo
                  14225 Aquilla Road
                  Burton, OH 44021


                  Thomas Geibel
                  486 Lincoln Highway
                  East McKeesport, PA 15137


                  Thomas Gilbert
                  8965 Babcock Road
                  Grant Township, MI 48032


                  Thomas Gilligan
                  222 Preacher Robertson Road
                  Castalian Springs, TN 37031
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                  Thomas Glowski
                  9405 N Gale Rd
                  Otisville, MI 48463


                  Thomas Gobel
                  5091 South 500 East
                  Oxford, IN 47971


                  Thomas goodale
                  102 Flat Rock Road
                  Deer Lodge, TN 37726


                  Thomas Gordon
                  1575 Pepperhill Drive
                  Florissant, MO 63033


                  Thomas Grant
                  5318 Free State Road
                  Marshall, VA 20115


                  Thomas Gray
                  3731 Pandola Avenue
                  Joliet, IL 60431


                  Thomas Gross
                  4200 Blackford Road East
                  Mount Vernon, IN 47620


                  Thomas Gushert
                  36687 Hunter Camp Rd
                  Lisbon, OH 44432


                  Thomas Haffely
                  311 Robinson Rd
                  Imperial, PA 15126


                  Thomas Hale
                  526 Smoketree Circle
                  Ringgold, GA 30736


                  Thomas Hanners
                  159 Eagle Pass
                  Swainsboro, GA 30401
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Thomas Harris
                  406 Staton Ln
                  Elm City, NC 27822


                  Thomas Harris
                  274 South Wye Road
                  Wytheville, VA 24382


                  thomas havrilesko
                  122 South California Drive
                  Coal Center, PA 15423


                  Thomas Hawkins
                  10900 Ravenwood Dr
                  Manassas, VA 20111


                  Thomas Hayes
                  206 cresent drive
                  williamsburg, VA 23188


                  Thomas Hendricks
                  161 Skeels Road
                  Montague, MI 49437


                  Thomas Henson
                  755 Kuehnle Avenue
                  Ann Arbor, MI 48103


                  Thomas Hershberger
                  6630 OH-12
                  Findlay, OH 45840


                  Thomas Hipple
                  237 Harris Drive
                  Front Royal, VA 22630


                  Thomas Hollyday
                  246 Supper Club Rd
                  Letart, WV 25253


                  Thomas Hoopes
                  3446 Chickahominy Road
                  Toano, VA 23168
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Thomas Houston
                  562 Private Road 3556
                  Clarksville, AR 72830


                  Thomas Huber
                  93 Crest View Drive
                  Finley, TN 38030


                  Thomas Hunt
                  19534 E River Rd
                  Columbia Station, OH 44028


                  Thomas Hutton
                  1170 Capella Ridge Rd
                  King, NC 27021


                  Thomas Hylsky
                  4145 W Orchard Ln
                  Battlefield, MO 65619


                  Thomas Impellizzeri
                  2720 Bristol Rd
                  Imlay City, MI 48444


                  Thomas Ingram
                  509 Golf Dr
                  Bracey, VA 23919


                  Thomas j Richter Jr
                  2134 Cross Road
                  Winchester, OH 45697


                  Thomas Jackson
                  5206 Laurel Drive
                  Disputanta, VA 23842


                  Thomas Jeffers
                  32794 Dexter Rd
                  Rutland, OH 45775


                  Thomas Jeffries
                  3715 Ridge Road
                  Springfield, OH 45502
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Thomas Jennings
                  3621 Rabbit Hollow
                  Kitty Hawk, NC 27949


                  THOMAS john WILSON Ret
                  4510 Vineyard Drive
                  Lorain, OH 44053


                  Thomas Johnson
                  26348 Scotch Pine Trail
                  South Bend, IN 46619


                  Thomas Johnson
                  1197 Driftwood Drive
                  Fairborn, OH 45324


                  Thomas Johnson
                  119 Yankee Ridge Rd
                  Mercer, PA 16137


                  Thomas Johnson
                  48 Day Trading Ct
                  Broadway, NC 27505


                  Thomas Jones
                  504 Clearwater Drive
                  North Aurora, IL 60542


                  Thomas Joyner
                  3500 Sandy Cross Road
                  Nashville, OH 27856


                  Thomas Kay
                  4403 Old Virginia St NE
                  Roanoke, VA 24019


                  Thomas Kellner
                  160 Pondtown Rd
                  York Springs, PA 17372


                  Thomas Keyes
                  5500 NW Jennings Rd
                  Topeka, KS 66618
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                  Thomas Keyes
                  516 West Sycamore Street
                  Mason, MI 48854


                  Thomas King
                  9687 Waterway Dr
                  Grosse Ile Township, MI 48138


                  Thomas Klein
                  6127 Sleight Road
                  Bath Township, MI 48808


                  Thomas Klinedinst
                  9 Harvest Ln
                  Perkasie, PA 18944


                  Thomas Koester
                  1199 West Shelton Road
                  Boonville, IN 47601


                  Thomas LaCass
                  2390 Pera Road
                  Monroe, VA 24574


                  Thomas Langlois
                  604 E Ohio St
                  Monticello, IN 47960


                  Thomas Laskin
                  218 Cottage Oak Dr
                  Stafford, VA 22556


                  Thomas Legel
                  57 Oakbrook Drive
                  Birdsboro, PA 19508


                  Thomas Liebeknecht
                  400 Dog Heaven Ln
                  Millersville, MO 63766


                  Thomas Lindenmuth
                  3645 Spear St
                  Bethlehem, PA 18020
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                  Thomas Linn
                  7065 Grey Wolf Drive
                  Nineveh, IN 46164


                  Thomas Lovelace
                  5730 Laborde Ave.
                  Charlotte, NC 28269


                  thomas lucas
                  2233 Sunny Day Drive
                  Hephzibah, GA 30815


                  Thomas Lynch
                  314 Church St
                  Locust, NC 28097


                  Thomas Maclin
                  3357 Kimery Store Road
                  Greenfield, TN 38230


                  Thomas Macon
                  136 Merrill Rd
                  Fletcher, NC 28732


                  Thomas Mann
                  2115 Coles Knob Road
                  Check, VA 24072


                  Thomas Martin
                  622 Kentucky Avenue
                  Plainfield, IN 46168


                  Thomas Martin
                  2729 Windcrest Trail
                  Nashville, TN 37013


                  Thomas Mather
                  17237 Pennsylvania 267
                  Montrose, PA 18801


                  Thomas Mattingly
                  201 Damsenberry Way
                  China Grove, NC 28023
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                  Thomas Mauk
                  625 Moore Rd NE
                  Floyd, VA 24091


                  Thomas Mcfarland
                  14863 E Thompson Road
                  Marshall, IL 62441


                  Thomas McHenry
                  6252 McKinney Hollow Rd
                  Eagle Rock, VA 24085


                  Thomas Mckim
                  39796 Wenner Road
                  Lovettsville, VA 20180


                  Thomas Mclamb Sr.
                  67 Bristol Ln
                  Benson, NC 27504


                  Thomas McMillen
                  70 N. 20th St.
                  Columbus, OH 43203


                  Thomas Mellencamp
                  1551 Lady Marian Dr
                  Seymour, IN 47274


                  Thomas Melone
                  6790 Bennett Road
                  Seagrove, NC 27341


                  Thomas Meyers
                  808 W Siwash Dr
                  Elmwood, IL 61529


                  Thomas Michals Jr
                  5361 Pingree Road
                  Howell, MI 48843


                  Thomas Miller
                  5209 Hicone Road
                  McLeansville, NC 27301
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                  Thomas Milner
                  22955 Holiday Dr
                  Hersey, MI 49639


                  Thomas Mischke
                  744 W 900 S
                  Hebron, IN 46341


                  Thomas Mittelstadt
                  34604 Lakewood Drive
                  New Baltimore, MI 48047


                  thomas mizner
                  618 North Scott Drive
                  Farwell, MI 48622


                  Thomas Monat
                  13512 10 Mile Rd
                  South Lyon, MI 48178


                  Thomas Mongold
                  681 Wagner Road
                  Chambersburg, PA 17202


                  Thomas Moore
                  192 Fairway Place
                  Lewistown, PA 17044


                  Thomas Mott
                  3930 Green Rd
                  Ellaville, GA 31806


                  Thomas Murray
                  102 O Hara Dr
                  Stonefort, IL 62987


                  Thomas Nieves
                  166 Vincent Way
                  Aberdeen, NC 28315


                  Thomas Nobilio
                  7349 Brigden Road
                  West Farmington, OH 44491
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                  Thomas Page
                  202 Spanish Trail
                  Jacksonville, NC 28546


                  Thomas Page
                  6272 Faymeadow Ln
                  Columbus, OH 43229


                  Thomas Parker
                  957 Pyle Road
                  Clarksville, OH 45113


                  Thomas Parker
                  3048 Robina Ln
                  Hamilton, OH 45013


                  Thomas Patterson
                  5336 Wakefield Dr
                  Hilliard, OH 43026


                  Thomas Patterson
                  337 South Amherst Drive
                  West Columbia, TX 77486


                  Thomas Persinger
                  12179 School Lane Rd
                  Hartford, OH 43013


                  Thomas Peterson
                  6912 Montgomery Road
                  Clover, SC 29710


                  Thomas Pickens
                  953 East Corning Road
                  Beecher, IL 60401


                  Thomas Pope
                  4237 Lakeview Parkway
                  Lake Of Woods, VA 22508


                  Thomas Powers
                  131 Arthur Drive
                  Clayton, NC 27520
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                  Thomas Presley
                  375 Mountvista Court
                  Bluefield, VA 24605


                  Thomas pryor
                  17523 Clarks Run Road
                  Mount Sterling, OH 43143


                  Thomas Quick
                  72848 Grapevine Rd
                  Freeport, OH 43973


                  Thomas R Gilmer
                  3602 Snow Hill Rd
                  Durham, NC 27712


                  Thomas R Whelan
                  729 Hilltop Rd
                  Virginia Beach, VA 23454


                  Thomas Ramstrom
                  2002 Horizon Blvd
                  Greenwood, IN 46143


                  Thomas Randolph
                  1044 Josephine Crescent
                  Virginia Beach, VA 23464


                  Thomas Rawlings
                  4136 Tucker Trail
                  Rocky Mount, NC 27804


                  Thomas Ray
                  10880 S Co Rd 600 W
                  Daleville, IN 47334


                  Thomas Rayner
                  3427 East 200 North
                  Lafayette, IN 47905


                  Thomas Reasinger
                  470 Drift Road
                  Palmerton, PA 18071
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                  Thomas Reece Jr
                  607 Mountain St
                  Enola, PA 17093


                  Thomas Robinson
                  1136 Nokomis Way Drive
                  Waterford Township, MI 48328


                  Thomas Robinson
                  171 Calypso Road
                  Moneta, VA 24121


                  Thomas Rosenfelt
                  214 Flat Rock Road
                  Lebanon, TN 37090


                  Thomas Ruffin
                  1229 Crawford Way
                  Pooler, GA 31322


                  Thomas S Dorozynski
                  128 Prelude Drive
                  Richlands, NC 28574


                  Thomas Salois
                  9230 North Nicholson Road
                  Fowlerville, MI 48836


                  Thomas Samson
                  257 Myers Hollow Road
                  Seymour, TN 37865


                  Thomas Sawyer
                  8276 Birdsnest Drive
                  Birdsnest, VA 23307


                  Thomas Schlichter
                  868 Castleberry Court
                  Vass, NC 28394


                  Thomas Scrogham
                  1915 Sunrise St NW
                  North Canton, OH 44720
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Thomas Shanahan
                  11380 Roepke Road
                  Gregory, MI 48137


                  Thomas Sheldon
                  8683 Wertman Rd
                  Delton, MI 49046


                  Thomas Smith
                  312 Lakeview Drive
                  Liberty, SC 29657


                  Thomas Smith
                  275 Sweetbriar Lane
                  Boones Mill, VA 24065


                  Thomas Sokoloski
                  3797 20 Mile Rd
                  Kent City, MI 49330


                  Thomas Sosnowski
                  895 Waterloo
                  Mogadore, OH 44260


                  Thomas Spangler
                  2855 N 525 W
                  Crawfordsville, IN 47933


                  Thomas Steinauer
                  3630 Dillards Hill Rd
                  Union Hall, VA 24176


                  Thomas Stevens
                  4864 Georgetown Verona Rd
                  Lewisburg, OH 45338


                  Thomas Stewart
                  15 College Ave
                  Mount Pleasant, PA 15666


                  Thomas Straith
                  3092 Middlebelt Road
                  West Bloomfield Township, MI 48323
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Thomas Stuck
                  233 Shawver Rd
                  McClure, PA 17841


                  Thomas Swain
                  1508 Hanks Rd
                  Troy, PA 16947


                  Thomas Szabo
                  5276 Illinois 4
                  Mascoutah, IL 62258


                  Thomas Tenlen
                  9526 Alward Rd
                  Laingsburg, MI 48848


                  Thomas Terrill
                  5636 Oakdale Road
                  Knightdale, NC 27545


                  Thomas Testa
                  1886 Big Bear Drive
                  Owosso, MI 48867


                  Thomas Thielen
                  2771 East Chicago Road
                  Jonesville, MI 49250


                  Thomas Thomas
                  105 Jaslie Dr
                  Cary, NC 27518


                  Thomas Thompson
                  671 South Elm Avenue
                  Tallmadge, OH 44278


                  Thomas Tilley
                  1813 Amos St
                  Reidsville, NC 27320


                  Thomas Timashenka
                  421 West Butler Street
                  Mercer, PA 16137
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                  Thomas Todd
                  2089 Campbell Street
                  Coolville, OH 45723


                  Thomas Trimmer
                  3118 North Weaver Road
                  Fairview, MI 48621


                  Thomas Troms
                  1615 Cameron's Landing Boulevard
                  Hopewell, VA 23860


                  Thomas Tucker
                  129 Kings Dr
                  Locust, NC 28097


                  Thomas Tucker
                  1953 Lilac Lane
                  Lima, OH 45806


                  Thomas Tunstall
                  1904 E Hudson Ave
                  Royal Oak,, MI 48067


                  Thomas Ulrich
                  10318 East Prior Rd
                  Durand, MI 48429


                  Thomas Vajen
                  572 Bear Lake Road
                  Tuckasegee, NC 28783


                  Thomas Van Lew
                  205 Summerwalk Rd
                  Greensboro, NC 27455


                  Thomas Venema
                  3044 Carla Drive
                  Saginaw, MI 48604


                  Thomas Visser
                  47 Craven Drive
                  Charleroi, PA 15022
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                  Thomas Ward
                  3261 Bissell Road
                  Springfield, IL 62707


                  Thomas Warfield
                  105 Abbott Ridge Ct
                  Holly Springs, NC 27540


                  Thomas Webb
                  5742 County Road 424
                  Antwerp, OH 45813


                  Thomas Webb
                  3231 Tadley Dr
                  Midlothian, VA 23112


                  Thomas Wedding
                  120 Sandi's Lane
                  Palmyra, TN 37142


                  Thomas Weickgenant
                  14816 Eastside Road
                  Tyler, TX 75707


                  Thomas Weir
                  3991 Chisolm Road
                  Johns Island, SC 29455


                  Thomas Whetsell
                  114 Whetsell Road
                  West Columbia, SC 29172


                  Thomas Whitt
                  4752 NC-8 Highway South
                  Walnut Cove, NC 27052


                  Thomas Whittle
                  181 Tacketts Mill Road
                  Stafford, VA 22556


                  Thomas Wilham
                  1081 Gibbs Road
                  Bronson, MI 49028
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                  Thomas Wiseman
                  10482 Fort Laurens Rd NW
                  Bolivar, OH 44612


                  Thomas Wobig
                  105 Teresas Way
                  Shawboro, NC 27973


                  Thomas Wood
                  3207 W Adams St
                  Saint Charles, MO 63301


                  Thomas Woods
                  3867 Darlington Road Southwest
                  Roanoke, VA 24018


                  Thomas Yeager
                  15177 State Route 104
                  Lucasville, OH 45648


                  Thomas You
                  1524 Millington Dr
                  Virginia Beach, VA 23464


                  Thomas Young
                  1023 Richey Rd
                  Felicity, OH 45120


                  Thomas Youngless
                  721 W Fairground Avenue
                  Hillsboro, IL 62049


                  Thomas Zeedyk
                  5256 boylan street
                  Kalamazoo, MI 49004


                  ThomasTommy Zatarga
                  143 Hawthorne Road
                  Albrightsville, PA 18210


                  thoraya zedan
                  12672 Magna Carta Road
                  Herndon, VA 20171
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                  Thresa Schumitsch
                  10210 Willard Rd
                  Millington, MI 48746


                  Thurman Casey
                  1835 Pinnacle Pkwy
                  Hampstead, NC 28443


                  Thurman Daniels
                  1025 Apache Trail
                  Gouldsboro, PA 18424


                  Thurman Lockamy
                  105 Pebble Dr
                  Clayton, NC 27520


                  Thuy Luu
                  2015 Dunzweiler Dr
                  Zanesville, OH 43701


                  Thyais Maxwell
                  6611 Jockey Club Dr
                  Whitsett, NC 27377


                  Tia Boedeker
                  5050 Millis Rd
                  North Branch, MI 48461


                  Tia Bolden
                  3525 Summit Avenue
                  Belleville, IL 62226


                  Tia Duncan-Stuart
                  173 Windsor Rd
                  Woodlawn, VA 24381


                  Tia Hartsell
                  201 Hartle Avenue
                  Urbana, IL 61802


                  Tia Vaupel
                  12896 Monroe Street
                  Crown Point, IN 46307
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                  Tia Wood
                  3043 Morgan lane Bidwell Ohio
                  Bidwell, OH 45614


                  Tiffani Gregory
                  242 Wilson Street
                  Statesville, NC 28677


                  Tiffany Clowers
                  3729 Arminto Drive
                  Ellenwood, GA 30294


                  Tiffany Cook
                  316 James St Rer
                  Flemington, PA 17745


                  Tiffany Deel
                  4701 Edgelawn Ave NW
                  Roanoke, VA 24017


                  Tiffany Hall-Thorn
                  11405 Lakeview Ct
                  Kokomo,, IN 46901


                  Tiffany Hanczaryk
                  6399 Almont Dr
                  Brook Park, OH 44142


                  Tiffany Hill
                  28 Hound Ridge
                  Waynesville, NC 28785


                  Tiffany Homola
                  600 Knoll Ct
                  Corunna, MI 48817


                  Tiffany Jackson
                  6110 Apple Orchard Drive
                  Mebane, NC 27302


                  Tiffany Johnson
                  230 Graphite Dr
                  Gibsonville, NC 27249
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                  Tiffany Kibler
                  3393 Monett New Winchester Road
                  Caledonia, OH 43314


                  Tiffany Kwiecinski
                  510 Blythe Street
                  Junction City, GA 31812


                  Tiffany Layton
                  227 Chloe Street
                  Perryville, MO 63775


                  Tiffany Lhotak
                  1033 North 200 East
                  Chesterton, IN 46304


                  Tiffany Lirones
                  8674 Rivercrest Dr
                  Georgetown Twp, MI 49428


                  Tiffany Long
                  6145 Lane Rd
                  Centerburg, OH 43011


                  Tiffany Lucas
                  5615 Kay Drive
                  Milford, OH 45150


                  Tiffany McCants
                  425 Canary Trail
                  Winston-Salem, NC 27107


                  Tiffany Neff
                  357 Cole St
                  East Peoria, IL 61611


                  Tiffany Oliver
                  146 Poston Rd
                  INMAN, SC 29349


                  Tiffany Peterson
                  2675 Big Sewickley Creek Road
                  Sewickley, PA 15143
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                  Tiffany Riddlebarger
                  783 Edgehill Dr
                  Logan, OH 43138


                  Tiffany Scott
                  4852 Ventura Dr
                  Toledo, OH 43615


                  Tiffany Stanley
                  1142 Pondview Rd
                  Oakwood, VA 24631


                  Tiffany Ulrich
                  5585 Hickory Ridge
                  House Springs, MO 63051


                  Tige Hamm
                  2573 OH-273
                  Rushsylvania, OH 43347


                  TikTok, Inc.
                  5800 Bristol Pkwy, Suite 100
                  Culver City, CA 90230


                  Tim Abrell
                  20519 Aliza Rose Ln
                  Katy, TX 77449


                  Tim Anderson
                  3431 Clay Street
                  Austinburg, OH 44010


                  Tim Anderson
                  504 Emerson Dr
                  Euless, TX 76039


                  Tim Bacon
                  11819 neuss Ave
                  Cincinnati, OH 45246


                  Tim Barnes
                  2010 Lyn Grove Drive
                  Lima, OH 45806
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Barnett
                  4092 Voyles Road
                  Martinsville, IN 46151


                  Tim Barnhouse
                  4117 Ruby Road Northwest
                  Carrollton, OH 44615


                  Tim Bauer
                  1443 Eberhart Avenue
                  Edwardsville, IL 62025


                  Tim Black
                  114 Hunter Mill Road
                  Liberty, SC 29657


                  Tim Bridson
                  11551 Spamfleer Road
                  Fife Lake, MI 49633


                  Tim Brown
                  5906 Washington Boulevard
                  Ashtabula, OH 44004


                  Tim Bucholtz
                  12920 Tilden Road
                  Hiram, OH 44234


                  Tim Bunn
                  218 East State Street
                  Montrose, MI 48457


                  Tim Burckure
                  670 Grange Rd, Beaver, PA 15009, USA
                  Beaver, PA 15009


                  Tim Callahan
                  3373 W Beard Rd
                  Perry,, MI 48872


                  Tim Campbell
                  2741 Saltair Maple Road
                  Bethel, OH 45106
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                  Tim Cardiff
                  10352 Weber Rd
                  Columbus, MI 48063


                  Tim Carpenter
                  3473 County Road 6
                  Kitts Hill, OH 45645


                  Tim Cartwright
                  7015 Windridge Lane
                  Flint, MI 48507


                  Tim Cook
                  4996 FM436
                  Temple, TX 76501


                  Tim Coulson
                  5139 Wildcat Pike
                  Marion, OH 43302


                  Tim Crouse
                  2144 S Plaza Drive,
                  Akron, OH 44319


                  Tim Custard
                  711 Crawford Lake Road Northeast
                  Kalkaska, MI 49646


                  Tim Dawson
                  63434 54th Ave
                  Hartford, MI 49057


                  Tim Dees
                  3322 Tolley St
                  Claremont, NC 28610


                  Tim Dick
                  50875 Moore Ridge Rd
                  Jerusalem, OH 43747


                  Tim Dyer
                  605 Treemont Ct
                  Chesapeake,, VA 23323
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                  Tim England
                  310 Merrimont Dr
                  McComb, OH 45858


                  Tim Etling
                  421 North Penn Street
                  Connellsville, PA 15425


                  Tim Fennema
                  2417 Saratoga Drive Northeast
                  Grand Rapids, MI 49525


                  Tim Ferguson
                  2692 Willowlawn Street
                  Cave Spring, VA 24018


                  Tim Ferrier
                  6853 W 400 S
                  Crawfordsville, IN 47933


                  Tim Fitzgerald
                  302 Red Maple Lane
                  Shepherd, MI 48883


                  Tim Fitzpatrick
                  19391 Rd R
                  Fort Jennings, OH 45844


                  Tim Foglio
                  240 Shawnee Dr
                  East Stroudsburg, PA 18302


                  Tim French
                  13223 Queensgate Road
                  Midlothian, VA 23114


                  Tim Gardelle
                  1196 Sub Station Road
                  Polkton, NC 28135


                  Tim Gher
                  3565 County Rd 600 W
                  Newburgh, IN 47630
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                  Tim Gigliotti
                  14 Hawthorne Road
                  Bradford, PA 16701


                  Tim Gilbert
                  204 Cross Valley Rd
                  surgoinsville, TN 37873


                  Tim Gilzow
                  1320 Vista Campo
                  Jefferson City, MO 65109


                  Tim Glazier
                  5238 Webster RD
                  Flint, MI 48504


                  Tim Golen
                  6570 Hunters Creek Road
                  Imlay City, MI 48444


                  Tim Gordon
                  4300 brown road
                  Croswell, MI 48422


                  Tim Greenhouse
                  1010 Carolina Beach Avenue North
                  Carolina Beach, NC 28428


                  Tim Griffin
                  220 Westland St
                  Portland, TN 37148


                  Tim Hall
                  237 N 400 W
                  Marion, IN 46953


                  Tim Haun
                  5815 Thorngrove Pike
                  Knoxville, TN 37914


                  Tim Hedgecock
                  1 Clayton Way
                  Thomasville, NC 27360
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                  Tim Henley
                  23266 Larson Rd
                  Sycamore, IL 60178


                  Tim Hilliard
                  6814 Abercon Trail
                  Noblesville, IN 46062


                  Tim Hine
                  1766 W 5 Point Hwy
                  Charlotte, MI 48813


                  Tim Hinkle
                  2419 Overdene Ave
                  Rockford, IL 61103


                  Tim Holiday
                  6176 Hazel St
                  Taylor, MI 48180


                  Tim Holmes
                  18524 County Road 23
                  Bristol, IN 46507


                  Tim Horn
                  3147 East M 20
                  Hesperia, MI 49421


                  Tim Hostetler
                  7587 Ruff Rd
                  West Salem, OH 44287


                  Tim Howell Sr
                  218 Winthrop Street
                  Clover, SC 29710


                  Tim Hughes
                  2887 Halstead Ln
                  York, PA 17404


                  Tim Huller
                  505 West 4th Street
                  O'Fallon, IL 62269
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                  Tim Hunter
                  3093 Ohio 741
                  Franklin, OH 45005


                  tim hutchings
                  115 Long Branch Rd
                  Locust Grove, GA 30248


                  Tim Kasten
                  5808 Harvest Springs Dr
                  Greensboro, NC 27406


                  Tim Kelley
                  627 Brenton Street
                  Shippensburg, PA 17257


                  Tim Kelly
                  6058 Grove Avenue
                  Grand Blanc, MI 48439


                  Tim Kitzmiller
                  1507 W Sterns Rd
                  Temperance, MI 48182


                  Tim Knight
                  3548 Nutbush Rd
                  Victoria, VA 23974


                  Tim Laskowski
                  22875 Otter Rd
                  New Boston, MI 48164


                  Tim Lengacher
                  13060 Stellhorn Road
                  New Haven, IN 46774


                  Tim Lock
                  7554 S 1050 E
                  New Ross, IN 47968


                  Tim Lowe
                  5717 7 Gables Ave
                  Dayton, OH 45426
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Loyer
                  165 Walking Horse Lane
                  Pineville, SC 29468


                  Tim Maddy
                  8596 Sunmont Dr
                  Cincinnati, OH 45255


                  Tim Mahon
                  1845 Jackson Rd
                  Zanesville, OH 43701


                  Tim Matthews
                  5711 Bradley Ave
                  Cleveland, OH 44129


                  Tim Mattox
                  4040 Timber Trail
                  Medina, OH 44256


                  Tim Mayer
                  2770 Wilshire Avenue Southwest
                  Roanoke, VA 24015


                  tim mccune
                  901 4th Ave
                  Port Byron, IL 61275


                  Tim McGinty
                  15835 Edgecliff Ave
                  Cleveland, OH 44111


                  Tim McGrath
                  1224 Elmwood Dr
                  Amelia, OH 45102


                  Tim McNally
                  1891 Star School Rd
                  Hastings, MI 49058


                  Tim McSurley
                  2695 Penway Court
                  Lexington, KY 40517
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Miles
                  2290 Addis Rd
                  Holly, MI 48442


                  Tim Miller
                  5415 Warvel Road
                  Ansonia, OH 45303


                  Tim Moats
                  132 Tyler View Ct
                  Burlington, NC 27215


                  Tim Moore
                  10825 Grotto Road
                  Brazil, IN 47834


                  Tim New
                  184 Strayer Lane
                  Summerhill, PA 15958


                  Tim Nicoloff
                  3758 Keck Place
                  Gary, IN 46408


                  Tim Novack
                  32538 Woodbrook Dr
                  Wayne, MI 48184


                  Tim O'Brien
                  8555 Meisner Rd
                  Casio Township, MI 48064


                  Tim O'Hearn
                  128 Chickory St NE
                  Comstock Park, MI 49321


                  Tim O'malley
                  44471 80th St
                  Coloma, MI 49038


                  Tim O?Neill
                  1385 Summersweet Cir
                  Lewis Center, OH 43035
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Oberkirsch
                  1950 During Circle
                  Arnold, MO 63010


                  Tim Odell
                  1085 Curve View Road
                  Lincolnton, NC 28092


                  Tim Page
                  8505 N Shore Dr Eugene Mo.
                  Eugene, MO 65032


                  Tim Patrick
                  5951 River Rd W
                  Goochland, VA 23063


                  Tim Pennington
                  703 E Madison Ave
                  Springfield, OH 45503


                  Tim Perkins
                  1235 Concord Rd
                  Rochester Hls, MI 48309


                  Tim Phillips
                  2276 River Road
                  Otsego, MI 49078


                  Tim Pleso
                  2342 Messick S Rd
                  North Bloomfield, OH 44450


                  Tim Plotner
                  4225 Co Rd 23
                  Cardington, OH 43315


                  Tim Quantz
                  455 Clark Street
                  Cambridge, OH 43725


                  Tim R. Miller
                  3015 East Division Road
                  Knox, IN 46534
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                  Tim Randall
                  10620 Short Cut Rd
                  Cloverdale, IN 46120


                  Tim Reasoner
                  212 N High St
                  Senecaville, OH 43780


                  Tim Redmond
                  511 Amsler Ridge Road
                  Sewickley, PA 15143


                  Tim Reinsel
                  7115 Brockway Ave
                  Brookfield Township, OH 44403


                  Tim Rhodes
                  14169 Heatherwood Dr
                  Brook Park, OH 44142


                  Tim Rice
                  186 Causeway Drive
                  Franklin, PA 16323


                  Tim Riessner
                  1601 Cedar Springs Cir
                  Clarksville, TN 37042


                  Tim Rock
                  749 County Rd 42
                  Toronto, OH 43964


                  Tim Rollins
                  15 Old Hwy 56
                  Coalmont, TN 37313


                  Tim Ross
                  3641 Eckert Rd
                  Freeport, MI 49325


                  Tim Roth
                  317 Skipjack Ln
                  Cobbs Creek, VA 23035
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                  Tim Roush
                  2559 Concord Pike
                  Urbana, OH 43078


                  Tim Roush
                  305 Doc Bryant Dr
                  New Haven, WV 25265


                  Tim Rowe
                  11804 W US 36
                  St.Paris, OH 43072


                  Tim Rule
                  11328 lyons highway
                  sand creek, MI 49279


                  Tim Saunders
                  10891 Continental Rd
                  Quinton, VA 23141


                  Tim Scanlon
                  2240 Curly Maple Wynd NE
                  Leland, NC 28451


                  Tim Short
                  732 Memphis Ridge Road
                  Memphis, MI 48041


                  Tim Sikora
                  3805 Woodrow Avenue
                  Flint, MI 48506


                  Tim Skinner
                  4613 Lord Mario Ct
                  Raleigh, NC 27610


                  Tim Smith
                  27900 Zook Rd
                  Richwood, OH 43344


                  Tim Stephens
                  1676 Koons Rd
                  North Canton, OH 44720
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Striker
                  346 N Detroit St
                  Kenton, OH 43326


                  Tim Strode
                  3740 North Chester Avenue
                  Indianapolis, IN 46218


                  Tim Sweetenberg
                  7630 Wood Haven Road
                  Roanoke, VA 24019


                  Tim Swingle
                  11268 Cobbs Rd
                  Glen Allen, VA 23059


                  Tim Toma
                  1607 Sunview Rd, Cleveland, OH 44124, US
                  Cleveland, OH 44124


                  Tim Tyson
                  1414 Princeton Avenue
                  Williamsport, PA 17701


                  TIM VIERHELLER
                  5393 Austin Little Mountain Rd
                  Roaring River, NC 28669


                  Tim Vinegar
                  105 Jordan Dr
                  Richmond, KY 40475


                  Tim Vollrath
                  7732 Bridgetown Rd
                  Cincinnati, OH 45248


                  Tim Waggoner
                  8375 U.S. 231
                  Worthington, IN 47471


                  Tim Wagner
                  450 North Phillips Lane
                  East Prairie, MO 63845
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tim Walsh
                  601 Harpers Ferry
                  Savoy, IL 61874


                  Tim Ward
                  5396 Stewart Dr
                  Virginia Beach, VA 23464


                  tim weiker
                  1100 South County Road 198
                  Fremont, OH 43420


                  Tim Wheeler
                  6041 Attica Road
                  Imlay City, MI 48444


                  Tim Whitlow
                  300 Buckingham Drive
                  Mebane, NC 27302


                  Tim Wikes
                  3435 Forest Hill Ave NW
                  Roanoke, VA 24012


                  Tim Williams
                  344 John M Ward Rd
                  Lexington, NC 27295


                  Tim Willis
                  194 Langley Ln
                  Manteo, NC 27954


                  Tim Windbigler
                  4888 OH-288
                  Galion, OH 44833


                  Tim Windle
                  1684 Slack Rd
                  Saint Paris, OH 43072


                  Tim Woodruff
                  9417 Broad Meadows Rd
                  Glen Allen, VA 23060
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                  Tim/Dan Van Der Heide/Dutkiewicz
                  868 132nd Avenue
                  Wayland, MI 49348


                  Timberloch Inc
                  2203 Timberloch Place
                  Suite 112
                  The Woodlands, TX 77380


                  Timberlock, Inc.
                  2203 Timberloch Place, Ste 112
                  THE WOODLANDS, TX 77380


                  Timbreah Henderson
                  1183 Hawthorn Lane
                  Grayson, GA 30017


                  TIMMY ARMOUR
                  65 May Pop Drive
                  Winterville, GA 30683


                  Timmy Karp
                  313 Spartan Rd
                  Wilmington, NC 28405


                  timmy Stevens
                  3700 Briar Ridge Rd
                  Mount Eden, KY 40046


                  Timmy Wheeler
                  6265 McDougald Rd
                  Lillington, NC 27546


                  Timothy Baez
                  201 Northview Drive
                  Fredericksburg, VA 22405


                  Timothy Barron
                  112 Belfair Drive
                  Byron, GA 31008


                  Timothy Belcher
                  1531 Aspin St
                  Norfolk, VA 23502
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                  timothy blackburn
                  107 Gloria Avenue
                  Winston-Salem, NC 27127


                  Timothy Bland
                  17413 Holly Hill Drive
                  Cleveland, OH 44128


                  timothy bolle
                  69669 South River Road
                  White Pigeon, MI 49099


                  Timothy Bond
                  314 W Otis Ave
                  Hazel Park, MI 48030


                  Timothy Brandon
                  3096 Jack Pointer Rd
                  Semora, NC 27343


                  Timothy Brust
                  660 Deer Valley Road
                  Wurtland, KY 41144


                  Timothy Burgess
                  15255 Rider Rd
                  Burton, OH 44021


                  Timothy Burnette
                  1542 Locust Lane
                  Huntington, WV 25704


                  Timothy Buss (addition)
                  1016 Jefferson Street
                  Pekin, IL 61554


                  Timothy Butler
                  1080 Farnsworth Rd
                  Lapeer, MI 48446


                  Timothy Callahan
                  3373 W Beard Rd
                  Perry,, MI 48872
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Timothy Cameron
                  121 Quail Run Drive
                  Rocky Point, NC 28457


                  Timothy Carleton
                  35242 Silvano St
                  Clinton, MI 48035


                  Timothy Casey
                  1794 Big Moccasin Road
                  Nickelsville, VA 24271


                  Timothy Coachman
                  125 Sunflower Ln
                  Covington, GA 30016


                  Timothy Collins
                  11800 Avon Belden Rd
                  Grafton, OH 44044


                  Timothy Cooney
                  317 Lavender
                  Monroe, MI 48162


                  Timothy Corbett
                  1845 Leigh Mountain Road
                  Green Bay, VA 23942


                  Timothy Corners
                  5809 Gumtree Rd.
                  Winston-Salem, NC 27107


                  Timothy Crawley
                  7900 Upton Rd
                  Richmond, VA 23237


                  Timothy Cromer
                  275 glenfield ct
                  Cincinnati, OH 45238


                  Timothy Crowe
                  3145 US-150
                  Palmyra, IN 47164
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                  TIMOTHY Dagan
                  314 Butler Road
                  Saxonburg, PA 16056


                  Timothy Donahoo
                  76 Haywood Street
                  Spring Lake, NC 28390


                  Timothy DuBois
                  318 Brosman Road
                  Ulster, PA 18850


                  Timothy Duncan
                  1455 Bethlehem Rd E
                  Marion, OH 43302


                  Timothy Dunn
                  91 Cross Valley Rd
                  Nescopeck, PA 18635


                  TIMOTHY DUNNING
                  10312 Charlotte Hwy
                  Portland, MI 48875


                  Timothy Durocher
                  7738 Park Ave
                  Allen Park, MI 48101


                  Timothy Ebersole
                  1640 Hamilton Hills Drive
                  Chambersburg, PA 17202


                  Timothy Fidelholtz
                  3928 Webster Ave
                  Cincinnati, OH 45236


                  Timothy Finney
                  226 Beulah Avenue
                  Battle Creek, MI 49037


                  Timothy Flynn
                  11 Laurel Ln
                  Plymouth Meeting, PA 19462
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                  Timothy Flynn
                  307 Morven Park Ct NW
                  Leesburg,, VA 20176


                  Timothy Foote
                  138 E 7th St
                  Monroe, MI 48161


                  Timothy Foote
                  5230 Hopewell Road
                  New Kent, VA 23124


                  Timothy Ford
                  3216 Mexico Drive
                  Nashville, TN 37218


                  Timothy Francis
                  1122 White Oak Dr
                  Williamston, NC 27892


                  Timothy Fulmer
                  6855 Twisted Hickory Rd
                  Elizabethtown, NC 28337


                  TIMOTHY FULTZ
                  619 Fairview Street
                  Bellefonte, PA 16823


                  Timothy Gawthrop
                  6749 Floyd HWY N
                  Copper Hill, VA 24079


                  Timothy Gleason
                  834 County Road 59
                  Chesapeake, OH 45619


                  Timothy Green
                  7261 Maddock Road
                  North Ridgeville, OH 44039


                  Timothy Hall
                  7207 Kessling St
                  Davison, MI 48423
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Timothy Harrell
                  1670 W White Rd
                  Byron, GA 31008


                  Timothy Harrod
                  1223 West 6th Street
                  Anderson, IN 46016


                  Timothy Hayes
                  249 Forestroad Dr
                  Danville, VA 24540


                  Timothy Haynes
                  59141 Palmer St
                  Byesville, OH 43723


                  Timothy Hays
                  532 Short Long Run Road
                  Valley Grove, WV 26060


                  Timothy Hedgecock
                  1 Clayton Way
                  Thomasville, NC 27360


                  Timothy Hornsby
                  3957 Freeman Road
                  Bethune, SC 29009


                  timothy Hubbard
                  7190 Southern Hill Dr
                  pfafftown, NC 27040


                  Timothy Ignas
                  9513 5th Street
                  Highland, IN 46322


                  Timothy Jablonski
                  7564 West Corgan Road
                  Tamaroa, IL 62888


                  Timothy Jean
                  3181 Moran Rd
                  Birch Run, MI 48415
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                  timothy jones
                  5219 Trisha Ct
                  Imperial, MO 63052


                  Timothy Jordan
                  125 Oakwood Ave
                  Chase City, VA 23924


                  Timothy Kerbleski
                  898 South 11 Mile
                  Midland, MI 48640


                  Timothy Koehn
                  311 E Colorado Avenue
                  Bland, MO 65014


                  Timothy Koziel
                  164 meadow Creek drive
                  Hubert, NC 28539


                  Timothy Kralosky
                  3733 N US 23
                  Oscoda, MI 48738


                  Timothy Kurtz
                  6352 Edgewater Dr
                  Erie, MI 48133


                  Timothy L Paris
                  777 Arch Street
                  Spring City, PA 19475


                  Timothy Larson
                  204 Blanchard Street
                  Osceola Mills, PA 16666


                  Timothy Lemmonds
                  148 Crystal Creek Court
                  Searcy, AR 72143


                  Timothy Lemons
                  38 Lone Pine Trail
                  Sanford, NC 27332
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                  Timothy Locker
                  327 N Sears St
                  Reed City, MI 49677


                  Timothy Lones
                  9627 Heron Way
                  Belle Center, OH 43310


                  Timothy Lundren
                  720 Dogwood Avenue Northeast
                  Ada, MI 49301


                  Timothy McCauley
                  491 Pitts Chapel Road
                  Macon, GA 31217


                  Timothy Mccrickard
                  684 Boyd Rd
                  Reidsville, NC 27320


                  Timothy Mesch
                  109 W Young St
                  Hanna, IN 46340


                  Timothy Miezwa
                  9215 Elliots Run Road
                  Three Springs, PA 17264


                  Timothy Miller
                  1769 East Jack Jouett Road
                  Louisa, VA 23093


                  Timothy Moore
                  114 East Ray Street
                  Kentland, IN 47951


                  Timothy Moore
                  260 Southwood Ave
                  Columbus, OH 43207


                  Timothy Morgan
                  624 Ravenna Road
                  Streetsboro, OH 44241
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                  Timothy Myers
                  365 Bendersville Wenksville Rd
                  Aspers, PA 17304


                  Timothy Myers
                  7365 Deer Creek Rd
                  Morrisdale, PA 16858


                  Timothy Nellis
                  1223 Old Carrollton Rd
                  Newnan, GA 30263


                  Timothy O?Neil
                  435 East Walnut Street
                  Roselle, IL 60172


                  Timothy Paugh
                  10439 Watkins Road Southwest
                  Pataskala, OH 43062


                  Timothy Potter
                  34927 W 359th St
                  Osawatomie, KS 66064


                  Timothy Powell
                  4278 Belfield Road
                  Freeman, VA 23856


                  Timothy Pritchett
                  6404 N 800 W
                  Delphi, IN 46923


                  Timothy Reitz
                  1133 Mill Creek Loop
                  Leland, NC 28451


                  Timothy Rice
                  2301 East Riverside Drive
                  Indianapolis, IN 46208


                  Timothy Rich
                  574 Palmerston Drive
                  Cincinnati, OH 45238
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                  Timothy Riker
                  1405 Larrys drive
                  Jackson, MI 49203


                  Timothy Risch
                  2125 W Howard Rd
                  Beaverton, MI 48612


                  Timothy Roberson
                  56 Pennyland Dr
                  Angier, NC 27501


                  Timothy Robinson
                  251 Saddle Ridge Road
                  Currie, NC 28435


                  Timothy Rodgers
                  10906 Appletree Lane
                  Hopewell, VA 23860


                  Timothy Rogers
                  1310 Hillsboro Road
                  Festus, MO 63028


                  Timothy Sager
                  845 Marvin St
                  South Beloit, IL 61080


                  Timothy Savonne
                  1609 Mitchell Lake Rd.
                  Attica, MI 48412


                  Timothy Scaife
                  3150 Jerusalem Road
                  Vermilion, OH 44089


                  Timothy Scott
                  17444 philomene blvd
                  Allen Park, MI 48101


                  Timothy Sexton
                  6864 Morningstar Drive
                  Morgantown, IN 46160
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Timothy Shackelford
                  4502 Greentree Road
                  Wilmington, NC 28405


                  Timothy Shelley
                  125 J Drive South
                  Macon, GA 31216


                  Timothy Shockley
                  5601 Howard Family Road
                  Pink Hill, NC 28572


                  Timothy Slocum
                  111 Chaussee Boulevard
                  Summerville, SC 29483


                  Timothy Snack
                  530 Southridge Drive
                  Bedford, IN 47421


                  Timothy Sorge
                  6785 Kruse Road
                  Petersburg, MI 49270


                  Timothy Suwarsky
                  504 Defiance St
                  Howe, IN 46746


                  Timothy Sykes
                  1339 Lawson Cir
                  Suffolk, VA 23434


                  Timothy Tevis
                  1259 Mill Creek Rd
                  Flint, MI 48532


                  Timothy Tew
                  701 Red Hill Church Rd
                  Clinton, NC 28328


                  Timothy Tooley
                  737 Pleasant Shade Hwy
                  Pleasant Shade, TN 37145
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                  Timothy Toutant
                  22000 Avalon Street
                  St. Clair Shores, MI 48080


                  Timothy Troxell
                  1330 Winding Way
                  Anderson, IN 46011


                  Timothy Vega
                  3011 High Vista Walk
                  Woodstock, GA 30189


                  Timothy Vermillion
                  2065 County Road 103
                  Belle Center, OH 43310


                  timothy waldron
                  130 Pleasant Ave
                  McMurray, PA 15317


                  Timothy Watts
                  202 Meadows Drive
                  Forest, VA 24551


                  Timothy webb
                  1875 Morrison Road
                  Fremont, OH 43420


                  Timothy Weidner
                  100 Karrington Blvd
                  Mooresville, IN 46158


                  Timothy Wertz
                  1111 Glenwood St SW
                  North Canton, OH 44720


                  Timothy Williams
                  138 Tactical Dr
                  Bunnlevel, NC 28323


                  Timothy Williams
                  1113 Bethel-New Richmond Road
                  Amelia, OH 45157
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                  Timothy Williams
                  1885 Escallonia Drive
                  Sumter, SC 29154


                  Timothy Wiza
                  288 Ideal St
                  Milan,, MI 48160


                  Timothy Wright
                  445 South Sheridan Avenue
                  Indianapolis, IN 46219


                  Timothy Wynne
                  155 Chevy Ln
                  Louisburg, NC 27549


                  Timothy Zeeman
                  3453 Timberview Trail
                  Lapeer, MI 48446


                  Timothy Zontek
                  218 Ray Weyandt Rd
                  Greensburg, PA 15601


                  Tina Albright
                  135 Wheaton Drive
                  Richlands, NC 28574


                  Tina Barron
                  6971 Glynn Mill Farm Dr
                  Fayetteville, NC 28306


                  Tina Barton
                  10641 Mulliken Rd
                  Mulliken, MI 48861


                  Tina Bower
                  5380 North County Road 700 West
                  Scipio, IN 47273


                  Tina Cary
                  647 E fairway lake dr
                  alvin, TX 77511
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                  Tina Coleman-Dodd
                  19819 Redwood Manor Ln
                  Cypress, TX 77433


                  Tina Collins
                  3802 Danube Drive
                  Groveport, OH 43125


                  Tina Coombs-Hernandez
                  4502 Cardinal Drive
                  Bay City, TX 77414


                  Tina Copeland
                  5716 East Skinner Road
                  Stillman Valley, IL 61084


                  Tina Cox
                  785 South Home Avenue
                  Franklin, IN 46131


                  Tina Cummings
                  801 North Main Street
                  Nappanee, IN 46550


                  Tina Custer
                  501 17th St
                  Grottoes, VA 24441


                  Tina Dabrovolskis
                  129 Gainey Drive
                  Goldsboro, NC 27530


                  Tina Davis
                  11290 Hoffman Road
                  Maybee, MI 48159


                  Tina Duncan
                  19132 Farm to Market Rd 1818
                  Huntington, TX 75949


                  Tina Fawbush
                  114 S Myra St
                  Worthington, IN 47471
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tina Fisher
                  211 Gold Leaf Drive
                  Hampstead,, NC 28443


                  Tina Flook
                  658 benson rd
                  Waterford, PA 16441


                  Tina Gardner
                  119 Sycamore Avenue West
                  Big Stone Gap, VA 24219


                  Tina Gordon
                  5386 Spring Road
                  Shermans Dale, PA 17090


                  Tina Harmon
                  1374 Beechnut Dr
                  Akron, OH 44312


                  Tina Hartranft
                  124 North Washington Street
                  Orwigsburg, PA 17961


                  Tina Johnson
                  26449 Birchcrest Dr
                  New Baltimore, MI 48051


                  Tina Kisor
                  5313 Wendt Rd
                  Hope, MI 48628


                  Tina Lowery
                  1529 Liscum Dr,
                  Dayton, OH 45417


                  Tina Meinhardt
                  3012 Willow Bend Dr
                  Saint Charles, MO 63303


                  Tina Mills
                  17782 18 Mile Rd
                  Le Roy, MI 49655
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tina Motley
                  9108 Crystalwood Ln
                  Richmond, VA 23294


                  Tina Osterwisch
                  4233 Manor Crest Drive
                  House Springs, MO 63051


                  Tina Parker
                  6919 Studebaker Ln
                  Indianapolis, IN 46214


                  Tina Reed
                  195 Poplar Dr
                  Blue Ridge, VA 24064


                  Tina Rhodes
                  1294 Rhodes Loop
                  Madison, NC 27025


                  Tina Rullo
                  34 Court Ave
                  Monessen, PA 15062


                  Tina Schaeffer
                  6777 sidley rd
                  Thompson, OH 44086


                  Tina Singleton
                  2550 White Fern Road
                  Beech Bluff, TN 38313


                  Tina Snider
                  1424 Lakewood Avenue
                  Lima, OH 45805


                  Tina SONEN
                  3709 Francis Trail
                  Gainesville, GA 30506


                  Tina Vancil
                  500 Bartruff Road
                  Anna, IL 62906
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                  Tina Vanscoy
                  3108 St Rt 303
                  Mantua, OH 44255


                  Tina Viviano Cornell
                  878 Beaver Dam Road
                  Friedens, PA 15541


                  Tina Walter
                  126 School House Lane
                  Turbotville, PA 17772


                  TINA WHEELER
                  136 N Rd
                  Dushore, PA 18614


                  Tina Willis
                  28 Newark Avenue
                  Goose Creek, SC 29445


                  Tina Wise
                  835 Locust Avenue
                  Manchester, PA 17345


                  Tina Young
                  7043 IN-1
                  Spencerville, IN 46788


                  Tino Largura
                  9608 Randolph Street
                  Crown Point, IN 46307


                  Tiquay harrington
                  308 Wishaw Ct
                  Hope Mills, NC 28348


                  Tisha Appelgreen
                  7717 Blue Lagoon Dr
                  Lansing, MI 48917


                  Tito de Leon
                  2619 Groesbeck Avenue
                  Lansing, MI 48912
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Titus Achumbui
                  16655 Dunlin Dr
                  Conroe, TX 77384


                  Titus Zimmermann
                  7013 Weymouth Ln
                  Fort Wayne, IN 46835


                  Tj Barker
                  604 Hamilton corners rd , Titusville pa
                  Titusville, PA 16354


                  TJ Kelley
                  670 U.S. 29
                  Danielsville, GA 30633


                  Tj Lee
                  29 Mardell Cir
                  Asheville, NC 28806


                  Tj Richardson
                  10 Fall Ridge Drive
                  Stuarts Draft, VA 24477


                  TJ Smith
                  979 Dale Drive
                  Wooster, OH 44691


                  Toan Nguyen
                  12119 Paper Birch Ln
                  Gainesville, VA 20155


                  Tobias Philbin
                  6 Coe Place
                  Lexington, VA 24450


                  Tobijah Griffin
                  4033 Long Point Blvd
                  Portsmouth, VA 23703


                  Toby Gerez
                  10166 Knowlton Rd
                  Garrettsville, OH 44231
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Toby Heffner
                  5012 Paddy Field Way
                  Lincolnville, SC 29485


                  Toby Jones
                  13280 52nd St SE
                  Lowell, MI 49331


                  Toby Knotts
                  201 North Main Street
                  Knox, IN 46534


                  Toby Pruitt
                  694 Paige Drive
                  Beaufort, SC 29906


                  Toby Short
                  117 Oak Summit Drive
                  Pikeville, NC 27863


                  Toby Soliday
                  4145 Timberlake Rd
                  Johnson City, TN 37601


                  Toby Stickney
                  10393 Farmer Mark Rd
                  Mark Center,, OH 43536


                  toby Uk
                  265 Robinson Way
                  Batavia, IL 60510


                  Tod Bowman
                  33318 King William Road
                  West Point, VA 23181


                  Tod Skylark
                  2736 Skylark Road
                  Springfield, OH 45502


                  Todd Aiken
                  113 Royce Street
                  Greeneville, TN 37743
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Akers
                  5499 Laurel Fork Road
                  Rocky Gap, VA 24366


                  Todd Ausmus
                  2428 Glenda Drive
                  Monroe, MI 48162


                  Todd Bakeman
                  205 Cardinal Drive
                  Taylors, SC 29687


                  Todd Beckman
                  3230 Resaca Lafayette Road Northwest
                  Sugar Valley, GA 30746


                  Todd Belanger
                  12438 Evline Dr
                  Romeo, MI 48065


                  Todd Bierema
                  1150 East U Avenue
                  Vicksburg, MI 49097


                  Todd Brandewie
                  4425 Wing View Ln
                  Dayton, OH 45429


                  Todd Brazell
                  573 Barnes Moody Drive
                  Saluda, SC 29138


                  Todd Bruner
                  2766 Ohio 121
                  Greenville, OH 45331


                  Todd Burnette
                  24 Knotwood Lane
                  Pond Gap, WV 25160


                  TODD CANNADAY
                  2421 Riverside Dr
                  Independence, VA 24348
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Carman
                  3794 Shoemaker Road
                  Almont, MI 48003


                  Todd Carnaghi
                  1051 Aspen Road
                  Stafford, VA 22554


                  Todd Chase
                  1809 Holly Ridge Road
                  Kinston, NC 28504


                  TODD CLAGG
                  4754 Sherwood Drive
                  Ashland, KY 41101


                  Todd Coen
                  3783 Louisiana Road
                  Ottawa, KS 66067


                  Todd Conard
                  532 Crossview Lane
                  Durham,, NC 27703


                  Todd Cook
                  11342 State Highway D
                  Oak Ridge, MO 63769


                  Todd Cooley
                  9 16th St
                  Charleston, IL 61920


                  Todd Creech
                  510 Vance Street
                  Paris, IL 61944


                  Todd Driskell
                  22264 Shane Drive
                  Macomb, MI 48042


                  Todd Duncan
                  11508 Oak Hollow Dr
                  Chardon,, OH 44024
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Eveler
                  102 South College Street
                  Myerstown, PA 17067


                  Todd Ferring
                  567 Douglas Dr
                  Ellerslie, GA 31807


                  Todd Fillman
                  3700 Stone Creek Road Southwest
                  Stone Creek, OH 43840


                  Todd Flanner
                  224 Reimer Dr
                  Ionia, MI 48846


                  Todd Follen
                  540 North Brady Street
                  Corunna, MI 48817


                  Todd G Archambault
                  1118 37th Street Northwest
                  Canton, OH 44709


                  Todd Gebke
                  1924 Galway Drive
                  Belleville, IL 62221


                  Todd Gibbs
                  110 W Jose Rd
                  Twining, MI 48766


                  Todd Gosling
                  5776 Knob Lick Tower Road
                  Farmington, MO 63640


                  Todd Greeson
                  3285 Thomas Arlendo Dr.
                  Burlington, NC 27215


                  Todd Herriman
                  27789 Township Road 171
                  Fresno, OH 43824
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Hinnershitz
                  124 Memorial Highway
                  Fleetwood, PA 19522


                  Todd Horton
                  1765 Laura Lane
                  Lenoir, NC 28645


                  Todd House
                  1801 S Fordney Rd
                  Hemlock,, MI 48626


                  Todd Howell
                  933 South Sarasota Drive
                  Yorktown, IN 47396


                  Todd Irvine
                  108 Lillie Lane
                  Maysville, GA 30558


                  Todd Jean
                  2151 Chapel Creek Road
                  Chillicothe, OH 45601


                  Todd Johnson
                  1235 Demaree Road
                  Greenwood, IN 46143


                  Todd Kepley
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                  Prince George, VA 23875


                  Todd Kernicki
                  304 Wedgewood Road
                  Franklin, NC 28734


                  Todd Knoop
                  5460 Ivan Road
                  Saranac, MI 48881


                  Todd Langdon
                  4235 Misty Meadows Dr.
                  Saranac, MI 48881
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Lewis
                  127 Collindale Ave SW
                  Grand Rapids,, MI 49534


                  Todd Ludlum
                  365 Glenwood Court
                  Algonquin, IL 60102


                  Todd Maki
                  8190 Knickerbocker Pl
                  Saint John, IN 46373


                  Todd McCurdy
                  151 Lamay Ave
                  Ypsilanti, MI 48198


                  Todd Mcgaha
                  651 Rufus Ridge
                  Franklin, NC 28734


                  Todd McLean
                  4785 East 32 Road
                  Cadillac, MI 49601


                  Todd Meacham
                  341 Dartt Settlement Road
                  Wellsboro, PA 16901


                  Todd Montgomery
                  803 Brookhaven Dr
                  Seymour,, IN 47274


                  Todd Moore
                  14350 Smart-Cole Rd
                  Ostrander, OH 43061


                  Todd Moore
                  1344 Moorefield Rd
                  Springfield, OH 45503


                  Todd Morris
                  2570 Vickers Road
                  Marietta, OH 45750
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Mull
                  1107 Crooked River Dr
                  WAXHAW, NC 28173


                  Todd Murray
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                  Grove City, OH 43123


                  Todd Niermeyer
                  68718 N Terrace Dr
                  White Pigeon, MI 49099


                  Todd Papoi
                  2704 Burbank Avenue
                  Youngstown, OH 44509


                  Todd Parrett
                  273 Little Theatre Road
                  Waverly, OH 45690


                  Todd Petty
                  420 Indian Trail
                  Columbiaville, MI 48421


                  Todd Poole
                  17587 East Liberty Road
                  Mount Vernon, IL 62864


                  Todd Prayner
                  169 White Horse Drive
                  Shawboro, NC 27973


                  Todd Przytula
                  7908 Sigler RD
                  South Rockwood, MI 48179


                  Todd Sample
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                  Sterling Heights, MI 48313


                  Todd Sergent
                  240 Neely Road
                  Fayetteville, GA 30214
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Smith
                  2280 Ferry Rd.
                  Mooresboro, NC 28114


                  Todd Temple
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                  Raleigh, NC 27603


                  Todd Terrill
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                  Crown Point, IN 46307


                  Todd Trout
                  8807 Seney Dr
                  Dimondale, MI 48821


                  Todd Tucker
                  7566 Bald Eagle Drive
                  Warrenton,, VA 20187


                  Todd Tupper
                  1852 Midscott Rd
                  Murrayville, IL 62668


                  Todd Tyler
                  2540 North 900 West
                  Shipshewana, IN 46565


                  Todd Vincent
                  6290 Parsons Rd
                  Concord, MI 49237


                  Todd Weatherhead
                  803 W Franklin St
                  Winchester, IN 47394


                  Todd Werley
                  386 Pine Road
                  Hamburg, PA 19526


                  Todd West
                  305 South 5th Street
                  Oregon, IL 61061
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Todd Westcott
                  5453 Oak Crest Drive
                  Imperial, MO 63052


                  Todd Whitaker
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                  Martinsville, IN 46151


                  Todd Wolfrum
                  9712 Ringwald Rd
                  Middle Point, OH 45863


                  Todd Yeager
                  50065 Circle Dr
                  Dowagiac, MI 49047


                  Todd Yerger
                  100 Big Buck Circle
                  Hunt, TX 78024


                  Tom Bacon
                  7720 North Dixie Highway
                  Berlin, MI 48166


                  Tom Baragry
                  3414 Warren Ravenna Road
                  Newton Falls, OH 44444


                  Tom Beck
                  1036 W Lakeshore Dr
                  Kelleys Island, OH 43438


                  Tom Becker
                  1839 East Calvert Street
                  South Bend, IN 46613


                  Tom Beeler
                  367 Collins Rd
                  Ellwood City, PA 16117


                  Tom Belcher
                  10643 Urbana Woodstock Pike
                  Woodstock, OH 43084
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Besinger
                  1490 State Route 29 NE
                  London, OH 43140


                  Tom Blackmon
                  444 Willow Creek Drive
                  Farmington, MO 63640


                  Tom Brasse
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                  Columbia Station, OH 44028


                  Tom Braud
                  1216 Wrightwood Street
                  Houston, TX 77009


                  Tom Brennan
                  22916 Harvey Rd
                  Titusville, PA 16354


                  Tom Bridges
                  905 South 17th Street
                  Murphysboro, IL 62966


                  Tom Bunfill
                  65030 Pisgah Rd
                  Quaker City, OH 43773


                  Tom Burnap
                  635 Hilltonia Avenue
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                  Tom Carlson
                  1039 Marla Ave
                  Logan, OH 43138


                  Tom Carroll
                  17434 Parsons Rd
                  Bumpass,, VA 23024


                  Tom Carter
                  1007 Mustang Center
                  Swansea, IL 62226
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Chapman
                  11428 Westwind Drive
                  Orange, VA 22960


                  Tom Chuey
                  17523 Brody ave
                  Allen Park, MI 48101


                  Tom Clasgens
                  1757 Steward Harbough Rd
                  Williamsburg, OH 45176


                  Tom Cochran
                  1470 S 750 W
                  Angola, IN 46703


                  Tom Connelly
                  10 Rainbarrel Court
                  O'Fallon, MO 63368


                  Tom Davis
                  257 Jackson Avenue
                  Bradford, PA 16701


                  Tom Davis
                  162 Hall Farm Drive
                  Heathsville, VA 22473


                  TOM DEMARTINI
                  915 Logan Road
                  Tarentum, PA 15044


                  Tom Dillon
                  1141 Dillon Draw Road
                  Goodview, VA 24095


                  Tom Doyle
                  322 Camden West Elkton Road
                  Camden, OH 45311


                  Tom Eagens
                  301 Beech Bluff Dr
                  Mt Holly, NC 28120
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                  Tom Esterline
                  3211 Doty Road
                  Osseo, MI 49266


                  Tom Fadden
                  2201 Evans Avenue
                  Valparaiso, IN 46383


                  Tom Frey
                  215 W Logan St
                  Harrisburg, IL 62946


                  Tom Frontera
                  24921 Rosalind Ave
                  Eastpointe, MI 48021


                  Tom Garlick
                  377 Elio
                  Highland, MI 48357


                  Tom Gay
                  5875 sunningdale lane
                  Hope Mills, NC 28348


                  Tom Gehring
                  1208 Tomah Dr, Mt Pleasant, MI 48858, US
                  Mt Pleasant, MI 48858


                  Tom Groot
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                  Tom Hartzel
                  468 Triple Lakes Road
                  Sanford, NC 27332


                  Tom Harvey
                  1600 Ennis Mountain Road
                  Afton, VA 22920


                  Tom Hayes
                  8427 Sheldon Branch Pl
                  Toano, VA 23168
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Hays
                  25 Trotters Ridge
                  arcade, GA 30549


                  Tom Heun Sr.
                  9633 Echo Lane
                  Overland, MO 63114


                  Tom Hoeffliger
                  2705 Deerhaven Drive
                  Effingham, IL 62401


                  Tom Hornyak
                  234 Ideal Street
                  Milan, MI 48160


                  Tom Hoult
                  22482 N 1700th St
                  Chrisman, IL 61924


                  Tom Hunt
                  4469 S Baldwin Rd
                  Ithaca, MI 48847


                  Tom Hunt
                  266 Rockbrook Crossing Ct
                  Galloway, OH 43119


                  Tom Johnson
                  3289 Cain St NW
                  North Canton, OH 44720


                  Tom Joice
                  2014 Ona Dr
                  Vincennes, IN 47591


                  Tom Jones
                  3494 Crain Road
                  Onondaga, MI 49264


                  Tom Keenan
                  654 Senn Drive
                  Akron, OH 44319
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                  12581 De Sellem Road
                  Lisbon, OH 44432


                  Tom Kervin
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                  Filion, MI 48432


                  Tom Keyser
                  3686 Hide Away Ln
                  Highland,, MI 48357


                  Tom Knurick
                  3140 Rosemary Lane
                  Highland Charter Township, MI 48357


                  Tom Kohnle
                  2123 Antioch Church Rd
                  Taylorsville, NC 28681


                  Tom Kopp
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                  Maineville, OH 45039


                  Tom Koski
                  4060 Louise St
                  Saginaw, MI 48603


                  Tom Kreps
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                  Charlotte, NC 28214


                  Tom Kriston
                  3319 Military St
                  Port Huron, MI 48060


                  Tom Kuehnel
                  41700 Harris Road
                  Belleville, MI 48111


                  Tom Lafleur
                  4330 Oakwood Rd
                  Ortonville, MI 48462
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                  Tom Land
                  114 Morganford Place
                  Cary, NC 27518


                  Tom Lane
                  313 Middlebury Street
                  Goshen, IN 46528


                  Tom Leahy
                  3788 N 100 E
                  Bluffton, IN 46714


                  Tom Leonard
                  4015 Lahring Road
                  LINDEN, MI 48451


                  Tom Llewellyn
                  95 Lisa Circle
                  white lake, MI 48386


                  Tom McEachren
                  3612 Parker Street
                  Dearborn, MI 48124


                  Tom McGinnis
                  1666 S Stevenson Station Rd
                  Chandler, IN 47610


                  Tom McGraw
                  4901 Sir Hue Drive
                  Erie, PA 16506


                  Tom Mejeur
                  7803 45 Rd
                  Cadillac, MI 49601


                  Tom Miller
                  167 Riverbend Drive
                  Pearisburg, VA 24134


                  Tom Morrison
                  11834 Hardwick Dr
                  Fishers, IN 46038
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                  Tom Nagel
                  311 N 9 Mile Rd
                  Sanford, MI 48640


                  Tom Nantier
                  238 W Meadowland Ln
                  Sterling,, VA 20164


                  Tom Newcomb
                  129 Peterborough Dr
                  Mooresville, NC 28115


                  Tom Nickerson
                  11301 Aquilla Road
                  Chardon, OH 44024


                  Tom Nolan
                  2271 Luster Road
                  Goodlettsville, TN 37072


                  Tom Paling
                  53558 Spurry Lane
                  New Baltimore, MI 48051


                  Tom Pedersen
                  1417 East Kiber Street
                  Angleton, TX 77515


                  Tom Pologruto
                  6668 Monumental Mills Road
                  Rixeyville, VA 22737


                  Tom Pratz
                  503 Cherry Ln NE
                  Leesburg, VA 20176


                  Tom Proctor
                  1618 Wolf Rd
                  West Alexander, OH 45381


                  Tom Randolph
                  433 Birch Street
                  Hazard, KY 41701
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                  Tom Rineer
                  205 Mill Street
                  Duncannon, PA 17020


                  Tom Rodgers
                  3512 Frank Broome Road
                  Monroe, NC 28112


                  Tom Rosplochowski
                  19845 Wasson Road
                  Gregory, MI 48137


                  Tom Ruhl
                  51741 Big Creek Lane
                  Hannibal, MO 63401


                  Tom Saywell
                  9036 Christian Light Rd
                  Fuquay Varina, NC 27526


                  Tom Schmidt
                  377 Old Main St
                  Conneaut, OH 44030


                  Tom Schneider
                  5216 S Vickeryville Rd
                  Sheridan, MI 48884


                  Tom Schulze
                  1653 Clover 4 Road
                  New Bremen, OH 45869


                  Tom Scoggin
                  7687 Opal Rd
                  Warrenton, VA 20186


                  Tom scott Scott
                  7100 Holverson Road
                  Carsonville, MI 48419


                  Tom Shoemaker
                  1489 Macedonia Road
                  Newnan, GA 30263
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Simmons
                  50 Conrad Rd
                  Standish, MI 48658


                  Tom Skinner
                  10659 Township Road 506
                  Shreve, OH 44654


                  Tom Smith
                  4438 Niagara Street
                  Wayne, MI 48184


                  Tom Smith
                  12 Old Plank Road
                  Butler, PA 16001


                  Tom Sorenson
                  715 Chestnut Street
                  Conneaut, OH 44030


                  Tom Spooner
                  6460 Steele Rd
                  Eaton Rapids, MI 48827


                  Tom Staley
                  212 Gunder Court
                  Rochester Hills, MI 48309


                  Tom Steinbauer
                  13674 W Center St
                  Burton, OH 44021


                  Tom Sterkenburg
                  7869 17 Mile Rd NE
                  Cedar Springs, MI 49319


                  Tom Stricklan
                  3311 Terrier Ln
                  Louisville, KY 40218


                  Tom Sullivan
                  2436 Hunting Horn Way
                  Virgina Beach, VA 23456
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Thacker
                  11236 North Pheasant Run
                  Fairland, IN 46126


                  Tom Thacker
                  161 Faubus Street
                  Galena, MO 65656


                  Tom Ussery
                  6837 Webster Rd
                  Imlay City,, MI 48444


                  Tom Veith
                  7276 Plattsburg Road
                  South Charleston, OH 45368


                  Tom Watson Jr.
                  1425 N Latson Road
                  Howell, MI 48843


                  Tom Wdowiak
                  46090 Warren Rd
                  Canton, MI 48187


                  Tom Wetzel
                  245 South Hurd Road
                  Brandon Township, MI 48371


                  Tom Whatley
                  104 Ridgepath Lane
                  Hubert, NC 28539


                  Tom White
                  57730 Hodges Rd
                  Colon, MI 49040


                  tom white
                  36243 clayton rd
                  zuni, VA 23898


                  Tom Williams
                  37 Park Place
                  Batesville, IN 47006
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tom Willis
                  611 Holly Ct
                  Addison, IL 60101


                  tom Winkleman
                  4304 Heiss Road
                  Maybee, MI 48162


                  Tom Wolfgang
                  21191 Tamarack Road
                  Howard City, MI 49329


                  Tom Worthington
                  22024 Waubascon Road
                  Battle Creek, MI 49017


                  Tom Yee
                  3342 Skycloud Dr,
                  East Stroudsburg, PA 18302


                  Tomas Garcia
                  1553 Schilling Avenue
                  Chicago Heights, IL 60411


                  Tomas Grza
                  206 East 17th Street
                  Larned, KS 67550


                  Tomas Kalin
                  1025 Roosevelt Dr
                  Silsbee, TX 77656


                  Tomas Oquendo Martinez
                  6419 Farmstead Drive
                  Charlotte, NC 28227


                  TOMESHA WASHINGTON
                  104 Amber Stone Court
                  Jacksonville, NC 28546


                  Tommie Sykes
                  1627 Holiday Lane
                  Portage, MI 49024
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                  Tommie Valentine
                  243 Stockbridge Drive
                  Spartanburg, SC 29301


                  Tommy Beskins
                  367 Pleasant Valley Road
                  Cedar Bluff, VA 24609


                  Tommy bethea
                  360 Eugene St
                  Sumter, SC 29153


                  Tommy Cannon
                  105 Nature Drive
                  Hendersonville, NC 28792


                  Tommy Capps
                  406 North Van Buren Street
                  Versailles, MO 65084


                  Tommy Coil
                  109 East 1000 North
                  Fortville, IN 46040


                  Tommy Duncan
                  5383 Siler City Snow Camp Rd
                  Siler City, NC 27344


                  Tommy Hampton
                  4043 Long Point Blvd
                  Portsmouth, VA 23703


                  Tommy Holbrook
                  3474 Brush Rd
                  Lewisburg, WV 24901


                  Tommy Jacobs
                  1906 Old Iron Road
                  Hopewell, VA 23860


                  Tommy Lema
                  2179 County Road 950 East
                  Carmi, IL 62821
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                  Tommy Maddox
                  PO BOX 3881
                  Morganton, NC 28680


                  Tommy Maple
                  29117 Lark Street
                  Elkhart, IN 46514


                  Tommy Martin
                  323 Dade Dr
                  Nashville, TN 37211


                  Tommy Maxwell
                  4926 Guilford Avenue
                  Indianapolis, IN 46205


                  Tommy Mitchell
                  3609 Lake Vista Dr
                  Chattanooga, TN 37416


                  Tommy Moser Jr.
                  3448 Winters Road
                  Jonesville, NC 28642


                  Tommy Poston
                  1456 Dundee Road
                  Huddleston, VA 24104


                  Tommy Ratton
                  2004 Ransom Place
                  Nashville, TN 37217


                  Tommy Rosa
                  4806 Ivy Brook Dr
                  Fort Wayne, IN 46835


                  Tommy Ross
                  162 Salma Road
                  Kingston, TN 37763


                  Tommy Shafer
                  2778 Paris Mountain Rd,
                  Elliston, VA 24087
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                  Tommy Showalter
                  28 Muscadine Drive
                  Sautee Nacoochee, GA 30571


                  Tommy Vaughn
                  212 Willow Run Drive
                  Butler, PA 16001


                  Tommy Werkema
                  1768 Briarlane Street
                  Dorr, MI 49323


                  Tommy Wheat
                  6515 Belroi Road
                  Gloucester, VA 23061


                  Tommy Woolley
                  32423 Tall Oaks Way
                  Magnolia, TX 77354


                  Tomorse McNeill
                  129 Kasdon Dr
                  Garner, NC 27529


                  Tonda Allen
                  1679 US-23
                  Waverly, OH 45690


                  Toney Stewart
                  3798 Shady Brook Dr
                  Franklinville, NC 27248


                  Toni Broyan
                  2377 White Deer Pike
                  New Columbia, PA 17856


                  Toni Corletti
                  427 Beatty Road
                  Monroeville, PA 15146


                  Toni Gessner
                  622 Hartsell Ln
                  Jackson Springs, NC 27281
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                  Toni Oliver
                  857 West Burnside
                  Fostoria, MI 48435


                  Toni Page
                  6340 niblick rd
                  Grifton, NC 28530


                  Toni Rome
                  149 Cranberry Ridge Drive
                  Milford, PA 18337


                  toni sweeney
                  917 West Long Avenue
                  DuBois, PA 15801


                  Toni Warrick
                  23543 Gillis Rd
                  Laurel Hill, NC 28351


                  Tonia Cole
                  4302 Siden Circle Northwest
                  Roanoke, VA 24017


                  Tonie Nesbitt
                  6411 Van Buren Avenue
                  Hammond, IN 46324


                  Tonisha Stalnaker
                  6 Shirley Dr
                  Hampton,, VA 23666


                  Tony Albano
                  600 Ridgestone
                  Cincinnati, OH 45255


                  Tony Alessandro
                  45370 Old Middle ridge Rd
                  Amherst, OH 44001


                  Tony Arend
                  5648 W Township Rd 54
                  McCutchenville, OH 44844
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                  Tony Assaf
                  4325 9 Mile Rd
                  Remus, MI 49332


                  tony bigley
                  1707 Norcross Rd
                  Erie, PA 16510


                  Tony Brucke
                  3663 Crawfordville Dr
                  Augusta, GA 30909


                  Tony Cearley
                  621 Hephzibah Church Road
                  Crouse, NC 28033


                  Tony Clark
                  1133 Vestavia Lane
                  Thomaston, GA 30286


                  Tony Clark
                  136 East Queen Street
                  Jonestown, PA 17038


                  Tony Crabtree
                  20825 Peoria Loop Rd
                  Raymond, OH 43067


                  Tony Cromwell
                  10264 Waldron Road
                  Jerome, MI 49249


                  Tony Crowe
                  106 Pack Rd
                  Pelzer, SC 29669


                  Tony Czuchra
                  14473 Grafton Road
                  Carleton, MI 48117


                  Tony Dalton
                  203 Holloway Drive
                  Hillsville, VA 24343
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                  Tony Davis
                  112 Clearfield St
                  Oil City, PA 16301


                  Tony Dellinger
                  3387 Maiden Hwy
                  Lincolnton, NC 28092


                  Tony Elliot
                  32039 Gibson Hollow Road
                  Londonderry, OH 45647


                  Tony Ferderbar
                  226 Tartline Dr
                  Glenshaw, PA 15116


                  Tony Graham
                  2674 South County Road 150 West
                  Greencastle, IN 46135


                  Tony Gregory
                  1027 Mel McDaniel Rd
                  Ringgold, GA 30736


                  Tony Habath
                  3405 West 159th Court
                  Lowell, IN 46356


                  Tony Hunley
                  1096 41st St
                  Allegan, MI 49010


                  Tony Hunter
                  500 Schaefer Ave
                  Chesapeake, VA 23321


                  Tony Huskey
                  617 Napa Valley Court
                  Vine Grove, KY 40175


                  Tony Jackson
                  461 Hawk Road
                  Sanford, NC 27330
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tony Johnson
                  5500 Czekuc Trail
                  Fruitport, MI 49415


                  Tony Keller
                  109 Daniel Smith Dr
                  Hendersonville, TN 37075


                  Tony Krasinski
                  1220 N Huron Road
                  Tawas City, MI 48763


                  Tony Laniewicz
                  1572 Azalea Dr
                  Lawrenceville, GA 30043


                  Tony Leasure
                  1054 North Main Street
                  Akron, OH 44310


                  Tony mariani
                  375 Blossom Hill Dr
                  Lancaster, PA 17601


                  Tony McCraney
                  3507 Gamble Road
                  Aiken, SC 29801


                  Tony McKinzy
                  307 Merlot Ct
                  Vine Grove, KY 40175


                  Tony McMasters
                  1089 Brady St Exd
                  Ramseur, NC 27316


                  Tony Miller
                  4721 Riggs Road
                  Oxford, OH 45056


                  Tony Miller
                  14703 Cenfield St NE
                  Alliance, OH 44601
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tony Moore
                  50960 Dequindre Road
                  Utica, MI 48317


                  Tony Morgan
                  24917 Co Rd 24
                  Coshocton, OH 43812


                  Tony Nagel
                  2661 Illinois 96
                  Ursa, IL 62376


                  Tony Nguyen
                  801 Texas Ave
                  Port Neches, TX 77651


                  Tony Padur
                  3271 Dickinson Ave
                  Cincinnati, OH 45211


                  Tony Pivato
                  6180 Lovers Lane
                  N Lawrence, OH 44666


                  Tony Reuscher
                  7419 Lincoln Ave
                  Evansville, IN 47715


                  Tony Rickli
                  628 34th St
                  Allegan, MI 49010


                  Tony Roark
                  19444 Spoon Gap Road
                  Abingdon, VA 24211


                  Tony Rose
                  10475 County Road K
                  Delta, OH 43515


                  Tony Rose
                  9831 Arlis Ln
                  Miamisburg, OH 45342
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tony Royal
                  7792 Four Leaf Dr
                  Greenville, IN 47124


                  Tony Rush
                  1928 Falling Sun Circle
                  Virginia Beach, VA 23454


                  Tony Santillo
                  127 Skyline Road Ext.
                  Hickory, NC 28601


                  Tony Scarpelli
                  706 Marshall Drive
                  Erie, PA 16505


                  Tony Schadel
                  745 Fearnot Road
                  Sacramento, PA 17968


                  Tony Schimizzi
                  852 Deborah Dr
                  Willowick,, OH 44095


                  Tony Schultz
                  1091 County Rd 1800 N
                  Taylorville, IL 62568


                  Tony Sheets
                  3256 Read Mountain Road
                  Roanoke, VA 24019


                  Tony Siders
                  5400 Watson Rd
                  Chillicothe, OH 45601


                  Tony Siegel
                  7400 West ML Avenue
                  Kalamazoo, MI 49009


                  Tony Sorsen
                  7305 East Bluewater Highway
                  Muir, MI 48860
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tony Stukes
                  1118 Urbana Road
                  Summerton, SC 29148


                  Tony Taylor
                  43 Dogwood Glen Drive
                  Aragon, GA 30104


                  Tony Walker
                  41463 80th Ave
                  Decatur, MI 49045


                  Tony Wilson
                  1379 County Road 182
                  Kitts Hill, OH 45645


                  Tony/Miranda Daniel/Barrett
                  2757 May Street
                  Springfield, OH 45505


                  Tonya Brazel
                  13532 3rd St
                  Grabill, IN 46741


                  Tonya Brooks
                  558 Cedar Gate Rd
                  Monroe, VA 24574


                  Tonya Carroll
                  694 McCoy Branch
                  Cherokee, NC 28719


                  Tonya Conrad
                  7143 Lansing Rd
                  Durand, MI 48429


                  Tonya Cornell
                  2223 Haines Road
                  Lapeer, MI 48446


                  Tonya Crenshaw
                  8903 Riverdale
                  Redford Charter Township, MI 48239
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                  Tonya Davis
                  3741 Muirfield Drive
                  Uniontown, OH 44685


                  Tonya Fox
                  906 E Club Blvd
                  Durham, NC 27704


                  Tonya Gauldin
                  302 Leviva Dr
                  Reidsville, NC 27320


                  Tonya Hall
                  769 Spring Place Smyrna Road
                  Chatsworth, GA 30705


                  Tonya Hensley
                  4620 Rainbow Lake Road
                  Campobello, SC 29322


                  Tonya Irwin
                  386 County Road 300 North
                  Kokomo, IN 46901


                  Tonya Johnson
                  185 Hammond Lake Rd
                  Cadiz, KY 42211


                  Tonya Jones
                  106 North Hickory Court
                  Portland, IN 47371


                  TONYA LAMB
                  8177 Meadow Run
                  Garrettsville, OH 44231


                  Tonya Lorenz
                  9638 Pine Circle Drive Northwest
                  Rapid City, MI 49676


                  Tonya Newsome
                  1071 Hugo Street
                  Norfolk, VA 23513
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tonya Quick
                  115 Conrad Street
                  Barberton, OH 44203


                  Tonya Rowe
                  431 E Elizabeth St
                  McPherson, KS 67460


                  Tonya Rutschilling
                  13094 Willowdell Rd
                  Versailles, OH 45380


                  Tonya Sifuentes
                  7661 S Warner Ave
                  Fremont, MI 49412


                  Tonya Steele
                  2113 Via Palma Dr.
                  North Myrtle Beach, SC 29582


                  Tonya Winstead
                  126 Shady Oak Drive
                  Central City, KY 42330


                  Tonya/Terri Sullivan/Ruiz
                  194 Hilltop Rd
                  Spring City, TN 37381


                  Tor Letterman
                  203 Bullit Run Road
                  Howard, PA 16841


                  Tori Coffee
                  5024 Streamfield Pass
                  Nashville, TN 37013


                  tori Elmore
                  4515 Ponca St.
                  Pasadena, TX 77504


                  Tori Johnson
                  30741 Northgate Drive
                  Southfield, MI 48076
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                  Tori Marotto
                  1107 N Glenwood Trail
                  Southern Pines,, NC 28387


                  Toribio Rosa
                  51 Mable Court
                  Benson, NC 27504


                  Tory Glumac
                  6733 Lorraine Street
                  Marlette, MI 48453


                  Toshia Quinton
                  3020 Reynolds Rd
                  Morristown, TN 37814


                  Toshiba Business Solutions
                  9201 J Southern Pine Blvd
                  Charlotte, NC 28273


                  Toshiba Financial Services
                  1310 Madrid St STE 100
                  Marshall, MN 56258


                  Total Access Urgent Care, PC
                  13861 Manchester Rd
                  Ballwin, MO 63011


                  Total Quality Logistics
                  PO Box 634558
                  Cincinnati, OH 45263-4558


                  Touch chin
                  772 Racetrack Rd
                  McDonough, GA 30252


                  Towfeeq Muhsen
                  34855 Somerset
                  Westland, MI 48186


                  Town of Fayetteville
                  P.O. Box 298
                  Fayetteville, WV 25840
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                  Township Of Napoleon (Napoleon Township)



                  Toya Syndram
                  5885 N 650 W
                  Larwill, IN 46764


                  Tracee Mosley
                  3739 Lincoln Rd
                  Hamilton, MI 49419


                  Tracey Bauman Harry
                  202 Vernedale Drive
                  Mount Vernon, OH 43050


                  Tracey Coleman
                  13647 Woosley Mt Carmel Rd
                  Cerulean, KY 42215


                  Tracey Garnett
                  1300 Waldridge Court
                  Greensboro, NC 27406


                  Tracey GONZALEZ
                  2053 Willow Ct
                  Davison, MI 48423


                  Tracey Hare
                  6836 Gilman St
                  Garden City, MI 48135


                  Tracey Hogans
                  16 West Sunrise Drive
                  Jenkins Township, PA 18640


                  Tracey Hunt
                  137 Plum Creek Road
                  Lapeer, MI 48446


                  Tracey Reber
                  1908 Steiner Road
                  Creston, OH 44217
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                  Tracey Robbins
                  2242 Michigan Rd
                  Port Huron, MI 48060


                  Tracey Southers
                  166 Stribling Cir
                  Spartanburg, SC 29301


                  Tracey Tatum
                  5949 W Weinert Rd
                  Coleman, MI 48618


                  Tracey Tiethoff
                  1200 McKay Dr
                  Jefferson City, MO 65101


                  Tracey Vinson
                  4031 barn owl lane
                  chesapeake, VA 23321


                  Tracey Waser
                  20 Sherrill Dr
                  Waynesville, NC 28786


                  Traci Chudzik
                  5820 South Ridge Road West
                  Ashtabula, OH 44004


                  Traci Daly
                  4155 Lathrop Rd
                  Berkey, OH 43504


                  Traci K Couch
                  1180 Pfeifer Drive
                  Zanesville, OH 43701


                  Traci Pietrzak
                  2386 Koylette Rd
                  Marlette, MI 48453


                  Traci Pluszczynski
                  13811 Frazho
                  Warren, MI 48089
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Traci Tate
                  1980 Rocky Ford Rd
                  Powhatan, VA 23139


                  Traciann Brennan
                  633 Milford Ave
                  Hampton, VA 23661


                  Tracie Biddinger
                  2621 Washington Rd
                  Ithaca, MI 48847


                  tracie byers
                  2102 Marydell Road
                  London, KY 40741


                  Tracie Carr
                  8150 Cork Rd
                  Bancroft, MI 48414


                  Tracie Metcalf
                  1883 Westridge Dr
                  Dyer, IN 46311


                  Tracie Smith
                  1504 Richmond St
                  Selma, VA 24474


                  Tracie Stagray Boucha
                  1579 Elizabeth Ln
                  Essexville,, MI 48732


                  Traction on Demand
                  500-2700 Production Way
                  Burnaby,BC,V5A 0C2
                  CANADA


                  Tracy Ayers
                  7237 Ainsley Street
                  Fayetteville, NC 28314


                  Tracy Bailey
                  230 Highland Drive
                  Marion, NC 28752
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                  Tracy Batchelor
                  879 Short Ridge
                  Fayteeville, NC 28303


                  Tracy Boyer
                  36 Branning St
                  Asheville, NC 28806


                  Tracy Bragg
                  22429 Airbase Road
                  Laurinburg, NC 28352


                  Tracy Brooks
                  150 9th Street Southeast
                  Cleveland, TN 37311


                  Tracy Burke
                  5045 Woodpecker Rd
                  Petersburg, VA 23803


                  Tracy Bye
                  6711 South 500 West
                  Poneto, IN 46781


                  Tracy Castellucci
                  800 West Bayton Street
                  Alliance, OH 44601


                  Tracy Christensen
                  1121 Warren Rd,
                  Erwin, NC 28339


                  Tracy David
                  2401 Listening Hill Road
                  Penhook, VA 24137


                  Tracy Drewen
                  250 Wilson Cemetery Road
                  Big Sandy, TN 38221


                  Tracy Eaton
                  10565 Tomkinson Drive
                  Scotts, MI 49088
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tracy elder
                  625 West Highland Drive
                  Howard, OH 43028


                  Tracy Farmer
                  95 Crank Road
                  Tyner, KY 40486


                  Tracy Fortney
                  4342 Lost Pavement Road
                  Parkersburg, WV 26101


                  Tracy George
                  301 Whirlaway St
                  Groesbeck, TX 76642


                  Tracy Keegan
                  4715 Carpenter Road
                  Reading, MI 49274


                  Tracy Kelly
                  826 Elmwood Rd
                  Fostoria, MI 48435


                  Tracy Labass
                  350 Sassafras Court
                  Moneta, VA 24121


                  Tracy Lambert
                  24600 Ursuline Street
                  St. Clair Shores, MI 48080


                  Tracy Lesatz
                  143 Center Street
                  Carleton, MI 48117


                  Tracy Lett
                  548 East Bemes Road
                  Crete, IL 60417


                  Tracy McCall
                  5905 Kinyon Dr
                  Brighton, MI 48116
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                  Tracy McLeod
                  3280 w Gilford rd
                  Caro, MI 48723


                  Tracy Monroe
                  5361 Collett Dr E
                  Camby, IN 46113


                  Tracy Mullens
                  145 Madison St
                  Mount Lookout, WV 26678


                  Tracy Peggy Pendergrass
                  7361 Bradford Road
                  Primm Springs, TN 38476


                  Tracy Phillips
                  261 Clairmont Cir
                  Castlewood, VA 24224


                  Tracy Plyler
                  109 Belle Oaks Dr E
                  Greenwood, SC 29646


                  Tracy Powell
                  374 Carriage Trace Lane
                  Lexington, NC 27295


                  Tracy Rainey
                  760 Guinn Street
                  Clover, SC 29710


                  Tracy Rinehart
                  7901 E State Route W,
                  Freeman, MO 64746


                  Tracy Roach
                  3553 GA-145
                  Carnesville, GA 30521


                  Tracy Robison
                  69748 County Road 137
                  Millersburg, IN 46543
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Tracy Rucker
                  3833 Sandia Place
                  Traverse City, MI 49684


                  Tracy Scott
                  9200 Shady Lane
                  Blue Rock, OH 43720


                  Tracy Smith
                  1722 s allen
                  St Clair, MI 48079


                  Tracy Summers
                  763 Southwest Highway
                  Trenton, MO 64683


                  Tracy Trickel
                  2225 Flowing Dr
                  Raleigh,, NC 27610


                  Tracy Tucker
                  14985 Namozine Road
                  Amelia Court House, VA 23002


                  Tracy Williamson
                  15066 U.S. 20 Alternate
                  Montpelier, OH 43543


                  Tran Tran
                  3115 Bentwater Place
                  Saint Charles, MO 63301


                  Travis Barnett
                  315 East Elm Street
                  Hartford City, IN 47348


                  Travis Baum
                  515 Colfax Street
                  Cadillac, MI 49601


                  Travis Beckman
                  7442 Shire Pkwy
                  Mechanicsville, VA 23111
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                  Travis Beckwith
                  6008 Dugout Terrace, Mechanicsville, VA
                  Mechanicsville, VA 23111


                  Travis Blevins
                  2299 Hickory Hill Rd
                  Waverly, VA 23890


                  Travis Book
                  55 High School Rd
                  Brevard, NC 28712


                  Travis Bostic
                  1546 W 42nd St
                  Norfolk, VA 23508


                  Travis Buchanan
                  1457 Rabbit Hop Rd
                  Spruce Pine, NC 28777


                  Travis Burch
                  330 Romaine Spring View
                  Fenton, MO 63026


                  Travis Carey
                  96 Private Dr 602
                  Ironton, OH 45638


                  Travis Carr
                  207 Lakeridge Dr
                  Stephens City, VA 22655


                  Travis Chastain
                  117 Mossland Dr
                  Clarksville, TN 37042


                  Travis Clark
                  2240 Hawcreek Ave
                  Columbus, IN 47201


                  Travis Cobb
                  5447 Lake Station Lane
                  Noblesville, IN 46062
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                  Travis Denius
                  317 S State Line Rd
                  State Line City, IN 47982


                  Travis Dietrich
                  6482 Sorby Highway
                  Addison, MI 49220


                  TRavis Edwards
                  2150 Joneswoods Rd
                  Good Hope, GA 30641


                  Travis Edwards
                  1597 Brickyard Road
                  Hillsboro, MO 63050


                  Travis Evans
                  17326 Village Breeze Dr
                  Tomball, TX 77377


                  Travis Fitch
                  1985 Chevrolet St
                  Ypsilanti, MI 48198


                  Travis Gill
                  7875 Wawasee Drive
                  Indianapolis, IN 46250


                  Travis Greene
                  11400 B Drive North
                  Ceresco, MI 49033


                  Travis Gross
                  505 Luther St
                  Mansfield, OH 44902


                  Travis Howes
                  12901 Saverton Drive
                  New London, MO 63459


                  Travis Huffman
                  12136 3 1/2 Mile Road
                  Battle Creek, MI 49015
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                  Travis Juergens
                  722 S Main St
                  Ada, OH 45810


                  Travis Kause
                  1121 Camp Drive
                  Windber, PA 15963


                  Travis Keller
                  111 Olive Street
                  Oxford, MI 48371


                  Travis Kimberlin
                  4186 Country Green Lane
                  Trenton, OH 45067


                  Travis L. Moore
                  2008 Iroquois Trail
                  Lafayette, IN 47909


                  Travis Lamb
                  257 Courtney Lane
                  Carrollton, VA 23314


                  Travis Leap
                  209 Market St.
                  Hyndman, PA 15545


                  Travis Mahley
                  7607 Oak Grove Rd
                  Ceresco, MI 49033


                  Travis Mallo
                  56678 Cowling Road
                  Three Rivers, MI 49093


                  Travis Marshall
                  303 Adirondac Way
                  Bonaire, GA 31005


                  Travis Menapace
                  1152 E Munger Rd
                  Munger, MI 48747
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                  Travis Middleton
                  900 Dunklin Bridge Road
                  Fountain Inn, SC 29644


                  Travis Morris
                  159 Westgate Dr
                  New Castle, PA 16101


                  Travis Nobbe
                  1663 W Democracy St
                  Greensburg, IN 47240


                  Travis Outland
                  3137 Douglas Rd
                  Chesapeake, VA 23322


                  Travis Seals
                  101 Hunt Ln
                  Marion, NC 28752


                  Travis Seigler
                  1535 Cannon Bottom Road
                  Belton, SC 29627


                  Travis Shively
                  15465 Gumwood Dr
                  Tippecanoe, IN 46570


                  Travis Spicer
                  9350 Paulding Street Northwest
                  Massillon, OH 44646


                  Travis Stanbro
                  19 East Frederick St
                  Corry, PA 16407


                  Travis Stapleton
                  1 Sycamore Drive
                  Clinton, IL 61727


                  Travis Taylor
                  1100 Pardue Road
                  Ashland City, TN 37015
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                  Travis Temple
                  4314 Massengille Rd
                  Whitickers, NC 27891


                  Travis Teter
                  285 North Hughes Road
                  Howell, MI 48843


                  Travis Tritipo
                  6220 Vore Ridge Road
                  Athens, OH 45701


                  Travis Wakefield
                  15690 E 1100th ave
                  Effingham, IL 62401


                  Travis Wright
                  4000 Applewood Dr
                  Monticello, IL 61856


                  Travis Young
                  702 East 5th Street
                  Mount Vernon, IN 47620


                  Travis Zollner
                  3139 Ramzi Lane
                  Auburn Hills, MI 48326


                  Trease Boyd
                  713 White Rock Gap Road
                  Covington, VA 24426


                  Trece Harrison
                  228 Blank Lane
                  Emporia, VA 23847


                  Tremayne Swanson
                  322 Rock Ridge Rd
                  Wentzville, MO 63385


                  Tremel Dunkin Sr.
                  12795 WHEATON AVE
                  PICKERINGTON, OH 43147
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                  Trennis Garber
                  3018 South Cleveland Massillon Road
                  Barberton, OH 44203


                  Trent Bridgman
                  747 North 400 East
                  Flora, IN 46929


                  Trent Campbell
                  1200 Blanton Rd
                  Sharon, SC 29742


                  Trent Coppersmith
                  110 Wiggins Rd
                  Hertford, NC 27944


                  Trent Exline
                  2815 Sugar Grove Rd SE
                  Lancaster, OH 43130


                  Trent Fellure
                  3076 White Road
                  Gallipolis, OH 45631


                  Trent Hake
                  2253 Jefferson Rd
                  Spring Grove, PA 17362


                  Trent Jones
                  4021 Hickory Lincolnton Hwy
                  Newton, NC 28658


                  Trent Kiefer
                  6920 North 368 West
                  Huntington, IN 46750


                  Trent Thomas
                  152 West Frazier Avenue
                  Liberty, NC 27298


                  Trenton Johnson
                  14565 OH-554
                  Bidwell, OH 45614
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                  Tresa Gladwell
                  220 Cedar Street
                  Harrisonburg, VA 22801


                  Tresha Tice
                  2220 Virginia Avenue
                  Joplin, MO 64804


                  Tresia Coffman
                  172 County Road 530
                  West Salem, OH 44287


                  Tressia Skinner
                  8279 North Crystal Road
                  Vestaburg, MI 48891


                  Trevor Carver
                  1430 Carver Road
                  Franklin furnace, OH 45629


                  Trevor Cook
                  8461 East Co Road 215 South
                  Greensburg, IN 47240


                  Trevor Fournier
                  15674 Co Rd 6
                  Metamora, OH 43540


                  trevor kappelman
                  556 East 4th Avenue
                  Woodhull, IL 61490


                  Trevor Mcroy
                  2757 Cedar Grove Dr
                  Belleville, IL 62221


                  Trevor Roberts
                  3115 Emery Ln
                  Metamora, MI 48455


                  Trevor Yates
                  178 Orchard Dr
                  Hanover, PA 17331
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                  Trey Adkins
                  7600 Lott Cary Rd
                  Providence Forge, VA 23140


                  Trey Davis
                  8142 Cunningham Sarles Rd
                  Borden, IN 47106


                  Triad Waste LLC
                  274 Cumnock Rd
                  Sanford, NC 27330


                  Tricia Eichhorn
                  300 Abbey Gardens Lane
                  Simpsonville, SC 29681


                  Tricia Ford
                  30 Glenmore Heights
                  Lancaster, KY 40444


                  Tricia Gauslin
                  6842 Home City Ave
                  Cincinnati,, OH 45233


                  Tricia Grams
                  3133 East 1050 South
                  Lynn, IN 47355


                  Tricia McDonald
                  509 Lakeview Road
                  Mexico, MO 65265


                  Tricia Murphy
                  558 Sherwood Downs South
                  Newark, OH 43055


                  Tricia Newsome
                  1125 Woodland Rd
                  Petersburg, VA 23805


                  Tricia Spiliotis
                  266 Big Cove Road
                  Candler, NC 28715
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                  Tricia Suiters
                  7875 Deer Dr
                  Nineveh, IN 46164


                  Trina Alvarez
                  1226 Saylors Ave
                  Moncks Corner, SC 29461


                  Trina Byerley
                  328 Cheney St
                  Imlay City, MI 48444


                  Trina Ground
                  1640 Bradmere Lane
                  Lithia Springs, GA 30122


                  Trina Hawthorne
                  1342 Craigwood Road
                  Toledo, OH 43612


                  Trina Tucker
                  1865 Newcastle Rd
                  Grosse Pointe Woods, MI 48236


                  Trina Westerman
                  103 South 3rd Street
                  Iola, KS 66749


                  Trinity Mccoy
                  824 Gage Road
                  Patriot, OH 45658


                  Tripp Williams
                  3200 Hyde Circle
                  Norfolk, VA 23513


                  Trisdon Monaghan
                  21128 State Hwy BB
                  Warsaw, MO 65355


                  Trish Jacobs
                  2718 , Britt Dr
                  Vale, NC 28168
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                  Trish Mejia
                  9386 North Vandecar Road
                  Farwell, MI 48622


                  Trish Stahly
                  610 Highland Drive
                  Cape Girardeau, MO 63701


                  Trish Utsinger
                  921 West Archer Avenue
                  Monmouth, IL 61462


                  Trisha Anderson
                  427 Kingston Drive
                  Romeoville, IL 60446


                  Trisha Carey
                  349 Carltons Corner Road
                  King and Queen Ct Hse, VA 23085


                  Trisha Strohl
                  149 Indian Hill Road
                  Lehighton, PA 18235


                  Trisha Wagner
                  867 Cupps Bridge Rd
                  Frankfort, OH 45628


                  Trisha Waters
                  7311 Avalon Drive
                  Fayetteville, NC 28303


                  Tristan Bandoni
                  3513 Alvecote Ter
                  Midlothian, VA 23112


                  Tristan Drake
                  2004 Greenbriar Rd
                  Utica, KY 42376


                  Tristan Hammon
                  23269 Candace Drive
                  Rockwood, MI 48173
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                  Tristaun LeClaire
                  6249 Mount Hermon Rock Creek Road
                  Snow Camp, NC 27349


                  Trivest Service Corporation
                  550 South Dixie Highway
                  Suite 300
                  Coral Gables, FL 33146


                  Trixy Asbury
                  183 Tilden Nursery Road, Lexington, NC 2
                  Lexington, NC 27295


                  Trocon Bestman
                  9 MacGregor Ridge Rd
                  stafford, VA 22554


                  Troi Gibbs
                  18405 Blackhawk Drive
                  Girard, IL 62640


                  Troy 500 Stephenson Investors, LLC
                  320 Martin Street
                  Ste 200
                  Birmingham, MI 48009


                  Troy 500 Stephenson Investors, LLC
                  320 Martin St, St 200
                  BIRMINGHAM, MI 48009


                  Troy Arthur
                  1505 Sutton St
                  Alexandria, IN 46001


                  Troy Baker
                  608 south main
                  Custer, MI 49405


                  Troy Black
                  4692 Abilene Rd
                  Farmville,, VA 23901


                  Troy Boothe
                  802 West Dixon Street
                  Polo, IL 61064
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                  Troy Brown
                  4 Jans Court
                  Greensboro, NC 27405


                  troy campbell
                  13555 Niagara Dr
                  Beaumont, TX 77713


                  Troy Connor
                  271 Clayton Rd
                  Princeton, NC 27569


                  Troy Coomes
                  6012 Heil Road
                  Henryville, IN 47126


                  Troy Daily
                  15324 Smokey Hollow Road
                  Traverse City, MI 49686


                  Troy Davis
                  1905 Waldron Rd
                  Pittsford, MI 49271


                  Troy Desselles
                  5700 Shelby Katherine Court
                  Greensboro, NC 27455


                  Troy Dixon
                  2015 Barnaby Drive
                  Loves Park, IL 61111


                  Troy Donovan
                  2706 North Goshen
                  Belle Rive, IL 62810


                  Troy Edick
                  2290 Glidden Rd
                  Beaverton, MI 48612


                  Troy Ellis
                  221 Nottingham Drive
                  Havelock, NC 28532
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                  Troy England
                  709 E Green St
                  Waveland,, IN 47989


                  Troy Grappin
                  2520 Shawood St
                  Novi, MI 48377


                  Troy Grayson
                  2786 North Carolina 9
                  Black Mountain, NC 28711


                  Troy Hall
                  125 Stepp rd
                  Hendersonville, NC 28793


                  Troy Hearn
                  1220 Aubuchon Street
                  Florissant, MO 63031


                  Troy Heddings
                  5351 Headens Bridge Road
                  Bedford, VA 24523


                  Troy Horton
                  7631 Phillips Woods Drive
                  Richmond, VA 23231


                  Troy Jenkins
                  3473 Saunders Road Southeast
                  Kalkaska, MI 49646


                  Troy Jenkins
                  412 Belton Place
                  Newport News, VA 23608


                  Troy Loomis Sr.
                  1871 Pleasant Valley Road
                  Streetsboro, OH 44241


                  Troy Lottman
                  809 Beaver Creek Ct
                  Chesapeaeke, VA 23322
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                  Troy Madden
                  123 Old Country Trail
                  Dallas, GA 30157


                  Troy Mann
                  8338 S Boundary Pike
                  Lynn, IN 47355


                  Troy McLean
                  311 Bailey Street
                  Greenville, SC 29609


                  Troy Mickey
                  218 Winesap Drive
                  New Paris, PA 15554


                  Troy Miller
                  304 S Broad St
                  Suffolk, VA 23434


                  Troy Mowell
                  3390 maxie Jones rd
                  Springfield, TN 37172


                  Troy Nesbit
                  7420 Muirfield Road
                  Norfolk, VA 23505


                  Troy Nichol
                  335 Arrow Lane
                  Wytheville, VA 24382


                  Troy Ortiz
                  5584 Weller Road
                  Gregory, MI 48137


                  Troy Page
                  1325 Noe Bixby Road
                  Columbus, OH 43232


                  Troy Pattillo
                  2107 N 2090 St
                  Saint Elmo, IL 62458
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                  Troy Payne
                  1018 Madron Lake Rd
                  Buchanan, MI 49107


                  Troy Peck
                  902 East 3rd Street
                  Fowler, IN 47944


                  Troy Reader
                  14616 Lee Street
                  Cedar Lake, IN 46303


                  Troy Rose
                  23003 Acacia Place
                  South Bend, IN 46628


                  TROY SACKETT
                  1621 Neff Road
                  Stanton, MI 48888


                  Troy Sing
                  405 Bertha Lane
                  Portsmouth, VA 23701


                  Troy Smith
                  6040 Allison Ave
                  Hamilton, OH 45011


                  Troy Soltesz
                  42 Main St, Orient, OH 43146, USA
                  Orient, OH 43146


                  Troy Stanley
                  3731 County Road 12
                  Proctorville, OH 45669


                  Troy Taitt
                  512 S Fairdale St
                  Royalton, IL 62983


                  Troy Treadway
                  55 Critcher Farm Ln
                  Benson, NC 27504
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                  Troy Watson
                  18250 New Jersey Drive
                  Southfield, MI 48075


                  Troy Wiseman
                  1050 Cheshire Road
                  Dongola, IL 62926


                  Troy Wolfe
                  5685 Indian trail
                  China, MI 48054


                  Trudi Simpson
                  1265 Hickorylake Dr
                  Cincinnati, OH 45233


                  Trudy Parke
                  712 North 1st Street
                  Jeannette, PA 15644


                  Trudy Vander-Irvin
                  101 W Callie St
                  Sesser, IL 62884


                  Trudy Vander-Irvin
                  101 w. Callie st
                  Sesser, IL 62884


                  Truman Allen
                  981 County Road 102
                  Fayette, MO 65248


                  Trung Bui
                  4035 Cranberry St
                  Manheim, PA 17545


                  Trung Nguyen
                  1009 South Lincoln Avenue
                  Lebanon, PA 17042


                  Trung Pham
                  1671 Telfair Chase Way
                  Lawrenceville, GA 30043
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                  Trupal Shah
                  1213 Quail Heights Drive
                  Kernersville, NC 27284


                  Tsu-ning Liu
                  706 Meeting Hall Drive
                  Morrisville, NC 27560


                  Tucker Shields
                  1825 North Coal Road
                  Colchester, IL 62326


                  Tuesday Brown
                  7409 Cambria Rd
                  Hillsdale, MI 49242


                  Tula Garris
                  3013 Ellsworth Dr
                  Greenville, NC 27834


                  Tuyen Dang
                  146 Siebert Road
                  Pittsburgh, PA 15237


                  Twumasi Evans
                  4138 Faircrest Lane
                  Roanoke, VA 24018


                  Ty Freeze
                  4461 N County Rd 33
                  tiffin, OH 44883


                  Ty Miller
                  3581 Township Road 215
                  Lewistown, OH 43333


                  Ty O'Hara
                  2111 Ohio Street
                  Quincy, IL 62301


                  Ty Whitter
                  4148 Glendale Road
                  Galax, VA 24333
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                  Tyden Henderson
                  394 S Brown Rd
                  Pigeon, MI 48755


                  Tykwuan Walker
                  209 Greenwich Cir
                  Danville, VA 24540


                  Tyler Aldridge
                  332 East McKinsey Street
                  Moberly, MO 65270


                  Tyler Anderson
                  1502 Spangler St NE
                  Canton, OH 44714


                  Tyler Benton
                  804 Crossridge Ln
                  Kernersville, NC 27284


                  Tyler Bledsoe
                  6314 IN 1
                  Saint Joe, IN 46785


                  Tyler Burlingame
                  6397 Union Avenue
                  Alliance, OH 44601


                  Tyler Campbell
                  10890 Province Rd
                  Irondale, MO 63648


                  Tyler Carlisle
                  12057 OH-637
                  Paulding, OH 45879


                  tyler deroos
                  3335 Birchwood Avenue Southwest
                  Grand Rapids, MI 49548


                  Tyler Dorris
                  2763 S 413th Rd
                  East Prairie, MO 63845
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                  Tyler Farms, LLC
                  6131 Tyler St
                  Hudsonville, MI 49426


                  Tyler Gaffke
                  15988 Imlay City Rd
                  Mussey, MI 48014


                  Tyler Grant
                  3424 North Side
                  South Bend, IN 46617


                  Tyler Greene
                  1511 Nebraska Street
                  Mound City, MO 64470


                  Tyler HAGER
                  6341 Irma Street
                  Romulus, MI 48174


                  Tyler Hegwood
                  307 Strait Court
                  Jonesville, MI 49250


                  Tyler Horn
                  8460 George Washington Memorial Highway
                  Gloucester, VA 23061


                  Tyler Horner
                  70 Sanlun Lakes Dr
                  Hampton, VA 23666


                  Tyler Koch
                  1889 River Rock Arck
                  Virginia Beach, VA 23456


                  Tyler Krugger
                  3503 Burton Ave
                  Erie,, PA 16504


                  Tyler Langoni
                  8102 Kelly Hwy
                  Vermontville, MI 49096
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                  Tyler Lewis
                  204 Riverview Drive
                  Vass, NC 28394


                  Tyler Mace
                  5752 US 221 S
                  Marion, NC 28752


                  Tyler McMahon
                  67971 Morristown Flushing Road
                  Belmont, OH 43718


                  Tyler Mead
                  33249 Rohlfs Lane
                  Niles, MI 49120


                  Tyler Meyer
                  1727 State Highway H
                  Hermann, MO 65041


                  Tyler Meyer
                  36999 West 228th Street
                  Polo, MO 64671


                  Tyler Moore
                  59 Laurel Acres Ln
                  Louisa, VA 23093


                  Tyler Nivin
                  7741 New hampshire Ave
                  Affton, MO 63123


                  Tyler norfleet
                  8642 Log Lick Road
                  Florence, IN 47020


                  Tyler Nunn
                  1103 Odessa Drive
                  Holly, MI 48442


                  Tyler Pease
                  9861 Kinley Road
                  Ovid, MI 48866
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                  Tyler Pennington
                  25 Stan Lane
                  Cedar Grove, TN 38321


                  Tyler Peters
                  617 4th Street
                  Mount Olive, IL 62069


                  Tyler Schrenk
                  98 Arlington Avenue
                  Franklin, OH 45005


                  Tyler Smith
                  1506 Lakeview Rd
                  Fairmont, NC 28340


                  Tyler Smith
                  704 Ogden Ave
                  Clearfield, PA 16830


                  Tyler Soper
                  13617 Jerusalem Plank Road
                  Waverly, VA 23890


                  Tyler Stoner
                  1575 Steele Hollow Road
                  Julian, PA 16844


                  Tyler Sullivan
                  1090 Sugartree Point
                  Cookeville, TN 38501


                  Tyler Thorp
                  4096 Ann Street
                  Saginaw, MI 48603


                  Tyler Trenton
                  243 Markey Street
                  Bellville, OH 44813


                  Tyler Wyatt
                  1149 Olive St
                  Indianapolis, IN 46203
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                  Tyler Young
                  717 Schenley Road
                  Knoxville, TN 37923


                  Tylor Bloyer
                  705 Seastone St
                  Raleigh, NC 27603


                  Tylor Howard
                  280 Gwendolyn Way
                  Fuquay-Varina, NC 27526


                  Tym Pollack
                  2394 Madonna Drive
                  Cincinnati, OH 45238


                  Tyquan Kelly
                  111 Clark Street
                  Gaston, NC 27832


                  Tyree Hook
                  6007 Shortleaf Pine Ct
                  Charlotte, NC 28215


                  Tyrina Jackson
                  2300 Brookline Avenue
                  Dayton, OH 45420


                  Tyron Generette
                  2103 Bradley Court
                  Hephzibah, GA 30815


                  Tyrone Armstrong
                  Thomas D. Pigott Pigott, LTD.
                  P.O. Box 8813
                  Toledo, OH 43623


                  Tyrone Armstrong
                  2729 116th Street
                  Toledo, OH 43611


                  Tyrone Darling
                  1100 S Warren Rd
                  Ovid, MI 48866
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                  Tyrone Green
                  6931 Chandler Dr
                  Van Buren, MI 48111


                  Tyrone Hanner
                  706 S 2nd Ave
                  Siler City, NC 27344


                  Tyrone Hilson
                  5358 Northridge DR
                  Winston -Salem, NC 27105


                  Tyrone Houston
                  142 Dekalb Avenue
                  Portsmouth, VA 23702


                  Tyrone Hull
                  2841 Bellhaven Cir
                  Charlotte, NC 28214


                  Tyrone Stevenson
                  3258 Payday Ln
                  Columbus, OH 43232


                  Tyrrick Scott
                  402 Winchester Rd
                  Jacksonville, NC 28546


                  Tyrus Lyle
                  4444 Nichols Rd
                  Battle Creek, MI 49015


                  Tysis Fletcher
                  6544 OH-790
                  Scottown, OH 45678


                  Tyson Cummins
                  926 Dewey St
                  Eldorado, IL 62930


                  Tyson Hess
                  3120 Freiberger Rd
                  Floyds Knobs, IN 47119
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                  Tyson Johnson
                  11 Terry Ct
                  Douglassville, PA 19518


                  Tyson Metheny
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                  Churubusco, IN 46723


                  Tywana Wade
                  4127 Eastland Avenue
                  Greensboro, NC 27405


                  Tzvi Koslowe
                  23075 Laurel Valley Ct
                  Southfield, MI 48034


                  U.S. Department of Labor
                  Wage and Hour Division
                  4407 Bland Road
                  Suite 260
                  Raleigh, NC 27609-6296


                  Ubaldo Garza
                  31667 Lynne Drive
                  Rockwood, MI 48173


                  Ubaldo Lopez
                  1795 Finneys Mill Terrace
                  Powhatan, VA 23139


                  UHY Advisors MI, Inc.
                  PO Box 8563
                  Carol Stream, IL 60197


                  UKACHUKWU ONYEABOR
                  224 Elder Ave
                  Yeadon, PA 19050


                  Uli Klueh
                  1986 Northlawn Blvd
                  Birmingham, MI 48009
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                  Uline
                  Attn: Accounts Receivable
                  PO BOX 88741
                  Chicago, IL 60680-1741


                  Ultra Services
                  48238 Jefferson
                  Chesterfield, MI 48047


                  Ulysses Newkirk
                  9673 Shiloh Road
                  Ivanhoe, NC 28447


                  Umesh Jayamohan
                  3611 Two Oaks Dr
                  Greensboro, NC 27410


                  Umid Norkulov
                  808 Bethany Drive
                  Pittsburgh, PA 15243


                  United Rentals
                  Branch 146
                  10524 Old Nations Ford Rd
                  Charlotte, NC 28273


                  Unitedhealthcare Insurance Company
                  Dept. Ch 10151
                  Palatine, IL 60055-0151


                  Upscale Handyman
                  31151 Lund Ave
                  Warren


                  Uriah Grove
                  11259 N 12th St
                  Beloit, OH 44609


                  US Bank
                  1555 N Rivercenter Drive Suite 300
                  Milwaukee, WI 53212


                  Usama Amer
                  2018 Burfoot St
                  Falls Church, VA 22043
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                  Usha Khadka
                  640 Country Club Road
                  Red Lion, PA 17356


                  Uwriyah Yisrahel
                  476 Holder Road
                  Temple, GA 30179


                  V Little
                  1612 Northbury Avenue
                  Richmond, VA 23231


                  V. Smith
                  722 Elizabeth Street
                  Rochester, MI 48307


                  Val Bishel
                  198 Shadow Lane
                  Rustburg, VA 24588


                  Val Hemming
                  131 Stateside Drive
                  Chapel Hill, NC 27514


                  Valarie Johnson
                  765 Jefferson Dr
                  Palmyra, VA 22963


                  Valarie Reaves
                  9328 Winston
                  Redford Charter Township, MI 48239


                  Valencia Hill
                  1619 Lexington Lake Dr
                  Columbus, GA 31907


                  Valentin Mignake
                  7602 36th Avenue
                  Moline, IL 61265


                  Valeri Stottlemire
                  7542 Canal Highlands Boulevard
                  Canal Winchester, OH 43110
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                  valerie alford
                  6099 andover Blvd
                  Garfield heights, OH 44125


                  Valerie Casto
                  95 Gala Ln
                  Ashton, WV 25503


                  Valerie DeFranco
                  8401 Pheasant Ridge Dr
                  Colfax, NC 27235


                  Valerie Harris
                  2926 Bullock Rd
                  Metamora, MI 48455


                  Valerie Hodge
                  555 Arbor Lane
                  Huntington, IN 46750


                  Valerie Irwin
                  1015 Flippin Ln
                  King, NC 27021


                  Valerie Lyons
                  27313 Forsythia Dr
                  Columbia Station, OH 44028


                  Valerie Mathews
                  2084 Adams Street
                  Gary, IN 46407


                  Valerie Murphy
                  20170 Oxley St
                  Detroit, MI 48235


                  Valerie Raiche
                  3309 Thread Needle Rd W
                  Augusta, GA 30907


                  Valerie Richardson
                  136 Poplar Way
                  Winder, GA 30680
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                  Valerie Roberts
                  1920 Logan Dr
                  Round Rock, TX 78664


                  Valerie Robertson
                  2029 Parkdale Ave
                  Toledo, OH 43607


                  Valerie Taylor
                  3417 Duncan Ave
                  Cincinnati, OH 45208


                  Valerie Thackrey
                  860 Ozark Road
                  Ozark, IL 62972


                  Valerie Underwood
                  54 Lynn Lane
                  Selma, NC 27576


                  Valerie Vales
                  9 Hillhaven Drive
                  Mills River, NC 28759


                  Valerie Ward
                  19514 OH-772
                  Waverly, OH 45690


                  Valerie Webber
                  1205 Auldridge Dr
                  Christiana, TN 37037


                  Valerie Whipple
                  11141 Tank Farm RD
                  cygnt, OH 43413


                  Valerie Wilks
                  6043 Griffin Drive
                  Ramseur, NC 27316


                  Valerie Wittkop
                  18316 Milwaukee Rd
                  Dundee, MI 48131
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                  Valette Law
                  258 Travella Blvd
                  Pittsburgh, PA 15235


                  Vallery Hill
                  189 Private Drive 3196
                  Kitts Hill, OH 45645


                  Vallie Naylor
                  1740 Autry Road
                  Lillington, NC 27546


                  Valvoline Instant Oil Change
                  100 Valvoline Way
                  PO Box 55270
                  Lexington, KY 40555


                  Van Ault
                  247 71st Street
                  Roseville, IL 61473


                  Van Baker
                  428 Spring Drive
                  Jacksonville, NC 28540


                  Van Coffey
                  213 York Dr
                  Waynesboro, VA 22980


                  Van Dillard
                  123 Pearl Moon Drive
                  Eatonton, GA 31024


                  Van Lawma
                  8102 Amarillo Dr
                  Indianapolis, IN 46237


                  Van Vieregge
                  812 Pecan St
                  Greenville, IL 62246


                  Van-Joan Coleman
                  318 North Pamplico Highway
                  Pamplico, SC 29583
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                  Vance Ayres
                  7226 Persimmon Lane
                  King George, VA 22485


                  Vance Bobbit
                  2217 Rocky Ford Road
                  Kittrell, NC 27544


                  Vance Gleton
                  17585 Muirland Street
                  Detroit, MI 48221


                  Vance Hoppe
                  213 Happy Hollow Rd
                  Hawesville, KY 42348


                  Vance Sanders
                  127 Pleasant Hill Dr
                  Franklin, NC 28734


                  Vance Teasley
                  334 Hollingshead Rd
                  Wellston, OH 45692


                  Vance Williams
                  8191 Sirron St
                  Detroit, MI 48234


                  Vance Wilmoth
                  744 N Long Lake Blvd
                  Lake Orion, MI 48362


                  Vance Wixson
                  432 Mankin St
                  Hopkins, MI 49328


                  Vanessa Alexander
                  3812 Jagalene lane
                  Raleigh, NC 27616


                  Vanessa Camons
                  370 Howard Road
                  Carrollton, GA 30116
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                  Vanessa Camperlengo
                  9721 Norwood Rd
                  Norwood, VA 24581


                  Vanessa Cherif
                  1108 Arden Trace Court
                  Fuquay Varina, NC 27526


                  Vanessa Fillop
                  111 East Lorena Avenue
                  Wood River, IL 62095


                  Vanessa Graziano
                  34 Starburst Dr
                  Hendersonville, NC 28739


                  Vanessa Gregory
                  507 Wright St
                  Wilmington, NC 28401


                  Vanessa Hayward
                  7458 Pine Bluff Road
                  Columbus, OH 43229


                  Vanessa Lopez
                  2224 Fynch St
                  Hendersonville, NC 28791


                  Vanessa Marry
                  416 Hollywood Drive
                  Saline, MI 48176


                  Vanessa Paul
                  4919 South Park Road
                  Kokomo, IN 46902


                  Vanessa Spradling
                  3965 Bunkerhill School Road
                  Claremont, NC 28610


                  Vanessa Sullivan
                  512 Gristmill Lane
                  Hampton, GA 30228
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                  Vanessa Templin
                  33231 US Highway 63
                  Vienna, MO 65582


                  Vangela Barnes
                  6780 Lehman Road
                  Canal Winchester, OH 43110


                  Vangelica Langley-Taylor
                  1410 W 38th st
                  Norfolk, VA 23508


                  Vannessa Lindsey
                  302 Seldon Drive
                  Hephzibah, GA 30815


                  Vattel Cherry
                  4204 Burch Bridge Rd
                  Burlington, NC 27217


                  Vaughn Artis
                  4229 Piedmont Farms Way
                  winston Salem, NC 27107


                  Vaughn Ruth
                  254 Gwynwood Dr
                  Mt Airy, NC 27030


                  Vector Solutions
                  4890 W Kennedy Blvd, Suite 300
                  Tampa, FL 33609


                  Veera Nemani
                  620 Vega St. NW
                  Concord, NC 28027


                  Veera Nemani ADDITION
                  620 Vega St. NW
                  Concord, NC 28027


                  VENESSA PAXTON
                  2029 Obrien Road
                  Mount Morris, MI 48458
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                  Venessa Pichon
                  21311 Bering Reach Drive
                  Cypress, TX 77433


                  Venita Chambers-Roberts
                  4702 Starboard Drive
                  South Bend, IN 46628


                  Venus Carl
                  2326 Marion View Dr
                  Harrisburg, PA 17112


                  Ver nica Mascar a
                  6880 Kuttshill Drive Northeast
                  Rockford, MI 49341


                  Vera Parker
                  18997 Elwell Rd
                  Belleville, MI 48111


                  Vera SegoviaLeyva
                  193 Josie Lane
                  Clarksville, TN 37043


                  Vera Smith
                  7217 Konlack Court
                  Wilmington, NC 28411


                  Vera Willingham
                  22 Theresa Lane
                  Louisa, VA 23093


                  Vera Wiltse
                  5580 N Chippewa Road
                  Coleman, MI 48618


                  verdell haley
                  8223 Chaske Street
                  Verona, PA 15147


                  Vergena Ogletree
                  87 West Hopson Road
                  Hogansville, GA 30230
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                  Verion Walker
                  4027 28th St
                  Detroit, MI 48210


                  Veritext Corporate Services. LLC
                  PO Box 71303
                  Chicago, IL 60694-1303


                  Verizon
                  PO Box 660108
                  Dallas, TX 75266-0108


                  Verlin Edenburn
                  1144 Chesaning Rd
                  Montrose, MI 48457


                  Verlyn Henry
                  10032 Packard Rd
                  Morenci, MI 49256


                  Vern Fields
                  162 West Miller Lake Road
                  Coldwater, MI 49036


                  Vern Haggitt
                  117 Turtle Creek
                  Troy, IL 62294


                  Verna Fudge
                  222 Miller Avenue
                  Eaton, OH 45320


                  Vernita Dixon
                  6655 Enola Avenue
                  Kalamazoo, MI 49048


                  VERNITA Muhammad
                  540 Monroe Street
                  Eden, NC 27288


                  Vernita Womack
                  5500 John Washington Rd
                  Browns Summit, NC 27214
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                  Vernon Addison
                  708 Brendon Hills Place
                  Louisville, KY 40245


                  Vernon Brant
                  3364 Justis Street
                  Virginia Beach, VA 23464


                  Vernon Cooper
                  1636 Mill Street Southwest
                  Canton, OH 44706


                  Vernon Hubbard
                  101 Edgewood Drive
                  Lynchburg, VA 24502


                  vernon j clayton
                  193 Hill Ln
                  Sneads Ferry, NC 28460


                  Vernon Lehman
                  823 E Cardinal St
                  Siler City, NC 27344


                  Vernon Love
                  6276 Grange Hall Rd
                  Holly, MI 48442


                  Vernon Radford Sr
                  3326 Dally Road
                  Covington, GA 30014


                  Vernon Radford Sr.
                  3326 Dally Road
                  Covington, GA 30014


                  Vernon Ryan
                  4305 Donna Way
                  Stonecrest, GA 30038


                  Vernon Shifflett
                  7522 Spring Creek Road
                  Bridgewater, VA 22812
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Vernon Smith
                  17209 Island View Dr
                  Cornelius, NC 28031


                  Veronica Andrews
                  115 Sherwood Drive
                  Colonial Heights, VA 23834


                  Veronica Bateman
                  130 Jeb Stuart Dr
                  Natural Bridge Station, VA 24579


                  Veronica Claud
                  703 Queensbury Lane
                  Williamsburg, VA 23185


                  Veronica Crockett
                  1727 Wheeler Mill Rd
                  Clarkson, KY 42726


                  Veronica Cruz
                  158 High St
                  Wilkes-Barre, PA 18702


                  veronica Eckert
                  6688 Valley Road
                  Newburgh, IN 47630


                  Veronica Gamache
                  5915 wickham ave
                  Newport News, VA 23605


                  Veronica Green
                  12244 Outer Dr E
                  Detroit, MI 48224


                  Veronica Hamilton
                  149 Converse Court
                  Newport News, VA 23608


                  Veronica Harrison
                  7438 Hell Neck Rd
                  Gloucester, VA 23061
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                  Veronica Harvey
                  3216 Twin Falls Ln
                  Matthews, NC 28105


                  Veronica Lewis
                  348 Red Bug Rd
                  Hallsboro, NC 28442


                  Veronica Miller
                  4410 Timber Grove Drive
                  Hope Mills, NC 28348


                  Veronica Ross
                  1119 HOLMES RD
                  Bronson, MI 49028


                  Veronica Ruffin
                  350 Allen Drive
                  Florissant, MO 63033


                  Veronica Witmer
                  111 Dove Lane
                  Sunbury, PA 17801


                  Veronique Labeille
                  405 Longwood Drive
                  Exton, PA 19341


                  Veronique Sarofeen
                  8418 Herton Cross Rd
                  Chesterfield, VA 23832


                  Vesa Kaartinen
                  3245 Cottontail Court
                  Ann Arbor, MI 48103


                  Viant US, LLC
                  2722 Michelson Dr., Ste 100
                  Irvine, CA 92612


                  Vias Williams
                  124 Knollwood Ln
                  Elizabethtown, KY 42701
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                  Vic Morris
                  2544 Franks Drive
                  Madison, IN 47250


                  Vic Sassano
                  10535 Cool Springs Road
                  Woodleaf, NC 27054


                  Vicenta Martinez
                  106 Page Drive
                  Greenville, SC 29611


                  Vicente Belmonte
                  34 Lucas Creek Rd
                  Newport News, VA 23602


                  Vicente Husena Jr
                  4537 Woods Way
                  Mechanicsburg, PA 17055


                  Vickery Smith
                  5936 Belton Highway
                  Belton, SC 29627


                  Vickey Plevinski
                  33716 Cheryl St
                  Clinton Twp, MI 48035


                  Vicki
                  64648 Michigan 62
                  Cassopolis, MI 49031


                  Vicki Burkeen
                  3960 Murray Highway
                  Hardin, KY 42048


                  Vicki Cook-Sink
                  4127 Township Rd 221
                  Huntsville, OH 43324


                  VICKI COROB
                  165 Greater Point Marion Road
                  Point Marion, PA 15474
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                  Vicki Cretors
                  927 Church Street
                  Bridgeport, IL 62417


                  Vicki Davidowitz
                  7410 Derby Street
                  Canton, MI 48187


                  Vicki Davis
                  454 N Court St
                  Circleville,, OH 43113


                  Vicki Hescht
                  749 Mary St
                  Belpre, OH 45714


                  Vicki Irsik
                  32 Bluff Dr
                  Eldon, MO 65026


                  Vicki Jaussaud
                  2138 Cherokee Dr
                  Shelbyville, IN 46176


                  Vicki Keyser
                  1112 Dale Street
                  Staunton, VA 24401


                  Vicki Krisnitski
                  2433 Botetourt Rd
                  Fincastle, VA 24090


                  VICKI LOTT
                  4210 Greenwood Avenue
                  Louisville, KY 40211


                  Vicki Lovett
                  10917 Liming Van Thompson Rd
                  Hamersville,, OH 45130


                  Vicki Luck
                  11540 Chipway Drive
                  Roscommon, MI 48653
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                  Vicki Morrison
                  263 Sid Shannon Road
                  Old Fort, TN 37362


                  Vicki Muir
                  133 N Shore Ln
                  Lake Ariel, PA 18436


                  Vicki Myers
                  38 Tony Candler Court
                  Candler, NC 28715


                  Vicki Osbun
                  2964 OH-529
                  Cardington, OH 43315


                  Vicki Patton
                  38280 State Route 160
                  Hamden, OH 45634


                  Vicki Reid
                  400 Frazier St
                  Bridgeport, IL 62417


                  Vicki Whaley
                  44 Loch Circle
                  Grand Ledge, MI 48837


                  Vickie Barbour
                  602 Woodland Drive
                  Dixon, IL 61021


                  Vickie Brant
                  10201 Tinder Lane
                  Unionville, VA 22567


                  VIckie Caughron
                  6907 Ball Rd
                  Knoxville, TN 37931


                  Vickie Freed
                  2619 West 26th Street
                  Granite City, IL 62040
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Vickie Goodin
                  252 Colson Drive
                  Garner, NC 27529


                  Vickie Goodson
                  5918 Sunridge Drive
                  Cincinnati, OH 45224


                  Vickie Graham
                  7020 Prickly Pear Court
                  Aiken, SC 29801


                  Vickie Hanna
                  2741 East Gallagher Lane,
                  Onley, IL 62450


                  Vickie Jones
                  3687 Kingston Hwy
                  Kingston, TN 37763


                  Vickie Lockridge
                  909 N hampton blvd
                  Shelbyville, IN 46176


                  Vickie McConnell
                  4905 West Main Street
                  Edinburg, PA 16116


                  Vickie McElfish
                  1448 West Street
                  Muskegon, MI 49442


                  Vickie Mitchell
                  11717 W Bethel Ave
                  Muncie, IN 47304


                  Vickie Payne
                  9591VA-47
                  Chase City, VA 23924


                  Vickie Smith
                  907 Spring Drive
                  Lugoff, SC 29078
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Vickie Smith
                  4082 Fork Mountain Road
                  Rocky Mount, VA 24151


                  Vickie Stanley
                  15345 Wendy Street
                  Taylor, MI 48180


                  Vickie Vallimont
                  106 pheasant valley road
                  Lewistown, PA 17044


                  Vickie Whyde
                  1846 Sunset Ln SE
                  New Philadelphia, OH 44663


                  vicknu Garcon
                  213 Bittenbender Drive
                  Saylorsburg, PA 18353


                  Vicky A Arrow
                  3934 Hickman Road
                  Kodak, TN 37764


                  Vicky Brogan
                  77 Bears Den Trail
                  Greenville, VA 24440


                  Vicky Cooper
                  635 Shingle Gap road
                  Purlear, NC 28665


                  Vicky Henderson
                  1812 Keller Ave
                  Columbus, IN 47201


                  Vicky Leftwich Sayles
                  1557 Empire Avenue
                  Lincoln Park, MI 48146


                  Vicky prasongphime
                  1532 Ballard Ct
                  Kernersville, NC 27284
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Victor Aguilar
                  160 Pine St
                  Imlay City, MI 48444


                  Victor Arden
                  6479 E Pierson Rd
                  Flint, MI 48506


                  Victor Arevalo
                  50 Creekside Bluff Way
                  Auburn, GA 30011


                  Victor Buadu
                  130 Daisy Hill Lane
                  Fredericksburg, VA 22406


                  Victor Carosella
                  169 Webbed Foot Road
                  Mooresville, NC 28117


                  Victor Cid
                  8 Fairview St NW
                  Leesburg, VA 20176


                  Victor Done
                  11541 Gaffney Place
                  Cincinnati, OH 45240


                  Victor Gray
                  4614 Springfield Rd
                  Meherrin, VA 23954


                  Victor Hardin
                  1408 Richard Temple Blvd
                  Lake View, SC 29563


                  Victor Heath
                  2707 Pinchot Road
                  Saxton, PA 16678


                  Victor Her
                  5312 Eider Lane
                  Granite Falls, NC 28630
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Victor Hunt
                  5596 U.S. 22
                  Washington Court House, OH 43160


                  Victor Khomyakov
                  5972 Fielder Way
                  Douglasville, GA 30135


                  Victor Martinez
                  739 Riddle Street
                  Mount Holly, NC 28120


                  Victor Mccombs
                  46339 Ohio 160
                  Vinton, OH 45686


                  Victor Mitosinka
                  4810 12th St E
                  Dickinson, TX 77539


                  Victor Obajuluwa
                  6776 Madison Street
                  Merrillville, IN 46410


                  Victor Prado
                  1620 N. Gunnell Rd
                  Eaton Rapids, MI 48827


                  Victor Pritchett
                  204 N Edgewood Ave
                  Williamston, NC 27892


                  Victor Ramirez
                  588 Old Post Road
                  Virginia Beach, VA 23452


                  Victor Rodgers
                  2730 Doehne Rd,
                  Harrisburg, PA 17110


                  Victor Rose
                  32 S 3rd St
                  Martins Ferry, OH 43935
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Victor Simon
                  842 Rosegill Rd
                  Richmond, VA 23236


                  Victor Stechschulte
                  2502 North Hickory Road
                  Owosso, MI 48867


                  Victor Storms
                  201 North Landing Drive
                  Goldsboro,, NC 27534


                  Victor Thompson
                  13706 Long Cove Pl
                  Midlothian, VA 23112


                  Victor Tinajero
                  8414 Snowden Street
                  Houston, TX 77028


                  Victor Truong
                  111 Paradise Court
                  Kingsland, GA 31548


                  Victor Tucker
                  540 Inca Ln
                  Ringgold, VA 24586


                  Victor Valverde
                  5318 Stowecroft Ln
                  Raleigh, NC 27616


                  Victor Williams
                  332 Todd Lane
                  Belleville, IL 62221


                  Victoria Allen
                  7375 Byron Street Northeast
                  Canton, OH 44721


                  Victoria Allison
                  1290 Streets Ferry Rd
                  Vanceboro, NC 28586
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Victoria Anders
                  4843 Nebraska Ave
                  Dayton, OH 45424


                  Victoria Ann Dykema
                  379 Craemer Drive
                  Frankenmuth, MI 48734


                  Victoria Bacon
                  1496 Walnut Street
                  Monroe, MI 48162


                  Victoria Brumfield
                  2930 Hayes St
                  Avon, OH 44011


                  Victoria Covington
                  313 Vineland Pl Dr
                  Vine Grove, KY 40175


                  Victoria Douglas
                  10550 Toelle Lane
                  St. Louis, MO 63137


                  Victoria Greenleaf
                  17506 Indian Springs Ct
                  Sugar Land, TX 77479


                  Victoria Hartman
                  14885 Mayfield Road
                  Huntsburg, OH 44046


                  Victoria Hoag
                  660 Lott Road
                  Coldwater, MI 49036


                  Victoria Hooper
                  1395 Christy Road
                  Fleming, OH 45729


                  VICTORIA Humphrey
                  879 South McCollum Drive
                  Canton, GA 30114
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Victoria Kessing
                  12500 State Route 78
                  Havana, IL 62644


                  Victoria Korn
                  11855 Stebbins Ave
                  Sparta, MI 49345


                  Victoria Kuhns
                  4720 Laubert Rd
                  Atwater, OH 44201


                  Victoria Lehnert
                  5266 9 Mile Rd
                  Remus, MI 49340


                  Victoria Manley
                  1713 Spar St
                  Chesapeake, VA 23321


                  Victoria MojicaLara
                  2416 Shafer Street
                  Norfolk, VA 23513


                  Victoria Schall-Nelson
                  5206 Cypress Circle
                  Grand Blanc, MI 48439


                  Victoria Signorini
                  58638 Sharon Boulevard
                  Rayland, OH 43943


                  Victoria Slaker
                  800 Everville Drive
                  Livingston, TN 38570


                  Victoria Sokoll
                  4622 OWL CREEK RD
                  FRANKFORT, OH 45628


                  Victoria Wegner
                  11880 Hickin Rd NW
                  Rapid City, MI 49676
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                  Victorino Lazo
                  12905 Lyme Bay Dr
                  Herndon, VA 20171


                  Vida Santos
                  237 Haviland Road
                  Chesapeake, VA 23320


                  Viki Stout
                  1501 Brown Street
                  Akron, OH 44301


                  Vilda Olsen
                  21815 Statler St
                  St. Clair Shores, MI 48081


                  Village of Elk Rapids WWTP
                  8228 Herrman Rd
                  Elk Rapids, MI 49629


                  Village Veterinary
                  9221 Amelia St
                  Amelia Court House, VA 23002


                  Vilma Reynolds
                  1411 E 33rd Ave
                  Hobart, IN 46342


                  Vimal Tailor
                  112 Leafy Holly Dr
                  Holly Springs, NC 27540


                  Vince Brennan
                  343 Ridge Rd
                  Troutville, VA 24175


                  Vince Foley
                  8120 Gulick Ln
                  Houston, TX 77075


                  vince helton
                  8432 Ora Lake Road
                  Hale, MI 48739
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Vince Huggins
                  4205 OH-309
                  Galion, OH 44833


                  Vince Ippoliti
                  118 Chicks Ln
                  Bloomsburg, PA 17815


                  Vince Jimenez
                  10206 Breckenridge Road
                  Saint Ann, MO 63074


                  Vince Kuntz
                  3172 OH-213
                  Wintersville, OH 43952


                  Vince Long
                  906 N McGuire St
                  Brazil, IN 47834


                  Vince Madison
                  8 S Bearwood Dr
                  Palmyra, VA 22963


                  Vince Martinez
                  1297 Vinewood Dr
                  Columbus, OH 43229


                  Vince Petric
                  1176 McDonogh Dr
                  Batavia, OH 45103


                  Vincent Anderson
                  12380 Tacketts Mill Road
                  Stafford Courthouse, VA 22556


                  VINCENT BARBER
                  11189 Hampton Dr
                  Pickerington, OH 43147


                  Vincent Brozzetti
                  4791 Jones Cove Road
                  Cosby, TN 37722
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                  Vincent Buse
                  5960 O'Reily Dr
                  Galloway, OH 43119


                  Vincent Doerhman
                  5040 County Road 55
                  Auburn, IN 46706


                  Vincent Edwards
                  2201 Francis Avenue Southeast
                  Grand Rapids, MI 49507


                  Vincent Fredrick
                  22 Starviolet St
                  The Woodlands, TX 77380


                  Vincent Garcia
                  9397 Graves Rd
                  Silverwood, MI 48760


                  Vincent Harris
                  3201 Indigo Road
                  Chesapeake, VA 23325


                  Vincent Jones
                  3900 Grand Isle Drive
                  Chesapeake, VA 23323


                  Vincent Kellogg
                  1200 Walton Rd.
                  Kingsley, MI 49649


                  Vincent Lezama
                  5802 Up-A-Way Drive
                  Fredericksburg, VA 22407


                  Vincent Macaraeg
                  4780 Greenlawn Cove
                  Millington, TN 38053


                  Vincent Markowicz
                  35027 Lexington Street
                  Farmington Hills, MI 48331
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                  Vincent Myers
                  121 N Huntington St
                  Medina, OH 44256


                  Vincent Ross
                  802 West Franklin Street
                  Taylorville, IL 62568


                  Vincent Sbraccia
                  1115 Lawhorn Road
                  Cassatt, SC 29032


                  vincent Spicer
                  4 Glenkirk Drive
                  Charleston, SC 29414


                  Vincent T Giles
                  85 Craigtown Road
                  Shipman, VA 22971


                  Vincent Taylor
                  209 Ymca Road
                  Lexington, SC 29073


                  Vincent Van Cleave
                  1513 Bel Air Dr
                  Junction City, KS 66441


                  Vincenza Crapa
                  702 Greenleaf lane
                  Colonial Heights, VA 23834


                  Vincint Doerhman
                  5040 County Road 55
                  Auburn, IN 46706


                  Vinson Harris
                  13453 Blunts Bridge Road
                  Ashland, VA 23005


                  Viola Abbitt
                  1045 Ontario Street
                  Chesapeake, VA 23325
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                  Viola Moses
                  20549 Faust Avenue
                  Detroit, MI 48219


                  Violet Redinger
                  8390 Swan Ave
                  Newago, MI 49337


                  Violet Stidfole
                  8889 NC-49
                  Mt Pleasant, NC 28124


                  Violet Wheat
                  2315 Berne Ave
                  Terre Haute, IN 47805


                  Violeta Marshall
                  657 Hogan St SW
                  Grand Rapids, MI 49503


                  Violette McKague
                  865 Lewis Road
                  Mansfield, OH 44903


                  Vipin Villgran
                  270 Eddie Lewis Drive
                  Wexford, PA 15090


                  Viraxay Phounsavath
                  1921 Arnold Ave
                  Rockford, IL 61108


                  Virgil Fagan
                  4660 Township Road 115
                  McComb, OH 45858


                  Virgil Foulke
                  3327 Hanson Rd
                  Springfield, OH 45504


                  Virgil Leroy Vannest
                  115 N Utah Ave
                  Newark, OH 43055
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                  Virgil McKeon
                  3275 North Fraser Road
                  Pinconning, MI 48650


                  Virgil Thompson
                  450 Old Newport Hwy
                  Greeneville, TN 37743


                  Virgil Wright
                  1589 Buckingham Ave
                  Lincoln Park, MI 48146


                  Virgil Zeller
                  1286 Lincoln rd
                  Allegan, MI 49010


                  Virgilio Puello
                  7488 Walnut Grove Rd
                  Mechanicsville, VA 23111


                  Virgina Department of Taxation
                  P.O. Box 1500
                  Richmond, VA 23218-1500


                  Virgina Ford
                  1163 Silver Grove Road
                  Bluff City, TN 37618


                  Virginia Deberry
                  10629 Hopkinsville Rd
                  Nortonville, KY 42442


                  Virginia Frye
                  2812 Patton Hill Road
                  Chillicothe, OH 45601


                  Virginia Grow
                  2608 Lyons Avenue
                  Lansing, MI 48910


                  Virginia Johnson
                  833 Ransom Rd
                  Winston-Salem, NC 27106
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                  Virginia Mader
                  266 Banyan Drive
                  Lowell, IN 46356


                  Virginia Maletic
                  208 Mountain Oak Drive
                  Strafford, MO 65757


                  Virginia Meachum
                  64509 41st Street
                  Paw Paw, MI 49079


                  Virginia Moore
                  441 E 400 Ave
                  Patoka, IL 62875


                  Virginia MOTLEY
                  453 Old South Main Street
                  Danville, VA 24541


                  Virginia Oids
                  1007 N Magnolia Ave
                  Dunn, NC 28334


                  Virginia Osborn
                  1414 Woodbine Dr
                  Connersville, IN 47331


                  Virginia Pocius
                  3060 Evelyn Lane
                  Dryden, MI 48428


                  Virginia Ress
                  1656 E Garfield Rd
                  New Springfield, OH 44443


                  virginia schuster
                  5519 Chadwell Rd
                  Norwood, MO 65717


                  Virginia Silva
                  787 Wilderness Way
                  Newport News, VA 23608
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                  Virginia Slaughter
                  20465 Monroe Road 455
                  Stoutsville, MO 65283


                  Virginia Una a
                  215 Wilson Street Northwest
                  Lenoir, NC 28645


                  Virginia Ware
                  13304 Richmond Hwy
                  Appomattox, VA 24522


                  Virginia Warren
                  1579 Gem Place
                  Chattanooga, TN 37421


                  Virginia Willis
                  9024 Strawberry Hill Rd
                  King George, VA 22485


                  Virginia Wright
                  220 Wayne Circle
                  Hartwell, GA 30643


                  Virgnia L Cianciolo
                  702 Co Rd 3450
                  Mountain View, MO 65548


                  Vishnu Patel
                  1083 Washington Court
                  Warrington, PA 18976


                  Vitaliy Leskiv
                  6275 Green Bay Lane
                  West Bloomfield Township, MI 48324


                  Vitaliy Titika
                  104 Devon Road
                  Chalfont, PA 18914


                  Vito Latronica
                  252 Speelman Ln
                  Monroeville, PA 15146
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                  Vivek Gondikar
                  1130 Krista Ln
                  Rochester, MI 48307


                  Vivian Griffin-Miles
                  2174 Bean Hill Rd
                  Mikado Township, MI 48745


                  Vivian Holts
                  524 Vega Drive
                  Columbia, SC 29223


                  Vivian McDonald
                  118 Circle Dr
                  Greenwood, SC 29646


                  Vivian Rodriguez
                  8909 Potomac Blvd
                  Charlotte, NC 28216


                  Vivian Williams
                  3702 Cedar Square Lane
                  Spring, TX 77388


                  Vivian Yarbrough-Pulice
                  17365 Parklane St
                  Livonia, MI 48152


                  Viviane Hosto
                  40 North Woods Circle
                  Hillsboro, IL 62049


                  Vlad Feldman
                  504 Porter Ct
                  Kernersville, NC 27284


                  Vladimir Karpov
                  4464 Black Beard Road
                  Virginia Beach, VA 23455


                  Vogel Disposal Service, Inc.
                  P.O. Box 847
                  Mars, PA 16046
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                  Vola Sharma
                  6367 Glen Hollow Drive
                  Liberty Township, OH 45011


                  Vonda Meredith
                  1017 Rolling Trail
                  Taylorsville, KY 40071


                  Vondell Boyer
                  20000 Alcoy St
                  Detroit, MI 48205


                  VONITA WILLIAMSON
                  1517 Central Church Rd
                  Midland, GA 31820


                  Vonnell Young
                  211 Forrest Avenue
                  Norfolk, VA 23505


                  W. Jerome Smith
                  444 Oberlochen Way
                  Douglasville, GA 30134


                  Wade Conner-sutton
                  855 Old Balsam Rd
                  Waynesville, NC 28786


                  Wade Creasey
                  1335 South 4th Street
                  Terre Haute, IN 47802


                  wade Dicks
                  17 Shennecock Ct, Aiken, SC 29803, USA
                  Aiken, SC 29803


                  Wade Guinn
                  819 Burgess Court
                  Woodstock, VA 22664


                  Wade Lauria
                  868 State Road
                  West Branch, MI 48661
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                  Wade Luxton
                  175 Brook Glen Drive
                  Mooresville, NC 28115


                  Wade McNeil
                  426 Perry Ln
                  Marshville, NC 28103


                  Wade Schwent
                  14695 Hennick Road
                  Ste. Genevieve, MO 63670


                  Wade Taylor
                  279 Paul Stanley Road
                  Coeburn, VA 24230


                  Wade Taylor
                  12061 E County Rd 900 N
                  Seymour, IN 47274


                  Wael Mahmoud
                  621 Abbey Drive
                  Virginia Beach, VA 23455


                  Waiston Lee
                  508 Langston Road
                  Newton Grove, NC 28366


                  Wake Forest Hydro Graphics
                  12223 Hampton Way Dr Suite 500
                  Wake Forest, NC 27587


                  Wake Forest Hydrographic Garment Service
                  Holen K. McLemore Perry & Brandt, Attorn
                  P.O. Box 2108
                  Wake Forest, NC 27588


                  Waldemar Dec
                  404 River Knoll Dr
                  Clayton, NC 27527


                  Wallace Bowles
                  5609 Parkland Ct
                  Virginia Beach, VA 23464
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                  Wallace Hynds
                  11313 Windy Way Drive
                  Knoxville, TN 37932


                  Wallace Vaughan
                  137 Jubilee Dr
                  Lynchburg, VA 24501


                  Wallace Welch
                  1068 Sharon Ridge Rd
                  Fairview, NC 28730


                  Wallie Henderson
                  48 West Ridge Road
                  Henderson, NC 27536


                  Wallis Brown
                  613 5th St
                  Radford, VA 24141


                  Walsh Timothy
                  11241 Mapaville-Hematite Road
                  Festus, MO 63028


                  Walt Head
                  200 Summitt Dr
                  LaFollette, TN 37766


                  Walt Oram
                  7371 W Walker Rd
                  Manton, MI 49663


                  Walt Schulcz
                  12575 Warner Road
                  Concord, MI 49237


                  Walt Seymour
                  22377 30 Mile Rd
                  Ray, MI 48096


                  walt Sweeney
                  405 18th Avenue
                  Gruetli-Laager, TN 37339
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                  Walter Anderson
                  5328 Spreading Branch Road
                  Hope Mills, NC 28348


                  Walter Andruszko
                  7011 Dutch Rd
                  Goodrich, MI 48438


                  Walter Barnes
                  19988 Danbury Lane
                  Harper Woods, MI 48225


                  Walter Battles
                  605 Sand Hill Road
                  Hope Mills, NC 28348


                  Walter Blunt
                  11388 Karen Drive
                  Ashland, VA 23005


                  Walter Brunson
                  5422 Endicott Street
                  Hollins, VA 24019


                  Walter Cheely
                  2070 StemCreek Trail
                  Powhatan, VA 23139


                  Walter Cherry
                  3715 Avenue J
                  Santa Fe, TX 77510


                  Walter Coleman
                  3618 Ravenwood Ave
                  Cincinnati, OH 45213


                  Walter Cox
                  300 Cork Ln
                  Hampton, GA 30228


                  Walter Davis
                  5258 N Boulder St
                  Jackson,, MI 49201
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                  Walter Doyle
                  6533 S CR-275 E
                  Clayton, IN 46118


                  Walter Dunigan
                  137 Dunigan Ln
                  Troy, NC 27371


                  Walter Edwards
                  4516 Conlin Ave
                  Evansville, IN 47714


                  Walter Edwards III
                  16735 St Marys St
                  Detroit, MI 48235


                  Walter Gooler
                  667 Great Bend Turnpike
                  Pleasant Mount, PA 18453


                  Walter Gray
                  120 Sann St
                  Johnstown, PA 15904


                  Walter Hicks
                  760 Botsford Church Road
                  Waynesboro, GA 30830


                  Walter Holland
                  543 Texas 87 South
                  Center, TX 75935


                  Walter Jacobs
                  1092 New Valley Road
                  Marysville, PA 17053


                  Walter Johnson
                  5485 Kenmere Lane
                  Smithfield, VA 23430


                  Walter Keeping
                  4280 Perrinton Trail,
                  Loganville, GA 30052
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                  Walter Kennedy
                  318 Eli Smith Rd
                  Elkin, NC 28621


                  Walter Krejci
                  16741 Beech Daly
                  Redford Charter Township, MI 48240


                  Walter Lacey
                  21648 Anderson Road
                  Chanute, KS 66720


                  Walter Lafortune
                  305 Alcovy Reserve Way
                  Covington, GA 30014


                  walter larkins
                  8290 Warwick Street
                  Detroit, MI 48228


                  Walter Laser
                  8108 Scott Road
                  Plymouth, OH 44865


                  Walter Laseter
                  121 Cypress LN N
                  Spartanburg, SC 29307


                  Walter Mallory
                  51 Circle Dr
                  Lawrenceville, VA 23868


                  Walter Mcgee
                  2754 Old Route 219
                  Montrose, WV 26283


                  Walter McGrath
                  2178 Shore Line Dr
                  Pocono Summit, PA 18346


                  Walter Miles
                  139 Shirley Dr
                  Monaca, PA 15061
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                  Walter Moore
                  65 Edelweiss Lane
                  Staunton, VA 24401


                  Walter Morgan
                  219 Oak Hill Estates Road
                  Dayton, TN 37321


                  Walter Mummert
                  1011 Apple Street
                  Alliance, OH 44601


                  Walter Mummert III
                  13191 Iowa NE state route 183
                  Alliance, OH 44601


                  Walter Osorio
                  2725 Edison Rd
                  South Bend, IN 46615


                  Walter Page III
                  17060 Collinson Avenue
                  Eastpointe, MI 48021


                  Walter Pritchett
                  409 W Whittington St
                  Greensboro, NC 27406


                  Walter Puckette III
                  1124 Swinging Bridge Road
                  Gladys, VA 24554


                  Walter Rogers
                  13872 Country Walk Boulevard
                  Belleville, MI 48111


                  Walter Rosebrugh
                  3145 Marathon Rd
                  Columbiaville, MI 48421


                  Walter Sturgeon
                  2544 Sunset Maple Dr
                  Tipp City, OH 45371
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                  Walter Sturgeon
                  2544 Sunset Maple Drive
                  Tipp City, OH 45371


                  Walter Thompson
                  2853 Powhattan Place
                  Dayton, OH 45420


                  Walter Tyree
                  118 Adams Avenue
                  Crab Orchard, WV 25827


                  Walter Waddler
                  1505 Brookfield Cove
                  Virginia Beach, VA 23464


                  Walter Wagner
                  846 North Valley View Road
                  Pulaski, PA 16143


                  Walter Walker
                  2335 McCutcheon Road
                  Columbus, OH 43219


                  Walter Warden
                  1473 Fagins Run Rd
                  New Richmond, OH 45157


                  Walter Weed
                  13613 Leroy center rd
                  Painesville, OH 44077


                  Walter Wynn
                  632 Pine Frost Dr
                  Monroeville, PA 15146


                  Wanda Blanding
                  1708 Tiffany Ct
                  Anderson, VA 23456


                  Wanda Blevins
                  1050 Cedarview Ln
                  King, NC 27021
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                  Wanda Carmean
                  5846 O'Neil Street
                  Twin Lake, MI 49457


                  Wanda Cordiano
                  111 Nob Hill Dr N
                  Gahanna, OH 43230


                  Wanda Culley
                  1120 kentuck rd
                  Danville, VA 24540


                  Wanda Denniston
                  7267 Lipscomb Road
                  Woodford, VA 22580


                  Wanda Doane
                  1588 Buckeye Hollow Rd
                  Saltville, VA 24370


                  Wanda Fisher
                  8501 Goodwill Church Rd
                  Belews Creek, NC 27009


                  Wanda Garcia
                  111 Poe Acres Road
                  Cadiz, KY 42211


                  Wanda GRIMES
                  82 Brazil-Elliott Store Road
                  Trenton, TN 38382


                  Wanda Lamon
                  1802 Cunningham Rd
                  Speedway, IN 46224


                  Wanda Mears
                  1455 Woodside Dr
                  Winston-Salem, NC 27106


                  Wanda Mullins
                  118 Quail Hollow Court
                  Crossville, TN 38555
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                  Wanda Munro
                  342 The Woods
                  Bedford, IN 47421


                  Wanda Newby
                  113 Homeward Dr
                  Hamlet, NC 28345


                  Wanda Pike
                  5498 US-169
                  St Joseph, MO 64507


                  Wanda Scott
                  10061 Woodlawn Dr
                  Portage, MI 49002


                  Wanda Staples
                  3318 Oakland Rd
                  Bethlehem, PA 18020


                  Wanda Thomas
                  20859 160th Ave
                  Tustin, MI 49688


                  Wanda Vowell
                  1918 Trent Valley Lane
                  Knoxville, TN 37938


                  Wanda Walls
                  2115 Via Palma drive
                  North Myrtle Beach, SC 29582


                  Ward Fredericks
                  117 Mapleview Dr
                  Charlotte, MI 48813


                  Wardell Granberry
                  71700 Eldred Road
                  Bruce Township, MI 48065


                  Warner Norcross + Judd LLP
                  150 Ottawa Avenue NW, Suite 1500
                  Grand Rapids, MI 49503
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                  Warren Brown
                  167 Hermitage Estates Ln
                  Beulaville,, NC 28518


                  Warren Bumpus
                  820 Kingston Road
                  Colbert, GA 30628


                  Warren Bumpus III
                  820 Kingston Road
                  Colbert, GA 30628


                  Warren Capito
                  46 Dogwood Lake Drive
                  Gordonsville, VA 22942


                  Warren Charles
                  755 Edgerton Drive
                  Charlotte, NC 28213


                  Warren Cook
                  16434 Sand Ridge Rd
                  Bowling Green, OH 43402


                  Warren Custer
                  982 Healing Springs Road
                  Blue Ridge, VA 24064


                  Warren Fulton
                  510 West Stewart Street
                  Bloomington, IL 61701


                  Warren Haley
                  8432 HANNAN RD
                  Wayne, MI 48184


                  Warren Hall
                  11219 Brucker Ave
                  Grant, MI 49327


                  Warren Joyner
                  8199 J David Ln.
                  mechanicsville, VA 23111
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                  Warren Latimer
                  236 hedgewood drive
                  hampton, GA 30228


                  Warren Maple
                  1108 Tompkins Rd
                  Dorset, OH 44032


                  Warren Miller
                  1776 Miller Rd.
                  Tabor City, NC 28463


                  Warren Miller
                  401 Aberdeen Drive
                  Middletown, OH 45042


                  Warren Oliver
                  3015 Watson Street
                  Portsmouth, VA 23707


                  Warren SCHENEWERK
                  3708 IL-15
                  Freeburg, IL 62243


                  Warren Sutherland
                  743 Zachary Taylor Hwy
                  Mineral, VA 23117


                  Warren Taylor
                  108 Zion Hill Rd
                  Fincastle, VA 24090


                  Warren Tingler
                  6659 Pocahontas Trail
                  Providence Forge, VA 23140


                  Warren Wagner
                  1709 Chandler Way
                  Saint Charles, MO 63303


                  Warren Walston
                  309Gainsborough Ct.
                  Virginia Beach, VA 23462
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Washington Ct. House Income Tax
                  117 N Main St.
                  Washington Court House, OH 43160


                  Wathana Seng
                  9607 Whitmore Dr
                  Richmond, VA 23229


                  Waymon Guillebeaux
                  22849 Timberline Dr
                  Southfield, MI 48033


                  Wayne Atkins
                  2190 Stockyard Rd
                  Staley, NC 27355


                  Wayne Barger
                  24401 Poe Rd
                  Grand Rapids, OH 43522


                  Wayne Barter
                  186 Elf School Road
                  Hayesville, NC 28904


                  Wayne Beebe
                  4975 Staple Rd
                  Muskegon, MI 49445


                  wayne belanger
                  841 Whitefeather Loop
                  Lewisburg, KY 42256


                  Wayne Bennett
                  2440 Bilgers Rocks Road
                  Grampian, PA 16838


                  Wayne Bickley
                  1401 Smith Road
                  Fremont, OH 43420


                  Wayne Billian
                  2929 Captain Sams Rd
                  Johns Island, SC 29455
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                  Wayne Blaylock
                  7 Wendell Ave
                  Hartford, MI 49057


                  Wayne Booker
                  1528 Selma Ln
                  Richmond, VA 23223


                  Wayne Breaux
                  390 Dry Ridge Rd
                  Elizabeth City, NC 27909


                  Wayne Brinley
                  5392 Farm Rd 159
                  Springfield, MO 65803


                  Wayne Brown
                  111 Beach Fern Court
                  Mooresville, NC 28117


                  Wayne Brown
                  304 Castleton Ct
                  Vine Grove, KY 40175


                  Wayne C Mason
                  12701 Wheeling Ave
                  Gaston, IN 47342


                  Wayne Capron
                  14416 Crest Lane
                  Plymouth, IN 46563


                  Wayne Connor
                  791 South Broadridge Rd
                  Orrum, NC 28369


                  Wayne Cook
                  184 January Court
                  Smithville, TN 37166


                  Wayne Criswell
                  261 Raspberry Lane
                  Williamsburg, PA 16693
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                  Wayne Culp
                  233 Ridgestone Trail
                  Poplar Grove, IL 61065


                  Wayne DaCosta
                  511 E Washington St
                  Strasburg, VA 22657


                  Wayne Davis
                  700 North Wakefield Street
                  Zebulon, NC 27597


                  Wayne Davis
                  14878 Rd 43
                  Antwerp, OH 45813


                  Wayne Daye
                  513 Hugo St
                  Durham, NC 27704


                  Wayne Deloria
                  11416 Western Ln
                  Whitmore Lake, MI 48189


                  Wayne Dobson
                  9364 Christy Road
                  Defiance, OH 43512


                  Wayne Dover
                  1521 Statesville Blvd
                  Salisbury, NC 28144


                  Wayne Edwards
                  2712 Elm Ridge Road
                  Foristell, MO 63348


                  Wayne Farquharson
                  315 Bennett Street
                  Montoursville, PA 17754


                  Wayne Flowers
                  5260 Boy Scout Camp Road
                  Kannapolis, NC 28081
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                  Wayne Frye
                  545 South Ox Road
                  Edinburg, VA 22824


                  Wayne Fuller
                  1269 Giles Road
                  Muskegon, MI 49445


                  Wayne Gattshall
                  458 Fairlane Ave
                  Marion, OH 43302


                  WAYNE GRODE
                  6373 Humphrey Avenue
                  Flushing, MI 48433


                  Wayne Haas Jr
                  807 W 7th St
                  Staunton, IL 62088


                  Wayne Harless
                  2451 N 440 W
                  Jasper, IN 47546


                  Wayne Harris
                  117 Culotta Drive
                  Hampton, VA 23666


                  Wayne Hartman
                  616 213th Place
                  Dyer, IN 46311


                  wayne hayes
                  5091 Washburn Road
                  Hillsboro, OH 45133


                  Wayne Heineman
                  7105 Scott Hwy
                  Blissfield, MI 49228


                  Wayne Hendrix
                  9636 Burton's Ferry Hwy
                  Allendale, SC 29810
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                  Wayne Henry
                  47928 39th St
                  Paw Paw, MI 49079


                  Wayne Hershberger
                  24875 Lepley Rd
                  Gambier, OH 43022


                  Wayne Hill
                  248 Coleytown Road
                  Waynesboro, VA 22980


                  Wayne Hunt
                  506 Arabian Circle
                  Mahomet, IL 61853


                  Wayne Jamieson
                  2918 Heatherfield Drive
                  Woodlawn, TN 37191


                  Wayne John
                  6802 Spring Vale Dr
                  Rosharon, TX 77583


                  Wayne Johnson
                  4637 Cherry Blossom Dr
                  Ypsilanti, MI 48197


                  Wayne Johnson
                  4688 Ohio 132
                  Batavia, OH 45103


                  Wayne Johnston
                  120 Sharon St
                  Harrisonburg, VA 22801


                  Wayne Kilway
                  2614 S Good Harbor View
                  Cedar, MI 49621


                  Wayne King
                  395 Kinsale Creek Road
                  Kinsale, VA 22488
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                  Wayne Klein
                  13778 Goodrich Rd
                  Ravenna, MI 49451


                  Wayne Klein2
                  13778 Goodrich Rd
                  Ravenna, MI 49451


                  Wayne LaRue
                  325 2nd Street
                  Monroe City, MO 63456


                  Wayne Lehman
                  212 Rosewood Court
                  Archbold, OH 43502


                  Wayne Lockhart
                  211 Busby Rd
                  Lapel, IN 46051


                  Wayne Marok
                  6687 Glenallen Avenue
                  Solon, OH 44139


                  Wayne McCall
                  4897 US 221 S
                  marion, NC 28752


                  Wayne Mills
                  442 Mills Road
                  Goldsboro, NC 27530


                  Wayne Moore
                  904 Abingdon Court
                  Newport News, VA 23608


                  Wayne Moss
                  6311 Q-Drive South
                  Union City, MI 49094


                  Wayne Mowles
                  60 Maiden Lane
                  Fincastle, VA 24090
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                  Wayne Murphy
                  240 Lake Hills Dr
                  Concord, MI 49237


                  Wayne Myers
                  150 A St
                  Clarksville, PA 15322


                  Wayne Myers
                  10689 US-322
                  Reynoldsville, PA 15851


                  Wayne Nelson
                  282 Lawsons Dr
                  Clarksville, VA 23927


                  Wayne Norwood
                  2687 Burgess Gower Road
                  Springfield, TN 37172


                  Wayne Orchard
                  420 Pinnacle Peak Lane
                  Flat Rock, NC 28731


                  Wayne Patterson-moore
                  1780 Millville Avenue
                  Hamilton, OH 45013


                  Wayne Pearson
                  2720 South Carolina 357
                  Lyman, SC 29365


                  Wayne Rowe
                  200 Vicic Avenue
                  East Peoria, IL 61611


                  Wayne Sauza
                  9 Appleby Lane
                  Beaufort, SC 29906


                  Wayne Schill
                  5981 Tanglewood Ct
                  Seymour, IN 47274
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  Wayne Schnepp
                  14 Carter View Lane
                  Arden, NC 28704


                  Wayne Schuerle
                  60558 Sandy Ridge Rd
                  Barnesville, OH 43713


                  Wayne Schweinhart
                  4037 Eden lane
                  Louisville, KY 40216


                  Wayne Smedley
                  315 Overlook View Dr
                  Front Royal, VA 22630


                  Wayne Smith
                  7074 Reed St
                  Brown City, MI 48416


                  Wayne Smith
                  2237 Raven Trail
                  West Columbia, SC 29169


                  Wayne Stewart
                  1837 20th Road
                  Washington, KS 66968


                  Wayne Stock
                  37304 197th Street
                  Strasburg, MO 64090


                  Wayne Thomas
                  1401 Walnut Drive
                  Chester, VA 23836


                  Wayne Walker
                  11837 Van Buren Road
                  Merrill, MI 48637


                  wayne ward
                  412 Sandy Beach Road
                  Heathsville, VA 22473
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                  Wayne Weatherwax
                  111 Corriher Springs Rd
                  China Grove, NC 28023


                  Wayne Webber
                  345 Pender Lake Rd
                  Currie, NC 28435


                  wayne white
                  14 Twin Leaf Dr
                  Stafford, VA 22556


                  Wayne Whited
                  161 Cabin Creek trl
                  Dahlonega, GA 30533


                  Wayne Wilson
                  1445 N Huron Rd
                  Tawas City, MI 48763


                  Wayne Wilson
                  4215 Tise Ave
                  Winston-Salem, NC 27105


                  Wayne Wright
                  7290 East Harrison Road
                  Breckenridge, MI 48615


                  WayneBrown Brown
                  4355 Lake Road
                  Dongola, IL 62926


                  Wearworks Six, LLC
                  320 Sandal Lane
                  West Palm Beach, FL 33404


                  Weld Conley
                  3808 Taylorsville Rd
                  Louisville, KY 40220


                  Wellington DUNN
                  22901 E-Drive South
                  Homer, MI 49245
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                  Wellington Sharpe
                  839 Heritage Lake Way
                  Grayson, GA 30017


                  Weltman, Weinberg & Reis Co., LPA
                  965 Keynote Circle
                  Brooklyn Heights, OH 44131


                  Wendell Amburgy
                  239 north Dublin street
                  Cambridge City, IN 47335


                  Wendell Bishop
                  9100 Pritchett Rd
                  Spotsylvania Courthouse, VA 22551


                  Wendell Cooke
                  246 Rayann Ln
                  Broadway, VA 22815


                  Wendell Coulson
                  103 Mountain Street
                  Bainbridge, OH 45612


                  Wendell Hess
                  172 Elliot St
                  Staunton, VA 24401


                  Wendell Johnson
                  7224 Scott Rd
                  Belding, MI 48809


                  Wendell Miller
                  390 Park St
                  Sacramento, KY 42372


                  Wendell Reynolds
                  3484 West Layton Drive
                  Westport, IN 47283


                  Wendell Swisher
                  5679 West County Road 350 South
                  Coatesville, IN 46121
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                  Wendell Wilson
                  924 Tanya Lynn Dr
                  Jefferson City, MO 65109


                  Wendy Barrott
                  11350 Quarterline Rd
                  Manistee, MI 49660


                  Wendy Biegas
                  31439 Gable Street
                  Livonia, MI 48152


                  Wendy Brendle
                  13A Brendle Ln
                  Lebanon,, PA 17046


                  Wendy Brown
                  843 Ebenezer Road
                  Amherst, VA 24521


                  Wendy Burnette
                  5295 Leatherwood Dr
                  West Chester Township, OH 45069


                  Wendy Carlson-Miller
                  2173 Bluemist Drive
                  Aurora, IL 60504


                  Wendy Chiodo
                  1612 Craft Rd
                  Grass Lake, MI 49240


                  Wendy Davis
                  340 Virginia Dr
                  Yadkinville, NC 27055


                  Wendy Farris
                  3938 Bacall Way
                  Converse, TX 78109


                  Wendy Fincher
                  1710 Norton Bridge Road
                  Chatsworth, GA 30705
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                  Wendy Ford
                  1694 Beaverbrook Dr
                  Dayton, OH 45432


                  Wendy Gardner
                  17160 Bradner Rd
                  Pemberville, OH 43450


                  Wendy Green
                  4101 Lizard Lick rd
                  Wendell, NC 27591


                  Wendy Hullender
                  3962 Rhineart road
                  Ooltewah, TN 37363


                  Wendy Kohlert-Sinker
                  155 28th St
                  Allegan, MI 49010


                  Wendy Leatherberry
                  3766 Beacon Drive
                  Beachwood, OH 44122


                  Wendy Mauney
                  2643 FOUST RD
                  STALEY, NC 27355


                  wendy minor
                  5 Damon Ct
                  Portsmouth, VA 23701


                  Wendy Porter
                  2173 Granite Road
                  East Stroudsburg, PA 18302


                  Wendy Sanhai
                  901 Vandalia Dr
                  Cary, NC 27519


                  Wendy Sisson-Hunt
                  9470 W Briggs Rd
                  Stanton, MI 48888
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                  Wendy Smith
                  10289 Wayne Rd
                  Livonia, MI 48150


                  Wendy Thomas
                  1614 Seward Drive
                  Johnson City, TN 37604


                  WENDY van tilburg
                  5773 Fancy Gap Highway
                  Hillsville, VA 24343


                  Wendy West
                  105 Crestwood Lane
                  Edenton, NC 27932


                  Wendy Whitten
                  961 Ladd Road
                  Waynesboro, VA 22980


                  Wenhui Wang
                  44873 Stockton Dr
                  Novi, MI 48377


                  Wenona Clark
                  455 Beechtree Dr
                  Cincinnati,, OH 45224


                  Wes Alexander
                  4022 Briscoe Benton Road
                  Henderson, KY 42420


                  Wes Bridges
                  13797 N Main St
                  Trenton, GA 30752


                  Wes Butcher
                  9238 Geddes Rd
                  Saginaw, MI 48609


                  Wes Douglas
                  309 Park Blvd
                  Worthington, OH 43085
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                  Wes Ferrell
                  13870 Krause Road
                  Holland, TX 76534


                  Wes Fisher
                  4760 Ransom St
                  Hudsonville, MI 49426


                  Wes Goodwin
                  368 Lake Drive
                  Burgaw, NC 28425


                  Wes gore
                  3064 Jackie Street
                  Orange, TX 77630


                  Wes Hodge
                  4900 Dimora Lane
                  Knoxville, TN 37918


                  wes mesko
                  3121 Dobie Road
                  Mason, MI 48854


                  Wes Waters
                  16468 Greenway Rd
                  Meadowview, VA 24361


                  Wes Wilson
                  1995 Woodstream Rd
                  Harrisburg, NC 28075


                  Wesley Almond
                  34248 Springdale Dr
                  Badin, NC 28127


                  Wesley Baird
                  1431 Grace Avenue
                  Lakewood, OH 44107


                  Wesley Bronson
                  193 Possum Hollow Road
                  Latrobe, PA 15650
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                  Wesley Burden
                  452 Patterson St
                  Troutman, NC 28166


                  Wesley Chappell
                  11373 Braden st
                  Byron, MI 48418


                  Wesley Clere
                  111 Windsorwood Trl
                  Rockwell, NC 28138


                  Wesley DeHart
                  100 Paradise Court
                  Stephens City, VA 22655


                  Wesley Dendler
                  262 Anderson Ln
                  Mount Olivet, KY 41064


                  Wesley DeRoux
                  7032 Mamie Boulevard
                  Norfolk, VA 23513


                  Wesley Foster
                  510 Maplecrest Dr
                  La Grange, KY 40031


                  Wesley Gantt
                  249 S Center St
                  Beavertown, PA 17813


                  Wesley Gruno
                  8514 Loker Dr
                  Lake, MI 48632


                  Wesley Hawkins
                  5955 NC-704
                  Sandy Ridge, NC 27046


                  Wesley Heckman
                  3511 Mercersburg Rd
                  Mercersburg, PA 17236
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                  Wesley Hill
                  3800 Three Chopt Road
                  Gum Spring, VA 23065


                  Wesley Johnson
                  151 Beecliff Lane
                  Lexington, SC 29073


                  Wesley Kopp
                  116 N Shirk Rd
                  New Holland, PA 17557


                  Wesley Lear
                  614 S Walnut St
                  Blairsville, PA 15717


                  Wesley Lynch
                  5027 Sisk Hill Road
                  Vale, NC 28168


                  Wesley Martin
                  4255 South 1000 East
                  Upland, IN 46989


                  Wesley Parker
                  140 Oslo Court
                  Williamsburg, VA 23188


                  Wesley Richie
                  5825 My Way Lane
                  Gloucester, VA 23061


                  Wesley Stclair
                  3068 West Cook Road
                  Grand Blanc, MI 48439


                  Wesley Thomas
                  948 New Street
                  Hopewell, PA 16650


                  Wesley Uhl
                  144 beaver lane
                  Kersey, PA 15846
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                  Wesley Williams
                  1705 S Laurel Dr
                  Marion, IN 46953


                  Wesley Wimmer
                  3310 Kleeman Lake Ct
                  Cincinnati,, OH 45211


                  West Virginia State Tax Department
                  PO Box 11751
                  Charleston, WV 25339-1751


                  Westerville Division of Revenue
                  P.O. Box 130; 64 East Walnut St.
                  Westerville, OH 43086-0130


                  Westley Boyer Jr
                  15 W Main St
                  Newmanstown, PA 17073


                  Westley Ramsey
                  357 Red Rd
                  Chatsworth, GA 30705


                  Weston Baker
                  1075 N Jossman Rd
                  Ortonville, MI 48462


                  Weston Hall
                  1286 Ashland Road
                  Ruffin, NC 27326


                  Wexler Gause
                  5674 Pauley Rd
                  Columbus, OH 43235


                  White Park LLC
                  805 Trade St., Suite 102
                  CONCORD, NC 28027


                  Whitney Amous
                  1111 Church St
                  Beaumont, TX 77705
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                  Whitney Coombs
                  174 McGlaughlin Road
                  Gettysburg, PA 17325


                  Whitney Ford
                  10 S Walnut St
                  Dale, IN 47523


                  Widmar George
                  627 Euclid Avenue
                  Elmhurst, IL 60126


                  Wight Greger
                  7686 Eakes Rd
                  Oxford, NC 27565


                  WILBERT Hines
                  1525 S. Harrison Road
                  Houghton Lake, MI 48629


                  Wilbert Jones
                  9704 E 65th St
                  Raytown, MO 64133


                  Wilberto Ramos
                  14532 Bayview Dr
                  Carrollton, VA 23314


                  Wilbur Knickerbocker
                  1117 Blue Road
                  Parkton, NC 28371


                  Wilbur Meyer
                  401 Busby Ave
                  Lancaster, OH 43130


                  wilbur nau
                  6238 East Potter Road
                  Burton, MI 48509


                  Wilbur Spradlin
                  6458 Schwartz Road
                  Fort Wayne, IN 46835
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                  Wilbur Winkle
                  8267 Tuttle Hill Road
                  Ypsilanti, MI 48197


                  Wiley Brock
                  421 Connor Avenue Southwest
                  Pataskala, OH 43062


                  Wilford Blizzard
                  3836 Jr Furnace-Powellsville Rd
                  Franklin Furnace, OH 45629


                  Wilford Haupt
                  920 Irish Valley Road
                  Paxinos, PA 17860


                  Wilford Reardon
                  275 Michigan St
                  Concord, MI 49237


                  Wilfredo Lopez Sr.
                  11060 East 700 North
                  Wilkinson, IN 46186


                  Wilkie Moody
                  3647 Lake Forest Road
                  Hope Mills, NC 28348


                  Will Alter
                  233 Gallop Drive
                  Lafayette, IN 47905


                  Will Bogema
                  631 E Eliza St
                  Schoolcraft, MI 49087


                  Will Bouwer
                  313 142nd Avenue
                  Caledonia, MI 49316


                  Will Collins
                  260 Beaver Ridge Trail
                  Murphy, NC 28906
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                  Will Herring
                  801 W Main Street
                  Mt Olive, NC 28365


                  Will Hinnant
                  231 South White Street
                  Fuquay-Varina, NC 27587


                  Will Hocker
                  1705 Paris St.
                  Highland, IL 62249


                  Will Kelly
                  120 Golden Valley Rd
                  Casar, NC 28020


                  Will Prince
                  415 Larkway Drive
                  O'Fallon, IL 62269


                  Will Rose
                  412 Fairway Green Dr
                  Shelbyville, TN 37160


                  Willa Moore
                  515 Grace Street
                  Michigan City, IN 46360


                  Willard Bates
                  485 Oak St
                  Dayton, TN 37321


                  Willard Fullmer
                  228 Mill Stream Avenue
                  Walkerton, VA 23177


                  Willard Hale
                  288 McDonald Court
                  Pisgah Forest, NC 28768


                  Willard Vicks
                  117 Foxwood Place
                  Danville, VA 24541
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                  Willard Wood
                  127 Waterloo Rd
                  Polk, PA 16342


                  Willard Zimmerman
                  106 Timberline Rd
                  Jackson, GA 30233


                  Willberg Chapilliquen
                  15521 Allaire Dr
                  Gainesville, VA 20155


                  William "Bill" McMurran
                  207 Huch Farm Road
                  Mars, PA 16046


                  William "Bill" Pickard
                  27 Old Ox Road
                  Bethel Park, PA 15102


                  William "Bill" Stroud
                  264 Waterman's Dr
                  Gasburg, VA 23857


                  William "Bill" Wilburn
                  1810 Minesite Road
                  Allentown, PA 18103


                  William (Bill) Kidd
                  144 Recess Lane
                  North Tazewell, VA 24630


                  William (Bill) Mathes
                  3070 Panoramic Vista Ct NE
                  Connelly Springs,, NC 28612


                  William (Bill) Overstreet
                  4930 North Spring Drive NW
                  Roanoke, VA 24019


                  William (Bill) Schisler
                  10851 East Kroeger Road
                  Centralia, MO 65240
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                  William (Eric) Freeman
                  131 Lakeside Drive
                  Rockingham, NC 28379


                  William (Nathan) Brookshire
                  19 Robinson Drive
                  Weaverville, NC 28787


                  William Adkins
                  504 n. grandview ave.
                  South Bend, IN 46619


                  William Albert Miskiewicz
                  3333 Edgewood Rd
                  Berrien Springs, MI 49103


                  William Alcorn
                  7132 Wilcox Road
                  Brown City, MI 48416


                  WILLIAM Allen
                  285 Lcr 737
                  THORNTON, TX 76687


                  William Allred
                  948 North Carolina 62
                  Pleasant Garden, NC 27313


                  William Almy
                  2365 S Brennan Rd
                  Hemlock, MI 48626


                  William Alvis
                  630 Deer Haven Dr
                  Lynchburg, VA 24501


                  William Ammann
                  29862 Palmyra Road
                  Warrenton, MO 63383


                  William Anderson
                  40485 Harris Road
                  Belleville, MI 48111
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Anderson
                  6502 Mason Circle
                  Randleman, NC 27317


                  William Andrews
                  6 Beers Ave Duncannon
                  Duncannon, PA 17020


                  William Anthony
                  62 Evergreen Drive
                  New Ringgold, PA 17960


                  William arrington
                  2219 Morris Road
                  Indianapolis, IN 46217


                  William Austin
                  800 Martin Girl Road
                  Newnan, GA 30263


                  William Austin
                  2310 Stanley Avenue Southeast
                  Roanoke, VA 24014


                  William Austin
                  5259 HWY 15
                  Clarksville, VA 23927


                  William Bailey
                  156 Flint Rd
                  Waco, KY 40385


                  William Baker
                  409 North Milton Avenue
                  Springfield, IL 62702


                  William Baker
                  15707 Sherman St
                  Lowell, IN 46356


                  William Baker
                  1296 East Old Spring Hope Road
                  Nashville, NC 27856
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Barfield
                  1001 minnie drive
                  Raleigh, NC 27603


                  William Barnes
                  508 Iroquois Ave
                  Prudenville, MI 48651


                  William Batts
                  1311 Little Low Ground Rd
                  Emporia, VA 23847


                  William Beam
                  400 Jessie Lane
                  Milton, WV 25541


                  William Benion
                  1430 N Jackson St
                  Salisbury, NC 28144


                  william Bennewitz
                  208 Monroe-Heights Road
                  East Stroudsburg, PA 18301


                  William Bethards
                  11114 Park Ridge Rd
                  Fredericksburg,, VA 22408


                  William Biles
                  1515 Smithman Circle
                  Hampton, VA 23663


                  William Bisaillon
                  6373 Belfast Rd
                  Goshen, OH 45122


                  William Black
                  13289 7 Mile Road Northeast
                  Belding, MI 48809


                  William Black
                  1708 Efland Dr
                  Greensboro, NC 27408
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Blair
                  935 Rock Spring Dr
                  Winston-Salem, NC 27105


                  William Blakely
                  18461 Westhaven Avenue
                  Southfield, MI 48075


                  William Blakely
                  6051 Woods Church Road
                  Walhonding, OH 43843


                  William Blevins
                  4811 Cool Spring Drive
                  Chester, VA 23831


                  William Blicha
                  113 County Line Rd
                  Fenelton, PA 16034


                  William Boedecker
                  11370 Greenview Ave
                  Fenton, MI 48430


                  William Boehnlein
                  62480 Gilmore Ave
                  Dowagiac, MI 49047


                  William Bolds
                  2348 Little John Rd
                  Millington, TN 38053


                  William bolin
                  737 Tidwell Drive
                  Clarksville, TN 37042


                  William Bonasso
                  7651 St Francis Dr
                  Northville, MI 48168


                  william booze
                  342 Pond Road
                  Fincastle, VA 24090
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                  William Boros
                  10841 Grange Ave NE
                  Sparta, MI 49345


                  WILLIAM BOSH
                  57 Pointer Trail
                  Waynesville, NC 28786


                  William Boulton
                  6441 Jefferson Road
                  North Branch, MI 48461


                  William Bradley
                  5213 E Valeene Rd
                  Marengo, IN 47140


                  William Bremenour
                  1033 W Main St
                  Susquehanna, PA 18847


                  William Brown
                  413 Bankstown Rd
                  Brooks, GA 30205


                  William Brown
                  8209 E 57th St
                  Kansas City, MO 64129


                  William Brown
                  1518 Selma Road
                  Springfield, OH 45505


                  William Bryant
                  1195 Waldo Way
                  Twinsburg, OH 44087


                  William Bumgardner
                  134 Rustic Trail
                  Arden, NC 28704


                  William Bupp
                  3991 White Pine Dr
                  Dewitt,, MI 48820
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                  William Burkey
                  7980 Hebron Avenue Northeast
                  Louisville, OH 44641


                  William Burkhart
                  2128 Rawls Church Road
                  Angier, NC 27501


                  William Burlison
                  1622 Sweet Meadow Ln
                  Grovetown, GA 30813


                  William Burns
                  11100 Rennert Road
                  Shannon, NC 28386


                  William Byrd
                  16272 Meridy Road
                  Metter, GA 30439


                  William C. Davis
                  222 Al Oerter Drive
                  Clarksville, TN 37042


                  William Campbell
                  1643 Cedar Knoll Ln
                  Caro, MI 48723


                  William Campbell
                  6 Monish Drive
                  Palmyra, VA 22963


                  William Capps
                  7778 spring view circle se
                  Belville, NC 28451


                  William Carathers
                  112 East Geneva Lane
                  Oak Ridge, TN 37830


                  William Carpenter
                  13091 South Dixie Highway
                  La Salle, MI 48145
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                  William Carraway
                  3517 Clovis Court
                  Hope Mills, NC 28348


                  william cason
                  242 mcmurtrey road
                  Pendleton, SC 29670


                  William Cato
                  109 Allenwood Dr
                  Clarksville, TN 37043


                  William Chalfin
                  6386 Morton Rd
                  Greenbrier, TN 37073


                  William Chancey
                  150 Turning Lay Creek Rd
                  Morganton, GA 30560


                  William Chandler
                  8606 Jordan Rd
                  Melvin, MI 48454


                  William Chronister
                  2745 Jefferson Highway
                  Louisa, VA 23093


                  William Clark
                  408 Muirfield Road
                  Smithfield, VA 23430


                  William Clark
                  1864 Castleton Ct
                  Virginia Beach, VA 23454


                  William Clause
                  661 Pine Hill Rd
                  Andreas, PA 18211


                  William Coffey
                  1360 Highway 160
                  Newport, TN 37821
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                  William Collins
                  17881 Goldfinch Road
                  Neosho, MO 64850


                  William Combs
                  1418 West Market Street
                  Crawfordsville, IN 47933


                  William Comer
                  814 Brett Court
                  Kernersville, NC 27284


                  William Compston
                  724 Santa Monica Avenue
                  Springfield, OH 45503


                  William Conley
                  1365 Schuster Road
                  Piketon, OH 45661


                  William Considine
                  16021 24 Mike Rd
                  Macomb, MI 48042


                  William Corbin
                  243 Windmere Place
                  Kingsport, TN 37664


                  William Cosenza
                  1520 Venice Street
                  Dearborn, MI 48124


                  William Crace
                  101 Mike And Barbs Place
                  Wurtland, KY 41144


                  William Creed
                  1007 South 15th Street
                  Saint Joseph, MO 64503


                  William Cross
                  806 Pickens Rd
                  Racine, OH 45771
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                  William Crouse
                  9860 Koontz Corner Road
                  Harrisonburg, VA 22802


                  William Crowell
                  1405 Princeton Avenue
                  Williamsport, PA 17701


                  William Cruz
                  6 Roberta Drive
                  Greenville, SC 29615


                  William Currie
                  67 Whitney Drive
                  Villa Rica, GA 30180


                  William Curtis
                  6375 Hall Road
                  Muskegon, MI 49442


                  William Daniel
                  1201 72nd Street
                  Newport News, VA 23605


                  William Davenport



                  William Davis
                  30730 Island Dr
                  Rockwood, MI 48173


                  William Davis
                  4058 W Weston Rd
                  Weston, MI 49289


                  William Davis
                  159 Nevada Drive
                  West Union, OH 45693


                  William Davis
                  855 Golden View Rd
                  glade hill, VA 24092
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                  William Dawahare
                  778 Running Deer Lane
                  Mars Hill, NC 28754


                  William Dempsey
                  13305 Terminal Avenue
                  Cleveland, OH 44135


                  William Dent
                  13150 Dartmouth Street
                  Oak Park, MI 48237


                  William Despins
                  15421 Uldriks Drive North
                  Battle Creek, MI 49017


                  William Dettman
                  52063 Helmen Avenue
                  South Bend, IN 46637


                  William Dimit
                  369 U.S. 23
                  Waverly, OH 45690


                  William Dixon
                  279 Douglas St
                  Patrick, SC 29584


                  William Dixon
                  1541 Holly Point Road
                  Prosperity, SC 29127


                  William Dobson
                  18931 U.S. 24
                  Lexington, MO 64067


                  William Dodd
                  931 Interchange Rd
                  Kregeville, PA 18333


                  William Donohue
                  33450 State Route 143
                  Shade, OH 45776
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Drewery
                  6349 Nicole Road
                  Spring Hope, NC 27882


                  William Echols Sr
                  408 W High
                  LONDON MILLS, IL 61544


                  William Elliott
                  70 Betsy Lane
                  Belpre, OH 45714


                  William Ellis
                  1578 Brushy Mountain Road
                  Wilkesboro, NC 28697


                  William Engels
                  91 Rotunda Cir
                  Asheville, NC 28806


                  William England
                  11218 Piedmont Drive
                  Fredericksburg, VA 22407


                  William England
                  3989 Stratford Hall Rd
                  Montross, VA 22520


                  William Ensminger
                  6225 Elmhill Court
                  Cincinnati, OH 45248


                  William Enzor
                  450 Irvin Enzor Road N
                  Fair Bluff, NC 28439


                  William Ewing
                  3787 Meldrum Rd
                  Casco, MI 48064


                  William Faddis
                  1190 Park Ave
                  Waynesburg, PA 15370
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Fenstermacher
                  577 Windsor Mill Drive
                  Ballwin, MO 63011


                  William Finch
                  380 sky view acres
                  Murphy, NC 28906


                  William Finch
                  5119 Ridge Dr
                  Pittsburgh, PA 15236


                  William Fisher
                  10901 Ironwood Drive
                  Hopewell, VA 23860


                  William Fisher
                  712 Elm Ave SE
                  Roanoke, VA 24013


                  William Fogle
                  3643 Fremar Road Northeast
                  Lancaster, OH 43130


                  William Fox
                  2980 Kentucky 91
                  Marion, KY 42064


                  William Francis
                  8084 Cedar Lane
                  Boston, VA 22713


                  William Fry
                  1229 Hanes Rd.
                  Beaver Creek, OH 45434


                  William Fudge
                  403 Sutherland Avenue
                  Paris, IL 61944


                  William Fulgham
                  3121 Caroline Crescent
                  Suffolk, VA 23435
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Gainer
                  5214 Belle River Road
                  Attica, MI 48412


                  William Garlick
                  238 Cabell Dr
                  Newport News, VA 23603


                  William Garner
                  7903 Ponte Maria Trail
                  Houston, TX 77044


                  William Garren
                  215 Vineyard Hill Dr
                  Fletcher, NC 28732


                  William Garrison
                  2714 Wilder Dr
                  Stow, MO 65078


                  william garton
                  11853 Thurston Road
                  Meadville, PA 16335


                  William Gary
                  781 Rock Road
                  Rutherfordton, NC 28139


                  William Gaskins
                  6720 James Lee St
                  Falls Church, VA 22042


                  William Geis
                  17190 US-20 ALT
                  West Unity, OH 43570


                  WILLIAM GILBERT
                  27670 East Broadway Street
                  Walbridge, OH 43465


                  William Gilland
                  6435 Goodman Lake Road
                  Salisbury, NC 28146
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                  William Gilmore
                  1105 Irwin St
                  Aliquippa, PA 15001


                  William Graham
                  2742 Old Plank Road
                  New Castle, PA 16105


                  William Graham
                  175 Gauldin St
                  Pemberton, WV 25878


                  William Gravely
                  1949 Candlewick Drive
                  Fort Mill, SC 29715


                  William Green
                  27366 Timberli Road
                  Carlinville, IL 62626


                  william greene
                  919 Adkins Road
                  Burlison, TN 38015


                  William Gregory
                  1181 Rivers Reach Drive
                  Charleston, SC 29492


                  William Grow
                  50 Poague Lane
                  Glasgow, VA 24555


                  William Grozanick
                  1174 Grozanick Rd
                  Patton, PA 16668


                  William Habig
                  1602 S P St
                  Elwood, IN 46036


                  William Hagadorn
                  6255 Pinkerton Rd
                  Vassar, MI 48768
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                  William Hagaman
                  210 Woodward Ave
                  Lock Haven, PA 17745


                  William Hagan
                  313 Cunningham Lane
                  Clarksville, TN 37042


                  William Hampton
                  1401 Wenonah Avenue
                  Pearisburg, VA 24134


                  William Hanvey
                  31531 Cup Tree Drive
                  Gravois Mills, MO 65037


                  William Hardy
                  233 Sioux Trail
                  Somerset, KY 42501


                  William Harley
                  28 Branford Lane
                  Ellerslie, GA 31807


                  William Hart
                  140 Mapledale Drive
                  Munhall, PA 15120


                  William Harvey
                  785 Green Plains Road
                  Emporia, VA 23847


                  William Hatley
                  50923 Jones Rd
                  Norwood, NC 28128


                  WILLIAM HAWKINS
                  733 Lakefield Drive
                  Galloway, OH 43119


                  William Hayes
                  925 State Route 664 N
                  Logan, OH 43138
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                  William Hayes
                  448 Bryan Road
                  Clarksville, TN 37043


                  William Henderson
                  5620 Coxburg Road South
                  Sugar Tree, TN 38380


                  William Henry
                  3337 Old Clifton Road
                  Springfield, OH 45502


                  William Herald
                  855 Hayes Valley Road
                  Princeton, WV 24739


                  William Hetrick
                  15324 Union Leboeuf Road
                  Union City, PA 16438


                  William Heyworth
                  8466 Irish Rd
                  Otisville, MI 48463


                  William Hicks
                  3440 S Newton Ave
                  Springfield, MO 65807


                  William Hill
                  744 North Wozniak Road
                  La Porte, IN 46350


                  William Hill
                  454 Beech Bay Rd
                  Roper, NC 27970


                  William Hine
                  10084 Pleasant Ridge Road
                  Harrisonville, PA 17228


                  William Hoffman
                  420 Beaumont Ave
                  Charlotte, NC 28204
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                  William Homes
                  1965 Raintree Trail, 62234, USA
                  Collinsville, IL 62234


                  William Hukill
                  2839 North 100W
                  Greenfield, IN 46140


                  William Hulsey
                  650 Union Drive
                  Hudson, OH 44236


                  William Hunt
                  3064 Kamerin St
                  Randleman, NC 27317


                  William Hyatt
                  6432 Salem Chapel Ct
                  Walnut Cove, NC 27052


                  William J Salisbury
                  7126 Washington Avenue
                  Evansville, IN 47715


                  William J. IRRIG
                  6406 Whippany Way
                  Burke,, VA 22015


                  William Jackson
                  129 Chaska Loop
                  Troutman, NC 28166


                  William Jackson
                  2010 Commerce Street
                  Wellsburg, WV 26070


                  William Jansak
                  1404 Lake Christopher Drive
                  Virginia Beach, VA 23464


                  William Januszewski
                  264 S Nottawa St
                  Mendon, MI 49072
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                  William Jayson Waller
                  16520 Reinsch
                  Davidson, NC 28036


                  William Jennings
                  24674 Trombley St
                  Harrison Charter Township, MI 48045


                  William Jennings
                  459 Maple Grove Rd
                  Lapeer, MI 48446


                  William Johnson
                  955 Monroe Street
                  Sebring, OH 44672


                  William Johnson
                  2105 Seastone Trce
                  Chesapeake, VA 23321


                  William Johnson
                  1074 N Co Rd 2400
                  Carthage, IL 62321


                  William Jordan
                  1417 Jordan Road
                  Marlinton, WV 24954


                  William Justice
                  380 Rushmore Dr
                  Valparaiso, IN 46385


                  William Katz
                  2663 3 1/2 Mile Road
                  Athens, MI 49011


                  William Kelton
                  256 Maxey Ln
                  Danville, VA 24540


                  William Kelty
                  7 W Sherry Dr
                  Trotwood,, OH 45426
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                  William Kennedy
                  4420 King rd.
                  Saginaw, MI 48601


                  William Kenneman
                  22 Watsell Dr
                  Leicester, NC 28748


                  William Kimberlin
                  18787 Bull Run Road
                  Gregory, MI 48137


                  William Kinney
                  1600 Gray Road
                  Lapeer, MI 48446


                  William Kline
                  14310 Kane Rd.
                  Plainwell, MI 49080


                  William Krawczynski
                  5951 West Cranberry Lake Rd
                  Harrison, MI 48625


                  William L. Ballinger
                  1129 Stonecrest st
                  Desloge, MO 63628


                  William Lara
                  845 Addison Street
                  Adrian, MI 49221


                  William Laugherty
                  270 Jefferson St
                  Tiffin, OH 44883


                  William Lawrence
                  6741 U.S. 127
                  Somerville, OH 45064


                  William Lawrence
                  5876 Powcan Rd
                  Bruington, VA 23023
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                  William Lazzell
                  4638 Breckenridge Dr
                  Columbus, IN 47203


                  William Lee
                  6225 Morattico Road
                  Lancaster, VA 22503


                  William Lee
                  112 Vivian Court
                  Yorktown, VA 23690


                  William Lee Sr
                  18437 Mount Zion Street
                  Cassopolis, MI 49031


                  William Letman
                  625 Nature Walk Way
                  Inman, SC 29349


                  William Lewis
                  231 Iden Lane
                  Martinsburg, WV 25404


                  William Linenkugel
                  1252 Brandywine Street
                  Temperance, MI 48182


                  William Long
                  27040 La Rose Dr
                  Warren, MI 48093


                  William Lord
                  100 Crandol Dr
                  Yorktown, VA 23693


                  William Love
                  15 Forde Row
                  Charleston, SC 29412


                  William Lowe
                  12 Sleigh Ride Ln
                  Fletcher, NC 28732
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                  William Lucas
                  1036 Taylor Street
                  Elkhart, IN 46516


                  William Lutz
                  18897 Dupree Trail
                  Greencastle, MO 63544


                  William Lysaght
                  6889 Ridgevue Dr
                  Pittsburgh, PA 15236


                  William Mabold
                  2379 Linden Drive
                  Hampton Township, PA 15101


                  William Maddox
                  2806 Winston Churchill Dr
                  Hopewell, VA 23860


                  William Malcolm
                  494 S Raleigh St.
                  Angier, NC 27501


                  William Marciante
                  243 Humming Bird Way
                  Jonesborough, TN 37659


                  William Marshall
                  1028 Rambeau Dr
                  Dayton, OH 45449


                  William Martin
                  1436 Rickey Rd
                  Max Meadows, VA 24360


                  William Martin
                  4810 East Letts Road
                  Midland, MI 48642


                  william martinoli
                  2916 Southeast 228th Street
                  Lathrop, MO 64465
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Matheson
                  128 Laurel Rock Point
                  Leesville, SC 29070


                  William Matsko
                  259 Vine St.
                  Canonsburg, PA 15317


                  William Mayfield
                  5 Periwinkle Court
                  Durham, NC 27703


                  William McCollum
                  3449 Aaron Trail
                  Powder Springs, GA 30127


                  William McCormick
                  5359 Brookshire Dr
                  Monroe, MI 48161


                  William McDaniel
                  5510 Ansonville Road
                  Marshville, NC 28103


                  William McDonald
                  11970 e. Goodall Rd
                  Durand, MI 48429


                  William McEnulty
                  4982 Cunot-Cataract Road
                  Poland, IN 47868


                  William McGhee
                  3600 Midwest Drive
                  Bryan, TX 77802


                  William McGlynn
                  11707 Talbot Ct
                  Fredericksburg, VA 22408


                  William McIntire
                  1746 Ohio 60
                  Wakeman, OH 44889
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William McKinney
                  657 Spring St
                  Walnut Cove, NC 27052


                  William Meier
                  2581 North Johnson Road
                  Weidman, MI 48893


                  William Merzweiler
                  3736 Upton St
                  St. Louis, MO 63116


                  William Metzgar
                  26 Norma Lane
                  Richland, PA 17087


                  William Miller
                  1032 East 1st Street
                  Trenton, IL 62293


                  William Miller
                  23231 T Drive South
                  Homer, MI 49245


                  William Miller
                  969 Ppl Road
                  Danville, PA 17821


                  William Miller
                  1018 Mohican St
                  Round Rock, TX 78665


                  William Mims
                  1738 Plank Road
                  North Augusta, SC 29841


                  William Minch
                  447 Lancair Dr
                  Sparta, MI 49345


                  William Miracle
                  2316 Green Ash Ct
                  Ashland, OH 44805
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                  William Mitchell
                  1131 Craig Rd
                  Maumee, OH 43537


                  William Moody
                  4720 West Richardson Road
                  Elkton, MI 48731


                  William Moon
                  1675 Buck Rd
                  Crozet, VA 22932


                  William Moore
                  202 Timberfield Trail
                  china grove, NC 28023


                  William Moore
                  11373 MT HOPE RD
                  THORNVILLE, OH 43076


                  William Moore
                  8483 U.S. Highway 1
                  South Hill, VA 23970


                  william moran
                  6749 Chieftain Drive
                  Charlotte, NC 28216


                  William Morgan
                  410 Carleton Avenue
                  Caruthersville, MO 63830


                  William Morris
                  6256 Lahring Rd
                  LINDEN, MI 48451


                  William Morse
                  13805 Cornell St
                  Taylor, MI 48180


                  William Mosley
                  2013 Boney Rd
                  Kershaw, SC 29016
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Mosley
                  82 Jenkins Drive
                  Fayetteville, TN 37334


                  William Mottern
                  256 Redbrush Road
                  Boyers, PA 16020


                  William Mowery
                  1512 Lakefield Dr
                  Clemmons, NC 27012


                  William Mueller
                  2577 Polo Ln Lot # 20
                  Maiden, NC 28650


                  William Myers
                  845 Barker Road
                  Ringgold, VA 24586


                  William Neiman
                  28643 Audrey Ave
                  warren, MI 48092


                  William Nelson
                  9132 W Tulip Dr
                  Columbus, IN 47201


                  William Nesbitt
                  58241 Wharton Rd
                  Barnesville, OH 43713


                  William Neu
                  9776 Five Forks Road
                  Farmville, VA 23901


                  William Newcomb
                  6014 U.S. 29 Business
                  Reidsville, NC 27320


                  William Oakes
                  8697 Crestview Trail
                  McCordsville, IN 46055
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Ohlendorf
                  129 E Marquette St
                  Ottawa, IL 61350


                  William Olson
                  3891 Daisy Road
                  Loris, SC 29569


                  William Orenbaun
                  303 West Grant Street
                  Houston, PA 15342


                  William Ostler
                  220 Reynick Ave
                  Saginaw, MI 48602


                  William Oswald
                  86 Kendall Place
                  Danville, VA 24540


                  William Packard
                  205 Meadowmist Dr
                  Garner, NC 27529


                  William Parker
                  17312 Midway Ave
                  Allen Park,, MI 48101


                  William Parker III
                  6013 Wolverhampton Dr
                  Raleigh,, NC 27603


                  William Parrish
                  2622 Idlebrook Circle
                  midway park, NC 28544


                  William Patterson
                  5402 Baptist Valley Road
                  North Tazewell, VA 24630


                  William Penny
                  9308 Polaris Drive
                  Bloomington, IL 61705
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                  William Perry
                  15135 Meyer Ave
                  Allen Park, MI 48101


                  William Perry
                  438 Yeopim Road
                  Edenton, NC 27932


                  William Peterson
                  1509 Riley Run Rd
                  Forest, VA 24551


                  William Petzel
                  3371 N Cypress Ave
                  White Cloud, MI 49349


                  William Phillips
                  119 Single Oak DR
                  TROUTMAN, NC 28166


                  William Phillips
                  208 Powder Magazine Rd
                  Philipsburg, PA 16866


                  William Pierce
                  1451 N Rohde Ave
                  Berkeley, IL 60163


                  William Pippins
                  8240 Elmway Dr
                  Dayton, OH 45415


                  William Pleiman
                  20303 Alpine Drive
                  Lawrenceburg, IN 47025


                  William Pollock
                  5897 West Buffalo Bottoms Road
                  Campbellsburg, IN 47108


                  William Porter
                  1229 S McCoy Ridge Rd
                  Stockport, OH 43787
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Preston
                  2064 NC-772
                  Pine Hall,, NC 27042


                  William Price
                  41 Deerfield Dr
                  Hurricane, WV 25526


                  William Ramsey
                  3806 Bethesda Drive
                  Chester, VA 23831


                  William Ramsey Jr
                  521 Forest Avenue
                  Joplin, MO 64801


                  William Rawson
                  32223 cr 665
                  Paw Paw, MI 49079


                  William Ream
                  314 Cherry Ln
                  Johnstown, PA 15904


                  William Reckner
                  10274 South 300 East
                  Markleville, IN 46056


                  William Redd
                  286 Shelton Rd
                  Radcliff, KY 40160


                  William Redman
                  9919 Pentecost Highway
                  Onsted, MI 49265


                  William Reynard
                  1525 22nd Street Northeast
                  Roanoke, VA 24012


                  William Reynolds
                  1232 North Glenwood Drive
                  Columbia, IL 62236
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Reynolds
                  4231 East Fork Hills Drive
                  Batavia, OH 45103


                  William Rice
                  1304 E Coon Hunters Rd
                  Leavenworth, IN 47137


                  William Rice
                  2581 Vonoa Dr
                  Radcliff, KY 40160


                  William Ringuette
                  316 Victoria Way, Richmond, Va.
                  Richmond, VA 23238


                  william riseling
                  4674 Cutter Mill Road
                  Martinez, GA 30907


                  William Ritthaler
                  4476 Haynes Road
                  Stockbridge, MI 49285


                  William Robbins
                  15656 Klopfenstein Road
                  Grabill, IN 46741


                  William Robinson
                  141 Orr Mill Rd SE
                  Ranger, GA 30734


                  William Robinson
                  9895 Bacons Ln
                  Gloucester, VA 23061


                  William Rodgers
                  1672 Delowe Drive Southwest
                  Atlanta, GA 30311


                  William Rodriguez
                  1960 Sydenham Trail
                  Virginia Beach, VA 23464
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Rombilus
                  3259 Rowe Drive
                  Summerton, SC 29148


                  William Roper
                  Andrew M. Kuzma AAA
                  1311 Boston Hollow Road
                  McKeesport, PA 15135


                  William Roper
                  114 Laura Lane
                  Elizabeth, PA 15037


                  William Rose
                  148 Cemetery Street
                  Chester, SC 29706


                  William Ruby
                  817 Powdermill Rd
                  Gatlinburg, TN 37738


                  William Ruddle
                  321 Madison St
                  Kenton, OH 43326


                  William Rudert
                  216 North Pike Road
                  Sarver, PA 16055


                  William Rudy
                  5421 Kissell Avenue
                  Altoona, PA 16601


                  William Rye
                  1146 Drake Road
                  Adams, TN 37010


                  William Salsbery
                  1565 West 600 North
                  Sharpsville, IN 46068


                  William Sanders
                  3033 Casswood Dr
                  Louisville, KY 40220
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Sapp
                  4532 East 600 South
                  Gas City, IN 46933


                  William Sargent
                  16938 W Hills Dr,
                  Castlewood,, VA 24224


                  William Sayre
                  2620 Amity Road
                  Hilliard, OH 43026


                  William Scharp
                  1051 Gladys Lane
                  Chesterton, IN 46304


                  William Schrader
                  7800 Mt Moriah Rd
                  Nineveh, IN 46164


                  William Searcy
                  20 Sanford Ferry Court
                  Fredericksburg, VA 22406


                  William Self
                  512 E Main St
                  Toulon, IL 61483


                  William Selkirk
                  544 N Jacksonburg Rd
                  Cambridge City, IN 47327


                  William Shackelford
                  322 Park Blvd.
                  Worthington, OH 43085


                  William Sheffield
                  913 Cherry Grove Road
                  Franklin, TN 37069


                  William Silberman
                  30 Orchard Cove LN
                  Callao, VA 22435
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                  William Silberman
                  1192 Lodge Road
                  Callao, VA 22435


                  William Sires
                  161 Glenn Drive
                  Franklin, PA 16323


                  William Sites
                  225 Summer Haven Rd
                  Swannanoa, NC 28778


                  William Sittler
                  596 Mahoning Dr W
                  Lehighton, PA 18235


                  William Smith
                  22420 Jo Ann Rd
                  West Lafayette, OH 43845


                  William Smith
                  22279 Seaside Rd
                  Cape Charles, VA 23310


                  William Sneed
                  410 Thompson Springs Road Southeast
                  Cleveland, TN 37323


                  William Snyder
                  188 Huntingdon rd. Ruffsdale, pa 15679
                  Ruffs Dale, PA 15679


                  William South
                  18801 Landing Lane
                  Columbia Station, OH 44028


                  William Spencer
                  17700 Chapman Rd
                  Millfield, OH 45761


                  William Sperber
                  1329 Applewood Drive
                  White Lake, MI 48386
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                  William Spierdowis
                  18849 Stonebluff Lane
                  Noblesville, IN 46062


                  William Splees
                  12935 Duncan Plains Road Northwest
                  Johnstown, OH 43031


                  William Spruill
                  3593 Wildcat Road
                  Williamston, NC 27892


                  William Spurgis
                  7218 Jordan Rd
                  Grand Blanc, MI 48439


                  William Stalsworth
                  1039 Mt Lebanon Rd
                  Maryville, TN 37804


                  william staryk
                  3242 Providence Road
                  Gloucester Point, VA 23072


                  William Steffen
                  9502 Placid Park Dr
                  New Haven, IN 46774


                  William Stemen
                  346 Barron Dr
                  Michigan Center, MI 49254


                  William Stewart
                  1524 East Broad Road
                  Madison, IN 47250


                  William Stinespring
                  101 Alberta Dr
                  Newport News, VA 23602


                  William Stockslager
                  3763 Quaker Lake Rd
                  Brackney, PA 18812
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                  William Stone
                  5247 Dalson Road
                  Twin Lake, MI 49457


                  William Strang
                  4303 Elizabeth Street
                  West Mifflin, PA 15122


                  William Summe
                  1617 Acreview Dr.
                  Cincinnati, OH 45240


                  William Surrett
                  53 Dove Ct
                  Warne, NC 28909


                  William Swann
                  355 Cumberland Hills Dr
                  Madison, TN 37115


                  William Sweeney
                  7126 Sharon Hollow Rd
                  Manchester, MI 48158


                  William Taylor
                  1761 Wessel Dr
                  Columbus, OH 43235


                  William Taylor
                  8258 Spicewood Place
                  Mechanicsville, VA 23111


                  William Thomas
                  309 Parker St
                  Pittsburgh, PA 15209


                  William Thompson
                  514 West Griffith Street
                  Galveston, IN 46932


                  William Tinsley
                  17406 Borough Ln
                  Spring, TX 77379
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Toler
                  616 brooke st
                  Hampton, VA 23605


                  William Toole
                  955 Doherty Store Rd
                  Big Sandy, TN 38221


                  William Towndrow
                  1503 Forest Cove dr.
                  Chesapeake, VA 23323


                  William Travis Ethridge
                  112 Pocahontas Trl
                  Clayton, NC 27527


                  William Tuell
                  14317 Ravenswood Drive
                  Meadowview, VA 24361


                  William Turgeon
                  640 N High St
                  Lancaster, OH 43130


                  William Vanmullekom
                  29226 Barton Street
                  Garden City, MI 48135


                  William Vaughn
                  437 Rogers Ave
                  Kingsport, TN 37660


                  William Vawter
                  24 Triple B Lane
                  Taft, TN 38488


                  William Veney
                  4539 Ridgecrest Lane
                  Colonial Heights, VA 23834


                  William Verrett
                  22001 Lake Jordan Dr
                  Petersburg, VA 23803
Case 22-50228   Doc 1    Filed 10/07/22 Entered 10/07/22 16:16:29   Desc Main
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                  William Voris
                  1379 Boyd Rd
                  Reidsville, NC 27320


                  William Wagner
                  8735 East Division Road
                  Bowling Green, IN 47833


                  William Walcott
                  10036 Laurence Avenue
                  Allen Park, MI 48101


                  William Walker
                  1840 Wood Road
                  Marlette, MI 48453


                  William Wallace
                  3031 Pulaski Highway
                  Cornersville, TN 37047


                  William Wallin
                  2899 Dutch Run Road
                  Beaver, OH 45613


                  William Ward II
                  3201 Summerfield Dr
                  Indianapolis, IN 46214


                  William Weaver
                  81 Lows Mill Lane
                  Blairsville, GA 30512


                  William Whitman
                  4755 SE Fox Run Rd
                  Lathrop, MO 64465


                  William Wiliford
                  1108 Hillside Ave
                  Richmond, VA 23229


                  William Willey
                  9335 US-62
                  Hillsboro, OH 45133
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                  William William Orenbaun
                  303 West Grant Street
                  Houston, PA 15342


                  William Williams
                  201 Rabbit Run Road
                  Georgetown, KY 40324


                  William Williams
                  11590 Murthum Ave
                  Warren, MI 48093


                  William Willis
                  2118 Whispering Sand Lane
                  Virginia Beach, VA 23455


                  William Wood
                  7844 N County Road 300 W
                  Brazil, IN 47834


                  WILLIAM Wright
                  141 Deerhaven Rd
                  Bellefonte, PA 16823


                  William Wright
                  49 Burge St
                  Philipsburg, PA 16866


                  William Wright
                  2636 pioneer Ave
                  Pittsburgh, PA 15226


                  william yee
                  5184 Saffron Drive
                  Troy, MI 48085


                  William Yoder
                  13554 Union Avenue Northeast
                  Alliance, OH 44601


                  William Zubal
                  211 South Old Route 66
                  Mount Olive, IL 62069
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                  Willie Blondino
                  2447 Jasper Ct
                  Norfolk, VA 23518


                  Willie Brown
                  221 Obie Drive
                  Durham, NC 27713


                  Willie Carter
                  3945 Fox Street
                  Inkster, MI 48141


                  Willie Charleston
                  7500 Caribou Court
                  Charlotte, NC 28273


                  Willie Conley
                  18067 Curtain Avenue
                  Eastpointe, MI 48021


                  Willie Davies
                  2929 Beth Ln
                  Hamilton, OH 45013


                  Willie Faison
                  19490 Roselawn St
                  Detroit, MI 48221


                  Willie Fletcher
                  9201 Running Brook Drive
                  Parma, OH 44130


                  Willie Greathouse
                  881 Bay St
                  Pontiac,, MI 48342


                  Willie Hudson
                  6927 Cove Creek Dr
                  Charlotte, NC 28215


                  Willie Jones
                  3275 N HURRICANE HLS
                  Paragon, IN 46166
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                  Willie Kollar
                  123 Longvue Dr
                  West Mifflin, PA 15122


                  Willie Mayers
                  232 Etheridge Rd
                  Chesapeake, VA 23322


                  Willie Midgette
                  52 Serenity Pointe Drive
                  Selma, NC 27576


                  Willie Starke
                  11406 Whitehill St
                  Detroit, MI 48224


                  Willie Tate
                  48385 Pfeiffer Place
                  Misenheimer, NC 28109


                  Willie Taylor
                  6147 Sedgewick Court
                  King George, VA 22485


                  Willie Watford
                  147 North Carolina 42
                  Ahoskie, NC 27910


                  Willie Watkins
                  5603 Backwater Terrace
                  Richmond, VA 23234


                  Willie Wilson
                  2072 Bandera Drive
                  Clarksville, TN 37042


                  willis dowling
                  6318 Helen Street
                  Garden City, MI 48135


                  Willis Horton
                  437 Williford Lane
                  Wilmington, NC 28411
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                  Willis McDowell
                  80 Old School Road
                  Grove City, PA 16127


                  Willliam Mahan
                  8215 Indian Springs Road
                  Richmond, VA 23237


                  Willoughby Supply
                  3690 Commerce Dr.
                  Middletown, OH 45005


                  Willy noble
                  3961 Kemper Hollow Road
                  Gallipolis, OH 45631


                  Willy Powell
                  207 Seaton Ave
                  Grovetown, GA 30813


                  Willy Standokes
                  1417 Shady Tree Way
                  Chesapeake, VA 23323


                  Willy Van Singel
                  1875 Mapleview St SE
                  Kentwood, MI 49508


                  Wilma Claybaugh
                  55 Tuscarora Street
                  Thompsontown, PA 17094


                  Wilma Homer
                  13628 Walnut Street
                  Bath Township, MI 48808


                  Wilma Hopson
                  242 Riverbend Dr
                  Beech Island, SC 29842


                  Wilma Romatz
                  1754 Brockway Rd
                  Saginaw, MI 48602
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                  Wilmer Zambrano
                  128 Wilson Court
                  Saylorsburg, PA 18353


                  Wilmington City Income Tax
                  P.O. Box 786
                  Wilmington, OH 45177


                  Wilmon Hamer
                  17125 School Street
                  South Holland, IL 60473


                  Wilson Denoon
                  2850 Trenholm Rd
                  Powhatan, VA 23139


                  Wilson Duran
                  806 Kyler Lane
                  Bonaire, GA 31005


                  wilson rivera
                  126 Richmond Run
                  Stem, NC 27581


                  Wilson Theodore
                  18 Routten Road
                  Hampton, VA 23664


                  Wilton Taylor
                  220 Canyon Road
                  Winchester, VA 22602


                  Wilton Vause
                  450 Old Pinckney Rd
                  York, SC 29745


                  Wilton VunCannon
                  205 General Roberts Drive
                  Columbia, TN 38401


                  Wilton Wahlkamp
                  1815 Hurst Drive
                  Hampton, VA 23663
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                  Wimberly Stevens
                  146 Dovel Court
                  Pickerington, OH 43147


                  Wimsatt Building Materials
                  Department 175901
                  PO Box 67000
                  Detroit, MI 48267-1759


                  Windstream Enterprise
                  PO Box 9001908
                  Louisville, KY 40290-1908


                  Windy Burns
                  1125 West 900 South
                  Kingman, IN 47952


                  Windy Carlton
                  23866 BCR 322
                  Marble Hill, MO 63764


                  Winford Hogan
                  140 Horseshoe Lane
                  Rockaway Beach, MO 65740


                  Winfried Shoeb
                  3490 E Clarice Ave
                  Highland Charter Twp, MI 48356


                  Winslow Technology Group, LLC
                  303 Wyman Street Suite 210
                  Waltham, MA 02451


                  Winston Ammons
                  389 Eastern Shores Drive
                  Lexington, TN 38351


                  Winston Campbell
                  504 Dean St
                  Scranton, PA 18509


                  Winston Jones
                  2102 Shademart Cir
                  Powhatan, VA 23139
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                  Winston Riddle
                  86 Lindley Dr
                  Old Fort, NC 28762


                  Winston Smith
                  5070 Summer Ridge Rd
                  Fayetteville, NC 28303


                  Witold Chlastawa
                  34000 County Road 215
                  Bangor, MI 49013


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                  704 MACY DR
                  ROSWELL, GA 30076


                  WJ Bako Enterprises LLC
                  704 Macy Drive
                  Roswell, GA 30076


                  Wolfie Schmedding
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                  Mattawan, MI 49071


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                  Charlotte, NC 28260-1879


                  Wonda Fuller
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                  Detroit, MI 48234


                  Woodie Wunstell
                  184 Zion Lane
                  Sneads Ferry, NC 28460


                  Woodly page Cockrell
                  801 Suffolk Ln
                  Virginia Beach, VA 23452


                  Woodrow Wells
                  616 North 4th Street
                  Toronto, OH 43964
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                  Woody Byers
                  3340 East T Avenue
                  Portage, MI 49002


                  Woody Cheek
                  6047 N Brummett Rd
                  Quincy, IN 47456


                  Woody Johnson
                  1430 Cedar Rock Drive
                  Forest, VA 24551


                  Woody Wimmer
                  5664 Poor Mountain Road
                  Salem, VA 24153


                  Woong-Sik Chon
                  2260 Kewanee Way
                  Meridian charter Township, MI 48864


                  Wooster City Income Tax
                  P.O. Box 1088
                  Wooster, OH 44691-7081


                  worku edero
                  3035 Sandra Place
                  Cincinnati, OH 45238


                  Wrench, INC
                  701 5th Ave Suit 7250
                  Seattle, WA 98104


                  WTSA Security, LLC
                  626 Margaret Dr
                  Statesville, NC 28677


                  Wyatt Adams
                  790 Falling Rock Dr
                  Amherst, VA 24521


                  Wyatt gonzales
                  149 Bryant Street
                  Battle Creek, MI 49017
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                  Wyatt Kahapea
                  19657 State Highway U
                  Irondale, MO 63648


                  Wyatt Schmitt
                  6920 Henze Road
                  Evansville, IN 47720


                  Wyman McKnight
                  1373 I M Graham Road
                  Kingstree, SC 29556


                  wyndom fields
                  7962 Adams Creek Road
                  Gloucester, VA 23061


                  Wyvonne Sitgraves
                  206 Springdale Way
                  Hampton, VA 23666


                  X/S Waste Transport, Inc
                  5556 Ridge Road
                  Elizabethtown, PA 17022


                  Xavier Lewis
                  18466 Monica Street
                  Detroit, MI 48221


                  Xhevat Gjata
                  6620 Merringer Avenue
                  Reynoldsburg, OH 43068


                  Xiangning Luo
                  17027 Pheasant Ridge Drive
                  Sugar Land, TX 77498


                  Xianyu Liu
                  20 Spoede Hills Dr Creve Coeur, MO 63141
                  Creve Coeur,, MO 63141


                  Xiaoshan Liang
                  305 Congress Ave
                  Hampton, VA 23669
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                  Xing Chen
                  520 Caledonia Drive
                  Wadsworth, OH 44281


                  Xzavier Sullivan
                  555 Knollwood Dr
                  Stockbridge, GA 30281


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                  Iron Station, NC 28080


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                  Jacksonville, NC 28546


                  Yancy Quinn
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                  Spartanburg, SC 29307


                  Yanee Sheehan
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                  Bloomfield Hills, MI 48302


                  Yara Fardous
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                  Ann Arbor, MI 48105


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                  2462 Kentwell Ln
                  Decatur, GA 30035


                  Yardley Townsend
                  26316 Payne Road
                  Bloxom, VA 23308
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                  Yareni Guzman
                  26640 Crawford Road
                  Brownstown, MI 48174


                  Yasamean Alhadad
                  16426 Sherwood Ln
                  Northville, MI 48168


                  Yaser Akileh
                  7235 Davis Rd
                  Hilliard, OH 43026


                  Yasmeen Prince
                  1175 Elizabeth Ln
                  Clarksville, TN 37042


                  Yaw Mensah
                  604 N Rathwell Ct
                  Chesapeake, VA 23322


                  Yehia Hanna
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                  Rochester, MI 48306


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                  Yesenia Rector
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                  Marion, NC 28762


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                  Roanoke, VA 24012


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                  Chicago, IL 60651


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                  66 Lasalle Dr
                  Grottoes, VA 24441
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                  Yiroska Lee
                  570 Clare Morris Trace
                  Powder Springs, GA 30127


                  Yngve Hayley
                  21986 Woodruff Rd
                  Rockwood, MI 48173


                  Yogeshkumar Patel
                  108 Hart Preserve Dr
                  fortson, GA 31808


                  Yolanda Brown
                  2747 Moorings Parkway Southwest
                  Snellville, GA 30039


                  Yolanda Holton
                  4233 Heatherwood Dr
                  Milford, MI 48381


                  Yolanda Johnson
                  115 Pinewood Trail
                  West Paducah, KY 42086


                  Yolanda Kingsbury
                  1525 Gesshe Court
                  Brentwood, TN 37027


                  Yolanda Martinez
                  7213 Proud Panda Drive
                  Del Valle, TX 78617


                  Yolanda Stoner
                  820 Johnson Ave
                  Norfolk, VA 23504


                  Yona Leimkuehler
                  1736 Ferry Road
                  Morrison, MO 65061


                  Yosaura Santos
                  2797 Swallow Rd
                  Reidsville, NC 27320
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                  Young and Profiting LLC
                  20 Shady Brook Ct
                  Watchung, NJ 07069


                  Yousef Haddad
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                  Armada, MI 48005


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                  Clayton, NC 27527


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                  New Bern, NC 28562


                  Yves Pilotte
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                  Belleville, MI 48111


                  Yvette Collins
                  2878 Allegheny Drive
                  Blakeslee, PA 18610


                  Yvette Marroon
                  101 Del Ray Drive
                  Marietta, OH 45750


                  Yvettra Marshall
                  1753 Noble Street
                  Gary, IN 46404


                  Yvonne Baku
                  1724 Princeton Avenue
                  Norfolk, VA 23523


                  Yvonne Beal
                  99 E Elmwood St
                  Leonard, MI 48367


                  Yvonne Byrdsong-Robinson
                  2803 Barton Ave
                  Richmond, VA 23222
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                  Yvonne Costella Ward
                  5871 Brookway Drive
                  Winston-Salem, NC 27105


                  Yvonne Dickerson
                  109 North Main Street
                  Roachdale, IN 46172


                  Yvonne Ellison
                  3370 E 93rd St
                  Cleveland, OH 44104


                  Yvonne Hogan
                  11747 County Road 4102, Lindale, TX, USA
                  LINDALE, TX 75771


                  Yvonne Hutcheson
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                  Montrose, MI 48457


                  Yvonne JONES
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                  Columbus, OH 43219


                  Yvonne Jordan
                  137 Laura Drive
                  New Bern, NC 28562


                  yvonne linyear
                  303 Salt Marsh Way
                  Suffolk, VA 23435


                  Yvonne Long
                  229 English Walnut Drive
                  Richlands, NC 28574


                  Yvonne Mihalek
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                  Portage, MI 49002


                  Yvonne Proctor
                  895 Battlefield Bluff Dr
                  New Market, VA 22844
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                  Yvonne Saint Gerard
                  1884 Millbank Road
                  Lexington, KY 40511


                  Yvonne Smith
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                  Hammond, IN 46323


                  Yvonne Smith
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                  Jackson Springs, NC 27281


                  Yvonne Walsh
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                  Westland, MI 48186


                  Yvonne Williams
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                  Shelbyville, IN 46176


                  Yvonne Wright
                  1427 Green Lake Road
                  Ellerbe, NC 28338


                  Yvonne Yankee
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                  Livonia, MI 48154


                  Zabrina Hoskins
                  2800 yahtzee lane
                  Charlotte, NC 28208


                  Zabwon Welch
                  441 Orchard St
                  Kingston, PA 18704


                  Zac Donbrock
                  19191 Poinciana
                  Redford Charter Twp, MI 48240


                  Zac Eimer
                  11353 Schenenberg Rd
                  Guys Mills, PA 16327
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                  zac holbrook
                  957 Gate Road
                  Nickelsville, VA 24271


                  Zac Stongle
                  804 Hancock Avenue
                  Portsmouth, VA 23701


                  Zach Brollier
                  206 Ada Street
                  Greenfield, MO 65661


                  Zach Brown
                  565 East Morse Street
                  Markle, IN 46770


                  Zach Bryan
                  2629 113th Avenue
                  Allegan, MI 49010


                  Zach Edquist
                  11851 Woodridge Drive
                  Bridgman, MI 49106


                  Zach Eller
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                  Huntington, IN 46750


                  Zach Felty
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                  Midland, MI 48642


                  Zach Henderson
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                  Moravian Falls, NC 28654


                  Zach Kirby
                  346 Grand View Circle
                  Normandy, TN 37360


                  Zach Lindzy
                  25 E county rd 1100 N
                  Wheatfield, IN 46392
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                  Zach McCarter
                  101 E IN-8
                  Kouts, IN 46347


                  Zach Morehead
                  21 Savannah Way
                  Liberty, KY 42539


                  Zach Penrod
                  3510 North County Road 950 East
                  Brownsburg, IN 46112


                  Zach Phillips
                  200 W Olive St
                  Salem,, IL 62881


                  Zach Raimer
                  9155 East 1st Avenue
                  Pine Village, IN 47975


                  Zach Shoemaker
                  2341 West Beal Road
                  Jamestown, OH 45335


                  Zach Skeens
                  5835 Swartz Mill Rd SE
                  Sugar Grove, OH 43155


                  Zach Swann
                  6475 South Ridge Road West
                  Geneva, OH 44041


                  Zach Thocher
                  3074 N 56th Ave
                  Hart, MI 49420


                  Zach Weber
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                  Eau Claire, MI 49111


                  Zach Welling
                  18400 Luckey Road
                  Pemberville, OH 43450
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                  Zach White
                  9472 Moneta Rd
                  Bedford,, VA 24523


                  Zachary Anglin
                  2045 Christian Road
                  Bowman, GA 30624


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                  Garden City, MI 48135


                  Zachary Darrow
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                  Miami Beach, FL 33140


                  Zachary Duits
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                  Freeport, MI 49325


                  Zachary Fletcher
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                  Macon, GA 31210


                  Zachary Glover
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                  Appomattox, VA 24522


                  Zachary Hall
                  2118 Karol Ct
                  Muskegon, MI 49444


                  Zachary hamilton
                  29 Eastholm Avenue
                  Akron, OH 44312


                  Zachary Israel
                  102 Palmetto Place South
                  Byesville, OH 43723


                  Zachary Klouse
                  8916 Lyleton Lane
                  Charlotte, NC 28269
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                  Zachary Maldonado
                  325 Daffodil Drive
                  Temple, GA 30179


                  Zachary Miller
                  109 Kirk Ln
                  Gallatin, TN 37066


                  Zachary Millisor
                  7141 Murray Rd
                  Jackson, MI 49201


                  Zachary Polifroni
                  2755 College Ave
                  Terre Haute, IN 47803


                  Zachary Racer
                  3495 N Downing Rd
                  Malta, OH 43758


                  Zachary Sasser
                  3125 East 900 South
                  Walton, IN 46994


                  Zachary Schaub
                  6850 Ottawa Drive
                  Mesick, MI 49668


                  Zachary Scott
                  4604 Napalot Ln
                  Marshall, VA 20115


                  Zachary Shaw
                  1053 Carrington Pl
                  Maineville,, OH 45039


                  Zachary Slate
                  13549 E State Route 37
                  Sunbury, OH 43074


                  Zachary Smith
                  760 S 700 W
                  Morgantown, IN 46160
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                  Zachary Smith
                  949 Whispering Ridge Ln
                  St. Peters, MO 63376


                  Zachary Strong
                  425 Goshawk Lane
                  Charlotte, NC 28216


                  Zachary Stuart
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                  Marion, VA 24354


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                  Detroit, MI 48221


                  Zachary Tyhurst
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                  Blacksburg, VA 24060


                  Zachary Ulp
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                  Norfolk, VA 23503


                  Zachary Vannest
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                  Elkton, VA 22827


                  Zachery Bachmann
                  504 Township Ct
                  Fountain Inn, SC 29644


                  Zachery Clark
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                  Hanover, PA 17331


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                  Mooresville, NC 28115


                  Zack Carroll
                  2410 Agra drive
                  Henrico, VA 23228
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                  Zack Clayton
                  5110 Riverbirch Dr N
                  Columbus, OH 43229


                  Zack Masterson
                  631 Williamson Street
                  Rockport, IN 47635


                  Zack Varga
                  5300 Nye Rd
                  Hudson, MI 49247


                  Zackary Hall
                  301 Viking Drive
                  Battle Creek, MI 49017


                  Zackary Kidd
                  414 Boxley Road
                  Roanoke, VA 24019


                  Zackary Williams
                  1432 Branner Street
                  White Pine, TN 37890


                  Zackery Meteer
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                  Kingsley, MI 49649


                  Zackery Turbyfill
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                  Caseyville, IL 62232


                  Zafor Iqbal
                  3545 Fairstone Rd
                  Wake Forest, NC 27587


                  Zahid Hussain
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                  Herndon, VA 20170


                  Zaire Garnett
                  15834 Deerfield Avenue
                  Eastpointe, MI 48021
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                  Zaiyara Rivera
                  148 Edge Water Drive
                  Brunswick, GA 31525


                  Zakawan Din
                  6426 Salisbury Dr
                  Fort Wayne, IN 46816


                  Zakiya Holmes
                  1836 Hampshire Dr
                  Salisbury,, NC 28146


                  zander carson
                  4415 4th Avenue
                  Koppel, PA 16136


                  Zane Coffelt
                  191 Buck Run Ln
                  Fort Valley, VA 22652


                  Zane Emerick
                  305 Granite Road
                  Hyndman, PA 15545


                  Zanesville City Income Tax
                  401 Market St.
                  Zanesville, OH 43701-3520


                  Zdenek Dud
                  5870 Appian Way
                  Waterford Twp,, MI 48329


                  Zeb Stackpole
                  677 Harvey Faulk Road
                  Sanford, NC 27332


                  Zechariah Schewe
                  8303 Lagoon St
                  Commerce Charter Twp,, MI 48382


                  Zeke Taylor
                  907 N Broadway
                  Leavenworth, KS 66048
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                  Zelma Williams
                  204 Christopher Drive
                  Byron, GA 31008


                  Zemira Hadzihaskic
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                  Richmond, VA 23234


                  Zena Crawford
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                  Suffolk, VA 23435


                  Zenaida Fernandez
                  6269 Silverstone Drive
                  Troy, MI 48085


                  Zenan Ruan
                  13005 Woodland Farm Dr
                  Charlotte, NC 28215


                  Zephram Shepard
                  706 North 7th Street
                  Marietta, OH 45750


                  Zev Griffin
                  1816 Jim Bowie Road
                  Dyersburg, TN 38024


                  Zhong Lin
                  916 Monterey Dr
                  Aiken, SC 29803


                  Zilzah Trotter
                  1 Pampas Ct, Bolingbrook, IL 60490, USA
                  Bolingbrook, IL 60490


                  Zimmerman Landscaping
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                  Traverse City, MI 49684


                  Zoard Vasarhelyi
                  30829 Sawgrass Lane
                  Westlake, OH 44145
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                  Zoltan Furtos
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                  Novi, MI 48375


                  Zonda Bryant
                  3550 S 950 E
                  LAFAYETTE, IN 47905


                  Zosi Palomino
                  5221 Mitchell St
                  Alexandria, VA 22312


                  Zvisinei Meki
                  4144 Lakeview Drive
                  Chesapeake, VA 23323
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                                         United States Bankruptcy Court
                                          Western District of North Carolina
 In re   Power Home Solar, LLC                                                      Case No.
                                                            Debtor(s)               Chapter     7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Power Home Solar, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Renewable Clean Energies, LLC
Attn: William Jayson Waller
PO Box 1592
Mooresville, NC 28117
TGIF Power Home Investor, LLC
c/o Akerman Senterfitt
201 E Las Olas Blvd
Suite 1800
Fort Lauderdale, FL 33301




  None [Check if applicable]




October 7, 2022                                /s/ Joseph W. Grier, III
Date                                           Joseph W. Grier, III 7764
                                               Signature of Attorney or Litigant
                                               Counsel for Power Home Solar, LLC
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                                               704 332-0201 Fax:704 332-0215
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